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                              APPENDIX B
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 DISTRIBUTOR SETTLEMENT
        AGREEMENT
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                       DISTRIBUTOR SETTLEMENT AGREEMENT

This Settlement Agreement, dated as of July 21, 2021 (the “Agreement”), sets forth the terms of
settlement between and among the Settling States, the Settling Distributors, and the Participating
Subdivisions (as those terms are defined below). Upon satisfaction of the conditions set forth in
Section II and Section VIII, this Agreement will be binding on all Settling States, Settling
Distributors, and Participating Subdivisions. This Agreement will then be filed as part of
Consent Judgments in the respective courts of each of the Settling States, pursuant to the terms
set forth in Section VIII.

I.     Definitions

        For all sections of this Agreement except Exhibit E and Exhibit P, the following
definitions apply:

       A.          “Abatement Accounts Fund.” The component of the Settlement Fund
described in Section V.E.

        B.         “Additional Restitution Amount.” The amount available to Settling States
listed on Exhibit N totaling $282,692,307.70.

       C.          “Agreement.” This agreement, as set forth above. For the avoidance of doubt,
this Agreement is inclusive of all exhibits.

        D.         “Alleged Harms.” The alleged past, present, and future financial, societal, and
public nuisance harms and related expenditures arising out of the alleged misuse and abuse of
Products, non-exclusive examples of which are described in the documents listed on Exhibit A,
that have allegedly arisen as a result of the physical and bodily injuries sustained by individuals
suffering from opioid-related addiction, abuse, death, and other related diseases and disorders,
and that have allegedly been caused by the Settling Distributors.

        E.          “Allocation Statute.” A state law that governs allocation, distribution, and/or
use of some or all of the Settlement Fund amounts allocated to that State and/or its Subdivisions.
In addition to modifying the allocation set forth in Section V.D.2, an Allocation Statute may,
without limitation, contain a Statutory Trust, further restrict expenditures of funds, form an
advisory committee, establish oversight and reporting requirements, or address other default
provisions and other matters related to the funds. An Allocation Statute is not required to
address all three (3) types of funds comprising the Settlement Fund or all default provisions.

       F.          “Annual Payment.” The total amount payable to the Settlement Fund
Administrator by the Settling Distributors on the Payment Date each year, as calculated by the
Settlement Fund Administrator pursuant to Section IV.B.1.e. For the avoidance of doubt, this
term does not include the Additional Restitution Amount or amounts paid pursuant to Section X.

       G.          “Appropriate Official.” As defined in Section XIV.F.3.

       H.          “Bankruptcy Code.” Title 11 of the United States Code, 11 U.S.C. § 101, et
seq.


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        I.          “Bar.” Either: (1) a law barring Subdivisions in a State from maintaining
Released Claims against Released Entities (either through a direct bar or through a grant of
authority to release claims and the exercise of such authority in full) or (2) a ruling by the highest
court of the State (or, in a State with a single intermediate court of appeals, the intermediate
court of appeals when not subject to further review by the highest court of the State) setting forth
the general principle that Subdivisions in the State may not maintain any Released Claims
against Released Entities, whether on the ground of this Agreement (or the release in it) or
otherwise. For the avoidance of doubt, a law or ruling that is conditioned or predicated upon
payment by a Released Entity (apart from the Annual Payments by Settling Distributors under
this Agreement) shall not constitute a Bar.

        J.          “Case-Specific Resolution.” Either: (1) a law barring the Subdivision at issue
from maintaining any Released Claims against any Released Entities (either through a direct bar
or through a grant of authority to release claims and the exercise of such authority in full); or (2)
a ruling by a court of competent jurisdiction over the Subdivision at issue that the Subdivision
may not maintain any Released Claims at issue against any Released Entities, whether on the
ground of this Agreement (or the release in it) or otherwise. For the avoidance of doubt, a law or
ruling that is conditioned or predicated upon payment by a Released Entity (apart from the
Annual Payments by Settling Distributors under this Agreement) shall not constitute a Case-
Specific Resolution.

        K.          “Claim.” Any past, present or future cause of action, claim for relief, cross-
claim or counterclaim, theory of liability, demand, derivative claim, request, assessment, charge,
covenant, damage, debt, lien, loss, penalty, judgment, right, obligation, dispute, suit, contract,
controversy, agreement, parens patriae claim, promise, performance, warranty, omission, or
grievance of any nature whatsoever, whether legal, equitable, statutory, regulatory or
administrative, whether arising under federal, state or local common law, statute, regulation,
guidance, ordinance or principles of equity, whether filed or unfiled, whether asserted or
unasserted, whether known or unknown, whether accrued or unaccrued, whether foreseen,
unforeseen or unforeseeable, whether discovered or undiscovered, whether suspected or
unsuspected, whether fixed or contingent, and whether existing or hereafter arising, in all such
cases, including, but not limited to, any request for declaratory, injunctive, or equitable relief,
compensatory, punitive, or statutory damages, absolute liability, strict liability, restitution,
abatement, subrogation, contribution, indemnity, apportionment, disgorgement, reimbursement,
attorney fees, expert fees, consultant fees, fines, penalties, expenses, costs or any other legal,
equitable, civil, administrative, or regulatory remedy whatsoever.

        L.         “Claim-Over.” A Claim asserted by a Non-Released Entity against a Released
Entity on the basis of contribution, indemnity, or other claim-over on any theory relating to a
Non-Party Covered Conduct Claim asserted by a Releasor.

         M.        “Compensatory Restitution Amount.” The aggregate amount paid or incurred
by the Settling Distributors hereunder other than amounts paid as attorneys’ fees and costs or
identified pursuant to Section V.B.2 as being used to pay attorneys’ fees, investigation costs or
litigation costs.




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        N.         “Consent Judgment.” A state-specific consent judgment in a form to be
agreed by the Settling States and the Settling Distributors prior to the Initial Participation Date
that, among other things, (1) approves this Agreement and (2) provides for the release set forth in
Section XI.A, including the dismissal with prejudice of any Released Claims that the Settling
State has brought against Released Entities.

         O.          “Covered Conduct.” Any actual or alleged act, failure to act, negligence,
statement, error, omission, breach of any duty, conduct, event, transaction, agreement,
misstatement, misleading statement or other activity of any kind whatsoever from the beginning
of time through the Reference Date (and any past, present, or future consequence of any such act,
failure to act, negligence, statement, error, omission, breach of duty, conduct, event, transaction,
agreement, misstatement, misleading statement or other activity) relating in any way to (1) the
discovery, development, manufacture, packaging, repackaging, marketing, promotion,
advertising, labeling, recall, withdrawal, distribution, delivery, monitoring, reporting, supply,
sale, prescribing, dispensing, physical security, warehousing, use or abuse of, or operating
procedures relating to, any Product, or any system, plan, policy or advocacy relating to any
Product or class of Products, including, but not limited to, any unbranded promotion, marketing,
programs, or campaigns relating to any Product or class of Products; (2) the characteristics,
properties, risks, or benefits of any Product; (3) the reporting, disclosure, non-reporting or non-
disclosure to federal, state or other regulators of orders placed with any Released Entity; or (4)
diversion control programs or suspicious order monitoring; provided, however, that as to any
Claim that a Releasor has brought or could bring, Covered Conduct does not include non-
compliance with statutory or administrative supply security standards concerning cleanliness of
facilities or stopping counterfeit products, so long as such standards apply to the storage and
distribution of both controlled and non-controlled pharmaceuticals.

       P.          “Designated State.” New York.

       Q.          “Effective Date.” The date sixty (60) calendar days after the Reference Date.

        R.          “Enforcement Committee.” A committee consisting of representatives of the
Settling States and of the Participating Subdivisions. Exhibit B contains the organizational
bylaws of the Enforcement Committee. Notice pursuant to Section XIV.Q shall be provided
when there are changes in membership or contact information.

        S.          “Final Order.” An order or judgment of a court of competent jurisdiction
with respect to the applicable subject matter (1) which has not been reversed or superseded by a
modified or amended order, is not currently stayed, and as to which any right to appeal or seek
certiorari, review, reargument, stay, or rehearing has expired, and as to which no appeal or
petition for certiorari, review, reargument, stay, or rehearing is pending, or (2) as to which an
appeal has been taken or petition for certiorari, review, reargument, stay, or rehearing has been
filed and (a) such appeal or petition for certiorari, review, reargument, stay, or rehearing has
been resolved by the highest court to which the order or judgment was appealed or from which
certiorari, review, reargument, stay, or rehearing was sought, or (b) the time to appeal further or
seek certiorari, review, reargument, stay, or rehearing has expired and no such further appeal or
petition for certiorari, review, reargument, stay, or rehearing is pending.



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      T.         “Global Settlement Abatement Amount.” The abatement amount of
$19,045,384,616.

       U.          “Global Settlement Amount.” The Global Settlement Amount is $21 billion,
which shall be divided into the Global Settlement Abatement Amount, the Additional Restitution
Amount, and the Global Settlement Attorney Fee Amount.

       V.       “Global Settlement Attorney Fee Amount.” The attorney fee amount of
$1,671,923,077.

       W.          “Incentive Payment A.” The incentive payment described in Section IV.F.1.

       X.          “Incentive Payment B.” The incentive payment described in Section IV.F.2.

       Y.          “Incentive Payment C.” The incentive payment described in Section IV.F.3.

       Z.          “Incentive Payment D.” The incentive payment described in Section IV.F.4.

         AA.         “Incentive Payment Final Eligibility Date.” With respect to a Settling State,
the date that is the earlier of (1) the fifth Payment Date, (2) the date of completion of opening
statements in a trial of any action brought by a Subdivision in that State that includes a Released
Claim against a Released Entity when such date is more than two (2) years after the Effective
Date, or (3) two (2) years after the Effective Date in the event a trial of an action brought by a
Subdivision in that State that includes a Released Claim against a Released Entity began after the
Initial Participation Date but before two (2) years after the Effective Date.

       BB.         “Initial Participating Subdivision.” A Subdivision that meets the
requirements set forth in Section VII.D.

        CC.         “Initial Participation Date.” The date one hundred twenty (120) calendar
days after the Preliminary Agreement Date, unless it is extended by written agreement of the
Settling Distributors and the Enforcement Committee.

       DD.         “Injunctive Relief Terms.” The terms described in Section III and set forth in
Exhibit P.

        EE.          “Later Litigating Subdivision.” A Subdivision (or Subdivision official
asserting the right of or for the Subdivision to recover for alleged harms to the Subdivision
and/or the people thereof) that: (1) first files a lawsuit bringing a Released Claim against a
Released Entity after the Trigger Date; or (2) adds a Released Claim against a Released Entity
after the Trigger Date to a lawsuit brought before the Trigger Date that, prior to the Trigger Date,
did not include any Released Claims against a Released Entity; or (3) (a) was a Litigating
Subdivision whose Released Claims against Released Entities were resolved by a legislative Bar
or legislative Case-Specific Resolution as of the Trigger Date, (b) such legislative Bar or
legislative Case-Specific Resolution is subject to a Revocation Event after the Trigger Date, and
(c) the earlier of the date of completion of opening statements in a trial in an action brought by a
Subdivision in that State that includes a Released Claim against a Released Entity or one
hundred eighty (180) days from the Revocation Event passes without a Bar or Case-Specific


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Resolution being implemented as to that Litigating Subdivision or the Litigating Subdivision’s
Released Claims being dismissed; or (4) (a) was a Litigating Subdivision whose Released Claims
against Released Entities were resolved by a judicial Bar or judicial Case-Specific Resolution as
of the Trigger Date, (b) such judicial Bar or judicial Case-Specific Resolution is subject to a
Revocation Event after the Trigger Date, and (c) such Litigating Subdivision takes any action in
its lawsuit asserting a Released Claim against a Released Entity other than seeking a stay or
dismissal.

         FF.         “Later Participating Subdivision.” A Participating Subdivision that is not an
Initial Participating Subdivision, but meets the requirements set forth in Section VII.E.

        GG.        “Litigating Subdivision.” A Subdivision (or Subdivision official) that brought
any Released Claim against any Released Entity prior to the Trigger Date; provided, however,
that a Subdivision (or Subdivision official) that is a Prior Litigating Subdivision shall not be
considered a Litigating Subdivision. Exhibit C is an agreed list of all Litigating Subdivisions.
Exhibit C will be updated (including with any corrections) periodically, and a final version of
Exhibit C will be attached hereto as of the Reference Date.

       HH.         “National Arbitration Panel.” The panel comprised as described in Section
VI.F.2.b.

       II.         “National Disputes.” As defined in Section VI.F.2.a.

       JJ.        “Net Abatement Amount.” The Global Settlement Abatement Amount as
reduced by the Tribal/W. Va. Subdivision Credit.

       KK.         “Net Settlement Prepayment Amount.” As defined in Section IV.J.1.

       LL.        “Non-Litigating Subdivision.” Any Subdivision that is neither a Litigating
Subdivision nor a Later Litigating Subdivision.

       MM.         “Non-Participating Subdivision.” Any Subdivision that is not a Participating
Subdivision.

        NN.        “Non-Party Covered Conduct Claim.” A Claim against any Non-Released
Entity involving, arising out of, or related to Covered Conduct (or conduct that would be
Covered Conduct if engaged in by a Released Entity).

       OO.       “Non-Party Settlement.” A settlement by any Releasor that settles any Non-
Party Covered Conduct Claim and includes a release of any Non-Released Entity.

       PP.          “Non-Released Entity.” An entity that is not a Released Entity.

       QQ.         “Non-Settling State.” Any State that is not a Settling State.

       RR.         “Offset Cap.” The per-State dollar amount which the dollar-for-dollar offset
described in Section XII.A cannot exceed in a Payment Year, to be calculated by multiplying the



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amount of the relevant Annual Payment apportioned to the State and to its Subdivisions for that
Payment Year by the percentage for the applicable Participation Tier as set forth in Exhibit D.

         SS.         “Opioid Remediation.” Care, treatment, and other programs and expenditures
(including reimbursement for past such programs or expenditures1 except where this Agreement
restricts the use of funds solely to future Opioid Remediation) designed to (1) address the misuse
and abuse of opioid products, (2) treat or mitigate opioid use or related disorders, or (3) mitigate
other alleged effects of, including on those injured as a result of, the opioid epidemic. Exhibit E
provides a non-exhaustive list of expenditures that qualify as being paid for Opioid Remediation.
Qualifying expenditures may include reasonable related administrative expenses.

        TT.    “Opioid Tax.” Any tax, assessment, license fee, surcharge or any other fee (other
than a fixed prospective excise tax or similar tax or fee that has no restriction on pass-through)
imposed by a State on a Settling Distributor on the sale, transfer or distribution of opioid
products; provided, however, that neither the Excise Tax on sale of Opioids, Article 20-D of New
York’s Tax Law nor the Opioid Stewardship Act, Article 33, Title 2-A of New York’s Public
Health Law shall be considered an Opioid Tax for purposes of this Agreement.

       UU.        “Overall Allocation Percentage.” A Settling State’s percentage as set forth in
Exhibit F. The aggregate Overall Allocation Percentages of all States (including Settling States
and Non-Settling States) shall equal one hundred percent (100%).

       VV.        “Participating Subdivision.” Any Subdivision that meets the requirements for
becoming a Participating Subdivision under Section VII.B and Section VII.C. Participating
Subdivisions include both Initial Participating Subdivisions and Later Participating Subdivisions.

       WW.       “Participation Tier.” The level of participation in this Agreement as
determined pursuant to Section VIII.C using the criteria set forth in Exhibit H.

           XX.          “Parties.” The Settling Distributors and the Settling States (each, a “Party”).

      YY.       “Payment Date.” The date on which the Settling Distributors make the
Annual Payment pursuant to Section IV.B.

        ZZ.       “Payment Year.” The calendar year during which the applicable Annual
Payment is due pursuant to Section IV.B. Payment Year 1 is 2021, Payment Year 2 is 2022 and
so forth. References to payment “for a Payment Year” mean the Annual Payment due during
that year. References to eligibility “for a Payment Year” mean eligibility in connection with the
Annual Payment due during that year.

        AAA.       “Preliminary Agreement Date.” The date on which the Settling Distributors
are to inform the Settling States of their determination whether the condition in Section II.B has
been satisfied. The Preliminary Agreement Date shall be no more than fourteen (14) calendar
days after the end of the notice period to States, unless it is extended by written agreement of the
Settling Distributors and the Enforcement Committee.


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    Reimbursement includes amounts paid to any governmental entities for past expenditures or programs.


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       BBB.        “Prepayment Notice.” As defined in Section IV.J.1.

        CCC.        “Primary Subdivision.” A Subdivision that is a General Purpose Government
(including, but not limited to, a municipality, county, county subdivision, city, town, township,
parish, village, borough, gore, or any other entities that provide municipal-type government) with
population over 10,000; provided, however, that as used in connection with Incentive Payment
C, the population threshold is 30,000. Attached as Exhibit I is an agreed list of the Primary
Subdivisions in each State.

       DDD.        “Prior Litigating Subdivision” A Subdivision (or Subdivision official) that
brought any Released Claim against any Released Entity prior to the Trigger Date and all such
Released Claims were separately settled or finally adjudicated prior to the Trigger Date;
provided, however, that if the final adjudication was pursuant to a Bar, such Subdivision shall not
be considered a Prior Litigating Subdivision. Notwithstanding the prior sentence, the Settling
Distributors and the Settling State of the relevant Subdivision may agree in writing that the
Subdivision shall not be considered a Prior Litigating Subdivision.

        EEE.        “Product.” Any chemical substance, whether used for medicinal or non-
medicinal purposes, and whether natural, synthetic, or semi-synthetic, or any finished
pharmaceutical product made from or with such substance, that is: (1) an opioid or opiate, as
well as any product containing any such substance; or (2) benzodiazepine, carisoprodol, or
gabapentin; or (3) a combination or “cocktail” of chemical substances prescribed, sold, bought,
or dispensed to be used together that includes opioids or opiates. “Product” shall include, but is
not limited to, any substance consisting of or containing buprenorphine, codeine, fentanyl,
hydrocodone, hydromorphone, meperidine, methadone, morphine, oxycodone, oxymorphone,
tapentadol, tramadol, opium, heroin, carfentanil, diazepam, estazolam, quazepam, alprazolam,
clonazepam, oxazepam, flurazepam, triozolam, temazepam, midazolam, carisoprodol,
gabapentin, or any variant of these substances or any similar substance. Notwithstanding the
foregoing, nothing in this section prohibits a Settling State from taking administrative or
regulatory action related to benzodiazepine (including, but not limited to, diazepam, estazolam,
quazepam, alprazolam, clonazepam, oxazepam, flurazepam, triozolam, temazepam, and
midazolam), carisoprodol, or gabapentin that is wholly independent from the use of such drugs in
combination with opioids, provided such action does not seek money (including abatement
and/or remediation) for conduct prior to the Effective Date.

        FFF.        “Reference Date.” The date on which the Settling Distributors are to inform
the Settling States of their determination whether the condition in Section VIII has been satisfied.
The Reference Date shall be no later than thirty (30) calendar days after the Initial Participation
Date, unless it is extended by written agreement of the Settling Distributors and the Enforcement
Committee.

        GGG.         “Released Claims.” Any and all Claims that directly or indirectly are based
on, arise out of, or in any way relate to or concern the Covered Conduct occurring prior to the
Reference Date. Without limiting the foregoing, Released Claims include any Claims that have
been asserted against a Settling Distributor by any Settling State or Litigating Subdivision in any
federal, state, or local action or proceeding (whether judicial, arbitral, or administrative) based
on, arising out of, or relating to, in whole or in part, the Covered Conduct, or any such Claims


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that could be or could have been asserted now or in the future in those actions or in any
comparable action or proceeding brought by a State, Subdivision, or Releasor (whether or not
such State, Subdivision, or Releasor has brought such action or proceeding). Released Claims
also include all Claims asserted in any proceeding to be dismissed pursuant to this Agreement,
whether or not such claims relate to Covered Conduct. The Parties intend that this term,
“Released Claims,” be interpreted broadly. This Agreement does not release Claims by private
individuals. It is the intent of the Parties that Claims by private individuals be treated in
accordance with applicable law. Released Claims is also used herein to describe claims brought
by a Later Litigating Subdivision or other non-party Subdivision that would have been Released
Claims if they had been brought by a Releasor against a Released Entity.

         HHH.        “Released Entities.” With respect to Released Claims, the Settling
Distributors and (1) all past and present subsidiaries, divisions, predecessors, successors, and
assigns (in each case, whether direct or indirect) of each Settling Distributor; (2) all past and
present subsidiaries and divisions (in each case, whether direct or indirect) of any entity
described in subsection (1); (3) the respective past and present officers, directors, members,
trustees, and employees of any of the foregoing (each for actions that occurred during and related
to their work for, or employment with, any of the Settling Distributors or the foregoing entities);
(4) all past and present joint ventures (whether direct or indirect) of each Settling Distributor or
its subsidiaries, including in any Settling Distributor or subsidiary’s capacity as a participating
member in such joint venture; (5) all direct or indirect parents and shareholders of the Settling
Distributors (solely in their capacity as parents or shareholders of the applicable Settling
Distributor with respect to Covered Conduct); and (6) any insurer of any Settling Distributor or
any person or entity otherwise described in subsections (1)-(5) (solely in its role as insurer of
such person or entity and subject to the last sentence of Section XI.C). Any person or entity
described in subsections (3)-(6) shall be a Released Entity solely in the capacity described in
such clause and shall not be a Released Entity with respect to its conduct in any other capacity.
For the avoidance of doubt, CVS Health Corp., Walgreens Boots Alliance, Inc., and Walmart
Inc. (collectively, the “Pharmacies”) are not Released Entities, nor are their direct or indirect
past or present subsidiaries, divisions, predecessors, successors, assigns, joint ventures,
shareholders, officers, directors, members, trustees, or employees (shareholders, officers,
directors, members, trustees, and employees for actions related to their work for, employment
with, or involvement with the Pharmacies) Released Entities. Notwithstanding the prior
sentence, any joint venture or past or present subsidiary of a Settling Distributor is a Released
Entity, including any joint venture between a Settling Distributor or any Settling Distributor’s
subsidiary and a Pharmacy (or any subsidiary of a Pharmacy); provided, however, that any joint
venture partner of a Settling Distributor or a Settling Distributor’s subsidiary is not a Released
Entity unless it falls within subsections (1)-(6) above. Lists of Settling Distributors’ subsidiaries,
joint ventures, and predecessor entities are appended to this Agreement as Exhibit J. With
respect to joint ventures (including predecessor entities), only entities listed on Exhibit J are
Released Entities. With respect to wholly-owned subsidiaries (including predecessor entities),
Exhibit J represents a good faith effort by the Settling Distributors to list all such entities, but any
and all wholly-owned subsidiaries (including predecessor entities) of any Settling Distributor are
Released Entities, whether or not they are listed on Exhibit J. For the avoidance of doubt, any
entity acquired, or joint venture entered into, by a Settling Distributor after the Reference Date is
not a Released Entity.



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         III.        “Releasors.” With respect to Released Claims, (1) each Settling State;
(2) each Participating Subdivision; and (3) without limitation and to the maximum extent of the
power of each Settling State’s Attorney General and/or Participating Subdivision to release
Claims, (a) the Settling State’s and Participating Subdivision’s departments, agencies, divisions,
boards, commissions, Subdivisions, districts, instrumentalities of any kind and attorneys,
including its Attorney General, and any person in his or her official capacity whether elected or
appointed to serve any of the foregoing and any agency, person, or other entity claiming by or
through any of the foregoing, (b) any public entities, public instrumentalities, public educational
institutions, unincorporated districts, fire districts, irrigation districts, and other Special Districts
in a Settling State, and (c) any person or entity acting in a parens patriae, sovereign, quasi-
sovereign, private attorney general, qui tam, taxpayer, or other capacity seeking relief on behalf
of or generally applicable to the general public with respect to a Settling State or Subdivision in a
Settling State, whether or not any of them participate in this Agreement. The inclusion of a
specific reference to a type of entity in this definition shall not be construed as meaning that the
entity is not a Subdivision. Each Settling State’s Attorney General represents that he or she has
or has obtained (or will obtain no later than the Initial Participation Date) the authority set forth
in Section XI.G. In addition to being a Releasor as provided herein, a Participating Subdivision
shall also provide the Subdivision Settlement Participation Form referenced in Section VII
providing for a release to the fullest extent of the Participating Subdivision’s authority.

       JJJ.        “Revocation Event.” With respect to a Bar, Settlement Class Resolution, or
Case-Specific Resolution, a revocation, rescission, reversal, overruling, or interpretation that in
any way limits the effect of such Bar, Settlement Class Resolution, or Case-Specific Resolution
on Released Claims, or any other action or event that otherwise deprives the Bar, Settlement
Class Resolution, or Case-Specific Resolution of force or effect in any material respect.

        KKK.        “Settlement Class Resolution.” A class action resolution in a court of
competent jurisdiction in a Settling State (that is not successfully removed to federal court) with
respect to a class of Subdivisions in that State that (1) conforms with that Settling State’s
statutes, case law, and rules of procedure regarding class actions; (2) is approved and entered as
an order of a court of competent jurisdiction in that State and such order has become a Final
Order; (3) is binding on all Non-Participating Subdivisions in that State (other than opt outs as
permitted under the next sentence); (4) provides that all such Non-Participating Subdivisions
may not bring any Released Claims against any Released Entities, whether on the ground of this
Agreement (or the releases herein) or otherwise; and (5) does not impose any costs or obligations
on Settling Distributors other than those provided for in this Agreement, or contain any provision
inconsistent with any provision of this Agreement. If applicable state law requires that opt-out
rights be afforded to members of the class, a class action resolution otherwise meeting the
foregoing requirements shall qualify as a Settlement Class Resolution unless Subdivisions
collectively representing more than one percent (1%) of the total population of that State opt out.
In seeking certification of any Settlement Class, the applicable State and Participating
Subdivisions shall make clear that certification is sought solely for settlement purposes and shall
have no applicability beyond approval of the settlement for which certification is sought.
Nothing in this Agreement constitutes an admission by any Party that class certification would be
appropriate for litigation purposes in any case or for purposes unrelated to this Agreement.




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      LLL.       “Settlement Fund.” The interest-bearing fund established pursuant to this
Agreement into which the Annual Payments are made under Section IV.

        MMM.       “Settlement Fund Administrator.” The entity that annually determines the
Annual Payment (including calculating Incentive Payments pursuant to Section IV and any
amounts subject to suspension, offset, or reduction pursuant to Section XII and Section XIII),
annually determines the Participation Tier pursuant to Section VIII.C, administers the Settlement
Fund, and distributes amounts into the Abatement Accounts Fund, State Fund, and Subdivision
Fund pursuant to this Agreement. The duties of the Settlement Fund Administrator shall be
governed by this Agreement. Prior to the Initial Participation Date, the Settling Distributors and
the Enforcement Committee shall agree to selection and removal processes for and the identity of
the Settlement Fund Administrator, and a detailed description of the Settlement Fund
Administrator’s duties and responsibilities, including a detailed mechanism for paying the
Settlement Fund Administrator’s fees and costs, all of which shall be appended to the Agreement
as Exhibit L.

        NNN.        “Settlement Fund Escrow.” The interest-bearing escrow fund established
pursuant to this Agreement to hold disputed or suspended payments made under this Agreement,
and to hold the first Annual Payment until the Effective Date.

       OOO.        “Settlement Payment Schedule.” The schedule attached to this Agreement as
Exhibit M.

       PPP.        “Settlement Prepayment.” As defined in Section IV.J.1.

       QQQ.        “Settlement Prepayment Reduction Schedule.” As defined in Section IV.J.1.

      RRR.      “Settling Distributors.” McKesson Corporation, Cardinal Health, Inc., and
AmerisourceBergen Corporation (each, a “Settling Distributor”).

       SSS.        “Settling State.” A State that has entered into this Agreement with all Settling
Distributors and delivers executed releases in accordance with Section VIII.A.

         TTT.       “State.” With the exception of West Virginia, which has addressed its claims
separately and is excluded from participation in this Agreement, the states, commonwealths, and
territories of the United States of America, as well as the District of Columbia. The 55 States are
listed in Exhibit F. Additionally, the use of non-capitalized “state” to describe something (e.g.,
“state court”) shall also be read to include parallel entities in commonwealths, territories, and the
District of Columbia (e.g., “territorial court”).

       UUU.        “State Fund.” The component of the Settlement Fund described in
Section V.C.

        VVV.        “State-Subdivision Agreement.” An agreement that a Settling State reaches
with the Subdivisions in that State regarding the allocation, distribution, and/or use of funds
allocated to that State and to its Subdivisions. A State-Subdivision Agreement shall be effective
if approved pursuant to the provisions of Exhibit O or if adopted by statute. Preexisting
agreements addressing funds other than those allocated pursuant to this Agreement shall qualify


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if the approval requirements of Exhibit O are met. A State and its Subdivisions may revise a
State-Subdivision Agreement if approved pursuant to the provisions of Exhibit O, or if such
revision is adopted by statute.

        WWW. “Statutory Trust.” A trust fund established by state law to receive funds
allocated to a Settling State’s Abatement Accounts Fund and restrict any expenditures made
using funds from such Settling State’s Abatement Accounts Fund to Opioid Remediation, subject
to reasonable administrative expenses. A State may give a Statutory Trust authority to allocate
one (1) or more of the three (3) types of funds comprising such State’s Settlement Fund, but this
is not required.

        XXX.        “Subdivision.” Any (1) General Purpose Government (including, but not
limited to, a municipality, county, county subdivision, city, town, township, parish, village,
borough, gore, or any other entities that provide municipal-type government), School District, or
Special District within a State, and (2) any other subdivision or subdivision official or sub-entity
of or located within a State (whether political, geographical or otherwise, whether functioning or
non-functioning, regardless of population overlap, and including, but not limited to,
Nonfunctioning Governmental Units and public institutions) that has filed a lawsuit that includes
a Released Claim against a Released Entity in a direct, parens patriae, or any other capacity.
“General Purpose Government,” “School District,” and “Special District” shall correspond to the
“five basic types of local governments” recognized by the U.S. Census Bureau and match the
2017 list of Governmental Units.2 The three (3) General Purpose Governments are county,
municipal, and township governments; the two (2) special purpose governments are School
Districts and Special Districts.3 “Fire District,” “Health District,” “Hospital District,” and
“Library District” shall correspond to categories of Special Districts recognized by the U.S.
Census Bureau.4 References to a State’s Subdivisions or to a Subdivision “in,” “of,” or “within”
a State include Subdivisions located within the State even if they are not formally or legally a
sub-entity of the State; provided, however, that a “Health District” that includes any of the
following words or phrases in its name shall not be considered a Subdivision: mosquito, pest,
insect, spray, vector, animal, air quality, air pollution, clean air, coastal water, tuberculosis, and
sanitary.

        YYY.       “Subdivision Allocation Percentage.” The portion of a Settling State’s
Subdivision Fund set forth in Exhibit G that a Subdivision will receive pursuant to Section V.C
or Section V.D if it becomes a Participating Subdivision. The aggregate Subdivision Allocation

2
  https://www.census.gov/data/datasets/2017/econ/gus/public-use-files html
3
  E.g., U.S. Census Bureau, “Technical Documentation: 2017 Public Use Files for State and Local Government
Organization” at 7 (noting that “the Census Bureau recognizes five basic types of local governments,” that three of
those are “general purpose governments” (county governments, municipal governments, and township
governments), and that the other two are “school district and special district governments”),
https://www2.census.gov/programs-surveys/gus/datasets/2017/2017_gov_org_meth_tech_doc.pdf.
4
  A list of 2017 Government Units provided by the Census Bureau identifies 38,542 Special Districts and
categorizes them by “FUNCTION_NAME.” “Govt_Units_2017_Final” spreadsheet, “Special District” sheet,
included in “Independent Governments - list of governments with reference information,”
https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html. As used herein, “Fire District”
corresponds to Special District function name “24 – Local Fire Protection,” “Health District” corresponds to Special
District function name “32 – Health,” “Hospital District” corresponds to Special District function name “40 –
Hospitals,” and “Library District” corresponds to Special District function name “52 – Libraries.” See id.


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Percentage of all Subdivisions receiving a Subdivision Allocation Percentage in each State shall
equal one hundred percent (100%). Immediately upon the effectiveness of any State-Subdivision
Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution allowed by Section
V.D.3 (or upon the effectiveness of an amendment to any State-Subdivision Agreement,
Allocation Statute, Statutory Trust, or voluntary redistribution allowed by Section V.D.3) that
addresses allocation from the Subdivision Fund, or upon any, whether before or after the Initial
Participation Date, Exhibit G will automatically be amended to reflect the allocation from the
Subdivision Fund pursuant to the State-Subdivision Agreement, Allocation Statute, Statutory
Trust, or voluntary redistribution allowed by Section V.D.3. The Subdivision Allocation
Percentages contained in Exhibit G may not change once notice is distributed pursuant to Section
VII.A, except upon the effectiveness of any State-Subdivision Agreement, Allocation Statute,
Statutory Trust, or voluntary redistribution allowed by Section V.D.3 (or upon the effectiveness
of an amendment to any State-Subdivision Agreement, Allocation Statute, Statutory Trust, or
voluntary redistribution allowed by Section V.D.3) that addresses allocation from the
Subdivision Fund. For the avoidance of doubt, no Subdivision not listed on Exhibit G shall
receive an allocation from the Subdivision Fund and no provision of this Agreement shall be
interpreted to create such an entitlement.

       ZZZ.        “Subdivision Fund.” The component of the Settlement Fund described in
Section V.C.

        AAAA. “Subdivision Settlement Participation Form.” The form attached as Exhibit K
that Participating Subdivisions must execute and return to the Settlement Fund Administrator.

       BBBB.       “Suspension Amount.” The amount calculated as follows: the per capita
amount corresponding to the applicable Participation Tier as set forth in Exhibit D multiplied by
the population of the Later Litigating Subdivision.

        CCCC.     “Suspension Cap.” The amount calculated as follows: the suspension
percentage corresponding to the applicable Participation Tier as set forth in Exhibit D multiplied
by the amount of the relevant Annual Payment apportioned to the State of the Later Litigating
Subdivision and to Subdivisions in that State in each year of the suspension.

       DDDD. “Suspension Deadline.” With respect to a lawsuit filed by a Later Litigating
Subdivision asserting a Released Claim, the deadline set forth in Exhibit D corresponding to the
applicable Participation Tier.

        EEEE.      “Threshold Motion.” A motion to dismiss or equivalent dispositive motion
made at the outset of litigation under applicable procedure. A Threshold Motion must include as
potential grounds for dismissal any applicable Bar or the relevant release by a Settling State or
Participating Subdivision provided under this Agreement and, where appropriate under
applicable law, any applicable limitations defense.

        FFFF.     “Tribal/W. Va. Subdivision Credit.” The Tribal/W. Va. Subdivision Credit
shall equal 2.58% of the Global Settlement Abatement Amount.

        GGGG. “Trigger Date.” In the case of a Primary Subdivision, the Reference Date. In
the case of all other Subdivisions, the Preliminary Agreement Date.


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II.    Participation by States and Condition to Preliminary Agreement

        A.     Notice to States. On July 22, 2021 this Agreement shall be distributed to all
States. The States’ Attorneys General shall then have a period of thirty (30) calendar days to
decide whether to become Settling States. States that determine to become Settling States shall
so notify the National Association of Attorneys General and Settling Distributors and shall
further commit to obtaining any necessary additional State releases prior to the Reference Date.
This notice period may be extended by written agreement of the Settling Distributors and the
Enforcement Committee.

        B.      Condition to Preliminary Agreement. Following the notice period set forth in
Section II.A above, the Settling Distributors shall determine on or before the Preliminary
Agreement Date whether, in their sole discretion, enough States have agreed to become Settling
States to proceed with notice to Subdivisions as set forth in Section VII below. If the Settling
Distributors determine that this condition has been satisfied, and that notice to the Litigating
Subdivisions should proceed, they will so notify the Settling States by providing notice to the
Enforcement Committee and Settlement Fund Administrator on the Preliminary Agreement
Date. If the Settling Distributors determine that this condition has not been satisfied, they will so
notify the Settling States by providing notice to the Enforcement Committee and Settlement
Fund Administrator, and this Agreement will have no further effect and all releases and other
commitments or obligations contained herein will be void.

        C.      Later Joinder by States. After the Preliminary Agreement Date, a State may only
become a Settling State with the consent of the Settling Distributors, in their sole discretion. If a
State becomes a Settling State more than sixty (60) calendar days after the Preliminary
Agreement Date, but on or before January 1, 2022, the Subdivisions in that State that become
Participating Subdivisions within ninety (90) calendar days of the State becoming a Settling
State shall be considered Initial Participating Subdvisions. A State may not become a Settling
State after January 1, 2022.

        D.      Litigation Activity. Following the Preliminary Agreement Date, States that
determine to become Settling States shall make best efforts to cease litigation activity against
Settling Distributors, including by jointly seeking stays or severance of claim against the Settling
Distributors, where feasible, and otherwise to minimize such activity by means of agreed
deadline extensions and agreed postponement of depositions, document productions, and motion
practice if a motion to stay or sever is not feasible or is denied.

III.   Injunctive Relief

        A.      Injunctive Relief. As part of the Consent Judgment, the Parties agree to the entry
of the injunctive relief terms attached in Exhibit P.

IV.    Settlement Payments

       A.     Settlement Fund. All payments under this Section IV shall be made into the
Settlement Fund, except that, where specified, they shall be made into the Settlement Fund
Escrow. The Settlement Fund shall be allocated and used only as specified in Section V.



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         B.     Annual Payments. The Settling Distributors shall make eighteen (18) Annual
Payments, each comprised of base and incentive payments as provided in this Section IV, as well
as fifty percent (50%) of the amount of any Settlement Fund Administrator costs and fees that
exceed the available interest accrued in the Settlement Fund as provided in Section V.C.5, and as
determined by the Settlement Fund Administrator as set forth in this Agreement.

               1.      All data relevant to the determination of the Annual Payment and
       allocations to Settling States and their Participating Subdivisions listed on Exhibit G shall
       be submitted to the Settlement Fund Administrator no later than sixty (60) calendar days
       prior to the Payment Date for each Annual Payment. The Settlement Fund Administrator
       shall then determine the Annual Payment, the amount to be paid to each Settling State
       and its Participating Subdivisions included on Exhibit G, and the amount of any
       Settlement Fund Administrator costs and fees, all consistent with the provisions in
       Exhibit L, by:

                      a.    determining, for each Settling State, the amount of base and
              incentive payments to which the State is entitled by applying the criteria under
              Section IV.D, Section IV.E, and Section IV.F;

                     b.     applying any suspensions, offsets, or reductions as specified under
              Section IV, Section XII, and Section XIII;

                      c.      applying any adjustment required as a result of prepayment or
              significant financial constraint, as specified under Section IV.J and Section IV.K;

                      d.      determining the amount of any Settlement Fund Administrator
              costs and fees that exceed the available interest accrued in the Settlement Fund, as
              well as the amounts, if any, of such costs and fees owed by Settling Distributors
              and out of the Settlement Fund pursuant to Section V.C.5;

                      e.       determining the total amount owed by Settling Distributors
              (including any amounts to be held in the Settlement Fund Escrow pending
              resolution of a case by a Later Litigating Subdivision as described in Section XII)
              to all Settling States and the Participating Subdivisions listed on Exhibit G; and

                      f.      the Settlement Fund Administrator shall then allocate, after
              subtracting the portion of any Settlement Fund Administrator costs and fees owed
              out of funds from the Settlement Fund pursuant to Section V.C.5, the Annual
              Payment pursuant to Section V.C and Section V.D among the Settling States,
              among the separate types of funds for each Settling State (if applicable), and
              among the Participating Subdivisions listed on Exhibit G.

               2.      The Settlement Fund Administrator shall also apply the allocation
       percentages set forth in Section IV.I and determine for each Settling Distributor the
       amount of its allocable share of the Annual Payment. For the avoidance of doubt, each
       Settling Distributor’s liability for its share of the Annual Payment is several, and not
       joint.



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               3.      As soon as possible, but no later than fifty (50) calendar days prior to the
       Payment Date for each Annual Payment and following the determination described in
       Section IV.B.1 and Section IV.B.2, the Settlement Fund Administrator shall give notice
       to the Settling Distributors, the Settling States, and the Enforcement Committee of the
       amount of the Annual Payment (including the amount of the Settlement Fund to be
       allocated to the Settlement Fund Administrator in costs and fees pursuant to Section
       V.C.5), the amount to be received by each Settling State, the amount to be received by
       the separate types of funds for each Settling State (if applicable), and the amount to be
       received by each Settling State’s Participating Subdivisions listed on Exhibit G. The
       Settlement Fund Administrator shall also give notice to each Settling Distributor of the
       amount of its allocable share of the Annual Payment, including its allocable share of the
       amount of any Settlement Fund Administrator costs and fees that exceed the available
       interest accrued in the Settlement Fund pursuant to Section V.C.5.

               4.      Within twenty-one (21) calendar days of the notice provided by the
       Settlement Fund Administrator, any party may dispute, in writing, the calculation of the
       Annual Payment (including the amount allocated for Settlement Fund Administrator costs
       and fees), or the amount to be received by a Settling State and/or its Participating
       Subdivisions listed on Exhibit G. Such disputing party must provide a written notice of
       dispute to the Settlement Fund Administrator, the Enforcement Committee, any affected
       Settling State, and the Settling Distributors identifying the nature of the dispute, the
       amount of money that is disputed, and the Settling State(s) affected.

              5.      Within twenty-one (21) calendar days of the sending of a written notice of
       dispute, any affected party may submit a response, in writing, to the Settlement Fund
       Administrator, the Enforcement Committee, any affected Settling State, and the Settling
       Distributors identifying the basis for disagreement with the notice of dispute.

               6.      If no response is filed, the Settlement Fund Administrator shall adjust the
       amount calculated consistent with the written notice of dispute, and each Settling
       Distributor shall pay its allocable share of the adjusted amount, collectively totaling that
       year’s Annual Payment, on the Payment Date. If a written response to the written notice
       of dispute is timely sent to the Settlement Fund Administrator, the Settlement Fund
       Administrator shall notify the Settling Distributors of the preliminary amount to be paid,
       which shall be the greater of the amount originally calculated by the Settling
       Administrator or the amount that would be consistent with the notice of dispute,
       provided, however, that in no circumstances shall the preliminary amount to be paid be
       higher than the maximum amount of Base and Incentive Payments A and D for that
       Payment Year as set forth on Exhibit M. For the avoidance of doubt, a transfer of
       suspended payments from the Settlement Fund Escrow pursuant to Section XII.A.2 does
       not count toward determining whether the amount to be paid is higher than the maximum
       amount of Base and Incentive Payments A and D for that Payment Year as set forth on
       Exhibit M.

              7.      The Settlement Fund Administrator shall place any disputed amount of the
       preliminary amount paid by the Settling Distributors into the Settlement Fund Escrow
       and shall disburse any undisputed amount to each Settling State and its Participating


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       Subdivisions listed on Exhibit G within fifteen (15) calendar days of the Payment Date or
       at such later time as directed by each Settling State.

               8.     Disputes described in this subsection shall be resolved in accordance with
       the terms of Section VI.F.

               9.      For the avoidance of doubt, no Subdivision not listed on Exhibit G shall
       receive an allocation from the Subdivision Fund and no provision of this Agreement shall
       be interpreted to create such an entitlement.

        C.     Procedure for Annual Payment in Payment Years 1 and 2. The process described
in Section IV.B shall not apply to Payment Years 1 and 2. The procedure in lieu of Section
IV.B.1 for Payment Years 1 and 2 is as set forth below:

               1.       The Payment Date for Payment Year 1 is September 30, 2021. Provided
       that the condition set forth in Section II.B has been satisfied, on or before such date, the
       Settling Distributors shall pay into the Settlement Fund Escrow the total amount of the
       base payment, Incentive Payment A for the Settling States (the amount specified in
       Exhibit M for Payment Year 1 reduced by the allocable share of any Non-Settling States),
       and the Settling Distributors’ allocable share of the amount of any Settlement Fund
       Administrator costs and fees that exceed the available interest accrued in the Settlement
       Fund pursuant to Section V.C.5. In the event that, in accordance with the terms of
       Section VIII.A, the Settling Distributors determine not to proceed with the Settlement, or
       the Settlement does not become effective for any other reason, the funds held in the
       Settlement Fund Escrow shall immediately revert to the Settling Distributors. If the
       condition set forth in Section VIII.A is met, the Settlement Fund Administrator shall
       allocate the Annual Payment, after subtracting the portion of Settlement Fund
       Administrator costs and fees owed out of funds from the Settlement Fund pursuant to
       Section V.C.5, pursuant to Section V.C and Section V.D among the Settling States and
       their Participating Subdivisions listed on Exhibit G. The portion of any Settlement Fund
       Administrator costs and fees owed out of funds from the Settlement Fund pursuant to
       Section V.C.5 shall be available to the Settlement Fund Administrator for the payment of
       such costs and fees immediately. The remainder of the Annual Payment for Payment
       Year 1 shall be transferred by the Settlement Fund Administrator on the Effective Date
       from the Settlement Fund Escrow to the Settlement Fund and then to each Settling State
       and to its Initial Participating Subdivisions included on Exhibit G; provided, however,
       that for any Settling State where the Consent Judgment has not been entered as of the
       Effective Date, the funds allocable to that Settling State and its Participating Subdivisions
       included on Exhibit G shall not be transferred from the Settlement Fund Escrow or
       disbursed until ten (10) calendar days after the entry of the Consent Judgment in that
       State; and, provided, further, the Settlement Fund Administrator shall leave in the
       Settlement Fund Escrow funds allocated to Subdivisions included on Exhibit G that are
       not Initial Participating Subdivisions. Should such a Subdivision become a Participating
       Subdivision between the Initial Participation Date and the Effective Date, the allocation
       for such Participating Subdivision shall be transferred to the Settlement Fund and paid to
       the Participating Subdivision at the same time as Initial Participating Subdivisions in that
       State are paid.


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               2.      The Payment Date for Payment Year 2 is July 15, 2022. On or before
       such date, the Settling Distributors shall pay into the Settlement Fund the total amount of
       the base payment, Incentive Payment A for the Settling States (the amount specified in
       Exhibit M for Payment Year 2 reduced by the allocable share of any Non-Settling States),
       and the Settling Distributors’ allocable share of the amount of any Settlement Fund
       Administrator costs and fees that exceed the available interest accrued in the Settlement
       Fund pursuant to Section V.C.5. The portion of any Settlement Fund Administrator costs
       and fees owed out of funds from the Settlement Fund pursuant to Section V.C.5 shall be
       available to the Settlement Fund Administrator for the payment of such costs and fees
       immediately. The Settlement Fund Administrator shall disburse the remaining amounts
       to each Settling State and to its Participating Subdivisions included on Exhibit G within
       fifteen (15) calendar days of the Payment Date or at such later time as directed by each
       Settling State. If a Settling State enacts a legislative Bar after the Initial Participation
       Date, but before July 15, 2022, a Subdivision that meets the requirements for becoming a
       Participating Subdivision under Section VII prior to July 15, 2022 (but was not an Initial
       Participating Subdivision) shall be eligible to receive its allocated share (if any) for
       Payment Year 2, and it shall also receive any amounts allocated to it for Payment Year 1
       from the Settlement Fund Escrow.

              3.      Any amounts remaining in the Settlement Fund Escrow for allocations to
       Subdivisions listed on Exhibit G that have not become Participating Subdivisions after all
       payments for Payment Year 2 are disbursed shall be transferred to the Settlement Fund
       and disbursed to the appropriate sub-funds in each Settling State pursuant to Section
       V.D.5.

               4.      Any disputes as to the allocation of the Annual Payments in Payment
       Years 1 and 2 shall be resolved pursuant to the process set forth in Section IV.B.3
       through Section IV.B.8, except that in Payment Year 1, the Settlement Fund
       Administrator shall have until ten (10) calendar days after the Initial Participation Date to
       give notice of the amount to be received by each Settling State, the amount to be received
       by the separate types of funds for each Settling State (if applicable), and the amount to be
       received by each Initial Participating Subdivision in the Settling States that is listed on
       Exhibit G.

        D.     Payment Date for Subsequent Payment Years. The Payment Date for Payment
Year 3 and successive Payment Years is July 15 of the third and successive years and the Annual
Payment shall be made pursuant to the process set forth in Section IV.B, except that, with respect
to Payment Year 3, Settling States shall have up to the Payment Date to become eligible for
Incentive Payment A and thus avoid the reductions set forth in Section XIII. If a Settling State
enacts a Bar less than sixty (60) calendar days before the Payment Date for Payment Year 3,
each Settling Distributor shall pay, within thirty (30) calendar days of the Payment Year 3
Payment Date, its allocable share, pursuant to Section IV.I, of the difference between the Annual
Payment as calculated by the Settlement Fund Administrator and the amount that would have
been owed had the Settlement Fund Administrator taken the Bar into account.

        E.      Base Payments. Subject to the suspension, reduction, and offset provisions set
forth in Section XII and Section XIII, the Settling Distributors shall collectively make base


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payments equal to fifty-five percent (55%) of the Net Abatement Amount multiplied by the
aggregate Overall Allocation Percentage of the Settling States. These payments will be due in
installments consistent with Exhibit M over the eighteen (18) Payment Years and as adjusted by
the Settlement Fund Administrator pursuant to the provisions in Section IV, Section XII, and
Section XIII.

         F.      Incentive Payments. Subject to the suspension, offset, and reduction provisions
set forth in Section XII and Section XIII, the Settling Distributors shall collectively make
potential additional incentive payments totaling up to a maximum of forty-five percent (45%) of
the Net Abatement Amount multiplied by the aggregate Overall Allocation Percentage of the
Settling States, with the actual amount depending on whether and the extent to which the criteria
set forth below are met in each Settling State. The incentive payments shall be divided among
four (4) categories, referred to as Incentive Payments A-D. Incentive Payments A-C will be due
in installments over the eighteen (18) Payment Years, and Incentive Payment D will be due in
installments over thirteen (13) years beginning with Payment Year 6. The total amount of
incentive payments in an Annual Payment shall be the sum of the incentive payments for which
individual Settling States are eligible for that Payment Year under the criteria set forth below.
The incentive payments shall be made with respect to a specific Settling State based on its
eligibility for that year under the criteria set forth below.

                1.      Incentive Payment A. Incentive Payment A shall be equal to forty percent
       (40%) of the Net Abatement Amount multiplied by the aggregate Overall Allocation
       Percentage of the Settling States, provided all Settling States satisfy the requirements of
       Incentive Payment A. Incentive Payment A will be due to a Settling State as part of the
       Annual Payment in each of the eighteen (18) Payment Years that a Settling State is
       eligible for Incentive Payment A and shall equal a total potential maximum of
       $7,421,605,477 if all States are eligible for all eighteen (18) Payment Years. Each
       Settling State’s share of Incentive Payment A in a given year, provided that Settling State
       is eligible, shall equal the total maximum amount available for Incentive Payment A for
       that year as reflected in Exhibit M times the Settling State’s Overall Allocation
       Percentage. Eligibility for Incentive Payment A is as follows:

                       a.      For the Payment Years 1 and 2, all Settling States are deemed
               eligible for Incentive Payment A.

                       b.      For each Payment Year other than Payment Years 1 and 2, a
               Settling State is eligible for Incentive Payment A if, as of sixty (60) calendar days
               prior to the Payment Date (except that in Payment Year 3, this date is as of the
               Payment Date), (i) there is a Bar in that State in full force and effect, (ii) there is a
               Settlement Class Resolution in that State in full force and effect, (iii) the Released
               Claims of all of the following entities are released through the execution of
               Subdivision Settlement Participation Forms, or there is a Case-Specific
               Resolution against such entities: all Primary Subdivisions, Litigating
               Subdivisions, School Districts with a K-12 student enrollment of at least 25,000
               or .10% of a State’s population, whichever is greater, and Health Districts and
               Hospital Districts that have at least one hundred twenty-five (125) hospital beds in
               one or more hospitals rendering services in that district; or (iv) a combination of


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              the actions in clauses (i)-(iii) has achieved the same level of resolution of Claims
              by Subdivisions (e.g., a Bar against future litigation combined with full joinder by
              Litigating Subdivisions). For the avoidance of doubt, subsection (iv) cannot be
              satisfied unless all Litigating Subdivisions are Participating Subdivisions or there
              is a Case-Specific Resolution against any such Subdivisions that are not
              Participating Subdivisions. The Settling Distributors and the Enforcement
              Committee shall meet and confer in order to agree on data sources for purposes of
              this Section prior to the Preliminary Agreement Date.

                      c.     Notwithstanding Section IV.F.1.b, for each Payment Year other
              than Payment Years 1 and 2, a Settling State that is not eligible for Incentive
              Payment A as of the Incentive Payment Final Eligibility Date shall not be eligible
              for Incentive Payment A for that Payment Year or any subsequent Payment
              Years.

                      d.      If the Settling Distributors made a payment under Incentive
              Payment A solely on the basis of a Bar or Settlement Class Resolution in a
              Settling State and that Bar or Settlement Class Resolution is subsequently
              removed, revoked, rescinded, reversed, overruled, interpreted in a manner to limit
              the scope of the release, or otherwise deprived of force or effect in any material
              respect, that Settling State shall not be eligible for Incentive Payment A thereafter,
              unless the State requalifies for Incentive Payment A through any method pursuant
              to Section IV.F.1.b, in which case the Settling State shall be eligible for Incentive
              Payment A less any litigation fees and costs incurred by Settling Distributor in the
              interim, except that, if the re-imposition occurs after the completion of opening
              statements in a trial involving a Released Claim, the Settling State shall not be
              eligible for Incentive Payment A (unless this exception is waived by the Settling
              Distributors).

                      e.       In determining the amount of Incentive Payment A that Settling
              Distributors will pay in a Payment Year and each Settling State’s share, if any, of
              Incentive Payment A for that Payment Year, the Settlement Fund Administrator
              shall: (i) identify all Settling States that are eligible for Incentive Payment A; (ii)
              multiply the Overall Allocation Percentage for each such eligible Settling State by
              the maximum amount that Settling Distributors could owe with respect to
              Incentive Payment A for that Payment Year as listed on Exhibit M. The amount
              calculated in (ii) shall be the amount allocated to a Settling State eligible for
              Incentive Payment A for that Payment Year and the aggregate of each such
              amount for Settling States eligible for Incentive Payment A shall be the amount of
              Incentive Payment A Settling Distributors are obligated to pay in that Payment
              Year, all such amounts subject to the suspension, offset, and reduction provisions
              in Section XII and Section XIII.

               2.      Incentive Payment B. Incentive Payment B shall be available to Settling
       States that are not eligible for Incentive Payment A for the applicable Payment Year.
       Incentive Payment B shall be equal to up to twenty-five percent (25%) of the Net
       Abatement Amount multiplied by the aggregate Overall Allocation Percentage of the


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         Settling States. Incentive Payment B will be due to a Settling State as part of the Annual
         Payment in each of the eighteen (18) Payment Years that a Settling State is eligible for
         Incentive Payment B and equal a total potential maximum of $4,638,503,423 if all States
         are eligible for all eighteen (18) Payment Years. Each Settling State’s maximum share of
         Incentive Payment B in a given year shall equal the total maximum amount available for
         Incentive Payment B for that year as reflected in Exhibit M times the Settling State’s
         Overall Allocation Percentage. Eligibility for Incentive Payment B is as follows:

                        a.     A Settling State is not eligible for Incentive Payment B for a
                  Payment Year for which it is eligible for Incentive Payment A.

                          b.      Subject to Section IV.F.2.a, the amount of Incentive Payment B for
                  which a Settling State is eligible in a Payment Year shall be a percentage of that
                  State’s maximum share of Incentive Payment B based on the extent to which
                  (A) Litigating Subdivisions in the State are Participating Subdivisions or (B) there
                  is a Case-Specific Resolution against Litigating Subdivisions in the State,
                  collectively, “Incentive B Eligible Subdivisions.” The percentage of the State’s
                  maximum share of Incentive Payment B that the State is eligible for in a Payment
                  Year shall be determined according to the table below:

                              Percentage of Litigating
                              Subdivision Population
                                 that is Incentive B
                                Eligible Subdivision                  Incentive Payment B
                                    Population5                       Eligibility Percentage
                                     Up to 85%                                   0%
                                        85%+                                    30%
                                          86+                                   40%
                                          91+                                   50%
                                          95+                                   60%
                                        99%+                                    95%
                                        100%                                   100%

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  The “Percentage of Litigating Subdivision Population that is Incentive B Eligible Subdivision Population” shall be
determined by the aggregate population of the Settling State’s Litigating Subdivisions that are Incentive B Eligible
Subdivisions divided by the aggregate population of the Settling State’s Litigating Subdivisions. In calculating the
Settling State’s population that resides in Litigating Subdivisions, (a) the population of the Settling State’s Litigating
Subdivisions shall be the sum of the population of all Litigating Subdivisions in the Settling State, notwithstanding
that persons may be included within the population of more than one Litigating Subdivision, and (b) the population
that resides in Incentive B Eligible Subdivisions shall be the sum of the population of the Incentive B Eligible
Subdivisions, notwithstanding that persons may be included within the population of more than one Incentive B
Eligible Subdivision. An individual Litigating Subdivision shall not be included more than once in the numerator,
and shall not be included more than once in the denominator, of the calculation regardless if it (or any of its
officials) is named as multiple plaintiffs in the same lawsuit; provided, however, that for the avoidance of doubt, no
Litigating Subdivision will be excluded from the numerator or denominator under this sentence unless a Litigating
Subdivision otherwise counted in the denominator has the authority to release the Claims (consistent with Section
XI) of the Litigating Subdivision to be excluded. For the avoidance of doubt, a Settling State in which the
population that resides in Incentive B Eligible Subdivisions is less than eighty-five percent (85%) of the population
of Litigating Subdivisions shall not be eligible for any portion of Incentive Payment B.


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                       c.      In determining the amount that Settling Distributors will pay in a
              Payment Year under Incentive Payment B and each Settling State’s share of
              Incentive Payment B for that Payment Year, the Settlement Fund Administrator
              shall: (i) identify all States that are eligible for Incentive Payment B because they
              are ineligible for Incentive Payment A; (ii) determine the Incentive Payment B
              eligibility percentage for each such Settling State; (iii) multiply the Incentive
              Payment B eligibility percentage for each such State by the Overall Allocation
              Percentage of that State; (iv) multiply the product from (iii) by the maximum
              amount that Settling Distributors could owe under Incentive Payment B for that
              Payment Year from Exhibit M. The amount calculated in (iv) shall be the amount
              allocated to a Settling State eligible for Incentive Payment B for that Payment
              Year, and the aggregate of such amounts for Settling States eligible for Incentive
              Payment B shall be the amount paid for that Payment Year by Settling
              Distributors with respect to Incentive Payment B, all such amounts subject to the
              suspension, offset, and reduction provisions in Section XII and Section XIII. If
              there are no Litigating Subdivisions in a Settling State, and that Settling State is
              otherwise eligible for Incentive Payment B, that Settling State will receive its full
              allocable share of Incentive Payment B.

                      d.      A Settling State’s eligibility for Incentive Payment B for a
              Payment Year shall be determined as of sixty (60) calendar days prior to the
              Payment Date for that Payment Year; provided that the percentage of Incentive
              Payment B for which a Settling State is eligible as of the Incentive Payment Final
              Eligibility Date shall cap its eligibility for that Payment Year and all subsequent
              Payment Years.

               3.      Incentive Payment C. Incentive Payment C shall be available to Settling
       States that are not eligible for Incentive Payment A for a Payment Year, including to
       Settling States that are also eligible for Incentive Payment B. Incentive Payment C shall
       be equal to up to fifteen percent (15%) of the Net Abatement Amount multiplied by the
       aggregate Overall Allocation Percentage of the Settling States. Incentive Payment C will
       be due to a Settling State as part of the Annual Payment in each of the eighteen (18)
       Payment Years that a Settling State is eligible for Incentive Payment C and equal a total
       potential maximum of $2,783,102,054 if all States are eligible for all eighteen (18)
       Payment Years. Each Settling State’s maximum share of Incentive Payment C in a given
       year shall equal the total maximum amount available for Incentive Payment C for that
       year as reflected in Exhibit M multiplied by the Settling State’s Overall Allocation
       Percentage. Eligibility for Incentive Payment C is as follows:

                    a.     A Settling State is not eligible for Incentive Payment C for a
              Payment Year in which it is eligible for Incentive Payment A.

                      b.     Subject to Section IV.F.3.a, the amount of Incentive Payment C for
              which a Settling State is eligible in a Payment Year shall be a percentage of the
              State’s maximum share of Incentive Payment C based on the extent to which
              (A) Non-Litigating Subdivisions that are Primary Subdivisions with a population


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                  over 30,000 and Litigating Subdivisions in the State are Participating
                  Subdivisions or (B) there is a Case-Specific Resolution against Non-Litigating
                  Subdivisions that are Primary Subdivisions with a population over 30,000 and
                  Litigating Subdivisions in the State, collectively, “Incentive C Eligible
                  Subdivisions.” The percentage of the State’s maximum share of Incentive
                  Payment C that the State is eligible for in a Payment Year shall be determined
                  according to the table below:

                            Percentage of Relevant
                            Subdivision Population
                              that is Incentive C              Incentive Payment C
                             Eligible Population6              Eligibility Percentage
                                  Up to 60%                               0%
                                     60%+                                25%
                                     70%+                                35%
                                     75%+                                40%
                                     80%+                                45%
                                     85%+                                55%
                                     90%+                                60%
                                     93%+                                65%
                                     94%+                                75%
                                       95+                               90%
                                       98+                               95%
                                     100%                               100%

                           c.      In determining the amount that Settling Distributors will pay in a
                  Payment Year under Incentive Payment C and each Settling State’s share of
                  Incentive Payment C for that Payment Year, the Settlement Fund Administrator
                  shall: (i) identify all States that are eligible for Incentive Payment C because they
                  are ineligible for Incentive Payment A; (ii) determine the Incentive Payment C
                  eligibility percentage for each such Settling State; (iii) multiply the Incentive
                  Payment C eligibility percentage for each such State by the Overall Allocation
                  Percentage of that State; (iv) multiply the product from (iii) by the maximum
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  The “Percentage of Relevant Subdivision Population that is Incentive C Eligible Population” shall be determined
by the aggregate population of the Settling State’s Incentive C Eligible Subdivisions divided by the aggregate
population of the Settling State’s Non-Litigating Primary Subdivisions with a population over 30,000 and Litigating
Subdivisions (“Incentive Payment C Subdivisions”). None of the population figures shall include Prior Litigating
Subdivisions. In calculating the Settling State’s population that resides in Incentive Payment C Subdivisions, (a) the
population shall be the sum of the population of all Incentive Payment C Subdivisions in the Settling State,
notwithstanding that persons may be included within the population of more than one Incentive Payment C
Subdivision, and (b) the population that resides in Incentive C Eligible Subdivisions shall be the sum of the
population of the Incentive C Eligible Subdivisions, notwithstanding that persons may be included within the
population of more than one Incentive C Eligible Subdivision. An individual Incentive Payment C Subdivision shall
not be included more than once in the numerator, and shall not be included more than once in the denominator, of
the calculation regardless if it (or any of its officials) is named as multiple plaintiffs in the same lawsuit. For the
avoidance of doubt, a Settling State in which the population that resides in Incentive C Eligible Subdivisions is less
than sixty percent (60%) of the population of Incentive Payment C Subdivisions shall not be eligible for any portion
of Incentive Payment C.


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              amount that Settling Distributors could owe under Incentive Payment C for that
              Payment Year from Exhibit M. The amount calculated in (iv) shall be the amount
              allocated to a Settling State eligible for Incentive Payment C for that Payment
              Year and the aggregate of such amounts for Settling States eligible for Incentive
              Payment C shall be the amount paid for that Payment Year by Settling
              Distributors with respect to Incentive Payment C, all such amounts subject to the
              suspension, offset, and reduction provisions in Section XII and Section XIII. If
              there are no Litigating Subdivisions or Non-Litigating Subdivisions that are
              Primary Subdivisions with a population of more than 30,000 in a Settling State,
              and that Settling State is otherwise eligible for Incentive Payment C, that Settling
              State will receive its full allocable share of Incentive Payment C.

                      d.      A Settling State’s eligibility for Incentive Payment C for a
              Payment Year shall be determined as of sixty (60) calendar days prior to the
              Payment Date for that Payment Year; provided that the percentage of Incentive
              Payment C for which a Settling State is eligible as of the Incentive Payment Final
              Eligibility Date shall cap its eligibility for that Payment Year and all subsequent
              Payment Years.

               4.      Incentive Payment D. Incentive Payment D shall be applied at Payment
       Year 6. Incentive Payment D shall be equal to five percent (5%) of the Net Abatement
       Amount multiplied by the aggregate Overall Allocation Percentage of the Settling States.
       Incentive Payment D will be due to a Settling State as part of the Annual Payment for
       each of thirteen (13) Payment Years (from Payment Year 6 to Payment Year 18) that any
       Settling State is eligible for Incentive Payment D and equal a total potential maximum of
       $927,700,685 if all States are eligible for all thirteen (13) Payment Years. Each Settling
       State’s share of Incentive Payment D in a given year shall equal the total maximum
       amount available for Incentive Payment D for that year as reflected in Exhibit M times
       the Settling State’s Overall Allocation Percentage. Eligibility for Incentive Payment D is
       as follows:

                     a.      A Settling State is eligible for Incentive Payment D if there has
              been no Later Litigating Subdivision in that State that has had a Claim against a
              Released Entity survive more than six (6) months after denial in whole or in part
              of a Threshold Motion.

                      b.      A Settling State’s eligibility for Incentive Payment D shall be
              determined as of sixty (60) calendar days prior to the Payment Date. If a Later
              Litigating Subdivision’s lawsuit in that State survives more than six (6) months
              after denial in whole or in part of a Threshold Motion after that date, that State
              shall not be eligible for Incentive Payment D for the Payment Year in which that
              occurs and any subsequent Payment Year.

                      c.      Notwithstanding Section IV.F.4, a Settling State can become re-
              eligible for Incentive Payment D if the lawsuit that survived a Threshold Motion
              is dismissed pursuant to a later motion on grounds included in the Threshold
              Motion, in which case the Settling State shall be eligible for Incentive Payment D


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               less any litigation fees and costs incurred by Settling Distributor in the interim,
               except that if the dismissal motion occurs after the completion of opening
               statements in such action, the Settling State shall not be eligible for Incentive
               Payment D.

                      d.     For the avoidance of doubt, a Settling State may be eligible for
               Incentive Payment D whether or not it is eligible for Incentive Payments A-C.

                       e.       In determining the amount of Incentive Payment D that Settling
               Distributors will pay in a Payment Year and each Settling State’s share, if any, of
               Incentive Payment D for that Payment Year, the Settlement Fund Administrator
               shall: (i) identify all Settling States that are eligible for Incentive Payment D; (ii)
               multiply the Overall Allocation Percentage for each such eligible Settling State by
               the maximum amount that Settling Distributors could owe with respect to
               Incentive Payment D for that Payment Year listed on Exhibit M; and (iii) subtract
               any litigation fees and costs allowed to be deducted pursuant to Section IV.F.4.c.
               The amount calculated in (iii) shall be the amount allocated to a Settling State
               eligible for Incentive Payment D for that Payment Year and the aggregate of each
               such amount for Settling States eligible for Incentive Payment D shall be the
               amount of Incentive Payment D Settling Distributors are obligated to pay in that
               Payment Year, all such amounts subject to the suspension, reduction, and offset
               provisions in Section XII and Section XIII.

         G.     Reductions/Offsets. The base and incentive payments are subject to suspension,
offset, and reduction as provided in Section XII and Section XIII.

        H.     State-Specific Agreements. Notwithstanding any other provision of this
Agreement or any other agreement, in the event that: (1) the Settling Distributors enter into an
agreement with any Settling State that resolves with finality such Settling State’s Claims
consistent with Section XI of this Agreement and such agreement has an effective date prior to
the Effective Date of this Agreement (such agreement, a “State-Specific Agreement”) and (2)
pursuant to the terms of the State-Specific Agreement, any payments, or any portion thereof,
made by the Settling Distributors thereunder are made in lieu of any payments (for the avoidance
of doubt, including the Additional Restitution Amount), or any portion thereof, to be made under
this Agreement and the Settling Distributors make such a payment pursuant to the State-Specific
Agreement, then the Settling Distributors will reduce any payments allocable to such Settling
State (whether made to the Settlement Fund Escrow or the Settlement Fund) made pursuant to
this Agreement to the extent such amount was already paid pursuant to the terms of the State-
Specific Agreement.

        I.      Allocation of Payments among Settling Distributors. Payments due from the
Settling Distributors under this Section IV, Section IX, and Section X will be allocated among
the Settling Distributors as follows: McKesson – 38.1%; Amerisource – 31.0%; Cardinal –
30.9%. A Settling Distributor’s sole responsibility for payments under this Agreement shall be
to make its share of each payment. The obligations of the Settling Distributors in this Agreement
are several and not joint. No Settling Distributor shall be responsible for any portion of another
Settling Distributor’s share.


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       J.     Pre-payment Option.

               1.      Any Settling Distributor shall have the right, subject to the limitations set
       forth in Section IV.J.3, to prepay any base payment or incentive payment in whole or in
       part, without premium or penalty (a “Settlement Prepayment”) by providing at least
       fourteen (14) calendar days prior written notice to the Settlement Fund Administrator and
       Enforcement Committee (a “Prepayment Notice”). Any Prepayment Notice shall
       specify: (a) the gross amount of the Settlement Prepayment (the “Gross Settlement
       Amount”), (b) the manner in which such Settlement Prepayment shall be applied to
       reduce such Settling Distributor’s future share of Annual Payments (i.e., to which future
       year(s) the allocable portion of an Annual Payment owed by such Settling Distributor the
       Settlement Prepayment should be applied) (such manner of application, a “Settlement
       Prepayment Reduction Schedule”), (c) the net present value of the Settlement Prepayment
       as of the Prepayment Date based on the Settlement Prepayment Reduction Schedule
       using a discount rate equal to the prime rate as published by the Wall Street Journal on
       the date of the Prepayment Notice plus 1.75% (such net present value amount, the “Net
       Settlement Prepayment Amount”), and (d) the date on which the prepayment will be
       made, which shall be no more than fifteen (15) calendar days after the date of the
       Prepayment Notice (the “Prepayment Date”).

               2.      On the Prepayment Date the Settling Distributor shall pay the Net
       Settlement Prepayment Amount to the Settlement Fund and such amount shall be used
       only as specified in Section V. Following such payment, all future portions of the
       Annual Payments allocated to the applicable Settling Distributor under Section IV.E and
       Section IV.F shall be reduced pursuant to the Settlement Prepayment Reduction
       Schedule, and the Exhibit M will be updated to give effect to such reduction, and going
       forward such updated schedule will be Exhibit M.

              3.      A Settling Distributor’s right to make prepayments shall be subject to the
       following limitations:

                      a.    Prepayments may apply to base payments or to both base and
              incentive payments. If the prepayment applies to both base and incentive
              payments, the prepayments will apply proportionately across base and incentive
              payments.

                      b.      A Settling Distributor shall make no more than three (3)
              prepayments over the eighteen (18) year payment term. A Settling Distributor
              shall not make more than one (1) prepayment in a five (5) year period and there
              shall not be prepayments made in the first two (2) Payment Years.

                     c.    Prepayments shall only be applied to one (1) or more of the three
              (3) Payment Years following the prepayment.

                     d.      The total amount of a prepayment of base payments after
              discounting calculations shall not be larger than the base payment for the Payment
              Year with the lowest Annual Payment amount affected by the prepayment. The



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              total amount of a prepayment for both base payments and incentive payments
              shall not be larger than the base payment and anticipated incentive payment for
              the lowest Payment Year affected by the prepayment. The “anticipated incentive
              payment” for a future Payment Year shall reflect the incentives earned by each
              Settling State as of the time of the prepayment and any offsets or adjustments
              known at that time.

                      e.      In a Payment Year against which there has been a prepayment, if
              the amount a Settling State is calculated to receive is greater than the amount
              prepaid prior to discounting calculations, the Settling Distributor shall pay the
              difference. If, in a Payment Year for which there has been a prepayment, the
              amount that a Settling State is calculated to receive is less than the amount
              calculated at the time of the prepayment, there shall be a credit for the difference
              to the Settling Distributor to be applied in the subsequent Payment Year(s), if any.

                      f.      Prepayments shall be applied proportionately to all Settling States.

                4.     The Settling States may agree to a prepayment that does not apply these
       restrictions. Such a prepayment would need approval of Settling States representing at
       least ninety-five percent (95%) allocable share as measured by the allocations in Exhibit
       F; provided, however, that this provision does not limit or restrict any Settling State from
       negotiating its own prepayment with a Settling Distributor.

               5.     For illustrative purposes only, attached as Exhibit Q are examples showing
       a Settlement Prepayment, the related calculation of the Net Settlement Prepayment
       Amount, and the related adjustment to the Settlement Payment Schedule.

       K.     Significant Financial Constraint.

                1.      A Settling Distributor’s allocable share of the Annual Payment for a
       Payment Year may, at the election of such Settling Distributor, be deferred either (a) up
       to the amount by which that share plus such Settling Distributor’s share of amounts
       payable under Section IX and Section X would exceed twenty percent (20%) of such
       Settling Distributor’s total operating cash flow (as determined pursuant to United States
       generally accepted accounting principles) for its fiscal year that concluded most recently
       prior to the due date for that payment or (b) (i) up to twenty-five percent (25%) if, as of
       thirty (30) calendar days preceding that payment date, the company’s credit rating from
       one or more of the three nationally recognized rating agencies is below BBB or Baa2 or
       (ii) up to one hundred percent (100%) if, as of thirty (30) calendar days preceding that
       payment date, the company’s credit rating from one or more of the three nationally
       recognized rating agencies is below BBB- or Baa3. If the reason for exceeding twenty
       percent (20%) of a Settling Distributor’s total operating cash flow or the decrease in
       credit rating is substantially attributable to the incurrence of debt to fund post-settlement
       acquisitions or to the payment of dividends and/or share repurchases that together are of
       an amount that exceeds the total amount of those two items for the prior fiscal year, no
       deferral is available. A Settling Distributor shall not be allowed to defer payment for a




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       Payment Year if that Settling Distributor engaged in any share repurchases in the three
       fiscal quarters prior to the Payment Date for that Payment Year.

               2.      If a Settling Distributor has reason to believe that it will not be able to pay
       some or all of its allocable share of the Annual Payment for a Payment Year, it shall
       provide at least ninety (90) calendar days’ prior written notice to the Settlement Fund
       Administrator and Enforcement Committee (a “Deferred Payment Notice”). Any
       Deferred Payment Notice shall specify and include: (a) the gross amount of the payments
       owed (including the estimated allocable portion of the Annual Payment, and amounts
       owed under Section IX and Section X, by the relevant Settling Distributor), (b) the
       amount that the Settling Distributor believes it will be unable to pay, (c) the accounting
       and audited financial documents upon which the Settling Distributor relied for making
       this determination, and (d) any other relevant information for the Enforcement
       Committee to consider.

               3.      A Settling Distributor shall not utilize this provision during the first three
       (3) Payment Years. If a Settling Distributor defers some or all of the payments due in a
       Payment Year pursuant to this Section IV.K, it shall not repurchase any shares, or fund
       new acquisitions with an acquisition price greater than $250 million, during the deferral
       period until the deferred amount is fully repaid with interest. Any amounts deferred shall
       bear interest at an interest rate equal to the prime rate as published by the Wall Street
       Journal on the date of the Deferral Payment Notice plus 0.5%.

               4.     The Settling Distributor shall pay all deferred amounts, including
       applicable interest on the next Payment Date. If the amounts previously deferred
       (including interest) together with the Settling Distributor’s share of all payments due for a
       Payment Year would allow for a deferral under Section IV.K.1, the Settling Distributor
       shall pay as much of the previously deferred amounts (including interest) as it can pay
       without triggering the ability to defer payment and may defer the remainder as permitted
       under (and subject to the restrictions of) this Section IV.K.

               5.        Deferrals will apply proportionally across base payments and incentive
       payments. For the avoidance of doubt, this Section IV.K applies fully to Payment Years
       after the first three (3) Payment Years, including the base payments and all incentive
       payments due pursuant to this Agreement during the Payment Year at issue.

               6.      If a Settling Distributor could pay a portion of its allocable share of the
       Annual Payments due pursuant to this Agreement during a Payment Year without
       triggering this Section IV.K, the Settling Distributor shall be required to pay that portion
       as scheduled and only the excess would be subject to deferral at the election of the
       Settling Distributor (in whole or in part) as provided herein.

              7.      The Settling Distributor shall pay any deferred amounts, including
       applicable interest on or before the date on which the payment is due for Payment Year
       18.




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V.     Allocation and Use of Settlement Payments

        A.      Components of Settlement Fund. The Settlement Fund shall be comprised of an
Abatement Accounts Fund, a State Fund, and a Subdivision Fund for each Settling State. The
payments made under Section IV into the Settlement Fund shall be initially allocated among
those three (3) sub-funds and distributed and used as provided below. Payments placed into the
Settlement Fund do not revert back to the Settling Distributors.

       B.      Use of Settlement Payments.

               1.     It is the intent of the Parties that the payments disbursed from the
       Settlement Fund to Settling States and Participating Subdivisions be for Opioid
       Remediation, subject to exceptions that must be documented in accordance with Section
       V.B.2. In no event may less than eighty-five percent (85%) of the Settling Distributors’
       maximum amount of payments pursuant to Section IV, Section IX, and Section X as set
       forth on Exhibit M over the entirety of all Payments Years (but not any single Payment
       Year) be spent on Opioid Remediation.

               2.      While disfavored by the Parties, a Settling State or a Participating
       Subdivision set forth on Exhibit G may use monies from the Settlement Fund (that have
       not been restricted by this Agreement solely to future Opioid Remediation) for purposes
       that do not qualify as Opioid Remediation. If, at any time, a Settling State or a
       Participating Subdivision set forth on Exhibit G uses any monies from the Settlement
       Fund for a purpose that does not qualify as Opioid Remediation, such Settling State or
       Participating Subdivision set forth on Exhibit G shall identify such amounts and report to
       the Settlement Fund Administrator and the Settling Distributors how such funds were
       used, including if used to pay attorneys’ fees, investigation costs, litigation costs, or costs
       related to the operation and enforcement of this Agreement, respectively. It is the intent
       of the Parties that the reporting under this Section V.B.2 shall be available to the public.
       For the avoidance of doubt, (a) any amounts not identified under this Section V.B.2 as
       used to pay attorneys’ fees, investigation costs, or litigation costs shall be included in the
       “Compensatory Restitution Amount” for purposes of Section VI.F and (b) Participating
       Subdivisions not listed on Exhibit G may only use monies from the Settlement Fund for
       purposes that qualify as Opioid Remediation.

       C.      Allocation of Settlement Fund.

         The allocation of the Settlement Fund allows for different approaches to be taken in
different states, such as through a State-Subdivision Agreement. Given the uniqueness of States
and their Subdivisions, Settling States and their Subdivisions are encouraged to enter into State-
Subdivision Agreements in order to direct the allocation of their portion of the Settlement Fund.
As set out below, the Settlement Fund Administrator will make an initial allocation to three (3)
state-level sub-funds. The Settlement Fund Administrator will then, for each Settling State and
its Participating Subdivisions, apply the terms of this Agreement and any relevant State-
Subdivision Agreement, Statutory Trust, Allocation Statute, or voluntary redistribution of funds
as set out below before disbursing the funds.




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               1.      Base Payments. The Settlement Fund Administrator will allocate base
       payments under Section IV.D among the Settling States in proportion to their respective
       Overall Allocation Percentages. Base payments for each Settling State will then be
       allocated fifteen percent (15%) to its State Fund, seventy percent (70%) to its Abatement
       Accounts Fund, and fifteen percent (15%) to its Subdivision Fund. Amounts may be
       reallocated and will be distributed as provided in Section V.D.

               2.      Incentive Payments. The Settlement Fund Administrator will treat
       incentive payments under Section IV.F on a State-specific basis. Incentive payments for
       which a Settling State is eligible under Section IV.F will be allocated fifteen percent
       (15%) to its State Fund, seventy percent (70%) to its Abatement Accounts Fund, and
       fifteen percent (15%) to its Subdivision Fund. Amounts may be reallocated and will be
       distributed as provided in Section V.D.

              3.      Application of Adjustments. If a suspension, offset, or reduction under
       Section XII or Section XIII applies with respect to a Settling State, the suspension, offset,
       or reduction shall be applied proportionally to all amounts that would otherwise be
       apportioned and distributed to the State Fund, the Abatement Accounts Fund, and the
       Subdivision Fund for that State.

               4.      Settlement Fund Administrator. Prior to the Initial Participation Date, the
       Settling Distributors and the Enforcement Committee will agree to a detailed mechanism
       consistent with the foregoing for the Settlement Fund Administrator to follow in
       allocating, apportioning, and distributing payments, which shall then be appended hereto
       as Exhibit L.

               5.      Settlement Fund Administrator Costs. Any costs and fees associated with
       or arising out of the duties of the Settlement Fund Administrator as described in Exhibit
       L shall be paid from the interest accrued in the Settlement Fund Escrow and the
       Settlement Fund; provided, however, that if such accrued interest is insufficient to pay the
       entirety of any such costs and fees, Settling Distributors shall pay fifty percent (50%) of
       the additional amount and fifty percent (50%) shall be paid out of the Settlement Fund.

       D.      Settlement Fund Reallocation and Distribution.

       As set forth below, within a particular Settling State’s account, amounts contained in the
Settlement Fund sub-funds may be reallocated and distributed per a State-Subdivision
Agreement or other means. If the apportionment of amounts is not addressed and controlled
under Section V.D.1 and Section V.D.2, then the default provisions of Section V.D.4 apply. It is
not necessary that a State-Subdivision Agreement or other means of allocating funds pursuant to
Section V.D.1 and Section V.D.2 address all of the Settlement Fund sub-funds. For example, a
Statutory Trust might only address disbursements from a Settling State’s Abatement Accounts
Fund.

              1.      Distribution by State-Subdivision Agreement. If a Settling State has a
       State-Subdivision Agreement, amounts apportioned to that State’s State Fund, Abatement
       Accounts Fund, and Subdivision Fund under Section V.C shall be reallocated and



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        distributed as provided by that agreement. Any State-Subdivision Agreement entered
        into after the Preliminary Agreement Date shall be applied only if it requires: (a) that all
        amounts be used for Opioid Remediation, except as allowed by Section V.B.2, and (b)
        that at least seventy percent (70%) of amounts be used solely for future Opioid
        Remediation.7 For a State-Subdivision Agreement to be applied to the relevant portion of
        an Annual Payment, notice must be provided to the Settling Distributors and the
        Settlement Fund Administrator at least sixty (60) calendar days prior to the Payment
        Date.

                 2.     Distribution by Allocation Statute. If a Settling State has an Allocation
        Statute and/or a Statutory Trust that addresses allocation or distribution of amounts
        apportioned to such State’s State Fund, Abatement Accounts Fund, and/or Subdivision
        Fund and that, to the extent any or all such sub-funds are addressed, requires (1) all
        amounts to be used for Opioid Remediation, except as allowed by Section V.B.2, and (2)
        at least seventy percent (70%) of all amounts to be used solely for future Opioid
        Remediation,8 then, to the extent allocation or distribution is addressed, the amounts
        apportioned to that State’s State Fund, Abatement Accounts Fund, and Subdivision Fund
        under Section V.C shall be allocated and distributed as addressed and provided by the
        applicable Allocation Statute or Statutory Trust. For the avoidance of doubt, an
        Allocation Statute or Statutory Trust need not address all three (3) sub-funds that
        comprise the Settlement Fund, and if the applicable Allocation Statute or Statutory Trust
        does not address distribution of all or some of these three (3) sub-funds, the applicable
        Allocation Statute or Statutory Trust does not replace the default provisions described in
        Section V.D.4 of any such unaddressed fund. For example, if an Allocation Statute or
        Statutory Trust that meets the requirements of this Section V.D.2 only addresses funds
        restricted to abatement, then the default provisions in this Agreement concerning
        allocation among the three (3) sub-funds comprising the Settlement Fund and the
        distribution of the State Fund and Subdivision Fund for that State would still apply, while
        the distribution of the applicable State’s Abatement Accounts Fund would be governed
        by the qualifying Allocation Statute or Statutory Trust.

                3.       Voluntary Redistribution. A Settling State may choose to reallocate all or
        a portion of its State Fund to its Abatement Accounts Fund. A Participating Subdivision
        included on Exhibit G may choose to reallocate all or a portion of its allocation from the
        Subdivision Fund to the State’s Abatement Accounts Fund or to another Participating
        Subdivision. For a voluntary redistribution to be applied to the relevant portion of an
        Annual Payment, notice must be provided to the Settling Distributors and the Settlement
        Fund Administrator at least sixty (60) calendar days prior to the Payment Date.

                4.      Distribution in the Absence of a State-Subdivision Agreement, Allocation
        Statute, or Statutory Trust. If Section V.D.1 and Section V.D.2 do not apply, amounts

7
  Future Opioid Remediation includes amounts paid to satisfy any future demand by another governmental entity to
make a required reimbursement in connection with the past care and treatment of a person related to the Alleged
Harms.
8
  Future Opioid Remediation includes amounts paid to satisfy any future demand by another governmental entity to
make a required reimbursement in connection with the past care and treatment of a person related to the Alleged
Harms.


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       apportioned to that State’s State Fund, Abatement Accounts Fund, and Subdivision Fund
       under Section V.C shall be distributed as follows:

                      a.     Amounts apportioned to that State’s State Fund shall be distributed
              to that State.

                      b.      Amounts apportioned to that State’s Abatement Accounts Fund
              shall be distributed consistent with Section V.E. Each Settling State shall submit
              to the Settlement Fund Administrator a designation of a lead state agency or other
              entity to serve as the single point of contact for that Settling State’s funding
              requests from the Abatement Accounts Fund and other communications with the
              Settlement Fund Administrator. The designation of an individual entity is for
              administrative purposes only and such designation shall not limit funding to such
              entity or even require that such entity receive funds from this Agreement. The
              designated entity shall be the only entity authorized to request funds from the
              Settlement Fund Administrator to be disbursed from that Settling State’s
              Abatement Accounts Fund. If a Settling State has established a Statutory Trust
              then that Settling State’s single point of contact may direct the Settlement Fund
              Administrator to release the State’s Abatement Accounts Fund to the Statutory
              Trust.

                      c.      Amounts apportioned to that State’s Subdivision Fund shall be
              distributed to Participating Subdivisions in that State included on Exhibit G per
              the Subdivision Allocation Percentage listed in Exhibit G. Section VII.I shall
              govern amounts that would otherwise be distributed to Non-Participating
              Subdivisions listed in Exhibit G. For the avoidance of doubt and notwithstanding
              any other provision in this Agreement, no Non-Participating Subdivision will
              receive any amount from the Settlement Fund, regardless of whether such
              Subdivision is included on Exhibit G.

                      d.      Special Districts shall not be allocated funds from the Subdivision
              Fund, except through a voluntary redistribution allowed by Section V.D.3. A
              Settling State may allocate funds from its State Fund or Abatement Accounts
              Fund for Special Districts.

               5.      Restrictions on Distribution. No amounts may be distributed from the
       Subdivision Fund contrary to Section VII, i.e., no amounts may be distributed directly to
       Non-Participating Subdivisions or to Later Participating Subdivisions to the extent such a
       distribution would violate Section VII.E through Section VII.H. Amounts allocated to
       the Subdivision Fund that cannot be distributed by virtue of the preceding sentence shall
       be distributed into the sub-account in the Abatement Accounts Fund for the Settling State
       in which the Subdivision is located, unless those payments are redirected elsewhere by a
       State-Subdivision Agreement described in Section V.D.1 or by an Allocation Statute or a
       Statutory Trust described in Section V.D.2.

       E.     Provisions Regarding the Abatement Accounts Fund.




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               1.       State-Subdivision Agreement, Allocation Statute, and Statutory Trust
        Fund Provisions. A State-Subdivision Agreement, Allocation Statute, or Statutory Trust
        may govern the operation and use of amounts in that State’s Abatement Accounts Fund
        so long as it complies with the requirements of Section V.D.1 or Section V.D.2, as
        applicable, and all direct payments to Subdivisions comply with Section VII.E through
        Section VII.H.

                2.      Absence of a State-Subdivision Agreement, Allocation Statute, or
        Statutory Trust. In the absence of a State-Subdivision Agreement, Allocation Statute, or
        Statutory Trust that addresses distribution, the Abatement Accounts Fund will be used
        solely for future Opioid Remediation9 and the following shall apply with respect to a
        Settling State:

                         a.       Regional Remediation.

                                  (i)    At least fifty percent (50%) of distributions for remediation
                         from a State’s Abatement Accounts Fund shall be annually allocated and
                         tracked to the regional level. A Settling State may allow the Advisory
                         Committee established pursuant to Section V.E.2.d to define its regions
                         and assign regional allocations percentages. Otherwise, a Settling State
                         shall (A) define its initial regions, which shall consist of one (1) or more
                         General Purpose Subdivisions and which shall be designated by the state
                         agency with primary responsibility for substance abuse disorder services
                         employing, to the maximum extent practical, existing regions established
                         in that State for opioid abuse treatment or other public health purposes;
                         (B) assign initial regional allocation percentages to the regions based on
                         the Subdivision Allocation Percentages in Exhibit G and an assumption
                         that all Subdivisions included on Exhibit G will become Participating
                         Subdivisions.

                                 (ii)    This minimum regional expenditure percentage is
                         calculated on the Settling State’s initial Abatement Accounts Fund
                         allocation and does not include any additional amounts a Settling State has
                         directed to its Abatement Accounts Fund from its State Fund, or any other
                         amounts directed to the fund. A Settling State may dedicate more than
                         fifty percent (50%) of its Abatement Accounts Fund to the regional
                         expenditure and may annually adjust the percentage of its Abatement
                         Accounts Fund dedicated to regional expenditures as long as the
                         percentage remains above the minimum amount.

                                 (iii) The Settling State (A) has the authority to adjust the
                         definition of the regions, and (B) may annually revise the percentages



9
 Future Opioid Remediation includes amounts paid to satisfy any future demand by another governmental entity to
make a required reimbursement in connection with the past care and treatment of a person related to the Alleged
Harms.


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                    allocated to each region to reflect the number of General Purpose
                    Subdivisions in each region that are Non-Participating Subdivisions.

                     b.      Subdivision Block Grants. Certain Subdivisions shall be eligible to
             receive regional allocation funds in the form of a block grant for future Opioid
             Remediation. A Participating Subdivision eligible for block grants is a county or
             parish (or in the case of States that do not have counties or parishes that function
             as political subdivisions, a city) that (1) does not contain a Litigating Subdivision
             or a Later Litigating Subdivision for which it has the authority to end the litigation
             through a release, bar or other action, (2) either (i) has a population of 400,000 or
             more or (ii) in the case of California has a population of 750,000 or more, and
             (3) has funded or otherwise managed an established health care or treatment
             infrastructure (e.g., health department or similar agency). Each Subdivision
             eligible to receive block grants shall be assigned its own region.

                     c.      Small States. Notwithstanding the provisions of Section V.E.2.a,
             Settling States with populations under four (4) million that do not have existing
             regions described in Section V.E.2.a shall not be required to establish regions.
             However, such a Settling State that contains one (1) or more Subdivisions eligible
             for block grants under Section V.E.2.c shall be divided regionally so that each
             block-grant eligible Subdivision is a region and the remainder of the state is a
             region.

                     d.      Advisory Committee. The Settling State shall designate an Opioid
             Settlement Remediation Advisory Committee (the “Advisory Committee”) to
             provide input and recommendations regarding remediation spending from that
             Settling State’s Abatement Accounts Fund. A Settling State may elect to use an
             existing advisory committee or similar entity (created outside of a State-
             Subdivision Agreement or Allocation Statute); provided, however, the Advisory
             Committee or similar entity shall meet the following requirements:

                           (i)    Written guidelines that establish the formation and
                    composition of the Advisory Committee, terms of service for members,
                    contingency for removal or resignation of members, a schedule of
                    meetings, and any other administrative details;

                           (ii)    Composition that includes at least an equal number of local
                    representatives as state representatives;

                            (iii) A process for receiving input from Subdivisions and other
                    communities regarding how the opioid crisis is affecting their
                    communities, their abatement needs, and proposals for abatement
                    strategies and responses; and

                            (iv)   A process by which Advisory Committee recommendations
                    for expenditures for Opioid Remediation will be made to and considered
                    by the appropriate state agencies.



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                3.     Abatement Accounts Fund Reporting. The Settlement Fund Administrator
       shall track and assist in the report of remediation disbursements as agreed to among the
       Settling Distributors and the Enforcement Committee.

        F.      Nature of Payment. Each of the Settling Distributors, the Settling States, and the
Participating Subdivisions acknowledges and agrees that notwithstanding anything to the
contrary in this Agreement, including, but not limited to, the scope of the Released Claims:

              1.     It has entered into this Agreement to avoid the delay, expense,
       inconvenience, and uncertainty of further litigation;

               2.     (a) The Settling States and Participating Subdivisions sought
       compensatory restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A)) as damages
       for the Alleged Harms allegedly suffered by the Settling States and Participating
       Subdivisions; (b) the Compensatory Restitution Amount is no greater than the amount, in
       the aggregate, of the Alleged Harms allegedly suffered by the Settling States and
       Participating Subdivisions; and (c) the portion of the Compensatory Restitution Amount
       received by each Settling State or Participating Subdivision is no greater than the amount
       of the Alleged Harms allegedly suffered by such Settling State or Participating
       Subdivision;

              3.      The payment of the Compensatory Restitution Amount by the Settling
       Distributors constitutes, and is paid for, compensatory restitution (within the meaning of
       26 U.S.C. § 162(f)(2)(A)) for alleged damage or harm (as compensation for alleged
       damage or harm arising out of alleged bodily injury) allegedly caused by the Settling
       Distributors;

                4.      The Compensatory Restitution Amount is being paid as compensatory
       restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A)) in order to restore, in whole
       or in part, the Settling States and Participating Subdivisions to the same position or
       condition that they would be in had the Settling States and Participating Subdivisions not
       suffered the Alleged Harms; and

               5.      For the avoidance of doubt: (a) no portion of the Compensatory
       Restitution Amount represents reimbursement to any Settling State or Participating
       Subdivision or other person or entity for the costs of any investigation or litigation,
       (b) the entire Compensatory Restitution Amount is properly characterized as described in
       Section V.F, and (c) no portion of the Compensatory Restitution Amount constitutes
       disgorgement or is properly characterized as the payment of statutory or other fines,
       penalties, punitive damages, or other punitive assessments.

VI.    Enforcement

        A.      Enforceability. This Agreement is enforceable only by the Settling States and the
Settling Distributors; provided, however, that Released Entities may enforce Section XI and
Participating Subdivisions listed on Exhibit G have the enforcement rights described in Section
VI.D. Except to the extent allowed by the Injunctive Relief Terms, Settling States and
Participating Subdivisions shall not have enforcement rights with respect to either the terms of


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this Agreement that apply only to or in other States or any Consent Judgment entered into by
another Settling State. Participating Subdivisions shall not have enforcement rights against the
Settling Distributors with respect to this Agreement or any Consent Judgment except that
Participating Subdivisions listed on Exhibit G shall have enforcement rights as set forth herein as
to payments that would be allocated to the Subdivision Fund or Abatement Accounts Fund
pursuant to Section V; provided, however, that each Settling State shall allow Participating
Subdivisions in such Settling State to notify it of any perceived violations of this Agreement or
the applicable Consent Judgment.

        B.     Jurisdiction. The Settling Distributors consent to the jurisdiction of the court in
which each Settling State files its Consent Judgment, limited to resolution of disputes identified
in Section VI.F.1 for resolution in that court.

       C.      Specific Terms Dispute Resolution.

               1.    Any dispute that is addressed by the provisions set forth in the Injunctive
       Relief Terms shall be resolved as provided therein.

                2.      In the event that Settling Distributors believe that the eight-five percent
       (85%) threshold established in Section V.B.1 is not being satisfied, any Party may request
       that the Settling Distributors and Enforcement Committee meet and confer regarding the
       use of funds to implement Section V.B.1. The completion of such meet-and-confer
       process is a precondition to further action regarding any such dispute. Further action
       concerning Section V.B.1 shall: (i) be limited to the Settling Distributors seeking to
       reduce their Annual Payments by no more than five percent (5%) of the difference
       between the actual amount of Opioid Remediation and the eighty-five percent (85%)
       threshold established in Section V.B.1; (ii) only reduce Annual Payments to those
       Settling States and their Participating Subdivisions that are below the eighty-five percent
       (85%) threshold established in Section V.B.1; and (iii) not reduce Annual Payments
       restricted to future Opioid Remediation.

       D.      State-Subdivision Enforcement.

               1.      A Subdivision shall not have enforcement rights against a Settling State in
       which it is located with respect to this Agreement or any Consent Judgment except that a
       Participating Subdivision listed on Exhibit G shall have enforcement rights (a) as
       provided for in a State-Subdivision Agreement, Allocation Statute, or Statutory Trust
       with respect to intrastate allocation or (b) in the absence of a State-Subdivision
       Agreement, Allocation Statute, or Statutory Trust, to allegations that (i) the Settling
       State’s use of Abatement Accounts Fund monies were not used for uses similar to or in
       the nature of those uses contained in Exhibit E; or (ii) a Settling State failed to pay funds
       directly from the Abatement Accounts Fund to a Participating Subdivision eligible to
       receive a block grant pursuant to Section V.E.2.b.

              2.      A Settling State shall have enforcement rights against a Participating
       Subdivision located in its territory (a) as provided for in a State-Subdivision Agreement,
       Allocation Statute, or Statutory Trust; or (b) in the absence of a State-Subdivision



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       Agreement, Allocation Statute, or Statutory Trust, to allegations that the Participating
       Subdivisions’ uses of Abatement Accounts Fund monies were not used for purposes
       similar to or in the nature of those uses contained in Exhibit E.

               3.      As between Settling States and Participating Subdivisions, the above
       rights are contractual in nature and nothing herein is intended to limit, restrict, change or
       alter any other existing rights under law.

        E.     Subdivision Distributor Payment Enforcement. A Participating Subdivision listed
on Exhibit G shall have the same right as a Settling State pursuant to Section VI.F.2.a(v) to seek
resolution regarding the failure by a Settling Distributor to make its allocable share of an Annual
Payment in a Payment Year.

       F.      Other Terms Regarding Dispute Resolution.

                1.     Except to the extent provided by Section VI.C or Section VI.F.2, all
       disputes shall be resolved in either the court that entered the relevant Consent Judgment
       or, if no such Consent Judgment was entered, a state or territorial court with jurisdiction
       located wherever the seat of the relevant state government is located.

                      a.      State court proceedings shall be governed by the rules and
               procedures of the relevant forum.

                      b.       For the avoidance of doubt, disputes to be resolved in state court
               include, but are not limited to, the following:

                            (i)    disputes concerning whether expenditures qualify as Opioid
                      Remediation;

                              (ii)   disputes between a Settling State and its Participating
                      Subdivisions as provided by Section VI.D, except to the extent the State-
                      Subdivision Agreement provides for other dispute resolution mechanisms.
                      For the avoidance of doubt, disputes between a Settling State and any
                      Participating Subdivision shall not be considered National Disputes;

                             (iii) whether this Agreement and relevant Consent Judgment are
                      binding under state law;

                              (iv)    the extent of the Attorney General’s or other participating
                      entity’s authority under state law, including the extent of the authority to
                      release claims;

                              (v)    whether the definition of a Bar, a Case-Specific Resolution,
                      Final Order, lead state agency as described in Section V.D.4.b, Later
                      Litigating Subdivision, Litigating Subdivision, or Threshold Motion have
                      been met; and




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                              (vi)   all other disputes not specifically identified in Section VI.C
                      or Section VI.F.2.

                      c.       Any Party may request that the National Arbitration Panel provide
              an interpretation of any provision of the settlement that is relevant to the state
              court determination, and the National Arbitration Panel shall make reasonable
              best efforts to supply such interpretation within the earlier of thirty (30) calendar
              days or the time period required by the state court proceedings. Any Party may
              submit that interpretation to the state court to the extent permitted by, and for such
              weight provided by, the state court’s rules and procedures. If requested by a
              Party, the National Arbitration Panel shall request that its interpretation be
              accepted in the form of an amicus curiae brief, and any attorneys’ fees and costs
              for preparing any such filing shall be paid for by the requesting Party.

               2.     National Disputes involving a Settling State, a Participating Subdivision
       that has enforcement rights pursuant to Section VI.A, and/or a Settling Distributor shall
       be resolved by the National Arbitration Panel.

                      a.      National Disputes are disputes that are not addressed by
              Section VI.C, and which are exceptions to Section VI.F.1’s presumption of
              resolution in state courts because they involve issues of interpretation of terms
              contained in this Agreement applicable to all Settling States without reference to a
              particular State’s law. Disputes between a Settling State and any Participating
              Subdivision shall not be considered National Disputes. National Disputes are
              limited to the following:

                              (i)     the amount of offset and/or credit attributable to Non-
                      Settling States or the Tribal/W. Va. Subdivision Credit;

                             (ii)    issues involving the scope and definition of Product;

                            (iii) interpretation and application of the terms “Covered
                      Conduct,” “Released Entities,” and “Released Claims”;

                             (iv)    the allocation of payments among Settling Distributors as
                      described in Section IV.I;

                              (v)     the failure by a Settling Distributor to pay its allocable
                      share of the Annual Payment or of the Additional Restitution Amount in a
                      Payment Year, but for the avoidance of doubt, disputes between a Settling
                      Distributor and a Settling State over the amounts owed only to that state
                      that do not affect any other Settling State shall not be considered National
                      Disputes;

                              (vi)    the interpretation and application of the significant
                      financial constraint provision in Section IV.K, including, without
                      limitation, eligibility for and amount of deferrals for any given year, time
                      for repayment, and compliance with restrictions during deferral term;


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                           (vii) the interpretation and application of the prepayment
                    provisions as described in Section IV.J;

                            (viii) the interpretation and application of any most-favored-
                    nation provision in Section XIV.E;

                           (ix)   questions regarding the performance and/or removal of the
                    Settlement Fund Administrator;

                            (x)   replacement of the Monitor, as provided in the Injunctive
                    Relief Terms;

                            (xi)    disputes involving liability of successor entities;

                            (xii) disputes that require a determination of the sufficiency of
                    participation in order to qualify for Incentive Payments A, B, or C, as well
                    as disputes over qualification for Participation Tiers;

                           (xiii) disputes involving a Releasor’s compliance with, and the
                    appropriate remedy under, Section XI.B.I.A.3;

                            (xiv) disputes requiring the interpretation of Agreement terms
                    that are national in scope or impact, which shall mean disputes requiring
                    the interpretation of Agreement terms that (i) concretely affect four (4) or
                    more Settling States; and (ii) do not turn on unique definitions and
                    interpretations under state law; and

                           (xv) any dispute subject to resolution under Section VI.F.1 but
                    for which all parties to the dispute agree to arbitration before the National
                    Arbitration Panel under the provisions of this Section VI.F.2.

                     b.       The National Arbitration Panel shall be comprised of three (3)
             arbitrators. One (1) arbitrator shall be chosen by the Settling Distributors, one (1)
             arbitrator shall be chosen by the Enforcement Committee with due input from
             Participating Subdivisions listed on Exhibit G, and the third arbitrator shall be
             agreed upon by the first two (2) arbitrators. The membership of the National
             Arbitration Panel is intended to remain constant throughout the term of this
             Agreement, but in the event that replacements are required, the retiring arbitrator
             shall be replaced by the party that selected him/her.

                     c.     The National Arbitration Panel shall make reasonable best efforts
             to decide all matters within one hundred eighty (180) calendar days of filing, and
             in no event shall it take longer than one (1) year.

                    d.      The National Arbitration Panel shall conduct all proceedings in a
             reasonably streamlined process consistent with an opportunity for the parties to be
             heard. Issues shall be resolved without the need for live witnesses where feasible,



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              and with a presumption in favor of remote participation to minimize the burdens
              on the parties.

                      e.      To the extent allowed under state law, a Settling State, a
              Participating Subdivision that has enforcement rights pursuant to Section VI.A,
              and (at any party’s request) the National Arbitration Panel may certify to an
              appropriate state court any question of state law. The National Arbitration Panel
              shall be bound by a final state court determination of such a certified question.
              The time period for the arbitration shall be tolled during the course of the
              certification process.

                      f.      The arbitrators will give due deference to any authoritative
              interpretation of state law, including any declaratory judgment or similar relief
              obtained by a Settling State, a Participating Subdivision that has enforcement
              rights pursuant to Section VI.A, or Settling Distributor on a state law issue.

                      g.      The decisions of the National Arbitration Panel shall be binding on
              Settling States, Participating Subdivisions, Settling Distributors, and the
              Settlement Fund Administrator. In any proceeding before the National
              Arbitration Panel involving a dispute between a Settling State and one or more
              Settling Distributors whose resolution could prejudice the rights of a Participating
              Subdivision(s) in that Settling State, such Participating Subdivision(s) shall be
              allowed to file a statement of view in the proceeding.

                       h.      Nothing herein shall be construed so as to limit or otherwise
              restrict a State from seeking injunctive or other equitable relief in state court to
              protect the health, safety, or welfare of its citizens.

                       i.      Each party shall bear its own costs in any arbitration or court
              proceeding arising under this Section VI. The costs for the arbitrators on the
              National Arbitration Panel shall be divided and paid equally by the disputing sides
              for each individual dispute, e.g., a dispute between a Settling Distributor and
              Settling States/Participating Subdivisions shall be split fifty percent (50%) by the
              Settling Distributor and fifty percent (50%) by the Settling States/Participating
              Subdivisions that are parties to the dispute; a dispute between a Settling State and
              a Participating Subdivision shall be split fifty percent (50%) by the Settling State
              that is party to the dispute and fifty percent (50%) by any Participating
              Subdivisions that are parties to the dispute.

             3.      Prior to initiating an action to enforce pursuant to this Section VI.F, the
       complaining party must:

                      a.      Provide written notice to the Enforcement Committee of its
              complaint, including the provision of the Consent Judgment and/or Agreement
              that the practice appears to violate, as well as the basis for its interpretation of the
              disputed provision. The Enforcement Committee shall establish a reasonable
              process and timeline for obtaining additional information from the involved



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               parties; provided, however, that the date the Enforcement Committee establishes
               for obtaining additional information from the parties shall not be more than forty-
               five (45) calendar days following the notice. The Enforcement Committee may
               advise the involved parties of its views on the complaint and/or seek to resolve the
               complaint informally.

                      b.      Wait to commence any enforcement action until thirty (30)
               calendar days after the date that the Enforcement Committee establishes for
               obtaining additional information from the involved parties.

               4.      If the parties to a dispute cannot agree on the proper forum for resolution
       of the dispute under the provisions of Section VI.F.1 or Section VI.F.2, a committee
       comprising the Enforcement Committee and sufficient representatives of the Settling
       Distributors such that the members of the Enforcement Committee have a majority of one
       (1) member will determine the forum where the dispute will be initiated within twenty-
       eight (28) calendar days of receiving notification of the dispute relating to the proper
       forum. The forum identified by such committee shall be the sole forum for litigating the
       issue of which forum will hear the substantive dispute, and the committee’s identification
       of such forum in the first instance shall not be entitled to deference by the forum selected.

        G.      No Effect. Nothing in this Agreement shall be interpreted to limit the Settling
State’s Civil Investigative Demand (“CID”) or investigative subpoena authority, to the extent
such authority exists under applicable state law and the CID or investigative subpoena is issued
pursuant to such authority, and Settling Distributors reserve all of their rights in connection with
a CID or investigative subpoena issued pursuant to such authority.

VII.   Participation by Subdivisions

        A.       Notice. No later than fifteen (15) calendar days after the Preliminary Agreement
Date, the Settling States, with the cooperation of the Settling Distributors, shall send individual
written notice of the opportunity to participate in this Agreement and the requirements of
participation to all Subdivisions in the Settling States that are (1) Litigating Subdivisions or (2)
Non-Litigating Subdivisions listed on Exhibit G. The costs of the written notice to such
Subdivisions shall be paid for by the Settling Distributors. The Settling States, with the
cooperation of the Settling Distributors, may also provide general notice reasonably calculated to
alert Non-Litigating Subdivisions in the Settling States to this Agreement, the opportunity to
participate in it, and the requirements for participation. Such notice may include publication and
other standard forms of notification, as well as notice to national state and county organizations
such as the National Association of Counties and the National League of Cities. The notice will
include that the deadline for becoming an Initial Participating Subdivision is the Initial
Participation Date. Nothing contained herein shall preclude a Settling State from providing
further notice to or otherwise contacting any of its Subdivisions about becoming a Participating
Subdivision, including beginning any of the activities described in this paragraph prior to the
Preliminary Agreement Date.

       B.     Requirements for Becoming a Participating Subdivision⸺Non-Litigating
Subdivisions. A Non-Litigating Subdivision in a Settling State may become a Participating


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Subdivision by returning an executed Subdivision Settlement Participation Form to the
Settlement Fund Administrator specifying (1) that the Subdivision agrees to the terms of this
Agreement pertaining to Subdivisions, (2) that the Subdivision releases all Released Claims
against all Released Entities, (3) that the Subdivision agrees to use monies it receives, if any,
from the Settlement Fund pursuant to the applicable requirements of Section V; provided,
however, that Non-Litigating Subdivisions may only use monies originating from the Settlement
Fund for purposes that qualify as Opioid Remediation, and (4) that the Subdivision submits to
the jurisdiction of the court where the applicable Consent Judgment is filed for purposes limited
to that court’s role under this Agreement. The required Subdivision Settlement Participation
Form is attached as Exhibit K.

        C.      Requirements for Becoming a Participating Subdivision⸺Litigating
Subdivisions/Later Litigating Subdivisions. A Litigating Subdivision or Later Litigating
Subdivision in a Settling State may become a Participating Subdivision by returning an executed
Subdivision Settlement Participation Form to the Settlement Fund Administrator and upon
prompt dismissal with prejudice of its lawsuit. A Settling State may require each Litigating
Subdivision in that State to specify on the Subdivision Settlement Participation Form whether its
counsel has waived any contingency fee contract with that Participating Subdivision and
whether, if eligible, it intends to seek fees pursuant to Exhibit R. The Settlement Fund
Administrator shall provide quarterly reports of this information to the parties organized by
Settling State. A Litigating Subdivision or Later Litigating Subdivision may not become a
Participating Subdivision after the completion of opening statements in a trial of the lawsuit it
brought that includes a Released Claim against a Released Entity.

        D.     Initial Participating Subdivisions. A Subdivision qualifies as an Initial
Participating Subdivision if it meets the applicable requirements for becoming a Participating
Subdivision set forth in Section VII.B or Section VII.C by the Initial Participation Date. All
Subdivision Settlement Participation Forms shall be held in escrow by the Settlement Fund
Administrator until the Reference Date.

       E.       Later Participating Subdivisions. A Subdivision that is not an Initial Participating
Subdivision may become a Later Participating Subdivision by meeting the applicable
requirements for becoming a Participating Subdivision set forth in Section VII.B or Section
VII.C after the Initial Participation Date and by agreeing to be subject to the terms of a State-
Subdivision Agreement (if any) or any other structure adopted or applicable pursuant to
Section V.D or Section V.E. The following provisions govern what a Later Participating
Subdivision can receive (but do not apply to Initial Participating Subdivisions):

               1.     Except as provided in Section IV.C, a Later Participating Subdivision shall
       not receive any share of any Annual Payment due before it became a Participating
       Subdivision.

               2.      A Later Participating Subdivision that becomes a Participating
       Subdivision after July 15, 2022 shall receive seventy-five percent (75%) of the share of
       future base or incentive payments that it would have received had it become a Later
       Participating Subdivision prior to that date (unless the Later Participating Subdivision is
       subject to Section VII.E.3 or Section VII.E.4).


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               3.      A Later Participating Subdivision that, after the Initial Participation Date,
       maintains a lawsuit for a Released Claim(s) against a Released Entity and has judgment
       entered against it on every such Claim before it became a Participating Subdivision (other
       than a consensual dismissal with prejudice) shall receive fifty percent (50%) of the share
       of future base or incentive payments that it would have received had it become a Later
       Participating Subdivision prior to such judgment; provided, however, that if the
       Subdivision appeals the judgment and the judgment is affirmed with finality before the
       Subdivision becomes a Participating Subdivision, the Subdivision shall not receive any
       share of any base payment or incentive payments.

               4.       A Later Participating Subdivision that becomes a Participating
       Subdivision while a Bar or Case-Specific Resolution involving a different Subdivision
       exists in its State shall receive twenty-five percent (25%) of the share of future base or
       incentive payments that it would have received had it become a Later Participating
       Subdivision without such Bar or Case-Specific Resolution.

       F.     No Increase in Payments. Amounts to be received by Later Participating
Subdivisions shall not increase the payments due from the Settling Distributors.

       G.     Ineligible Subdivisions. Subdivisions in Non-Settling States and Prior Litigating
Subdivisions are not eligible to be Participating Subdivisions.

        H.      Non-Participating Subdivisions. Non-Participating Subdivisions shall not
directly receive any portion of any Annual Payment, including from the State Fund and direct
distributions from the Abatement Accounts Fund; however, a Settling State may choose to fund
future Opioid Remediation that indirectly benefits Non-Participating Subdivisions.

        I.      Unpaid Allocations to Later Participating Subdivisions and Non-Participating
Subdivisions. Any base payment and incentive payments allocated pursuant to Section V.D to a
Later Participating Subdivision or Non-Participating Subdivision that cannot be paid pursuant to
this Section VII, including the amounts that remain unpaid after the reductions required by
Section VII.E.2 through Section VII.E.4, will be allocated to the Abatement Accounts Fund for
the Settling State in which the Subdivision is located, unless those payments are redirected
elsewhere by a State-Subdivision Agreement or by a Statutory Trust.

VIII. Condition to Effectiveness of Agreement and Filing of Consent Judgment

       A.     Determination to Proceed With Settlement.

               1.       The Settling States shall confer with legal representatives of the
       Participating Subdivisions listed on Exhibit G and inform the Settling Distributors no
       later than fifteen (15) calendar days prior to the Reference Date whether there is
       sufficient participation to proceed with this Agreement. Within seven (7) calendar days
       of informing the Settling Distributors that there is sufficient participation to proceed, the
       Settling States will deliver all signatures and releases required by the Agreement to be
       provided by the Settling States to the Settling Distributors.




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               2.      If the Settling States inform Settling Distributors that there is sufficient
       participation, the Settling Distributors will then determine on or before the Reference
       Date whether there is sufficient State participation and sufficient resolution of the Claims
       of the Litigating Subdivisions in the Settling States (through participation under
       Section VII, Case-Specific Resolution(s) and Bar(s)) to proceed with this Agreement.
       The determination shall be in the sole discretion of the Settling Distributors and may be
       based on any criteria or factors deemed relevant by the Settling Distributors.

        B.      Notice by Settling Distributors. On or before the Reference Date, the Settling
Distributors shall inform the Settling States of their determination pursuant to Section VIII.A. If
the Settling Distributors determine to proceed, the Parties will proceed to file the Consent
Judgments and the obligations in the Subdivision Settlement Participation Forms will be
effective and binding as of the Reference Date. If the Settling Distributors determine not to
proceed, this Agreement will have no further effect, any amounts placed in escrow for Payment
Year 1, including funds referenced in Section IV.C.1, Section IX, Section X, and Exhibit M,
shall be returned to the Settling Distributors, and all releases (including those contained in
Subdivision Settlement Participation Forms) and other commitments or obligations contained
herein or in Subdivision Settlement Participation Forms will be void.

       C.      Determination of the Participation Tier.

               1.      On the Reference Date, provided that Settling Distributors determine to
       proceed with this Agreement, the Settlement Fund Administrator shall determine the
       Participation Tier. The criteria used to determine the Participation Tier are set forth in
       Exhibit H. Any disputes as to the determination of the Participation Tier shall be decided
       by the National Arbitration Panel.

               2.       The Participation Tier shall be redetermined by the Settlement Fund
       Administrator annually as of the Payment Date, beginning with Payment Year 3, pursuant
       to the criteria set forth in Exhibit H.

                3.      After Payment Year 6, the Participation Tier cannot move higher, unless
       this restriction is waived by the Settling Distributors.

                4.     In the event that a Participation Tier redetermination moves the
       Participation Tier higher, and that change is in whole or in part as a result of the post-
       Reference Date enactment of a Bar and there is later a Revocation Event with respect to
       such Bar, then on the next Payment Date that is at least one hundred eighty (180)
       calendar days after the Revocation Event, the Participation Tier shall move down to the
       Participation Tier that would have applied had the Bar never been enacted, unless the Bar
       is reinstated or all Subdivisions affected by the Revocation Event become Participating
       Subdivisions within one hundred eighty (180) calendar days of the Revocation Event.
       This is the sole circumstance in which, on a nationwide basis, the Participation Tier can
       move down.

               5.     In the event that there is a post-Reference Date Revocation Event with
       respect to a Bar that was enacted in a Settling State prior to the Reference Date, then, on



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       the next Payment Date that is at least one hundred eighty (180) calendar days after the
       Revocation Event, unless the Bar is reinstated or all Subdivisions affected by the
       Revocation Event become Participating Subdivisions within one hundred eighty (180)
       calendar days of the Revocation Event, the Participation Tier shall decrease – solely for
       the State in which the Revocation Event occurred – to the Participation Tier
       commensurate with the percentage of Litigating Subdivisions in that State that are
       Participating Subdivisions and the percentage of Non-Litigating Subdivisions that are
       both Primary Subdivisions and Participating Subdivisions, according to the criteria set
       forth in Exhibit G, except that the calculations shall be performed as to that State alone.
       For the avoidance of doubt and solely for the calculation in this subparagraph, the
       Settling States Column of Exhibit H shall play no role. This is the sole circumstance in
       which one Settling State will have a different Participation Tier than other Settling States.

               6.     The redetermination of the Participation Tier under Section VIII.C.2 shall
       not affect payments already made or suspensions, offsets, or reductions already applied.

IX.    Additional Restitution

        A.      Additional Restitution Amount. Pursuant to the schedule set forth in Exhibit M
and subject to the reduction specified in Section IX.B, the Settling Distributors shall pay an
Additional Restitution Amount to the Settling States listed in Exhibit N. Such funds shall be
paid, on the schedule set forth on Exhibit M, on the Payment Date for each relevant Payment
Year to such Settling States as allocated by the Settlement Fund Administrator pursuant to
Exhibit N.

        B.     Reduction of Additional Restitution Amount. In the event that any Non-Settling
States appear on Exhibit N, the amounts owed by Settling Distributors pursuant to this
Section IX shall be reduced by the allocations set forth on Exhibit N for any such Non-Settling
States.

       C.     Use of Funds. All funds paid as an Additional Restitution Amount shall be part of
the Compensatory Restitution Amount, shall be used for Opioid Remediation, except as allowed
by Section V.B.2, and shall be governed by the same requirements as specified in Section V.F.

X.     Plaintiffs’ Attorneys’ Fees and Costs

         The Agreement on Attorneys’ Fees, Expenses and Costs is set forth in Exhibit R and
incorporated herein by reference. The Agreement on the State Outside Counsel Fee Fund and
Agreement on the State Cost Fund Administration are set forth in Exhibit S and Exhibit T,
respectively, and are incorporated herein by reference.

XI.    Release

        A.      Scope. As of the Effective Date, the Released Entities are hereby released and
forever discharged from all of the Releasors’ Released Claims. Each Settling State (for itself and
its Releasors) and Participating Subdivision hereby absolutely, unconditionally, and irrevocably
covenants not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or claimed,
or to otherwise seek to establish liability for any Released Claims against any Released Entity in


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any forum whatsoever. The releases provided for in this Agreement are intended by the Parties
to be broad and shall be interpreted so as to give the Released Entities the broadest possible bar
against any liability relating in any way to Released Claims and extend to the full extent of the
power of each Settling State and its Attorney General to release claims. This Agreement shall be
a complete bar to any Released Claim.

       B.      Claim-Over and Non-Party Settlement.

                1.      It is the intent of the Parties that:

                        a.     Released Entities should not seek contribution or indemnification
                (other than pursuant to an insurance contract), from other parties for their
                payment obligations under this Agreement;

                         b.      the payments made under this Agreement shall be the sole
                payments made by the Released Entities to the Releasors involving, arising out
                of, or related to Covered Conduct (or conduct that would be Covered Conduct if
                engaged in by a Released Entity);

                       c.     Claims by Releasors against non-Parties should not result in
                additional payments by Released Entities, whether through contribution,
                indemnification or any other means; and

                        d.     the Agreement meets the requirements of the Uniform
                Contribution Among Joint Tortfeasors Act and any similar state law or doctrine
                that reduces or discharges a released party’s liability to any other parties.

The provisions of this Section XI.B are intended to be implemented consistent with these
principles. This Agreement and the releases and dismissals provided for herein are made in good
faith.

                 2.      No Released Entity shall seek to recover for amounts paid under this
       Agreement based on indemnification, contribution, or any other theory from a
       manufacturer, pharmacy, hospital, pharmacy benefit manager, health insurer, third-party
       vendor, trade association, distributor, or health care practitioner; provided that a Released
       Entity shall be relieved of this prohibition with respect to any entity that asserts a Claim-
       Over against it. For the avoidance of doubt, nothing herein shall prohibit a Released
       Entity from recovering amounts owed pursuant to insurance contracts.

                 3.      To the extent that, on or after the Reference Date, any Releasor enters
       into a Non-Party Settlement, including in any bankruptcy case or through any plan of
       reorganization (whether individually or as a class of creditors), the Releasor will include
       (or in the case of a Non-Party Settlement made in connection with a bankruptcy case, will
       cause the debtor to include), unless prohibited from doing so under applicable law, in the
       Non-Party Settlement a prohibition on contribution or indemnity of any kind substantially
       equivalent to that required from the Settling Distributors in Section XI.B.2, or a release
       from such Non-Released Entity in favor of the Released Entities (in a form equivalent to
       the releases contained in this Agreement) of any Claim-Over. The obligation to obtain


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       the prohibition and/or release required by this subsection is a material term of this
       Agreement.

                 4.      In the event that any Releasor obtains a judgment with respect to Non-
       Party Covered Conduct against a Non-Released Entity that does not contain a prohibition
       like that described in Section XI.B.3, or any Releasor files a Non-Party Covered Conduct
       Claim against a Non-Released Entity in bankruptcy or a Releasor is prevented for any
       reason from obtaining a prohibition/release in a Non-Party Settlement as provided in
       Section XI.B.3, and such Non-Released Entity asserts a Claim-Over against a Released
       Entity, the Released Entity shall be relieved of the prohibition in Section XI.B.2 with
       respect to that Non-Released Entity and that Releasor and the Settling Distributors shall
       take the following actions to ensure that the Released Entities do not pay more with
       respect to Covered Conduct to Releasors or to Non-Released Entities than the amounts
       owed under this Settlement Agreement by the Settling Distributors:

                       a.      Settling Distributors shall notify that Releasor of the Claim-Over
                within sixty (60) calendar days of the assertion of the Claim-Over or sixty (60)
                calendar days of the Effective Date of this Settlement Agreement, whichever is
                later;

                        b.     Settling Distributors and that Releasor shall meet and confer
                concerning the means to hold Released Entities harmless and ensure that they
                are not required to pay more with respect to Covered Conduct than the amounts
                owed by Settling Distributors under this Agreement;

                        c.     That Releasor and Settling Distributors shall take steps sufficient
                and permissible under the law of the State of the Releasor to hold Released
                Entities harmless from the Claim-Over and ensure Released Entities are not
                required to pay more with respect to Covered Conduct than the amounts owed
                by Settling Distributors under this Agreement. Such steps may include, where
                permissible:

                               (i)      Filing of motions to dismiss or such other appropriate
                        motion by Settling Distributors or Released Entities, and supported by
                        Releasors, in response to any claim filed in litigation or arbitration;

                               (ii)    Reduction of that Releasors’ Claim and any judgment it
                        has obtained or may obtain against such Non-Released Entity by
                        whatever amount or percentage is necessary to extinguish such Claim-
                        Over under applicable law, up to the amount that Releasor has obtained,
                        may obtain, or has authority to control from such Non-Released Entity;

                                (iii) Placement into escrow of funds paid by the Non-Released
                        Entities such that those funds are available to satisfy the Claim-Over;

                               (iv)   Return of monies paid by Settling Distributors to that
                        Releasor under this Settlement Agreement to permit satisfaction of a



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                        judgment against or settlement with the Non-Released Entity to satisfy
                        the Claim-Over;

                                (v)    Payment of monies to Settling Distributors by that
                        Releasor to ensure they are held harmless from such Claim-Over, up to
                        the amount that Releasor has obtained, may obtain, or has authority to
                        control from such Non-Released Entity;

                                (vi)   Credit to the Settling Distributors under this Agreement to
                        reduce the overall amounts to be paid under the Agreement such that
                        they are held harmless from the Claim-Over; and

                               (vii) Such other actions as that Releasor and Settling
                        Distributors may devise to hold Settling Distributors harmless from the
                        Claim-Over.

                       d.      The actions of that Releasor and Settling Distributors taken
                pursuant to paragraph (c) must, in combination, ensure Settling Distributors are
                not required to pay more with respect to Covered Conduct than the amounts
                owed by Settling Distributors under this Agreement.

                        e.      In the event of any dispute over the sufficiency of the actions
                taken pursuant to paragraph (c), that Releasor and the Settling Distributors may
                seek review by the National Arbitration Panel, provided that, if the parties agree,
                such dispute may be heard by the state court where the relevant Consent
                Judgment was filed. The National Arbitration Panel shall have authority to
                require Releasors to implement a remedy that includes one or more of the
                actions specified in paragraph (c) sufficient to hold Released Entities fully
                harmless. In the event that the Panel’s actions do not result in Released Entities
                being held fully harmless, Settling Distributors shall have a claim for breach of
                this Agreement by Releasors, with the remedy being payment of sufficient funds
                to hold Settling Distributors harmless from the Claim-Over. For the avoidance
                of doubt, the prior sentence does not limit or eliminate any other remedy that
                Settling Distributors may have.

                 5.     To the extent that the Claim-Over is based on a contractual indemnity,
       the obligations under Section XI.B.4 shall extend solely to a Non-Party Covered Conduct
       Claim against a pharmacy, clinic, hospital or other purchaser or dispenser of Products, a
       manufacturer that sold Products, a consultant, and/or a pharmacy benefit manager or
       other third-party payor. Each Settling Distributor shall notify the Settling States, to the
       extent permitted by applicable law, in the event that any of these types of Non-Released
       Entity asserts a Claim-Over arising out of contractual indemnity against it.

        C.      Indemnification and Contribution Prohibited. No Released Entity shall seek to
recover for amounts paid under this Agreement based on indemnification, contribution, or any
other theory, from a manufacturer, pharmacy, hospital, pharmacy benefit manager, health
insurer, third-party vendor, trade association, distributor, or health care practitioner. For the



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avoidance of doubt, nothing herein shall prohibit a Released Entity from recovering amounts
owed pursuant to insurance contracts.

        D.      General Release. In connection with the releases provided for in this Agreement,
each Settling State (for itself and its Releasors) and Participating Subdivision expressly waives,
releases, and forever discharges any and all provisions, rights, and benefits conferred by any law
of any State or territory of the United States or other jurisdiction, or principle of common law,
which is similar, comparable, or equivalent to § 1542 of the California Civil Code, which reads:

               General Release; extent. A general release does not extend to
               claims that the creditor or releasing party does not know or suspect
               to exist in his or her favor at the time of executing the release and
               that if known by him or her, would have materially affected his or
               her settlement with the debtor or released party.

A Releasor may hereafter discover facts other than or different from those which it knows,
believes, or assumes to be true with respect to the Released Claims, but each Settling State (for
itself and its Releasors) and Participating Subdivision hereby expressly waives and fully, finally,
and forever settles, releases and discharges, upon the Effective Date, any and all Released
Claims that may exist as of such date but which Releasors do not know or suspect to exist,
whether through ignorance, oversight, error, negligence or through no fault whatsoever, and
which, if known, would materially affect the Settling States’ decision to enter into this
Agreement or the Participating Subdivisions’ decision to participate in this Agreement.

        E.      Assigned Interest Waiver. To the extent that any Settling State has any direct or
indirect interest in any rights of a third-party that is a debtor under the Bankruptcy Code as a
result of a claim arising out of Covered Conduct by way of assignment or otherwise, including as
a result of being the beneficiary of a trust or other distribution entity, to assert claims against a
Settling Distributor (whether derivatively or otherwise), under any legal or equitable theory,
including for indemnification, contribution, or subrogation, such Settling State waives the right
to assert any such claim, or to receive a distribution or any benefit on account of such claim and
such claim, distribution, or benefit shall be deemed assigned to such Settling Distributor.

        F.      Res Judicata. Nothing in this Agreement shall be deemed to reduce the scope of
the res judicata or claim preclusive effect that the settlement memorialized in this Agreement,
and/or any Consent Judgment or other judgment entered on this Agreement, gives rise to under
applicable law.

        G.      Representation and Warranty. The signatories hereto on behalf of their respective
Settling States expressly represent and warrant that they have (or have obtained, or will obtain no
later than the Initial Participation Date) the authority to settle and release, to the maximum extent
of the State’s power, all Released Claims of (1) their respective Settling States, (2) all past and
present executive departments, state agencies, divisions, boards, commissions and
instrumentalities with the regulatory authority to enforce state and federal controlled substances
acts, and (3) any of their respective Settling State’s past and present executive departments,
agencies, divisions, boards, commissions and instrumentalities that have the authority to bring
Claims related to Covered Conduct seeking money (including abatement and/or remediation) or


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revocation of a pharmaceutical distribution license. For the purposes of clause (3) above,
executive departments, agencies, divisions, boards, commissions, and instrumentalities are those
that are under the executive authority or direct control of the State’s Governor. Also for the
purposes of clause (3), a release from a State’s Governor is sufficient to demonstrate that the
appropriate releases have been obtained.

        H.      Effectiveness. The releases set forth in this Agreement shall not be impacted in
any way by any dispute that exists, has existed, or may later exist between or among the
Releasors. Nor shall such releases be impacted in any way by any current or future law,
regulation, ordinance, or court or agency order limiting, seizing, or controlling the distribution or
use of the Settlement Fund or any portion thereof, or by the enactment of future laws, or by any
seizure of the Settlement Fund or any portion thereof.

       I.     Cooperation. Releasors (1) will not encourage any person or entity to bring or
maintain any Released Claim against any Released Entity and (2) will reasonably cooperate with
and not oppose any effort by Settling Distributors to secure the prompt dismissal of any and all
Released Claims.

         J.     Non-Released Claims. Notwithstanding the foregoing or anything in the
definition of Released Claims, this Agreement does not waive, release or limit any criminal
liability, Claims for liability under tax law, Claims under securities law by a State Releasor as
investor, Claims against parties who are not Released Entities, Claims by private individuals, and
any claims arising under this Agreement for enforcement of this Agreement.

XII.   Later Litigating Subdivisions

       A.      Released Claims against Released Entities. Subject to Section XII.B, the
following shall apply in the event a Later Litigating Subdivision in a Settling State maintains a
lawsuit for a Released Claim against a Released Entity after the Reference Date:

               1.      The Released Entity shall take ordinary and reasonable measures to defend
       the action, including filing a Threshold Motion with respect to the Released Claim. The
       Released Entity shall further notify the Settling State and Settlement Fund Administrator
       immediately upon notice of a Later Litigating Subdivision bringing a lawsuit for a
       Released Claim, and shall not oppose a Settling State’s submission in support of the
       Threshold Motion.

              2.      The provisions of this Section XII.A.2 apply if the Later Litigating
       Subdivision is a Primary Subdivision (except as provided in Section XII.A.2.f):

                       a.      If a lawsuit including a Released Claim survives until the
               Suspension Deadline for that lawsuit, the Settlement Fund Administrator shall
               calculate the Suspension Amount applicable to the next Payment due from the
               Settling Distributor(s) at issue and apportioned to the State of the Later Litigating
               Subdivision and to Subdivisions in that State; provided, however, that the
               Suspension Amount for a Payment Year cannot exceed the Suspension Cap. The
               Suspension Amount shall be paid into the Settlement Fund Escrow account. If the
               Suspension Amount exceeds the Suspension Cap for that Payment Year, then the


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             remaining amount will be paid into the Settlement Fund Escrow in the following
             Payment Year, subject to the Suspension Cap for that Payment Year, and so forth
             in each succeeding Payment Year until the entire Suspension Amount has been
             paid into the Settlement Fund Escrow or the Released Claim is resolved, as
             provided below, whichever comes first. A suspension does not apply during the
             pendency of any appeal dismissing the lawsuit for a Released Claim in whole.

                     b.      If the Released Claim is resolved with finality without requirement
             of payment by the Released Entity, the placement of any remaining balance of the
             Suspension Amount into the Settlement Fund Escrow shall cease and the
             Settlement Fund Administrator shall immediately transfer amounts in the
             Settlement Fund Escrow on account of the suspension to the Settling State at issue
             and its Participating Subdivisions. The lawsuit will not cause further suspensions
             unless the Released Claim is reinstated upon further review, legislative action, or
             otherwise.

                     c.      If the Released Claim is resolved with finality on terms requiring
             payment by the Released Entity, the Settlement Fund Administrator will transfer
             the amounts in the Settlement Fund Escrow on account of the suspension to the
             Settling Distributor(s) at issue necessary to satisfy the payment obligation of the
             Released Entity to the relevant Later Litigating Subdivision. If any balance
             remains in the Settlement Fund Escrow on account of the suspension after transfer
             of the amount necessary to satisfy the payment obligation, the Settlement Fund
             Administrator will immediately transfer the balance to the Settling State at issue
             and its Participating Subdivisions. If the payment obligation of the Released
             Entity to the relevant Later Litigating Subdivision exceeds the amounts in the
             Settlement Fund Escrow on account of the suspension, the Settling Distributor at
             issue shall receive a dollar-for-dollar offset, subject to the yearly Offset Cap, for
             the excess amount against its obligation to pay its allocable share of Annual
             Payments that would be apportioned to the Settling State at issue and to its
             Subdivisions. The offset shall be applied as follows: first against the Settling
             Distributor’s allocable share of the Annual Payment due in Payment Year 18, up
             to the Offset Cap for that Payment Year, with any remaining amounts above the
             Offset Cap applied against the Settling Distributor’s allocable share of the Annual
             Payment due in Payment Year 17, up to the Offset Cap for that Payment Year,
             and so forth for each preceding Payment Year until the entire amount to be offset
             has been applied or no future Payment Years remain.

                     d.      If the lawsuit asserting a Released Claim is resolved with finality
             on terms requiring payment by the Released Entity, and the Released Claim did
             not give rise to a suspension of any Settling Distributor’s portion of any Annual
             Payments (e.g., because it was resolved during Payment Years 1 or 2, during
             which all Settling States are deemed eligible for Incentive Payment A and thus no
             suspension of payments took place, as provided by Section XII.B), the Settling
             Distributor at issue shall receive a dollar-for-dollar offset, subject to the yearly
             Offset Cap, for the amount paid. The offset shall be applied against the relevant
             Settling Distributor’s allocable portion of the Annual Payments starting in


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              Payment Year 18 and working backwards as set forth in Section XII.A.2.c. If the
              lawsuit for a Released Claim is otherwise resolved by the Released Entity,
              without the Settling Distributor filing a Threshold Motion despite an opportunity
              to do so, and the Released Claim did not give rise to a suspension of any Settling
              Distributor’s portion of any Annual Payments, the Settling Distributor at issue
              shall not receive any offset for the amount paid.

                       e.       If more than one Primary Subdivision in a Settling State becomes a
              Later Litigating Subdivision, a single Suspension Cap applies and the total
              amounts deducted from the share of the Annual Payment allocated to the Settling
              State and its Participating Subdivisions in a given Payment Year cannot exceed
              the Suspension Cap. For the avoidance of doubt, an individual Primary
              Subdivision shall not trigger more than one suspension regardless if it (or any of
              its officials) is named as multiple plaintiffs in the same lawsuit.

                      f.      This Section XII.A.2 shall not apply with respect to a Primary
              Subdivision that is either (i) a Later Litigating Subdivision under clause (3) of the
              definition of that term solely because a legislative Bar or legislative Case-Specific
              Resolution applicable as of the Reference Date is invalidated by judicial decision
              after the Reference Date or (ii) a Later Litigating Subdivision under clause (4) of
              the definition of that term. Such a Primary Subdivision shall be treated as a
              General Purpose Government under Section XII.A.3.

               3.      The terms of this Section XII.A.3 apply if a the Later Litigating
       Subdivision is not a Primary Subdivision (except for Primary Subdivisions referenced in
       Section XII.A.2.f) but is a General Purpose Government, School District, Health District
       or Hospital District: if the Released Claim is resolved with finality on terms requiring
       payment by the Released Entity, the Settling Distributor at issue shall receive a dollar-
       for-dollar offset, subject to the yearly Offset Cap, for the amount paid against its portion
       of the obligation to make Annual Payments that would be apportioned to the Settling
       State at issue and to its Subdivisions. The offset shall be applied as follows: first against
       the relevant Settling Distributor’s allocable share of the Annual Payment due in Payment
       Year 18, up to the Offset Cap for that Payment Year, with any remaining amounts above
       the Offset Cap applied against the Payment due in Payment Year 17, up to the Offset Cap
       for that Payment Year, and so forth for each preceding Payment Year until the entire
       amount to be offset has been applied or no future Payment Year remains. If the Released
       Claim is resolved on terms requiring payment during the first two (2) Payment Years, in
       no case will any amounts be offset against the amounts due in Payment Years 1 and 2.

               4.     In no event shall the total of Suspension Amounts and offsets pursuant to
       this Section applicable to a Settling State in a Payment Year for that Payment Year
       exceed the Offset Cap for that State. If, in a Payment Year, the total of Suspension
       Amounts and offsets applicable to a Settling State exceeds the Offset Cap, the Suspension
       Amounts shall be reduced so that the total of Suspension Amounts and offsets equals the
       Offset Cap.




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               5.      For the avoidance of doubt, any offset pursuant to this Section XII in a
       Settling State that is not eligible for Incentive Payment A shall continue to apply even if
       the Settling State at issue subsequently becomes eligible for Incentive Payment A.

                6.     “Terms requiring payment” shall mean (i) a final monetary judgment or
       (ii) a settlement; provided that the Released Entity sought the applicable State Attorney
       General’s consent to the settlement and such consent was either obtained or unreasonably
       withheld. Should the judgment or settlement resolve claims that are not Released Claims,
       the offset shall be for the Released Claims portion only, which shall be distinguishable in
       the judgment or settlement.

       B.     Exceptions.

                1.      Section XII.A shall not apply where the Settling State at issue meets the
       eligibility criteria for and is entitled to Incentive Payment A for the Payment Year at
       issue, except as expressly provided therein. For the avoidance of doubt, because all
       Settling States are deemed eligible for Incentive Payment A for Payment Years 1 and 2
       under Section IV.F.1.c, a suspension of Payments under Section XII.A.2 shall not apply
       to any Settling States for those Payment Years.

               2.      An offset under Section XII.A.2 and Section XII.A.3 shall not apply
       where the Later Litigating Subdivision opted out of a Settlement Class Resolution in the
       Settling State at issue that was in full force and effect in that Settling State as of the due
       date of the payment for Payment Year 2 and remains in full force and effect; provided
       that an offset relating to that Subdivision may apply under Section XIII.

               3.      Section XII.A shall not apply where the Later Litigating Subdivision seeks
       less than $10 million, or so long as its total claim is reduced to less than $10 million, in
       the lawsuit for a Released Claim at issue.

               4.     An offset under Section XII.A.3 shall not apply where the applicable
       Participation Tier is Participation Tier 1 and the population of the Later Litigating
       Subdivision is under 10,000.

               5.      If the applicable Participation Tier is Participation Tier 2 or higher, and
       the Later Litigating Subdivision has a population less than 10,000, the offset under
       Section XII.A.3 shall only apply to amounts paid pursuant to a settlement or judgment
       that are over $10 million per case or resolution. Any type of consolidated or aggregated
       or joined or class actions, however styled, shall be considered a single case, and any
       resolutions that occur within a sixty (60) calendar day period of each other and involve
       Later Litigating Subdivisions that share common counsel and/or are created by the same
       or related judgments, settlement agreements, or other instruments or are conditioned upon
       one another, shall be considered a single resolution. For the avoidance of doubt, any such
       case or resolution shall have only a single $10,000,000 exemption from the offset under
       Section XII.A.3.

        C.      No Effect on Other Provisions. A suspension or offset under Section XII.A shall
not affect the Injunctive Relief Terms or the Consent Judgment.


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        D.     No Effect on Other States. A suspension or offset under Section XII.A applicable
to one State shall not affect the allocation or payment of the Annual Payment to other Settling
States.

XIII. Reductions/Offsets

       A.      Non-Settling States. Non-Settling States shall not be eligible for any payments or
have any rights in connection with this Agreement. Accordingly, the stated maximum dollar
amounts of the payments specified in Exhibit M are reduced by the aggregate Overall Allocation
Percentage of Non-Settling States as set forth in Exhibit F.

        B.      Offset Relating to Incentive Payment A. If a Settling State is not eligible for
Incentive Payment A at the third Payment Date, the Settling Distributors shall receive an offset
with respect to that State.10 The offset shall be the dollar amount difference between (1) the total
amount of the Incentive Payment A due from the Settling Distributors on the Effective Date and
on the Payment Date for Payment Year 2 allocated to that State and its Participating
Subdivisions, and (2) the total amount of Incentive Payments B and C that would have been due
from the Settling Distributors on the Effective Date and on the Payment Date for Payment Year 2
so allocated but for the State’s deemed eligibility for Incentive Payment A. The offset shall be
applied in equal installments to reduce the Annual Payments for Payment Years 3 through 7 that
would be apportioned to that State and to its Subdivisions, and shall remain applicable even if
that State subsequently becomes eligible for Incentive Payment A.

          C.     Settlement Class Resolution Opt Outs. If a Settling State is eligible for Incentive
Payment A on the basis of a Settlement Class Resolution, and a Primary Subdivision that opted
out of the Settlement Class Resolution maintains a lawsuit asserting a Released Claim against a
Released Entity, the following shall apply. If the lawsuit asserting a Released Claim either
survives a Threshold Motion or has an unresolved Threshold Motion fewer than sixty (60)
calendar days prior to the scheduled start of a trial involving a Released Claim, and is resolved
with finality on terms requiring payment by the Released Entity, the Settling Distributor at issue
shall receive a dollar-for-dollar offset for the amount paid against its obligation to make
remaining Incentive Payment A payments that would be apportioned to that State and to its
Subdivisions. For the avoidance of doubt, an offset shall not be applicable under this subsection
if it is applicable under Section XII.A with respect to the Subdivision at issue.

        D.       Revoked Bar, Settlement Class Resolution, or Case-Specific Resolution. If the
Settling Distributors made any Annual Payments that included any incentive payments earned as
a result of the existence of a Bar, Settlement Class Resolution, or Case-Specific Resolution in a
Settling State, and there is subsequently a Revocation Event with respect to that Bar, Settlement
Class Resolution, or Case-Specific Resolution after the determination of the amount of such
Annual Payment, the Settling Distributors shall receive a dollar-for-dollar offset against the
portion of remaining Annual Payments that would be allocated to that State and its Participating
Subdivisions. This offset will be calculated as the dollar amount difference between (1) the total
amount of incentive payments paid by the Settling Distributors by virtue of the Bar, Settlement

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  For purposes of this provision, in determining whether a Settling State would not be eligible for Incentive
Payment A for Payment Year 3, the criteria set forth in Section IV.F.1.b shall apply to that Payment Year.


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Class Resolution, or Case-Specific Resolution subject to the Revocation Event and (2) the total
amount of incentive payments that would have been due from the Settling Distributors during
that time had the Bar, Settlement Class Resolution, or Case-Specific Resolution subject to the
Revocation Event not been in effect. The amount of incentive payments that would have been
due, referenced in clause (2) above, will be calculated one hundred eighty (180) calendar days
after the Revocation Event; for purposes of calculating the amount of incentive payments that
would have been due, any relevant Subdivision shall be included as a Participating Subdivision
if: (1) its Released Claims are extinguished by any subsequent Bar, Settlement Class Resolution,
or Case-Specific Resolution in effect as of the date of such calculation, or (2) it becomes a
Participating Subdivision (in addition to all other Participating Subdivisions) prior to the date of
such calculation.

         E.      Certain Taxes. Amounts paid by a Settling Distributor under an Opioid Tax in a
Settling State in a Payment Year shall give rise to a dollar-for-dollar offset against that Settling
Distributor’s obligation to pay its share of the Annual Payment in that Payment Year that would
be allocated to the taxing State or its Participating Subdivisions. If such amounts paid exceed
that Settling Distributor’s allocable share of the Annual Payment allocable to the taxing State or
its Participating Subdivisions in that Payment Year, the excess shall carry forward as an offset
against its allocable share of remaining Annual Payments that would be allocated to the taxing
State or its Participating Subdivisions

       F.     Not Subject to Suspension Cap or Offset Cap. For the avoidance of doubt, neither
the Suspension Cap nor the Offset Cap apply to the offsets and reductions set forth in this
Section XIII.

XIV. Miscellaneous

        A.      Population of General Purpose Governments. The population figures for General
Purpose Governments shall be the published U.S. Census Bureau’s population estimates for
July 1, 2019, released May 2020. These population figures shall remain unchanged during the
term of this Agreement.11

       B.      Population of Special Districts. For any purpose in this Agreement in which the
population of a Special District is used other than Section IV.F.1.b: (a) School Districts’
population will be measured by the number of students enrolled who are eligible under the
Individuals with Disabilities Education Act (“IDEA”) or Section 504 of the Rehabilitation Act of
1973; (b) Health Districts’ and Hospital Districts’ population will be measured at twenty-five
percent (25%) of discharges; and (c) all other Special Districts’ (including Fire Districts’ and
Library Districts’) population will be measured at ten percent (10%) of the population served.
The Settling Distributors and the Enforcement Committee shall meet and confer in order to agree
on data sources for purposes of this Section prior to the Preliminary Agreement Date.




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  The estimates for counties and parishes were accessed at https://www.census.gov/data/datasets/time-
series/demo/popest/2010s-countiestotal html. The estimates for cities and towns can currently be found at
https://www.census.gov/data/datasets/time-series/demo/popest/2010s-total-cities-and-towns html.


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       C.      Population Associated with Sheriffs. For any purpose in this Agreement in which
the population associated with a lawsuit by a sheriff is used, the population will be measured at
twenty percent (20%) of the capacity of the jail(s) operated by the sheriff.

        D.      No Admission. The Settling Distributors do not admit liability or wrongdoing.
Neither this Agreement nor the Consent Judgments shall be considered, construed or represented
to be (1) an admission, concession or evidence of liability or wrongdoing or (2) a waiver or any
limitation of any defense otherwise available to the Settling Distributors.

       E.      Most-Favored-Nation Provision.—Settling States.

               1.      If, after the Reference Date, any Settling Distributor enters into any
       settlement agreement with any Non-Settling State that resolves Claims similar in scope to
       the Claims released by a Settling State under this Agreement on overall payment terms
       that are more favorable to such Non-Settling State than the overall payment terms of the
       Agreement (after due consideration of relevant differences in population or other
       appropriate factors), then the Settling States, individually or collectively, may elect to
       seek review, pursuant to Section XIV.E.3, of the overall payment terms of this
       Agreement and the Non-Settling State agreement so that such Settling State(s) may
       obtain, with respect to that Settling Distributor, overall payment terms at least as
       favorable as those obtained by such Non-Settling State. “Overall payment terms” refers
       to consideration of all payment terms of the two agreements, taken together, including,
       but not limited to the amount of payments, the timing of payments, and conditions or
       contingencies on payments.

                2.      For any settlement with a Non-Settling State involving Released Claims
       that is entered into after the Reference Date, Settling Distributors shall provide the
       Enforcement Committee with a copy of the settlement agreement or relevant consent
       judgment within thirty (30) calendar days of the consummation of such settlement. The
       Enforcement Committee will promptly distribute such copy to all Settling States.

              3.      In the event that one or more Settling State(s) believes that the overall
       payment terms of an agreement by a Settling Distributor with a Non-Settling State are
       more favorable to the Non-Settling State, when compared based on the totality of the
       considerations set forth in Section XIV.E.1, the Settling State(s) and the Settling
       Distributor shall engage in the following process:

                        a.      The Settling State(s) shall provide notice, within sixty (60)
               calendar days of the date on which a settlement agreement or consent judgment is
               provided to the Enforcement Committee, to the Settling Distributor of its (their)
               intent to seek revision of this Agreement to provide payment terms that are, on an
               overall basis, as favorable as those obtained by the Non-Settling State. Such
               notice shall be confidential and not disclosed publicly to the extent allowed by
               law and shall state, in detail, the basis for the State’s (States’) belief that it (they)
               is entitled to a revision of the Agreement.




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                     b.      The Settling Distributor shall, within thirty (30) calendar days,
              provide a response to the Settling State(s), explaining its position, in detail, as to
              whether the Settling State(s) is entitled to more favorable overall payment terms
              than those provided for in this Agreement.

                      c.      In the event the Settling State(s) and Settling Distributor do not
              reach agreement as to the application of Section XIV.E.1, the Settling State(s)
              may petition the National Arbitration Panel to seek a ruling from the Panel as to
              the applicability of Section XIV.E.1, provided that the Settling State(s) may seek
              such review only if at least five (5) Settling States co-sign the petition. The Panel
              shall consider submissions and argument by the parties pursuant to the procedures
              set forth in Section VI.F.2.

                      d.     The Settling State(s) and the Settling Distributor shall be bound by
              the determination of the National Arbitration Panel.

                4.      This Section XIV.E does not apply to, and there is no ability of any
       Settling State to seek or obtain revision of this Agreement based on, any Non-Settling
       State agreement with any Settling Distributor that is entered into with: (a) a Non-Settling
       State after a date sixty (60) calendar days prior to the scheduled start date of a trial
       between any Settling Distributor and the Non-Settling State or any severed or bifurcated
       portion thereof, provided that, where, in order to complete a settlement, a Non-Settling
       State and a Settling Distributor jointly request an adjournment of the scheduled start date
       of a trial within sixty (60) days of that date, this exception will apply as if the trial date
       had not been adjourned; (b) a Non-Settling State that previously litigated to judgment a
       case related to opioids against any manufacturer, distributor, or pharmacy; or (c) a Non-
       Settling State that has obtained any court order or judicial determination that grants
       judgment (in whole or in part) against any Settling Distributor. For avoidance of doubt,
       the National Arbitration Panel shall have no power to review agreements described in this
       paragraph.

               5.      This Section XIV.E does not apply to, and there is no ability of any
       Settling State to seek or obtain revision of this Agreement based on, any agreement
       between a Settling Distributor and (a) federally-recognized tribe(s) or (b) West Virginia
       subdivisions or (c) Non-Participating Subdivisions. This Section XIV.E will not apply to
       any agreement entered into more than eighteen (18) months after the Reference Date.

       F.     Tax Cooperation and Reporting.

               1.      Upon request by any Settling Distributor, the Settling States and
       Participating Subdivisions agree to perform such further acts and to execute and deliver
       such further documents as may be reasonably necessary for the Settling Distributors to
       establish the statements set forth in Section V.E.3 to the satisfaction of their tax advisors,
       their independent financial auditors, the Internal Revenue Service, or any other
       governmental authority, including as contemplated by Treasury Regulations
       Section 1.162-21(b)(3)(ii) and any subsequently proposed or finalized relevant
       regulations or administrative guidance.


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               2.      Without limiting the generality of Section XIV.F.1, each Settling State and
       Participating Subdivision shall cooperate in good faith with any Settling Distributor with
       respect to any tax claim, dispute, investigation, audit, examination, contest, litigation, or
       other proceeding relating to this Agreement.

                3.     The Designated State, as defined in Section I.P as New York, on behalf of
       all Settling States and Participating Subdivisions, shall designate one of its officers or
       employees to act as the “appropriate official” within the meaning of Treasury Regulations
       Section 1.6050X-1(f)(1)(ii)(B) (the “Appropriate Official”). The Designated State shall
       direct and ensure that the Appropriate Official timely (a) files (i) at the time this
       Agreement becomes binding on the Parties, an IRS Form 1098-F in the form attached as
       Exhibit U, Exhibit V, and Exhibit W with respect to each of the Settling Distributors and
       (ii) any legally required returns or amended returns with any applicable governmental
       authority, or any returns requested by the respective Settling Distributors, and (b)
       provides to each of the Settling Distributors a copy of (i) the IRS Form 1098-F filed with
       respect to such Settling Distributor and (ii) any legally required written statement
       pursuant to any applicable law and any other document referred to in clause (a)(ii) above.
       Any such form, return, or statement shall be prepared and filed in a manner fully
       consistent with Section V.E.3.

               4.      The Settling States and Participating Subdivisions agree that any return,
       amended return, or written statement filed or provided pursuant to paragraph 3, and any
       similar document, shall be prepared and filed in a manner consistent with reporting each
       Settling Distributor’s portion of the Global Settlement Amount as the “Total amount to
       be paid” pursuant to this Agreement in Box 1 of IRS Form 1098-F and each Settling
       Distributor’s portion of the Compensatory Restitution Amount as
       “Restitution/remediation amount” in Box 2 of IRS Form 1098-F, as reflected in the
       attached Exhibit U, Exhibit V, and Exhibit W. If the Designated State or Appropriate
       Official shall be required to file any return, amended return, or written statement
       contemplated by this Section XIV.F other than an IRS Form 1098-F in the form attached
       as Exhibit U, Exhibit V, and Exhibit W, the Designated State shall direct and ensure that
       the Appropriate Official provides to each Settling Distributor a draft of such return,
       amended return, or written statement in respect of such Settling Distributor no later than
       sixty (60) calendar days prior to the due date thereof and shall accept and reflect any
       reasonable comments of such Settling Distributor on the return, amended return, or
       written statement in respect of such Settling Distributor.

               5.      For the avoidance of doubt, neither the Settling Distributors nor the
       Settling States and Participating Subdivisions make any warranty or representation to any
       Settling State, Participating Subdivision, or Releasor as to the tax consequences of the
       payment of the Compensatory Restitution Amount (or any portion thereof).

        G.       No Third-Party Beneficiaries. Except as expressly provided in this Agreement,
no portion of this Agreement shall provide any rights to, or be enforceable by, any person or
entity that is not a Settling State or Released Entity. No Settling State may assign or otherwise
convey any right to enforce any provision of this Agreement.



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        H.     Calculation. Any figure or percentage referred to in this Agreement shall be
carried to seven decimal places.

         I.     Construction. None of the Parties and no Participating Subdivision shall be
considered to be the drafter of this Agreement or of any of its provisions for the purpose of any
statute, case law, or rule of interpretation or construction that would or might cause any
provision to be construed against the drafter of this Agreement. The headings of the provisions
of this Agreement are not binding and are for reference only and do not limit, expand, or
otherwise affect the contents or meaning of this Agreement.

        J.      Cooperation. Each Party and each Participating Subdivision agrees to use its best
efforts and to cooperate with the other Parties and Participating Subdivisions to cause this
Agreement and the Consent Judgments to become effective, to obtain all necessary approvals,
consents and authorizations, if any, and to execute all documents and to take such other action as
may be appropriate in connection herewith. Consistent with the foregoing, each Party and each
Participating Subdivision agrees that it will not directly or indirectly assist or encourage any
challenge to this Agreement or any Consent Judgment by any other person, and will support the
integrity and enforcement of the terms of this Agreement and the Consent Judgments.

        K.     Entire Agreement. This Agreement, including its exhibits and any other
attachments, embodies the entire agreement and understanding between and among the Parties
and Participating Subdivisions relating to the subject matter hereof and supersedes (1) all prior
agreements and understandings relating to such subject matter, whether written or oral and (2) all
purportedly contemporaneous oral agreements and understandings relating to such subject
matter.

        L.      Execution. This Agreement may be executed in counterparts and by different
signatories on separate counterparts, each of which shall be deemed an original, but all of which
shall together be one and the same Agreement. One or more counterparts of this Agreement may
be delivered by facsimile or electronic transmission with the intent that it or they shall constitute
an original counterpart hereof. One or more counterparts of this Agreement may be signed by
electronic signature.

        M.     Good Faith and Voluntary Entry. Each Party warrants and represents that it
negotiated the terms of this Agreement in good faith. Each of the Parties and Participating
Subdivisions warrants and represents that it freely and voluntarily entered into this Agreement
without any degree of duress or compulsion. The Parties and Participating Subdivisions state
that no promise of any kind or nature whatsoever (other than the written terms of this
Agreement) was made to them to induce them to enter into this Agreement.

        N.      Legal Obligations. Nothing in this Agreement shall be construed as relieving any
Settling Distributor of the obligation to comply with all state and federal laws, regulations or
rules, nor shall any of the provisions herein be deemed to be permission to engage in any acts or
practices prohibited by such laws, regulations, or rules. Except with respect to the Injunctive
Relief Terms, in the event of a conflict between this Agreement and any requirement or
requirements of federal, state, or local laws, such that a Settling Distributor cannot comply with
this Agreement without violating such a requirement or requirements, the Settling Distributor


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shall document such conflicts and notify the Attorney(s) General of the relevant Settling State(s)
that it intends to comply with the requirement or requirements to the extent necessary to
eliminate the conflict. With respect to the Injunctive Relief Terms, in the event of such a
conflict, the procedures set forth in Section III.X of the Injunctive Relief Terms will be followed.

        O.       No Prevailing Party. The Parties and Participating Subdivisions each agree that
they are not the prevailing party in this action, for purposes of any claim for fees, costs, or
expenses as prevailing parties arising under common law or under the terms of any statute,
because the Parties and Participating Subdivisions have reached a good faith settlement. The
Parties and Participating Subdivisions each further waive any right to challenge or contest the
validity of this Agreement on any ground, including, without limitation, that any term is
unconstitutional or is preempted by, or in conflict with, any current or future law. Nothing in the
previous sentence shall modify, or be construed to conflict with, Section XIV.M.

        P.     Non-Admissibility. The settlement negotiations resulting in this Agreement have
been undertaken by the Parties and by certain representatives of the Participating Subdivisions in
good faith and for settlement purposes only, and no evidence of negotiations or discussions
underlying this Agreement shall be offered or received in evidence in any action or proceeding
for any purpose. This Agreement shall not be offered or received in evidence in any action or
proceeding for any purpose other than in an action or proceeding arising under or relating to this
Agreement.

        Q.      Notices. All notices or other communications under this Agreement shall be in
writing (including, but not limited to, electronic communications) and shall be given to the
recipients indicated below:

       For the Attorney(s) General:

               Ashley Moody,
               Attorney General
               State of Florida
               The Capitol,
               PL-01
               Tallahassee, FL 32399

               Josh Stein, Attorney General
               North Carolina Department of Justice
               Attn: Daniel Mosteller
               PO Box 629
               Raleigh, NC 27602
               Dmosteller@ncdoj.gov


       For the Plaintiffs’ Executive Committee:

               Paul F. Farrell
               Farrell Law


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              P.O. Box 1180
              Huntington, WV 25714-1180

              Jayne Conroy
              Simmons Hanly Conroy LLC
              112 Madison Avenue, 7th Floor
              New York, NY 10016-7416
              JConroy@simmonsfirm.com

              Joseph F. Rice
              Motley Rice LLC
              28 Bridgeside Blvd.
              Mount Pleasant, SC 29464
              jrice@motleyrice.com

              Peter Mougey
              Levin Papantonio Rafferty
              316 South Baylen St.
              Pensacola, FL 32502
              pmougey@levinlaw.com

              Paul J. Geller
              Robbins Feller Rudman & Dowd LLP
              120 East Palmetto Park Road
              Boca Raton, FL 33432
              PGeller@rgrdlaw.com


       For Settling Distributors:

              Copy to AmerisourceBergen Corporation’s attorneys at:
              Attn: Michael T. Reynolds
              Cravath, Swaine & Moore
              825 Eighth Avenue
              New York, NY 10019
              mreynolds@cravath.com


              Copy to Cardinal Health, Inc.’s attorneys at:
              Attn: Jeffrey M. Wintner, Esq.
              Attn: Elaine P. Golin, Esq.
              Wachtell, Lipton, Rosen & Katz
              51 West 52nd Street
              New York, NY 10019
              JMWintner@wlrk.com
              EPGolin@wlrk.com



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               Attn: JB Kelly, Esq.
               Cozen O’Connor
               1200 19th ST NW
               Washington DC 20036
               jbkelly@cozen.com


               Copy to McKesson Corporation’s attorneys at:
               Attn: Thomas J. Perrelli
               Jenner & Block LLP
               1099 New York Ave., NW, Suite 900
               Washington, D.C. 20001
               tperrelli@jenner.com

Any Party or the Plaintiffs’ Executive Committee may change or add the contact information of
the persons designated to receive notice on its behalf by notice given (effective upon the giving
of such notice) as provided in this Section XIV.P.

       R.      No Waiver. The waiver of any rights conferred hereunder shall be effective only
if made by written instrument executed by the waiving Party or Parties. The waiver by any Party
of any breach of this Agreement shall not be deemed to be or construed as a waiver of any other
breach, whether prior, subsequent, or contemporaneous, nor shall such waiver be deemed to be
or construed as a waiver by any other Party.

       S.       Preservation of Privilege. Nothing contained in this Agreement or any Consent
Judgment, and no act required to be performed pursuant to this Agreement or any Consent
Judgment, is intended to constitute, cause, or effect any waiver (in whole or in part) of any
attorney-client privilege, work product protection, or common interest/joint defense privilege,
and each Party and Participating Subdivision agrees that it shall not make or cause to be made in
any forum any assertion to the contrary.

       T.      Successors.

               1.      This Agreement shall be binding upon, and inure to the benefit of, the
       Settling Distributors and their respective successors and assigns.

               2.      A Settling Distributor shall not, in one (1) transaction or a series of related
       transactions, sell or transfer U.S. assets having a fair market value equal to twenty-five
       percent (25%) or more of the consolidated assets of such Settling Distributor (other than
       sales or transfers of inventories, or sales or transfers to an entity owned directly or
       indirectly by such Settling Distributor) where the sale or transfer is announced after the
       Reference Date, is not for fair consideration, and would foreseeably and unreasonably
       jeopardize such Settling Distributor’s ability to make the payments under this Agreement
       that are due on or before the third Payment Date following the close of a sale or transfer
       transaction, unless the Settling Distributor obtains the acquiror’s agreement that it will be
       either a guarantor of or successor to the percentage of that Settling Distributor’s
       remaining Payment Obligations under this Agreement equal to the percentage of the



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       Settling Distributor’s consolidated assets being sold or transferred in such
       transaction. Percentages under this section shall be determined in accordance with
       United States generally accepted accounting principles and as of the date of the Settling
       Distributor’s most recent publicly filed consolidated balance sheet prior to the date of
       entry into the sale or transfer agreement at issue. This Section XIV.T shall be
       enforceable solely by the Enforcement Committee, and any objection under this Section
       XIV.T not raised within twenty (20) calendar days of the announcement of the relevant
       transaction is waived. Any dispute under this Section XIV.T shall be a National Dispute
       as described in Section VI.F.2 and must be raised exclusively with the National
       Arbitration Panel as described therein within twenty (20) calendar days of the
       announcement, and the sole remedy shall be an order enjoining the transaction.

               3.      A Settling Distributor shall not, in one (1) transaction or a series of related
       transactions, sell or transfer (other than sales or transfers to an entity owned directly or
       indirectly by such Settling Distributor) more than twenty-five percent (25%) of the
       distribution centers within its Full-Line Wholesale Pharmaceutical Distribution Business
       (as that term is defined in the Injunctive Relief Terms) where the sale or transfer is
       announced after the Reference Date, unless the Settling Distributor obtains the acquiror’s
       agreement that it will be bound by the Injunctive Relief Terms.

        U.      Modification, Amendment, Alteration. After the Reference Date, any
modification, amendment, or alteration of this Agreement by the Parties shall be binding only if
evidenced in writing signed by the Settling Distributor to which the modification, amendment, or
alteration applies, if the change applies to less than all Settling Distributors, along with the
signatures of at least thirty-seven of those then serving Attorneys General of the Settling States
along with a representation from each Attorney General that either: (1) the advisory committee
or similar entity established or recognized by that Settling State (either pursuant to Section
V.E.2.d, by a State-Subdivision Agreement, or by statute) voted in favor of the modification,
amendment or alteration of this Agreement including at least one member appointed by the
Participating Subdivisions listed on Exhibit G; or (2) in States without any advisory committee,
that 50.1% (by population) of the Participating Subdivisions listed on Exhibit G expressed
approval of the modification, amendment, or alteration of this Agreement in a writing.

       V.      Termination.

               1.      Unless otherwise agreed to by each of the Settling Distributors and the
       Settling State in question, this Agreement and all of its terms (except Section XIV.P and
       any other non-admissibility provisions, which shall continue in full force and effect) shall
       be canceled and terminated with respect to the Settling State, and the Agreement and all
       orders issued by the courts in the Settling State pursuant to the Agreement shall become
       null and void and of no effect if one or more of the following conditions applies:

                       a.      a Consent Judgment approving this Agreement without
               modification of any of the Agreement’s terms has not been entered as to the
               Settling State by a court of competent jurisdiction on or before one hundred
               eighty (180) calendar days after the Effective Date;



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                      b.     this Agreement or the Consent Judgment as to that Settling State
              has been disapproved by a court of competent jurisdiction to which it was
              presented for approval and/or entry (or, in the event of an appeal from or review
              of a decision of such a court to approve this Agreement and the Consent
              Judgment, by the court hearing such appeal or conducting such review), and the
              time to appeal from such disapproval has expired, or, in the event of an appeal
              from such disapproval, the appeal has been dismissed or the disapproval has been
              affirmed by the court of last resort to which such appeal has been taken and such
              dismissal or disapproval has become no longer subject to further appeal
              (including, without limitation, review by the United States Supreme Court); or

             2.      If this Agreement is terminated with respect to a Settling State for
       whatever reason pursuant to Section XIV.V.1, then:

                       a.     an applicable statute of limitation or any similar time requirement
              (excluding any statute of repose) shall be tolled from the date the Settling State
              signed this Agreement until the later of the time permitted by applicable law or
              for one year from the date of such termination, with the effect that the Settling
              Distributors and the Settling State in question shall be in the same position with
              respect to the statute of limitation as they were at the time the Settling State filed
              its action; and

                      b.      the Settling Distributors and the Settling State in question shall
              jointly move the relevant court of competent jurisdiction for an order reinstating
              the actions and claims dismissed pursuant to the terms of this Agreement
              governing dismissal, with the effect that the Settling Distributors and the Settling
              State in question shall be in the same position with respect to those actions and
              claims as they were at the time the action or claim was stayed or dismissed.

               3.       Unless each of the Settling Distributors and the Enforcement Committee
       agrees otherwise, this Agreement, with the exception of the Injunctive Relief Terms that
       have their own provisions on duration, shall terminate as to all Parties as of the Payment
       Date for Payment Year 18, provided that all Settling Distributors that as of that date are
       not Bankrupt Settling Distributors have performed their Payment obligations under the
       Agreement as of that date. If fewer than all Settling Distributors that as of that date are
       not Bankrupt Settling Distributors have performed their Payment obligations under the
       Agreement as of that date, then the Agreement shall terminate as of that date as to any
       Settling Distributor that has performed its Payment obligations under the Agreement and
       the Agreement (a) shall terminate as to each of the remaining Settling Distributors that as
       of that date is not a Bankrupt Settling Distributor at such time as each performs its
       Payment obligations under the Agreement and (b) shall terminate as to all Parties at such
       time as all Settling Distributors that are not Bankrupt Settling Distributors have
       performed their Payment obligations under the Agreement. Notwithstanding any other
       provision in this Section XIV.V.3 or in this Agreement, all releases under this Agreement
       will remain effective despite any termination under this Section XIV.V.3.




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        W.      Governing Law. Except (1) as otherwise provided in this Agreement or (2) as
necessary, in the sole judgment of the National Arbitration Panel, to promote uniformity of
interpretation for matters within the scope of the National Arbitration Panel’s authority, this
Agreement shall be governed by and interpreted in accordance with the respective laws of the
Settling State, without regard to the conflict of law rules of such Settling State, that is seeking to
enforce the Agreement against Settling Distributor(s) or against which Settling Distributor(s) are
seeking enforcement. Notwithstanding any other provision in this subsection on governing law,
any disputes relating to the Settlement Fund Escrow shall be governed by and interpreted in
accordance with the law of the state where the escrow agent has its primary place of business.

        X.       Bankruptcy. The following provisions shall apply if a Settling Distributor enters
Bankruptcy (a Settling Distributor which does so and takes the actions, or is otherwise subjected
to the actions, referred to in (i) and/or (ii) herein being referred to as a “Bankrupt Settling
Distributor”) and (i) the Bankrupt Settling Distributor’s bankruptcy estate recovers, pursuant to
11 U.S.C. § 550, any payments made under this Agreement, or (ii) this Agreement is deemed
executory and is rejected by such Settling Distributor pursuant to 11 U.S.C. § 365:

               1.      In the event that both a number of Settling States equal to at least seventy-
       five percent (75%) of the total number of Settling States and Settling States having
       aggregate Overall Allocation Percentages as set forth on Exhibit F equal to at least
       seventy-five percent (75%) of the total aggregate Overall Allocation Percentages
       assigned to all Settling States deem (by written notice to the Settling Distributors other
       than the Bankrupt Settling Distributor) that the financial obligations of this Agreement
       have been terminated and rendered null and void as to such Bankrupt Settling Distributor
       (except as provided in Section XIV.X.1.a) due to a material breach by such Bankrupt
       Settling Distributor, whereupon, with respect to all Settling States:

                       a.      all agreements, all concessions, all reductions of Releasing Parties'
               Claims, and all releases and covenants not to sue, contained in this Agreement
               shall immediately and automatically be deemed null and void as to such
               Bankrupt Settling Distributor; the Settling States shall be deemed immediately
               and automatically restored to the same position they were in immediately prior to
               their entry into this Settlement Agreement in respect to such Bankrupt Settling
               Distributor and the Settling States shall have the right to assert any and all claims
               against such Bankrupt Settling Distributor in the Bankruptcy or otherwise, subject
               to any automatic stay, without regard to any limits or agreements as to the amount
               of the settlement otherwise provided in this Agreement; provided, however, that
               notwithstanding the foregoing sentence, (i) all reductions of Releasing Parties'
               Claims, and all releases and covenants not to sue, contained in this Agreement
               shall remain in full force and effect as to all persons or entities other than the
               Bankrupt Settling Distributor itself; and (ii) in the event a Settling State asserts
               any Released Claim against a Bankrupt Settling Distributor after the rejection
               and/or termination of this Agreement with respect to such Settling Distributor as
               described in this Section XIV.X.1.a and receives a judgment, settlement or
               distribution arising from such Released Claim, then the amount of any payments
               such Settling State has previously received from such Bankrupt Settling
               Distributor under this Agreement shall be applied to reduce the amount of any


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             such judgment, settlement or distribution (provided that no credit shall be given
             against any such judgment, settlement or distribution for any payment that such
             Settling State is required to disgorge or repay to the Bankrupt Settling
             Distributor’s bankruptcy estate); and

                     b.     the Settling States may exercise all rights provided under the
             federal Bankruptcy Code (or other applicable bankruptcy or non-bankruptcy law)
             with respect to their Claims against such Bankrupt Settling Distributor subject to
             all defenses and rights of the Bankrupt Settling Distributor.




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                                          EXHIBIT A

                                        Alleged Harms

The following export reports that were filed in connection with the case captioned In re National
Prescription Opiate Litigation, No. 1-17-md-02804 (S.D. Ohio):

   1. Expert report of Professor David Cutler, dated March 25, 2019.
   2. Expert report of Dr. Jeffrey B. Liebman, dated March 25, 2019.
   3. Expert report of Professor Thomas McGuire regarding damages to Bellwethers, dated
      March 25, 2019.
   4. Report of Professor Thomas McGuire regarding public nuisance, dated March 25, 2019.




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                                          EXHIBIT B

                       Enforcement Committee Organizational Bylaws

                                          ARTICLE I

These bylaws constitute the code of rules adopted by the Settling States and Participating
Subdivisions for the creation of an Enforcement Committee (the “Committee”) to exist and operate
during the term of the Agreement with the Settling Distributors and shall control the regulation
and management of the Committee’s affairs.

                                          ARTICLE II
                                           Purpose

The Committee is organized for the sole purpose of evaluating and taking such action as deemed
reasonable, necessary, and appropriate by the members of the Committee on the matters
delegated to the Committee under that certain Settlement Agreement between the Settling States
and the Settling Distributors dated July 21, 2021.

                                      ARTICLE III
                                  Members of the Committee

(1)    Number of Members
       The Committee will consist of seventeen (17) members (the “Members”). Upon majority
       resolution of the Committee, the number of Members may be increased or decreased from
       time to time, but in no event shall a decrease have the effect of decreasing the total number
       of Members to less than seven Members.

(2)    Initial Members
       The Committee initially will consist of eleven Settling State Members and six Participating
       Subdivision Members, three of the Participating Subdivisions shall be counties and three
       shall be municipalities. The initial Settling State Members are representatives from:
       Connecticut, Delaware, Florida, Georgia, Massachusetts, New York, North Carolina, Ohio,
       Pennsylvania, Tennessee, and Texas. The initial Participating Subdivision Members are:
       (a) Bexar County, Texas; (b) Broward County, Florida; (c) Chicago, Illinois; (d)
       Cincinnati, Ohio; (e) Nashville, Tennessee; and (f) Nassau County, New York. Until the
       Reference Date contained in the Settlement Agreement, the Participating Subdivisions may
       designate their outside counsel to serve as their representative. After the Reference Date,
       an employee or official of the Participating Subdivision must be the designated as the
       representative of the Participating Subdivision.

(3)    Term of Members
       The term of office for Members of the Committee will be until the end of the term of the
       Settlement Agreement, eighteen (18) years, unless and until a Member withdraws or
       resigns from the Committee.




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(4)    Resignation
       Any Member may resign at any time by delivering written notice to the Chairperson of the
       Committee. Such resignation shall take effect upon receipt or, if later, at the time specified
       in the notice.

(5)    Removal

       (a) Any Member may be removed without cause, at any time, by a majority of the entire
       Committee, at a Regular or Special Meeting called for that purpose. Any Member under
       consideration of removal must first be notified about the consideration by written notice at
       least five days prior to the meeting at which the vote takes place.

       (b) In the event that any Member is not a Settling State or a Participating Subdivision or
       the Member subsequently becomes a Later Litigating Subdivision or otherwise does not
       support the Agreement, the Member shall be removed immediately without notice or vote
       of the Committee.

(6)    Vacancies
       In the event of a vacancy, the Members of the same type (Settling State or Participating
       Subdivision) shall select another Settling State or Participating Subdivision to fill that
       Member’s position.

(7)    Compensation
       Members shall not receive any salaries or other compensation for their services, but, by
       resolution of the Committee, may be reimbursed for any actual expenses incurred in the
       performance of their duties for the Committee, as long as a majority of disinterested
       Members approve the reimbursement. Any reimbursement shall be sought from the
       Settlement Fund Administrator.

                                          ARTICLE IV
                            Conflicts of Interest and Code of Ethics

If a Member, agent, or employee of the Committee has a conflict of interest, he or she may not
participate in a vote, discussion, or decision about the matter. Each Member shall follow any
applicable state or local law with respect to conflicts, gifts, and ethics.

                                         ARTICLE V
                                      Committee Meetings

(1)    Place of Meetings
       Meetings of the Committee will be held at any place that the Chairperson may designate,
       including by telephonic or electronic means.

(2)    Regular Meetings
       Regular meetings of the Committee shall be held as deemed necessary by the by the
       Chairperson or any three members.



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(3)    Notice of Meetings
       Written notice of the date, time, place and subject of each meeting must be provided to the
       Members at least 72 hours before the scheduled time of the meeting, except when there is
       an emergency or urgent public necessity.

(4)    Quorum
       A majority of the incumbent Members (not counting vacancies) shall constitute a quorum
       for the purposes of convening a meeting or conducting business.

(5)    Voting and Proxy
       When it is necessary to vote on any matter before the Committee, Members may vote by
       electronic means as provided in these Bylaws. Proxy voting is permitted. In order for a
       matter to pass, the matter must have a majority vote of Members present and must have at
       least one vote from a Settling State Member and a Participating Subdivision Member. In
       the event that there is a Quorum, but no Settling State or Participating Subdivision Member
       is present, then a matter may pass with a simple majority vote.

(6)    Minutes
       The Committee shall prepare and keep minutes. The minutes must state the subject of each
       deliberation and indicate each vote, order, decision, or other action taken.

                                          ARTICLE VI
                                            Officers

(1)    Roster of Officers
       The Committee shall have a Chairperson, a Vice Chairperson, and a Secretary. The
       Committee may have at its discretion, such other officers as may be appointed by the
       Members of the Committee. One person may hold two or more offices, except those
       serving as Chairperson.

(2)    Election and Removal of Officers
       All officers shall serve two-year terms. The election shall be conducted at the first meeting
       of the fiscal year. Officers shall remain in office until their successors have been selected.
       Officers may serve consecutive terms without limit. The election of officers shall be by
       majority vote of the Members of the Committee attending the meeting.

(3)    Vacancies
       If a vacancy occurs during the term of office for any elected officer, the Members of the
       Committee shall elect a new officer to fill the remainder of the term as soon as practical,
       by majority vote of Members present.

(4)    Chairperson
       The Chairperson will supervise and control the affairs of the Committee and shall exercise
       such supervisory powers as may be given him/her by the Members of the Committee. The
       Chairperson will perform all duties incident to such office and such other duties as may be



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       provided in these bylaws or as may be prescribed from time to time by the Committee. The
       Chairperson shall preside at all meetings and shall exercise parliamentary control in
       accordance with Robert’s Rules of Order.


(5)    Vice Chairperson
       The Vice Chairperson shall act in place of the Chairperson in the event of the Chairperson’s
       absence, inability, or refusal to act, and shall exercise and discharge such other duties as
       may be required by the Committee. The Vice Chairperson shall serve as the
       parliamentarian and interpret any ambiguities of the bylaws.

(6)    Secretary
       The Secretary will keep and maintain all records related to the Committee and take minutes
       of all meetings.

(7)    Records
       All elected officers and committee chairpersons shall relinquish their records to the
       Chairperson immediately upon the completion of their term of office or completion of their
       term of office or completion of a project.

(8)    Resignation
       An officer may resign the office while not resigning membership from the Committee, by
       submitting a letter to the Chairperson. Vacancies occurring in any office shall be appointed
       for the remainder of the term.

                                         ARTICLE VII
                                            Duties

(1)    Prior to the Reference Date
       The Committee shall be responsible for any additional negotiations with the Settling
       Distributors, including, but not limited to, negotiating extensions of any periods created by
       the Settlement Agreement.

(2)    After the Enforcement Date
       The Committee shall establish procedures for the receipt of notices that a dispute exists
       concerning the Agreement and review of such disputes, pursuant to Section VI of the
       Agreement. Members may engage with Settling Distributors, Settling States, and
       Participating Subdivisions attempting to resolve any dispute without further action by the
       Committee. The Committee may request additional information from Settling Distributors,
       Settling States, and Participating Subdivisions to the extent the Committee believes such
       information is necessary to understand, resolve, or provide advice related to a dispute. The
       Committee shall endeavor to provide advice relative to the dispute no later than 60 days
       after receipt of notice.




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                                      ARTICLE VIII
                                     Rules of Procedure

The proceedings and business of the Committee shall be governed by Robert's Rules of Order
unless otherwise waived by the Committee.

                                        ARTICLE IX
                                         Operations

(1)    Records
       The Committee will keep correct and complete records and will also keep minutes of the
       proceedings of the Committee meetings and Committees. The Committee will keep at its
       principal place of business at a place designated by the Chairperson.

       All elected officers and committee chairpersons shall relinquish their records to the
       Chairperson, immediately upon the completion of their term of office.

(2)    Inspection of Books and Records
       The minutes of a meeting are public records and shall be available for public inspection
       and copying on request to the Committee’s Chairperson or the Chairperson's designee.

(3)    Amendments
       The bylaws may be amended at any time by a vote of a majority of Members present and
       must have at least one vote from a Settling State Member and a Participating Subdivision
       Member. In the event that there is a Quorum, but no Settling State or Participating
       Subdivision Member is present, then a matter may pass with a simple majority vote.




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                                                  EXHIBIT C

                                       Litigating Subdivisions List12


1.     Abbeville (AL), City of, Alabama                        40.    Chickasaw (AL), City of, Alabama
2.     Albertville (AL), City of, Alabama                      41.    Chilton (AL), County of, Alabama
3.     Alexander City (AL), City of, Alabama                   42.    Choctaw (AL), County of, Alabama
4.     Anniston (AL), City of, Alabama                         43.    Clanton (AL), City of, Alabama
5.     Arab (AL), City of, Alabama                             44.    Clarke (AL), County of, Alabama
6.     Argo (AL), City of, Alabama                             45.    Clay (AL), County of, Alabama
7.     Ashland (AL), City of, Alabama                          46.    Cleburne (AL), County of, Alabama
8.     Ashville (AL), City of, Alabama                         47.    Cleveland (AL), Town of, Alabama
9.     Athens (AL), City of, Alabama                           48.    Coffee (AL), County of, Alabama
10.    Attalla (AL), City of, Alabama                          49.    Colbert (AL), County of, Alabama
11.    Attentus Mouton, LLC d/b/a Lawrence                     50.    Conecuh (AL), County of, Alabama
       Medical Center (AL), Alabama                            51.    Coosa (AL), County of, Alabama
12.    Auburn (AL), City of, Alabama                           52.    Cordova (AL), City of, Alabama
13.    Autauga (AL), County of, Alabama                        53.    Covington (AL), County of, Alabama
14.    Baldwin (AL), County of, Alabama                        54.    Crenshaw (AL), County of, Alabama
15.    Barbour (AL), County of, Alabama                        55.    Cullman (AL), City of, Alabama
16.    Berry (AL), Town of, Alabama                            56.    Cullman (AL), County of, Alabama
17.    Bibb (AL), County of, Alabama                           57.    Cullman Regional Medical Center, Inc.
18.    Birmingham (AL), City of, Alabama                              (AL), Alabama
19.    Blount (AL), County of, Alabama                         58.    Dadeville (AL), City of, Alabama
20.    Boaz (AL), City of, Alabama                             59.    Dale (AL), County of, Alabama
21.    Brent (AL), City of, Alabama                            60.    Daleville (AL), City of, Alabama
22.    Brewton (AL), City of, Alabama                          61.    Dallas (AL), County of, Alabama
23.    Bridgeport (AL), City of, Alabama                       62.    Daphne (AL), City of, Alabama
24.    Brookwood (AL), Town of, Alabama                        63.    Dauphin Island (AL), Town of, Alabama
25.    Brundidge (AL), City of, Alabama                        64.    Decatur (AL), City of, Alabama
26.    Bullock (AL), County of, Alabama                        65.    DeKalb (AL), County of, Alabama
27.    Butler (AL), County of, Alabama                         66.    Demopolis (AL), City of, Alabama
28.    Butler (AL), Town of, Alabama                           67.    Dora (AL), City of, Alabama
29.    Calera (AL), City of, Alabama                           68.    Dothan (AL), City of, Alabama
30.    Calhoun (AL), County of, Alabama                        69.    Double Springs (AL), Town of, Alabama
31.    Camp Hill (AL), Town of, Alabama                        70.    Douglas (AL), Town of, Alabama
32.    Carbon Hill (AL), City of, Alabama                      71.    Enterprise (AL), City of, Alabama
33.    Cedar Bluff (AL), Town of, Alabama                      72.    Escambia (AL), County of, Alabama
34.    Center Point (AL), City of, Alabama                     73.    Etowah (AL), County of, Alabama
35.    Centre (AL), City of, Alabama                           74.    Etowah (AL), County of (Sheriff),
36.    Centreville (AL), City of, Alabama                             Alabama
37.    Chambers (AL), County of, Alabama                       75.    Eufaula (AL), City of, Alabama
38.    Cherokee (AL), County of, Alabama                       76.    Evergreen (AL), City of, Alabama
39.    Cherokee (AL), Town of, Alabama                         77.    Fairfield (AL), City of, Alabama

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   For purposes of calculating the percentage of Litigating Subdivisions pursuant to Section IV.F.2.b and Exhibit H,
an individual Litigating Subdivision shall not be included more than once in the numerator, and shall not be included
more than once in the denominator, of the calculation regardless if it (or any of its officials) is named as multiple
plaintiffs in the same lawsuit; provided, however, that for the avoidance of doubt, no Litigating Subdivision will be
excluded from the numerator or denominator under this sentence unless a Litigating Subdivision otherwise counted
in the denominator has the authority to release the Claims (consistent with Section XI) of the Litigating Subdivision
to be excluded.


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78.    Family Oriented Primary Health Care                118.   Homewood (AL), City of, Alabama
       Clinic (AL), Alabama                               119.   Hoover (AL), City of, Alabama
79.    Faunsdale (AL), Town of, Alabama                   120.   Houston (AL), County of, Alabama
80.    Fayette (AL), City of, Alabama                     121.   Hueytown (AL), City of, Alabama
81.    Fayette (AL), County of, Alabama                   122.   Huntsville (AL), City of, Alabama
82.    Fayette (AL), County of (Sheriff), Alabama         123.   J. Paul Jones Hospital (AL), Alabama
83.    Florence (AL), City of, Alabama                    124.   Jackson (AL), County of, Alabama
84.    Foley (AL), City of, Alabama                       125.   Jackson County Health Care Authority
85.    Fort Deposit (AL), Town of, Alabama                       (AL), Alabama
86.    Fort Payne (AL), City of, Alabama                  126.   Jacksonville (AL), City of, Alabama
87.    Franklin (AL), County of, Alabama                  127.   Jasper (AL), City of, Alabama
88.    Fultondale (AL), City of, Alabama                  128.   Jefferson (AL), County of, Alabama
89.    Gadsden (AL), City of, Alabama                     129.   Jefferson (AL), County of (Sheriff),
90.    Geneva (AL), City of, Alabama                             Alabama
91.    Geneva (AL), County of, Alabama                    130.   Killen (AL), City of, Alabama
92.    Geneva County Health Care Authority                131.   Lamar (AL), County of, Alabama
       (AL), Alabama                                      132.   Lamar (AL), County of (Sheriff), Alabama
93.    Georgiana (AL), City of, Alabama                   133.   Lanett (AL), City of, Alabama
94.    Geraldine (AL), Town of, Alabama                   134.   Lauderdale (AL), County of, Alabama
95.    Gilbertown (AL), Town of, Alabama                  135.   Lawrence (AL), County of, Alabama
96.    Grant (AL), Town of, Alabama                       136.   Leeds (AL), City of, Alabama
97.    Graysville (AL), City of, Alabama                  137.   Leesburg (AL), City of, Alabama
98.    Greene (AL), County of, Alabama                    138.   Leighton (AL), Town of, Alabama
99.    Greene County Hospital Board (AL),                 139.   Level Plains (AL), City of, Alabama
       Alabama                                            140.   Limestone (AL), County of, Alabama
100.   Greensboro (AL), City of, Alabama                  141.   Lincoln (AL), City of, Alabama
101.   Greenville (AL), City of, Alabama                  142.   Linden (AL), City of, Alabama
102.   Guin (AL), City of, Alabama                        143.   Locust Fork (AL), Town of, Alabama
103.   Guntersville (AL), City of, Alabama                144.   Louisville (AL), City of, Alabama
104.   Gurley (AL), Town of, Alabama                      145.   Lowndes (AL), County of, Alabama
105.   Hale (AL), County of, Alabama                      146.   Luverne (AL), City of, Alabama
106.   Haleyville (AL), City of, Alabama                  147.   Macon (AL), County of, Alabama
107.   Hamilton (AL), City of, Alabama                    148.   Madison (AL), City of, Alabama
108.   Hammondville (AL), Town of, Alabama                149.   Madison (AL), County of, Alabama
109.   Hartselle (AL), City of, Alabama                   150.   Marengo (AL), County of, Alabama
110.   Headland (AL), City of, Alabama                    151.   Marion (AL), City of, Alabama
111.   Health Care Authority of Cullman County            152.   Marion (AL), County of, Alabama
       (AL), Alabama                                      153.   Marshall (AL), County of, Alabama
112.   Health Care Authority of the City of               154.   Marshall County (AL) Health Care
       Huntsville d/b/a HH Health System, et al.                 Authority, Alabama
       (AL), Alabama                                      155.   McKenzie (AL), Town of, Alabama
113.   Henagar (AL), City of, Alabama                     156.   Midfield (AL), City of, Alabama
114.   Henry (AL), County of, Alabama                     157.   Millbrook (AL), City of, Alabama
115.   HH Health System-Athens Limestone,                 158.   Mobile (AL), City of, Alabama
       LLC d/b/a Athens Limestone Hospital                159.   Mobile (AL), County Board of Health,
       (AL), Alabama                                             Alabama
116.   HH Health System-Morgan, LLC d/b/a                 160.   Mobile (AL), County of, Alabama
       Decatur Morgan Hospital-Decatur and                161.   Monroe (AL), County of, Alabama
       Decatur Morgan Hospital-Parkway (AL),              162.   Monroe County Healthcare Authority
       Alabama                                                   (AL), Alabama
117.   HH Health System-Shoals, LLC d/b/a                 163.   Monroe County Healthcare Authority d/b/a
       Helen Keller Hospital and Red Bay                         Monroe County Hospital (AL), Alabama
       Hospital (AL), Alabama                             164.   Monroeville (AL), City of, Alabama



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165.   Montgomery (AL), City of, Alabama             218.   Talladega (AL), City of, Alabama
166.   Montgomery (AL), County of, Alabama           219.   Talladega (AL), County of, Alabama
167.   Moody (AL), City of, Alabama                  220.   Tallapoosa (AL), County of, Alabama
168.   Morgan (AL), County of, Alabama               221.   Tarrant (AL), City of, Alabama
169.   Moulton (AL), City of, Alabama                222.   The Bibb County Healthcare Authority
170.   Mountain Brook (AL), City of, Alabama                (AL), Alabama
171.   Munford (AL), Town of, Alabama                223.   The Dale County Healthcare Authority
172.   Muscle Shoals (AL), City of, Alabama                 (AL), Alabama
173.   Nauvoo (AL), City of, Alabama                 224.   The DCH Health Care Authority (AL),
174.   New Hope (AL), City of, Alabama                      Alabama
175.   Northport (AL), City of, Alabama              225.   The Health Care Authority of Morgan
176.   Oakman (AL), Town of, Alabama                        County - City of Decatur (AL), Alabama
177.   Oneonta (AL), City of, Alabama                226.   The Health Care Authority of the City of
178.   Opelika (AL), City of, Alabama                       Huntsville d/b/a Huntsville Hospital (AL),
179.   Opp (AL), City of, Alabama                           Alabama
180.   Orange Beach (AL), City of, Alabama           227.   The Health Care Authority of the City of
181.   Oxford (AL), City of, Alabama                        Huntsville d/b/a Huntsville Hospital for
182.   Ozark (AL), City of, Alabama                         Women and Children (AL), Alabama
183.   Parrish (AL), City of, Alabama                228.   The Health Care Authority of the City of
184.   Pell City (AL), City of, Alabama                     Huntsville d/b/a Madison Hospital (AL),
185.   Perry (AL), County of, Alabama                       Alabama
186.   Phenix (AL), City of, Alabama                 229.   The Healthcare Authority for Baptist
187.   Pickens (AL), County of, Alabama                     Health (AL), Alabama
188.   Piedmont (AL), City of, Alabama               230.   The Sylacauga Health Care Authority
189.   Pike (AL), County of, Alabama                        (AL), Alabama
190.   Pleasant Grove (AL), City of, Alabama         231.   The Tombigbee Health Care Authority
191.   Powell (AL), Town of, Alabama                        (AL), Alabama
192.   Prattville (AL), City of, Alabama             232.   Thomasville (AL), City of, Alabama
193.   Priceville (AL), Town of, Alabama             233.   Troy (AL), City of, Alabama
194.   Prichard (AL), City of, Alabama               234.   Trussville (AL), City of, Alabama
195.   Ragland (AL), City of, Alabama                235.   Tuscaloosa (AL), City of, Alabama
196.   Rainbow City (AL), City of, Alabama           236.   Tuscaloosa (AL), County of, Alabama
197.   Rainsville (AL), City of, Alabama             237.   Tuscumbia (AL), City of, Alabama
198.   Red Bay (AL), City of, Alabama                238.   Tuskegee (AL), City of, Alabama
199.   Robertsdale (AL), City of, Alabama            239.   Union Springs (AL), City of, Alabama
200.   Rockford (AL), Town of, Alabama               240.   Uniontown (AL), City of, Alabama
201.   Russell (AL), County of, Alabama              241.   Vance (AL), Town of, Alabama
202.   Russellville (AL), City of, Alabama           242.   Vernon (AL), City of, Alabama
203.   Satsuma (AL), City of, Alabama                243.   Vestavia Hills (AL), City of, Alabama
204.   Scottsboro (AL), City of, Alabama             244.   Walker (AL), County of, Alabama
205.   Selma (AL), City of, Alabama                  245.   Washington (AL), County of, Alabama
206.   Semmes (AL), City of, Alabama                 246.   Weaver (AL), City of, Alabama
207.   Sheffield (AL), City of, Alabama              247.   West Blocton (AL), Town of, Alabama
208.   Shelby (AL), County of, Alabama               248.   Wetumpka (AL), City of, Alabama
209.   Sipsey (AL), City of, Alabama                 249.   Wilcox (AL), County of, Alabama
210.   Slocomb (AL), City of, Alabama                250.   Winfield (AL), City of, Alabama
211.   Spanish Fort (AL), City of, Alabama           251.   Woodville (AL), Town of, Alabama
212.   Springville (AL), City of, Alabama            252.   Yellow Bluff (AL), Town of, Alabama
213.   St. Clair (AL), County of, Alabama            253.   Apache (AZ), County of, Arizona
214.   Sumiton (AL), City of, Alabama                254.   Bullhead City (AZ), City of, Arizona
215.   Sumter (AL), County of, Alabama               255.   Cochise (AZ), County of, Arizona
216.   Sweet Water (AL), Town of, Alabama            256.   Glendale (AZ), City of, Arizona
217.   Sylacauga (AL), City of, Alabama              257.   Kingman (AZ), City of, Arizona



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258.   La Paz (AZ), County of, Arizona               311.   Bentonville (AR), City of, Arkansas
259.   Maricopa (AZ), County of, Arizona             312.   Bergman (AR), City of, Arkansas
260.   Mohave (AZ), County of, Arizona               313.   Berryville (AR), City of, Arkansas
261.   Navajo (AZ), County of, Arizona               314.   Bethel Heights (AR), City of, Arkansas
262.   Phoenix (AZ), City of, Arizona                315.   Big Flat (AR), City of, Arkansas
263.   Pima (AZ), County of, Arizona                 316.   Bigelow (AR), City of, Arkansas
264.   Pinal (AZ), County of, Arizona                317.   Biggers (AR), City of, Arkansas
265.   Prescott (AZ), City of, Arizona               318.   Birdsong (AR), City of, Arkansas
266.   Surprise (AZ), City of, Arizona               319.   Biscoe (AR), City of, Arkansas
267.   Tucson (AZ), The City of, Arizona             320.   Black Oak (AR), City of, Arkansas
268.   Yuma (AZ), County of, Arizona                 321.   Black Rock (AR), City of, Arkansas
269.   Adona (AR), City of, Arkansas                 322.   Black Springs (AR), City of, Arkansas
270.   Alexander (AR), City of, Arkansas             323.   Blevins (AR), City of, Arkansas
271.   Alicia (AR), City of, Arkansas                324.   Blue Eye (AR), City of, Arkansas
272.   Allport (AR), City of, Arkansas               325.   Blue Mountain (AR), City of, Arkansas
273.   Alma (AR), City of, Arkansas                  326.   Bluff City (AR), City of, Arkansas
274.   Almyra (AR), City of, Arkansas                327.   Blytheville (AR), City of, Arkansas
275.   Alpena (AR), City of, Arkansas                328.   Bodcaw (AR), City of, Arkansas
276.   Altheimer (AR), City of, Arkansas             329.   Bonanza (AR), City of, Arkansas
277.   Altus (AR), City of, Arkansas                 330.   Bono (AR), City of, Arkansas
278.   Amagon (AR), City of, Arkansas                331.   Boone (AR), County of, Arkansas
279.   Amity (AR), City of, Arkansas                 332.   Booneville (AR), City of, Arkansas
280.   Anthonyvile (AR), City of, Arkansas           333.   Bradford (AR), City of, Arkansas
281.   Antoine (AR), City of, Arkansas               334.   Bradley (AR), City of, Arkansas
282.   Arkadelphia (AR), City of, Arkansas           335.   Bradley (AR), County of, Arkansas
283.   Arkansas (AR), County of, Arkansas            336.   Branch (AR), City of, Arkansas
284.   Arkansas City (AR), City of, Arkansas         337.   Briarcliff (AR), City of, Arkansas
285.   Ash Flat (AR), City of, Arkansas              338.   Brinkley (AR), City of, Arkansas
286.   Ashdown (AR), City of, Arkansas               339.   Brookland (AR), City of, Arkansas
287.   Ashley (AR), County of, Arkansas              340.   Bryant (AR), City of, Arkansas
288.   Atkins (AR), City of, Arkansas                341.   Buckner (AR), City of, Arkansas
289.   Aubrey (AR), City of, Arkansas                342.   Bull Shoals (AR), City of, Arkansas
290.   Augusta (AR), City of, Arkansas               343.   Burdette (AR), City of, Arkansas
291.   Austin (AR), City of, Arkansas                344.   Cabot (AR), City of, Arkansas
292.   Avoca (AR), City of, Arkansas                 345.   Caddo Valley (AR), City of, Arkansas
293.   Bald Knob (AR), City of, Arkansas             346.   Caldwell (AR), City of, Arkansas
294.   Banks (AR), City of, Arkansas                 347.   Cale (AR), City of, Arkansas
295.   Barling (AR), City of, Arkansas               348.   Calhoun (AR), County of, Arkansas
296.   Bassett (AR), City of, Arkansas               349.   Calico Rock (AR), City of, Arkansas
297.   Batesville (AR), City of, Arkansas            350.   Calion (AR), City of, Arkansas
298.   Bauxite (AR), City of, Arkansas               351.   Camden (AR), City of, Arkansas
299.   Baxter (AR), County of, Arkansas              352.   Cammack Village (AR), City of, Arkansas
300.   Bay (AR), City of, Arkansas                   353.   Campbell Station (AR), City of, Arkansas
301.   Bearden (AR), City of, Arkansas               354.   Caraway (AR), City of, Arkansas
302.   Beaver (AR), City of, Arkansas                355.   Carlisle (AR), City of, Arkansas
303.   Beebe (AR), City of, Arkansas                 356.   Carroll (AR), County of, Arkansas
304.   Beedeville (AR), City of, Arkansas            357.   Carthage (AR), City of, Arkansas
305.   Bella Vista (AR), City of, Arkansas           358.   Casa (AR), City of, Arkansas
306.   Bellefonte (AR), City of, Arkansas            359.   Cash (AR), City of, Arkansas
307.   Belleville (AR), City of, Arkansas            360.   Caulksville (AR), City of, Arkansas
308.   Ben Lomond (AR), City of, Arkansas            361.   Cave City (AR), City of, Arkansas
309.   Benton (AR), City of, Arkansas                362.   Cave Springs (AR), City of, Arkansas
310.   Benton (AR), County of, Arkansas              363.   Cedarville (AR), City of, Arkansas



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364.   Centerton (AR), City of, Arkansas                417.   Donaldson (AR), City of, Arkansas
365.   Central City (AR), City of, Arkansas             418.   Dover (AR), City of, Arkansas
366.   Charleston (AR), City of, Arkansas               419.   Dumas (AR), City of, Arkansas
367.   Cherokee Village (AR), City of, Arkansas         420.   Dyer (AR), City of, Arkansas
368.   Cherry Valley (AR), City of, Arkansas            421.   Dyess (AR), City of, Arkansas
369.   Chester (AR), City of, Arkansas                  422.   Earle (AR), City of, Arkansas
370.   Chicot (AR), County of, Arkansas                 423.   East Camden (AR), City of, Arkansas
371.   Chidester (AR), City of, Arkansas                424.   Edmondson (AR), City of, Arkansas
372.   Clarendon (AR), City of, Arkansas                425.   Egypt (AR), City of, Arkansas
373.   Clark (AR), County of, Arkansas                  426.   El Dorado (AR), City of, Arkansas
374.   Clarksville (AR), City of, Arkansas              427.   Elaine (AR), City of, Arkansas
375.   Clay (AR), County of, Arkansas                   428.   Elkins (AR), City of, Arkansas
376.   Cleburne (AR), County of, Arkansas               429.   Elm Springs (AR), City of, Arkansas
377.   Cleveland (AR), County of, Arkansas              430.   Emerson (AR), City of, Arkansas
378.   Clinton (AR), City of, Arkansas                  431.   Emmet (AR), City of, Arkansas
379.   Coal Hill (AR), City of, Arkansas                432.   England (AR), City of, Arkansas
380.   Colt (AR), City of, Arkansas                     433.   Enola (AR), City of, Arkansas
381.   Columbia (AR), County of, Arkansas               434.   Etowah (AR), City of, Arkansas
382.   Concord (AR), City of, Arkansas                  435.   Eudora (AR), City of, Arkansas
383.   Conway (AR), City of, Arkansas                   436.   Eureka Springs (AR), City of, Arkansas
384.   Conway (AR), County of, Arkansas                 437.   Evening Shade (AR), City of, Arkansas
385.   Corning (AR), City of, Arkansas                  438.   Everton (AR), City of, Arkansas
386.   Cotter (AR), City of, Arkansas                   439.   Fairfield Bay (AR), City of, Arkansas
387.   Cotton Plant (AR), City of, Arkansas             440.   Fargo (AR), City of, Arkansas
388.   Cove (AR), City of, Arkansas                     441.   Farmington (AR), City of, Arkansas
389.   Coy (AR), City of, Arkansas                      442.   Faulkner (AR), County of, Arkansas
390.   Craighead (AR), County of, Arkansas              443.   Felsenthal (AR), City of, Arkansas
391.   Crawford (AR), County of, Arkansas               444.   Fifty-Six (AR), City of, Arkansas
392.   Crawfordsville (AR), City of, Arkansas           445.   Fisher (AR), City of, Arkansas
393.   Crittenden (AR), County of, Arkansas             446.   Flippin (AR), City of, Arkansas
394.   Cross (AR), County of, Arkansas                  447.   Fordyce (AR), City of, Arkansas
395.   Crossett (AR), City of, Arkansas                 448.   Foreman (AR), City of, Arkansas
396.   Cushman (AR), City of, Arkansas                  449.   Forrest City (AR), City of, Arkansas
397.   Daisy (AR), City of, Arkansas                    450.   Fort Smith (AR), City of, Arkansas
398.   Dallas (AR), County of, Arkansas                 451.   Fouke (AR), City of, Arkansas
399.   Damascus (AR), City of, Arkansas                 452.   Fountain Hill (AR), City of, Arkansas
400.   Danville (AR), City of, Arkansas                 453.   Fountain Lake (AR), City of, Arkansas
401.   Dardanelle (AR), City of, Arkansas               454.   Fourche (AR), City of, Arkansas
402.   Datto (AR), City of, Arkansas                    455.   Franklin (AR), City of, Arkansas
403.   De Queen (AR), City of, Arkansas                 456.   Friendship (AR), City of, Arkansas
404.   Decatur (AR), City of, Arkansas                  457.   Fulton (AR), City of, Arkansas
405.   Delaplaine (AR), City of, Arkansas               458.   Fulton (AR), County of, Arkansas
406.   Delight (AR), City of, Arkansas                  459.   Garfield (AR), City of, Arkansas
407.   Dell (AR), City of, Arkansas                     460.   Garland (AR), City of, Arkansas
408.   Denning (AR), City of, Arkansas                  461.   Garland (AR), County of, Arkansas
409.   Dermott (AR), City of, Arkansas                  462.   Garner (AR), City of, Arkansas
410.   Des Arc (AR), City of, Arkansas                  463.   Gassville (AR), City of, Arkansas
411.   Desha (AR), County of, Arkansas                  464.   Gateway (AR), City of, Arkansas
412.   Devalls Bluff (AR), City of, Arkansas            465.   Gentry (AR), City of, Arkansas
413.   Dewitt (AR), City of, Arkansas                   466.   Georgetown (AR), City of, Arkansas
414.   Diamond City (AR), City of, Arkansas             467.   Gilbert (AR), City of, Arkansas
415.   Diaz (AR), City of, Arkansas                     468.   Gillett (AR), City of, Arkansas
416.   Dierks (AR), City of, Arkansas                   469.   Gillham (AR), City of, Arkansas



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470.   Gilmore (AR), City of, Arkansas                522.   Horseshoe Lake (AR), City of, Arkansas
471.   Glenwood (AR), City of, Arkansas               523.   Hot Spring (AR), County of, Arkansas
472.   Goshen (AR), City of, Arkansas                 524.   Hot Springs (AR), City of, Arkansas
473.   Gosnell (AR), City of, Arkansas                525.   Houston (AR), City of, Arkansas
474.   Gould (AR), City of, Arkansas                  526.   Howard (AR), County of, Arkansas
475.   Grady (AR), City of, Arkansas                  527.   Hoxie (AR), City of, Arkansas
476.   Grannis (AR), City of, Arkansas                528.   Hughes (AR), City of, Arkansas
477.   Grant (AR), County of, Arkansas                529.   Humnoke (AR), City of, Arkansas
478.   Gravette (AR), City of, Arkansas               530.   Humphrey (AR), City of, Arkansas
479.   Green Forest (AR), City of, Arkansas           531.   Hunter (AR), City of, Arkansas
480.   Greenbrier (AR), City of, Arkansas             532.   Huntington (AR), City of, Arkansas
481.   Greene (AR), County of, Arkansas               533.   Huntsville (AR), City of, Arkansas
482.   Greenland (AR), City of, Arkansas              534.   Huttig (AR), City of, Arkansas
483.   Greenway (AR), City of, Arkansas               535.   Imboden (AR), City of, Arkansas
484.   Greenwood (AR), City of, Arkansas              536.   Independence (AR), County of, Arkansas
485.   Greers Ferry (AR), City of, Arkansas           537.   Izard (AR), County of, Arkansas
486.   Griffithville (AR), City of, Arkansas          538.   Jackson (AR), County of, Arkansas
487.   Grubbs (AR), City of, Arkansas                 539.   Jacksonport (AR), City of, Arkansas
488.   Guion (AR), City of, Arkansas                  540.   Jacksonville (AR), City of, Arkansas
489.   Gum Springs (AR), City of, Arkansas            541.   Jasper (AR), City of, Arkansas
490.   Gurdon (AR), City of, Arkansas                 542.   Jefferson (AR), County of, Arkansas
491.   Guy (AR), City of, Arkansas                    543.   Jennette (AR), City of, Arkansas
492.   Hackett (AR), City of, Arkansas                544.   Jericho (AR), City of, Arkansas
493.   Hamburg (AR), City of, Arkansas                545.   Jerome (AR), City of, Arkansas
494.   Hampton (AR), City of, Arkansas                546.   Johnson (AR), City of, Arkansas
495.   Hardy (AR), City of, Arkansas                  547.   Johnson (AR), County of, Arkansas
496.   Harrell (AR), City of, Arkansas                548.   Joiner (AR), City of, Arkansas
497.   Harrisburg (AR), City of, Arkansas             549.   Jonesboro (AR), City of, Arkansas
498.   Harrison (AR), City of, Arkansas               550.   Judsonia (AR), City of, Arkansas
499.   Hartford (AR), City of, Arkansas               551.   Junction City (AR), City of, Arkansas
500.   Hartman (AR), City of, Arkansas                552.   Keiser (AR), City of, Arkansas
501.   Haskell (AR), City of, Arkansas                553.   Kensett (AR), City of, Arkansas
502.   Hatfield (AR), City of, Arkansas               554.   Kibler (AR), City of, Arkansas
503.   Havana (AR), City of, Arkansas                 555.   Kingsland (AR), City of, Arkansas
504.   Haynes (AR), City of, Arkansas                 556.   Knobel (AR), City of, Arkansas
505.   Hazen (AR), City of, Arkansas                  557.   Knoxville (AR), City of, Arkansas
506.   Heber Springs (AR), City of, Arkansas          558.   La Grange (AR), City of, Arkansas
507.   Hector (AR), City of, Arkansas                 559.   Lafayette (AR), County of, Arkansas
508.   Helena - West Helena (AR), City of,            560.   Lafe (AR), City of, Arkansas
       Arkansas                                       561.   Lake City (AR), City of, Arkansas
509.   Hempstead (AR), County of, Arkansas            562.   Lake View (AR), City of, Arkansas
510.   Hermitage (AR), City of, Arkansas              563.   Lake Village (AR), City of, Arkansas
511.   Hickory Ridge (AR), City of, Arkansas          564.   Lakeview (AR), City of, Arkansas
512.   Higden (AR), City of, Arkansas                 565.   Lamar (AR), City of, Arkansas
513.   Higginson (AR), City of, Arkansas              566.   Lavaca (AR), City of, Arkansas
514.   Highfill (AR), City of, Arkansas               567.   Leachville (AR), City of, Arkansas
515.   Highland (AR), City of, Arkansas               568.   Lead Hill (AR), City of, Arkansas
516.   Hindsville (AR), City of, Arkansas             569.   Lee (AR), County of, Arkansas
517.   Holland (AR), City of, Arkansas                570.   Leola (AR), City of, Arkansas
518.   Holly Grove (AR), City of, Arkansas            571.   Lepanto (AR), City of, Arkansas
519.   Hope (AR), City of, Arkansas                   572.   Leslie (AR), City of, Arkansas
520.   Horatio (AR), City of, Arkansas                573.   Lewisville (AR), City of, Arkansas
521.   Horseshoe Bend (AR), City of, Arkansas         574.   Lincoln (AR), City of, Arkansas



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575.   Lincoln (AR), County of, Arkansas               628.   Morrilton (AR), City of, Arkansas
576.   Little Flock (AR), City of, Arkansas            629.   Morrison Bluff (AR), City of, Arkansas
577.   Little River (AR), County of, Arkansas          630.   Mount Ida (AR), City of, Arkansas
578.   Little Rock (AR), City of, Arkansas             631.   Mount Pleasant (AR), City of, Arkansas
579.   Lockesburg (AR), City of, Arkansas              632.   Mount Vernon (AR), City of, Arkansas
580.   Logan (AR), County of, Arkansas                 633.   Mountain Home (AR), City of, Arkansas
581.   London (AR), City of, Arkansas                  634.   Mountain Pine (AR), City of, Arkansas
582.   Lonoke (AR), City of, Arkansas                  635.   Mountainburg (AR), City of, Arkansas
583.   Lonoke (AR), County of, Arkansas                636.   Mulberry (AR), City of, Arkansas
584.   Louann (AR), City of, Arkansas                  637.   Murfreesboro (AR), City of, Arkansas
585.   Luxora (AR), City of, Arkansas                  638.   Nashville (AR), City of, Arkansas
586.   Lynn (AR), City of, Arkansas                    639.   Nevada (AR), County of, Arkansas
587.   Madison (AR), City of, Arkansas                 640.   Newark (AR), City of, Arkansas
588.   Madison (AR), County of, Arkansas               641.   Newport (AR), City of, Arkansas
589.   Magazine (AR), City of, Arkansas                642.   Newton (AR), County of, Arkansas
590.   Magness (AR), City of, Arkansas                 643.   Norfork (AR), City of, Arkansas
591.   Magnolia (AR), City of, Arkansas                644.   Norman (AR), City of, Arkansas
592.   Malvern (AR), City of, Arkansas                 645.   Norphlet (AR), City of, Arkansas
593.   Mammoth Spring (AR), City of, Arkansas          646.   North Little Rock (AR), City of, Arkansas
594.   Manila (AR), City of, Arkansas                  647.   Oak Grove (AR), City of, Arkansas
595.   Mansfield (AR), City of, Arkansas               648.   Oak Grove Heights (AR), City of,
596.   Marianna (AR), City of, Arkansas                       Arkansas
597.   Marie (AR), City of, Arkansas                   649.   Oakhaven (AR), City of, Arkansas
598.   Marion (AR), City of, Arkansas                  650.   Oden (AR), City of, Arkansas
599.   Marion (AR), County of, Arkansas                651.   Ogden (AR), City of, Arkansas
600.   Marked Tree (AR), City of, Arkansas             652.   Oil Trough (AR), City of, Arkansas
601.   Marmaduke (AR), City of, Arkansas               653.   O'Kean (AR), City of, Arkansas
602.   Marvell (AR), City of, Arkansas                 654.   Okolona (AR), City of, Arkansas
603.   Maumelle (AR), City of, Arkansas                655.   Ola (AR), City of, Arkansas
604.   Mayflower (AR), City of, Arkansas               656.   Omaha (AR), City of, Arkansas
605.   Maynard (AR), City of, Arkansas                 657.   Oppelo (AR), City of, Arkansas
606.   McCaskill (AR), City of, Arkansas               658.   Osceola (AR), City of, Arkansas
607.   McRae (AR), City of, Arkansas                   659.   Ouachita (AR), County of, Arkansas
608.   McCrory (AR), City of, Arkansas                 660.   Oxford (AR), City of, Arkansas
609.   McDougal (AR), City of, Arkansas                661.   Ozan (AR), City of, Arkansas
610.   McGehee (AR), City of, Arkansas                 662.   Ozark (AR), City of, Arkansas
611.   McNab (AR), City of, Arkansas                   663.   Palestine (AR), City of, Arkansas
612.   Melbourne (AR), City of, Arkansas               664.   Pangburn (AR), City of, Arkansas
613.   Mena (AR), City of, Arkansas                    665.   Paragould (AR), City of, Arkansas
614.   Menifee (AR), City of, Arkansas                 666.   Paris (AR), City of, Arkansas
615.   Midland (AR), City of, Arkansas                 667.   Parkdale (AR), City of, Arkansas
616.   Miller (AR), County of, Arkansas                668.   Parkin (AR), City of, Arkansas
617.   Mineral Springs (AR), City of, Arkansas         669.   Patmos (AR), City of, Arkansas
618.   Minturn (AR), City of, Arkansas                 670.   Patterson (AR), City of, Arkansas
619.   Mississippi (AR), County of, Arkansas           671.   Pea Ridge (AR), City of, Arkansas
620.   Mitchellville (AR), City of, Arkansas           672.   Peach Orchard (AR), City of, Arkansas
621.   Monette (AR), City of, Arkansas                 673.   Perla (AR), City of, Arkansas
622.   Monroe (AR), County of, Arkansas                674.   Perry (AR), City of, Arkansas
623.   Montgomery (AR), County of, Arkansas            675.   Perry (AR), County of, Arkansas
624.   Monticello (AR), City of, Arkansas              676.   Perrytown (AR), City of, Arkansas
625.   Montrose (AR), City of, Arkansas                677.   Perryville (AR), City of, Arkansas
626.   Moorefield (AR), City of, Arkansas              678.   Phillips (AR), County of, Arkansas
627.   Moro (AR), City of, Arkansas                    679.   Piggott (AR), City of, Arkansas



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680.   Pike (AR), County of, Arkansas                   733.   Sharp (AR), County of, Arkansas
681.   Pindall (AR), City of, Arkansas                  734.   Sheridan (AR), City of, Arkansas
682.   Pine Bluff (AR), City of, Arkansas               735.   Sherrill (AR), City of, Arkansas
683.   Pineville (AR), City of, Arkansas                736.   Sherwood (AR), City of, Arkansas
684.   Plainview (AR), City of, Arkansas                737.   Shirley (AR), City of, Arkansas
685.   Pleasant Plains (AR), City of, Arkansas          738.   Sidney (AR), City of, Arkansas
686.   Plumerville (AR), City of, Arkansas              739.   Siloam Springs (AR), City of, Arkansas
687.   Pocahontas (AR), City of, Arkansas               740.   Smackover (AR), City of, Arkansas
688.   Poinsett (AR), County of, Arkansas               741.   Smithville (AR), City of, Arkansas
689.   Polk (AR), County of, Arkansas                   742.   South Lead Hill (AR), City of, Arkansas
690.   Pollard (AR), City of, Arkansas                  743.   Sparkman (AR), City of, Arkansas
691.   Pope (AR), County of, Arkansas                   744.   Springdale (AR), City of, Arkansas
692.   Portia (AR), City of, Arkansas                   745.   Springtown (AR), City of, Arkansas
693.   Portland (AR), City of, Arkansas                 746.   St. Charles (AR), City of, Arkansas
694.   Pottsville (AR), City of, Arkansas               747.   St. Francis (AR), City of, Arkansas
695.   Powhatan (AR), City of, Arkansas                 748.   St. Francis (AR), County of, Arkansas
696.   Poyen (AR), City of, Arkansas                    749.   St. Joe (AR), City of, Arkansas
697.   Prairie (AR), County of, Arkansas                750.   St. Paul (AR), City of, Arkansas
698.   Prairie Grove (AR), City of, Arkansas            751.   Stamps (AR), City of, Arkansas
699.   Prattsville (AR), City of, Arkansas              752.   Star City (AR), City of, Arkansas
700.   Prescott (AR), City of, Arkansas                 753.   Stephens (AR), City of, Arkansas
701.   Pulaski (AR), County of, Arkansas                754.   Stone (AR), County of, Arkansas
702.   Pyatt (AR), City of, Arkansas                    755.   Strawberry (AR), City of, Arkansas
703.   Quitman (AR), City of, Arkansas                  756.   Strong (AR), City of, Arkansas
704.   Randolph (AR), County of, Arkansas               757.   Stuttgart (AR), City of, Arkansas
705.   Ratcliff (AR), City of, Arkansas                 758.   Subiaco (AR), City of, Arkansas
706.   Ravenden (AR), City of, Arkansas                 759.   Success (AR), City of, Arkansas
707.   Ravenden Springs (AR), City of, Arkansas         760.   Sulphur Rock (AR), City of, Arkansas
708.   Rector (AR), City of, Arkansas                   761.   Sulphur Springs (AR), City of, Arkansas
709.   Redfield (AR), City of, Arkansas                 762.   Summit (AR), City of, Arkansas
710.   Reed (AR), City of, Arkansas                     763.   Sunset (AR), City of, Arkansas
711.   Reyno (AR), City of, Arkansas                    764.   Swifton (AR), City of, Arkansas
712.   Rison (AR), City of, Arkansas                    765.   Taylor (AR), City of, Arkansas
713.   Rockport (AR), City of, Arkansas                 766.   Texarkana (AR), City of, Arkansas
714.   Roe (AR), City of, Arkansas                      767.   Thornton (AR), City of, Arkansas
715.   Rogers (AR), City of, Arkansas                   768.   Tillar (AR), City of, Arkansas
716.   Rondo (AR), City of, Arkansas                    769.   Tinsman (AR), City of, Arkansas
717.   Rose Bud (AR), City of, Arkansas                 770.   Tollette (AR), City of, Arkansas
718.   Rosston (AR), City of, Arkansas                  771.   Tontitown (AR), City of, Arkansas
719.   Rudy (AR), City of, Arkansas                     772.   Traskwood (AR), City of, Arkansas
720.   Russell (AR), City of, Arkansas                  773.   Trumann (AR), City of, Arkansas
721.   Russellville (AR), City of, Arkansas             774.   Tuckerman (AR), City of, Arkansas
722.   Salem (AR), City of, Arkansas                    775.   Tull (AR), City of, Arkansas
723.   Salesville (AR), City of, Arkansas               776.   Tupelo (AR), City of, Arkansas
724.   Saline (AR), County of, Arkansas                 777.   Turrell (AR), City of, Arkansas
725.   Scott (AR), County of, Arkansas                  778.   Twin Groves (AR), City of, Arkansas
726.   Scranton (AR), City of, Arkansas                 779.   Tyronza (AR), City of, Arkansas
727.   Searcy (AR), City of, Arkansas                   780.   Ulm (AR), City of, Arkansas
728.   Searcy (AR), County of, Arkansas                 781.   Union (AR), County of, Arkansas
729.   Sebastian (AR), County of, Arkansas              782.   Valley Springs (AR), City of, Arkansas
730.   Sedgwick (AR), City of, Arkansas                 783.   Van Buren (AR), City of, Arkansas
731.   Sevier (AR), County of, Arkansas                 784.   Van Buren (AR), County of, Arkansas
732.   Shannon Hills (AR), City of, Arkansas            785.   Vandervoort (AR), City of, Arkansas



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786.   Victoria (AR), City of, Arkansas                 838.   Del Norte (CA), County of, California
787.   Vilonia (AR), City of, Arkansas                  839.   Downey Unified School District (CA),
788.   Viola (AR), City of, Arkansas                           California
789.   Wabbaseka (AR), City of, Arkansas                840.   Dublin (CA), City of, California
790.   Waldenburg (AR), City of, Arkansas               841.   El Dorado (CA), County of, California
791.   Waldo (AR), City of, Arkansas                    842.   El Monte (CA), City of, California
792.   Waldron (AR), City of, Arkansas                  843.   Elk Grove Unified School District (CA),
793.   Walnut Ridge (AR), City of, Arkansas                    California
794.   Ward (AR), City of, Arkansas                     844.   Encinitas (CA), City of, California
795.   Warren (AR), City of, Arkansas                   845.   Eureka (CA), City of, California
796.   Washington (AR), City of, Arkansas               846.   Fresno (CA), County of, California
797.   Washington (AR), County of, Arkansas             847.   Fullerton (CA), City of, California
798.   Watson (AR), City of, Arkansas                   848.   Glenn (CA), County of, California
799.   Weiner (AR), City of, Arkansas                   849.   Health Plan of San Joaquin (CA),
800.   Weldon (AR), City of, Arkansas                          California
801.   West Fork (AR), City of, Arkansas                850.   Humboldt (CA), County of, California
802.   West Memphis (AR), City of, Arkansas             851.   Huntington Beach (CA), City of, California
803.   West Point (AR), City of, Arkansas               852.   Imperial (CA), County of, California
804.   Western Grove (AR), City of, Arkansas            853.   Inland Empire Health Plan (CA), California
805.   Wheatley (AR), City of, Arkansas                 854.   Inyo (CA), County of, California
806.   Whelen Springs (AR), City of, Arkansas           855.   Irvine (CA), City of, California
807.   White (AR), County of, Arkansas                  856.   Kern (CA), County of, California
808.   White Hall (AR), City of, Arkansas               857.   Kern High School District (CA), California
809.   Wickes (AR), City of, Arkansas                   858.   La Habra (CA), City of, California
810.   Widener (AR), City of, Arkansas                  859.   La Mesa (CA), City of, California
811.   Wiederkehr Village (AR), City of,                860.   Laguna Beach (CA), City of, California
       Arkansas                                         861.   Lakeport (CA), City of, California
812.   Williford (AR), City of, Arkansas                862.   Lassen (CA), County of, California
813.   Willisville (AR), City of, Arkansas              863.   Los Angeles (CA), City of, California
814.   Wilmar (AR), City of, Arkansas                   864.   Los Angeles County o/a L.A. Care Health
815.   Wilmot (AR), City of, Arkansas                          Plan (CA), Local Initiative Health
816.   Wilson (AR), City of, Arkansas                          Authority
817.   Wilton (AR), City of, Arkansas                   865.   Madera (CA), County of, California
818.   Winchester (AR), City of, Arkansas               866.   Marin (CA), County of, California
819.   Winslow (AR), City of, Arkansas                  867.   Mariposa (CA), County of, California
820.   Winthrop (AR), City of, Arkansas                 868.   Mendocino (CA), County of, California
821.   Woodruff (AR), County of, Arkansas               869.   Merced (CA), County of, California
822.   Wooster (AR), City of, Arkansas                  870.   Modoc (CA), County of, California
823.   Wrightsville (AR), City of, Arkansas             871.   Mono (CA), County of, California
824.   Wynne (AR), City of, Arkansas                    872.   Monterey (CA), County of, California
825.   Yell (AR), County of, Arkansas                   873.   Montezuma (CA), Fire Protection District,
826.   Yellville (AR), City of, Arkansas                       California
827.   Zinc (AR), City of, Arkansas                     874.   Murrieta (CA), City of, California
828.   Alameda (CA), County of, California              875.   Napa (CA), County of, California
829.   Amador (CA), County of, California               876.   Nevada (CA), County of, California
830.   Anaheim (CA), City of, California                877.   Oxnard (CA), City of, California
831.   Butte (CA), County of, California                878.   Placentia (CA), City of, California
832.   Calaveras (CA), County of, California            879.   Placer (CA), County of, California
833.   Chico (CA), City of, California                  880.   Pleasant Valley (CA), School District
834.   Chula Vista (CA), City of, California                   Board of Education, California
835.   Clearlake (CA), City of, California              881.   Plumas (CA), County of, California
836.   Contra Costa (CA), County of, California         882.   Riverside (CA), County of, California
837.   Costa Mesa (CA), City of, California             883.   Sacramento (CA), City of, California



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884.   Sacramento (CA), County of, California             928.   Fremont (CO), County of (Board of
885.   San Benito (CA), County of, California                    Commissioners), Colorado
886.   San Bernardino (CA), County of,                    929.   Greeley (CO), City of, Colorado
       California                                         930.   Hudson (CO), City of, Colorado
887.   San Clemente (CA), City of, California             931.   Huerfano (CO), County of, Colorado
888.   San Diego (CA), City of, California                932.   Jefferson (CO), County of (Board of
889.   San Diego (CA), County of, California                     Commissioners), Colorado
890.   San Francisco (CA), City of, California            933.   Lakewood (CO), City of, Colorado
891.   San Joaquin (CA), County of, California            934.   Larimer (CO), County of (Board of
892.   San Jose (CA), City of, California                        Commissioners), Colorado
893.   San Luis Obispo (CA), County of,                   935.   Las Animas (CO), County of, Colorado
       California                                         936.   Mesa (CO), County of (Board of
894.   San Mateo (CA), County of, California                     Commissioners), Colorado
895.   Santa Ana (CA), City of, California                937.   Mesa County Valley School District 51
896.   Santa Barbara (CA), County of, California                 (CO), Colorado
897.   Santa Barbara San Luis Obispo Regional             938.   Northglenn (CO), City of, Colorado
       Heath Authority, d/b/a Central Hospital            939.   Otero (CO), County of, Colorado
       (CA), California                                   940.   Pueblo (CO), County of, Colorado
898.   Santa Cruz (CA), County of, California             941.   Sheridan (CO), City of, Colorado
899.   Shasta (CA), County of, California                 942.   Teller (CO), County of (Board of
900.   Siskiyou (CA), County of, California                      Commissioners), Colorado
901.   Sonoma (CA), County of, California                 943.   Thornton (CO), City of, Colorado
902.   Stockton (CA), City of, California                 944.   Tri-County Health Department (CO),
903.   Sutter (CA), County of, California                        Colorado
904.   Tehama (CA), County of, California                 945.   Westminster (CO), City of, Colorado
905.   Trinity (CA), County of, California                946.   Wheat Ridge (CO), City of, Colorado
906.   Tulare (CA), County of, California                 947.   Ansonia (CT), City of, Connecticut
907.   Tuolumne (CA), County of, California               948.   Beacon Falls (CT), Town of, Connecticut
908.   Ventura (CA), County of, California                949.   Berlin (CT), Town of, Connecticut
909.   Ventura County Medi-Cal Managed Care               950.   Bethlehem (CT), Town of, Connecticut
       Commission d/b/a Gold Coast Health Plan            951.   Bridgeport (CT), City of, Connecticut
       (CA), California                                   952.   Bristol (CT), City of, Connecticut
910.   Westminster (CA), City of, California              953.   Coventry (CT), Town of, Connecticut
911.   Yolo (CA), County of, California                   954.   Danbury (CT), City of, Connecticut
912.   Yuba (CA), County of, California                   955.   Derby (CT), City of, Connecticut
913.   Adams (CO), County of (Board of                    956.   East Hartford (CT), Town of, Connecticut
       Commissioners), Colorado                           957.   Enfield (CT), Town of, Connecticut
914.   Alamosa (CO), City of, Colorado                    958.   Fairfield (CT), Town of, Connecticut
915.   Alamosa (CO), County of, Colorado                  959.   Middlebury (CT), Town of, Connecticut
916.   Arapahoe (CO), County of (Board of                 960.   Middletown (CT), City of, Connecticut
       Commissioners), Colorado                           961.   Milford (CT), City of, Connecticut
917.   Aurora (CO), City of, Colorado                     962.   Monroe (CT), Town of, Connecticut
918.   Black Hawk (CO), City of, Colorado                 963.   Naugatuck (CT), Borough of, Connecticut
919.   Boulder (CO), County of (Board of                  964.   New London (CT), City of, Connecticut
       Commissioners), Colorado                           965.   New Milford (CT), Town of, Connecticut
920.   Brighton (CO), City of, Colorado                   966.   Newtown (CT), Town of, Connecticut
921.   Broomfield (CO), City of, Colorado                 967.   North Haven (CT), Town of, Connecticut
922.   Chaffee (CO), County of, Colorado                  968.   Norwalk (CT), City of, Connecticut
923.   Commerce City (CO), City of, Colorado              969.   Norwich (CT), City of, Connecticut
924.   Conejos (CO), County of, Colorado                  970.   Oxford (CT), Town of, Connecticut
925.   Crowley (CO), County of, Colorado                  971.   Prospect (CT), Town of, Connecticut
926.   Denver (CO), City of, Colorado                     972.   Roxbury (CT), Town of, Connecticut
927.   Federal Heights (CO), City of, Colorado



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973.    San Leandro (CA), Unified School District,          1023.   Hillsborough (FL), County of, Florida
        California                                          1024.   Holmes (FL), County of, Florida
974.    Seymour (CT), Town of, Connecticut                  1025.   Homestead (FL), City of, Florida
975.    Shelton (CT), City of, Connecticut                  1026.   Jackson (FL), County of, Florida
976.    Southbury (CT), Town of, Connecticut                1027.   Jacksonville (FL), City of, Florida
977.    Southington (CT), Town of, Connecticut              1028.   Lake (FL), County of, Florida
978.    Stratford (CT), Town of, Connecticut                1029.   Lauderhill (FL), City of, Florida
979.    Thomaston (CT), Town of, Connecticut                1030.   Lee (FL), County of, Florida
980.    Tolland (CT), Town of, Connecticut                  1031.   Lee Memorial Health System, d/b/a Lee
981.    Torrington (CT), City of, Connecticut                       Health (FL), Florida
982.    Wallingford (CT), Town of, Connecticut              1032.   Leon (FL), County of, Florida
983.    Waterbury (CT), City of, Connecticut                1033.   Levy (FL), County of, Florida
984.    West Haven (CT), City of, Connecticut               1034.   Lynn Haven (FL), City of, Florida
985.    Wethersfield (CT), Town of, Connecticut             1035.   Manatee (FL), County of, Florida
986.    Windham (CT), Town of, Connecticut                  1036.   Marion (FL), County of, Florida
987.    Wolcott (CT), Town of, Connecticut                  1037.   Miami (FL), City of, Florida
988.    Woodbury (CT), Town of, Connecticut                 1038.   Miami Gardens (FL), City of, Florida
989.    Dover (DE), City of, Delaware                       1039.   Miami-Dade (FL), County of, Florida
990.    Kent (DE), County of, Delaware                      1040.   Miami-Dade (FL), School Board of,
991.    Seaford (DE), City of, Delaware                             Florida
992.    Sussex (DE), County of, Delaware                    1041.   Miramar (FL), City of, Florida
993.    Alachua (FL), County of, Florida                    1042.   Monroe (FL), County of (County
994.    Apopka (FL), City of, Florida                               Commission), Florida
995.    Bay (FL), County of, Florida                        1043.   New Port Richey (FL), City of, Florida
996.    Bradenton (FL), City of, Florida                    1044.   Niceville, City of (FL), Florida
997.    Bradford (FL), County of, Florida                   1045.   North Broward Hospital District (FL),
998.    Brevard (FL), County of, Florida                            Florida
999.    Broward (FL), County of, Florida                    1046.   North Miami (FL), City of, Florida
1000.   Calhoun (FL), County of, Florida                    1047.   Ocala (FL), City of, Florida
1001.   Clay (FL), County of, Florida                       1048.   Ocoee (FL), City of, Florida
1002.   Clearwater (FL), City of, Florida                   1049.   Okaloosa (FL), County of, Florida
1003.   Coconut Creek (FL), City of, Florida                1050.   Orange (FL), County of, Florida
1004.   Coral Gables (FL), City of, Florida                 1051.   Orlando (FL), City of, Florida
1005.   Coral Springs (FL), City of, Florida                1052.   Ormond Beach (FL), City of, Florida
1006.   Daytona Beach (FL), City of, Florida                1053.   Osceola (FL), County of, Florida
1007.   Daytona Beach Shores (FL), City of,                 1054.   Oviedo (FL), City of, Florida
        Florida                                             1055.   Palatka (FL), City of, Florida
1008.   Deerfield Beach (FL), City of, Florida              1056.   Palm Bay (FL), City of, Florida
1009.   Delray Beach (FL), City of, Florida                 1057.   Palm Beach (FL), County of, Florida
1010.   Deltona (FL), City of, Florida                      1058.   Palmetto (FL), City of, Florida
1011.   Dixie (FL), County of, Florida                      1059.   Panama City (FL), City of, Florida
1012.   Eatonville (FL), Town of, Florida                   1060.   Pasco (FL), County of, Florida
1013.   Escambia (FL), County of, Florida                   1061.   Pembroke Pines (FL), City of, Florida
1014.   Florida City (FL), City of, Florida                 1062.   Pensacola (FL), City of, Florida
1015.   Fort Lauderdale (FL), City of, Florida              1063.   Pinellas (FL), County of, Florida
1016.   Fort Pierce (FL), City of, Florida                  1064.   Pinellas Park (FL), City of, Florida
1017.   Gilchrist (FL), County of, Florida                  1065.   Polk (FL), County of, Florida
1018.   Gulf (FL), County of, Florida                       1066.   Pompano Beach (FL), City of, Florida
1019.   Halifax Hospital Medical Center (FL),               1067.   Port St. Lucie (FL), City of, Florida
        Florida                                             1068.   Putnam (FL), County of, Florida
1020.   Hallandale Beach (FL), City of, Florida             1069.   Sanford (FL), City of, Florida
1021.   Hamilton (FL), County of, Florida                   1070.   Santa Rosa (FL), County of, Florida
1022.   Hernando (FL), County of, Florida                   1071.   Sarasota (FL), City of, Florida



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1072. Sarasota (FL), County of, Florida                  1113.   Blakely (GA), City of, Georgia
1073. Sarasota County Public Hospital District           1114.   Brantley (GA), County of, Georgia
      d/b/a Memorial Healthcare System, Inc.             1115.   Brooks (GA), County of, Georgia
      (FL), Florida                                      1116.   Brunswick (GA), City of, Georgia
1074. Seminole (FL), County of, Florida                  1117.   Bulloch (GA), County of, Georgia
1075. St. Augustine (FL), City of, Florida               1118.   Burke (GA), County of, Georgia
1076. St. Johns (FL), County of, Florida                 1119.   Butts (GA), County of, Georgia
1077. St. Lucie (FL), County of, Florida                 1120.   Calhoun (GA), City of, Georgia
1078. St. Petersburg (FL), City of, Florida              1121.   Camden (GA), County of, Georgia
1079. Stuart (FL), City of, Florida                      1122.   Candler (GA), County of, Georgia
1080. Suwannee (FL), County of, Florida                  1123.   Candler County (GA), Hospital Authority,
1081. Sweetwater (FL), City of, Florida                          Georgia
1082. Tallahassee (FL), City of, Florida                 1124.   Carroll (GA), County of, Georgia
1083. Tampa (FL), City of, Florida                       1125.   Cartersville (GA), City of, Georgia
1084. Taylor (FL), County of, Florida                    1126.   Catoosa (GA), County of, Georgia
1085. Union (FL), County of, Florida                     1127.   Charlton (GA), County of, Georgia
1086. Volusia (FL), County of, Florida                   1128.   Chatham (GA), County of, Georgia
1087. Walton (FL), County of, Florida                    1129.   Chatham County Hospital Authority (GA),
1088. Washington (FL), County of, Florida                        Georgia
1089. West Volusia Hospital Authority (FL),              1130.   Chatsworth (GA), City of, Georgia
      Florida                                            1131.   Chattooga (GA), County of, Georgia
1090. Adel (GA), City of, Georgia                        1132.   Cherokee (GA), County of, Georgia
1091. Advantage Behavioral Health Systems                1133.   Clay (GA), County of, Georgia
      (GA), Georgia                                      1134.   Clayton (GA), County of, Georgia
1092. Albany (GA), City of, Georgia                      1135.   Clayton Community MH/SA/DS Service
1093. Albany Area Community Service Board                        Board (GA), Georgia
      d/b/a Aspire Behavioral Health &                   1136.   Clinch (GA), County of, Georgia
      Developmental Disability Services (GA),            1137.   Clinch County (GA) Hospital Authority,
      Georgia                                                    Georgia
1094. Alma (GA), City of, Georgia                        1138.   Cobb (GA) County of, Georgia
1095. Appling (GA), County of, Georgia                   1139.   Cobb County Community Service Board
1096. Appling (GA), County of (County Sheriff                    (GA), Georgia
      Mark Melton), Georgia                              1140.   Coffee (GA), County of (Sheriff Doyle T.
1097. Arlington (GA), City of, Georgia                           Wooten), Georgia
1098. Ashburn (GA), City of, Georgia                     1141.   Colquitt (GA), County of, Georgia
1099. Athens-Clarke County (GA), The Unified             1142.   Columbia (GA), County of, Georgia
      Government of, Georgia                             1143.   Columbus (GA), City of, Georgia
1100. Atkinson (GA), County of, Georgia                  1144.   Community Mental Health Center of East
1101. Atlanta (GA), City of, Georgia                             Central Georgia d/b/a Serenity Behavioral
1102. Augusta (GA), City of; Augusta (GA),                       Health Systems (GA), Georgia
      County of, Georgia                                 1145.   Community Service Board of Middle
1103. Bacon (GA), County of, Georgia                             Georgia (GA), Georgia
1104. Bainbridge (GA), City of, Georgia                  1146.   Cook (GA), County of, Georgia
1105. Baldwin (GA), County of (Sheriff William           1147.   Crawford (GA), County of (Sheriff Lewis
      C. Massee, Jr.), Georgia                                   S. Walker), Georgia
1106. Banks (GA), County of, Georgia                     1148.   Crisp (GA), County of, Georgia
1107. Bartow (GA), County of, Georgia                    1149.   Crisp (GA), County of (Sheriff H.W.
1108. Ben Hill (GA), County of, Georgia                          Hancock), Georgia
1109. Berrien (GA), County of, Georgia                   1150.   Dade (GA), County of, Georgia
1110. Bibb (GA), County of (Sheriff David J.             1151.   Damascus (GA), City of, Georgia
      Davis), Georgia                                    1152.   Dawson (GA), City of, Georgia
1111. Bibb County School District (GA), Georgia          1153.   Dawson (GA), County of, Georgia
1112. Blackshear (GA), City of, Georgia                  1154.   Dawsonville (GA), City of, Georgia



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1155.   Decatur (GA), County of, Georgia                 1197. Hospital Authority of Bainbridge and
1156.   DeKalb (GA) County of, Georgia                         Decatur County (GA), Georgia
1157.   Demorest (GA), City of, Georgia                  1198. Hospital Authority of Baxley and Appling
1158.   Dodge County Hospital Authority d/b/a                  County (GA), Georgia
        Dodge County Hospital (GA), Georgia              1199. Hospital Authority of Bleckley County
1159.   Dooly (GA), County of, Georgia                         (GA) d/b/a Bleckley Memorial Hospital,
1160.   Doraville (GA), City of, Georgia                       Georgia
1161.   Dougherty (GA), County of, Georgia               1200. Houston (GA), County of, Georgia
1162.   Douglas (GA), County of, Georgia                 1201. Houston (GA), County of (Sheriff Cullen
1163.   Dunwoody (GA), City of, Georgia                        Talton), Georgia
1164.   Early (GA), County of, Georgia                   1202. Irwin (GA), County of, Georgia
1165.   Echols (GA), County of, Georgia                  1203. Jackson (GA), City of, Georgia
1166.   Effingham (GA), County of, Georgia               1204. Jackson (GA), County of, Georgia
1167.   Elbert (GA), County of, Georgia                  1205. Jasper (GA), County of, Georgia
1168.   Emanuel (GA), County of, Georgia                 1206. Jeff Davis (GA), County of, Georgia
1169.   Evans (GA), County of, Georgia                   1207. Jeff Davis (GA), County of (Sheriff
1170.   Evans Memorial Hospital, Inc. (GA),                    Preston Bohannon), Georgia
        Georgia                                          1208. Jefferson (GA), County of, Georgia
1171.   Fannin (GA), County of, Georgia                  1209. Johnson (GA), County of, Georgia
1172.   Fayette (GA), County of, Georgia                 1210. Jones (GA), County of, Georgia
1173.   Fitzgerald (GA), City of, Georgia                1211. Jones (GA), County of (Sheriff R.N. Butch
1174.   Floyd (GA), County of, Georgia                         Reece), Georgia
1175.   Forsyth (GA), County of, Georgia                 1212. Lakeland (GA), City of, Georgia
1176.   Fulton (GA), County of, Georgia                  1213. Lanier (GA), County of, Georgia
1177.   Gainesville (GA), City of, Georgia               1214. Laurens (GA), County of, Georgia
1178.   Gateway Community Service Board (GA),            1215. Laurens (GA), County of (Sheriff Larry H.
        Georgia                                                Dean), Georgia
1179.   Georgia Mountains Community Services             1216. Lee (GA), County of, Georgia
        d/b/a Avita Community Partners (GA),             1217. Liberty (GA), County of, Georgia
        Georgia                                          1218. Lincoln (GA), County of, Georgia
1180.   Georgia Pines Community Service Board            1219. Long (GA), County of, Georgia
        (GA), Georgia                                    1220. Lookout Mountain Community Service
1181.   Glascock (GA), County of, Georgia                      Board (GA), Georgia
1182.   Glynn (GA), County of, Georgia                   1221. Lowndes (GA), County of, Georgia
1183.   Glynn (GA), County of (Sheriff E. Neal           1222. Lumpkin (GA), County of, Georgia
        Jump), Georgia                                   1223. Macon (GA), County of, Georgia
1184.   Gordon (GA), County of, Georgia                  1224. Macon-Bibb County (GA), Unified
1185.   Grady (GA), County of, Georgia                         Government of, Georgia
1186.   Greene (GA), County of, Georgia                  1225. Madison (GA), County of, Georgia
1187.   Gwinnett (GA), County of, Georgia                1226. Marietta (GA), City of, Georgia
1188.   Habersham (GA), County of, Georgia               1227. McDonough (GA), City of, Georgia
1189.   Habersham County Medical Center (GA),            1228. McDuffie (GA), County of, Georgia
        Georgia                                          1229. McIntosh (GA), County of, Georgia
1190.   Hall (GA), County of, Georgia                    1230. Meriwether (GA), County of, Georgia
1191.   Hancock (GA), County of, Georgia                 1231. Meriwether (GA), County of (Sheriff
1192.   Harris (GA), County of (Sheriff Mike                   Chuck Smith), Georgia
        Jolley), Georgia                                 1232. Middle Flint Area Community Service
1193.   Heard (GA), County of, Georgia                         Board d/b/a Middle Flint Behavioral
1194.   Helen (GA), City of, Georgia                           Healthcare (GA), Georgia
1195.   Henry (GA), County of, Georgia                   1233. Milledgeville (GA), City of, Georgia
1196.   Highland Rivers Community Service Board          1234. Monroe (GA), County of, Georgia
        d/b/a Highland Rivers Health (GA),               1235. Montgomery (GA), County of, Georgia
        Georgia                                          1236. Moultrie (GA), City of, Georgia



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1237. Murray (GA), County of, Georgia                   1278.   Tifton (GA), City of, Georgia
1238. Murray (GA), County of (Sheriff Gary              1279.   Toombs (GA), County of, Georgia
      Langford), Georgia                                1280.   Towns (GA), County of, Georgia
1239. Nashville (GA), City of, Georgia                  1281.   Troup (GA), County of, Georgia
1240. New Horizons Community Service Board              1282.   Twiggs (GA), County of, Georgia
      (GA), Georgia                                     1283.   Union (GA), County of, Georgia
1241. Newton (GA), County of, Georgia                   1284.   Valdosta (GA), City of, Georgia
1242. Oconee (GA), County of, Georgia                   1285.   Valdosta and Lowndes County (GA),
1243. Oconee (GA), County of (Sheriff Scott R.                  Hospital Authority of d/b/a South Georgia
      Berry), Georgia                                           Medical Center, Georgia
1244. Oglethorpe (GA), County of, Georgia               1286.   Villa Rica (GA), City of, Georgia
1245. Peach (GA), County of, Georgia                    1287.   Walton (GA), County of, Georgia
1246. Peach (GA), County of (Sheriff Terry              1288.   Ware (GA), County of (Sheriff Randy F.
      Deese), Georgia                                           Royal), Georgia
1247. Pierce (GA), County of, Georgia                   1289.   Warren (GA), County of, Georgia
1248. Pierce (GA), County of (Sheriff Ramsey            1290.   Warwick (GA), City of, Georgia
      Bennett), Georgia                                 1291.   Washington (GA), County of, Georgia
1249. Pike (GA), County of, Georgia                     1292.   Wayne (GA), County of, Georgia
1250. Pineland Behavioral Health and                    1293.   Wayne (GA), County of (Sheriff John G.
      Developmental Disabilities CSB (GA),                      Carter), Georgia
      Georgia                                           1294.   Wayne County (GA), Hospital Authority,
1251. Polk (GA), County of, Georgia                             Georgia
1252. Pooler (GA), City of, Georgia                     1295.   Whitfield (GA), County of, Georgia
1253. Pulaski (GA), County of, Georgia                  1296.   Wilcox (GA), County of, Georgia
1254. Rabun (GA), County of, Georgia                    1297.   Wilkes (GA), County of, Georgia
1255. Randolph (GA), County of, Georgia                 1298.   Wilkinson (GA), County of, Georgia
1256. Richmond Hill (GA), City of, Georgia              1299.   Winder (GA), City of, Georgia
1257. Ringgold (GA), City of, Georgia                   1300.   Woodbury (GA), City of, Georgia
1258. River Edge Behavioral Health (GA),                1301.   Woodstock (GA), City of, Georgia
      Georgia                                           1302.   Worth (GA), County of, Georgia
1259. Rockdale (GA), County of, Georgia                 1303.   Kaua'i (HI), County of, Hawaii
1260. Rome (GA), City of, Georgia                       1304.   Ada (ID), County of, Idaho
1261. Sandy Springs (GA), City of, Georgia              1305.   Adams (ID), County of, Idaho
1262. Satilla Community Services d/b/a Unison           1306.   Bannock (ID), County of, Idaho
      Behavioral Health (GA), Georgia                   1307.   Bingham (ID), County of, Idaho
1263. Savannah (GA), City of, Georgia                   1308.   Blaine (ID), County of, Idaho
1264. Schley (GA), County of, Georgia                   1309.   Boise (ID), City of, Idaho
1265. Screven (GA), County of, Georgia                  1310.   Boise (ID), County of, Idaho
1266. Screven (GA), County of (Sheriff Mike             1311.   Bonneville (ID), County of, Idaho
      Kile), Georgia                                    1312.   Camas (ID), County of, Idaho
1267. Seminole (GA), County of, Georgia                 1313.   Canyon (ID), County of, Idaho
1268. Snellville (GA), City of, Georgia                 1314.   Caribou (ID), County of, Idaho
1269. Spalding (GA), County of, Georgia                 1315.   Cassia (ID), County of, Idaho
1270. Springfield (GA), City of, Georgia                1316.   Chubbuck (ID), City of, Idaho
1271. Stephens (GA), County of, Georgia                 1317.   Elmore (ID), County of, Idaho
1272. Sumter (GA), County of, Georgia                   1318.   Gooding (ID), County of, Idaho
1273. Taliaferro (GA), County of, Georgia               1319.   Latah (ID), County of, Idaho
1274. Tattnall (GA), County of, Georgia                 1320.   Minidoka (ID), County of, Idaho
1275. Telfair (GA), County of, Georgia                  1321.   Owyhee (ID), County of, Idaho
1276. Telfair (GA), County of (Sheriff Chris            1322.   Payette (ID), County of, Idaho
      Steverson), Georgia                               1323.   Pocatello (ID), City of, Idaho
1277. Tift (GA), County of (Sheriff Gene                1324.   Preston (ID), City of, Idaho
      Scarbrough), Georgia                              1325.   Twin Falls (ID), City of, Idaho



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1326.   Twin Falls (ID), County of, Idaho                   1373.   Herrin (IL), City of, Illinois
1327.   Addison (IL), Village of, Illinois                  1374.   Hillside (IL), Village of, Illinois
1328.   Alexander (IL), County of, Illinois                 1375.   Hodgkins (IL), Village of, Illinois
1329.   Anna (IL), City of, Illinois                        1376.   Hoffman Estates (IL), Village of, Illinois
1330.   Bedford Park (IL), Village of, Illinois             1377.   Jasper (IL), County of, Illinois
1331.   Bellwood (IL), Village of, Illinois                 1378.   Jefferson (IL), County of, Illinois
1332.   Bensenville (IL), Village of, Illinois              1379.   Jersey (IL), County of, Illinois
1333.   Benton (IL), City of, Illinois                      1380.   Johnson (IL), County of, Illinois
1334.   Berkeley (IL), Village of, Illinois                 1381.   Kane (IL), County of, Illinois
1335.   Berwyn (IL), City of, Illinois                      1382.   Kankakee (IL), City of, Illinois
1336.   Board of Education of East Aurora, School           1383.   Kendall (IL), County of, Illinois
        District 131 (IL), Illinois                         1384.   La Grange Park (IL), Village of, Illinois
1337.   Board of Education of Joliet Township               1385.   Lake (IL), County of, Illinois
        High School, District 204 (IL), Illinois            1386.   LaSalle (IL), County of, Illinois
1338.   Board of Education of Thornton Fractional           1387.   Lawrence (IL), County of, Illinois
        Township High Schools, District 215 (IL),           1388.   Lee (IL), County of, Illinois
        Illinois                                            1389.   Livingston (IL), County of, Illinois
1339.   Board of Education of Thornton Township             1390.   Lyons (IL), Township of, Illinois
        High Schools, District 205 (IL), Illinois           1391.   Lyons (IL), Village of, Illinois
1340.   Bolingbrook (IL), Village of, Illinois              1392.   Macoupin (IL), County of, Illinois
1341.   Bond (IL), County of, Illinois                      1393.   Marion (IL), City of, Illinois
1342.   Bridgeview (IL), Village of, Illinois               1394.   Marion (IL), County of, Illinois
1343.   Broadview (IL), Village of, Illinois                1395.   Massac (IL), County of, Illinois
1344.   Burbank (IL), City of, Illinois                     1396.   Massac Memorial, LLC d/b/a Massac
1345.   Bureau (IL), County of, Illinois                            Memorial Hospital (IL), Illinois
1346.   Calhoun (IL), County of, Illinois                   1397.   Maywood (IL), Village of, Illinois
1347.   Carbondale (IL), City of, Illinois                  1398.   McCook (IL), Village of, Illinois
1348.   Chicago (IL), Board of Education, School            1399.   McHenry (IL), County of, Illinois
        District No. 299, Illinois                          1400.   McLean (IL), County of, Illinois
1349.   Chicago (IL), City of, Illinois                     1401.   Melrose Park (IL), Village of, Illinois
1350.   Chicago Heights (IL), City of, Illinois             1402.   Merrionette Park (IL), Village of, Illinois
1351.   Chicago Ridge (IL), Village of, Illinois            1403.   Metropolis (IL), City of, Illinois
1352.   Christian (IL), County of, Illinois                 1404.   North Riverside (IL), Village of, Illinois
1353.   Coles (IL), County of, Illinois                     1405.   Northlake (IL), City of, Illinois
1354.   Cook (IL), County of, Illinois                      1406.   Oak Lawn (IL), Village of, Illinois
1355.   Countryside (IL), City of, Illinois                 1407.   Oak Park (IL), Village of, Illinois
1356.   Dekalb (IL), County of, Illinois                    1408.   Orland Fire Protection District (IL), Illinois
1357.   Dolton (IL), Village of, Illinois                   1409.   Orland Park (IL), Village of, Illinois
1358.   DuPage (IL), County of, Illinois                    1410.   Palos Heights (IL), City of, Illinois
1359.   Edwards (IL), County of, Illinois                   1411.   Palos Hills (IL), City of, Illinois
1360.   Effingham (IL), County of, Illinois                 1412.   Pekin (IL), City of, Illinois
1361.   Evergreen Park (IL), Village of, Illinois           1413.   Peoria (IL), City of, Illinois
1362.   Forest Park (IL), Village of, Illinois              1414.   Piatt (IL), County of, Illinois
1363.   Franklin (IL), County of, Illinois                  1415.   Posen (IL), Village of, Illinois
1364.   Franklin Park (IL), Village of, Illinois            1416.   Princeton (IL), City of, Illinois
1365.   Gallatin (IL), County of, Illinois                  1417.   Pulaski (IL), County of, Illinois
1366.   Granite City (IL), City of, Illinois                1418.   River Forest (IL), Village of, Illinois
1367.   Hamilton (IL), County of, Illinois                  1419.   River Grove (IL), Village of, Illinois
1368.   Hardin (IL) County of, Illinois                     1420.   Riverside (IL), Village of, Illinois
1369.   Harrisburg (IL), City of, Illinois                  1421.   Rockford (IL), City of, Illinois
1370.   Harvey (IL), City of, Illinois                      1422.   Saline (IL), County of, Illinois
1371.   Harwood Heights (IL), Village of, Illinois          1423.   Sangamon (IL), County of, Illinois
1372.   Henry (IL), County of, Illinois                     1424.   Schiller Park (IL), Village of, Illinois



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1425.   Schuyler (IL), County of, Illinois              1473.   Jasper (IN), City of, Indiana
1426.   Sesser (IL), City of, Illinois                  1474.   Jay (IN), County of, Indiana
1427.   Shelby (IL), County of, Illinois                1475.   Jeffersonville (IN), City of, Indiana
1428.   St. Clair (IL), County of, Illinois             1476.   Jennings (IN), County of, Indiana
1429.   Stone Park (IL), Village of, Illinois           1477.   Kokomo (IN), City of, Indiana
1430.   Streator (IL), City of, Illinois                1478.   Lafayette (IN), City of, Indiana
1431.   Summit (IL), Village of, Illinois               1479.   Lake (IN), County of, Indiana
1432.   Tinley Park (IL), Village of, Illinois          1480.   LaPorte (IN), County of, Indiana
1433.   Union (IL), County of, Illinois                 1481.   Lawrence (IN), City of, Indiana
1434.   Wabash (IL), County of, Illinois                1482.   Lawrence (IN), County of, Indiana
1435.   Washington (IL), County of, Illinois            1483.   Logansport (IN), City of, Indiana
1436.   Waukegan Community Unit School                  1484.   Madison (IN), City of, Indiana
        District (IL), Illinois                         1485.   Madison (IN), County of, Indiana
1437.   West Frankfort (IL), City of, Illinois          1486.   Marion (IN), County of, Indiana
1438.   West Franklin (IL), County of (Central          1487.   Marshall (IN), County of, Indiana
        Dispatch), Illinois                             1488.   Martinsville (IN), City of, Indiana
1439.   White (IL), County of, Illinois                 1489.   Mishawaka (IN), City of, Indiana
1440.   Will (IL), County of, Illinois                  1490.   Monroe (IN), County of, Indiana
1441.   Williamson (IL), County of, Illinois            1491.   Montpelier (IN), City of, Indiana
1442.   Winnebago (IL), County of, Illinois             1492.   Mooresville (IN), Town of, Indiana
1443.   Alexandria (IN), City of, Indiana               1493.   Morgan (IN), County of, Indiana
1444.   Allen (IN), County of (Board of                 1494.   Muncie (IN), City of, Indiana
        Commissioners), Indiana                         1495.   New Albany (IN), City of, Indiana
1445.   Atlanta (IN), Town of, Indiana                  1496.   New Castle (IN), City of, Indiana
1446.   Austin (IN), City of, Indiana                   1497.   Noblesville (IN), City of, Indiana
1447.   Beech Grove (IN), City of, Indiana              1498.   Orange (IN), County of, Indiana
1448.   Benton (IN), County of, Indiana                 1499.   Pendleton (IN), Town of, Indiana
1449.   Blackford (IN), County of, Indiana              1500.   Penn-Harris-Madison School Corporation
1450.   Bloomington (IN), City of, Indiana                      (IN), Indiana
1451.   Brownstown (IN), Town of, Indiana               1501.   Peru (IN), City of, Indiana
1452.   Chandler (IN), Town of, Indiana                 1502.   Plainfield (IN), Town of, Indiana
1453.   Connersville (IN), City of, Indiana             1503.   Porter (IN), County of, Indiana
1454.   Danville (IN), Town of, Indiana                 1504.   Portland (IN), City of, Indiana
1455.   Delaware (IN), County of, Indiana               1505.   Pulaski (IN), County of, Indiana
1456.   Elwood (IN), City of, Indiana                   1506.   Richmond (IN), City of, Indiana
1457.   Evansville (IN), City of, Indiana               1507.   Ripley (IN), County of, Indiana
1458.   Fayette (IN), County of, Indiana                1508.   School City of Mishawaka (IN), Indiana
1459.   Fishers (IN), City of, Indiana                  1509.   Scott (IN), County of, Indiana
1460.   Fort Wayne (IN), City of, Indiana               1510.   Seymour (IN), City of, Indiana
1461.   Fort Wayne Community Schools (IN),              1511.   Shelbyville (IN), City of, Indiana
        Indiana                                         1512.   Sheridan (IN), Town of, Indiana
1462.   Franklin (IN), City of, Indiana                 1513.   Smith-Green Community Schools (IN),
1463.   Franklin (IN), County of (Board of                      Indiana
        Commissioners), Indiana                         1514.   South Bend (IN), City of, Indiana
1464.   Gary (IN), City of, Indiana                     1515.   South Bend Community School
1465.   Greenwood (IN), City of, Indiana                        Corporation (IN), Indiana
1466.   Hammond (IN), City of, Indiana                  1516.   St. Joseph (IN), County of, Indiana
1467.   Harrison (IN), County of, Indiana               1517.   Starke (IN), County of, Indiana
1468.   Hartford (IN), City of, Indiana                 1518.   Terre Haute (IN), City of, Indiana
1469.   Howard (IN), County of, Indiana                 1519.   Tippecanoe (IN), County of, Indiana
1470.   Huntington (IN), City of, Indiana               1520.   Upland (IN), Town of, Indiana
1471.   Indianapolis (IN), City of, Indiana             1521.   Vanderburgh (IN), County of, Indiana
1472.   Jackson (IN), County of, Indiana                1522.   Vigo (IN), County of, Indiana



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1523.   West Lafayette (IN), City of, Indiana          1576.   Pocahontas (IA), County of, Iowa
1524.   Westfield (IN) City of, Indiana                1577.   Polk (IA), County of, Iowa
1525.   Zionsville (IN), Town of, Indiana              1578.   Pottawattamie (IA), County of, Iowa
1526.   Adair (IA), County of, Iowa                    1579.   Poweshiek (IA), County of, Iowa
1527.   Adams (IA), County of, Iowa                    1580.   Sac (IA), County of, Iowa
1528.   Allamakee (IA), County of, Iowa                1581.   Scott (IA), County of, Iowa
1529.   Appanoose (IA), County of, Iowa                1582.   Shelby (IA), County of, Iowa
1530.   Audubon (IA), County of, Iowa                  1583.   Sioux (IA), County of, Iowa
1531.   Benton (IA), County of, Iowa                   1584.   Tama (IA), County of, Iowa
1532.   Black Hawk (IA), County of, Iowa               1585.   Taylor (IA), County of, Iowa
1533.   Bremer (IA), County of, Iowa                   1586.   Union (IA), County of, Iowa
1534.   Buchanan (IA), County of, Iowa                 1587.   Webster (IA), County of, Iowa
1535.   Buena Vista (IA), County of, Iowa              1588.   Winnebago (IA), County of, Iowa
1536.   Calhoun (IA), County of, Iowa                  1589.   Winneshiek (IA), County of, Iowa
1537.   Carroll (IA), County of, Iowa                  1590.   Worth (IA), County of, Iowa
1538.   Cedar (IA), County of, Iowa                    1591.   Wright (IA), County of, Iowa
1539.   Cerro Gordo (IA), County of, Iowa              1592.   Allen (KS), County of (Board of
1540.   Cherokee (IA), County of, Iowa                         Commissioners), Kansas
1541.   Chickasaw (IA), County of, Iowa                1593.   Barber (KS), County of (Board of
1542.   Clay (IA), County of, Iowa                             Commissioners), Kansas
1543.   Clayton (IA), County of, Iowa                  1594.   Bourbon (KS), County of, Kansas
1544.   Clinton (IA), County of, Iowa                  1595.   Cherokee (KS), County of (Board of
1545.   Dallas (IA), County of, Iowa                           Commissioners), Kansas
1546.   Delaware (IA), County of, Iowa                 1596.   Cowley (KS), County of (Board of
1547.   Des Moines (IA), County of, Iowa                       Commissioners), Kansas
1548.   Emmet (IA), County of, Iowa                    1597.   Crawford (KS), County of (Board of
1549.   Fayette (IA), County of, Iowa                          Commissioners), Kansas
1550.   Fremont (IA), County of, Iowa                  1598.   Dickinson (KS), County of (Board of
1551.   Hamilton (IA), County of, Iowa                         County Counselors), Kansas
1552.   Hancock (IA), County of, Iowa                  1599.   Elk (KS), County of (Board of
1553.   Hardin (IA), County of, Iowa                           Commissioners), Kansas
1554.   Harrison (IA), County of, Iowa                 1600.   Elkhart (KS), City of, Kansas
1555.   Henry (IA), County of, Iowa                    1601.   Finney (KS), County of (Board of
1556.   Howard (IA), County of, Iowa                           Commissioners), Kansas
1557.   Humboldt (IA), County of, Iowa                 1602.   Ford (KS), County of (Board of
1558.   Ida (IA), County of, Iowa                              Commissioners), Kansas
1559.   Jasper (IA), County of, Iowa                   1603.   Grant (KS), County of (Board of
1560.   Johnson (IA), County of, Iowa                          Commissioners), Kansas
1561.   Jones (IA), County of, Iowa                    1604.   Greenwood (KS), County of (Board of
1562.   Keokuk (IA), County of, Iowa                           Commissioners), Kansas
1563.   Lee (IA), County of, Iowa                      1605.   Harvey (KS) County of, Kansas
1564.   Lyon (IA), County of, Iowa                     1606.   Johnson (KS), County of, Kansas
1565.   Madison (IA), County of, Iowa                  1607.   Leavenworth (KS), County of (Board of
1566.   Mahaska (IA), County of, Iowa                          Commissioners), Kansas
1567.   Marion (IA), County of, Iowa                   1608.   Manter (KS), City of, Kansas
1568.   Mills (IA), County of, Iowa                    1609.   Meade (KS), County of (Board of
1569.   Mitchell (IA), County of, Iowa                         Commissioners), Kansas
1570.   Monroe (IA), County of, Iowa                   1610.   Montgomery (KS), County of, Kansas
1571.   Montgomery (IA), County of, Iowa               1611.   Morton (KS), County of (Board of
1572.   Muscatine (IA), County of, Iowa                        Commissioners), Kansas
1573.   O'Brien (IA), County of, Iowa                  1612.   Neosho (KS), County of (Board of
1574.   Osceola (IA), County of, Iowa                          Commissioners), Kansas
1575.   Plymouth (IA), County of, Iowa                 1613.   Overland Park (KS), City of, Kansas



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1614. Pratt (KS), County of (Board of                     1643. Board of Education of Menifee County
      Commissioners), Kansas                                    Public Schools (KY), Kentucky
1615. Reno (KS), County of, Kansas                        1644. Board of Education of Owsley County
1616. Sedgwick (KS), County of (Board of                        Public Schools (KY), Kentucky
      Commissioners), Kansas                              1645. Board of Education of Wolfe County
1617. Seward (KS), County of (Board of                          Public Schools (KY), Kentucky
      Commissioners), Kansas                              1646. Boone (KY), County of (Fiscal Court),
1618. Shawnee (KS), County of (Board of                         Kentucky
      Commissioners), Kansas                              1647. Bourbon (KY), County of (Fiscal Court),
1619. Stanton (KS), County of (Board of                         Kentucky
      Commissioners), Kansas                              1648. Boyd (KY), County of (Fiscal Court),
1620. Ulysses (KS), City of, Kansas                             Kentucky
1621. Wabaunsee (KS), County of (Board of                 1649. Boyle (KY), County of (Fiscal Court),
      Counsellors), Kansas                                      Kentucky
1622. Wichita (KS), City of, Kansas                       1650. Bracken (KY), County of (Fiscal Court),
1623. Wyandotte County - Kansas City (KS),                      Kentucky
      Unified Government of, Kansas                       1651. Breathitt (KY), County of (Fiscal Court),
1624. Adair (KY), County (Fiscal Court),                        Kentucky
      Kentucky                                            1652. Breckinridge (KY), County of (Fiscal
1625. Allen (KY), County of (Fiscal Court),                     Court), Kentucky
      Kentucky                                            1653. Buckhorn (KY), City of, Kentucky
1626. Anderson (KY), County of (Fiscal Court),            1654. Bullitt (KY), County of (Fiscal Court),
      Kentucky                                                  Kentucky
1627. Ballard (KY), County of (Fiscal Court),             1655. Caldwell (KY), County of (Fiscal Court),
      Kentucky                                                  Kentucky
1628. Bath (KY), County of (Fiscal Court),                1656. Calloway (KY), County of (Fiscal Court),
      Kentucky                                                  Kentucky
1629. Bell (KY), County of (Fiscal Court),                1657. Campbell (KY), County of (Fiscal Court),
      Kentucky                                                  Kentucky
1630. Bellefonte (KY), City of, Kentucky                  1658. Campbellsville (KY), City of, Kentucky
1631. Benham (KY), City of, Kentucky                      1659. Carlisle (KY), County of (Fiscal Court),
1632. Board of Education of Breathitt County                    Kentucky
      Public Schools (KY), Kentucky                       1660. Carter (KY), County of (Fiscal Court),
1633. Board of Education of Bullitt County                      Kentucky
      Public Schools (KY), Kentucky                       1661. Casey (KY), County of (Fiscal Court),
1634. Board of Education of Estill County Public                Kentucky
      Schools (KY), Kentucky                              1662. Christian (KY), County of (Fiscal Court),
1635. Board of Education of Fayette County                      Kentucky
      Public Schools (KY), Kentucky                       1663. Clark (KY), County of (Fiscal Court),
1636. Board of Education of Harrison County                     Kentucky
      Public Schools (KY), Kentucky                       1664. Clay (KY), County of (Fiscal Court),
1637. Board of Education of Hart County Public                  Kentucky
      Schools (KY), Kentucky                              1665. Clinton (KY), County of (Fiscal Court),
1638. Board of Education of Jefferson County                    Kentucky
      Public Schools (KY), Kentucky                       1666. Columbia (KY), City of, Kentucky
1639. Board of Education of Johnson County                1667. Covington (KY), City of, Kentucky
      Public School District (KY), Kentucky               1668. Cumberland (KY), County of (Fiscal
1640. Board of Education of LaRue County                        Court), Kentucky
      Public Schools (KY), Kentucky                       1669. Daviess (KY), County of (Fiscal Court),
1641. Board of Education of Lawrence County                     Kentucky
      Public Schools (KY), Kentucky                       1670. Edmonson (KY), County of (Fiscal Court),
1642. Board of Education of Martin County                       Kentucky
      Public Schools (KY), Kentucky



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1671. Elliott (KY), County of (Fiscal Court),            1703. Jessamine (KY), County of (Fiscal Court),
      Kentucky                                                 Kentucky
1672. Estill (KY) County Emergency Medical               1704. Kenton (KY), County of (Fiscal Court),
      Services, Kentucky                                       Kentucky
1673. Estill (KY), County of (Fiscal Court),             1705. Kentucky River District Health Department
      Kentucky                                                 (KY), Kentucky
1674. Fleming (KY), County of (Fiscal Court),            1706. Knott (KY), County of (Fiscal Court),
      Kentucky                                                 Kentucky
1675. Florence (KY), City of, Kentucky                   1707. Knox (KY), County of (Fiscal Court),
1676. Floyd (KY), County of (Fiscal Court),                    Kentucky
      Kentucky                                           1708. Larue (KY), County of (Fiscal Court),
1677. Franklin (KY), County of (Fiscal Court),                 Kentucky
      Kentucky                                           1709. Laurel (KY), County of (Fiscal Court),
1678. Fulton (KY), County of (Fiscal Court),                   Kentucky
      Kentucky                                           1710. Lawrence (KY), County of (Fiscal Court),
1679. Gallatin (KY), County of (Fiscal Court),                 Kentucky
      Kentucky                                           1711. Lee (KY), County of (Fiscal Court),
1680. Garrard (KY), County of (Fiscal Court),                  Kentucky
      Kentucky                                           1712. Leslie (KY), County of (Fiscal Court),
1681. Grant (KY), County of (Fiscal Court),                    Kentucky
      Kentucky                                           1713. Letcher (KY), County of (Fiscal Court),
1682. Grayson (KY), City of, Kentucky                          Kentucky
1683. Green (KY), County of (Fiscal Court),              1714. Lewis (KY), County of (Fiscal Court),
      Kentucky                                                 Kentucky
1684. Greenup (KY), City of, Kentucky                    1715. Lexington-Fayette County (KY), Urban
1685. Greenup (KY), County of (Fiscal Court),                  Government of, Kentucky
      Kentucky                                           1716. Lincoln (KY), County of (Fiscal Court),
1686. Hancock (KY), County of (Fiscal Court),                  Kentucky
      Kentucky                                           1717. Logan (KY), County of (Fiscal Court),
1687. Hardin (KY), County of (Fiscal Court),                   Kentucky
      Kentucky                                           1718. London (KY), City of, Kentucky
1688. Hardin Memorial Hospital (KY), Kentucky            1719. Louisville/Jefferson County (KY), Metro
1689. Harlan (KY), City of, Kentucky                           Government of, Kentucky
1690. Harlan (KY), County of (Fiscal Court),             1720. Loyall (KY), City of, Kentucky
      Kentucky                                           1721. Lynch (KY), City of, Kentucky
1691. Harrison (KY), County of (Fiscal Court),           1722. Madison (KY), County (Fiscal Court),
      Kentucky                                                 Kentucky
1692. Hart (KY), County of (Fiscal Court),               1723. Manchester (KY), City of, Kentucky
      Kentucky                                           1724. Marshall (KY), County of (Fiscal Court),
1693. Henderson (KY), City of, Kentucky                        Kentucky
1694. Henderson (KY), County of (Fiscal Court),          1725. Martin (KY), County of (Fiscal Court),
      Kentucky                                                 Kentucky
1695. Henry (KY), County of (Fiscal Court),              1726. Mason (KY), County of (Fiscal Court),
      Kentucky                                                 Kentucky
1696. Hickman (KY), County of (Fiscal Court),            1727. McCracken (KY), County of (Fiscal
      Kentucky                                                 Court), Kentucky
1697. Hillview (KY), City of, Kentucky                   1728. McLean (KY), County of (Fiscal Court),
1698. Hopkins (KY), County of (Fiscal Court),                  Kentucky
      Kentucky                                           1729. Meade (KY), County of (Fiscal Court),
1699. Hyden (KY), City of, Kentucky                            Kentucky
1700. Inez (KY), City of, Kentucky                       1730. Mercer (KY), County of (Fiscal Court),
1701. Jamestown (KY), City of, Kentucky                        Kentucky
1702. Jenkins (KY), City of, Kentucky



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1731. Monroe (KY), County of (Fiscal Court),           1765. Taylor County Hospital District Health
      Kentucky                                               Facilities Corporation (KY), Kentucky
1732. Montgomery (KY), County of (Fiscal               1766. Todd (KY), County of (Fiscal Court),
      Court), Kentucky                                       Kentucky
1733. Morehead (KY), City of, Kentucky                 1767. Union (KY), County of (Fiscal Court),
1734. Morgan (KY), County of (Fiscal Court),                 Kentucky
      Kentucky                                         1768. Vanceburg (KY), City of, Kentucky
1735. Morganfield (KY), City of, Kentucky              1769. Warfield (KY), City of, Kentucky
1736. Mt. Washington (KY), City of, Kentucky           1770. Warren (KY), County of, Kentucky
1737. Muhlenberg (KY), County of (Fiscal               1771. Wayne (KY), County of (Fiscal Court),
      Court), Kentucky                                       Kentucky
1738. Murray (KY), City of, Kentucky                   1772. Webster (KY), County of (Fiscal Court),
1739. Nicholas (KY), Count of (Fiscal Court),                Kentucky
      Kentucky                                         1773. West Liberty (KY), City of, Kentucky
1740. Ohio (KY), County of (Fiscal Court),             1774. Whitesburg (KY), City of, Kentucky
      Kentucky                                         1775. Whitley (KY), County of, Kentucky
1741. Oldham (KY), County of (Fiscal Court),           1776. Winchester (KY), City of, Kentucky
      Kentucky                                         1777. Wolfe (KY), County of (Fiscal Court),
1742. Owen (KY), County of (Fiscal Court),                   Kentucky
      Kentucky                                         1778. Woodford (KY), County of (Fiscal Court),
1743. Owensboro (KY), City of, Kentucky                      Kentucky
1744. Owsley (KY), County of (Fiscal Court),           1779. Worthington (KY), City of, Kentucky
      Kentucky                                         1780. Acadia-St. Landry (LA) Hospital Service
1745. Paducah (KY), City of, Kentucky                        District d/b/a Acadia-St. Landry Hospital,
1746. Paintsville (KY), City of, Kentucky                    Louisiana
1747. Pendleton (KY), County (Fiscal Court),           1781. Alexandria (LA), City of, Louisiana
      Kentucky                                         1782. Allen (LA), Parish of (Sheriff), Louisiana
1748. Perry (KY), County of (Fiscal Court),            1783. Ascension (LA), Parish of, Louisiana
      Kentucky                                         1784. Ascension (LA), Parish of (Sheriff),
1749. Pike (KY), County of, Kentucky                         Louisiana
1750. Pineville (KY), City of, Kentucky                1785. Ascension (LA), Parish School Board,
1751. Pippa Passes (KY), City of, Kentucky                   Louisiana
1752. Powell (KY), County of (Fiscal Court),           1786. Assumption (LA), Parish of (Police Jury),
      Kentucky                                               Louisiana
1753. Prestonsburg (KY), City of, Kentucky             1787. Assumption (LA), Parish of (Sheriff Leland
1754. Pulaski (KY), County of (Fiscal Court),                Falcon), Louisiana
      Kentucky                                         1788. Avoyelles (LA), Parish of (Police Jury),
1755. Rowan (KY), County of (Fiscal Court),                  Louisiana
      Kentucky                                         1789. Avoyelles (LA), Parish of (Sheriff),
1756. Russell (KY), City of, Kentucky                        Louisiana
1757. Russell (KY), County of (Fiscal Court),          1790. Baldwin (LA), Town of, Louisiana
      Kentucky                                         1791. Bastrop (LA), City of, Louisiana
1758. Russell Springs (KY), City of, Kentucky          1792. Baton Rouge (LA), City of, Louisiana
1759. Scott (KY), County of (Fiscal Court),            1793. Beauregard (LA), Parish of (Police Jury),
      Kentucky                                               Louisiana
1760. Shelby (KY), County of (Fiscal Court),           1794. Benton (LA) Fire No. 4, Louisiana
      Kentucky                                         1795. Berwick (LA), Town of, Louisiana
1761. Shepherdsville (KY), City of, Kentucky           1796. Bienville (LA), Parish of, Louisiana
1762. South Shore (KY), City of, Kentucky              1797. Bogalusa (LA), City of, Louisiana
1763. Spencer (KY), County of (Fiscal Court),          1798. Bossier (LA) Parish Emergency Medical
      Kentucky                                               Services Ambulance District, Louisiana
1764. Taylor (KY), County of (Fiscal Court),           1799. Bossier (LA), City of, Louisiana
      Kentucky                                         1800. Bossier (LA), Parish of, Louisiana



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1801. Caddo (LA) Fire Protection District No. 1,            1834. Iberia (LA), Parish School Board of,
      Louisiana                                                   Louisiana
1802. Caddo (LA), Parish of, Louisiana                      1835. Iberville (LA), Parish of (Parish Council),
1803. Calcasieu (LA), Parish of (Police Jury),                    Louisiana
      Louisiana                                             1836. Jackson (LA), Parish of (Police Jury),
1804. Calcasieu (LA), Parish of (Sheriff),                        Louisiana
      Louisiana                                             1837. Jackson (LA), Parish of (Sheriff),
1805. Caldwell (LA), Parish of, Louisiana                         Louisiana
1806. Cameron (LA), Parish of, Louisiana                    1838. Jean Lafitte (LA), Town of, Louisiana
1807. Catahoula (LA), Parish of (Police Jury),              1839. Jefferson (LA), Parish of, Louisiana
      Louisiana                                             1840. Jefferson (LA), Parish of (Coroner's
1808. Catahoula (LA), Parish of (Sheriff Toney                    Office), Louisiana
      Edwards), Louisiana                                   1841. Jefferson (LA), Parish of (Sheriff),
1809. Claiborne (LA), Parish of, Louisiana                        Louisiana
1810. Concordia (LA), Parish of, Louisiana                  1842. Jefferson Davis (LA), Parish of (Police
1811. Concordia (LA), Parish of (Sheriff Kenneth                  Jury), Louisiana
      Hedrick), Louisiana                                   1843. Jefferson Davis (LA), Parish of (Sheriff),
1812. Covington (LA), City of, Louisiana                          Louisiana
1813. Delhi (LA), Town of, Louisiana                        1844. Jefferson Parish Hospital Service District 1
1814. Desoto (LA), Parish of, Louisiana                           (LA), Louisiana
1815. DeSoto Fire Protection District No. 8 (LA),           1845. Jefferson Parish Hospital Service District 2
      Louisiana                                                   (LA), Louisiana
1816. Donaldsonville (LA), City of, Louisiana               1846. Kenner (LA), City of, Louisiana
1817. East Baton Rouge (LA), Parish of (Clerk of            1847. Lafayette (LA), Parish of (Sheriff),
      Court Office), Louisiana                                    Louisiana
1818. East Baton Rouge (LA), Parish of (Sheriff),           1848. Lafourche (LA), Parish of, Louisiana
      Louisiana                                             1849. LaFourche Parish School Board (LA),
1819. East Carroll (LA), Parish of (Police Jury),                 Louisiana
      Louisiana                                             1850. Lake Charles (LA), City of, Louisiana
1820. East Carroll (LA), Parish of (Sheriff),               1851. Lake Providence (LA), Town of, Louisiana
      Louisiana                                             1852. LaSalle (LA), Parish of, Louisiana
1821. Eunice (LA), City of, Louisiana                       1853. Lincoln (LA), Parish of (Sheriff),
1822. Evangeline (LA), Parish of (Police Jury),                   Louisiana
      Louisiana                                             1854. Livingston (LA), Parish of, Louisiana
1823. Evangeline (LA), Parish of (Sheriff),                 1855. Livingston (LA), Parish of (Sheriff),
      Louisiana                                                   Louisiana
1824. Ferriday (LA), Town of, Louisiana                     1856. Lutcher (LA), Town of, Louisiana
1825. Franklin (LA), City of, Louisiana                     1857. Madisonville (LA), Town of, Louisiana
1826. Franklin (LA), Parish of, Louisiana                   1858. Mandeville (LA), City of, Louisiana
1827. Gramercy (LA), Town of, Louisiana                     1859. Monroe (LA), City of, Louisiana
1828. Grant (LA), Parish of (Police Jury),                  1860. Morehouse (LA), Parish of (Police Jury),
      Louisiana                                                   Louisiana
1829. Grant (LA), Parish of (Sheriff), Louisiana            1861. Morehouse (LA), Parish of (Sheriff),
1830. Gretna (LA), City of, Louisiana                             Louisiana
1831. Hospital Service District No. 1 of The                1862. Morgan (LA), City of, Louisiana
      Parish of Avoyelles, State of Louisiana,              1863. Natchitoches (LA), City of, Louisiana
      d/b/a Bunkie General Hospital (LA),                   1864. Natchitoches (LA), Parish of (Parish
      Louisiana                                                   Council), Louisiana
1832. Hospital Service District No. 1 of The                1865. New Iberia (LA), City of, Louisiana
      Parish of LaSalle, State of Louisiana. d/b/a          1866. New Orleans (LA), City of, Louisiana
      Hardtner Medical Center (LA), Louisiana               1867. New Roads (LA), City of, Louisiana
1833. Iberia (LA), Parish of, Louisiana




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1868. North Caddo (LA) Hospital Service                    1900. St. Landry (LA), Parish of, Louisiana
      District d/b/a North Caddo Medical Center,           1901. St. Landry (LA), Parish of (Sheriff),
      Louisiana                                                  Louisiana
1869. Opelousas (LA), City of, Louisiana                   1902. St. Martin (LA), Parish of, Louisiana
1870. Opelousas (LA), General Hospital                     1903. St. Martinville (LA), City of, Louisiana
      Authority, a Louisiana Public Trust d/b/a            1904. St. Mary (LA), Parish of, Louisiana
      Opelousas General Health System,                     1905. St. Mary (LA), Parish of (Sheriff),
      Louisiana                                                  Louisiana
1871. Orleans (LA), Parish of (Sheriff),                   1906. St. Mary (LA), Parish School Board of,
      Louisiana                                                  Louisiana
1872. Orleans Parish Hospital Service District -           1907. St. Tammany (LA) Fire Protection District
      District A (LA), Louisiana                                 No. 4, Louisiana
1873. Ouachita (LA), Parish of (Police Jury),              1908. St. Tammany (LA), Parish of, Louisiana
      Louisiana                                            1909. St. Tammany (LA), Parish of (Coroner's
1874. Ouachita (LA), Parish of (Sheriff),                        Office), Louisiana
      Louisiana                                            1910. St. Tammany (LA), Parish of (Sheriff),
1875. Patterson (LA), City of, Louisiana                         Louisiana
1876. Pearl River (LA), Town of, Louisiana                 1911. St. Tammany Fire Protection District No. 1
1877. Pineville (LA), City of, Louisiana                         (LA), Louisiana
1878. Pointe Coupee (LA), Parish of (Policy                1912. St. Tammany Fire Protection District No.
      Jury), Louisiana                                           12 (LA), Louisiana
1879. Pointe Coupee Parish (LA) Health Services            1913. St. Tammany Fire Protection District No.
      District Number 1, Louisiana                               13 (LA), Louisiana
1880. Rapides (LA), Parish of, Louisiana                   1914. St. Tammany Fire Protection District No. 2
1881. Rapides (LA), Parish of (Police Jury),                     (LA), Louisiana
      Louisiana                                            1915. St. Tammany Fire Protection District No. 3
1882. Red River (LA) Fire Protection District,                   (LA), Louisiana
      Louisiana                                            1916. St. Tammany Fire Protection District No. 5
1883. Red River (LA), Parish of, Louisiana                       (LA), Louisiana
1884. Richland (LA), Parish of, Louisiana                  1917. Tensas (LA), Parish of (Sheriff), Louisiana
1885. Richland (LA), Parish of (Sheriff),                  1918. Terrebonne (LA), Parish of, Louisiana
      Louisiana                                            1919. Terrebonne (LA), Parish of (Sheriff),
1886. Richwood (LA), Town of, Louisiana                          Louisiana
1887. Sabine (LA), Parish of (Police Jury),                1920. Union (LA), Parish of, Louisiana
      Louisiana                                            1921. Union (LA), Parish of (Sheriff), Louisiana
1888. Sabine (LA), Parish of (Sheriff), Louisiana          1922. Vermilion (LA), Parish of (Police Jury),
1889. Shreveport (LA), City of, Louisiana                        Louisiana
1890. Slidell (LA), City of, Louisiana                     1923. Vernon (LA), Parish of (Police Jury),
1891. St. Bernard (LA), Parish of, Louisiana                     Louisiana
1892. St. Bernard (LA), Parish of (Coroner Dr.             1924. Vernon (LA), Parish of (Sheriff), Louisiana
      Bryan Bertucci), Louisiana                           1925. Washington (LA), Parish of, Louisiana
1893. St. Bernard (LA), Parish of (Sheriff),               1926. Washington (LA), Parish of (Sheriff),
      Louisiana                                                  Louisiana
1894. St. Bernard Parish School Board (LA),                1927. Webster (LA), Parish of, Louisiana
      Louisiana                                            1928. West Ascension Parish (LA) Hospital
1895. St. Charles (LA), Parish of, Louisiana                     Service District dba Prevost Memorial
1896. St. Charles (LA), Parish of (Sheriff),                     Hospital, Louisiana
      Louisiana                                            1929. West Baton Rouge (LA) Fire Protection
1897. St. James (LA), Parish of, Louisiana                       District No. 1, Louisiana
1898. St. James Parish School Board (LA),                  1930. West Baton Rouge (LA), Parish of,
      Louisiana                                                  Louisiana
1899. St. John the Baptist (LA), Parish of,                1931. West Carroll (LA), Parish of, Louisiana
      Louisiana



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1932. West Carroll (LA), Parish of (Police Jury),          1962. Board of Education of Maine School
      Louisiana                                                  Administrative District 6 (ME), Maine
1933. West Monroe (LA), City of, Louisiana                 1963. Board of Education of Maine School
1934. Westwego (LA), City of, Louisiana                          Administrative District 61 (ME), Maine
1935. Winn (LA), Parish of (Police Jury),                  1964. Board of Education of Maine School
      Louisiana                                                  Administrative District 72 (ME), Maine
1936. Androscoggin (ME), County of, Maine                  1965. Board of Education of Portland School
1937. Aroostook (ME), County of, Maine                           Department (ME), Maine
1938. Auburn (ME), City of, Maine                          1966. Board of Education of Scarborough School
1939. Augusta (ME), City of, Maine                               Department (ME), Maine
1940. Bangor (ME), City of, Maine                          1967. Board of Education of South Portland
1941. Biddeford (ME), City of, Maine                             School Department (ME), Maine
1942. Board of Education of Bangor School                  1968. Board of Education of St. George
      Department (ME), Maine                                     Municipal School District (ME), Maine
1943. Board of Education of Maine Regional                 1969. Board of Education of Waterville School
      School Unit 10 (ME), Maine                                 Department (ME), Maine
1944. Board of Education of Maine Regional                 1970. Calais (ME), City of, Maine
      School Unit 13 (ME), Maine                           1971. Cumberland (ME), County of, Maine
1945. Board of Education of Maine Regional                 1972. Ellsworth School Department (ME), The
      School Unit 25 (ME), Maine                                 Board of Education of, Maine
1946. Board of Education of Maine Regional                 1973. Kennebec (ME), County of, Maine
      School Unit 26 (ME), Maine                           1974. Knox (ME), County of, Maine
1947. Board of Education of Maine Regional                 1975. Lewiston (ME), City of, Maine
      School Unit 29 (ME), Maine                           1976. Lincoln (ME), County of, Maine
1948. Board of Education of Maine Regional                 1977. Penobscot (ME), County of, Maine
      School Unit 34 (ME), Maine                           1978. Portland (ME), City of, Maine
1949. Board of Education of Maine Regional                 1979. Rockland (ME), City of, Maine
      School Unit 40 (ME), Maine                           1980. Saco (ME), City of, Maine
1950. Board of Education of Maine Regional                 1981. Sagadahoc (ME), County of, Maine
      School Unit 50 (ME), Maine                           1982. Sanford (ME), City of, Maine
1951. Board of Education of Maine Regional                 1983. Somerset (ME), County of, Maine
      School Unit 57 (ME), Maine                           1984. Waldo (ME), County of, Maine
1952. Board of Education of Maine Regional                 1985. Washington (ME), County of, Maine
      School Unit 60 (ME), Maine                           1986. Waterville (ME), City of, Maine
1953. Board of Education of Maine Regional                 1987. York (ME), County of, Maine
      School Unit 71 (ME), Maine                           1988. Aberdeen (MD), City of, Maryland
1954. Board of Education of Maine Regional                 1989. Allegany (MD), County of, Maryland
      School Unit 9 (ME), Maine                            1990. Annapolis (MD), City of, Maryland
1955. Board of Education of Maine School                   1991. Anne Arundel (MD), County of, Maryland
      Administrative District 11 (ME), Maine               1992. Balitmore (MD), County of, Maryland
1956. Board of Education of Maine School                   1993. Baltimore (MD), City of (Mayor and City
      Administrative District 15 (ME), Maine                     Council), Maryland
1957. Board of Education of Maine School                   1994. Baltimore City Board of School
      Administrative District 28/Five Town                       Commissioners (MD), Maryland
      Central School District (ME), Maine                  1995. Bel Air (MD), City of, Maryland
1958. Board of Education of Maine School                   1996. Berlin (MD), City of, Maryland
      Administrative District 35 (ME), Maine               1997. Bowie (MD), City of, Maryland
1959. Board of Education of Maine School                   1998. Calvert (MD), County of (Commissioners),
      Administrative District 44 (ME), Maine                     Maryland
1960. Board of Education of Maine School                   1999. Cambridge (MD), City of, Maryland
      Administrative District 53 (ME), Maine               2000. Caroline (MD), County of, Maryland
1961. Board of Education of Maine School                   2001. Carroll (MD), County of (Board of
      Administrative District 55 (ME), Maine                     Commissioners), Maryland



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2002. Cecil (MD), County of, Maryland                   2046. Beverly (MA), City of, Massachusetts
2003. Charles (MD), County of (Commissioners),          2047. Billerica (MA), Town of, Massachusetts
      Maryland                                          2048. Boston (MA) Housing Authority,
2004. Charlestown (MD), City of, Maryland                     Massachusetts
2005. Cottage City (MD), Town of, Maryland              2049. Boston (MA) Public Health Commission,
2006. Cumberland (MD), City of, Maryland                      Massachusetts
2007. Dorchester (MD), County of, Maryland              2050. Boston (MA), City of, Massachusetts
2008. Forest Heights (MD), Town of, Maryland            2051. Braintree (MA), Town of, Massachusetts
2009. Frederick (MD), City of, Maryland                 2052. Brewster (MA), Town of, Massachusetts
2010. Frederick (MD), County of, Maryland               2053. Bridgewater (MA), Town of,
2011. Frostburg (MD) City of, Maryland                        Massachusetts
2012. Garrett (MD), County of, Maryland                 2054. Brockton (MA), City of, Massachusetts
2013. Grantsville (MD), City of, Maryland               2055. Brookline (MA), Town of, Massachusetts
2014. Hagerstown (MD), City of, Maryland                2056. Cambridge (MA), City of, Massachusetts
2015. Harford (MD) County of, Maryland                  2057. Canton (MA), Town of, Massachusetts
2016. Havre De Grace (MD), City of, Maryland            2058. Carver (MA), Town of, Massachusetts
2017. Howard (MD), County of, Maryland                  2059. Charlton (MA), Town of, Massachusetts
2018. Laurel (MD), City of, Maryland                    2060. Chelmsford (MA), Town of, Massachusetts
2019. Montgomery (MD), County of, Maryland              2061. Chelsea (MA), City of, Massachusetts
2020. Mountain Lake Park (MD), City of,                 2062. Chicopee (MA), City of, Massachusetts
      Maryland                                          2063. Clarksburg (MA), Town of, Massachusetts
2021. North Brentwood (MD), Town of,                    2064. Clinton (MA), Town of, Massachusetts
      Maryland                                          2065. Danvers (MA), Town of, Massachusetts
2022. North East (MD), City of, Maryland                2066. Dedham (MA), Town of, Massachusetts
2023. Oakland (MD), City of, Maryland                   2067. Dennis (MA), Town of, Massachusetts
2024. Perryville (MD), City of, Maryland                2068. Douglas (MA), Town of, Massachusetts
2025. Prince George's (MD), County of,                  2069. Dudley (MA), Town of, Massachusetts
      Maryland                                          2070. East Bridgewater (MA), Town of,
2026. Rockville (MD), City of (Mayor and                      Massachusetts
      Common Council), Maryland                         2071. Eastham (MA), Town of, Massachusetts
2027. Seat Pleasant (MD), City of, Maryland             2072. Easthampton (MA), City of, Massachusetts
2028. Somerset (MD), County of, Maryland                2073. Easton (MA), Town of, Massachusetts
2029. St. Mary's (MD), County of                        2074. Everett (MA), City of, Massachusetts
      (Commissioners), Maryland                         2075. Fairhaven (MA), Town of, Massachusetts
2030. Talbot (MD), County of, Maryland                  2076. Fall River (MA), City of, Massachusetts
2031. Upper Marlboro (MD), Town of, Maryland            2077. Falmouth (MA), Town of, Massachusetts
2032. Vienna (MD), City of, Maryland                    2078. Fitchburg (MA), City of, Massachusetts
2033. Washington County (MD), County of                 2079. Framingham (MA), City of, Massachusetts
      (Board of Commissioners), Maryland                2080. Freetown (MA), Town of, Massachusetts
2034. Westminster (MD), City of (Mayor and              2081. Georgetown (MA), Town of,
      Common Council), Maryland                               Massachusetts
2035. Wicomico (MD), County of, Maryland                2082. Gloucester (MA), City of, Massachusetts
2036. Acushnet (MA), Town of, Massachusetts             2083. Grafton (MA), Town of, Massachusetts
2037. Agawam (MA), Town of, Massachusetts               2084. Greenfield (MA), City of, Massachusetts
2038. Amesbury (MA), City of, Massachusetts             2085. Hanson (MA), Town of, Massachusetts
2039. Andover (MA), Town of, Massachusetts              2086. Haverhill (MA), City of, Massachusetts
2040. Aquinnah (MA), Town of, Massachusetts             2087. Holliston (MA), Town of, Massachusetts
2041. Athol (MA), Town of, Massachusetts                2088. Holyoke (MA), City of, Massachusetts
2042. Auburn (MA), Town of, Massachusetts               2089. Hopedale (MA), Town of, Massachusetts
2043. Ayer (MA), Town of, Massachusetts                 2090. Hull (MA), Town of, Massachusetts
2044. Barnstable (MA), Town of, Massachusetts           2091. Kingston (MA), Town of, Massachusetts
2045. Belchertown (MA), Town of,                        2092. Lakeville (MA), Town of, Massachusetts
      Massachusetts                                     2093. Leicester (MA), Town of, Massachusetts



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 2094. Leominster (MA), City of, Massachusetts           2139.   Revere (MA), City of, Massachusetts
 2095. Leverett (MA), Town of, Massachusetts             2140.   Rockland (MA), Town of, Massachusetts
 2096. Longmeadow (MA), Town of,                         2141.   Salem (MA), City of, Massachusetts
       Massachusetts                                     2142.   Salisbury (MA), Town of, Massachusetts
 2097. Lowell (MA), City of, Massachusetts               2143.   Sandwich (MA), Town of, Massachusetts
 2098. Ludlow (MA), Town of, Massachusetts               2144.   Scituate (MA), Town of, Massachusetts
 2099. Lunenburg (MA), Town of, Massachusetts            2145.   Seekonk (MA), Town of, Massachusetts
 2100. Lynn (MA), City of, Massachusetts                 2146.   Sheffield (MA), Town of, Massachusetts
 2101. Lynnfield (MA), Town of, Massachusetts            2147.   Shirley (MA), Town of, Massachusetts
 2102. Malden (MA), City of, Massachusetts               2148.   Somerset (MA), Town of, Massachusetts
 2103. Marblehead (MA), Town of, Massachusetts           2149.   Somerville (MA), City of, Massachusetts
 2104. Marshfield (MA), Town of, Massachusetts           2150.   South Hadley (MA), Town of,
 2105. Mashpee (MA), Town of, Massachusetts                      Massachusetts
 2106. Mattapoisett (MA), Town of,                       2151.   Southbridge (MA), Town of,
       Massachusetts                                             Massachusetts
 2107. Medford (MA), City of, Massachusetts              2152.   Spencer (MA), Town of, Massachusetts
 2108. Melrose (MA), City of, Massachusetts              2153.   Springfield (MA), City of, Massachusetts
 2109. Methuen (MA), City of, Massachusetts              2154.   Stoneham (MA), Town of, Massachusetts
 2110. Middleborough (MA), Town of,                      2155.   Stoughton (MA), Town of, Massachusetts
       Massachusetts                                     2156.   Sturbridge (MA), Town of, Massachusetts
 2111. Milford (MA), Town of, Massachusetts              2157.   Sudbury (MA), Town of, Massachusetts
 2112. Millbury (MA), Town of, Massachusetts             2158.   Sutton (MA), Town of, Massachusetts
 2113. Millis (MA), Town of, Massachusetts               2159.   Swampscott (MA), Town of,
 2114. Nantucket (MA), Town of, Massachusetts                    Massachusetts
 2115. Natick (MA), Town of, Massachusetts               2160.   Templeton (MA), Town of, Massachusetts
 2116. New Bedford (MA), City of, Massachusetts          2161.   Tewksbury (MA), Town of, Massachusetts
 2117. Newburyport (MA), City of, Massachusetts          2162.   Truro (MA), Town of, Massachusetts
 2118. North Adams (MA), City of, Massachusetts          2163.   Tyngsborough (MA), Town of,
 2119. North Andover (MA), Town of,                              Massachusetts
       Massachusetts                                     2164.   Upton (MA), Town of, Massachusetts
 2120. North Attleborough (MA), Town of,                 2165.   Wakefield (MA), Town of, Massachusetts
       Massachusetts                                     2166.   Walpole (MA), Town of, Massachusetts
 2121. North Reading (MA), Town of,                      2167.   Ware (MA), Town of, Massachusetts
       Massachusetts                                     2168.   Warren (MA), Town of, Massachusetts
 2122. Northampton (MA), City of, Massachusetts          2169.   Watertown (MA), Town of, Massachusetts
 2123. Northbridge (MA), Town of,                        2170.   Wellfleet (MA), Town of, Massachusetts
       Massachusetts                                     2171.   West Boylston (MA), Town of,
 2124. Norton (MA), Town of, Massachusetts                       Massachusetts
 2125. Norwell (MA), Town of, Massachusetts              2172.   West Bridgewater (MA), Town of,
 2126. Norwood (MA), Town of, Massachusetts                      Massachusetts
 2127. Orange (MA), Town of, Massachusetts               2173.   West Springfield (MA), Town of,
 2128. Oxford (MA), Town of, Massachusetts                       Massachusetts
 2129. Palmer (MA), Town of, Massachusetts               2174.   West Tisbury (MA), Town of,
 2130. Peabody (MA), City of, Massachusetts                      Massachusetts
 2131. Pembroke (MA), Town of, Massachusetts             2175.   Westborough (MA), Town of,
 2132. Pittsfield (MA), City of, Massachusetts                   Massachusetts
 2133. Plainville (MA), Town of, Massachusetts           2176.   Westford (MA), Town of, Massachusetts
 2134. Plymouth (MA), Town of, Massachusetts             2177.   Weymouth (MA), Town of, Massachusetts
 2135. Provincetown (MA), Town of,                       2178.   Williamsburg (MA), Town of,
       Massachusetts                                             Massachusetts
 2136. Quincy (MA), City of, Massachusetts               2179.   Wilmington (MA), Town of, Massachusetts
 2137. Randolph (MA), Town of, Massachusetts             2180.   Winchendon (MA), Town of,
 2138. Rehoboth (MA), Town of, Massachusetts                     Massachusetts



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 2181.   Winthrop (MA), Town of, Massachusetts             2230.   Leelanau (MI), County of, Michigan
 2182.   Woburn (MA), City of, Massachusetts               2231.   Lenawee (MI), County of, Michigan
 2183.   Worcester (MA), City of, Massachusetts            2232.   Livingston (MI), County of, Michigan
 2184.   Alcona (MI), County of, Michigan                  2233.   Livonia (MI), City of, Michigan
 2185.   Alger (MI), County of, Michigan                   2234.   Luce (MI), County of, Michigan
 2186.   Alpena (MI), County of, Michigan                  2235.   Macomb (MI), County of, Michigan
 2187.   Antrim (MI), County of, Michigan                  2236.   Manistee (MI), County of, Michigan
 2188.   Arenac (MI), County of, Michigan                  2237.   Marquette (MI), County of, Michigan
 2189.   Baraga (MI), County of, Michigan                  2238.   Mason (MI), County of, Michigan
 2190.   Bay (MI), County of, Michigan                     2239.   Monroe (MI), County of, Michigan
 2191.   Benzie (MI), County of, Michigan                  2240.   Montcalm, (MI) County of, Michigan
 2192.   Berrien (MI), County of, Michigan                 2241.   Montmorency (MI), County of, Michigan
 2193.   Branch (MI), County of, Michigan                  2242.   Muskegon (MI), County of, Michigan
 2194.   Calhoun (MI), County of, Michigan                 2243.   Newaygo (MI), County of, Michigan
 2195.   Canton (MI), Charter Township of,                 2244.   Northville (MI), Township of, Michigan
         Michigan                                          2245.   Oakland (MI), County of, Michigan
 2196.   Cass (MI), County of, Michigan                    2246.   Oceana (MI), County of, Michigan
 2197.   Charlevoix (MI), County of, Michigan              2247.   Ogemaw (MI), County of, Michigan
 2198.   Cheboygan (MI), County of, Michigan               2248.   Ontonagon (MI), County of, Michigan
 2199.   Chippewa (MI), County of, Michigan                2249.   Osceola (MI), County of, Michigan
 2200.   Clinton (MI), Charter Township of,                2250.   Otsego (MI), County of, Michigan
         Michigan                                          2251.   Pittsfield (MI), Charter Township of,
 2201.   Clinton (MI), County of, Michigan                         Michigan
 2202.   Crawford (MI), County of, Michigan                2252.   Pontiac (MI), City of, Michigan
 2203.   Delta (MI), County of, Michigan                   2253.   Presque Isle (MI), County of, Michigan
 2204.   Detroit (MI), City of, Michigan                   2254.   Romulus (MI), City of, Michigan
 2205.   Detroit Wayne (MI), Mental Health                 2255.   Roscommon (MI), County of, Michigan
         Authority, Michigan                               2256.   Saginaw (MI), County of, Michigan
 2206.   Dickinson (MI), County of, Michigan               2257.   Sanilac (MI), County of, Michigan
 2207.   East Lansing (MI), City of, Michigan              2258.   Sault Ste. Marie (MI), City of, Michigan
 2208.   Eaton (MI), County of, Michigan                   2259.   Shiawassee (MI), County of, Michigan
 2209.   Escanaba (MI), City of, Michigan                  2260.   St. Clair (MI), County of, Michigan
 2210.   Flint (MI), City of, Michigan                     2261.   Sterling Heights (MI), City of, Michigan
 2211.   Genesee (MI), County of, Michigan                 2262.   Traverse City (MI), City of, Michigan
 2212.   Grand Rapids (MI), City of, Michigan              2263.   Tuscola (MI), County of, Michigan
 2213.   Grand Traverse (MI), County of, Michigan          2264.   Van Buren (MI), Township of, Michigan
 2214.   Gratiot (MI), County of, Michigan                 2265.   Warren (MI), City of, Michigan
 2215.   Harrison (MI), Charter Township of,               2266.   Washtenaw (MI), County of, Michigan
         Michigan                                          2267.   Wayne (MI), City of, Michigan
 2216.   Hillsdale (MI), County of, Michigan               2268.   Wayne (MI), County of, Michigan
 2217.   Houghton (MI), County of, Michigan                2269.   Westland (MI), City of, Michigan
 2218.   Huron (MI), Township of, Michigan                 2270.   Wexford (MI), County of, Michigan
 2219.   Ingham (MI), County of, Michigan                  2271.   Anoka (MN), County of, Minnesota
 2220.   Ionia (MI), County of, Michigan                   2272.   Beltrami (MN), County of, Minnesota
 2221.   Iosco (MI), County of, Michigan                   2273.   Big Stone (MN), County of, Minnesota
 2222.   Iron (MI), County of, Michigan                    2274.   Board of Education of Minnetonka School
 2223.   Iron Mountain (MI), City of, Michigan                     District No. 276 (MN), Minnesota
 2224.   Isabella (MI), County of, Michigan                2275.   Carlton (MN), County of, Minnesota
 2225.   Jackson (MI), City of, Michigan                   2276.   Carver (MN), County of, Minnesota
 2226.   Kalamazoo (MI), County of, Michigan               2277.   Coon Rapids (MN), City of, Minnesota
 2227.   Kent (MI), County of, Michigan                    2278.   Dakota (MN), County of, Minnesota
 2228.   Lake (MI), County of, Michigan                    2279.   Douglas (MN), County of, Minnesota
 2229.   Lansing (MI), City of, Michigan                   2280.   Duluth (MN), City of, Minnesota



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 2281.   Freeborn (MN), County of, Minnesota              2331.   Gautier (MS), City of, Mississippi
 2282.   Hennepin (MN), County of, Minnesota              2332.   George (MS), County of, Mississippi
 2283.   Itasca (MN), County of, Minnesota                2333.   Greene (MS), County of, Mississippi
 2284.   McLeod (MN), County of, Minnesota                2334.   Greenwood (MS), City of, Mississippi
 2285.   Meeker (MN), County of, Minnesota                2335.   Grenada (MS), City of, Mississippi
 2286.   Minneapolis (MN), City of, Minnesota             2336.   Grenada (MS), County of, Mississippi
 2287.   Minnesota Prairie Health Alliance (MN),          2337.   Gulfport (MS), City of, Mississippi
         Minnesota                                        2338.   Hancock (MS), County of, Mississippi
 2288.   Morrison (MN), County of, Minnesota              2339.   Harrison (MS), County of, Mississippi
 2289.   Mower (MN), County of, Minnesota                 2340.   Hattiesburg (MS), City of, Mississippi
 2290.   North St. Paul (MN), City of, Minnesota          2341.   Hinds (MS), County of, Mississippi
 2291.   Olmsted (MN), County of, Minnesota               2342.   Holly Springs (MS), City of, Mississippi
 2292.   Pine (MN), County of, Minnesota                  2343.   Holmes (MS), County of, Mississippi
 2293.   Proctor (MN), City of, Minnesota                 2344.   Humphreys (MS), County of, Mississippi
 2294.   Ramsey (MN), County of, Minnesota                2345.   Indianola (MS), City of, Mississippi
 2295.   Rochester (MN), City of, Minnesota               2346.   Issaquena (MS), County of, Mississippi
 2296.   Roseau (MN), County of, Minnesota                2347.   Itawamba (MS), County of, Mississippi
 2297.   Saint Paul (MN), City of, Minnesota              2348.   Iuka (MS), City of, Mississippi
 2298.   Sibley (MN), County of, Minnesota                2349.   Jackson (MS), City of, Mississippi
 2299.   St. Louis (MN), County of, Minnesota             2350.   Jackson (MS), County of, Mississippi
 2300.   Steele (MN), County of, Minnesota                2351.   Jefferson (MS), County of, Mississippi
 2301.   Waseca (MN), County of, Minnesota                2352.   Jefferson Davis (MS), County of,
 2302.   Washington (MN), County of, Minnesota                    Mississippi
 2303.   Winona (MN), County of, Minnesota                2353.   Jones (MS), County of, Mississippi
 2304.   Wright (MN), County of, Minnesota                2354.   Jonestown (MS), City of, Mississippi
 2305.   Yellow Medicine (MN), County of,                 2355.   Kemper (MS), County of, Mississippi
         Minnesota                                        2356.   Kosciusko (MS), City of, Mississippi
 2306.   Adams (MS), County of, Mississippi               2357.   Lafayette (MS), County of, Mississippi
 2307.   Amite (MS), County of, Mississippi               2358.   Lauderdale (MS), County of, Mississippi
 2308.   Amory (MS), City of, Mississippi                 2359.   Laurel (MS), City of, Mississippi
 2309.   Arcola (MS), Town of, Mississippi                2360.   Lawrence (MS), County of, Mississippi
 2310.   Attala (MS), County of, Mississippi              2361.   Leakesville (MS), Town of, Mississippi
 2311.   Benton (MS), County of, Mississippi              2362.   Lee (MS), County of, Mississippi
 2312.   Bolivar (MS), County of, Mississippi             2363.   Leflore (MS), County of, Mississippi
 2313.   Brookhaven (MS), City of, Mississippi            2364.   Lincoln (MS), County of, Mississippi
 2314.   Caledonia (MS), Town of, Mississippi             2365.   Long Beach (MS), City of, Mississippi
 2315.   Carroll (MS), County of, Mississippi             2366.   Lumberton (MS), City of, Mississippi
 2316.   Charleston (MS), City of, Mississippi            2367.   Madison (MS), County of, Mississippi
 2317.   Chickasaw (MS), County of, Mississippi           2368.   Marion (MS), County of, Mississippi
 2318.   Claiborne (MS), County of, Mississippi           2369.   Marshall (MS), County of, Mississippi
 2319.   Clarke (MS), County of, Mississippi              2370.   McLain (MS), Town of, Mississippi
 2320.   Clarksdale (MS), City of, Mississippi            2371.   Memorial Hospital at Gulfport (MS),
 2321.   Cleveland (MS), City of, Mississippi                     Mississippi
 2322.   Columbia (MS), City of, Mississippi              2372.   Meridian (MS), City of, Mississippi
 2323.   Columbus (MS), City of, Mississippi              2373.   Monroe (MS), County of, Mississippi
 2324.   Community Hospital (MS), Sharkey-                2374.   Morton (MS), City of, Mississippi
         Issaquena, Mississippi                           2375.   Moss Point (MS), City of, Mississippi
 2325.   Copiah (MS), County of, Mississippi              2376.   Mound Bayou (MS), City of, Mississippi
 2326.   Covington (MS), County of, Mississippi           2377.   Neshoba (MS), County of, Mississippi
 2327.   DeSoto (MS), County of, Mississippi              2378.   Nettleton (MS), City of, Mississippi
 2328.   Diamondhead (MS), City of, Mississippi           2379.   New Albany (MS), City of, Mississippi
 2329.   Forrest (MS), County of, Mississippi             2380.   Ocean Springs (MS), City of, Mississippi
 2330.   Franklin (MS), County of, Mississippi            2381.   Panola (MS), County of, Mississippi



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 2382. Pascagoula (MS), City of, Mississippi              2431.   Crawford (MO), County of, Missouri
 2383. Pearl River (MS), County of, Mississippi           2432.   Dade (MO), County of, Missouri
 2384. Pearl River County Hospital (MS),                  2433.   DeKalb (MO), County of, Missouri
       Mississippi                                        2434.   Dent (MO), County of, Missouri
 2385. Perry (MS), County of, Mississippi                 2435.   Douglas (MO), County of, Missouri
 2386. Philadelphia (MS), City of, Mississippi            2436.   Dunklin (MO), County of, Missouri
 2387. Prentiss (MS), County of, Mississippi              2437.   Franklin (MO), County of, Missouri
 2388. Quitman (MS), City of, Mississippi                 2438.   Gasconade (MO), County of, Missouri
 2389. Regional Medical Center (MS), South                2439.   Greene (MO), County of, Missouri
       Central, Mississippi                               2440.   Grundy (MO), County of, Missouri
 2390. Scott (MS), County of, Mississippi                 2441.   Harrisonville (MO), City of, Missouri
 2391. Shannon (MS), City of, Mississippi                 2442.   Henry (MO), County of, Missouri
 2392. Shubuta (MS), Town of, Mississippi                 2443.   Hickory (MO), County of, Missouri
 2393. Starkville (MS), City of, Mississippi              2444.   Howell (MO), County of, Missouri
 2394. Stone (MS), County of, Mississippi                 2445.   Independence (MO), City of, Missouri
 2395. Summit (MS), Town of, Mississippi                  2446.   Iron (MO), County of, Missouri
 2396. Sunflower (MS), County of, Mississippi             2447.   Jackson (MO), County of, Missouri
 2397. Tallahatchie (MS), County of, Mississippi          2448.   Jasper (MO), County of, Missouri
 2398. Tate (MS), County of, Mississippi                  2449.   Jefferson (MO), County of, Missouri
 2399. Tippah (MS), County of, Mississippi                2450.   Johnson (MO), County of, Missouri
 2400. Tishomingo (MS), County of, Mississippi            2451.   Joplin (MO), City of, Missouri
 2401. Tunica (MS), County of, Mississippi                2452.   Kansas City (MO), City of, Missouri
 2402. Tupelo (MS), City of, Mississippi                  2453.   Kinloch (MO), Fire Protection District of
 2403. Union (MS), County of, Mississippi                         St. Louis County, Missouri
 2404. Verona (MS), City of, Mississippi                  2454.   Knox (MO), County of, Missouri
 2405. Vicksburg (MS), City of, Mississippi               2455.   Lafayette (MO), County of, Missouri
 2406. Walthall (MS), County of, Mississippi              2456.   Lawrence (MO), County of, Missouri
 2407. Washington (MS), County of, Mississippi            2457.   Lewis (MO), County of, Missouri
 2408. Wayne (MS), County of, Mississippi                 2458.   Lincoln (MO), County of, Missouri
 2409. Waynesboro (MS), City of, Mississippi              2459.   Livingston (MO), County of, Missouri
 2410. Webb (MS), City of, Mississippi                    2460.   Madison (MO), County of, Missouri
 2411. Wiggins (MS), City of, Mississippi                 2461.   Maries (MO), County of, Missouri
 2412. Yalobusha (MS), County of, Mississippi             2462.   McDonald (MO), County of, Missouri
 2413. Adair (MO), County of, Missouri                    2463.   Miller (MO), County of, Missouri
 2414. Andrew (MO), County of, Missouri                   2464.   Moniteau (MO), County of, Missouri
 2415. Atchison (MO), County of, Missouri                 2465.   Montgomery (MO), County of, Missouri
 2416. Audrain (MO), County of, Missouri                  2466.   Morgan (MO), County of, Missouri
 2417. Barry (MO), County of, Missouri                    2467.   New Madrid (MO), County of, Missouri
 2418. Barton (MO), County of, Missouri                   2468.   Nodaway (MO), County of, Missouri
 2419. Boone (MO), County of, Missouri                    2469.   Northeast Ambulance (MO), Fire
 2420. Buchanan (MO), County of, Missouri                         Protection District of St. Louis County,
 2421. Butler (MO), County of, Missouri                           Missouri
 2422. Callaway (MO), County of, Missouri                 2470.   Osage (MO), County of, Missouri
 2423. Camden (MO), County of, Missouri                   2471.   Ozark (MO), County of, Missouri
 2424. Cape Girardeau (MO), County of, Missouri           2472.   Pemiscot (MO), County of, Missouri
 2425. Cass (MO), County of, Missouri                     2473.   Perry (MO), County of, Missouri
 2426. Chariton (MO), County of, Missouri                 2474.   Pettis (MO), County of, Missouri
 2427. Christian (MO), County of, Missouri                2475.   Phelps (MO), County of, Missouri
 2428. Citizens Memorial Hospital District d/b/a          2476.   Pike (MO), County of, Missouri
       Citizens Memorial Hospital (MO),                   2477.   Polk (MO), County of, Missouri
       Missouri                                           2478.   Pulaski (MO), County of, Missouri
 2429. Clinton (MO), County of, Missouri                  2479.   Ralls (MO), County of, Missouri
 2430. Cole (MO), County of, Missouri                     2480.   Randolph (MO), County of, Missouri



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 2481.   Ray (MO), County of, Missouri                     2532.   Lyon (NV), County of, Nevada
 2482.   Reynolds (MO), County of, Missouri                2533.   Mesquite (NV), City of, Nevada
 2483.   Ripley (MO), County of, Missouri                  2534.   Mineral (NV), County of, Nevada
 2484.   Schuyler (MO), County of, Missouri                2535.   North Las Vegas (NV), City of, Nevada
 2485.   Scott (MO), County of, Missouri                   2536.   North Lyon County Fire Protection District
 2486.   Sedalia (MO) City of, Missouri                            (NV), Nevada
 2487.   Shannon (MO), County of, Missouri                 2537.   Nye (NV), County of, Nevada
 2488.   Shelby (MO), County of, Missouri                  2538.   Reno (NV), City of, Nevada
 2489.   Springfield (MO), City of, Missouri               2539.   Sparks (NV), City of, Nevada
 2490.   St. Charles (MO), County of, Missouri             2540.   Washoe (NV), County of, Nevada
 2491.   St. Clair (MO), County of, Missouri               2541.   West Wendover (NV), City of, Nevada
 2492.   St. Francois (MO), County of, Missouri            2542.   White Pine (NV), County of, Nevada
 2493.   St. Joseph (MO), City of, Missouri                2543.   Belknap (NH), County of, New Hampshire
 2494.   St. Louis (MO), City of, Missouri                 2544.   Belmont (NH), City of, New Hampshire
 2495.   St. Louis (MO), County of, Missouri               2545.   Berlin (NH), City of, New Hampshire
 2496.   Ste. Genevieve (MO), County of, Missouri          2546.   Board of Education of Goshen School
 2497.   Stone (MO), County of, Missouri                           District (NH), New Hampshire
 2498.   Taney (MO), County of, Missouri                   2547.   Board of Education of Kearsarge RSU-
 2499.   Texas (MO), County of, Missouri                           School Administrative Unit 65 (NH), New
 2500.   Vernon (MO), County of, Missouri                          Hampshire
 2501.   Warren (MO), County of, Missouri                  2548.   Board of Education of Lebanon School
 2502.   Washington (MO), County of, Missouri                      District (NH), New Hampshire
 2503.   Webster (MO), County of, Missouri                 2549.   Board of Education of Pittsfield School
 2504.   Worth (MO), County of, Missouri                           District (NH), New Hampshire
 2505.   Wright (MO), County of, Missouri                  2550.   Board of Education of Tamworth School
 2506.   Anaconda-Deer Lodge (MT), County of,                      District (NH), New Hampshire
         Montana                                           2551.   Carroll (NH), County of, New Hampshire
 2507.   Cascade (MT), County of, Montana                  2552.   Cheshire (NH), County of, New Hampshire
 2508.   Gallatin (MT), County of, Montana                 2553.   Claremont (NH), City of, New Hampshire
 2509.   Great Falls (MT), City of, Montana                2554.   Concord (NH), City of, New Hampshire
 2510.   Lake (MT), County of, Montana                     2555.   Coos (NH), County of, New Hampshire
 2511.   Missoula (MT), City of, Montana                   2556.   Derry (NH), Town of, New Hampshire
 2512.   Missoula (MT), County of, Montana                 2557.   Dover (NH), City of, New Hampshire
 2513.   Douglas (NE), County of, Nebraska                 2558.   Franklin (NH), City of, New Hampshire
 2514.   Keith (NE), County of, Nebraska                   2559.   Grafton (NH), County of, New Hampshire
 2515.   Knox (NE), County of, Nebraska                    2560.   Hillsborough (NH), County of, New
 2516.   Lincoln (NE), County of, Nebraska                         Hampshire
 2517.   Sarpy (NE), County of, Nebraska                   2561.   Keene (NH), City of, New Hampshire
 2518.   South Sioux City (NE), City of, Nebraska          2562.   Laconia (NH), City of, New Hampshire
 2519.   Boulder (NV), City of, Nevada                     2563.   Londonderry (NH), Town of, New
 2520.   Carson City (NV), Nevada                                  Hampshire
 2521.   Central Lyon County Fire Protection               2564.   Manchester (NH), City of, New Hampshire
         District (NV), Nevada                             2565.   Merrimack (NH), County of, New
 2522.   Churchill (NV), County of, Nevada                         Hampshire
 2523.   Clark (NV), County of, Nevada                     2566.   Nashua (NH), City of, New Hampshire
 2524.   Douglas (NV), County of, Nevada                   2567.   Rochester (NH), City of, New Hampshire
 2525.   Ely (NV), City of, Nevada                         2568.   Rockingham (NH), County of, New
 2526.   Esmeralda (NV), County of, Nevada                         Hampshire
 2527.   Fernley (NV), City of, Nevada                     2569.   Strafford (NH), County of, New Hampshire
 2528.   Henderson (NV), City of, Nevada                   2570.   Sullivan (NH), County of, New Hampshire
 2529.   Humboldt (NV), County of, Nevada                  2571.   Atlantic (NJ), County of, New Jersey
 2530.   Las Vegas (NV), City of, Nevada                   2572.   Barnegat (NJ), Township of, New Jersey
 2531.   Lincoln (NV), County of, Nevada                   2573.   Bayonne (NJ), City of, New Jersey



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 2574. Bergen (NJ), County of, New Jersey               2615. Luna (NM), County of (Board of
 2575. Bloomfield (NJ), The Township of, New                  Commissioners), New Mexico
       Jersey                                           2616. McKinley (NM), County of (Board of
 2576. Brick (NJ), Township of, New Jersey                    Commissioners), New Mexico
 2577. Burlington (NJ), County of, New Jersey           2617. Mora (NM), County of, New Mexico
 2578. Camden (NJ), County of, New Jersey               2618. Otero (NM), County of (Board of
 2579. Cape May (NJ), County of, New Jersey                   Commissioners), New Mexico
 2580. Clifton (NJ), City of, New Jersey                2619. Rio Arriba (NM), County of, New Mexico
 2581. Clinton (NJ), Town of, New Jersey                2620. Roosevelt (NM), County of, New Mexico
 2582. Cumberland (NJ), County of, New Jersey           2621. San Juan (NM), County of, New Mexico
 2583. Elizabeth (NJ), City of, New Jersey              2622. San Miguel (NM) County of (Board of
 2584. Essex (NJ), County of, New Jersey                      Commissioners), New Mexico
 2585. Hudson (NJ), County of, New Jersey               2623. Sandoval (NM), County of, New Mexico
 2586. Irvington (NJ), Township of, New Jersey          2624. Santa Fe (NM), County of (Board of
 2587. Jersey City (NJ), City of, New Jersey                  Commissioners), New Mexico
 2588. Monmouth (NJ), County of, New Jersey             2625. Santa Fe (NM), City of, New Mexico
 2589. Newark (NJ), City of, New Jersey                 2626. Sierra (NM), County of (Board of
 2590. Ocean (NJ), County of, New Jersey                      Commissioners), New Mexico
 2591. Paramus (NJ), Borough of, New Jersey             2627. Socorro (NM), County of (Board of
 2592. Passaic (NJ), County of, New Jersey                    Commissioners), New Mexico
 2593. Paterson (NJ), City of, New Jersey               2628. Taos (NM), County of (Board of
 2594. Ridgefield (NJ) Borough of, New Jersey                 Commissioners), New Mexico
 2595. Saddle Brook (NJ), Township of, New              2629. Union (NM), County of (Board of
       Jersey                                                 Commissioners), New Mexico
 2596. Sussex (NJ), County of, New Jersey               2630. Valencia (NM), County of (Board of
 2597. Teaneck (NJ), Township of, New Jersey                  Commissioners), New Mexico
 2598. Trenton (NJ), City of, New Jersey                2631. Albany (NY), City of, New York
 2599. Union (NJ), County of, New Jersey                2632. Albany (NY), County of, New York
 2600. Alamogordo (NM), City of, New Mexico             2633. Allegany (NY), County of, New York
 2601. Albuquerque (NM), City of, New Mexico            2634. Amherst (NY), Town of, New York
 2602. Bernalillo (NM), County of                       2635. Amityville (NY), Village of, New York
       (Commissioners), New Mexico                      2636. Amsterdam (NY), City of, New York
 2603. Catron (NM), County of (Board of                 2637. Auburn (NY), City of, New York
       Commissioners), New Mexico                       2638. Babylon (NY), Town of, New York
 2604. Cibola (NM), County of (Board of                 2639. Babylon (NY), Village of, New York
       Commissioners), New Mexico                       2640. Bellmore (NY), Fire District of, New York
 2605. Colfax (NM), County of (Board of                 2641. Bellport (NY), Village of, New York
       Commissioners), New Mexico                       2642. Board of Education of Rochester City
 2606. Curry (NM), County of (Board of                        School District (NY), New York
       Commissioners), New Mexico                       2643. Brookhaven (NY), Town of, New York
 2607. Dona Ana (NM), County of (Board of               2644. Broome (NY), County of, New York
       Commissioners), New Mexico                       2645. Buffalo (NY), City of, New York
 2608. Espanola (NM), City of, New Mexico               2646. Cattaraugus (NY), County of, New York
 2609. Grant (NM), County of, New Mexico                2647. Cayuga (NY), County of, New York
 2610. Hidalgo (NM), County of (Board of                2648. Centereach (NY), Fire District, New York
       Commissioners), New Mexico                       2649. Centerport (NY), Fire District of, New
 2611. Hobbs (NM), City of, New Mexico                        York
 2612. Las Cruces (NM), City of, New Mexico             2650. Chautauqua (NY), County of, New York
 2613. Lea (NM), County of (Board of                    2651. Cheektowaga (NY), Town of, New York
       Commissioners), New Mexico                       2652. Chemung (NY), County of, New York
 2614. Lincoln (NM), County of (Board of                2653. Chenango (NY), County of, New York
       Commissioners), New Mexico                       2654. Clarkstown (NY), Town of, New York
                                                        2655. Clinton (NY), County of, New York



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 2656.   Columbia (NY), County of, New York                 2704. Mill Neck (NY), Village of, New York
 2657.   Cortland (NY) County of, New York                  2705. Miller Place (NY), Fire District of, New
 2658.   Dutchess (NY), County of, New York                       York
 2659.   East Hampton (NY), Village of, New York            2706. Millerton (NY), Village of, New York
 2660.   East Rockaway (NY), Village of, New                2707. Monroe (NY), County of, New York
         York                                               2708. Montgomery (NY), County of, New York
 2661.   Erie (NY), County of, New York                     2709. Mount Sinai (NY), Fire District of, New
 2662.   Essex (NY), County of, New York                          York
 2663.   Farmingdale (NY), Village of, New York             2710. Mount Vernon (NY), City of, New York
 2664.   Floral Park (NY), Village of, New York             2711. Nassau (NY), County of, New York
 2665.   Franklin (NY), County of, New York                 2712. Nesconset (NY), Fire District of, New
 2666.   Fulton (NY), County of, New York                         York
 2667.   Garden City (NY), Village of, New York             2713. New Hyde Park (NY), Village of, New
 2668.   Genesee (NY), County of, New York                        York
 2669.   Geneva (NY), City of, New York                     2714. New York (NY), City of, New York
 2670.   Great Neck (NY), Village of, New York              2715. Niagara (NY), County of, New York
 2671.   Greene (NY), County of, New York                   2716. Nissequogue (NY), Village of, New York
 2672.   Greenport (NY), Village of, New York               2717. North Hempstead (NY), Town of, New
 2673.   Hamilton (NY), County of, New York                       York
 2674.   Hauppauge (NY), Fire District, New York            2718. North Merrick (NY), Fire District of, New
 2675.   Haverstraw (NY), Town of, New York                       York
 2676.   Hempstead (NY), Town of, New York                  2719. North Patchogue (NY), Fire District of,
 2677.   Hempstead (NY), Village of, New York                     New York
 2678.   Herkimer (NY), County of, New York                 2720. Northport (NY), Village of, New York
 2679.   Herkimer (NY), Village of, New York                2721. Ogdensburg (NY), City of, New York
 2680.   Hicksville (NY), Water District of, New            2722. Old Westbury (NY), Village of, New York
         York                                               2723. Oneida (NY), County of, New York
 2681.   Huntington (NY), Town of, New York                 2724. Onondaga (NY), County of, New York
 2682.   Island Park (NY), Village of, New York             2725. Ontario (NY), County of, New York
 2683.   Islandia (NY), Village of, New York                2726. Orange (NY), County of, New York
 2684.   Islip (NY), Town of, New York                      2727. Orangetown (NY), Town of, New York
 2685.   Islip Terrace (NY), Fire District of, New          2728. Orleans (NY) County of, New York
         York                                               2729. Oswego (NY), County of, New York
 2686.   Ithaca (NY), City of, New York                     2730. Otsego (NY), County of, New York
 2687.   Jefferson (NY), County of, New York                2731. Oyster Bay (NY), Town of, New York
 2688.   Kingston (NY), City of, New York                   2732. Patchogue (NY), Village of, New York
 2689.   Lackawanna (NY), City of, New York                 2733. Plainview - Old Bethpage Public Library
 2690.   Lake Grove (NY), Village of, New York                    (NY), New York
 2691.   Lancaster (NY), Town of, New York                  2734. Plattsburgh (NY), City of, New York
 2692.   Lawrence (NY), Village of, New York                2735. Poquott (NY), Village of, New York
 2693.   Levittown (NY), Fire District of, New              2736. Port Washington (NY), Water District of,
         York                                                     New York
 2694.   Lewis (NY), County of, New York                    2737. Port Washington North (NY), Village of,
 2695.   Lindenhurst (NY), Village of, New York                   New York
 2696.   Livingston (NY), County of, New York               2738. Poughkeepsie (NY), City of, New York
 2697.   Lloyd Harbor (NY), Village of, New York            2739. Poughkeepsie (NY), Town of, New York
 2698.   Long Beach (NY), City of, New York                 2740. Putnam (NY), County of, New York
 2699.   Lynbrook (NY), Village of, New York                2741. Ramapo (NY), Town of, New York
 2700.   Madison (NY), County of, New York                  2742. Rensselaer (NY), County of, New York
 2701.   Massapequa Park (NY), Village of, New              2743. Ridge (NY), Fire District of, New York
         York                                               2744. Riverhead (NY), Town of, New York
 2702.   Melville (NY), Fire District of, New York          2745. Rochester (NY), City of, New York
 2703.   Merrick Library (NY), New York                     2746. Rockland (NY), County of, New York



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 2747. Rockville Centre Public Library (NY),              2791.   Wyoming (NY), County of, New York
       New York                                           2792.   Yates (NY) County of, New York
 2748. Rome (NY), City of, New York                       2793.   Yonkers (NY), City of, New York
 2749. Rosalyn (NY) Water District, New York              2794.   Alamance (NC), County of, North Carolina
 2750. Saltaire (NY), Village of, New York                2795.   Alexander (NC), County of, North Carolina
 2751. Saratoga (NY), County of, New York                 2796.   Alleghany (NC), County of, North Carolina
 2752. Saratoga Springs (NY), City of, New York           2797.   Anson (NC), County of, North Carolina
 2753. Schenectady (NY), City of, New York                2798.   Ashe (NC), County of, North Carolina
 2754. Schenectady (NY), County of, New York              2799.   Beaufort (NC), County of, North Carolina
 2755. Schoharie (NY), County of, New York                2800.   Bertie (NC), County of, North Carolina
 2756. Schuyler (NY), County of, New York                 2801.   Bladen (NC), County of, North Carolina
 2757. Seneca (NY), County of, New York                   2802.   Brunswick (NC), County of, North
 2758. Smithtown (NY), Fire District of, New                      Carolina
       York                                               2803.   Buncombe (NC), County of, North
 2759. Smithtown (NY), Town of, New York                          Carolina
 2760. South Farmingdale (NY), Fire District of,          2804.   Burke (NC), County of, North Carolina
       New York                                           2805.   Cabarrus (NC), County of, North Carolina
 2761. Southampton (NY), Town of, New York                2806.   Caldwell (NC), County of, North Carolina
 2762. Southold (NY), Town of, New York                   2807.   Camden (NC), County of, North Carolina
 2763. St James (NY), Fire District, New York             2808.   Canton (NC), City of, North Carolina
 2764. St. Lawrence (NY), County of, New York             2809.   Carteret (NC), County of, North Carolina
 2765. Steuben (NY), County of, New York                  2810.   Caswell (NC), County of, North Carolina
 2766. Stewart Manor (NY), Village of, New York           2811.   Catawba (NC), County of, North Carolina
 2767. Stony Brook (NY), Fire District of, New            2812.   Chatham (NC), County of, North Carolina
       York                                               2813.   Cherokee (NC), County of, North Carolina
 2768. Stony Point (NY), Town of, New York                2814.   Chowan (NC), County of, North Carolina
 2769. Suffern (NY), Village of, New York                 2815.   Cleveland (NC), County of, North Carolina
 2770. Suffolk (NY), County of, New York                  2816.   Columbus (NC), County of, North Carolina
 2771. Sullivan (NY), County of, New York                 2817.   Craven (NC), County of, North Carolina
 2772. Syracuse (NY), City of, New York                   2818.   Cumberland (NC), County of, North
 2773. The Branch (NY), Village of, New York                      Carolina
 2774. Tioga (NY), County of, New York                    2819.   Currituck (NC), County of, North Carolina
 2775. Tompkins (NY), County of, New York                 2820.   Dare (NC), County of, North Carolina
 2776. Tonawanda (NY), Town of, New York                  2821.   Davidson (NC), County of, North Carolina
 2777. Troy (NY), City of, New York                       2822.   Davie (NC), County of, North Carolina
 2778. Ulster (NY), County of, New York                   2823.   Duplin (NC), County of, North Carolina
 2779. Uniondale (NY), Fire District of, New              2824.   Durham (NC), County of, North Carolina
       York                                               2825.   Fayetteville (NC), City Of, North Carolina
 2780. Utica (NY), City of, New York                      2826.   Forsyth (NC), County of, North Carolina
 2781. Valley Stream (NY), Village of, New York           2827.   Franklin (NC), County of, North Carolina
 2782. Wappinger (NY), Town of, New York                  2828.   Gaston (NC), County of, North Carolina
 2783. Wappingers Falls (NY), Village of, New             2829.   Granville (NC), County of, North Carolina
       York                                               2830.   Greene (NC), County of, North Carolina
 2784. Warren (NY), County of, New York                   2831.   Greensboro (NC), City of, North Carolina
 2785. Washington (NY), County of, New York               2832.   Guilford (NC), County of, North Carolina
 2786. West Hampton Dunes (NY), Village of,               2833.   Halifax (NC), County of, North Carolina
       New York                                           2834.   Haywood (NC), County of, North Carolina
 2787. West Haverstraw (NY), Village of, New              2835.   Henderson (NC), City of, North Carolina
       York                                               2836.   Hickory (NC), City of, North Carolina
 2788. West Hempstead (NY) Public Library,                2837.   Iredell (NC) County of, North Carolina
       New York                                           2838.   Jacksonville (NC), City of, North Carolina
 2789. Westbury (NY), Village of, New York                2839.   Jones (NC), County of, North Carolina
 2790. Westchester (NY), County of, New York              2840.   Lee (NC), County of, North Carolina



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 2841.   Lenoir (NC), County of, North Carolina            2886.   Eddy (ND), County of, North Dakota
 2842.   Lincoln (NC), County of, North Carolina           2887.   Fargo (ND), City of, North Dakota
 2843.   Madison (NC), County of, North Carolina           2888.   Foster (ND), County of, North Dakota
 2844.   Martin (NC), County of, North Carolina            2889.   Grand Forks (ND), City of, North Dakota
 2845.   McDowell (NC), County of, North                   2890.   Grand Forks (ND), County of, North
         Carolina                                                  Dakota
 2846.   Mecklenburg (NC), County of, North                2891.   Lamoure (ND), County of, North Dakota
         Carolina                                          2892.   Lisbon (ND), City of, North Dakota
 2847.   Mitchell (NC), County of, North Carolina          2893.   McKenzie (ND), County of, North Dakota
 2848.   Moore (NC), County of, North Carolina             2894.   McLean (ND), County of, North Dakota
 2849.   New Hanover (NC), County of, North                2895.   Mercer (ND), County of, North Dakota
         Carolina                                          2896.   Mountrail (ND), County of, North Dakota
 2850.   Onslow (NC), County of, North Carolina            2897.   Pembina (ND), County of, North Dakota
 2851.   Orange (NC), County of, North Carolina            2898.   Pierce (ND), County of, North Dakota
 2852.   Pamlico (NC), County of, North Carolina           2899.   Ramsey (ND), County of, North Dakota
 2853.   Pasquotank (NC), County of, North                 2900.   Ransom (ND), County of, North Dakota
         Carolina                                          2901.   Richland (ND), County of, North Dakota
 2854.   Person (NC), County of, North Carolina            2902.   Rolette (ND), County of, North Dakota
 2855.   Pitt (NC), County of, North Carolina              2903.   Sargent (ND), County of, North Dakota
 2856.   Polk (NC), County of, North Carolina              2904.   Stark (ND), County of, North Dakota
 2857.   Randolph (NC), County of, North Carolina          2905.   Towner (ND), County of, North Dakota
 2858.   Richmond (NC), County of, North Carolina          2906.   Walsh (ND), County of, North Dakota
 2859.   Robeson (NC), County of, North Carolina           2907.   Ward (ND), County of, North Dakota
 2860.   Rockingham (NC), County of, North                 2908.   Wells (ND), County of, North Dakota
         Carolina                                          2909.   Williams (ND), County of, North Dakota
 2861.   Rowan (NC), County of, North Carolina             2910.   Adams (OH), County of (Board of
 2862.   Rutherford (NC), County of, North                         Commissioners), Ohio
         Carolina                                          2911.   Akron (OH), City of, Ohio
 2863.   Sampson (NC), County of, North Carolina           2912.   Allen (OH), County of (Board of
 2864.   Scotland (NC), County of, North Carolina                  Commissioners), Ohio
 2865.   Stokes (NC), County of, North Carolina            2913.   Alliance (OH), City of, Ohio
 2866.   Surry (NC), County of, North Carolina             2914.   Ashland (OH), City of, Ohio
 2867.   Tyrrell (NC), County of, North Carolina           2915.   Ashland (OH), County of (Board of
 2868.   Vance (NC), County of, North Carolina                     Commissioners), Ohio
 2869.   Warren (NC), County of, North Carolina            2916.   Ashtabula (OH), County of, Ohio
 2870.   Washington (NC), County of, North                 2917.   Athens (OH), County of (Board of
         Carolina                                                  Commissioners), Ohio
 2871.   Watauga (NC), County of, North Carolina           2918.   Auglaize (OH), County of (Board of
 2872.   Wayne (NC), County of, North Carolina                     Commissioners), Ohio
 2873.   Wilkes (NC), County of, North Carolina            2919.   Aurora (OH), City of, Ohio
 2874.   Wilmington (NC), City of, North Carolina          2920.   Barberton (OH), City of, Ohio
 2875.   Winston-Salem (NC), City of, North                2921.   Belmont (OH), County of (Board of
         Carolina                                                  Commissioners), Ohio
 2876.   Yadkin (NC), County of, North Carolina            2922.   Boston (OH), Township of, Ohio
 2877.   Yancey (NC), County of, North Carolina            2923.   Boston Heights (OH), Village of, Ohio
 2878.   Barnes (ND), County of, North Dakota              2924.   Broadview Heights (OH), City of, Ohio
 2879.   Benson (ND), County of, North Dakota              2925.   Brooklyn Heights (OH), Village of, Ohio
 2880.   Bismarck (ND), City of, North Dakota              2926.   Brown (OH), County of (Board of
 2881.   Burleigh (ND), County of, North Dakota                    Commissioners), Ohio
 2882.   Cass (ND), County of, North Dakota                2927.   Brunswick (OH), City of, Ohio
 2883.   Devils Lake (ND), City of, North Dakota           2928.   Butler (OH), County of (Board of
 2884.   Dickey (ND), County of, North Dakota                      Commissioners), Ohio
 2885.   Dunn (ND), County of, North Dakota                2929.   Canton (OH), City of, Ohio



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 2930. Carroll (OH), County of (Board of                2966. Hancock (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2931. Champaign (OH), County of (Board of              2967. Harrison (OH), County of
       Commissioners), Ohio                                   (Commissioners), Ohio
 2932. Cincinnati (OH), City of, Ohio                   2968. Hocking (OH), County of (Board of
 2933. Clermont (OH), County of (Board of                     Commissioners), Ohio
       Commissioners), Ohio                             2969. Huron (OH), City of, Ohio
 2934. Cleveland (OH), City of, Ohio                    2970. Huron (OH), County of (Board of
 2935. Clinton (OH), County of (Board of                      Commissioners), Ohio
       Commissioners), Ohio                             2971. Ironton (OH), City of, Ohio
 2936. Clinton (OH), Village of, Ohio                   2972. Jackson (OH), County of (Board of
 2937. Columbiana (OH), County of (Board of                   Commissioners), Ohio
       Commissioners), Ohio                             2973. Jefferson (OH), County of, Ohio
 2938. Columbus (OH), City of, Ohio                     2974. Kent (OH), City of, Ohio
 2939. Copley (OH), Township of, Ohio                   2975. Knox (OH), County of (Board of
 2940. Coshocton (OH), County of (Board of                    Commissioners), Ohio
       Commissioners), Ohio                             2976. Lake (OH), County of, Ohio
 2941. Coventry (OH), Township of, Ohio                 2977. Lakemore (OH), Village of, Ohio
 2942. Crawford (OH), County of (Board of               2978. Lakewood (OH), City of, Ohio
       Commissioners), Ohio                             2979. Lawrence (OH), County of (Board of
 2943. Cuyahoga Falls (OH), City of, Ohio                     Commissioners), Ohio
 2944. Darke (OH), County of (Commissioners),           2980. Lebanon (OH), City of, Ohio
       Ohio                                             2981. Lexington (OH), Village of, Ohio
 2945. Dayton (OH), City of, Ohio                       2982. Licking (OH), County (Board of
 2946. Delaware (OH), County of (Board of                     Commissioners), Ohio
       Commissioners), Ohio                             2983. Lima (OH), City of, Ohio
 2947. East Cleveland (OH), City of, Ohio               2984. Logan (OH), County of (Board of
 2948. Elyria (OH), City of, Ohio                             Commissioners), Ohio
 2949. Erie (OH), County of (Board of                   2985. Lorain (OH), City of, Ohio
       Commissioners), Ohio                             2986. Lorain (OH), County of, Ohio
 2950. Euclid (OH), City of, Ohio                       2987. Lucas (OH), County of (Board of
 2951. Fairfield (OH), City of, Ohio                          Commissioners), Ohio
 2952. Fairfield (OH), County of (Board of              2988. Lucas County Children Services Board of
       Commissioners), Ohio                                   Trustees (OH), Ohio
 2953. Fairlawn (OH), City of, Ohio                     2989. Lyndhurst (OH), City of, Ohio
 2954. Fayette (OH), County of, Ohio                    2990. Macedonia (OH), City of, Ohio
 2955. Findlay (OH), City of, Ohio                      2991. Mansfield (OH), City of, Ohio
 2956. Fostoria (OH), City of, Ohio                     2992. Marietta (OH), City of, Ohio
 2957. Franklin (OH), County of (Board of               2993. Marion (OH), County of, Ohio
       Commissioners), Ohio                             2994. Massillon (OH), City of, Ohio
 2958. Fulton (OH), County of (Board of                 2995. Mayfield Heights (OH), City of, Ohio
       Commissioners), Ohio                             2996. Medina (OH), County of, Ohio
 2959. Gallia (OH), County of (Board of                 2997. Meigs (OH), County of, Ohio
       Commissioners), Ohio                             2998. Mental Health & Recovery Services Board
 2960. Garfield Heights (OH), City of, Ohio                   of Allen, Auglaize, and Hardin Counties
 2961. Geauga (OH), County of (Commissioners),                (OH), Ohio
       Ohio                                             2999. Mental Health & Recovery Services Board
 2962. Green (OH), City of, Ohio                              of Lucas County (OH), Ohio
 2963. Guernsey (OH), County of (Board of               3000. Mercer (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2964. Hamilton (OH), City of, Ohio                     3001. Miami (OH), County of (Board of
 2965. Hamilton (OH), County of (Board of                     Commissioners), Ohio
       Commissioners), Ohio                             3002. Middletown (OH), City of, Ohio



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 3003. Mogadore (OH), Village of, Ohio                    3044.   Toledo (OH), City of, Ohio
 3004. Monroe (OH), County of (Board of                   3045.   Trumbull (OH), County of, Ohio
       Commissioners), Ohio                               3046.   Tuscarawas (OH), County of, Ohio
 3005. Montgomery (OH), County of (Board of               3047.   Valley Fire District (OH), Ohio
       Commissioners), Ohio                               3048.   Van Wert (OH), City of, Ohio
 3006. Morrow (OH), County of (Board of                   3049.   Van Wert (OH), County of (Board of
       Commisioners), Ohio                                        Commissioners), Ohio
 3007. Munroe Falls (OH), City of, Ohio                   3050.   Vinton County (OH), County of (Board of
 3008. Muskingum (OH), County of (Board of                        Commissioners), Ohio
       Commissioners), Ohio                               3051.   Warren (OH), City of, Ohio
 3009. New Franklin (OH), City of, Ohio                   3052.   Warrensville Heights (OH), City of, Ohio
 3010. Newburgh Heights (OH), Village of, Ohio            3053.   Washington (OH), County of, Ohio
 3011. Noble (OH), County of (Commissioners),             3054.   Wayne (OH), County of (Board of
       Ohio                                                       Commissioners), Ohio
 3012. North Olmsted (OH), City of, Ohio                  3055.   Wickliffe (OH), City of, Ohio
 3013. North Ridgeville (OH), City of, Ohio               3056.   Williams (OH), County of
 3014. North Royalton (OH), City of, Ohio                         (Commissioners), Ohio
 3015. Norton (OH), City of, Ohio                         3057.   Wyandot (OH), County of (Board of
 3016. Norwalk (OH), City of, Ohio                                Commissioners), Ohio
 3017. Olmsted Falls (OH), City of, Ohio                  3058.   Youngstown (OH), City of, Ohio
 3018. Ottawa (OH), County of (Board of                   3059.   Ada, (OK), City of, Oklahoma
       Commissioners), Ohio                               3060.   Altus (OK), City of, Oklahoma
 3019. Painesville (OH), Township of, Ohio                3061.   Anadarko (OK), City of, Oklahoma
 3020. Parma (OH), City of, Ohio                          3062.   Atoka (OK), County of (Board of
 3021. Parma Heights (OH), City of, Ohio                          Commissioners), Oklahoma
 3022. Peninsula (OH), Village of, Ohio                   3063.   Beckham (OK), County of (Board of
 3023. Perry (OH), County of (Board of                            Commissioners), Oklahoma
       Commissioners), Ohio                               3064.   Bethany (OK), City of, Oklahoma
 3024. Pike (OH), County of (Board), Ohio                 3065.   Broken Arrow (OK), City of, Oklahoma
 3025. Portage (OH), County of, Ohio                      3066.   Burns Flat (OK), Town of, Oklahoma
 3026. Portsmouth (OH), City of, Ohio                     3067.   Caddo (OK), County of (Board of
 3027. Ravenna (OH), City of, Ohio                                Commissioners), Oklahoma
 3028. Richfield (OH), Village of, Ohio                   3068.   Choctaw (OK), County of (Board of
 3029. Richland (OH), County Children's Services                  Commissioners), Oklahoma
       of, Ohio                                           3069.   Cimarron (OK), County of (Board of
 3030. Ross (OH), County of, Ohio                                 Commissioners), Oklahoma
 3031. Sandusky (OH), City of, Ohio                       3070.   Cleveland (OK), County of (Board of
 3032. Sandusky (OH), County of                                   Commissioners), Oklahoma
       (Commissioners), Ohio                              3071.   Coal (OK), County of (Board of
 3033. Scioto (OH), County of (Board of                           Commissioners), Oklahoma
       Commissioners), Ohio                               3072.   Comanche (OK), County of (Board of
 3034. Seneca (OH), County of (Board of                           Commissioners), Oklahoma
       Commissioners), Ohio                               3073.   Craig (OK), County of (County
 3035. Seven Hills (OH), City of, Ohio                            Commission), Oklahoma
 3036. Shelby (OH), County of (Board of                   3074.   Creek (OK), County of (County
       Commissioners), Ohio                                       Commission), Oklahoma
 3037. Silver Lake (OH), Village of, Ohio                 3075.   Custer (OK), County of (Board of
 3038. Springfield (OH), Township of, Ohio                        Commissioners), Oklahoma
 3039. St. Marys (OH), City of, Ohio                      3076.   Delaware (OK), County of (Board of
 3040. Stark (OH), County of, Ohio                                Commissioners), Oklahoma
 3041. Stow (OH), City of, Ohio                           3077.   Dewey County (OK), County of (Board of
 3042. Strongsville (OH), City of, Ohio                           Commissioners), Oklahoma
 3043. Tallmadge (OH), City of, Ohio                      3078.   Edmond (OK), City of, Oklahoma



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 3079.   El Reno (OK), City of, Oklahoma                   3110. Noble (OK), County of (Commissioners),
 3080.   Elk City (OK), City of, Oklahoma                        Oklahoma
 3081.   Enid (OK), City of, Oklahoma                      3111. Nowata (OK), County of, Oklahoma
 3082.   Garvin (OK), County of (Board of                  3112. Okfuskee (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3083.   Grady (OK), County of (Board of                   3113. Oklahoma (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3084.   Greer (OK), County of (Board of                   3114. Oklahoma City (OK), City of, Oklahoma
         Commissioners), Oklahoma                          3115. Okmulgee (OK), County of (County
 3085.   Guthrie (OK), City of, Oklahoma                         Commission), Oklahoma
 3086.   Harmon (OK), County of (Board of                  3116. Osage County (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3087.   Harper County (OK), County of (Board of           3117. Ottawa (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3088.   Haskell County (OK), County of (Board of          3118. Owasso (OK), City of, Oklahoma
         Commissioners), Oklahoma                          3119. Pawnee (OK), County of (Board of
 3089.   Hughes (OK), County of (Board of                        Commissioners), Oklahoma
         Commissioners), Oklahoma                          3120. Payne (OK), County of (County
 3090.   Jackson (OK), County of (Board of                       Commission), Oklahoma
         Commissioners), Oklahoma                          3121. Pittsburg (OK), County of (Board of
 3091.   Jefferson (OK), County of (Board of                     Commissioners), Oklahoma
         Commissioners), Oklahoma                          3122. Ponca City (OK), City of, Oklahoma
 3092.   Jenks (OK), City of, Oklahoma                     3123. Pottawatomie (OK), County of (Board of
 3093.   Johnston County (OK), County of (Board                  Commissioners), Oklahoma
         of Commissioners), Oklahoma                       3124. Roger Mills (OK), County of (Board of
 3094.   Kay (OK), County of (Commissioners),                    Commissioners), Oklahoma
         Oklahoma                                          3125. Rogers (OK), County of (County
 3095.   Kiowa (OK), County of (Board of                         Commission), Oklahoma
         Commissioners), Oklahoma                          3126. Seminole (OK), City of, Oklahoma
 3096.   Latimer (OK), County of (Board of                 3127. Seminole (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3097.   Lawton (OK), City of, Oklahoma                    3128. Shawnee (OK), City of, Oklahoma
 3098.   Le Flore (OK), County of (Board of                3129. Stephens (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3099.   Lincoln (OK), County of (Board of                 3130. Stillwater (OK), City of, Oklahoma
         Commissioners), Oklahoma                          3131. Texas (OK), County of (Board of
 3100.   Logan County (OK), County of (Board of                  Commissioners), Oklahoma
         Commissioners), Oklahoma                          3132. Tillman (OK), County of (Board of
 3101.   Love County (OK), County of (Board of                   Commissioners), Oklahoma
         Commissioners), Oklahoma                          3133. Tulsa (OK), City of, Oklahoma
 3102.   Major County (OK), County of (Board of            3134. Tulsa (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3103.   Mayes (OK), County of (County                     3135. Washington (OK), County of (County
         Commission), Oklahoma                                   Commission), Oklahoma
 3104.   McClain (OK), County of (Board of                 3136. Woods County (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3105.   McCurtain (OK), County of (Board of               3137. Woodward (OK), County of (Board of
         Commissioners), Oklahoma                                Commissioners), Oklahoma
 3106.   Midwest City (OK), City of, Oklahoma              3138. Yukon (OK), City of, Oklahoma
 3107.   Muskogee (OK), City of, Oklahoma                  3139. Clackamas (OR), County of, Oregon
 3108.   Muskogee (OK), County of (Board of                3140. Clatsop (OR), County of, Oregon
         Commissioners), Oklahoma                          3141. Columbia (OR), County of, Oregon
 3109.   Mustang (OK), City of, Oklahoma                   3142. Coos (OR), County of, Oregon



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 3143. Curry (OR), County of, Oregon                       3186. Franklin (PA), County of, Pennsylvania
 3144. Jackson (OR), County of, Oregon                     3187. Greene (PA), County of, Pennsylvania
 3145. Josephine (OR), County of, Oregon                   3188. Hanover (PA), Township of, Pennsylvania
 3146. Lane (OR), County of, Oregon                        3189. Hazleton (PA), City of, Pennsylvania
 3147. Multnomah (OR), County of, Oregon                   3190. Huntingdon (PA), County of, Pennsylvania
 3148. Portland (OR), City of, Oregon                      3191. Indiana (PA), County of, Pennsylvania
 3149. Washington (OR), County of, Oregon                  3192. Kingston (PA), Borough of, Pennsylvania
 3150. Yamhill (OR), County of, Oregon                     3193. Lackawanna (PA), County of,
 3151. Adams (PA), County of, Pennsylvania                       Pennsylvania
 3152. Aliquippa (PA), City of, Pennsylvania               3194. Lawrence (PA), County of, Pennsylvania
 3153. Allegheny, (PA), County of, Pennsylvania            3195. Lehigh (PA), County of, Pennsylvania
 3154. Allegheny (PA)County of (District                      3196. Lehigh (PA) County of (District
       Attorney Stephen A. Zappala Jr.),                          Attorney Jack B. Martin), Pennsylvania
       Pennsylvania                                        3197. Lock Haven (PA), City of, Pennsylvania
 3155. Allentown (PA), City of, Pennsylvania               3198. Lower Makefield (PA), Township of,
 3156. Armstrong (PA), County of, Pennsylvania                   Pennsylvania
 3157. Beaver (PA), County of, Pennsylvania                3199. Lower Southampton (PA), Township of,
 3158. Bedford (PA), County of, Pennsylvania                     Pennsylvania
 3159. Bensalem (PA), Township of, Pennsylvania            3200. Luzerne (PA), County of, Pennsylvania
 3160. Berks (PA) County of (District Attorney             3201. Lycoming (PA), County of, Pennsylvania
       John Adams), Pennsylvania                           3202. Mercer (PA), County of, Pennsylvania
 3161. Bradford (PA), County of, Pennsylvania              3203. Middletown (PA), Township of,
 3162. Bristol (PA), Township, Pennsylvania                      Pennsylvania
 3163. Bucks (PA), County of, Pennsylvania                 3204. Monroe (PA), County of, Pennsylvania
 3164. Bucks (PA) County of (District Attorney             3205. Morrisville (PA), Borough of,
       Matthew Weintraub), Pennsylvania                          Pennsylvania
 3165. Cambria (PA), County of, Pennsylvania               3206. Nanticoke (PA), City of, Pennsylvania
 3166. Carbon (PA), County of, Pennsylvania                3207. New Castle (PA), City of, Pennsylvania
 3167. Chester (PA), County of, Pennsylvania               3208. Newtown (PA), Township of, Pennsylvania
 3168. Chester (PA) County of (District Attorney           3209. Norristown (PA), Municipality of,
       Deborah Ryan), Pennsylvania                               Pennsylvania
 3169. Clarion (PA), County of, Pennsylvania               3210. Northampton (PA) County of (District
 3170. Clearfield (PA), County of, Pennsylvania                  Attorney Terence Houck), Pennsylvania
 3171. Clearfield (PA) County of (District                 3211. Northumberland (PA), County of,
       Attorney Ryan P. Sayers), Pennsylvania                    Pennsylvania
 3172. Clinton (PA), County of, Pennsylvania               3212. Philadelphia (PA), City of, Pennsylvania
 3173. Coatesville (PA), City of, Pennsylvania             3213. Philadelphia (PA) County of (District
 3174. Columbia (PA), County of, Pennsylvania                    Attorney Lawrence Krasner), Pennsylvania
 3175. Cumberland (PA), County of, Pennsylvania            3214. Pike (PA), County of, Pennsylvania
 3176. Dauphin (PA) County of, (District Attorney          3215. Pittsburgh (PA), City of, Pennsylvania
       Francis Chardo), Pennsylvania                       3216. Plains (PA), Township, Pennsylvania
 3177. Delaware (PA), County of, Pennsylvania              3217. Schuylkill (PA), County of, Pennsylvania
    3178. Delaware (PA) County of (District                3218. Sugar Notch (PA), Borough, Pennsylvania
        Attorney Jack Stollsteimer), Pennsylvania          3219. Tioga (PA), County of, Pennsylvania
 3179. Edwardsville (PA), Borough of,                      3220. Union (PA), Township of, Pennsylvania
       Pennsylvania                                        3221. Warminster (PA), Township of,
 3180. Erie (PA), County of, Pennsylvania                        Pennsylvania
    3181. Erie (PA) County of (Dstrict Attorney            3222. Warrington (PA), Township of,
        Jack Daneri), Pennsylvania                               Pennsylvania
 3182. Exeter (PA), Borough of, Pennsylvania               3223. Washington (PA), County of, Pennsylvania
 3183. Fairview (PA), Township of, Pennsylvania            3224. West Norriton (PA), Township of,
 3184. Fayette (PA), County of, Pennsylvania                     Pennsylvania
 3185. Forty Fort (PA), Borough of, Pennsylvania



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 3225. West Pittston (PA), Borough of,                      3263. East Greenwich (RI), Town of, Rhode
       Pennsylvania                                               Island
 3226. Westmoreland (PA), County of,                        3264. East Providence (RI), City of, Rhode Island
       Pennsylvania                                         3265. Foster (RI), Town of, Rhode Island
    3227. Westmoreland (PA) County of (Dstrict              3266. Glocester (RI), Town of, Rhode Island
        Attorney John Peck), Pennsylvania                   3267. Hopkinton (RI), Town of, Rhode Island
 3228. Wilkes-Barre (PA), City of, Pennsylvania             3268. Jamestown (RI), Town of, Rhode Island
 3229. Wilkes-Barre (PA), Township,                         3269. Johnston (RI), Town of, Rhode Island
       Pennsylvania                                         3270. Middletown (RI), Town of, Rhode Island
 3230. Wright (PA), Township of, Pennsylvania               3271. Narragansett (RI), Town of, Rhode Island
 3231. Wyoming (PA), Borough of, Pennsylvania               3272. Newport (RI), City of, Rhode Island
 3232. Wyoming (PA), County of, Pennsylvania                3273. North Kingstown (RI), Town of, Rhode
 3233. York (PA), County of, Pennsylvania                         Island
 3234. Adjuntas (PR), Municipality of, Puerto               3274. North Providence (RI), Town of, Rhode
       Rico                                                       Island
 3235. Arroyo (PR), Municipality of, Puerto Rico            3275. Pawtucket (RI), City of, Rhode Island
 3236. Barceloneta (PR), Municipality of, Puerto            3276. Portsmouth (RI), Town of, Rhode Island
       Rico                                                 3277. Providence (RI), City of, Rhode Island
 3237. Bayamon (PR), Municipality of, Puerto                3278. Richmond (RI), Town of, Rhode Island
       Rico                                                 3279. Scituate (RI), Town of, Rhode Island
 3238. Caguas (PR), Municipality of, Puerto Rico            3280. Smithfield (RI), Town of, Rhode Island
 3239. Canovanas Puerto Rico (PR), Municipality             3281. South Kingstown (RI), Town of, Rhode
       of, Puerto Rico                                            Island
 3240. Catano (PR), Municipality of, Puerto Rico            3282. Warren (RI), Town of, Rhode Island
 3241. Cayey (PR), Municipality of, Puerto Rico             3283. Warwick (RI), City of, Rhode Island
 3242. Ceiba (PR), Municipality of, Puerto Rico             3284. West Greenwich (RI), Town of, Rhode
 3243. Cidra (PR), Municipality of, Puerto Rico                   Island
 3244. Coamo (PR), Municipality of, Puerto Rico             3285. West Warwick (RI), Town of, Rhode
 3245. Guayanilla (PR), Municipality of, Puerto                   Island
       Rico                                                 3286. Westerly (RI), Town of, Rhode Island
 3246. Isla de Vieques (PR), Municipality of,               3287. Woonsocket (RI), City of, Rhode Island
       Puerto Rico                                          3288. Abbeville (SC), County of, South Carolina
 3247. Juncos (PR), Municipality of, Puerto Rico            3289. Aiken (SC), County of, South Carolina
 3248. Loiza (PR), Municipality of, Puerto Rico             3290. Allendale (SC), County of, South Carolina
 3249. Rio Grande (PR), Municipality of, Puerto             3291. Anderson, (SC), County of, South Carolina
       Rico                                                 3292. Bamberg (SC), County of, South Carolina
 3250. Sabana Grande (PR), Municipality of,                 3293. Barnwell (SC), County of, South Carolina
       Puerto Rico                                          3294. Beaufort (SC), County of, South Carolina
 3251. San Juan (PR), Municipality of, Puerto               3295. Berkeley (SC), County of, South Carolina
       Rico                                                 3296. Calhoun (SC), County of, South Carolina
 3252. Vega Alta (PR), Municipality of, Puerto              3297. Charleston (SC), City of, South Carolina
       Rico                                                 3298. Charleston (SC), County of, South Carolina
 3253. Villalba (PR), Municipality of, Puerto Rico          3299. Cherokee (SC), County of, South Carolina
 3254. Yabucoa (PR), Municipality of, Puerto                3300. Chester (SC), City of, South Carolina
       Rico                                                 3301. Chester (SC), County of, South Carolina
 3255. Barrington (RI), Town of, Rhode Island               3302. Chesterfield (SC), County of, South
 3256. Bristol (RI), Town of, Rhode Island                        Carolina
 3257. Burrillville (RI), Town of, Rhode Island             3303. Clarendon (SC), County of, South Carolina
 3258. Central Falls (RI), City of, Rhode Island            3304. Colleton (SC), County of, South Carolina
 3259. Charlestown (RI), Town of, Rhode Island              3305. Columbia (SC), City of, South Carolina
 3260. Coventry (RI), Town of, Rhode Island                 3306. Dillon (SC), County of, South Carolina
 3261. Cranston (RI), City of, Rhode Island                 3307. Dorchester (SC), County of, South
 3262. Cumberland (RI), Town of, Rhode Island                     Carolina



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 3308.   Edgefield (SC), County, South Carolina              3351.   Bell Buckle (TN), Town of, Tennessee
 3309.   Fairfield (SC) County of, South Carolina            3352.   Blount (TN), County of, Tennessee
 3310.   Florence (SC), County of, South Carolina            3353.   Byrdstown (TN), Town of, Tennessee
 3311.   Georgetown (SC), City of, South Carolina            3354.   Campbell (TN), County of, Tennessee
 3312.   Georgetown (SC), County of, South                   3355.   Cannon (TN), County of, Tennessee
         Carolina                                            3356.   Celina (TN), City of, Tennessee
 3313.   Greenville (SC), County of, South Carolina          3357.   Centertown (TN), Town of, Tennessee
 3314.   Greenwood (SC), County of, South                    3358.   Centerville (TN), Town of, Tennessee
         Carolina                                            3359.   Chapel Hill (TN), Town of, Tennessee
 3315.   Hampton (SC), County of, South Carolina             3360.   Claiborne (TN), County of, Tennessee
 3316.   Horry (SC), County of, South Carolina               3361.   Clarksville (TN), City of, Tennessee
 3317.   Jasper (SC), County of, South Carolina              3362.   Clay (TN), County of, Tennessee
 3318.   Kershaw (SC) County Hospital Board,                 3363.   Clifton (TN), City of, Tennessee
         South Carolina                                      3364.   Collinwood (TN), City of, Tennessee
 3319.   Kershaw (SC), County of, South Carolina             3365.   Columbia (TN), City of, Tennessee
 3320.   Lancaster (SC), County of, South Carolina           3366.   Cookeville (TN), City of, Tennessee
 3321.   Laurens (SC), County of, South Carolina             3367.   Cornersville (TN), Town of, Tennessee
 3322.   Lee (SC), County of, South Carolina                 3368.   Crab Orchard (TN), City of, Tennessee
 3323.   Lexington County (SC), South Carolina               3369.   Crockett (TN), County of, Tennessee
 3324.   Marion (SC), County of, South Carolina              3370.   Crossville (TN), City of, Tennessee
 3325.   Marlboro (SC), County of, South Carolina            3371.   Cumberland (TN), County of, Tennessee
 3326.   McCormick (SC), County of, South                    3372.   Dandridge (TN), Town of, Tennessee
         Carolina                                            3373.   Decatur (TN), County of, Tennessee
 3327.   Mt. Pleasant (SC), Town of, South                   3374.   Decatur (TN), Town of, Tennessee
         Carolina                                            3375.   Dekalb (TN), County of, Tennessee
 3328.   Myrtle Beach (SC), City of, South Carolina          3376.   Dowelltown (TN), Town of, Tennessee
 3329.   Newberry (SC), County of, South Carolina            3377.   Doyle (TN), Town of, Tennessee
 3330.   North Charleston (SC), City of, South               3378.   Eagleville (TN), City of, Tennessee
         Carolina                                            3379.   Elkton (TN), City of, Tennessee
 3331.   Oconee (SC), County of, South Carolina              3380.   Ethridge (TN), Town of, Tennessee
 3332.   Orangeburg (SC), City of, South Carolina            3381.   Fayetteville (TN), City of, Tennessee
 3333.   Orangeburg (SC), County of, South                   3382.   Fentress (TN), County of, Tennessee
         Carolina                                            3383.   Gatlinburg (TN) City of, Tennessee
 3334.   Pickens (SC) County of, South Carolina              3384.   Germantown (TN), City of, Tennessee
 3335.   Richland (SC), County of, South Carolina            3385.   Giles (TN), County of, Tennessee
 3336.   Saluda (SC), County of, South Carolina              3386.   Greene (TN), County of, Tennessee
 3337.   Spartanburg (SC), County of, South                  3387.   Hamilton (TN), County of, Tennessee
         Carolina                                            3388.   Hancock (TN), County of, Tennessee
 3338.   Summerville (SC), Town of, South                    3389.   Hawkins (TN), County of, Tennessee
         Carolina                                            3390.   Haywood (TN), County of, Tennessee
 3339.   Sumter (SC), County of, South Carolina              3391.   Henderson (TN), County of, Tennessee
 3340.   Union (SC), County of, South Carolina               3392.   Jefferson (TN), County of, Tennessee
 3341.   Williamsburg (SC) County of, South                  3393.   Johnson (TN), County of, Tennessee
         Carolina                                            3394.   La Vergne (TN), City of, Tennessee
 3342.   York (SC), County of, South Carolina                3395.   Lauderdale (TN), County of, Tennessee
 3343.   Pennington (SD), County of, South Dakota            3396.   Lawrence (TN), County of, Tennessee
 3344.   Alexandria (TN), Town of, Tennessee                 3397.   Lawrenceburg (TN), City of, Tennessee
 3345.   Algood (TN), City of, Tennessee                     3398.   Lewisburg (TN), City of, Tennessee
 3346.   Ardmore (TN), City of, Tennessee                    3399.   Lexington (TN), City of, Tennessee
 3347.   Arlington (TN), Town of, Tennessee                  3400.   Liberty (TN), Town of, Tennessee
 3348.   Auburntown (TN), Town of, Tennessee                 3401.   Lincoln (TN), County of, Tennessee
 3349.   Baxter (TN), Town of, Tennessee                     3402.   Livingston (TN), Town of, Tennessee
 3350.   Bedford (TN), County of, Tennessee                  3403.   Loretto (TN), City of, Tennessee



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 3404. Lynchburg, Moore County Metropolitan             3454. Bastrop (TX), County of, Texas
       Government (TN), Tennessee                       3455. Bexar (TX), County of, Texas
 3405. Lynnville (TN), Town of, Tennessee               3456. Bexar County Hospital District d/b/a
 3406. Madison (TN), County of, Tennessee                     University Health System (TX), Texas
 3407. Marshall (TN), County of, Tennessee              3457. Bowie (TX), County of, Texas
 3408. Maryville (TN), City of, Tennessee               3458. Brazos (TX), County of, Texas
 3409. McMinnville (TN), City of, Tennessee             3459. Brooks (TX), County of, Texas
 3410. Memphis (TN), City of, Tennessee                 3460. Burleson (TX), County of, Texas
 3411. Millington (TN), City of, Tennessee              3461. Burnet (TX), County of, Texas
 3412. Minor Hill (TN), City of, Tennessee              3462. Caldwell (TX), County of, Texas
 3413. Monterey (TN), Town of, Tennessee                3463. Calhoun (TX), County of, Texas
 3414. Montgomery (TN), County of, Tennessee            3464. Cameron (TX), County of, Texas
 3415. Morgan (TN), County of, Tennessee                3465. Camp (TX), County of, Texas
 3416. Morrison (TN), Town of, Tennessee                3466. Cass (TX), County of, Texas
 3417. Mount Pleasant (TN), City of, Tennessee          3467. Castro (TX), County of, Texas
 3418. Murfreesboro (TN), City of, Tennessee            3468. Cherokee (TX), County of, Texas
 3419. Nashville and Davidson County (TN),              3469. Childress (TX), County of, Texas
       Government of, Tennessee                         3470. Clay (TX), County of, Texas
 3420. Normandy (TN), Town of, Tennessee                3471. Colorado (TX), County of, Texas
 3421. Obion (TN), County of, Tennessee                 3472. Cooke (TX), County of, Texas
 3422. Overton (TN), County of, Tennessee               3473. Dallas (TX), County of, Texas
 3423. Petersburg (TN), Town of, Tennessee              3474. Dallas County Hospital District d/b/a
 3424. Pickett (TN), County of, Tennessee                     Parkland Health & Hospital System (TX),
 3425. Pigeon Forge (TN), City of, Tennessee                  Texas
 3426. Pleasant Hill (TN), Town of, Tennessee           3475. Delta (TX), County of, Texas
 3427. Pulaski (TN), City of, Tennessee                 3476. Dimmit (TX), County of, Texas
 3428. Putnam (TN), County of, Tennessee                3477. Duval (TX), County of, Texas
 3429. Ripley (TN), City of, Tennessee                  3478. Eagle Pass (TX), City of, Texas
 3430. Rutherford (TN), County of, Tennessee            3479. Ector (TX), County of, Texas
 3431. Scott (TN), County, Tennessee                    3480. El Paso (TX), County of, Texas
 3432. Shelby (TN), County of (Board of                 3481. Ellis (TX), County of, Texas
       Commissioners), Tennessee                        3482. Falls (TX), County of, Texas
 3433. Shelbyville (TN), City of, Tennessee             3483. Fannin (TX), County of, Texas
 3434. Smith (TN), County of, Tennessee                 3484. Fort Bend (TX), County of, Texas
 3435. Smithville (TN), City of, Tennessee              3485. Franklin (TX), County of, Texas
 3436. Smyrna (TN), Town of, Tennessee                  3486. Freestone (TX), County of, Texas
 3437. Sparta (TN), City of, Tennessee                  3487. Galveston (TX), County of, Texas
 3438. Spencer (TN), Town of, Tennessee                 3488. Grayson (TX), County of, Texas
 3439. Spring Hill (TN), City of, Tennessee             3489. Guadalupe (TX), County of, Texas
 3440. St. Joseph (TN), City of, Tennessee              3490. Guadalupe Valley Hospital a/k/a
 3441. Sumner (TN), County of, Tennessee                      Guadalupe Regional Medical Center (TX),
 3442. Van Buren (TN), County of, Tennessee                   Texas
 3443. Viola (TN), Town of, Tennessee                   3491. Harris (TX), County of, Texas
 3444. Warren (TN), County of, Tennessee                3492. Harris County Hospital District d/b/a
 3445. Wartrace (TN), Town of, Tennessee                      Harris Health System (TX), Texas
 3446. Washington (TN), County of, Tennessee            3493. Harrison (TX), County of, Texas
 3447. Wayne (TN), County of, Tennessee                 3494. Haskell (TX), County of, Texas
 3448. Waynesboro (TN), City of, Tennessee              3495. Hays (TX), County of, Texas
 3449. White (TN), County of, Tennessee                 3496. Henderson (TX), County of, Texas
 3450. Williamson (TN), County of, Tennessee            3497. Hidalgo (TX), County of, Texas
 3451. Woodbury (TN), Town of, Tennessee                3498. Hopkins (TX), County of, Texas
 3452. Angelina (TX), County of, Texas                  3499. Houston (TX), City of, Texas
 3453. Bailey (TX), County of, Texas                    3500. Houston (TX), County of, Texas



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 3501. Irving Independent School District (TX),           3550. Shelby (TX), County of, Texas
       Texas                                              3551. Smith (TX), County of, Texas
 3502. Jasper (TX), County of, Texas                      3552. Socorro Independent School District (TX),
 3503. Jefferson (TX), County of, Texas                         Texas
 3504. Jim Hogg (TX), County of, Texas                    3553. Stephens (TX), County of, Texas
 3505. Jim Wells (TX), County of, Texas                   3554. Tarrant (TX), County of, Texas
 3506. Johnson (TX), County of, Texas                     3555. Tarrant County Hospital District (TX) d/b/a
 3507. Jones (TX), County of, Texas                             JPS Health Network, Texas
 3508. Kaufman (TX), County of, Texas                     3556. Terrell (TX), County of, Texas
 3509. Kendall (TX), County of, Texas                     3557. Texarkana Independent School District
 3510. Kerr (TX), County of, Texas                              (TX), Texas
 3511. Kinney (TX), County of, Texas                      3558. Throckmorton (TX), County of, Texas
 3512. Kleberg (TX), County of, Texas                     3559. Titus (TX), County of, Texas
 3513. La Salle (TX), County of, Texas                    3560. Travis (TX), County of, Texas
 3514. Lamar (TX), County of, Texas                       3561. Trinity (TX), County of, Texas
 3515. Laredo (TX), City of, Texas                        3562. Upshur (TX), County of, Texas
 3516. Leon (TX), County of, Texas                        3563. Uvalde (TX), County of, Texas
 3517. Leon Valley (TX), City of, Texas                   3564. Van Zandt (TX), County of, Texas
 3518. Liberty (TX), County of, Texas                     3565. Walker (TX), County of, Texas
 3519. Limestone (TX), County of, Texas                   3566. Waller (TX), County of, Texas
 3520. Lubbock (TX), County of, Texas                     3567. Webb (TX), County of, Texas
 3521. Madison (TX), County of, Texas                     3568. West Wharton County (TX) Hospital
 3522. Marion (TX), County of, Texas                            District, Texas
 3523. Maverick (TX), County of, Texas                    3569. Wichita (TX), County of, Texas
 3524. McLennan (TX), County of, Texas                    3570. Williamson (TX), County of, Texas
 3525. McMullen (TX), County of, Texas                    3571. Wilson (TX), County of, Texas
 3526. Milam (TX), County of, Texas                       3572. Wilson County Memorial Hospital District
 3527. Mitchell (TX), County of, Texas                          (TX), Texas
 3528. Montgomery (TX), County of, Texas                  3573. Wood (TX), County of, Texas
 3529. Morris (TX), County of, Texas                      3574. Zavala (TX), County of, Texas
 3530. Nacogdoches (TX), County of, Texas                 3575. Beaver (UT), County of, Utah
 3531. Newton (TX), County of, Texas                      3576. Cache (UT), County of, Utah
 3532. Nolan (TX), County of, Texas                       3577. Carbon (UT), County of, Utah
 3533. Nueces (TX), County of, Texas                      3578. Daggett (UT), County of, Utah
 3534. Nueces County Hospital District (TX),              3579. Davis (UT), County of, Utah
       Texas                                              3580. Duchesne (UT), County of, Utah
 3535. Ochiltree County Hospital District (TX),           3581. Emery (UT), County of, Utah
       Texas                                              3582. Garfield (UT), County of, Utah
 3536. Orange (TX), County of, Texas                      3583. Grand (UT), County of, Utah
 3537. Palo Pinto County Hospital District a/k/a          3584. Iron (UT), County of, Utah
       Palo Pinto General Hospital (TX), Texas            3585. Juab (UT), County of, Utah
 3538. Panola (TX), County of, Texas                      3586. Kane (UT), County of, Utah
 3539. Polk (TX), County of, Texas                        3587. Millard (UT), County of, Utah
 3540. Potter (TX), County of, Texas                      3588. Piute (UT), County of, Utah
 3541. Red River (TX), County of, Texas                   3589. Rich (UT), County of, Utah
 3542. Roberts (TX), County of, Texas                     3590. Salt Lake (UT), County of, Utah
 3543. Robertson (TX), County of, Texas                   3591. San Juan (UT), County of, Utah
 3544. Rockwall (TX), County of, Texas                    3592. Sanpete (UT), County of, Utah
 3545. Rusk (TX), County of, Texas                        3593. Sevier (UT), County of, Utah
 3546. San Antonio (TX), City of, Texas                   3594. Summit (UT), County of, Utah
 3547. San Patricio (TX), County of, Texas                3595. Tooele (UT), County of, Utah
 3548. San Saba (TX), County of, Texas                    3596. Tri-County Health Department (UT), Utah
 3549. Shackelford (TX), County of, Texas                 3597. Uintah (UT), County of, Utah



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 3598.   Utah (UT), County of, Utah                        3649.   Louisa (VA), County of, Virginia
 3599.   Wasatch (UT), County of, Utah                     3650.   Madison (VA), County of, Virginia
 3600.   Washington (UT), County of, Utah                  3651.   Martinsville (VA), City of, Virginia
 3601.   Wayne (UT), County of, Utah                       3652.   Mecklenburg (VA), County of, Virginia
 3602.   Weber (UT), County of, Utah                       3653.   Montgomery (VA), County of, Virginia
 3603.   Bennington (VT), Town of, Vermont                 3654.   Norfolk (VA), City of, Virginia
 3604.   Brattleboro (VT), Town of, Vermont                3655.   Northampton (VA), County of, Virginia
 3605.   Sharon (VT), Town of, Vermont                     3656.   Northumberland (VA), County of, Virginia
 3606.   St. Albans (VT), City of, Vermont                 3657.   Norton (VA), City of, Virginia
 3607.   Accomack (VA), County of, Virginia                3658.   Page (VA), County of, Virginia
 3608.   Alexandria (VA), City of, Virginia                3659.   Patrick (VA), County of, Virginia
 3609.   Alleghany (VA), County of, Virginia               3660.   Pittsylvania (VA), County of, Virginia
 3610.   Amherst (VA), County of, Virginia                 3661.   Portsmouth (VA), City of, Virginia
 3611.   Arlington (VA), County of (County                 3662.   Prince George (VA), County of, Virginia
         Board), Virginia                                  3663.   Prince William (VA), County of (Board of
 3612.   Bland (VA), County of, Virginia                           Supervisors), Virginia
 3613.   Botetourt (VA), County of, Virginia               3664.   Pulaski (VA), County of, Virginia
 3614.   Bristol (VA), City of, Virginia                   3665.   Radford (VA), City of, Virginia
 3615.   Buchanan (VA), County of, Virginia                3666.   Richlands (VA), Town of, Virginia
 3616.   Buena Vista (VA), City of, Virginia               3667.   Richmond (VA), City of, Virginia
 3617.   Carroll (VA), County of, Virginia                 3668.   Richmond (VA), County of, Virginia
 3618.   Charlotte (VA), County of, Virginia               3669.   Roanoke (VA), City of, Virginia
 3619.   Chesapeake (VA), City of, Virginia                3670.   Roanoke (VA), County of, Virginia
 3620.   Chesterfield (VA), County of, Virginia            3671.   Rockbridge (VA), County of, Virginia
 3621.   Covington (VA), City of, Virginia                 3672.   Russell (VA), County of, Virginia
 3622.   Culpeper (VA), County of, Virginia                3673.   Salem (VA), City of, Virginia
 3623.   Cumberland (VA), County of, Virginia              3674.   Scott (VA), County of (Board of
 3624.   Danville (VA), City of, Virginia                          Supervisors), Virginia
 3625.   Dickenson (VA), County of, Virginia               3675.   Shenandoah (VA), County of, Virginia
 3626.   Dinwiddie (VA), County of, Virginia               3676.   Smyth (VA), County of, Virginia
 3627.   Emporia (VA), City of, Virginia                   3677.   Stafford (VA), County of, Virginia
 3628.   Fairfax (VA), City of, Virginia                   3678.   Tazewell (VA), County of, Virginia
 3629.   Fairfax (VA), County of (Board of                 3679.   Virginia Beach (VA), City of, Virginia
         Supervisors), Virginia                            3680.   Virginia Beach (VA), City of (Sheriff),
 3630.   Fauquier (VA), County of, Virginia                        Virginia
 3631.   Floyd (VA), County of, Virginia                   3681.   Warren (VA), County of, Virginia
 3632.   Franklin (VA), County of, Virginia                3682.   Washington (VA), County of, Virginia
 3633.   Frederick (VA), County of, Virginia               3683.   Waynesboro (VA), City of, Virginia
 3634.   Fredericksburg (VA), City of, Virginia            3684.   Westmoreland (VA), County of, Virginia
 3635.   Galax (VA), City of, Virginia                     3685.   Winchester (VA), City of, Virginia
 3636.   Giles (VA), County of, Virginia                   3686.   Wise (VA), County of (Board of
 3637.   Goochland (VA), County of, Virginia                       Supervisors), Virginia
 3638.   Grayson (VA), County of, Virginia                 3687.   Wythe (VA), County of, Virginia
 3639.   Greensville (VA), County of, Virginia             3688.   Anacortes (WA), City of, Washington
 3640.   Halifax (VA), County of, Virginia                 3689.   Bainbridge Island (WA), City of,
 3641.   Henrico (VA), County of, Virginia                         Washington
 3642.   Henry (VA), County of, Virginia                   3690.   Burlington (WA), City of, Washington
 3643.   Hopewell (VA), City of, Virginia                  3691.   Chelan (WA), County of, Washington
 3644.   Isle of Wight (VA), County of, Virginia           3692.   Clallam (WA), County of, Washington
 3645.   King and Queen (VA), County of, Virginia          3693.   Clark (WA), County of, Washington
 3646.   Lee (VA), County of, Virginia                     3694.   Everett (WA), City of, Washington
 3647.   Lexington (VA), City of, Virginia                 3695.   Franklin (WA), County of, Washington
 3648.   Loudoun (VA), County of, Virginia                 3696.   Island (WA), County of, Washington



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 3697.   Jefferson (WA), County of, Washington            3747.   Franklin (WI), City of, Wisconsin
 3698.   Kent (WA), City of, Washington                   3748.   Grant (WI), County of, Wisconsin
 3699.   King (WA), County of, Washington                 3749.   Green (WI), County of, Wisconsin
 3700.   Kirkland (WA), City of, Washington               3750.   Green Lake (WI), County of, Wisconsin
 3701.   Kitsap (WA), County of, Washington               3751.   Greenfield (WI), City of, Wisconsin
 3702.   Kittitas (WA), County of, Washington             3752.   Iowa (WI), County of, Wisconsin
 3703.   Lakewood (WA), City of, Washington               3753.   Iron (WI), County of, Wisconsin
 3704.   Lewis (WA), County of, Washington                3754.   Jackson (WI), County of, Wisconsin
 3705.   Lincoln (WA), County of, Washington              3755.   Janesville (WI), City of, Wisconsin
 3706.   Mount Vernon (WA), City of, Washington           3756.   Jefferson (WI), County of, Wisconsin
 3707.   Mount Vernon (WA), School District of,           3757.   Juneau (WI), County of, Wisconsin
         Washington                                       3758.   Kenosha (WI), City of, Wisconsin
 3708.   Olympia (WA), City of, Washington                3759.   Kenosha (WI), County of, Wisconsin
 3709.   Pierce (WA), County of, Washington               3760.   Kewaunee (WI), County of, Wisconsin
 3710.   San Juan (WA), County of, Washington             3761.   La Crosse (WI), County of, Wisconsin
 3711.   Seattle (WA), City of, Washington                3762.   Lafayette (WI), County of, Wisconsin
 3712.   Sedro-Woolley (WA), City of, Washington          3763.   Langlade (WI), County of, Wisconsin
 3713.   Sedro-Woolley School District (WA),              3764.   Lincoln (WI), County of, Wisconsin
         Washington                                       3765.   Manitowoc (WI), County of, Wisconsin
 3714.   Skagit (WA), County of, Washington               3766.   Marathon (WI), County of, Wisconsin
 3715.   Snohomish (WA), County of, Washington            3767.   Marinette (WI), City of, Wisconsin
 3716.   Spokane (WA), City of, Washington                3768.   Marinette (WI), County of, Wisconsin
 3717.   Spokane (WA), County of, Washington              3769.   Marquette (WI), County of, Wisconsin
 3718.   Tacoma (WA), City of, Washington                 3770.   Menominee (WI), County of, Wisconsin
 3719.   The La Conner School District (WA),              3771.   Milwaukee (WI), City of, Wisconsin
         Washington                                       3772.   Milwaukee (WI), County of, Wisconsin
 3720.   Thurston (WA), County of, Washington             3773.   Monroe (WI), County of, Wisconsin
 3721.   Vancouver (WA), City of, Washington              3774.   Mount Pleasant (WI), Village of,
 3722.   Walla Walla (WA), County of, Washington                  Wisconsin
 3723.   Whatcom (WA), County of, Washington              3775.   Oak Creek (WI), City of, Wisconsin
 3724.   Whitman (WA), County of, Washington              3776.   Oconto (WI), County of, Wisconsin
 3725.   Adams (WI), County of, Wisconsin                 3777.   Oneida (WI), County of, Wisconsin
 3726.   Ashland (WI), County of, Wisconsin               3778.   Outagamie (WI), County of, Wisconsin
 3727.   Barron (WI), County of, Wisconsin                3779.   Ozaukee (WI), County of, Wisconsin
 3728.   Bayfield (WI), County of, Wisconsin              3780.   Pepin (WI), County of, Wisconsin
 3729.   Brown (WI), County of, Wisconsin                 3781.   Pierce (WI), County of, Wisconsin
 3730.   Buffalo (WI), County of, Wisconsin               3782.   Pleasant Prairie (WI), Village of,
 3731.   Burnett (WI), County of, Wisconsin                       Wisconsin
 3732.   Calumet (WI), County of, Wisconsin               3783.   Portage (WI), County of, Wisconsin
 3733.   Chippewa (WI), County of, Wisconsin              3784.   Price (WI), County of, Wisconsin
 3734.   Clark (WI), County of, Wisconsin                 3785.   Racine (WI), County of, Wisconsin
 3735.   Columbia (WI), County of, Wisconsin              3786.   Richland (WI), County of, Wisconsin
 3736.   Crawford (WI), County of, Wisconsin              3787.   Rock (WI), County of, Wisconsin
 3737.   Cudahy (WI), City of, Wisconsin                  3788.   Rusk (WI), County of, Wisconsin
 3738.   Dane (WI), County of, Wisconsin                  3789.   Sauk (WI), County of, Wisconsin
 3739.   Dodge (WI), County of, Wisconsin                 3790.   Sawyer (WI), County of, Wisconsin
 3740.   Door (WI), County of, Wisconsin                  3791.   Shawano (WI), County of, Wisconsin
 3741.   Douglas (WI), County of, Wisconsin               3792.   Sheboygan (WI), County of, Wisconsin
 3742.   Dunn (WI), County of, Wisconsin                  3793.   South Milwaukee (WI), City of, Wisconsin
 3743.   Eau Claire (WI), County of, Wisconsin            3794.   St. Croix (WI), County of, Wisconsin
 3744.   Florence (WI), County of, Wisconsin              3795.   Sturtevant (WI), Village of, Wisconsin
 3745.   Fond du Lac (WI), County of, Wisconsin           3796.   Superior (WI), City of, Wisconsin
 3746.   Forest (WI), County of, Wisconsin                3797.   Taylor (WI), County of, Wisconsin



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 3798.   Trempealeau (WI), County of, Wisconsin
 3799.   Union Grove (WI), Village of, Wisconsin
 3800.   Vernon (WI), County of, Wisconsin
 3801.   Vilas (WI), County of, Wisconsin
 3802.   Walworth (WI), County of, Wisconsin
 3803.   Washburn (WI), County of, Wisconsin
 3804.   Washington (WI), County of, Wisconsin
 3805.   Waukesha (WI), County of, Wisconsin
 3806.   Waupaca (WI), County of, Wisconsin
 3807.   Waushara (WI), County of, Wisconsin
 3808.   Wauwatosa (WI), City of, Wisconsin
 3809.   West Allis (WI), City of, Wisconsin
 3810.   Winnebago (WI), County of, Wisconsin
 3811.   Wood (WI), County of, Wisconsin
 3812.   Yorkville (WI), Village of, Wisconsin
 3813.   Carbon (WY), County of, Wyoming
 3814.   Casper (WY), City of, Wyoming
 3815.   Cheyenne (WY), City of, Wyoming
 3816.   Green River (WY), City of, Wyoming
 3817.   Riverton (WY), City of, Wyoming
 3818.   Rock Springs (WY), City of, Wyoming
 3819.   Sweetwater (WY), County of, Wyoming




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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


                                                   EXHIBIT D

                Later Litigating Subdivision Suspension and Offset Determinations

  Participation        Per Capita         Suspension                                Suspension Deadline and
      Tier             Amount13           Percentage            Offset Cap                Ending Point
        1                $2,500              66%                   66%             Earlier of (1) 6 months
                                                                                   after denial of a motion to
                                                                                   dismiss, (2) 12 months
                                                                                   from filing, or (3) 6 months
                                                                                   before final pre-trial
                                                                                   conference, and until final
                                                                                   judgment affirmed on
                                                                                   appeal, including
                                                                                   dismissal.
          2               $2,000             33.33%                 34%            Earlier of (1) 6 months
                                                                                   after denial of a motion to
                                                                                   dismiss, (2) 12 months
                                                                                   from filing, or (3) 6 months
                                                                                   before final pre-trial
                                                                                   conference, and until final
                                                                                   judgment affirmed on
                                                                                   appeal, including
                                                                                   dismissal.
          3               $1,500              27.5%                 30%            Earlier of (1) 9 months
                                                                                   after denial of a motion to
                                                                                   dismiss, (2) 12 months
                                                                                   from filing, or (3) 6 months
                                                                                   before final pre-trial
                                                                                   conference, and until final
                                                                                   judgment affirmed on
                                                                                   appeal, including
                                                                                   dismissal.
          4               $1,000               20%                  25%            Earlier of (1) 9 months
                                                                                   after denial of a motion to
                                                                                   dismiss, (2) 12 months
                                                                                   from filing, or (3) 6 months
                                                                                   before final pre-trial
                                                                                   conference, and until final
                                                                                   judgment affirmed on
                                                                                   appeal, including
                                                                                   dismissal.



 13
   Population will be measured at the level of the Later Litigating Subdivision as described in Section XIV.A,
 Section XIV.B, and Section XIV.C.


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                                                    EXHIBIT E

                                       List of Opioid Remediation Uses


                                                   Schedule A
                                                  Core Strategies

 States and Qualifying Block Grantees shall choose from among the abatement strategies listed in
 Schedule B. However, priority shall be given to the following core abatement strategies (“Core
 Strategies”).14

                            A.       NALOXONE OR OTHER FDA-APPROVED DRUG TO
                                     REVERSE OPIOID OVERDOSES

                                     1.       Expand training for first responders, schools, community
                                              support groups and families; and

                                     2.       Increase distribution to individuals who are uninsured or
                                              whose insurance does not cover the needed service.

                            B.       MEDICATION-ASSISTED TREATMENT (“MAT”)
                                     DISTRIBUTION AND OTHER OPIOID-RELATED
                                     TREATMENT

                                     1.       Increase distribution of MAT to individuals who are
                                              uninsured or whose insurance does not cover the needed
                                              service;

                                     2.       Provide education to school-based and youth-focused
                                              programs that discourage or prevent misuse;

                                     3.       Provide MAT education and awareness training to
                                              healthcare providers, EMTs, law enforcement, and other
                                              first responders; and

                                     4.       Provide treatment and recovery support services such as
                                              residential and inpatient treatment, intensive outpatient
                                              treatment, outpatient therapy or counseling, and recovery
                                              housing that allow or integrate medication and with other
                                              support services.




 14
   As used in this Schedule A, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
 new or existing programs.


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                   C.    PREGNANT & POSTPARTUM WOMEN

                         1.    Expand Screening, Brief Intervention, and Referral to
                               Treatment (“SBIRT”) services to non-Medicaid eligible or
                               uninsured pregnant women;

                         2.    Expand comprehensive evidence-based treatment and
                               recovery services, including MAT, for women with co-
                               occurring Opioid Use Disorder (“OUD”) and other
                               Substance Use Disorder (“SUD”)/Mental Health disorders
                               for uninsured individuals for up to 12 months postpartum;
                               and

                         3.    Provide comprehensive wrap-around services to individuals
                               with OUD, including housing, transportation, job
                               placement/training, and childcare.

                   D.    EXPANDING TREATMENT FOR NEONATAL
                         ABSTINENCE SYNDROME (“NAS”)

                         1.    Expand comprehensive evidence-based and recovery
                               support for NAS babies;

                         2.    Expand services for better continuum of care with infant-
                               need dyad; and

                         3.    Expand long-term treatment and services for medical
                               monitoring of NAS babies and their families.

                   E.    EXPANSION OF WARM HAND-OFF PROGRAMS AND
                         RECOVERY SERVICES

                         1.    Expand services such as navigators and on-call teams to
                               begin MAT in hospital emergency departments;

                         2.    Expand warm hand-off services to transition to recovery
                               services;

                         3.    Broaden scope of recovery services to include co-occurring
                               SUD or mental health conditions;

                         4.    Provide comprehensive wrap-around services to individuals
                               in recovery, including housing, transportation, job
                               placement/training, and childcare; and

                         5.    Hire additional social workers or other behavioral health
                               workers to facilitate expansions above.



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                   F.    TREATMENT FOR INCARCERATED POPULATION

                         1.    Provide evidence-based treatment and recovery support,
                               including MAT for persons with OUD and co-occurring
                               SUD/MH disorders within and transitioning out of the
                               criminal justice system; and

                         2.    Increase funding for jails to provide treatment to inmates
                               with OUD.

                   G.    PREVENTION PROGRAMS

                         1.    Funding for media campaigns to prevent opioid use (similar
                               to the FDA’s “Real Cost” campaign to prevent youth from
                               misusing tobacco);

                         2.    Funding for evidence-based prevention programs in
                               schools;

                         3.    Funding for medical provider education and outreach
                               regarding best prescribing practices for opioids consistent
                               with the 2016 CDC guidelines, including providers at
                               hospitals (academic detailing);

                         4.    Funding for community drug disposal programs; and

                         5.    Funding and training for first responders to participate in
                               pre-arrest diversion programs, post-overdose response
                               teams, or similar strategies that connect at-risk individuals
                               to behavioral health services and supports.

                   H.    EXPANDING SYRINGE SERVICE PROGRAMS

                         1.    Provide comprehensive syringe services programs with
                               more wrap-around services, including linkage to OUD
                               treatment, access to sterile syringes and linkage to care and
                               treatment of infectious diseases.

                   I.    EVIDENCE-BASED DATA COLLECTION AND
                         RESEARCH ANALYZING THE EFFECTIVENESS OF THE
                         ABATEMENT STRATEGIES WITHIN THE STATE




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                                                   Schedule B
                                                  Approved Uses

 Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
 or Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs
 or strategies that may include, but are not limited to, the following:

                                          PART ONE: TREATMENT


 A.       TREAT OPIOID USE DISORDER (OUD)

          Support treatment of Opioid Use Disorder (“OUD”) and any co-occurring Substance Use
          Disorder or Mental Health (“SUD/MH”) conditions through evidence-based or evidence-
          informed programs or strategies that may include, but are not limited to, those that:15

          1.       Expand availability of treatment for OUD and any co-occurring SUD/MH
                   conditions, including all forms of Medication-Assisted Treatment (“MAT”)
                   approved by the U.S. Food and Drug Administration.

          2.       Support and reimburse evidence-based services that adhere to the American
                   Society of Addiction Medicine (“ASAM”) continuum of care for OUD and any co-
                   occurring SUD/MH conditions.

          3.       Expand telehealth to increase access to treatment for OUD and any co-occurring
                   SUD/MH conditions, including MAT, as well as counseling, psychiatric support,
                   and other treatment and recovery support services.

          4.       Improve oversight of Opioid Treatment Programs (“OTPs”) to assure evidence-
                   based or evidence-informed practices such as adequate methadone dosing and low
                   threshold approaches to treatment.

          5.       Support mobile intervention, treatment, and recovery services, offered by
                   qualified professionals and service providers, such as peer recovery coaches, for
                   persons with OUD and any co-occurring SUD/MH conditions and for persons
                   who have experienced an opioid overdose.

          6.       Provide treatment of trauma for individuals with OUD (e.g., violence, sexual
                   assault, human trafficking, or adverse childhood experiences) and family
                   members (e.g., surviving family members after an overdose or overdose fatality),
                   and training of health care personnel to identify and address such trauma.

          7.       Support evidence-based withdrawal management services for people with OUD
                   and any co-occurring mental health conditions.


 15
   As used in this Schedule B, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
 new or existing programs.


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       8.     Provide training on MAT for health care providers, first responders, students, or
              other supporting professionals, such as peer recovery coaches or recovery
              outreach specialists, including telementoring to assist community-based providers
              in rural or underserved areas.

       9.     Support workforce development for addiction professionals who work with
              persons with OUD and any co-occurring SUD/MH conditions.

       10.    Offer fellowships for addiction medicine specialists for direct patient care,
              instructors, and clinical research for treatments.

       11.    Offer scholarships and supports for behavioral health practitioners or workers
              involved in addressing OUD and any co-occurring SUD/MH or mental health
              conditions, including, but not limited to, training, scholarships, fellowships, loan
              repayment programs, or other incentives for providers to work in rural or
              underserved areas.

       12.    Provide funding and training for clinicians to obtain a waiver under the federal
              Drug Addiction Treatment Act of 2000 (“DATA 2000”) to prescribe MAT for
              OUD, and provide technical assistance and professional support to clinicians who
              have obtained a DATA 2000 waiver.

       13.    Disseminate of web-based training curricula, such as the American Academy of
              Addiction Psychiatry’s Provider Clinical Support Service–Opioids web-based
              training curriculum and motivational interviewing.

       14.    Develop and disseminate new curricula, such as the American Academy of
              Addiction Psychiatry’s Provider Clinical Support Service for Medication–
              Assisted Treatment.

 B.    SUPPORT PEOPLE IN TREATMENT AND RECOVERY

       Support people in recovery from OUD and any co-occurring SUD/MH conditions
       through evidence-based or evidence-informed programs or strategies that may include,
       but are not limited to, the programs or strategies that:

       1.     Provide comprehensive wrap-around services to individuals with OUD and any
              co-occurring SUD/MH conditions, including housing, transportation, education,
              job placement, job training, or childcare.

       2.     Provide the full continuum of care of treatment and recovery services for OUD
              and any co-occurring SUD/MH conditions, including supportive housing, peer
              support services and counseling, community navigators, case management, and
              connections to community-based services.

       3.     Provide counseling, peer-support, recovery case management and residential
              treatment with access to medications for those who need it to persons with OUD
              and any co-occurring SUD/MH conditions.


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       4.    Provide access to housing for people with OUD and any co-occurring SUD/MH
             conditions, including supportive housing, recovery housing, housing assistance
             programs, training for housing providers, or recovery housing programs that allow
             or integrate FDA-approved mediation with other support services.

       5.    Provide community support services, including social and legal services, to assist
             in deinstitutionalizing persons with OUD and any co-occurring SUD/MH
             conditions.

       6.    Support or expand peer-recovery centers, which may include support groups,
             social events, computer access, or other services for persons with OUD and any
             co-occurring SUD/MH conditions.

       7.    Provide or support transportation to treatment or recovery programs or services
             for persons with OUD and any co-occurring SUD/MH conditions.

       8.    Provide employment training or educational services for persons in treatment for
             or recovery from OUD and any co-occurring SUD/MH conditions.

       9.    Identify successful recovery programs such as physician, pilot, and college
             recovery programs, and provide support and technical assistance to increase the
             number and capacity of high-quality programs to help those in recovery.

       10.   Engage non-profits, faith-based communities, and community coalitions to
             support people in treatment and recovery and to support family members in their
             efforts to support the person with OUD in the family.

       11.   Provide training and development of procedures for government staff to
             appropriately interact and provide social and other services to individuals with or
             in recovery from OUD, including reducing stigma.

       12.   Support stigma reduction efforts regarding treatment and support for persons with
             OUD, including reducing the stigma on effective treatment.

       13.   Create or support culturally appropriate services and programs for persons with
             OUD and any co-occurring SUD/MH conditions, including new Americans.

       14.   Create and/or support recovery high schools.

       15.   Hire or train behavioral health workers to provide or expand any of the services or
             supports listed above.

 C.    CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
       (CONNECTIONS TO CARE)

       Provide connections to care for people who have—or are at risk of developing—OUD
       and any co-occurring SUD/MH conditions through evidence-based or evidence-informed
       programs or strategies that may include, but are not limited to, those that:


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       1.    Ensure that health care providers are screening for OUD and other risk factors and
             know how to appropriately counsel and treat (or refer if necessary) a patient for
             OUD treatment.

       2.    Fund SBIRT programs to reduce the transition from use to disorders, including
             SBIRT services to pregnant women who are uninsured or not eligible for
             Medicaid.

       3.    Provide training and long-term implementation of SBIRT in key systems (health,
             schools, colleges, criminal justice, and probation), with a focus on youth and
             young adults when transition from misuse to opioid disorder is common.

       4.    Purchase automated versions of SBIRT and support ongoing costs of the
             technology.

       5.    Expand services such as navigators and on-call teams to begin MAT in hospital
             emergency departments.

       6.    Provide training for emergency room personnel treating opioid overdose patients
             on post-discharge planning, including community referrals for MAT, recovery
             case management or support services.

       7.    Support hospital programs that transition persons with OUD and any co-occurring
             SUD/MH conditions, or persons who have experienced an opioid overdose, into
             clinically appropriate follow-up care through a bridge clinic or similar approach.

       8.    Support crisis stabilization centers that serve as an alternative to hospital
             emergency departments for persons with OUD and any co-occurring SUD/MH
             conditions or persons that have experienced an opioid overdose.

       9.    Support the work of Emergency Medical Systems, including peer support
             specialists, to connect individuals to treatment or other appropriate services
             following an opioid overdose or other opioid-related adverse event.

       10.   Provide funding for peer support specialists or recovery coaches in emergency
             departments, detox facilities, recovery centers, recovery housing, or similar
             settings; offer services, supports, or connections to care to persons with OUD and
             any co-occurring SUD/MH conditions or to persons who have experienced an
             opioid overdose.

       11.   Expand warm hand-off services to transition to recovery services.

       12.   Create or support school-based contacts that parents can engage with to seek
             immediate treatment services for their child; and support prevention, intervention,
             treatment, and recovery programs focused on young people.

       13.   Develop and support best practices on addressing OUD in the workplace.



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       14.    Support assistance programs for health care providers with OUD.

       15.    Engage non-profits and the faith community as a system to support outreach for
              treatment.

       16.    Support centralized call centers that provide information and connections to
              appropriate services and supports for persons with OUD and any co-occurring
              SUD/MH conditions.

 D.    ADDRESS THE NEEDS OF CRIMINAL JUSTICE-INVOLVED PERSONS

       Address the needs of persons with OUD and any co-occurring SUD/MH conditions who
       are involved in, are at risk of becoming involved in, or are transitioning out of the
       criminal justice system through evidence-based or evidence-informed programs or
       strategies that may include, but are not limited to, those that:

       1.     Support pre-arrest or pre-arraignment diversion and deflection strategies for
              persons with OUD and any co-occurring SUD/MH conditions, including
              established strategies such as:

              1.     Self-referral strategies such as the Angel Programs or the Police Assisted
                     Addiction Recovery Initiative (“PAARI”);

              2.     Active outreach strategies such as the Drug Abuse Response Team
                     (“DART”) model;

              3.     “Naloxone Plus” strategies, which work to ensure that individuals who
                     have received naloxone to reverse the effects of an overdose are then
                     linked to treatment programs or other appropriate services;

              4.     Officer prevention strategies, such as the Law Enforcement Assisted
                     Diversion (“LEAD”) model;

              5.     Officer intervention strategies such as the Leon County, Florida Adult
                     Civil Citation Network or the Chicago Westside Narcotics Diversion to
                     Treatment Initiative; or

              6.     Co-responder and/or alternative responder models to address OUD-related
                     911 calls with greater SUD expertise.

       2.     Support pre-trial services that connect individuals with OUD and any co-
              occurring SUD/MH conditions to evidence-informed treatment, including MAT,
              and related services.

       3.     Support treatment and recovery courts that provide evidence-based options for
              persons with OUD and any co-occurring SUD/MH conditions.




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       4.     Provide evidence-informed treatment, including MAT, recovery support, harm
              reduction, or other appropriate services to individuals with OUD and any co-
              occurring SUD/MH conditions who are incarcerated in jail or prison.

       5.     Provide evidence-informed treatment, including MAT, recovery support, harm
              reduction, or other appropriate services to individuals with OUD and any co-
              occurring SUD/MH conditions who are leaving jail or prison or have recently left
              jail or prison, are on probation or parole, are under community corrections
              supervision, or are in re-entry programs or facilities.

       6.     Support critical time interventions (“CTI”), particularly for individuals living with
              dual-diagnosis OUD/serious mental illness, and services for individuals who face
              immediate risks and service needs and risks upon release from correctional
              settings.

       7.     Provide training on best practices for addressing the needs of criminal justice-
              involved persons with OUD and any co-occurring SUD/MH conditions to law
              enforcement, correctional, or judicial personnel or to providers of treatment,
              recovery, harm reduction, case management, or other services offered in
              connection with any of the strategies described in this section.

 E.    ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND
       THEIR FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE
       SYNDROME

       Address the needs of pregnant or parenting women with OUD and any co-occurring
       SUD/MH conditions, and the needs of their families, including babies with neonatal
       abstinence syndrome (“NAS”), through evidence-based or evidence-informed programs
       or strategies that may include, but are not limited to, those that:

       1.     Support evidence-based or evidence-informed treatment, including MAT,
              recovery services and supports, and prevention services for pregnant women—or
              women who could become pregnant—who have OUD and any co-occurring
              SUD/MH conditions, and other measures to educate and provide support to
              families affected by Neonatal Abstinence Syndrome.

       2.     Expand comprehensive evidence-based treatment and recovery services, including
              MAT, for uninsured women with OUD and any co-occurring SUD/MH
              conditions for up to 12 months postpartum.

       3.     Provide training for obstetricians or other healthcare personnel who work with
              pregnant women and their families regarding treatment of OUD and any co-
              occurring SUD/MH conditions.

       4.     Expand comprehensive evidence-based treatment and recovery support for NAS
              babies; expand services for better continuum of care with infant-need dyad; and
              expand long-term treatment and services for medical monitoring of NAS babies
              and their families.


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       5.     Provide training to health care providers who work with pregnant or parenting
              women on best practices for compliance with federal requirements that children
              born with NAS get referred to appropriate services and receive a plan of safe care.

       6.     Provide child and family supports for parenting women with OUD and any co-
              occurring SUD/MH conditions.

       7.     Provide enhanced family support and child care services for parents with OUD
              and any co-occurring SUD/MH conditions.

       8.     Provide enhanced support for children and family members suffering trauma as a
              result of addiction in the family; and offer trauma-informed behavioral health
              treatment for adverse childhood events.

       9.     Offer home-based wrap-around services to persons with OUD and any co-
              occurring SUD/MH conditions, including, but not limited to, parent skills
              training.

       10.    Provide support for Children’s Services—Fund additional positions and services,
              including supportive housing and other residential services, relating to children
              being removed from the home and/or placed in foster care due to custodial opioid
              use.

                                PART TWO: PREVENTION

 F.    PREVENT OVER-PRESCRIBING AND ENSURE APPROPRIATE
       PRESCRIBING AND DISPENSING OF OPIOIDS

       Support efforts to prevent over-prescribing and ensure appropriate prescribing and
       dispensing of opioids through evidence-based or evidence-informed programs or
       strategies that may include, but are not limited to, the following:

       1.     Funding medical provider education and outreach regarding best prescribing
              practices for opioids consistent with the Guidelines for Prescribing Opioids for
              Chronic Pain from the U.S. Centers for Disease Control and Prevention, including
              providers at hospitals (academic detailing).

       2.     Training for health care providers regarding safe and responsible opioid
              prescribing, dosing, and tapering patients off opioids.

       3.     Continuing Medical Education (CME) on appropriate prescribing of opioids.

       4.     Providing Support for non-opioid pain treatment alternatives, including training
              providers to offer or refer to multi-modal, evidence-informed treatment of pain.

       5.     Supporting enhancements or improvements to Prescription Drug Monitoring
              Programs (“PDMPs”), including, but not limited to, improvements that:



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              1.      Increase the number of prescribers using PDMPs;

              2.      Improve point-of-care decision-making by increasing the quantity, quality,
                      or format of data available to prescribers using PDMPs, by improving the
                      interface that prescribers use to access PDMP data, or both; or

              3.      Enable states to use PDMP data in support of surveillance or intervention
                      strategies, including MAT referrals and follow-up for individuals
                      identified within PDMP data as likely to experience OUD in a manner that
                      complies with all relevant privacy and security laws and rules.

       6.     Ensuring PDMPs incorporate available overdose/naloxone deployment data,
              including the United States Department of Transportation’s Emergency Medical
              Technician overdose database in a manner that complies with all relevant privacy
              and security laws and rules.

       7.     Increasing electronic prescribing to prevent diversion or forgery.

       8.     Educating dispensers on appropriate opioid dispensing.

 G.    PREVENT MISUSE OF OPIOIDS

       Support efforts to discourage or prevent misuse of opioids through evidence-based or
       evidence-informed programs or strategies that may include, but are not limited to, the
       following:

       1.     Funding media campaigns to prevent opioid misuse.

       2.     Corrective advertising or affirmative public education campaigns based on
              evidence.

       3.     Public education relating to drug disposal.

       4.     Drug take-back disposal or destruction programs.

       5.     Funding community anti-drug coalitions that engage in drug prevention efforts.

       6.     Supporting community coalitions in implementing evidence-informed prevention,
              such as reduced social access and physical access, stigma reduction—including
              staffing, educational campaigns, support for people in treatment or recovery, or
              training of coalitions in evidence-informed implementation, including the
              Strategic Prevention Framework developed by the U.S. Substance Abuse and
              Mental Health Services Administration (“SAMHSA”).

       7.     Engaging non-profits and faith-based communities as systems to support
              prevention.




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       8.     Funding evidence-based prevention programs in schools or evidence-informed
              school and community education programs and campaigns for students, families,
              school employees, school athletic programs, parent-teacher and student
              associations, and others.

       9.     School-based or youth-focused programs or strategies that have demonstrated
              effectiveness in preventing drug misuse and seem likely to be effective in
              preventing the uptake and use of opioids.

       10.    Create or support community-based education or intervention services for
              families, youth, and adolescents at risk for OUD and any co-occurring SUD/MH
              conditions.

       11.    Support evidence-informed programs or curricula to address mental health needs
              of young people who may be at risk of misusing opioids or other drugs, including
              emotional modulation and resilience skills.

       12.    Support greater access to mental health services and supports for young people,
              including services and supports provided by school nurses, behavioral health
              workers or other school staff, to address mental health needs in young people that
              (when not properly addressed) increase the risk of opioid or another drug misuse.

 H.    PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM REDUCTION)

       Support efforts to prevent or reduce overdose deaths or other opioid-related harms
       through evidence-based or evidence-informed programs or strategies that may include,
       but are not limited to, the following:

       1.     Increased availability and distribution of naloxone and other drugs that treat
              overdoses for first responders, overdose patients, individuals with OUD and their
              friends and family members, schools, community navigators and outreach
              workers, persons being released from jail or prison, or other members of the
              general public.

       2.     Public health entities providing free naloxone to anyone in the community.

       3.     Training and education regarding naloxone and other drugs that treat overdoses
              for first responders, overdose patients, patients taking opioids, families, schools,
              community support groups, and other members of the general public.

       4.     Enabling school nurses and other school staff to respond to opioid overdoses, and
              provide them with naloxone, training, and support.

       5.     Expanding, improving, or developing data tracking software and applications for
              overdoses/naloxone revivals.

       6.     Public education relating to emergency responses to overdoses.



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       7.     Public education relating to immunity and Good Samaritan laws.

       8.     Educating first responders regarding the existence and operation of immunity and
              Good Samaritan laws.

       9.     Syringe service programs and other evidence-informed programs to reduce harms
              associated with intravenous drug use, including supplies, staffing, space, peer
              support services, referrals to treatment, fentanyl checking, connections to care,
              and the full range of harm reduction and treatment services provided by these
              programs.

       10.    Expanding access to testing and treatment for infectious diseases such as HIV and
              Hepatitis C resulting from intravenous opioid use.

       11.    Supporting mobile units that offer or provide referrals to harm reduction services,
              treatment, recovery supports, health care, or other appropriate services to persons
              that use opioids or persons with OUD and any co-occurring SUD/MH conditions.

       12.    Providing training in harm reduction strategies to health care providers, students,
              peer recovery coaches, recovery outreach specialists, or other professionals that
              provide care to persons who use opioids or persons with OUD and any co-
              occurring SUD/MH conditions.

       13.    Supporting screening for fentanyl in routine clinical toxicology testing.

                            PART THREE: OTHER STRATEGIES


 I.    FIRST RESPONDERS

       In addition to items in section C, D and H relating to first responders, support the
       following:

       1.     Education of law enforcement or other first responders regarding appropriate
              practices and precautions when dealing with fentanyl or other drugs.

       2.     Provision of wellness and support services for first responders and others who
              experience secondary trauma associated with opioid-related emergency events.

 J.    LEADERSHIP, PLANNING AND COORDINATION

       Support efforts to provide leadership, planning, coordination, facilitations, training and
       technical assistance to abate the opioid epidemic through activities, programs, or
       strategies that may include, but are not limited to, the following:

       1.     Statewide, regional, local or community regional planning to identify root causes
              of addiction and overdose, goals for reducing harms related to the opioid
              epidemic, and areas and populations with the greatest needs for treatment


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              intervention services, and to support training and technical assistance and other
              strategies to abate the opioid epidemic described in this opioid abatement strategy
              list.

       2.     A dashboard to (a) share reports, recommendations, or plans to spend opioid
              settlement funds; (b) to show how opioid settlement funds have been spent; (c) to
              report program or strategy outcomes; or (d) to track, share or visualize key opioid-
              or health-related indicators and supports as identified through collaborative
              statewide, regional, local or community processes.

       3.     Invest in infrastructure or staffing at government or not-for-profit agencies to
              support collaborative, cross-system coordination with the purpose of preventing
              overprescribing, opioid misuse, or opioid overdoses, treating those with OUD and
              any co-occurring SUD/MH conditions, supporting them in treatment or recovery,
              connecting them to care, or implementing other strategies to abate the opioid
              epidemic described in this opioid abatement strategy list.

       4.     Provide resources to staff government oversight and management of opioid
              abatement programs.

 K.    TRAINING

       In addition to the training referred to throughout this document, support training to abate
       the opioid epidemic through activities, programs, or strategies that may include, but are
       not limited to, those that:

       1.     Provide funding for staff training or networking programs and services to improve
              the capability of government, community, and not-for-profit entities to abate the
              opioid crisis.

       2.     Support infrastructure and staffing for collaborative cross-system coordination to
              prevent opioid misuse, prevent overdoses, and treat those with OUD and any co-
              occurring SUD/MH conditions, or implement other strategies to abate the opioid
              epidemic described in this opioid abatement strategy list (e.g., health care,
              primary care, pharmacies, PDMPs, etc.).

 L.    RESEARCH

       Support opioid abatement research that may include, but is not limited to, the following:

              1.      Monitoring, surveillance, data collection and evaluation of programs and
                      strategies described in this opioid abatement strategy list.

              2.      Research non-opioid treatment of chronic pain.

              3.      Research on improved service delivery for modalities such as SBIRT that
                      demonstrate promising but mixed results in populations vulnerable to
                      opioid use disorders.


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             4.    Research on novel harm reduction and prevention efforts such as the
                   provision of fentanyl test strips.

             5.    Research on innovative supply-side enforcement efforts such as improved
                   detection of mail-based delivery of synthetic opioids.

             6.    Expanded research on swift/certain/fair models to reduce and deter opioid
                   misuse within criminal justice populations that build upon promising
                   approaches used to address other substances (e.g., Hawaii HOPE and
                   Dakota 24/7).

             7.    Epidemiological surveillance of OUD-related behaviors in critical
                   populations, including individuals entering the criminal justice system,
                   including, but not limited to approaches modeled on the Arrestee Drug
                   Abuse Monitoring (“ADAM”) system.

             8.    Qualitative and quantitative research regarding public health risks and
                   harm reduction opportunities within illicit drug markets, including surveys
                   of market participants who sell or distribute illicit opioids.

             9.    Geospatial analysis of access barriers to MAT and their association with
                   treatment engagement and treatment outcomes.




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                                     EXHIBIT F

                   List of States and Overall Allocation Percentages

                            Alabama              1.6419290312%
                             Alaska              0.2584550539%
                       American Samoa            0.0174042885%
                             Arizona             2.3755949882%
                            Arkansas             0.9663486633%
                           California            9.9213830698%
                            Colorado             1.6616291219%
                          Connecticut            1.3343523420%
                            Delaware             0.4900019063%
                      District of Columbia       0.2048876457%
                             Florida             7.0259134409%
                             Georgia             2.7882080114%
                              Guam               0.0509264160%
                             Hawaii              0.3418358185%
                              Idaho              0.5254331620%
                             Illinois            3.3263363702%
                             Indiana             2.2168933059%
                              Iowa               0.7579283477%
                             Kansas              0.8042000625%
                            Kentucky             2.0929730531%
                           Louisiana             1.5154431983%
                              Maine              0.5613880586%
                           Maryland              2.1106090494%
                         Massachusetts           2.3035761083%
                            Michigan             3.4020234989%
                           Minnesota             1.2972597706%
                           Mississippi           0.8898883053%
                            Missouri             2.0056475170%
                            Montana              0.3421667920%
                      N. Mariana Islands         0.0185877315%
                            Nebraska             0.4291907949%
                             Nevada              1.2486754235%
                        New Hampshire            0.6258752503%
                           New Jersey            2.7551354545%
                          New Mexico             0.8557238713%
                           New York              5.3903813405%


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                        North Carolina         3.2502525994%
                         North Dakota          0.1858703224%
                             Ohio              4.3567051408%
                          Oklahoma             1.5831626090%
                            Oregon             1.4236951885%
                         Pennsylvania          4.5882419559%
                          Puerto Rico          0.7263201134%
                         Rhode Island          0.4895626814%
                        South Carolina         1.5834654145%
                         South Dakota          0.2169945907%
                           Tennessee           2.6881474977%
                             Texas             6.2932157196%
                             Utah              1.1889437113%
                           Vermont             0.2844241374%
                        Virgin Islands         0.0340410553%
                            Virginia           2.2801150757%
                          Washington           2.3189040182%
                           Wisconsin           1.7582560561%
                           Wyoming             0.1954758491%




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                                           EXHIBIT G

  Subdivisions Eligible to Receive Direct Allocations from the Subdivision Fund and Default
                           Subdivision Fund Allocation Percentages

 The Subdivisions set forth on this Exhibit G are eligible to receive direct allocations from the
 Subdivision Fund, if such Subdivisions are otherwise eligible to receive such funds under this
 Agreement. By default, the Subdivisions set forth on this Exhibit G shall include: (1) all
 Litigating Subdivisions that are General Purpose Governments; (2) all counties and parishes in
 States with functional counties or parishes; (3) all Subdivisions that are the highest level of
 General Purpose Government in States without functional counties or parishes; and (4) all other
 Subdivisions that are General Purpose Governments with a population of 10,000 or greater. A
 State may elect to add any additional Subdivisions to this Exhibit G at any time prior to the
 Initial Participation Date.

 Immediately upon the effectiveness of any State-Subdivision Agreement, Allocation Statute,
 Statutory Trust, or voluntary redistribution allowed by Section V.D.3 (or upon the effectiveness
 of an amendment to any State-Subdivision Agreement, Allocation Statute, Statutory Trust, or
 voluntary redistribution allowed by Section V.D.3) that addresses allocation from the
 Subdivision Fund, whether before or after the Initial Participation Date, this Exhibit G will
 automatically be amended to reflect the allocation from the Subdivision Fund pursuant to the
 State-Subdivision Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution
 allowed by Section V.D.3.

 For the avoidance of doubt, inclusion on this Exhibit G shall not create any claim for any amount
 of the Settlement Fund, and no such amounts shall be allocated or distributed to any Subdivision
 included herein if such Subdivision does not otherwise meet all requirements to receive any such
 funds pursuant to this Agreement.

 The Parties recognize the benefits of remediation funds reaching all communities, including
 through direct payments from the Subdivision Fund. However, to promote efficiency in the use
 of such funds and avoid administratively-burdensome disbursements that would be too small to
 add a meaningful abatement response, certain Subdivisions do not receive a direct allocation
 from the Subdivision Fund. However, such Subdivisions will benefit from Opioid Remediation
 in their community, and are eligible to receive direct benefits from the Abatement Accounts
 Fund in their State. All settlement funds, whether allocated to a Settling State, an Abatement
 Accounts Fund or a Subdivision listed on this Exhibit G can be used for Opioid Remediation in
 communities not listed herein.

 As provided by Section V.D.4.c, the Allocation Percentages shown below apply to distribution
 of each Settling State’s Subdivision Fund in the absence of a State-Subdivision Agreement,
 Allocation Statute, or Statutory Trust. The allocation that would have otherwise gone to General
 Purpose Government Subdivisions not listed below as receiving a direct allocation shall be
 (1) directed to the county or parish in which such Subdivision is located in Settling States with
 functional counties or parishes if the relevant county or parish is a Participating Subdivision or
 (2) to the highest-level General Purpose Government in which such Subdivision is located in
 Settling States without functional counties or parishes if the relevant highest-level General


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 Purpose Government is a Participating Subdivision. Where the relevant county, parish or
 highest-level General Purpose Government is not a Participating Subdivision, allocations of
 General Purpose Subdivisions not listed below as eligible to become Participating Subdivisions
 shall be allocated pursuant to Section VII.I. The redirecting of funds described in this paragraph
 is intended to promote the efficient use of Opioid Remediation funds while keeping, where
 possible, local control of the distribution of those funds.




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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                   AL1          Abbeville City, Alabama             0.06627119585%
                   AL2          Alabaster City, Alabama              0.6171889697%
                   AL3          Albertville City, Alabama            0.3733736921%
                   AL4          Alexander City, Alabama              0.3851486869%
                   AL5          Anniston City, Alabama               0.9944963610%
                   AL6          Arab City, Alabama                   0.2389903171%
                   AL7          Argo Town, Alabama                   0.0297239135%
                   AL8          Ashland Town, Alabama                0.0484665799%
                   AL9          Ashville City, Alabama               0.0223377334%
                  AL10          Athens City, Alabama                 0.4343221616%
                  AL11          Attalla City, Alabama                0.2042660128%
                  AL12          Auburn City, Alabama                 0.6130747449%
                  AL13          Autauga County, Alabama              0.3128274268%
                  AL14          Baldwin County, Alabama              2.0634748791%
                  AL15          Barbour County, Alabama              0.0903480172%
                  AL16          Berry Town, Alabama                  0.0255807640%
                  AL17          Bessemer City, Alabama               0.7109947981%
                  AL18          Bibb County, Alabama                 0.4085288902%
                  AL19          Birmingham City, Alabama             5.1951777198%
                  AL20          Blount County, Alabama               0.9234442662%
                  AL21          Boaz City, Alabama                   0.2060136530%
                  AL22          Brent City, Alabama                  0.0773896125%
                  AL23          Bridgeport City, Alabama             0.0018784682%
                  AL24          Brookwood Town, Alabama              0.0086489962%
                  AL25          Brundidge City, Alabama              0.0135311792%
                  AL26          Bullock County, Alabama              0.0796915277%
                  AL27          Butler County, Alabama               0.1018481869%
                  AL28          Butler Town, Alabama                 0.0667162698%
                  AL29          Calera City, Alabama                 0.3019414983%
                  AL30          Calhoun County, Alabama              0.9063882548%
                  AL31          Camp Hill Town, Alabama              0.0075417001%
                  AL32          Carbon Hill City, Alabama            0.1157840003%
                  AL33          Cedar Bluff Town, Alabama            0.0710934048%
                  AL34          Center Point City, Alabama           0.0133238453%
                  AL35          Centre City, Alabama                 0.1794085265%
                  AL36          Centreville City, Alabama            0.0284520830%
                  AL37          Chambers County, Alabama             0.5294659792%
                  AL38          Chelsea City, Alabama                0.0979008483%
                  AL39          Cherokee County, Alabama             0.3783571512%
                  AL40          Cherokee Town, Alabama               0.0103977337%
                  AL41          Chickasaw City, Alabama              0.1001322936%
                  AL42          Chilton County, Alabama              0.8173656065%
                  AL43          Choctaw County, Alabama              0.1561299913%
                  AL44          Clanton City, Alabama                0.2095674884%
                  AL45          Clarke County, Alabama               0.2981268690%
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  Subject to Protective Order
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AL46          Clay County, Alabama                 0.2055803292%
                  AL47          Cleburne County, Alabama             0.2547084960%
                  AL48          Cleveland Town, Alabama              0.0158272938%
                  AL49          Coffee County, Alabama               0.3871019364%
                  AL50          Colbert County, Alabama              0.3952915058%
                  AL51          Conecuh County, Alabama              0.1917624100%
                  AL52          Coosa County, Alabama                0.1512040683%
                  AL53          Cordova City, Alabama                0.1187316683%
                  AL54          Covington County, Alabama            0.5672964503%
                  AL55          Crenshaw County, Alabama             0.1784911624%
                  AL56          Cullman City, Alabama                0.6679011044%
                  AL57          Cullman County, Alabama              1.1134158448%
                  AL58          Dadeville City, Alabama              0.0300245280%
                  AL59          Dale County, Alabama                 0.3019563918%
                  AL60          Daleville City, Alabama              0.0962526030%
                  AL61          Dallas County, Alabama               0.2567973552%
                  AL62          Daphne City, Alabama                 0.3989058561%
                  AL63          Dauphin Island Town, Alabama         0.0572637276%
                  AL64          De Kalb County, Alabama              0.4973559628%
                  AL65          Decatur City, Alabama                2.3386961003%
                  AL66          Demopolis City, Alabama              0.1816852795%
                  AL67          Dora City, Alabama                   0.1147227959%
                  AL68          Dothan City, Alabama                 1.3536717998%
                  AL69          Double Springs Town, Alabama         0.0996372007%
                  AL70          Douglas Town, Alabama                0.0012077099%
                  AL71          Elmore County, Alabama               0.8969718491%
                  AL72          Enterprise City, Alabama             0.4127585791%
                  AL73          Escambia County, Alabama             1.1167843731%
                  AL74          Etowah County, Alabama               1.2766481766%
                  AL75          Eufaula City, Alabama                0.2639455521%
                  AL76          Evergreen City, Alabama              0.0514630047%
                  AL77          Fairfield City, Alabama              0.1452503338%
                  AL78          Fairhope City, Alabama               0.2772141345%
                  AL79          Faunsdale Town, Alabama              0.0003422380%
                  AL80          Fayette City, Alabama                0.0978658877%
                  AL81          Fayette County, Alabama              0.1722889409%
                  AL82          Florence City, Alabama               1.0811433319%
                  AL83          Foley City, Alabama                  0.4270075488%
                  AL84          Fort Deposit Town, Alabama           0.0064072822%
                  AL85          Fort Payne City, Alabama             0.7227097485%
                  AL86          Franklin County, Alabama             0.3576596677%
                  AL87          Fultondale City, Alabama             0.1183265638%
                  AL88          Gadsden City, Alabama                1.0385843165%
                  AL89          Gardendale City, Alabama             0.2060359149%
                  AL90          Geneva City, Alabama                 0.0824269236%
  Strictly Confidential
  Subject to Protective Order
                                                    G-4              Rule 408 Settlement Communication
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AL91          Geneva County, Alabama               0.2739977555%
                  AL92          Georgiana Town, Alabama              0.0227624346%
                  AL93          Geraldine Town, Alabama              0.0136718056%
                  AL94          Gilbertown, Alabama                  0.0025025078%
                  AL95          Grant Town, Alabama                  0.0211355106%
                  AL96          Graysville City, Alabama             0.0457358873%
                  AL97          Greene County, Alabama               0.0875741333%
                  AL98          Greensboro City, Alabama             0.0309843779%
                  AL99          Greenville City, Alabama             0.2124811365%
                  AL100         Guin City, Alabama                   0.0314779814%
                  AL101         Gulf Shores City, Alabama            0.6056928761%
                  AL102         Guntersville City, Alabama           0.3155832033%
                  AL103         Gurley Town, Alabama                 0.0093323748%
                  AL104         Hale County, Alabama                 0.1637537628%
                  AL105         Haleyville City, Alabama             0.1770448423%
                  AL106         Hamilton City, Alabama               0.1121404116%
                  AL107         Hammondville Town, Alabama           0.0060874629%
                  AL108         Hartselle City, Alabama              0.0789440285%
                  AL109         Headland City, Alabama               0.0779554889%
                  AL110         Helena City, Alabama                 0.1730779069%
                  AL111         Henagar City, Alabama                0.0426121618%
                  AL112         Henry County, Alabama                0.1009958841%
                  AL113         Homewood City, Alabama               0.4850077231%
                  AL114         Hoover City, Alabama                 1.7195559976%
                  AL115         Houston County, Alabama              0.6936619236%
                  AL116         Hueytown City, Alabama               0.2414165543%
                  AL117         Huntsville City, Alabama             3.9595244225%
                  AL118         Irondale City, Alabama               0.2105232622%
                  AL119         Jackson County, Alabama              0.1962652779%
                  AL120         Jacksonville City, Alabama           0.3105081880%
                  AL121         Jasper City, Alabama                 1.7503666697%
                  AL122         Jefferson County, Alabama            6.8382172586%
                  AL123         Killen Town, Alabama                 0.0227596127%
                  AL124         Lamar County, Alabama                0.2021296511%
                  AL125         Lanett City, Alabama                 0.1589197878%
                  AL126         Lauderdale County, Alabama           0.5802461540%
                  AL127         Lawrence County, Alabama             0.5631404452%
                  AL128         Lee County, Alabama                  0.4246557010%
                  AL129         Leeds City, Alabama                  0.1861377445%
                  AL130         Leesburg Town, Alabama               0.0238219145%
                  AL131         Leighton Town, Alabama               0.0070110196%
                  AL132         Level Plains Town, Alabama           0.0043528350%
                  AL133         Limestone County, Alabama            0.7224429188%
                  AL134         Lincoln City, Alabama                0.2292674962%
                  AL135         Linden City, Alabama                 0.0213299890%
  Strictly Confidential
  Subject to Protective Order
                                                    G-5              Rule 408 Settlement Communication
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AL136         Locust Fork Town, Alabama            0.0048521608%
                  AL137         Louisville Town, Alabama             0.0057506336%
                  AL138         Lowndes County, Alabama              0.0861816651%
                  AL139         Luverne City, Alabama                0.0190236841%
                  AL140         Macon County, Alabama                0.1694431760%
                  AL141         Madison City, Alabama                0.5846219564%
                  AL142         Madison County, Alabama              1.6293910926%
                  AL143         Marengo County, Alabama              0.0618303242%
                  AL144         Marion City, Alabama                 0.0292415194%
                  AL145         Marion County, Alabama               0.2768266672%
                  AL146         Marshall County, Alabama             0.9207690717%
                  AL147         McKenzie Town, Alabama               0.0054696942%
                  AL148         Midfield City, Alabama               0.0004832564%
                  AL149         Millbrook City, Alabama              0.3073353922%
                  AL150         Mobile City, Alabama                 4.0071939625%
                  AL151         Mobile County, Alabama               3.4791001492%
                  AL152         Monroe County, Alabama               0.2337315625%
                  AL153         Monroeville City, Alabama            0.1318467688%
                  AL154         Montgomery City, Alabama             2.2065641592%
                  AL155         Montgomery County, Alabama           1.2171333286%
                  AL156         Moody City, Alabama                  0.0449529570%
                  AL157         Morgan County, Alabama               0.3895218242%
                  AL158         Moulton City, Alabama                0.1681814574%
                  AL159         Mountain Brook City, Alabama         0.4426545523%
                  AL160         Munford Town, Alabama                0.0300193545%
                  AL161         Muscle Shoals City, Alabama          0.3330834343%
                  AL162         Nauvoo Town, Alabama                 0.0232233507%
                  AL163         New Hope City, Alabama               0.0162383556%
                  AL164         Northport City, Alabama              0.5266238986%
                  AL165         Oakman Town, Alabama                 0.0520189259%
                  AL166         Oneonta City, Alabama                0.3357228843%
                  AL167         Opelika City, Alabama                0.6661958717%
                  AL168         Opp City, Alabama                    0.1150332087%
                  AL169         Orange Beach City, Alabama           0.3652233162%
                  AL170         Oxford City, Alabama                 0.4374960548%
                  AL171         Ozark City, Alabama                  0.3662502655%
                  AL172         Parrish Town, Alabama                0.1450906593%
                  AL173         Pelham City, Alabama                 0.8534195126%
                  AL174         Pell City, Alabama                   0.5517832536%
                  AL175         Perry County, Alabama                0.0631687837%
                  AL176         Phenix City, Alabama                 0.7771409586%
                  AL177         Pickens County, Alabama              0.3558519831%
                  AL178         Piedmont City, Alabama               0.1781464160%
                  AL179         Pike County, Alabama                 0.0368936669%
                  AL180         Pike Road Town, Alabama              0.0143829333%
  Strictly Confidential
  Subject to Protective Order
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AL181         Pleasant Grove City, Alabama         0.0641682975%
                  AL182         Powell Town, Alabama                 0.0065863967%
                  AL183         Prattville City, Alabama             0.7490442043%
                  AL184         Priceville Town, Alabama             0.0151182042%
                  AL185         Prichard City, Alabama               0.1366181125%
                  AL186         Ragland Town, Alabama                0.0188691047%
                  AL187         Rainbow City, Alabama                0.1671141388%
                  AL188         Rainsville City, Alabama             0.2336182932%
                  AL189         Randolph County, Alabama             0.3557811211%
                  AL190         Red Bay City, Alabama                0.0779028128%
                  AL191         Robertsdale City, Alabama            0.1063320852%
                  AL192         Rockford Town, Alabama               0.0073077147%
                  AL193         Russell County, Alabama              0.2115303795%
                  AL194         Russellville City, Alabama           0.3934484686%
                  AL195         Saraland City, Alabama               0.3084999108%
                  AL196         Satsuma City, Alabama                0.0777247957%
                  AL197         Scottsboro City, Alabama             0.8238374013%
                  AL198         Selma City, Alabama                  0.3277085100%
                  AL199         Sheffield City, Alabama              0.1998144101%
                  AL200         Shelby County, Alabama               2.0952362298%
                  AL201         Sipsey Town, Alabama                 0.0466668907%
                  AL202         Slocomb City, Alabama                0.0549263030%
                  AL203         Spanish Fort City, Alabama           0.0364976554%
                  AL204         Springville City, Alabama            0.0717767051%
                  AL205         St Clair County, Alabama             1.2885695986%
                  AL206         Sumiton City, Alabama                0.2887687049%
                  AL207         Sumter County, Alabama               0.1466740785%
                  AL208         Sweet Water Town, Alabama            0.0003724954%
                  AL209         Sylacauga City, Alabama              0.2865998126%
                  AL210         Talladega City, Alabama              0.2833254271%
                  AL211         Talladega County, Alabama            0.7605670279%
                  AL212         Tallapoosa County, Alabama           0.2417311217%
                  AL213         Tarrant City, Alabama                0.1142189236%
                  AL214         Thomasville City, Alabama            0.1099082609%
                  AL215         Troy City, Alabama                   0.4075231055%
                  AL216         Trussville City, Alabama             0.3035362052%
                  AL217         Tuscaloosa City, Alabama             2.4225445737%
                  AL218         Tuscaloosa County, Alabama           1.2570515614%
                  AL219         Tuscumbia City, Alabama              0.1046901892%
                  AL220         Tuskegee City, Alabama               0.1139634601%
                  AL221         Union Springs City, Alabama          0.0525288339%
                  AL222         Uniontown, Alabama                   0.0225281356%
                  AL223         Vance Town, Alabama                  0.0119552851%
                  AL224         Vernon City, Alabama                 0.0393683473%
                  AL225         Vestavia Hills City, Alabama         0.3828440282%
  Strictly Confidential
  Subject to Protective Order
                                                    G-7              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 145 of 611. PageID #: 572429
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  AL226         Walker County, Alabama              1.8171292663%
                  AL227         Washington County, Alabama          0.2003164794%
                  AL228         Weaver City, Alabama                0.0524883078%
                  AL229         West Blocton Town, Alabama          0.0502179042%
                  AL230         Wilcox County, Alabama              0.1091455545%
                  AL231         Winfield City, Alabama              0.2361910358%
                  AL232         Winston County, Alabama             0.2200911901%
                  AL233         Woodville Town, Alabama             0.0005726961%
                  AL234         Yellow Bluff Town, Alabama          0.0036386502%




  Strictly Confidential
  Subject to Protective Order
                                                    G-8             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 146 of 611. PageID #: 572430
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                   AK1          Anchorage Municipality, Alaska           47.6578000000%
                   AK2          Fairbanks City, Alaska                    5.1226000000%
                   AK3          Fairbanks North Star Borough, Alaska     10.9627000000%
                   AK4          Juneau City and Borough, Alaska           5.2324000000%
                   AK5          Kenai Peninsula Borough, Alaska           9.4922000000%
                   AK6          Ketchikan Gateway Borough, Alaska         2.2406000000%
                   AK7          Kodiak Island Borough, Alaska             2.1839000000%
                   AK8          Matanuska-Susitna Borough, Alaska        15.4726000000%
                   AK9          Wasilla City, Alaska                      1.6351000000%




  Strictly Confidential
  Subject to Protective Order
                                                    G-9                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 147 of 611. PageID #: 572431
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   AZ1          Apache County, Arizona               0.3907470000%
                   AZ2          Apache Junction City, Arizona        0.2201340000%
                   AZ3          Avondale City, Arizona               0.5677140000%
                   AZ4          Benson City, Arizona                 0.0652960000%
                   AZ5          Bisbee City, Arizona                 0.0643685000%
                   AZ6          Buckeye City, Arizona                0.2664780000%
                   AZ7          Bullhead City, Arizona               0.6416380000%
                   AZ8          Camp Verde Town, Arizona             0.0416227000%
                   AZ9          Carefree Town, Arizona               0.0231720000%
                  AZ10          Casa Grande City, Arizona            0.2125144000%
                  AZ11          Cave Creek Town, Arizona             0.0347580000%
                  AZ12          Chandler City, Arizona               1.6567980000%
                  AZ13          Chino Valley Town, Arizona           0.0291788000%
                  AZ14          Clarkdale Town, Arizona              0.0308952000%
                  AZ15          Clifton Town, Arizona                0.0102870000%
                  AZ16          Cochise County, Arizona              1.1773685000%
                  AZ17          Coconino County, Arizona             1.2011808000%
                  AZ18          Colorado City Town, Arizona          0.0298778000%
                  AZ19          Coolidge City, Arizona               0.0644448000%
                  AZ20          Cottonwood City, Arizona             0.2098299000%
                  AZ21          Dewey-Humboldt Town, Arizona         0.0660814000%
                  AZ22          Douglas City, Arizona                0.1565620000%
                  AZ23          Duncan Town, Arizona                 0.0002520000%
                  AZ24          Eagar Town, Arizona                  0.1425540000%
                  AZ25          El Mirage City, Arizona              0.2259270000%
                  AZ26          Eloy City, Arizona                   1.3418328000%
                  AZ27          Flagstaff City, Arizona              0.3114360000%
                  AZ28          Florence Town, Arizona               0.0456484000%
                  AZ29          Fountain Hills Town, Arizona         0.0984810000%
                  AZ30          Fredonia Town, Arizona               0.0052328000%
                  AZ31          Gila Bend Town, Arizona              0.0173790000%
                  AZ32          Gila County, Arizona                 0.7780446000%
                  AZ33          Gilbert Town, Arizona                0.9906030000%
                  AZ34          Glendale City, Arizona               1.5235590000%
                  AZ35          Globe City, Arizona                  0.1168266000%
                  AZ36          Goodyear City, Arizona               0.4402680000%
                  AZ37          Graham County, Arizona               0.4476494000%
                  AZ38          Greenlee County, Arizona             0.0794610000%
                  AZ39          Guadalupe Town, Arizona              0.0000000000%
                  AZ40          Hayden Town, Arizona                 0.0263802000%
                  AZ41          Holbrook City, Arizona               0.0575625000%
                  AZ42          Huachuca City Town, Arizona          0.0168805000%
                  AZ43          Jerome Town, Arizona                 0.0012873000%
                  AZ44          Kearny Town, Arizona                 0.0107408000%
                  AZ45          Kingman City, Arizona                0.4853918000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-10              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 148 of 611. PageID #: 572432
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AZ46          La Paz County, Arizona               0.2670171000%
                  AZ47          Lake Havasu City, Arizona            0.6793526000%
                  AZ48          Litchfield Park City, Arizona        0.0231720000%
                  AZ49          Mammoth Town, Arizona                0.0061376000%
                  AZ50          Marana Town, Arizona                 0.3841282000%
                  AZ51          Maricopa City, Arizona               0.1047228000%
                  AZ52          Maricopa County, Arizona            29.8513290000%
                  AZ53          Mesa City, Arizona                   3.5105580000%
                  AZ54          Miami Town, Arizona                  0.0309482000%
                  AZ55          Mohave County, Arizona               3.0617398000%
                  AZ56          Navajo County, Arizona               1.0789515000%
                  AZ57          Nogales City, Arizona                0.0834350000%
                  AZ58          Oro Valley Town, Arizona             0.3207284000%
                  AZ59          Page City, Arizona                   0.0575608000%
                  AZ60          Paradise Valley Town, Arizona        0.1969620000%
                  AZ61          Parker Town, Arizona                 0.0156219000%
                  AZ62          Patagonia Town, Arizona              0.0024790000%
                  AZ63          Payson Town, Arizona                 0.1846614000%
                  AZ64          Peoria City, Arizona                 0.8747430000%
                  AZ65          Phoenix City, Arizona               12.3275040000%
                  AZ66          Pima County, Arizona                13.4612693000%
                  AZ67          Pima Town, Arizona                   0.0159618000%
                  AZ68          Pinal County, Arizona                2.0334636000%
                  AZ69          Pinetop-Lakeside Town, Arizona       0.0729125000%
                  AZ70          Prescott City, Arizona               0.5917289000%
                  AZ71          Prescott Valley Town, Arizona        0.3471419000%
                  AZ72          Quartzsite Town, Arizona             0.0183911000%
                  AZ73          Queen Creek Town, Arizona            0.0637230000%
                  AZ74          Safford City, Arizona                0.1929077000%
                  AZ75          Sahuarita Town, Arizona              0.1510407000%
                  AZ76          San Luis City, Arizona               0.0963840000%
                  AZ77          Santa Cruz County, Arizona           0.2840860000%
                  AZ78          Scottsdale City, Arizona             2.3114070000%
                  AZ79          Sedona City, Arizona                 0.0690392000%
                  AZ80          Show Low City, Arizona               0.1441365000%
                  AZ81          Sierra Vista City, Arizona           0.3084865000%
                  AZ82          Snowflake Town, Arizona              0.0451290000%
                  AZ83          Somerton City, Arizona               0.0449792000%
                  AZ84          South Tucson City, Arizona           0.0578057000%
                  AZ85          Springerville Town, Arizona          0.0740370000%
                  AZ86          St. Johns City, Arizona              0.0826620000%
                  AZ87          Star Valley Town, Arizona            0.0039970000%
                  AZ88          Superior Town, Arizona               0.0168784000%
                  AZ89          Surprise City, Arizona               0.5677140000%
                  AZ90          Taylor Town, Arizona                 0.0411380000%
  Strictly Confidential
  Subject to Protective Order
                                                    G-11             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 149 of 611. PageID #: 572433
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  AZ91          Tempe City, Arizona                 1.8943110000%
                  AZ92          Thatcher Town, Arizona              0.0624092000%
                  AZ93          Tolleson City, Arizona              0.1564110000%
                  AZ94          Tombstone City, Arizona             0.0215180000%
                  AZ95          Tucson City, Arizona                4.2720277000%
                  AZ96          Tusayan Town, Arizona               0.0113096000%
                  AZ97          Wellton Town, Arizona               0.0122488000%
                  AZ98          Wickenburg Town, Arizona            0.0579300000%
                  AZ99          Willcox City, Arizona               0.0443345000%
                  AZ100         Williams City, Arizona              0.0324096000%
                  AZ101         Winkelman Town, Arizona             0.0011420000%
                  AZ102         Winslow City, Arizona               0.0950165000%
                  AZ103         Yavapai County, Arizona             2.9740921000%
                  AZ104         Youngtown, Arizona                  0.0289650000%
                  AZ105         Yuma City, Arizona                  0.5285056000%
                  AZ106         Yuma County, Arizona                1.3258824000%




  Strictly Confidential
  Subject to Protective Order
                                                   G-12             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 150 of 611. PageID #: 572434
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   AR1          Adona City, Arkansas                 0.0020790506%
                   AR2          Alexander City, Arkansas             0.0103476018%
                   AR3          Alicia Town, Arkansas                0.0002309579%
                   AR4          Allport Town, Arkansas               0.0026587350%
                   AR5          Alma City, Arkansas                  0.1875236673%
                   AR6          Almyra Town, Arkansas                0.0010881066%
                   AR7          Alpena Town, Arkansas                0.0141319347%
                   AR8          Altheimer City, Arkansas             0.0071081808%
                   AR9          Altus City, Arkansas                 0.0161149675%
                  AR10          Amagon Town, Arkansas                0.0016587759%
                  AR11          Amity City, Arkansas                 0.0105947297%
                  AR12          Anthonyville Town, Arkansas          0.0010978372%
                  AR13          Antoine Town, Arkansas               0.0010576270%
                  AR14          Arkadelphia City, Arkansas           0.2710593166%
                  AR15          Arkansas City, Arkansas              0.0026365550%
                  AR16          Arkansas County, Arkansas            0.2272004928%
                  AR17          Ash Flat City, Arkansas              0.0560964456%
                  AR18          Ashdown City, Arkansas               0.0210645360%
                  AR19          Ashley County, Arkansas              0.3024558569%
                  AR20          Atkins City, Arkansas                0.0507540769%
                  AR21          Aubrey Town, Arkansas                0.0021166850%
                  AR22          Augusta City, Arkansas               0.0134645321%
                  AR23          Austin City, Arkansas                0.0201747613%
                  AR24          Avoca Town, Arkansas                 0.0030227727%
                  AR25          Bald Knob City, Arkansas             0.1048227005%
                  AR26          Banks Town, Arkansas                 0.0006822846%
                  AR27          Barling City, Arkansas               0.1588678563%
                  AR28          Bassett Town, Arkansas               0.0011499243%
                  AR29          Batesville City, Arkansas            0.1318965785%
                  AR30          Bauxite Town, Arkansas               0.0049816222%
                  AR31          Baxter County, Arkansas              0.8690235470%
                  AR32          Bay City, Arkansas                   0.0250493472%
                  AR33          Bearden City, Arkansas               0.0161101022%
                  AR34          Beaver Town, Arkansas                0.0051365958%
                  AR35          Beebe City, Arkansas                 0.2412092213%
                  AR36          Beedeville Town, Arkansas            0.0018030172%
                  AR37          Bella Vista City, Arkansas           0.5136648745%
                  AR38          Bellefonte Town, Arkansas            0.0008435545%
                  AR39          Belleville City, Arkansas            0.0050880860%
                  AR40          Ben Lomond Town, Arkansas            0.0012499489%
                  AR41          Benton City, Arkansas                1.3762616667%
                  AR42          Benton County, Arkansas              2.1391978253%
                  AR43          Bentonville City, Arkansas           1.3212148347%
                  AR44          Bergman Town, Arkansas               0.0080191338%
                  AR45          Berryville City, Arkansas            0.1767673815%
  Strictly Confidential
  Subject to Protective Order
                                                    G-13             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 151 of 611. PageID #: 572435
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AR46          Bethel Heights City, Arkansas        0.0550911920%
                  AR47          Big Flat Town, Arkansas              0.0005552148%
                  AR48          Bigelow Town, Arkansas               0.0028351731%
                  AR49          Biggers Town, Arkansas               0.0002571446%
                  AR50          Birdsong Town, Arkansas              0.0001210597%
                  AR51          Black Oak Town, Arkansas             0.0003079439%
                  AR52          Black Rock City, Arkansas            0.0020552966%
                  AR53          Black Springs Town, Arkansas         0.0007714338%
                  AR54          Blevins City, Arkansas               0.0042289340%
                  AR55          Blue Eye Town, Arkansas              0.0007084713%
                  AR56          Blue Mountain Town, Arkansas         0.0023457827%
                  AR57          Bluff City Town, Arkansas            0.0001956131%
                  AR58          Blytheville City, Arkansas           0.3444881956%
                  AR59          Bodcaw Town, Arkansas                0.0004892473%
                  AR60          Bonanza City, Arkansas               0.0271534397%
                  AR61          Bono City, Arkansas                  0.0166311169%
                  AR62          Boone County, Arkansas               0.6844345049%
                  AR63          Booneville City, Arkansas            0.2395670446%
                  AR64          Bradford City, Arkansas              0.0196136795%
                  AR65          Bradley City, Arkansas               0.0127167093%
                  AR66          Bradley County, Arkansas             0.0903557767%
                  AR67          Branch City, Arkansas                0.0001595527%
                  AR68          Briarcliff City, Arkansas            0.0001841653%
                  AR69          Brinkley City, Arkansas              0.0788794288%
                  AR70          Brookland City, Arkansas             0.0336729211%
                  AR71          Bryant City, Arkansas                1.0536173112%
                  AR72          Buckner City, Arkansas               0.0065180504%
                  AR73          Bull Shoals City, Arkansas           0.0692543217%
                  AR74          Burdette Town, Arkansas              0.0001210597%
                  AR75          Cabot City, Arkansas                 0.9626014299%
                  AR76          Caddo Valley Town, Arkansas          0.0447599031%
                  AR77          Caldwell Town, Arkansas              0.0042239256%
                  AR78          Cale Town, Arkansas                  0.0007827384%
                  AR79          Calhoun County, Arkansas             0.1397959405%
                  AR80          Calico Rock City, Arkansas           0.0024459503%
                  AR81          Calion City, Arkansas                0.0029361993%
                  AR82          Camden City, Arkansas                0.4098542963%
                  AR83          Cammack Village City, Arkansas       0.0112054660%
                  AR84          Campbell Station City, Arkansas      0.0043090681%
                  AR85          Caraway City, Arkansas               0.0225855098%
                  AR86          Carlisle City, Arkansas              0.1468534652%
                  AR87          Carroll County, Arkansas             0.5928260605%
                  AR88          Carthage City, Arkansas              0.0016610654%
                  AR89          Casa Town, Arkansas                  0.0015121018%
                  AR90          Cash Town, Arkansas                  0.0012319187%
  Strictly Confidential
  Subject to Protective Order
                                                   G-14              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 152 of 611. PageID #: 572436
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID               Qualifying Subdivision       Allocation
                  AR91          Caulksville Town, Arkansas           0.0006928738%
                  AR92          Cave City, Arkansas                  0.0850463202%
                  AR93          Cave Springs City, Arkansas          0.0320796835%
                  AR94          Cedarville City, Arkansas            0.0178802072%
                  AR95          Centerton City, Arkansas             0.1131077079%
                  AR96          Central City Town, Arkansas          0.0174268772%
                  AR97          Charleston City, Arkansas            0.0410054775%
                  AR98          Cherokee Village City, Arkansas      0.2125413902%
                  AR99          Cherry Valley City, Arkansas         0.0081466329%
                  AR100         Chester Town, Arkansas               0.0004361585%
                  AR101         Chicot County, Arkansas              0.2832352637%
                  AR102         Chidester City, Arkansas             0.0007419559%
                  AR103         Clarendon City, Arkansas             0.0270484068%
                  AR104         Clark County, Arkansas               0.3342708117%
                  AR105         Clarksville City, Arkansas           0.2458837581%
                  AR106         Clay County, Arkansas                0.0481079345%
                  AR107         Cleburne County, Arkansas            0.3503158049%
                  AR108         Cleveland County, Arkansas           0.1143679597%
                  AR109         Clinton City, Arkansas               0.0824034689%
                  AR110         Coal Hill City, Arkansas             0.1328713526%
                  AR111         Colt City, Arkansas                  0.0085205444%
                  AR112         Columbia County, Arkansas            0.0678054686%
                  AR113         Concord Town, Arkansas               0.0150785188%
                  AR114         Conway City, Arkansas                2.0922743015%
                  AR115         Conway County, Arkansas              0.5138971203%
                  AR116         Corning City, Arkansas               0.0191809554%
                  AR117         Cotter City, Arkansas                0.0233925747%
                  AR118         Cotton Plant City, Arkansas          0.0024986099%
                  AR119         Cove Town, Arkansas                  0.0001777260%
                  AR120         Coy Town, Arkansas                   0.0078196572%
                  AR121         Craighead County, Arkansas           0.9265189050%
                  AR122         Crawford County, Arkansas            0.9565887967%
                  AR123         Crawfordsville Town, Arkansas        0.0037229444%
                  AR124         Crittenden County, Arkansas          0.4864689351%
                  AR125         Cross County, Arkansas               0.3114968436%
                  AR126         Crossett City, Arkansas              0.2482926464%
                  AR127         Cushman City, Arkansas               0.0031235127%
                  AR128         Daisy Town, Arkansas                 0.0019036142%
                  AR129         Dallas County, Arkansas              0.1170103816%
                  AR130         Damascus Town, Arkansas              0.0328833141%
                  AR131         Danville City, Arkansas              0.0554598088%
                  AR132         Dardanelle City, Arkansas            0.1270318663%
                  AR133         Datto Town, Arkansas                 0.0002041989%
                  AR134         De Queen City, Arkansas              0.1825177187%
                  AR135         De Valls Bluff City, Arkansas        0.0153369512%
  Strictly Confidential
  Subject to Protective Order
                                                    G-15             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 153 of 611. PageID #: 572437
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AR136         Decatur City, Arkansas               0.0461206088%
                  AR137         Delaplaine Town, Arkansas            0.0012409338%
                  AR138         Delight City, Arkansas               0.0019036142%
                  AR139         Dell Town, Arkansas                  0.0049627334%
                  AR140         Denning Town, Arkansas               0.0066893371%
                  AR141         Dermott City, Arkansas               0.0098811069%
                  AR142         Des Arc City, Arkansas               0.0461902968%
                  AR143         Desha County, Arkansas               0.1880442527%
                  AR144         Dewitt City, Arkansas                0.0561472449%
                  AR145         Diamond City, Arkansas               0.0067481498%
                  AR146         Diaz City, Arkansas                  0.0144799456%
                  AR147         Dierks City, Arkansas                0.0109843817%
                  AR148         Donaldson Town, Arkansas             0.0097288521%
                  AR149         Dover City, Arkansas                 0.0357561215%
                  AR150         Drew County, Arkansas                0.4312385101%
                  AR151         Dumas City, Arkansas                 0.0345209116%
                  AR152         Dyer City, Arkansas                  0.0039248537%
                  AR153         Dyess Town, Arkansas                 0.0004842389%
                  AR154         Earle City, Arkansas                 0.0169920066%
                  AR155         East Camden Town, Arkansas           0.0077825952%
                  AR156         Edmondson Town, Arkansas             0.0080664988%
                  AR157         Egypt Town, Arkansas                 0.0007186312%
                  AR158         El Dorado City, Arkansas             0.7549722601%
                  AR159         Elaine City, Arkansas                0.0061272536%
                  AR160         Elkins City, Arkansas                0.0584820092%
                  AR161         Elm Springs City, Arkansas           0.0169270407%
                  AR162         Emerson Town, Arkansas               0.0007712907%
                  AR163         Emmet City, Arkansas                 0.0006732695%
                  AR164         England City, Arkansas               0.1277733929%
                  AR165         Enola Town, Arkansas                 0.0166283981%
                  AR166         Etowah Town, Arkansas                0.0016945500%
                  AR167         Eudora City, Arkansas                0.0090127967%
                  AR168         Eureka Springs City, Arkansas        0.3891361972%
                  AR169         Evening Shade City, Arkansas         0.0112877465%
                  AR170         Everton Town, Arkansas               0.0023825585%
                  AR171         Fairfield Bay City, Arkansas         0.0994183710%
                  AR172         Fargo Town, Arkansas                 0.0003540210%
                  AR173         Farmington City, Arkansas            0.0908450240%
                  AR174         Faulkner County, Arkansas            1.0072116540%
                  AR175         Fayetteville City, Arkansas          2.1103658624%
                  AR176         Felsenthal Town, Arkansas            0.0017181610%
                  AR177         Fifty-Six City, Arkansas             0.0004614866%
                  AR178         Fisher City, Arkansas                0.0019605666%
                  AR179         Flippin City, Arkansas               0.0956901320%
                  AR180         Fordyce City, Arkansas               0.0545063561%
  Strictly Confidential
  Subject to Protective Order
                                                    G-16             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 154 of 611. PageID #: 572438
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  AR181         Foreman City, Arkansas                0.0020583016%
                  AR182         Forrest City, Arkansas                0.2961090931%
                  AR183         Fort Smith City, Arkansas             3.8434930088%
                  AR184         Fouke City, Arkansas                  0.0054372418%
                  AR185         Fountain Hill Town, Arkansas          0.0007150537%
                  AR186         Fountain Lake Town, Arkansas          0.0028270166%
                  AR187         Fourche Town, Arkansas                0.0009659021%
                  AR188         Franklin County, Arkansas             0.5981687154%
                  AR189         Franklin Town, Arkansas               0.0147063245%
                  AR190         Fredonia (Biscoe) Town, Arkansas      0.0078030580%
                  AR191         Friendship Town, Arkansas             0.0051302995%
                  AR192         Fulton County, Arkansas               0.4958178657%
                  AR193         Fulton Town, Arkansas                 0.0066352466%
                  AR194         Garfield Town, Arkansas               0.0074476060%
                  AR195         Garland County, Arkansas              1.7344021372%
                  AR196         Garland Town, Arkansas                0.0002891982%
                  AR197         Garner Town, Arkansas                 0.0077934705%
                  AR198         Gassville City, Arkansas              0.0727563250%
                  AR199         Gateway Town, Arkansas                0.0062878080%
                  AR200         Gentry City, Arkansas                 0.0904861377%
                  AR201         Georgetown, Arkansas                  0.0040265954%
                  AR202         Gilbert Town, Arkansas                0.0024831554%
                  AR203         Gillett City, Arkansas                0.0114616089%
                  AR204         Gillham Town, Arkansas                0.0013801668%
                  AR205         Gilmore City, Arkansas                0.0000954454%
                  AR206         Glenwood City, Arkansas               0.0480021861%
                  AR207         Goshen Town, Arkansas                 0.0031660124%
                  AR208         Gosnell City, Arkansas                0.0272347186%
                  AR209         Gould City, Arkansas                  0.0171248002%
                  AR210         Grady City, Arkansas                  0.0313103962%
                  AR211         Grannis City, Arkansas                0.0009242610%
                  AR212         Grant County, Arkansas                0.2664481715%
                  AR213         Gravette City, Arkansas               0.0803454535%
                  AR214         Green Forest City, Arkansas           0.1176088116%
                  AR215         Greenbrier City, Arkansas             0.0720066419%
                  AR216         Greene County, Arkansas               0.5298528213%
                  AR217         Greenland City, Arkansas              0.0237445924%
                  AR218         Greenway City, Arkansas               0.0004757962%
                  AR219         Greenwood City, Arkansas              0.2310067194%
                  AR220         Greers Ferry City, Arkansas           0.0499860774%
                  AR221         Griffithville Town, Arkansas          0.0045461792%
                  AR222         Grubbs City, Arkansas                 0.0056885194%
                  AR223         Guion Town, Arkansas                  0.0188333737%
                  AR224         Gum Springs Town, Arkansas            0.0030512489%
                  AR225         Gurdon City, Arkansas                 0.0633258293%
  Strictly Confidential
  Subject to Protective Order
                                                   G-17               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 155 of 611. PageID #: 572439
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  AR226         Guy City, Arkansas                     0.0155481618%
                  AR227         Hackett City, Arkansas                 0.0171567108%
                  AR228         Hamburg City, Arkansas                 0.0524650830%
                  AR229         Hampton City, Arkansas                 0.0149258347%
                  AR230         Hardy City, Arkansas                   0.0225704847%
                  AR231         Harrell Town, Arkansas                 0.0015608978%
                  AR232         Harrisburg City, Arkansas              0.0610374284%
                  AR233         Harrison City, Arkansas                0.7509041666%
                  AR234         Hartford City, Arkansas                0.0079703379%
                  AR235         Hartman City, Arkansas                 0.0041808536%
                  AR236         Haskell City, Arkansas                 0.0719017520%
                  AR237         Hatfield Town, Arkansas                0.0003119506%
                  AR238         Havana City, Arkansas                  0.0028832535%
                  AR239         Haynes Town, Arkansas                  0.0021807923%
                  AR240         Hazen City, Arkansas                   0.0648458015%
                  AR241         Heber Springs City, Arkansas           0.3767547633%
                  AR242         Hector Town, Arkansas                  0.0046732490%
                  AR243         Helena-West Helena City, Arkansas      0.1739214762%
                  AR244         Hempstead County, Arkansas             0.2734659153%
                  AR245         Hermitage City, Arkansas               0.0121839606%
                  AR246         Hickory Ridge City, Arkansas           0.0037770349%
                  AR247         Higden Town, Arkansas                  0.0085654767%
                  AR248         Higginson Town, Arkansas               0.0151972889%
                  AR249         Highfill Town, Arkansas                0.0156011076%
                  AR250         Highland City, Arkansas                0.0298718460%
                  AR251         Hindsville Town, Arkansas              0.0033816590%
                  AR252         Holland City, Arkansas                 0.0148864831%
                  AR253         Holly Grove City, Arkansas             0.0044608936%
                  AR254         Hope City, Arkansas                    0.2248866206%
                  AR255         Horatio City, Arkansas                 0.0029417800%
                  AR256         Horseshoe Bend City, Arkansas          0.1112109623%
                  AR257         Horseshoe Lake Town, Arkansas          0.0014319677%
                  AR258         Hot Spring County, Arkansas            0.4782149797%
                  AR259         Hot Springs City, Arkansas             3.5617977507%
                  AR260         Houston Town, Arkansas                 0.0052922849%
                  AR261         Howard County, Arkansas                0.1730249760%
                  AR262         Hoxie City, Arkansas                   0.0120318489%
                  AR263         Hughes City, Arkansas                  0.0113608689%
                  AR264         Humnoke City, Arkansas                 0.0148176536%
                  AR265         Humphrey City, Arkansas                0.0142685920%
                  AR266         Hunter Town, Arkansas                  0.0001735762%
                  AR267         Huntington City, Arkansas              0.0062142563%
                  AR268         Huntsville City, Arkansas              0.0854508543%
                  AR269         Huttig City, Arkansas                  0.0090756161%
                  AR270         Imboden Town, Arkansas                 0.0007621325%
  Strictly Confidential
  Subject to Protective Order
                                                   G-18                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 156 of 611. PageID #: 572440
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AR271         Independence County, Arkansas        1.0893020276%
                  AR272         Izard County, Arkansas               0.5513048629%
                  AR273         Jackson County, Arkansas             0.1817241049%
                  AR274         Jacksonport Town, Arkansas           0.0050680525%
                  AR275         Jacksonville City, Arkansas          2.6389305280%
                  AR276         Jasper City, Arkansas                0.0070526594%
                  AR277         Jefferson County, Arkansas           0.5992841535%
                  AR278         Jennette Town, Arkansas              0.0012409338%
                  AR279         Jericho Town, Arkansas               0.0009641849%
                  AR280         Jerome Town, Arkansas                0.0001957562%
                  AR281         Johnson City, Arkansas               0.1307711237%
                  AR282         Johnson County, Arkansas             0.3131687844%
                  AR283         Joiner City, Arkansas                0.0294738943%
                  AR284         Jonesboro City, Arkansas             2.1740597362%
                  AR285         Judsonia City, Arkansas              0.0470208295%
                  AR286         Junction City, Arkansas              0.0041819983%
                  AR287         Keiser City, Arkansas                0.0065363668%
                  AR288         Kensett City, Arkansas               0.0362397881%
                  AR289         Kibler City, Arkansas                0.0431741065%
                  AR290         Kingsland City, Arkansas             0.0062036672%
                  AR291         Knobel City, Arkansas                0.0009218283%
                  AR292         Knoxville Town, Arkansas             0.0058832739%
                  AR293         Lafayette County, Arkansas           0.0910619584%
                  AR294         Lafe Town, Arkansas                  0.0028363178%
                  AR295         Lagrange Town, Arkansas              0.0008239503%
                  AR296         Lake City, Arkansas                  0.0259733220%
                  AR297         Lake View City, Arkansas             0.0047133160%
                  AR298         Lake Village City, Arkansas          0.0224886334%
                  AR299         Lakeview City, Arkansas              0.0193402219%
                  AR300         Lamar City, Arkansas                 0.1021685446%
                  AR301         Lavaca City, Arkansas                0.0302604964%
                  AR302         Lawrence County, Arkansas            0.4807663922%
                  AR303         Leachville City, Arkansas            0.0232401768%
                  AR304         Lead Hill Town, Arkansas             0.0069168607%
                  AR305         Lee County, Arkansas                 0.0989039387%
                  AR306         Leola Town, Arkansas                 0.0013687190%
                  AR307         Lepanto City, Arkansas               0.0682260295%
                  AR308         Leslie City, Arkansas                0.0254444370%
                  AR309         Lewisville City, Arkansas            0.0166148039%
                  AR310         Lincoln City, Arkansas               0.0464338472%
                  AR311         Lincoln County, Arkansas             0.1387881111%
                  AR312         Little Flock City, Arkansas          0.0530723850%
                  AR313         Little River County, Arkansas        0.3040825791%
                  AR314         Little Rock City, Arkansas           6.7135694892%
                  AR315         Lockesburg City, Arkansas            0.0062672021%
  Strictly Confidential
  Subject to Protective Order
                                                    G-19             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 157 of 611. PageID #: 572441
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  AR316         Logan County, Arkansas              0.5058103018%
                  AR317         London City, Arkansas               0.0142372538%
                  AR318         Lonoke City, Arkansas               0.2452247983%
                  AR319         Lonoke County, Arkansas             0.5956462085%
                  AR320         Louann Town, Arkansas               0.0002119261%
                  AR321         Luxora City, Arkansas               0.0119226662%
                  AR322         Lynn Town, Arkansas                 0.0001385175%
                  AR323         Madison City, Arkansas              0.0058260353%
                  AR324         Madison County, Arkansas            0.3196927018%
                  AR325         Magazine City, Arkansas             0.0318730520%
                  AR326         Magness Town, Arkansas              0.0014179443%
                  AR327         Magnolia City, Arkansas             0.5824169272%
                  AR328         Malvern City, Arkansas              0.3835695961%
                  AR329         Mammoth Spring City, Arkansas       0.0072408314%
                  AR330         Manila City, Arkansas               0.0409124647%
                  AR331         Mansfield City, Arkansas            0.0007997669%
                  AR332         Marianna City, Arkansas             0.0846648246%
                  AR333         Marie Town, Arkansas                0.0009849339%
                  AR334         Marion City, Arkansas               0.1126915829%
                  AR335         Marion County, Arkansas             0.3952336867%
                  AR336         Marked Tree City, Arkansas          0.0992021520%
                  AR337         Marmaduke City, Arkansas            0.0391761304%
                  AR338         Marvell City, Arkansas              0.0610375715%
                  AR339         Maumelle City, Arkansas             0.2572012688%
                  AR340         Mayflower City, Arkansas            0.0608694329%
                  AR341         Maynard Town, Arkansas              0.0013140561%
                  AR342         McCaskill Town, Arkansas            0.0012894435%
                  AR343         McCrory City, Arkansas              0.0147483949%
                  AR344         McDougal Town, Arkansas             0.0001189133%
                  AR345         McGehee City, Arkansas              0.0429993856%
                  AR346         McNab Town, Arkansas                0.0009151028%
                  AR347         Mcrae City, Arkansas                0.0307843730%
                  AR348         Melbourne City, Arkansas            0.0687295865%
                  AR349         Mena City, Arkansas                 0.7716866592%
                  AR350         Menifee Town, Arkansas              0.0106144770%
                  AR351         Midland Town, Arkansas              0.0002701664%
                  AR352         Miller County, Arkansas             0.3769094507%
                  AR353         Mineral Springs City, Arkansas      0.0133569235%
                  AR354         Minturn Town, Arkansas              0.0002323889%
                  AR355         Mississippi County, Arkansas        0.4561503415%
                  AR356         Mitchellville City, Arkansas        0.0000190318%
                  AR357         Monette City, Arkansas              0.0230987974%
                  AR358         Monroe County, Arkansas             0.0751267203%
                  AR359         Montgomery County, Arkansas         0.2264091685%
                  AR360         Monticello City, Arkansas           0.0526747196%
  Strictly Confidential
  Subject to Protective Order
                                                   G-20             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 158 of 611. PageID #: 572442
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  AR361         Montrose City, Arkansas               0.0059883068%
                  AR362         Moorefield Town, Arkansas             0.0009616092%
                  AR363         Moro Town, Arkansas                   0.0019858947%
                  AR364         Morrilton City, Arkansas              0.2597150469%
                  AR365         Morrison Bluff Town, Arkansas         0.0001732900%
                  AR366         Mount Ida City, Arkansas              0.0133550632%
                  AR367         Mount Pleasant Town, Arkansas         0.0122294653%
                  AR368         Mount Vernon Town, Arkansas           0.0071675659%
                  AR369         Mountain Home City, Arkansas          0.8447100025%
                  AR370         Mountain Pine City, Arkansas          0.0111311989%
                  AR371         Mountainburg City, Arkansas           0.0505877986%
                  AR372         Mulberry City, Arkansas               0.0839496278%
                  AR373         Murfreesboro City, Arkansas           0.0401878235%
                  AR374         Nashville City, Arkansas              0.1174004630%
                  AR375         Nevada County, Arkansas               0.1042972498%
                  AR376         Newark City, Arkansas                 0.0743959259%
                  AR377         Newport City, Arkansas                0.2957024125%
                  AR378         Newton County, Arkansas               0.2538955941%
                  AR379         Norfork City, Arkansas                0.0071735760%
                  AR380         Norman Town, Arkansas                 0.0054255078%
                  AR381         Norphlet City, Arkansas               0.0199309247%
                  AR382         North Little Rock City, Arkansas      1.6145764729%
                  AR383         Oak Grove Heights Town, Arkansas      0.0108133813%
                  AR384         Oak Grove Town, Arkansas              0.0031881924%
                  AR385         Oakhaven Town, Arkansas               0.0008458440%
                  AR386         Oden Town, Arkansas                   0.0002086349%
                  AR387         Ogden City, Arkansas                  0.0000829960%
                  AR388         Oil Trough Town, Arkansas             0.0018456600%
                  AR389         O'Kean Town, Arkansas                 0.0001714297%
                  AR390         Okolona Town, Arkansas                0.0019046158%
                  AR391         Ola City, Arkansas                    0.0262882776%
                  AR392         Omaha Town, Arkansas                  0.0030405167%
                  AR393         Oppelo City, Arkansas                 0.0090335457%
                  AR394         Osceola City, Arkansas                0.2492878833%
                  AR395         Ouachita County, Arkansas             0.2913601460%
                  AR396         Oxford City, Arkansas                 0.0264156336%
                  AR397         Ozan Town, Arkansas                   0.0011369025%
                  AR398         Ozark City, Arkansas                  0.1131238778%
                  AR399         Palestine City, Arkansas              0.0190803585%
                  AR400         Pangburn City, Arkansas               0.0157168727%
                  AR401         Paragould City, Arkansas              1.0056390223%
                  AR402         Paris City, Arkansas                  0.1616167421%
                  AR403         Parkdale City, Arkansas               0.0007150537%
                  AR404         Parkin City, Arkansas                 0.0145157198%
                  AR405         Patmos Town, Arkansas                 0.0012638292%
  Strictly Confidential
  Subject to Protective Order
                                                  G-21                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 159 of 611. PageID #: 572443
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AR406         Patterson City, Arkansas             0.0019780244%
                  AR407         Pea Ridge City, Arkansas             0.1099874863%
                  AR408         Peach Orchard City, Arkansas         0.0002743162%
                  AR409         Perla Town, Arkansas                 0.0015089537%
                  AR410         Perry County, Arkansas               0.2411764522%
                  AR411         Perry Town, Arkansas                 0.0054813155%
                  AR412         Perrytown, Arkansas                  0.0014218079%
                  AR413         Perryville City, Arkansas            0.0413931262%
                  AR414         Phillips County, Arkansas            0.3318178496%
                  AR415         Piggott City, Arkansas               0.3895380125%
                  AR416         Pike County, Arkansas                0.3481536152%
                  AR417         Pindall Town, Arkansas               0.0030350790%
                  AR418         Pine Bluff City, Arkansas            0.9840818047%
                  AR419         Pineville Town, Arkansas             0.0022012551%
                  AR420         Plainview City, Arkansas             0.0125505741%
                  AR421         Pleasant Plains Town, Arkansas       0.0024498139%
                  AR422         Plumerville City, Arkansas           0.0292462276%
                  AR423         Pocahontas City, Arkansas            0.4671181241%
                  AR424         Poinsett County, Arkansas            0.4009911787%
                  AR425         Polk County, Arkansas                0.0691418478%
                  AR426         Pollard City, Arkansas               0.0004521853%
                  AR427         Pope County, Arkansas                0.8568421621%
                  AR428         Portia Town, Arkansas                0.0009455824%
                  AR429         Portland City, Arkansas              0.0081334680%
                  AR430         Pottsville City, Arkansas            0.0356473681%
                  AR431         Powhatan Town, Arkansas              0.0001556891%
                  AR432         Poyen Town, Arkansas                 0.0022812461%
                  AR433         Prairie County, Arkansas             0.0903177130%
                  AR434         Prairie Grove City, Arkansas         0.0877670159%
                  AR435         Prattsville Town, Arkansas           0.0011406231%
                  AR436         Prescott City, Arkansas              0.0925564594%
                  AR437         Pulaski County, Arkansas             2.3536109191%
                  AR438         Pyatt Town, Arkansas                 0.0061435666%
                  AR439         Quitman City, Arkansas               0.0720876345%
                  AR440         Randolph County, Arkansas            0.0533049170%
                  AR441         Ratcliff City, Arkansas              0.0038192484%
                  AR442         Ravenden Springs Town, Arkansas      0.0001143342%
                  AR443         Ravenden Town, Arkansas              0.0021246984%
                  AR444         Rector City, Arkansas                0.0056501695%
                  AR445         Redfield City, Arkansas              0.0199888788%
                  AR446         Reed Town, Arkansas                  0.0009294125%
                  AR447         Reyno City, Arkansas                 0.0001714297%
                  AR448         Rison City, Arkansas                 0.0266158258%
                  AR449         Rockport City, Arkansas              0.0466258829%
                  AR450         Roe Town, Arkansas                   0.0006297682%
  Strictly Confidential
  Subject to Protective Order
                                                  G-22               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 160 of 611. PageID #: 572444
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AR451         Rogers City, Arkansas                1.7409808606%
                  AR452         Rondo Town, Arkansas                 0.0001282146%
                  AR453         Rose Bud Town, Arkansas              0.0201332633%
                  AR454         Rosston Town, Arkansas               0.0012719857%
                  AR455         Rudy Town, Arkansas                  0.0043610122%
                  AR456         Russell Town, Arkansas               0.0072738867%
                  AR457         Russellville City, Arkansas          0.9171601007%
                  AR458         Salem City, Arkansas                 0.0044962385%
                  AR459         Salesville City, Arkansas            0.0064404921%
                  AR460         Saline County, Arkansas              1.0800200662%
                  AR461         Scott County, Arkansas               0.3380405487%
                  AR462         Scranton City, Arkansas              0.0072753177%
                  AR463         Searcy City, Arkansas                0.9880873649%
                  AR464         Searcy County, Arkansas              0.2508049935%
                  AR465         Sebastian County, Arkansas           2.1934833834%
                  AR466         Sedgwick Town, Arkansas              0.0005311746%
                  AR467         Sevier County, Arkansas              0.2613059949%
                  AR468         Shannon Hills City, Arkansas         0.0498163648%
                  AR469         Sharp County, Arkansas               0.2811885530%
                  AR470         Sheridan City, Arkansas              0.2276671308%
                  AR471         Sherrill Town, Arkansas              0.0025761682%
                  AR472         Sherwood City, Arkansas              0.4241829888%
                  AR473         Shirley Town, Arkansas               0.0009145304%
                  AR474         Sidney Town, Arkansas                0.0035774152%
                  AR475         Siloam Springs City, Arkansas        0.7477783644%
                  AR476         Smackover City, Arkansas             0.0008007686%
                  AR477         Smithville Town, Arkansas            0.0001624146%
                  AR478         South Lead Hill Town, Arkansas       0.0018313504%
                  AR479         Sparkman City, Arkansas              0.0035065824%
                  AR480         Springdale City, Arkansas            2.0136786333%
                  AR481         Springtown, Arkansas                 0.0002924895%
                  AR482         St Francis County, Arkansas          0.2044215163%
                  AR483         St. Charles Town, Arkansas           0.0024664131%
                  AR484         St. Francis City, Arkansas           0.0007137659%
                  AR485         St. Joe Town, Arkansas               0.0076757020%
                  AR486         St. Paul Town, Arkansas              0.0041619648%
                  AR487         Stamps City, Arkansas                0.0180207281%
                  AR488         Star City, Arkansas                  0.0564865270%
                  AR489         Stephens City, Arkansas              0.0116586529%
                  AR490         Stone County, Arkansas               0.4282031449%
                  AR491         Strawberry Town, Arkansas            0.0006928738%
                  AR492         Strong City, Arkansas                0.0029361993%
                  AR493         Stuttgart City, Arkansas             0.2203815101%
                  AR494         Subiaco Town, Arkansas               0.0109146937%
                  AR495         Success Town, Arkansas               0.0001784415%
  Strictly Confidential
  Subject to Protective Order
                                                    G-23             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 161 of 611. PageID #: 572445
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  AR496         Sulphur Rock Town, Arkansas          0.0032654646%
                  AR497         Sulphur Springs City, Arkansas       0.0120908047%
                  AR498         Summit City, Arkansas                0.0074467474%
                  AR499         Sunset Town, Arkansas                0.0016041130%
                  AR500         Swifton City, Arkansas               0.0178930859%
                  AR501         Taylor City, Arkansas                0.0014103602%
                  AR502         Texarkana City, Arkansas             0.7683955804%
                  AR503         Thornton City, Arkansas              0.0022437548%
                  AR504         Tillar City, Arkansas                0.0003265465%
                  AR505         Tinsman Town, Arkansas               0.0003150987%
                  AR506         Tollette Town, Arkansas              0.0032731918%
                  AR507         Tontitown City, Arkansas             0.0610355681%
                  AR508         Traskwood City, Arkansas             0.0177678764%
                  AR509         Trumann City, Arkansas               0.2319945153%
                  AR510         Tuckerman City, Arkansas             0.0405439909%
                  AR511         Tull Town, Arkansas                  0.0030797252%
                  AR512         Tupelo Town, Arkansas                0.0005171511%
                  AR513         Turrell City, Arkansas               0.0090687475%
                  AR514         Twin Groves Town, Arkansas           0.0156102657%
                  AR515         Tyronza City, Arkansas               0.0382955139%
                  AR516         Ulm Town, Arkansas                   0.0000897216%
                  AR517         Union County, Arkansas               0.4520045466%
                  AR518         Valley Springs Town, Arkansas        0.0032716177%
                  AR519         Van Buren City, Arkansas             1.7649031789%
                  AR520         Van Buren County, Arkansas           0.3641848711%
                  AR521         Vandervoort Town, Arkansas           0.0000659675%
                  AR522         Victoria Town, Arkansas              0.0005446257%
                  AR523         Vilonia City, Arkansas               0.1035441323%
                  AR524         Viola Town, Arkansas                 0.0032700437%
                  AR525         Wabbaseka Town, Arkansas             0.0082530968%
                  AR526         Waldenburg Town, Arkansas            0.0023526513%
                  AR527         Waldo City, Arkansas                 0.0028426141%
                  AR528         Waldron City, Arkansas               0.1501465474%
                  AR529         Walnut Ridge City, Arkansas          0.0315460763%
                  AR530         Ward City, Arkansas                  0.1482609634%
                  AR531         Warren City, Arkansas                0.1331456688%
                  AR532         Washington City, Arkansas            0.0014218079%
                  AR533         Washington County, Arkansas          2.0141562897%
                  AR534         Watson City, Arkansas                0.0000569524%
                  AR535         Weiner City, Arkansas                0.0115016760%
                  AR536         Weldon Town, Arkansas                0.0015514534%
                  AR537         West Fork City, Arkansas             0.0278779379%
                  AR538         West Memphis City, Arkansas          0.6402086383%
                  AR539         West Point Town, Arkansas            0.0031173596%
                  AR540         Western Grove Town, Arkansas         0.0057204300%
  Strictly Confidential
  Subject to Protective Order
                                                    G-24             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 162 of 611. PageID #: 572446
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  AR541         Wheatley City, Arkansas                0.0050976735%
                  AR542         Whelen Springs Town, Arkansas          0.0002381128%
                  AR543         White County, Arkansas                 1.0075711127%
                  AR544         White Hall City, Arkansas              0.0551959387%
                  AR545         Wickes Town, Arkansas                  0.0001422380%
                  AR546         Widener Town, Arkansas                 0.0014565804%
                  AR547         Wiederkehr Village City, Arkansas      0.0015955272%
                  AR548         Williford Town, Arkansas               0.0025041906%
                  AR549         Willisville Town, Arkansas             0.0003913692%
                  AR550         Wilmar City, Arkansas                  0.0018078825%
                  AR551         Wilmot City, Arkansas                  0.0171605744%
                  AR552         Wilson City, Arkansas                  0.0038733390%
                  AR553         Wilton City, Arkansas                  0.0002323889%
                  AR554         Winchester Town, Arkansas              0.0011094280%
                  AR555         Winslow City, Arkansas                 0.0059329284%
                  AR556         Winthrop City, Arkansas                0.0004315794%
                  AR557         Woodruff County, Arkansas              0.2136270641%
                  AR558         Wooster Town, Arkansas                 0.0052930004%
                  AR559         Wrightsville City, Arkansas            0.0089014675%
                  AR560         Wynne City, Arkansas                   0.1541190523%
                  AR561         Yell County, Arkansas                  0.5032932325%
                  AR562         Yellville City, Arkansas               0.0268081476%
                  AR563         Zinc Town, Arkansas                    0.0018492375%




  Strictly Confidential
  Subject to Protective Order
                                                    G-25               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 163 of 611. PageID #: 572447
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                   CA1          Adelanto City, California             0.0080406152%
                   CA2          Agoura Hills City, California         0.0048296852%
                   CA3          Alameda City, California              0.0687957240%
                   CA4          Alameda County, California            2.3171117448%
                   CA5          Albany City, California               0.0130032024%
                   CA6          Alhambra City, California             0.0414237122%
                   CA7          Aliso Viejo City, California          0.0137360345%
                   CA8          Alpine County, California             0.0013376945%
                   CA9          Amador County, California             0.2469295604%
                  CA10          American Canyon City, California      0.0165139864%
                  CA11          Anaheim City, California              0.5505795138%
                  CA12          Anderson City, California             0.0239988875%
                  CA13          Antioch City, California              0.0364238871%
                  CA14          Apple Valley Town, California         0.0250202025%
                  CA15          Arcadia City, California              0.0323032132%
                  CA16          Arcata City, California               0.0540144110%
                  CA17          Arroyo Grande City, California        0.0240181250%
                  CA18          Artesia City, California              0.0006155675%
                  CA19          Arvin City, California                0.0056013412%
                  CA20          Atascadero City, California           0.0290403594%
                  CA21          Atwater City, California              0.0236302829%
                  CA22          Auburn City, California               0.0170270863%
                  CA23          Avenal City, California               0.0067977759%
                  CA24          Azusa City, California                0.0254411432%
                  CA25          Bakersfield City, California          0.2108141707%
                  CA26          Baldwin Park City, California         0.0263665087%
                  CA27          Banning City, California              0.0173571525%
                  CA28          Barstow City, California              0.0147274861%
                  CA29          Beaumont City, California             0.0206488546%
                  CA30          Bell City, California                 0.0082990762%
                  CA31          Bell Gardens City, California         0.0137907495%
                  CA32          Bellflower City, California           0.0017478033%
                  CA33          Belmont City, California              0.0204943997%
                  CA34          Benicia City, California              0.0306361343%
                  CA35          Berkeley City, California             0.1507814268%
                  CA36          Beverly Hills City, California        0.0645398168%
                  CA37          Blythe City, California               0.0116685845%
                  CA38          Brawley City, California              0.0106164547%
                  CA39          Brea City, California                 0.0855349777%
                  CA40          Brentwood City, California            0.0259827742%
                  CA41          Buena Park City, California           0.0861931119%
                  CA42          Burbank City, California              0.0993184318%
                  CA43          Burlingame City, California           0.0184045562%
                  CA44          Butte County, California              1.6698730593%
                  CA45          Calabasas City, California            0.0059064288%
  Strictly Confidential
  Subject to Protective Order
                                                   G-26               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 164 of 611. PageID #: 572448
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  CA46          Calaveras County, California         0.2333016555%
                  CA47          Calexico City, California            0.0184372901%
                  CA48          California City, California          0.0085450399%
                  CA49          Camarillo City, California           0.0015463094%
                  CA50          Campbell City, California            0.0135813100%
                  CA51          Canyon Lake City, California         0.0002129762%
                  CA52          Capitola City, California            0.0202934925%
                  CA53          Carlsbad City, California            0.1267504081%
                  CA54          Carpinteria City, California         0.0010786309%
                  CA55          Carson City, California              0.0192814236%
                  CA56          Cathedral City, California           0.0667982142%
                  CA57          Ceres City, California               0.0410557736%
                  CA58          Cerritos City, California            0.0047883080%
                  CA59          Chico City, California               0.2147613426%
                  CA60          Chino City, California               0.0634542870%
                  CA61          Chino Hills City, California         0.0007702603%
                  CA62          Chowchilla City, California          0.0117436155%
                  CA63          Chula Vista City, California         0.1875126219%
                  CA64          Citrus Heights City, California      0.0561432052%
                  CA65          Claremont City, California           0.0099641409%
                  CA66          Clayton City, California             0.0021793699%
                  CA67          Clearlake City, California           0.0407484815%
                  CA68          Clovis City, California              0.0646982524%
                  CA69          Coachella City, California           0.0208805131%
                  CA70          Coalinga City, California            0.0118909812%
                  CA71          Colton City, California              0.0305802457%
                  CA72          Colusa County, California            0.0645681893%
                  CA73          Commerce City, California            0.0003582485%
                  CA74          Compton City, California             0.0436639822%
                  CA75          Concord City, California             0.0551012888%
                  CA76          Contra Costa County, California      2.0883105647%
                  CA77          Corcoran City, California            0.0129144689%
                  CA78          Corona City, California              0.1456442433%
                  CA79          Coronado City, California            0.0433287141%
                  CA80          Costa Mesa City, California          0.1231657826%
                  CA81          Covina City, California              0.0276460785%
                  CA82          Cudahy City, California              0.0007265676%
                  CA83          Culver City, California              0.0542840529%
                  CA84          Cupertino City, California           0.0080632149%
                  CA85          Cypress City, California             0.0328115076%
                  CA86          Daly City, California                0.0439049185%
                  CA87          Dana Point City, California          0.0006708852%
                  CA88          Danville Town, California            0.0099247461%
                  CA89          Davis City, California               0.0545074645%
                  CA90          Del Norte County, California         0.1297217340%
  Strictly Confidential
  Subject to Protective Order
                                                    G-27             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 165 of 611. PageID #: 572449
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  CA91          Delano City, California                    0.0300821172%
                  CA92          Desert Hot Springs City, California        0.0241834278%
                  CA93          Diamond Bar City, California               0.0008436260%
                  CA94          Dinuba City, California                    0.0141078110%
                  CA95          Dixon City, California                     0.0157875932%
                  CA96          Downey City, California                    0.0518823181%
                  CA97          Duarte City, California                    0.0032897513%
                  CA98          Dublin City, California                    0.0323900911%
                  CA99          East Palo Alto City, California            0.0125461339%
                  CA100         Eastvale City, California                  0.0003306689%
                  CA101         El Cajon City, California                  0.1126451663%
                  CA102         El Centro City, California                 0.1571606408%
                  CA103         El Cerrito City, California                0.0228070521%
                  CA104         El Dorado County, California               0.7628798074%
                  CA105         El Monte City, California                  0.0304948586%
                  CA106         El Paso De Robles (Paso Robles) City,      0.0426476788%
                                California
                 CA107          El Segundo City, California                0.0323395471%
                 CA108          Elk Grove City, California                 0.1287424148%
                 CA109          Emeryville City, California                0.0224147059%
                 CA110          Encinitas City, California                 0.0602545379%
                 CA111          Escondido City, California                 0.1438494168%
                 CA112          Eureka City, California                    0.1162748009%
                 CA113          Exeter City, California                    0.0039189263%
                 CA114          Fairfield City, California                 0.1082698694%
                 CA115          Farmersville City, California              0.0033636086%
                 CA116          Fillmore City, California                  0.0024493289%
                 CA117          Folsom City, California                    0.1074891735%
                 CA118          Fontana City, California                   0.1110712457%
                 CA119          Fortuna City, California                   0.0321969551%
                 CA120          Foster City, California                    0.0200409630%
                 CA121          Fountain Valley City, California           0.0550184551%
                 CA122          Fremont City, California                   0.1072139174%
                 CA123          Fresno City, California                    0.3946266471%
                 CA124          Fresno County, California                  1.8952186144%
                 CA125          Fullerton City, California                 0.1362988736%
                 CA126          Galt City, California                      0.0173391204%
                 CA127          Garden Grove City, California              0.2114521952%
                 CA128          Gardena City, California                   0.0335535223%
                 CA129          Gilroy City, California                    0.0244807126%
                 CA130          Glendale City, California                  0.1648905859%
                 CA131          Glendora City, California                  0.0162177007%
                 CA132          Glenn County, California                   0.1138173202%
                 CA133          Goleta City, California                    0.0034947026%
                 CA134          Grand Terrace City, California             0.0061605126%
  Strictly Confidential
  Subject to Protective Order
                                                    G-28                   Rule 408 Settlement Communication
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  CA135         Grass Valley City, California              0.0238666834%
                  CA136         Greenfield City, California                0.0060998821%
                  CA137         Grover Beach City, California              0.0166359295%
                  CA138         Half Moon Bay City, California             0.0038179493%
                  CA139         Hanford City, California                   0.0272737786%
                  CA140         Hawaiian Gardens City, California          0.0048932656%
                  CA141         Hawthorne City, California                 0.0492091493%
                  CA142         Hayward City, California                   0.1165823151%
                  CA143         Healdsburg City, California                0.0322071527%
                  CA144         Hemet City, California                     0.0508926268%
                  CA145         Hercules City, California                  0.0094435395%
                  CA146         Hermosa Beach City, California             0.0175326053%
                  CA147         Hesperia City, California                  0.0351740062%
                  CA148         Highland City, California                  0.0035070571%
                  CA149         Hillsborough Town, California              0.0132756672%
                  CA150         Hollister City, California                 0.0271914840%
                  CA151         Humboldt County, California                1.0332729841%
                  CA152         Huntington Beach City, California          0.2455375315%
                  CA153         Huntington Park City, California           0.0230051045%
                  CA154         Imperial Beach City, California            0.0142713058%
                  CA155         Imperial City, California                  0.0058874134%
                  CA156         Imperial County, California                0.2596518766%
                  CA157         Indio City, California                     0.0552361256%
                  CA158         Inglewood City, California                 0.0590249412%
                  CA159         Inyo County, California                    0.0764176347%
                  CA160         Irvine City, California                    0.1378869091%
                  CA161         Jurupa Valley City, California             0.0010854029%
                  CA162         Kerman City, California                    0.0051323940%
                  CA163         Kern County, California                    2.5107708914%
                  CA164         King City, California                      0.0045077390%
                  CA165         Kings County, California                   0.2912053674%
                  CA166         Kingsburg City, California                 0.0079843460%
                  CA167         La Cañada Flintridge City, California      0.0030849110%
                  CA168         La Habra City, California                  0.0593706924%
                  CA169         La Mesa City, California                   0.0550261628%
                  CA170         La Mirada City, California                 0.0098420234%
                  CA171         La Palma City, California                  0.0115153508%
                  CA172         La Puente City, California                 0.0015681795%
                  CA173         La Quinta City, California                 0.0623482352%
                  CA174         La Verne City, California                  0.0234299467%
                  CA175         Lafayette City, California                 0.0055538898%
                  CA176         Laguna Beach City, California              0.0471335159%
                  CA177         Laguna Hills City, California              0.0139313591%
                  CA178         Laguna Niguel City, California             0.0008534589%
                  CA179         Laguna Woods City, California              0.0007897674%
  Strictly Confidential
  Subject to Protective Order
                                                     G-29                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 167 of 611. PageID #: 572451
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID               Qualifying Subdivision        Allocation
                  CA180         Lake County, California               0.7897576873%
                  CA181         Lake Elsinore City, California        0.0208674291%
                  CA182         Lake Forest City, California          0.0122159407%
                  CA183         Lakeport City, California             0.0213147440%
                  CA184         Lakewood City, California             0.0048236269%
                  CA185         Lancaster City, California            0.0446054926%
                  CA186         Larkspur City, California             0.0150450552%
                  CA187         Lassen County, California             0.3174452703%
                  CA188         Lathrop City, California              0.0090970905%
                  CA189         Lawndale City, California             0.0021393565%
                  CA190         Lemon Grove City, California          0.0221898034%
                  CA191         Lemoore City, California              0.0159151506%
                  CA192         Lincoln City, California              0.0308399279%
                  CA193         Lindsay City, California              0.0068901728%
                  CA194         Livermore City, California            0.0539032682%
                  CA195         Livingston City, California           0.0055356197%
                  CA196         Lodi City, California                 0.0530271938%
                  CA197         Loma Linda City, California           0.0085901283%
                  CA198         Lomita City, California               0.0038538551%
                  CA199         Lompoc City, California               0.0469819633%
                  CA200         Long Beach City, California           0.4360787318%
                  CA201         Los Alamitos City, California         0.0083477805%
                  CA202         Los Altos City, California            0.0124694218%
                  CA203         Los Angeles City, California          2.6976769698%
                  CA204         Los Angeles County, California       13.8854516899%
                  CA205         Los Banos City, California            0.0199257760%
                  CA206         Los Gatos Town, California            0.0124551008%
                  CA207         Lynwood City, California              0.0162106433%
                  CA208         Madera City, California               0.0384219997%
                  CA209         Madera County, California             0.3470859723%
                  CA210         Malibu City, California               0.0023250386%
                  CA211         Manhattan Beach City, California      0.0314545280%
                  CA212         Manteca City, California              0.0535068303%
                  CA213         Marin County, California              0.6196428338%
                  CA214         Marina City, California               0.0173871744%
                  CA215         Mariposa County, California           0.0837565181%
                  CA216         Martinez City, California             0.0118968492%
                  CA217         Marysville City, California           0.0135235182%
                  CA218         Maywood City, California              0.0042867855%
                  CA219         McFarland City, California            0.0030938240%
                  CA220         Mendocino County, California          0.4618719225%
                  CA221         Mendota City, California              0.0023387253%
                  CA222         Menifee City, California              0.0314805057%
                  CA223         Menlo Park City, California           0.0152284694%
                  CA224         Merced City, California               0.0604217597%
  Strictly Confidential
  Subject to Protective Order
                                                    G-30              Rule 408 Settlement Communication
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  CA225         Merced County, California            0.5513809379%
                  CA226         Mill Valley City, California         0.0203185028%
                  CA227         Millbrae City, California            0.0127698310%
                  CA228         Milpitas City, California            0.0359710690%
                  CA229         Mission Viejo City, California       0.0141839997%
                  CA230         Modesto City, California             0.2158290940%
                  CA231         Modoc County, California             0.0678735622%
                  CA232         Mono County, California              0.0276582585%
                  CA233         Monrovia City, California            0.0307027280%
                  CA234         Montclair City, California           0.0388647471%
                  CA235         Montebello City, California          0.0302455961%
                  CA236         Monterey City, California            0.0406069679%
                  CA237         Monterey County, California          0.9208810768%
                  CA238         Monterey Park City, California       0.0309701496%
                  CA239         Moorpark City, California            0.0081253680%
                  CA240         Moraga Town, California              0.0037405712%
                  CA241         Moreno Valley City, California       0.1363856087%
                  CA242         Morgan Hill City, California         0.0150367924%
                  CA243         Morro Bay City, California           0.0194172278%
                  CA244         Mountain View City, California       0.0403732952%
                  CA245         Murrieta City, California            0.0475523474%
                  CA246         Napa City, California                0.0775574195%
                  CA247         Napa County, California              0.2977848225%
                  CA248         National City, California            0.0792489536%
                  CA249         Nevada County, California            0.4437006266%
                  CA250         Newark City, California              0.0262578400%
                  CA251         Newman City, California              0.0056667930%
                  CA252         Newport Beach City, California       0.1773838603%
                  CA253         Norco City, California               0.0162343848%
                  CA254         Norwalk City, California             0.0311568467%
                  CA255         Novato City, California              0.0277308629%
                  CA256         Oakdale City, California             0.0175587733%
                  CA257         Oakland City, California             0.4833072774%
                  CA258         Oakley City, California              0.0095829439%
                  CA259         Oceanside City, California           0.2115669857%
                  CA260         Ontario City, California             0.1777223320%
                  CA261         Orange City, California              0.1485700209%
                  CA262         Orange County, California            4.3394270261%
                  CA263         Orange Cove City, California         0.0042957937%
                  CA264         Orinda City, California              0.0046035933%
                  CA265         Oroville City, California            0.0780172317%
                  CA266         Oxnard City, California              0.1546146012%
                  CA267         Pacific Grove City, California       0.0090298307%
                  CA268         Pacifica City, California            0.0157605054%
                  CA269         Palm Desert City, California         0.0823451090%
  Strictly Confidential
  Subject to Protective Order
                                                    G-31             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 169 of 611. PageID #: 572453
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID                Qualifying Subdivision              Allocation
                  CA270         Palm Springs City, California                0.0759989460%
                  CA271         Palmdale City, California                    0.0453461910%
                  CA272         Palo Alto City, California                   0.0389822496%
                  CA273         Palos Verdes Estates City, California        0.0064069522%
                  CA274         Paramount City, California                   0.0110388545%
                  CA275         Parlier City, California                     0.0084167531%
                  CA276         Pasadena City, California                    0.1448543331%
                  CA277         Patterson City, California                   0.0152734467%
                  CA278         Perris City, California                      0.0092642488%
                  CA279         Petaluma City, California                    0.0805405765%
                  CA280         Pico Rivera City, California                 0.0221211004%
                  CA281         Piedmont City, California                    0.0137634554%
                  CA282         Pinole City, California                      0.0133816874%
                  CA283         Pittsburg City, California                   0.0526516110%
                  CA284         Placentia City, California                   0.0285760590%
                  CA285         Placer County, California                    1.0391221604%
                  CA286         Placerville City, California                 0.0154006075%
                  CA287         Pleasant Hill City, California               0.0128265443%
                  CA288         Pleasanton City, California                  0.0669112760%
                  CA289         Plumas County, California                    0.2054195413%
                  CA290         Pomona City, California                      0.1100333576%
                  CA291         Port Hueneme City, California                0.0210119084%
                  CA292         Porterville City, California                 0.0207339086%
                  CA293         Poway City, California                       0.0616612685%
                  CA294         Rancho Cordova City, California              0.0081653178%
                  CA295         Rancho Cucamonga City, California            0.0831861182%
                  CA296         Rancho Mirage City, California               0.0520153945%
                  CA297         Rancho Palos Verdes City, California         0.0015258031%
                  CA298         Rancho Santa Margarita City, California      0.0007600469%
                  CA299         Red Bluff City, California                   0.0142101994%
                  CA300         Redding City, California                     0.2817191660%
                  CA301         Redlands City, California                    0.0566068871%
                  CA302         Redondo Beach City, California               0.0611723543%
                  CA303         Redwood City, California                     0.0559270889%
                  CA304         Reedley City, California                     0.0119210665%
                  CA305         Rialto City, California                      0.0727822590%
                  CA306         Richmond City, California                    0.1449646513%
                  CA307         Ridgecrest City, California                  0.0145926969%
                  CA308         Ripon City, California                       0.0125749663%
                  CA309         Riverbank City, California                   0.0103408497%
                  CA310         Riverside City, California                   0.2662064641%
                  CA311         Riverside County, California                 4.5266831219%
                  CA312         Rocklin City, California                     0.0754700184%
                  CA313         Rohnert Park City, California                0.0411149610%
                  CA314         Rosemead City, California                    0.0034098389%
  Strictly Confidential
  Subject to Protective Order
                                                    G-32                     Rule 408 Settlement Communication
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  CA315         Roseville City, California                0.1950516830%
                  CA316         Sacramento City, California               0.7166566857%
                  CA317         Sacramento County, California             3.7740806472%
                  CA318         Salinas City, California                  0.0937010885%
                  CA319         San Anselmo Town, California              0.0094182279%
                  CA320         San Benito County, California             0.1059231509%
                  CA321         San Bernardino City, California           0.1763886658%
                  CA322         San Bernardino County, California         3.2559161555%
                  CA323         San Bruno City, California                0.0207725105%
                  CA324         San Buenaventura (Ventura) City,          0.0847248626%
                                California
                 CA325          San Carlos City, California               0.0131386259%
                 CA326          San Clemente City, California             0.0082288824%
                 CA327          San Diego City, California                1.9627490739%
                 CA328          San Diego County, California              5.6818161190%
                 CA329          San Dimas City, California                0.0026560247%
                 CA330          San Fernando City, California             0.0126494263%
                 CA331          San Francisco City, California            3.0072582513%
                 CA332          San Gabriel City, California              0.0178242442%
                 CA333          San Jacinto City, California              0.0103683341%
                 CA334          San Joaquin County, California            1.6732273743%
                 CA335          San Jose City, California                 0.2920498815%
                 CA336          San Juan Capistrano City, California      0.0079040656%
                 CA337          San Leandro City, California              0.0387629931%
                 CA338          San Luis Obispo City, California          0.0769605978%
                 CA339          San Luis Obispo County, California        0.8319426358%
                 CA340          San Marcos City, California               0.0885504562%
                 CA341          San Marino City, California               0.0089035421%
                 CA342          San Mateo City, California                0.0513806053%
                 CA343          San Mateo County, California              1.0886812637%
                 CA344          San Pablo City, California                0.0179586052%
                 CA345          San Rafael City, California               0.0880586555%
                 CA346          San Ramon City, California                0.0212919065%
                 CA347          Sanger City, California                   0.0176325038%
                 CA348          Santa Ana City, California                0.4984377514%
                 CA349          Santa Barbara City, California            0.1212083812%
                 CA350          Santa Barbara County, California          1.1351865563%
                 CA351          Santa Clara City, California              0.0663293780%
                 CA352          Santa Clara County, California            2.3902526488%
                 CA353          Santa Clarita City, California            0.0214974604%
                 CA354          Santa Cruz City, California               0.1424197376%
                 CA355          Santa Cruz County, California             0.7777323134%
                 CA356          Santa Fe Springs City, California         0.0310730772%
                 CA357          Santa Maria City, California              0.0578177221%
                 CA358          Santa Monica City, California             0.1566762783%
  Strictly Confidential
  Subject to Protective Order
                                                     G-33                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 171 of 611. PageID #: 572455
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  CA359         Santa Paula City, California              0.0143666526%
                  CA360         Santa Rosa City, California               0.1832885446%
                  CA361         Santee City, California                   0.0323856346%
                  CA362         Saratoga City, California                 0.0041222757%
                  CA363         Scotts Valley City, California            0.0152663892%
                  CA364         Seal Beach City, California               0.0200159844%
                  CA365         Seaside City, California                  0.0231393228%
                  CA366         Selma City, California                    0.0153877773%
                  CA367         Shafter City, California                  0.0124787630%
                  CA368         Shasta County, California                 1.0879294479%
                  CA369         Shasta Lake City, California              0.0038593900%
                  CA370         Sierra County, California                 0.0142190648%
                  CA371         Sierra Madre City, California             0.0058690958%
                  CA372         Signal Hill City, California              0.0102416490%
                  CA373         Simi Valley City, California              0.0643155329%
                  CA374         Siskiyou County, California               0.2559528253%
                  CA375         Solana Beach City, California             0.0167194452%
                  CA376         Solano County, California                 0.7608447107%
                  CA377         Soledad City, California                  0.0073442915%
                  CA378         Sonoma City, California                   0.0221333122%
                  CA379         Sonoma County, California                 1.2365787659%
                  CA380         South El Monte City, California           0.0047782214%
                  CA381         South Gate City, California               0.0200614692%
                  CA382         South Lake Tahoe City, California         0.0802932013%
                  CA383         South Pasadena City, California           0.0115020448%
                  CA384         South San Francisco City, California      0.0427068345%
                  CA385         Stanislaus County, California             1.7144538588%
                  CA386         Stanton City, California                  0.0352275317%
                  CA387         Stockton City, California                 0.3112856617%
                  CA388         Suisun City, California                   0.0212574757%
                  CA389         Sunnyvale City, California                0.0523734685%
                  CA390         Susanville City, California               0.0264595242%
                  CA391         Sutter County, California                 0.3091952156%
                  CA392         Tehachapi City, California                0.0088777547%
                  CA393         Tehama County, California                 0.2209052187%
                  CA394         Temecula City, California                 0.0217286591%
                  CA395         Temple City, California                   0.0047651056%
                  CA396         Thousand Oaks City, California            0.0217061387%
                  CA397         Torrance City, California                 0.1109839555%
                  CA398         Tracy City, California                    0.0835013242%
                  CA399         Trinity County, California                0.0817816555%
                  CA400         Truckee Town, California                  0.0028775967%
                  CA401         Tulare City, California                   0.0364714654%
                  CA402         Tulare County, California                 0.8087538316%
                  CA403         Tuolumne County, California               0.5067147037%
  Strictly Confidential
  Subject to Protective Order
                                                     G-34                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 172 of 611. PageID #: 572456
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                  CA404         Turlock City, California               0.0641856759%
                  CA405         Tustin City, California                0.0724358417%
                  CA406         Twentynine Palms City, California      0.0015204426%
                  CA407         Ukiah City, California                 0.0382673703%
                  CA408         Union City, California                 0.0425306998%
                  CA409         Upland City, California                0.0512150964%
                  CA410         Vacaville City, California             0.1178230927%
                  CA411         Vallejo City, California               0.1657416975%
                  CA412         Ventura County, California             2.1839799975%
                  CA413         Victorville City, California           0.0325051195%
                  CA414         Visalia City, California               0.0658641260%
                  CA415         Vista City, California                 0.0512970262%
                  CA416         Walnut City, California                0.0057076310%
                  CA417         Walnut Creek City, California          0.0255961215%
                  CA418         Wasco City, California                 0.0084294089%
                  CA419         Watsonville City, California           0.0627585660%
                  CA420         West Covina City, California           0.0488085245%
                  CA421         West Hollywood City, California        0.0130934425%
                  CA422         West Sacramento City, California       0.0656765408%
                  CA423         Westminster City, California           0.1035064607%
                  CA424         Whittier City, California              0.0314414123%
                  CA425         Wildomar City, California              0.0075417889%
                  CA426         Windsor Town, California               0.0156005948%
                  CA427         Woodland City, California              0.0576637113%
                  CA428         Yolo County, California                0.3670120496%
                  CA429         Yorba Linda City, California           0.0437048044%
                  CA430         Yuba City, California                  0.0731487702%
                  CA431         Yuba County, California                0.2142726346%
                  CA432         Yucaipa City, California               0.0155378708%
                  CA433         Yucca Valley Town, California          0.0025608365%




  Strictly Confidential
  Subject to Protective Order
                                                    G-35               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 173 of 611. PageID #: 572457
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   CO1          Adams County, Colorado               6.4563067236%
                   CO2          Alamosa City, Colorado               0.0745910871%
                   CO3          Alamosa County, Colorado             0.4334718288%
                   CO4          Arapahoe County, Colorado            4.8467256550%
                   CO5          Archuleta County, Colorado           0.1370425096%
                   CO6          Arvada City, Colorado                1.2841799450%
                   CO7          Aurora City, Colorado                4.2914496137%
                   CO8          Baca County, Colorado                0.0592396985%
                   CO9          Bent County, Colorado                0.1133427512%
                  CO10          Black Hawk City, Colorado            0.0260393489%
                  CO11          Boulder City, Colorado               1.8402051032%
                  CO12          Boulder County, Colorado             2.8040191342%
                  CO13          Brighton City, Colorado              0.1405791210%
                  CO14          Broomfield City, Colorado            1.0013917112%
                  CO15          Cañon City, Colorado                 0.3070751207%
                  CO16          Castle Pines City, Colorado          0.0073662408%
                  CO17          Castle Rock Town, Colorado           0.4961417855%
                  CO18          Centennial City, Colorado            0.0476600277%
                  CO19          Chaffee County, Colorado             0.3604069298%
                  CO20          Cheyenne County, Colorado            0.0159109271%
                  CO21          Clear Creek County, Colorado         0.1380433961%
                  CO22          Colorado Springs City, Colorado      9.6056573895%
                  CO23          Commerce City, Colorado              0.4459216299%
                  CO24          Conejos County, Colorado             0.2108486947%
                  CO25          Costilla County, Colorado            0.0552334207%
                  CO26          Crowley County, Colorado             0.0933584380%
                  CO27          Custer County, Colorado              0.0412185507%
                  CO28          Delta County, Colorado               0.5440118792%
                  CO29          Denver City, Colorado               15.0041699144%
                  CO30          Dolores County, Colorado             0.0352358134%
                  CO31          Douglas County, Colorado             2.6394119072%
                  CO32          Durango City, Colorado               0.2380966286%
                  CO33          Eagle County, Colorado               0.6187127797%
                  CO34          El Paso County, Colorado             2.2654220766%
                  CO35          Elbert County, Colorado              0.2804372613%
                  CO36          Englewood City, Colorado             0.6035403160%
                  CO37          Erie Town, Colorado                  0.0550006818%
                  CO38          Evans City, Colorado                 0.1783043118%
                  CO39          Federal Heights City, Colorado       0.1079698153%
                  CO40          Firestone Town, Colorado             0.0578836029%
                  CO41          Fort Collins City, Colorado          1.1954809288%
                  CO42          Fort Morgan City, Colorado           0.1301284524%
                  CO43          Fountain City, Colorado              0.1186014119%
                  CO44          Frederick Town, Colorado             0.0483214578%
                  CO45          Fremont County, Colorado             0.6866476799%
  Strictly Confidential
  Subject to Protective Order
                                                    G-36             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 174 of 611. PageID #: 572458
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  CO46          Fruita City, Colorado                 0.0482720145%
                  CO47          Garfield County, Colorado             0.8376446894%
                  CO48          Gilpin County, Colorado               0.0300906083%
                  CO49          Golden City, Colorado                 0.3661894352%
                  CO50          Grand County, Colorado                0.2036540033%
                  CO51          Grand Junction City, Colorado         1.0740385726%
                  CO52          Greeley City, Colorado                1.2128607699%
                  CO53          Greenwood Village City, Colorado      0.3058723632%
                  CO54          Gunnison County, Colorado             0.1912939834%
                  CO55          Hinsdale County, Colorado             0.0112390306%
                  CO56          Hudson Town, Colorado                 0.0002554118%
                  CO57          Huerfano County, Colorado             0.2504945278%
                  CO58          Jackson County, Colorado              0.0309834115%
                  CO59          Jefferson County, Colorado            6.2301417879%
                  CO60          Johnstown, Colorado                   0.0880406820%
                  CO61          Kiowa County, Colorado                0.0142237522%
                  CO62          Kit Carson County, Colorado           0.0939715175%
                  CO63          La Plata County, Colorado             0.5745585865%
                  CO64          Lafayette City, Colorado              0.1923606122%
                  CO65          Lake County, Colorado                 0.0989843273%
                  CO66          Lakewood City, Colorado               1.6765864702%
                  CO67          Larimer County, Colorado              3.6771380213%
                  CO68          Las Animas County, Colorado           0.6303942510%
                  CO69          Lincoln County, Colorado              0.0819433053%
                  CO70          Littleton City, Colorado              0.9911426404%
                  CO71          Logan County, Colorado                0.2819912214%
                  CO72          Lone Tree City, Colorado              0.1937076023%
                  CO73          Longmont City, Colorado               0.8513027113%
                  CO74          Louisville City, Colorado             0.0837469407%
                  CO75          Loveland City, Colorado               1.5095861119%
                  CO76          Mesa County, Colorado                 1.7687427882%
                  CO77          Mineral County, Colorado              0.0039157682%
                  CO78          Moffat County, Colorado               0.2325862894%
                  CO79          Montezuma County, Colorado            0.4428801804%
                  CO80          Montrose City, Colorado               0.0375815957%
                  CO81          Montrose County, Colorado             0.5319658200%
                  CO82          Morgan County, Colorado               0.3376035258%
                  CO83          Northglenn City, Colorado             0.1972243635%
                  CO84          Otero County, Colorado                0.4486069596%
                  CO85          Ouray County, Colorado                0.0534887895%
                  CO86          Park County, Colorado                 0.1673691348%
                  CO87          Parker Town, Colorado                 0.3247124678%
                  CO88          Phillips County, Colorado             0.0713973011%
                  CO89          Pitkin County, Colorado               0.1746622577%
                  CO90          Prowers County, Colorado              0.1726881656%
  Strictly Confidential
  Subject to Protective Order
                                                   G-37               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 175 of 611. PageID #: 572459
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  CO91          Pueblo City, Colorado                 2.5730616529%
                  CO92          Pueblo County, Colorado               3.1025919095%
                  CO93          Rio Blanco County, Colorado           0.1012968741%
                  CO94          Rio Grande County, Colorado           0.2526177695%
                  CO95          Routt County, Colorado                0.2323178565%
                  CO96          Saguache County, Colorado             0.0666194156%
                  CO97          San Juan County, Colorado             0.0097000947%
                  CO98          San Miguel County, Colorado           0.1004727271%
                  CO99          Sedgwick County, Colorado             0.0618109352%
                  CO100         Sheridan City, Colorado               0.2306795787%
                  CO101         Steamboat Springs City, Colorado      0.1513646932%
                  CO102         Sterling City, Colorado               0.0995110857%
                  CO103         Summit County, Colorado               0.3761345614%
                  CO104         Superior Town, Colorado               0.0014920421%
                  CO105         Teller County, Colorado               0.6218972779%
                  CO106         Thornton City, Colorado               1.0031200434%
                  CO107         Washington County, Colorado           0.0356553080%
                  CO108         Weld County, Colorado                 2.2921158443%
                  CO109         Wellington Town, Colorado             0.0235131848%
                  CO110         Westminster City, Colorado            1.1920065086%
                  CO111         Wheat Ridge City, Colorado            0.3438324783%
                  CO112         Windsor Town, Colorado                0.0900350795%
                  CO113         Yuma County, Colorado                 0.0992146077%




  Strictly Confidential
  Subject to Protective Order
                                                    G-38              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 176 of 611. PageID #: 572460
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   CT1          Andover Town, Connecticut            0.0513214640%
                   CT2          Ansonia City, Connecticut            0.5316052437%
                   CT3          Ashford Town, Connecticut            0.1096965130%
                   CT4          Avon Town, Connecticut               0.5494886534%
                   CT5          Barkhamsted Town, Connecticut        0.0620629520%
                   CT6          Beacon Falls Town, Connecticut       0.1953947308%
                   CT7          Berlin Town, Connecticut             0.5215629385%
                   CT8          Bethany Town, Connecticut            0.1039156068%
                   CT9          Bethel Town, Connecticut             0.3522422145%
                  CT10          Bethlehem Town, Connecticut          0.0078647202%
                  CT11          Bloomfield Town, Connecticut         0.4888368136%
                  CT12          Bolton Town, Connecticut             0.1520831395%
                  CT13          Bozrah Town, Connecticut             0.0582057867%
                  CT14          Branford Town, Connecticut           0.8903816954%
                  CT15          Bridgeport City, Connecticut         3.2580743095%
                  CT16          Bridgewater Town, Connecticut        0.0118125935%
                  CT17          Bristol City, Connecticut            1.3355768908%
                  CT18          Brookfield Town, Connecticut         0.3087903124%
                  CT19          Brooklyn Town, Connecticut           0.1880661562%
                  CT20          Burlington Town, Connecticut         0.2348761319%
                  CT21          Canaan Town, Connecticut             0.0343343640%
                  CT22          Canterbury Town, Connecticut         0.1354310071%
                  CT23          Canton Town, Connecticut             0.2669011966%
                  CT24          Chaplin Town, Connecticut            0.0523959290%
                  CT25          Cheshire Town, Connecticut           0.9783113499%
                  CT26          Chester Town, Connecticut            0.0772387574%
                  CT27          Clinton Town, Connecticut            0.5348726093%
                  CT28          Colchester Town, Connecticut         0.6134395770%
                  CT29          Colebrook Town, Connecticut          0.0296870114%
                  CT30          Columbia Town, Connecticut           0.1005666237%
                  CT31          Cornwall Town, Connecticut           0.0486027928%
                  CT32          Coventry Town, Connecticut           0.3460011479%
                  CT33          Cromwell Town, Connecticut           0.4750451453%
                  CT34          Danbury City, Connecticut            1.1556465907%
                  CT35          Darien Town, Connecticut             0.6429649345%
                  CT36          Deep River Town, Connecticut         0.0924563595%
                  CT37          Derby City, Connecticut              0.3503125449%
                  CT38          Durham Town, Connecticut             0.0079309232%
                  CT39          East Granby Town, Connecticut        0.1455975170%
                  CT40          East Haddam Town, Connecticut        0.3145696377%
                  CT41          East Hampton Town, Connecticut       0.4637546663%
                  CT42          East Hartford Town, Connecticut      1.2645454069%
                  CT43          East Haven Town, Connecticut         0.8590923735%
                  CT44          East Lyme Town, Connecticut          0.6375826296%
                  CT45          East Windsor Town, Connecticut       0.2419743793%
  Strictly Confidential
  Subject to Protective Order
                                                   G-39              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 177 of 611. PageID #: 572461
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  CT46          Eastford Town, Connecticut           0.0446651958%
                  CT47          Easton Town, Connecticut             0.1354961231%
                  CT48          Ellington Town, Connecticut          0.4010047839%
                  CT49          Enfield Town, Connecticut            0.9173431190%
                  CT50          Essex Town, Connecticut              0.1431870357%
                  CT51          Fairfield Town, Connecticut          1.4212308415%
                  CT52          Farmington Town, Connecticut         0.6572091547%
                  CT53          Franklin Town, Connecticut           0.0446032416%
                  CT54          Glastonbury Town, Connecticut        1.0420644550%
                  CT55          Goshen Town, Connecticut             0.0030464255%
                  CT56          Granby Town, Connecticut             0.2928405247%
                  CT57          Greenwich Town, Connecticut          1.5644702467%
                  CT58          Griswold Town, Connecticut           0.3865570141%
                  CT59          Groton Town, Connecticut             1.4033874500%
                  CT60          Guilford Town, Connecticut           0.8399392493%
                  CT61          Haddam Town, Connecticut             0.0151716553%
                  CT62          Hamden Town, Connecticut             1.7724359413%
                  CT63          Hampton Town, Connecticut            0.0429454985%
                  CT64          Hartford City, Connecticut           5.3268549899%
                  CT65          Hartland Town, Connecticut           0.0359782738%
                  CT66          Harwinton Town, Connecticut          0.0126363764%
                  CT67          Hebron Town, Connecticut             0.1593443254%
                  CT68          Kent Town, Connecticut               0.0835899976%
                  CT69          Killingly Town, Connecticut          0.6116898413%
                  CT70          Killingworth Town, Connecticut       0.2652963170%
                  CT71          Lebanon Town, Connecticut            0.2746607824%
                  CT72          Ledyard Town, Connecticut            0.5514380850%
                  CT73          Lisbon Town, Connecticut             0.1156355161%
                  CT74          Litchfield Town, Connecticut         0.3481982974%
                  CT75          Lyme Town, Connecticut               0.0023141411%
                  CT76          Madison Town, Connecticut            0.7594223560%
                  CT77          Manchester Town, Connecticut         1.3929765818%
                  CT78          Mansfield Town, Connecticut          0.3058754037%
                  CT79          Marlborough Town, Connecticut        0.0766010346%
                  CT80          Meriden City, Connecticut            1.8508778149%
                  CT81          Middlebury Town, Connecticut         0.0276033951%
                  CT82          Middlefield Town, Connecticut        0.0075627554%
                  CT83          Middletown City, Connecticut         1.5343128975%
                  CT84          Milford City, Connecticut            1.8215679630%
                  CT85          Monroe Town, Connecticut             0.4307375445%
                  CT86          Montville Town, Connecticut          0.5806185940%
                  CT87          Morris Town, Connecticut             0.0099785725%
                  CT88          Naugatuck Borough, Connecticut       1.0644527326%
                  CT89          New Britain City, Connecticut        1.5740557511%
                  CT90          New Canaan Town, Connecticut         0.6136187204%
  Strictly Confidential
  Subject to Protective Order
                                                   G-40              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 178 of 611. PageID #: 572462
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  CT91          New Fairfield Town, Connecticut         0.2962030448%
                  CT92          New Hartford Town, Connecticut          0.1323482193%
                  CT93          New Haven City, Connecticut             5.8061427601%
                  CT94          New London City, Connecticut            1.0536729060%
                  CT95          New Milford Town, Connecticut           1.0565475001%
                  CT96          Newington Town, Connecticut             0.7132456565%
                  CT97          Newtown, Connecticut                    0.5964476353%
                  CT98          Norfolk Town, Connecticut               0.0442819100%
                  CT99          North Branford Town, Connecticut        0.4795791623%
                  CT100         North Canaan Town, Connecticut          0.0913148022%
                  CT101         North Haven Town, Connecticut           0.7922543069%
                  CT102         North Stonington Town, Connecticut      0.1803885830%
                  CT103         Norwalk City, Connecticut               1.5918210823%
                  CT104         Norwich City, Connecticut               1.1639182124%
                  CT105         Old Lyme Town, Connecticut              0.0247921386%
                  CT106         Old Saybrook Town, Connecticut          0.4181170767%
                  CT107         Orange Town, Connecticut                0.3683598812%
                  CT108         Oxford Town, Connecticut                0.3955127994%
                  CT109         Plainfield Town, Connecticut            0.5352043161%
                  CT110         Plainville Town, Connecticut            0.3937549612%
                  CT111         Plymouth Town, Connecticut              0.4213382978%
                  CT112         Pomfret Town, Connecticut               0.1174722050%
                  CT113         Portland Town, Connecticut              0.3205523149%
                  CT114         Preston Town, Connecticut               0.1319895374%
                  CT115         Prospect Town, Connecticut              0.3056173107%
                  CT116         Putnam Town, Connecticut                0.2953254103%
                  CT117         Redding Town, Connecticut               0.1726435223%
                  CT118         Ridgefield Town, Connecticut            0.6645173744%
                  CT119         Rocky Hill Town, Connecticut            0.3929175425%
                  CT120         Roxbury Town, Connecticut               0.0037924445%
                  CT121         Salem Town, Connecticut                 0.1075219911%
                  CT122         Salisbury Town, Connecticut             0.1052257347%
                  CT123         Scotland Town, Connecticut              0.0395212218%
                  CT124         Seymour Town, Connecticut               0.5301171581%
                  CT125         Sharon Town, Connecticut                0.0761294123%
                  CT126         Shelton City, Connecticut               0.5601099879%
                  CT127         Sherman Town, Connecticut               0.0494382353%
                  CT128         Simsbury Town, Connecticut              0.6988446241%
                  CT129         Somers Town, Connecticut                0.2491740063%
                  CT130         South Windsor Town, Connecticut         0.7310935932%
                  CT131         Southbury Town, Connecticut             0.0581965974%
                  CT132         Southington Town, Connecticut           0.9683065927%
                  CT133         Sprague Town, Connecticut               0.0874709763%
                  CT134         Stafford Town, Connecticut              0.3388202949%
                  CT135         Stamford City, Connecticut              2.9070395589%
  Strictly Confidential
  Subject to Protective Order
                                                   G-41                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 179 of 611. PageID #: 572463
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  CT136         Sterling Town, Connecticut           0.0949826467%
                  CT137         Stonington Town, Connecticut         0.5576891315%
                  CT138         Stratford Town, Connecticut          0.9155695700%
                  CT139         Suffield Town, Connecticut           0.3402792315%
                  CT140         Thomaston Town, Connecticut          0.2664061562%
                  CT141         Thompson Town, Connecticut           0.2673479187%
                  CT142         Tolland Town, Connecticut            0.4342020371%
                  CT143         Torrington City, Connecticut         1.3652460176%
                  CT144         Trumbull Town, Connecticut           0.7617744403%
                  CT145         Union Town, Connecticut              0.0153941764%
                  CT146         Vernon Town, Connecticut             0.7027162157%
                  CT147         Voluntown, Connecticut               0.0733181557%
                  CT148         Wallingford Town, Connecticut        1.5350353996%
                  CT149         Warren Town, Connecticut             0.0489758024%
                  CT150         Washington Town, Connecticut         0.1553517897%
                  CT151         Waterbury City, Connecticut          4.6192219654%
                  CT152         Waterford Town, Connecticut          0.7608802056%
                  CT153         Watertown, Connecticut               0.6868118808%
                  CT154         West Hartford Town, Connecticut      1.6216697477%
                  CT155         West Haven City, Connecticut         1.4026972589%
                  CT156         Westbrook Town, Connecticut          0.2586999280%
                  CT157         Weston Town, Connecticut             0.3664201329%
                  CT158         Westport Town, Connecticut           0.8921084083%
                  CT159         Wethersfield Town, Connecticut       0.6208707168%
                  CT160         Willington Town, Connecticut         0.0975268185%
                  CT161         Wilton Town, Connecticut             0.6378099925%
                  CT162         Winchester Town, Connecticut         0.3760305376%
                  CT163         Windham Town, Connecticut            1.0108949901%
                  CT164         Windsor Locks Town, Connecticut      0.3174167624%
                  CT165         Windsor Town, Connecticut            0.7548324123%
                  CT166         Wolcott Town, Connecticut            0.5443693820%
                  CT167         Woodbridge Town, Connecticut         0.2435300513%
                  CT168         Woodbury Town, Connecticut           0.3411988605%
                  CT169         Woodmont Borough, Connecticut        0.0173159412%
                  CT170         Woodstock Town, Connecticut          0.1817110623%




  Strictly Confidential
  Subject to Protective Order
                                                   G-42              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 180 of 611. PageID #: 572464
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                Consolidated State
                 State ID              Qualifying Subdivision      Allocation
                   DE1          Dover City, Delaware                25.00000000%
                                                                           ($1.00)
                   DE2          Kent County, Delaware               25.00000000%
                                                                           ($1.00)
                   DE3          Middletown, Delaware               0.0000000000%
                   DE4          Milford City, Delaware             0.0000000000%
                   DE5          New Castle County, Delaware        0.0000000000%
                   DE6          Newark City, Delaware              0.0000000000%
                   DE7          Seaford City, Delaware              25.00000000%
                                                                           ($1.00)
                   DE8          Smyrna Town, Delaware              0.0000000000%
                   DE9          Sussex County, Delaware             25.00000000%
                                                                           ($1.00)
                  DE10          Wilmington City, Delaware          0.0000000000%




  Strictly Confidential
  Subject to Protective Order
                                                   G-43            Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 181 of 611. PageID #: 572465
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID              Qualifying Subdivision         Allocation
                   DC1          Washington, District of Columbia    100.0000000000%




  Strictly Confidential
  Subject to Protective Order
                                                    G-44              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 182 of 611. PageID #: 572466
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                   FL1          Alachua County, Florida                 0.8594613234%
                   FL2          Altamonte Springs City, Florida         0.0813054302%
                   FL3          Apopka City, Florida                    0.0972154704%
                   FL4          Atlantic Beach City, Florida            0.0388915664%
                   FL5          Auburndale City, Florida                0.0286367831%
                   FL6          Aventura City, Florida                  0.0246200756%
                   FL7          Avon Park City, Florida                 0.0258288737%
                   FL8          Baker County, Florida                   0.1931736622%
                   FL9          Bartow City, Florida                    0.0439725748%
                  FL10          Bay County, Florida                     0.5394465693%
                  FL11          Belle Glade City, Florida               0.0208278128%
                  FL12          Boca Raton City, Florida                0.4720689632%
                  FL13          Bonita Springs City, Florida            0.0173754580%
                  FL14          Boynton Beach City, Florida             0.3064979246%
                  FL15          Bradenton City, Florida                 0.3799303249%
                  FL16          Bradford County, Florida                0.1894834807%
                  FL17          Brevard County, Florida                 2.3870763525%
                  FL18          Broward County, Florida                 4.0626227708%
                  FL19          Calhoun County, Florida                 0.0471282181%
                  FL20          Callaway City, Florida                  0.0249535015%
                  FL21          Cape Canaveral City, Florida            0.0455607190%
                  FL22          Cape Coral City, Florida                0.7144300110%
                  FL23          Casselberry City, Florida               0.0800352962%
                  FL24          Charlotte County, Florida               0.6902251426%
                  FL25          Citrus County, Florida                  0.9696466473%
                  FL26          Clay County, Florida                    1.1934300121%
                  FL27          Clearwater City, Florida                0.6338625372%
                  FL28          Clermont City, Florida                  0.0759095348%
                  FL29          Cocoa Beach City, Florida               0.0843632048%
                  FL30          Cocoa City, Florida                     0.1492447199%
                  FL31          Coconut Creek City, Florida             0.1011309318%
                  FL32          Collier County, Florida                 1.3548224874%
                  FL33          Columbia County, Florida                0.3421221973%
                  FL34          Cooper City, Florida                    0.0739363249%
                  FL35          Coral Gables City, Florida              0.0717799422%
                  FL36          Coral Springs City, Florida             0.3234064085%
                  FL37          Crestview City, Florida                 0.0704397566%
                  FL38          Cutler Bay Town, Florida                0.0094141463%
                  FL39          Dania Beach City, Florida               0.0178067890%
                  FL40          Davie Town, Florida                     0.2669225293%
                  FL41          Daytona Beach City, Florida             0.4475559985%
                  FL42          Daytona Beach Shores City, Florida      0.0397433158%
                  FL43          De Soto County, Florida                 0.1136404205%
                  FL44          Debary City, Florida                    0.0352833296%
                  FL45          Deerfield Beach City, Florida           0.2024233562%
  Strictly Confidential
  Subject to Protective Order
                                                    G-45                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 183 of 611. PageID #: 572467
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  FL46          Deland City, Florida                 0.0989843542%
                  FL47          Delray Beach City, Florida           0.3518466005%
                  FL48          Deltona City, Florida                0.1993292304%
                  FL49          Destin City, Florida                 0.0146783092%
                  FL50          Dixie County, Florida                0.1037443927%
                  FL51          Doral City, Florida                  0.0139780477%
                  FL52          Dunedin City, Florida                0.1024411213%
                  FL53          Eatonville Town, Florida             0.0083256415%
                  FL54          Edgewater City, Florida              0.0580427172%
                  FL55          Escambia County, Florida             1.0109990610%
                  FL56          Estero Village, Florida              0.0120797555%
                  FL57          Eustis City, Florida                 0.0419300395%
                  FL58          Fernandina Beach City, Florida       0.0831601989%
                  FL59          Flagler County, Florida              0.3050082484%
                  FL60          Florida City, Florida                0.0039287890%
                  FL61          Fort Lauderdale City, Florida        0.8305816295%
                  FL62          Fort Myers City, Florida             0.4310995634%
                  FL63          Fort Pierce City, Florida            0.1595358726%
                  FL64          Fort Walton Beach City, Florida      0.0778370605%
                  FL65          Franklin County, Florida             0.0499106708%
                  FL66          Fruitland Park City, Florida         0.0083820932%
                  FL67          Gadsden County, Florida              0.1236554705%
                  FL68          Gainesville City, Florida            0.3815982894%
                  FL69          Gilchrist County, Florida            0.0643335042%
                  FL70          Glades County, Florida               0.0406124963%
                  FL71          Greenacres City, Florida             0.0764248986%
                  FL72          Groveland City, Florida              0.0261531482%
                  FL73          Gulf County, Florida                 0.0599141908%
                  FL74          Gulfport City, Florida               0.0478945547%
                  FL75          Haines City, Florida                 0.0479847066%
                  FL76          Hallandale Beach City, Florida       0.1549505272%
                  FL77          Hamilton County, Florida             0.0479418005%
                  FL78          Hardee County, Florida               0.0671103643%
                  FL79          Hendry County, Florida               0.1444608951%
                  FL80          Hernando County, Florida             1.5100758996%
                  FL81          Hialeah City, Florida                0.0980156525%
                  FL82          Hialeah Gardens City, Florida        0.0054519294%
                  FL83          Highlands County, Florida            0.2931860386%
                  FL84          Hillsborough County, Florida         6.5231125308%
                  FL85          Holly Hill City, Florida             0.0316162444%
                  FL86          Hollywood City, Florida              0.5201647754%
                  FL87          Holmes County, Florida               0.0816118922%
                  FL88          Homestead City, Florida              0.0249353985%
                  FL89          Indian River County, Florida         0.6541177901%
                  FL90          Jackson County, Florida              0.1589357678%
  Strictly Confidential
  Subject to Protective Order
                                                    G-46             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 184 of 611. PageID #: 572468
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  FL91          Jacksonville Beach City, Florida      0.1004466852%
                  FL92          Jacksonville City, Florida            5.2956380196%
                  FL93          Jefferson County, Florida             0.0408207989%
                  FL94          Jupiter Town, Florida                 0.1254666431%
                  FL95          Key Biscayne Village, Florida         0.0136838783%
                  FL96          Key West City, Florida                0.0880867779%
                  FL97          Kissimmee City, Florida               0.1623657708%
                  FL98          Lady Lake Town, Florida               0.0250481927%
                  FL99          Lafayette County, Florida             0.0319113399%
                  FL100         Lake City, Florida                    0.1046594391%
                  FL101         Lake County, Florida                  0.7815478562%
                  FL102         Lake Mary City, Florida               0.0797674370%
                  FL103         Lake Wales City, Florida              0.0362931762%
                  FL104         Lake Worth City, Florida              0.1171459041%
                  FL105         Lakeland City, Florida                0.2948749206%
                  FL106         Lantana Town, Florida                 0.0245078987%
                  FL107         Largo City, Florida                   0.3741936498%
                  FL108         Lauderdale Lakes City, Florida        0.0626243040%
                  FL109         Lauderhill City, Florida              0.1443830721%
                  FL110         Lee County, Florida                   2.1503874299%
                  FL111         Leesburg City, Florida                0.0913398906%
                  FL112         Leon County, Florida                  0.4712019797%
                  FL113         Levy County, Florida                  0.2511923208%
                  FL114         Liberty County, Florida               0.0193986191%
                  FL115         Lighthouse Point City, Florida        0.0291322827%
                  FL116         Longwood City, Florida                0.0617091669%
                  FL117         Lynn Haven City, Florida              0.0392057816%
                  FL118         Madison County, Florida               0.0635403309%
                  FL119         Maitland City, Florida                0.0467282451%
                  FL120         Manatee County, Florida               2.2885234019%
                  FL121         Marco Island City, Florida            0.0620945413%
                  FL122         Margate City, Florida                 0.1436833554%
                  FL123         Marion County, Florida                1.3321814866%
                  FL124         Martin County, Florida                0.7882651079%
                  FL125         Melbourne City, Florida               0.3831054876%
                  FL126         Miami Beach City, Florida             0.1814092477%
                  FL127         Miami City, Florida                   0.2927934557%
                  FL128         Miami Gardens City, Florida           0.0406839641%
                  FL129         Miami Lakes Town, Florida             0.0078375139%
                  FL130         Miami Shores Village, Florida         0.0062876094%
                  FL131         Miami Springs City, Florida           0.0061694950%
                  FL132         Miami-Dade County, Florida            4.3271705192%
                  FL133         Milton City, Florida                  0.0466314657%
                  FL134         Minneola City, Florida                0.0160580418%
                  FL135         Miramar City, Florida                 0.2792796404%
  Strictly Confidential
  Subject to Protective Order
                                                    G-47              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 185 of 611. PageID #: 572469
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  FL136         Monroe County, Florida                 0.3883011967%
                  FL137         Mount Dora City, Florida               0.0410212212%
                  FL138         Naples City, Florida                   0.1344157944%
                  FL139         Nassau County, Florida                 0.3937725183%
                  FL140         New Port Richey City, Florida          0.1498783253%
                  FL141         New Smyrna Beach City, Florida         0.1040660344%
                  FL142         Niceville City, Florida                0.0217446385%
                  FL143         North Lauderdale City, Florida         0.0660690508%
                  FL144         North Miami Beach City, Florida        0.0303917946%
                  FL145         North Miami City, Florida              0.0303784307%
                  FL146         North Palm Beach Village, Florida      0.0443491609%
                  FL147         North Port City, Florida               0.2096119036%
                  FL148         Oakland Park City, Florida             0.1004312332%
                  FL149         Ocala City, Florida                    0.3689945815%
                  FL150         Ocoee City, Florida                    0.0666000846%
                  FL151         Okaloosa County, Florida               0.6345124117%
                  FL152         Okeechobee County, Florida             0.3534953181%
                  FL153         Oldsmar City, Florida                  0.0394219828%
                  FL154         Opa-Locka City, Florida                0.0078475369%
                  FL155         Orange City, Florida                   0.0335624179%
                  FL156         Orange County, Florida                 3.1307419804%
                  FL157         Orlando City, Florida                  1.1602492100%
                  FL158         Ormond Beach City, Florida             0.1146438211%
                  FL159         Osceola County, Florida                0.8372491116%
                  FL160         Oviedo City, Florida                   0.1031308696%
                  FL161         Palatka City, Florida                  0.0469549231%
                  FL162         Palm Bay City, Florida                 0.4048169342%
                  FL163         Palm Beach County, Florida             5.9784001645%
                  FL164         Palm Beach Gardens City, Florida       0.2336752163%
                  FL165         Palm Coast City, Florida               0.0848564709%
                  FL166         Palm Springs Village, Florida          0.0380209877%
                  FL167         Palmetto Bay Village, Florida          0.0074040767%
                  FL168         Palmetto City, Florida                 0.0528697594%
                  FL169         Panama City Beach City, Florida        0.0808973045%
                  FL170         Panama City, Florida                   0.1551531466%
                  FL171         Parkland City, Florida                 0.0458042834%
                  FL172         Pasco County, Florida                  4.4295368317%
                  FL173         Pembroke Pines City, Florida           0.4628331778%
                  FL174         Pensacola City, Florida                0.3306359554%
                  FL175         Pinecrest Village, Florida             0.0082965714%
                  FL176         Pinellas County, Florida               4.7935359992%
                  FL177         Pinellas Park City, Florida            0.2516664490%
                  FL178         Plant City, Florida                    0.1042185754%
                  FL179         Plantation City, Florida               0.2139192761%
                  FL180         Polk County, Florida                   1.6016881161%
  Strictly Confidential
  Subject to Protective Order
                                                    G-48               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 186 of 611. PageID #: 572470
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  FL181         Pompano Beach City, Florida            0.3354719648%
                  FL182         Port Orange City, Florida              0.1775970116%
                  FL183         Port St. Lucie City, Florida           0.3908042602%
                  FL184         Punta Gorda City, Florida              0.0471207554%
                  FL185         Putnam County, Florida                 0.3379382594%
                  FL186         Riviera Beach City, Florida            0.1636174387%
                  FL187         Rockledge City, Florida                0.0966039082%
                  FL188         Royal Palm Beach Village, Florida      0.0492948779%
                  FL189         Safety Harbor City, Florida            0.0380615697%
                  FL190         Sanford City, Florida                  0.1642438718%
                  FL191         Santa Rosa County, Florida             0.6546368035%
                  FL192         Sarasota City, Florida                 0.4842803786%
                  FL193         Sarasota County, Florida               1.9688041245%
                  FL194         Satellite Beach City, Florida          0.0359750389%
                  FL195         Sebastian City, Florida                0.0383157745%
                  FL196         Sebring City, Florida                  0.0381728569%
                  FL197         Seminole City, Florida                 0.0952489243%
                  FL198         Seminole County, Florida               1.5086951138%
                  FL199         South Daytona City, Florida            0.0452214101%
                  FL200         South Miami City, Florida              0.0078330472%
                  FL201         St Johns County, Florida               0.6638216753%
                  FL202         St Lucie County, Florida               0.9562887503%
                  FL203         St. Augustine City, Florida            0.0465108819%
                  FL204         St. Cloud City, Florida                0.0738366040%
                  FL205         St. Petersburg City, Florida           1.4565924173%
                  FL206         Stuart City, Florida                   0.0812230134%
                  FL207         Sumter County, Florida                 0.3263986345%
                  FL208         Sunny Isles Beach City, Florida        0.0076937793%
                  FL209         Sunrise City, Florida                  0.2860704481%
                  FL210         Suwannee County, Florida               0.1910149373%
                  FL211         Sweetwater City, Florida               0.0041159745%
                  FL212         Tallahassee City, Florida              0.4259972563%
                  FL213         Tamarac City, Florida                  0.1344928911%
                  FL214         Tampa City, Florida                    1.9756726462%
                  FL215         Tarpon Springs City, Florida           0.1019709696%
                  FL216         Tavares City, Florida                  0.0318218598%
                  FL217         Taylor County, Florida                 0.0921812176%
                  FL218         Temple Terrace City, Florida           0.1079810418%
                  FL219         Titusville City, Florida               0.2400558465%
                  FL220         Union County, Florida                  0.0651555116%
                  FL221         Venice City, Florida                   0.1423476183%
                  FL222         Vero Beach City, Florida               0.0606417248%
                  FL223         Volusia County, Florida                1.7446849189%
                  FL224         Wakulla County, Florida                0.1151294611%
                  FL225         Walton County, Florida                 0.2685576832%
  Strictly Confidential
  Subject to Protective Order
                                                    G-49               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 187 of 611. PageID #: 572471
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  FL226         Washington County, Florida          0.1201244575%
                  FL227         Wellington Village, Florida         0.0501840680%
                  FL228         West Melbourne City, Florida        0.0519971652%
                  FL229         West Palm Beach City, Florida       0.5492662267%
                  FL230         West Park City, Florida             0.0295538994%
                  FL231         Weston City, Florida                0.1386373546%
                  FL232         Wilton Manors City, Florida         0.0316306070%
                  FL233         Winter Garden City, Florida         0.0562653176%
                  FL234         Winter Haven City, Florida          0.0970328243%
                  FL235         Winter Park City, Florida           0.1049029672%
                  FL236         Winter Springs City, Florida        0.0622621530%
                  FL237         Zephyrhills City, Florida           0.1126717551%




  Strictly Confidential
  Subject to Protective Order
                                                   G-50             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 188 of 611. PageID #: 572472
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                   GA1          Acworth City, Georgia                     0.1010066057%
                   GA2          Adel City, Georgia                        0.0545649432%
                   GA3          Albany City, Georgia                      0.3157843012%
                   GA4          Alma City, Georgia                        0.0720108615%
                   GA5          Alpharetta City, Georgia                  0.2110377863%
                   GA6          Americus City, Georgia                    0.0651732444%
                   GA7          Appling County, Georgia                   0.1891925647%
                   GA8          Arlington City, Georgia                   0.0057755147%
                   GA9          Athens-Clarke County Unified              1.3856330305%
                                Government, Georgia
                  GA10          Atkinson County, Georgia                  0.0986720780%
                  GA11          Atlanta City, Georgia                     2.9922320659%
                  GA12          Augusta-Richmond County Consolidated      2.7761021713%
                                Government, Georgia
                  GA13          Bacon County, Georgia                     0.1326313298%
                  GA14          Bainbridge City, Georgia                  0.0569861790%
                  GA15          Baker County, Georgia                     0.0138992540%
                  GA16          Baldwin County, Georgia                   0.2940093402%
                  GA17          Banks County, Georgia                     0.2108287241%
                  GA18          Barrow County, Georgia                    0.7562315570%
                  GA19          Bartow County, Georgia                    1.0945235112%
                  GA20          Ben Hill County, Georgia                  0.0834031458%
                  GA21          Berrien County, Georgia                   0.1225733642%
                  GA22          Blackshear City, Georgia                  0.0349161927%
                  GA23          Blakely City, Georgia                     0.0158441397%
                  GA24          Bleckley County, Georgia                  0.1430561858%
                  GA25          Brantley County, Georgia                  0.2875410777%
                  GA26          Braselton Town, Georgia                   0.0371467624%
                  GA27          Brookhaven City, Georgia                  0.0913450445%
                  GA28          Brooks County, Georgia                    0.1455943886%
                  GA29          Brunswick City, Georgia                   0.1020085339%
                  GA30          Bryan County, Georgia                     0.2289883650%
                  GA31          Buford City, Georgia                      0.0023586547%
                  GA32          Bulloch County, Georgia                   0.4088475182%
                  GA33          Burke County, Georgia                     0.1875413288%
                  GA34          Butts County, Georgia                     0.3747020131%
                  GA35          Calhoun City, Georgia                     0.1780085402%
                  GA36          Calhoun County, Georgia                   0.0360783561%
                  GA37          Camden County, Georgia                    0.3387009665%
                  GA38          Candler County, Georgia                   0.0990882539%
                  GA39          Canton City, Georgia                      0.1378274535%
                  GA40          Carroll County, Georgia                   1.4108548814%
                  GA41          Carrollton City, Georgia                  0.4395018339%
                  GA42          Cartersville City, Georgia                0.2991406477%
                  GA43          Catoosa County, Georgia                   1.1134068466%
  Strictly Confidential
  Subject to Protective Order
                                                  G-51                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 189 of 611. PageID #: 572473
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  GA44          Chamblee City, Georgia                    0.0537051979%
                  GA45          Charlton County, Georgia                  0.1046313818%
                  GA46          Chatham County, Georgia                   1.4544033708%
                  GA47          Chattooga County, Georgia                 0.3317513109%
                  GA48          Cherokee County, Georgia                  2.1190683851%
                  GA49          Clarkston City, Georgia                   0.0175253481%
                  GA50          Clay County, Georgia                      0.0274637104%
                  GA51          Clayton County, Georgia                   1.6728881377%
                  GA52          Clinch County, Georgia                    0.0617206810%
                  GA53          Cobb County, Georgia                      5.8580801967%
                  GA54          Coffee County, Georgia                    0.4164755944%
                  GA55          College Park City, Georgia                0.1805996391%
                  GA56          Colquitt County, Georgia                  0.2578612394%
                  GA57          Columbia County, Georgia                  1.2905730633%
                  GA58          Columbus City, Georgia                    1.8227140298%
                  GA59          Conyers City, Georgia                     0.1202231912%
                  GA60          Cook County, Georgia                      0.0973405674%
                  GA61          Cordele City, Georgia                     0.0583989534%
                  GA62          Covington City, Georgia                   0.1969084378%
                  GA63          Coweta County, Georgia                    0.9767276305%
                  GA64          Crawford County, Georgia                  0.1282569558%
                  GA65          Crisp County, Georgia                     0.1296658905%
                  GA66          Cusseta-Chattahoochee County Unified      0.0695538650%
                                Government, Georgia
                  GA67          Dade County, Georgia                      0.1799465490%
                  GA68          Dallas City, Georgia                      0.0916776643%
                  GA69          Dalton City, Georgia                      0.3628092518%
                  GA70          Damascus City, Georgia                    0.0005040301%
                  GA71          Dawson City, Georgia                      0.0138696254%
                  GA72          Dawson County, Georgia                    0.3215223361%
                  GA73          Decatur City, Georgia                     0.1040340531%
                  GA74          Decatur County, Georgia                   0.1633371087%
                  GA75          Dekalb County, Georgia                    4.1483991779%
                  GA76          Demorest City, Georgia                    0.0233539880%
                  GA77          Dodge County, Georgia                     0.3228398634%
                  GA78          Dooly County, Georgia                     0.0758970226%
                  GA79          Doraville City, Georgia                   0.0619484258%
                  GA80          Dougherty County, Georgia                 0.4519146718%
                  GA81          Douglas City, Georgia                     0.2364366638%
                  GA82          Douglas County, Georgia                   1.2411219485%
                  GA83          Douglasville City, Georgia                0.2313289102%
                  GA84          Dublin City, Georgia                      0.1598683843%
                  GA85          Duluth City, Georgia                      0.1174400509%
                  GA86          Dunwoody City, Georgia                    0.0823645400%
                  GA87          Early County, Georgia                     0.0433467628%
  Strictly Confidential
  Subject to Protective Order
                                                   G-52                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 190 of 611. PageID #: 572474
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  GA88          East Point City, Georgia               0.2308433908%
                  GA89          Echols County, Georgia                 0.0262187359%
                  GA90          Effingham County, Georgia              0.4645781207%
                  GA91          Elbert County, Georgia                 0.2655117233%
                  GA92          Emanuel County, Georgia                0.2278497555%
                  GA93          Evans County, Georgia                  0.1156959749%
                  GA94          Fairburn City, Georgia                 0.0542552469%
                  GA95          Fannin County, Georgia                 0.5651805280%
                  GA96          Fayette County, Georgia                0.6527012475%
                  GA97          Fayetteville City, Georgia             0.1201203794%
                  GA98          Fitzgerald City, Georgia               0.0569093853%
                  GA99          Floyd County, Georgia                  0.9887350092%
                  GA100         Forest Park City, Georgia              0.1455200592%
                  GA101         Forsyth County, Georgia                1.7110664570%
                  GA102         Franklin County, Georgia               0.5550296650%
                  GA103         Fulton County, Georgia                 3.5353742420%
                  GA104         Gainesville City, Georgia              0.3640437388%
                  GA105         Georgetown-Quitman County Unified      0.0176595651%
                                Government, Georgia
                 GA106          Gilmer County, Georgia                 0.4239021158%
                 GA107          Glascock County, Georgia               0.0283662653%
                 GA108          Glynn County, Georgia                  0.7968809706%
                 GA109          Gordon County, Georgia                 0.4175279543%
                 GA110          Grady County, Georgia                  0.1716497947%
                 GA111          Greene County, Georgia                 0.1737385827%
                 GA112          Griffin City, Georgia                  0.2287480123%
                 GA113          Grovetown City, Georgia                0.0632622854%
                 GA114          Gwinnett County, Georgia               4.8912732775%
                 GA115          Habersham County, Georgia              0.4635124652%
                 GA116          Hall County, Georgia                   1.5772937095%
                 GA117          Hancock County, Georgia                0.0536800967%
                 GA118          Haralson County, Georgia               1.0934912667%
                 GA119          Harris County, Georgia                 0.2037540782%
                 GA120          Hart County, Georgia                   0.2935398099%
                 GA121          Heard County, Georgia                  0.1232058232%
                 GA122          Henry County, Georgia                  1.9715208583%
                 GA123          Hinesville City, Georgia               0.2572364025%
                 GA124          Holly Springs City, Georgia            0.0823108417%
                 GA125          Houston County, Georgia                0.8378076437%
                 GA126          Irwin County, Georgia                  0.0610553841%
                 GA127          Jackson County, Georgia                0.9201220386%
                 GA128          Jasper County, Georgia                 0.1152245534%
                 GA129          Jeff Davis County, Georgia             0.3659791686%
                 GA130          Jefferson City, Georgia                0.0881783943%
                 GA131          Jefferson County, Georgia              0.1517559349%
  Strictly Confidential
  Subject to Protective Order
                                                  G-53                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 191 of 611. PageID #: 572475
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  GA132         Jenkins County, Georgia             0.0808740550%
                  GA133         Johns Creek City, Georgia           0.1877697040%
                  GA134         Johnson County, Georgia             0.0876584323%
                  GA135         Jones County, Georgia               0.2773521617%
                  GA136         Kennesaw City, Georgia              0.1446191663%
                  GA137         Kingsland City, Georgia             0.1313198199%
                  GA138         Lagrange City, Georgia              0.2069622772%
                  GA139         Lakeland City, Georgia              0.0155232109%
                  GA140         Lamar County, Georgia               0.2083015245%
                  GA141         Lanier County, Georgia              0.0574613256%
                  GA142         Laurens County, Georgia             0.5249834521%
                  GA143         Lawrenceville City, Georgia         0.1647173317%
                  GA144         Lee County, Georgia                 0.2162850866%
                  GA145         Liberty County, Georgia             0.2931642086%
                  GA146         Lilburn City, Georgia               0.0538355752%
                  GA147         Lincoln County, Georgia             0.1000487479%
                  GA148         Loganville City, Georgia            0.1468681321%
                  GA149         Long County, Georgia                0.1216766548%
                  GA150         Lowndes County, Georgia             0.6253829866%
                  GA151         Lumpkin County, Georgia             0.3139555802%
                  GA152         Macon County, Georgia               0.1110857755%
                  GA153         Macon-Bibb County Unified           2.0265214623%
                                Government, Georgia
                 GA154          Madison County, Georgia             0.5114434091%
                 GA155          Marietta City, Georgia              0.7354006996%
                 GA156          Marion County, Georgia              0.0615218771%
                 GA157          McDonough City, Georgia             0.0803644086%
                 GA158          McDuffie County, Georgia            0.2216409869%
                 GA159          McIntosh County, Georgia            0.1678759014%
                 GA160          Meriwether County, Georgia          0.2015834534%
                 GA161          Milledgeville City, Georgia         0.1343842887%
                 GA162          Miller County, Georgia              0.0562389307%
                 GA163          Milton City, Georgia                0.0765630644%
                 GA164          Mitchell County, Georgia            0.1842864232%
                 GA165          Monroe City, Georgia                0.1616058698%
                 GA166          Monroe County, Georgia              0.2463868890%
                 GA167          Montgomery County, Georgia          0.0685440855%
                 GA168          Morgan County, Georgia              0.1807932852%
                 GA169          Moultrie City, Georgia              0.1150272968%
                 GA170          Murray County, Georgia              0.6862865600%
                 GA171          Nashville City, Georgia             0.0288042758%
                 GA172          Newnan City, Georgia                0.2037973462%
                 GA173          Newton County, Georgia              0.6206699754%
                 GA174          Norcross City, Georgia              0.0762036242%
                 GA175          Oconee County, Georgia              0.2721000475%
  Strictly Confidential
  Subject to Protective Order
                                                   G-54             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 192 of 611. PageID #: 572476
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  GA176         Oglethorpe County, Georgia           0.1461658711%
                  GA177         Paulding County, Georgia             1.7495211188%
                  GA178         Peach County, Georgia                0.2319656673%
                  GA179         Peachtree City, Georgia              0.2219833492%
                  GA180         Peachtree Corners City, Georgia      0.2099400952%
                  GA181         Perry City, Georgia                  0.0954580908%
                  GA182         Pickens County, Georgia              0.3905362384%
                  GA183         Pierce County, Georgia               0.2012068205%
                  GA184         Pike County, Georgia                 0.1072270653%
                  GA185         Polk County, Georgia                 0.7130941429%
                  GA186         Pooler City, Georgia                 0.0516303360%
                  GA187         Powder Springs City, Georgia         0.0633430906%
                  GA188         Pulaski County, Georgia              0.1671565625%
                  GA189         Putnam County, Georgia               0.2061208707%
                  GA190         Rabun County, Georgia                0.3170130000%
                  GA191         Randolph County, Georgia             0.0382245100%
                  GA192         Richmond Hill City, Georgia          0.0716382402%
                  GA193         Riverdale City, Georgia              0.0684460876%
                  GA194         Rockdale County, Georgia             0.7947696030%
                  GA195         Rome City, Georgia                   0.3719383578%
                  GA196         Roswell City, Georgia                0.2174642134%
                  GA197         Sandy Springs City, Georgia          0.2590143480%
                  GA198         Savannah City, Georgia               1.1246685243%
                  GA199         Schley County, Georgia               0.0238356678%
                  GA200         Screven County, Georgia              0.1132053955%
                  GA201         Seminole County, Georgia             0.0804817769%
                  GA202         Smyrna City, Georgia                 0.2661908888%
                  GA203         Snellville City, Georgia             0.0758688840%
                  GA204         Spalding County, Georgia             0.5900646014%
                  GA205         Springfield City, Georgia            0.0124802329%
                  GA206         St. Marys City, Georgia              0.0962803562%
                  GA207         Statesboro City, Georgia             0.1844690660%
                  GA208         Stephens County, Georgia             0.7520555284%
                  GA209         Stewart County, Georgia              0.0419742764%
                  GA210         Stockbridge City, Georgia            0.0302698888%
                  GA211         Sugar Hill City, Georgia             0.0106058369%
                  GA212         Sumter County, Georgia               0.1314426325%
                  GA213         Suwanee City, Georgia                0.0700562332%
                  GA214         Talbot County, Georgia               0.0410357316%
                  GA215         Taliaferro County, Georgia           0.0068637499%
                  GA216         Tattnall County, Georgia             0.2930768128%
                  GA217         Taylor County, Georgia               0.0819435502%
                  GA218         Telfair County, Georgia              0.1855378735%
                  GA219         Terrell County, Georgia              0.0334710962%
                  GA220         Thomas County, Georgia               0.2077911904%
  Strictly Confidential
  Subject to Protective Order
                                                    G-55             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 193 of 611. PageID #: 572477
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID               Qualifying Subdivision          Allocation
                  GA221         Thomasville City, Georgia               0.1281973547%
                  GA222         Tift County, Georgia                    0.2088288220%
                  GA223         Tifton City, Georgia                    0.1416502311%
                  GA224         Toombs County, Georgia                  0.2423104056%
                  GA225         Towns County, Georgia                   0.2454408368%
                  GA226         Treutlen County, Georgia                0.0571447522%
                  GA227         Troup County, Georgia                   0.4334095739%
                  GA228         Tucker City, Georgia                    0.0615225648%
                  GA229         Turner County, Georgia                  0.0697951920%
                  GA230         Twiggs County, Georgia                  0.0640416265%
                  GA231         Union City, Georgia                     0.1531538090%
                  GA232         Union County, Georgia                   0.2949759089%
                  GA233         Upson County, Georgia                   0.3355566667%
                  GA234         Valdosta City, Georgia                  0.2598246932%
                  GA235         Vidalia City, Georgia                   0.1252530050%
                  GA236         Villa Rica City, Georgia                0.1397113628%
                  GA237         Walker County, Georgia                  0.8453605309%
                  GA238         Walton County, Georgia                  0.8194381956%
                  GA239         Ware County, Georgia                    0.5170078559%
                  GA240         Warner Robins City, Georgia             0.3969845574%
                  GA241         Warren County, Georgia                  0.0447828045%
                  GA242         Warwick City, Georgia                   0.0103298381%
                  GA243         Washington County, Georgia              0.1959988913%
                  GA244         Waycross City, Georgia                  0.1358274367%
                  GA245         Wayne County, Georgia                   0.6609347902%
                  GA246         Webster County Unified Government,      0.0143656323%
                                Georgia
                 GA247          Wheeler County, Georgia                 0.0675300652%
                 GA248          White County, Georgia                   0.4351939380%
                 GA249          Whitfield County, Georgia               0.7644288806%
                 GA250          Wilcox County, Georgia                  0.0828696590%
                 GA251          Wilkes County, Georgia                  0.0976306068%
                 GA252          Wilkinson County, Georgia               0.0847297279%
                 GA253          Winder City, Georgia                    0.2007720766%
                 GA254          Woodbury City, Georgia                  0.0085236394%
                 GA255          Woodstock City, Georgia                 0.1942956763%
                 GA256          Worth County, Georgia                   0.1491832321%




  Strictly Confidential
  Subject to Protective Order
                                                   G-56                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 194 of 611. PageID #: 572478
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                Consolidated State
                 State ID              Qualifying Subdivision      Allocation
                   HI1          Hawaii County, Hawaii             18.2671692501%
                   HI2          Kalawao, Hawaii                    0.0034501514%
                   HI3          Kauai County, Hawaii               5.7006273580%
                   HI4          Maui County, Hawaii               13.9979969296%
                   HI5          Urban Honolulu CDP, Hawaii        62.0307563109%




  Strictly Confidential
  Subject to Protective Order
                                                  G-57             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 195 of 611. PageID #: 572479
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                    ID1         Ada County, Idaho                  13.2776278333%
                    ID2         Adams County, Idaho                 0.1446831902%
                    ID3         Ammon City, Idaho                   0.0812916024%
                    ID4         Bannock County, Idaho               3.0595589832%
                    ID5         Bear Lake County, Idaho             0.6082712041%
                    ID6         Benewah County, Idaho               0.6526829809%
                    ID7         Bingham County, Idaho               1.6421270812%
                    ID8         Blackfoot City, Idaho               0.6283857401%
                    ID9         Blaine County, Idaho                0.9137717551%
                   ID10         Boise City, Idaho                  12.7586409110%
                   ID11         Boise County, Idaho                 0.3309644652%
                   ID12         Bonner County, Idaho                2.5987361786%
                   ID13         Bonneville County, Idaho            3.7761253875%
                   ID14         Boundary County, Idaho              0.8788284447%
                   ID15         Burley City, Idaho                  0.4485975363%
                   ID16         Butte County, Idaho                 0.1839745518%
                   ID17         Caldwell City, Idaho                1.1958553249%
                   ID18         Camas County, Idaho                 0.0422073443%
                   ID19         Canyon County, Idaho                5.0120113688%
                   ID20         Caribou County, Idaho               0.4396183832%
                   ID21         Cassia County, Idaho                0.7270235866%
                   ID22         Chubbuck City, Idaho                0.4841935447%
                   ID23         Clark County, Idaho                 0.0420924425%
                   ID24         Clearwater County, Idaho            0.4890418390%
                   ID25         Coeur D'Alene City, Idaho           2.7593778237%
                   ID26         Custer County, Idaho                0.2133243878%
                   ID27         Eagle City, Idaho                   0.1711876661%
                   ID28         Elmore County, Idaho                0.8899512165%
                   ID29         Franklin County, Idaho              0.5753624958%
                   ID30         Fremont County, Idaho               0.5716071696%
                   ID31         Garden City, Idaho                  0.5582782838%
                   ID32         Gem County, Idaho                   1.3784025725%
                   ID33         Gooding County, Idaho               0.6966472013%
                   ID34         Hayden City, Idaho                  0.0047132146%
                   ID35         Idaho County, Idaho                 0.8474305547%
                   ID36         Idaho Falls City, Idaho             3.8875027578%
                   ID37         Jefferson County, Idaho             0.9842670749%
                   ID38         Jerome City, Idaho                  0.4169017424%
                   ID39         Jerome County, Idaho                0.6223444291%
                   ID40         Kootenai County, Idaho              5.6394798565%
                   ID41         Kuna City, Idaho                    0.1849461724%
                   ID42         Latah County, Idaho                 1.2943861166%
                   ID43         Lemhi County, Idaho                 0.4880814284%
                   ID44         Lewis County, Idaho                 0.2882543555%
                   ID45         Lewiston City, Idaho                2.0176549375%
  Strictly Confidential
  Subject to Protective Order
                                                   G-58             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 196 of 611. PageID #: 572480
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   ID46         Lincoln County, Idaho                0.1930184422%
                   ID47         Madison County, Idaho                1.2748404845%
                   ID48         Meridian City, Idaho                 2.4045650754%
                   ID49         Minidoka County, Idaho               0.9140620922%
                   ID50         Moscow City, Idaho                   0.6590552650%
                   ID51         Mountain Home City, Idaho            0.5706694591%
                   ID52         Nampa City, Idaho                    3.3274647954%
                   ID53         Nez Perce County, Idaho              1.2765833482%
                   ID54         Oneida County, Idaho                 0.2371656647%
                   ID55         Owyhee County, Idaho                 0.5554298409%
                   ID56         Payette County, Idaho                1.2750728102%
                   ID57         Pocatello City, Idaho                2.9494898116%
                   ID58         Post Falls City, Idaho               0.6781328826%
                   ID59         Power County, Idaho                  0.3505171035%
                   ID60         Preston City, Idaho                  0.1496220047%
                   ID61         Rexburg City, Idaho                  0.1336231941%
                   ID62         Shoshone County, Idaho               1.2841091340%
                   ID63         Star City, Idaho                     0.0001322772%
                   ID64         Teton County, Idaho                  0.4258195211%
                   ID65         Twin Falls City, Idaho               1.8245765222%
                   ID66         Twin Falls County, Idaho             3.3104301873%
                   ID67         Valley County, Idaho                 0.8074710814%
                   ID68         Washington County, Idaho             0.4917358652%




  Strictly Confidential
  Subject to Protective Order
                                                    G-59             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 197 of 611. PageID #: 572481
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                    IL1         Adams County, Illinois                      0.2888223923%
                    IL2         Addison Township, Illinois                  0.0038980830%
                    IL3         Addison Village, Illinois                   0.1789163143%
                    IL4         Alexander County, Illinois                  0.0378665703%
                    IL5         Algonquin Township, Illinois                0.0022237840%
                    IL6         Algonquin Village, Illinois                 0.1102023571%
                    IL7         Alsip Village, Illinois                     0.0804730187%
                    IL8         Alton City, Illinois                        0.4280511636%
                    IL9         Alton Township, Illinois                    0.0062877996%
                   IL10         Anna City, Illinois                         0.0351784549%
                   IL11         Antioch Township, Illinois                  0.0009191460%
                   IL12         Antioch Village, Illinois                   0.0635563388%
                   IL13         Arlington Heights Village, Illinois         0.2647476580%
                   IL14         Aurora City, Illinois                       1.1285112945%
                   IL15         Aurora Township, Illinois                   0.0301108613%
                   IL16         Aux Sable Township, Illinois                0.0005108321%
                   IL17         Avon Township, Illinois                     0.0015693001%
                   IL18         Barrington Village, Illinois                0.0749306299%
                   IL19         Bartlett Village, Illinois                  0.1012637420%
                   IL20         Batavia City, Illinois                      0.1232572616%
                   IL21         Beach Park Village, Illinois                0.0709728762%
                   IL22         Bedford Park Village, Illinois              0.0908134228%
                   IL23         Belleville City, Illinois                   0.2800912041%
                   IL24         Bellwood Village, Illinois                  0.0636018022%
                   IL25         Belvidere City, Illinois                    0.1538551860%
                   IL26         Belvidere Township, Illinois                0.0012472224%
                   IL27         Bensenville Village, Illinois               0.0698164453%
                   IL28         Benton City, Illinois                       0.0648747331%
                   IL29         Benton Township, Lake County, Illinois      0.0004595956%
                   IL30         Berkeley Village, Illinois                  0.0152507249%
                   IL31         Berwyn City, Illinois                       0.2349799824%
                   IL32         Berwyn Township, Illinois                   0.0039135983%
                   IL33         Bloom Township, Illinois                    0.0062250618%
                   IL34         Bloomingdale Township, Illinois             0.0054224158%
                   IL35         Bloomingdale Village, Illinois              0.0874800244%
                   IL36         Bloomington City Township, Illinois         0.0170627673%
                   IL37         Bloomington City, Illinois                  0.4210280112%
                   IL38         Blue Island City, Illinois                  0.0451468527%
                   IL39         Bolingbrook Village, Illinois               0.3965448276%
                   IL40         Bond County, Illinois                       0.1354097531%
                   IL41         Boone County, Illinois                      0.1857825548%
                   IL42         Bourbonnais Township, Illinois              0.0007881230%
                   IL43         Bourbonnais Village, Illinois               0.0558859639%
                   IL44         Bradley Village, Illinois                   0.0950639376%
                   IL45         Bremen Township, Illinois                   0.0008805382%
  Strictly Confidential
  Subject to Protective Order
                                                    G-60                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 198 of 611. PageID #: 572482
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                   IL46         Bridgeview Village, Illinois           0.0500143261%
                   IL47         Broadview Village, Illinois            0.0576947589%
                   IL48         Brookfield Village, Illinois           0.0508215275%
                   IL49         Brown County, Illinois                 0.0306875432%
                   IL50         Bruce Township, Illinois               0.0008928963%
                   IL51         Buffalo Grove Village, Illinois        0.2068406914%
                   IL52         Burbank City, Illinois                 0.0690685990%
                   IL53         Bureau County, Illinois                0.0476091845%
                   IL54         Burr Ridge Village, Illinois           0.0419287366%
                   IL55         Cahokia Village, Illinois              0.0836030043%
                   IL56         Calhoun County, Illinois               0.0375722307%
                   IL57         Calumet City, Illinois                 0.0970812870%
                   IL58         Calumet Township, Illinois             0.0001284071%
                   IL59         Campton Hills Village, Illinois        0.0275655408%
                   IL60         Canton City, Illinois                  0.0820538651%
                   IL61         Canton Township, Illinois              0.0022485003%
                   IL62         Capital Township, Illinois             0.0149811918%
                   IL63         Carbondale City, Illinois              0.1954958522%
                   IL64         Carbondale Township, Illinois          0.0044639854%
                   IL65         Carol Stream Village, Illinois         0.1407965379%
                   IL66         Carpentersville Village, Illinois      0.1363950647%
                   IL67         Carroll County, Illinois               0.0896110775%
                   IL68         Cary Village, Illinois                 0.0570626007%
                   IL69         Caseyville Township, Illinois          0.0007441028%
                   IL70         Cass County, Illinois                  0.0771891430%
                   IL71         Centralia City, Illinois               0.0719850238%
                   IL72         Centralia Township, Illinois           0.0028386679%
                   IL73         Centreville Township, Illinois         0.0027552732%
                   IL74         Champaign City Township, Illinois      0.0007413065%
                   IL75         Champaign City, Illinois               0.4052254107%
                   IL76         Champaign County, Illinois             0.7867199494%
                   IL77         Champaign Township, Illinois           0.0000980982%
                   IL78         Channahon Township, Illinois           0.0001433812%
                   IL79         Channahon Village, Illinois            0.0567296082%
                   IL80         Charleston City, Illinois              0.0995585026%
                   IL81         Charleston Township, Illinois          0.0004933774%
                   IL82         Chatham Village, Illinois              0.0295989467%
                   IL83         Cherry Valley Township, Illinois       0.0005782605%
                   IL84         Chicago City, Illinois                15.6332843102%
                   IL85         Chicago Heights City, Illinois         0.1217857439%
                   IL86         Chicago Ridge Village, Illinois        0.0524909103%
                   IL87         Christian County, Illinois             0.2284950394%
                   IL88         Clark County, Illinois                 0.1644712121%
                   IL89         Clay County, Illinois                  0.0936362597%
                   IL90         Clinton County, Illinois               0.1943019862%
  Strictly Confidential
  Subject to Protective Order
                                                    G-61               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 199 of 611. PageID #: 572483
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                   IL91         Coles County, Illinois                   0.1247615688%
                   IL92         Collinsville City, Illinois              0.3522703495%
                   IL93         Collinsville Township, Illinois          0.0035801096%
                   IL94         Coloma Township, Illinois                0.0001118094%
                   IL95         Columbia City, Illinois                  0.0433790110%
                   IL96         Cook County, Illinois                   14.1071277295%
                   IL97         Cortland Township, Illinois              0.0004724498%
                   IL98         Country Club Hills City, Illinois        0.0671118224%
                   IL99         Countryside City, Illinois               0.0301223625%
                  IL100         Crawford County, Illinois                0.1569938764%
                  IL101         Crest Hill City, Illinois                0.0526985627%
                  IL102         Crestwood Village, Illinois              0.0142112001%
                  IL103         Crete Township, Illinois                 0.0005995941%
                  IL104         Crystal Lake City, Illinois              0.3158354713%
                  IL105         Cuba Township, Illinois                  0.0000224160%
                  IL106         Cumberland County, Illinois              0.0570281874%
                  IL107         Danville City, Illinois                  0.2559565285%
                  IL108         Danville Township, Illinois              0.0051367359%
                  IL109         Darien City, Illinois                    0.0902261418%
                  IL110         De Witt County, Illinois                 0.1599714603%
                  IL111         Decatur City, Illinois                   0.4645929351%
                  IL112         Decatur Township, Illinois               0.0043295346%
                  IL113         Deerfield Village, Illinois              0.0932320501%
                  IL114         Dekalb City, Illinois                    0.1798256279%
                  IL115         Dekalb County, Illinois                  0.3798574494%
                  IL116         Dekalb Township, Illinois                0.0026983537%
                  IL117         Des Plaines City, Illinois               0.2324422843%
                  IL118         Dixon City, Illinois                     0.0928778143%
                  IL119         Dixon Township, Illinois                 0.0012205217%
                  IL120         Dolton Village, Illinois                 0.0603302846%
                  IL121         Dorr Township, Illinois                  0.0004505750%
                  IL122         Douglas County, Illinois                 0.1069846469%
                  IL123         Douglas Township, Effingham County,      0.0000906562%
                                Illinois
                  IL124         Downers Grove Township, Illinois         0.0013497857%
                  IL125         Downers Grove Village, Illinois          0.3224473331%
                  IL126         Dundee Township, Illinois                0.0009813425%
                  IL127         Dupage County, Illinois                  2.6161997714%
                  IL128         East Moline City, Illinois               0.0875479039%
                  IL129         East Peoria City, Illinois               0.2490109525%
                  IL130         East St. Louis City, Illinois            0.3029578651%
                  IL131         Edgar County, Illinois                   0.1405180293%
                  IL132         Edwards County, Illinois                 0.0682030349%
                  IL133         Edwardsville City, Illinois              0.2287071119%
                  IL134         Edwardsville Township, Illinois          0.0014741787%
  Strictly Confidential
  Subject to Protective Order
                                                   G-62                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 200 of 611. PageID #: 572484
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  IL135         Effingham City, Illinois                   0.1268902766%
                  IL136         Effingham County, Illinois                 0.1621189307%
                  IL137         Ela Township, Illinois                     0.0090682851%
                  IL138         Elgin City, Illinois                       0.5305768766%
                  IL139         Elgin Township, Illinois                   0.0028839058%
                  IL140         Elk Grove Township, Illinois               0.0062372846%
                  IL141         Elk Grove Village, Illinois                0.1757993182%
                  IL142         Elmhurst City, Illinois                    0.2577623917%
                  IL143         Elmwood Park Village, Illinois             0.0602202342%
                  IL144         Evanston City, Illinois                    0.2696457560%
                  IL145         Evergreen Park Village, Illinois           0.0597799426%
                  IL146         Fairview Heights City, Illinois            0.1121410475%
                  IL147         Fayette County, Illinois                   0.1838936576%
                  IL148         Flagg Township, Illinois                   0.0014040442%
                  IL149         Fondulac Township, Illinois                0.0006431181%
                  IL150         Ford County, Illinois                      0.1115951707%
                  IL151         Forest Park Village, Illinois              0.0453425079%
                  IL152         Fox Lake Village, Illinois                 0.0630233162%
                  IL153         Frankfort Township, Will County,           0.0004301436%
                                Illinois
                  IL154         Frankfort Village, Illinois                0.0673884818%
                  IL155         Franklin County, Illinois                  0.3406006814%
                  IL156         Franklin Park Village, Illinois            0.0785284649%
                  IL157         Freeport City, Illinois                    0.0999016884%
                  IL158         Freeport Township, Illinois                0.0064044800%
                  IL159         Fremont Township, Illinois                 0.0010312711%
                  IL160         Fulton County, Illinois                    0.2358510040%
                  IL161         Galesburg City Township, Illinois          0.0008294369%
                  IL162         Galesburg City, Illinois                   0.1473738962%
                  IL163         Gallatin County, Illinois                  0.0650151375%
                  IL164         Geneva City, Illinois                      0.0883298478%
                  IL165         Geneva Township, Illinois                  0.0003004285%
                  IL166         Glen Carbon Village, Illinois              0.0731670278%
                  IL167         Glen Ellyn Village, Illinois               0.1026185792%
                  IL168         Glendale Heights Village, Illinois         0.0836866697%
                  IL169         Glenview Village, Illinois                 0.1572220054%
                  IL170         Godfrey Township, Illinois                 0.0014140118%
                  IL171         Godfrey Village, Illinois                  0.0597791307%
                  IL172         Grafton Township, Illinois                 0.0009156731%
                  IL173         Granite City Township, Illinois            0.0120340521%
                  IL174         Granite City, Illinois                     0.4907786518%
                  IL175         Grant Township, Lake County, Illinois      0.0007510035%
                  IL176         Grayslake Village, Illinois                0.0571222264%
                  IL177         Greene County, Illinois                    0.1348392954%
                  IL178         Greenwood Township, Illinois               0.0002761633%
  Strictly Confidential
  Subject to Protective Order
                                                    G-63                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 201 of 611. PageID #: 572485
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  IL179         Groveland Township, Illinois           0.0006029317%
                  IL180         Grundy County, Illinois                0.3802436630%
                  IL181         Gurnee Village, Illinois               0.2256865903%
                  IL182         Hamilton County, Illinois              0.0461838068%
                  IL183         Hancock County, Illinois               0.0864855571%
                  IL184         Hanover Park Village, Illinois         0.1439424899%
                  IL185         Hanover Township, Cook County,         0.0100530103%
                                Illinois
                  IL186         Hardin County, Illinois                0.1047177898%
                  IL187         Harlem Township, Illinois              0.0013712546%
                  IL188         Harrisburg City, Illinois              0.1363861795%
                  IL189         Harrisburg Township, Illinois          0.0018453732%
                  IL190         Harvey City, Illinois                  0.0542520318%
                  IL191         Harwood Heights Village, Illinois      0.0264961580%
                  IL192         Hazel Crest Village, Illinois          0.0328924293%
                  IL193         Henderson County, Illinois             0.0337023368%
                  IL194         Henry County, Illinois                 0.2612811167%
                  IL195         Herrin City, Illinois                  0.1579067080%
                  IL196         Hickory Hills City, Illinois           0.0299939554%
                  IL197         Hickory Point Township, Illinois       0.0008317372%
                  IL198         Highland Park City, Illinois           0.2271774569%
                  IL199         Hillside Village, Illinois             0.0587648633%
                  IL200         Hinsdale Village, Illinois             0.0916908489%
                  IL201         Hodgkins Village, Illinois             0.0232613539%
                  IL202         Hoffman Estates Village, Illinois      0.1751755942%
                  IL203         Homer Glen Village, Illinois           0.0469112216%
                  IL204         Homewood Village, Illinois             0.0501427783%
                  IL205         Huntley Village, Illinois              0.0524270901%
                  IL206         Iroquois County, Illinois              0.2807520024%
                  IL207         Jackson County, Illinois               0.3445573527%
                  IL208         Jacksonville City, Illinois            0.1116974183%
                  IL209         Jarvis Township, Illinois              0.0005415470%
                  IL210         Jasper County, Illinois                0.0661355314%
                  IL211         Jefferson County, Illinois             0.1817671148%
                  IL212         Jersey County, Illinois                0.2756349312%
                  IL213         Jo Daviess County, Illinois            0.1403563816%
                  IL214         Johnson County, Illinois               0.0829436944%
                  IL215         Joliet City, Illinois                  0.8239848960%
                  IL216         Joliet Township, Illinois              0.0038451777%
                  IL217         Justice Village, Illinois              0.0222156950%
                  IL218         Kane County, Illinois                  0.8176130703%
                  IL219         Kankakee City, Illinois                0.3012693137%
                  IL220         Kankakee County, Illinois              0.4890037289%
                  IL221         Kankakee Township, Illinois            0.0039230699%
                  IL222         Kendall County, Illinois               0.3206091763%
  Strictly Confidential
  Subject to Protective Order
                                                    G-64               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 202 of 611. PageID #: 572486
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                  IL223         Kewanee City, Illinois                   0.0484121913%
                  IL224         Knox County, Illinois                    0.3018005773%
                  IL225         La Grange Park Village, Illinois         0.0306665705%
                  IL226         La Grange Village, Illinois              0.0489381328%
                  IL227         Lake County, Illinois                    2.6259751751%
                  IL228         Lake Forest City, Illinois               0.1511340104%
                  IL229         Lake in the Hills Village, Illinois      0.1015964188%
                  IL230         Lake Villa Township, Illinois            0.0004259490%
                  IL231         Lake Zurich Village, Illinois            0.1926754509%
                  IL232         Lansing Village, Illinois                0.0775500541%
                  IL233         Lasalle County, Illinois                 1.1531097603%
                  IL234         Lawrence County, Illinois                0.1653700620%
                  IL235         Lee County, Illinois                     0.1825689940%
                  IL236         Lemont Township, Illinois                0.0001161843%
                  IL237         Lemont Village, Illinois                 0.0231572571%
                  IL238         Leyden Township, Illinois                0.0047085318%
                  IL239         Libertyville Township, Illinois          0.0017598586%
                  IL240         Libertyville Village, Illinois           0.1502709269%
                  IL241         Limestone Township, Peoria County,       0.0011792979%
                                Illinois
                  IL242         Lincoln City, Illinois                   0.0655854600%
                  IL243         Lincolnwood Village, Illinois            0.0553527158%
                  IL244         Lindenhurst Village, Illinois            0.0249965865%
                  IL245         Lisle Township, Illinois                 0.0028275726%
                  IL246         Lisle Village, Illinois                  0.0801260444%
                  IL247         Livingston County, Illinois              0.3523352973%
                  IL248         Lockport City, Illinois                  0.0826388459%
                  IL249         Lockport Township, Illinois              0.0026329549%
                  IL250         Logan County, Illinois                   0.1508938390%
                  IL251         Lombard Village, Illinois                0.2672806655%
                  IL252         Long Creek Township, Illinois            0.0000227768%
                  IL253         Loves Park City, Illinois                0.0603913084%
                  IL254         Lyons Township, Illinois                 0.0242947899%
                  IL255         Lyons Village, Illinois                  0.0362495516%
                  IL256         Machesney Park Village, Illinois         0.0567176109%
                  IL257         Macomb City Township, Illinois           0.0004703751%
                  IL258         Macomb City, Illinois                    0.0564835283%
                  IL259         Macon County, Illinois                   0.3950197281%
                  IL260         Macoupin County, Illinois                0.3852372432%
                  IL261         Madison County, Illinois                 1.8722976663%
                  IL262         Mahomet Township, Illinois               0.0000436142%
                  IL263         Maine Township, Illinois                 0.0042498834%
                  IL264         Manhattan Township, Illinois             0.0001694505%
                  IL265         Manteno Township, Illinois               0.0001751334%
                  IL266         Marion City, Illinois                    0.3397669146%
  Strictly Confidential
  Subject to Protective Order
                                                    G-65                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 203 of 611. PageID #: 572487
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID               Qualifying Subdivision          Allocation
                  IL267         Marion County, Illinois                 0.4057459850%
                  IL268         Markham City, Illinois                  0.0380473416%
                  IL269         Marshall County, Illinois               0.0822533539%
                  IL270         Mason County, Illinois                  0.1285091896%
                  IL271         Massac County, Illinois                 0.0636875874%
                  IL272         Matteson Village, Illinois              0.0702548878%
                  IL273         Mattoon City, Illinois                  0.1408343339%
                  IL274         Mattoon Township, Illinois              0.0020198301%
                  IL275         Maywood Village, Illinois               0.0867531057%
                  IL276         McCook Village, Illinois                0.0198186268%
                  IL277         McDonough County, Illinois              0.1352577123%
                  IL278         McHenry City, Illinois                  0.1211162859%
                  IL279         McHenry County, Illinois                1.5065411411%
                  IL280         McHenry Township, Illinois              0.0042440651%
                  IL281         McLean County, Illinois                 0.5561192497%
                  IL282         Medina Township, Illinois               0.0027619935%
                  IL283         Melrose Park Village, Illinois          0.1186181878%
                  IL284         Menard County, Illinois                 0.0813562631%
                  IL285         Mercer County, Illinois                 0.0972248035%
                  IL286         Merrionette Park Village, Illinois      0.0076009169%
                  IL287         Metropolis City, Illinois               0.0947332002%
                  IL288         Midlothian Village, Illinois            0.0406706896%
                  IL289         Milton Township, Illinois               0.0050733217%
                  IL290         Minooka Village, Illinois               0.0596777852%
                  IL291         Mokena Village, Illinois                0.0573127849%
                  IL292         Moline City, Illinois                   0.2352551083%
                  IL293         Moline Township, Illinois               0.0021255506%
                  IL294         Monee Township, Illinois                0.0006126287%
                  IL295         Monroe County, Illinois                 0.1998142464%
                  IL296         Montgomery County, Illinois             0.2577543184%
                  IL297         Montgomery Village, Illinois            0.0525907223%
                  IL298         Moraine Township, Illinois              0.0009976246%
                  IL299         Morgan County, Illinois                 0.1714185471%
                  IL300         Morris City, Illinois                   0.0838389812%
                  IL301         Morton Grove Village, Illinois          0.1034836472%
                  IL302         Morton Township, Illinois               0.0001808615%
                  IL303         Morton Village, Illinois                0.0732964272%
                  IL304         Moultrie County, Illinois               0.0673647578%
                  IL305         Mount Prospect Village, Illinois        0.1704792853%
                  IL306         Mount Vernon City, Illinois             0.1499593581%
                  IL307         Mundelein Village, Illinois             0.1639685886%
                  IL308         Nameoki Township, Illinois              0.0012635946%
                  IL309         Naperville City, Illinois               0.7685669619%
                  IL310         Naperville Township, Illinois           0.0007679621%
                  IL311         New Lenox Township, Illinois            0.0033107569%
  Strictly Confidential
  Subject to Protective Order
                                                     G-66               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 204 of 611. PageID #: 572488
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  IL312         New Lenox Village, Illinois            0.0896513993%
                  IL313         New Trier Township, Illinois           0.0008805382%
                  IL314         Newell Township, Illinois              0.0004502142%
                  IL315         Niles Township, Illinois               0.0037851461%
                  IL316         Niles Village, Illinois                0.1446924560%
                  IL317         Normal Town, Illinois                  0.2474856274%
                  IL318         Normal Township, Illinois              0.0028460647%
                  IL319         Norridge Village, Illinois             0.0465655101%
                  IL320         North Aurora Village, Illinois         0.0468235422%
                  IL321         North Chicago City, Illinois           0.1275161655%
                  IL322         North Riverside Village, Illinois      0.0551815063%
                  IL323         Northbrook Village, Illinois           0.1427173226%
                  IL324         Northfield Township, Illinois          0.0029902126%
                  IL325         Northlake City, Illinois               0.0381023667%
                  IL326         Norwood Park Township, Illinois        0.0000244456%
                  IL327         Nunda Township, Illinois               0.0006104638%
                  IL328         Oak Forest City, Illinois              0.0759968556%
                  IL329         Oak Lawn Village, Illinois             0.1589709041%
                  IL330         Oak Park Township, Illinois            0.0286302780%
                  IL331         Oak Park Village, Illinois             0.2093093375%
                  IL332         O'Fallon City, Illinois                0.1398947564%
                  IL333         Ogle County, Illinois                  0.3365190759%
                  IL334         Orland Park Village, Illinois          0.1051852784%
                  IL335         Orland Township, Illinois              0.0048491617%
                  IL336         Oswego Township, Illinois              0.0001389611%
                  IL337         Oswego Village, Illinois               0.1197866160%
                  IL338         Ottawa City, Illinois                  0.1652725952%
                  IL339         Ottawa Township, Illinois              0.0014113508%
                  IL340         Palatine Township, Illinois            0.0063840485%
                  IL341         Palatine Village, Illinois             0.2160969641%
                  IL342         Palos Heights City, Illinois           0.0290094105%
                  IL343         Palos Hills City, Illinois             0.0251753281%
                  IL344         Palos Township, Illinois               0.0020179357%
                  IL345         Park Forest Village, Illinois          0.0840587662%
                  IL346         Park Ridge City, Illinois              0.1116349061%
                  IL347         Pekin City, Illinois                   0.3387071386%
                  IL348         Pekin Township, Illinois               0.0001206044%
                  IL349         Peoria City Township, Illinois         0.0211339541%
                  IL350         Peoria City, Illinois                  1.0471081247%
                  IL351         Peoria County, Illinois                0.8420753713%
                  IL352         Perry County, Illinois                 0.1986418042%
                  IL353         Peru Township, Illinois                0.0000575960%
                  IL354         Piatt County, Illinois                 0.1038367555%
                  IL355         Pike County, Illinois                  0.0985397249%
                  IL356         Plainfield Village, Illinois           0.1401767830%
  Strictly Confidential
  Subject to Protective Order
                                                     G-67              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 205 of 611. PageID #: 572489
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID                Qualifying Subdivision              Allocation
                  IL357         Plano City, Illinois                         0.0251954890%
                  IL358         Pontiac City, Illinois                       0.0820476409%
                  IL359         Pontiac Township, Illinois                   0.0008416598%
                  IL360         Pope County, Illinois                        0.0387821081%
                  IL361         Posen Village, Illinois                      0.0146759373%
                  IL362         Princeton City, Illinois                     0.2434249044%
                  IL363         Prospect Heights City, Illinois              0.0204667964%
                  IL364         Proviso Township, Illinois                   0.0309234299%
                  IL365         Pulaski County, Illinois                     0.0365681114%
                  IL366         Putnam County, Illinois                      0.0450191673%
                  IL367         Quincy City, Illinois                        0.2800247680%
                  IL368         Quincy Township, Illinois                    0.0014712470%
                  IL369         Randolph County, Illinois                    0.3747229235%
                  IL370         Rantoul Township, Illinois                   0.0005778095%
                  IL371         Rantoul Village, Illinois                    0.0520880989%
                  IL372         Rich Township, Illinois                      0.0027945575%
                  IL373         Richland County, Illinois                    0.1171915473%
                  IL374         Richton Park Village, Illinois               0.0312964284%
                  IL375         River Forest Township, Illinois              0.0018589491%
                  IL376         River Forest Village, Illinois               0.0488586169%
                  IL377         River Grove Village, Illinois                0.0284407118%
                  IL378         Riverdale Village, Illinois                  0.0390135296%
                  IL379         Riverside Township, Illinois                 0.0028495827%
                  IL380         Riverside Village, Illinois                  0.0269914748%
                  IL381         Rock Island City, Illinois                   0.2048536960%
                  IL382         Rock Island County, Illinois                 0.4477190124%
                  IL383         Rock Island Township, Illinois               0.0012090205%
                  IL384         Rockford City, Illinois                      1.8636718829%
                  IL385         Rockford Township, Illinois                  0.0222707202%
                  IL386         Rockton Township, Illinois                   0.0013382395%
                  IL387         Rolling Meadows City, Illinois               0.1143438589%
                  IL388         Romeoville Village, Illinois                 0.2124235372%
                  IL389         Roscoe Township, Illinois                    0.0001321506%
                  IL390         Roscoe Village, Illinois                     0.0285983454%
                  IL391         Roselle Village, Illinois                    0.0882981406%
                  IL392         Round Lake Beach Village, Illinois           0.0718399287%
                  IL393         Round Lake Village, Illinois                 0.0341657210%
                  IL394         Rutland Township, Kane County, Illinois      0.0000200256%
                  IL395         Saline County, Illinois                      0.3157094095%
                  IL396         Sangamon County, Illinois                    0.6566424069%
                  IL397         Sauk Village, Illinois                       0.0225886936%
                  IL398         Schaumburg Township, Illinois                0.0137097493%
                  IL399         Schaumburg Village, Illinois                 0.2968023515%
                  IL400         Schiller Park Village, Illinois              0.0601957886%
                  IL401         Schuyler County, Illinois                    0.0371428539%
  Strictly Confidential
  Subject to Protective Order
                                                    G-68                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 206 of 611. PageID #: 572490
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  IL402         Scott County, Illinois                      0.0254366526%
                  IL403         Sesser City, Illinois                       0.0116834244%
                  IL404         Shelby County, Illinois                     0.1305766480%
                  IL405         Shiloh Valley Township, Illinois            0.0000402315%
                  IL406         Shiloh Village, Illinois                    0.0381714188%
                  IL407         Shorewood Village, Illinois                 0.0493356672%
                  IL408         Skokie Village, Illinois                    0.1964801264%
                  IL409         South Elgin Village, Illinois               0.0529218206%
                  IL410         South Holland Village, Illinois             0.0587832201%
                  IL411         South Moline Township, Illinois             0.0015892806%
                  IL412         South Rock Island Township, Illinois        0.0012188078%
                  IL413         Springfield City, Illinois                  0.9971442684%
                  IL414         St Clair County, Illinois                   1.2964187840%
                  IL415         St. Charles City, Illinois                  0.2062203952%
                  IL416         Stark County, Illinois                      0.0288234074%
                  IL417         Stephenson County, Illinois                 0.2577976169%
                  IL418         Sterling City, Illinois                     0.3656157148%
                  IL419         Sterling Township, Illinois                 0.0004940540%
                  IL420         Stickney Township, Illinois                 0.0300061782%
                  IL421         Stone Park Village, Illinois                0.0241358032%
                  IL422         Streamwood Village, Illinois                0.0878171213%
                  IL423         Streator City, Illinois                     0.1400665973%
                  IL424         Sugar Grove Township, Illinois              0.0009713297%
                  IL425         Summit Village, Illinois                    0.0312780717%
                  IL426         Swansea Village, Illinois                   0.0555074177%
                  IL427         Sycamore City, Illinois                     0.0541938945%
                  IL428         Sycamore Township, Illinois                 0.0007813576%
                  IL429         Taylorville City, Illinois                  0.0807847228%
                  IL430         Taylorville Township, Illinois              0.0017106517%
                  IL431         Tazewell County, Illinois                   0.5138073664%
                  IL432         Thornton Township, Illinois                 0.0526926993%
                  IL433         Tinley Park Village, Illinois               0.1419492253%
                  IL434         Troy City, Illinois                         0.0729865272%
                  IL435         Troy Township, Illinois                     0.0004431782%
                  IL436         Union County, Illinois                      0.1406335371%
                  IL437         Urbana City, Illinois                       0.2112740522%
                  IL438         Vermilion County, Illinois                  0.6460041902%
                  IL439         Vernon Hills Village, Illinois              0.1010624040%
                  IL440         Villa Park Village, Illinois                0.0997444607%
                  IL441         Wabash County, Illinois                     0.0958447089%
                  IL442         Warren County, Illinois                     0.1030681169%
                  IL443         Warren Township, Lake County, Illinois      0.0012778471%
                  IL444         Warrenville City, Illinois                  0.0688157538%
                  IL445         Washington City, Illinois                   0.0740199632%
                  IL446         Washington County, Illinois                 0.1031463699%
  Strictly Confidential
  Subject to Protective Order
                                                    G-69                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 207 of 611. PageID #: 572491
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  IL447         Washington Township, Tazewell               0.0003215816%
                                County, Illinois
                  IL448         Waterloo City, Illinois                     0.0240175893%
                  IL449         Wauconda Township, Illinois                 0.0012666616%
                  IL450         Wauconda Village, Illinois                  0.0595994871%
                  IL451         Waukegan City, Illinois                     0.4111769252%
                  IL452         Waukegan Township, Illinois                 0.0196161612%
                  IL453         Wayne County, Illinois                      0.1098885782%
                  IL454         Wayne Township, Illinois                    0.0022690220%
                  IL455         West Chicago City, Illinois                 0.0985343126%
                  IL456         West Frankfort City, Illinois               0.1255886605%
                  IL457         Westchester Village, Illinois               0.0602936162%
                  IL458         Western Springs Village, Illinois           0.0268752905%
                  IL459         Westmont Village, Illinois                  0.1490930723%
                  IL460         Wheatland Township, Illinois                0.0000651733%
                  IL461         Wheaton City, Illinois                      0.2463124635%
                  IL462         Wheeling Township, Illinois                 0.0078149287%
                  IL463         Wheeling Village, Illinois                  0.1229353643%
                  IL464         White County, Illinois                      0.1227040781%
                  IL465         Whiteside County, Illinois                  0.0430104324%
                  IL466         Will County, Illinois                       2.7064530198%
                  IL467         Williamson County, Illinois                 0.5140162817%
                  IL468         Wilmette Village, Illinois                  0.1102957195%
                  IL469         Winfield Township, Illinois                 0.0006981433%
                  IL470         Winnebago County, Illinois                  1.8332085447%
                  IL471         Winnetka Village, Illinois                  0.0646107926%
                  IL472         Wood Dale City, Illinois                    0.0565745905%
                  IL473         Wood River City, Illinois                   0.1092090173%
                  IL474         Wood River Township, Illinois               0.0059267532%
                  IL475         Woodford County, Illinois                   0.3174394102%
                  IL476         Woodridge Village, Illinois                 0.1148193757%
                  IL477         Woodside Township, Illinois                 0.0006326092%
                  IL478         Woodstock City, Illinois                    0.0870473100%
                  IL479         Worth Township, Cook County, Illinois       0.0040664511%
                  IL480         Worth Village, Illinois                     0.0280860700%
                  IL481         York Township, Dupage County, Illinois      0.0033860782%
                  IL482         Yorkville City, Illinois                    0.0439376969%
                  IL483         Zion City, Illinois                         0.1180331619%
                  IL484         Zion Township, Illinois                     0.0057278958%
                  IL485         Cicero Town, Illinois                       0.2786347507%




  Strictly Confidential
  Subject to Protective Order
                                                   G-70                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 208 of 611. PageID #: 572492
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                    IN1         Adams County, Indiana               0.2857910234%
                    IN2         Advance Town, Indiana               0.0075602978%
                    IN3         Akron Town, Indiana                 0.0162531694%
                    IN4         Alamo Town, Indiana                 0.0009413600%
                    IN5         Albany Town, Indiana                0.0315943962%
                    IN6         Albion Town, Indiana                0.0349038651%
                    IN7         Alexandria City, Indiana            0.0730730728%
                    IN8         Alfordsville Town, Indiana          0.0014708751%
                    IN9         Allen County, Indiana               2.0763019377%
                   IN10         Alton Town, Indiana                 0.0007942725%
                   IN11         Altona Town, Indiana                0.0028976239%
                   IN12         Ambia Town, Indiana                 0.0033388864%
                   IN13         Amboy Town, Indiana                 0.0052657327%
                   IN14         Amo Town, Indiana                   0.0063394715%
                   IN15         Anderson City, Indiana              0.8055247244%
                   IN16         Andrews Town, Indiana               0.0167238494%
                   IN17         Angola City, Indiana                0.1284368099%
                   IN18         Arcadia Town, Indiana               0.0244459434%
                   IN19         Argos Town, Indiana                 0.0239164284%
                   IN20         Ashley Town, Indiana                0.0144292843%
                   IN21         Atlanta Town, Indiana               0.0109580192%
                   IN22         Attica City, Indiana                0.0476710606%
                   IN23         Auburn City, Indiana                0.1983327925%
                   IN24         Aurora City, Indiana                0.0540693671%
                   IN25         Austin City, Indiana                0.0605706348%
                   IN26         Avilla Town, Indiana                0.0360952739%
                   IN27         Avon Town, Indiana                  0.2751418880%
                   IN28         Bainbridge Town, Indiana            0.0109727279%
                   IN29         Bargersville Town, Indiana          0.1187878695%
                   IN30         Bartholomew County, Indiana         0.4724744855%
                   IN31         Batesville City, Indiana            0.0983427062%
                   IN32         Battle Ground Town, Indiana         0.0290497824%
                   IN33         Bedford City, Indiana               0.1943320124%
                   IN34         Beech Grove City, Indiana           0.2197046071%
                   IN35         Benton County, Indiana              0.0396106653%
                   IN36         Berne City, Indiana                 0.0624680636%
                   IN37         Bethany Town, Indiana               0.0013090788%
                   IN38         Beverly Shores Town, Indiana        0.0088105416%
                   IN39         Bicknell City, Indiana              0.0417728516%
                   IN40         Birdseye Town, Indiana              0.0061335490%
                   IN41         Blackford County, Indiana           0.0621885974%
                   IN42         Bloomfield Town, Indiana            0.0338301263%
                   IN43         Bloomingdale Town, Indiana          0.0048391789%
                   IN44         Bloomington City, Indiana           1.2613489042%
                   IN45         Blountsville Town, Indiana          0.0018827201%
  Strictly Confidential
  Subject to Protective Order
                                                   G-71             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 209 of 611. PageID #: 572493
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   IN46         Bluffton City, Indiana               0.1492496919%
                   IN47         Boone County, Indiana                0.1646203363%
                   IN48         Boonville City, Indiana              0.0915913897%
                   IN49         Borden Town, Indiana                 0.0137673905%
                   IN50         Boston Town, Indiana                 0.0019121376%
                   IN51         Boswell Town, Indiana                0.0113110292%
                   IN52         Bourbon Town, Indiana                0.0257991485%
                   IN53         Brazil City, Indiana                 0.1175670432%
                   IN54         Bremen Town, Indiana                 0.0658069500%
                   IN55         Bristol Town, Indiana                0.0248872059%
                   IN56         Brook Town, Indiana                  0.0140468568%
                   IN57         Brooklyn Town, Indiana               0.0234898746%
                   IN58         Brooksburg Town, Indiana             0.0011619913%
                   IN59         Brookston Town, Indiana              0.0225485146%
                   IN60         Brookville Town, Indiana             0.0371984302%
                   IN61         Brown County, Indiana                0.2058342553%
                   IN62         Brownsburg Town, Indiana             0.3971509739%
                   IN63         Brownstown, Indiana                  0.0425377066%
                   IN64         Bruceville Town, Indiana             0.0069866565%
                   IN65         Bryant Town, Indiana                 0.0036036439%
                   IN66         Bunker Hill Town, Indiana            0.0125171467%
                   IN67         Burket Town, Indiana                 0.0028682064%
                   IN68         Burlington Town, Indiana             0.0088840853%
                   IN69         Burnettsville Town, Indiana          0.0049862664%
                   IN70         Burns Harbor Town, Indiana           0.0268875960%
                   IN71         Butler City, Indiana                 0.0399783840%
                   IN72         Cadiz Town, Indiana                  0.0020003901%
                   IN73         Cambridge City Town, Indiana         0.0257403135%
                   IN74         Camden Town, Indiana                 0.0091047166%
                   IN75         Campbellsburg Town, Indiana          0.0085163666%
                   IN76         Cannelburg Town, Indiana             0.0024122351%
                   IN77         Cannelton City, Indiana              0.0217836596%
                   IN78         Carbon Town, Indiana                 0.0055451990%
                   IN79         Carlisle Town, Indiana               0.0096783579%
                   IN80         Carmel City, Indiana                 1.4865840015%
                   IN81         Carroll County, Indiana              0.2056577503%
                   IN82         Carthage Town, Indiana               0.0130760792%
                   IN83         Cass County, Indiana                 0.2485631757%
                   IN84         Cayuga Town, Indiana                 0.0162384606%
                   IN85         Cedar Grove Town, Indiana            0.0022357301%
                   IN86         Cedar Lake Town, Indiana             0.1939054586%
                   IN87         Center Point Town, Indiana           0.0033977214%
                   IN88         Centerville Town, Indiana            0.0379338677%
                   IN89         Chalmers Town, Indiana               0.0072514140%
                   IN90         Chandler Town, Indiana               0.0488036344%
  Strictly Confidential
  Subject to Protective Order
                                                    G-72             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 210 of 611. PageID #: 572494
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                   IN91         Charlestown City, Indiana               0.1231122422%
                   IN92         Chesterfield Town, Indiana              0.0364335751%
                   IN93         Chesterton Town, Indiana                0.2072168779%
                   IN94         Chrisney Town, Indiana                  0.0069425303%
                   IN95         Churubusco Town, Indiana                0.0291086174%
                   IN96         Cicero Town, Indiana                    0.0728524415%
                   IN97         Clark County, Indiana                   0.4334668790%
                   IN98         Clarks Hill Town, Indiana               0.0106932617%
                   IN99         Clarksville Town, Indiana               0.3170912446%
                  IN100         Clay City Town, Indiana                 0.0121641367%
                  IN101         Clay County, Indiana                    0.2188514996%
                  IN102         Claypool Town, Indiana                  0.0063835977%
                  IN103         Clayton Town, Indiana                   0.0155177318%
                  IN104         Clear Lake Town, Indiana                0.0050598102%
                  IN105         Clifford Town, Indiana                  0.0036918964%
                  IN106         Clinton City, Indiana                   0.0689252051%
                  IN107         Clinton County, Indiana                 0.1742545679%
                  IN108         Cloverdale Town, Indiana                0.0315502699%
                  IN109         Coatesville Town, Indiana               0.0082957353%
                  IN110         Colfax Town, Indiana                    0.0099872416%
                  IN111         Columbia City, Indiana                  0.1358206027%
                  IN112         Columbus City, Indiana                  0.7066966294%
                  IN113         Connersville City, Indiana              0.1882131722%
                  IN114         Converse Town, Indiana                  0.0179740932%
                  IN115         Corunna Town, Indiana                   0.0037654401%
                  IN116         Corydon Town, Indiana                   0.0470827105%
                  IN117         Country Club Heights Town, Indiana      0.0011472825%
                  IN118         Covington City, Indiana                 0.0367718764%
                  IN119         Crandall Town, Indiana                  0.0022210213%
                  IN120         Crane Town, Indiana                     0.0026328664%
                  IN121         Crawford County, Indiana                0.1183760245%
                  IN122         Crawfordsville City, Indiana            0.2370756415%
                  IN123         Cromwell Town, Indiana                  0.0074867540%
                  IN124         Crothersville Town, Indiana             0.0227397284%
                  IN125         Crown Point City, Indiana               0.4484403871%
                  IN126         Culver Town, Indiana                    0.0214894846%
                  IN127         Cynthiana Town, Indiana                 0.0078838903%
                  IN128         Dale Town, Indiana                      0.0219307471%
                  IN129         Daleville Town, Indiana                 0.0242400209%
                  IN130         Dana Town, Indiana                      0.0083839878%
                  IN131         Danville Town, Indiana                  0.1489408082%
                  IN132         Darlington Town, Indiana                0.0126789430%
                  IN133         Darmstadt Town, Indiana                 0.0210629308%
                  IN134         Daviess County, Indiana                 0.2625659062%
                  IN135         Dayton Town, Indiana                    0.0245341959%
  Strictly Confidential
  Subject to Protective Order
                                                   G-73                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 211 of 611. PageID #: 572495
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN136         De Kalb County, Indiana              0.2455478818%
                  IN137         De Motte Town, Indiana               0.0611736936%
                  IN138         Dearborn County, Indiana             0.4922871725%
                  IN139         Decatur City, Indiana                0.1449988630%
                  IN140         Decatur County, Indiana              0.1492055657%
                  IN141         Decker Town, Indiana                 0.0036330614%
                  IN142         Delaware County, Indiana             0.4090797706%
                  IN143         Delphi City, Indiana                 0.0427877554%
                  IN144         Denver Town, Indiana                 0.0068689865%
                  IN145         Dillsboro Town, Indiana              0.0207393383%
                  IN146         Dublin Town, Indiana                 0.0109874367%
                  IN147         Dubois County, Indiana               0.2578149798%
                  IN148         Dugger Town, Indiana                 0.0128260305%
                  IN149         Dune Acres Town, Indiana             0.0026769926%
                  IN150         Dunkirk City, Indiana                0.0331682325%
                  IN151         Dunreith Town, Indiana               0.0024857788%
                  IN152         Dupont Town, Indiana                 0.0048244702%
                  IN153         Dyer Town, Indiana                   0.2349869989%
                  IN154         Earl Park Town, Indiana              0.0050451014%
                  IN155         East Chicago City, Indiana           0.4091533143%
                  IN156         East Germantown, Indiana             0.0051627714%
                  IN157         Eaton Town, Indiana                  0.0254902647%
                  IN158         Economy Town, Indiana                0.0025740313%
                  IN159         Edgewood Town, Indiana               0.0273288585%
                  IN160         Edinburgh Town, Indiana              0.0675131651%
                  IN161         Edwardsport Town, Indiana            0.0043684989%
                  IN162         Elberfeld Town, Indiana              0.0096489404%
                  IN163         Elizabeth Town, Indiana              0.0030300026%
                  IN164         Elizabethtown, Indiana               0.0079133078%
                  IN165         Elkhart City, Indiana                0.7701207618%
                  IN166         Elkhart County, Indiana              1.5417271074%
                  IN167         Ellettsville Town, Indiana           0.0992399400%
                  IN168         Elnora Town, Indiana                 0.0099431154%
                  IN169         Elwood City, Indiana                 0.1234652522%
                  IN170         English Town, Indiana                0.0091929691%
                  IN171         Etna Green Town, Indiana             0.0086634541%
                  IN172         Evansville City, Indiana             1.7353236822%
                  IN173         Fairland Town, Indiana               0.0085163666%
                  IN174         Fairmount Town, Indiana              0.0407138215%
                  IN175         Fairview Park Town, Indiana          0.0192978807%
                  IN176         Farmersburg Town, Indiana            0.0157383631%
                  IN177         Farmland Town, Indiana               0.0184006469%
                  IN178         Fayette County, Indiana              0.1515883833%
                  IN179         Ferdinand Town, Indiana              0.0330505625%
                  IN180         Fillmore Town, Indiana               0.0078397640%
  Strictly Confidential
  Subject to Protective Order
                                                    G-74             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 212 of 611. PageID #: 572496
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN181         Fishers City, Indiana                1.4018910158%
                  IN182         Flora Town, Indiana                  0.0294469186%
                  IN183         Floyd County, Indiana                0.5480039196%
                  IN184         Fort Branch Town, Indiana            0.0406844040%
                  IN185         Fort Wayne City, Indiana             3.9772755687%
                  IN186         Fortville Town, Indiana              0.0612178198%
                  IN187         Fountain City Town, Indiana          0.0111198154%
                  IN188         Fountain County, Indiana             0.1041085365%
                  IN189         Fowler Town, Indiana                 0.0338595438%
                  IN190         Fowlerton Town, Indiana              0.0037213139%
                  IN191         Francesville Town, Indiana           0.0117228742%
                  IN192         Francisco Town, Indiana              0.0081486478%
                  IN193         Frankfort City, Indiana              0.2336337939%
                  IN194         Franklin City, Indiana               0.3766616843%
                  IN195         Franklin County, Indiana             0.2854085959%
                  IN196         Frankton Town, Indiana               0.0270052660%
                  IN197         Fremont Town, Indiana                0.0322121637%
                  IN198         French Lick Town, Indiana            0.0261374497%
                  IN199         Fulton County, Indiana               0.1758136954%
                  IN200         Fulton Town, Indiana                 0.0048097614%
                  IN201         Galveston Town, Indiana              0.0185183170%
                  IN202         Garrett City, Indiana                0.0943272173%
                  IN203         Gary City, Indiana                   1.1013765331%
                  IN204         Gas City, Indiana                    0.0848989082%
                  IN205         Gaston Town, Indiana                 0.0128407392%
                  IN206         Geneva Town, Indiana                 0.0199891920%
                  IN207         Gentryville Town, Indiana            0.0038978189%
                  IN208         Georgetown, Indiana                  0.0495831981%
                  IN209         Gibson County, Indiana               0.2161745070%
                  IN210         Glenwood Town, Indiana               0.0034712651%
                  IN211         Goodland Town, Indiana               0.0145616631%
                  IN212         Goshen City, Indiana                 0.5032893179%
                  IN213         Gosport Town, Indiana                0.0117228742%
                  IN214         Grabill Town, Indiana                0.0169444806%
                  IN215         Grandview Town, Indiana              0.0105755917%
                  IN216         Grant County, Indiana                0.2971314700%
                  IN217         Greencastle City, Indiana            0.1510588682%
                  IN218         Greendale City, Indiana              0.0638506862%
                  IN219         Greene County, Indiana               0.2893064148%
                  IN220         Greenfield City, Indiana             0.3383895154%
                  IN221         Greens Fork Town, Indiana            0.0056922865%
                  IN222         Greensboro Town, Indiana             0.0020150988%
                  IN223         Greensburg City, Indiana             0.1749017529%
                  IN224         Greentown, Indiana                   0.0349185738%
                  IN225         Greenville Town, Indiana             0.0154588968%
  Strictly Confidential
  Subject to Protective Order
                                                    G-75             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 213 of 611. PageID #: 572497
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN226         Greenwood City, Indiana              0.8745528908%
                  IN227         Griffin Town, Indiana                0.0024857788%
                  IN228         Griffith Town, Indiana               0.2362225340%
                  IN229         Hagerstown, Indiana                  0.0246077397%
                  IN230         Hamilton County, Indiana             0.3369480578%
                  IN231         Hamilton Town, Indiana               0.0232398259%
                  IN232         Hamlet Town, Indiana                 0.0111933592%
                  IN233         Hammond City, Indiana                1.1108342597%
                  IN234         Hancock County, Indiana              0.5794071020%
                  IN235         Hanover Town, Indiana                0.0515100445%
                  IN236         Hardinsburg Town, Indiana            0.0035153914%
                  IN237         Harmony Town, Indiana                0.0094283091%
                  IN238         Harrison County, Indiana             0.5175273884%
                  IN239         Hartford City, Indiana               0.0832515282%
                  IN240         Hartsville Town, Indiana             0.0058835002%
                  IN241         Haubstadt Town, Indiana              0.0249607497%
                  IN242         Hazleton Town, Indiana               0.0039419451%
                  IN243         Hebron Town, Indiana                 0.0539811146%
                  IN244         Hendricks County, Indiana            1.0582210590%
                  IN245         Henry County, Indiana                0.3396250504%
                  IN246         Highland Town, Indiana               0.3282404775%
                  IN247         Hillsboro Town, Indiana              0.0073690840%
                  IN248         Hobart City, Indiana                 0.4109477819%
                  IN249         Holland Town, Indiana                0.0095606879%
                  IN250         Holton Town, Indiana                 0.0066189378%
                  IN251         Hope Town, Indiana                   0.0327710962%
                  IN252         Howard County, Indiana               0.3093397330%
                  IN253         Hudson Town, Indiana                 0.0075897153%
                  IN254         Huntertown, Indiana                  0.1003725138%
                  IN255         Huntingburg City, Indiana            0.0907529910%
                  IN256         Huntington City, Indiana             0.2520785671%
                  IN257         Huntington County, Indiana           0.2077758104%
                  IN258         Hymera Town, Indiana                 0.0111933592%
                  IN259         Indian Village Town, Indiana         0.0019856813%
                  IN260         Indianapolis City, Indiana          13.0829776512%
                  IN261         Ingalls Town, Indiana                0.0356540114%
                  IN262         Jackson County, Indiana              0.2814960682%
                  IN263         Jamestown, Indiana                   0.0135908855%
                  IN264         Jasonville City, Indiana             0.0312119687%
                  IN265         Jasper City, Indiana                 0.2312803938%
                  IN266         Jasper County, Indiana               0.3167235258%
                  IN267         Jay County, Indiana                  0.1443958042%
                  IN268         Jefferson County, Indiana            0.2432533167%
                  IN269         Jeffersonville City, Indiana         0.7078733294%
                  IN270         Jennings County, Indiana             0.3047064766%
  Strictly Confidential
  Subject to Protective Order
                                                    G-76             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 214 of 611. PageID #: 572498
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID               Qualifying Subdivision       Allocation
                  IN271         Johnson County, Indiana              0.6908994313%
                  IN272         Jonesboro City, Indiana              0.0241664772%
                  IN273         Jonesville Town, Indiana             0.0028534976%
                  IN274         Kempton Town, Indiana                0.0045450039%
                  IN275         Kendallville City, Indiana           0.1455283780%
                  IN276         Kennard Town, Indiana                0.0065601027%
                  IN277         Kentland Town, Indiana               0.0245341959%
                  IN278         Kewanna Town, Indiana                0.0087517066%
                  IN279         Kingman Town, Indiana                0.0067807340%
                  IN280         Kingsbury Town, Indiana              0.0035153914%
                  IN281         Kingsford Heights Town, Indiana      0.0203863283%
                  IN282         Kirklin Town, Indiana                0.0113551554%
                  IN283         Knightstown, Indiana                 0.0314325999%
                  IN284         Knightsville Town, Indiana           0.0112816117%
                  IN285         Knox City, Indiana                   0.0521425207%
                  IN286         Knox County, Indiana                 0.2040986228%
                  IN287         Kokomo City, Indiana                 0.8534017075%
                  IN288         Kosciusko County, Indiana            0.7211112049%
                  IN289         Kouts Town, Indiana                  0.0287997336%
                  IN290         La Crosse Town, Indiana              0.0075750065%
                  IN291         La Fontaine Town, Indiana            0.0121788455%
                  IN292         La Paz Town, Indiana                 0.0080751041%
                  IN293         La Porte City, Indiana               0.3172530408%
                  IN294         La Porte County, Indiana             0.6563485762%
                  IN295         Laconia Town, Indiana                0.0007501463%
                  IN296         Ladoga Town, Indiana                 0.0146646243%
                  IN297         Lafayette City, Indiana              1.0549262989%
                  IN298         Lagrange County, Indiana             0.5134089383%
                  IN299         Lagrange Town, Indiana               0.0406402778%
                  IN300         Lagro Town, Indiana                  0.0057511215%
                  IN301         Lake County, Indiana                 0.6176498535%
                  IN302         Lake Station City, Indiana           0.1742251504%
                  IN303         Lakeville Town, Indiana              0.0117375829%
                  IN304         Lanesville Town, Indiana             0.0083104441%
                  IN305         Lapel Town, Indiana                  0.0352715838%
                  IN306         Larwill Town, Indiana                0.0041772852%
                  IN307         Laurel Town, Indiana                 0.0079721428%
                  IN308         Lawrence City, Indiana               0.7275242202%
                  IN309         Lawrence County, Indiana             0.3938267962%
                  IN310         Lawrenceburg City, Indiana           0.0735584615%
                  IN311         Leavenworth Town, Indiana            0.0034271389%
                  IN312         Lebanon City, Indiana                0.2362960777%
                  IN313         Leesburg Town, Indiana               0.0081192303%
                  IN314         Leo-Cedarville Town, Indiana         0.0567463597%
                  IN315         Lewisville Town, Indiana             0.0051480627%
  Strictly Confidential
  Subject to Protective Order
                                                   G-77              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 215 of 611. PageID #: 572499
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN316         Liberty Town, Indiana                0.0292115786%
                  IN317         Ligonier City, Indiana               0.0644096187%
                  IN318         Linden Town, Indiana                 0.0112816117%
                  IN319         Linton City, Indiana                 0.0765443379%
                  IN320         Little York Town, Indiana            0.0027946626%
                  IN321         Livonia Town, Indiana                0.0018091763%
                  IN322         Lizton Town, Indiana                 0.0071925790%
                  IN323         Logansport City, Indiana             0.2586386698%
                  IN324         Long Beach Town, Indiana             0.0170327331%
                  IN325         Loogootee City, Indiana              0.0397136265%
                  IN326         Losantville Town, Indiana            0.0032947601%
                  IN327         Lowell Town, Indiana                 0.1461020193%
                  IN328         Lynn Town, Indiana                   0.0151058868%
                  IN329         Lynnville Town, Indiana              0.0141204005%
                  IN330         Lyons Town, Indiana                  0.0105314654%
                  IN331         Mackey Town, Indiana                 0.0019415551%
                  IN332         Macy Town, Indiana                   0.0029270414%
                  IN333         Madison City, Indiana                0.1744604904%
                  IN334         Madison County, Indiana              0.6472144421%
                  IN335         Marengo Town, Indiana                0.0118699617%
                  IN336         Marion City, Indiana                 0.4108154031%
                  IN337         Markle Town, Indiana                 0.0160766644%
                  IN338         Markleville Town, Indiana            0.0075455890%
                  IN339         Marshall County, Indiana             0.3884875198%
                  IN340         Marshall Town, Indiana               0.0046626739%
                  IN341         Martin County, Indiana               0.0964452774%
                  IN342         Martinsville City, Indiana           0.1716364103%
                  IN343         Matthews Town, Indiana               0.0082221916%
                  IN344         Mauckport Town, Indiana              0.0012502438%
                  IN345         McCordsville Town, Indiana           0.1100067454%
                  IN346         Mecca Town, Indiana                  0.0047950527%
                  IN347         Medaryville Town, Indiana            0.0083104441%
                  IN348         Medora Town, Indiana                 0.0102372904%
                  IN349         Mellott Town, Indiana                0.0028387889%
                  IN350         Mentone Town, Indiana                0.0142380705%
                  IN351         Merom Town, Indiana                  0.0032065076%
                  IN352         Merrillville Town, Indiana           0.5117468495%
                  IN353         Miami County, Indiana                0.3147084270%
                  IN354         Michiana Shores Town, Indiana        0.0043684989%
                  IN355         Michigan City, Indiana               0.4561918986%
                  IN356         Michigantown, Indiana                0.0066483553%
                  IN357         Middlebury Town, Indiana             0.0531427158%
                  IN358         Middletown, Indiana                  0.0329181838%
                  IN359         Milan Town, Indiana                  0.0271817710%
                  IN360         Milford Town, Indiana                0.0230191946%
  Strictly Confidential
  Subject to Protective Order
                                                    G-78             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 216 of 611. PageID #: 572500
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  IN361         Millersburg Town, Indiana           0.0139880218%
                  IN362         Millhousen Town, Indiana            0.0019121376%
                  IN363         Milltown, Indiana                   0.0119140880%
                  IN364         Milton Town, Indiana                0.0065601027%
                  IN365         Mishawaka City, Indiana             0.7407768044%
                  IN366         Mitchell City, Indiana              0.0624974811%
                  IN367         Modoc Town, Indiana                 0.0026622839%
                  IN368         Monon Town, Indiana                 0.0256667697%
                  IN369         Monroe City Town, Indiana           0.0077662203%
                  IN370         Monroe County, Indiana              0.8226457100%
                  IN371         Monroe Town, Indiana                0.0129878267%
                  IN372         Monroeville Town, Indiana           0.0197244345%
                  IN373         Monrovia Town, Indiana              0.0221219608%
                  IN374         Monterey Town, Indiana              0.0029564589%
                  IN375         Montezuma Town, Indiana             0.0145028281%
                  IN376         Montgomery County, Indiana          0.2439446280%
                  IN377         Montgomery Town, Indiana            0.0111639417%
                  IN378         Monticello City, Indiana            0.0771179792%
                  IN379         Montpelier City, Indiana            0.0243282734%
                  IN380         Mooreland Town, Indiana             0.0051921889%
                  IN381         Moores Hill Town, Indiana           0.0090900078%
                  IN382         Mooresville Town, Indiana           0.1439692505%
                  IN383         Morgan County, Indiana              0.6498325997%
                  IN384         Morgantown, Indiana                 0.0144734106%
                  IN385         Morocco Town, Indiana               0.0160913731%
                  IN386         Morristown, Indiana                 0.0197097257%
                  IN387         Mount Auburn Town, Indiana          0.0015297101%
                  IN388         Mount Ayr Town, Indiana             0.0017209238%
                  IN389         Mount Carmel Town, Indiana          0.0010001950%
                  IN390         Mount Etna Town, Indiana            0.0015444188%
                  IN391         Mount Summit Town, Indiana          0.0048685964%
                  IN392         Mount Vernon City, Indiana          0.0956362961%
                  IN393         Mulberry Town, Indiana              0.0179446757%
                  IN394         Muncie City, Indiana                1.0001803293%
                  IN395         Munster Town, Indiana               0.3305938776%
                  IN396         Napoleon Town, Indiana              0.0033388864%
                  IN397         Nappanee City, Indiana              0.1006519801%
                  IN398         Nashville Town, Indiana             0.0161502081%
                  IN399         New Albany City, Indiana            0.5419144969%
                  IN400         New Amsterdam Town, Indiana         0.0004118450%
                  IN401         New Carlisle Town, Indiana          0.0308148324%
                  IN402         New Castle City, Indiana            0.2517108483%
                  IN403         New Chicago Town, Indiana           0.0285349761%
                  IN404         New Harmony Town, Indiana           0.0110756892%
                  IN405         New Haven City, Indiana             0.2341927264%
  Strictly Confidential
  Subject to Protective Order
                                                   G-79             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 217 of 611. PageID #: 572501
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN406         New Market Town, Indiana             0.0091635516%
                  IN407         New Middletown, Indiana              0.0012796613%
                  IN408         New Palestine Town, Indiana          0.0376396927%
                  IN409         New Pekin Town, Indiana              0.0204451633%
                  IN410         New Point Town, Indiana              0.0050156839%
                  IN411         New Richmond Town, Indiana           0.0048980139%
                  IN412         New Ross Town, Indiana               0.0050451014%
                  IN413         New Whiteland Town, Indiana          0.0917973122%
                  IN414         Newberry Town, Indiana               0.0027211189%
                  IN415         Newburgh Town, Indiana               0.0478328568%
                  IN416         Newport Town, Indiana                0.0070896178%
                  IN417         Newton County, Indiana               0.1229945722%
                  IN418         Newtown, Indiana                     0.0035742264%
                  IN419         Noble County, Indiana                0.3779266369%
                  IN420         Noblesville City, Indiana            0.9511854812%
                  IN421         North Judson Town, Indiana           0.0251813810%
                  IN422         North Liberty Town, Indiana          0.0281672573%
                  IN423         North Manchester Town, Indiana       0.0845311895%
                  IN424         North Salem Town, Indiana            0.0079133078%
                  IN425         North Vernon City, Indiana           0.0985780462%
                  IN426         North Webster Town, Indiana          0.0171798207%
                  IN427         Oakland City, Indiana                0.0353598363%
                  IN428         Oaktown, Indiana                     0.0087517066%
                  IN429         Odon Town, Indiana                   0.0203716195%
                  IN430         Ogden Dunes Town, Indiana            0.0160031206%
                  IN431         Ohio County, Indiana                 0.0549518921%
                  IN432         Oldenburg Town, Indiana              0.0097519016%
                  IN433         Onward Town, Indiana                 0.0014414576%
                  IN434         Oolitic Town, Indiana                0.0166797231%
                  IN435         Orange County, Indiana               0.1699743215%
                  IN436         Orestes Town, Indiana                0.0059423352%
                  IN437         Orland Town, Indiana                 0.0062365102%
                  IN438         Orleans Town, Indiana                0.0312560949%
                  IN439         Osceola Town, Indiana                0.0365365364%
                  IN440         Osgood Town, Indiana                 0.0233133696%
                  IN441         Ossian Town, Indiana                 0.0497449944%
                  IN442         Otterbein Town, Indiana              0.0186065695%
                  IN443         Owen County, Indiana                 0.2610214874%
                  IN444         Owensville Town, Indiana             0.0198126870%
                  IN445         Oxford Town, Indiana                 0.0169003544%
                  IN446         Palmyra Town, Indiana                0.0140615655%
                  IN447         Paoli Town, Indiana                  0.0533486383%
                  IN448         Paragon Town, Indiana                0.0099725329%
                  IN449         Parke County, Indiana                0.1734897128%
                  IN450         Parker City Town, Indiana            0.0197685608%
  Strictly Confidential
  Subject to Protective Order
                                                    G-80             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 218 of 611. PageID #: 572502
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  IN451         Patoka Town, Indiana                  0.0113551554%
                  IN452         Patriot Town, Indiana                 0.0030741289%
                  IN453         Pendleton Town, Indiana               0.0642919487%
                  IN454         Pennville Town, Indiana               0.0099284066%
                  IN455         Perry County, Indiana                 0.1482494969%
                  IN456         Perrysville Town, Indiana             0.0063688890%
                  IN457         Peru City, Indiana                    0.1621345574%
                  IN458         Petersburg City, Indiana              0.0340801750%
                  IN459         Pierceton Town, Indiana               0.0150176343%
                  IN460         Pike County, Indiana                  0.1329671051%
                  IN461         Pine Village Town, Indiana            0.0029711676%
                  IN462         Pittsboro Town, Indiana               0.0531574245%
                  IN463         Plainfield Town, Indiana              0.5190276810%
                  IN464         Plainville Town, Indiana              0.0073249578%
                  IN465         Plymouth City, Indiana                0.1468227481%
                  IN466         Poneto Town, Indiana                  0.0028387889%
                  IN467         Portage City, Indiana                 0.5440472657%
                  IN468         Porter County, Indiana                1.0379376920%
                  IN469         Porter Town, Indiana                  0.0711021002%
                  IN470         Portland City, Indiana                0.0882819209%
                  IN471         Posey County, Indiana                 0.2416794804%
                  IN472         Poseyville Town, Indiana              0.0152382656%
                  IN473         Pottawattamie Park Town, Indiana      0.0032947601%
                  IN474         Princes Lakes Town, Indiana           0.0197832695%
                  IN475         Princeton City, Indiana               0.1284515186%
                  IN476         Pulaski County, Indiana               0.1249949623%
                  IN477         Putnam County, Indiana                0.3331384914%
                  IN478         Randolph County, Indiana              0.1698860690%
                  IN479         Redkey Town, Indiana                  0.0188566182%
                  IN480         Remington Town, Indiana               0.0169886069%
                  IN481         Rensselaer City, Indiana              0.0859285208%
                  IN482         Reynolds Town, Indiana                0.0077662203%
                  IN483         Richland Town, Indiana                0.0057511215%
                  IN484         Richmond City, Indiana                0.5198366623%
                  IN485         Ridgeville Town, Indiana              0.0109874367%
                  IN486         Riley Town, Indiana                   0.0031770901%
                  IN487         Ripley County, Indiana                0.2119825131%
                  IN488         Rising Sun City, Indiana              0.0314620174%
                  IN489         River Forest Town, Indiana            0.0003235925%
                  IN490         Roachdale Town, Indiana               0.0128995742%
                  IN491         Roann Town, Indiana                   0.0066336465%
                  IN492         Roanoke Town, Indiana                 0.0251519635%
                  IN493         Rochester City, Indiana               0.0881642509%
                  IN494         Rockport City, Indiana                0.0315355612%
                  IN495         Rockville Town, Indiana               0.0364482839%
  Strictly Confidential
  Subject to Protective Order
                                                   G-81               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 219 of 611. PageID #: 572503
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN496         Rome City Town, Indiana              0.0205481245%
                  IN497         Rosedale Town, Indiana               0.0103843779%
                  IN498         Roseland Town, Indiana               0.0093547654%
                  IN499         Rossville Town, Indiana              0.0227250196%
                  IN500         Royal Center Town, Indiana           0.0122670980%
                  IN501         Rush County, Indiana                 0.1389682753%
                  IN502         Rushville City, Indiana              0.0883701734%
                  IN503         Russellville Town, Indiana           0.0052363152%
                  IN504         Russiaville Town, Indiana            0.0164590919%
                  IN505         Salamonia Town, Indiana              0.0023534001%
                  IN506         Salem City, Indiana                  0.0912089622%
                  IN507         Saltillo Town, Indiana               0.0013384963%
                  IN508         Sandborn Town, Indiana               0.0059423352%
                  IN509         Santa Claus Town, Indiana            0.0354627976%
                  IN510         Saratoga Town, Indiana               0.0034712651%
                  IN511         Schererville Town, Indiana           0.4195965272%
                  IN512         Schneider Town, Indiana              0.0038242751%
                  IN513         Scott County, Indiana                0.1915520585%
                  IN514         Scottsburg City, Indiana             0.0990193088%
                  IN515         Seelyville Town, Indiana             0.0148558381%
                  IN516         Sellersburg Town, Indiana            0.1310255500%
                  IN517         Selma Town, Indiana                  0.0119287967%
                  IN518         Seymour City, Indiana                0.2935719524%
                  IN519         Shadeland Town, Indiana              0.0281819661%
                  IN520         Shamrock Lakes Town, Indiana         0.0031770901%
                  IN521         Sharpsville Town, Indiana            0.0083398616%
                  IN522         Shelburn Town, Indiana               0.0179005494%
                  IN523         Shelby County, Indiana               0.3442288893%
                  IN524         Shelbyville City, Indiana            0.2854527221%
                  IN525         Sheridan Town, Indiana               0.0448322717%
                  IN526         Shipshewana Town, Indiana            0.0106050092%
                  IN527         Shirley Town, Indiana                0.0130613705%
                  IN528         Shoals Town, Indiana                 0.0116052042%
                  IN529         Sidney Town, Indiana                 0.0011914088%
                  IN530         Silver Lake Town, Indiana            0.0135761768%
                  IN531         Somerville Town, Indiana             0.0042508289%
                  IN532         South Bend City, Indiana             1.5006749846%
                  IN533         South Whitley Town, Indiana          0.0256079347%
                  IN534         Southport City, Indiana              0.0260344885%
                  IN535         Speedway Town, Indiana               0.1793437956%
                  IN536         Spencer County, Indiana              0.1879042884%
                  IN537         Spencer Town, Indiana                0.0331829413%
                  IN538         Spiceland Town, Indiana              0.0138262255%
                  IN539         Spring Grove Town, Indiana           0.0047362177%
                  IN540         Spring Lake Town, Indiana            0.0033535951%
  Strictly Confidential
  Subject to Protective Order
                                                    G-82             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 220 of 611. PageID #: 572504
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  IN541         Springport Town, Indiana             0.0020592251%
                  IN542         Spurgeon Town, Indiana               0.0030005851%
                  IN543         St Joseph County, Indiana            1.6167270265%
                  IN544         St. Joe Town, Indiana                0.0069572390%
                  IN545         St. John Town, Indiana               0.2764656755%
                  IN546         St. Leon Town, Indiana               0.0097519016%
                  IN547         St. Paul Town, Indiana               0.0156501106%
                  IN548         Starke County, Indiana               0.2497104582%
                  IN549         State Line City Town, Indiana        0.0020445163%
                  IN550         Staunton Town, Indiana               0.0075014628%
                  IN551         Steuben County, Indiana              0.3060596816%
                  IN552         Stilesville Town, Indiana            0.0049568489%
                  IN553         Stinesville Town, Indiana            0.0032065076%
                  IN554         Straughn Town, Indiana               0.0031329639%
                  IN555         Sullivan City, Indiana               0.0602029160%
                  IN556         Sullivan County, Indiana             0.1732690816%
                  IN557         Sulphur Springs Town, Indiana        0.0054569465%
                  IN558         Summitville Town, Indiana            0.0144587018%
                  IN559         Sunman Town, Indiana                 0.0151941393%
                  IN560         Swayzee Town, Indiana                0.0133996718%
                  IN561         Sweetser Town, Indiana               0.0162384606%
                  IN562         Switz City Town, Indiana             0.0042508289%
                  IN563         Switzerland County, Indiana          0.1308196275%
                  IN564         Syracuse Town, Indiana               0.0423906191%
                  IN565         Tell City, Indiana                   0.1060648003%
                  IN566         Tennyson Town, Indiana               0.0044126252%
                  IN567         Terre Haute City, Indiana            0.8916738764%
                  IN568         Thorntown, Indiana                   0.0231368646%
                  IN569         Tippecanoe County, Indiana           0.9815002161%
                  IN570         Tipton City, Indiana                 0.0731024903%
                  IN571         Tipton County, Indiana               0.1253185548%
                  IN572         Topeka Town, Indiana                 0.0180182194%
                  IN573         Town of Pines Town, Indiana          0.0101637466%
                  IN574         Trafalgar Town, Indiana              0.0197832695%
                  IN575         Trail Creek Town, Indiana            0.0292998311%
                  IN576         Troy Town, Indiana                   0.0058540827%
                  IN577         Ulen Town, Indiana                   0.0018533026%
                  IN578         Union City, Indiana                  0.0505981019%
                  IN579         Union County, Indiana                0.0653362700%
                  IN580         Uniondale Town, Indiana              0.0046332564%
                  IN581         Universal Town, Indiana              0.0050598102%
                  IN582         Upland Town, Indiana                 0.0548048046%
                  IN583         Utica Town, Indiana                  0.0137379730%
                  IN584         Valparaiso City, Indiana             0.4985825177%
                  IN585         Van Buren Town, Indiana              0.0119435055%
  Strictly Confidential
  Subject to Protective Order
                                                    G-83             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 221 of 611. PageID #: 572505
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  IN586         Vanderburgh County, Indiana            0.9125308847%
                  IN587         Veedersburg Town, Indiana              0.0301088124%
                  IN588         Vera Cruz Town, Indiana                0.0012649525%
                  IN589         Vermillion County, Indiana             0.0965923649%
                  IN590         Vernon Town, Indiana                   0.0046626739%
                  IN591         Versailles Town, Indiana               0.0306383274%
                  IN592         Vevay Town, Indiana                    0.0242400209%
                  IN593         Vigo County, Indiana                   0.6322115165%
                  IN594         Vincennes City, Indiana                0.2480189519%
                  IN595         Wabash City, Indiana                   0.1462196893%
                  IN596         Wabash County, Indiana                 0.2005979401%
                  IN597         Wakarusa Town, Indiana                 0.0272111885%
                  IN598         Walkerton Town, Indiana                0.0331829413%
                  IN599         Wallace Town, Indiana                  0.0012061175%
                  IN600         Walton Town, Indiana                   0.0149293818%
                  IN601         Wanatah Town, Indiana                  0.0147675856%
                  IN602         Warren County, Indiana                 0.0791330780%
                  IN603         Warren Town, Indiana                   0.0178122969%
                  IN604         Warrick County, Indiana                0.7102120208%
                  IN605         Warsaw City, Indiana                   0.2228375710%
                  IN606         Washington City, Indiana               0.1842712270%
                  IN607         Washington County, Indiana             0.2827463120%
                  IN608         Waterloo Town, Indiana                 0.0332270675%
                  IN609         Waveland Town, Indiana                 0.0061482577%
                  IN610         Wayne County, Indiana                  0.3096486168%
                  IN611         Waynetown, Indiana                     0.0141498180%
                  IN612         Wells County, Indiana                  0.1993329876%
                  IN613         West Baden Springs Town, Indiana       0.0082516091%
                  IN614         West College Corner Town, Indiana      0.0092076779%
                  IN615         West Harrison Town, Indiana            0.0041184502%
                  IN616         West Lafayette City, Indiana           0.7500874435%
                  IN617         West Lebanon Town, Indiana             0.0101784554%
                  IN618         West Terre Haute Town, Indiana         0.0324769212%
                  IN619         Westfield City, Indiana                0.6420222532%
                  IN620         Westport Town, Indiana                 0.0209452608%
                  IN621         Westville Town, Indiana                0.0862815308%
                  IN622         Wheatfield Town, Indiana               0.0128407392%
                  IN623         Wheatland Town, Indiana                0.0069131128%
                  IN624         White County, Indiana                  0.1949203624%
                  IN625         Whiteland Town, Indiana                0.0666600575%
                  IN626         Whitestown, Indiana                    0.1337319601%
                  IN627         Whitewater Town, Indiana               0.0010296125%
                  IN628         Whiting City, Indiana                  0.0700871964%
                  IN629         Whitley County, Indiana                0.3048535641%
                  IN630         Wilkinson Town, Indiana                0.0066777728%
  Strictly Confidential
  Subject to Protective Order
                                                   G-84                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 222 of 611. PageID #: 572506
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  IN631         Williamsport Town, Indiana          0.0272406060%
                  IN632         Winamac Town, Indiana               0.0337124563%
                  IN633         Winchester City, Indiana            0.0686163214%
                  IN634         Windfall City Town, Indiana         0.0115022429%
                  IN635         Winfield Town, Indiana              0.0880612896%
                  IN636         Wingate Town, Indiana               0.0039125276%
                  IN637         Winona Lake Town, Indiana           0.0721022952%
                  IN638         Winslow Town, Indiana               0.0121788455%
                  IN639         Wolcott Town, Indiana               0.0142527793%
                  IN640         Wolcottville Town, Indiana          0.0153559356%
                  IN641         Woodburn City, Indiana              0.0241076422%
                  IN642         Woodlawn Heights Town, Indiana      0.0011178650%
                  IN643         Worthington Town, Indiana           0.0206952120%
                  IN644         Yeoman Town, Indiana                0.0020739338%
                  IN645         Yorktown, Indiana                   0.1634289275%
                  IN646         Zanesville Town, Indiana            0.0091341341%
                  IN647         Zionsville Town, Indiana            0.4170960396%




  Strictly Confidential
  Subject to Protective Order
                                                  G-85              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 223 of 611. PageID #: 572507
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                    IA1         Adair County, Iowa                  0.2556947079%
                    IA2         Adams County, Iowa                  0.1116893593%
                    IA3         Allamakee County, Iowa              0.4458394258%
                    IA4         Altoona City, Iowa                  0.2271292953%
                    IA5         Ames City, Iowa                     1.7060232543%
                    IA6         Ankeny City, Iowa                   0.5840629692%
                    IA7         Appanoose County, Iowa              0.5319683854%
                    IA8         Audubon County, Iowa                0.1208233165%
                    IA9         Benton County, Iowa                 0.5189931402%
                   IA10         Bettendorf City, Iowa               0.8351246683%
                   IA11         Black Hawk County, Iowa             1.4597147645%
                   IA12         Boone City, Iowa                    0.0585610511%
                   IA13         Boone County, Iowa                  0.7643570143%
                   IA14         Bremer County, Iowa                 0.1360762814%
                   IA15         Buchanan County, Iowa               0.3769597212%
                   IA16         Buena Vista County, Iowa            0.3093288199%
                   IA17         Burlington City, Iowa               0.7412740274%
                   IA18         Butler County, Iowa                 0.2707550314%
                   IA19         Calhoun County, Iowa                0.1889747662%
                   IA20         Carroll County, Iowa                0.6033017832%
                   IA21         Cass County, Iowa                   0.3356690805%
                   IA22         Cedar County, Iowa                  0.3655659943%
                   IA23         Cedar Falls City, Iowa              0.3889922738%
                   IA24         Cedar Rapids City, Iowa             2.9326637662%
                   IA25         Cerro Gordo County, Iowa            1.0177134214%
                   IA26         Cherokee County, Iowa               0.2378216922%
                   IA27         Chickasaw County, Iowa              0.2430983347%
                   IA28         Clarke County, Iowa                 0.3045977275%
                   IA29         Clay County, Iowa                   0.0207652003%
                   IA30         Clayton County, Iowa                0.4574161780%
                   IA31         Clinton City, Iowa                  0.5134206442%
                   IA32         Clinton County, Iowa                0.9451918014%
                   IA33         Clive City, Iowa                    0.3112994673%
                   IA34         Coralville City, Iowa               0.2459834677%
                   IA35         Council Bluffs City, Iowa           1.6465089330%
                   IA36         Crawford County, Iowa               0.3305363581%
                   IA37         Dallas County, Iowa                 0.9926851094%
                   IA38         Davenport City, Iowa                4.2711769833%
                   IA39         Davis County, Iowa                  0.1538236474%
                   IA40         Decatur County, Iowa                0.2531361998%
                   IA41         Delaware County, Iowa               0.3021379441%
                   IA42         Des Moines City, Iowa               7.4241865686%
                   IA43         Des Moines County, Iowa             0.8267324284%
                   IA44         Dickinson County, Iowa              0.3322460903%
                   IA45         Dubuque City, Iowa                  1.2115558277%
  Strictly Confidential
  Subject to Protective Order
                                                   G-86             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 224 of 611. PageID #: 572508
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   IA46         Dubuque County, Iowa                 1.5339066909%
                   IA47         Emmet County, Iowa                   0.1753353731%
                   IA48         Fairfield City, Iowa                 0.0333429825%
                   IA49         Fayette County, Iowa                 0.5284248741%
                   IA50         Floyd County, Iowa                   0.3286208427%
                   IA51         Fort Dodge City, Iowa                0.5243300432%
                   IA52         Fort Madison City, Iowa              0.2267513848%
                   IA53         Franklin County, Iowa                0.2107304188%
                   IA54         Fremont County, Iowa                 0.2048165533%
                   IA55         Greene County, Iowa                  0.3578145033%
                   IA56         Grimes City, Iowa                    0.0740951249%
                   IA57         Grundy County, Iowa                  0.3230832850%
                   IA58         Guthrie County, Iowa                 0.2308465363%
                   IA59         Hamilton County, Iowa                0.3501841744%
                   IA60         Hancock County, Iowa                 0.1901101001%
                   IA61         Hardin County, Iowa                  0.4490825960%
                   IA62         Harrison County, Iowa                0.6178184798%
                   IA63         Henry County, Iowa                   0.4451496351%
                   IA64         Howard County, Iowa                  0.1714011300%
                   IA65         Humboldt County, Iowa                0.1929606154%
                   IA66         Ida County, Iowa                     0.1680400030%
                   IA67         Indianola City, Iowa                 0.2725936185%
                   IA68         Iowa City, Iowa                      1.5748652576%
                   IA69         Iowa County, Iowa                    0.2658620690%
                   IA70         Jackson County, Iowa                 0.5490330125%
                   IA71         Jasper County, Iowa                  0.3568285385%
                   IA72         Jefferson County, Iowa               0.5394823602%
                   IA73         Johnson County, Iowa                 1.8973270258%
                   IA74         Johnston City, Iowa                  0.2224895553%
                   IA75         Jones County, Iowa                   0.3884579424%
                   IA76         Keokuk City, Iowa                    0.2759060242%
                   IA77         Keokuk County, Iowa                  0.1980680155%
                   IA78         Kossuth County, Iowa                 0.3482728259%
                   IA79         Le Mars City, Iowa                   0.3541517531%
                   IA80         Lee County, Iowa                     0.9560951102%
                   IA81         Linn County, Iowa                    3.9522487898%
                   IA82         Louisa County, Iowa                  0.3358719789%
                   IA83         Lucas County, Iowa                   0.3300459400%
                   IA84         Lyon County, Iowa                    0.1619052891%
                   IA85         Madison County, Iowa                 0.4030765691%
                   IA86         Mahaska County, Iowa                 0.6619077091%
                   IA87         Marion City, Iowa                    0.4437200502%
                   IA88         Marion County, Iowa                  1.0208402375%
                   IA89         Marshall County, Iowa                0.5394663334%
                   IA90         Marshalltown City, Iowa              0.4969329796%
  Strictly Confidential
  Subject to Protective Order
                                                    G-87             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 225 of 611. PageID #: 572509
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   IA91         Mason City, Iowa                     0.6125988926%
                   IA92         Mills County, Iowa                   0.4947100714%
                   IA93         Mitchell County, Iowa                0.1895001226%
                   IA94         Monona County, Iowa                  0.4457538430%
                   IA95         Monroe County, Iowa                  0.2157871744%
                   IA96         Montgomery County, Iowa              0.5309224806%
                   IA97         Muscatine City, Iowa                 0.3991224529%
                   IA98         Muscatine County, Iowa               0.6616391011%
                   IA99         Newton City, Iowa                    1.3212822324%
                  IA100         North Liberty City, Iowa             0.1042571209%
                  IA101         Norwalk City, Iowa                   0.1727031420%
                  IA102         O Brien County, Iowa                 0.2348702086%
                  IA103         Osceola County, Iowa                 0.1454256379%
                  IA104         Oskaloosa City, Iowa                 0.0542597958%
                  IA105         Ottumwa City, Iowa                   0.4967291195%
                  IA106         Page County, Iowa                    0.5824102922%
                  IA107         Palo Alto County, Iowa               0.1665902245%
                  IA108         Pella City, Iowa                     0.1579530961%
                  IA109         Pleasant Hill City, Iowa             0.1362887959%
                  IA110         Plymouth County, Iowa                0.0911200057%
                  IA111         Pocahontas County, Iowa              0.1165515504%
                  IA112         Polk County, Iowa                   12.6229166486%
                  IA113         Pottawattamie County, Iowa           1.9680770504%
                  IA114         Poweshiek County, Iowa               0.4746599840%
                  IA115         Ringgold County, Iowa                0.1195950275%
                  IA116         Sac County, Iowa                     0.2200579790%
                  IA117         Scott County, Iowa                   3.7551090429%
                  IA118         Shelby County, Iowa                  0.2859038225%
                  IA119         Sioux City, Iowa                     1.4764937951%
                  IA120         Sioux County, Iowa                   0.4097180484%
                  IA121         Spencer City, Iowa                   0.2749703834%
                  IA122         Storm Lake City, Iowa                0.0176281271%
                  IA123         Story County, Iowa                   0.4604776051%
                  IA124         Tama County, Iowa                    0.3449543301%
                  IA125         Taylor County, Iowa                  0.1784400723%
                  IA126         Union County, Iowa                   0.4630325873%
                  IA127         Urbandale City, Iowa                 0.4969387492%
                  IA128         Van Buren County, Iowa               0.1525758057%
                  IA129         Wapello County, Iowa                 0.5058976945%
                  IA130         Warren County, Iowa                  0.8750395740%
                  IA131         Washington County, Iowa              0.5543135013%
                  IA132         Waterloo City, Iowa                  1.4936754174%
                  IA133         Waukee City, Iowa                    0.1023201296%
                  IA134         Waverly City, Iowa                   0.5951868059%
                  IA135         Wayne County, Iowa                   0.2439881391%
  Strictly Confidential
  Subject to Protective Order
                                                    G-88             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 226 of 611. PageID #: 572510
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                Consolidated State
                 State ID              Qualifying Subdivision      Allocation
                  IA136         Webster County, Iowa               1.0714228590%
                  IA137         West Des Moines City, Iowa         1.1054614019%
                  IA138         Winnebago County, Iowa             0.2340557299%
                  IA139         Winneshiek County, Iowa            0.3674077867%
                  IA140         Woodbury County, Iowa              1.0897366099%
                  IA141         Worth County, Iowa                 0.2345483918%
                  IA142         Wright County, Iowa                0.2810502858%




  Strictly Confidential
  Subject to Protective Order
                                                  G-89             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 227 of 611. PageID #: 572511
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID               Qualifying Subdivision       Allocation
                   KS1          Allen County, Kansas                 0.7541791329%
                   KS2          Anderson County, Kansas              0.2371057884%
                   KS3          Andover City, Kansas                 0.3023298328%
                   KS4          Arkansas City, Kansas                0.5244164596%
                   KS5          Atchison City, Kansas                0.2509194126%
                   KS6          Atchison County, Kansas              0.3718857098%
                   KS7          Barber County, Kansas                0.2343333783%
                   KS8          Barton County, Kansas                0.4058838207%
                   KS9          Bourbon County, Kansas               0.5659958596%
                  KS10          Brown County, Kansas                 0.5618840411%
                  KS11          Butler County, Kansas                2.1800439960%
                  KS12          Chase County, Kansas                 0.0310115071%
                  KS13          Chautauqua County, Kansas            0.1534264050%
                  KS14          Cherokee County, Kansas              1.0387304319%
                  KS15          Cheyenne County, Kansas              0.0521668496%
                  KS16          Clark County, Kansas                 0.1317865660%
                  KS17          Clay County, Kansas                  0.3853019118%
                  KS18          Cloud County, Kansas                 0.2727657622%
                  KS19          Coffey County, Kansas                0.3555052548%
                  KS20          Comanche County, Kansas              0.0703611984%
                  KS21          Cowley County, Kansas                0.1056381847%
                  KS22          Crawford County, Kansas              0.8006058270%
                  KS23          Decatur County, Kansas               0.1024648600%
                  KS24          Derby City, Kansas                   0.2862213106%
                  KS25          Dickinson County, Kansas             0.5167117764%
                  KS26          Dodge City, Kansas                   0.3763716687%
                  KS27          Doniphan County, Kansas              0.1428529245%
                  KS28          Douglas County, Kansas               0.5037148817%
                  KS29          Edwards County, Kansas               0.0688529961%
                  KS30          El Dorado City, Kansas               0.5267481432%
                  KS31          Elk County, Kansas                   0.1699851994%
                  KS32          Elkhart City, Kansas                 0.0023710299%
                  KS33          Ellis County, Kansas                 0.3947457539%
                  KS34          Ellsworth County, Kansas             0.2694567040%
                  KS35          Emporia City, Kansas                 0.1225808979%
                  KS36          Fairmount Township, Leavenworth      0.0084960354%
                                County, Kansas
                  KS37          Finney County, Kansas                0.4284130288%
                  KS38          Ford County, Kansas                  0.3536897313%
                  KS39          Franklin County, Kansas              0.9871549429%
                  KS40          Garden City, Kansas                  0.3090040586%
                  KS41          Gardner City, Kansas                 0.1783885728%
                  KS42          Geary County, Kansas                 0.9138741928%
                  KS43          Gove County, Kansas                  0.0596145005%
                  KS44          Graham County, Kansas                0.0885576425%
  Strictly Confidential
  Subject to Protective Order
                                                  G-90               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 228 of 611. PageID #: 572512
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID               Qualifying Subdivision          Allocation
                  KS45          Grant County, Kansas                    0.1121093922%
                  KS46          Gray County, Kansas                     0.1198536546%
                  KS47          Great Bend City, Kansas                 0.2626213674%
                  KS48          Greeley County Unified Government,      0.0420764688%
                                Kansas
                  KS49          Greenwood County, Kansas                0.3634446197%
                  KS50          Hamilton County, Kansas                 0.0770093484%
                  KS51          Harper County, Kansas                   0.2751873139%
                  KS52          Harvey County, Kansas                   0.4874526988%
                  KS53          Haskell County, Kansas                  0.0589027724%
                  KS54          Hays City, Kansas                       0.2857030552%
                  KS55          Haysville City, Kansas                  0.1161439147%
                  KS56          Hodgeman County, Kansas                 0.0381949084%
                  KS57          Hutchinson City, Kansas                 1.0312608960%
                  KS58          Jackson County, Kansas                  0.2794465069%
                  KS59          Jefferson County, Kansas                0.4227008116%
                  KS60          Jewell County, Kansas                   0.0576553276%
                  KS61          Johnson County, Kansas                  9.6645678744%
                  KS62          Junction City, Kansas                   0.1775769654%
                  KS63          Kansas City, Kansas                     5.4520371502%
                  KS64          Kearny County, Kansas                   0.0660370488%
                  KS65          Kingman County, Kansas                  0.2734092742%
                  KS66          Kiowa County, Kansas                    0.0632464788%
                  KS67          Labette County, Kansas                  1.1704308548%
                  KS68          Lane County, Kansas                     0.0275778907%
                  KS69          Lansing City, Kansas                    0.7133352086%
                  KS70          Lawrence City, Kansas                   3.1638042033%
                  KS71          Leavenworth City, Kansas                0.5951890494%
                  KS72          Leavenworth County, Kansas              2.3340801542%
                  KS73          Leawood City, Kansas                    0.5645735676%
                  KS74          Lenexa City, Kansas                     0.9811139852%
                  KS75          Liberal City, Kansas                    0.0682108809%
                  KS76          Lincoln County, Kansas                  0.0485423215%
                  KS77          Linn County, Kansas                     0.4207125363%
                  KS78          Logan County, Kansas                    0.1082727658%
                  KS79          Lyon County, Kansas                     0.6750909426%
                  KS80          Manhattan City, Kansas                  0.7992480259%
                  KS81          Manter City, Kansas                     0.0001287490%
                  KS82          Marion County, Kansas                   0.2585495937%
                  KS83          Marshall County, Kansas                 0.2276721904%
                  KS84          McPherson City, Kansas                  0.2496279649%
                  KS85          McPherson County, Kansas                0.5097593318%
                  KS86          Meade County, Kansas                    0.0768717523%
                  KS87          Merriam City, Kansas                    0.2489320686%
                  KS88          Miami County, Kansas                    1.2663765466%
  Strictly Confidential
  Subject to Protective Order
                                                   G-91                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 229 of 611. PageID #: 572513
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  KS89          Mitchell County, Kansas              0.1352292623%
                  KS90          Montgomery County, Kansas            1.7112175254%
                  KS91          Morris County, Kansas                0.1150743437%
                  KS92          Morton County, Kansas                0.2160617336%
                  KS93          Nemaha County, Kansas                0.2032897421%
                  KS94          Neosho County, Kansas                0.8310848768%
                  KS95          Ness County, Kansas                  0.0706191619%
                  KS96          Newton City, Kansas                  0.5433840008%
                  KS97          Norton County, Kansas                0.1451450288%
                  KS98          Olathe City, Kansas                  1.6762201549%
                  KS99          Osage County, Kansas                 0.5950568081%
                  KS100         Osborne County, Kansas               0.1578979290%
                  KS101         Ottawa City, Kansas                  0.0294988813%
                  KS102         Ottawa County, Kansas                0.1312957833%
                  KS103         Overland Park City, Kansas           2.3687103690%
                  KS104         Pawnee County, Kansas                0.1939706911%
                  KS105         Phillips County, Kansas              0.1221045499%
                  KS106         Pittsburg City, Kansas               0.7147952173%
                  KS107         Pottawatomie County, Kansas          0.4594243031%
                  KS108         Prairie Village City, Kansas         0.2589451534%
                  KS109         Pratt County, Kansas                 0.4619825196%
                  KS110         Rawlins County, Kansas               0.0431218266%
                  KS111         Reno County, Kansas                  1.1279702345%
                  KS112         Republic County, Kansas              0.1617978822%
                  KS113         Rice County, Kansas                  0.2959259100%
                  KS114         Riley County, Kansas                 1.0426785786%
                  KS115         Rooks County, Kansas                 0.1523482196%
                  KS116         Rush County, Kansas                  0.0753160549%
                  KS117         Russell County, Kansas               0.2146389759%
                  KS118         Salina City, Kansas                  1.3339667317%
                  KS119         Saline County, Kansas                0.6611290126%
                  KS120         Scott County, Kansas                 0.0944435428%
                  KS121         Sedgwick County, Kansas             13.5321956939%
                  KS122         Seward County, Kansas                0.4105201807%
                  KS123         Shawnee City, Kansas                 0.8209928663%
                  KS124         Shawnee County, Kansas               3.0388576303%
                  KS125         Sheridan County, Kansas              0.0529819493%
                  KS126         Sherman County, Kansas               0.2106519484%
                  KS127         Smith County, Kansas                 0.1047138927%
                  KS128         Soldier Township, Kansas             0.0214428740%
                  KS129         Stafford County, Kansas              0.0781264146%
                  KS130         Stanton County, Kansas               0.0490733819%
                  KS131         Stevens County, Kansas               0.0751535472%
                  KS132         Sumner County, Kansas                1.0773462773%
                  KS133         Thomas County, Kansas                0.2518295026%
  Strictly Confidential
  Subject to Protective Order
                                                    G-92             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 230 of 611. PageID #: 572514
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  KS134         Topeka City, Kansas                 2.9773291238%
                  KS135         Trego County, Kansas                0.0832973273%
                  KS136         Ulysses City, Kansas                0.0249593741%
                  KS137         Wabaunsee County, Kansas            0.1542554739%
                  KS138         Wallace County, Kansas              0.0168456276%
                  KS139         Washington County, Kansas           0.1090452597%
                  KS140         Wichita City, Kansas                8.2621190275%
                  KS141         Wichita County, Kansas              0.0516844483%
                  KS142         Wilson County, Kansas               0.5342588881%
                  KS143         Winfield City, Kansas               0.6854926025%
                  KS144         Woodson County, Kansas              0.2011950685%




  Strictly Confidential
  Subject to Protective Order
                                                   G-93             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 231 of 611. PageID #: 572515
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   KY1          Adair County, Kentucky               0.2072149972%
                   KY2          Allen County, Kentucky               0.3652932746%
                   KY3          Anderson County, Kentucky            0.3621159370%
                   KY4          Ashland City, Kentucky               0.9834499202%
                   KY5          Ballard County, Kentucky             0.1275818571%
                   KY6          Bardstown City, Kentucky             0.2352870373%
                   KY7          Barren County, Kentucky              0.3822164065%
                   KY8          Bath County, Kentucky                0.2721522696%
                   KY9          Bell County, Kentucky                1.6046449783%
                  KY10          Bellefonte City, Kentucky            0.0232546060%
                  KY11          Benham City, Kentucky                0.0026848062%
                  KY12          Berea City, Kentucky                 0.1673960319%
                  KY13          Boone County, Kentucky               2.2416599391%
                  KY14          Bourbon County, Kentucky             0.3912683808%
                  KY15          Bowling Green City, Kentucky         0.6707865957%
                  KY16          Boyd County, Kentucky                1.0191273378%
                  KY17          Boyle County, Kentucky               0.3790292999%
                  KY18          Bracken County, Kentucky             0.1275577166%
                  KY19          Breathitt County, Kentucky           0.5390554414%
                  KY20          Breckinridge County, Kentucky        0.3244963382%
                  KY21          Buckhorn City, Kentucky              0.0016578966%
                  KY22          Bullitt County, Kentucky             0.9402858081%
                  KY23          Butler County, Kentucky              0.2691739265%
                  KY24          Caldwell County, Kentucky            0.2485303902%
                  KY25          Calloway County, Kentucky            0.0270405279%
                  KY26          Campbell County, Kentucky            1.8009538340%
                  KY27          Campbellsville City, Kentucky        0.2769609681%
                  KY28          Carlisle County, Kentucky            0.0604084438%
                  KY29          Carroll County, Kentucky             0.3429114361%
                  KY30          Carter County, Kentucky              0.6015849596%
                  KY31          Casey County, Kentucky               0.2668572392%
                  KY32          Christian County, Kentucky           0.4386166388%
                  KY33          Clark County, Kentucky               0.6110238861%
                  KY34          Clay County, Kentucky                0.7834161044%
                  KY35          Clinton County, Kentucky             0.5184782680%
                  KY36          Columbia City, Kentucky              0.0941274300%
                  KY37          Covington City, Kentucky             1.7146827203%
                  KY38          Crittenden County, Kentucky          0.2010231527%
                  KY39          Cumberland County, Kentucky          0.1857249004%
                  KY40          Danville City, Kentucky              0.2799464970%
                  KY41          Daviess County, Kentucky             1.1263935276%
                  KY42          Edmonson County, Kentucky            0.1884368528%
                  KY43          Elizabethtown City, Kentucky         0.0550593556%
                  KY44          Elliott County, Kentucky             0.1458221479%
                  KY45          Erlanger City, Kentucky              0.3397777298%
  Strictly Confidential
  Subject to Protective Order
                                                    G-94             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 232 of 611. PageID #: 572516
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  KY46          Estill County, Kentucky              0.4817186620%
                  KY47          Fleming County, Kentucky             0.2798388981%
                  KY48          Florence City, Kentucky              0.7389020512%
                  KY49          Floyd County, Kentucky               2.2122610651%
                  KY50          Fort Thomas City, Kentucky           0.3651296923%
                  KY51          Frankfort City, Kentucky             0.4254271088%
                  KY52          Franklin County, Kentucky            0.4438483122%
                  KY53          Fulton County, Kentucky              0.1040009320%
                  KY54          Gallatin County, Kentucky            0.2347861459%
                  KY55          Garrard County, Kentucky             0.3127117464%
                  KY56          Georgetown City, Kentucky            0.2129888920%
                  KY57          Glasgow City, Kentucky               0.4100978120%
                  KY58          Grant County, Kentucky               0.8983127984%
                  KY59          Graves County, Kentucky              0.5377248503%
                  KY60          Grayson City, Kentucky               0.1405700912%
                  KY61          Grayson County, Kentucky             0.5506751829%
                  KY62          Green County, Kentucky               0.1363993307%
                  KY63          Greenup City, Kentucky               0.0314549006%
                  KY64          Greenup County, Kentucky             0.6818493215%
                  KY65          Hancock County, Kentucky             0.1001482246%
                  KY66          Hardin County, Kentucky              1.5735944542%
                  KY67          Harlan City, Kentucky                0.0307714057%
                  KY68          Harlan County, Kentucky              0.8841679348%
                  KY69          Harrison County, Kentucky            0.4508521033%
                  KY70          Hart County, Kentucky                0.2333469695%
                  KY71          Henderson City, Kentucky             0.5644511762%
                  KY72          Henderson County, Kentucky           0.3796057595%
                  KY73          Henry County, Kentucky               0.2263086115%
                  KY74          Hickman County, Kentucky             0.0533625713%
                  KY75          Hillview City, Kentucky              0.0559482324%
                  KY76          Hopkins County, Kentucky             0.5493362318%
                  KY77          Hopkinsville City, Kentucky          0.5662686160%
                  KY78          Hyden City, Kentucky                 0.0208586871%
                  KY79          Independence City, Kentucky          0.1255237640%
                  KY80          Inez City, Kentucky                  0.0105691141%
                  KY81          Jackson County, Kentucky             0.1930879337%
                  KY82          Jamestown City, Kentucky             0.0102921092%
                  KY83          Jefferson County, Kentucky          14.4939132925%
                  KY84          Jeffersontown City, Kentucky         0.1981991396%
                  KY85          Jenkins City, Kentucky               0.0688654541%
                  KY86          Jessamine County, Kentucky           0.6407795601%
                  KY87          Johnson County, Kentucky             0.6400798620%
                  KY88          Kenton County, Kentucky              3.0353062046%
                  KY89          Knott County, Kentucky               0.4760255015%
                  KY90          Knox County, Kentucky                0.8791225282%
  Strictly Confidential
  Subject to Protective Order
                                                    G-95             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 233 of 611. PageID #: 572517
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID               Qualifying Subdivision       Allocation
                  KY91          Larue County, Kentucky               0.1917133825%
                  KY92          Laurel County, Kentucky              0.9215642107%
                  KY93          Lawrence County, Kentucky            0.5341168353%
                  KY94          Lawrenceburg City, Kentucky          0.0804801232%
                  KY95          Lee County, Kentucky                 0.3684164606%
                  KY96          Leslie County, Kentucky              0.5316878055%
                  KY97          Letcher County, Kentucky             0.5820426330%
                  KY98          Lewis County, Kentucky               0.2152456979%
                  KY99          Lexington-Fayette Urban County,      6.2597070666%
                                Kentucky
                 KY100          Lincoln County, Kentucky             0.4844988089%
                 KY101          Livingston County, Kentucky          0.2056037847%
                 KY102          Logan County, Kentucky               0.4041639043%
                 KY103          London City, Kentucky                0.1961505806%
                 KY104          Loyall City, Kentucky                0.0033160280%
                 KY105          Lynch City, Kentucky                 0.0027455331%
                 KY106          Lyndon City, Kentucky                0.0748780766%
                 KY107          Lyon County, Kentucky                0.1367346673%
                 KY108          Madison County, Kentucky             1.1073052673%
                 KY109          Madisonville City, Kentucky          0.3927355489%
                 KY110          Magoffin County, Kentucky            0.3084779576%
                 KY111          Manchester City, Kentucky            0.1800397241%
                 KY112          Marion County, Kentucky              0.3140811783%
                 KY113          Marshall County, Kentucky            0.6110803392%
                 KY114          Martin County, Kentucky              0.4586073959%
                 KY115          Mason County, Kentucky               0.3538044741%
                 KY116          McCracken County, Kentucky           0.3377504933%
                 KY117          McCreary County, Kentucky            0.3011869230%
                 KY118          McLean County, Kentucky              0.1433881867%
                 KY119          Meade County, Kentucky               0.3762152436%
                 KY120          Menifee County, Kentucky             0.1152561711%
                 KY121          Mercer County, Kentucky              0.4275256395%
                 KY122          Metcalfe County, Kentucky            0.1167070889%
                 KY123          Monroe County, Kentucky              0.2890192303%
                 KY124          Montgomery County, Kentucky          0.7103789505%
                 KY125          Morehead City, Kentucky              0.1176937487%
                 KY126          Morgan County, Kentucky              0.0505889526%
                 KY127          Morganfield City, Kentucky           0.1082087956%
                 KY128          Mount Washington City, Kentucky      0.0667863672%
                 KY129          Muhlenberg County, Kentucky          0.6182711015%
                 KY130          Murray City, Kentucky                0.5765962314%
                 KY131          Nelson County, Kentucky              0.4816564321%
                 KY132          Newport City, Kentucky               0.7312996326%
                 KY133          Nicholas County, Kentucky            0.1324383199%
                 KY134          Nicholasville City, Kentucky         0.3723153354%
  Strictly Confidential
  Subject to Protective Order
                                                  G-96               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 234 of 611. PageID #: 572518
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  KY135         Ohio County, Kentucky                0.4467150643%
                  KY136         Oldham County, Kentucky              0.8061439877%
                  KY137         Owen County, Kentucky                0.2198857418%
                  KY138         Owensboro City, Kentucky             0.5118319344%
                  KY139         Owsley County, Kentucky              0.1294761331%
                  KY140         Paducah City, Kentucky               1.1041080161%
                  KY141         Paintsville City, Kentucky           0.3642660363%
                  KY142         Pendleton County, Kentucky           0.3094900729%
                  KY143         Perry County, Kentucky               1.7685462770%
                  KY144         Pike County, Kentucky                2.8526994649%
                  KY145         Pineville City, Kentucky             0.0736606264%
                  KY146         Pippa Passes City, Kentucky          0.0150639864%
                  KY147         Powell County, Kentucky              0.5788951657%
                  KY148         Prestonsburg City, Kentucky          0.4197933602%
                  KY149         Pulaski County, Kentucky             0.8723902940%
                  KY150         Radcliff City, Kentucky              0.0391427032%
                  KY151         Richmond City, Kentucky              0.5069051167%
                  KY152         Robertson County, Kentucky           0.0346199801%
                  KY153         Rockcastle County, Kentucky          0.5575756021%
                  KY154         Rowan County, Kentucky               0.4245058255%
                  KY155         Russell City, Kentucky               0.1455248537%
                  KY156         Russell County, Kentucky             0.5341152854%
                  KY157         Russell Springs City, Kentucky       0.0155036343%
                  KY158         Scott County, Kentucky               0.6332443967%
                  KY159         Shelby County, Kentucky              0.5093783884%
                  KY160         Shelbyville City, Kentucky           0.1168374662%
                  KY161         Shepherdsville City, Kentucky        0.1717991328%
                  KY162         Shively City, Kentucky               0.1040826057%
                  KY163         Simpson County, Kentucky             0.3109188228%
                  KY164         Somerset City, Kentucky              0.3108498299%
                  KY165         South Shore City, Kentucky           0.0058748246%
                  KY166         Spencer County, Kentucky             0.2447695951%
                  KY167         St. Matthews City, Kentucky          0.1131834246%
                  KY168         Taylor County, Kentucky              0.1908446071%
                  KY169         Todd County, Kentucky                0.1788746408%
                  KY170         Trigg County, Kentucky               0.2047738501%
                  KY171         Trimble County, Kentucky             0.1174427629%
                  KY172         Union County, Kentucky               0.2531192882%
                  KY173         Vanceburg City, Kentucky             0.0340027072%
                  KY174         Warfield City, Kentucky              0.0001148786%
                  KY175         Warren County, Kentucky              0.9893070387%
                  KY176         Washington County, Kentucky          0.1549834119%
                  KY177         Wayne County, Kentucky               0.3477965951%
                  KY178         Webster County, Kentucky             0.2371207742%
                  KY179         West Liberty City, Kentucky          0.1691975502%
  Strictly Confidential
  Subject to Protective Order
                                                    G-97             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 235 of 611. PageID #: 572519
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  KY180         Whitesburg City, Kentucky           0.0507126138%
                  KY181         Whitley County, Kentucky            2.0341464266%
                  KY182         Winchester City, Kentucky           0.4646999075%
                  KY183         Wolfe County, Kentucky              0.2600699609%
                  KY184         Woodford County, Kentucky           0.4375495264%
                  KY185         Worthington City, Kentucky          0.0263144349%




  Strictly Confidential
  Subject to Protective Order
                                                   G-98             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 236 of 611. PageID #: 572520
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                   LA1          Abbeville City, Louisiana             0.0679280538%
                   LA2          Acadia Parish, Louisiana              1.2194829459%
                   LA3          Alexandria City, Louisiana            1.2024783767%
                   LA4          Allen Parish, Louisiana               0.4559894283%
                   LA5          Ascension Parish, Louisiana           1.9267662149%
                   LA6          Assumption Parish, Louisiana          0.3666421439%
                   LA7          Avoyelles Parish, Louisiana           0.8404458488%
                   LA8          Baker City, Louisiana                 0.1117452518%
                   LA9          Baldwin Town, Louisiana               0.0108418974%
                  LA10          Bastrop City, Louisiana               0.0578782632%
                  LA11          Baton Rouge City, Louisiana           8.9366637967%
                  LA12          Beauregard Parish, Louisiana          0.5966957728%
                  LA13          Berwick Town, Louisiana               0.0285604806%
                  LA14          Bienville Parish, Louisiana           0.1954851558%
                  LA15          Bogalusa City, Louisiana              0.3158250558%
                  LA16          Bossier City, Louisiana               0.7790225688%
                  LA17          Bossier Parish, Louisiana             1.0230735201%
                  LA18          Broussard City, Louisiana             0.0918011427%
                  LA19          Caddo Parish, Louisiana               2.1447099889%
                  LA20          Calcasieu Parish, Louisiana           2.9021241601%
                  LA21          Caldwell Parish, Louisiana            0.1927546033%
                  LA22          Cameron Parish, Louisiana             0.1030184405%
                  LA23          Catahoula Parish, Louisiana           0.2156692517%
                  LA24          Central City, Louisiana               0.0033763047%
                  LA25          Claiborne Parish, Louisiana           0.2771007770%
                  LA26          Concordia Parish, Louisiana           0.3162569050%
                  LA27          Covington City, Louisiana             0.3214341011%
                  LA28          Crowley City, Louisiana               0.3391756761%
                  LA29          De Soto Parish, Louisiana             0.3484008543%
                  LA30          Delhi Town, Louisiana                 0.0031539979%
                  LA31          Deridder City, Louisiana              0.0636668030%
                  LA32          Donaldsonville City, Louisiana        0.0694578006%
                  LA33          East Carroll Parish, Louisiana        0.0759082662%
                  LA34          East Feliciana Parish, Louisiana      0.2588380813%
                  LA35          Eunice City, Louisiana                0.0643741573%
                  LA36          Evangeline Parish, Louisiana          0.7892359182%
                  LA37          Ferriday Town, Louisiana              0.0108372990%
                  LA38          Franklin City, Louisiana              0.0440106462%
                  LA39          Franklin Parish, Louisiana            0.2693308999%
                  LA40          Gonzales City, Louisiana              0.2760446611%
                  LA41          Gramercy Town, Louisiana              0.0042935185%
                  LA42          Grant Parish, Louisiana               0.3383245042%
                  LA43          Gretna City, Louisiana                0.2064625462%
                  LA44          Hammond City, Louisiana               0.1932291063%
                  LA45          Houma City, Louisiana                 2.3145771376%
  Strictly Confidential
  Subject to Protective Order
                                                    G-99              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 237 of 611. PageID #: 572521
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  LA46          Iberia Parish, Louisiana               1.1914468366%
                  LA47          Iberville Parish, Louisiana            0.6981774104%
                  LA48          Jackson Parish, Louisiana              0.2373772275%
                  LA49          Jean Lafitte Town, Louisiana           0.0069018975%
                  LA50          Jefferson Davis Parish, Louisiana      0.6931288890%
                  LA51          Jefferson Parish, Louisiana           12.5267142795%
                  LA52          Kenner City, Louisiana                 0.3494002836%
                  LA53          Lafayette City, Louisiana              4.9816398190%
                  LA54          Lafourche Parish, Louisiana            1.7353719328%
                  LA55          Lake Charles City, Louisiana           0.8843967956%
                  LA56          Lake Providence Town, Louisiana        0.0035291605%
                  LA57          Lasalle Parish, Louisiana              0.3542600344%
                  LA58          Lincoln Parish, Louisiana              0.2831101174%
                  LA59          Livingston Parish, Louisiana           4.9708979756%
                  LA60          Lutcher Town, Louisiana                0.0011958109%
                  LA61          Madison Parish, Louisiana              0.1244317250%
                  LA62          Madisonville Town, Louisiana           0.0204192464%
                  LA63          Mandeville City, Louisiana             0.2436336107%
                  LA64          Minden City, Louisiana                 0.1701763486%
                  LA65          Monroe City, Louisiana                 0.9030903893%
                  LA66          Morehouse Parish, Louisiana            0.3887749921%
                  LA67          Morgan City, Louisiana                 0.1587706766%
                  LA68          Natchitoches City, Louisiana           0.0900119850%
                  LA69          Natchitoches Parish, Louisiana         0.4124570906%
                  LA70          New Iberia City, Louisiana             0.1237419713%
                  LA71          New Orleans City, Louisiana            6.2932349310%
                  LA72          New Roads City, Louisiana              0.0181635932%
                  LA73          Opelousas City, Louisiana              0.1465652868%
                  LA74          Ouachita Parish, Louisiana             1.3360541743%
                  LA75          Patterson City, Louisiana              0.0445643519%
                  LA76          Pearl River Town, Louisiana            0.0360604817%
                  LA77          Pineville City, Louisiana              0.3789523446%
                  LA78          Plaquemines Parish, Louisiana          0.4622832326%
                  LA79          Pointe Coupee Parish, Louisiana        0.3684600016%
                  LA80          Rapides Parish, Louisiana              1.6733137622%
                  LA81          Red River Parish, Louisiana            0.1329356745%
                  LA82          Richland Parish, Louisiana             0.2398346534%
                  LA83          Richwood Town, Louisiana               0.0069336896%
                  LA84          Ruston City, Louisiana                 0.2333598483%
                  LA85          Sabine Parish, Louisiana               0.3520961106%
                  LA86          Shreveport City, Louisiana             2.3555619849%
                  LA87          Slidell City, Louisiana                0.7374368429%
                  LA88          St Bernard Parish, Louisiana           1.7675407766%
                  LA89          St Charles Parish, Louisiana           1.1729990173%
                  LA90          St Helena Parish, Louisiana            0.1965552254%
  Strictly Confidential
  Subject to Protective Order
                                                   G-100               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 238 of 611. PageID #: 572522
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  LA91          St James Parish, Louisiana                 0.2806541978%
                  LA92          St John The Baptist Parish, Louisiana      0.7886407480%
                  LA93          St Landry Parish, Louisiana                1.6440093783%
                  LA94          St Martin Parish, Louisiana                0.7683200492%
                  LA95          St Mary Parish, Louisiana                  0.7690259764%
                  LA96          St Tammany Parish, Louisiana               6.4722256182%
                  LA97          St. Martinville City, Louisiana            0.0695756137%
                  LA98          Sulphur City, Louisiana                    0.2386884731%
                  LA99          Tangipahoa Parish, Louisiana               3.2718516436%
                  LA100         Tensas Parish, Louisiana                   0.0558435690%
                  LA101         Thibodaux City, Louisiana                  0.0818006655%
                  LA102         Union Parish, Louisiana                    0.3100839266%
                  LA103         Vermilion Parish, Louisiana                0.8951866840%
                  LA104         Vernon Parish, Louisiana                   0.8881699862%
                  LA105         Washington Parish, Louisiana               1.3862825140%
                  LA106         Webster Parish, Louisiana                  0.5482428750%
                  LA107         West Baton Rouge Parish, Louisiana         0.5291991719%
                  LA108         West Carroll Parish, Louisiana             0.1549450807%
                  LA109         West Feliciana Parish, Louisiana           0.2173436090%
                  LA110         West Monroe City, Louisiana                0.1730443762%
                  LA111         Westwego City, Louisiana                   0.0854037168%
                  LA112         Winn Parish, Louisiana                     0.3134526202%
                  LA113         Youngsville City, Louisiana                0.0435751500%
                  LA114         Zachary City, Louisiana                    0.1353795432%




  Strictly Confidential
  Subject to Protective Order
                                                    G-101                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 239 of 611. PageID #: 572523
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   ME1          Androscoggin County, Maine          1.6799535986%
                   ME2          Aroostook County, Maine             4.0537116218%
                   ME3          Auburn City, Maine                  2.6283332826%
                   ME4          Augusta City, Maine                 3.6779545807%
                   ME5          Bangor City, Maine                  5.2042873123%
                   ME6          Biddeford City, Maine               2.7393997300%
                   ME7          Brunswick Town, Maine               1.6113929261%
                   ME8          Calais City, Maine                  0.8369049504%
                   ME9          Cumberland County, Maine            3.5025701951%
                  ME10          Falmouth Town, Maine                1.2353278939%
                  ME11          Franklin County, Maine              1.9717572454%
                  ME12          Gorham Town, Maine                  1.4582940317%
                  ME13          Hancock County, Maine               3.8494340111%
                  ME14          Kennebec County, Maine              4.9959268385%
                  ME15          Kennebunk Town, Maine               0.2185679049%
                  ME16          Knox County, Maine                  2.1010369789%
                  ME17          Lewiston City, Maine                4.3451006968%
                  ME18          Lincoln County, Maine               2.1621727981%
                  ME19          Orono Town, Maine                   0.2094180830%
                  ME20          Oxford County, Maine                3.8454418782%
                  ME21          Penobscot County, Maine             6.7801027597%
                  ME22          Piscataquis County, Maine           1.2760851978%
                  ME23          Portland City, Maine                7.2016026249%
                  ME24          Rockland City, Maine                0.6184398003%
                  ME25          Saco City, Maine                    0.4366518238%
                  ME26          Sagadahoc County, Maine             1.9708146889%
                  ME27          Sanford City, Maine                 2.6908215844%
                  ME28          Scarborough Town, Maine             1.8363769930%
                  ME29          Somerset County, Maine              3.6977198467%
                  ME30          South Portland City, Maine          2.2275994495%
                  ME31          Standish Town, Maine                0.0664145731%
                  ME32          Waldo County, Maine                 2.4723925078%
                  ME33          Washington County, Maine            2.6998574469%
                  ME34          Waterville City, Maine              2.8132809688%
                  ME35          Wells Town, Maine                   0.2541311729%
                  ME36          Westbrook City, Maine               1.5416150467%
                  ME37          Windham Town, Maine                 0.1935482073%
                  ME38          York County, Maine                  6.7950503019%
                  ME39          York Town, Maine                    2.1005084476%




  Strictly Confidential
  Subject to Protective Order
                                                  G-102             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 240 of 611. PageID #: 572524
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  MD1           Aberdeen City, Maryland                0.0372796529%
                  MD2           Allegany County, Maryland              1.6120411494%
                  MD3           Annapolis City, Maryland               0.2413230958%
                  MD4           Anne Arundel County, Maryland          9.5850095156%
                  MD5           Baltimore City, Maryland              20.9970334354%
                  MD6           Baltimore County, Maryland            17.7565394434%
                  MD7           Bel Air Town, Maryland                 0.0322364280%
                  MD8           Berlin Town, Maryland                  0.0109236186%
                  MD9           Bowie City, Maryland                   0.0263270946%
                  MD10          Calvert County, Maryland               1.6948343688%
                  MD11          Cambridge City, Maryland               0.0196746185%
                  MD12          Caroline County, Maryland              0.5865017850%
                  MD13          Carroll County, Maryland               2.9605563001%
                  MD14          Cecil County, Maryland                 3.7958577634%
                  MD15          Charles County, Maryland               1.9663409179%
                  MD16          Charlestown, Maryland                  0.0013846587%
                  MD17          College Park City, Maryland            0.0050334845%
                  MD18          Cottage City Town, Maryland            0.0015972023%
                  MD19          Cumberland City, Maryland              0.1627132426%
                  MD20          Dorchester County, Maryland            0.3951913125%
                  MD21          Easton Town, Maryland                  0.0630108370%
                  MD22          Elkton Town, Maryland                  0.0884110160%
                  MD23          Forest Heights Town, Maryland          0.0014812182%
                  MD24          Frederick City, Maryland               0.1530889274%
                  MD25          Frederick County, Maryland             3.4957333212%
                  MD26          Frostburg City, Maryland               0.0194678741%
                  MD27          Gaithersburg City, Maryland            0.0243966914%
                  MD28          Garrett County, Maryland               0.3513434690%
                  MD29          Grantsville Town, Maryland             0.0002207076%
                  MD30          Greenbelt City, Maryland               0.0369938028%
                  MD31          Hagerstown City, Maryland              0.1829328174%
                  MD32          Harford County, Maryland               5.1958110720%
                  MD33          Havre De Grace City, Maryland          0.0458009931%
                  MD34          Howard County, Maryland                3.2487213744%
                  MD35          Hyattsville City, Maryland             0.0127377562%
                  MD36          Kent County, Maryland                  0.4683852152%
                  MD37          Laurel City, Maryland                  0.0300516480%
                  MD38          Montgomery County, Maryland            8.5574378958%
                  MD39          Mountain Lake Park Town, Maryland      0.0001004445%
                  MD40          New Carrollton City, Maryland          0.0062727689%
                  MD41          North Brentwood Town, Maryland         0.0000662686%
                  MD42          North East Town, Maryland              0.0183814522%
                  MD43          Oakland Town, Maryland                 0.0011777453%
                  MD44          Perryville Town, Maryland              0.0184160785%
                  MD45          Prince Georges County, Maryland        7.1382650655%
  Strictly Confidential
  Subject to Protective Order
                                                  G-103                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 241 of 611. PageID #: 572525
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  MD46          Queen Annes County, Maryland        0.7381792535%
                  MD47          Rockville City, Maryland            0.0611045878%
                  MD48          Salisbury City, Maryland            0.1347806691%
                  MD49          Seat Pleasant City, Maryland        0.0040128808%
                  MD50          Somerset County, Maryland           0.3875128839%
                  MD51          St Marys County, Maryland           1.3684562511%
                  MD52          Takoma Park City, Maryland          0.0195596479%
                  MD53          Talbot County, Maryland             0.4896824850%
                  MD54          Upper Marlboro Town, Maryland       0.0009443695%
                  MD55          Vienna Town, Maryland               0.0001582676%
                  MD56          Washington County, Maryland         3.0474490505%
                  MD57          Westminster City, Maryland          0.0440087573%
                  MD58          Wicomico County, Maryland           1.6694422411%
                  MD59          Worcester County, Maryland          0.9876031064%




  Strictly Confidential
  Subject to Protective Order
                                                  G-104             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 242 of 611. PageID #: 572526
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                  MA1           Abington Town, Massachusetts             0.2400899791%
                  MA2           Acton Town, Massachusetts                0.1586479343%
                  MA3           Acushnet Town, Massachusetts             0.1547305792%
                  MA4           Adams Town, Massachusetts                0.0189731986%
                  MA5           Agawam Town City, Massachusetts          0.4341901730%
                  MA6           Alford Town, Massachusetts               0.0007449491%
                  MA7           Amesbury Town City, Massachusetts        0.2580959424%
                  MA8           Amherst Town, Massachusetts              0.3675897982%
                  MA9           Andover Town, Massachusetts              0.7102727131%
                  MA10          Aquinnah Town, Massachusetts             0.0049293930%
                  MA11          Arlington Town, Massachusetts            0.3350233330%
                  MA12          Ashburnham Town, Massachusetts           0.0140160133%
                  MA13          Ashby Town, Massachusetts                0.0069876989%
                  MA14          Ashfield Town, Massachusetts             0.0027296132%
                  MA15          Ashland Town, Massachusetts              0.1613930923%
                  MA16          Athol Town, Massachusetts                0.0359559233%
                  MA17          Attleboro City, Massachusetts            0.9357205930%
                  MA18          Auburn Town, Massachusetts               0.3036683195%
                  MA19          Avon Town, Massachusetts                 0.0739889948%
                  MA20          Ayer Town, Massachusetts                 0.0179210686%
                  MA21          Barnstable County, Massachusetts         0.0639482242%
                  MA22          Barnstable Town City, Massachusetts      0.8578313582%
                  MA23          Barre Town, Massachusetts                0.0096522017%
                  MA24          Becket Town, Massachusetts               0.0067279376%
                  MA25          Bedford Town, Massachusetts              0.1982937972%
                  MA26          Belchertown, Massachusetts               0.3492785905%
                  MA27          Bellingham Town, Massachusetts           0.1961076781%
                  MA28          Belmont Town, Massachusetts              0.2420315678%
                  MA29          Berkley Town, Massachusetts              0.1212759115%
                  MA30          Berlin Town, Massachusetts               0.0397753511%
                  MA31          Bernardston Town, Massachusetts          0.0040751589%
                  MA32          Beverly City, Massachusetts              0.4801566147%
                  MA33          Billerica Town, Massachusetts            0.3870913124%
                  MA34          Blackstone Town, Massachusetts           0.0221473318%
                  MA35          Blandford Town, Massachusetts            0.0009007116%
                  MA36          Bolton Town, Massachusetts               0.0110088433%
                  MA37          Boston City, Massachusetts              10.5767780349%
                  MA38          Bourne Town, Massachusetts               0.3783946742%
                  MA39          Boxborough Town, Massachusetts           0.0399298051%
                  MA40          Boxford Town, Massachusetts              0.0912309051%
                  MA41          Boylston Town, Massachusetts             0.0562367737%
                  MA42          Braintree Town City, Massachusetts       0.4457226214%
                  MA43          Brewster Town, Massachusetts             0.1284470083%
                  MA44          Bridgewater Town, Massachusetts          0.0570448443%
                  MA45          Brimfield Town, Massachusetts            0.0355644757%
  Strictly Confidential
  Subject to Protective Order
                                                   G-105                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 243 of 611. PageID #: 572527
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  MA46          Bristol County, Massachusetts             0.1015083030%
                  MA47          Brockton City, Massachusetts              2.1170344615%
                  MA48          Brookfield Town, Massachusetts            0.0372953453%
                  MA49          Brookline Town, Massachusetts             0.8244968622%
                  MA50          Buckland Town, Massachusetts              0.0031396937%
                  MA51          Burlington Town, Massachusetts            0.3034752912%
                  MA52          Cambridge City, Massachusetts             4.3053779748%
                  MA53          Canton Town, Massachusetts                0.2909840866%
                  MA54          Carlisle Town, Massachusetts              0.0526144568%
                  MA55          Carver Town, Massachusetts                0.2179547901%
                  MA56          Charlemont Town, Massachusetts            0.0066765925%
                  MA57          Charlton Town, Massachusetts              0.0305379405%
                  MA58          Chatham Town, Massachusetts               0.1685335181%
                  MA59          Chelmsford Town, Massachusetts            0.3162632088%
                  MA60          Chelsea City, Massachusetts               0.5236031155%
                  MA61          Cheshire Town, Massachusetts              0.0015830626%
                  MA62          Chester Town, Massachusetts               0.0096828727%
                  MA63          Chesterfield Town, Massachusetts          0.0168042468%
                  MA64          Chicopee City, Massachusetts              0.8816952708%
                  MA65          Chilmark Town, Massachusetts              0.0062328576%
                  MA66          Clarksburg Town, Massachusetts            0.0303920178%
                  MA67          Clinton Town, Massachusetts               0.2371744557%
                  MA68          Cohasset Town, Massachusetts              0.1430861241%
                  MA69          Colrain Town, Massachusetts               0.0016018525%
                  MA70          Concord Town, Massachusetts               0.1749597704%
                  MA71          Conway Town, Massachusetts                0.0354590115%
                  MA72          Cummington Town, Massachusetts            0.0009757143%
                  MA73          Dalton Town, Massachusetts                0.0123034626%
                  MA74          Danvers Town, Massachusetts               0.4037368656%
                  MA75          Dartmouth Town, Massachusetts             0.5505881937%
                  MA76          Dedham Town, Massachusetts                0.3188835370%
                  MA77          Deerfield Town, Massachusetts             0.0872700035%
                  MA78          Dennis Town, Massachusetts                0.0970183530%
                  MA79          Dighton Town, Massachusetts               0.0228752705%
                  MA80          Douglas Town, Massachusetts               0.1659192613%
                  MA81          Dover Town, Massachusetts                 0.0683428114%
                  MA82          Dracut Town, Massachusetts                0.2045887296%
                  MA83          Dudley Town, Massachusetts                0.0179390734%
                  MA84          Dukes County, Massachusetts               0.0054256244%
                  MA85          Dunstable Town, Massachusetts             0.0041607864%
                  MA86          Duxbury Town, Massachusetts               0.3742011756%
                  MA87          East Bridgewater Town, Massachusetts      0.2308047825%
                  MA88          East Brookfield Town, Massachusetts       0.0052365739%
                  MA89          East Longmeadow Town, Massachusetts       0.2715713403%
                  MA90          Eastham Town, Massachusetts               0.0786916528%
  Strictly Confidential
  Subject to Protective Order
                                                  G-106                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 244 of 611. PageID #: 572528
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  MA91          Easthampton Town City, Massachusetts      0.2670463228%
                  MA92          Easton Town, Massachusetts                0.5676857515%
                  MA93          Edgartown, Massachusetts                  0.0809809332%
                  MA94          Egremont Town, Massachusetts              0.0050750540%
                  MA95          Erving Town, Massachusetts                0.0513752128%
                  MA96          Essex Town, Massachusetts                 0.0113333487%
                  MA97          Everett City, Massachusetts               0.4368228534%
                  MA98          Fairhaven Town, Massachusetts             0.3265362625%
                  MA99          Fall River City, Massachusetts            2.1055901006%
                 MA100          Falmouth Town, Massachusetts              0.6632841320%
                 MA101          Fitchburg City, Massachusetts             0.6913634212%
                 MA102          Florida Town, Massachusetts               0.0170875086%
                 MA103          Foxborough Town, Massachusetts            0.2588100112%
                 MA104          Framingham Town, Massachusetts            0.6902310022%
                 MA105          Franklin Town City, Massachusetts         0.4506715894%
                 MA106          Freetown, Massachusetts                   0.0347111837%
                 MA107          Gardner City, Massachusetts               0.3080580392%
                 MA108          Georgetown, Massachusetts                 0.1361143365%
                 MA109          Gill Town, Massachusetts                  0.0032293514%
                 MA110          Gloucester City, Massachusetts            0.4219402015%
                 MA111          Goshen Town, Massachusetts                0.0020598761%
                 MA112          Gosnold Town, Massachusetts               0.0011645031%
                 MA113          Grafton Town, Massachusetts               0.2787903277%
                 MA114          Granby Town, Massachusetts                0.1421420753%
                 MA115          Granville Town, Massachusetts             0.0205788719%
                 MA116          Great Barrington Town, Massachusetts      0.0238735954%
                 MA117          Greenfield Town City, Massachusetts       0.4522917084%
                 MA118          Groton Town, Massachusetts                0.0112861907%
                 MA119          Groveland Town, Massachusetts             0.0109548289%
                 MA120          Hadley Town, Massachusetts                0.1036658447%
                 MA121          Halifax Town, Massachusetts               0.0744074497%
                 MA122          Hamilton Town, Massachusetts              0.0148754814%
                 MA123          Hampden Town, Massachusetts               0.0086441416%
                 MA124          Hancock Town, Massachusetts               0.0080083205%
                 MA125          Hanover Town, Massachusetts               0.2979987927%
                 MA126          Hanson Town, Massachusetts                0.0306151413%
                 MA127          Hardwick Town, Massachusetts              0.0046489576%
                 MA128          Harvard Town, Massachusetts               0.1646144358%
                 MA129          Harwich Town, Massachusetts               0.2864309104%
                 MA130          Hatfield Town, Massachusetts              0.0627393895%
                 MA131          Haverhill City, Massachusetts             0.8142937865%
                 MA132          Hawley Town, Massachusetts                0.0002691301%
                 MA133          Heath Town, Massachusetts                 0.0011790011%
                 MA134          Hingham Town, Massachusetts               0.4828724626%
                 MA135          Hinsdale Town, Massachusetts              0.0037015067%
  Strictly Confidential
  Subject to Protective Order
                                                  G-107                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 245 of 611. PageID #: 572529
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                 MA136          Holbrook Town, Massachusetts          0.1222501079%
                 MA137          Holden Town, Massachusetts            0.0343745879%
                 MA138          Holland Town, Massachusetts           0.0238040885%
                 MA139          Holliston Town, Massachusetts         0.1672190621%
                 MA140          Holyoke City, Massachusetts           0.9664659552%
                 MA141          Hopedale Town, Massachusetts          0.1372305825%
                 MA142          Hopkinton Town, Massachusetts         0.2027514537%
                 MA143          Hubbardston Town, Massachusetts       0.0076647112%
                 MA144          Hudson Town, Massachusetts            0.1994512345%
                 MA145          Hull Town, Massachusetts              0.1954841045%
                 MA146          Huntington Town, Massachusetts        0.0026561285%
                 MA147          Ipswich Town, Massachusetts           0.2079635850%
                 MA148          Kingston Town, Massachusetts          0.1369378473%
                 MA149          Lakeville Town, Massachusetts         0.0202228058%
                 MA150          Lancaster Town, Massachusetts         0.0116656002%
                 MA151          Lanesborough Town, Massachusetts      0.0575248505%
                 MA152          Lawrence City, Massachusetts          1.4758837913%
                 MA153          Lee Town, Massachusetts               0.1519018348%
                 MA154          Leicester Town, Massachusetts         0.1926291380%
                 MA155          Lenox Town, Massachusetts             0.1609461124%
                 MA156          Leominster City, Massachusetts        0.7902530708%
                 MA157          Leverett Town, Massachusetts          0.0395342227%
                 MA158          Lexington Town, Massachusetts         0.5090924410%
                 MA159          Leyden Town, Massachusetts            0.0007689206%
                 MA160          Lincoln Town, Massachusetts           0.1099619285%
                 MA161          Littleton Town, Massachusetts         0.1043597104%
                 MA162          Longmeadow Town, Massachusetts        0.2992108201%
                 MA163          Lowell City, Massachusetts            1.0242474790%
                 MA164          Ludlow Town, Massachusetts            0.3042665608%
                 MA165          Lunenburg Town, Massachusetts         0.1916440550%
                 MA166          Lynn City, Massachusetts              1.5917595154%
                 MA167          Lynnfield Town, Massachusetts         0.2333154069%
                 MA168          Malden City, Massachusetts            0.4659742140%
                 MA169          Manchester-By-The-Sea Town,           0.0201100664%
                                Massachusetts
                 MA170          Mansfield Town, Massachusetts         0.6816694002%
                 MA171          Marblehead Town, Massachusetts        0.3485912672%
                 MA172          Marion Town, Massachusetts            0.0698025620%
                 MA173          Marlborough City, Massachusetts       0.3668295136%
                 MA174          Marshfield Town, Massachusetts        0.4930551259%
                 MA175          Mashpee Town, Massachusetts           0.3459150927%
                 MA176          Mattapoisett Town, Massachusetts      0.0843720139%
                 MA177          Maynard Town, Massachusetts           0.1014940666%
                 MA178          Medfield Town, Massachusetts          0.2083772770%
                 MA179          Medford City, Massachusetts           0.3972200658%
  Strictly Confidential
  Subject to Protective Order
                                                  G-108               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 246 of 611. PageID #: 572530
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                 MA180          Medway Town, Massachusetts                0.1940731867%
                 MA181          Melrose City, Massachusetts               0.2296395466%
                 MA182          Mendon Town, Massachusetts                0.0164096065%
                 MA183          Merrimac Town, Massachusetts              0.0100336001%
                 MA184          Methuen Town City, Massachusetts          0.7149217230%
                 MA185          Middleborough Town, Massachusetts         0.3933419654%
                 MA186          Middlefield Town, Massachusetts           0.0003252381%
                 MA187          Middleton Town, Massachusetts             0.0917093411%
                 MA188          Milford Town, Massachusetts               0.5323916620%
                 MA189          Millbury Town, Massachusetts              0.2332340712%
                 MA190          Millis Town, Massachusetts                0.0999797258%
                 MA191          Millville Town, Massachusetts             0.0062130209%
                 MA192          Milton Town, Massachusetts                0.3520463069%
                 MA193          Monroe Town, Massachusetts                0.0001025332%
                 MA194          Monson Town, Massachusetts                0.1266258006%
                 MA195          Montague Town, Massachusetts              0.0291412591%
                 MA196          Monterey Town, Massachusetts              0.0042137017%
                 MA197          Montgomery Town, Massachusetts            0.0002324400%
                 MA198          Mt Washington Town, Massachusetts         0.0001746048%
                 MA199          Nahant Town, Massachusetts                0.0355497159%
                 MA200          Nantucket Town, Massachusetts             0.1102324194%
                 MA201          Natick Town, Massachusetts                0.3421702489%
                 MA202          Needham Town, Massachusetts               0.4914063771%
                 MA203          New Ashford Town, Massachusetts           0.0002677169%
                 MA204          New Bedford City, Massachusetts           2.3617391681%
                 MA205          New Braintree Town, Massachusetts         0.0013480056%
                 MA206          New Marlborough Town, Massachusetts       0.0032940955%
                 MA207          New Salem Town, Massachusetts             0.0024476600%
                 MA208          Newbury Town, Massachusetts               0.0135400372%
                 MA209          Newburyport City, Massachusetts           0.2905748435%
                 MA210          Newton City, Massachusetts                1.0088865481%
                 MA211          Norfolk County, Massachusetts             0.0563017795%
                 MA212          Norfolk Town, Massachusetts               0.0892988423%
                 MA213          North Adams City, Massachusetts           0.3428675166%
                 MA214          North Andover Town, Massachusetts         0.4494773051%
                 MA215          North Attleborough Town,                  0.6369959028%
                                Massachusetts
                 MA216          North Brookfield Town, Massachusetts      0.0698725924%
                 MA217          North Reading Town, Massachusetts         0.1664230820%
                 MA218          Northampton City, Massachusetts           0.5405649568%
                 MA219          Northborough Town, Massachusetts          0.2422641125%
                 MA220          Northbridge Town, Massachusetts           0.2823159735%
                 MA221          Northfield Town, Massachusetts            0.0153010544%
                 MA222          Norton Town, Massachusetts                0.4563834066%
                 MA223          Norwell Town, Massachusetts               0.2753854817%
  Strictly Confidential
  Subject to Protective Order
                                                  G-109                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 247 of 611. PageID #: 572531
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                 Qualifying Subdivision      Allocation
                 MA224          Norwood Town, Massachusetts           0.3412282413%
                 MA225          Oak Bluffs Town, Massachusetts        0.0769116887%
                 MA226          Oakham Town, Massachusetts            0.0026269230%
                 MA227          Orange Town, Massachusetts            0.1376712816%
                 MA228          Orleans Town, Massachusetts           0.0935051641%
                 MA229          Otis Town, Massachusetts              0.0035269019%
                 MA230          Oxford Town, Massachusetts            0.2336229019%
                 MA231          Palmer Town City, Massachusetts       0.1621757259%
                 MA232          Paxton Town, Massachusetts            0.0115100470%
                 MA233          Peabody City, Massachusetts           0.7162928627%
                 MA234          Pelham Town, Massachusetts            0.0235476246%
                 MA235          Pembroke Town, Massachusetts          0.3388218249%
                 MA236          Pepperell Town, Massachusetts         0.0102363113%
                 MA237          Peru Town, Massachusetts              0.0011523603%
                 MA238          Petersham Town, Massachusetts         0.0159775433%
                 MA239          Phillipston Town, Massachusetts       0.0039835646%
                 MA240          Pittsfield City, Massachusetts        1.1541979937%
                 MA241          Plainfield Town, Massachusetts        0.0004986914%
                 MA242          Plainville Town, Massachusetts        0.0738004154%
                 MA243          Plymouth County, Massachusetts        0.0008974666%
                 MA244          Plymouth Town, Massachusetts          1.0727134492%
                 MA245          Plympton Town, Massachusetts          0.0311939123%
                 MA246          Princeton Town, Massachusetts         0.0094015998%
                 MA247          Provincetown, Massachusetts           0.0895015011%
                 MA248          Quincy City, Massachusetts            1.0277365393%
                 MA249          Randolph Town, Massachusetts          0.3517891103%
                 MA250          Raynham Town, Massachusetts           0.0739771661%
                 MA251          Reading Town, Massachusetts           0.2463903024%
                 MA252          Rehoboth Town, Massachusetts          0.0342848256%
                 MA253          Revere City, Massachusetts            0.5754964378%
                 MA254          Richmond Town, Massachusetts          0.0346755405%
                 MA255          Rochester Town, Massachusetts         0.0656757963%
                 MA256          Rockland Town, Massachusetts          0.3048431858%
                 MA257          Rockport Town, Massachusetts          0.1188536886%
                 MA258          Rowe Town, Massachusetts              0.0242459391%
                 MA259          Rowley Town, Massachusetts            0.0134543050%
                 MA260          Royalston Town, Massachusetts         0.0020739031%
                 MA261          Russell Town, Massachusetts           0.0012348998%
                 MA262          Rutland Town, Massachusetts           0.0122272562%
                 MA263          Salem City, Massachusetts             0.6254547137%
                 MA264          Salisbury Town, Massachusetts         0.0319290215%
                 MA265          Sandisfield Town, Massachusetts       0.0020719142%
                 MA266          Sandwich Town, Massachusetts          0.4944903815%
                 MA267          Saugus Town, Massachusetts            0.3330802265%
                 MA268          Savoy Town, Massachusetts             0.0103246605%
  Strictly Confidential
  Subject to Protective Order
                                                   G-110              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 248 of 611. PageID #: 572532
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                 MA269          Scituate Town, Massachusetts              0.3938536371%
                 MA270          Seekonk Town, Massachusetts               0.3325159013%
                 MA271          Sharon Town, Massachusetts                0.3157804286%
                 MA272          Sheffield Town, Massachusetts             0.0066580643%
                 MA273          Shelburne Town, Massachusetts             0.0145706034%
                 MA274          Sherborn Town, Massachusetts              0.0361347676%
                 MA275          Shirley Town, Massachusetts               0.0049654026%
                 MA276          Shrewsbury Town, Massachusetts            0.6471205738%
                 MA277          Shutesbury Town, Massachusetts            0.0358178516%
                 MA278          Somerset Town, Massachusetts              0.2943717652%
                 MA279          Somerville City, Massachusetts            0.5538327759%
                 MA280          South Hadley Town, Massachusetts          0.3289508962%
                 MA281          Southampton Town, Massachusetts           0.0773861993%
                 MA282          Southborough Town, Massachusetts          0.2173688486%
                 MA283          Southbridge Town City, Massachusetts      0.2906114812%
                 MA284          Southwick Town, Massachusetts             0.0165255910%
                 MA285          Spencer Town, Massachusetts               0.0203153945%
                 MA286          Springfield City, Massachusetts           3.4410224370%
                 MA287          Sterling Town, Massachusetts              0.0196759620%
                 MA288          Stockbridge Town, Massachusetts           0.0092305018%
                 MA289          Stoneham Town, Massachusetts              0.1669780908%
                 MA290          Stoughton Town, Massachusetts             0.3118943726%
                 MA291          Stow Town, Massachusetts                  0.0087733680%
                 MA292          Sturbridge Town, Massachusetts            0.1235688557%
                 MA293          Sudbury Town, Massachusetts               0.1950193814%
                 MA294          Sunderland Town, Massachusetts            0.0394445127%
                 MA295          Sutton Town, Massachusetts                0.1720631416%
                 MA296          Swampscott Town, Massachusetts            0.2802270489%
                 MA297          Swansea Town, Massachusetts               0.3127370397%
                 MA298          Taunton City, Massachusetts               1.3156698571%
                 MA299          Templeton Town, Massachusetts             0.0167725290%
                 MA300          Tewksbury Town, Massachusetts             0.2526508477%
                 MA301          Tisbury Town, Massachusetts               0.0665566713%
                 MA302          Tolland Town, Massachusetts               0.0005593530%
                 MA303          Topsfield Town, Massachusetts             0.0713350646%
                 MA304          Townsend Town, Massachusetts              0.0093843801%
                 MA305          Truro Town, Massachusetts                 0.0604250384%
                 MA306          Tyngsborough Town, Massachusetts          0.1162396935%
                 MA307          Tyringham Town, Massachusetts             0.0012803829%
                 MA308          Upton Town, Massachusetts                 0.0211017442%
                 MA309          Uxbridge Town, Massachusetts              0.2255606716%
                 MA310          Wakefield Town, Massachusetts             0.2116065761%
                 MA311          Wales Town, Massachusetts                 0.0147604390%
                 MA312          Walpole Town, Massachusetts               0.3194149930%
                 MA313          Waltham City, Massachusetts               0.5322671985%
  Strictly Confidential
  Subject to Protective Order
                                                   G-111                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 249 of 611. PageID #: 572533
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                 MA314          Ware Town, Massachusetts                  0.2035588439%
                 MA315          Wareham Town, Massachusetts               0.3595394490%
                 MA316          Warren Town, Massachusetts                0.0179304373%
                 MA317          Warwick Town, Massachusetts               0.0065997057%
                 MA318          Washington Town, Massachusetts            0.0004074112%
                 MA319          Watertown Town City, Massachusetts        0.2540965713%
                 MA320          Wayland Town, Massachusetts               0.2147389946%
                 MA321          Webster Town, Massachusetts               0.2405963644%
                 MA322          Wellesley Town, Massachusetts             0.4811483972%
                 MA323          Wellfleet Town, Massachusetts             0.0667808417%
                 MA324          Wendell Town, Massachusetts               0.0010508215%
                 MA325          Wenham Town, Massachusetts                0.0112119209%
                 MA326          West Boylston Town, Massachusetts         0.1222726663%
                 MA327          West Bridgewater Town, Massachusetts      0.1467598909%
                 MA328          West Brookfield Town, Massachusetts       0.0059191866%
                 MA329          West Newbury Town, Massachusetts          0.0086981560%
                 MA330          West Springfield Town City,               0.4627594653%
                                Massachusetts
                 MA331          West Stockbridge Town, Massachusetts      0.0028401544%
                 MA332          West Tisbury Town, Massachusetts          0.0099183484%
                 MA333          Westborough Town, Massachusetts           0.5070384269%
                 MA334          Westfield City, Massachusetts             0.6538385669%
                 MA335          Westford Town, Massachusetts              0.2939962811%
                 MA336          Westhampton Town, Massachusetts           0.0199373981%
                 MA337          Westminster Town, Massachusetts           0.0226744436%
                 MA338          Weston Town, Massachusetts                0.2254658323%
                 MA339          Westport Town, Massachusetts              0.2811335179%
                 MA340          Westwood Town, Massachusetts              0.2903783084%
                 MA341          Weymouth Town City, Massachusetts         0.5656639786%
                 MA342          Whately Town, Massachusetts               0.0314223222%
                 MA343          Whitman Town, Massachusetts               0.0448742719%
                 MA344          Wilbraham Town, Massachusetts             0.0313150261%
                 MA345          Williamsburg Town, Massachusetts          0.0343998679%
                 MA346          Williamstown, Massachusetts               0.0783021941%
                 MA347          Wilmington Town, Massachusetts            0.2467559990%
                 MA348          Winchendon Town, Massachusetts            0.1830720373%
                 MA349          Winchester Town, Massachusetts            0.2570095300%
                 MA350          Windsor Town, Massachusetts               0.0005238144%
                 MA351          Winthrop Town City, Massachusetts         0.1505890537%
                 MA352          Woburn City, Massachusetts                0.3503541163%
                 MA353          Worcester City, Massachusetts             3.7929503518%
                 MA354          Worthington Town, Massachusetts           0.0015069609%
                 MA355          Wrentham Town, Massachusetts              0.0961794021%
                 MA356          Yarmouth Town, Massachusetts              0.1308391883%

  Strictly Confidential
  Subject to Protective Order
                                                  G-112                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 250 of 611. PageID #: 572534
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                   MI1          Ada Township, Michigan                     0.0073233482%
                   MI2          Adrian City, Michigan                      0.0568370128%
                   MI3          Alcona County, Michigan                    0.0834491179%
                   MI4          Alger County, Michigan                     0.0785291215%
                   MI5          Algoma Township, Michigan                  0.0029345640%
                   MI6          Allegan County, Michigan                   0.7725881935%
                   MI7          Allen Park City, Michigan                  0.1074735355%
                   MI8          Allendale Charter Township, Michigan       0.0077776425%
                   MI9          Alpena County, Michigan                    0.3171935781%
                  MI10          Alpine Charter Township, Michigan          0.0025427083%
                  MI11          Ann Arbor City, Michigan                   0.4632250874%
                  MI12          Antrim County, Michigan                    0.2381005845%
                  MI13          Antwerp Township, Michigan                 0.0013132895%
                  MI14          Arenac County, Michigan                    0.1612057938%
                  MI15          Auburn Hills City, Michigan                0.1176899978%
                  MI16          Bangor Charter Township, Michigan          0.0109251027%
                  MI17          Baraga County, Michigan                    0.0741112558%
                  MI18          Barry County, Michigan                     0.4329702358%
                  MI19          Bath Charter Township, Michigan            0.0537968516%
                  MI20          Battle Creek City, Michigan                0.3423704436%
                  MI21          Bay City, Michigan                         0.1147802745%
                  MI22          Bay County, Michigan                       1.1009022938%
                  MI23          Bedford Township, Michigan                 0.0412592343%
                  MI24          Benton Charter Township, Michigan          0.0907240950%
                  MI25          Benzie County, Michigan                    0.1392597323%
                  MI26          Berkley City, Michigan                     0.0358941044%
                  MI27          Berrien County, Michigan                   1.2815190059%
                  MI28          Beverly Hills Village, Michigan            0.0460038135%
                  MI29          Big Rapids City, Michigan                  0.0245076907%
                  MI30          Birmingham City, Michigan                  0.1031004819%
                  MI31          Bloomfield Charter Township, Michigan      0.2395537286%
                  MI32          Branch County, Michigan                    0.3413411577%
                  MI33          Brandon Charter Township, Michigan         0.0298468290%
                  MI34          Brighton Township, Michigan                0.0010123659%
                  MI35          Brownstown Charter Township,               0.1035238283%
                                Michigan
                  MI36          Burton City, Michigan                      0.0331836857%
                  MI37          Byron Township, Michigan                   0.0143593354%
                  MI38          Cadillac City, Michigan                    0.0992155073%
                  MI39          Caledonia Charter Township, Kent           0.0046151897%
                                County, Michigan
                  MI40          Calhoun County, Michigan                   1.6522746969%
                  MI41          Cannon Township, Michigan                  0.0055382276%
                  MI42          Canton Charter Township, Michigan          0.2353019350%
                  MI43          Cascade Charter Township, Michigan         0.0202807109%
  Strictly Confidential
  Subject to Protective Order
                                                  G-113                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 251 of 611. PageID #: 572535
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID                Qualifying Subdivision              Allocation
                  MI44          Cass County, Michigan                        0.3685228029%
                  MI45          Charlevoix County, Michigan                  0.1913266108%
                  MI46          Cheboygan County, Michigan                   0.2827891794%
                  MI47          Chesterfield Charter Township,               0.2112831498%
                                Michigan
                  MI48          Chippewa County, Michigan                    0.2393040796%
                  MI49          Clare County, Michigan                       0.4685534972%
                  MI50          Clawson City, Michigan                       0.0233450803%
                  MI51          Clinton Charter Township, Michigan           0.5825283878%
                  MI52          Clinton County, Michigan                     0.4823811618%
                  MI53          Coldwater City, Michigan                     0.0129335184%
                  MI54          Commerce Charter Township, Michigan          0.0332785651%
                  MI55          Comstock Charter Township, Michigan          0.0141443213%
                  MI56          Cooper Charter Township, Michigan            0.0016050286%
                  MI57          Crawford County, Michigan                    0.2577011831%
                  MI58          Davison Township, Michigan                   0.0148016255%
                  MI59          Dearborn City, Michigan                      0.5014825529%
                  MI60          Dearborn Heights City, Michigan              0.1763248603%
                  MI61          Delhi Charter Township, Michigan             0.0329269168%
                  MI62          Delta Charter Township, Michigan             0.0678675252%
                  MI63          Delta County, Michigan                       0.2325433177%
                  MI64          Detroit City, Michigan                       6.3675475252%
                  MI65          Dewitt Charter Township, Michigan            0.0615354244%
                  MI66          Dickinson County, Michigan                   0.2475829616%
                  MI67          East Bay Township, Michigan                  0.0024511576%
                  MI68          East Grand Rapids City, Michigan             0.0347010017%
                  MI69          East Lansing City, Michigan                  0.1722118876%
                  MI70          Eastpointe City, Michigan                    0.2806901834%
                  MI71          Eaton County, Michigan                       0.8964627151%
                  MI72          Egelston Township, Michigan                  0.0099077587%
                  MI73          Emmet County, Michigan                       0.3034511111%
                  MI74          Emmett Charter Township, Michigan            0.0136208021%
                  MI75          Escanaba City, Michigan                      0.0161625757%
                  MI76          Farmington City, Michigan                    0.0368587005%
                  MI77          Farmington Hills City, Michigan              0.2763289545%
                  MI78          Fenton Charter Township, Michigan            0.0031005125%
                  MI79          Fenton City, Michigan                        0.0802629568%
                  MI80          Ferndale City, Michigan                      0.1491321203%
                  MI81          Flat Rock City, Michigan                     0.0287479606%
                  MI82          Flint Charter Township, Michigan             0.0428009530%
                  MI83          Flint City, Michigan                         2.6382255013%
                  MI84          Flushing Charter Township, Michigan          0.0062641566%
                  MI85          Fort Gratiot Charter Township, Michigan      0.0158007179%
                  MI86          Fraser City, Michigan                        0.1340329179%

  Strictly Confidential
  Subject to Protective Order
                                                   G-114                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 252 of 611. PageID #: 572536
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  MI87          Frenchtown Charter Township,              0.0818078358%
                                Michigan
                  MI88          Fruitport Charter Township, Michigan      0.0216336824%
                  MI89          Gaines Township, Kent County,             0.0150472599%
                                Michigan
                  MI90          Garden City, Michigan                     0.0602849815%
                  MI91          Garfield Charter Township, Michigan       0.0006805464%
                  MI92          Genesee Charter Township, Michigan        0.0216656939%
                  MI93          Genesee County, Michigan                  1.8587109989%
                  MI94          Genoa Township, Michigan                  0.0001265457%
                  MI95          Georgetown Charter Township,              0.0120538094%
                                Michigan
                  MI96          Gladwin County, Michigan                  0.3598571100%
                  MI97          Gogebic County, Michigan                  0.1249651212%
                  MI98          Grand Blanc Charter Township,             0.0351159584%
                                Michigan
                  MI99          Grand Haven Charter Township,             0.0188708587%
                                Michigan
                  MI100         Grand Haven City, Michigan                0.0581929367%
                  MI101         Grand Rapids Charter Township,            0.0062871075%
                                Michigan
                  MI102         Grand Rapids City, Michigan               1.2000276882%
                  MI103         Grand Traverse County, Michigan           0.8244466054%
                  MI104         Grandville City, Michigan                 0.0465263367%
                  MI105         Gratiot County, Michigan                  0.3147475181%
                  MI106         Green Oak Township, Michigan              0.0538361746%
                  MI107         Grosse Ile Township, Michigan             0.0358505107%
                  MI108         Grosse Pointe Park City, Michigan         0.0473791255%
                  MI109         Grosse Pointe Woods City, Michigan        0.0337630289%
                  MI110         Hamburg Township, Michigan                0.0567828826%
                  MI111         Hamtramck City, Michigan                  0.1811320680%
                  MI112         Harper Woods City, Michigan               0.0505579556%
                  MI113         Harrison Charter Township, Michigan       0.1108972638%
                  MI114         Hartland Township, Michigan               0.0004881050%
                  MI115         Hazel Park City, Michigan                 0.0736339264%
                  MI116         Highland Charter Township, Michigan       0.0294387306%
                  MI117         Highland Park City, Michigan              0.0391505779%
                  MI118         Hillsdale County, Michigan                0.3731855670%
                  MI119         Holland Charter Township, Michigan        0.0291739126%
                  MI120         Holland City, Michigan                    0.1655890102%
                  MI121         Holly Township, Michigan                  0.0040995334%
                  MI122         Houghton County, Michigan                 0.2225642997%
                  MI123         Huron Charter Township, Michigan          0.0361363324%
                  MI124         Huron County, Michigan                    0.2929757372%


  Strictly Confidential
  Subject to Protective Order
                                                   G-115                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 253 of 611. PageID #: 572537
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  MI125         Independence Charter Township,            0.0825378903%
                                Michigan
                  MI126         Ingham County, Michigan                   2.1348935205%
                  MI127         Inkster City, Michigan                    0.1669443281%
                  MI128         Ionia City, Michigan                      0.0449276471%
                  MI129         Ionia County, Michigan                    0.4905636172%
                  MI130         Iosco County, Michigan                    0.3212475898%
                  MI131         Iron County, Michigan                     0.1102481228%
                  MI132         Iron Mountain City, Michigan              0.0091866455%
                  MI133         Isabella County, Michigan                 0.5720204678%
                  MI134         Jackson City, Michigan                    0.1764251010%
                  MI135         Jackson County, Michigan                  1.0855421077%
                  MI136         Kalamazoo Charter Township, Michigan      0.0520230321%
                  MI137         Kalamazoo City, Michigan                  0.3787268993%
                  MI138         Kalamazoo County, Michigan                1.9845600355%
                  MI139         Kalkaska County, Michigan                 0.1646399668%
                  MI140         Kent County, Michigan                     2.7808259408%
                  MI141         Kentwood City, Michigan                   0.1423307082%
                  MI142         Keweenaw County, Michigan                 0.0067676775%
                  MI143         Lake County, Michigan                     0.0728348971%
                  MI144         Lansing City, Michigan                    0.5307983425%
                  MI145         Lapeer County, Michigan                   0.7916953951%
                  MI146         Leelanau County, Michigan                 0.1237383482%
                  MI147         Lenawee County, Michigan                  0.7878386566%
                  MI148         Lenox Township, Michigan                  0.0111917816%
                  MI149         Leoni Township, Michigan                  0.0090926074%
                  MI150         Lincoln Charter Township, Michigan        0.0178479538%
                  MI151         Lincoln Park City, Michigan               0.1588803292%
                  MI152         Livingston County, Michigan               1.3371907873%
                  MI153         Livonia City, Michigan                    0.3999768720%
                  MI154         Luce County, Michigan                     0.0638515493%
                  MI155         Lyon Charter Township, Michigan           0.0060287256%
                  MI156         Mackinac County, Michigan                 0.0909538431%
                  MI157         Macomb County, Michigan                   7.7242005849%
                  MI158         Macomb Township, Michigan                 0.1081932941%
                  MI159         Madison Heights City, Michigan            0.1443184148%
                  MI160         Manistee County, Michigan                 0.3120953798%
                  MI161         Marion Township, Livingston County,       0.0001988576%
                                Michigan
                  MI162         Marquette City, Michigan                  0.0313476613%
                  MI163         Marquette County, Michigan                0.5388637672%
                  MI164         Mason County, Michigan                    0.2487294921%
                  MI165         Mecosta County, Michigan                  0.3321355122%
                  MI166         Melvindale City, Michigan                 0.0519698104%
                  MI167         Menominee County, Michigan                0.1580179806%
  Strictly Confidential
  Subject to Protective Order
                                                  G-116                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 254 of 611. PageID #: 572538
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                 Qualifying Subdivision           Allocation
                  MI168         Meridian Charter Township, Michigan        0.0708027402%
                  MI169         Midland City, Michigan                     0.3023071472%
                  MI170         Midland County, Michigan                   0.5384703258%
                  MI171         Milford Charter Township, Michigan         0.0064275489%
                  MI172         Missaukee County, Michigan                 0.1002815458%
                  MI173         Monitor Charter Township, Michigan         0.0044174736%
                  MI174         Monroe Charter Township, Michigan          0.0119729252%
                  MI175         Monroe City, Michigan                      0.2101937979%
                  MI176         Monroe County, Michigan                    1.5316423152%
                  MI177         Montcalm County, Michigan                  0.6212351900%
                  MI178         Montmorency County, Michigan               0.0880221572%
                  MI179         Mount Clemens City, Michigan               0.0503004024%
                  MI180         Mount Morris City, Michigan                0.0046413043%
                  MI181         Mount Pleasant City, Michigan              0.0357778255%
                  MI182         Mundy Charter Township, Michigan           0.0150794621%
                  MI183         Muskegon Charter Township, Michigan        0.0360868180%
                  MI184         Muskegon City, Michigan                    0.1748185396%
                  MI185         Muskegon County, Michigan                  1.7053905386%
                  MI186         Muskegon Heights City, Michigan            0.0500451306%
                  MI187         New Baltimore City, Michigan               0.0480441296%
                  MI188         Newaygo County, Michigan                   0.4671261358%
                  MI189         Niles City, Michigan                       0.0583312847%
                  MI190         Niles Township, Michigan                   0.0215348319%
                  MI191         Northville Charter Township, Michigan      0.0836973671%
                  MI192         Norton Shores City, Michigan               0.0701828658%
                  MI193         Novi City, Michigan                        0.1465815056%
                  MI194         Oak Park City, Michigan                    0.1037775542%
                  MI195         Oakland Charter Township, Michigan         0.0274353387%
                  MI196         Oakland County, Michigan                   5.2264042066%
                  MI197         Oceana County, Michigan                    0.2176466203%
                  MI198         Oceola Township, Michigan                  0.0003615593%
                  MI199         Ogemaw County, Michigan                    0.5563618764%
                  MI200         Ontonagon County, Michigan                 0.0504349004%
                  MI201         Orion Charter Township, Michigan           0.0484616785%
                  MI202         Osceola County, Michigan                   0.1924215950%
                  MI203         Oscoda County, Michigan                    0.0981702870%
                  MI204         Oshtemo Charter Township, Michigan         0.0124389806%
                  MI205         Otsego County, Michigan                    0.2838576775%
                  MI206         Ottawa County, Michigan                    1.4829589190%
                  MI207         Owosso City, Michigan                      0.0600391920%
                  MI208         Oxford Charter Township, Michigan          0.0220651355%
                  MI209         Park Township, Ottawa County,              0.0069409957%
                                Michigan
                  MI210         Pittsfield Charter Township, Michigan      0.0254303905%
                  MI211         Plainfield Charter Township, Michigan      0.0147250675%
  Strictly Confidential
  Subject to Protective Order
                                                   G-117                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 255 of 611. PageID #: 572539
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  MI212         Plymouth Charter Township, Michigan         0.0619046968%
                  MI213         Pontiac City, Michigan                      0.3007870303%
                  MI214         Port Huron Charter Township, Michigan       0.0144337077%
                  MI215         Port Huron City, Michigan                   0.2605826060%
                  MI216         Portage City, Michigan                      0.0982178051%
                  MI217         Presque Isle County, Michigan               0.1455220353%
                  MI218         Redford Charter Township, Michigan          0.2119761371%
                  MI219         Riverview City, Michigan                    0.0482626131%
                  MI220         Rochester City, Michigan                    0.0399194381%
                  MI221         Rochester Hills City, Michigan              0.0675866509%
                  MI222         Romulus City, Michigan                      0.0931298734%
                  MI223         Roscommon County, Michigan                  0.3840925607%
                  MI224         Roseville City, Michigan                    0.4273474490%
                  MI225         Royal Oak City, Michigan                    0.2596061973%
                  MI226         Saginaw Charter Township, Michigan          0.0692043420%
                  MI227         Saginaw City, Michigan                      0.4307711416%
                  MI228         Saginaw County, Michigan                    1.6118539630%
                  MI229         Sanilac County, Michigan                    0.3468379663%
                  MI230         Sault Ste. Marie City, Michigan             0.0984697973%
                  MI231         Schoolcraft County, Michigan                0.0789566063%
                  MI232         Scio Charter Township, Michigan             0.0051527746%
                  MI233         Shelby Charter Township, Michigan           0.5065495239%
                  MI234         Shiawassee County, Michigan                 0.7255393777%
                  MI235         South Lyon City, Michigan                   0.0258956950%
                  MI236         Southfield City, Michigan                   0.3934160797%
                  MI237         Southfield Township, Michigan               0.0001112995%
                  MI238         Southgate City, Michigan                    0.0888423705%
                  MI239         Spring Lake Township, Michigan              0.0103960225%
                  MI240         Springfield Charter Township, Michigan      0.0044705319%
                  MI241         St Clair County, Michigan                   1.9960063402%
                  MI242         St Joseph County, Michigan                  0.4265691571%
                  MI243         St. Clair Shores City, Michigan             0.3399081996%
                  MI244         Sterling Heights City, Michigan             0.9407553377%
                  MI245         Sturgis City, Michigan                      0.0599318930%
                  MI246         Summit Township, Jackson County,            0.0147223455%
                                Michigan
                  MI247         Superior Charter Township, Michigan         0.0121236785%
                  MI248         Taylor City, Michigan                       0.3764778630%
                  MI249         Texas Charter Township, Michigan            0.0052063171%
                  MI250         Thomas Township, Michigan                   0.0127113988%
                  MI251         Traverse City, Michigan                     0.0620311385%
                  MI252         Trenton City, Michigan                      0.0481846521%
                  MI253         Troy City, Michigan                         0.2360199679%
                  MI254         Tuscola County, Michigan                    0.4432240961%

  Strictly Confidential
  Subject to Protective Order
                                                   G-118                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 256 of 611. PageID #: 572540
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  MI255         Tyrone Township, Livingston County,        0.0096355544%
                                Michigan
                  MI256         Union Charter Township, Michigan           0.0000512255%
                  MI257         Van Buren Charter Township, Michigan       0.0686867403%
                  MI258         Van Buren County, Michigan                 0.7628971716%
                  MI259         Vienna Charter Township, Genesee           0.0086448035%
                                County, Michigan
                  MI260         Walker City, Michigan                      0.0577159947%
                  MI261         Warren City, Michigan                      1.1744758071%
                  MI262         Washington Township, Macomb County,        0.0808853142%
                                Michigan
                  MI263         Washtenaw County, Michigan                 2.3763653602%
                  MI264         Waterford Charter Township, Michigan       0.2186201385%
                  MI265         Wayne City, Michigan                       0.0837926529%
                  MI266         Wayne County, Michigan                    10.1863863702%
                  MI267         West Bloomfield Charter Township,          0.2622681115%
                                Michigan
                  MI268         Westland City, Michigan                    0.3261711153%
                  MI269         Wexford County, Michigan                   0.2986947723%
                  MI270         White Lake Charter Township, Michigan      0.0585435626%
                  MI271         Wixom City, Michigan                       0.0369421752%
                  MI272         Woodhaven City, Michigan                   0.0571927749%
                  MI273         Wyandotte City, Michigan                   0.0976772465%
                  MI274         Wyoming City, Michigan                     0.2554463949%
                  MI275         Ypsilanti Charter Township, Michigan       0.0578793100%
                  MI276         Ypsilanti City, Michigan                   0.0898598214%
                  MI277         Zeeland Charter Township, Michigan         0.0061508332%




  Strictly Confidential
  Subject to Protective Order
                                                  G-119                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 257 of 611. PageID #: 572541
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID               Qualifying Subdivision        Allocation
                  MN1           Aitkin County, Minnesota              0.5286814148%
                  MN2           Albert Lea City, Minnesota            0.0977622743%
                  MN3           Alexandria City, Minnesota            0.0160492533%
                  MN4           Andover City, Minnesota               0.1252665067%
                  MN5           Anoka City, Minnesota                 0.1440564244%
                  MN6           Anoka County, Minnesota               4.6242592739%
                  MN7           Apple Valley City, Minnesota          0.2744845059%
                  MN8           Arden Hills City, Minnesota           0.0767181792%
                  MN9           Austin City, Minnesota                0.1311616775%
                  MN10          Becker County, Minnesota              0.6074940403%
                  MN11          Beltrami County, Minnesota            0.7012389686%
                  MN12          Bemidji City, Minnesota               0.1574833165%
                  MN13          Benton County, Minnesota              0.5911228450%
                  MN14          Big Lake City, Minnesota              0.0420448659%
                  MN15          Big Stone County, Minnesota           0.1096599784%
                  MN16          Blaine City, Minnesota                0.3900026032%
                  MN17          Bloomington City, Minnesota           0.4497191234%
                  MN18          Blue Earth County, Minnesota          0.6089707140%
                  MN19          Brainerd City, Minnesota              0.1504466885%
                  MN20          Brooklyn Center City, Minnesota       0.1297575027%
                  MN21          Brooklyn Park City, Minnesota         0.2573517070%
                  MN22          Brown County, Minnesota               0.3051842351%
                  MN23          Buffalo City, Minnesota               0.0781258548%
                  MN24          Burnsville City, Minnesota            0.4713016362%
                  MN25          Carlton County, Minnesota             0.9030359158%
                  MN26          Carver County, Minnesota              1.0510920355%
                  MN27          Cass County, Minnesota                0.8164078457%
                  MN28          Champlin City, Minnesota              0.0508611460%
                  MN29          Chanhassen City, Minnesota            0.0711696030%
                  MN30          Chaska City, Minnesota                0.1150720173%
                  MN31          Chippewa County, Minnesota            0.1920510176%
                  MN32          Chisago County, Minnesota             0.9131864974%
                  MN33          Clay County, Minnesota                0.8653053935%
                  MN34          Clearwater County, Minnesota          0.1705736793%
                  MN35          Cloquet City, Minnesota               0.1186651642%
                  MN36          Columbia Heights City, Minnesota      0.2218103028%
                  MN37          Cook County, Minnesota                0.0986217587%
                  MN38          Coon Rapids City, Minnesota           0.5297885918%
                  MN39          Cottage Grove City, Minnesota         0.2579811495%
                  MN40          Cottonwood County, Minnesota          0.1596040200%
                  MN41          Crow Wing County, Minnesota           1.0457717507%
                  MN42          Crystal City, Minnesota               0.0875990017%
                  MN43          Dakota County, Minnesota              4.0571434991%
                  MN44          Dodge County, Minnesota               0.2031881392%
                  MN45          Douglas County, Minnesota             0.5526533294%
  Strictly Confidential
  Subject to Protective Order
                                                   G-120              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 258 of 611. PageID #: 572542
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                  MN46          Duluth City, Minnesota                   1.0556152695%
                  MN47          Eagan City, Minnesota                    0.3357112506%
                  MN48          East Bethel City, Minnesota              0.0544402891%
                  MN49          Eden Prairie City, Minnesota             0.2342274611%
                  MN50          Edina City, Minnesota                    0.1810785868%
                  MN51          Elk River City, Minnesota                0.1845146283%
                  MN52          Fairmont City, Minnesota                 0.0691539281%
                  MN53          Faribault City, Minnesota                0.0597051421%
                  MN54          Faribault County, Minnesota              0.1990991695%
                  MN55          Farmington City, Minnesota               0.1233974343%
                  MN56          Fergus Falls City, Minnesota             0.0953555135%
                  MN57          Fillmore County, Minnesota               0.2137999717%
                  MN58          Forest Lake City, Minnesota              0.1371068827%
                  MN59          Freeborn County, Minnesota               0.3218731421%
                  MN60          Fridley City, Minnesota                  0.2363297846%
                  MN61          Golden Valley City, Minnesota            0.0785357583%
                  MN62          Goodhue County, Minnesota                0.5154623919%
                  MN63          Grand Rapids City, Minnesota             0.0379045489%
                  MN64          Grant County, Minnesota                  0.0701677463%
                  MN65          Ham Lake City, Minnesota                 0.0398258439%
                  MN66          Hastings City, Minnesota                 0.1717268064%
                  MN67          Hennepin County, Minnesota              17.4947177407%
                  MN68          Hibbing City, Minnesota                  0.1399140652%
                  MN69          Hopkins City, Minnesota                  0.1103006531%
                  MN70          Houston County, Minnesota                0.2844148191%
                  MN71          Hubbard County, Minnesota                0.4205503327%
                  MN72          Hugo City, Minnesota                     0.0294053970%
                  MN73          Hutchinson City, Minnesota               0.4500983935%
                  MN74          Inver Grove Heights City, Minnesota      0.2013009785%
                  MN75          Isanti County, Minnesota                 0.7078656931%
                  MN76          Itasca County, Minnesota                 1.0468316649%
                  MN77          Jackson County, Minnesota                0.1293074841%
                  MN78          Kanabec County, Minnesota                0.2825744837%
                  MN79          Kandiyohi County, Minnesota              0.1451128376%
                  MN80          Kittson County, Minnesota                0.0745984967%
                  MN81          Koochiching County, Minnesota            0.2397716611%
                  MN82          Lac Qui Parle County, Minnesota          0.0904601572%
                  MN83          Lake County, Minnesota                   0.1677431571%
                  MN84          Lake of the Woods County, Minnesota      0.1030738066%
                  MN85          Lakeville City, Minnesota                0.2590140772%
                  MN86          Le Sueur County, Minnesota               0.2960413451%
                  MN87          Lincoln County, Minnesota                0.1002117758%
                  MN88          Lino Lakes City, Minnesota               0.1385206851%
                  MN89          Little Canada City, Minnesota            0.1205138143%
                  MN90          Lyon County, Minnesota                   0.2693726739%
  Strictly Confidential
  Subject to Protective Order
                                                  G-121                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 259 of 611. PageID #: 572543
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  MN91          Mahnomen County, Minnesota           0.1299927961%
                  MN92          Mankato City, Minnesota              0.3394403512%
                  MN93          Maple Grove City, Minnesota          0.1664829592%
                  MN94          Maplewood City, Minnesota            0.1720888635%
                  MN95          Marshall City, Minnesota             0.0861816984%
                  MN96          Marshall County, Minnesota           0.1189736859%
                  MN97          Martin County, Minnesota             0.2333916080%
                  MN98          McLeod County, Minnesota             0.1144539528%
                  MN99          Meeker County, Minnesota             0.3436113016%
                 MN100          Mendota Heights City, Minnesota      0.0821776269%
                 MN101          Mille Lacs County, Minnesota         0.8536527563%
                 MN102          Minneapolis City, Minnesota          4.4766025549%
                 MN103          Minnetonka City, Minnesota           0.1805441076%
                 MN104          Monticello City, Minnesota           0.0182370585%
                 MN105          Moorhead City, Minnesota             0.3980660322%
                 MN106          Morrison County, Minnesota           0.6588564064%
                 MN107          Mounds View City, Minnesota          0.0723117896%
                 MN108          Mower County, Minnesota              0.5324617169%
                 MN109          Murray County, Minnesota             0.1237848734%
                 MN110          New Brighton City, Minnesota         0.1030123940%
                 MN111          New Hope City, Minnesota             0.0689628343%
                 MN112          New Ulm City, Minnesota              0.0519862655%
                 MN113          Nicollet County, Minnesota           0.1443064509%
                 MN114          Nobles County, Minnesota             0.1433541912%
                 MN115          Norman County, Minnesota             0.0998150009%
                 MN116          North Branch City, Minnesota         0.0501205482%
                 MN117          North Mankato City, Minnesota        0.0267890165%
                 MN118          North St. Paul City, Minnesota       0.0528485215%
                 MN119          Northfield City, Minnesota           0.6851668132%
                 MN120          Oakdale City, Minnesota              0.1765286580%
                 MN121          Olmsted County, Minnesota            1.7654639618%
                 MN122          Otsego City, Minnesota               0.0389412692%
                 MN123          Otter Tail County, Minnesota         0.7650587540%
                 MN124          Owatonna City, Minnesota             0.1301345848%
                 MN125          Pennington County, Minnesota         0.2829057616%
                 MN126          Pine County, Minnesota               0.5204807192%
                 MN127          Pipestone County, Minnesota          0.1408899564%
                 MN128          Plymouth City, Minnesota             0.1617585661%
                 MN129          Polk County, Minnesota               0.7942540937%
                 MN130          Pope County, Minnesota               0.1716325723%
                 MN131          Prior Lake City, Minnesota           0.1314862452%
                 MN132          Proctor City, Minnesota              0.0196743464%
                 MN133          Ramsey City, Minnesota               0.1289991083%
                 MN134          Ramsey County, Minnesota             6.5235510364%
                 MN135          Red Lake County, Minnesota           0.0488842734%
  Strictly Confidential
  Subject to Protective Order
                                                   G-122             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 260 of 611. PageID #: 572544
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                 MN136          Red Wing City, Minnesota             0.1690608291%
                 MN137          Redwood County, Minnesota            0.2578753915%
                 MN138          Renville County, Minnesota           0.2484267514%
                 MN139          Rice County, Minnesota               0.2454785096%
                 MN140          Richfield City, Minnesota            0.2325614441%
                 MN141          Robbinsdale City, Minnesota          0.0829119522%
                 MN142          Rochester City, Minnesota            0.6757524532%
                 MN143          Rock County, Minnesota               0.1875379948%
                 MN144          Rogers City, Minnesota               0.0282340357%
                 MN145          Roseau County, Minnesota             0.2310796648%
                 MN146          Rosemount City, Minnesota            0.1131711446%
                 MN147          Roseville City, Minnesota            0.1580291737%
                 MN148          Sartell City, Minnesota              0.0580331443%
                 MN149          Sauk Rapids City, Minnesota          0.0730830208%
                 MN150          Savage City, Minnesota               0.1728666590%
                 MN151          Scott County, Minnesota              1.2182589937%
                 MN152          Shakopee City, Minnesota             0.2643025616%
                 MN153          Sherburne County, Minnesota          1.1511844871%
                 MN154          Shoreview City, Minnesota            0.0620723712%
                 MN155          Sibley County, Minnesota             0.2196634879%
                 MN156          South St. Paul City, Minnesota       0.3555870478%
                 MN157          St Louis County, Minnesota           4.3508834038%
                 MN158          St. Cloud City, Minnesota            0.6727244188%
                 MN159          St. Louis Park City, Minnesota       0.1354267160%
                 MN160          St. Michael City, Minnesota          0.0148139997%
                 MN161          St. Paul City, Minnesota             3.4393152229%
                 MN162          St. Peter City, Minnesota            0.2421250322%
                 MN163          Stearns County, Minnesota            2.2171264071%
                 MN164          Steele County, Minnesota             0.3643474585%
                 MN165          Stevens County, Minnesota            0.1321088317%
                 MN166          Stillwater City, Minnesota           0.1531139787%
                 MN167          Swift County, Minnesota              0.1233619872%
                 MN168          Todd County, Minnesota               0.3837061355%
                 MN169          Traverse County, Minnesota           0.0829619867%
                 MN170          Vadnais Heights City, Minnesota      0.0942702174%
                 MN171          Victoria City, Minnesota             0.0058887523%
                 MN172          Wabasha County, Minnesota            0.2847837323%
                 MN173          Waconia City, Minnesota              0.0066220565%
                 MN174          Wadena County, Minnesota             0.2426637417%
                 MN175          Waseca County, Minnesota             0.2622870325%
                 MN176          Washington County, Minnesota         2.8315446071%
                 MN177          Watonwan County, Minnesota           0.1354898791%
                 MN178          West St. Paul City, Minnesota        0.1910746887%
                 MN179          White Bear Lake City, Minnesota      0.1136132860%
                 MN180          White Bear Township, Minnesota       0.0181037305%
  Strictly Confidential
  Subject to Protective Order
                                                   G-123             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 261 of 611. PageID #: 572545
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                 MN181          Wilkin County, Minnesota               0.0860822129%
                 MN182          Willmar City, Minnesota                0.4208360981%
                 MN183          Winona City, Minnesota                 0.2780074878%
                 MN184          Winona County, Minnesota               0.7117454807%
                 MN185          Woodbury City, Minnesota               0.4292599795%
                 MN186          Worthington City, Minnesota            0.0568155413%
                 MN187          Wright County, Minnesota               1.5588358425%
                 MN188          Yellow Medicine County, Minnesota      0.1598976626%




  Strictly Confidential
  Subject to Protective Order
                                                  G-124                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 262 of 611. PageID #: 572546
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID               Qualifying Subdivision       Allocation
                   MS1          Adams County, Mississippi            0.8850454148%
                   MS2          Alcorn County, Mississippi           0.0569510905%
                   MS3          Amite County, Mississippi            0.2713519710%
                   MS4          Amory City, Mississippi              0.2091629926%
                   MS5          Arcola Town, Mississippi             0.0010430877%
                   MS6          Attala County, Mississippi           0.4246666634%
                   MS7          Bay St. Louis City, Mississippi      0.0307587230%
                   MS8          Benton County, Mississippi           0.1937673634%
                   MS9          Biloxi City, Mississippi             0.6566432134%
                  MS10          Bolivar County, Mississippi          0.4978719946%
                  MS11          Brandon City, Mississippi            0.5504498277%
                  MS12          Brookhaven City, Mississippi         0.4627907697%
                  MS13          Byram City, Mississippi              0.0539534335%
                  MS14          Caledonia Town, Mississippi          0.0029594278%
                  MS15          Calhoun County, Mississippi          0.4104265320%
                  MS16          Canton City, Mississippi             0.3565489062%
                  MS17          Carroll County, Mississippi          0.2007719282%
                  MS18          Charleston City, Mississippi         0.0464748267%
                  MS19          Chickasaw County, Mississippi        0.5048552486%
                  MS20          Choctaw County, Mississippi          0.1839335128%
                  MS21          Claiborne County, Mississippi        0.1627262324%
                  MS22          Clarke County, Mississippi           0.5053384006%
                  MS23          Clarksdale City, Mississippi         0.2740859278%
                  MS24          Clay County, Mississippi             0.1837895433%
                  MS25          Cleveland City, Mississippi          0.1358351654%
                  MS26          Clinton City, Mississippi            0.3197904769%
                  MS27          Coahoma County, Mississippi          0.4186176659%
                  MS28          Columbia City, Mississippi           0.1674920304%
                  MS29          Columbus City, Mississippi           0.6956641603%
                  MS30          Copiah County, Mississippi           0.7132277916%
                  MS31          Corinth City, Mississippi            1.5578843050%
                  MS32          Covington County, Mississippi        0.6081803058%
                  MS33          Desoto County, Mississippi           2.2184182744%
                  MS34          Diamondhead City, Mississippi        0.0001680458%
                  MS35          D'Iberville City, Mississippi        0.0442726624%
                  MS36          Forrest County, Mississippi          3.0156250353%
                  MS37          Franklin County, Mississippi         0.2542823910%
                  MS38          Gautier City, Mississippi            0.1302053876%
                  MS39          George County, Mississippi           1.0247519776%
                  MS40          Greene County, Mississippi           0.2910471646%
                  MS41          Greenville City, Mississippi         0.0830590284%
                  MS42          Greenwood City, Mississippi          0.5853776479%
                  MS43          Grenada City, Mississippi            0.0552681925%
                  MS44          Grenada County, Mississippi          0.5194646578%
                  MS45          Gulfport City, Mississippi           8.2405637774%
  Strictly Confidential
  Subject to Protective Order
                                                   G-125             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 263 of 611. PageID #: 572547
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID               Qualifying Subdivision           Allocation
                  MS46          Hancock County, Mississippi              2.3767878426%
                  MS47          Harrison County, Mississippi             1.2681143209%
                  MS48          Hattiesburg City, Mississippi            0.3196152733%
                  MS49          Hernando City, Mississippi               0.4369673545%
                  MS50          Hinds County, Mississippi                2.0637938660%
                  MS51          Holly Springs City, Mississippi          0.1609000156%
                  MS52          Holmes County, Mississippi               0.3284953462%
                  MS53          Horn Lake City, Mississippi              0.6442839584%
                  MS54          Humphreys County, Mississippi            0.1357489463%
                  MS55          Indianola City, Mississippi              0.0229288956%
                  MS56          Issaquena County, Mississippi            0.0173614233%
                  MS57          Itawamba County, Mississippi             1.0392546705%
                  MS58          Iuka City, Mississippi                   0.2820646050%
                  MS59          Jackson City, Mississippi                2.6617552637%
                  MS60          Jackson County, Mississippi              7.5649147973%
                  MS61          Jasper County, Mississippi               0.3875866209%
                  MS62          Jefferson County, Mississippi            0.0973536568%
                  MS63          Jefferson Davis County, Mississippi      0.3472631158%
                  MS64          Jones County, Mississippi                2.1970411588%
                  MS65          Jonestown, Mississippi                   0.0092231595%
                  MS66          Kemper County, Mississippi               0.2197061168%
                  MS67          Kosciusko City, Mississippi              0.0403737724%
                  MS68          Lafayette County, Mississippi            0.6965570967%
                  MS69          Lamar County, Mississippi                1.2949562593%
                  MS70          Lauderdale County, Mississippi           1.4532418860%
                  MS71          Laurel City, Mississippi                 0.1468061312%
                  MS72          Lawrence County, Mississippi             0.3387801386%
                  MS73          Leake County, Mississippi                0.5729082602%
                  MS74          Leakesville Town, Mississippi            0.0097188377%
                  MS75          Lee County, Mississippi                  1.4583582538%
                  MS76          Leflore County, Mississippi              0.1006210330%
                  MS77          Lincoln County, Mississippi              0.5672474110%
                  MS78          Long Beach City, Mississippi             0.1374069547%
                  MS79          Lowndes County, Mississippi              0.9278575592%
                  MS80          Lumberton City, Mississippi              0.0393106754%
                  MS81          Madison City, Mississippi                0.5657979552%
                  MS82          Madison County, Mississippi              1.0660308873%
                  MS83          Marion County, Mississippi               1.6080737081%
                  MS84          Marshall County, Mississippi             0.6206332630%
                  MS85          McComb City, Mississippi                 1.0999468538%
                  MS86          McLain Town, Mississippi                 0.0044054675%
                  MS87          Meridian City, Mississippi               1.1031457427%
                  MS88          Monroe County, Mississippi               0.8034104646%
                  MS89          Montgomery County, Mississippi           0.3225285007%
                  MS90          Morton City, Mississippi                 0.0599559053%
  Strictly Confidential
  Subject to Protective Order
                                                    G-126                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 264 of 611. PageID #: 572548
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  MS91          Moss Point City, Mississippi          0.0032450894%
                  MS92          Mound Bayou City, Mississippi         0.0139281161%
                  MS93          Natchez City, Mississippi             0.1079532301%
                  MS94          Neshoba County, Mississippi           1.0065117709%
                  MS95          Nettleton City, Mississippi           0.0304185645%
                  MS96          New Albany City, Mississippi          0.2696874555%
                  MS97          Newton County, Mississippi            0.5392966632%
                  MS98          Noxubee County, Mississippi           0.1826343709%
                  MS99          Ocean Springs City, Mississippi       0.1182464817%
                  MS100         Oktibbeha County, Mississippi         0.7782514241%
                  MS101         Olive Branch City, Mississippi        1.0780955334%
                  MS102         Oxford City, Mississippi              0.5933338756%
                  MS103         Panola County, Mississippi            1.1122808938%
                  MS104         Pascagoula City, Mississippi          0.2466090593%
                  MS105         Pearl City, Mississippi               1.1814807813%
                  MS106         Pearl River County, Mississippi       3.0179025193%
                  MS107         Perry County, Mississippi             0.3647175906%
                  MS108         Petal City, Mississippi               0.0268648760%
                  MS109         Philadelphia City, Mississippi        0.1140375286%
                  MS110         Picayune City, Mississippi            0.5821086449%
                  MS111         Pike County, Mississippi              0.1081822799%
                  MS112         Pontotoc County, Mississippi          1.1348714203%
                  MS113         Prentiss County, Mississippi          0.7882874828%
                  MS114         Quitman City, Mississippi             0.0869079764%
                  MS115         Quitman County, Mississippi           0.2112294840%
                  MS116         Rankin County, Mississippi            3.4259023921%
                  MS117         Ridgeland City, Mississippi           0.7052518799%
                  MS118         Scott County, Mississippi             0.6243593895%
                  MS119         Shannon Town, Mississippi             0.0290190505%
                  MS120         Sharkey County, Mississippi           0.0916197654%
                  MS121         Shubuta Town, Mississippi             0.0060764900%
                  MS122         Simpson County, Mississippi           0.9087854201%
                  MS123         Smith County, Mississippi             0.3825880315%
                  MS124         Southaven City, Mississippi           1.5378821390%
                  MS125         Starkville City, Mississippi          0.0994723676%
                  MS126         Stone County, Mississippi             0.5580488158%
                  MS127         Summit Town, Mississippi              0.0050530863%
                  MS128         Sunflower County, Mississippi         0.4600451000%
                  MS129         Tallahatchie County, Mississippi      0.2577090284%
                  MS130         Tate County, Mississippi              1.1421792158%
                  MS131         Tippah County, Mississippi            0.6593796104%
                  MS132         Tishomingo County, Mississippi        1.3029259893%
                  MS133         Tunica County, Mississippi            0.1767618783%
                  MS134         Tupelo City, Mississippi              1.4600720605%
                  MS135         Union County, Mississippi             0.4897630128%
  Strictly Confidential
  Subject to Protective Order
                                                    G-127             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 265 of 611. PageID #: 572549
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  MS136         Verona City, Mississippi            0.0606682697%
                  MS137         Vicksburg City, Mississippi         0.7250920192%
                  MS138         Walthall County, Mississippi        0.4890815570%
                  MS139         Warren County, Mississippi          0.5538600347%
                  MS140         Washington County, Mississippi      0.9092835384%
                  MS141         Wayne County, Mississippi           0.9304927709%
                  MS142         Waynesboro City, Mississippi        0.0133034348%
                  MS143         Webb Town, Mississippi              0.0118969258%
                  MS144         Webster County, Mississippi         0.3778058032%
                  MS145         West Point City, Mississippi        0.2091299691%
                  MS146         Wiggins City, Mississippi           0.1706074658%
                  MS147         Wilkinson County, Mississippi       0.2128691098%
                  MS148         Winston County, Mississippi         0.5276375718%
                  MS149         Yalobusha County, Mississippi       0.2951067799%
                  MS150         Yazoo City, Mississippi             0.2510049288%
                  MS151         Yazoo County, Mississippi           0.4173853844%




  Strictly Confidential
  Subject to Protective Order
                                                  G-128             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 266 of 611. PageID #: 572550
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  MO1           Adair County, Missouri                      0.2323492740%
                  MO2           Andrew County, Missouri                     0.1564541324%
                  MO3           Arnold City, Missouri                       0.5124454261%
                  MO4           Atchison County, Missouri                   0.0503458382%
                  MO5           Audrain County, Missouri                    0.2723907883%
                  MO6           Ballwin City, Missouri                      0.1503503362%
                  MO7           Barry County, Missouri                      0.5806831870%
                  MO8           Barton County, Missouri                     0.1828006402%
                  MO9           Bates County, Missouri                      0.4224104662%
                  MO10          Bellefontaine Neighbors City, Missouri      0.0857527834%
                  MO11          Belton City, Missouri                       0.1516735499%
                  MO12          Benton County, Missouri                     0.3879753095%
                  MO13          Blue Springs City, Missouri                 0.1988003228%
                  MO14          Bolivar City, Missouri                      0.6392625910%
                  MO15          Bollinger County, Missouri                  0.1203527210%
                  MO16          Boone County, Missouri                      1.0160242824%
                  MO17          Branson City, Missouri                      0.4449755896%
                  MO18          Bridgeton City, Missouri                    0.1763465152%
                  MO19          Buchanan County, Missouri                   0.4752770338%
                  MO20          Butler County, Missouri                     0.3661408977%
                  MO21          Caldwell County, Missouri                   0.0989536405%
                  MO22          Callaway County, Missouri                   0.2712833054%
                  MO23          Camden County, Missouri                     0.7677402708%
                  MO24          Cape Girardeau City, Missouri               0.5367558088%
                  MO25          Cape Girardeau County, Missouri             0.4382279546%
                  MO26          Carroll County, Missouri                    0.1240753517%
                  MO27          Carter County, Missouri                     0.0825024387%
                  MO28          Carthage City, Missouri                     0.9706909454%
                  MO29          Cass County, Missouri                       0.9944461678%
                  MO30          Cedar County, Missouri                      0.2606830207%
                  MO31          Chariton County, Missouri                   0.0660694886%
                  MO32          Chesterfield City, Missouri                 0.2353487388%
                  MO33          Christian County, Missouri                  0.6724712099%
                  MO34          Clark County, Missouri                      0.0860504210%
                  MO35          Clay County, Missouri                       2.1043558671%
                  MO36          Clayton City, Missouri                      0.3129914614%
                  MO37          Clinton County, Missouri                    0.3136411047%
                  MO38          Cole County, Missouri                       0.4638412355%
                  MO39          Columbia City, Missouri                     1.1969210737%
                  MO40          Cooper County, Missouri                     0.1709566623%
                  MO41          Crawford County, Missouri                   0.5377697760%
                  MO42          Crestwood City, Missouri                    0.1705940152%
                  MO43          Creve Coeur City, Missouri                  0.2772506333%
                  MO44          Dade County, Missouri                       0.0956916225%
                  MO45          Dallas County, Missouri                     0.2127316981%
  Strictly Confidential
  Subject to Protective Order
                                                    G-129                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 267 of 611. PageID #: 572551
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID               Qualifying Subdivision        Allocation
                  MO46          Dardenne Prairie City, Missouri       0.0016749613%
                  MO47          Daviess County, Missouri              0.0686237546%
                  MO48          De Kalb County, Missouri              0.1059364189%
                  MO49          Dent County, Missouri                 0.4657350233%
                  MO50          Douglas County, Missouri              0.1328072590%
                  MO51          Dunklin County, Missouri              0.4949307906%
                  MO52          Eureka City, Missouri                 0.0880789358%
                  MO53          Excelsior Springs City, Missouri      0.1351301223%
                  MO54          Farmington City, Missouri             0.5454680456%
                  MO55          Ferguson City, Missouri               0.2574470581%
                  MO56          Festus City, Missouri                 0.3044135646%
                  MO57          Florissant City, Missouri             0.3924574160%
                  MO58          Franklin County, Missouri             1.8587591717%
                  MO59          Fulton City, Missouri                 0.3112636154%
                  MO60          Gasconade County, Missouri            0.2671420472%
                  MO61          Gentry County, Missouri               0.0719794172%
                  MO62          Gladstone City, Missouri              0.0404576910%
                  MO63          Grain Valley City, Missouri           0.0334350556%
                  MO64          Grandview City, Missouri              0.1639337689%
                  MO65          Greene County, Missouri               1.4401071301%
                  MO66          Grundy County, Missouri               0.1563373346%
                  MO67          Hannibal City, Missouri               0.2978324519%
                  MO68          Harrison County, Missouri             0.1526413397%
                  MO69          Harrisonville City, Missouri          0.0476820622%
                  MO70          Hazelwood City, Missouri              0.5185404511%
                  MO71          Henry County, Missouri                0.3711753912%
                  MO72          Hickory County, Missouri              0.1309787386%
                  MO73          Holt County, Missouri                 0.0407768050%
                  MO74          Howard County, Missouri               0.0772931032%
                  MO75          Howell County, Missouri               0.5521591843%
                  MO76          Independence City, Missouri           0.9132606869%
                  MO77          Iron County, Missouri                 0.1793646831%
                  MO78          Jackson City, Missouri                0.1555038848%
                  MO79          Jackson County, Missouri              1.9899708609%
                  MO80          Jasper County, Missouri               0.3290412555%
                  MO81          Jefferson City, Missouri              0.5714876357%
                  MO82          Jefferson County, Missouri            4.3802521918%
                  MO83          Jennings City, Missouri               0.1764093964%
                  MO84          Johnson County, Missouri              0.2968386067%
                  MO85          Joplin City, Missouri                 0.5552066323%
                  MO86          Kansas City, Missouri                 5.7571708236%
                  MO87          Kearney City, Missouri                0.0053417407%
                  MO88          Kennett City, Missouri                0.1864120841%
                  MO89          Kirksville City, Missouri             0.1862592989%
                  MO90          Kirkwood City, Missouri               0.3564022464%
  Strictly Confidential
  Subject to Protective Order
                                                    G-130             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 268 of 611. PageID #: 572552
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID               Qualifying Subdivision       Allocation
                  MO91          Knox County, Missouri                0.0402195164%
                  MO92          Laclede County, Missouri             0.1401546839%
                  MO93          Lafayette County, Missouri           0.3589036278%
                  MO94          Lake St. Louis City, Missouri        0.1499293870%
                  MO95          Lawrence County, Missouri            0.6708287533%
                  MO96          Lebanon City, Missouri               0.2505601816%
                  MO97          Lee's Summit City, Missouri          0.6108369410%
                  MO98          Lewis County, Missouri               0.1042697772%
                  MO99          Liberty City, Missouri               0.0442061837%
                 MO100          Lincoln County, Missouri             0.8894721213%
                 MO101          Linn County, Missouri                0.1452541869%
                 MO102          Livingston County, Missouri          0.3568928487%
                 MO103          Macon County, Missouri               0.1756025824%
                 MO104          Madison County, Missouri             0.2543286672%
                 MO105          Manchester City, Missouri            0.1098943865%
                 MO106          Maries County, Missouri              0.1434267628%
                 MO107          Marion County, Missouri              0.2234652909%
                 MO108          Marshall City, Missouri              0.1418453816%
                 MO109          Maryland Heights City, Missouri      0.3748856392%
                 MO110          Maryville City, Missouri             0.1076579446%
                 MO111          McDonald County, Missouri            0.2634826201%
                 MO112          Mercer County, Missouri              0.0320837873%
                 MO113          Mexico City, Missouri                0.0139160258%
                 MO114          Miller County, Missouri              0.2674444574%
                 MO115          Mississippi County, Missouri         0.1833143956%
                 MO116          Moberly City, Missouri               0.0603546528%
                 MO117          Moniteau County, Missouri            0.1201445359%
                 MO118          Monroe County, Missouri              0.1023892750%
                 MO119          Montgomery County, Missouri          0.1914472870%
                 MO120          Morgan County, Missouri              0.2721921482%
                 MO121          Neosho City, Missouri                0.1442050062%
                 MO122          New Madrid County, Missouri          0.1577443253%
                 MO123          Newton County, Missouri              0.3630628797%
                 MO124          Nixa City, Missouri                  0.2468687012%
                 MO125          Nodaway County, Missouri             0.0949885786%
                 MO126          O'Fallon City, Missouri              0.5745934504%
                 MO127          Oregon County, Missouri              0.1307320509%
                 MO128          Osage County, Missouri               0.1278894988%
                 MO129          Overland City, Missouri              0.1364249588%
                 MO130          Ozark City, Missouri                 0.2857254050%
                 MO131          Ozark County, Missouri               0.1325551539%
                 MO132          Pemiscot County, Missouri            0.3944645835%
                 MO133          Perry County, Missouri               0.2199285305%
                 MO134          Pettis County, Missouri              0.0151441760%
                 MO135          Phelps County, Missouri              1.0845340125%
  Strictly Confidential
  Subject to Protective Order
                                                   G-131             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 269 of 611. PageID #: 572553
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                 MO136          Pike County, Missouri                0.2247877951%
                 MO137          Platte County, Missouri              0.3320717417%
                 MO138          Polk County, Missouri                0.1493187623%
                 MO139          Poplar Bluff City, Missouri          0.7559317644%
                 MO140          Pulaski County, Missouri             1.1729279991%
                 MO141          Putnam County, Missouri              0.0497042567%
                 MO142          Ralls County, Missouri               0.0684816754%
                 MO143          Randolph County, Missouri            0.2442992792%
                 MO144          Ray County, Missouri                 0.3201239293%
                 MO145          Raymore City, Missouri               0.0467701237%
                 MO146          Raytown City, Missouri               0.1486313258%
                 MO147          Republic City, Missouri              0.2002494278%
                 MO148          Reynolds County, Missouri            0.1173502249%
                 MO149          Ripley County, Missouri              0.2364998192%
                 MO150          Rolla City, Missouri                 0.0387613823%
                 MO151          Saline County, Missouri              0.1638080066%
                 MO152          Schuyler County, Missouri            0.0255576230%
                 MO153          Scotland County, Missouri            0.0573087527%
                 MO154          Scott County, Missouri               0.3449360072%
                 MO155          Sedalia City, Missouri               0.4368595310%
                 MO156          Shannon County, Missouri             0.0849097240%
                 MO157          Shelby County, Missouri              0.0753316616%
                 MO158          Sikeston City, Missouri              0.3315549551%
                 MO159          Smithville City, Missouri            0.0048539762%
                 MO160          Springfield City, Missouri           5.8477728751%
                 MO161          St Charles County, Missouri          2.4842648424%
                 MO162          St Clair County, Missouri            0.0933227753%
                 MO163          St Francois County, Missouri         2.0822768958%
                 MO164          St Louis County, Missouri           11.0300257170%
                 MO165          St. Ann City, Missouri               0.1350418307%
                 MO166          St. Charles City, Missouri           1.3555209057%
                 MO167          St. Joseph City, Missouri            0.9266925599%
                 MO168          St. Louis City, Missouri             8.2821011552%
                 MO169          St. Peters City, Missouri            0.5859558551%
                 MO170          Ste Genevieve County, Missouri       0.2689675365%
                 MO171          Stoddard County, Missouri            0.4415922593%
                 MO172          Stone County, Missouri               0.5212198991%
                 MO173          Sullivan County, Missouri            0.0828316136%
                 MO174          Taney County, Missouri               0.3347844684%
                 MO175          Texas County, Missouri               0.3423504618%
                 MO176          Town and Country City, Missouri      0.0996467524%
                 MO177          Troy City, Missouri                  0.0382293752%
                 MO178          Union City, Missouri                 0.1462425501%
                 MO179          University City, Missouri            0.4121038850%
                 MO180          Vernon County, Missouri              0.3089892512%
  Strictly Confidential
  Subject to Protective Order
                                                   G-132             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 270 of 611. PageID #: 572554
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                 MO181          Warren County, Missouri             0.5842281380%
                 MO182          Warrensburg City, Missouri          0.1958789596%
                 MO183          Washington City, Missouri           0.3567566384%
                 MO184          Washington County, Missouri         0.6514805024%
                 MO185          Wayne County, Missouri              0.2274524096%
                 MO186          Webb City, Missouri                 0.0671916759%
                 MO187          Webster County, Missouri            0.5986690767%
                 MO188          Webster Groves City, Missouri       0.2556867074%
                 MO189          Wentzville City, Missouri           0.3358019827%
                 MO190          West Plains City, Missouri          0.3439555766%
                 MO191          Wildwood City, Missouri             0.1021615484%
                 MO192          Worth County, Missouri              0.0184350871%
                 MO193          Wright County, Missouri             0.2540973934%




  Strictly Confidential
  Subject to Protective Order
                                                  G-133             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 271 of 611. PageID #: 572555
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                   MT1          Anaconda-Deer Lodge County, Montana      1.4480190514%
                   MT2          Beaverhead County, Montana               0.6841480225%
                   MT3          Big Horn County, Montana                 0.8504903609%
                   MT4          Billings City, Montana                   9.1331142413%
                   MT5          Blaine County, Montana                   0.3691094337%
                   MT6          Bozeman City, Montana                    2.0161886507%
                   MT7          Broadwater County, Montana               0.4143251264%
                   MT8          Butte-Silver Bow, Montana                5.6101260434%
                   MT9          Carbon County, Montana                   0.7105360522%
                  MT10          Carter County, Montana                   0.0374679104%
                  MT11          Cascade County, Montana                  3.8993050480%
                  MT12          Chouteau County, Montana                 0.4053063424%
                  MT13          Custer County, Montana                   1.5139056450%
                  MT14          Daniels County, Montana                  0.1787602908%
                  MT15          Dawson County, Montana                   0.7800682133%
                  MT16          Fallon County, Montana                   0.1543582011%
                  MT17          Fergus County, Montana                   0.8667027669%
                  MT18          Flathead County, Montana                 8.0141785369%
                  MT19          Gallatin County, Montana                 4.0205572717%
                  MT20          Garfield County, Montana                 0.0398838599%
                  MT21          Glacier County, Montana                  1.5230709367%
                  MT22          Golden Valley County, Montana            0.0264303648%
                  MT23          Granite County, Montana                  0.1831398237%
                  MT24          Great Falls City, Montana                4.3577779784%
                  MT25          Helena City, Montana                     1.7360655042%
                  MT26          Hill County, Montana                     1.8438532922%
                  MT27          Jefferson County, Montana                0.7770843087%
                  MT28          Judith Basin County, Montana             0.0614804228%
                  MT29          Kalispell City, Montana                  2.4735432710%
                  MT30          Lake County, Montana                     3.6175099064%
                  MT31          Lewis and Clark County, Montana          4.9326712334%
                  MT32          Liberty County, Montana                  0.1210395973%
                  MT33          Lincoln County, Montana                  2.1915597624%
                  MT34          Madison County, Montana                  0.5498047673%
                  MT35          McCone County, Montana                   0.0823035394%
                  MT36          Meagher County, Montana                  0.0912086373%
                  MT37          Mineral County, Montana                  0.7546909914%
                  MT38          Missoula City, Montana                   4.4312558575%
                  MT39          Missoula County, Montana                 8.0272833629%
                  MT40          Musselshell County, Montana              0.3895510594%
                  MT41          Park County, Montana                     2.0831835653%
                  MT42          Petroleum County, Montana                0.0144742922%
                  MT43          Phillips County, Montana                 0.2085622347%
                  MT44          Pondera County, Montana                  0.4003873948%
                  MT45          Powder River County, Montana             0.1504386452%
  Strictly Confidential
  Subject to Protective Order
                                                 G-134                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 272 of 611. PageID #: 572556
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  MT46          Powell County, Montana               0.8872723490%
                  MT47          Prairie County, Montana              0.0572069653%
                  MT48          Ravalli County, Montana              3.6906819270%
                  MT49          Richland County, Montana             0.7541525281%
                  MT50          Roosevelt County, Montana            0.8182976782%
                  MT51          Rosebud County, Montana              0.5641981949%
                  MT52          Sanders County, Montana              1.0679134558%
                  MT53          Sheridan County, Montana             0.2700355225%
                  MT54          Stillwater County, Montana           0.5055604014%
                  MT55          Sweet Grass County, Montana          0.2836540766%
                  MT56          Teton County, Montana                0.5735903832%
                  MT57          Toole County, Montana                0.3258040487%
                  MT58          Treasure County, Montana             0.0226554138%
                  MT59          Valley County, Montana               0.5598291268%
                  MT60          Wheatland County, Montana            0.0720998508%
                  MT61          Wibaux County, Montana               0.0630373047%
                  MT62          Yellowstone County, Montana          7.3090889550%




  Strictly Confidential
  Subject to Protective Order
                                                   G-135             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 273 of 611. PageID #: 572557
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   NE1          Adams County, Nebraska               0.7130410264%
                   NE2          Antelope County, Nebraska            0.2406339800%
                   NE3          Arthur County, Nebraska              0.0110831278%
                   NE4          Banner County, Nebraska              0.0183674606%
                   NE5          Beatrice City, Nebraska              0.9248205382%
                   NE6          Bellevue City, Nebraska              2.4787880023%
                   NE7          Blaine County, Nebraska              0.0123640997%
                   NE8          Boone County, Nebraska               0.2533407507%
                   NE9          Box Butte County, Nebraska           0.7492533620%
                  NE10          Boyd County, Nebraska                0.0902847433%
                  NE11          Brown County, Nebraska               0.1375135354%
                  NE12          Buffalo County, Nebraska             0.9630320332%
                  NE13          Burt County, Nebraska                0.3365661770%
                  NE14          Butler County, Nebraska              0.2899805672%
                  NE15          Cass County, Nebraska                1.2356339344%
                  NE16          Cedar County, Nebraska               0.3502588009%
                  NE17          Chase County, Nebraska               0.1707898814%
                  NE18          Cherry County, Nebraska              0.3082161558%
                  NE19          Cheyenne County, Nebraska            0.7408263023%
                  NE20          Clay County, Nebraska                0.1772971991%
                  NE21          Colfax County, Nebraska              0.2670475913%
                  NE22          Columbus City, Nebraska              0.7291294061%
                  NE23          Cuming County, Nebraska              0.4019883978%
                  NE24          Custer County, Nebraska              0.4848137961%
                  NE25          Dakota County, Nebraska              0.3940917673%
                  NE26          Dawes County, Nebraska               0.6577293164%
                  NE27          Dawson County, Nebraska              0.7540316373%
                  NE28          Deuel County, Nebraska               0.1500055852%
                  NE29          Dixon County, Nebraska               0.2144571499%
                  NE30          Dodge County, Nebraska               1.8317996330%
                  NE31          Douglas County, Nebraska            14.9119111455%
                  NE32          Dundy County, Nebraska               0.1513630330%
                  NE33          Fillmore County, Nebraska            0.3541443667%
                  NE34          Franklin County, Nebraska            0.1630162987%
                  NE35          Fremont City, Nebraska               0.1476946393%
                  NE36          Frontier County, Nebraska            0.0732649260%
                  NE37          Furnas County, Nebraska              0.2315426581%
                  NE38          Gage County, Nebraska                0.5390651380%
                  NE39          Garden County, Nebraska              0.1132118364%
                  NE40          Garfield County, Nebraska            0.1104479177%
                  NE41          Gosper County, Nebraska              0.0528581072%
                  NE42          Grand Island City, Nebraska          1.5052861196%
                  NE43          Grant County, Nebraska               0.0167075406%
                  NE44          Greeley County, Nebraska             0.1006996872%
                  NE45          Hall County, Nebraska                1.3023214397%
  Strictly Confidential
  Subject to Protective Order
                                                   G-136             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 274 of 611. PageID #: 572558
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  NE46          Hamilton County, Nebraska            0.3285553228%
                  NE47          Harlan County, Nebraska              0.1831157431%
                  NE48          Hastings City, Nebraska              0.7738158635%
                  NE49          Hayes County, Nebraska               0.0464208924%
                  NE50          Hitchcock County, Nebraska           0.1428727336%
                  NE51          Holt County, Nebraska                0.4319086269%
                  NE52          Hooker County, Nebraska              0.0195391111%
                  NE53          Howard County, Nebraska              0.3117590505%
                  NE54          Jefferson County, Nebraska           0.4621587809%
                  NE55          Johnson County, Nebraska             0.3674281385%
                  NE56          Kearney City, Nebraska               1.3128662946%
                  NE57          Kearney County, Nebraska             0.3284087439%
                  NE58          Keith County, Nebraska               0.5586120928%
                  NE59          Keya Paha County, Nebraska           0.0207700795%
                  NE60          Kimball County, Nebraska             0.2074517582%
                  NE61          Knox County, Nebraska                0.4262180329%
                  NE62          La Vista City, Nebraska              0.6948539706%
                  NE63          Lancaster County, Nebraska           7.9530599340%
                  NE64          Lexington City, Nebraska             0.2672235840%
                  NE65          Lincoln City, Nebraska               8.9584993437%
                  NE66          Lincoln County, Nebraska             0.7588461895%
                  NE67          Logan County, Nebraska               0.0192253637%
                  NE68          Loup County, Nebraska                0.0163070224%
                  NE69          Madison County, Nebraska             1.0198085515%
                  NE70          McPherson County, Nebraska           0.0133651501%
                  NE71          Merrick County, Nebraska             0.5571149293%
                  NE72          Morrill County, Nebraska             0.2640807173%
                  NE73          Nance County, Nebraska               0.1820220392%
                  NE74          Nemaha County, Nebraska              0.5862140225%
                  NE75          Norfolk City, Nebraska               0.6855964607%
                  NE76          North Platte City, Nebraska          1.2668714124%
                  NE77          Nuckolls County, Nebraska            0.2606241030%
                  NE78          Omaha City, Nebraska                16.7836032733%
                  NE79          Otoe County, Nebraska                0.8114537890%
                  NE80          Papillion City, Nebraska             1.1943452635%
                  NE81          Pawnee County, Nebraska              0.2449303588%
                  NE82          Perkins County, Nebraska             0.0938742100%
                  NE83          Phelps County, Nebraska              0.4453164270%
                  NE84          Pierce County, Nebraska              0.2791606931%
                  NE85          Platte County, Nebraska              0.5054632790%
                  NE86          Polk County, Nebraska                0.2126035890%
                  NE87          Red Willow County, Nebraska          0.6782282985%
                  NE88          Richardson County, Nebraska          0.6780640713%
                  NE89          Rock County, Nebraska                0.0420632348%
                  NE90          Saline County, Nebraska              0.6431415318%
  Strictly Confidential
  Subject to Protective Order
                                                   G-137             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 275 of 611. PageID #: 572559
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  NE91          Sarpy County, Nebraska              4.1205096407%
                  NE92          Saunders County, Nebraska           0.9147340487%
                  NE93          Scotts Bluff County, Nebraska       1.8428925654%
                  NE94          Scottsbluff City, Nebraska          0.5159537183%
                  NE95          Seward County, Nebraska             0.7637450614%
                  NE96          Sheridan County, Nebraska           0.1814092513%
                  NE97          Sherman County, Nebraska            0.1198260243%
                  NE98          Sioux County, Nebraska              0.0355730752%
                  NE99          South Sioux City, Nebraska          0.4431368628%
                  NE100         Stanton County, Nebraska            0.2162062918%
                  NE101         Thayer County, Nebraska             0.2059575361%
                  NE102         Thomas County, Nebraska             0.0173570958%
                  NE103         Thurston County, Nebraska           0.2564159657%
                  NE104         Valley County, Nebraska             0.3103957199%
                  NE105         Washington County, Nebraska         0.7878555706%
                  NE106         Wayne County, Nebraska              0.3510034608%
                  NE107         Webster County, Nebraska            0.1652355715%
                  NE108         Wheeler County, Nebraska            0.0210156849%
                  NE109         York County, Nebraska               0.8321939645%




  Strictly Confidential
  Subject to Protective Order
                                                  G-138             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 276 of 611. PageID #: 572560
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   NV1          Boulder City, Nevada                0.3107009981%
                   NV2          Carson City, Nevada                 2.3218259705%
                   NV3          Churchill County, Nevada            0.8235207168%
                   NV4          Clark County, Nevada               58.8769406541%
                   NV5          Douglas County, Nevada              1.4865476786%
                   NV6          Elko City, Nevada                   0.2695156814%
                   NV7          Elko County, Nevada                 0.7560895476%
                   NV8          Ely City, Nevada                    0.0203818414%
                   NV9          Esmeralda County, Nevada            0.0080513258%
                  NV10          Eureka County, Nevada               0.0249820640%
                  NV11          Fernley City, Nevada                0.1752175442%
                  NV12          Henderson City, Nevada              4.1125125008%
                  NV13          Humboldt County, Nevada             0.3934458998%
                  NV14          Lander County, Nevada               0.1756629621%
                  NV15          Las Vegas City, Nevada              5.8501217347%
                  NV16          Lincoln County, Nevada              0.1403055252%
                  NV17          Lyon County, Nevada                 1.1540884057%
                  NV18          Mesquite City, Nevada               0.2702977182%
                  NV19          Mineral County, Nevada              0.2376542842%
                  NV20          North Las Vegas City, Nevada        3.9470476958%
                  NV21          Nye County, Nevada                  2.9075008157%
                  NV22          Pershing County, Nevada             0.1586758508%
                  NV23          Reno City, Nevada                   4.3827493928%
                  NV24          Sparks City, Nevada                 1.2865202258%
                  NV25          Storey County, Nevada               0.1042375046%
                  NV26          Washoe County, Nevada               9.2156770199%
                  NV27          West Wendover City, Nevada          0.0969051629%
                  NV28          White Pine County, Nevada           0.4928232787%




  Strictly Confidential
  Subject to Protective Order
                                                  G-139             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 277 of 611. PageID #: 572561
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                   NH1          Amherst Town, New Hampshire             0.1790374673%
                   NH2          Bedford Town, New Hampshire             0.3936504808%
                   NH3          Belknap County, New Hampshire           1.9567644276%
                   NH4          Belmont Town, New Hampshire             0.1904054639%
                   NH5          Berlin City, New Hampshire              1.3709952706%
                   NH6          Carroll County, New Hampshire           3.4703987177%
                   NH7          Cheshire County, New Hampshire          3.5839760859%
                   NH8          Claremont City, New Hampshire           0.3683639593%
                   NH9          Concord City, New Hampshire             2.2595879479%
                  NH10          Conway Town, New Hampshire              0.3862721364%
                  NH11          Coos County, New Hampshire              1.5122267511%
                  NH12          Derry Town, New Hampshire               1.8769595144%
                  NH13          Dover City, New Hampshire               3.0576459834%
                  NH14          Durham Town, New Hampshire              0.2881020198%
                  NH15          Exeter Town, New Hampshire              0.6737274090%
                  NH16          Franklin City, New Hampshire            1.7479174481%
                  NH17          Goffstown, New Hampshire                0.3784700464%
                  NH18          Grafton County, New Hampshire           4.4308969200%
                  NH19          Hampton Town, New Hampshire             0.7358763999%
                  NH20          Hanover Town, New Hampshire             0.6123006298%
                  NH21          Hillsborough County, New Hampshire      3.9254388815%
                  NH22          Hooksett Town, New Hampshire            0.6675639148%
                  NH23          Hudson Town, New Hampshire              0.6950011728%
                  NH24          Keene City, New Hampshire               1.3761862063%
                  NH25          Laconia City, New Hampshire             2.5621024032%
                  NH26          Lebanon City, New Hampshire             1.0426624391%
                  NH27          Londonderry Town, New Hampshire         1.6138073938%
                  NH28          Manchester City, New Hampshire         13.8240646849%
                  NH29          Merrimack County, New Hampshire         6.9494167035%
                  NH30          Merrimack Town, New Hampshire           0.5966754639%
                  NH31          Milford Town, New Hampshire             0.1807176109%
                  NH32          Nashua City, New Hampshire              9.8959025124%
                  NH33          Pelham Town, New Hampshire              0.2388903043%
                  NH34          Portsmouth City, New Hampshire          5.9802341556%
                  NH35          Raymond Town, New Hampshire             0.2284643413%
                  NH36          Rochester City, New Hampshire           3.4618265089%
                  NH37          Rockingham County, New Hampshire        8.9313792575%
                  NH38          Salem Town, New Hampshire               1.7849749379%
                  NH39          Somersworth City, New Hampshire         1.5003334712%
                  NH40          Strafford County, New Hampshire         2.2198133145%
                  NH41          Sullivan County, New Hampshire          2.2968940888%
                  NH42          Windham Town, New Hampshire             0.5540751536%




  Strictly Confidential
  Subject to Protective Order
                                                  G-140                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 278 of 611. PageID #: 572562
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                   NJ1          Aberdeen Township, New Jersey              0.0797396894%
                   NJ2          Asbury Park City, New Jersey               0.3916349671%
                   NJ3          Atlantic City, New Jersey                  1.2847690915%
                   NJ4          Atlantic County, New Jersey                2.8915764045%
                   NJ5          Barnegat Township, New Jersey              0.1626638814%
                   NJ6          Bayonne City, New Jersey                   0.8502340058%
                   NJ7          Beachwood Borough, New Jersey              0.0492329228%
                   NJ8          Belleville Township, New Jersey            0.0872090223%
                   NJ9          Bellmawr Borough, New Jersey               0.0640989992%
                  NJ10          Bergen County, New Jersey                  4.9446361090%
                  NJ11          Bergenfield Borough, New Jersey            0.0618076073%
                  NJ12          Berkeley Heights Township, New Jersey      0.0272673062%
                  NJ13          Berkeley Township, New Jersey              0.2619731788%
                  NJ14          Bernards Township, New Jersey              0.0910577073%
                  NJ15          Bloomfield Township, New Jersey            0.1173874959%
                  NJ16          Bordentown Township, New Jersey            0.0545891482%
                  NJ17          Bound Brook Borough, New Jersey            0.0527105023%
                  NJ18          Branchburg Township, New Jersey            0.0561024563%
                  NJ19          Brick Township, New Jersey                 0.5908193174%
                  NJ20          Bridgeton City, New Jersey                 0.2079614154%
                  NJ21          Bridgewater Township, New Jersey           0.1828057629%
                  NJ22          Burlington County, New Jersey              4.4940916659%
                  NJ23          Burlington Township, New Jersey            0.1157900630%
                  NJ24          Camden City, New Jersey                    1.6603828843%
                  NJ25          Camden County, New Jersey                  6.8741218172%
                  NJ26          Cape May County, New Jersey                1.2842777540%
                  NJ27          Carteret Borough, New Jersey               0.1794847100%
                  NJ28          Cedar Grove Township, New Jersey           0.0187911021%
                  NJ29          Chatham Township, New Jersey               0.0498541051%
                  NJ30          Cherry Hill Township, New Jersey           0.3440044947%
                  NJ31          Cinnaminson Township, New Jersey           0.0701648926%
                  NJ32          Clark Township, New Jersey                 0.0429898704%
                  NJ33          Cliffside Park Borough, New Jersey         0.1142449150%
                  NJ34          Clifton City, New Jersey                   0.3535258812%
                  NJ35          Clinton Town, New Jersey                   0.0294193343%
                  NJ36          Clinton Township, New Jersey               0.0799778554%
                  NJ37          Collingswood Borough, New Jersey           0.1128930571%
                  NJ38          Cranford Township, New Jersey              0.0684441330%
                  NJ39          Cumberland County, New Jersey              0.9862828059%
                  NJ40          Delran Township, New Jersey                0.0837486054%
                  NJ41          Denville Township, New Jersey              0.0795654377%
                  NJ42          Deptford Township, New Jersey              0.2200095463%
                  NJ43          Dover Town, New Jersey                     0.1186530251%
                  NJ44          Dumont Borough, New Jersey                 0.0403826120%
                  NJ45          East Brunswick Township, New Jersey        0.0972927881%
  Strictly Confidential
  Subject to Protective Order
                                                  G-141                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 279 of 611. PageID #: 572563
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  NJ46          East Greenwich Township, New Jersey        0.0212104162%
                  NJ47          East Hanover Township, New Jersey          0.0890156417%
                  NJ48          East Orange City, New Jersey               1.2844844553%
                  NJ49          East Windsor Township, New Jersey          0.0422463462%
                  NJ50          Eatontown Borough, New Jersey              0.0974794194%
                  NJ51          Edgewater Borough, New Jersey              0.0546948904%
                  NJ52          Edison Township, New Jersey                2.4018132631%
                  NJ53          Egg Harbor Township, New Jersey            0.1572891336%
                  NJ54          Elizabeth City, New Jersey                 0.7646308101%
                  NJ55          Elmwood Park Borough, New Jersey           0.0462435391%
                  NJ56          Englewood City, New Jersey                 0.6429812736%
                  NJ57          Essex County, New Jersey                   1.4898498664%
                  NJ58          Evesham Township, New Jersey               0.1745115947%
                  NJ59          Ewing Township, New Jersey                 0.0839796907%
                  NJ60          Fair Lawn Borough, New Jersey              0.0699332916%
                  NJ61          Fairview Borough, New Jersey               0.0347025484%
                  NJ62          Florence Township, New Jersey              0.0676007282%
                  NJ63          Florham Park Borough, New Jersey           0.0674975182%
                  NJ64          Fort Lee Borough, New Jersey               0.1848366682%
                  NJ65          Franklin Lakes Borough, New Jersey         0.0273076336%
                  NJ66          Franklin Township, Gloucester County,      0.0870963870%
                                New Jersey
                  NJ67          Franklin Township, Somerset County,        0.3236022203%
                                New Jersey
                  NJ68          Freehold Borough, New Jersey               0.0816675723%
                  NJ69          Freehold Township, New Jersey              0.1512818556%
                  NJ70          Galloway Township, New Jersey              0.0846515634%
                  NJ71          Garfield City, New Jersey                  0.0989196224%
                  NJ72          Glassboro Borough, New Jersey              0.1948186777%
                  NJ73          Glen Rock Borough, New Jersey              0.0253178060%
                  NJ74          Gloucester City, New Jersey                0.1325275640%
                  NJ75          Gloucester County, New Jersey              4.7022029491%
                  NJ76          Gloucester Township, New Jersey            0.3259502581%
                  NJ77          Guttenberg Town, New Jersey                0.0382186733%
                  NJ78          Hackensack City, New Jersey                0.2554139785%
                  NJ79          Haddon Township, New Jersey                0.0831057121%
                  NJ80          Haddonfield Borough, New Jersey            0.0710479214%
                  NJ81          Hamilton Township, Atlantic County,        0.0939608561%
                                New Jersey
                  NJ82          Hamilton Township, Mercer County,          0.1394262176%
                                New Jersey
                  NJ83          Hammonton Town, New Jersey                 0.0463451547%
                  NJ84          Hanover Township, New Jersey               0.0711651990%
                  NJ85          Harrison Town, New Jersey                  0.2059190684%
                  NJ86          Harrison Township, New Jersey              0.0478487561%
  Strictly Confidential
  Subject to Protective Order
                                                   G-142                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 280 of 611. PageID #: 572564
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  NJ87          Hasbrouck Heights Borough, New Jersey       0.0360845581%
                  NJ88          Hawthorne Borough, New Jersey               0.0380122534%
                  NJ89          Hazlet Township, New Jersey                 0.0810519234%
                  NJ90          Highland Park Borough, New Jersey           0.0606246554%
                  NJ91          Hillsborough Township, New Jersey           0.1405113053%
                  NJ92          Hillsdale Borough, New Jersey               0.0247027667%
                  NJ93          Hillside Township, New Jersey               0.1085603967%
                  NJ94          Hoboken City, New Jersey                    0.1803633309%
                  NJ95          Holmdel Township, New Jersey                0.1058875828%
                  NJ96          Hopatcong Borough, New Jersey               0.0677558479%
                  NJ97          Hopewell Township, Mercer County,           0.0275878151%
                                New Jersey
                  NJ98          Howell Township, New Jersey                 0.2067529072%
                  NJ99          Hudson County, New Jersey                   0.9363280231%
                  NJ100         Hunterdon County, New Jersey                0.8037645396%
                  NJ101         Irvington Township, New Jersey              0.9244040630%
                  NJ102         Jackson Township, New Jersey                0.2670097394%
                  NJ103         Jefferson Township, New Jersey              0.0866198206%
                  NJ104         Jersey City, New Jersey                     0.9916102863%
                  NJ105         Kearny Town, New Jersey                     0.1071857960%
                  NJ106         Lacey Township, New Jersey                  0.1502291236%
                  NJ107         Lakewood Township, New Jersey               0.7730028665%
                  NJ108         Lawrence Township, Mercer County,           0.0644503163%
                                New Jersey
                  NJ109         Lincoln Park Borough, New Jersey            0.0595261565%
                  NJ110         Linden City, New Jersey                     0.2495261821%
                  NJ111         Lindenwold Borough, New Jersey              0.1004455914%
                  NJ112         Little Egg Harbor Township, New Jersey      0.1465902816%
                  NJ113         Little Falls Township, New Jersey           0.0348320180%
                  NJ114         Little Ferry Borough, New Jersey            0.0258966914%
                  NJ115         Livingston Township, New Jersey             0.0484285793%
                  NJ116         Lodi Borough, New Jersey                    0.1078340351%
                  NJ117         Long Branch City, New Jersey                0.5243184480%
                  NJ118         Lower Township, New Jersey                  0.0710329159%
                  NJ119         Lumberton Township, New Jersey              0.0461973502%
                  NJ120         Lyndhurst Township, New Jersey              0.0645354727%
                  NJ121         Madison Borough, New Jersey                 0.1424930674%
                  NJ122         Mahwah Township, New Jersey                 0.0610985020%
                  NJ123         Manalapan Township, New Jersey              0.1318410608%
                  NJ124         Manchester Township, New Jersey             0.2136801182%
                  NJ125         Mantua Township, New Jersey                 0.0853984170%
                  NJ126         Manville Borough, New Jersey                0.0574532358%
                  NJ127         Maple Shade Township, New Jersey            0.1058088976%
                  NJ128         Maplewood Township, New Jersey              0.0589307182%
                  NJ129         Marlboro Township, New Jersey               0.1588151495%
  Strictly Confidential
  Subject to Protective Order
                                                   G-143                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 281 of 611. PageID #: 572565
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  NJ130         Medford Township, New Jersey              0.1130775783%
                  NJ131         Mercer County, New Jersey                 1.1117204895%
                  NJ132         Metuchen Borough, New Jersey              0.0339468322%
                  NJ133         Middle Township, New Jersey               0.0695160908%
                  NJ134         Middlesex Borough, New Jersey             0.0317606196%
                  NJ135         Middlesex County, New Jersey              2.2387299770%
                  NJ136         Middletown Township, New Jersey           0.3292948041%
                  NJ137         Millburn Township, New Jersey             0.0627532842%
                  NJ138         Millstone Township, New Jersey            0.0066098909%
                  NJ139         Millville City, New Jersey                0.2397981412%
                  NJ140         Monmouth County, New Jersey               4.4617935668%
                  NJ141         Monroe Township, Gloucester County,       0.2271632002%
                                New Jersey
                  NJ142         Monroe Township, Middlesex County,        0.1024216796%
                                New Jersey
                  NJ143         Montclair Township, New Jersey            0.5843666564%
                  NJ144         Montgomery Township, New Jersey           0.0805666350%
                  NJ145         Montville Township, New Jersey            0.0902727303%
                  NJ146         Moorestown Township, New Jersey           0.1000871936%
                  NJ147         Morris County, New Jersey                 2.3575766204%
                  NJ148         Morris Township, New Jersey               0.1125747053%
                  NJ149         Morristown, New Jersey                    0.2369807115%
                  NJ150         Mount Laurel Township, New Jersey         0.1725831491%
                  NJ151         Mount Olive Township, New Jersey          0.1068809023%
                  NJ152         Neptune Township, New Jersey              0.2450351195%
                  NJ153         New Brunswick City, New Jersey            1.8327331194%
                  NJ154         New Milford Borough, New Jersey           0.0368443070%
                  NJ155         New Providence Borough, New Jersey        0.0258412178%
                  NJ156         Newark City, New Jersey                   1.7760400546%
                  NJ157         North Arlington Borough, New Jersey       0.0408890956%
                  NJ158         North Bergen Township, New Jersey         0.1110635074%
                  NJ159         North Brunswick Township, New Jersey      0.1217197343%
                  NJ160         North Plainfield Borough, New Jersey      0.1454941742%
                  NJ161         Nutley Township, New Jersey               0.0574061090%
                  NJ162         Oakland Borough, New Jersey               0.0335231134%
                  NJ163         Ocean City, New Jersey                    0.1910428164%
                  NJ164         Ocean County, New Jersey                  4.9497293624%
                  NJ165         Ocean Township, Monmouth County,          0.1387263032%
                                New Jersey
                  NJ166         Old Bridge Township, New Jersey           0.1263966779%
                  NJ167         Orange City Township, New Jersey          0.5609302630%
                  NJ168         Palisades Park Borough, New Jersey        0.0366345109%
                  NJ169         Paramus Borough, New Jersey               0.1129786355%
                  NJ170         Parsippany-Troy Hills Township, New       0.2342890939%
                                Jersey
  Strictly Confidential
  Subject to Protective Order
                                                  G-144                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 282 of 611. PageID #: 572566
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  NJ171         Passaic City, New Jersey                  0.4984612868%
                  NJ172         Passaic County, New Jersey                2.1805505203%
                  NJ173         Paterson City, New Jersey                 0.9805526614%
                  NJ174         Pemberton Township, New Jersey            0.1182059071%
                  NJ175         Pennsauken Township, New Jersey           0.3221185950%
                  NJ176         Pennsville Township, New Jersey           0.0340920576%
                  NJ177         Pequannock Township, New Jersey           0.0769477223%
                  NJ178         Perth Amboy City, New Jersey              0.3436749356%
                  NJ179         Phillipsburg Town, New Jersey             0.1544595119%
                  NJ180         Pine Hill Borough, New Jersey             0.0482528270%
                  NJ181         Piscataway Township, New Jersey           0.1067019613%
                  NJ182         Plainfield City, New Jersey               0.3012229667%
                  NJ183         Plainsboro Township, New Jersey           0.0503298743%
                  NJ184         Pleasantville City, New Jersey            0.1421175070%
                  NJ185         Point Pleasant Borough, New Jersey        0.1109970141%
                  NJ186         Pompton Lakes Borough, New Jersey         0.0290573727%
                  NJ187         Princeton, New Jersey                     0.0503970240%
                  NJ188         Rahway City, New Jersey                   0.1444485698%
                  NJ189         Ramsey Borough, New Jersey                0.0402523452%
                  NJ190         Randolph Township, New Jersey             0.0853331898%
                  NJ191         Raritan Township, New Jersey              0.1071670391%
                  NJ192         Readington Township, New Jersey           0.0850076166%
                  NJ193         Red Bank Borough, New Jersey              0.1420636747%
                  NJ194         Ridgefield Borough, New Jersey            0.0201153405%
                  NJ195         Ridgefield Park Village, New Jersey       0.0392827532%
                  NJ196         Ridgewood Village, New Jersey             0.0849185213%
                  NJ197         Ringwood Borough, New Jersey              0.0309822545%
                  NJ198         River Edge Borough, New Jersey            0.0266057498%
                  NJ199         Robbinsville Township, New Jersey         0.0338593312%
                  NJ200         Rockaway Township, New Jersey             0.1290497970%
                  NJ201         Roselle Borough, New Jersey               0.0912325687%
                  NJ202         Roselle Park Borough, New Jersey          0.0316673040%
                  NJ203         Roxbury Township, New Jersey              0.1057717120%
                  NJ204         Rutherford Borough, New Jersey            0.0459830524%
                  NJ205         Saddle Brook Township, New Jersey         0.0390656888%
                  NJ206         Salem County, New Jersey                  0.9344056735%
                  NJ207         Sayreville Borough, New Jersey            0.1477057086%
                  NJ208         Scotch Plains Township, New Jersey        0.0484433504%
                  NJ209         Secaucus Town, New Jersey                 0.0516659295%
                  NJ210         Somers Point City, New Jersey             0.0439926621%
                  NJ211         Somerset County, New Jersey               1.4647125488%
                  NJ212         Somerville Borough, New Jersey            0.0756287358%
                  NJ213         South Brunswick Township, New Jersey      0.1037777110%
                  NJ214         South Orange Village Township, New        0.0488891085%
                                Jersey
  Strictly Confidential
  Subject to Protective Order
                                                  G-145                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 283 of 611. PageID #: 572567
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  NJ215         South Plainfield Borough, New Jersey      0.0899775902%
                  NJ216         South River Borough, New Jersey           0.0421568288%
                  NJ217         Southampton Township, New Jersey          0.0127996268%
                  NJ218         Sparta Township, New Jersey               0.1069549921%
                  NJ219         Springfield Township, Union County,       0.0573437423%
                                New Jersey
                  NJ220         Stafford Township, New Jersey             0.2155115906%
                  NJ221         Summit City, New Jersey                   0.5428090174%
                  NJ222         Sussex County, New Jersey                 1.2735318221%
                  NJ223         Teaneck Township, New Jersey              0.1723477966%
                  NJ224         Tenafly Borough, New Jersey               0.0450713724%
                  NJ225         Tinton Falls Borough, New Jersey          0.0881640307%
                  NJ226         Toms River Township, New Jersey           0.5620940829%
                  NJ227         Totowa Borough, New Jersey                0.0342545863%
                  NJ228         Trenton City, New Jersey                  1.9352906929%
                  NJ229         Union City, New Jersey                    0.9841875644%
                  NJ230         Union County, New Jersey                  1.7400474523%
                  NJ231         Union Township, Union County, New         0.2247240506%
                                Jersey
                  NJ232         Upper Township, New Jersey                0.0173930552%
                  NJ233         Vernon Township, New Jersey               0.0783616187%
                  NJ234         Verona Township, New Jersey               0.0234318917%
                  NJ235         Vineland City, New Jersey                 0.5000169856%
                  NJ236         Voorhees Township, New Jersey             0.1406021825%
                  NJ237         Waldwick Borough, New Jersey              0.0421770394%
                  NJ238         Wall Township, New Jersey                 0.1650847899%
                  NJ239         Wallington Borough, New Jersey            0.0235956865%
                  NJ240         Wanaque Borough, New Jersey               0.0311245257%
                  NJ241         Wantage Township, New Jersey              0.0091403397%
                  NJ242         Warren County, New Jersey                 1.0382472049%
                  NJ243         Warren Township, New Jersey               0.0736326246%
                  NJ244         Washington Township, Gloucester           0.2470375143%
                                County, New Jersey
                  NJ245         Washington Township, Morris County,       0.0524274135%
                                New Jersey
                  NJ246         Waterford Township, New Jersey            0.0648566849%
                  NJ247         Wayne Township, New Jersey                0.1724444886%
                  NJ248         Weehawken Township, New Jersey            0.0282451513%
                  NJ249         West Caldwell Township, New Jersey        0.0246748189%
                  NJ250         West Deptford Township, New Jersey        0.1402059895%
                  NJ251         West Milford Township, New Jersey         0.0644752630%
                  NJ252         West New York Town, New Jersey            0.6157331463%
                  NJ253         West Orange Township, New Jersey          0.1051193933%
                  NJ254         West Windsor Township, New Jersey         0.0458605228%
                  NJ255         Westfield Town, New Jersey                0.0887745684%
  Strictly Confidential
  Subject to Protective Order
                                                   G-146                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 284 of 611. PageID #: 572568
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                  NJ256         Westwood Borough, New Jersey           0.0348328152%
                  NJ257         Willingboro Township, New Jersey       0.2091808026%
                  NJ258         Winslow Township, New Jersey           0.1817978600%
                  NJ259         Woodbridge Township, New Jersey        0.3688029685%
                  NJ260         Woodland Park Borough, New Jersey      0.0292498655%
                  NJ261         Woolwich Township, New Jersey          0.0599291958%
                  NJ262         Wyckoff Township, New Jersey           0.0296665036%




  Strictly Confidential
  Subject to Protective Order
                                                  G-147                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 285 of 611. PageID #: 572569
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  NM1           Alamogordo City, New Mexico          0.9683526415%
                  NM2           Albuquerque City, New Mexico        26.1703568498%
                  NM3           Artesia City, New Mexico             0.5562791550%
                  NM4           Bernalillo County, New Mexico       15.2005970834%
                  NM5           Bernalillo Town, New Mexico          0.2863480762%
                  NM6           Carlsbad City, New Mexico            0.8261484924%
                  NM7           Catron County, New Mexico            0.1129940051%
                  NM8           Chaves County, New Mexico            1.0935494443%
                  NM9           Cibola County, New Mexico            0.7723148257%
                  NM10          Clovis City, New Mexico              0.9103511516%
                  NM11          Colfax County, New Mexico            0.7448541610%
                  NM12          Curry County, New Mexico             0.4952954732%
                  NM13          De Baca County, New Mexico           0.0650725663%
                  NM14          Deming City, New Mexico              0.2484870948%
                  NM15          Dona Ana County, New Mexico          4.1009817203%
                  NM16          Eddy County, New Mexico              1.2155709374%
                  NM17          Española City, New Mexico            1.0869232440%
                  NM18          Farmington City, New Mexico          1.4120396740%
                  NM19          Gallup City, New Mexico              0.7722895935%
                  NM20          Grant County, New Mexico             1.8057321396%
                  NM21          Guadalupe County, New Mexico         0.1869187026%
                  NM22          Harding County, New Mexico           0.0102668257%
                  NM23          Hidalgo County, New Mexico           0.1965507765%
                  NM24          Hobbs City, New Mexico               0.5477699843%
                  NM25          Las Cruces City, New Mexico          2.7789710876%
                  NM26          Las Vegas City, New Mexico           0.9509305850%
                  NM27          Lea County, New Mexico               1.3193643533%
                  NM28          Lincoln County, New Mexico           1.2208675842%
                  NM29          Los Alamos County, New Mexico        0.5915454490%
                  NM30          Los Lunas Village, New Mexico        1.0566950725%
                  NM31          Lovington City, New Mexico           0.1729179347%
                  NM32          Luna County, New Mexico              0.5889582326%
                  NM33          McKinley County, New Mexico          1.0214669791%
                  NM34          Mora County, New Mexico              0.1903934157%
                  NM35          Otero County, New Mexico             1.6062640137%
                  NM36          Portales City, New Mexico            0.2248670805%
                  NM37          Quay County, New Mexico              0.4733520608%
                  NM38          Rio Arriba County, New Mexico        3.5113726662%
                  NM39          Rio Rancho City, New Mexico          2.3456255907%
                  NM40          Roosevelt County, New Mexico         0.3148139409%
                  NM41          Roswell City, New Mexico             1.4423383265%
                  NM42          San Juan County, New Mexico          2.4064498445%
                  NM43          San Miguel County, New Mexico        0.7151901194%
                  NM44          Sandoval County, New Mexico          1.9253935060%
                  NM45          Santa Fe City, New Mexico            4.5408953413%
  Strictly Confidential
  Subject to Protective Order
                                                  G-148              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 286 of 611. PageID #: 572570
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  NM46          Santa Fe County, New Mexico         3.5143193357%
                  NM47          Sierra County, New Mexico           1.0308488455%
                  NM48          Socorro County, New Mexico          0.7363065077%
                  NM49          Sunland Park City, New Mexico       0.2012417097%
                  NM50          Taos County, New Mexico             1.7429125688%
                  NM51          Torrance County, New Mexico         0.7071523256%
                  NM52          Union County, New Mexico            0.1108929666%
                  NM53          Valencia County, New Mexico         2.7716079380%




  Strictly Confidential
  Subject to Protective Order
                                                  G-149             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 287 of 611. PageID #: 572571
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   NY1          Albany City, New York
                   NY2          Albany County, New York
                   NY3          Allegany County, New York
                   NY4          Broome County, New York
                   NY5          Buffalo City, New York
                   NY6          Cattaraugus County, New York
                   NY7          Cayuga County, New York
                   NY8          Chautauqua County, New York
                   NY9          Chemung County, New York
                  NY10          Chenango County, New York
                  NY11          Clinton County, New York
                  NY12          Columbia County, New York
                  NY13          Cortland County, New York
                  NY14          Delaware County, New York
                  NY15          Dutchess County, New York
                  NY16          Erie County, New York
                  NY17          Essex County, New York
                  NY18          Franklin County, New York
                  NY19          Fulton County, New York
                  NY20          Genesee County, New York
                  NY21          Greene County, New York          Allocations in New
                  NY22          Hamilton County, New York        York will be made
                  NY23          Herkimer County, New York        in accordance with
                  NY24          Jefferson County, New York          the New York
                  NY25          Lewis County, New York               Agreement.
                  NY26          Livingston County, New York
                  NY27          Madison County, New York
                  NY28          Monroe County, New York
                  NY29          Montgomery County, New York
                  NY30          Nassau County, New York
                  NY31          New York City, New York
                  NY32          Niagara County, New York
                  NY33          Oneida County, New York
                  NY34          Onondaga County, New York
                  NY35          Ontario County, New York
                  NY36          Orange County, New York
                  NY37          Orleans County, New York
                  NY38          Oswego County, New York
                  NY39          Otsego County, New York
                  NY40          Putnam County, New York
                  NY41          Rensselaer County, New York
                  NY42          Rochester City, New York
                  NY43          Rockland County, New York
                  NY44          Saratoga County, New York
                  NY45          Schenectady County, New York
  Strictly Confidential
  Subject to Protective Order
                                                  G-150             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 288 of 611. PageID #: 572572
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  NY46          Schoharie County, New York
                  NY47          Schuyler County, New York
                  NY48          Seneca County, New York
                  NY49          St Lawrence County, New York
                  NY50          Steuben County, New York
                  NY51          Suffolk County, New York
                  NY52          Sullivan County, New York
                  NY53          Syracuse City, New York
                  NY54          Tioga County, New York           Allocations in New
                  NY55          Tompkins County, New York        York will be made
                                                                 in accordance with
                  NY56          Ulster County, New York
                                                                    the New York
                  NY57          Warren County, New York              Agreement.
                  NY58          Washington County, New York
                  NY59          Wayne County, New York
                  NY60          Westchester County, New York
                  NY61          Wyoming County, New York
                  NY62          Yates County, New York
                  NY63          Yonkers City, New York




  Strictly Confidential
  Subject to Protective Order
                                                  G-151             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 289 of 611. PageID #: 572573
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                   NC1          Alamance County, North Carolina        1.3780289676%
                   NC2          Alexander County, North Carolina       0.5100078796%
                   NC3          Alleghany County, North Carolina       0.1490905989%
                   NC4          Anson County, North Carolina           0.1821929604%
                   NC5          Ashe County, North Carolina            0.3386391883%
                   NC6          Asheville City, North Carolina         0.2358147243%
                   NC7          Avery County, North Carolina           0.2659967669%
                   NC8          Beaufort County, North Carolina        0.4778884349%
                   NC9          Bertie County, North Carolina          0.1394685751%
                  NC10          Bladen County, North Carolina          0.4292178095%
                  NC11          Brunswick County, North Carolina       2.1132385076%
                  NC12          Buncombe County, North Carolina        2.5115878573%
                  NC13          Burke County, North Carolina           2.0901968270%
                  NC14          Cabarrus County, North Carolina        1.6695734466%
                  NC15          Caldwell County, North Carolina        1.2763011462%
                  NC16          Camden County, North Carolina          0.0730364004%
                  NC17          Canton Town, North Carolina            0.0114538232%
                  NC18          Carteret County, North Carolina        1.1284655939%
                  NC19          Cary Town, North Carolina              0.1441516454%
                  NC20          Caswell County, North Carolina         0.1729202375%
                  NC21          Catawba County, North Carolina         2.0726952227%
                  NC22          Charlotte City, North Carolina         1.2474838144%
                  NC23          Chatham County, North Carolina         0.4498143831%
                  NC24          Cherokee County, North Carolina        0.7827591529%
                  NC25          Chowan County, North Carolina          0.1137055961%
                  NC26          Clay County, North Carolina            0.2244299489%
                  NC27          Cleveland County, North Carolina       1.1199280277%
                  NC28          Columbus County, North Carolina        1.2209369390%
                  NC29          Concord City, North Carolina           0.2274558703%
                  NC30          Craven County, North Carolina          1.3368601902%
                  NC31          Cumberland County, North Carolina      2.6372996596%
                  NC32          Currituck County, North Carolina       0.1867785513%
                  NC33          Dare County, North Carolina            0.5331267313%
                  NC34          Davidson County, North Carolina        1.9402695304%
                  NC35          Davie County, North Carolina           0.5131475269%
                  NC36          Duplin County, North Carolina          0.3827851474%
                  NC37          Durham City, North Carolina            0.3804050267%
                  NC38          Durham County, North Carolina          1.7979943624%
                  NC39          Edgecombe County, North Carolina       0.4171019390%
                  NC40          Fayetteville City, North Carolina      0.3097690552%
                  NC41          Forsyth County, North Carolina         3.0684508095%
                  NC42          Franklin County, North Carolina        0.5005036433%
                  NC43          Gaston County, North Carolina          3.0981738869%
                  NC44          Gastonia City, North Carolina          0.2577638238%
                  NC45          Gates County, North Carolina           0.0795675166%
  Strictly Confidential
  Subject to Protective Order
                                                  G-152                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 290 of 611. PageID #: 572574
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  NC46          Graham County, North Carolina           0.1834845617%
                  NC47          Granville County, North Carolina        0.5901034093%
                  NC48          Greene County, North Carolina           0.1232748186%
                  NC49          Greensboro City, North Carolina         0.5273916964%
                  NC50          Greenville City, North Carolina         0.1626564747%
                  NC51          Guilford County, North Carolina         3.3750152311%
                  NC52          Halifax County, North Carolina          0.4531611740%
                  NC53          Harnett County, North Carolina          0.9889807722%
                  NC54          Haywood County, North Carolina          0.8033151101%
                  NC55          Henderson City, North Carolina          0.0322534788%
                  NC56          Henderson County, North Carolina        1.3815950870%
                  NC57          Hertford County, North Carolina         0.2068430501%
                  NC58          Hickory City, North Carolina            0.0948758357%
                  NC59          High Point City, North Carolina         0.2064287629%
                  NC60          Hoke County, North Carolina             0.3324858046%
                  NC61          Hyde County, North Carolina             0.0272373541%
                  NC62          Iredell County, North Carolina          2.1159313745%
                  NC63          Jackson County, North Carolina          0.5077577313%
                  NC64          Jacksonville City, North Carolina       0.0950098698%
                  NC65          Johnston County, North Carolina         1.2508874682%
                  NC66          Jones County, North Carolina            0.0879669870%
                  NC67          Lee County, North Carolina              0.6531156836%
                  NC68          Lenoir County, North Carolina           0.6042825926%
                  NC69          Lincoln County, North Carolina          0.9268336271%
                  NC70          Macon County, North Carolina            0.2377764961%
                  NC71          Madison County, North Carolina          0.2328822206%
                  NC72          Martin County, North Carolina           0.5875445765%
                  NC73          McDowell County, North Carolina         0.4667676661%
                  NC74          Mecklenburg County, North Carolina      5.0383012599%
                  NC75          Mitchell County, North Carolina         0.3093141516%
                  NC76          Montgomery County, North Carolina       0.2260505430%
                  NC77          Moore County, North Carolina            0.9717391128%
                  NC78          Nash County, North Carolina             0.8456536396%
                  NC79          New Hanover County, North Carolina      2.8972648920%
                  NC80          Northampton County, North Carolina      0.1209962389%
                  NC81          Onslow County, North Carolina           1.6440013647%
                  NC82          Orange County, North Carolina           1.0558394190%
                  NC83          Pamlico County, North Carolina          0.1199361510%
                  NC84          Pasquotank County, North Carolina       0.3748162108%
                  NC85          Pender County, North Carolina           0.5857493319%
                  NC86          Perquimans County, North Carolina       0.1118331803%
                  NC87          Person County, North Carolina           0.4030242967%
                  NC88          Pitt County, North Carolina             1.3690080664%
                  NC89          Polk County, North Carolina             0.2661429860%
                  NC90          Raleigh City, North Carolina            0.5667246127%
  Strictly Confidential
  Subject to Protective Order
                                                  G-153                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 291 of 611. PageID #: 572575
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                  NC91          Randolph County, North Carolina          1.5254339862%
                  NC92          Richmond County, North Carolina          0.7491328400%
                  NC93          Robeson County, North Carolina           1.3597353436%
                  NC94          Rockingham County, North Carolina        1.3653688375%
                  NC95          Rowan County, North Carolina             2.3352192879%
                  NC96          Rutherford County, North Carolina        0.9289416180%
                  NC97          Sampson County, North Carolina           0.6195137405%
                  NC98          Scotland County, North Carolina          0.4491482742%
                  NC99          Stanly County, North Carolina            0.7249742086%
                  NC100         Stokes County, North Carolina            0.6239531124%
                  NC101         Surry County, North Carolina             1.4108267061%
                  NC102         Swain County, North Carolina             0.2811629286%
                  NC103         Transylvania County, North Carolina      0.4975955095%
                  NC104         Tyrrell County, North Carolina           0.0414409072%
                  NC105         Union County, North Carolina             1.4667026799%
                  NC106         Vance County, North Carolina             0.5362582553%
                  NC107         Wake County, North Carolina              4.9024556672%
                  NC108         Warren County, North Carolina            0.1063905835%
                  NC109         Washington County, North Carolina        0.0747707205%
                  NC110         Watauga County, North Carolina           0.4696757999%
                  NC111         Wayne County, North Carolina             0.9706993331%
                  NC112         Wilkes County, North Carolina            1.9971771606%
                  NC113         Wilmington City, North Carolina          0.1194974940%
                  NC114         Wilson County, North Carolina            0.6464708415%
                  NC115         Winston-Salem City, North Carolina       0.4944599238%
                  NC116         Yadkin County, North Carolina            0.5621471451%
                  NC117         Yancey County, North Carolina            0.3821149769%




  Strictly Confidential
  Subject to Protective Order
                                                   G-154                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 292 of 611. PageID #: 572576
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                   ND1          Adams County, North Dakota              0.3266859369%
                   ND2          Barnes County, North Dakota             1.1596409120%
                   ND3          Benson County, North Dakota             0.8243618844%
                   ND4          Billings County, North Dakota           0.0531198558%
                   ND5          Bismarck City, North Dakota             7.8720018475%
                   ND6          Bottineau County, North Dakota          0.6564106964%
                   ND7          Bowman County, North Dakota             0.3537618912%
                   ND8          Burke County, North Dakota              0.1340272238%
                   ND9          Burleigh County, North Dakota           5.9258321732%
                  ND10          Cass County, North Dakota               9.2593207065%
                  ND11          Cavalier County, North Dakota           0.4775832577%
                  ND12          Devils Lake City, North Dakota          0.3622623619%
                  ND13          Dickey County, North Dakota             0.6064663883%
                  ND14          Dickinson City, North Dakota            1.0573324109%
                  ND15          Divide County, North Dakota             0.1925705034%
                  ND16          Dunn County, North Dakota               0.5017615248%
                  ND17          Eddy County, North Dakota               0.2227970127%
                  ND18          Emmons County, North Dakota             0.7218887252%
                  ND19          Fargo City, North Dakota               12.8639966005%
                  ND20          Foster County, North Dakota             0.3938546507%
                  ND21          Golden Valley County, North Dakota      0.2278631874%
                  ND22          Grand Forks City, North Dakota          7.1999971538%
                  ND23          Grand Forks County, North Dakota        5.4639296523%
                  ND24          Grant County, North Dakota              0.2093626818%
                  ND25          Griggs County, North Dakota             0.2073426807%
                  ND26          Hettinger County, North Dakota          0.2096684753%
                  ND27          Jamestown City, North Dakota            0.7024664288%
                  ND28          Kidder County, North Dakota             0.3074782839%
                  ND29          La Moure County, North Dakota           0.3036088203%
                  ND30          Lisbon City, North Dakota               0.1372424658%
                  ND31          Logan County, North Dakota              0.1641331799%
                  ND32          Mandan City, North Dakota               1.1262932510%
                  ND33          McHenry County, North Dakota            0.3973374621%
                  ND34          McIntosh County, North Dakota           0.2870077627%
                  ND35          McKenzie County, North Dakota           1.2312553926%
                  ND36          McLean County, North Dakota             1.1384661837%
                  ND37          Mercer County, North Dakota             1.1241071216%
                  ND38          Minot City, North Dakota                2.8909627339%
                  ND39          Morton County, North Dakota             2.6703636118%
                  ND40          Mountrail County, North Dakota          1.1142893867%
                  ND41          Nelson County, North Dakota             0.4740975060%
                  ND42          Oliver County, North Dakota             0.2228234756%
                  ND43          Pembina County, North Dakota            1.2530005434%
                  ND44          Pierce County, North Dakota             0.7284574044%
                  ND45          Ramsey County, North Dakota             1.2734343106%
  Strictly Confidential
  Subject to Protective Order
                                                  G-155                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 293 of 611. PageID #: 572577
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  ND46          Ransom County, North Dakota         0.6183673413%
                  ND47          Renville County, North Dakota       0.2860845016%
                  ND48          Richland County, North Dakota       2.4309493698%
                  ND49          Rolette County, North Dakota        1.8198034592%
                  ND50          Sargent County, North Dakota        0.5773674924%
                  ND51          Sheridan County, North Dakota       0.0895886685%
                  ND52          Sioux County, North Dakota          0.6666209643%
                  ND53          Slope County, North Dakota          0.0470907257%
                  ND54          Stark County, North Dakota          3.3526741338%
                  ND55          Steele County, North Dakota         0.2434939387%
                  ND56          Stutsman County, North Dakota       1.9758860377%
                  ND57          Towner County, North Dakota         0.1807489391%
                  ND58          Traill County, North Dakota         1.0587643476%
                  ND59          Walsh County, North Dakota          2.0521094729%
                  ND60          Ward County, North Dakota           3.4849842097%
                  ND61          Wells County, North Dakota          0.4346604383%
                  ND62          West Fargo City, North Dakota       1.8417059171%
                  ND63          Williams County, North Dakota       2.3067369406%
                  ND64          Williston City, North Dakota        1.5016973817%




  Strictly Confidential
  Subject to Protective Order
                                                  G-156             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 294 of 611. PageID #: 572578
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                   OH1          Aberdeen Village, Ohio                    0.0087437716%
                   OH2          Ada Village, Ohio                         0.0077636351%
                   OH3          Adams County, Ohio                        0.3473544585%
                   OH4          Adams Township, Champaign County,         0.0001374611%
                                Ohio
                   OH5          Adams Township, Clinton County, Ohio      0.0003122525%
                   OH6          Adams Township, Darke County, Ohio        0.0016731027%
                   OH7          Adams Township, Monroe County, Ohio       0.0000311703%
                   OH8          Adams Township, Muskingum County,         0.0001003092%
                                Ohio
                  OH9           Adams Township, Seneca County, Ohio       0.0003810303%
                  OH10          Adams Township, Washington County,        0.0001169753%
                                Ohio
                  OH11          Adamsville Village, Ohio                  0.0000910884%
                  OH12          Addyston Village, Ohio                    0.0025217854%
                  OH13          Adelphi Village, Ohio                     0.0020068066%
                  OH14          Adena Village, Ohio                       0.0003568983%
                  OH15          Aid Township, Ohio                        0.0003303244%
                  OH16          Akron City, Ohio                          0.8812077621%
                  OH17          Albany Village, Ohio                      0.0019488925%
                  OH18          Alexander Township, Ohio                  0.0001250626%
                  OH19          Alexandria Village, Ohio                  0.0005560173%
                  OH20          Alger Village, Ohio                       0.0005166462%
                  OH21          Allen County, Ohio                        0.4092999560%
                  OH22          Allen Township, Darke County, Ohio        0.0006643202%
                  OH23          Allen Township, Hancock County, Ohio      0.0005903230%
                  OH24          Allen Township, Ottawa County, Ohio       0.0005976710%
                  OH25          Allen Township, Union County, Ohio        0.0028518922%
                  OH26          Alliance City, Ohio                       0.0889490116%
                  OH27          Amanda Township, Fairfield County,        0.0018577114%
                                Ohio
                  OH28          Amanda Township, Hancock County,          0.0001616361%
                                Ohio
                  OH29          Amanda Village, Ohio                      0.0005782400%
                  OH30          Amberley Village, Ohio                    0.0192140009%
                  OH31          Amboy Township, Ohio                      0.0017244001%
                  OH32          Amelia Village, Ohio                      0.0138770427%
                  OH33          American Township, Ohio                   0.0193901533%
                  OH34          Ames Township, Ohio                       0.0004272973%
                  OH35          Amesville Village, Ohio                   0.0000937970%
                  OH36          Amherst City, Ohio                        0.0344767089%
                  OH37          Amherst Township, Ohio                    0.0134400730%
                  OH38          Amsterdam Village, Ohio                   0.0003984552%
                  OH39          Anderson Township, Ohio                   0.0760877775%
                  OH40          Andover Township, Ohio                    0.0010566751%
  Strictly Confidential
  Subject to Protective Order
                                                  G-157                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 295 of 611. PageID #: 572579
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  OH41          Andover Village, Ohio                      0.0040505880%
                  OH42          Anna Village, Ohio                         0.0028751504%
                  OH43          Ansonia Village, Ohio                      0.0014885693%
                  OH44          Antioch Village, Ohio                      0.0000311703%
                  OH45          Antwerp Village, Ohio                      0.0009282725%
                  OH46          Apple Creek Village, Ohio                  0.0004832518%
                  OH47          Aquilla Village, Ohio                      0.0000095709%
                  OH48          Arcadia Village, Ohio                      0.0000210830%
                  OH49          Arcanum Village, Ohio                      0.0034200188%
                  OH50          Archbold Village, Ohio                     0.0168893369%
                  OH51          Arlington Heights Village, Ohio            0.0024048815%
                  OH52          Arlington Village, Ohio                    0.0017280808%
                  OH53          Ashland City, Ohio                         0.0677959091%
                  OH54          Ashland County, Ohio                       0.2064379332%
                  OH55          Ashley Village, Ohio                       0.0012125812%
                  OH56          Ashtabula City, Ohio                       0.0931048204%
                  OH57          Ashtabula County, Ohio                     0.7429130666%
                  OH58          Ashtabula Township, Ohio                   0.0174821031%
                  OH59          Ashville Village, Ohio                     0.0024582550%
                  OH60          Athalia Village, Ohio                      0.0000173855%
                  OH61          Athens City, Ohio                          0.0700871751%
                  OH62          Athens County, Ohio                        0.4584170235%
                  OH63          Athens Township, Athens County, Ohio       0.0025846274%
                  OH64          Athens Township, Harrison County,          0.0003148983%
                                Ohio
                  OH65          Attica Village, Ohio                       0.0007921419%
                  OH66          Atwater Township, Ohio                     0.0004753019%
                  OH67          Auburn Township, Crawford County,          0.0007613308%
                                Ohio
                  OH68          Auburn Township, Geauga County, Ohio       0.0067953249%
                  OH69          Auburn Township, Tuscarawas County,        0.0000098536%
                                Ohio
                  OH70          Auglaize County, Ohio                      0.1648586210%
                  OH71          Auglaize Township, Allen County, Ohio      0.0010226874%
                  OH72          Auglaize Township, Paulding County,        0.0000730923%
                                Ohio
                  OH73          Augusta Township, Ohio                     0.0004684152%
                  OH74          Aurelius Township, Ohio                    0.0000083554%
                  OH75          Aurora City, Ohio                          0.0294524674%
                  OH76          Austinburg Township, Ohio                  0.0004813742%
                  OH77          Austintown Township, Ohio                  0.0890063352%
                  OH78          Avon City, Ohio                            0.0729757005%
                  OH79          Avon Lake City, Ohio                       0.0663140992%
                  OH80          Bailey Lakes Village, Ohio                 0.0000813388%
                  OH81          Bainbridge Township, Ohio                  0.0406379571%
  Strictly Confidential
  Subject to Protective Order
                                                  G-158                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 296 of 611. PageID #: 572580
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  OH82          Bainbridge Village, Ohio                0.0022724133%
                  OH83          Bairdstown Village, Ohio                0.0000612234%
                  OH84          Ballville Township, Ohio                0.0021521086%
                  OH85          Baltic Village, Ohio                    0.0009410120%
                  OH86          Baltimore Village, Ohio                 0.0031532207%
                  OH87          Barberton City, Ohio                    0.1164193916%
                  OH88          Barlow Township, Ohio                   0.0003258598%
                  OH89          Barnesville Village, Ohio               0.0106861443%
                  OH90          Barnhill Village, Ohio                  0.0006601909%
                  OH91          Bartlow Township, Ohio                  0.0001082864%
                  OH92          Batavia Township, Ohio                  0.0000517157%
                  OH93          Batavia Village, Ohio                   0.0047750818%
                  OH94          Batesville Village, Ohio                0.0000517432%
                  OH95          Bath Township, Allen County, Ohio       0.0088564730%
                  OH96          Bath Township, Greene County, Ohio      0.0001754181%
                  OH97          Bath Township, Summit County, Ohio      0.0489522386%
                  OH98          Baughman Township, Ohio                 0.0001353105%
                  OH99          Bay Township, Ohio                      0.0000549583%
                  OH100         Bay View Village, Ohio                  0.0012986334%
                  OH101         Bay Village City, Ohio                  0.0295102794%
                  OH102         Bazetta Township, Ohio                  0.0331455317%
                  OH103         Beach City Village, Ohio                0.0006531299%
                  OH104         Beachwood City, Ohio                    0.0573216138%
                  OH105         Beallsville Village, Ohio               0.0001580913%
                  OH106         Bearfield Township, Ohio                0.0005486478%
                  OH107         Beaver Township, Mahoning County,       0.0148139167%
                                Ohio
                 OH108          Beaver Township, Pike County, Ohio      0.0003380168%
                 OH109          Beaver Village, Ohio                    0.0001859093%
                 OH110          Beavercreek City, Ohio                  0.0843658046%
                 OH111          Beavercreek Township, Ohio              0.1348759090%
                 OH112          Beaverdam Village, Ohio                 0.0000749971%
                 OH113          Bedford City, Ohio                      0.0429793572%
                 OH114          Bedford Heights City, Ohio              0.0386687782%
                 OH115          Bedford Township, Ohio                  0.0000306151%
                 OH116          Bellaire Village, Ohio                  0.0010264323%
                 OH117          Bellbrook City, Ohio                    0.0237949542%
                 OH118          Belle Center Village, Ohio              0.0005231767%
                 OH119          Belle Valley Village, Ohio              0.0001073626%
                 OH120          Bellefontaine City, Ohio                0.0729400123%
                 OH121          Bellevue City, Ohio                     0.0299834456%
                 OH122          Bellville Village, Ohio                 0.0011239941%
                 OH123          Belmont County, Ohio                    0.4904799617%
                 OH124          Belmont Village, Ohio                   0.0011248573%
                 OH125          Belmore Village, Ohio                   0.0002483511%
  Strictly Confidential
  Subject to Protective Order
                                                  G-159                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 297 of 611. PageID #: 572581
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                  OH126         Beloit Village, Ohio                      0.0037587550%
                  OH127         Belpre City, Ohio                         0.0099429019%
                  OH128         Belpre Township, Ohio                     0.0009358025%
                  OH129         Bennington Township, Licking County,      0.0005560173%
                                Ohio
                 OH130          Bennington Township, Morrow County,       0.0001476031%
                                Ohio
                 OH131          Bentleyville Village, Ohio                0.0019992236%
                 OH132          Benton Ridge Village, Ohio                0.0000914068%
                 OH133          Benton Township, Hocking County,          0.0001089904%
                                Ohio
                 OH134          Benton Township, Ottawa County, Ohio      0.0007968947%
                 OH135          Benton Township, Paulding County,         0.0002485139%
                                Ohio
                 OH136          Benton Township, Pike County, Ohio        0.0003718185%
                 OH137          Berea City, Ohio                          0.0293403849%
                 OH138          Bergholz Village, Ohio                    0.0002390731%
                 OH139          Berkey Village, Ohio                      0.0003639406%
                 OH140          Berkshire Township, Ohio                  0.0000742397%
                 OH141          Berlin Heights Village, Ohio              0.0009142379%
                 OH142          Berlin Township, Delaware County,         0.0000164977%
                                Ohio
                 OH143          Berlin Township, Erie County, Ohio        0.0001350579%
                 OH144          Berlin Township, Holmes County, Ohio      0.0000814306%
                 OH145          Berlin Township, Mahoning County,         0.0014985886%
                                Ohio
                 OH146          Bern Township, Ohio                       0.0001354845%
                 OH147          Berne Township, Ohio                      0.0001629571%
                 OH148          Bethel Township, Clark County, Ohio       0.0138134025%
                 OH149          Bethel Township, Monroe County, Ohio      0.0000498724%
                 OH150          Bethel Village, Ohio                      0.0057576798%
                 OH151          Bethesda Village, Ohio                    0.0006889751%
                 OH152          Bethlehem Township, Coshocton             0.0000765378%
                                County, Ohio
                 OH153          Bethlehem Township, Stark County,         0.0015140738%
                                Ohio
                 OH154          Bettsville Village, Ohio                  0.0009525757%
                 OH155          Beverly Village, Ohio                     0.0019551589%
                 OH156          Bexley City, Ohio                         0.0458668476%
                 OH157          Big Island Township, Ohio                 0.0005578783%
                 OH158          Black Creek Township, Ohio                0.0001534027%
                 OH159          Blakeslee Village, Ohio                   0.0000628635%
                 OH160          Blanchard Township, Hancock County,       0.0001475808%
                                Ohio


  Strictly Confidential
  Subject to Protective Order
                                                  G-160                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 298 of 611. PageID #: 572582
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  OH161         Blanchard Township, Putnam County,        0.0006457128%
                                Ohio
                 OH162          Blanchester Village, Ohio                 0.0114641267%
                 OH163          Blendon Township, Ohio                    0.0282639366%
                 OH164          Bloom Township, Fairfield County,         0.0118551321%
                                Ohio
                 OH165          Bloom Township, Morgan County, Ohio       0.0001713719%
                 OH166          Bloom Township, Scioto County, Ohio       0.0000852977%
                 OH167          Bloom Township, Seneca County, Ohio       0.0009926842%
                 OH168          Bloomdale Village, Ohio                   0.0005693772%
                 OH169          Bloomfield Township, Jackson County,      0.0013260530%
                                Ohio
                 OH170          Bloomfield Township, Logan County,        0.0000099754%
                                Ohio
                 OH171          Bloomingburg Village, Ohio                0.0002078369%
                 OH172          Bloomingdale Village, Ohio                0.0002231349%
                 OH173          Bloominggrove Township, Ohio              0.0001784118%
                 OH174          Bloomville Village, Ohio                  0.0004411930%
                 OH175          Blue Ash City, Ohio                       0.0851895858%
                 OH176          Blue Creek Township, Ohio                 0.0000767469%
                 OH177          Blue Rock Township, Ohio                  0.0001103402%
                 OH178          Bluffton Village, Ohio                    0.0052836661%
                 OH179          Boardman Township, Ohio                   0.1408673271%
                 OH180          Bokescreek Township, Ohio                 0.0013367015%
                 OH181          Bolivar Village, Ohio                     0.0004434118%
                 OH182          Boston Heights Village, Ohio              0.0077201699%
                 OH183          Boston Township, Ohio                     0.0003662503%
                 OH184          Botkins Village, Ohio                     0.0019522626%
                 OH185          Bowerston Village, Ohio                   0.0000572542%
                 OH186          Bowersville Village, Ohio                 0.0000916319%
                 OH187          Bowling Green City, Ohio                  0.0752741164%
                 OH188          Bowling Green Township, Ohio              0.0000370678%
                 OH189          Braceville Township, Ohio                 0.0037680877%
                 OH190          Bradford Village, Ohio                    0.0028661348%
                 OH191          Bradner Village, Ohio                     0.0009183503%
                 OH192          Brady Lake Village, Ohio                  0.0002559318%
                 OH193          Brady Township, Ohio                      0.0005029083%
                 OH194          Bratenahl Village, Ohio                   0.0051323943%
                 OH195          Bratton Township, Ohio                    0.0000790580%
                 OH196          Brecksville City, Ohio                    0.0241013127%
                 OH197          Bremen Village, Ohio                      0.0006844200%
                 OH198          Brewster Village, Ohio                    0.0058880648%
                 OH199          Brice Village, Ohio                       0.0005574892%
                 OH200          Bridgeport Village, Ohio                  0.0050477971%
                 OH201          Bridgewater Township, Ohio                0.0004164709%
  Strictly Confidential
  Subject to Protective Order
                                                  G-161                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 299 of 611. PageID #: 572583
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  OH202         Brighton Township, Ohio                    0.0000194784%
                  OH203         Brimfield Township, Ohio                   0.0111960000%
                  OH204         Bristol Township, Morgan County, Ohio      0.0001285289%
                  OH205         Bristol Township, Trumbull County,         0.0252513027%
                                Ohio
                 OH206          Broadview Heights City, Ohio               0.0226789401%
                 OH207          Bronson Township, Ohio                     0.0009334281%
                 OH208          Brook Park City, Ohio                      0.0389572037%
                 OH209          Brookfield Township, Noble County,         0.0000517432%
                                Ohio
                 OH210          Brookfield Township, Trumbull County,      0.0346459468%
                                Ohio
                 OH211          Brooklyn City, Ohio                        0.0212407634%
                 OH212          Brooklyn Heights Village, Ohio             0.0100909430%
                 OH213          Brookside Village, Ohio                    0.0001124857%
                 OH214          Brookville City, Ohio                      0.0216648650%
                 OH215          Broughton Village, Ohio                    0.0000073092%
                 OH216          Brown County, Ohio                         0.4653422837%
                 OH217          Brown Township, Carroll County, Ohio       0.0009477238%
                 OH218          Brown Township, Darke County, Ohio         0.0007873425%
                 OH219          Brown Township, Delaware County,           0.0000082489%
                                Ohio
                 OH220          Brown Township, Franklin County, Ohio      0.0003894787%
                 OH221          Brown Township, Knox County, Ohio          0.0039027192%
                 OH222          Brown Township, Miami County, Ohio         0.0006132702%
                 OH223          Brown Township, Paulding County,           0.0001315662%
                                Ohio
                 OH224          Brown Township, Vinton County, Ohio        0.0000390135%
                 OH225          Brunswick City, Ohio                       0.1197413086%
                 OH226          Brunswick Hills Township, Ohio             0.0200631640%
                 OH227          Brush Creek Township, Jefferson            0.0001275057%
                                County, Ohio
                 OH228          Brush Creek Township, Scioto County,       0.0011088700%
                                Ohio
                 OH229          Brushcreek Township, Ohio                  0.0059850824%
                 OH230          Bryan City, Ohio                           0.0285400457%
                 OH231          Buchtel Village, Ohio                      0.0001849243%
                 OH232          Buckeye Lake Village, Ohio                 0.0040562680%
                 OH233          Buckland Village, Ohio                     0.0001068314%
                 OH234          Bucks Township, Ohio                       0.0002857543%
                 OH235          Bucyrus City, Ohio                         0.0467130847%
                 OH236          Bucyrus Township, Ohio                     0.0002175231%
                 OH237          Buffalo Township, Ohio                     0.0000689910%
                 OH238          Burbank Village, Ohio                      0.0001559017%
                 OH239          Burgoon Village, Ohio                      0.0001532454%

  Strictly Confidential
  Subject to Protective Order
                                                  G-162                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 300 of 611. PageID #: 572584
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  OH240         Burkettsville Village, Ohio                 0.0000203512%
                  OH241         Burlington Township, Ohio                   0.0012973736%
                  OH242         Burton Township, Ohio                       0.0022682986%
                  OH243         Burton Village, Ohio                        0.0036177927%
                  OH244         Butler County, Ohio                         2.6887406714%
                  OH245         Butler Township, Columbiana County,         0.0017704304%
                                Ohio
                 OH246          Butler Township, Darke County, Ohio         0.0006643202%
                 OH247          Butler Township, Mercer County, Ohio        0.0021025197%
                 OH248          Butler Township, Montgomery County,         0.0308007959%
                                Ohio
                 OH249          Butler Township, Richland County, Ohio      0.0003925059%
                 OH250          Butler Village, Ohio                        0.0004817118%
                 OH251          Butlerville Village, Ohio                   0.0001866800%
                 OH252          Byesville Village, Ohio                     0.0018493145%
                 OH253          Byrd Township, Ohio                         0.0018293707%
                 OH254          Cadiz Township, Ohio                        0.0013359320%
                 OH255          Cadiz Village, Ohio                         0.0042081859%
                 OH256          Caesarscreek Township, Ohio                 0.0004643421%
                 OH257          Cairo Village, Ohio                         0.0000409075%
                 OH258          Caldwell Village, Ohio                      0.0017937650%
                 OH259          Caledonia Village, Ohio                     0.0007098142%
                 OH260          Cambridge City, Ohio                        0.0668200845%
                 OH261          Cambridge Township, Ohio                    0.0000951853%
                 OH262          Camden Township, Ohio                       0.0003116539%
                 OH263          Camden Village, Ohio                        0.0031099397%
                 OH264          Camp Creek Township, Ohio                   0.0001943597%
                 OH265          Campbell City, Ohio                         0.0206854359%
                 OH266          Canaan Township, Morrow County,             0.0000885618%
                                Ohio
                 OH267          Canaan Township, Wayne County, Ohio         0.0002435589%
                 OH268          Canal Fulton City, Ohio                     0.0143391696%
                 OH269          Canal Winchester City, Ohio                 0.0017001990%
                 OH270          Canfield City, Ohio                         0.0340253310%
                 OH271          Canfield Township, Ohio                     0.0024198521%
                 OH272          Canton City, Ohio                           0.4906093929%
                 OH273          Canton Township, Ohio                       0.0238293446%
                 OH274          Cardington Village, Ohio                    0.0026450469%
                 OH275          Carey Village, Ohio                         0.0048237347%
                 OH276          Carlisle Township, Ohio                     0.0046455904%
                 OH277          Carlisle Village, Ohio                      0.0081658806%
                 OH278          Carroll County, Ohio                        0.1274960868%
                 OH279          Carroll Township, Ohio                      0.0031394902%
                 OH280          Carroll Village, Ohio                       0.0008718207%
                 OH281          Carrollton Village, Ohio                    0.0061329714%
  Strictly Confidential
  Subject to Protective Order
                                                   G-163                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 301 of 611. PageID #: 572585
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  OH282         Carryall Township, Ohio                    0.0000511646%
                  OH283         Carthage Township, Ohio                    0.0002397033%
                  OH284         Cass Township, Muskingum County,           0.0002006185%
                                Ohio
                 OH285          Cass Township, Richland County, Ohio       0.0007850118%
                 OH286          Casstown Village, Ohio                     0.0005337723%
                 OH287          Castalia Village, Ohio                     0.0011427974%
                 OH288          Castine Village, Ohio                      0.0005289957%
                 OH289          Catawba Island Township, Ohio              0.0060247984%
                 OH290          Catawba Village, Ohio                      0.0002313575%
                 OH291          Cecil Village, Ohio                        0.0000109638%
                 OH292          Cedarville Township, Ohio                  0.0036837809%
                 OH293          Cedarville Village, Ohio                   0.0036321873%
                 OH294          Celina City, Ohio                          0.0165674940%
                 OH295          Center Township, Carroll County, Ohio      0.0001634007%
                 OH296          Center Township, Columbiana County,        0.0003327877%
                                Ohio
                 OH297          Center Township, Guernsey County,          0.0001903706%
                                Ohio
                 OH298          Center Township, Mercer County, Ohio       0.0004241134%
                 OH299          Center Township, Monroe County, Ohio       0.0005361288%
                 OH300          Center Township, Morgan County, Ohio       0.0000535537%
                 OH301          Center Township, Noble County, Ohio        0.0001724774%
                 OH302          Center Township, Williams County,          0.0005107662%
                                Ohio
                 OH303          Center Township, Wood County, Ohio         0.0002510158%
                 OH304          Centerburg Village, Ohio                   0.0041342364%
                 OH305          Centerville City, Ohio                     0.0591550598%
                 OH306          Centerville Village, Ohio                  0.0005060807%
                 OH307          Cessna Township, Ohio                      0.0001110677%
                 OH308          Chagrin Falls Township, Ohio               0.0000039510%
                 OH309          Chagrin Falls Village, Ohio                0.0125168784%
                 OH310          Champaign County, Ohio                     0.2269483026%
                 OH311          Champion Township, Ohio                    0.0283714840%
                 OH312          Chardon City, Ohio                         0.0479405386%
                 OH313          Chardon Township, Ohio                     0.0039336317%
                 OH314          Charlestown Township, Ohio                 0.0000121872%
                 OH315          Chatfield Township, Ohio                   0.0008265878%
                 OH316          Chatfield Village, Ohio                    0.0000870092%
                 OH317          Chatham Township, Ohio                     0.0003778818%
                 OH318          Chauncey Village, Ohio                     0.0000833751%
                 OH319          Cherry Fork Village, Ohio                  0.0004264208%
                 OH320          Cherry Valley Township, Ohio               0.0004696334%
                 OH321          Chesapeake Village, Ohio                   0.0021905725%
                 OH322          Cheshire Township, Ohio                    0.0010496489%
  Strictly Confidential
  Subject to Protective Order
                                                  G-164                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 302 of 611. PageID #: 572586
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  OH323         Cheshire Village, Ohio                      0.0001686936%
                  OH324         Chester Township, Clinton County, Ohio      0.0019181224%
                  OH325         Chester Township, Geauga County, Ohio       0.0252766944%
                  OH326         Chester Township, Morrow County,            0.0005136587%
                                Ohio
                 OH327          Chester Township, Wayne County, Ohio        0.0004213956%
                 OH328          Chesterhill Village, Ohio                   0.0000958805%
                 OH329          Chesterville Village, Ohio                  0.0000531371%
                 OH330          Cheviot City, Ohio                          0.0177109500%
                 OH331          Chickasaw Village, Ohio                     0.0003251707%
                 OH332          Chillicothe City, Ohio                      0.3116747707%
                 OH333          Chilo Village, Ohio                         0.0001537865%
                 OH334          Chippewa Lake Village, Ohio                 0.0005077787%
                 OH335          Chippewa Township, Ohio                     0.0025863636%
                 OH336          Christiansburg Village, Ohio                0.0002537744%
                 OH337          Cincinnati City, Ohio                       1.9225774768%
                 OH338          Circleville City, Ohio                      0.3452050773%
                 OH339          Circleville Township, Ohio                  0.0006412839%
                 OH340          Claibourne Township, Ohio                   0.0000211028%
                 OH341          Claridon Township, Ohio                     0.0025745668%
                 OH342          Clarington Village, Ohio                    0.0000498724%
                 OH343          Clark County, Ohio                          1.2151983585%
                 OH344          Clark Township, Brown County, Ohio          0.0053640868%
                 OH345          Clark Township, Clinton County, Ohio        0.0010928837%
                 OH346          Clarksburg Village, Ohio                    0.0000295119%
                 OH347          Clarksfield Township, Ohio                  0.0007412517%
                 OH348          Clarksville Village, Ohio                   0.0004237712%
                 OH349          Clay Center Village, Ohio                   0.0000618280%
                 OH350          Clay Township, Auglaize County, Ohio        0.0004451307%
                 OH351          Clay Township, Highland County, Ohio        0.0003613635%
                 OH352          Clay Township, Montgomery County,           0.0058148642%
                                Ohio
                 OH353          Clay Township, Muskingum County,            0.0004012369%
                                Ohio
                 OH354          Clay Township, Ottawa County, Ohio          0.0026311263%
                 OH355          Clay Township, Scioto County, Ohio          0.0064826249%
                 OH356          Clay Township, Tuscarawas County,           0.0000492680%
                                Ohio
                 OH357          Clayton City, Ohio                          0.0375148659%
                 OH358          Clayton Township, Ohio                      0.0004303120%
                 OH359          Clear Creek Township, Ohio                  0.0874295648%
                 OH360          Clearcreek Township, Ohio                   0.0010918129%
                 OH361          Clermont County, Ohio                       1.9148422650%
                 OH362          Cleveland City, Ohio                        1.8006406770%
                 OH363          Cleveland Heights City, Ohio                0.0861404621%
  Strictly Confidential
  Subject to Protective Order
                                                   G-165                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 303 of 611. PageID #: 572587
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  OH364         Cleves Village, Ohio                       0.0031981583%
                  OH365         Clifton Village, Ohio                      0.0002996729%
                  OH366         Clinton County, Ohio                       0.4003299792%
                  OH367         Clinton Township, Franklin County,         0.0107832149%
                                Ohio
                 OH368          Clinton Township, Fulton County, Ohio      0.0006481787%
                 OH369          Clinton Township, Seneca County, Ohio      0.0007420064%
                 OH370          Clinton Township, Shelby County, Ohio      0.0005501831%
                 OH371          Clinton Township, Vinton County, Ohio      0.0002860993%
                 OH372          Clinton Township, Wayne County, Ohio       0.0001933007%
                 OH373          Clinton Village, Ohio                      0.0011373034%
                 OH374          Cloverdale Village, Ohio                   0.0001986809%
                 OH375          Clyde City, Ohio                           0.0219912947%
                 OH376          Coal Grove Village, Ohio                   0.0050070228%
                 OH377          Coal Township, Jackson County, Ohio        0.0004972699%
                 OH378          Coal Township, Perry County, Ohio          0.0003550074%
                 OH379          Coalton Village, Ohio                      0.0024310971%
                 OH380          Coitsville Township, Ohio                  0.0048028536%
                 OH381          Coldwater Village, Ohio                    0.0054593322%
                 OH382          Colerain Township, Belmont County,         0.0006046108%
                                Ohio
                 OH383          Colerain Township, Hamilton County,        0.1398087860%
                                Ohio
                 OH384          College Corner Village, Ohio               0.0022611881%
                 OH385          College Township, Ohio                     0.0028608916%
                 OH386          Columbia Township, Hamilton County,        0.0091268592%
                                Ohio
                 OH387          Columbia Township, Lorain County,          0.0044508068%
                                Ohio
                 OH388          Columbia Township, Meigs County,           0.0000676625%
                                Ohio
                 OH389          Columbiana City, Ohio                      0.0212455929%
                 OH390          Columbiana County, Ohio                    0.6832396894%
                 OH391          Columbus City, Ohio                        4.0358741733%
                 OH392          Columbus Grove Village, Ohio               0.0013907661%
                 OH393          Commercial Point Village, Ohio             0.0008841945%
                 OH394          Concord Township, Delaware County,         0.0132064120%
                                Ohio
                 OH395          Concord Township, Fayette County,          0.0003201811%
                                Ohio
                 OH396          Concord Township, Highland County,         0.0000677557%
                                Ohio
                 OH397          Concord Township, Lake County, Ohio        0.0329119594%
                 OH398          Concord Township, Miami County, Ohio       0.0048266640%
                 OH399          Concord Township, Ross County, Ohio        0.0034233759%

  Strictly Confidential
  Subject to Protective Order
                                                  G-166                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 304 of 611. PageID #: 572588
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  OH400         Conesville Village, Ohio                   0.0001949904%
                  OH401         Congress Township, Morrow County,          0.0000354247%
                                Ohio
                 OH402          Congress Township, Wayne County,           0.0000386601%
                                Ohio
                 OH403          Congress Village, Ohio                     0.0001394121%
                 OH404          Conneaut City, Ohio                        0.0500864015%
                 OH405          Continental Village, Ohio                  0.0013742094%
                 OH406          Convoy Village, Ohio                       0.0015735393%
                 OH407          Coolville Village, Ohio                    0.0002918128%
                 OH408          Copley Township, Ohio                      0.0644889601%
                 OH409          Corning Village, Ohio                      0.0010865378%
                 OH410          Cortland City, Ohio                        0.0349699000%
                 OH411          Corwin Village, Ohio                       0.0004993129%
                 OH412          Coshocton City, Ohio                       0.0177337984%
                 OH413          Coshocton County, Ohio                     0.1889793769%
                 OH414          Coventry Township, Ohio                    0.0112670146%
                 OH415          Covington Village, Ohio                    0.0077226624%
                 OH416          Craig Beach Village, Ohio                  0.0004176394%
                 OH417          Cranberry Township, Ohio                   0.0001631423%
                 OH418          Crane Township, Paulding County, Ohio      0.0001169477%
                 OH419          Crane Township, Wyandot County, Ohio       0.0005667045%
                 OH420          Crawford County, Ohio                      0.2595376809%
                 OH421          Crawford Township, Coshocton County,       0.0002372670%
                                Ohio
                 OH422          Crawford Township, Wyandot County,         0.0001079437%
                                Ohio
                 OH423          Crestline Village, Ohio                    0.0166501207%
                 OH424          Creston Village, Ohio                      0.0007596505%
                 OH425          Cridersville Village, Ohio                 0.0045581388%
                 OH426          Crooksville Village, Ohio                  0.0043353934%
                 OH427          Crosby Township, Ohio                      0.0044757516%
                 OH428          Cross Creek Township, Ohio                 0.0061202713%
                 OH429          Crown City Village, Ohio                   0.0005435682%
                 OH430          Cumberland Village, Ohio                   0.0007050617%
                 OH431          Custar Village, Ohio                       0.0000244893%
                 OH432          Cuyahoga Falls City, Ohio                  0.1811685822%
                 OH433          Cuyahoga Heights Village, Ohio             0.0193798260%
                 OH434          Cygnet Village, Ohio                       0.0002510158%
                 OH435          Cynthian Township, Ohio                    0.0000266218%
                 OH436          Dallas Township, Ohio                      0.0001522662%
                 OH437          Dalton Village, Ohio                       0.0011945985%
                 OH438          Damascus Township, Ohio                    0.0007850761%
                 OH439          Danbury Township, Ohio                     0.0038539475%
                 OH440          Danville Village, Ohio                     0.0021828768%
  Strictly Confidential
  Subject to Protective Order
                                                  G-167                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 305 of 611. PageID #: 572589
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  OH441         Darby Township, Madison County, Ohio       0.0011346056%
                  OH442         Darby Township, Union County, Ohio         0.0004220559%
                  OH443         Darbyville Village, Ohio                   0.0000242911%
                  OH444         Darke County, Ohio                         0.2651621760%
                  OH445         Dayton City, Ohio                          1.3353086202%
                  OH446         De Graff Village, Ohio                     0.0013067754%
                  OH447         Decatur Township, Lawrence County,         0.0001043130%
                                Ohio
                 OH448          Decatur Township, Washington County,       0.0001169753%
                                Ohio
                 OH449          Deer Park City, Ohio                       0.0107468140%
                 OH450          Deercreek Township, Ohio                   0.0004275226%
                 OH451          Deerfield Township, Portage County,        0.0008693556%
                                Ohio
                 OH452          Deerfield Township, Ross County, Ohio      0.0015346168%
                 OH453          Deerfield Township, Warren County,         0.1151454582%
                                Ohio
                 OH454          Deersville Village, Ohio                   0.0000209231%
                 OH455          Defiance City, Ohio                        0.0658767007%
                 OH456          Defiance County, Ohio                      0.1709704524%
                 OH457          Defiance Township, Ohio                    0.0007172505%
                 OH458          Delaware City, Ohio                        0.1151374756%
                 OH459          Delaware County, Ohio                      0.4816174702%
                 OH460          Delaware Township, Defiance County,        0.0015007088%
                                Ohio
                 OH461          Delaware Township, Delaware County,        0.0075064553%
                                Ohio
                 OH462          Delaware Township, Hancock County,         0.0001335254%
                                Ohio
                 OH463          Delhi Township, Ohio                       0.0630446356%
                 OH464          Dellroy Village, Ohio                      0.0002505477%
                 OH465          Delphos City, Ohio                         0.0171051813%
                 OH466          Delta Village, Ohio                        0.0085241620%
                 OH467          Dennison Village, Ohio                     0.0062570335%
                 OH468          Deshler Village, Ohio                      0.0009475056%
                 OH469          Dexter City Village, Ohio                  0.0000689910%
                 OH470          Dillonvale Village, Ohio                   0.0012431801%
                 OH471          Dinsmore Township, Ohio                    0.0004170743%
                 OH472          Dodson Township, Ohio                      0.0105924667%
                 OH473          Donnelsville Village, Ohio                 0.0002721853%
                 OH474          Dorset Township, Ohio                      0.0001174083%
                 OH475          Dover City, Ohio                           0.0416708574%
                 OH476          Dover Township, Athens County, Ohio        0.0005002505%


  Strictly Confidential
  Subject to Protective Order
                                                  G-168                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 306 of 611. PageID #: 572590
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  OH477         Dover Township, Tuscarawas County,        0.0000886824%
                                Ohio
                 OH478          Dover Township, Union County, Ohio        0.0005124965%
                 OH479          Doylestown Village, Ohio                  0.0020721837%
                 OH480          Dresden Village, Ohio                     0.0028086586%
                 OH481          Dublin City, Ohio                         0.0949912950%
                 OH482          Dublin Township, Ohio                     0.0004331371%
                 OH483          Duchouquet Township, Ohio                 0.0010861190%
                 OH484          Dunham Township, Ohio                     0.0004344797%
                 OH485          Dunkirk Village, Ohio                     0.0005233559%
                 OH486          Dupont Village, Ohio                      0.0006622696%
                 OH487          Eagle Township, Brown County, Ohio        0.0090538344%
                 OH488          Eagle Township, Vinton County, Ohio       0.0002210767%
                 OH489          East Canton Village, Ohio                 0.0024838727%
                 OH490          East Cleveland City, Ohio                 0.0558083674%
                 OH491          East Liverpool City, Ohio                 0.0368861843%
                 OH492          East Palestine Village, Ohio              0.0165861370%
                 OH493          East Sparta Village, Ohio                 0.0004354199%
                 OH494          East Union Township, Ohio                 0.0003556733%
                 OH495          Eastlake City, Ohio                       0.0700788770%
                 OH496          Eaton City, Ohio                          0.0615604375%
                 OH497          Eaton Township, Ohio                      0.0004480024%
                 OH498          Eden Township, Licking County, Ohio       0.0004448138%
                 OH499          Eden Township, Seneca County, Ohio        0.0001102982%
                 OH500          Eden Township, Wyandot County, Ohio       0.0000944507%
                 OH501          Edgerton Village, Ohio                    0.0042354308%
                 OH502          Edinburg Township, Ohio                   0.0011740363%
                 OH503          Edison Village, Ohio                      0.0001948360%
                 OH504          Edon Village, Ohio                        0.0013908558%
                 OH505          Eldorado Village, Ohio                    0.0003273621%
                 OH506          Elgin Village, Ohio                       0.0000619504%
                 OH507          Elida Village, Ohio                       0.0011181382%
                 OH508          Elizabeth Township, Lawrence County,      0.0009562023%
                                Ohio
                 OH509          Elizabeth Township, Miami County,         0.0000454274%
                                Ohio
                 OH510          Elk Township, Noble County, Ohio          0.0000344955%
                 OH511          Elk Township, Vinton County, Ohio         0.0002600903%
                 OH512          Elkrun Township, Ohio                     0.0004259682%
                 OH513          Ellsworth Township, Ohio                  0.0001965362%
                 OH514          Elmore Village, Ohio                      0.0016556174%
                 OH515          Elmwood Place Village, Ohio               0.0045008025%
                 OH516          Elyria City, Ohio                         0.2638149975%
                 OH517          Elyria Township, Ohio                     0.0007693955%
                 OH518          Empire Village, Ohio                      0.0010041070%
  Strictly Confidential
  Subject to Protective Order
                                                  G-169                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 307 of 611. PageID #: 572591
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID                Qualifying Subdivision              Allocation
                  OH519         Englewood City, Ohio                         0.0628005329%
                  OH520         Enon Village, Ohio                           0.0038378123%
                  OH521         Erie County, Ohio                            0.4532438208%
                  OH522         Erie Township, Ohio                          0.0006045408%
                  OH523         Euclid City, Ohio                            0.0936790366%
                  OH524         Evendale Village, Ohio                       0.0340357530%
                  OH525         Fairborn City, Ohio                          0.1544298717%
                  OH526         Fairfax Village, Ohio                        0.0079411190%
                  OH527         Fairfield City, Ohio                         0.2893759753%
                  OH528         Fairfield County, Ohio                       0.6244843622%
                  OH529         Fairfield Township, Butler County, Ohio      0.0801075425%
                  OH530         Fairfield Township, Columbiana County,       0.0024759402%
                                Ohio
                 OH531          Fairfield Township, Huron County, Ohio       0.0006726173%
                 OH532          Fairfield Township, Tuscarawas County,       0.0004138510%
                                Ohio
                 OH533          Fairfield Township, Washington County,       0.0000501323%
                                Ohio
                 OH534          Fairlawn City, Ohio                          0.0675346202%
                 OH535          Fairport Harbor Village, Ohio                0.0091069372%
                 OH536          Fairview Park City, Ohio                     0.0218966352%
                 OH537          Fairview Village, Ohio                       0.0000924858%
                 OH538          Falls Township, Hocking County, Ohio         0.0002873384%
                 OH539          Falls Township, Muskingum County,            0.0022068032%
                                Ohio
                 OH540          Farmer Township, Ohio                        0.0002869002%
                 OH541          Farmersville Village, Ohio                   0.0013667928%
                 OH542          Farmington Township, Ohio                    0.0015345154%
                 OH543          Fayette County, Ohio                         0.2554820842%
                 OH544          Fayette Township, Ohio                       0.0013386832%
                 OH545          Fayette Village, Ohio                        0.0012352086%
                 OH546          Fayetteville Village, Ohio                   0.0029455968%
                 OH547          Fearing Township, Ohio                       0.0004177690%
                 OH548          Felicity Village, Ohio                       0.0030684641%
                 OH549          Findlay City, Ohio                           0.1162163280%
                 OH550          Fitchville Township, Ohio                    0.0003431721%
                 OH551          Flatrock Township, Ohio                      0.0001691974%
                 OH552          Fletcher Village, Ohio                       0.0012151836%
                 OH553          Florence Township, Erie County, Ohio         0.0013194115%
                 OH554          Florence Township, Williams County,          0.0002671700%
                                Ohio
                 OH555          Florida Village, Ohio                        0.0015566164%
                 OH556          Flushing Township, Ohio                      0.0005905501%
                 OH557          Flushing Village, Ohio                       0.0004640036%
                 OH558          Forest Park City, Ohio                       0.0861415180%
  Strictly Confidential
  Subject to Protective Order
                                                   G-170                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 308 of 611. PageID #: 572592
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  OH559         Forest Village, Ohio                        0.0023324226%
                  OH560         Fort Jennings Village, Ohio                 0.0004221969%
                  OH561         Fort Loramie Village, Ohio                  0.0012778446%
                  OH562         Fort Recovery Village, Ohio                 0.0009926059%
                  OH563         Fostoria City, Ohio                         0.0512205361%
                  OH564         Fowler Township, Ohio                       0.0047569976%
                  OH565         Frankfort Village, Ohio                     0.0079678326%
                  OH566         Franklin City, Ohio                         0.0535002847%
                  OH567         Franklin County, Ohio                       5.7883029997%
                  OH568         Franklin Township, Adams County,            0.0010014012%
                                Ohio
                 OH569          Franklin Township, Brown County, Ohio       0.0023874837%
                 OH570          Franklin Township, Clermont County,         0.0034132353%
                                Ohio
                 OH571          Franklin Township, Columbiana County,       0.0006123293%
                                Ohio
                 OH572          Franklin Township, Coshocton County,        0.0002449208%
                                Ohio
                 OH573          Franklin Township, Darke County, Ohio       0.0004797868%
                 OH574          Franklin Township, Franklin County,         0.0440874644%
                                Ohio
                 OH575          Franklin Township, Fulton County, Ohio      0.0000733787%
                 OH576          Franklin Township, Jackson County,          0.0003038871%
                                Ohio
                 OH577          Franklin Township, Mercer County,           0.0012091744%
                                Ohio
                 OH578          Franklin Township, Portage County,          0.0001990581%
                                Ohio
                 OH579          Franklin Township, Richland County,         0.0008563765%
                                Ohio
                 OH580          Franklin Township, Shelby County,           0.0011802315%
                                Ohio
                 OH581          Franklin Township, Tuscarawas County,       0.0031235899%
                                Ohio
                 OH582          Franklin Township, Warren County,           0.0035372089%
                                Ohio
                 OH583          Frazeysburg Village, Ohio                   0.0003209896%
                 OH584          Fredericksburg Village, Ohio                0.0001198464%
                 OH585          Fredericktown Village, Ohio                 0.0055729507%
                 OH586          Freedom Township, Portage County,           0.0004265530%
                                Ohio
                 OH587          Freedom Township, Wood County, Ohio         0.0012305895%
                 OH588          Freeport Township, Ohio                     0.0002576440%
                 OH589          Freeport Village, Ohio                      0.0001049661%
                 OH590          Fremont City, Ohio                          0.0724844646%
                 OH591          Fulton County, Ohio                         0.1830065436%
  Strictly Confidential
  Subject to Protective Order
                                                   G-171                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 309 of 611. PageID #: 572593
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  OH592         Fulton Village, Ohio                      0.0001234266%
                  OH593         Fultonham Village, Ohio                   0.0000100309%
                  OH594         Gahanna City, Ohio                        0.0724048588%
                  OH595         Galena Village, Ohio                      0.0001402305%
                  OH596         Galion City, Ohio                         0.0440049221%
                  OH597         Gallia County, Ohio                       0.3272280412%
                  OH598         Gallipolis Village, Ohio                  0.0421733929%
                  OH599         Gambier Village, Ohio                     0.0019348227%
                  OH600         Gann Village, Ohio                        0.0000330739%
                  OH601         Garfield Heights City, Ohio               0.0512449222%
                  OH602         Garrettsville Village, Ohio               0.0040959299%
                  OH603         Gasper Township, Ohio                     0.0060234621%
                  OH604         Gates Mills Village, Ohio                 0.0065784730%
                  OH605         Geauga County, Ohio                       0.4034987358%
                  OH606         Geneva City, Ohio                         0.0306905423%
                  OH607         Geneva Township, Ohio                     0.0015497902%
                  OH608         Geneva-On-The-Lake Village, Ohio          0.0052011898%
                  OH609         Genoa Township, Ohio                      0.0490971668%
                  OH610         Genoa Village, Ohio                       0.0023769444%
                  OH611         Georgetown Village, Ohio                  0.0263243336%
                  OH612         German Township, Auglaize County,         0.0003115915%
                                Ohio
                 OH613          German Township, Clark County, Ohio       0.0120986353%
                 OH614          German Township, Fulton County, Ohio      0.0012718979%
                 OH615          German Township, Harrison County,         0.0002671864%
                                Ohio
                 OH616          German Township, Montgomery               0.0069298793%
                                County, Ohio
                 OH617          Germantown City, Ohio                     0.0166173231%
                 OH618          Gettysburg Village, Ohio                  0.0016993673%
                 OH619          Gibson Township, Ohio                     0.0000992606%
                 OH620          Gibsonburg Village, Ohio                  0.0033999699%
                 OH621          Gilboa Village, Ohio                      0.0001572890%
                 OH622          Gilead Township, Ohio                     0.0002952061%
                 OH623          Girard City, Ohio                         0.0699056997%
                 OH624          Glandorf Village, Ohio                    0.0007698884%
                 OH625          Glendale Village, Ohio                    0.0089682038%
                 OH626          Glenford Village, Ohio                    0.0004004647%
                 OH627          Glenmont Village, Ohio                    0.0000756142%
                 OH628          Glenwillow Village, Ohio                  0.0043105790%
                 OH629          Gloria Glens Park Village, Ohio           0.0002361762%
                 OH630          Glouster Village, Ohio                    0.0025846274%
                 OH631          Gnadenhutten Village, Ohio                0.0020889623%
                 OH632          Golf Manor Village, Ohio                  0.0149804075%
                 OH633          Good Hope Township, Ohio                  0.0000544952%
  Strictly Confidential
  Subject to Protective Order
                                                  G-172                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 310 of 611. PageID #: 572594
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  OH634         Gordon Village, Ohio                      0.0000369067%
                  OH635         Gorham Township, Ohio                     0.0003913532%
                  OH636         Goshen Township, Auglaize County,         0.0000178052%
                                Ohio
                 OH637          Goshen Township, Belmont County,          0.0007592787%
                                Ohio
                 OH638          Goshen Township, Champaign County,        0.0009305060%
                                Ohio
                 OH639          Goshen Township, Clermont County,         0.0551461609%
                                Ohio
                 OH640          Goshen Township, Hardin County, Ohio      0.0002665626%
                 OH641          Goshen Township, Mahoning County,         0.0098390939%
                                Ohio
                 OH642          Goshen Township, Tuscarawas County,       0.0000492680%
                                Ohio
                 OH643          Grafton Township, Ohio                    0.0022594905%
                 OH644          Grafton Village, Ohio                     0.0066908189%
                 OH645          Grand Prairie Township, Ohio              0.0006880499%
                 OH646          Grand Rapids Township, Ohio               0.0003306061%
                 OH647          Grand Rapids Village, Ohio                0.0005020315%
                 OH648          Grand River Village, Ohio                 0.0044444886%
                 OH649          Grand Township, Ohio                      0.0000371919%
                 OH650          Grandview Heights City, Ohio              0.0363742583%
                 OH651          Grandview Township, Ohio                  0.0005932320%
                 OH652          Granger Township, Ohio                    0.0028459226%
                 OH653          Granville Township, Licking County,       0.0126030583%
                                Ohio
                 OH654          Granville Township, Mercer County,        0.0015971931%
                                Ohio
                 OH655          Granville Village, Ohio                   0.0103882561%
                 OH656          Gratiot Village, Ohio                     0.0002067581%
                 OH657          Gratis Village, Ohio                      0.0064162966%
                 OH658          Graysville Village, Ohio                  0.0000309746%
                 OH659          Green Camp Township, Ohio                 0.0011901403%
                 OH660          Green Camp Village, Ohio                  0.0002045554%
                 OH661          Green City, Ohio                          0.0847580205%
                 OH662          Green Creek Township, Ohio                0.0006872280%
                 OH663          Green Springs Village, Ohio               0.0016423298%
                 OH664          Green Township, Adams County, Ohio        0.0000263527%
                 OH665          Green Township, Brown County, Ohio        0.0034727036%
                 OH666          Green Township, Clark County, Ohio        0.0007485095%
                 OH667          Green Township, Clinton County, Ohio      0.0001561262%
                 OH668          Green Township, Fayette County, Ohio      0.0001235787%
                 OH669          Green Township, Gallia County, Ohio       0.0009184428%


  Strictly Confidential
  Subject to Protective Order
                                                  G-173                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 311 of 611. PageID #: 572595
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  OH670         Green Township, Hamilton County,            0.0953852812%
                                Ohio
                 OH671          Green Township, Harrison County, Ohio       0.0005725423%
                 OH672          Green Township, Hocking County, Ohio        0.0033142996%
                 OH673          Green Township, Mahoning County,            0.0033902496%
                                Ohio
                 OH674          Green Township, Monroe County, Ohio         0.0000062341%
                 OH675          Green Township, Ross County, Ohio           0.0105357346%
                 OH676          Green Township, Scioto County, Ohio         0.0218077775%
                 OH677          Green Township, Shelby County, Ohio         0.0000621174%
                 OH678          Greene County, Ohio                         0.9063855073%
                 OH679          Greene Township, Ohio                       0.0000341003%
                 OH680          Greenfield Township, Fairfield County,      0.0084982150%
                                Ohio
                 OH681          Greenfield Township, Huron County,          0.0011256045%
                                Ohio
                 OH682          Greenfield Village, Ohio                    0.0148836578%
                 OH683          Greenhills Village, Ohio                    0.0082250286%
                 OH684          Greensburg Township, Ohio                   0.0001324539%
                 OH685          Greenville City, Ohio                       0.0550893674%
                 OH686          Greenville Township, Ohio                   0.0140737464%
                 OH687          Greenwich Village, Ohio                     0.0017844949%
                 OH688          Groton Township, Ohio                       0.0005921768%
                 OH689          Grove City, Ohio                            0.0733060057%
                 OH690          Groveport City, Ohio                        0.0125549613%
                 OH691          Grover Hill Village, Ohio                   0.0001863854%
                 OH692          Guernsey County, Ohio                       0.2910222727%
                 OH693          Guilford Township, Ohio                     0.0060579183%
                 OH694          Gustavus Township, Ohio                     0.0000511505%
                 OH695          Guyan Township, Ohio                        0.0003561309%
                 OH696          Hambden Township, Ohio                      0.0039432026%
                 OH697          Hamden Village, Ohio                        0.0009493296%
                 OH698          Hamer Township, Ohio                        0.0000451704%
                 OH699          Hamersville Village, Ohio                   0.0007131445%
                 OH700          Hamilton City, Ohio                         0.6764224012%
                 OH701          Hamilton County, Ohio                       5.8561869769%
                 OH702          Hamilton Township, Franklin County,         0.0255910434%
                                Ohio
                 OH703          Hamilton Township, Jackson County,          0.0005248960%
                                Ohio
                 OH704          Hamilton Township, Lawrence County,         0.0009909733%
                                Ohio
                 OH705          Hamilton Township, Warren County,           0.0450761424%
                                Ohio
                 OH706          Hamler Village, Ohio                        0.0004060738%
  Strictly Confidential
  Subject to Protective Order
                                                   G-174                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 312 of 611. PageID #: 572596
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  OH707         Hancock County, Ohio                        0.2855617267%
                  OH708         Hanging Rock Village, Ohio                  0.0019993320%
                  OH709         Hanover Township, Butler County, Ohio       0.0098235954%
                  OH710         Hanover Township, Columbiana County,        0.0013178391%
                                Ohio
                 OH711          Hanover Township, Licking County,           0.0043184009%
                                Ohio
                 OH712          Hanover Village, Ohio                       0.0008062251%
                 OH713          Hanoverton Village, Ohio                    0.0010440744%
                 OH714          Harbor View Village, Ohio                   0.0001526700%
                 OH715          Hardin County, Ohio                         0.2235793641%
                 OH716          Harding Township, Ohio                      0.0000272955%
                 OH717          Hardy Township, Ohio                        0.0013901375%
                 OH718          Harlan Township, Ohio                       0.0030485156%
                 OH719          Harlem Township, Ohio                       0.0049245646%
                 OH720          Harmony Township, Clark County, Ohio        0.0018916876%
                 OH721          Harmony Township, Morrow County,            0.0001180824%
                                Ohio
                 OH722          Harpersfield Township, Ohio                 0.0005048559%
                 OH723          Harpster Village, Ohio                      0.0000822938%
                 OH724          Harris Township, Ohio                       0.0004190567%
                 OH725          Harrisburg Village, Ohio                    0.0002978367%
                 OH726          Harrison City, Ohio                         0.0560804997%
                 OH727          Harrison County, Ohio                       0.0770641930%
                 OH728          Harrison Township, Champaign County,        0.0001374611%
                                Ohio
                 OH729          Harrison Township, Gallia County, Ohio      0.0002811560%
                 OH730          Harrison Township, Hamilton County,         0.0022712769%
                                Ohio
                 OH731          Harrison Township, Henry County, Ohio       0.0000203037%
                 OH732          Harrison Township, Knox County, Ohio        0.0000165369%
                 OH733          Harrison Township, Licking County,          0.0003058095%
                                Ohio
                 OH734          Harrison Township, Logan County, Ohio       0.0000199508%
                 OH735          Harrison Township, Montgomery               0.0328749640%
                                County, Ohio
                 OH736          Harrison Township, Muskingum County,        0.0004112679%
                                Ohio
                 OH737          Harrison Township, Paulding County,         0.0000657831%
                                Ohio
                 OH738          Harrison Township, Perry County, Ohio       0.0020762554%
                 OH739          Harrison Township, Pickaway County,         0.0068306454%
                                Ohio
                 OH740          Harrison Township, Preble County, Ohio      0.0015877060%
                 OH741          Harrison Township, Scioto County, Ohio      0.0071650064%
  Strictly Confidential
  Subject to Protective Order
                                                   G-175                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 313 of 611. PageID #: 572597
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                  OH742         Harrison Township, Van Wert County,      0.0001858511%
                                Ohio
                 OH743          Harrison Township, Vinton County,        0.0005201806%
                                Ohio
                 OH744          Harrisville Township, Ohio               0.0067192115%
                 OH745          Harrisville Village, Ohio                0.0000619645%
                 OH746          Harrod Village, Ohio                     0.0000673593%
                 OH747          Hartford Township, Licking County,       0.0007413564%
                                Ohio
                 OH748          Hartford Township, Trumbull County,      0.0014833648%
                                Ohio
                 OH749          Hartford Village, Ohio                   0.0002502078%
                 OH750          Hartland Township, Ohio                  0.0000960882%
                 OH751          Hartsgrove Township, Ohio                0.0005870417%
                 OH752          Hartville Village, Ohio                  0.0099058031%
                 OH753          Harveysburg Village, Ohio                0.0012100978%
                 OH754          Haskins Village, Ohio                    0.0008938610%
                 OH755          Haviland Village, Ohio                   0.0000511646%
                 OH756          Hayesville Village, Ohio                 0.0000894727%
                 OH757          Heath City, Ohio                         0.0429986695%
                 OH758          Hebron Village, Ohio                     0.0150402674%
                 OH759          Helena Village, Ohio                     0.0000542548%
                 OH760          Hemlock Village, Ohio                    0.0003549573%
                 OH761          Henrietta Township, Ohio                 0.0004674808%
                 OH762          Henry County, Ohio                       0.1089766836%
                 OH763          Hicksville Township, Ohio                0.0002096578%
                 OH764          Hicksville Village, Ohio                 0.0077242363%
                 OH765          Higginsport Village, Ohio                0.0015866304%
                 OH766          Highland County, Ohio                    0.3882850462%
                 OH767          Highland Heights City, Ohio              0.0224853394%
                 OH768          Highland Hills Village, Ohio             0.0015764629%
                 OH769          Highland Township, Defiance County,      0.0027365866%
                                Ohio
                 OH770          Highland Township, Muskingum             0.0001705257%
                                County, Ohio
                 OH771          Highland Village, Ohio                   0.0000677557%
                 OH772          Hilliard City, Ohio                      0.0500136505%
                 OH773          Hills and Dales Village, Ohio            0.0006069453%
                 OH774          Hillsboro City, Ohio                     0.0707143136%
                 OH775          Hinckley Township, Ohio                  0.0165323306%
                 OH776          Hiram Township, Ohio                     0.0008287315%
                 OH777          Hiram Village, Ohio                      0.0032539898%
                 OH778          Hocking County, Ohio                     0.2559590488%
                 OH779          Holgate Village, Ohio                    0.0002774838%
                 OH780          Holiday City Village, Ohio               0.0000613051%
  Strictly Confidential
  Subject to Protective Order
                                                  G-176                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 314 of 611. PageID #: 572598
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  OH781         Holland Village, Ohio                      0.0097536077%
                  OH782         Hollansburg Village, Ohio                  0.0003567645%
                  OH783         Holloway Village, Ohio                     0.0002671536%
                  OH784         Holmes County, Ohio                        0.1337033098%
                  OH785         Holmes Township, Ohio                      0.0003480370%
                  OH786         Holmesville Village, Ohio                  0.0000436236%
                  OH787         Homer Township, Medina County, Ohio        0.0010864103%
                  OH788         Homer Township, Morgan County, Ohio        0.0001820827%
                  OH789         Hopedale Village, Ohio                     0.0002767288%
                  OH790         Hopewell Township, Licking County,         0.0002502078%
                                Ohio
                 OH791          Hopewell Township, Muskingum               0.0007422883%
                                County, Ohio
                 OH792          Hopewell Township, Perry County, Ohio      0.0012909360%
                 OH793          Hopewell Township, Seneca County,          0.0001303525%
                                Ohio
                 OH794          Howard Township, Ohio                      0.0000496108%
                 OH795          Howland Township, Ohio                     0.0502639031%
                 OH796          Hoytville Village, Ohio                    0.0002378935%
                 OH797          Hubbard City, Ohio                         0.0289341396%
                 OH798          Hubbard Township, Ohio                     0.0153110532%
                 OH799          Huber Heights City, Ohio                   0.1252489167%
                 OH800          Hudson City, Ohio                          0.0660214283%
                 OH801          Hunting Valley Village, Ohio               0.0076690112%
                 OH802          Huntington Township, Brown County,         0.0072244638%
                                Ohio
                 OH803          Huntington Township, Ross County,          0.0066106570%
                                Ohio
                 OH804          Huntsburg Township, Ohio                   0.0006508198%
                 OH805          Huntsville Village, Ohio                   0.0008479077%
                 OH806          Huron City, Ohio                           0.0302737409%
                 OH807          Huron County, Ohio                         0.3638859630%
                 OH808          Huron Township, Ohio                       0.0007791800%
                 OH809          Independence City, Ohio                    0.0311578609%
                 OH810          Independence Township, Ohio                0.0000751984%
                 OH811          Irondale Village, Ohio                     0.0001593821%
                 OH812          Ironton City, Ohio                         0.0888572696%
                 OH813          Island Creek Township, Ohio                0.0026616805%
                 OH814          Israel Township, Ohio                      0.0004746750%
                 OH815          Ithaca Village, Ohio                       0.0003813690%
                 OH816          Jackson Center Village, Ohio               0.0015263144%
                 OH817          Jackson City, Ohio                         0.0556665988%
                 OH818          Jackson County, Ohio                       0.4838159524%
                 OH819          Jackson Township, Allen County, Ohio       0.0004227108%

  Strictly Confidential
  Subject to Protective Order
                                                  G-177                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 315 of 611. PageID #: 572599
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  OH820         Jackson Township, Ashland County,          0.0000162678%
                                Ohio
                 OH821          Jackson Township, Auglaize County,         0.0003115915%
                                Ohio
                 OH822          Jackson Township, Brown County, Ohio       0.0004961005%
                 OH823          Jackson Township, Clermont County,         0.0014652778%
                                Ohio
                 OH824          Jackson Township, Coshocton County,        0.0005510719%
                                Ohio
                 OH825          Jackson Township, Crawford County,         0.0000108762%
                                Ohio
                 OH826          Jackson Township, Franklin County,         0.0661350150%
                                Ohio
                 OH827          Jackson Township, Guernsey County,         0.0010334405%
                                Ohio
                 OH828          Jackson Township, Hardin County, Ohio      0.0015327348%
                 OH829          Jackson Township, Highland County,         0.0000451704%
                                Ohio
                 OH830          Jackson Township, Jackson County,          0.0001105044%
                                Ohio
                 OH831          Jackson Township, Mahoning County,         0.0058960862%
                                Ohio
                 OH832          Jackson Township, Monroe County,           0.0000561065%
                                Ohio
                 OH833          Jackson Township, Montgomery County,       0.0086323757%
                                Ohio
                 OH834          Jackson Township, Muskingum County,        0.0011435253%
                                Ohio
                 OH835          Jackson Township, Noble County, Ohio       0.0001207342%
                 OH836          Jackson Township, Paulding County,         0.0001534939%
                                Ohio
                 OH837          Jackson Township, Pickaway County,         0.0001894702%
                                Ohio
                 OH838          Jackson Township, Pike County, Ohio        0.0004309715%
                 OH839          Jackson Township, Richland County,         0.0004638706%
                                Ohio
                 OH840          Jackson Township, Sandusky County,         0.0004340387%
                                Ohio
                 OH841          Jackson Township, Seneca County, Ohio      0.0004311659%
                 OH842          Jackson Township, Shelby County, Ohio      0.0013665838%
                 OH843          Jackson Township, Stark County, Ohio       0.1371869620%
                 OH844          Jackson Township, Union County, Ohio       0.0001416902%
                 OH845          Jackson Township, Vinton County, Ohio      0.0000910316%
                 OH846          Jackson Township, Wood County, Ohio        0.0001346914%
                 OH847          Jackson Township, Wyandot County,          0.0001214367%
                                Ohio
  Strictly Confidential
  Subject to Protective Order
                                                  G-178                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 316 of 611. PageID #: 572600
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  OH848         Jacksonburg Village, Ohio                   0.0002870780%
                  OH849         Jacksonville Village, Ohio                  0.0008441727%
                  OH850         Jamestown Village, Ohio                     0.0034877253%
                  OH851         Jefferson County, Ohio                      0.6622324840%
                  OH852         Jefferson Township, Adams County,           0.0007642272%
                                Ohio
                 OH853          Jefferson Township, Brown County,           0.0006821382%
                                Ohio
                 OH854          Jefferson Township, Clinton County,         0.0014720474%
                                Ohio
                 OH855          Jefferson Township, Coshocton County,       0.0000612302%
                                Ohio
                 OH856          Jefferson Township, Crawford County,        0.0004567985%
                                Ohio
                 OH857          Jefferson Township, Fayette County,         0.0005898074%
                                Ohio
                 OH858          Jefferson Township, Franklin County,        0.0261561693%
                                Ohio
                 OH859          Jefferson Township, Greene County,          0.0000619123%
                                Ohio
                 OH860          Jefferson Township, Guernsey County,        0.0000679895%
                                Ohio
                 OH861          Jefferson Township, Jackson County,         0.0000828783%
                                Ohio
                 OH862          Jefferson Township, Knox County, Ohio       0.0006284039%
                 OH863          Jefferson Township, Logan County,           0.0002493846%
                                Ohio
                 OH864          Jefferson Township, Madison County,         0.0262668976%
                                Ohio
                 OH865          Jefferson Township, Montgomery              0.0133322246%
                                County, Ohio
                 OH866          Jefferson Township, Muskingum               0.0005015462%
                                County, Ohio
                 OH867          Jefferson Township, Noble County, Ohio      0.0000172477%
                 OH868          Jefferson Township, Preble County,          0.0008020371%
                                Ohio
                 OH869          Jefferson Township, Richland County,        0.0017662765%
                                Ohio
                 OH870          Jefferson Township, Ross County, Ohio       0.0009148677%
                 OH871          Jefferson Township, Scioto County,          0.0036109358%
                                Ohio
                 OH872          Jefferson Township, Tuscarawas County,      0.0008079949%
                                Ohio
                 OH873          Jefferson Township, Williams County,        0.0002200224%
                                Ohio
                 OH874          Jefferson Village, Ohio                     0.0039566613%
  Strictly Confidential
  Subject to Protective Order
                                                   G-179                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 317 of 611. PageID #: 572601
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  OH875         Jeffersonville Village, Ohio               0.0000112344%
                  OH876         Jenera Village, Ohio                       0.0001194701%
                  OH877         Jennings Township, Ohio                    0.0002731862%
                  OH878         Jerome Township, Ohio                      0.0044044550%
                  OH879         Jeromesville Village, Ohio                 0.0003085668%
                  OH880         Jerry City Village, Ohio                   0.0003417298%
                  OH881         Jersey Township, Ohio                      0.0017699883%
                  OH882         Jerusalem Township, Ohio                   0.0021563480%
                  OH883         Jerusalem Village, Ohio                    0.0000311703%
                  OH884         Jewett Village, Ohio                       0.0001813051%
                  OH885         Johnson Township, Ohio                     0.0002326265%
                  OH886         Johnston Township, Ohio                    0.0002216522%
                  OH887         Johnstown Village, Ohio                    0.0092206199%
                  OH888         Junction City Village, Ohio                0.0017212480%
                  OH889         Kalida Village, Ohio                       0.0022682733%
                  OH890         Kelleys Island Village, Ohio               0.0028777715%
                  OH891         Kent City, Ohio                            0.0513285414%
                  OH892         Kenton City, Ohio                          0.0306658035%
                  OH893         Kettering City, Ohio                       0.3384195127%
                  OH894         Kettlersville Village, Ohio                0.0000266218%
                  OH895         Killbuck Township, Ohio                    0.0002093931%
                  OH896         Killbuck Village, Ohio                     0.0010702314%
                  OH897         Kingston Township, Ohio                    0.0000164977%
                  OH898         Kingston Village, Ohio                     0.0076824625%
                  OH899         Kingsville Township, Ohio                  0.0011036385%
                  OH900         Kinsman Township, Ohio                     0.0020801208%
                  OH901         Kipton Village, Ohio                       0.0000973918%
                  OH902         Kirby Village, Ohio                        0.0000472254%
                  OH903         Kirkersville Village, Ohio                 0.0005560173%
                  OH904         Kirkwood Township, Ohio                    0.0000140607%
                  OH905         Kirtland City, Ohio                        0.0223930205%
                  OH906         Kirtland Hills Village, Ohio               0.0096850050%
                  OH907         Knox County, Ohio                          0.3115395206%
                  OH908         Knox Township, Columbiana County,          0.0005191487%
                                Ohio
                 OH909          Knox Township, Guernsey County, Ohio       0.0002039685%
                 OH910          Knox Township, Jefferson County, Ohio      0.0010041070%
                 OH911          Knox Township, Vinton County, Ohio         0.0001170406%
                 OH912          La Grange Township, Ohio                   0.0042170664%
                 OH913          La Rue Village, Ohio                       0.0006694539%
                 OH914          Lafayette Township, Ohio                   0.0073805047%
                 OH915          Lafayette Village, Ohio                    0.0000886329%
                 OH916          Lagrange Village, Ohio                     0.0054247251%
                 OH917          Lake County, Ohio                          1.2794251773%
                 OH918          Lake Township, Stark County, Ohio          0.0367336076%
  Strictly Confidential
  Subject to Protective Order
                                                  G-180                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 318 of 611. PageID #: 572602
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  OH919         Lake Township, Wood County, Ohio            0.0141058613%
                  OH920         Lakeline Village, Ohio                      0.0000947652%
                  OH921         Lakemore Village, Ohio                      0.0083562888%
                  OH922         Lakeview Village, Ohio                      0.0008279569%
                  OH923         Lakewood City, Ohio                         0.1008106545%
                  OH924         Lancaster City, Ohio                        0.1565040398%
                  OH925         Latty Township, Ohio                        0.0000877108%
                  OH926         Latty Village, Ohio                         0.0000219277%
                  OH927         Laura Village, Ohio                         0.0001135686%
                  OH928         Laurel Township, Ohio                       0.0001089904%
                  OH929         Laurelville Village, Ohio                   0.0007183460%
                  OH930         Lawrence County, Ohio                       0.5322395718%
                  OH931         Lawrence Township, Lawrence County,         0.0093186258%
                                Ohio
                 OH932          Lawrence Township, Stark County, Ohio       0.0140521883%
                 OH933          Lawrence Township, Tuscarawas               0.0052322595%
                                County, Ohio
                 OH934          Lawrence Township, Washington               0.0000334215%
                                County, Ohio
                 OH935          Lebanon City, Ohio                          0.0873597515%
                 OH936          Lebanon Township, Ohio                      0.0004736376%
                 OH937          Lee Township, Athens County, Ohio           0.0005836255%
                 OH938          Lee Township, Carroll County, Ohio          0.0000980404%
                 OH939          Lee Township, Monroe County, Ohio           0.0000872768%
                 OH940          Leesburg Township, Ohio                     0.0001989692%
                 OH941          Leesburg Village, Ohio                      0.0054882077%
                 OH942          Leesville Village, Ohio                     0.0000217868%
                 OH943          Leetonia Village, Ohio                      0.0074544436%
                 OH944          Leipsic Village, Ohio                       0.0030629968%
                 OH945          Lemon Township, Ohio                        0.0041524079%
                 OH946          Lenox Township, Ohio                        0.0002582984%
                 OH947          Leroy Township, Ohio                        0.0053731877%
                 OH948          Letart Township, Ohio                       0.0005413001%
                 OH949          Lewis Township, Ohio                        0.0039998104%
                 OH950          Lewisburg Village, Ohio                     0.0132254277%
                 OH951          Lewisville Village, Ohio                    0.0001745536%
                 OH952          Lexington Township, Ohio                    0.0014349065%
                 OH953          Lexington Village, Ohio                     0.0093220146%
                 OH954          Liberty Center Village, Ohio                0.0002842517%
                 OH955          Liberty Township, Adams County, Ohio        0.0005534059%
                 OH956          Liberty Township, Butler County, Ohio       0.1149425287%
                 OH957          Liberty Township, Clinton County, Ohio      0.0016058699%
                 OH958          Liberty Township, Crawford County,          0.0001413900%
                                Ohio
                 OH959          Liberty Township, Darke County, Ohio        0.0010825959%
  Strictly Confidential
  Subject to Protective Order
                                                   G-181                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 319 of 611. PageID #: 572603
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  OH960         Liberty Township, Delaware County,          0.0646792482%
                                Ohio
                 OH961          Liberty Township, Guernsey County,          0.0001631748%
                                Ohio
                 OH962          Liberty Township, Hancock County,           0.0013703927%
                                Ohio
                 OH963          Liberty Township, Hardin County, Ohio       0.0010773571%
                 OH964          Liberty Township, Henry County, Ohio        0.0006632539%
                 OH965          Liberty Township, Highland County,          0.0016487208%
                                Ohio
                 OH966          Liberty Township, Jackson County, Ohio      0.0018785750%
                 OH967          Liberty Township, Knox County, Ohio         0.0003803498%
                 OH968          Liberty Township, Licking County, Ohio      0.0000926695%
                 OH969          Liberty Township, Logan County, Ohio        0.0003591138%
                 OH970          Liberty Township, Mercer County, Ohio       0.0002526633%
                 OH971          Liberty Township, Putnam County, Ohio       0.0002235160%
                 OH972          Liberty Township, Seneca County, Ohio       0.0003409218%
                 OH973          Liberty Township, Trumbull County,          0.0688997396%
                                Ohio
                 OH974          Liberty Township, Union County, Ohio        0.0017726349%
                 OH975          Liberty Township, Wood County, Ohio         0.0002142817%
                 OH976          Lick Township, Ohio                         0.0000552522%
                 OH977          Licking County, Ohio                        0.7119059883%
                 OH978          Licking Township, Licking County,           0.0031507646%
                                Ohio
                 OH979          Licking Township, Muskingum County,         0.0012839582%
                                Ohio
                 OH980          Lima City, Ohio                             0.1727455397%
                 OH981          Limaville Village, Ohio                     0.0003869608%
                 OH982          Lincoln Heights Village, Ohio               0.0083419326%
                 OH983          Lincoln Township, Ohio                      0.0001771237%
                 OH984          Lindsey Village, Ohio                       0.0006510581%
                 OH985          Linndale Village, Ohio                      0.0028091858%
                 OH986          Lisbon Village, Ohio                        0.0009584285%
                 OH987          Litchfield Township, Ohio                   0.0019838797%
                 OH988          Lithopolis Village, Ohio                    0.0014069809%
                 OH989          Liverpool Township, Columbiana              0.0053112911%
                                County, Ohio
                 OH990          Liverpool Township, Medina County,          0.0054202427%
                                Ohio
                 OH991          Lockbourne Village, Ohio                    0.0000076368%
                 OH992          Lockington Village, Ohio                    0.0000443696%
                 OH993          Lockland Village, Ohio                      0.0146296956%
                 OH994          Lodi Township, Ohio                         0.0003856097%
                 OH995          Lodi Village, Ohio                          0.0068845348%

  Strictly Confidential
  Subject to Protective Order
                                                   G-182                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 320 of 611. PageID #: 572604
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  OH996         Logan City, Ohio                           0.0081742815%
                  OH997         Logan County, Ohio                         0.2671308245%
                  OH998         Logan Township, Ohio                       0.0001602471%
                  OH999         London City, Ohio                          0.0432082694%
                 OH1000         Londonderry Township, Ohio                 0.0001223811%
                 OH1001         Lorain City, Ohio                          0.2833225817%
                 OH1002         Lorain County, Ohio                        1.3357776870%
                 OH1003         Lordstown Village, Ohio                    0.0208012082%
                 OH1004         Lore City Village, Ohio                    0.0001903706%
                 OH1005         Lostcreek Township, Ohio                   0.0008063368%
                 OH1006         Loudon Township, Carroll County, Ohio      0.0003703748%
                 OH1007         Loudon Township, Seneca County, Ohio       0.0000802169%
                 OH1008         Loudonville Village, Ohio                  0.0063961356%
                 OH1009         Louisville City, Ohio                      0.0170110645%
                 OH1010         Loveland City, Ohio                        0.0476149868%
                 OH1011         Lowell Village, Ohio                       0.0000835538%
                 OH1012         Lowellville Village, Ohio                  0.0039921417%
                 OH1013         Lower Salem Village, Ohio                  0.0000220891%
                 OH1014         Lucas County, Ohio                         3.1972089435%
                 OH1015         Lucas Village, Ohio                        0.0007671706%
                 OH1016         Luckey Village, Ohio                       0.0005693772%
                 OH1017         Ludlow Falls Village, Ohio                 0.0002558525%
                 OH1018         Ludlow Township, Ohio                      0.0000501323%
                 OH1019         Lykens Township, Ohio                      0.0000217523%
                 OH1020         Lynchburg Village, Ohio                    0.0028908592%
                 OH1021         Lyndhurst City, Ohio                       0.0338761729%
                 OH1022         Lynn Township, Ohio                        0.0000111068%
                 OH1023         Lyons Village, Ohio                        0.0001442518%
                 OH1024         Macedonia City, Ohio                       0.0527014847%
                 OH1025         Macksburg Village, Ohio                    0.0000477742%
                 OH1026         Mad River Township, Champaign              0.0003806616%
                                County, Ohio
                 OH1027         Mad River Township, Clark County,          0.0132962505%
                                Ohio
                 OH1028         Madeira City, Ohio                         0.0133187012%
                 OH1029         Madison County, Ohio                       0.2562654482%
                 OH1030         Madison Township, Butler County, Ohio      0.0065436778%
                 OH1031         Madison Township, Clark County, Ohio       0.0028035083%
                 OH1032         Madison Township, Columbiana County,       0.0001863611%
                                Ohio
                 OH1033         Madison Township, Fayette County,          0.0003651188%
                                Ohio
                 OH1034         Madison Township, Franklin County,         0.0648596631%
                                Ohio

  Strictly Confidential
  Subject to Protective Order
                                                  G-183                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 321 of 611. PageID #: 572605
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1035         Madison Township, Guernsey County,         0.0001087832%
                                Ohio
                 OH1036         Madison Township, Hancock County,          0.0001546084%
                                Ohio
                 OH1037         Madison Township, Highland County,         0.0000451704%
                                Ohio
                 OH1038         Madison Township, Lake County, Ohio        0.0185550292%
                 OH1039         Madison Township, Licking County,          0.0016124501%
                                Ohio
                 OH1040         Madison Township, Muskingum County,        0.0000200618%
                                Ohio
                 OH1041         Madison Township, Pickaway County,         0.0005781272%
                                Ohio
                 OH1042         Madison Township, Richland County,         0.0162443911%
                                Ohio
                 OH1043         Madison Township, Sandusky County,         0.0010398844%
                                Ohio
                 OH1044         Madison Township, Scioto County, Ohio      0.0090415557%
                 OH1045         Madison Township, Williams County,         0.0001650168%
                                Ohio
                 OH1046         Madison Village, Ohio                      0.0069557668%
                 OH1047         Magnetic Springs Village, Ohio             0.0003286007%
                 OH1048         Magnolia Village, Ohio                     0.0039121470%
                 OH1049         Mahoning County, Ohio                      1.6000258367%
                 OH1050         Maineville Village, Ohio                   0.0020362222%
                 OH1051         Malaga Township, Ohio                      0.0000561065%
                 OH1052         Malinta Village, Ohio                      0.0000609111%
                 OH1053         Malta Village, Ohio                        0.0001392397%
                 OH1054         Malvern Village, Ohio                      0.0005882424%
                 OH1055         Manchester Township, Ohio                  0.0013966912%
                 OH1056         Manchester Village, Ohio                   0.0025562084%
                 OH1057         Mansfield City, Ohio                       0.2140405926%
                 OH1058         Mantua Township, Ohio                      0.0000649985%
                 OH1059         Mantua Village, Ohio                       0.0015884020%
                 OH1060         Maple Heights City, Ohio                   0.0395380059%
                 OH1061         Marble Cliff Village, Ohio                 0.0004658471%
                 OH1062         Marblehead Village, Ohio                   0.0019235388%
                 OH1063         Marengo Village, Ohio                      0.0002597814%
                 OH1064         Margaretta Township, Ohio                  0.0078229674%
                 OH1065         Mariemont Village, Ohio                    0.0153812210%
                 OH1066         Marietta City, Ohio                        0.0852917164%
                 OH1067         Marietta Township, Ohio                    0.0002088845%
                 OH1068         Marion City, Ohio                          0.2496505326%
                 OH1069         Marion County, Ohio                        0.3374233828%
                 OH1070         Marion Township, Allen County, Ohio        0.0001840837%
  Strictly Confidential
  Subject to Protective Order
                                                  G-184                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 322 of 611. PageID #: 572606
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1071         Marion Township, Clinton County, Ohio      0.0020965523%
                 OH1072         Marion Township, Fayette County, Ohio      0.0007695582%
                 OH1073         Marion Township, Hardin County, Ohio       0.0006108726%
                 OH1074         Marion Township, Henry County, Ohio        0.0000947506%
                 OH1075         Marion Township, Hocking County,           0.0001634856%
                                Ohio
                 OH1076         Marion Township, Marion County, Ohio       0.0526451142%
                 OH1077         Marion Township, Mercer County, Ohio       0.0015069562%
                 OH1078         Marion Township, Pike County, Ohio         0.0001943597%
                 OH1079         Mark Township, Ohio                        0.0001324155%
                 OH1080         Marlboro Township, Delaware County,        0.0001979724%
                                Ohio
                 OH1081         Marlboro Township, Stark County, Ohio      0.0048193068%
                 OH1082         Marseilles Township, Ohio                  0.0000067465%
                 OH1083         Marseilles Village, Ohio                   0.0000067465%
                 OH1084         Marshall Township, Ohio                    0.0006323861%
                 OH1085         Marshallville Village, Ohio                0.0004600557%
                 OH1086         Martins Ferry City, Ohio                   0.0347299689%
                 OH1087         Martinsburg Village, Ohio                  0.0000165369%
                 OH1088         Martinsville Village, Ohio                 0.0006022012%
                 OH1089         Mary Ann Township, Ohio                    0.0009452294%
                 OH1090         Marysville City, Ohio                      0.0386422342%
                 OH1091         Mason City, Ohio                           0.1510527828%
                 OH1092         Mason Township, Ohio                       0.0000347710%
                 OH1093         Massie Township, Ohio                      0.0001279911%
                 OH1094         Massillon City, Ohio                       0.1194930798%
                 OH1095         Matamoras Village, Ohio                    0.0003175044%
                 OH1096         Maumee City, Ohio                          0.0830057490%
                 OH1097         Mayfield Heights City, Ohio                0.0460098010%
                 OH1098         Mayfield Village, Ohio                     0.0222206201%
                 OH1099         McArthur Village, Ohio                     0.0034201873%
                 OH1100         McClure Village, Ohio                      0.0000744469%
                 OH1101         McComb Village, Ohio                       0.0019536880%
                 OH1102         McConnelsville Village, Ohio               0.0038344466%
                 OH1103         McDonald Township, Ohio                    0.0004331642%
                 OH1104         McDonald Village, Ohio                     0.0085762358%
                 OH1105         McGuffey Village, Ohio                     0.0000111068%
                 OH1106         McKean Township, Ohio                      0.0016773188%
                 OH1107         McLean Township, Ohio                      0.0000088739%
                 OH1108         Mead Township, Ohio                        0.0016310431%
                 OH1109         Mecca Township, Ohio                       0.0015686157%
                 OH1110         Mechanicsburg Village, Ohio                0.0059742716%
                 OH1111         Medina City, Ohio                          0.0850942672%
                 OH1112         Medina County, Ohio                        0.7825696764%
                 OH1113         Medina Township, Ohio                      0.0180792844%
  Strictly Confidential
  Subject to Protective Order
                                                  G-185                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 323 of 611. PageID #: 572607
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID               Qualifying Subdivision           Allocation
                 OH1114         Meigs County, Ohio                       0.1986571471%
                 OH1115         Meigs Township, Ohio                     0.0019764498%
                 OH1116         Meigsville Township, Ohio                0.0000749752%
                 OH1117         Melrose Village, Ohio                    0.0001123652%
                 OH1118         Mendon Village, Ohio                     0.0000902369%
                 OH1119         Mentor City, Ohio                        0.2495262895%
                 OH1120         Mentor-On-The-Lake City, Ohio            0.0195974466%
                 OH1121         Mercer County, Ohio                      0.1655486085%
                 OH1122         Mesopotamia Township, Ohio               0.0029496795%
                 OH1123         Metamora Village, Ohio                   0.0001589872%
                 OH1124         Meyers Lake Village, Ohio                0.0015027860%
                 OH1125         Miami County, Ohio                       0.5778482109%
                 OH1126         Miami Township, Clermont County,         0.2187745945%
                                Ohio
                 OH1127         Miami Township, Greene County, Ohio      0.0056649739%
                 OH1128         Miami Township, Hamilton County,         0.0222368033%
                                Ohio
                 OH1129         Miami Township, Logan County, Ohio       0.0002394092%
                 OH1130         Miami Township, Montgomery County,       0.1354683508%
                                Ohio
                 OH1131         Miamisburg City, Ohio                    0.1660413479%
                 OH1132         Middle Point Village, Ohio               0.0010159860%
                 OH1133         Middleburg Heights City, Ohio            0.0377244809%
                 OH1134         Middlebury Township, Ohio                0.0002811281%
                 OH1135         Middlefield Village, Ohio                0.0110639374%
                 OH1136         Middleport Village, Ohio                 0.0066985891%
                 OH1137         Middleton Township, Columbiana           0.0013311506%
                                County, Ohio
                 OH1138         Middleton Township, Wood County,         0.0032264709%
                                Ohio
                 OH1139         Middletown City, Ohio                    0.5826547123%
                 OH1140         Midland Village, Ohio                    0.0000223037%
                 OH1141         Midvale Village, Ohio                    0.0004926798%
                 OH1142         Midway Village, Ohio                     0.0006778443%
                 OH1143         Mifflin Township, Ashland County,        0.0003416231%
                                Ohio
                 OH1144         Mifflin Township, Franklin County,       0.0915733216%
                                Ohio
                 OH1145         Mifflin Township, Pike County, Ohio      0.0001267563%
                 OH1146         Mifflin Township, Richland County,       0.0080552911%
                                Ohio
                 OH1147         Mifflin Township, Wyandot County,        0.0001214367%
                                Ohio
                 OH1148         Mifflin Village, Ohio                    0.0001545438%
                 OH1149         Milan Township, Ohio                     0.0020258680%
                 OH1150         Milan Village, Ohio                      0.0040820332%
  Strictly Confidential
  Subject to Protective Order
                                                  G-186                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 324 of 611. PageID #: 572608
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                 OH1151         Milford Center Village, Ohio               0.0000633084%
                 OH1152         Milford City, Ohio                         0.0751522099%
                 OH1153         Milford Township, Butler County, Ohio      0.0015672512%
                 OH1154         Milford Township, Defiance County,         0.0002979348%
                                Ohio
                 OH1155         Mill Creek Township, Coshocton             0.0000229613%
                                County, Ohio
                 OH1156         Mill Creek Township, Williams County,      0.0000628635%
                                Ohio
                 OH1157         Mill Township, Ohio                        0.0121593375%
                 OH1158         Millbury Village, Ohio                     0.0009905091%
                 OH1159         Millcreek Township, Ohio                   0.0000180881%
                 OH1160         Milledgeville Village, Ohio                0.0000257235%
                 OH1161         Miller City Village, Ohio                  0.0000248351%
                 OH1162         Miller Township, Ohio                      0.0008599212%
                 OH1163         Millersburg Village, Ohio                  0.0018263731%
                 OH1164         Millersport Village, Ohio                  0.0058664571%
                 OH1165         Millville Village, Ohio                    0.0076100550%
                 OH1166         Millwood Township, Ohio                    0.0000543916%
                 OH1167         Milton Center Village, Ohio                0.0000061223%
                 OH1168         Milton Township, Ashland County, Ohio      0.0000162678%
                 OH1169         Milton Township, Mahoning County,          0.0048642711%
                                Ohio
                 OH1170         Miltonsburg Village, Ohio                  0.0000172975%
                 OH1171         Mineral City Village, Ohio                 0.0026506173%
                 OH1172         Minerva Park Village, Ohio                 0.0030776456%
                 OH1173         Minerva Village, Ohio                      0.0118214870%
                 OH1174         Mingo Junction Village, Ohio               0.0074909571%
                 OH1175         Minster Village, Ohio                      0.0056442578%
                 OH1176         Mississinawa Township, Ohio                0.0003444623%
                 OH1177         Mogadore Village, Ohio                     0.0107618198%
                 OH1178         Monclova Township, Ohio                    0.0108181339%
                 OH1179         Monday Creek Township, Ohio                0.0000430312%
                 OH1180         Monroe City, Ohio                          0.1198391105%
                 OH1181         Monroe County, Ohio                        0.0768222745%
                 OH1182         Monroe Township, Adams County, Ohio        0.0016865705%
                 OH1183         Monroe Township, Allen County, Ohio        0.0002727166%
                 OH1184         Monroe Township, Carroll County, Ohio      0.0010130841%
                 OH1185         Monroe Township, Clermont County,          0.0034821896%
                                Ohio
                 OH1186         Monroe Township, Darke County, Ohio        0.0006151113%
                 OH1187         Monroe Township, Guernsey County,          0.0001903706%
                                Ohio
                 OH1188         Monroe Township, Harrison County,          0.0003530677%
                                Ohio
  Strictly Confidential
  Subject to Protective Order
                                                  G-187                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 325 of 611. PageID #: 572609
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                 OH1189         Monroe Township, Knox County, Ohio        0.0021828768%
                 OH1190         Monroe Township, Licking County,          0.0160503654%
                                Ohio
                 OH1191         Monroe Township, Logan County, Ohio       0.0001895323%
                 OH1192         Monroe Township, Muskingum County,        0.0001203711%
                                Ohio
                 OH1193         Monroe Township, Perry County, Ohio       0.0000753046%
                 OH1194         Monroe Township, Pickaway County,         0.0003740823%
                                Ohio
                 OH1195         Monroe Township, Preble County, Ohio      0.0020296448%
                 OH1196         Monroe Township, Putnam County,           0.0007698884%
                                Ohio
                 OH1197         Monroe Township, Richland County,         0.0011596765%
                                Ohio
                 OH1198         Monroeville Village, Ohio                 0.0057515643%
                 OH1199         Monterey Township, Ohio                   0.0001158972%
                 OH1200         Montezuma Village, Ohio                   0.0003248528%
                 OH1201         Montgomery City, Ohio                     0.0491831661%
                 OH1202         Montgomery County, Ohio                   5.1644746001%
                 OH1203         Montgomery Township, Marion County,       0.0007252418%
                                Ohio
                 OH1204         Montgomery Township, Wood County,         0.0011448768%
                                Ohio
                 OH1205         Montpelier Village, Ohio                  0.0054141221%
                 OH1206         Montville Township, Geauga County,        0.0005742528%
                                Ohio
                 OH1207         Montville Township, Medina County,        0.0202875314%
                                Ohio
                 OH1208         Moorefield Township, Ohio                 0.0090773788%
                 OH1209         Moraine City, Ohio                        0.0890573422%
                 OH1210         Moreland Hills Village, Ohio              0.0034611065%
                 OH1211         Morgan County, Ohio                       0.0873568346%
                 OH1212         Morgan Township, Ashtabula County,        0.0013032327%
                                Ohio
                 OH1213         Morgan Township, Butler County, Ohio      0.0060266465%
                 OH1214         Morgan Township, Gallia County, Ohio      0.0004498495%
                 OH1215         Morgan Township, Knox County, Ohio        0.0013394926%
                 OH1216         Morgan Township, Scioto County, Ohio      0.0014216283%
                 OH1217         Morral Village, Ohio                      0.0008926053%
                 OH1218         Morris Township, Ohio                     0.0000330739%
                 OH1219         Morristown Village, Ohio                  0.0004780643%
                 OH1220         Morrow County, Ohio                       0.2192732037%
                 OH1221         Morrow Village, Ohio                      0.0015475289%
                 OH1222         Moscow Village, Ohio                      0.0010343137%
                 OH1223         Moulton Township, Ohio                    0.0002403706%
  Strictly Confidential
  Subject to Protective Order
                                                  G-188                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 326 of 611. PageID #: 572610
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                 OH1224         Mount Blanchard Village, Ohio       0.0000632489%
                 OH1225         Mount Cory Village, Ohio            0.0001194701%
                 OH1226         Mount Eaton Village, Ohio           0.0003286112%
                 OH1227         Mount Gilead Village, Ohio          0.0047705309%
                 OH1228         Mount Healthy City, Ohio            0.0150472097%
                 OH1229         Mount Orab Village, Ohio            0.0858253892%
                 OH1230         Mount Pleasant Township, Ohio       0.0009562924%
                 OH1231         Mount Pleasant Village, Ohio        0.0001593821%
                 OH1232         Mount Sterling Village, Ohio        0.0092167280%
                 OH1233         Mount Vernon City, Ohio             0.0916146794%
                 OH1234         Mount Victory Village, Ohio         0.0003726928%
                 OH1235         Mowrystown Village, Ohio            0.0099826658%
                 OH1236         Munroe Falls City, Ohio             0.0144765234%
                 OH1237         Munson Township, Ohio               0.0126431327%
                 OH1238         Murray City Village, Ohio           0.0003666041%
                 OH1239         Muskingum County, Ohio              0.5186890264%
                 OH1240         Muskingum Township, Ohio            0.0034591272%
                 OH1241         Mutual Village, Ohio                0.0000512624%
                 OH1242         Napoleon City, Ohio                 0.0200262083%
                 OH1243         Napoleon Township, Ohio             0.0008595230%
                 OH1244         Nashville Village, Ohio             0.0001163295%
                 OH1245         Navarre Village, Ohio               0.0045125337%
                 OH1246         Nellie Village, Ohio                0.0000766034%
                 OH1247         Nelsonville City, Ohio              0.0153618582%
                 OH1248         Nevada Village, Ohio                0.0000539719%
                 OH1249         Neville Village, Ohio               0.0000172386%
                 OH1250         New Albany City, Ohio               0.0355984449%
                 OH1251         New Alexandria Village, Ohio        0.0001593821%
                 OH1252         New Athens Village, Ohio            0.0001049661%
                 OH1253         New Bavaria Village, Ohio           0.0001925555%
                 OH1254         New Bloomington Village, Ohio       0.0006286558%
                 OH1255         New Boston Village, Ohio            0.0217793450%
                 OH1256         New Bremen Village, Ohio            0.0076829566%
                 OH1257         New Carlisle City, Ohio             0.0121258538%
                 OH1258         New Concord Village, Ohio           0.0073426360%
                 OH1259         New Franklin City, Ohio             0.0293867642%
                 OH1260         New Haven Township, Ohio            0.0016334992%
                 OH1261         New Holland Village, Ohio           0.0001903085%
                 OH1262         New Jasper Township, Ohio           0.0016406755%
                 OH1263         New Knoxville Village, Ohio         0.0011840478%
                 OH1264         New Lebanon Village, Ohio           0.0058388430%
                 OH1265         New Lexington Village, Ohio         0.0129954223%
                 OH1266         New London Township, Ohio           0.0002882646%
                 OH1267         New London Village, Ohio            0.0030473682%
                 OH1268         New Madison Village, Ohio           0.0016608005%
  Strictly Confidential
  Subject to Protective Order
                                                  G-189             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 327 of 611. PageID #: 572611
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1269         New Market Township, Ohio                  0.0002484374%
                 OH1270         New Miami Village, Ohio                    0.0024074272%
                 OH1271         New Middletown Village, Ohio               0.0007615778%
                 OH1272         New Paris Village, Ohio                    0.0016204423%
                 OH1273         New Philadelphia City, Ohio                0.0774788253%
                 OH1274         New Richmond Village, Ohio                 0.0330808011%
                 OH1275         New Riegel Village, Ohio                   0.0002406507%
                 OH1276         New Russia Township, Ohio                  0.0008375698%
                 OH1277         New Straitsville Village, Ohio             0.0021300444%
                 OH1278         New Vienna Village, Ohio                   0.0009144537%
                 OH1279         New Washington Village, Ohio               0.0012290055%
                 OH1280         New Waterford Village, Ohio                0.0048586998%
                 OH1281         New Weston Village, Ohio                   0.0000861156%
                 OH1282         Newark City, Ohio                          0.1777772576%
                 OH1283         Newark Township, Ohio                      0.0018255901%
                 OH1284         Newberry Township, Ohio                    0.0019874499%
                 OH1285         Newburgh Heights Village, Ohio             0.0042789708%
                 OH1286         Newbury Township, Ohio                     0.0027755552%
                 OH1287         Newcomerstown Village, Ohio                0.0076759513%
                 OH1288         Newton Falls Village, Ohio                 0.0365044154%
                 OH1289         Newton Township, Licking County,           0.0011027676%
                                Ohio
                 OH1290         Newton Township, Muskingum County,         0.0020262466%
                                Ohio
                 OH1291         Newton Township, Pike County, Ohio         0.0002281614%
                 OH1292         Newton Township, Trumbull County,          0.0026939270%
                                Ohio
                 OH1293         Newtonsville Village, Ohio                 0.0005516340%
                 OH1294         Newtown Village, Ohio                      0.0057282940%
                 OH1295         Ney Village, Ohio                          0.0000662077%
                 OH1296         Nile Township, Ohio                        0.0052315920%
                 OH1297         Niles City, Ohio                           0.1643806952%
                 OH1298         Nimishillen Township, Ohio                 0.0122610291%
                 OH1299         Noble County, Ohio                         0.0987433126%
                 OH1300         Noble Township, Auglaize County, Ohio      0.0000089026%
                 OH1301         Noble Township, Defiance County, Ohio      0.0003420733%
                 OH1302         Noble Township, Noble County, Ohio         0.0008278915%
                 OH1303         North Baltimore Village, Ohio              0.0034529973%
                 OH1304         North Bend Village, Ohio                   0.0025608089%
                 OH1305         North Bloomfield Township, Ohio            0.0004132886%
                 OH1306         North Canton City, Ohio                    0.0524878920%
                 OH1307         North College Hill City, Ohio              0.0194144077%
                 OH1308         North Fairfield Village, Ohio              0.0000686344%
                 OH1309         North Hampton Village, Ohio                0.0018236413%
                 OH1310         North Kingsville Village, Ohio             0.0058586766%
  Strictly Confidential
  Subject to Protective Order
                                                  G-190                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 328 of 611. PageID #: 572612
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1311         North Lewisburg Village, Ohio              0.0040569220%
                 OH1312         North Olmsted City, Ohio                   0.0399884238%
                 OH1313         North Perry Village, Ohio                  0.0021416939%
                 OH1314         North Randall Village, Ohio                0.0010272691%
                 OH1315         North Ridgeville City, Ohio                0.1099748579%
                 OH1316         North Robinson Village, Ohio               0.0000652569%
                 OH1317         North Royalton City, Ohio                  0.0490362937%
                 OH1318         North Star Village, Ohio                   0.0006041028%
                 OH1319         North Township, Ohio                       0.0006202542%
                 OH1320         Northfield Center Township, Ohio           0.0055419447%
                 OH1321         Northfield Village, Ohio                   0.0204907382%
                 OH1322         Northwest Township, Ohio                   0.0003378915%
                 OH1323         Northwood City, Ohio                       0.0154037964%
                 OH1324         Norton City, Ohio                          0.0374368018%
                 OH1325         Norwalk City, Ohio                         0.0671930963%
                 OH1326         Norwalk Township, Ohio                     0.0009746088%
                 OH1327         Norwich Township, Franklin County,         0.0881825657%
                                Ohio
                 OH1328         Norwich Township, Huron County, Ohio       0.0005490754%
                 OH1329         Norwich Village, Ohio                      0.0000776491%
                 OH1330         Norwood City, Ohio                         0.1133550899%
                 OH1331         Nottingham Township, Ohio                  0.0002290169%
                 OH1332         Oak Harbor Village, Ohio                   0.0043210926%
                 OH1333         Oak Hill Village, Ohio                     0.0009945397%
                 OH1334         Oakwood City, Ohio                         0.0665292396%
                 OH1335         Oakwood Village, Cuyahoga County,          0.0160412015%
                                Ohio
                 OH1336         Oakwood Village, Paulding County,          0.0006103209%
                                Ohio
                 OH1337         Oberlin City, Ohio                         0.0523286319%
                 OH1338         Obetz Village, Ohio                        0.0012677151%
                 OH1339         Octa Village, Ohio                         0.0000132032%
                 OH1340         Ohio City Village, Ohio                    0.0013381279%
                 OH1341         Ohio Township, Clermont County, Ohio       0.0024995915%
                 OH1342         Ohio Township, Monroe County, Ohio         0.0002805325%
                 OH1343         Old Washington Village, Ohio               0.0016589439%
                 OH1344         Olive Township, Meigs County, Ohio         0.0005413001%
                 OH1345         Olive Township, Noble County, Ohio         0.0002069729%
                 OH1346         Olmsted Falls City, Ohio                   0.0116318466%
                 OH1347         Olmsted Township, Ohio                     0.0148163807%
                 OH1348         Ontario City, Ohio                         0.0192773910%
                 OH1349         Orange Township, Ashland County,           0.0004880329%
                                Ohio
                 OH1350         Orange Township, Carroll County, Ohio      0.0003703748%


  Strictly Confidential
  Subject to Protective Order
                                                  G-191                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 329 of 611. PageID #: 572613
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                 OH1351         Orange Township, Delaware County,          0.0531556020%
                                Ohio
                 OH1352         Orange Township, Meigs County, Ohio        0.0003383126%
                 OH1353         Orange Township, Shelby County, Ohio       0.0011891054%
                 OH1354         Orange Village, Ohio                       0.0100237754%
                 OH1355         Orangeville Village, Ohio                  0.0005285553%
                 OH1356         Oregon City, Ohio                          0.0936692081%
                 OH1357         Orrville City, Ohio                        0.0089614214%
                 OH1358         Orwell Township, Ohio                      0.0004813742%
                 OH1359         Orwell Village, Ohio                       0.0054712290%
                 OH1360         Osgood Village, Ohio                       0.0000984178%
                 OH1361         Osnaburg Township, Ohio                    0.0017515756%
                 OH1362         Ostrander Village, Ohio                    0.0001237328%
                 OH1363         Ottawa County, Ohio                        0.2393019717%
                 OH1364         Ottawa Hills Village, Ohio                 0.0134021121%
                 OH1365         Ottawa Village, Ohio                       0.0047352274%
                 OH1366         Ottoville Village, Ohio                    0.0010927448%
                 OH1367         Otway Village, Ohio                        0.0001137303%
                 OH1368         Owensville Village, Ohio                   0.0008791667%
                 OH1369         Oxford City, Ohio                          0.0794612533%
                 OH1370         Oxford Township, Butler County, Ohio       0.1101599888%
                 OH1371         Oxford Township, Coshocton County,         0.0002143057%
                                Ohio
                 OH1372         Oxford Township, Guernsey County,          0.0001223811%
                                Ohio
                 OH1373         Oxford Township, Tuscarawas County,        0.0000788288%
                                Ohio
                 OH1374         Painesville City, Ohio                     0.0828627046%
                 OH1375         Painesville Township, Ohio                 0.0334236916%
                 OH1376         Paint Township, Fayette County, Ohio       0.0000280861%
                 OH1377         Paint Township, Highland County, Ohio      0.0002710226%
                 OH1378         Paint Township, Holmes County, Ohio        0.0004187862%
                 OH1379         Paint Township, Madison County, Ohio       0.0000155425%
                 OH1380         Paint Township, Ross County, Ohio          0.0003836542%
                 OH1381         Paint Township, Wayne County, Ohio         0.0001894347%
                 OH1382         Palestine Village, Ohio                    0.0005121741%
                 OH1383         Palmer Township, Ohio                      0.0000584877%
                 OH1384         Palmyra Township, Ohio                     0.0008124819%
                 OH1385         Pandora Village, Ohio                      0.0009188990%
                 OH1386         Paris Township, Portage County, Ohio       0.0001503091%
                 OH1387         Paris Township, Stark County, Ohio         0.0010390703%
                 OH1388         Parkman Township, Ohio                     0.0008613792%
                 OH1389         Parma City, Ohio                           0.1543116176%
                 OH1390         Parma Heights City, Ohio                   0.0326118418%
                 OH1391         Parral Village, Ohio                       0.0000098536%
  Strictly Confidential
  Subject to Protective Order
                                                   G-192                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 330 of 611. PageID #: 572614
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                 OH1392         Pataskala City, Ohio                       0.0174033408%
                 OH1393         Patterson Village, Ohio                    0.0000841761%
                 OH1394         Paulding County, Ohio                      0.0839721160%
                 OH1395         Paulding Township, Ohio                    0.0001534939%
                 OH1396         Paulding Village, Ohio                     0.0016847781%
                 OH1397         Paxton Township, Ohio                      0.0010329152%
                 OH1398         Payne Village, Ohio                        0.0005664655%
                 OH1399         Pease Township, Ohio                       0.0005202465%
                 OH1400         Pebble Township, Ohio                      0.0003464673%
                 OH1401         Pee Pee Township, Ohio                     0.0015041749%
                 OH1402         Peebles Village, Ohio                      0.0067989872%
                 OH1403         Pemberville Village, Ohio                  0.0012856905%
                 OH1404         Peninsula Village, Ohio                    0.0050407601%
                 OH1405         Penn Township, Ohio                        0.0001392397%
                 OH1406         Pepper Pike City, Ohio                     0.0193758750%
                 OH1407         Perkins Township, Ohio                     0.0512077107%
                 OH1408         Perry County, Ohio                         0.2380485965%
                 OH1409         Perry Township, Allen County, Ohio         0.0045543679%
                 OH1410         Perry Township, Brown County, Ohio         0.0143559087%
                 OH1411         Perry Township, Columbiana County,         0.0048853229%
                                Ohio
                 OH1412         Perry Township, Fayette County, Ohio       0.0003538844%
                 OH1413         Perry Township, Franklin County, Ohio      0.0091642053%
                 OH1414         Perry Township, Lake County, Ohio          0.0025586608%
                 OH1415         Perry Township, Lawrence County, Ohio      0.0009214313%
                 OH1416         Perry Township, Licking County, Ohio       0.0016309840%
                 OH1417         Perry Township, Logan County, Ohio         0.0026933538%
                 OH1418         Perry Township, Monroe County, Ohio        0.0000872768%
                 OH1419         Perry Township, Muskingum County,          0.0027986277%
                                Ohio
                 OH1420         Perry Township, Pickaway County, Ohio      0.0000291493%
                 OH1421         Perry Township, Pike County, Ohio          0.0001267563%
                 OH1422         Perry Township, Putnam County, Ohio        0.0000082784%
                 OH1423         Perry Township, Richland County, Ohio      0.0004103471%
                 OH1424         Perry Township, Stark County, Ohio         0.0537347763%
                 OH1425         Perry Township, Wood County, Ohio          0.0001040797%
                 OH1426         Perry Village, Ohio                        0.0054300469%
                 OH1427         Perrysburg City, Ohio                      0.0576846462%
                 OH1428         Perrysburg Township, Ohio                  0.0342177338%
                 OH1429         Perrysville Village, Ohio                  0.0008459238%
                 OH1430         Peru Township, Huron County, Ohio          0.0000274538%
                 OH1431         Peru Township, Morrow County, Ohio         0.0000708495%
                 OH1432         Phillipsburg Village, Ohio                 0.0041962937%
                 OH1433         Philo Village, Ohio                        0.0010532470%
                 OH1434         Pickaway County, Ohio                      0.0934088328%
  Strictly Confidential
  Subject to Protective Order
                                                  G-193                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 331 of 611. PageID #: 572615
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                 OH1435         Pickaway Township, Ohio                    0.0005441197%
                 OH1436         Pickerington City, Ohio                    0.0350194279%
                 OH1437         Pierce Township, Ohio                      0.0721778605%
                 OH1438         Pierpont Township, Ohio                    0.0011858243%
                 OH1439         Pike County, Ohio                          0.3072066041%
                 OH1440         Pike Township, Brown County, Ohio          0.0024184900%
                 OH1441         Pike Township, Clark County, Ohio          0.0026810249%
                 OH1442         Pike Township, Perry County, Ohio          0.0022268646%
                 OH1443         Pike Township, Stark County, Ohio          0.0021276201%
                 OH1444         Piketon Village, Ohio                      0.0023999196%
                 OH1445         Pioneer Village, Ohio                      0.0028760068%
                 OH1446         Piqua City, Ohio                           0.0869480927%
                 OH1447         Pitsburg Village, Ohio                     0.0005659024%
                 OH1448         Pitt Township, Ohio                        0.0002833522%
                 OH1449         Plain City Village, Ohio                   0.0102501421%
                 OH1450         Plain Township, Franklin County, Ohio      0.0388485937%
                 OH1451         Plain Township, Stark County, Ohio         0.0464019090%
                 OH1452         Plain Township, Wayne County, Ohio         0.0002976831%
                 OH1453         Plain Township, Wood County, Ohio          0.0002693828%
                 OH1454         Plainfield Village, Ohio                   0.0000153076%
                 OH1455         Pleasant City Village, Ohio                0.0008654831%
                 OH1456         Pleasant Hill Village, Ohio                0.0002839214%
                 OH1457         Pleasant Plain Village, Ohio               0.0000116356%
                 OH1458         Pleasant Township, Brown County, Ohio      0.0012092450%
                 OH1459         Pleasant Township, Clark County, Ohio      0.0032390047%
                 OH1460         Pleasant Township, Fairfield County,       0.0068849393%
                                Ohio
                 OH1461         Pleasant Township, Franklin County,        0.0137844922%
                                Ohio
                 OH1462         Pleasant Township, Hancock County,         0.0002811062%
                                Ohio
                 OH1463         Pleasant Township, Henry County, Ohio      0.0002233406%
                 OH1464         Pleasant Township, Knox County, Ohio       0.0045641970%
                 OH1465         Pleasant Township, Marion County,          0.0096326984%
                                Ohio
                 OH1466         Pleasant Township, Perry County, Ohio      0.0001828826%
                 OH1467         Pleasant Township, Seneca County,          0.0003208676%
                                Ohio
                 OH1468         Pleasant Township, Van Wert County,        0.0002849717%
                                Ohio
                 OH1469         Pleasantville Village, Ohio                0.0000570350%
                 OH1470         Plymouth Township, Ohio                    0.0017493844%
                 OH1471         Plymouth Village, Ohio                     0.0065060016%
                 OH1472         Poland Township, Ohio                      0.0148262002%
                 OH1473         Poland Village, Ohio                       0.0061663235%

  Strictly Confidential
  Subject to Protective Order
                                                  G-194                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 332 of 611. PageID #: 572616
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID                Qualifying Subdivision              Allocation
                 OH1474         Polk Township, Ohio                          0.0010767393%
                 OH1475         Polk Village, Ohio                           0.0000406694%
                 OH1476         Pomeroy Village, Ohio                        0.0093881741%
                 OH1477         Port Clinton City, Ohio                      0.0145364578%
                 OH1478         Port Jefferson Village, Ohio                 0.0003105872%
                 OH1479         Port Washington Village, Ohio                0.0003251687%
                 OH1480         Port William Village, Ohio                   0.0010928837%
                 OH1481         Portage County, Ohio                         0.9187057360%
                 OH1482         Portage Township, Hancock County,            0.0001686637%
                                Ohio
                 OH1483         Portage Township, Ottawa County, Ohio        0.0000480885%
                 OH1484         Portage Township, Wood County, Ohio          0.0001408137%
                 OH1485         Portage Village, Ohio                        0.0016040519%
                 OH1486         Porter Township, Delaware County,            0.0036954857%
                                Ohio
                 OH1487         Porter Township, Scioto County, Ohio         0.0395496982%
                 OH1488         Portsmouth City, Ohio                        0.2233662325%
                 OH1489         Potsdam Village, Ohio                        0.0000227137%
                 OH1490         Powell City, Ohio                            0.0184361841%
                 OH1491         Powhatan Point Village, Ohio                 0.0016591645%
                 OH1492         Prairie Township, Franklin County, Ohio      0.0344574120%
                 OH1493         Prairie Township, Holmes County, Ohio        0.0003867956%
                 OH1494         Preble County, Ohio                          0.3067055248%
                 OH1495         Proctorville Village, Ohio                   0.0018254771%
                 OH1496         Prospect Village, Ohio                       0.0011157566%
                 OH1497         Providence Township, Ohio                    0.0026476678%
                 OH1498         Pulaski Township, Ohio                       0.0002907439%
                 OH1499         Pultney Township, Ohio                       0.0018560145%
                 OH1500         Pusheta Township, Ohio                       0.0002670784%
                 OH1501         Put In Bay Township, Ohio                    0.0034623699%
                 OH1502         Put-In-Bay Village, Ohio                     0.0040050827%
                 OH1503         Putnam County, Ohio                          0.1372967601%
                 OH1504         Quaker City Village, Ohio                    0.0004351328%
                 OH1505         Quincy Village, Ohio                         0.0003391631%
                 OH1506         Raccoon Township, Ohio                       0.0003561309%
                 OH1507         Racine Village, Ohio                         0.0010826003%
                 OH1508         Radnor Township, Ohio                        0.0001814747%
                 OH1509         Randolph Township, Ohio                      0.0013730943%
                 OH1510         Range Township, Ohio                         0.0007149570%
                 OH1511         Rarden Township, Ohio                        0.0020471447%
                 OH1512         Rarden Village, Ohio                         0.0005117862%
                 OH1513         Ravenna City, Ohio                           0.0218557620%
                 OH1514         Ravenna Township, Ohio                       0.0059636168%
                 OH1515         Rawson Village, Ohio                         0.0001405531%
                 OH1516         Rayland Village, Ohio                        0.0003984552%
  Strictly Confidential
  Subject to Protective Order
                                                   G-195                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 333 of 611. PageID #: 572617
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                 OH1517         Reading City, Ohio                          0.0457344992%
                 OH1518         Reading Township, Ohio                      0.0019364040%
                 OH1519         Recovery Township, Ohio                     0.0000812132%
                 OH1520         Reily Township, Ohio                        0.0012764211%
                 OH1521         Reminderville Village, Ohio                 0.0151415568%
                 OH1522         Rendville Village, Ohio                     0.0001828826%
                 OH1523         Republic Village, Ohio                      0.0011130095%
                 OH1524         Reynoldsburg City, Ohio                     0.0697130845%
                 OH1525         Rice Township, Ohio                         0.0003978688%
                 OH1526         Richfield Township, Henry County,           0.0023349246%
                                Ohio
                 OH1527         Richfield Township, Lucas County, Ohio      0.0047039321%
                 OH1528         Richfield Township, Summit County,          0.0095996121%
                                Ohio
                 OH1529         Richfield Village, Ohio                     0.0399887454%
                 OH1530         Richland County, Ohio                       0.7455113947%
                 OH1531         Richland Township, Allen County, Ohio       0.0002999883%
                 OH1532         Richland Township, Belmont County,          0.0026715361%
                                Ohio
                 OH1533         Richland Township, Clinton County,          0.0005798975%
                                Ohio
                 OH1534         Richland Township, Darke County, Ohio       0.0002952534%
                 OH1535         Richland Township, Fairfield County,        0.0003503579%
                                Ohio
                 OH1536         Richland Township, Holmes County,           0.0001483201%
                                Ohio
                 OH1537         Richland Township, Wyandot County,          0.0001079437%
                                Ohio
                 OH1538         Richmond Heights City, Ohio                 0.0218650269%
                 OH1539         Richmond Township, Ashtabula County,        0.0003170025%
                                Ohio
                 OH1540         Richmond Township, Huron County,            0.0015099572%
                                Ohio
                 OH1541         Richmond Village, Ohio                      0.0007609773%
                 OH1542         Richwood Village, Ohio                      0.0014048433%
                 OH1543         Ridgefield Township, Ohio                   0.0003431721%
                 OH1544         Ridgeville Township, Ohio                   0.0002165727%
                 OH1545         Ridgeway Village, Ohio                      0.0003864298%
                 OH1546         Riley Township, Ohio                        0.0007202182%
                 OH1547         Rio Grande Village, Ohio                    0.0014432672%
                 OH1548         Ripley Township, Holmes County, Ohio        0.0000348988%
                 OH1549         Ripley Township, Huron County, Ohio         0.0000137269%
                 OH1550         Ripley Village, Ohio                        0.0111932679%
                 OH1551         Risingsun Village, Ohio                     0.0004530528%
                 OH1552         Rittman City, Ohio                          0.0059649971%

  Strictly Confidential
  Subject to Protective Order
                                                   G-196                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 334 of 611. PageID #: 572618
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1553         Riverlea Village, Ohio                     0.0001680104%
                 OH1554         Riverside City, Ohio                       0.0817797700%
                 OH1555         Roaming Shores Village, Ohio               0.0034987688%
                 OH1556         Rochester Township, Ohio                   0.0013537465%
                 OH1557         Rochester Village, Ohio                    0.0000194784%
                 OH1558         Rock Creek Village, Ohio                   0.0002113350%
                 OH1559         Rockford Village, Ohio                     0.0018408327%
                 OH1560         Rocky Ridge Village, Ohio                  0.0002129632%
                 OH1561         Rocky River City, Ohio                     0.0503638414%
                 OH1562         Rogers Village, Ohio                       0.0005457718%
                 OH1563         Rome Township, Ashtabula County,           0.0014206410%
                                Ohio
                 OH1564         Rome Township, Athens County, Ohio         0.0002813909%
                 OH1565         Rome Township, Lawrence County,            0.0010605153%
                                Ohio
                 OH1566         Rome Village, Ohio                         0.0002586036%
                 OH1567         Rootstown Township, Ohio                   0.0026527533%
                 OH1568         Rose Township, Ohio                        0.0004793086%
                 OH1569         Roseville Village, Ohio                    0.0016522526%
                 OH1570         Ross County, Ohio                          1.0109583321%
                 OH1571         Ross Township, Butler County, Ohio         0.0261747113%
                 OH1572         Ross Township, Greene County, Ohio         0.0002579678%
                 OH1573         Ross Township, Jefferson County, Ohio      0.0004940844%
                 OH1574         Rossburg Village, Ohio                     0.0000984178%
                 OH1575         Rossford City, Ohio                        0.0126977241%
                 OH1576         Roswell Village, Ohio                      0.0002759007%
                 OH1577         Roundhead Township, Ohio                   0.0002332423%
                 OH1578         Royalton Township, Ohio                    0.0009661532%
                 OH1579         Rumley Township, Ohio                      0.0006297965%
                 OH1580         Rush Creek Township, Ohio                  0.0026562014%
                 OH1581         Rush Township, Scioto County, Ohio         0.0047482384%
                 OH1582         Rush Township, Tuscarawas County,          0.0000689752%
                                Ohio
                 OH1583         Rushcreek Township, Ohio                   0.0004189662%
                 OH1584         Rushsylvania Village, Ohio                 0.0000099754%
                 OH1585         Rushville Village, Ohio                    0.0000244436%
                 OH1586         Russell Township, Ohio                     0.0185770784%
                 OH1587         Russells Point Village, Ohio               0.0022943385%
                 OH1588         Russellville Village, Ohio                 0.0057671685%
                 OH1589         Russia Village, Ohio                       0.0003460829%
                 OH1590         Rutland Village, Ohio                      0.0004567220%
                 OH1591         Sabina Village, Ohio                       0.0072933257%
                 OH1592         Sagamore Hills Township, Ohio              0.0226207726%
                 OH1593         Salem City, Ohio                           0.0383095249%
                 OH1594         Salem Township, Auglaize County, Ohio      0.0001157340%
  Strictly Confidential
  Subject to Protective Order
                                                  G-197                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 335 of 611. PageID #: 572619
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                 OH1595         Salem Township, Champaign County,         0.0003806616%
                                Ohio
                 OH1596         Salem Township, Columbiana County,        0.0009051824%
                                Ohio
                 OH1597         Salem Township, Muskingum County,         0.0003912060%
                                Ohio
                 OH1598         Salem Township, Ottawa County, Ohio       0.0007213271%
                 OH1599         Salem Township, Shelby County, Ohio       0.0010648705%
                 OH1600         Salem Township, Tuscarawas County,        0.0026407637%
                                Ohio
                 OH1601         Salem Township, Warren County, Ohio       0.0074583911%
                 OH1602         Salem Township, Washington County,        0.0005013228%
                                Ohio
                 OH1603         Salesville Village, Ohio                  0.0000679895%
                 OH1604         Salineville Village, Ohio                 0.0034609917%
                 OH1605         Salisbury Township, Ohio                  0.0003552282%
                 OH1606         Salt Creek Township, Hocking County,      0.0001833021%
                                Ohio
                 OH1607         Salt Creek Township, Holmes County,       0.0000465318%
                                Ohio
                 OH1608         Salt Creek Township, Wayne County,        0.0001391765%
                                Ohio
                 OH1609         Salt Lick Township, Ohio                  0.0000430312%
                 OH1610         Salt Rock Township, Ohio                  0.0007066458%
                 OH1611         Saltcreek Township, Ohio                  0.0003935151%
                 OH1612         Sandusky City, Ohio                       0.1261336610%
                 OH1613         Sandusky County, Ohio                     0.3072903644%
                 OH1614         Sandusky Township, Crawford County,       0.0000108762%
                                Ohio
                 OH1615         Sandusky Township, Sandusky County,       0.0015100930%
                                Ohio
                 OH1616         Sandy Township, Stark County, Ohio        0.0049479536%
                 OH1617         Sandy Township, Tuscarawas County,        0.0006897517%
                                Ohio
                 OH1618         Sarahsville Village, Ohio                 0.0000689910%
                 OH1619         Sardinia Village, Ohio                    0.0044028921%
                 OH1620         Savannah Village, Ohio                    0.0002294615%
                 OH1621         Saybrook Township, Ohio                   0.0161906113%
                 OH1622         Scio Village, Ohio                        0.0001526779%
                 OH1623         Scioto County, Ohio                       0.9401796346%
                 OH1624         Scioto Township, Delaware County,         0.0019714756%
                                Ohio
                 OH1625         Scioto Township, Pickaway County,         0.0062913839%
                                Ohio
                 OH1626         Scioto Township, Pike County, Ohio        0.0002619631%
  Strictly Confidential
  Subject to Protective Order
                                                  G-198                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 336 of 611. PageID #: 572620
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                 OH1627         Scioto Township, Ross County, Ohio         0.0146969071%
                 OH1628         Scipio Township, Meigs County, Ohio        0.0004736376%
                 OH1629         Scipio Township, Seneca County, Ohio       0.0005615183%
                 OH1630         Scott Township, Marion County, Ohio        0.0001301716%
                 OH1631         Scott Township, Sandusky County, Ohio      0.0009313747%
                 OH1632         Scott Village, Ohio                        0.0006416289%
                 OH1633         Seal Township, Ohio                        0.0013351665%
                 OH1634         Seaman Village, Ohio                       0.0025035030%
                 OH1635         Sebring Village, Ohio                      0.0078737318%
                 OH1636         Seneca County, Ohio                        0.2801274556%
                 OH1637         Seneca Township, Monroe County, Ohio       0.0000124681%
                 OH1638         Seneca Township, Noble County, Ohio        0.0000172477%
                 OH1639         Senecaville Village, Ohio                  0.0007886782%
                 OH1640         Seven Hills City, Ohio                     0.0208535620%
                 OH1641         Seven Mile Village, Ohio                   0.0013087356%
                 OH1642         Seville Village, Ohio                      0.0055383307%
                 OH1643         Shadyside Village, Ohio                    0.0078177582%
                 OH1644         Shaker Heights City, Ohio                  0.1048407101%
                 OH1645         Shalersville Township, Ohio                0.0000934354%
                 OH1646         Sharon Township, Franklin County,          0.0053763338%
                                Ohio
                 OH1647         Sharon Township, Medina County, Ohio       0.0058099333%
                 OH1648         Sharon Township, Richland County,          0.0000802853%
                                Ohio
                 OH1649         Sharonville City, Ohio                     0.1284229161%
                 OH1650         Shawnee Hills Village, Ohio                0.0030520752%
                 OH1651         Shawnee Township, Ohio                     0.0289829613%
                 OH1652         Shawnee Village, Ohio                      0.0005916790%
                 OH1653         Sheffield Lake City, Ohio                  0.0113266702%
                 OH1654         Sheffield Township, Ashtabula County,      0.0012562693%
                                Ohio
                 OH1655         Sheffield Township, Lorain County,         0.0039054125%
                                Ohio
                 OH1656         Sheffield Village, Ohio                    0.0383431647%
                 OH1657         Shelby City, Ohio                          0.0301426674%
                 OH1658         Shelby County, Ohio                        0.2601922372%
                 OH1659         Sherrodsville Village, Ohio                0.0010675510%
                 OH1660         Sherwood Village, Ohio                     0.0012358778%
                 OH1661         Shiloh Village, Ohio                       0.0001516500%
                 OH1662         Shreve Village, Ohio                       0.0012061965%
                 OH1663         Sidney City, Ohio                          0.0768126600%
                 OH1664         Silver Lake Village, Ohio                  0.0087129009%
                 OH1665         Silverton Village, Ohio                    0.0117488480%
                 OH1666         Sinking Spring Village, Ohio               0.0018697801%
                 OH1667         Smith Township, Belmont County, Ohio       0.0011670394%
  Strictly Confidential
  Subject to Protective Order
                                                  G-199                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 337 of 611. PageID #: 572621
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                 OH1668         Smith Township, Mahoning County,            0.0056258490%
                                Ohio
                 OH1669         Smithfield Township, Ohio                   0.0003028259%
                 OH1670         Smithfield Village, Ohio                    0.0021516579%
                 OH1671         Smithville Village, Ohio                    0.0012448566%
                 OH1672         Solon City, Ohio                            0.0575665779%
                 OH1673         Somerford Township, Ohio                    0.0018806477%
                 OH1674         Somers Township, Ohio                       0.0009493500%
                 OH1675         Somerset Village, Ohio                      0.0013447250%
                 OH1676         Somerville Village, Ohio                    0.0001615723%
                 OH1677         South Amherst Village, Ohio                 0.0020257501%
                 OH1678         South Bloomfield Township, Ohio             0.0004782339%
                 OH1679         South Bloomfield Village, Ohio              0.0012874261%
                 OH1680         South Charleston Village, Ohio              0.0026810249%
                 OH1681         South Euclid City, Ohio                     0.0416202012%
                 OH1682         South Lebanon Village, Ohio                 0.0058643200%
                 OH1683         South Point Village, Ohio                   0.0061370801%
                 OH1684         South Russell Village, Ohio                 0.0067283287%
                 OH1685         South Salem Village, Ohio                   0.0005572426%
                 OH1686         South Solon Village, Ohio                   0.0007460421%
                 OH1687         South Vienna Village, Ohio                  0.0009118207%
                 OH1688         South Webster Village, Ohio                 0.0024736332%
                 OH1689         South Zanesville Village, Ohio              0.0015547932%
                 OH1690         Southington Township, Ohio                  0.0014492645%
                 OH1691         Sparta Village, Ohio                        0.0000770825%
                 OH1692         Spencer Township, Allen County, Ohio        0.0001636300%
                 OH1693         Spencer Township, Guernsey County,          0.0001631748%
                                Ohio
                 OH1694         Spencer Township, Lucas County, Ohio        0.0024565990%
                 OH1695         Spencer Township, Medina County,            0.0000708528%
                                Ohio
                 OH1696         Spencer Village, Ohio                       0.0016178066%
                 OH1697         Spencerville Village, Ohio                  0.0025294469%
                 OH1698         Sprigg Township, Ohio                       0.0001054107%
                 OH1699         Spring Valley Township, Ohio                0.0070786377%
                 OH1700         Spring Valley Village, Ohio                 0.0001444620%
                 OH1701         Springboro City, Ohio                       0.0299889938%
                 OH1702         Springdale City, Ohio                       0.0692154947%
                 OH1703         Springfield City, Ohio                      0.4735887613%
                 OH1704         Springfield Township, Clark County,         0.0105063514%
                                Ohio
                 OH1705         Springfield Township, Gallia County,        0.0009746740%
                                Ohio
                 OH1706         Springfield Township, Hamilton County,      0.1053972703%
                                Ohio
  Strictly Confidential
  Subject to Protective Order
                                                   G-200                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 338 of 611. PageID #: 572622
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID                Qualifying Subdivision              Allocation
                 OH1707         Springfield Township, Jefferson County,      0.0002231349%
                                Ohio
                 OH1708         Springfield Township, Lucas County,          0.0432543386%
                                Ohio
                 OH1709         Springfield Township, Mahoning               0.0039675747%
                                County, Ohio
                 OH1710         Springfield Township, Richland County,       0.0177162881%
                                Ohio
                 OH1711         Springfield Township, Ross County,           0.0053121351%
                                Ohio
                 OH1712         Springfield Township, Summit County,         0.0469667767%
                                Ohio
                 OH1713         Springfield Township, Williams County,       0.0004950504%
                                Ohio
                 OH1714         St Albans Township, Ohio                     0.0043369348%
                 OH1715         St Clair Township, Butler County, Ohio       0.0005493458%
                 OH1716         St Clair Township, Columbiana County,        0.0167991211%
                                Ohio
                 OH1717         St Marys Township, Ohio                      0.0002136628%
                 OH1718         St. Bernard Village, Ohio                    0.0379854367%
                 OH1719         St. Clairsville City, Ohio                   0.0187569954%
                 OH1720         St. Henry Village, Ohio                      0.0014076956%
                 OH1721         St. Louisville Village, Ohio                 0.0003799451%
                 OH1722         St. Marys City, Ohio                         0.0281144576%
                 OH1723         St. Paris Village, Ohio                      0.0038066155%
                 OH1724         Stafford Village, Ohio                       0.0000249362%
                 OH1725         Stark County, Ohio                           1.5315796664%
                 OH1726         Starr Township, Ohio                         0.0001436692%
                 OH1727         Staunton Township, Ohio                      0.0003747763%
                 OH1728         Sterling Township, Ohio                      0.0043408795%
                 OH1729         Steubenville City, Ohio                      0.1367338744%
                 OH1730         Steubenville Township, Ohio                  0.0000318764%
                 OH1731         Stock Township, Harrison County, Ohio        0.0003339830%
                 OH1732         Stock Township, Noble County, Ohio           0.0000344955%
                 OH1733         Stockport Village, Ohio                      0.0002249256%
                 OH1734         Stokes Township, Logan County, Ohio          0.0047782092%
                 OH1735         Stokes Township, Madison County,             0.0007615846%
                                Ohio
                 OH1736         Stone Creek Village, Ohio                    0.0001379503%
                 OH1737         Stonelick Township, Ohio                     0.0184280231%
                 OH1738         Stoutsville Village, Ohio                    0.0000733307%
                 OH1739         Stow City, Ohio                              0.1475892163%
                 OH1740         Strasburg Village, Ohio                      0.0032911011%
                 OH1741         Stratton Village, Ohio                       0.0014981914%
                 OH1742         Streetsboro City, Ohio                       0.0206045399%
  Strictly Confidential
  Subject to Protective Order
                                                   G-201                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 339 of 611. PageID #: 572623
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                 OH1743         Strongsville City, Ohio                    0.0739396664%
                 OH1744         Struthers City, Ohio                       0.0252671862%
                 OH1745         Stryker Village, Ohio                      0.0016737417%
                 OH1746         Suffield Township, Ohio                    0.0026771277%
                 OH1747         Sugar Bush Knolls Village, Ohio            0.0000982645%
                 OH1748         Sugar Creek Township, Allen County,        0.0002727166%
                                Ohio
                 OH1749         Sugar Creek Township, Putnam County,       0.0001655674%
                                Ohio
                 OH1750         Sugar Creek Township, Wayne County,        0.0003634054%
                                Ohio
                 OH1751         Sugar Grove Village, Ohio                  0.0001955486%
                 OH1752         Sugarcreek Township, Ohio                  0.0470017417%
                 OH1753         Sugarcreek Village, Ohio                   0.0027688605%
                 OH1754         Sullivan Township, Ohio                    0.0017162492%
                 OH1755         Summerfield Village, Ohio                  0.0001212800%
                 OH1756         Summit Township, Ohio                      0.0000062341%
                 OH1757         Summitville Village, Ohio                  0.0004792142%
                 OH1758         Sunbury Village, Ohio                      0.0082323543%
                 OH1759         Sunfish Township, Ohio                     0.0000676034%
                 OH1760         Swan Creek Township, Ohio                  0.0048429959%
                 OH1761         Swanton Township, Ohio                     0.0015012549%
                 OH1762         Swanton Village, Ohio                      0.0072434936%
                 OH1763         Switzerland Township, Ohio                 0.0001807876%
                 OH1764         Sycamore Township, Hamilton County,        0.0584269292%
                                Ohio
                 OH1765         Sycamore Township, Wyandot County,         0.0002766058%
                                Ohio
                 OH1766         Sycamore Village, Ohio                     0.0012008738%
                 OH1767         Sylvania City, Ohio                        0.0526622027%
                 OH1768         Sylvania Township, Ohio                    0.1247952267%
                 OH1769         Symmes Township, Hamilton County,          0.0305202839%
                                Ohio
                 OH1770         Symmes Township, Lawrence County,          0.0000521565%
                                Ohio
                 OH1771         Syracuse Village, Ohio                     0.0005413001%
                 OH1772         Tallmadge City, Ohio                       0.0580737905%
                 OH1773         Tarlton Village, Ohio                      0.0002242634%
                 OH1774         Tate Township, Ohio                        0.0267197716%
                 OH1775         Taylor Creek Township, Ohio                0.0001110677%
                 OH1776         Terrace Park Village, Ohio                 0.0056698421%
                 OH1777         Texas Township, Ohio                       0.0002936562%
                 OH1778         The Village of Indian Hill City, Ohio      0.0264202950%
                 OH1779         Thompson Township, Delaware County,        0.0002474656%
                                Ohio
  Strictly Confidential
  Subject to Protective Order
                                                  G-202                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 340 of 611. PageID #: 572624
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                 OH1780         Thompson Township, Geauga County,         0.0022491568%
                                Ohio
                 OH1781         Thorn Township, Ohio                      0.0007422882%
                 OH1782         Thornville Village, Ohio                  0.0006131946%
                 OH1783         Thurston Village, Ohio                    0.0013688400%
                 OH1784         Tiffin City, Ohio                         0.0703803061%
                 OH1785         Tiffin Township, Ohio                     0.0005075927%
                 OH1786         Tiltonsville Village, Ohio                0.0016575735%
                 OH1787         Timberlake Village, Ohio                  0.0023312243%
                 OH1788         Tipp City, Ohio                           0.0376479790%
                 OH1789         Tiro Village, Ohio                        0.0000326285%
                 OH1790         Toledo City, Ohio                         1.0197706186%
                 OH1791         Tontogany Village, Ohio                   0.0001897924%
                 OH1792         Toronto City, Ohio                        0.0279077997%
                 OH1793         Townsend Township, Huron County,          0.0006177098%
                                Ohio
                 OH1794         Townsend Township, Sandusky County,       0.0000271274%
                                Ohio
                 OH1795         Tremont City Village, Ohio                0.0006396354%
                 OH1796         Trenton City, Ohio                        0.0416371797%
                 OH1797         Trenton Township, Ohio                    0.0000577420%
                 OH1798         Trimble Township, Ohio                    0.0023032365%
                 OH1799         Trimble Village, Ohio                     0.0004320101%
                 OH1800         Trotwood City, Ohio                       0.0811683100%
                 OH1801         Troy City, Ohio                           0.0899917302%
                 OH1802         Troy Township, Ashland County, Ohio       0.0002358826%
                 OH1803         Troy Township, Athens County, Ohio        0.0008754383%
                 OH1804         Troy Township, Geauga County, Ohio        0.0026032794%
                 OH1805         Troy Township, Richland County, Ohio      0.0034790294%
                 OH1806         Troy Township, Wood County, Ohio          0.0027734180%
                 OH1807         Trumbull County, Ohio                     2.0203599712%
                 OH1808         Trumbull Township, Ohio                   0.0006457459%
                 OH1809         Truro Township, Ohio                      0.0493339720%
                 OH1810         Tully Township, Ohio                      0.0007929647%
                 OH1811         Turtle Creek Township, Ohio               0.0003372090%
                 OH1812         Turtlecreek Township, Ohio                0.0071325956%
                 OH1813         Tuscarawas County, Ohio                   0.3721703206%
                 OH1814         Tuscarawas Township, Ohio                 0.0020979323%
                 OH1815         Tuscarawas Village, Ohio                  0.0003842902%
                 OH1816         Twin Township, Darke County, Ohio         0.0003813690%
                 OH1817         Twin Township, Ross County, Ohio          0.0052531114%
                 OH1818         Twinsburg City, Ohio                      0.0833508485%
                 OH1819         Tymochtee Township, Ohio                  0.0003170847%
                 OH1820         Uhrichsville City, Ohio                   0.0101787647%
                 OH1821         Union City Village, Ohio                  0.0076150778%
  Strictly Confidential
  Subject to Protective Order
                                                  G-203                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 341 of 611. PageID #: 572625
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1822         Union City, Ohio                           0.0198982889%
                 OH1823         Union County, Ohio                         0.3002174205%
                 OH1824         Union Township, Auglaize County, Ohio      0.0001691497%
                 OH1825         Union Township, Carroll County, Ohio       0.0000762536%
                 OH1826         Union Township, Champaign County,          0.0000211479%
                                Ohio
                 OH1827         Union Township, Clermont County,           0.3185341547%
                                Ohio
                 OH1828         Union Township, Clinton County, Ohio       0.0085869431%
                 OH1829         Union Township, Fayette County, Ohio       0.0014043033%
                 OH1830         Union Township, Highland County,           0.0112248527%
                                Ohio
                 OH1831         Union Township, Lawrence County,           0.0011822137%
                                Ohio
                 OH1832         Union Township, Licking County, Ohio       0.0076823054%
                 OH1833         Union Township, Logan County, Ohio         0.0001197046%
                 OH1834         Union Township, Mercer County, Ohio        0.0004692319%
                 OH1835         Union Township, Miami County, Ohio         0.0038499743%
                 OH1836         Union Township, Muskingum County,          0.0003209896%
                                Ohio
                 OH1837         Union Township, Pike County, Ohio          0.0001098555%
                 OH1838         Union Township, Ross County, Ohio          0.0119227921%
                 OH1839         Union Township, Tuscarawas County,         0.0002167791%
                                Ohio
                 OH1840         Union Township, Union County, Ohio         0.0002502189%
                 OH1841         Union Township, Van Wert County,           0.0002973617%
                                Ohio
                 OH1842         Union Township, Warren County, Ohio        0.0079936267%
                 OH1843         Unionville Center Village, Ohio            0.0001475046%
                 OH1844         Uniopolis Village, Ohio                    0.0002492732%
                 OH1845         Unity Township, Ohio                       0.0000798690%
                 OH1846         University Heights City, Ohio              0.0306916388%
                 OH1847         Upper Arlington City, Ohio                 0.1198448950%
                 OH1848         Upper Sandusky City, Ohio                  0.0108550896%
                 OH1849         Upper Township, Ohio                       0.0007475763%
                 OH1850         Urbana City, Ohio                          0.0575116162%
                 OH1851         Urbancrest Village, Ohio                   0.0003436577%
                 OH1852         Utica Village, Ohio                        0.0044986588%
                 OH1853         Valley Hi Village, Ohio                    0.0001316045%
                 OH1854         Valley Township, Guernsey County,          0.0005439160%
                                Ohio
                 OH1855         Valley Township, Scioto County, Ohio       0.0018196842%
                 OH1856         Valley View Village, Ohio                  0.0158831601%
                 OH1857         Valleyview Village, Ohio                   0.0016037359%


  Strictly Confidential
  Subject to Protective Order
                                                  G-204                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 342 of 611. PageID #: 572626
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID                Qualifying Subdivision           Allocation
                 OH1858         Van Buren Township, Darke County,         0.0003444623%
                                Ohio
                 OH1859         Van Buren Township, Putnam County,        0.0002317943%
                                Ohio
                 OH1860         Van Buren Township, Shelby County,        0.0003904525%
                                Ohio
                 OH1861         Van Buren Village, Ohio                   0.0001188906%
                 OH1862         Van Wert City, Ohio                       0.0528808311%
                 OH1863         Van Wert County, Ohio                     0.1122540604%
                 OH1864         Vandalia City, Ohio                       0.0967305650%
                 OH1865         Vanlue Village, Ohio                      0.0001114793%
                 OH1866         Venedocia Village, Ohio                   0.0000371702%
                 OH1867         Venice Township, Ohio                     0.0000100271%
                 OH1868         Vermilion City, Ohio                      0.0432196320%
                 OH1869         Vermilion Township, Ohio                  0.0012778552%
                 OH1870         Vermillion Township, Ohio                 0.0004880329%
                 OH1871         Vernon Township, Crawford County,         0.0000108762%
                                Ohio
                 OH1872         Vernon Township, Scioto County, Ohio      0.0038952614%
                 OH1873         Vernon Township, Trumbull County,         0.0006308563%
                                Ohio
                 OH1874         Verona Village, Ohio                      0.0012373333%
                 OH1875         Versailles Village, Ohio                  0.0100017096%
                 OH1876         Vienna Township, Ohio                     0.0042113922%
                 OH1877         Vinton County, Ohio                       0.1090168446%
                 OH1878         Vinton Township, Ohio                     0.0001170406%
                 OH1879         Vinton Village, Ohio                      0.0005060807%
                 OH1880         Violet Township, Ohio                     0.0621844457%
                 OH1881         Virginia Township, Ohio                   0.0000841915%
                 OH1882         Wabash Township, Ohio                     0.0000492089%
                 OH1883         Wadsworth City, Ohio                      0.0760959559%
                 OH1884         Waite Hill Village, Ohio                  0.0053068521%
                 OH1885         Wakeman Village, Ohio                     0.0018119487%
                 OH1886         Walbridge Village, Ohio                   0.0029019871%
                 OH1887         Waldo Township, Ohio                      0.0000743838%
                 OH1888         Waldo Village, Ohio                       0.0004160980%
                 OH1889         Walnut Township, Fairfield County,        0.0087100593%
                                Ohio
                 OH1890         Walnut Township, Gallia County, Ohio      0.0001499498%
                 OH1891         Walton Hills Village, Ohio                0.0099526568%
                 OH1892         Wapakoneta City, Ohio                     0.0275268850%
                 OH1893         Ward Township, Ohio                       0.0001486233%
                 OH1894         Warren City, Ohio                         0.3520178232%
                 OH1895         Warren County, Ohio                       1.0504230532%

  Strictly Confidential
  Subject to Protective Order
                                                  G-205                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 343 of 611. PageID #: 572627
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1896         Warren Township, Belmont County,           0.0000984250%
                                Ohio
                 OH1897         Warren Township, Jefferson County,         0.0004303316%
                                Ohio
                 OH1898         Warren Township, Trumbull County,          0.0001534515%
                                Ohio
                 OH1899         Warren Township, Tuscarawas County,        0.0002069255%
                                Ohio
                 OH1900         Warren Township, Washington County,        0.0008773149%
                                Ohio
                 OH1901         Warrensville Heights City, Ohio            0.0361164097%
                 OH1902         Warsaw Village, Ohio                       0.0003911414%
                 OH1903         Warwick Township, Ohio                     0.0008474093%
                 OH1904         Washington County, Ohio                    0.3325608246%
                 OH1905         Washington Court House City, Ohio          0.0376016242%
                 OH1906         Washington Township, Auglaize              0.0023680955%
                                County, Ohio
                 OH1907         Washington Township, Belmont County,       0.0000843643%
                                Ohio
                 OH1908         Washington Township, Brown County,         0.0011782387%
                                Ohio
                 OH1909         Washington Township, Carroll County,       0.0002178675%
                                Ohio
                 OH1910         Washington Township, Clermont              0.0305984481%
                                County, Ohio
                 OH1911         Washington Township, Clinton County,       0.0029440948%
                                Ohio
                 OH1912         Washington Township, Columbiana            0.0006256408%
                                County, Ohio
                 OH1913         Washington Township, Coshocton             0.0000841915%
                                County, Ohio
                 OH1914         Washington Township, Darke County,         0.0003198579%
                                Ohio
                 OH1915         Washington Township, Defiance              0.0003531079%
                                County, Ohio
                 OH1916         Washington Township, Franklin County,      0.1225330619%
                                Ohio
                 OH1917         Washington Township, Guernsey              0.0000951853%
                                County, Ohio
                 OH1918         Washington Township, Hancock County,       0.0008925122%
                                Ohio
                 OH1919         Washington Township, Harrison County,      0.0003339830%
                                Ohio


  Strictly Confidential
  Subject to Protective Order
                                                  G-206                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 344 of 611. PageID #: 572628
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                 OH1920         Washington Township, Henry County,         0.0002571801%
                                Ohio
                 OH1921         Washington Township, Highland              0.0004065339%
                                County, Ohio
                 OH1922         Washington Township, Hocking County,       0.0002427514%
                                Ohio
                 OH1923         Washington Township, Holmes County,        0.0000261741%
                                Ohio
                 OH1924         Washington Township, Jackson County,       0.0003315132%
                                Ohio
                 OH1925         Washington Township, Lawrence              0.0000695420%
                                County, Ohio
                 OH1926         Washington Township, Licking County,       0.0008154920%
                                Ohio
                 OH1927         Washington Township, Logan County,         0.0017756185%
                                Ohio
                 OH1928         Washington Township, Lucas County,         0.0071150384%
                                Ohio
                 OH1929         Washington Township, Mercer County,        0.0001173080%
                                Ohio
                 OH1930         Washington Township, Miami County,         0.0009766897%
                                Ohio
                 OH1931         Washington Township, Monroe County,        0.0000062341%
                                Ohio
                 OH1932         Washington Township, Montgomery            0.1316317394%
                                County, Ohio
                 OH1933         Washington Township, Morrow County,        0.0002420690%
                                Ohio
                 OH1934         Washington Township, Muskingum             0.0014845767%
                                County, Ohio
                 OH1935         Washington Township, Paulding County,      0.0000402008%
                                Ohio
                 OH1936         Washington Township, Pickaway              0.0003983733%
                                County, Ohio
                 OH1937         Washington Township, Preble County,        0.0006874604%
                                Ohio
                 OH1938         Washington Township, Richland              0.0012132000%
                                County, Ohio
                 OH1939         Washington Township, Sandusky              0.0006510581%
                                County, Ohio
                 OH1940         Washington Township, Scioto County,        0.0113445935%
                                Ohio
                 OH1941         Washington Township, Shelby County,        0.0000798653%
                                Ohio

  Strictly Confidential
  Subject to Protective Order
                                                  G-207                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 345 of 611. PageID #: 572629
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                 OH1942         Washington Township, Stark County,        0.0006531299%
                                Ohio
                 OH1943         Washington Township, Wood County,         0.0002265264%
                                Ohio
                 OH1944         Washingtonville Village, Ohio             0.0014015930%
                 OH1945         Waterford Township, Ohio                  0.0050048725%
                 OH1946         Waterloo Township, Ohio                   0.0006670006%
                 OH1947         Watertown Township, Ohio                  0.0001503968%
                 OH1948         Waterville City, Ohio                     0.0124831621%
                 OH1949         Waterville Township, Ohio                 0.0015558460%
                 OH1950         Wauseon City, Ohio                        0.0277126990%
                 OH1951         Waverly Village, Ohio                     0.0077490360%
                 OH1952         Wayne County, Ohio                        0.2257675097%
                 OH1953         Wayne Lakes Village, Ohio                 0.0075166600%
                 OH1954         Wayne Township, Adams County, Ohio        0.0012649279%
                 OH1955         Wayne Township, Ashtabula County,         0.0005165967%
                                Ohio
                 OH1956         Wayne Township, Auglaize County,          0.0004273255%
                                Ohio
                 OH1957         Wayne Township, Belmont County,           0.0000562429%
                                Ohio
                 OH1958         Wayne Township, Butler County, Ohio       0.0007432325%
                 OH1959         Wayne Township, Champaign County,         0.0014909244%
                                Ohio
                 OH1960         Wayne Township, Clermont County,          0.0020513889%
                                Ohio
                 OH1961         Wayne Township, Clinton County, Ohio      0.0002007337%
                 OH1962         Wayne Township, Columbiana County,        0.0005990178%
                                Ohio
                 OH1963         Wayne Township, Darke County, Ohio        0.0000369067%
                 OH1964         Wayne Township, Fayette County, Ohio      0.0001404303%
                 OH1965         Wayne Township, Jefferson County,         0.0021038433%
                                Ohio
                 OH1966         Wayne Township, Monroe County, Ohio       0.0000062341%
                 OH1967         Wayne Township, Muskingum County,         0.0001404329%
                                Ohio
                 OH1968         Wayne Township, Noble County, Ohio        0.0000862387%
                 OH1969         Wayne Township, Pickaway County,          0.0000437239%
                                Ohio
                 OH1970         Wayne Township, Tuscarawas County,        0.0003941438%
                                Ohio
                 OH1971         Wayne Township, Warren County, Ohio       0.0038164622%
                 OH1972         Wayne Village, Ohio                       0.0008081483%
                 OH1973         Waynesburg Village, Ohio                  0.0012073007%
                 OH1974         Waynesfield Village, Ohio                 0.0007567223%

  Strictly Confidential
  Subject to Protective Order
                                                  G-208                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 346 of 611. PageID #: 572630
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID               Qualifying Subdivision           Allocation
                 OH1975         Waynesville Village, Ohio                0.0046309511%
                 OH1976         Weathersfield Township, Ohio             0.0249955502%
                 OH1977         Weller Township, Ohio                    0.0004460294%
                 OH1978         Wellington Village, Ohio                 0.0164981765%
                 OH1979         Wells Township, Ohio                     0.0100888848%
                 OH1980         Wellston City, Ohio                      0.0406103723%
                 OH1981         Wellsville Village, Ohio                 0.0125660620%
                 OH1982         Wesley Township, Ohio                    0.0001253307%
                 OH1983         West Alexandria Village, Ohio            0.0099845432%
                 OH1984         West Carrollton City, Ohio               0.0603546931%
                 OH1985         West Chester Township, Ohio              0.3737167118%
                 OH1986         West Elkton Village, Ohio                0.0026843690%
                 OH1987         West Farmington Village, Ohio            0.0001875519%
                 OH1988         West Jefferson Village, Ohio             0.0159155640%
                 OH1989         West Lafayette Village, Ohio             0.0026252451%
                 OH1990         West Leipsic Village, Ohio               0.0002152376%
                 OH1991         West Liberty Village, Ohio               0.0035013600%
                 OH1992         West Manchester Village, Ohio            0.0025206880%
                 OH1993         West Mansfield Village, Ohio             0.0000798031%
                 OH1994         West Millgrove Village, Ohio             0.0001102020%
                 OH1995         West Milton Village, Ohio                0.0098350376%
                 OH1996         West Rushville Village, Ohio             0.0001070525%
                 OH1997         West Salem Village, Ohio                 0.0004987159%
                 OH1998         West Township, Ohio                      0.0005857063%
                 OH1999         West Union Village, Ohio                 0.0111998820%
                 OH2000         West Unity Village, Ohio                 0.0014694352%
                 OH2001         Westerville City, Ohio                   0.2122517954%
                 OH2002         Westfield Center Village, Ohio           0.0015469538%
                 OH2003         Westfield Township, Ohio                 0.0022200558%
                 OH2004         Westlake City, Ohio                      0.0470647273%
                 OH2005         Westland Township, Ohio                  0.0000407937%
                 OH2006         Weston Township, Ohio                    0.0001040797%
                 OH2007         Weston Village, Ohio                     0.0009305950%
                 OH2008         Wharton Village, Ohio                    0.0000269859%
                 OH2009         Wheeling Township, Belmont County,       0.0005343072%
                                Ohio
                 OH2010         Wheeling Township, Guernsey County,      0.0000407937%
                                Ohio
                 OH2011         Whetstone Township, Ohio                 0.0003262846%
                 OH2012         White Eyes Township, Ohio                0.0001913444%
                 OH2013         Whitehall City, Ohio                     0.0708163966%
                 OH2014         Whitehouse Village, Ohio                 0.0191159792%
                 OH2015         Whitewater Township, Ohio                0.0072647461%
                 OH2016         Wickliffe City, Ohio                     0.0543194216%
                 OH2017         Wilkesville Township, Ohio               0.0005461896%
  Strictly Confidential
  Subject to Protective Order
                                                  G-209                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 347 of 611. PageID #: 572631
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID               Qualifying Subdivision           Allocation
                 OH2018         Wilkesville Village, Ohio                0.0001034151%
                 OH2019         Willard City, Ohio                       0.0338504955%
                 OH2020         Williams County, Ohio                    0.1507467614%
                 OH2021         Williamsburg Township, Ohio              0.0138253270%
                 OH2022         Williamsburg Village, Ohio               0.0064127452%
                 OH2023         Williamsfield Township, Ohio             0.0004696334%
                 OH2024         Williamsport Village, Ohio               0.0004226644%
                 OH2025         Willoughby City, Ohio                    0.1356374532%
                 OH2026         Willoughby Hills City, Ohio              0.0528410843%
                 OH2027         Willowick City, Ohio                     0.0540256495%
                 OH2028         Wills Township, Ohio                     0.0001087832%
                 OH2029         Willshire Village, Ohio                  0.0006690639%
                 OH2030         Wilmington City, Ohio                    0.1278227818%
                 OH2031         Wilmot Village, Ohio                     0.0024343932%
                 OH2032         Wilson Township, Ohio                    0.0006914162%
                 OH2033         Wilson Village, Ohio                     0.0001415832%
                 OH2034         Winchester Village, Ohio                 0.0033994936%
                 OH2035         Windham Township, Ohio                   0.0001218723%
                 OH2036         Windham Village, Ohio                    0.0030305573%
                 OH2037         Windsor Township, Ashtabula County,      0.0006340051%
                                Ohio
                 OH2038         Windsor Township, Lawrence County,       0.0007128053%
                                Ohio
                 OH2039         Windsor Township, Morgan County,         0.0004926943%
                                Ohio
                 OH2040         Wintersville Village, Ohio               0.0169582518%
                 OH2041         Wood County, Ohio                        0.6017827347%
                 OH2042         Woodlawn Village, Ohio                   0.0240822158%
                 OH2043         Woodmere Village, Ohio                   0.0007072352%
                 OH2044         Woodsfield Village, Ohio                 0.0011221301%
                 OH2045         Woodstock Village, Ohio                  0.0001517571%
                 OH2046         Woodville Township, Ohio                 0.0019622167%
                 OH2047         Woodville Village, Ohio                  0.0034270973%
                 OH2048         Wooster City, Ohio                       0.4046402646%
                 OH2049         Wooster Township, Ohio                   0.0017358405%
                 OH2050         Worthington City, Ohio                   0.0819890902%
                 OH2051         Worthington Township, Ohio               0.0017573559%
                 OH2052         Wren Village, Ohio                       0.0008301349%
                 OH2053         Wyandot County, Ohio                     0.0959147354%
                 OH2054         Wyoming City, Ohio                       0.0220280462%
                 OH2055         Xenia City, Ohio                         0.1268376308%
                 OH2056         Xenia Township, Ohio                     0.0075532986%
                 OH2057         Yankee Lake Village, Ohio                0.0000341003%
                 OH2058         Yellow Creek Township, Ohio              0.0010782320%
                 OH2059         Yellow Springs Village, Ohio             0.0142295064%
  Strictly Confidential
  Subject to Protective Order
                                                  G-210                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 348 of 611. PageID #: 572632
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                 OH2060         York Township, Athens County, Ohio        0.0005523599%
                 OH2061         York Township, Fulton County, Ohio        0.0061882726%
                 OH2062         York Township, Medina County, Ohio        0.0023145263%
                 OH2063         York Township, Sandusky County, Ohio      0.0006239306%
                 OH2064         York Township, Tuscarawas County,         0.0007784341%
                                Ohio
                 OH2065         York Township, Van Wert County, Ohio      0.0001115107%
                 OH2066         Yorkshire Village, Ohio                   0.0007627380%
                 OH2067         Yorkville Village, Ohio                   0.0011795516%
                 OH2068         Youngstown City, Ohio                     0.5751891038%
                 OH2069         Zaleski Village, Ohio                     0.0000780271%
                 OH2070         Zane Township, Ohio                       0.0012568985%
                 OH2071         Zanesfield Village, Ohio                  0.0001257699%
                 OH2072         Zanesville City, Ohio                     0.1371227251%
                 OH2073         Zoar Village, Ohio                        0.0002364863%




  Strictly Confidential
  Subject to Protective Order
                                                  G-211                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 349 of 611. PageID #: 572633
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   OK1          Ada City, Oklahoma                  0.8751127538%
                   OK2          Adair County, Oklahoma              0.4266209709%
                   OK3          Alfalfa County, Oklahoma            0.0752358760%
                   OK4          Altus City, Oklahoma                0.0622184471%
                   OK5          Anadarko City, Oklahoma             0.2177062552%
                   OK6          Ardmore City, Oklahoma              0.8834203994%
                   OK7          Atoka County, Oklahoma              0.3570166411%
                   OK8          Bartlesville City, Oklahoma         0.7616370548%
                   OK9          Beaver County, Oklahoma             0.0784743727%
                  OK10          Beckham County, Oklahoma            0.2846460130%
                  OK11          Bethany City, Oklahoma              0.2482441625%
                  OK12          Bixby City, Oklahoma                0.2557077913%
                  OK13          Blaine County, Oklahoma             0.1909298641%
                  OK14          Broken Arrow City, Oklahoma         1.9405732012%
                  OK15          Bryan County, Oklahoma              0.5253079080%
                  OK16          Burns Flat Town, Oklahoma           0.0297825750%
                  OK17          Caddo County, Oklahoma              0.4845736458%
                  OK18          Canadian County, Oklahoma           0.5808839408%
                  OK19          Carter County, Oklahoma             1.0204659663%
                  OK20          Cherokee County, Oklahoma           0.0547155245%
                  OK21          Chickasha City, Oklahoma            0.1510124411%
                  OK22          Choctaw City, Oklahoma              0.0613538158%
                  OK23          Choctaw County, Oklahoma            0.4004199348%
                  OK24          Cimarron County, Oklahoma           0.0722904419%
                  OK25          Claremore City, Oklahoma            0.7190775254%
                  OK26          Cleveland County, Oklahoma          0.2725422694%
                  OK27          Coal County, Oklahoma               0.1610866236%
                  OK28          Comanche County, Oklahoma           2.0790341012%
                  OK29          Cotton County, Oklahoma             0.1077265239%
                  OK30          Coweta City, Oklahoma               0.3910652406%
                  OK31          Craig County, Oklahoma              0.2892248732%
                  OK32          Creek County, Oklahoma              1.2474865281%
                  OK33          Custer County, Oklahoma             0.4049880250%
                  OK34          Del City, Oklahoma                  0.2643825434%
                  OK35          Delaware County, Oklahoma           0.8410533842%
                  OK36          Dewey County, Oklahoma              0.0676712782%
                  OK37          Duncan City, Oklahoma               0.8937861298%
                  OK38          Durant City, Oklahoma               0.7336303563%
                  OK39          Edmond City, Oklahoma               1.4615935748%
                  OK40          El Reno City, Oklahoma              0.2053992273%
                  OK41          Elk City, Oklahoma                  0.3587477547%
                  OK42          Ellis County, Oklahoma              0.0583375351%
                  OK43          Enid City, Oklahoma                 0.7392412881%
                  OK44          Garfield County, Oklahoma           0.2542221165%
                  OK45          Garvin County, Oklahoma             0.8411004189%
  Strictly Confidential
  Subject to Protective Order
                                                  G-212             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 350 of 611. PageID #: 572634
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  OK46          Glenpool City, Oklahoma             0.1608895657%
                  OK47          Grady County, Oklahoma              1.0545977812%
                  OK48          Grant County, Oklahoma              0.0405478903%
                  OK49          Greer County, Oklahoma              0.1583252054%
                  OK50          Guthrie City, Oklahoma              0.1856265512%
                  OK51          Guymon City, Oklahoma               0.0547591936%
                  OK52          Harmon County, Oklahoma             0.0673861249%
                  OK53          Harper County, Oklahoma             0.0522026584%
                  OK54          Haskell County, Oklahoma            0.2531508354%
                  OK55          Hughes County, Oklahoma             0.2061436213%
                  OK56          Jackson County, Oklahoma            0.4801048418%
                  OK57          Jefferson County, Oklahoma          0.3090924602%
                  OK58          Jenks City, Oklahoma                0.1806228639%
                  OK59          Johnston County, Oklahoma           0.4472082986%
                  OK60          Kay County, Oklahoma                0.5067583031%
                  OK61          Kingfisher County, Oklahoma         0.2717757463%
                  OK62          Kiowa County, Oklahoma              0.2298382701%
                  OK63          Latimer County, Oklahoma            0.3148762172%
                  OK64          Lawton City, Oklahoma               0.3312681144%
                  OK65          Le Flore County, Oklahoma           1.4166392289%
                  OK66          Lincoln County, Oklahoma            0.6999457500%
                  OK67          Logan County, Oklahoma              0.5399784520%
                  OK68          Love County, Oklahoma               0.2288662752%
                  OK69          Major County, Oklahoma              0.0852741304%
                  OK70          Marshall County, Oklahoma           0.2609426135%
                  OK71          Mayes County, Oklahoma              1.2431623622%
                  OK72          McAlester City, Oklahoma            1.2318612380%
                  OK73          McClain County, Oklahoma            0.6643227071%
                  OK74          McCurtain County, Oklahoma          0.8951427325%
                  OK75          McIntosh County, Oklahoma           0.6473819592%
                  OK76          Miami City, Oklahoma                0.3080134381%
                  OK77          Midwest City, Oklahoma              1.3662006673%
                  OK78          Moore City, Oklahoma                0.2533704430%
                  OK79          Murray County, Oklahoma             0.5297956437%
                  OK80          Muskogee City, Oklahoma             2.5039385148%
                  OK81          Muskogee County, Oklahoma           0.1783839604%
                  OK82          Mustang City, Oklahoma              0.1655020823%
                  OK83          Newcastle City, Oklahoma            0.2606099206%
                  OK84          Noble County, Oklahoma              0.1688783176%
                  OK85          Norman City, Oklahoma               4.4189589851%
                  OK86          Nowata County, Oklahoma             0.1569775216%
                  OK87          Okfuskee County, Oklahoma           0.2609296558%
                  OK88          Oklahoma City, Oklahoma            14.3489114350%
                  OK89          Oklahoma County, Oklahoma           3.3422940072%
                  OK90          Okmulgee City, Oklahoma             0.5086746948%
  Strictly Confidential
  Subject to Protective Order
                                                  G-213             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 351 of 611. PageID #: 572635
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  OK91          Okmulgee County, Oklahoma            0.4742639531%
                  OK92          Osage County, Oklahoma               0.5896618496%
                  OK93          Ottawa County, Oklahoma              0.3159777890%
                  OK94          Owasso City, Oklahoma                0.7456266521%
                  OK95          Pawnee County, Oklahoma              0.6201145221%
                  OK96          Payne County, Oklahoma               0.6719554590%
                  OK97          Pittsburg County, Oklahoma           0.1253496540%
                  OK98          Ponca City, Oklahoma                 0.4343605817%
                  OK99          Pontotoc County, Oklahoma            0.3451006157%
                  OK100         Pottawatomie County, Oklahoma        0.8536612997%
                  OK101         Pushmataha County, Oklahoma          0.3982344607%
                  OK102         Roger Mills County, Oklahoma         0.0439550052%
                  OK103         Rogers County, Oklahoma              1.2081401690%
                  OK104         Sand Springs City, Oklahoma          0.3849881687%
                  OK105         Sapulpa City, Oklahoma               1.1421081226%
                  OK106         Seminole City, Oklahoma              0.2214634802%
                  OK107         Seminole County, Oklahoma            0.4144393970%
                  OK108         Sequoyah County, Oklahoma            1.5345087624%
                  OK109         Shawnee City, Oklahoma               1.3614784311%
                  OK110         Stephens County, Oklahoma            0.8246887486%
                  OK111         Stillwater City, Oklahoma            0.8442351700%
                  OK112         Tahlequah City, Oklahoma             1.5329176592%
                  OK113         Texas County, Oklahoma               0.3711376613%
                  OK114         Tillman County, Oklahoma             0.1988848754%
                  OK115         Tulsa City, Oklahoma                11.8499277217%
                  OK116         Tulsa County, Oklahoma               5.3498014970%
                  OK117         Wagoner County, Oklahoma             0.8686244855%
                  OK118         Warr Acres City, Oklahoma            0.1616160377%
                  OK119         Washington County, Oklahoma          0.3936750370%
                  OK120         Washita County, Oklahoma             0.1931168527%
                  OK121         Weatherford City, Oklahoma           0.1872773945%
                  OK122         Woods County, Oklahoma               0.1975804400%
                  OK123         Woodward City, Oklahoma              0.2327716722%
                  OK124         Woodward County, Oklahoma            0.1781706634%
                  OK125         Yukon City, Oklahoma                 0.3103071173%




  Strictly Confidential
  Subject to Protective Order
                                                   G-214             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 352 of 611. PageID #: 572636
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   OR1          Albany City, Oregon                 1.1488593673%
                   OR2          Ashland City, Oregon                0.5683136367%
                   OR3          Astoria City, Oregon                0.1845495963%
                   OR4          Baker County, Oregon                0.4736253192%
                   OR5          Beaverton City, Oregon              0.9637676073%
                   OR6          Bend City, Oregon                   0.9373492716%
                   OR7          Benton County, Oregon               1.0144102006%
                   OR8          Canby City, Oregon                  0.1704081794%
                   OR9          Central Point City, Oregon          0.1705985180%
                  OR10          Clackamas County, Oregon            7.7136877952%
                  OR11          Clatsop County, Oregon              1.1338982236%
                  OR12          Columbia County, Oregon             1.0021829571%
                  OR13          Coos Bay City, Oregon               0.2520118937%
                  OR14          Coos County, Oregon                 1.5517079397%
                  OR15          Cornelius City, Oregon              0.0942707602%
                  OR16          Corvallis City, Oregon              0.6584520605%
                  OR17          Cottage Grove City, Oregon          0.0903479969%
                  OR18          Crook County, Oregon                0.3487178331%
                  OR19          Curry County, Oregon                0.7556509064%
                  OR20          Dallas City, Oregon                 0.1595048592%
                  OR21          Deschutes County, Oregon            2.2402392583%
                  OR22          Douglas County, Oregon              2.5498986381%
                  OR23          Eugene City, Oregon                 2.7406296371%
                  OR24          Forest Grove City, Oregon           0.2503466825%
                  OR25          Gilliam County, Oregon              0.0265259656%
                  OR26          Gladstone City, Oregon              0.1172599918%
                  OR27          Grant County, Oregon                0.1472571267%
                  OR28          Grants Pass City, Oregon            0.8171535004%
                  OR29          Gresham City, Oregon                0.9759036121%
                  OR30          Happy Valley City, Oregon           0.0102738483%
                  OR31          Harney County, Oregon               0.1891840384%
                  OR32          Hermiston City, Oregon              0.1306543550%
                  OR33          Hillsboro City, Oregon              1.4971670861%
                  OR34          Hood River County, Oregon           0.3527335914%
                  OR35          Independence City, Oregon           0.0802971858%
                  OR36          Jackson County, Oregon              4.0467193349%
                  OR37          Jefferson County, Oregon            0.3647444042%
                  OR38          Josephine County, Oregon            1.6413900862%
                  OR39          Keizer City, Oregon                 0.1902346636%
                  OR40          Klamath County, Oregon              1.2079387411%
                  OR41          Klamath Falls City, Oregon          0.3185477543%
                  OR42          La Grande City, Oregon              0.2695511377%
                  OR43          Lake County, Oregon                 0.2154171369%
                  OR44          Lake Oswego City, Oregon            0.6882741609%
                  OR45          Lane County, Oregon                 6.2857222290%
  Strictly Confidential
  Subject to Protective Order
                                                  G-215             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 353 of 611. PageID #: 572637
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  OR46          Lebanon City, Oregon                 0.3245102175%
                  OR47          Lincoln County, Oregon               1.5077702636%
                  OR48          Linn County, Oregon                  1.8050527049%
                  OR49          Malheur County, Oregon               0.4976846614%
                  OR50          Marion County, Oregon                4.1327729232%
                  OR51          McMinnville City, Oregon             0.4767972656%
                  OR52          Medford City, Oregon                 1.5425519539%
                  OR53          Milwaukie City, Oregon               0.2097973835%
                  OR54          Monmouth City, Oregon                0.0701718618%
                  OR55          Morrow County, Oregon                0.1341522854%
                  OR56          Multnomah County, Oregon            13.8608317825%
                  OR57          Newberg City, Oregon                 0.4062904716%
                  OR58          Newport City, Oregon                 0.1894241359%
                  OR59          Ontario City, Oregon                 0.1855915241%
                  OR60          Oregon City, Oregon                  0.2744536929%
                  OR61          Pendleton City, Oregon               0.3494939894%
                  OR62          Polk County, Oregon                  0.7021841776%
                  OR63          Portland City, Oregon                8.2123187134%
                  OR64          Prineville City, Oregon              0.0918003735%
                  OR65          Redmond City, Oregon                 0.1538815097%
                  OR66          Roseburg City, Oregon                0.6323558619%
                  OR67          Salem City, Oregon                   3.0212513521%
                  OR68          Sandy City, Oregon                   0.0769268725%
                  OR69          Sherman County, Oregon               0.0160698907%
                  OR70          Sherwood City, Oregon                0.1393792357%
                  OR71          Silverton City, Oregon               0.0769879213%
                  OR72          Springfield City, Oregon             1.1580718860%
                  OR73          St. Helens City, Oregon              0.1949886110%
                  OR74          The Dalles City, Oregon              0.1710639107%
                  OR75          Tigard City, Oregon                  0.5012429717%
                  OR76          Tillamook County, Oregon             0.8934482248%
                  OR77          Troutdale City, Oregon               0.0893256381%
                  OR78          Tualatin City, Oregon                0.1540060326%
                  OR79          Umatilla County, Oregon              0.9666419198%
                  OR80          Union County, Oregon                 0.4123039482%
                  OR81          Wallowa County, Oregon               0.1279263088%
                  OR82          Wasco County, Oregon                 0.4085755376%
                  OR83          Washington County, Oregon            7.1632479165%
                  OR84          West Linn City, Oregon               0.1588636792%
                  OR85          Wheeler County, Oregon               0.0191474206%
                  OR86          Wilsonville City, Oregon             0.1373093460%
                  OR87          Woodburn City, Oregon                0.2054004464%
                  OR88          Yamhill County, Oregon               1.4015540879%


  Strictly Confidential
  Subject to Protective Order
                                                   G-216             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 354 of 611. PageID #: 572638
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                   PA1          Abington Township, Pennsylvania             0.1716857122%
                   PA2          Adams County, Pennsylvania                  0.5253944264%
                   PA3          Adams Township, Butler County,              0.0116804385%
                                Pennsylvania
                   PA4          Aliquippa City, Pennsylvania                0.0126097620%
                   PA5          Allegheny County, Pennsylvania              9.0771889158%
                   PA6          Allentown City, Pennsylvania                0.3114788245%
                   PA7          Altoona City, Pennsylvania                  0.1325071620%
                   PA8          Amity Township, Berks County,               0.0088125411%
                                Pennsylvania
                  PA9           Antrim Township, Pennsylvania               0.0045609059%
                  PA10          Armstrong County, Pennsylvania              0.6706608856%
                  PA11          Aston Township, Pennsylvania                0.0398818591%
                  PA12          Baldwin Borough, Pennsylvania               0.0319965165%
                  PA13          Beaver County, Pennsylvania                 1.3873740052%
                  PA14          Bedford County, Pennsylvania                0.2994277475%
                  PA15          Bensalem Township, Pennsylvania             0.3040781195%
                  PA16          Berks County, Pennsylvania                  1.7381997812%
                  PA17          Bethel Park Municipality, Pennsylvania      0.0518731268%
                  PA18          Bethlehem City, Pennsylvania                0.1455525429%
                  PA19          Bethlehem Township, Pennsylvania            0.0361920258%
                  PA20          Blair County, Pennsylvania                  0.9491920525%
                  PA21          Bloomsburg Town, Pennsylvania               0.0341918007%
                  PA22          Bradford County, Pennsylvania               0.3959357942%
                  PA23          Bristol Township, Pennsylvania              0.1633828847%
                  PA24          Buckingham Township, Bucks County,          0.0394977381%
                                Pennsylvania
                  PA25          Bucks County, Pennsylvania                  3.9809296859%
                  PA26          Butler City, Pennsylvania                   0.0498804576%
                  PA27          Butler County, Pennsylvania                 1.2504847987%
                  PA28          Butler Township, Butler County,             0.0231032222%
                                Pennsylvania
                  PA29          Caln Township, Pennsylvania                 0.0188882094%
                  PA30          Cambria County, Pennsylvania                2.3036081762%
                  PA31          Cameron County, Pennsylvania                0.0391676650%
                  PA32          Carbon County, Pennsylvania                 0.5693092966%
                  PA33          Carlisle Borough, Pennsylvania              0.0415712077%
                  PA34          Cecil Township, Pennsylvania                0.0258191288%
                  PA35          Center Township, Beaver County,             0.0114705509%
                                Pennsylvania
                  PA36          Centre County, Pennsylvania                 0.5755080768%
                  PA37          Chambersburg Borough, Pennsylvania          0.0807327808%
                  PA38          Cheltenham Township, Pennsylvania           0.1064956185%
                  PA39          Chester City, Pennsylvania                  0.1874127623%
                  PA40          Chester County, Pennsylvania                2.2939048465%
  Strictly Confidential
  Subject to Protective Order
                                                   G-217                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 355 of 611. PageID #: 572639
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  PA41          Chestnuthill Township, Pennsylvania         0.0070800296%
                  PA42          Clarion County, Pennsylvania                0.2109569397%
                  PA43          Clearfield County, Pennsylvania             0.4891902405%
                  PA44          Clinton County, Pennsylvania                0.2144679589%
                  PA45          Coal Township, Pennsylvania                 0.0133740137%
                  PA46          Coatesville City, Pennsylvania              0.0393231032%
                  PA47          College Township, Pennsylvania              0.0136039479%
                  PA48          Columbia Borough, Pennsylvania              0.0159359932%
                  PA49          Columbia County, Pennsylvania               0.3754668281%
                  PA50          Concord Township, Delaware County,          0.0064311937%
                                Pennsylvania
                  PA51          Coolbaugh Township, Pennsylvania            0.0436747827%
                  PA52          Cranberry Township, Butler County,          0.0622384443%
                                Pennsylvania
                  PA53          Crawford County, Pennsylvania               0.6793161939%
                  PA54          Cumberland County, Pennsylvania             1.2385860903%
                  PA55          Cumru Township, Pennsylvania                0.0235067996%
                  PA56          Darby Borough, Pennsylvania                 0.0316599974%
                  PA57          Dauphin County, Pennsylvania                1.3619255150%
                  PA58          Delaware County, Pennsylvania               4.3490976006%
                  PA59          Derry Township, Dauphin County,             0.0278851370%
                                Pennsylvania
                  PA60          Derry Township, Westmoreland County,        0.0028455604%
                                Pennsylvania
                  PA61          Dingman Township, Pennsylvania              0.0075117525%
                  PA62          Douglass Township, Montgomery               0.0155624032%
                                County, Pennsylvania
                  PA63          Dover Township, Pennsylvania                0.0181552437%
                  PA64          Doylestown Township, Pennsylvania           0.0281786822%
                  PA65          Dunmore Borough, Pennsylvania               0.0353890031%
                  PA66          East Cocalico Township, Pennsylvania        0.0220752947%
                  PA67          East Goshen Township, Pennsylvania          0.0265646560%
                  PA68          East Hempfield Township, Pennsylvania       0.0329626985%
                  PA69          East Lampeter Township, Pennsylvania        0.0363197198%
                  PA70          East Norriton Township, Pennsylvania        0.0294511126%
                  PA71          East Pennsboro Township, Pennsylvania       0.0205253753%
                  PA72          East Stroudsburg Borough, Pennsylvania      0.0329090519%
                  PA73          East Whiteland Township, Pennsylvania       0.0370494033%
                  PA74          Easton City, Pennsylvania                   0.1209643109%
                  PA75          Easttown Township, Pennsylvania             0.0217606403%
                  PA76          Edwardsville Borough, Pennsylvania          0.0189749837%
                  PA77          Elizabeth Township, Allegheny County,       0.0186489956%
                                Pennsylvania
                  PA78          Elizabethtown Borough, Pennsylvania         0.0226696103%

  Strictly Confidential
  Subject to Protective Order
                                                   G-218                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 356 of 611. PageID #: 572640
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  PA79          Elk County, Pennsylvania                  0.1842689815%
                  PA80          Emmaus Borough, Pennsylvania              0.0189823979%
                  PA81          Ephrata Borough, Pennsylvania             0.0323879573%
                  PA82          Ephrata Township, Pennsylvania            0.0106718965%
                  PA83          Erie City, Pennsylvania                   0.1819428392%
                  PA84          Erie County, Pennsylvania                 1.6551298548%
                  PA85          Exeter Borough, Pennsylvania              0.0081614148%
                  PA86          Exeter Township, Berks County,            0.0275799039%
                                Pennsylvania
                  PA87          Fairview Township, Erie County,           0.0010841242%
                                Pennsylvania
                  PA88          Fairview Township, York County,           0.0213916783%
                                Pennsylvania
                  PA89          Falls Township, Bucks County,             0.1095232279%
                                Pennsylvania
                  PA90          Fayette County, Pennsylvania              1.5021984244%
                  PA91          Ferguson Township, Centre County,         0.0189311833%
                                Pennsylvania
                  PA92          Forest County, Pennsylvania               0.0406659448%
                  PA93          Forks Township, Northampton County,       0.0159337029%
                                Pennsylvania
                  PA94          Forty Fort Borough, Pennsylvania          0.0104717843%
                  PA95          Franconia Township, Pennsylvania          0.0270099559%
                  PA96          Franklin County, Pennsylvania             0.6761855651%
                  PA97          Franklin Park Borough, Pennsylvania       0.0172024262%
                  PA98          Fulton County, Pennsylvania               0.0935219473%
                  PA99          Greene County, Pennsylvania               0.3236912664%
                  PA100         Greene Township, Franklin County,         0.0035358827%
                                Pennsylvania
                  PA101         Greensburg City, Pennsylvania             0.0414893211%
                  PA102         Guilford Township, Pennsylvania           0.0058398533%
                  PA103         Hamilton Township, Franklin County,       0.0022381401%
                                Pennsylvania
                  PA104         Hampden Township, Pennsylvania            0.0344524071%
                  PA105         Hampton Township, Pennsylvania            0.0283370719%
                  PA106         Hanover Borough, Pennsylvania             0.0243578727%
                  PA107         Hanover Township, Luzerne County,         0.0245389536%
                                Pennsylvania
                  PA108         Hanover Township, Northampton             0.0101971524%
                                County, Pennsylvania
                  PA109         Harborcreek Township, Pennsylvania        0.0014873946%
                  PA110         Harrisburg City, Pennsylvania             0.1286564596%
                  PA111         Harrison Township, Allegheny County,      0.0125577683%
                                Pennsylvania
                  PA112         Hatfield Township, Pennsylvania           0.0403161321%
  Strictly Confidential
  Subject to Protective Order
                                                  G-219                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 357 of 611. PageID #: 572641
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  PA113         Haverford Township, Pennsylvania           0.1410660858%
                  PA114         Hazleton City, Pennsylvania                0.0914571905%
                  PA115         Hempfield Township, Westmoreland           0.0120047266%
                                County, Pennsylvania
                  PA116         Hermitage City, Pennsylvania               0.1266110175%
                  PA117         Hilltown Township, Pennsylvania            0.0337787549%
                  PA118         Hopewell Township, Beaver County,          0.0137204971%
                                Pennsylvania
                  PA119         Horsham Township, Pennsylvania             0.0532524254%
                  PA120         Huntingdon County, Pennsylvania            0.2196063686%
                  PA121         Indiana Borough, Pennsylvania              0.0557516441%
                  PA122         Indiana County, Pennsylvania               0.6849005647%
                  PA123         Jefferson County, Pennsylvania             0.3080403652%
                  PA124         Jefferson Hills Borough, Pennsylvania      0.0223397025%
                  PA125         Johnstown City, Pennsylvania               0.1376764563%
                  PA126         Juniata County, Pennsylvania               0.1257039366%
                  PA127         Kingston Borough, Pennsylvania             0.0579092199%
                  PA128         Lackawanna County, Pennsylvania            1.6187696404%
                  PA129         Lancaster City, Pennsylvania               0.2111259312%
                  PA130         Lancaster County, Pennsylvania             2.1716797222%
                  PA131         Lancaster Township, Lancaster County,      0.0102800307%
                                Pennsylvania
                  PA132         Lansdale Borough, Pennsylvania             0.0492762958%
                  PA133         Lansdowne Borough, Pennsylvania            0.0210170021%
                  PA134         Lawrence County, Pennsylvania              0.9417560475%
                  PA135         Lebanon City, Pennsylvania                 0.0459600053%
                  PA136         Lebanon County, Pennsylvania               0.6659194419%
                  PA137         Lehigh County, Pennsylvania                1.6280197601%
                  PA138         Lehigh Township, Northampton County,       0.0064163654%
                                Pennsylvania
                  PA139         Lehman Township, Pike County,              0.0065367397%
                                Pennsylvania
                  PA140         Limerick Township, Pennsylvania            0.0362752819%
                  PA141         Lock Haven City, Pennsylvania              0.0315428816%
                  PA142         Logan Township, Blair County,              0.0280267858%
                                Pennsylvania
                  PA143         Lower Allen Township, Pennsylvania         0.0312959466%
                  PA144         Lower Burrell City, Pennsylvania           0.0230185729%
                  PA145         Lower Gwynedd Township,                    0.0326782676%
                                Pennsylvania
                  PA146         Lower Macungie Township,                   0.0047316447%
                                Pennsylvania
                  PA147         Lower Makefield Township,                  0.0499247539%
                                Pennsylvania
                  PA148         Lower Merion Township, Pennsylvania        0.2415824218%
  Strictly Confidential
  Subject to Protective Order
                                                  G-220                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 358 of 611. PageID #: 572642
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  PA149         Lower Moreland Township,                    0.0322806404%
                                Pennsylvania
                  PA150         Lower Paxton Township, Pennsylvania         0.0262808863%
                  PA151         Lower Pottsgrove Township,                  0.0247074965%
                                Pennsylvania
                  PA152         Lower Providence Township,                  0.0344351467%
                                Pennsylvania
                  PA153         Lower Salford Township, Pennsylvania        0.0315408981%
                  PA154         Lower Saucon Township, Pennsylvania         0.0107723658%
                  PA155         Lower Southampton Township,                 0.0681323691%
                                Pennsylvania
                  PA156         Loyalsock Township, Pennsylvania            0.0033615548%
                  PA157         Luzerne County, Pennsylvania                1.9841834441%
                  PA158         Lycoming County, Pennsylvania               0.5360423331%
                  PA159         Manchester Township, York County,           0.0347631890%
                                Pennsylvania
                  PA160         Manheim Township, Lancaster County,         0.0683876628%
                                Pennsylvania
                  PA161         Manor Township, Lancaster County,           0.0138460424%
                                Pennsylvania
                  PA162         Marple Township, Pennsylvania               0.0463634882%
                  PA163         McCandless Township, Pennsylvania           0.0455473373%
                  PA164         McKean County, Pennsylvania                 0.3028612246%
                  PA165         McKeesport City, Pennsylvania               0.0555716494%
                  PA166         Meadville City, Pennsylvania                0.0508303709%
                  PA167         Mercer County, Pennsylvania                 0.7672567220%
                  PA168         Middle Smithfield Township,                 0.0102267147%
                                Pennsylvania
                  PA169         Middletown Township, Bucks County,          0.1227948597%
                                Pennsylvania
                  PA170         Middletown Township, Delaware               0.0049179675%
                                County, Pennsylvania
                  PA171         Mifflin County, Pennsylvania                0.2444463288%
                  PA172         Milford Township, Bucks County,             0.0042322496%
                                Pennsylvania
                  PA173         Millcreek Township, Erie County,            0.0600715181%
                                Pennsylvania
                  PA174         Monroe County, Pennsylvania                 1.0446694800%
                  PA175         Monroeville Municipality, Pennsylvania      0.0885064620%
                  PA176         Montgomery County, Pennsylvania             4.1556752852%
                  PA177         Montgomery Township, Montgomery             0.0614266143%
                                County, Pennsylvania
                  PA178         Montour County, Pennsylvania                0.1582514641%
                  PA179         Moon Township, Pennsylvania                 0.0467984224%
                  PA180         Morrisville Borough, Pennsylvania           0.0202295870%
  Strictly Confidential
  Subject to Protective Order
                                                   G-221                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 359 of 611. PageID #: 572643
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  PA181         Mount Joy Township, Pennsylvania            0.0104237101%
                  PA182         Mount Lebanon Township, Pennsylvania        0.0919625831%
                  PA183         Mount Pleasant Township,                    0.0017276710%
                                Westmoreland County, Pennsylvania
                  PA184         Muhlenberg Township, Pennsylvania           0.0208765575%
                  PA185         Munhall Borough, Pennsylvania               0.0196654948%
                  PA186         Murrysville Municipality, Pennsylvania      0.0422134322%
                  PA187         Nanticoke City, Pennsylvania                0.0721951314%
                  PA188         Nether Providence Township,                 0.0194869640%
                                Pennsylvania
                  PA189         New Britain Township, Pennsylvania          0.0242239687%
                  PA190         New Castle City, Pennsylvania               0.1510594897%
                  PA191         New Garden Township, Pennsylvania           0.0147042936%
                  PA192         New Hanover Township, Pennsylvania          0.0156641240%
                  PA193         New Kensington City, Pennsylvania           0.0522999384%
                  PA194         Newberry Township, Pennsylvania             0.0129120437%
                  PA195         Newtown Township, Bucks County,             0.0561194964%
                                Pennsylvania
                  PA196         Newtown Township, Delaware County,          0.0325763343%
                                Pennsylvania
                  PA197         Norristown Borough, Pennsylvania            0.0911181685%
                  PA198         North Fayette Township, Pennsylvania        0.0287358560%
                  PA199         North Huntingdon Township,                  0.0620815657%
                                Pennsylvania
                  PA200         North Lebanon Township, Pennsylvania        0.0104009717%
                  PA201         North Middleton Township,                   0.0100402266%
                                Pennsylvania
                  PA202         North Strabane Township, Pennsylvania       0.0301440085%
                  PA203         North Union Township, Fayette County,       0.0036336130%
                                Pennsylvania
                  PA204         North Whitehall Township,                   0.0024053608%
                                Pennsylvania
                  PA205         Northampton County, Pennsylvania            1.4273129347%
                  PA206         Northampton Township, Bucks County,         0.0725033869%
                                Pennsylvania
                  PA207         Northumberland County, Pennsylvania         0.6342806481%
                  PA208         Palmer Township, Pennsylvania               0.0192909131%
                  PA209         Patton Township, Pennsylvania               0.0206875902%
                  PA210         Penn Hills Township, Pennsylvania           0.0786229014%
                  PA211         Penn Township, Westmoreland County,         0.0470153228%
                                Pennsylvania
                  PA212         Penn Township, York County,                 0.0254794929%
                                Pennsylvania
                  PA213         Perry County, Pennsylvania                  0.2769734792%

  Strictly Confidential
  Subject to Protective Order
                                                   G-222                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 360 of 611. PageID #: 572644
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID                Qualifying Subdivision            Allocation
                  PA214         Peters Township, Washington County,        0.0367514663%
                                Pennsylvania
                  PA215         Philadelphia City, Pennsylvania           15.4241178505%
                  PA216         Phoenixville Borough, Pennsylvania         0.0304064566%
                  PA217         Pike County, Pennsylvania                  0.4194501968%
                  PA218         Pine Township, Allegheny County,           0.0149582886%
                                Pennsylvania
                  PA219         Pittsburgh City, Pennsylvania              1.8621545362%
                  PA220         Plains Township, Pennsylvania              0.0349423810%
                  PA221         Plum Borough, Pennsylvania                 0.0364300353%
                  PA222         Plumstead Township, Pennsylvania           0.0289716224%
                  PA223         Plymouth Township, Montgomery              0.0603632451%
                                County, Pennsylvania
                  PA224         Pocono Township, Pennsylvania              0.0342638884%
                  PA225         Potter County, Pennsylvania                0.1064541793%
                  PA226         Pottstown Borough, Pennsylvania            0.0548059102%
                  PA227         Pottsville City, Pennsylvania              0.0393984966%
                  PA228         Radnor Township, Pennsylvania              0.0635974365%
                  PA229         Rapho Township, Pennsylvania               0.0024622422%
                  PA230         Reading City, Pennsylvania                 0.3107085518%
                  PA231         Richland Township, Allegheny County,       0.0145829749%
                                Pennsylvania
                  PA232         Richland Township, Bucks County,           0.0196943488%
                                Pennsylvania
                  PA233         Richland Township, Cambria County,         0.0268733129%
                                Pennsylvania
                  PA234         Ridley Township, Pennsylvania              0.0360651581%
                  PA235         Robinson Township, Allegheny County,       0.0401754751%
                                Pennsylvania
                  PA236         Ross Township, Allegheny County,           0.0519747767%
                                Pennsylvania
                  PA237         Rostraver Township, Pennsylvania           0.0254068150%
                  PA238         Salisbury Township, Lancaster County,      0.0010972289%
                                Pennsylvania
                  PA239         Salisbury Township, Lehigh County,         0.0101937286%
                                Pennsylvania
                  PA240         Sandy Township, Pennsylvania               0.0232682705%
                  PA241         Schuylkill County, Pennsylvania            1.1360040059%
                  PA242         Scott Township, Allegheny County,          0.0263118889%
                                Pennsylvania
                  PA243         Scranton City, Pennsylvania                0.4360616367%
                  PA244         Shaler Township, Pennsylvania              0.0319417837%
                  PA245         Sharon City, Pennsylvania                  0.0964271990%
                  PA246         Silver Spring Township, Pennsylvania       0.0228591207%
                  PA247         Skippack Township, Pennsylvania            0.0040963386%
  Strictly Confidential
  Subject to Protective Order
                                                   G-223                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 361 of 611. PageID #: 572645
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID               Qualifying Subdivision              Allocation
                  PA248         Snyder County, Pennsylvania                 0.1878575427%
                  PA249         Somerset County, Pennsylvania               0.5405033836%
                  PA250         Somerset Township, Somerset County,         0.0039666612%
                                Pennsylvania
                  PA251         South Fayette Township, Pennsylvania        0.0228870538%
                  PA252         South Lebanon Township, Pennsylvania        0.0052508032%
                  PA253         South Middleton Township,                   0.0056161526%
                                Pennsylvania
                  PA254         South Park Township, Pennsylvania           0.0201815601%
                  PA255         South Union Township, Pennsylvania          0.0040522313%
                  PA256         South Whitehall Township,                   0.0202664927%
                                Pennsylvania
                  PA257         Spring Garden Township, Pennsylvania        0.0310942996%
                  PA258         Spring Township, Berks County,              0.0278654682%
                                Pennsylvania
                  PA259         Springettsbury Township, Pennsylvania       0.0408509690%
                  PA260         Springfield Township, Delaware County,      0.0497514413%
                                Pennsylvania
                  PA261         Springfield Township, Montgomery            0.0383927880%
                                County, Pennsylvania
                  PA262         St. Marys City, Pennsylvania                0.0309022627%
                  PA263         State College Borough, Pennsylvania         0.0851447655%
                  PA264         Stroud Township, Pennsylvania               0.0499681528%
                  PA265         Sugar Notch Borough, Pennsylvania           0.0011073349%
                  PA266         Sullivan County, Pennsylvania               0.0308017225%
                  PA267         Susquehanna County, Pennsylvania            0.2942393746%
                  PA268         Susquehanna Township, Dauphin               0.0293410568%
                                County, Pennsylvania
                  PA269         Swatara Township, Dauphin County,           0.0276821677%
                                Pennsylvania
                  PA270         Tioga County, Pennsylvania                  0.2348579899%
                  PA271         Towamencin Township, Pennsylvania           0.0301076460%
                  PA272         Tredyffrin Township, Pennsylvania           0.0647473439%
                  PA273         Union County, Pennsylvania                  0.2025761688%
                  PA274         Union Township, Washington County,          0.0016618642%
                                Pennsylvania
                  PA275         Unity Township, Pennsylvania                0.0070376932%
                  PA276         Upper Allen Township, Pennsylvania          0.0310776767%
                  PA277         Upper Chichester Township,                  0.0387469453%
                                Pennsylvania
                  PA278         Upper Darby Township, Pennsylvania          0.2609134046%
                  PA279         Upper Dublin Township, Pennsylvania         0.0660962774%
                  PA280         Upper Gwynedd Township,                     0.0294511126%
                                Pennsylvania


  Strictly Confidential
  Subject to Protective Order
                                                   G-224                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 362 of 611. PageID #: 572646
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                        Consolidated State
                 State ID               Qualifying Subdivision             Allocation
                  PA281         Upper Macungie Township,                   0.0203083805%
                                Pennsylvania
                  PA282         Upper Merion Township, Pennsylvania        0.1102960743%
                  PA283         Upper Moreland Township,                   0.0501362471%
                                Pennsylvania
                  PA284         Upper Providence Township, Delaware        0.0195710230%
                                County, Pennsylvania
                  PA285         Upper Providence Township,                 0.0475194167%
                                Montgomery County, Pennsylvania
                  PA286         Upper Saucon Township, Pennsylvania        0.0121989830%
                  PA287         Upper Southampton Township,                0.0288130438%
                                Pennsylvania
                  PA288         Upper Uwchlan Township, Pennsylvania       0.0134355703%
                  PA289         Uwchlan Township, Pennsylvania             0.0295796330%
                  PA290         Venango County, Pennsylvania               0.4173654407%
                  PA291         Warminster Township, Pennsylvania          0.0781034360%
                  PA292         Warren County, Pennsylvania                0.2233381842%
                  PA293         Warrington Township, Bucks County,         0.0428775922%
                                Pennsylvania
                  PA294         Warwick Township, Bucks County,            0.0303889837%
                                Pennsylvania
                  PA295         Warwick Township, Lancaster County,        0.0107372075%
                                Pennsylvania
                  PA296         Washington City, Pennsylvania              0.0371118809%
                  PA297         Washington County, Pennsylvania            1.5644453218%
                  PA298         Washington Township, Franklin County,      0.0134758289%
                                Pennsylvania
                  PA299         Wayne County, Pennsylvania                 0.4359565631%
                  PA300         Waynesboro Borough, Pennsylvania           0.0153378289%
                  PA301         West Bradford Township, Pennsylvania       0.0019529773%
                  PA302         West Chester Borough, Pennsylvania         0.0409767032%
                  PA303         West Deer Township, Pennsylvania           0.0129721836%
                  PA304         West Goshen Township, Pennsylvania         0.0411406417%
                  PA305         West Hanover Township, Pennsylvania        0.0017916124%
                  PA306         West Hempfield Township,                   0.0134149806%
                                Pennsylvania
                  PA307         West Lampeter Township, Pennsylvania       0.0105347340%
                  PA308         West Manchester Township,                  0.0213714191%
                                Pennsylvania
                  PA309         West Mifflin Borough, Pennsylvania         0.0436394118%
                  PA310         West Norriton Township, Pennsylvania       0.0336121955%
                  PA311         West Pittston Borough, Pennsylvania        0.0090773739%
                  PA312         West Whiteland Township, Pennsylvania      0.0364079108%
                  PA313         Westmoreland County, Pennsylvania          3.2377785417%
                  PA314         Westtown Township, Pennsylvania            0.0209338404%
  Strictly Confidential
  Subject to Protective Order
                                                  G-225                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 363 of 611. PageID #: 572647
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID               Qualifying Subdivision           Allocation
                  PA315         White Township, Indiana County,          0.0076200375%
                                Pennsylvania
                  PA316         Whitehall Borough, Pennsylvania          0.0345143179%
                  PA317         Whitehall Township, Pennsylvania         0.0285992130%
                  PA318         Whitemarsh Township, Pennsylvania        0.0515602670%
                  PA319         Whitpain Township, Pennsylvania          0.0588375045%
                  PA320         Wilkes Barre Township, Pennsylvania      0.0216681047%
                  PA321         Wilkes-Barre City, Pennsylvania          0.2963130567%
                  PA322         Wilkinsburg Borough, Pennsylvania        0.0580112712%
                  PA323         Williamsport City, Pennsylvania          0.1628334320%
                  PA324         Willistown Township, Pennsylvania        0.0206130941%
                  PA325         Windsor Township, York County,           0.0141282538%
                                Pennsylvania
                  PA326         Worcester Township, Pennsylvania         0.0043645008%
                  PA327         Wright Township, Pennsylvania            0.0100206522%
                  PA328         Wyoming Borough, Pennsylvania            0.0071087891%
                  PA329         Wyoming County, Pennsylvania             0.2273372411%
                  PA330         Wyomissing Borough, Pennsylvania         0.0154207072%
                  PA331         Yeadon Borough, Pennsylvania             0.0246066966%
                  PA332         York City, Pennsylvania                  0.1394378689%
                  PA333         York County, Pennsylvania                2.2119383354%
                  PA334         York Township, Pennsylvania              0.0334726482%




  Strictly Confidential
  Subject to Protective Order
                                                  G-226                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 364 of 611. PageID #: 572648
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   PR1          Adjuntas, Puerto Rico                0.4468461493%
                   PR2          Aguada, Puerto Rico                  0.9238661758%
                   PR3          Aguadilla, Puerto Rico               1.6156167759%
                   PR4          Aguas Buenas, Puerto Rico            0.7490858028%
                   PR5          Aibonito, Puerto Rico                0.7959428477%
                   PR6          Anasco, Puerto Rico                  0.5050154853%
                   PR7          Arecibo, Puerto Rico                 1.3074850692%
                   PR8          Arroyo, Puerto Rico                  2.0592191012%
                   PR9          Barceloneta, Puerto Rico             0.5768569406%
                  PR10          Barranquitas, Puerto Rico            0.7167107056%
                  PR11          Bayamon, Puerto Rico                 5.7282390971%
                  PR12          Cabo Rojo, Puerto Rico               1.1570847420%
                  PR13          Caguas, Puerto Rico                  4.7119895861%
                  PR14          Camuy, Puerto Rico                   0.7759381807%
                  PR15          Canovanas, Puerto Rico               1.0721780377%
                  PR16          Carolina, Puerto Rico                4.3228006165%
                  PR17          Catano, Puerto Rico                  0.7612066695%
                  PR18          Cayey, Puerto Rico                   1.3596493469%
                  PR19          Ceiba, Puerto Rico                   0.2896687707%
                  PR20          Ciales, Puerto Rico                  0.4533215195%
                  PR21          Cidra, Puerto Rico                   1.1671492158%
                  PR22          Coamo, Puerto Rico                   0.9970822347%
                  PR23          Comerio, Puerto Rico                 0.5268640655%
                  PR24          Corozal, Puerto Rico                 0.8595048594%
                  PR25          Culebra, Puerto Rico                 0.0380175870%
                  PR26          Dorado, Puerto Rico                  0.8970759382%
                  PR27          Fajardo, Puerto Rico                 1.1102770585%
                  PR28          Florida, Puerto Rico                 0.2695408253%
                  PR29          Guanica, Puerto Rico                 0.4269617539%
                  PR30          Guayama, Puerto Rico                 1.3293151076%
                  PR31          Guayanilla, Puerto Rico              0.4886780984%
                  PR32          Guaynabo, Puerto Rico                2.3185934725%
                  PR33          Gurabo, Puerto Rico                  0.9866291335%
                  PR34          Hatillo, Puerto Rico                 1.0577790273%
                  PR35          Hormigueros, Puerto Rico             0.3963005262%
                  PR36          Humacao, Puerto Rico                 1.8829438530%
                  PR37          Isabela, Puerto Rico                 1.0062900243%
                  PR38          Jayuya, Puerto Rico                  0.3757431113%
                  PR39          Juana Diaz, Puerto Rico              1.7179648597%
                  PR40          Juncos, Puerto Rico                  0.9543672919%
                  PR41          Lajas, Puerto Rico                   0.5633742491%
                  PR42          Lares, Puerto Rico                   0.6852103333%
                  PR43          Las Marias, Puerto Rico              0.2285582941%
                  PR44          Las Piedras, Puerto Rico             0.8440153869%
                  PR45          Loiza, Puerto Rico                   0.7971240145%
  Strictly Confidential
  Subject to Protective Order
                                                   G-227             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 365 of 611. PageID #: 572649
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                 Qualifying Subdivision      Allocation
                  PR46          Luquillo, Puerto Rico                 0.5035020683%
                  PR47          Manati, Puerto Rico                   1.3858134207%
                  PR48          Maricao, Puerto Rico                  0.1311593846%
                  PR49          Maunabo, Puerto Rico                  0.2983734242%
                  PR50          Mayaguez, Puerto Rico                 2.7384221211%
                  PR51          Moca, Puerto Rico                     0.9400143856%
                  PR52          Morovis, Puerto Rico                  0.7678286207%
                  PR53          Naguabo, Puerto Rico                  0.6776685553%
                  PR54          Naranjito, Puerto Rico                0.6713715879%
                  PR55          Orocovis, Puerto Rico                 0.5209419444%
                  PR56          Patillas, Puerto Rico                 0.4307397840%
                  PR57          Penuelas, Puerto Rico                 0.5782731381%
                  PR58          Ponce, Puerto Rico                    5.1762853836%
                  PR59          Quebradillas, Puerto Rico             0.6086201563%
                  PR60          Rincon, Puerto Rico                   0.3607312171%
                  PR61          Rio Grande, Puerto Rico               1.2995118170%
                  PR62          Sabana Grande, Puerto Rico            0.5625075422%
                  PR63          Salinas, Puerto Rico                  0.8069301551%
                  PR64          San German, Puerto Rico               0.9914753253%
                  PR65          San Juan, Puerto Rico                13.8003700360%
                  PR66          San Lorenzo, Puerto Rico              1.0322446251%
                  PR67          San Sebastian, Puerto Rico            0.9222442638%
                  PR68          Santa Isabel, Puerto Rico             0.5210354055%
                  PR69          Toa Alta, Puerto Rico                 1.7552873773%
                  PR70          Toa Baja, Puerto Rico                 2.1783919223%
                  PR71          Trujillo Alto, Puerto Rico            1.9136501824%
                  PR72          Utuado, Puerto Rico                   0.7718304061%
                  PR73          Vega Alta, Puerto Rico                0.9338331796%
                  PR74          Vega Baja, Puerto Rico                1.6886509241%
                  PR75          Vieques, Puerto Rico                  0.1979351524%
                  PR76          Villalba, Puerto Rico                 0.5576736281%
                  PR77          Yabucoa, Puerto Rico                  0.8842993409%
                  PR78          Yauco, Puerto Rico                    1.1383015829%




  Strictly Confidential
  Subject to Protective Order
                                                    G-228             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 366 of 611. PageID #: 572650
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                   RI1          Barrington Town, Rhode Island            2.3000539202%
                   RI2          Bristol Town, Rhode Island               1.0821868960%
                   RI3          Burrillville Town, Rhode Island          1.3272036109%
                   RI4          Central Falls City, Rhode Island         0.9147584689%
                   RI5          Charlestown, Rhode Island                0.5887860100%
                   RI6          Coventry Town, Rhode Island              3.5886939036%
                   RI7          Cranston City, Rhode Island              7.8869595262%
                   RI8          Cumberland Town, Rhode Island            2.4742003754%
                   RI9          East Greenwich Town, Rhode Island        1.7467671439%
                   RI10         East Providence City, Rhode Island       4.3247728580%
                   RI11         Exeter Town, Rhode Island                0.0071810640%
                   RI12         Foster Town, Rhode Island                0.2489021533%
                   RI13         Glocester Town, Rhode Island             0.8508469130%
                   RI14         Hopkinton Town, Rhode Island             0.7098006614%
                   RI15         Jamestown, Rhode Island                  0.4220295287%
                   RI16         Johnston Town, Rhode Island              3.0898685140%
                   RI17         Lincoln Town, Rhode Island               2.1171973520%
                   RI18         Little Compton Town, Rhode Island        0.2663017745%
                   RI19         Middletown, Rhode Island                 1.2877439601%
                   RI20         Narragansett Town, Rhode Island          1.2760123800%
                   RI21         New Shoreham Town, Rhode Island          0.2118269375%
                   RI22         Newport City, Rhode Island               2.3339316695%
                   RI23         North Kingstown, Rhode Island            2.6500524514%
                   RI24         North Providence Town, Rhode Island      2.5306229398%
                   RI25         North Smithfield Town, Rhode Island      1.1299013506%
                   RI26         Pawtucket City, Rhode Island             5.9652217345%
                   RI27         Portsmouth Town, Rhode Island            1.2807429020%
                   RI28         Providence City, Rhode Island           21.4858080262%
                   RI29         Richmond Town, Rhode Island              0.0818789542%
                   RI30         Scituate Town, Rhode Island              1.0248588645%
                   RI31         Smithfield Town, Rhode Island            1.7724673574%
                   RI32         South Kingstown, Rhode Island            2.3282747894%
                   RI33         Tiverton Town, Rhode Island              0.9907730639%
                   RI34         Warren Town, Rhode Island                0.1394116029%
                   RI35         Warwick City, Rhode Island               9.9418184427%
                   RI36         West Greenwich Town, Rhode Island        0.7104734659%
                   RI37         West Warwick Town, Rhode Island          3.0239943495%
                   RI38         Westerly Town, Rhode Island              2.0135754535%
                   RI39         Woonsocket City, Rhode Island            3.8740986306%




  Strictly Confidential
  Subject to Protective Order
                                                  G-229                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 367 of 611. PageID #: 572651
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                   SC1          Abbeville County, South Carolina         0.3350059823%
                   SC2          Aiken City, South Carolina               0.7838026892%
                   SC3          Aiken County, South Carolina             2.5661670597%
                   SC4          Allendale County, South Carolina         0.1220441823%
                   SC5          Anderson City, South Carolina            1.1735303052%
                   SC6          Anderson County, South Carolina          3.3392231904%
                   SC7          Bamberg County, South Carolina           0.2705913372%
                   SC8          Barnwell County, South Carolina          0.4653224769%
                   SC9          Beaufort City, South Carolina            0.0769982478%
                  SC10          Beaufort County, South Carolina          2.3364418352%
                  SC11          Berkeley County, South Carolina          2.0961440294%
                  SC12          Bluffton Town, South Carolina            0.0481968917%
                  SC13          Calhoun County, South Carolina           0.1833260393%
                  SC14          Cayce City, South Carolina               0.2572136960%
                  SC15          Charleston City, South Carolina          2.3004340552%
                  SC16          Charleston County, South Carolina        3.8016438488%
                  SC17          Cherokee County, South Carolina          0.9440700745%
                  SC18          Chester City, South Carolina             0.1299573133%
                  SC19          Chester County, South Carolina           0.3947965211%
                  SC20          Chesterfield County, South Carolina      0.9443488664%
                  SC21          Clarendon County, South Carolina         0.5705383575%
                  SC22          Clemson City, South Carolina             0.3311616877%
                  SC23          Colleton County, South Carolina          0.8589365535%
                  SC24          Columbia City, South Carolina            2.3918060702%
                  SC25          Conway City, South Carolina              0.2894739402%
                  SC26          Darlington County, South Carolina        1.6906462867%
                  SC27          Dillon County, South Carolina            0.6608411417%
                  SC28          Dorchester County, South Carolina        1.6015765975%
                  SC29          Easley City, South Carolina              0.8565835771%
                  SC30          Edgefield County, South Carolina         0.3586097074%
                  SC31          Fairfield County, South Carolina         0.3536421891%
                  SC32          Florence City, South Carolina            1.0065336904%
                  SC33          Florence County, South Carolina          2.2059006272%
                  SC34          Forest Acres City, South Carolina        0.0995929056%
                  SC35          Fort Mill Town, South Carolina           0.1714974802%
                  SC36          Fountain Inn City, South Carolina        0.1975697094%
                  SC37          Gaffney City, South Carolina             0.2044353782%
                  SC38          Georgetown City, South Carolina          0.2626233562%
                  SC39          Georgetown County, South Carolina        1.1895098900%
                  SC40          Goose Creek City, South Carolina         0.5473575768%
                  SC41          Greenville City, South Carolina          2.2705648395%
                  SC42          Greenville County, South Carolina        7.1502328364%
                  SC43          Greenwood City, South Carolina           0.0308220618%
                  SC44          Greenwood County, South Carolina         1.3388944490%
                  SC45          Greer City, South Carolina               0.5590564672%
  Strictly Confidential
  Subject to Protective Order
                                                   G-230                 Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 368 of 611. PageID #: 572652
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                          Consolidated State
                 State ID               Qualifying Subdivision               Allocation
                  SC46          Hampton County, South Carolina               0.3450376919%
                  SC47          Hanahan City, South Carolina                 0.2279684840%
                  SC48          Hilton Head Island Town, South               0.2323878458%
                                Carolina
                  SC49          Horry County, South Carolina                 5.2166718879%
                  SC50          Irmo Town, South Carolina                    0.0942740906%
                  SC51          James Island Town, South Carolina            0.0461551887%
                  SC52          Jasper County, South Carolina                0.4278548317%
                  SC53          Kershaw County, South Carolina               1.0780892823%
                  SC54          Lancaster County, South Carolina             1.4809282603%
                  SC55          Laurens County, South Carolina               1.3598442946%
                  SC56          Lee County, South Carolina                   0.2176621820%
                  SC57          Lexington County, South Carolina             4.4881391605%
                  SC58          Lexington Town, South Carolina               0.2342104062%
                  SC59          Marion County, South Carolina                0.6973242307%
                  SC60          Marlboro County, South Carolina              0.4878238042%
                  SC61          Mauldin City, South Carolina                 0.4253253929%
                  SC62          McCormick County, South Carolina             0.1281623493%
                  SC63          Moncks Corner Town, South Carolina           0.1965426445%
                  SC64          Mount Pleasant Town, South Carolina          0.5750801889%
                  SC65          Myrtle Beach City, South Carolina            1.9068234068%
                  SC66          Newberry City, South Carolina                0.0344864657%
                  SC67          Newberry County, South Carolina              0.5656551710%
                  SC68          North Augusta City, South Carolina           0.5139678525%
                  SC69          North Charleston City, South Carolina        1.7751090959%
                  SC70          North Myrtle Beach City, South Carolina      0.6366313248%
                  SC71          Oconee County, South Carolina                2.8099515214%
                  SC72          Orangeburg City, South Carolina              0.0468940344%
                  SC73          Orangeburg County, South Carolina            1.4543982912%
                  SC74          Pickens County, South Carolina               2.8143347165%
                  SC75          Port Royal Town, South Carolina              0.0206098617%
                  SC76          Richland County, South Carolina              3.8816723839%
                  SC77          Rock Hill City, South Carolina               1.3120073555%
                  SC78          Saluda County, South Carolina                0.2604801809%
                  SC79          Simpsonville City, South Carolina            0.3497064495%
                  SC80          Spartanburg City, South Carolina             1.1890308958%
                  SC81          Spartanburg County, South Carolina           6.4084293395%
                  SC82          Summerville Town, South Carolina             0.6446011912%
                  SC83          Sumter City, South Carolina                  0.5390642671%
                  SC84          Sumter County, South Carolina                0.9480995733%
                  SC85          Tega Cay City, South Carolina                0.0433365022%
                  SC86          Union County, South Carolina                 0.6499524020%
                  SC87          West Columbia City, South Carolina           0.3943858322%
                  SC88          Williamsburg County, South Carolina          0.4931357629%
                  SC89          York County, South Carolina                  2.5800878865%
  Strictly Confidential
  Subject to Protective Order
                                                   G-231                     Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 369 of 611. PageID #: 572653
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID               Qualifying Subdivision        Allocation
                   SD1          Aberdeen City, South Dakota           1.7806789284%
                   SD2          Aurora County, South Dakota           0.1283252150%
                   SD3          Beadle County, South Dakota           0.8743032704%
                   SD4          Bennett County, South Dakota          0.1895703332%
                   SD5          Bon Homme County, South Dakota        0.6047162426%
                   SD6          Box Elder City, South Dakota          0.2251076107%
                   SD7          Brandon City, South Dakota            0.4012895918%
                   SD8          Brookings City, South Dakota          2.4259611863%
                   SD9          Brookings County, South Dakota        0.2802421588%
                  SD10          Brown County, South Dakota            1.7764564315%
                  SD11          Brule County, South Dakota            0.8045710091%
                  SD12          Buffalo County, South Dakota          0.1823519926%
                  SD13          Butte County, South Dakota            0.8926544344%
                  SD14          Campbell County, South Dakota         0.0682419048%
                  SD15          Charles Mix County, South Dakota      0.8084433424%
                  SD16          Clark County, South Dakota            0.2550260601%
                  SD17          Clay County, South Dakota             0.4415194932%
                  SD18          Codington County, South Dakota        0.8721266365%
                  SD19          Corson County, South Dakota           0.3429322421%
                  SD20          Custer County, South Dakota           1.0868471426%
                  SD21          Davison County, South Dakota          0.6815458005%
                  SD22          Day County, South Dakota              0.3921680475%
                  SD23          Deuel County, South Dakota            0.4035008098%
                  SD24          Dewey County, South Dakota            0.3699996685%
                  SD25          Douglas County, South Dakota          0.2891518759%
                  SD26          Edmunds County, South Dakota          0.2529348056%
                  SD27          Fall River County, South Dakota       2.1968904590%
                  SD28          Faulk County, South Dakota            0.2772473959%
                  SD29          Grant County, South Dakota            0.6923230564%
                  SD30          Gregory County, South Dakota          0.5555128599%
                  SD31          Haakon County, South Dakota           0.1774497029%
                  SD32          Hamlin County, South Dakota           0.3340117176%
                  SD33          Hand County, South Dakota             0.2401311401%
                  SD34          Hanson County, South Dakota           0.1484271966%
                  SD35          Harding County, South Dakota          0.0620805393%
                  SD36          Hughes County, South Dakota           0.8137066032%
                  SD37          Huron City, South Dakota              0.8308959590%
                  SD38          Hutchinson County, South Dakota       0.5659237410%
                  SD39          Hyde County, South Dakota             0.0640529112%
                  SD40          Jackson County, South Dakota          0.1437421380%
                  SD41          Jerauld County, South Dakota          0.3258250234%
                  SD42          Jones County, South Dakota            0.0451732597%
                  SD43          Kingsbury County, South Dakota        0.3721763025%
                  SD44          Lake County, South Dakota             0.8273932428%
                  SD45          Lawrence County, South Dakota         2.3838237581%
  Strictly Confidential
  Subject to Protective Order
                                                  G-232               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 370 of 611. PageID #: 572654
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID               Qualifying Subdivision          Allocation
                  SD46          Lincoln County, South Dakota            1.2611723923%
                  SD47          Lyman County, South Dakota              0.3239942300%
                  SD48          Marshall County, South Dakota           0.5625107271%
                  SD49          McCook County, South Dakota             0.3047773840%
                  SD50          McPherson County, South Dakota          0.1613184030%
                  SD51          Meade County, South Dakota              3.2698326502%
                  SD52          Mellette County, South Dakota           0.1848247525%
                  SD53          Miner County, South Dakota              0.1616739703%
                  SD54          Minnehaha County, South Dakota         12.2243522517%
                  SD55          Mitchell City, South Dakota             1.5031732329%
                  SD56          Moody County, South Dakota              0.4743937985%
                  SD57          Oglala Lakota County, South Dakota      1.3919692864%
                  SD58          Pennington County, South Dakota         8.0611767283%
                  SD59          Perkins County, South Dakota            0.3755374403%
                  SD60          Pierre City, South Dakota               0.6216678331%
                  SD61          Potter County, South Dakota             0.1893444561%
                  SD62          Rapid City, South Dakota                6.9492723574%
                  SD63          Roberts County, South Dakota            0.9943780269%
                  SD64          Sanborn County, South Dakota            0.1141857404%
                  SD65          Sioux Falls City, South Dakota         21.6732660428%
                  SD66          Spearfish City, South Dakota            0.8208633410%
                  SD67          Spink County, South Dakota              0.7324773052%
                  SD68          Stanley County, South Dakota            0.1733882380%
                  SD69          Sully County, South Dakota              0.0632218131%
                  SD70          Todd County, South Dakota               1.0677859248%
                  SD71          Tripp County, South Dakota              0.6252580903%
                  SD72          Turner County, South Dakota             0.6536969906%
                  SD73          Union County, South Dakota              1.4531041680%
                  SD74          Vermillion City, South Dakota           0.5912781760%
                  SD75          Walworth County, South Dakota           0.5615110318%
                  SD76          Watertown City, South Dakota            1.6132964277%
                  SD77          Yankton City, South Dakota              1.2219897393%
                  SD78          Yankton County, South Dakota            1.4233435084%
                  SD79          Ziebach County, South Dakota            0.3085103004%




  Strictly Confidential
  Subject to Protective Order
                                                   G-233                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 371 of 611. PageID #: 572655
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   TN1          Alexandria Town, Tennessee           0.0027913085%
                   TN2          Algood City, Tennessee               0.0032741136%
                   TN3          Anderson County, Tennessee           1.0489907838%
                   TN4          Ardmore City, Tennessee              0.0026765324%
                   TN5          Arlington Town, Tennessee            0.0036566309%
                   TN6          Athens City, Tennessee               0.2360706677%
                   TN7          Auburntown, Tennessee                0.0001983981%
                   TN8          Bartlett City, Tennessee             0.0730561566%
                   TN9          Baxter Town, Tennessee               0.0004972097%
                  TN10          Bedford County, Tennessee            0.5272814034%
                  TN11          Bell Buckle Town, Tennessee          0.0002627582%
                  TN12          Benton County, Tennessee             0.5216608068%
                  TN13          Bledsoe County, Tennessee            0.1398580820%
                  TN14          Blount County, Tennessee             1.9196465581%
                  TN15          Bradley County, Tennessee            1.0430217552%
                  TN16          Brentwood City, Tennessee            0.0478208600%
                  TN17          Bristol City, Tennessee              0.5426871150%
                  TN18          Byrdstown, Tennessee                 0.0011427364%
                  TN19          Campbell County, Tennessee           1.5974370559%
                  TN20          Cannon County, Tennessee             0.3116778190%
                  TN21          Carroll County, Tennessee            0.4438060785%
                  TN22          Carter County, Tennessee             0.5782580416%
                  TN23          Celina City, Tennessee               0.0277813920%
                  TN24          Centertown, Tennessee                0.0001321538%
                  TN25          Centerville Town, Tennessee          0.0116202349%
                  TN26          Chapel Hill Town, Tennessee          0.0043601529%
                  TN27          Chattanooga City, Tennessee          0.4981237028%
                  TN28          Cheatham County, Tennessee           0.8209998781%
                  TN29          Chester County, Tennessee            0.1751399118%
                  TN30          Claiborne County, Tennessee          1.1929412357%
                  TN31          Clarksville City, Tennessee          0.2296815192%
                  TN32          Clay County, Tennessee               0.2983695250%
                  TN33          Cleveland City, Tennessee            0.5531282252%
                  TN34          Clifton City, Tennessee              0.0022427615%
                  TN35          Clinton City, Tennessee              0.1573341188%
                  TN36          Cocke County, Tennessee              0.8746257470%
                  TN37          Coffee County, Tennessee             0.4346569849%
                  TN38          Collegedale City, Tennessee          0.0080390188%
                  TN39          Collierville Town, Tennessee         0.0617375387%
                  TN40          Collinwood City, Tennessee           0.0021594326%
                  TN41          Columbia City, Tennessee             0.0390894158%
                  TN42          Cookeville City, Tennessee           0.8404101920%
                  TN43          Cornersville Town, Tennessee         0.0025527953%
                  TN44          Crab Orchard City, Tennessee         0.0000241612%
                  TN45          Crockett County, Tennessee           0.1232062476%
  Strictly Confidential
  Subject to Protective Order
                                                   G-234             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 372 of 611. PageID #: 572656
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                         Consolidated State
                 State ID                Qualifying Subdivision             Allocation
                  TN46          Crossville City, Tennessee                  0.0619543195%
                  TN47          Cumberland County, Tennessee                0.8164884351%
                  TN48          Dandridge Town, Tennessee                   0.0109089663%
                  TN49          De Kalb County, Tennessee                   0.4242612240%
                  TN50          Decatur County, Tennessee                   0.3607195939%
                  TN51          Decatur Town, Tennessee                     0.0050599481%
                  TN52          Dickson City, Tennessee                     0.0699263820%
                  TN53          Dickson County, Tennessee                   0.7642083488%
                  TN54          Dowelltown, Tennessee                       0.0007434696%
                  TN55          Doyle Town, Tennessee                       0.0001218109%
                  TN56          Dyer County, Tennessee                      0.2010581703%
                  TN57          Dyersburg City, Tennessee                   0.2008506856%
                  TN58          Eagleville City, Tennessee                  0.0010231029%
                  TN59          East Ridge City, Tennessee                  0.0217959070%
                  TN60          Elizabethton City, Tennessee                0.2653016475%
                  TN61          Elkton City, Tennessee                      0.0004852756%
                  TN62          Ethridge Town, Tennessee                    0.0005864009%
                  TN63          Farragut Town, Tennessee                    0.0167667362%
                  TN64          Fayette County, Tennessee                   0.3157083831%
                  TN65          Fayetteville City, Tennessee                0.0647238955%
                  TN66          Fentress County, Tennessee                  0.5526714656%
                  TN67          Franklin City, Tennessee                    0.1089989646%
                  TN68          Franklin County, Tennessee                  0.6079344750%
                  TN69          Gallatin City, Tennessee                    0.0760079674%
                  TN70          Gatlinburg City, Tennessee                  0.0507819668%
                  TN71          Germantown City, Tennessee                  0.0687501047%
                  TN72          Gibson County, Tennessee                    0.4940695219%
                  TN73          Giles County, Tennessee                     0.4000334952%
                  TN74          Goodlettsville City, Tennessee              0.0334336034%
                  TN75          Grainger County, Tennessee                  0.4671260668%
                  TN76          Greene County, Tennessee                    0.8232264763%
                  TN77          Greeneville Town, Tennessee                 0.3895702338%
                  TN78          Grundy County, Tennessee                    0.3896858892%
                  TN79          Hamblen County, Tennessee                   2.2614488604%
                  TN80          Hamilton County, Tennessee                  4.1540192234%
                  TN81          Hancock County, Tennessee                   0.2089065376%
                  TN82          Hardeman County, Tennessee                  0.2150658408%
                  TN83          Hardin County, Tennessee                    0.5683946644%
                  TN84          Hartsville/Trousdale County, Tennessee      0.1139641522%
                  TN85          Hawkins County, Tennessee                   1.0968095083%
                  TN86          Haywood County, Tennessee                   0.1104263592%
                  TN87          Henderson County, Tennessee                 0.2498867656%
                  TN88          Hendersonville City, Tennessee              0.1137407554%
                  TN89          Henry County, Tennessee                     0.6444385596%
                  TN90          Hickman County, Tennessee                   0.2687886895%
  Strictly Confidential
  Subject to Protective Order
                                                   G-235                    Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 373 of 611. PageID #: 572657
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  TN91          Houston County, Tennessee                 0.1198735525%
                  TN92          Humphreys County, Tennessee               0.2441608982%
                  TN93          Jackson City, Tennessee                   0.0431370644%
                  TN94          Jackson County, Tennessee                 0.2780985367%
                  TN95          Jefferson County, Tennessee               0.8912247367%
                  TN96          Johnson City, Tennessee                   1.0682855260%
                  TN97          Johnson County, Tennessee                 0.2282065978%
                  TN98          Kingsport City, Tennessee                 0.9871149359%
                  TN99          Knox County, Tennessee                    9.1641554650%
                  TN100         Knoxville City, Tennessee                 1.5417816888%
                  TN101         La Vergne City, Tennessee                 0.0518950147%
                  TN102         Lake County, Tennessee                    0.0671464632%
                  TN103         Lakeland City, Tennessee                  0.0000095891%
                  TN104         Lauderdale County, Tennessee              0.2733775153%
                  TN105         Lawrence County, Tennessee                0.6461910207%
                  TN106         Lawrenceburg City, Tennessee              0.0465511203%
                  TN107         Lebanon City, Tennessee                   0.1110258247%
                  TN108         Lewis County, Tennessee                   0.1528225920%
                  TN109         Lewisburg City, Tennessee                 0.0396496875%
                  TN110         Lexington City, Tennessee                 0.0796867496%
                  TN111         Liberty Town, Tennessee                   0.0003647628%
                  TN112         Lincoln County, Tennessee                 0.3409251715%
                  TN113         Livingston Town, Tennessee                0.0198677435%
                  TN114         Loretto City, Tennessee                   0.0047940075%
                  TN115         Loudon County, Tennessee                  0.8992460428%
                  TN116         Lynchburg, Moore County Metropolitan      0.0579106070%
                                Government, Tennessee
                  TN117         Lynnville Town, Tennessee                 0.0003845691%
                  TN118         Macon County, Tennessee                   0.3091017000%
                  TN119         Madison County, Tennessee                 0.8907256845%
                  TN120         Manchester City, Tennessee                0.1612528379%
                  TN121         Marion County, Tennessee                  0.3637161259%
                  TN122         Marshall County, Tennessee                0.4953711694%
                  TN123         Martin City, Tennessee                    0.0101175931%
                  TN124         Maryville City, Tennessee                 0.3223901040%
                  TN125         Maury County, Tennessee                   1.0724162522%
                  TN126         McMinn County, Tennessee                  0.6936567070%
                  TN127         McMinnville City, Tennessee               0.0355475192%
                  TN128         McNairy County, Tennessee                 0.4269884656%
                  TN129         Meigs County, Tennessee                   0.2016450737%
                  TN130         Memphis City, Tennessee                   4.9079216307%
                  TN131         Millington City, Tennessee                0.0212200583%
                  TN132         Minor Hill City, Tennessee                0.0008698448%
                  TN133         Monroe County, Tennessee                  0.7506735593%
                  TN134         Monterey Town, Tennessee                  0.0029942290%
  Strictly Confidential
  Subject to Protective Order
                                                  G-236                   Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 374 of 611. PageID #: 572658
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TN135         Montgomery County, Tennessee         1.6758545682%
                  TN136         Morgan County, Tennessee             0.5132562715%
                  TN137         Morrison Town, Tennessee             0.0004337290%
                  TN138         Morristown City, Tennessee           0.3919462797%
                  TN139         Mount Juliet City, Tennessee         0.0577622481%
                  TN140         Mount Pleasant City, Tennessee       0.0048377656%
                  TN141         Murfreesboro City, Tennessee         0.7283549414%
                  TN142         Nashville-Davidson Metropolitan      8.9605710893%
                                Government, Tennessee
                  TN143         Nolensville Town, Tennessee          0.0026055144%
                  TN144         Normandy Town, Tennessee             0.0000797277%
                  TN145         Oak Ridge City, Tennessee            0.9598050011%
                  TN146         Obion County, Tennessee              0.2204168957%
                  TN147         Overton County, Tennessee            0.5262993368%
                  TN148         Paris City, Tennessee                0.0217300395%
                  TN149         Perry County, Tennessee              0.0857864664%
                  TN150         Petersburg Town, Tennessee           0.0005822973%
                  TN151         Pickett County, Tennessee            0.1459705284%
                  TN152         Pigeon Forge City, Tennessee         0.0877322588%
                  TN153         Pleasant Hill Town, Tennessee        0.0000178801%
                  TN154         Polk County, Tennessee               0.3220131560%
                  TN155         Portland City, Tennessee             0.0203045711%
                  TN156         Pulaski City, Tennessee              0.0561230557%
                  TN157         Putnam County, Tennessee             0.3863240500%
                  TN158         Red Bank City, Tennessee             0.0106755617%
                  TN159         Rhea County, Tennessee               0.5404420504%
                  TN160         Ripley City, Tennessee               0.0190759934%
                  TN161         Roane County, Tennessee              1.6361535854%
                  TN162         Robertson County, Tennessee          0.8676284650%
                  TN163         Rutherford County, Tennessee         2.5746747125%
                  TN164         Scott County, Tennessee              0.5189341096%
                  TN165         Sequatchie County, Tennessee         0.2433974548%
                  TN166         Sevier County, Tennessee             1.3567168872%
                  TN167         Sevierville City, Tennessee          0.0845613223%
                  TN168         Shelby County, Tennessee             3.5255393191%
                  TN169         Shelbyville City, Tennessee          0.0482670674%
                  TN170         Smith County, Tennessee              0.5711842980%
                  TN171         Smithville City, Tennessee           0.0196818237%
                  TN172         Smyrna Town, Tennessee               0.1314691656%
                  TN173         Soddy-Daisy City, Tennessee          0.0110233237%
                  TN174         Sparta City, Tennessee               0.0168519913%
                  TN175         Spencer Town, Tennessee              0.0007743306%
                  TN176         Spring Hill City, Tennessee          0.0244598773%
                  TN177         Springfield City, Tennessee          0.0550041036%
                  TN178         St. Joseph City, Tennessee           0.0011625009%
  Strictly Confidential
  Subject to Protective Order
                                                   G-237             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 375 of 611. PageID #: 572659
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  TN179         Stewart County, Tennessee           0.1459273147%
                  TN180         Sullivan County, Tennessee          1.4573397906%
                  TN181         Sumner County, Tennessee            1.7022113712%
                  TN182         Tipton County, Tennessee            0.6312749815%
                  TN183         Tullahoma City, Tennessee           0.3238479828%
                  TN184         Unicoi County, Tennessee            0.3464527663%
                  TN185         Union City, Tennessee               0.0993864534%
                  TN186         Union County, Tennessee             0.5606745148%
                  TN187         Van Buren County, Tennessee         0.0471429229%
                  TN188         Viola Town, Tennessee               0.0000607170%
                  TN189         Warren County, Tennessee            0.5357371504%
                  TN190         Wartrace Town, Tennessee            0.0003753988%
                  TN191         Washington County, Tennessee        1.1061046159%
                  TN192         Wayne County, Tennessee             0.2247756248%
                  TN193         Waynesboro City, Tennessee          0.0036939405%
                  TN194         Weakley County, Tennessee           0.3773601643%
                  TN195         White County, Tennessee             0.3992656969%
                  TN196         White House City, Tennessee         0.0200834355%
                  TN197         Williamson County, Tennessee        1.6817249840%
                  TN198         Wilson County, Tennessee            1.4019072760%
                  TN199         Woodbury Town, Tennessee            0.0086691778%




  Strictly Confidential
  Subject to Protective Order
                                                  G-238             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 376 of 611. PageID #: 572660
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   TX1          Abbott City, Texas                  0.0004586670%
                   TX2          Abernathy City, Texas               0.0000733330%
                   TX3          Abilene City, Texas                 0.3758786670%
                   TX4          Ackerly City, Texas                 0.0000140000%
                   TX5          Addison Town, Texas                 0.0387293330%
                   TX6          Adrian City, Texas                  0.0001206670%
                   TX7          Agua Dulce City, Texas              0.0000286670%
                   TX8          Alamo City, Texas                   0.0147473330%
                   TX9          Alamo Heights City, Texas           0.0187986670%
                  TX10          Alba Town, Texas                    0.0021306670%
                  TX11          Albany City, Texas                  0.0001200000%
                  TX12          Aledo City, Texas                   0.0002206670%
                  TX13          Alice City, Texas                   0.0475273330%
                  TX14          Allen City, Texas                   0.2100540000%
                  TX15          Alma Town, Texas                    0.0007380000%
                  TX16          Alpine City, Texas                  0.0197906670%
                  TX17          Alto Town, Texas                    0.0025113330%
                  TX18          Alton City, Texas                   0.0076933330%
                  TX19          Alvarado City, Texas                0.0193526670%
                  TX20          Alvin City, Texas                   0.0759746670%
                  TX21          Alvord Town, Texas                  0.0002386670%
                  TX22          Amarillo City, Texas                0.6584406670%
                  TX23          Ames City, Texas                    0.0037140000%
                  TX24          Amherst City, Texas                 0.0000146670%
                  TX25          Anahuac City, Texas                 0.0003613330%
                  TX26          Anderson City, Texas                0.0000126670%
                  TX27          Anderson County, Texas              0.1791753330%
                  TX28          Andrews City, Texas                 0.0126553330%
                  TX29          Andrews County, Texas               0.0250706670%
                  TX30          Angelina County, Texas              0.1533040000%
                  TX31          Angleton City, Texas                0.0418606670%
                  TX32          Angus City, Texas                   0.0002206670%
                  TX33          Anna City, Texas                    0.0060500000%
                  TX34          Annetta North Town, Texas           0.0000226670%
                  TX35          Annetta South Town, Texas           0.0004013330%
                  TX36          Annetta Town, Texas                 0.0039706670%
                  TX37          Annona Town, Texas                  0.0004920000%
                  TX38          Anson City, Texas                   0.0034226670%
                  TX39          Anthony Town, Texas                 0.0030093330%
                  TX40          Anton City, Texas                   0.0002960000%
                  TX41          Appleby City, Texas                 0.0010340000%
                  TX42          Aquilla City, Texas                 0.0001386670%
                  TX43          Aransas County, Texas               0.1776746670%
                  TX44          Aransas Pass City, Texas            0.0385420000%
                  TX45          Archer City, Texas                  0.0070360000%
  Strictly Confidential
  Subject to Protective Order
                                                  G-239             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 377 of 611. PageID #: 572661
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX46          Archer County, Texas                 0.0303560000%
                  TX47          Arcola City, Texas                   0.0048600000%
                  TX48          Argyle City, Texas                   0.0076040000%
                  TX49          Arlington City, Texas                0.4905353330%
                  TX50          Armstrong County, Texas              0.0006493330%
                  TX51          Arp City, Texas                      0.0013393330%
                  TX52          Asherton City, Texas                 0.0000746670%
                  TX53          Aspermont Town, Texas                0.0000060000%
                  TX54          Atascosa County, Texas               0.1179353330%
                  TX55          Athens City, Texas                   0.0706280000%
                  TX56          Atlanta City, Texas                  0.0206633330%
                  TX57          Aubrey City, Texas                   0.0100940000%
                  TX58          Aurora City, Texas                   0.0012326670%
                  TX59          Austin City, Texas                   3.2518106670%
                  TX60          Austin County, Texas                 0.0506866670%
                  TX61          Austwell City, Texas                 0.0000726670%
                  TX62          Avery Town, Texas                    0.0000920000%
                  TX63          Avinger Town, Texas                  0.0007433330%
                  TX64          Azle City, Texas                     0.0214753330%
                  TX65          Bailey City, Texas                   0.0006333330%
                  TX66          Bailey County, Texas                 0.0102513330%
                  TX67          Bailey's Prairie Village, Texas      0.0037360000%
                  TX68          Baird City, Texas                    0.0018680000%
                  TX69          Balch Springs City, Texas            0.0182386670%
                  TX70          Balcones Heights City, Texas         0.0158740000%
                  TX71          Ballinger City, Texas                0.0061146670%
                  TX72          Balmorhea City, Texas                0.0000420000%
                  TX73          Bandera City, Texas                  0.0019286670%
                  TX74          Bandera County, Texas                0.0578766670%
                  TX75          Bangs City, Texas                    0.0020333330%
                  TX76          Bardwell City, Texas                 0.0002413330%
                  TX77          Barry City, Texas                    0.0001333330%
                  TX78          Barstow City, Texas                  0.0000406670%
                  TX79          Bartlett City, Texas                 0.0022493330%
                  TX80          Bartonville Town, Texas              0.0059246670%
                  TX81          Bastrop City, Texas                  0.0308800000%
                  TX82          Bastrop County, Texas                0.2293066670%
                  TX83          Bay City, Texas                      0.0386080000%
                  TX84          Baylor County, Texas                 0.0198880000%
                  TX85          Bayou Vista City, Texas              0.0041600000%
                  TX86          Bayside Town, Texas                  0.0001613330%
                  TX87          Baytown City, Texas                  0.1440440000%
                  TX88          Bayview Town, Texas                  0.0000273330%
                  TX89          Beach City, Texas                    0.0083366670%
                  TX90          Bear Creek Village, Texas            0.0006040000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-240             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 378 of 611. PageID #: 572662
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX91          Beasley City, Texas                  0.0000866670%
                  TX92          Beaumont City, Texas                 0.4553400000%
                  TX93          Beckville City, Texas                0.0008313330%
                  TX94          Bedford City, Texas                  0.0628760000%
                  TX95          Bedias City, Texas                   0.0023166670%
                  TX96          Bee Cave City, Texas                 0.0085753330%
                  TX97          Bee County, Texas                    0.0652293330%
                  TX98          Beeville City, Texas                 0.0160180000%
                  TX99          Bell County, Texas                   0.4338320000%
                  TX100         Bellaire City, Texas                 0.0275093330%
                  TX101         Bellevue City, Texas                 0.0000373330%
                  TX102         Bellmead City, Texas                 0.0096580000%
                  TX103         Bells Town, Texas                    0.0012606670%
                  TX104         Bellville City, Texas                0.0049920000%
                  TX105         Belton City, Texas                   0.0484533330%
                  TX106         Benavides City, Texas                0.0001013330%
                  TX107         Benbrook City, Texas                 0.0292793330%
                  TX108         Benjamin City, Texas                 0.0006340000%
                  TX109         Berryville Town, Texas               0.0095860000%
                  TX110         Bertram City, Texas                  0.0001213330%
                  TX111         Beverly Hills City, Texas            0.0028906670%
                  TX112         Bevil Oaks City, Texas               0.0003660000%
                  TX113         Bexar County, Texas                  4.6714346670%
                  TX114         Big Lake City, Texas                 0.0003646670%
                  TX115         Big Sandy Town, Texas                0.0030526670%
                  TX116         Big Spring City, Texas               0.1266186670%
                  TX117         Big Wells City, Texas                0.0001573330%
                  TX118         Bishop City, Texas                   0.0054753330%
                  TX119         Bishop Hills Town, Texas             0.0002153330%
                  TX120         Blackwell City, Texas                0.0000206670%
                  TX121         Blanco City, Texas                   0.0041273330%
                  TX122         Blanco County, Texas                 0.0328153330%
                  TX123         Blanket Town, Texas                  0.0000980000%
                  TX124         Bloomburg Town, Texas                0.0006733330%
                  TX125         Blooming Grove Town, Texas           0.0002346670%
                  TX126         Blossom City, Texas                  0.0001320000%
                  TX127         Blue Mound City, Texas               0.0019253330%
                  TX128         Blue Ridge City, Texas               0.0008966670%
                  TX129         Blum Town, Texas                     0.0010813330%
                  TX130         Boerne City, Texas                   0.0303840000%
                  TX131         Bogata City, Texas                   0.0024326670%
                  TX132         Bonham City, Texas                   0.0672726670%
                  TX133         Bonney Village, Texas                0.0016733330%
                  TX134         Booker Town, Texas                   0.0006906670%
                  TX135         Borden County, Texas                 0.0006666670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-241             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 379 of 611. PageID #: 572663
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX136         Borger City, Texas                   0.0464533330%
                  TX137         Bosque County, Texas                 0.0473820000%
                  TX138         Bovina City, Texas                   0.0001153330%
                  TX139         Bowie City, Texas                    0.0557466670%
                  TX140         Bowie County, Texas                  0.1554600000%
                  TX141         Boyd Town, Texas                     0.0046353330%
                  TX142         Brackettville City, Texas            0.0000053330%
                  TX143         Brady City, Texas                    0.0183200000%
                  TX144         Brazoria City, Texas                 0.0076913330%
                  TX145         Brazoria County, Texas               0.6807266670%
                  TX146         Brazos Bend City, Texas              0.0003080000%
                  TX147         Brazos Country City, Texas           0.0006013330%
                  TX148         Brazos County, Texas                 0.2280580000%
                  TX149         Breckenridge City, Texas             0.0159840000%
                  TX150         Bremond City, Texas                  0.0037026670%
                  TX151         Brenham City, Texas                  0.0365000000%
                  TX152         Brewster County, Texas               0.0400580000%
                  TX153         Briarcliff Village, Texas            0.0003813330%
                  TX154         Briaroaks City, Texas                0.0000380000%
                  TX155         Bridge City, Texas                   0.0538373330%
                  TX156         Bridgeport City, Texas               0.0222006670%
                  TX157         Briscoe County, Texas                0.0006513330%
                  TX158         Broaddus Town, Texas                 0.0000206670%
                  TX159         Bronte Town, Texas                   0.0000660000%
                  TX160         Brooks County, Texas                 0.0138066670%
                  TX161         Brookshire City, Texas               0.0042706670%
                  TX162         Brookside Village City, Texas        0.0007400000%
                  TX163         Brown County, Texas                  0.1289446670%
                  TX164         Browndell City, Texas                0.0001013330%
                  TX165         Brownfield City, Texas               0.0096346670%
                  TX166         Brownsboro City, Texas               0.0021173330%
                  TX167         Brownsville City, Texas              0.2833713330%
                  TX168         Brownwood City, Texas                0.1110480000%
                  TX169         Bruceville-Eddy City, Texas          0.0011280000%
                  TX170         Bryan City, Texas                    0.1645980000%
                  TX171         Bryson City, Texas                   0.0008186670%
                  TX172         Buckholts Town, Texas                0.0007420000%
                  TX173         Buda City, Texas                     0.0071893330%
                  TX174         Buffalo City, Texas                  0.0079106670%
                  TX175         Buffalo Gap Town, Texas              0.0000586670%
                  TX176         Buffalo Springs Village, Texas       0.0001253330%
                  TX177         Bullard Town, Texas                  0.0049913330%
                  TX178         Bulverde City, Texas                 0.0096240000%
                  TX179         Bunker Hill Village City, Texas      0.0003146670%
                  TX180         Burkburnett City, Texas              0.0252293330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-242             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 380 of 611. PageID #: 572664
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX181         Burke City, Texas                    0.0007426670%
                  TX182         Burleson City, Texas                 0.1011860000%
                  TX183         Burleson County, Texas               0.0468293330%
                  TX184         Burnet City, Texas                   0.0222300000%
                  TX185         Burnet County, Texas                 0.1265526670%
                  TX186         Burton City, Texas                   0.0006246670%
                  TX187         Byers City, Texas                    0.0000513330%
                  TX188         Bynum Town, Texas                    0.0002533330%
                  TX189         Cactus City, Texas                   0.0031860000%
                  TX190         Caddo Mills City, Texas              0.0000286670%
                  TX191         Caldwell City, Texas                 0.0121633330%
                  TX192         Caldwell County, Texas               0.0576086670%
                  TX193         Calhoun County, Texas                0.0852840000%
                  TX194         Callahan County, Texas               0.0085960000%
                  TX195         Callisburg City, Texas               0.0000673330%
                  TX196         Calvert City, Texas                  0.0005146670%
                  TX197         Cameron City, Texas                  0.0073940000%
                  TX198         Cameron County, Texas                0.3580173330%
                  TX199         Camp County, Texas                   0.0192340000%
                  TX200         Camp Wood City, Texas                0.0002813330%
                  TX201         Campbell City, Texas                 0.0007440000%
                  TX202         Canadian City, Texas                 0.0007266670%
                  TX203         Caney City Town, Texas               0.0013366670%
                  TX204         Canton City, Texas                   0.0378226670%
                  TX205         Canyon City, Texas                   0.0175006670%
                  TX206         Carbon Town, Texas                   0.0004133330%
                  TX207         Carl's Corner Town, Texas            0.0000320000%
                  TX208         Carmine City, Texas                  0.0002566670%
                  TX209         Carrizo Springs City, Texas          0.0011140000%
                  TX210         Carrollton City, Texas               0.2068366670%
                  TX211         Carson County, Texas                 0.0196620000%
                  TX212         Carthage City, Texas                 0.0126180000%
                  TX213         Cashion Community City, Texas        0.0002146670%
                  TX214         Cass County, Texas                   0.0621033330%
                  TX215         Castle Hills City, Texas             0.0085200000%
                  TX216         Castro County, Texas                 0.0029466670%
                  TX217         Castroville City, Texas              0.0030166670%
                  TX218         Cedar Hill City, Texas               0.0467513330%
                  TX219         Cedar Park City, Texas               0.1237113330%
                  TX220         Celeste City, Texas                  0.0008533330%
                  TX221         Celina City, Texas                   0.0121886670%
                  TX222         Center City, Texas                   0.0392253330%
                  TX223         Centerville City, Texas              0.0002566670%
                  TX224         Chambers County, Texas               0.1021253330%
                  TX225         Chandler City, Texas                 0.0115760000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-243             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 381 of 611. PageID #: 572665
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX226         Channing City, Texas                 0.0000013330%
                  TX227         Charlotte City, Texas                0.0028380000%
                  TX228         Cherokee County, Texas               0.1044080000%
                  TX229         Chester Town, Texas                  0.0007826670%
                  TX230         Chico City, Texas                    0.0019520000%
                  TX231         Childress City, Texas                0.0252773330%
                  TX232         Childress County, Texas              0.0337213330%
                  TX233         Chillicothe City, Texas              0.0001146670%
                  TX234         China City, Texas                    0.0003480000%
                  TX235         China Grove Town, Texas              0.0003986670%
                  TX236         Chireno City, Texas                  0.0010453330%
                  TX237         Christine Town, Texas                0.0002360000%
                  TX238         Cibolo City, Texas                   0.0091266670%
                  TX239         Cisco City, Texas                    0.0048120000%
                  TX240         Clarendon City, Texas                0.0000760000%
                  TX241         Clarksville City, Texas              0.0139273330%
                  TX242         Clarksville City, Texas              0.0000360000%
                  TX243         Claude City, Texas                   0.0000173330%
                  TX244         Clay County, Texas                   0.0480333330%
                  TX245         Clear Lake Shores City, Texas        0.0044546670%
                  TX246         Cleburne City, Texas                 0.1521226670%
                  TX247         Cleveland City, Texas                0.0645980000%
                  TX248         Clifton City, Texas                  0.0066260000%
                  TX249         Clint Town, Texas                    0.0002500000%
                  TX250         Clute City, Texas                    0.0342333330%
                  TX251         Clyde City, Texas                    0.0115246670%
                  TX252         Coahoma Town, Texas                  0.0015273330%
                  TX253         Cochran County, Texas                0.0022593330%
                  TX254         Cockrell Hill City, Texas            0.0003413330%
                  TX255         Coffee City Town, Texas              0.0007246670%
                  TX256         Coke County, Texas                   0.0036813330%
                  TX257         Coldspring City, Texas               0.0002980000%
                  TX258         Coleman City, Texas                  0.0036280000%
                  TX259         Coleman County, Texas                0.0027760000%
                  TX260         College Station City, Texas          0.1720980000%
                  TX261         Colleyville City, Texas              0.0306993330%
                  TX262         Collin County, Texas                 0.8444806670%
                  TX263         Collingsworth County, Texas          0.0128226670%
                  TX264         Collinsville Town, Texas             0.0012206670%
                  TX265         Colmesneil City, Texas               0.0014740000%
                  TX266         Colorado City, Texas                 0.0056033330%
                  TX267         Colorado County, Texas               0.0327226670%
                  TX268         Columbus City, Texas                 0.0045780000%
                  TX269         Comal County, Texas                  0.2640946670%
                  TX270         Comanche City, Texas                 0.0110020000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-244             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 382 of 611. PageID #: 572666
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX271         Comanche County, Texas               0.0339760000%
                  TX272         Combes Town, Texas                   0.0011400000%
                  TX273         Combine City, Texas                  0.0012613330%
                  TX274         Commerce City, Texas                 0.0225793330%
                  TX275         Como Town, Texas                     0.0002766670%
                  TX276         Concho County, Texas                 0.0025726670%
                  TX277         Conroe City, Texas                   0.3111140000%
                  TX278         Converse City, Texas                 0.0184620000%
                  TX279         Cooke County, Texas                  0.1336340000%
                  TX280         Cool City, Texas                     0.0004873330%
                  TX281         Coolidge Town, Texas                 0.0001620000%
                  TX282         Cooper City, Texas                   0.0002413330%
                  TX283         Coppell City, Texas                  0.0577286670%
                  TX284         Copper Canyon Town, Texas            0.0003260000%
                  TX285         Copperas Cove City, Texas            0.0889946670%
                  TX286         Corinth City, Texas                  0.0501986670%
                  TX287         Corpus Christi City, Texas           1.2084713330%
                  TX288         Corral City Town, Texas              0.0000953330%
                  TX289         Corrigan Town, Texas                 0.0142120000%
                  TX290         Corsicana City, Texas                0.0582066670%
                  TX291         Coryell County, Texas                0.0824393330%
                  TX292         Cottle County, Texas                 0.0005833330%
                  TX293         Cottonwood City, Texas               0.0001926670%
                  TX294         Cottonwood Shores City, Texas        0.0008020000%
                  TX295         Cotulla City, Texas                  0.0008340000%
                  TX296         Coupland City, Texas                 0.0001773330%
                  TX297         Cove City, Texas                     0.0002580000%
                  TX298         Covington City, Texas                0.0003460000%
                  TX299         Coyote Flats City, Texas             0.0009813330%
                  TX300         Crandall City, Texas                 0.0080626670%
                  TX301         Crane City, Texas                    0.0070660000%
                  TX302         Crane County, Texas                  0.0174306670%
                  TX303         Cranfills Gap City, Texas            0.0000853330%
                  TX304         Crawford Town, Texas                 0.0002553330%
                  TX305         Creedmoor City, Texas                0.0000106670%
                  TX306         Cresson City, Texas                  0.0007240000%
                  TX307         Crockett City, Texas                 0.0156020000%
                  TX308         Crockett County, Texas               0.0121400000%
                  TX309         Crosby County, Texas                 0.0122586670%
                  TX310         Crosbyton City, Texas                0.0009986670%
                  TX311         Cross Plains Town, Texas             0.0032513330%
                  TX312         Cross Roads Town, Texas              0.0001626670%
                  TX313         Cross Timber Town, Texas             0.0003613330%
                  TX314         Crowell City, Texas                  0.0042233330%
                  TX315         Crowley City, Texas                  0.0148966670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-245             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 383 of 611. PageID #: 572667
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  TX316         Crystal City, Texas                     0.0129413330%
                  TX317         Cuero City, Texas                       0.0164593330%
                  TX318         Culberson County, Texas                 0.0005260000%
                  TX319         Cumby City, Texas                       0.0035466670%
                  TX320         Cuney Town, Texas                       0.0004040000%
                  TX321         Cushing City, Texas                     0.0007466670%
                  TX322         Cut and Shoot City, Texas               0.0014273330%
                  TX323         Daingerfield City, Texas                0.0083173330%
                  TX324         Daisetta City, Texas                    0.0035800000%
                  TX325         Dalhart City, Texas                     0.0077393330%
                  TX326         Dallam County, Texas                    0.0144573330%
                  TX327         Dallas City, Texas                      1.9999346670%
                  TX328         Dallas County, Texas                    5.6921940000%
                  TX329         Dalworthington Gardens City, Texas      0.0040400000%
                  TX330         Danbury City, Texas                     0.0028206670%
                  TX331         Darrouzett Town, Texas                  0.0000673330%
                  TX332         Dawson County, Texas                    0.0312740000%
                  TX333         Dawson Town, Texas                      0.0004000000%
                  TX334         Dayton City, Texas                      0.0314146670%
                  TX335         Dayton Lakes City, Texas                0.0000253330%
                  TX336         De Kalb City, Texas                     0.0006900000%
                  TX337         De Leon City, Texas                     0.0054786670%
                  TX338         De Witt County, Texas                   0.0459300000%
                  TX339         Deaf Smith County, Texas                0.0230213330%
                  TX340         Dean City, Texas                        0.0000940000%
                  TX341         Decatur City, Texas                     0.0377793330%
                  TX342         Decordova City, Texas                   0.0091853330%
                  TX343         Deer Park City, Texas                   0.0329253330%
                  TX344         Del Rio City, Texas                     0.0393706670%
                  TX345         Dell City, Texas                        0.0000100000%
                  TX346         Delta County, Texas                     0.0203893330%
                  TX347         Denison City, Texas                     0.1402840000%
                  TX348         Denton City, Texas                      0.3055560000%
                  TX349         Denton County, Texas                    0.7548653330%
                  TX350         Denver City Town, Texas                 0.0014026670%
                  TX351         Deport City, Texas                      0.0000280000%
                  TX352         Desoto City, Texas                      0.0482666670%
                  TX353         Detroit Town, Texas                     0.0006433330%
                  TX354         Devers City, Texas                      0.0001273330%
                  TX355         Devine City, Texas                      0.0029026670%
                  TX356         Diboll City, Texas                      0.0170220000%
                  TX357         Dickens City, Texas                     0.0000473330%
                  TX358         Dickens County, Texas                   0.0012486670%
                  TX359         Dickinson City, Texas                   0.0557886670%
                  TX360         Dilley City, Texas                      0.0017553330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-246                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 384 of 611. PageID #: 572668
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX361         Dimmit County, Texas                 0.0221960000%
                  TX362         Dimmitt City, Texas                  0.0006746670%
                  TX363         Dish Town, Texas                     0.0000126670%
                  TX364         Dodd City Town, Texas                0.0008073330%
                  TX365         Dodson Town, Texas                   0.0002980000%
                  TX366         Domino Town, Texas                   0.0001306670%
                  TX367         Donley County, Texas                 0.0149133330%
                  TX368         Donna City, Texas                    0.0091986670%
                  TX369         Dorchester City, Texas               0.0001540000%
                  TX370         Double Oak Town, Texas               0.0031766670%
                  TX371         Douglassville Town, Texas            0.0003826670%
                  TX372         Dripping Springs City, Texas         0.0005406670%
                  TX373         Driscoll City, Texas                 0.0000260000%
                  TX374         Dublin City, Texas                   0.0096520000%
                  TX375         Dumas City, Texas                    0.0174860000%
                  TX376         Duncanville City, Texas              0.0388853330%
                  TX377         Duval County, Texas                  0.0327393330%
                  TX378         Eagle Lake City, Texas               0.0032546670%
                  TX379         Eagle Pass City, Texas               0.0373366670%
                  TX380         Early City, Texas                    0.0098920000%
                  TX381         Earth City, Texas                    0.0001613330%
                  TX382         East Bernard City, Texas             0.0037026670%
                  TX383         East Mountain City, Texas            0.0016626670%
                  TX384         East Tawakoni City, Texas            0.0018153330%
                  TX385         Eastland City, Texas                 0.0105973330%
                  TX386         Eastland County, Texas               0.0348500000%
                  TX387         Easton City, Texas                   0.0002193330%
                  TX388         Ector City, Texas                    0.0007386670%
                  TX389         Ector County, Texas                  0.3200000000%
                  TX390         Edcouch City, Texas                  0.0027340000%
                  TX391         Eden City, Texas                     0.0003313330%
                  TX392         Edgecliff Village Town, Texas        0.0014880000%
                  TX393         Edgewood Town, Texas                 0.0087693330%
                  TX394         Edinburg City, Texas                 0.0805893330%
                  TX395         Edmonson Town, Texas                 0.0000906670%
                  TX396         Edna City, Texas                     0.0121293330%
                  TX397         Edom City, Texas                     0.0014326670%
                  TX398         Edwards County, Texas                0.0006500000%
                  TX399         El Campo City, Texas                 0.0211333330%
                  TX400         El Cenizo City, Texas                0.0004140000%
                  TX401         El Lago City, Texas                  0.0037360000%
                  TX402         El Paso City, Texas                  0.8162473330%
                  TX403         El Paso County, Texas                1.7280806670%
                  TX404         Eldorado City, Texas                 0.0000333330%
                  TX405         Electra City, Texas                  0.0104773330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-247             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 385 of 611. PageID #: 572669
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX406         Elgin City, Texas                    0.0175226670%
                  TX407         Elkhart Town, Texas                  0.0002006670%
                  TX408         Ellis County, Texas                  0.2102480000%
                  TX409         Elmendorf City, Texas                0.0004973330%
                  TX410         Elsa City, Texas                     0.0051466670%
                  TX411         Emhouse Town, Texas                  0.0000553330%
                  TX412         Emory City, Texas                    0.0025853330%
                  TX413         Enchanted Oaks Town, Texas           0.0008660000%
                  TX414         Encinal City, Texas                  0.0010100000%
                  TX415         Ennis City, Texas                    0.0545593330%
                  TX416         Erath County, Texas                  0.0684106670%
                  TX417         Escobares City, Texas                0.0000266670%
                  TX418         Estelline Town, Texas                0.0006060000%
                  TX419         Euless City, Texas                   0.0618826670%
                  TX420         Eureka City, Texas                   0.0002226670%
                  TX421         Eustace City, Texas                  0.0013926670%
                  TX422         Evant Town, Texas                    0.0013786670%
                  TX423         Everman City, Texas                  0.0051280000%
                  TX424         Fair Oaks Ranch City, Texas          0.0053846670%
                  TX425         Fairchilds Village, Texas            0.0000540000%
                  TX426         Fairfield City, Texas                0.0008300000%
                  TX427         Fairview Town, Texas                 0.0214966670%
                  TX428         Falfurrias City, Texas               0.0014806670%
                  TX429         Falls City, Texas                    0.0000273330%
                  TX430         Falls County, Texas                  0.0230146670%
                  TX431         Fannin County, Texas                 0.0877686670%
                  TX432         Farmers Branch City, Texas           0.0630213330%
                  TX433         Farmersville City, Texas             0.0070213330%
                  TX434         Farwell City, Texas                  0.0002286670%
                  TX435         Fate City, Texas                     0.0023153330%
                  TX436         Fayette County, Texas                0.0616266670%
                  TX437         Fayetteville City, Texas             0.0002606670%
                  TX438         Ferris City, Texas                   0.0092486670%
                  TX439         Fisher County, Texas                 0.0036786670%
                  TX440         Flatonia Town, Texas                 0.0037740000%
                  TX441         Florence City, Texas                 0.0026326670%
                  TX442         Floresville City, Texas              0.0144660000%
                  TX443         Flower Mound Town, Texas             0.1435040000%
                  TX444         Floyd County, Texas                  0.0060326670%
                  TX445         Floydada City, Texas                 0.0042380000%
                  TX446         Foard County, Texas                  0.0038426670%
                  TX447         Follett City, Texas                  0.0001413330%
                  TX448         Forest Hill City, Texas              0.0174213330%
                  TX449         Forney City, Texas                   0.0534080000%
                  TX450         Forsan City, Texas                   0.0003840000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-248             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 386 of 611. PageID #: 572670
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX451         Fort Bend County, Texas              1.0044793330%
                  TX452         Fort Stockton City, Texas            0.0029406670%
                  TX453         Fort Worth City, Texas               1.4138600000%
                  TX454         Franklin City, Texas                 0.0026206670%
                  TX455         Franklin County, Texas               0.0171886670%
                  TX456         Frankston Town, Texas                0.0001826670%
                  TX457         Fredericksburg City, Texas           0.0376573330%
                  TX458         Freeport City, Texas                 0.0486486670%
                  TX459         Freer City, Texas                    0.0021806670%
                  TX460         Freestone County, Texas              0.0336633330%
                  TX461         Friendswood City, Texas              0.0935533330%
                  TX462         Frio County, Texas                   0.0133026670%
                  TX463         Friona City, Texas                   0.0018986670%
                  TX464         Frisco City, Texas                   0.2702060000%
                  TX465         Fritch City, Texas                   0.0030320000%
                  TX466         Frost City, Texas                    0.0002140000%
                  TX467         Fruitvale City, Texas                0.0015626670%
                  TX468         Fulshear City, Texas                 0.0035146670%
                  TX469         Fulton Town, Texas                   0.0010680000%
                  TX470         Gaines County, Texas                 0.0362313330%
                  TX471         Gainesville City, Texas              0.1026533330%
                  TX472         Galena Park City, Texas              0.0087286670%
                  TX473         Gallatin City, Texas                 0.0008353330%
                  TX474         Galveston City, Texas                0.3254580000%
                  TX475         Galveston County, Texas              0.7493953330%
                  TX476         Ganado City, Texas                   0.0036733330%
                  TX477         Garden Ridge City, Texas             0.0075673330%
                  TX478         Garland City, Texas                  0.2801626670%
                  TX479         Garrett Town, Texas                  0.0016733330%
                  TX480         Garrison City, Texas                 0.0023700000%
                  TX481         Gary City Town, Texas                0.0003000000%
                  TX482         Garza County, Texas                  0.0059626670%
                  TX483         Gatesville City, Texas               0.0179960000%
                  TX484         George West City, Texas              0.0041380000%
                  TX485         Georgetown City, Texas               0.1505973330%
                  TX486         Gholson City, Texas                  0.0010033330%
                  TX487         Giddings City, Texas                 0.0084493330%
                  TX488         Gillespie County, Texas              0.0421273330%
                  TX489         Gilmer City, Texas                   0.0226340000%
                  TX490         Gladewater City, Texas               0.0164253330%
                  TX491         Glasscock County, Texas              0.0006666670%
                  TX492         Glen Rose City, Texas                0.0003600000%
                  TX493         Glenn Heights City, Texas            0.0110620000%
                  TX494         Godley City, Texas                   0.0020766670%
                  TX495         Goldsmith City, Texas                0.0004513330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-249             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 387 of 611. PageID #: 572671
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX496         Goldthwaite City, Texas              0.0008166670%
                  TX497         Goliad City, Texas                   0.0023753330%
                  TX498         Goliad County, Texas                 0.0231066670%
                  TX499         Golinda City, Texas                  0.0000666670%
                  TX500         Gonzales City, Texas                 0.0099213330%
                  TX501         Gonzales County, Texas               0.0221533330%
                  TX502         Goodlow City, Texas                  0.0001473330%
                  TX503         Goodrich City, Texas                 0.0064286670%
                  TX504         Gordon City, Texas                   0.0002433330%
                  TX505         Goree City, Texas                    0.0004993330%
                  TX506         Gorman City, Texas                   0.0020713330%
                  TX507         Graford City, Texas                  0.0000153330%
                  TX508         Graham City, Texas                   0.1569520000%
                  TX509         Granbury City, Texas                 0.0478233330%
                  TX510         Grand Prairie City, Texas            0.2969593330%
                  TX511         Grand Saline City, Texas             0.0242753330%
                  TX512         Grandfalls Town, Texas               0.0000433330%
                  TX513         Grandview City, Texas                0.0044000000%
                  TX514         Granger City, Texas                  0.0018273330%
                  TX515         Granite Shoals City, Texas           0.0078893330%
                  TX516         Granjeno City, Texas                 0.0000286670%
                  TX517         Grapeland City, Texas                0.0048580000%
                  TX518         Grapevine City, Texas                0.0861300000%
                  TX519         Gray County, Texas                   0.0439226670%
                  TX520         Grays Prairie Village, Texas         0.0000113330%
                  TX521         Grayson County, Texas                0.3593886670%
                  TX522         Greenville City, Texas               0.1354080000%
                  TX523         Gregg County, Texas                  0.1624960000%
                  TX524         Gregory City, Texas                  0.0031313330%
                  TX525         Grey Forest City, Texas              0.0003160000%
                  TX526         Grimes County, Texas                 0.0632520000%
                  TX527         Groesbeck City, Texas                0.0038300000%
                  TX528         Groom Town, Texas                    0.0006433330%
                  TX529         Groves City, Texas                   0.0271680000%
                  TX530         Groveton City, Texas                 0.0058846670%
                  TX531         Gruver City, Texas                   0.0007773330%
                  TX532         Guadalupe County, Texas              0.0978826670%
                  TX533         Gun Barrel City, Texas               0.0242013330%
                  TX534         Gunter City, Texas                   0.0030726670%
                  TX535         Gustine Town, Texas                  0.0000226670%
                  TX536         Hackberry Town, Texas                0.0000626670%
                  TX537         Hale Center City, Texas              0.0040280000%
                  TX538         Hale County, Texas                   0.0527666670%
                  TX539         Hall County, Texas                   0.0059553330%
                  TX540         Hallettsville City, Texas            0.0045966670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-250             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 388 of 611. PageID #: 572672
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX541         Hallsburg City, Texas                0.0001813330%
                  TX542         Hallsville City, Texas               0.0068260000%
                  TX543         Haltom City, Texas                   0.0478666670%
                  TX544         Hamilton City, Texas                 0.0023873330%
                  TX545         Hamilton County, Texas               0.0442380000%
                  TX546         Hamlin City, Texas                   0.0031040000%
                  TX547         Hansford County, Texas               0.0109440000%
                  TX548         Happy Town, Texas                    0.0002180000%
                  TX549         Hardeman County, Texas               0.0101460000%
                  TX550         Hardin City, Texas                   0.0000666670%
                  TX551         Hardin County, Texas                 0.2532000000%
                  TX552         Harker Heights City, Texas           0.0757873330%
                  TX553         Harlingen City, Texas                0.1102860000%
                  TX554         Harris County, Texas                 9.9774680000%
                  TX555         Harrison County, Texas               0.1239400000%
                  TX556         Hart City, Texas                     0.0000573330%
                  TX557         Hartley County, Texas                0.0005240000%
                  TX558         Haskell City, Texas                  0.0072193330%
                  TX559         Haskell County, Texas                0.0146740000%
                  TX560         Haslet City, Texas                   0.0012720000%
                  TX561         Hawk Cove City, Texas                0.0004493330%
                  TX562         Hawkins City, Texas                  0.0052880000%
                  TX563         Hawley City, Texas                   0.0006206670%
                  TX564         Hays City, Texas                     0.0003373330%
                  TX565         Hays County, Texas                   0.3529926670%
                  TX566         Hearne City, Texas                   0.0112160000%
                  TX567         Heath City, Texas                    0.0191673330%
                  TX568         Hebron Town, Texas                   0.0004580000%
                  TX569         Hedley City, Texas                   0.0000466670%
                  TX570         Hedwig Village City, Texas           0.0087113330%
                  TX571         Helotes City, Texas                  0.0105266670%
                  TX572         Hemphill City, Texas                 0.0053566670%
                  TX573         Hemphill County, Texas               0.0095960000%
                  TX574         Hempstead City, Texas                0.0141600000%
                  TX575         Henderson City, Texas                0.0399773330%
                  TX576         Henderson County, Texas              0.2186433330%
                  TX577         Henrietta City, Texas                0.0018133330%
                  TX578         Hereford City, Texas                 0.0136153330%
                  TX579         Hewitt City, Texas                   0.0131840000%
                  TX580         Hickory Creek Town, Texas            0.0110066670%
                  TX581         Hico City, Texas                     0.0036893330%
                  TX582         Hidalgo City, Texas                  0.0177473330%
                  TX583         Hidalgo County, Texas                0.8354020000%
                  TX584         Hideaway City, Texas                 0.0006146670%
                  TX585         Higgins City, Texas                  0.0000286670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-251             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 389 of 611. PageID #: 572673
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  TX586         Highland Haven City, Texas             0.0002133330%
                  TX587         Highland Park Town, Texas              0.0289220000%
                  TX588         Highland Village City, Texas           0.0335433330%
                  TX589         Hill Country Village City, Texas       0.0043233330%
                  TX590         Hill County, Texas                     0.0849846670%
                  TX591         Hillcrest Village, Texas               0.0035633330%
                  TX592         Hillsboro City, Texas                  0.0310726670%
                  TX593         Hilshire Village City, Texas           0.0005726670%
                  TX594         Hitchcock City, Texas                  0.0191973330%
                  TX595         Hockley County, Texas                  0.0309380000%
                  TX596         Holiday Lakes Town, Texas              0.0011966670%
                  TX597         Holland Town, Texas                    0.0000513330%
                  TX598         Holliday City, Texas                   0.0039400000%
                  TX599         Hollywood Park Town, Texas             0.0062826670%
                  TX600         Hondo City, Texas                      0.0768586670%
                  TX601         Honey Grove City, Texas                0.0047973330%
                  TX602         Hood County, Texas                     0.1947366670%
                  TX603         Hooks City, Texas                      0.0018013330%
                  TX604         Hopkins County, Texas                  0.0996786670%
                  TX605         Horizon City, Texas                    0.0050133330%
                  TX606         Horseshoe Bay City, Texas              0.0321153330%
                  TX607         Houston City, Texas                    4.6811953330%
                  TX608         Houston County, Texas                  0.0524320000%
                  TX609         Howard County, Texas                   0.0595533330%
                  TX610         Howardwick City, Texas                 0.0000560000%
                  TX611         Howe Town, Texas                       0.0061180000%
                  TX612         Hubbard City, Texas                    0.0024233330%
                  TX613         Hudson City, Texas                     0.0045600000%
                  TX614         Hudson Oaks City, Texas                0.0104246670%
                  TX615         Hudspeth County, Texas                 0.0006566670%
                  TX616         Hughes Springs City, Texas             0.0029613330%
                  TX617         Humble City, Texas                     0.0493013330%
                  TX618         Hunt County, Texas                     0.2065673330%
                  TX619         Hunters Creek Village City, Texas      0.0098053330%
                  TX620         Huntington City, Texas                 0.0058613330%
                  TX621         Huntsville City, Texas                 0.0535820000%
                  TX622         Hurst City, Texas                      0.0661246670%
                  TX623         Hutchins City, Texas                   0.0063673330%
                  TX624         Hutchinson County, Texas               0.0497533330%
                  TX625         Hutto City, Texas                      0.0255640000%
                  TX626         Huxley City, Texas                     0.0004920000%
                  TX627         Idalou City, Texas                     0.0013326670%
                  TX628         Impact Town, Texas                     0.0000053330%
                  TX629         Indian Lake Town, Texas                0.0003153330%
                  TX630         Industry City, Texas                   0.0004026670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-252               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 390 of 611. PageID #: 572674
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                Qualifying Subdivision       Allocation
                  TX631         Ingleside City, Texas                 0.0269913330%
                  TX632         Ingleside on the Bay City, Texas      0.0000946670%
                  TX633         Ingram City, Texas                    0.0034953330%
                  TX634         Iola City, Texas                      0.0021093330%
                  TX635         Iowa Colony Village, Texas            0.0027266670%
                  TX636         Iowa Park City, Texas                 0.0156580000%
                  TX637         Iraan City, Texas                     0.0000373330%
                  TX638         Iredell City, Texas                   0.0001440000%
                  TX639         Irion County, Texas                   0.0060700000%
                  TX640         Irving City, Texas                    0.2852120000%
                  TX641         Italy Town, Texas                     0.0035660000%
                  TX642         Itasca City, Texas                    0.0057960000%
                  TX643         Ivanhoe City, Texas                   0.0000173330%
                  TX644         Jacinto City, Texas                   0.0094273330%
                  TX645         Jack County, Texas                    0.0098660000%
                  TX646         Jacksboro City, Texas                 0.0155026670%
                  TX647         Jackson County, Texas                 0.0253226670%
                  TX648         Jacksonville City, Texas              0.0534526670%
                  TX649         Jamaica Beach City, Texas             0.0032753330%
                  TX650         Jarrell City, Texas                   0.0016153330%
                  TX651         Jasper City, Texas                    0.0522813330%
                  TX652         Jasper County, Texas                  0.1659033330%
                  TX653         Jayton City, Texas                    0.0000420000%
                  TX654         Jeff Davis County, Texas              0.0056666670%
                  TX655         Jefferson City, Texas                 0.0074626670%
                  TX656         Jefferson County, Texas               0.5044093330%
                  TX657         Jersey Village City, Texas            0.0242313330%
                  TX658         Jewett City, Texas                    0.0062253330%
                  TX659         Jim Hogg County, Texas                0.0084786670%
                  TX660         Jim Wells County, Texas               0.1110260000%
                  TX661         Joaquin City, Texas                   0.0005400000%
                  TX662         Johnson City, Texas                   0.0023873330%
                  TX663         Johnson County, Texas                 0.2724613330%
                  TX664         Jolly City, Texas                     0.0000173330%
                  TX665         Jones County, Texas                   0.0146673330%
                  TX666         Jones Creek Village, Texas            0.0033853330%
                  TX667         Jonestown City, Texas                 0.0042793330%
                  TX668         Josephine City, Texas                 0.0005873330%
                  TX669         Joshua City, Texas                    0.0137460000%
                  TX670         Jourdanton City, Texas                0.0064000000%
                  TX671         Junction City, Texas                  0.0032166670%
                  TX672         Justin City, Texas                    0.0057166670%
                  TX673         Karnes City, Texas                    0.0077546670%
                  TX674         Karnes County, Texas                  0.0234993330%
                  TX675         Katy City, Texas                      0.0349780000%
  Strictly Confidential
  Subject to Protective Order
                                                    G-253             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 391 of 611. PageID #: 572675
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX676         Kaufman City, Texas                  0.0184046670%
                  TX677         Kaufman County, Texas                0.2353646670%
                  TX678         Keene City, Texas                    0.0255306670%
                  TX679         Keller City, Texas                   0.0527926670%
                  TX680         Kemah City, Texas                    0.0188833330%
                  TX681         Kemp City, Texas                     0.0042793330%
                  TX682         Kempner City, Texas                  0.0002200000%
                  TX683         Kendall County, Texas                0.0670953330%
                  TX684         Kendleton City, Texas                0.0000086670%
                  TX685         Kenedy City, Texas                   0.0004506670%
                  TX686         Kenedy County, Texas                 0.0006666670%
                  TX687         Kenefick Town, Texas                 0.0002773330%
                  TX688         Kennard City, Texas                  0.0000880000%
                  TX689         Kennedale City, Texas                0.0140160000%
                  TX690         Kent County, Texas                   0.0006260000%
                  TX691         Kerens City, Texas                   0.0012826670%
                  TX692         Kermit City, Texas                   0.0037680000%
                  TX693         Kerr County, Texas                   0.1456346670%
                  TX694         Kerrville City, Texas                0.1269046670%
                  TX695         Kilgore City, Texas                  0.0703886670%
                  TX696         Killeen City, Texas                  0.3571000000%
                  TX697         Kimble County, Texas                 0.0136533330%
                  TX698         King County, Texas                   0.0006666670%
                  TX699         Kingsville City, Texas               0.0133886670%
                  TX700         Kinney County, Texas                 0.0014280000%
                  TX701         Kirby City, Texas                    0.0058346670%
                  TX702         Kirbyville City, Texas               0.0071266670%
                  TX703         Kirvin Town, Texas                   0.0000013330%
                  TX704         Kleberg County, Texas                0.0827393330%
                  TX705         Knollwood City, Texas                0.0007733330%
                  TX706         Knox City Town, Texas                0.0013080000%
                  TX707         Knox County, Texas                   0.0078200000%
                  TX708         Kosse Town, Texas                    0.0016453330%
                  TX709         Kountze City, Texas                  0.0131440000%
                  TX710         Kress City, Texas                    0.0001240000%
                  TX711         Krugerville City, Texas              0.0010053330%
                  TX712         Krum City, Texas                     0.0064406670%
                  TX713         Kurten Town, Texas                   0.0004573330%
                  TX714         Kyle City, Texas                     0.0345566670%
                  TX715         La Feria City, Texas                 0.0069206670%
                  TX716         La Grange City, Texas                0.0064153330%
                  TX717         La Grulla City, Texas                0.0011386670%
                  TX718         La Joya City, Texas                  0.0056380000%
                  TX719         La Marque City, Texas                0.0659533330%
                  TX720         La Porte City, Texas                 0.0610213330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-254             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 392 of 611. PageID #: 572676
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                       Consolidated State
                 State ID               Qualifying Subdivision            Allocation
                  TX721         La Salle County, Texas                    0.0099833330%
                  TX722         La Vernia City, Texas                     0.0021446670%
                  TX723         La Villa City, Texas                      0.0003813330%
                  TX724         La Ward City, Texas                       0.0002140000%
                  TX725         Lacoste City, Texas                       0.0001060000%
                  TX726         Lacy-Lakeview City, Texas                 0.0077326670%
                  TX727         Ladonia Town, Texas                       0.0013406670%
                  TX728         Lago Vista City, Texas                    0.0091786670%
                  TX729         Laguna Vista Town, Texas                  0.0024593330%
                  TX730         Lake Bridgeport City, Texas               0.0001546670%
                  TX731         Lake City Town, Texas                     0.0019453330%
                  TX732         Lake Dallas City, Texas                   0.0168760000%
                  TX733         Lake Jackson City, Texas                  0.0505206670%
                  TX734         Lake Tanglewood Village, Texas            0.0004086670%
                  TX735         Lake Worth City, Texas                    0.0133673330%
                  TX736         Lakeport City, Texas                      0.0003086670%
                  TX737         Lakeside City Town, Texas                 0.0001480000%
                  TX738         Lakeside Town, San Patricio County,       0.0029826670%
                                Texas
                  TX739         Lakeside Town, Tarrant County, Texas      0.0029826670%
                  TX740         Lakeview Town, Texas                      0.0002846670%
                  TX741         Lakeway City, Texas                       0.0211046670%
                  TX742         Lakewood Village City, Texas              0.0003713330%
                  TX743         Lamar County, Texas                       0.0943986670%
                  TX744         Lamb County, Texas                        0.0337873330%
                  TX745         Lamesa City, Texas                        0.0197706670%
                  TX746         Lampasas City, Texas                      0.0188073330%
                  TX747         Lampasas County, Texas                    0.0285453330%
                  TX748         Lancaster City, Texas                     0.0604353330%
                  TX749         Laredo City, Texas                        0.5087826670%
                  TX750         Latexo City, Texas                        0.0000826670%
                  TX751         Lavaca County, Texas                      0.0306486670%
                  TX752         Lavon City, Texas                         0.0049566670%
                  TX753         Lawn Town, Texas                          0.0000386670%
                  TX754         League City, Texas                        0.2016120000%
                  TX755         Leakey City, Texas                        0.0001706670%
                  TX756         Leander City, Texas                       0.0590940000%
                  TX757         Leary City, Texas                         0.0005313330%
                  TX758         Lee County, Texas                         0.0203046670%
                  TX759         Lefors Town, Texas                        0.0001060000%
                  TX760         Leon County, Texas                        0.0449286670%
                  TX761         Leon Valley City, Texas                   0.0155053330%
                  TX762         Leona City, Texas                         0.0005886670%
                  TX763         Leonard City, Texas                       0.0056700000%
                  TX764         Leroy City, Texas                         0.0001173330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-255                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 393 of 611. PageID #: 572677
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                   Consolidated State
                 State ID                 Qualifying Subdivision      Allocation
                  TX765         Levelland City, Texas                 0.0312320000%
                  TX766         Lewisville City, Texas                0.2547293330%
                  TX767         Lexington Town, Texas                 0.0015453330%
                  TX768         Liberty City, Texas                   0.0482286670%
                  TX769         Liberty County, Texas                 0.3541413330%
                  TX770         Liberty Hill City, Texas              0.0018533330%
                  TX771         Limestone County, Texas               0.0904560000%
                  TX772         Lincoln Park Town, Texas              0.0004513330%
                  TX773         Lindale City, Texas                   0.0161346670%
                  TX774         Linden City, Texas                    0.0024406670%
                  TX775         Lindsay City, Texas                   0.0008186670%
                  TX776         Lipan City, Texas                     0.0000293330%
                  TX777         Lipscomb County, Texas                0.0067546670%
                  TX778         Little Elm City, Texas                0.0462173330%
                  TX779         Little River-Academy City, Texas      0.0005320000%
                  TX780         Littlefield City, Texas               0.0051186670%
                  TX781         Live Oak City, Texas                  0.0218266670%
                  TX782         Live Oak County, Texas                0.0264773330%
                  TX783         Liverpool City, Texas                 0.0009566670%
                  TX784         Livingston Town, Texas                0.0487766670%
                  TX785         Llano City, Texas                     0.0154140000%
                  TX786         Llano County, Texas                   0.0770980000%
                  TX787         Lockhart City, Texas                  0.0327000000%
                  TX788         Lockney Town, Texas                   0.0022006670%
                  TX789         Log Cabin City, Texas                 0.0013066670%
                  TX790         Lometa City, Texas                    0.0007840000%
                  TX791         Lone Oak City, Texas                  0.0011366670%
                  TX792         Lone Star City, Texas                 0.0055220000%
                  TX793         Longview City, Texas                  0.3215026670%
                  TX794         Loraine Town, Texas                   0.0001253330%
                  TX795         Lorena City, Texas                    0.0022600000%
                  TX796         Lorenzo City, Texas                   0.0075720000%
                  TX797         Los Fresnos City, Texas               0.0074566670%
                  TX798         Los Indios Town, Texas                0.0001060000%
                  TX799         Lott City, Texas                      0.0010106670%
                  TX800         Lovelady City, Texas                  0.0001660000%
                  TX801         Loving County, Texas                  0.0006666670%
                  TX802         Lowry Crossing City, Texas            0.0005220000%
                  TX803         Lubbock City, Texas                   0.2132446670%
                  TX804         Lubbock County, Texas                 0.9198126670%
                  TX805         Lucas City, Texas                     0.0035106670%
                  TX806         Lueders City, Texas                   0.0003386670%
                  TX807         Lufkin City, Texas                    0.1877280000%
                  TX808         Luling City, Texas                    0.0196140000%
                  TX809         Lumberton City, Texas                 0.0244060000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-256              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 394 of 611. PageID #: 572678
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  TX810         Lyford City, Texas                  0.0020473330%
                  TX811         Lynn County, Texas                  0.0041833330%
                  TX812         Lytle City, Texas                   0.0048153330%
                  TX813         Mabank Town, Texas                  0.0129620000%
                  TX814         Madison County, Texas               0.0329946670%
                  TX815         Madisonville City, Texas            0.0076386670%
                  TX816         Magnolia City, Texas                0.0173540000%
                  TX817         Malakoff City, Texas                0.0084093330%
                  TX818         Malone Town, Texas                  0.0002926670%
                  TX819         Manor City, Texas                   0.0083326670%
                  TX820         Mansfield City, Texas               0.1005253330%
                  TX821         Manvel City, Texas                  0.0082033330%
                  TX822         Marble Falls City, Texas            0.0246926670%
                  TX823         Marfa City, Texas                   0.0000433330%
                  TX824         Marietta Town, Texas                0.0002253330%
                  TX825         Marion City, Texas                  0.0001833330%
                  TX826         Marion County, Texas                0.0364853330%
                  TX827         Marlin City, Texas                  0.0144226670%
                  TX828         Marquez City, Texas                 0.0008813330%
                  TX829         Marshall City, Texas                0.0722473330%
                  TX830         Mart City, Texas                    0.0006186670%
                  TX831         Martin County, Texas                0.0072413330%
                  TX832         Martindale City, Texas              0.0016246670%
                  TX833         Mason City, Texas                   0.0005180000%
                  TX834         Mason County, Texas                 0.0020893330%
                  TX835         Matador Town, Texas                 0.0008020000%
                  TX836         Matagorda County, Texas             0.0901593330%
                  TX837         Mathis City, Texas                  0.0104800000%
                  TX838         Maud City, Texas                    0.0002820000%
                  TX839         Maverick County, Texas              0.0772793330%
                  TX840         Maypearl City, Texas                0.0006573330%
                  TX841         McAllen City, Texas                 0.2429493330%
                  TX842         McCamey City, Texas                 0.0003613330%
                  TX843         McCulloch County, Texas             0.0133473330%
                  TX844         McGregor City, Texas                0.0061033330%
                  TX845         McKinney City, Texas                0.3002553330%
                  TX846         McLean Town, Texas                  0.0000093330%
                  TX847         McLendon-Chisholm City, Texas       0.0002740000%
                  TX848         McLennan County, Texas              0.3530940000%
                  TX849         McMullen County, Texas              0.0006666670%
                  TX850         Meadow Town, Texas                  0.0007473330%
                  TX851         Meadowlakes City, Texas             0.0006033330%
                  TX852         Meadows Place City, Texas           0.0120986670%
                  TX853         Medina County, Texas                0.0322366670%
                  TX854         Megargel Town, Texas                0.0004073330%
  Strictly Confidential
  Subject to Protective Order
                                                  G-257             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 395 of 611. PageID #: 572679
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX855         Melissa City, Texas                  0.0102540000%
                  TX856         Melvin Town, Texas                   0.0002300000%
                  TX857         Memphis City, Texas                  0.0048020000%
                  TX858         Menard City, Texas                   0.0006606670%
                  TX859         Menard County, Texas                 0.0098113330%
                  TX860         Mercedes City, Texas                 0.0142940000%
                  TX861         Meridian City, Texas                 0.0023640000%
                  TX862         Merkel Town, Texas                   0.0067446670%
                  TX863         Mertens Town, Texas                  0.0001593330%
                  TX864         Mertzon City, Texas                  0.0000193330%
                  TX865         Mesquite City, Texas                 0.2071393330%
                  TX866         Mexia City, Texas                    0.0140640000%
                  TX867         Miami City, Texas                    0.0003033330%
                  TX868         Midland City, Texas                  0.3478993330%
                  TX869         Midland County, Texas                0.1866180000%
                  TX870         Midlothian City, Texas               0.0638660000%
                  TX871         Midway City, Texas                   0.0000520000%
                  TX872         Milam County, Texas                  0.0649240000%
                  TX873         Milano City, Texas                   0.0006026670%
                  TX874         Mildred Town, Texas                  0.0001906670%
                  TX875         Miles City, Texas                    0.0000620000%
                  TX876         Milford Town, Texas                  0.0041180000%
                  TX877         Miller's Cove Town, Texas            0.0000646670%
                  TX878         Millican Town, Texas                 0.0002780000%
                  TX879         Mills County, Texas                  0.0132873330%
                  TX880         Millsap Town, Texas                  0.0000226670%
                  TX881         Mineola City, Texas                  0.0324793330%
                  TX882         Mineral Wells City, Texas            0.0613740000%
                  TX883         Mingus City, Texas                   0.0001260000%
                  TX884         Mission City, Texas                  0.0831786670%
                  TX885         Missouri City, Texas                 0.1397553330%
                  TX886         Mitchell County, Texas               0.0139000000%
                  TX887         Mobeetie City, Texas                 0.0000346670%
                  TX888         Mobile City, Texas                   0.0013560000%
                  TX889         Monahans City, Texas                 0.0038993330%
                  TX890         Mont Belvieu City, Texas             0.0131126670%
                  TX891         Montague County, Texas               0.0631973330%
                  TX892         Montgomery City, Texas               0.0012560000%
                  TX893         Montgomery County, Texas             1.8006073330%
                  TX894         Moody City, Texas                    0.0005520000%
                  TX895         Moore County, Texas                  0.0270846670%
                  TX896         Moore Station City, Texas            0.0005146670%
                  TX897         Moran City, Texas                    0.0000333330%
                  TX898         Morgan City, Texas                   0.0004033330%
                  TX899         Morgan's Point City, Texas           0.0020700000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-258             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 396 of 611. PageID #: 572680
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                  TX900         Morgan's Point Resort City, Texas      0.0053493330%
                  TX901         Morris County, Texas                   0.0355520000%
                  TX902         Morton City, Texas                     0.0001113330%
                  TX903         Motley County, Texas                   0.0022293330%
                  TX904         Moulton Town, Texas                    0.0006660000%
                  TX905         Mount Calm City, Texas                 0.0004033330%
                  TX906         Mount Enterprise City, Texas           0.0012213330%
                  TX907         Mount Pleasant City, Texas             0.0437893330%
                  TX908         Mount Vernon Town, Texas               0.0040326670%
                  TX909         Mountain City, Texas                   0.0010320000%
                  TX910         Muenster City, Texas                   0.0031040000%
                  TX911         Muleshoe City, Texas                   0.0032733330%
                  TX912         Mullin Town, Texas                     0.0002560000%
                  TX913         Munday City, Texas                     0.0013646670%
                  TX914         Murchison City, Texas                  0.0015346670%
                  TX915         Murphy City, Texas                     0.0345953330%
                  TX916         Mustang Ridge City, Texas              0.0016413330%
                  TX917         Mustang Town, Texas                    0.0000046670%
                  TX918         Nacogdoches City, Texas                0.1373280000%
                  TX919         Nacogdoches County, Texas              0.1323886670%
                  TX920         Naples City, Texas                     0.0028160000%
                  TX921         Nash City, Texas                       0.0053326670%
                  TX922         Nassau Bay City, Texas                 0.0074980000%
                  TX923         Natalia City, Texas                    0.0004166670%
                  TX924         Navarro County, Texas                  0.0690086670%
                  TX925         Navarro Town, Texas                    0.0002226670%
                  TX926         Navasota City, Texas                   0.0251173330%
                  TX927         Nazareth City, Texas                   0.0000826670%
                  TX928         Nederland City, Texas                  0.0297233330%
                  TX929         Needville City, Texas                  0.0068940000%
                  TX930         Nevada City, Texas                     0.0001580000%
                  TX931         New Berlin City, Texas                 0.0000026670%
                  TX932         New Boston City, Texas                 0.0046353330%
                  TX933         New Braunfels City, Texas              0.2048753330%
                  TX934         New Chapel Hill City, Texas            0.0001920000%
                  TX935         New Deal Town, Texas                   0.0002253330%
                  TX936         New Fairview City, Texas               0.0015560000%
                  TX937         New Home City, Texas                   0.0000060000%
                  TX938         New Hope Town, Texas                   0.0006826670%
                  TX939         New London City, Texas                 0.0027526670%
                  TX940         New Summerfield City, Texas            0.0002946670%
                  TX941         New Waverly City, Texas                0.0017080000%
                  TX942         Newark City, Texas                     0.0003466670%
                  TX943         Newcastle City, Texas                  0.0006093330%
                  TX944         Newton City, Texas                     0.0040680000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-259               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 397 of 611. PageID #: 572681
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID               Qualifying Subdivision           Allocation
                  TX945         Newton County, Texas                     0.1053373330%
                  TX946         Neylandville Town, Texas                 0.0001086670%
                  TX947         Niederwald City, Texas                   0.0000106670%
                  TX948         Nixon City, Texas                        0.0015220000%
                  TX949         Nocona City, Texas                       0.0110240000%
                  TX950         Nolan County, Texas                      0.0335080000%
                  TX951         Nolanville City, Texas                   0.0028313330%
                  TX952         Nome City, Texas                         0.0002606670%
                  TX953         Noonday City, Texas                      0.0001506670%
                  TX954         Nordheim City, Texas                     0.0004646670%
                  TX955         Normangee Town, Texas                    0.0041280000%
                  TX956         North Cleveland City, Texas              0.0000700000%
                  TX957         North Richland Hills City, Texas         0.0976126670%
                  TX958         Northlake Town, Texas                    0.0059366670%
                  TX959         Novice City, Texas                       0.0000506670%
                  TX960         Nueces County, Texas                     0.9119546670%
                  TX961         Oak Grove Town, Texas                    0.0018460000%
                  TX962         Oak Leaf City, Texas                     0.0004080000%
                  TX963         Oak Point City, Texas                    0.0060073330%
                  TX964         Oak Ridge North City, Texas              0.0223413330%
                  TX965         Oak Ridge Town, Cooke County, Texas      0.0002386670%
                  TX966         Oak Ridge Town, Kaufman County,          0.0002386670%
                                Texas
                  TX967         Oak Valley Town, Texas                   0.0000046670%
                  TX968         Oakwood Town, Texas                      0.0000986670%
                  TX969         O'Brien City, Texas                      0.0000506670%
                  TX970         Ochiltree County, Texas                  0.0103173330%
                  TX971         Odem City, Texas                         0.0049466670%
                  TX972         Odessa City, Texas                       0.3727753330%
                  TX973         O'Donnell City, Texas                    0.0000180000%
                  TX974         Oglesby City, Texas                      0.0000193330%
                  TX975         Old River-Winfree City, Texas            0.0144353330%
                  TX976         Oldham County, Texas                     0.0068786670%
                  TX977         Olmos Park City, Texas                   0.0065340000%
                  TX978         Olney City, Texas                        0.0040586670%
                  TX979         Olton City, Texas                        0.0007980000%
                  TX980         Omaha City, Texas                        0.0027900000%
                  TX981         Onalaska City, Texas                     0.0211026670%
                  TX982         Opdyke West Town, Texas                  0.0003193330%
                  TX983         Orange City, Texas                       0.2075593330%
                  TX984         Orange County, Texas                     0.4598786670%
                  TX985         Orange Grove City, Texas                 0.0011180000%
                  TX986         Orchard City, Texas                      0.0005780000%
                  TX987         Ore City, Texas                          0.0045373330%
                  TX988         Overton City, Texas                      0.0052666670%
  Strictly Confidential
  Subject to Protective Order
                                                  G-260                  Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 398 of 611. PageID #: 572682
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  TX989         Ovilla City, Texas                   0.0089273330%
                  TX990         Oyster Creek City, Texas             0.0064220000%
                  TX991         Paducah Town, Texas                  0.0000833330%
                  TX992         Paint Rock Town, Texas               0.0000940000%
                  TX993         Palacios City, Texas                 0.0093573330%
                  TX994         Palestine City, Texas                0.1186726670%
                  TX995         Palisades Village, Texas             0.0001600000%
                  TX996         Palm Valley City, Texas              0.0012786670%
                  TX997         Palmer Town, Texas                   0.0084440000%
                  TX998         Palmhurst City, Texas                0.0031066670%
                  TX999         Palmview City, Texas                 0.0050513330%
                 TX1000         Palo Pinto County, Texas             0.0830806670%
                 TX1001         Pampa City, Texas                    0.0448180000%
                 TX1002         Panhandle Town, Texas                0.0063573330%
                 TX1003         Panola County, Texas                 0.0537993330%
                 TX1004         Panorama Village City, Texas         0.0008613330%
                 TX1005         Pantego Town, Texas                  0.0085986670%
                 TX1006         Paradise City, Texas                 0.0000346670%
                 TX1007         Paris City, Texas                    0.1341200000%
                 TX1008         Parker City, Texas                   0.0068713330%
                 TX1009         Parker County, Texas                 0.3175026670%
                 TX1010         Parmer County, Texas                 0.0105773330%
                 TX1011         Pasadena City, Texas                 0.2376906670%
                 TX1012         Pattison City, Texas                 0.0007653330%
                 TX1013         Patton Village City, Texas           0.0061786670%
                 TX1014         Payne Springs Town, Texas            0.0011800000%
                 TX1015         Pearland City, Texas                 0.2225013330%
                 TX1016         Pearsall City, Texas                 0.0077133330%
                 TX1017         Pecan Gap City, Texas                0.0004793330%
                 TX1018         Pecan Hill City, Texas               0.0001526670%
                 TX1019         Pecos City, Texas                    0.0050813330%
                 TX1020         Pecos County, Texas                  0.0313313330%
                 TX1021         Pelican Bay City, Texas              0.0007993330%
                 TX1022         Penelope Town, Texas                 0.0002766670%
                 TX1023         Penitas City, Texas                  0.0002080000%
                 TX1024         Perryton City, Texas                 0.0155760000%
                 TX1025         Petersburg City, Texas               0.0011273330%
                 TX1026         Petrolia City, Texas                 0.0000113330%
                 TX1027         Petronila City, Texas                0.0000033330%
                 TX1028         Pflugerville City, Texas             0.0576053330%
                 TX1029         Pharr City, Texas                    0.0964806670%
                 TX1030         Pilot Point City, Texas              0.0077420000%
                 TX1031         Pine Forest City, Texas              0.0025960000%
                 TX1032         Pine Island Town, Texas              0.0020940000%
                 TX1033         Pinehurst City, Texas                0.0217806670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-261             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 399 of 611. PageID #: 572683
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                 TX1034         Pineland City, Texas                 0.0027586670%
                 TX1035         Piney Point Village City, Texas      0.0104920000%
                 TX1036         Pittsburg City, Texas                0.0136840000%
                 TX1037         Plains Town, Texas                   0.0000860000%
                 TX1038         Plainview City, Texas                0.0401986670%
                 TX1039         Plano City, Texas                    0.7677386670%
                 TX1040         Pleak Village, Texas                 0.0001800000%
                 TX1041         Pleasant Valley Town, Texas          0.0002053330%
                 TX1042         Pleasanton City, Texas               0.0193406670%
                 TX1043         Plum Grove City, Texas               0.0001720000%
                 TX1044         Point Blank City, Texas              0.0002366670%
                 TX1045         Point City, Texas                    0.0010126670%
                 TX1046         Point Comfort City, Texas            0.0002980000%
                 TX1047         Point Venture Village, Texas         0.0003920000%
                 TX1048         Polk County, Texas                   0.2472206670%
                 TX1049         Ponder Town, Texas                   0.0008546670%
                 TX1050         Port Aransas City, Texas             0.0206813330%
                 TX1051         Port Arthur City, Texas              0.2452966670%
                 TX1052         Port Isabel City, Texas              0.0065346670%
                 TX1053         Port Lavaca City, Texas              0.0078346670%
                 TX1054         Port Neches City, Texas              0.0258993330%
                 TX1055         Portland City, Texas                 0.0510113330%
                 TX1056         Post City, Texas                     0.0015546670%
                 TX1057         Post Oak Bend City Town, Texas       0.0006893330%
                 TX1058         Poteet City, Texas                   0.0045113330%
                 TX1059         Poth Town, Texas                     0.0026493330%
                 TX1060         Potter County, Texas                 0.2478006670%
                 TX1061         Pottsboro Town, Texas                0.0082013330%
                 TX1062         Powell Town, Texas                   0.0000733330%
                 TX1063         Poynor Town, Texas                   0.0007866670%
                 TX1064         Prairie View City, Texas             0.0050666670%
                 TX1065         Premont City, Texas                  0.0022140000%
                 TX1066         Presidio City, Texas                 0.0000986670%
                 TX1067         Presidio County, Texas               0.0005246670%
                 TX1068         Primera Town, Texas                  0.0019720000%
                 TX1069         Princeton City, Texas                0.0128300000%
                 TX1070         Progreso City, Texas                 0.0053813330%
                 TX1071         Progreso Lakes City, Texas           0.0000260000%
                 TX1072         Prosper Town, Texas                  0.0151800000%
                 TX1073         Providence Village Town, Texas       0.0003386670%
                 TX1074         Putnam Town, Texas                   0.0000093330%
                 TX1075         Pyote Town, Texas                    0.0000146670%
                 TX1076         Quanah City, Texas                   0.0001380000%
                 TX1077         Queen City, Texas                    0.0032246670%
                 TX1078         Quinlan City, Texas                  0.0048693330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-262             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 400 of 611. PageID #: 572684
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                 TX1079         Quintana Town, Texas                 0.0003280000%
                 TX1080         Quitaque City, Texas                 0.0000053330%
                 TX1081         Quitman City, Texas                  0.0104126670%
                 TX1082         Rains County, Texas                  0.0354600000%
                 TX1083         Ralls City, Texas                    0.0026446670%
                 TX1084         Rancho Viejo Town, Texas             0.0025573330%
                 TX1085         Randall County, Texas                0.1854173330%
                 TX1086         Ranger City, Texas                   0.0081240000%
                 TX1087         Rankin City, Texas                   0.0010753330%
                 TX1088         Ransom Canyon Town, Texas            0.0006200000%
                 TX1089         Ravenna City, Texas                  0.0004566670%
                 TX1090         Raymondville City, Texas             0.0049773330%
                 TX1091         Reagan County, Texas                 0.0168100000%
                 TX1092         Real County, Texas                   0.0033820000%
                 TX1093         Red Lick City, Texas                 0.0000153330%
                 TX1094         Red Oak City, Texas                  0.0178953330%
                 TX1095         Red River County, Texas              0.0195373330%
                 TX1096         Redwater City, Texas                 0.0007053330%
                 TX1097         Reeves County, Texas                 0.0689000000%
                 TX1098         Refugio County, Texas                0.0308106670%
                 TX1099         Refugio Town, Texas                  0.0058926670%
                 TX1100         Reklaw City, Texas                   0.0007573330%
                 TX1101         Reno City, Lamar County, Texas       0.0074426670%
                 TX1102         Reno City, Parker County, Texas      0.0025273330%
                 TX1103         Retreat Town, Texas                  0.0000346670%
                 TX1104         Rhome City, Texas                    0.0081900000%
                 TX1105         Rice City, Texas                     0.0013146670%
                 TX1106         Richardson City, Texas               0.1735433330%
                 TX1107         Richland Hills City, Texas           0.0162920000%
                 TX1108         Richland Springs Town, Texas         0.0014893330%
                 TX1109         Richland Town, Texas                 0.0001400000%
                 TX1110         Richmond City, Texas                 0.0517373330%
                 TX1111         Richwood City, Texas                 0.0080746670%
                 TX1112         Riesel City, Texas                   0.0007453330%
                 TX1113         Rio Bravo City, Texas                0.0056986670%
                 TX1114         Rio Grande City, Texas               0.0172980000%
                 TX1115         Rio Hondo City, Texas                0.0023666670%
                 TX1116         Rio Vista City, Texas                0.0029460000%
                 TX1117         Rising Star Town, Texas              0.0012886670%
                 TX1118         River Oaks City, Texas               0.0079446670%
                 TX1119         Riverside City, Texas                0.0005720000%
                 TX1120         Roanoke City, Texas                  0.0001833330%
                 TX1121         Roaring Springs Town, Texas          0.0003073330%
                 TX1122         Robert Lee City, Texas               0.0000566670%
                 TX1123         Roberts County, Texas                0.0003646670%
  Strictly Confidential
  Subject to Protective Order
                                                   G-263             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 401 of 611. PageID #: 572685
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                 TX1124         Robertson County, Texas             0.0297613330%
                 TX1125         Robinson City, Texas                0.0120013330%
                 TX1126         Robstown City, Texas                0.0267693330%
                 TX1127         Roby City, Texas                    0.0002853330%
                 TX1128         Rochester Town, Texas               0.0004493330%
                 TX1129         Rockdale City, Texas                0.0139820000%
                 TX1130         Rockport City, Texas                0.0361686670%
                 TX1131         Rocksprings Town, Texas             0.0000166670%
                 TX1132         Rockwall City, Texas                0.0762053330%
                 TX1133         Rockwall County, Texas              0.1125466670%
                 TX1134         Rocky Mound Town, Texas             0.0001866670%
                 TX1135         Rogers Town, Texas                  0.0025453330%
                 TX1136         Rollingwood City, Texas             0.0031693330%
                 TX1137         Roma City, Texas                    0.0110860000%
                 TX1138         Roman Forest Town, Texas            0.0057400000%
                 TX1139         Ropesville City, Texas              0.0014146670%
                 TX1140         Roscoe City, Texas                  0.0005186670%
                 TX1141         Rose City, Texas                    0.0026746670%
                 TX1142         Rose Hill Acres City, Texas         0.0015406670%
                 TX1143         Rosebud City, Texas                 0.0009926670%
                 TX1144         Rosenberg City, Texas               0.0843953330%
                 TX1145         Ross City, Texas                    0.0000980000%
                 TX1146         Rosser Village, Texas               0.0003660000%
                 TX1147         Rotan City, Texas                   0.0009953330%
                 TX1148         Round Mountain Town, Texas          0.0003026670%
                 TX1149         Round Rock City, Texas              0.3173280000%
                 TX1150         Round Top Town, Texas               0.0000933330%
                 TX1151         Rowlett City, Texas                 0.0666420000%
                 TX1152         Roxton City, Texas                  0.0000313330%
                 TX1153         Royse City, Texas                   0.0156626670%
                 TX1154         Rule Town, Texas                    0.0005333330%
                 TX1155         Runaway Bay City, Texas             0.0046206670%
                 TX1156         Runge Town, Texas                   0.0001700000%
                 TX1157         Runnels County, Texas               0.0225540000%
                 TX1158         Rusk City, Texas                    0.0119940000%
                 TX1159         Rusk County, Texas                  0.1009266670%
                 TX1160         Sabinal City, Texas                 0.0012073330%
                 TX1161         Sabine County, Texas                0.0309860000%
                 TX1162         Sachse City, Texas                  0.0156000000%
                 TX1163         Sadler City, Texas                  0.0006166670%
                 TX1164         Saginaw City, Texas                 0.0213153330%
                 TX1165         Salado Village, Texas               0.0021400000%
                 TX1166         San Angelo City, Texas              0.3576726670%
                 TX1167         San Antonio City, Texas             2.9102773330%
                 TX1168         San Augustine City, Texas           0.0167880000%
  Strictly Confidential
  Subject to Protective Order
                                                  G-264             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 402 of 611. PageID #: 572686
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                 TX1169         San Augustine County, Texas          0.0252360000%
                 TX1170         San Benito City, Texas               0.0266766670%
                 TX1171         San Diego City, Texas                0.0078473330%
                 TX1172         San Elizario City, Texas             0.0052206670%
                 TX1173         San Felipe Town, Texas               0.0009986670%
                 TX1174         San Jacinto County, Texas            0.1315986670%
                 TX1175         San Juan City, Texas                 0.0192300000%
                 TX1176         San Leanna Village, Texas            0.0000240000%
                 TX1177         San Marcos City, Texas               0.2171253330%
                 TX1178         San Patricio City, Texas             0.0028086670%
                 TX1179         San Patricio County, Texas           0.1812773330%
                 TX1180         San Perlita City, Texas              0.0014793330%
                 TX1181         San Saba City, Texas                 0.0067046670%
                 TX1182         San Saba County, Texas               0.0117080000%
                 TX1183         Sanctuary Town, Texas                0.0000113330%
                 TX1184         Sandy Oaks City, Texas               0.0065753330%
                 TX1185         Sandy Point City, Texas              0.0010913330%
                 TX1186         Sanford Town, Texas                  0.0002053330%
                 TX1187         Sanger City, Texas                   0.0148246670%
                 TX1188         Sansom Park City, Texas              0.0001486670%
                 TX1189         Santa Anna Town, Texas               0.0002193330%
                 TX1190         Santa Clara City, Texas              0.0000580000%
                 TX1191         Santa Fe City, Texas                 0.0221813330%
                 TX1192         Santa Rosa Town, Texas               0.0014253330%
                 TX1193         Savoy City, Texas                    0.0015660000%
                 TX1194         Schertz City, Texas                  0.0400733330%
                 TX1195         Schleicher County, Texas             0.0037966670%
                 TX1196         Schulenburg City, Texas              0.0017066670%
                 TX1197         Scotland City, Texas                 0.0000986670%
                 TX1198         Scottsville City, Texas              0.0004720000%
                 TX1199         Scurry County, Texas                 0.0487440000%
                 TX1200         Scurry Town, Texas                   0.0007400000%
                 TX1201         Seabrook City, Texas                 0.0201800000%
                 TX1202         Seadrift City, Texas                 0.0006606670%
                 TX1203         Seagoville City, Texas               0.0114040000%
                 TX1204         Seagraves City, Texas                0.0050206670%
                 TX1205         Sealy City, Texas                    0.0137580000%
                 TX1206         Seguin City, Texas                   0.2510253330%
                 TX1207         Selma City, Texas                    0.0149526670%
                 TX1208         Seminole City, Texas                 0.0107280000%
                 TX1209         Seven Oaks City, Texas               0.0026113330%
                 TX1210         Seven Points City, Texas             0.0049680000%
                 TX1211         Seymour City, Texas                  0.0094786670%
                 TX1212         Shackelford County, Texas            0.0008586670%
                 TX1213         Shady Shores Town, Texas             0.0003960000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-265             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 403 of 611. PageID #: 572687
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                 TX1214         Shallowater City, Texas                0.0012713330%
                 TX1215         Shamrock City, Texas                   0.0028853330%
                 TX1216         Shavano Park City, Texas               0.0021186670%
                 TX1217         Shelby County, Texas                   0.0732833330%
                 TX1218         Shenandoah City, Texas                 0.0314146670%
                 TX1219         Shepherd City, Texas                   0.0000980000%
                 TX1220         Sherman City, Texas                    0.2203900000%
                 TX1221         Sherman County, Texas                  0.0052866670%
                 TX1222         Shiner City, Texas                     0.0026946670%
                 TX1223         Shoreacres City, Texas                 0.0006386670%
                 TX1224         Silsbee City, Texas                    0.0442946670%
                 TX1225         Silverton City, Texas                  0.0000093330%
                 TX1226         Simonton City, Texas                   0.0012706670%
                 TX1227         Sinton City, Texas                     0.0157720000%
                 TX1228         Skellytown, Texas                      0.0002666670%
                 TX1229         Slaton City, Texas                     0.0001026670%
                 TX1230         Smiley City, Texas                     0.0004366670%
                 TX1231         Smith County, Texas                    0.5059740000%
                 TX1232         Smithville City, Texas                 0.0113393330%
                 TX1233         Smyer Town, Texas                      0.0002000000%
                 TX1234         Snook City, Texas                      0.0009480000%
                 TX1235         Snyder City, Texas                     0.0060120000%
                 TX1236         Socorro City, Texas                    0.0074166670%
                 TX1237         Somerset City, Texas                   0.0010180000%
                 TX1238         Somervell County, Texas                0.0380506670%
                 TX1239         Somerville City, Texas                 0.0025373330%
                 TX1240         Sonora City, Texas                     0.0048913330%
                 TX1241         Sour Lake City, Texas                  0.0119040000%
                 TX1242         South Houston City, Texas              0.0170800000%
                 TX1243         South Mountain Town, Texas             0.0001026670%
                 TX1244         South Padre Island Town, Texas         0.0204193330%
                 TX1245         Southlake City, Texas                  0.0472306670%
                 TX1246         Southmayd City, Texas                  0.0047306670%
                 TX1247         Southside Place City, Texas            0.0005900000%
                 TX1248         Spearman City, Texas                   0.0093333330%
                 TX1249         Splendora City, Texas                  0.0051706670%
                 TX1250         Spofford City, Texas                   0.0000046670%
                 TX1251         Spring Valley Village City, Texas      0.0109360000%
                 TX1252         Springlake Town, Texas                 0.0000020000%
                 TX1253         Springtown City, Texas                 0.0094960000%
                 TX1254         Spur City, Texas                       0.0002846670%
                 TX1255         St. Hedwig Town, Texas                 0.0000740000%
                 TX1256         St. Jo City, Texas                     0.0049066670%
                 TX1257         St. Paul Town, Texas                   0.0000140000%
                 TX1258         Stafford City, Texas                   0.0500966670%
  Strictly Confidential
  Subject to Protective Order
                                                    G-266              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 404 of 611. PageID #: 572688
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                 TX1259         Stagecoach Town, Texas                 0.0020240000%
                 TX1260         Stamford City, Texas                   0.0002653330%
                 TX1261         Stanton City, Texas                    0.0025586670%
                 TX1262         Staples City, Texas                    0.0000126670%
                 TX1263         Star Harbor City, Texas                0.0001006670%
                 TX1264         Starr County, Texas                    0.0665973330%
                 TX1265         Stephens County, Texas                 0.0234960000%
                 TX1266         Stephenville City, Texas               0.0556480000%
                 TX1267         Sterling City, Texas                   0.0000413330%
                 TX1268         Sterling County, Texas                 0.0006260000%
                 TX1269         Stinnett City, Texas                   0.0027313330%
                 TX1270         Stockdale City, Texas                  0.0004940000%
                 TX1271         Stonewall County, Texas                0.0012146670%
                 TX1272         Stratford City, Texas                  0.0055853330%
                 TX1273         Strawn City, Texas                     0.0006580000%
                 TX1274         Streetman Town, Texas                  0.0000033330%
                 TX1275         Sudan City, Texas                      0.0000213330%
                 TX1276         Sugar Land City, Texas                 0.2143740000%
                 TX1277         Sullivan City, Texas                   0.0040806670%
                 TX1278         Sulphur Springs City, Texas            0.0830686670%
                 TX1279         Sun Valley City, Texas                 0.0000026670%
                 TX1280         Sundown City, Texas                    0.0017280000%
                 TX1281         Sunnyvale Town, Texas                  0.0021653330%
                 TX1282         Sunray City, Texas                     0.0017140000%
                 TX1283         Sunrise Beach Village City, Texas      0.0013886670%
                 TX1284         Sunset Valley City, Texas              0.0062833330%
                 TX1285         Surfside Beach City, Texas             0.0043533330%
                 TX1286         Sutton County, Texas                   0.0043606670%
                 TX1287         Sweeny City, Texas                     0.0030020000%
                 TX1288         Sweetwater City, Texas                 0.0454986670%
                 TX1289         Swisher County, Texas                  0.0048340000%
                 TX1290         Taft City, Texas                       0.0039073330%
                 TX1291         Tahoka City, Texas                     0.0002866670%
                 TX1292         Talco City, Texas                      0.0002480000%
                 TX1293         Talty Town, Texas                      0.0060826670%
                 TX1294         Tarrant County, Texas                  4.1141060000%
                 TX1295         Tatum City, Texas                      0.0006480000%
                 TX1296         Taylor City, Texas                     0.0386300000%
                 TX1297         Taylor County, Texas                   0.2340520000%
                 TX1298         Taylor Lake Village City, Texas        0.0002746670%
                 TX1299         Taylor Landing City, Texas             0.0001020000%
                 TX1300         Teague City, Texas                     0.0011426670%
                 TX1301         Tehuacana Town, Texas                  0.0000080000%
                 TX1302         Temple City, Texas                     0.1871646670%
                 TX1303         Tenaha Town, Texas                     0.0031453330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-267               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 405 of 611. PageID #: 572689
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                 TX1304         Terrell City, Texas                    0.0991373330%
                 TX1305         Terrell County, Texas                  0.0038246670%
                 TX1306         Terrell Hills City, Texas              0.0065720000%
                 TX1307         Terry County, Texas                    0.0169486670%
                 TX1308         Texarkana City, Texas                  0.1280626670%
                 TX1309         Texas City, Texas                      0.1991346670%
                 TX1310         Texhoma City, Texas                    0.0001040000%
                 TX1311         Texline Town, Texas                    0.0005766670%
                 TX1312         The Colony City, Texas                 0.0761980000%
                 TX1313         The Hills Village, Texas               0.0006693330%
                 TX1314         Thompsons Town, Texas                  0.0012646670%
                 TX1315         Thorndale City, Texas                  0.0010633330%
                 TX1316         Thornton Town, Texas                   0.0001800000%
                 TX1317         Thorntonville Town, Texas              0.0000580000%
                 TX1318         Thrall City, Texas                     0.0005500000%
                 TX1319         Three Rivers City, Texas               0.0031126670%
                 TX1320         Throckmorton County, Texas             0.0037966670%
                 TX1321         Throckmorton Town, Texas               0.0000193330%
                 TX1322         Tiki Island Village, Texas             0.0014520000%
                 TX1323         Timbercreek Canyon Village, Texas      0.0002460000%
                 TX1324         Timpson City, Texas                    0.0084280000%
                 TX1325         Tioga Town, Texas                      0.0015933330%
                 TX1326         Tira Town, Texas                       0.0001233330%
                 TX1327         Titus County, Texas                    0.0470740000%
                 TX1328         Toco City, Texas                       0.0000026670%
                 TX1329         Todd Mission City, Texas               0.0011200000%
                 TX1330         Tolar City, Texas                      0.0015793330%
                 TX1331         Tom Bean City, Texas                   0.0015286670%
                 TX1332         Tom Green County, Texas                0.1882846670%
                 TX1333         Tomball City, Texas                    0.0230800000%
                 TX1334         Tool City, Texas                       0.0098580000%
                 TX1335         Toyah Town, Texas                      0.0000266670%
                 TX1336         Travis County, Texas                   3.1356486670%
                 TX1337         Trent Town, Texas                      0.0000420000%
                 TX1338         Trenton City, Texas                    0.0020593330%
                 TX1339         Trinidad City, Texas                   0.0039060000%
                 TX1340         Trinity City, Texas                    0.0157680000%
                 TX1341         Trinity County, Texas                  0.0705106670%
                 TX1342         Trophy Club Town, Texas                0.0195800000%
                 TX1343         Troup City, Texas                      0.0052786670%
                 TX1344         Troy City, Texas                       0.0035466670%
                 TX1345         Tulia City, Texas                      0.0059406670%
                 TX1346         Turkey City, Texas                     0.0004913330%
                 TX1347         Tuscola City, Texas                    0.0000920000%
                 TX1348         Tye City, Texas                        0.0011773330%
  Strictly Confidential
  Subject to Protective Order
                                                  G-268                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 406 of 611. PageID #: 572690
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                 TX1349         Tyler City, Texas                   0.4825526670%
                 TX1350         Tyler County, Texas                 0.0878286670%
                 TX1351         Uhland City, Texas                  0.0010300000%
                 TX1352         Uncertain City, Texas               0.0001233330%
                 TX1353         Union Grove City, Texas             0.0006626670%
                 TX1354         Union Valley City, Texas            0.0004440000%
                 TX1355         Universal City, Texas               0.0189520000%
                 TX1356         University Park City, Texas         0.0338886670%
                 TX1357         Upshur County, Texas                0.0855333330%
                 TX1358         Upton County, Texas                 0.0056660000%
                 TX1359         Uvalde City, Texas                  0.0122926670%
                 TX1360         Uvalde County, Texas                0.0241626670%
                 TX1361         Val Verde County, Texas             0.0785433330%
                 TX1362         Valentine Town, Texas               0.0001380000%
                 TX1363         Valley Mills City, Texas            0.0014853330%
                 TX1364         Valley View City, Texas             0.0012160000%
                 TX1365         Van Alstyne City, Texas             0.0291660000%
                 TX1366         Van City, Texas                     0.0041373330%
                 TX1367         Van Horn Town, Texas                0.0001406670%
                 TX1368         Van Zandt County, Texas             0.1658313330%
                 TX1369         Vega City, Texas                    0.0006493330%
                 TX1370         Venus Town, Texas                   0.0065280000%
                 TX1371         Vernon City, Texas                  0.0542246670%
                 TX1372         Victoria City, Texas                0.0563986670%
                 TX1373         Victoria County, Texas              0.3472573330%
                 TX1374         Vidor City, Texas                   0.0637466670%
                 TX1375         Vinton Village, Texas               0.0004146670%
                 TX1376         Volente Village, Texas              0.0002220000%
                 TX1377         Von Ormy City, Texas                0.0003420000%
                 TX1378         Waco City, Texas                    0.3413380000%
                 TX1379         Waelder City, Texas                 0.0022846670%
                 TX1380         Wake Village City, Texas            0.0001160000%
                 TX1381         Walker County, Texas                0.1230826670%
                 TX1382         Waller City, Texas                  0.0075300000%
                 TX1383         Waller County, Texas                0.0841373330%
                 TX1384         Wallis City, Texas                  0.0017986670%
                 TX1385         Walnut Springs City, Texas          0.0001220000%
                 TX1386         Ward County, Texas                  0.0452800000%
                 TX1387         Warren City, Texas                  0.0000440000%
                 TX1388         Washington County, Texas            0.0558180000%
                 TX1389         Waskom City, Texas                  0.0035640000%
                 TX1390         Watauga City, Texas                 0.0221440000%
                 TX1391         Waxahachie City, Texas              0.1013960000%
                 TX1392         Weatherford City, Texas             0.1385813330%
                 TX1393         Webb County, Texas                  0.3368693330%
  Strictly Confidential
  Subject to Protective Order
                                                  G-269             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 407 of 611. PageID #: 572691
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                 TX1394         Webberville Village, Texas             0.0008533330%
                 TX1395         Webster City, Texas                    0.0354680000%
                 TX1396         Weimar City, Texas                     0.0038866670%
                 TX1397         Weinert City, Texas                    0.0001560000%
                 TX1398         Weir City, Texas                       0.0002953330%
                 TX1399         Wellington City, Texas                 0.0060740000%
                 TX1400         Wellman City, Texas                    0.0002553330%
                 TX1401         Wells Town, Texas                      0.0009046670%
                 TX1402         Weslaco City, Texas                    0.0492993330%
                 TX1403         West City, Texas                       0.0023480000%
                 TX1404         West Columbia City, Texas              0.0119720000%
                 TX1405         West Lake Hills City, Texas            0.0113706670%
                 TX1406         West Orange City, Texas                0.0283013330%
                 TX1407         West Tawakoni City, Texas              0.0046633330%
                 TX1408         West University Place City, Texas      0.0231146670%
                 TX1409         Westbrook City, Texas                  0.0000286670%
                 TX1410         Westlake Town, Texas                   0.0276933330%
                 TX1411         Weston City, Texas                     0.0001773330%
                 TX1412         Weston Lakes City, Texas               0.0001260000%
                 TX1413         Westover Hills Town, Texas             0.0030060000%
                 TX1414         Westworth Village City, Texas          0.0052280000%
                 TX1415         Wharton City, Texas                    0.0211333330%
                 TX1416         Wharton County, Texas                  0.0485913330%
                 TX1417         Wheeler City, Texas                    0.0002980000%
                 TX1418         Wheeler County, Texas                  0.0175153330%
                 TX1419         White Deer Town, Texas                 0.0008486670%
                 TX1420         White Oak City, Texas                  0.0102033330%
                 TX1421         White Settlement City, Texas           0.0155360000%
                 TX1422         Whiteface Town, Texas                  0.0001033330%
                 TX1423         Whitehouse City, Texas                 0.0193446670%
                 TX1424         Whitesboro City, Texas                 0.0126213330%
                 TX1425         Whitewright Town, Texas                0.0047320000%
                 TX1426         Whitney Town, Texas                    0.0000486670%
                 TX1427         Wichita County, Texas                  0.3682473330%
                 TX1428         Wichita Falls City, Texas              0.5550493330%
                 TX1429         Wickett Town, Texas                    0.0000580000%
                 TX1430         Wilbarger County, Texas                0.0367493330%
                 TX1431         Willacy County, Texas                  0.0163873330%
                 TX1432         Williamson County, Texas               0.7973246670%
                 TX1433         Willis City, Texas                     0.0162560000%
                 TX1434         Willow Park City, Texas                0.0178246670%
                 TX1435         Wills Point City, Texas                0.0291766670%
                 TX1436         Wilmer City, Texas                     0.0002840000%
                 TX1437         Wilson City, Texas                     0.0000080000%
                 TX1438         Wilson County, Texas                   0.0806893330%
  Strictly Confidential
  Subject to Protective Order
                                                   G-270               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 408 of 611. PageID #: 572692
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                 TX1439         Wimberley City, Texas               0.0004826670%
                 TX1440         Windcrest City, Texas               0.0086053330%
                 TX1441         Windom Town, Texas                  0.0007246670%
                 TX1442         Windthorst Town, Texas              0.0022566670%
                 TX1443         Winfield City, Texas                0.0001933330%
                 TX1444         Wink City, Texas                    0.0000800000%
                 TX1445         Winkler County, Texas               0.0407753330%
                 TX1446         Winnsboro City, Texas               0.0191940000%
                 TX1447         Winona Town, Texas                  0.0002126670%
                 TX1448         Winters City, Texas                 0.0041526670%
                 TX1449         Wise County, Texas                  0.1927160000%
                 TX1450         Wixon Valley City, Texas            0.0002940000%
                 TX1451         Wolfe City, Texas                   0.0036440000%
                 TX1452         Wolfforth City, Texas               0.0026813330%
                 TX1453         Wood County, Texas                  0.1780320000%
                 TX1454         Woodbranch City, Texas              0.0064113330%
                 TX1455         Woodcreek City, Texas               0.0002386670%
                 TX1456         Woodloch Town, Texas                0.0006746670%
                 TX1457         Woodsboro Town, Texas               0.0007533330%
                 TX1458         Woodson Town, Texas                 0.0000813330%
                 TX1459         Woodville Town, Texas               0.0135600000%
                 TX1460         Woodway City, Texas                 0.0171420000%
                 TX1461         Wortham Town, Texas                 0.0002506670%
                 TX1462         Wylie City, Texas                   0.0764720000%
                 TX1463         Yantis Town, Texas                  0.0013813330%
                 TX1464         Yoakum City, Texas                  0.0134733330%
                 TX1465         Yoakum County, Texas                0.0232826670%
                 TX1466         Yorktown City, Texas                0.0036313330%
                 TX1467         Young County, Texas                 0.0294133330%
                 TX1468         Zapata County, Texas                0.0376533330%
                 TX1469         Zavala County, Texas                0.0254313330%
                 TX1470         Zavalla City, Texas                 0.0007253330%




  Strictly Confidential
  Subject to Protective Order
                                                  G-271             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 409 of 611. PageID #: 572693
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   UT1          Alpine City, Utah                    0.0074850652%
                   UT2          American Fork City, Utah             0.3698700092%
                   UT3          Beaver County, Utah                  0.2275939135%
                   UT4          Bluffdale City, Utah                 0.1704007776%
                   UT5          Bountiful City, Utah                 0.6461516868%
                   UT6          Box Elder County, Utah               1.1410929709%
                   UT7          Brigham City, Utah                   0.3231707689%
                   UT8          Cache County, Utah                   1.5923257966%
                   UT9          Carbon County, Utah                  2.7182297715%
                  UT10          Cedar City, Utah                     0.5516348901%
                  UT11          Cedar Hills City, Utah               0.0265381350%
                  UT12          Centerville City, Utah               0.2945736299%
                  UT13          Clearfield City, Utah                0.5750088413%
                  UT14          Clinton City, Utah                   0.2576485190%
                  UT15          Cottonwood Heights City, Utah        0.0239883969%
                  UT16          Daggett County, Utah                 0.0276266371%
                  UT17          Davis County, Utah                   4.8789267057%
                  UT18          Draper City, Utah                    0.7910838693%
                  UT19          Duchesne County, Utah                0.6408909172%
                  UT20          Eagle Mountain City, Utah            0.2503351422%
                  UT21          Emery County, Utah                   0.9376231601%
                  UT22          Farmington City, Utah                0.1603346751%
                  UT23          Garfield County, Utah                0.1469437809%
                  UT24          Grand County, Utah                   0.3044262356%
                  UT25          Grantsville City, Utah               0.1073581283%
                  UT26          Heber City, Utah                     0.0928758762%
                  UT27          Herriman City, Utah                  0.1167024085%
                  UT28          Highland City, Utah                  0.1372268809%
                  UT29          Holladay City, Utah                  0.2761428876%
                  UT30          Hurricane City, Utah                 0.3378642332%
                  UT31          Iron County, Utah                    1.0702371865%
                  UT32          Juab County, Utah                    0.3518708297%
                  UT33          Kane County, Utah                    0.4388202011%
                  UT34          Kaysville City, Utah                 0.1350662117%
                  UT35          Layton City, Utah                    1.1150478545%
                  UT36          Lehi City, Utah                      0.6673840454%
                  UT37          Lindon City, Utah                    0.2081464059%
                  UT38          Logan City, Utah                     0.8935609300%
                  UT39          Mapleton City, Utah                  0.1020696007%
                  UT40          Midvale City, Utah                   0.4932109210%
                  UT41          Millard County, Utah                 0.3551337086%
                  UT42          Morgan County, Utah                  0.2160474984%
                  UT43          Murray City, Utah                    1.1259407571%
                  UT44          North Logan City, Utah               0.0879011396%
                  UT45          North Ogden City, Utah               0.1395023517%
  Strictly Confidential
  Subject to Protective Order
                                                   G-272             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 410 of 611. PageID #: 572694
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  UT46          North Salt Lake City, Utah          0.1790604747%
                  UT47          Ogden City, Utah                    3.6512528708%
                  UT48          Orem City, Utah                     1.8083710104%
                  UT49          Payson City, Utah                   0.2381624015%
                  UT50          Piute County, Utah                  0.0224236680%
                  UT51          Pleasant Grove City, Utah           0.4674787961%
                  UT52          Pleasant View City, Utah            0.0767770346%
                  UT53          Provo City, Utah                    2.3364111417%
                  UT54          Rich County, Utah                   0.0610053490%
                  UT55          Riverton City, Utah                 0.0412215470%
                  UT56          Roy City, Utah                      0.5557639786%
                  UT57          Salt Lake City, Utah                9.2867022201%
                  UT58          Salt Lake County, Utah             19.7782038536%
                  UT59          San Juan County, Utah               0.2489376467%
                  UT60          Sandy City, Utah                    1.4728771735%
                  UT61          Sanpete County, Utah                1.0128237001%
                  UT62          Santaquin City, Utah                0.1356391917%
                  UT63          Saratoga Springs City, Utah         0.3576972686%
                  UT64          Sevier County, Utah                 0.6613686693%
                  UT65          Smithfield City, Utah               0.0754928557%
                  UT66          South Jordan City, Utah             1.0816862772%
                  UT67          South Ogden City, Utah              0.3523774418%
                  UT68          South Salt Lake City, Utah          1.0103412437%
                  UT69          Spanish Fork City, Utah             0.3973909831%
                  UT70          Springville City, Utah              0.4031371180%
                  UT71          St. George City, Utah               1.6549144940%
                  UT72          Summit County, Utah                 0.9435271615%
                  UT73          Syracuse City, Utah                 0.2902117397%
                  UT74          Taylorsville City, Utah             1.0791357394%
                  UT75          Tooele City, Utah                   0.4168343784%
                  UT76          Tooele County, Utah                 1.7091149060%
                  UT77          Uintah County, Utah                 0.7667420434%
                  UT78          Utah County, Utah                   7.4710417070%
                  UT79          Vernal City, Utah                   0.0994151132%
                  UT80          Vineyard Town, Utah                 0.0012097006%
                  UT81          Wasatch County, Utah                0.5077548576%
                  UT82          Washington City, Utah               0.3059016363%
                  UT83          Washington County, Utah             2.5665496530%
                  UT84          Wayne County, Utah                  0.1091896995%
                  UT85          Weber County, Utah                  5.1002376011%
                  UT86          West Haven City, Utah               0.0067360561%
                  UT87          West Jordan City, Utah              1.7847960136%
                  UT88          West Point City, Utah               0.0019552828%
                  UT89          West Valley City, Utah              3.7788016901%
                  UT90          Woods Cross City, Utah              0.1613122594%
  Strictly Confidential
  Subject to Protective Order
                                                  G-273             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 411 of 611. PageID #: 572695
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   VT1          Addison County, Vermont              0.7355948910%
                   VT2          Albany Town, Vermont                 0.0345075405%
                   VT3          Albany Village, Vermont              0.0160668267%
                   VT4          Alburgh Town, Vermont                0.0606145322%
                   VT5          Alburgh Village, Vermont             0.0525580527%
                   VT6          Andover Town, Vermont                0.0012398034%
                   VT7          Arlington Town, Vermont              0.0885559202%
                   VT8          Athens Town, Vermont                 0.0006484140%
                   VT9          Bakersfield Town, Vermont            0.0549127180%
                  VT10          Baltimore Town, Vermont              0.0024796068%
                  VT11          Barnard Town, Vermont                0.0830636232%
                  VT12          Barnet Town, Vermont                 0.0471074029%
                  VT13          Barre City, Vermont                  2.1256028600%
                  VT14          Barre Town, Vermont                  1.3320832015%
                  VT15          Barton Town, Vermont                 0.3252065150%
                  VT16          Barton Village, Vermont              0.0324162133%
                  VT17          Bellows Falls Village, Vermont       0.9422159742%
                  VT18          Belvidere Town, Vermont              0.0049931720%
                  VT19          Bennington County, Vermont           0.9901518348%
                  VT20          Bennington Town, Vermont             2.4851413569%
                  VT21          Benson Town, Vermont                 0.0225970986%
                  VT22          Berlin Town, Vermont                 0.5526473249%
                  VT23          Bethel Town, Vermont                 0.0892626402%
                  VT24          Bloomfield Town, Vermont             0.0119245379%
                  VT25          Bolton Town, Vermont                 0.1874031696%
                  VT26          Bradford Town, Vermont               0.7724442824%
                  VT27          Braintree Town, Vermont              0.0619908100%
                  VT28          Brandon Town, Vermont                0.5039156835%
                  VT29          Brattleboro Town, Vermont            2.8616648398%
                  VT30          Bridgewater Town, Vermont            0.2045592293%
                  VT31          Bridport Town, Vermont               0.0525426753%
                  VT32          Brighton Town, Vermont               0.1371312246%
                  VT33          Bristol Town, Vermont                0.4536168281%
                  VT34          Brookfield Town, Vermont             0.0181094589%
                  VT35          Brookline Town, Vermont              0.0142663887%
                  VT36          Brownington Town, Vermont            0.0209132726%
                  VT37          Brunswick Town, Vermont              0.0071549790%
                  VT38          Burke Town, Vermont                  0.0035553845%
                  VT39          Burlington City, Vermont            10.6984139884%
                  VT40          Cabot Town, Vermont                  0.0223388863%
                  VT41          Calais Town, Vermont                 0.0461347819%
                  VT42          Caledonia County, Vermont            0.8505961058%
                  VT43          Cambridge Town, Vermont              0.0682410850%
                  VT44          Cambridge Village, Vermont           0.0012481328%
                  VT45          Canaan Town, Vermont                 0.1359388349%
  Strictly Confidential
  Subject to Protective Order
                                                   G-274             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 412 of 611. PageID #: 572696
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  VT46          Castleton Town, Vermont              0.4255786906%
                  VT47          Cavendish Town, Vermont              0.0216955982%
                  VT48          Charleston Town, Vermont             0.0460098405%
                  VT49          Charlotte Town, Vermont              0.2587947007%
                  VT50          Chelsea Town, Vermont                0.0097511978%
                  VT51          Chester Town, Vermont                0.3719262791%
                  VT52          Chittenden County, Vermont           0.6721150355%
                  VT53          Chittenden Town, Vermont             0.0203372606%
                  VT54          Clarendon Town, Vermont              0.0632716198%
                  VT55          Colchester Town, Vermont             2.5489633597%
                  VT56          Concord Town, Vermont                0.0166940968%
                  VT57          Corinth Town, Vermont                0.0626872784%
                  VT58          Cornwall Town, Vermont               0.0577966224%
                  VT59          Coventry Town, Vermont               0.0376445314%
                  VT60          Craftsbury Town, Vermont             0.0501924950%
                  VT61          Danby Town, Vermont                  0.0082858591%
                  VT62          Danville Town, Vermont               0.0302198071%
                  VT63          Derby Center Village, Vermont        0.0488117321%
                  VT64          Derby Line Village, Vermont          0.0549242511%
                  VT65          Derby Town, Vermont                  0.5855806035%
                  VT66          Dorset Town, Vermont                 0.0697288490%
                  VT67          Dover Town, Vermont                  0.6426262960%
                  VT68          Dummerston Town, Vermont             0.0577133282%
                  VT69          East Haven Town, Vermont             0.0107321482%
                  VT70          East Montpelier Town, Vermont        0.1121807421%
                  VT71          Eden Town, Vermont                   0.0299596726%
                  VT72          Elmore Town, Vermont                 0.0195568572%
                  VT73          Enosburg Falls Village, Vermont      0.0515847910%
                  VT74          Enosburgh Town, Vermont              0.0873609676%
                  VT75          Essex County, Vermont                0.3791972294%
                  VT76          Essex Junction Village, Vermont      0.1451319610%
                  VT77          Essex Town, Vermont                  1.8402135758%
                  VT78          Fair Haven Town, Vermont             0.3879168595%
                  VT79          Fairfax Town, Vermont                0.1256334098%
                  VT80          Fairfield Town, Vermont              0.0981770508%
                  VT81          Fairlee Town, Vermont                0.0592042959%
                  VT82          Fayston Town, Vermont                0.0053417265%
                  VT83          Ferrisburgh Town, Vermont            0.1296046250%
                  VT84          Fletcher Town, Vermont               0.0216321664%
                  VT85          Franklin County, Vermont             1.4110871894%
                  VT86          Franklin Town, Vermont               0.0432643327%
                  VT87          Georgia Town, Vermont                0.2512668196%
                  VT88          Goshen Town, Vermont                 0.0148872515%
                  VT89          Grafton Town, Vermont                0.0220479971%
                  VT90          Grand Isle County, Vermont           0.4312958821%
  Strictly Confidential
  Subject to Protective Order
                                                   G-275             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 413 of 611. PageID #: 572697
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  VT91          Grand Isle Town, Vermont             0.1561992085%
                  VT92          Granville Town, Vermont              0.0131355086%
                  VT93          Greensboro Town, Vermont             0.2645567430%
                  VT94          Groton Town, Vermont                 0.0719938128%
                  VT95          Guildhall Town, Vermont              0.0155017070%
                  VT96          Guilford Town, Vermont               0.0032420698%
                  VT97          Halifax Town, Vermont                0.0155632167%
                  VT98          Hancock Town, Vermont                0.0534179060%
                  VT99          Hardwick Town, Vermont               0.7839350493%
                  VT100         Hartford Town, Vermont               3.2053851113%
                  VT101         Hartland Town, Vermont               0.0483504099%
                  VT102         Highgate Town, Vermont               0.2362905072%
                  VT103         Hinesburg Town, Vermont              0.2869757200%
                  VT104         Holland Town, Vermont                0.0010456636%
                  VT105         Hubbardton Town, Vermont             0.0632716198%
                  VT106         Huntington Town, Vermont             0.0422712086%
                  VT107         Hyde Park Town, Vermont              0.0374497510%
                  VT108         Hyde Park Village, Vermont           0.0025481644%
                  VT109         Ira Town, Vermont                    0.0067788733%
                  VT110         Irasburg Town, Vermont               0.0909740173%
                  VT111         Isle La Motte Town, Vermont          0.0520666164%
                  VT112         Jacksonville Village, Vermont        0.0061977355%
                  VT113         Jamaica Town, Vermont                0.0259384809%
                  VT114         Jay Town, Vermont                    0.0031369909%
                  VT115         Jeffersonville Village, Vermont      0.0039462269%
                  VT116         Jericho Town, Vermont                0.0422712086%
                  VT117         Johnson Town, Vermont                0.2812873611%
                  VT118         Johnson Village, Vermont             0.1616364031%
                  VT119         Killington Town, Vermont             0.2124125988%
                  VT120         Kirby Town, Vermont                  0.0008886859%
                  VT121         Lamoille County, Vermont             1.1151624597%
                  VT122         Landgrove Town, Vermont              0.0125511672%
                  VT123         Leicester Town, Vermont              0.0481639588%
                  VT124         Lincoln Town, Vermont                0.0718080025%
                  VT125         Londonderry Town, Vermont            0.0382589870%
                  VT126         Lowell Town, Vermont                 0.0481011678%
                  VT127         Ludlow Town, Vermont                 0.7209171567%
                  VT128         Ludlow Village, Vermont              0.2940730337%
                  VT129         Lunenburg Town, Vermont              0.0965880521%
                  VT130         Lyndon Town, Vermont                 0.4559618826%
                  VT131         Lyndonville Village, Vermont         0.0079994549%
                  VT132         Maidstone Town, Vermont              0.0214642963%
                  VT133         Manchester Town, Vermont             0.6972897719%
                  VT134         Manchester Village, Vermont          0.0076701221%
                  VT135         Marlboro Town, Vermont               0.0129695608%
  Strictly Confidential
  Subject to Protective Order
                                                   G-276             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 414 of 611. PageID #: 572698
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                 Qualifying Subdivision       Allocation
                  VT136         Marshfield Town, Vermont               0.0174828296%
                  VT137         Marshfield Village, Vermont            0.0171445266%
                  VT138         Mendon Town, Vermont                   0.0971672678%
                  VT139         Middlebury Town, Vermont               1.3520936922%
                  VT140         Middlesex Town, Vermont                0.0165114901%
                  VT141         Middletown Springs Town, Vermont       0.0587525845%
                  VT142         Milton Town, Vermont                   0.9332579943%
                  VT143         Monkton Town, Vermont                  0.0210170701%
                  VT144         Montgomery Town, Vermont               0.0432643327%
                  VT145         Montpelier City, Vermont               2.1358012840%
                  VT146         Moretown, Vermont                      0.0140831413%
                  VT147         Morgan Town, Vermont                   0.0271878951%
                  VT148         Morristown, Vermont                    0.5887893556%
                  VT149         Morrisville Village, Vermont           0.2266450291%
                  VT150         Mount Holly Town, Vermont              0.0918947396%
                  VT151         Mount Tabor Town, Vermont              0.0241034437%
                  VT152         New Haven Town, Vermont                0.1313563678%
                  VT153         Newbury Town, Vermont                  0.0536325490%
                  VT154         Newbury Village, Vermont               0.0020894051%
                  VT155         Newfane Town, Vermont                  0.0603069840%
                  VT156         Newfane Village, Vermont               0.0032420698%
                  VT157         Newport City, Vermont                  1.2443589426%
                  VT158         Newport Town, Vermont                  0.5761696308%
                  VT159         North Bennington Village, Vermont      0.1073823506%
                  VT160         North Hero Town, Vermont               0.0916986776%
                  VT161         North Troy Village, Vermont            0.0345075405%
                  VT162         Northfield Town, Vermont               0.5366215046%
                  VT163         Norton Town, Vermont                   0.0131169276%
                  VT164         Norwich Town, Vermont                  0.4866039276%
                  VT165         Old Bennington Village, Vermont        0.0014256137%
                  VT166         Orange County, Vermont                 0.5836866196%
                  VT167         Orange Town, Vermont                   0.0271641883%
                  VT168         Orleans County, Vermont                0.4475510820%
                  VT169         Orleans Village, Vermont               0.1150249216%
                  VT170         Orwell Town, Vermont                   0.0350284502%
                  VT171         Panton Town, Vermont                   0.0402823974%
                  VT172         Pawlet Town, Vermont                   0.0497138732%
                  VT173         Peacham Town, Vermont                  0.0373299353%
                  VT174         Perkinsville Village, Vermont          0.0463135443%
                  VT175         Peru Town, Vermont                     0.0034861862%
                  VT176         Pittsfield Town, Vermont               0.0090387113%
                  VT177         Pittsford Town, Vermont                0.2538406130%
                  VT178         Plainfield Town, Vermont               0.0684736682%
                  VT179         Plymouth Town, Vermont                 0.0681866233%
                  VT180         Pomfret Town, Vermont                  0.0750052216%
  Strictly Confidential
  Subject to Protective Order
                                                  G-277                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 415 of 611. PageID #: 572699
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  VT181         Poultney Town, Vermont               0.1634522185%
                  VT182         Poultney Village, Vermont            0.3218151562%
                  VT183         Pownal Town, Vermont                 0.1568905511%
                  VT184         Proctor Town, Vermont                0.1581796903%
                  VT185         Putney Town, Vermont                 0.1348803568%
                  VT186         Randolph Town, Vermont               1.0482675385%
                  VT187         Reading Town, Vermont                0.0006195813%
                  VT188         Readsboro Town, Vermont              0.0495075597%
                  VT189         Richford Town, Vermont               0.3377954850%
                  VT190         Richmond Town, Vermont               0.3085809759%
                  VT191         Ripton Town, Vermont                 0.0402823974%
                  VT192         Rochester Town, Vermont              0.1090982129%
                  VT193         Rockingham Town, Vermont             0.4824558723%
                  VT194         Roxbury Town, Vermont                0.0082557450%
                  VT195         Royalton Town, Vermont               0.1989804344%
                  VT196         Rutland City, Vermont                6.2978142029%
                  VT197         Rutland County, Vermont              1.5426293676%
                  VT198         Rutland Town, Vermont                0.3201255637%
                  VT199         Ryegate Town, Vermont                0.0515514733%
                  VT200         Salisbury Town, Vermont              0.0271468887%
                  VT201         Sandgate Town, Vermont               0.0257994435%
                  VT202         Saxtons River Village, Vermont       0.0156375408%
                  VT203         Searsburg Town, Vermont              0.0118540581%
                  VT204         Shaftsbury Town, Vermont             0.0697288490%
                  VT205         Sharon Town, Vermont                 0.1462910330%
                  VT206         Sheffield Town, Vermont              0.0302198071%
                  VT207         Shelburne Town, Vermont              0.7838991687%
                  VT208         Sheldon Town, Vermont                0.1372817951%
                  VT209         Shoreham Town, Vermont               0.0359043216%
                  VT210         Shrewsbury Town, Vermont             0.0323893028%
                  VT211         South Burlington City, Vermont       4.2811506559%
                  VT212         South Hero Town, Vermont             0.0559519744%
                  VT213         Springfield Town, Vermont            2.0400160607%
                  VT214         St Albans Town, Vermont              0.7155280165%
                  VT215         St George Town, Vermont              0.0117419312%
                  VT216         St Johnsbury Town, Vermont           1.7171904807%
                  VT217         St. Albans City, Vermont             3.9012902759%
                  VT218         Stamford Town, Vermont               0.0495075597%
                  VT219         Stannard Town, Vermont               0.0017773719%
                  VT220         Starksboro Town, Vermont             0.0070056900%
                  VT221         Stockbridge Town, Vermont            0.0737654182%
                  VT222         Stowe Town, Vermont                  0.9395659345%
                  VT223         Strafford Town, Vermont              0.0821896740%
                  VT224         Stratton Town, Vermont               0.1614672516%
                  VT225         Sudbury Town, Vermont                0.0135583873%
  Strictly Confidential
  Subject to Protective Order
                                                   G-278             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 416 of 611. PageID #: 572700
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  VT226         Sunderland Town, Vermont            0.0341673154%
                  VT227         Sutton Town, Vermont                0.0364412494%
                  VT228         Swanton Town, Vermont               0.1297936389%
                  VT229         Swanton Village, Vermont            0.5715903674%
                  VT230         Thetford Town, Vermont              0.2618926073%
                  VT231         Tinmouth Town, Vermont              0.0120520422%
                  VT232         Topsham Town, Vermont               0.0592042959%
                  VT233         Townshend Town, Vermont             0.0596585701%
                  VT234         Troy Town, Vermont                  0.0365988678%
                  VT235         Underhill Town, Vermont             0.0897092257%
                  VT236         Vergennes City, Vermont             1.4746932678%
                  VT237         Vernon Town, Vermont                0.3196917927%
                  VT238         Vershire Town, Vermont              0.0006964684%
                  VT239         Victory Town, Vermont               0.0095397585%
                  VT240         Waitsfield Town, Vermont            0.0485631307%
                  VT241         Walden Town, Vermont                0.0071107690%
                  VT242         Wallingford Town, Vermont           0.0165710775%
                  VT243         Waltham Town, Vermont               0.0201411987%
                  VT244         Warren Town, Vermont                0.0480774609%
                  VT245         Washington County, Vermont          0.9081281087%
                  VT246         Washington Town, Vermont            0.0529360806%
                  VT247         Waterbury Town, Vermont             0.4584350821%
                  VT248         Waterford Town, Vermont             0.0577729156%
                  VT249         Waterville Town, Vermont            0.0004158307%
                  VT250         Weathersfield Town, Vermont         0.1692264346%
                  VT251         Wells River Village, Vermont        0.1107474397%
                  VT252         Wells Town, Vermont                 0.0444407043%
                  VT253         West Burke Village, Vermont         0.0017773719%
                  VT254         West Fairlee Town, Vermont          0.0090547294%
                  VT255         West Haven Town, Vermont            0.0090387113%
                  VT256         West Rutland Town, Vermont          0.1212713522%
                  VT257         West Windsor Town, Vermont          0.0210760168%
                  VT258         Westfield Town, Vermont             0.0250965679%
                  VT259         Westford Town, Vermont              0.0657557117%
                  VT260         Westminster Town, Vermont           0.0752217867%
                  VT261         Westminster Village, Vermont        0.0079763888%
                  VT262         Westmore Town, Vermont              0.0365988678%
                  VT263         Weston Town, Vermont                0.0291344185%
                  VT264         Weybridge Town, Vermont             0.0245199151%
                  VT265         Wheelock Town, Vermont              0.0222203522%
                  VT266         Whiting Town, Vermont               0.0026269736%
                  VT267         Whitingham Town, Vermont            0.0901365894%
                  VT268         Williston Town, Vermont             1.4048183334%
                  VT269         Wilmington Town, Vermont            0.4344700351%
                  VT270         Windham County, Vermont             0.7048785219%
  Strictly Confidential
  Subject to Protective Order
                                                  G-279             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 417 of 611. PageID #: 572701
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                  VT271         Windham Town, Vermont               0.0155632167%
                  VT272         Windsor County, Vermont             0.7909631647%
                  VT273         Windsor Town, Vermont               1.5118803214%
                  VT274         Winhall Town, Vermont               0.3772340472%
                  VT275         Winooski City, Vermont              1.3620774732%
                  VT276         Wolcott Town, Vermont               0.0337047118%
                  VT277         Woodbury Town, Vermont              0.0267099141%
                  VT278         Woodford Town, Vermont              0.0383512514%
                  VT279         Woodstock Town, Vermont             0.5151181240%
                  VT280         Woodstock Village, Vermont          0.3241960913%
                  VT281         Worcester Town, Vermont             0.0233102258%




  Strictly Confidential
  Subject to Protective Order
                                                  G-280             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 418 of 611. PageID #: 572702
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                   VA1          Accomack County, Virginia            0.3480000000%
                   VA2          Albemarle County, Virginia           0.8630000000%
                   VA3          Alexandria City, Virginia            1.1620000000%
                   VA4          Alleghany County, Virginia           0.2130000000%
                   VA5          Amelia County, Virginia              0.1000000000%
                   VA6          Amherst County, Virginia             0.2990000000%
                   VA7          Appomattox County, Virginia          0.1330000000%
                   VA8          Arlington County, Virginia           1.3780000000%
                   VA9          Augusta County, Virginia             0.8350000000%
                  VA10          Bath County, Virginia                0.0370000000%
                  VA11          Bedford County, Virginia             0.7770000000%
                  VA12          Bland County, Virginia               0.1470000000%
                  VA13          Botetourt County, Virginia           0.3620000000%
                  VA14          Bristol City, Virginia               0.4340000000%
                  VA15          Brunswick County, Virginia           0.1070000000%
                  VA16          Buchanan County, Virginia            0.9290000000%
                  VA17          Buckingham County, Virginia          0.1270000000%
                  VA18          Buena Vista City, Virginia           0.0780000000%
                  VA19          Campbell County, Virginia            0.4560000000%
                  VA20          Caroline County, Virginia            0.3180000000%
                  VA21          Carroll County, Virginia             0.4400000000%
                  VA22          Charles City County, Virginia        0.0730000000%
                  VA23          Charlotte County, Virginia           0.1380000000%
                  VA24          Charlottesville City, Virginia       0.4630000000%
                  VA25          Chesapeake City, Virginia            2.9120000000%
                  VA26          Chesterfield County, Virginia        4.0880000000%
                  VA27          Clarke County, Virginia              0.1250000000%
                  VA28          Colonial Heights City, Virginia      0.2830000000%
                  VA29          Covington City, Virginia             0.1000000000%
                  VA30          Craig County, Virginia               0.0700000000%
                  VA31          Culpeper County, Virginia            0.7900000000%
                  VA32          Cumberland County, Virginia          0.1000000000%
                  VA33          Danville City, Virginia              0.6370000000%
                  VA34          Dickenson County, Virginia           0.9480000000%
                  VA35          Dinwiddie County, Virginia           0.1960000000%
                  VA36          Emporia City, Virginia               0.0500000000%
                  VA37          Essex County, Virginia               0.1010000000%
                  VA38          Fairfax City, Virginia               0.2690000000%
                  VA39          Fairfax County, Virginia             8.6720000000%
                  VA40          Falls Church City, Virginia          0.1020000000%
                  VA41          Fauquier County, Virginia            1.2100000000%
                  VA42          Floyd County, Virginia               0.1820000000%
                  VA43          Fluvanna County, Virginia            0.1940000000%
                  VA44          Franklin City, Virginia              0.0790000000%
                  VA45          Franklin County, Virginia            0.9540000000%
  Strictly Confidential
  Subject to Protective Order
                                                   G-281             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 419 of 611. PageID #: 572703
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  VA46          Frederick County, Virginia           1.2770000000%
                  VA47          Fredericksburg City, Virginia        0.5240000000%
                  VA48          Galax City, Virginia                 0.1390000000%
                  VA49          Giles County, Virginia               0.4090000000%
                  VA50          Gloucester County, Virginia          0.4240000000%
                  VA51          Goochland County, Virginia           0.2250000000%
                  VA52          Grayson County, Virginia             0.2240000000%
                  VA53          Greene County, Virginia              0.1780000000%
                  VA54          Greensville County, Virginia         0.1240000000%
                  VA55          Halifax County, Virginia             0.3530000000%
                  VA56          Hampton City, Virginia               1.5380000000%
                  VA57          Hanover County, Virginia             1.0790000000%
                  VA58          Harrisonburg City, Virginia          0.5230000000%
                  VA59          Henrico County, Virginia             4.4730000000%
                  VA60          Henry County, Virginia               1.2200000000%
                  VA61          Highland County, Virginia            0.0230000000%
                  VA62          Hopewell City, Virginia              0.3440000000%
                  VA63          Isle of Wight County, Virginia       0.3560000000%
                  VA64          James City County, Virginia          0.6120000000%
                  VA65          King and Queen County, Virginia      0.0720000000%
                  VA66          King George County, Virginia         0.3060000000%
                  VA67          King William County, Virginia        0.1780000000%
                  VA68          Lancaster County, Virginia           0.1350000000%
                  VA69          Lee County, Virginia                 0.5560000000%
                  VA70          Lexington City, Virginia             0.0930000000%
                  VA71          Loudoun County, Virginia             2.5670000000%
                  VA72          Louisa County, Virginia              0.4490000000%
                  VA73          Lunenburg County, Virginia           0.0880000000%
                  VA74          Lynchburg City, Virginia             0.8160000000%
                  VA75          Madison County, Virginia             0.1630000000%
                  VA76          Manassas City, Virginia              0.4520000000%
                  VA77          Manassas Park City, Virginia         0.0950000000%
                  VA78          Martinsville City, Virginia          0.4940000000%
                  VA79          Mathews County, Virginia             0.0880000000%
                  VA80          Mecklenburg County, Virginia         0.3440000000%
                  VA81          Middlesex County, Virginia           0.1080000000%
                  VA82          Montgomery County, Virginia          1.2050000000%
                  VA83          Nelson County, Virginia              0.1470000000%
                  VA84          New Kent County, Virginia            0.1560000000%
                  VA85          Newport News City, Virginia          2.0470000000%
                  VA86          Norfolk City, Virginia               3.3880000000%
                  VA87          Northampton County, Virginia         0.1220000000%
                  VA88          Northumberland County, Virginia      0.1290000000%
                  VA89          Norton City, Virginia                0.1100000000%
                  VA90          Nottoway County, Virginia            0.1330000000%
  Strictly Confidential
  Subject to Protective Order
                                                  G-282              Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 420 of 611. PageID #: 572704
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  VA91          Orange County, Virginia              0.6380000000%
                  VA92          Page County, Virginia                0.4100000000%
                  VA93          Patrick County, Virginia             0.3290000000%
                  VA94          Petersburg City, Virginia            0.3950000000%
                  VA95          Pittsylvania County, Virginia        0.7500000000%
                  VA96          Poquoson City, Virginia              0.1860000000%
                  VA97          Portsmouth City, Virginia            1.9370000000%
                  VA98          Powhatan County, Virginia            0.2620000000%
                  VA99          Prince Edward County, Virginia       0.1900000000%
                  VA100         Prince George County, Virginia       0.3510000000%
                  VA101         Prince William County, Virginia      3.5560000000%
                  VA102         Pulaski County, Virginia             1.0610000000%
                  VA103         Radford City, Virginia               0.2470000000%
                  VA104         Rappahannock County, Virginia        0.0910000000%
                  VA105         Richmond City, Virginia              4.2250000000%
                  VA106         Richmond County, Virginia            0.0840000000%
                  VA107         Roanoke City, Virginia               1.8590000000%
                  VA108         Roanoke County, Virginia             1.4980000000%
                  VA109         Rockbridge County, Virginia          0.2350000000%
                  VA110         Rockingham County, Virginia          0.6140000000%
                  VA111         Russell County, Virginia             1.0640000000%
                  VA112         Salem City, Virginia                 0.7860000000%
                  VA113         Scott County, Virginia               0.4210000000%
                  VA114         Shenandoah County, Virginia          0.6600000000%
                  VA115         Smyth County, Virginia               0.5920000000%
                  VA116         Southampton County, Virginia         0.1370000000%
                  VA117         Spotsylvania County, Virginia        1.4170000000%
                  VA118         Stafford County, Virginia            1.4430000000%
                  VA119         Staunton City, Virginia              0.4400000000%
                  VA120         Suffolk City, Virginia               0.7100000000%
                  VA121         Surry County, Virginia               0.0580000000%
                  VA122         Sussex County, Virginia              0.0810000000%
                  VA123         Tazewell County, Virginia            1.6060000000%
                  VA124         Virginia Beach City, Virginia        4.8590000000%
                  VA125         Warren County, Virginia              0.7660000000%
                  VA126         Washington County, Virginia          0.9960000000%
                  VA127         Waynesboro City, Virginia            0.3630000000%
                  VA128         Westmoreland County, Virginia        0.2230000000%
                  VA129         Williamsburg City, Virginia          0.0860000000%
                  VA130         Winchester City, Virginia            0.6490000000%
                  VA131         Wise County, Virginia                1.7560000000%
                  VA132         Wythe County, Virginia               0.6420000000%
                  VA133         York County, Virginia                0.5610000000%


  Strictly Confidential
  Subject to Protective Order
                                                   G-283             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 421 of 611. PageID #: 572705
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  WA1           Aberdeen City, Washington               0.2491525333%
                  WA2           Adams County, Washington                0.1638732475%
                  WA3           Anacortes City, Washington              0.1774962906%
                  WA4           Arlington City, Washington              0.2620524080%
                  WA5           Asotin County, Washington               0.4694498386%
                  WA6           Auburn City, Washington                 0.3251297029%
                  WA7           Bainbridge Island City, Washington      0.1364686014%
                  WA8           Battle Ground City, Washington          0.1384729857%
                  WA9           Bellevue City, Washington               1.1300592573%
                  WA10          Bellingham City, Washington             0.8978614577%
                  WA11          Benton County, Washington               1.4848831892%
                  WA12          Bonney Lake City, Washington            0.1190773864%
                  WA13          Bothell City, Washington                0.4476161304%
                  WA14          Bremerton City, Washington              0.6193374389%
                  WA15          Burien City, Washington                 0.0270962921%
                  WA16          Burlington City, Washington             0.1146861661%
                  WA17          Camas City, Washington                  0.2691592724%
                  WA18          Centralia City, Washington              0.1909990353%
                  WA19          Chelan County, Washington               0.7434914485%
                  WA20          Cheney City, Washington                 0.1238454349%
                  WA21          Clallam County, Washington              1.3076983401%
                  WA22          Clark County, Washington                4.5149775326%
                  WA23          Columbia County, Washington             0.0561699537%
                  WA24          Covington City, Washington              0.0118134406%
                  WA25          Cowlitz County, Washington              1.7226945990%
                  WA26          Des Moines City, Washington             0.1179764526%
                  WA27          Douglas County, Washington              0.3932175175%
                  WA28          East Wenatchee City, Washington         0.0799810865%
                  WA29          Edgewood City, Washington               0.0048016791%
                  WA30          Edmonds City, Washington                0.3058936009%
                  WA31          Ellensburg City, Washington             0.0955824915%
                  WA32          Enumclaw City, Washington               0.0537768326%
                  WA33          Everett City, Washington                1.9258363241%
                  WA34          Federal Way City, Washington            0.3061452240%
                  WA35          Ferndale City, Washington               0.0646101891%
                  WA36          Ferry County, Washington                0.1153487994%
                  WA37          Fife City, Washington                   0.1955185481%
                  WA38          Franklin County, Washington             0.3361237144%
                  WA39          Garfield County, Washington             0.0321982209%
                  WA40          Gig Harbor City, Washington             0.0859963345%
                  WA41          Grandview City, Washington              0.0530606109%
                  WA42          Grant County, Washington                0.9932572167%
                  WA43          Grays Harbor County, Washington         0.9992429138%
                  WA44          Island County, Washington               0.6820422610%
                  WA45          Issaquah City, Washington               0.1876240107%
  Strictly Confidential
  Subject to Protective Order
                                                   G-284                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 422 of 611. PageID #: 572706
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  WA46          Jefferson County, Washington            0.4417137380%
                  WA47          Kelso City, Washington                  0.1331145270%
                  WA48          Kenmore City, Washington                0.0204441024%
                  WA49          Kennewick City, Washington              0.5415650564%
                  WA50          Kent City, Washington                   0.5377397676%
                  WA51          King County, Washington                13.9743722662%
                  WA52          Kirkland City, Washington               0.5453525246%
                  WA53          Kitsap County, Washington               2.6294133668%
                  WA54          Kittitas County, Washington             0.3855704683%
                  WA55          Klickitat County, Washington            0.2211673457%
                  WA56          Lacey City, Washington                  0.2348627221%
                  WA57          Lake Forest Park City, Washington       0.0525439124%
                  WA58          Lake Stevens City, Washington           0.1385202891%
                  WA59          Lakewood City, Washington               0.5253640894%
                  WA60          Lewis County, Washington                1.0777377479%
                  WA61          Liberty Lake City, Washington           0.0389636519%
                  WA62          Lincoln County, Washington              0.1712669645%
                  WA63          Longview City, Washington               0.6162736905%
                  WA64          Lynden City, Washington                 0.0827115612%
                  WA65          Lynnwood City, Washington               0.7704629214%
                  WA66          Maple Valley City, Washington           0.0093761587%
                  WA67          Marysville City, Washington             0.3945067827%
                  WA68          Mason County, Washington                0.8089918012%
                  WA69          Mercer Island City, Washington          0.1751797481%
                  WA70          Mill Creek City, Washington             0.1227939546%
                  WA71          Monroe City, Washington                 0.1771621898%
                  WA72          Moses Lake City, Washington             0.2078293909%
                  WA73          Mount Vernon City, Washington           0.2801063665%
                  WA74          Mountlake Terrace City, Washington      0.2108935805%
                  WA75          Mukilteo City, Washington               0.2561790702%
                  WA76          Newcastle City, Washington              0.0033117880%
                  WA77          Oak Harbor City, Washington             0.2511550431%
                  WA78          Okanogan County, Washington             0.6145043345%
                  WA79          Olympia City, Washington                0.6039423385%
                  WA80          Pacific County, Washington              0.4895416466%
                  WA81          Pasco City, Washington                  0.4278056066%
                  WA82          Pend Oreille County, Washington         0.2566374940%
                  WA83          Pierce County, Washington               7.2310164020%
                  WA84          Port Angeles City, Washington           0.4598370527%
                  WA85          Port Orchard City, Washington           0.1009497162%
                  WA86          Poulsbo City, Washington                0.0773748246%
                  WA87          Pullman City, Washington                0.2214837491%
                  WA88          Puyallup City, Washington               0.3845704814%
                  WA89          Redmond City, Washington                0.4839486007%
                  WA90          Renton City, Washington                 0.7652626920%
  Strictly Confidential
  Subject to Protective Order
                                                   G-285                Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 423 of 611. PageID #: 572707
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID                Qualifying Subdivision        Allocation
                  WA91          Richland City, Washington              0.4756779517%
                  WA92          Sammamish City, Washington             0.0224369090%
                  WA93          San Juan County, Washington            0.2101495171%
                  WA94          Seatac City, Washington                0.1481551278%
                  WA95          Seattle City, Washington               6.6032403816%
                  WA96          Sedro-Woolley City, Washington         0.0661146351%
                  WA97          Shelton City, Washington               0.1239179888%
                  WA98          Shoreline City, Washington             0.0435834501%
                  WA99          Skagit County, Washington              1.0526023961%
                 WA100          Skamania County, Washington            0.1631931925%
                 WA101          Snohomish City, Washington             0.0861097964%
                 WA102          Snohomish County, Washington           6.9054415622%
                 WA103          Snoqualmie City, Washington            0.0649164481%
                 WA104          Spokane City, Washington               3.0872078287%
                 WA105          Spokane County, Washington             5.5623859292%
                 WA106          Spokane Valley City, Washington        0.0684217500%
                 WA107          Stevens County, Washington             0.7479240179%
                 WA108          Sumner City, Washington                0.1083157569%
                 WA109          Sunnyside City, Washington             0.1213478384%
                 WA110          Tacoma City, Washington                3.2816374617%
                 WA111          Thurston County, Washington            2.3258492094%
                 WA112          Tukwila City, Washington               0.3032205739%
                 WA113          Tumwater City, Washington              0.2065982350%
                 WA114          University Place City, Washington      0.0353733363%
                 WA115          Vancouver City, Washington             1.7306605325%
                 WA116          Wahkiakum County, Washington           0.0596582197%
                 WA117          Walla Walla City, Washington           0.3140768654%
                 WA118          Walla Walla County, Washington         0.5543870294%
                 WA119          Washougal City, Washington             0.1279328220%
                 WA120          Wenatchee City, Washington             0.2968333494%
                 WA121          West Richland City, Washington         0.0459360490%
                 WA122          Whatcom County, Washington             1.3452637306%
                 WA123          Whitman County, Washington             0.2626805837%
                 WA124          Woodinville City, Washington           0.0185516364%
                 WA125          Yakima City, Washington                0.6060410539%
                 WA126          Yakima County, Washington              1.9388392959%




  Strictly Confidential
  Subject to Protective Order
                                                   G-286               Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 424 of 611. PageID #: 572708
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                 Consolidated State
                 State ID               Qualifying Subdivision      Allocation
                   WI1          Adams County, Wisconsin             0.3539826114%
                   WI2          Allouez Village, Wisconsin          0.0364065509%
                   WI3          Appleton City, Wisconsin            0.4114667620%
                   WI4          Ashland County, Wisconsin           0.2432046157%
                   WI5          Ashwaubenon Village, Wisconsin      0.1072921122%
                   WI6          Baraboo City, Wisconsin             0.1003738008%
                   WI7          Barron County, Wisconsin            0.5168889754%
                   WI8          Bayfield County, Wisconsin          0.1340780272%
                   WI9          Beaver Dam City, Wisconsin          0.0944057751%
                  WI10          Bellevue Village, Wisconsin         0.0229516847%
                  WI11          Beloit City, Wisconsin              0.3512027602%
                  WI12          Brookfield City, Wisconsin          0.4764355795%
                  WI13          Brown County, Wisconsin             2.1876273593%
                  WI14          Brown Deer Village, Wisconsin       0.1707529831%
                  WI15          Buffalo County, Wisconsin           0.1363182508%
                  WI16          Burlington City, Wisconsin          0.0610872500%
                  WI17          Burnett County, Wisconsin           0.2421334915%
                  WI18          Caledonia Village, Wisconsin        0.1678125237%
                  WI19          Calumet County, Wisconsin           0.2999279099%
                  WI20          Cedarburg City, Wisconsin           0.0587213575%
                  WI21          Chippewa County, Wisconsin          0.6072501596%
                  WI22          Chippewa Falls City, Wisconsin      0.1274926861%
                  WI23          Clark County, Wisconsin             0.2828726816%
                  WI24          Columbia County, Wisconsin          1.0633436366%
                  WI25          Crawford County, Wisconsin          0.2112650675%
                  WI26          Cudahy City, Wisconsin              0.1964932941%
                  WI27          Dane County, Wisconsin              5.7548120228%
                  WI28          De Pere City, Wisconsin             0.1071379443%
                  WI29          Deforest Village, Wisconsin         0.0446194695%
                  WI30          Dodge County, Wisconsin             1.2449899653%
                  WI31          Door County, Wisconsin              0.3054080730%
                  WI32          Douglas County, Wisconsin           0.3997675574%
                  WI33          Dunn County, Wisconsin              0.3969720077%
                  WI34          Eau Claire City, Wisconsin          0.5243168859%
                  WI35          Eau Claire County, Wisconsin        0.7687161212%
                  WI36          Elkhorn City, Wisconsin             0.0421618814%
                  WI37          Fitchburg City, Wisconsin           0.1511282642%
                  WI38          Florence County, Wisconsin          0.0575922694%
                  WI39          Fond Du Lac City, Wisconsin         0.2676816361%
                  WI40          Fond Du Lac County, Wisconsin       1.0148434047%
                  WI41          Forest County, Wisconsin            0.1369374982%
                  WI42          Fort Atkinson City, Wisconsin       0.0545524663%
                  WI43          Franklin City, Wisconsin            0.3508530448%
                  WI44          Germantown Village, Wisconsin       0.1378229770%
                  WI45          Glendale City, Wisconsin            0.2083465860%
  Strictly Confidential
  Subject to Protective Order
                                                  G-287             Rule 408 Settlement Communication
Case: 1:17-md-02804-DAP Doc #: 4301-2 Filed: 03/11/22 425 of 611. PageID #: 572709
             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                     Consolidated State
                 State ID                Qualifying Subdivision         Allocation
                  WI46          Grafton Village, Wisconsin              0.0630876480%
                  WI47          Grand Chute Town, Wisconsin             0.0981532206%
                  WI48          Grant County, Wisconsin                 0.4925137943%
                  WI49          Green Bay City, Wisconsin               0.6017431882%
                  WI50          Green County, Wisconsin                 0.4453202454%
                  WI51          Green Lake County, Wisconsin            0.3030758318%
                  WI52          Greendale Village, Wisconsin            0.1593105907%
                  WI53          Greenfield City, Wisconsin              0.3698346866%
                  WI54          Greenville Town, Wisconsin              0.0065174750%
                  WI55          Harrison Village, Wisconsin             0.0499494900%
                  WI56          Hartford City, Wisconsin                0.1646219340%
                  WI57          Hobart Village, Wisconsin               0.0161664488%
                  WI58          Holmen Village, Wisconsin               0.0200422199%
                  WI59          Howard Village, Wisconsin               0.0347231027%
                  WI60          Hudson City, Wisconsin                  0.0917895108%
                  WI61          Iowa County, Wisconsin                  0.3016718982%
                  WI62          Iron County, Wisconsin                  0.0664646881%
                  WI63          Jackson County, Wisconsin               0.2549817495%
                  WI64          Janesville City, Wisconsin              0.4390034703%
                  WI65          Jefferson County, Wisconsin             0.9828345413%
                  WI66          Juneau County, Wisconsin                0.4738086080%
                  WI67          Kaukauna City, Wisconsin                0.0775435182%
                  WI68          Kenosha City, Wisconsin                 1.0992665916%
                  WI69          Kenosha County, Wisconsin               2.7422496145%
                  WI70          Kewaunee County, Wisconsin              0.1687551613%
                  WI71          La Crosse City, Wisconsin               0.3964917930%
                  WI72          La Crosse County, Wisconsin             1.2899921574%
                  WI73          Lafayette County, Wisconsin             0.1453833994%
                  WI74          Langlade County, Wisconsin              0.3381358495%
                  WI75          Lincoln County, Wisconsin               0.3782885578%
                  WI76          Lisbon Town, Waukesha County,           0.0279870555%
                                Wisconsin
                  WI77          Little Chute Village, Wisconsin         0.0624518969%
                  WI78          Madison City, Wisconsin                 2.5036464454%
                  WI79          Manitowoc City, Wisconsin               0.3724323541%
                  WI80          Manitowoc County, Wisconsin             1.0133686264%
                  WI81          Marathon County, Wisconsin              1.1626658759%
                  WI82          Marinette City, Wisconsin               0.0726524131%
                  WI83          Marinette County, Wisconsin             0.4719162483%
                  WI84          Marquette County, Wisconsin             0.2667411722%
                  WI85          Marshfield City, Wisconsin              0.1135613891%
                  WI86          Menasha City, Wisconsin                 0.1388231760%
                  WI87          Menominee County, Wisconsin             0.0863820442%
                  WI88          Menomonee Falls Village, Wisconsin      0.3634031913%
                  WI89          Menomonie City, Wisconsin               0.0817211845%
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                                                  G-288                 Rule 408 Settlement Communication
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             Allocations are subject to change pursuant to a State-Subdivision        DRAFT - 12/13/2021
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution. Subject to Revision

            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                      Consolidated State
                 State ID                Qualifying Subdivision          Allocation
                  WI90          Mequon City, Wisconsin                   0.1095235606%
                  WI91          Middleton City, Wisconsin                0.1145855787%
                  WI92          Milwaukee City, Wisconsin                9.1159131069%
                  WI93          Milwaukee County, Wisconsin             16.4028742863%
                  WI94          Monroe City, Wisconsin                   0.0594074245%
                  WI95          Monroe County, Wisconsin                 0.7090799004%
                  WI96          Mount Pleasant Village, Wisconsin        0.2651329964%
                  WI97          Muskego City, Wisconsin                  0.1651741204%
                  WI98          Neenah City, Wisconsin                   0.1941360157%
                  WI99          New Berlin City, Wisconsin               0.3772201708%
                  WI100         Oak Creek City, Wisconsin                0.3762235945%
                  WI101         Oconomowoc City, Wisconsin               0.1405908329%
                  WI102         Oconto County, Wisconsin                 0.3635521263%
                  WI103         Onalaska City, Wisconsin                 0.0774998037%
                  WI104         Oneida County, Wisconsin                 0.5696290238%
                  WI105         Oregon Village, Wisconsin                0.0401542379%
                  WI106         Oshkosh City, Wisconsin                  0.4203192154%
                  WI107         Outagamie County, Wisconsin              1.3944066849%
                  WI108         Ozaukee County, Wisconsin                0.8258009651%
                  WI109         Pepin County, Wisconsin                  0.0598605088%
                  WI110         Pewaukee City, Wisconsin                 0.1440703565%
                  WI111         Pierce County, Wisconsin                 0.3481187596%
                  WI112         Platteville City, Wisconsin              0.0459707525%
                  WI113         Pleasant Prairie Village, Wisconsin      0.1344307213%
                  WI114         Plover Village, Wisconsin                0.0446643110%
                  WI115         Polk County, Wisconsin                   0.4931608967%
                  WI116         Port Washington City, Wisconsin          0.0637185687%
                  WI117         Portage City, Wisconsin                  0.1006063809%
                  WI118         Portage County, Wisconsin                0.5836747191%
                  WI119         Price County, Wisconsin                  0.1610607779%
                  WI120         Racine City, Wisconsin                   1.0092007012%
                  WI121         Racine County, Wisconsin                 1.9065713624%
                  WI122         Richfield Village, Wisconsin             0.0186662217%
                  WI123         Richland County, Wisconsin               0.2356572352%
                  WI124         River Falls City, Wisconsin              0.0877693936%
                  WI125         Rock County, Wisconsin                   2.3992005209%
                  WI126         Rusk County, Wisconsin                   0.1716256616%
                  WI127         Salem Lake Village, Wisconsin            0.0405320497%
                  WI128         Sauk County, Wisconsin                   1.2267818193%
                  WI129         Sawyer County, Wisconsin                 0.2791850516%
                  WI130         Shawano County, Wisconsin                0.4526477657%
                  WI131         Sheboygan City, Wisconsin                0.3650322984%
                  WI132         Sheboygan County, Wisconsin              1.1603077120%
                  WI133         Shorewood Village, Wisconsin             0.1285372436%
                  WI134         South Milwaukee City, Wisconsin          0.2175909397%
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                                                    G-289                Rule 408 Settlement Communication
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            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                    Consolidated State
                 State ID               Qualifying Subdivision         Allocation
                  WI135         St Croix County, Wisconsin             0.7889227331%
                  WI136         Stevens Point City, Wisconsin          0.1603264883%
                  WI137         Stoughton City, Wisconsin              0.0636622954%
                  WI138         Sturtevant Village, Wisconsin          0.0411526658%
                  WI139         Suamico Village, Wisconsin             0.0245580893%
                  WI140         Sun Prairie City, Wisconsin            0.1451363284%
                  WI141         Superior City, Wisconsin               0.1995624012%
                  WI142         Sussex Village, Wisconsin              0.0294999128%
                  WI143         Taylor County, Wisconsin               0.1716812103%
                  WI144         The Village of Fox Crossing Town,      0.0686441301%
                                Wisconsin
                  WI145         Trempealeau County, Wisconsin          0.3459854472%
                  WI146         Two Rivers City, Wisconsin             0.1321281061%
                  WI147         Union Grove Village, Wisconsin         0.0164475736%
                  WI148         Vernon County, Wisconsin               0.3487603876%
                  WI149         Verona City, Wisconsin                 0.0648935449%
                  WI150         Vilas County, Wisconsin                0.5066046531%
                  WI151         Walworth County, Wisconsin             1.6010359299%
                  WI152         Washburn County, Wisconsin             0.2002270537%
                  WI153         Washington County, Wisconsin           1.5480789194%
                  WI154         Watertown City, Wisconsin              0.1250321998%
                  WI155         Waukesha City, Wisconsin               0.7603151420%
                  WI156         Waukesha County, Wisconsin             4.0465495927%
                  WI157         Waunakee Village, Wisconsin            0.0434539124%
                  WI158         Waupaca County, Wisconsin              0.6558379814%
                  WI159         Waupun City, Wisconsin                 0.0414414386%
                  WI160         Wausau City, Wisconsin                 0.1590274533%
                  WI161         Waushara County, Wisconsin             0.2497979268%
                  WI162         Wauwatosa City, Wisconsin              0.7022606912%
                  WI163         West Allis City, Wisconsin             0.8584898575%
                  WI164         West Bend City, Wisconsin              0.2859199717%
                  WI165         Weston Village, Wisconsin              0.0363732217%
                  WI166         Whitefish Bay Village, Wisconsin       0.1209363270%
                  WI167         Whitewater City, Wisconsin             0.0747939370%
                  WI168         Winnebago County, Wisconsin            1.5366593101%
                  WI169         Wisconsin Rapids City, Wisconsin       0.1121055295%
                  WI170         Wood County, Wisconsin                 0.6892411981%
                  WI171         Yorkville Town, Wisconsin              0.0046680247%




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            Subdivisions with Consolidated Allocations - Qualified Subdivisions Only

                                                                  Consolidated State
                 State ID                Qualifying Subdivision      Allocation
                  WY1           Albany County, Wyoming               1.6329876137%
                  WY2           Big Horn County, Wyoming             3.0324432485%
                  WY3           Campbell County, Wyoming             4.4393335213%
                  WY4           Carbon County, Wyoming               3.6968556043%
                  WY5           Casper City, Wyoming                 7.3503611059%
                  WY6           Cheyenne City, Wyoming               1.2286265328%
                  WY7           Converse County, Wyoming             1.8962432493%
                  WY8           Crook County, Wyoming                0.5448669885%
                  WY9           Evanston City, Wyoming               1.9702405199%
                  WY10          Fremont County, Wyoming              6.7374838437%
                  WY11          Gillette City, Wyoming               1.7410635670%
                  WY12          Goshen County, Wyoming               1.6361202905%
                  WY13          Green River City, Wyoming            0.6122218672%
                  WY14          Hot Springs County, Wyoming          0.8557309329%
                  WY15          Jackson Town, Wyoming                0.5598544963%
                  WY16          Johnson County, Wyoming              0.9322427236%
                  WY17          Laramie City, Wyoming                3.4181078811%
                  WY18          Laramie County, Wyoming             15.5855269922%
                  WY19          Lincoln County, Wyoming              3.1228011914%
                  WY20          Natrona County, Wyoming              7.9000169472%
                  WY21          Niobrara County, Wyoming             0.1540280861%
                  WY22          Park County, Wyoming                 5.7964268009%
                  WY23          Platte County, Wyoming               1.7507027157%
                  WY24          Riverton City, Wyoming               1.2744483314%
                  WY25          Rock Springs City, Wyoming           1.5261479738%
                  WY26          Sheridan City, Wyoming               0.3405187102%
                  WY27          Sheridan County, Wyoming             3.9149494912%
                  WY28          Sublette County, Wyoming             0.7136740477%
                  WY29          Sweetwater County, Wyoming           7.6391306020%
                  WY30          Teton County, Wyoming                1.3290900349%
                  WY31          Uinta County, Wyoming                4.3911508108%
                  WY32          Washakie County, Wyoming             1.5007597928%
                  WY33          Weston County, Wyoming               0.7758434851%




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                                                           DISTRIBUTORS’ 12.23.21
                                                                 EXHIBIT UPDATES


                                                                 EXHIBIT H

                                                 Participation Tier Determination1

                                                                                                                    Percentage of
                                                Percentage of Litigating Subdivisions              Primary Subdivisions that are Non-Litigating
                                                       in Settling States that are                    Subdivisions in Settling States that are
                                                      Participating Subdivisions                                    Participating
                           Number                 and/or Subdivisions Subject to a                   Subdivisions and/or Subdivisions Subject
                    of Settling States as         Bar, Case-Specific Resolution, or                    to a Bar, Case-Specific Resolution, or
                      of the Reference               Settlement Class Resolution                                   Settlement Class
                     Date (or as of the         in effect as of the Reference Date (or              Resolution in effect as of the Reference Date
                       Payment Date,            as of the Payment Date, beginning in                 (or as of the Payment Date, beginning in
Participation           beginning in             Payment Year 3)4 5 (“Percentage of                   Payment Year 3) (“Percentage of Non-
   Tier2             Payment Year 3)3                  Litigating Subdivisions”)                              Litigating Subdivisions”)
      1                  44 out of 49                              95%                                                   90%
                                                                                                             (Primary Subdivisions only)

        2                45 out of 49                                96%                                                  96%
                                                                                                               (Primary Subdivisions only)

        3                46 out of 49                                97%                                                  97%
                                                                                                               (Primary Subdivisions only)
        4                48 out of 49                                98%                                                  97%
                                                                                                               (Primary Subdivisions only)


    1       For the avoidance of doubt, the determinations that a sufficient number of states have agreed to be Settling States and there
            has been sufficient resolution of the Claims of the Litigating Subdivisions in the Settling States as described in the preamble,
            Section II.A and Section VIII.A remain in the sole discretion of the Settling Distributors.
    2       In order to qualify for the relevant tier, the minimum amounts listed in each of the “Number of Settling States,” “Percentage
            of Litigating Subdivisions,” and “Percentage of Non-Litigating Primary Subdivisions” columns must be met or surpassed.
    3       For the sole purpose of the Participation Tier determination under this Exhibit H, the States used to calculate each criterion
            (including the Percentage of Litigating Subdivisions and Percentage of Non-Litigating Subdivisions) will include each of the
            50 states in the United States, except West Virginia, for a total of 49 states. For the avoidance of doubt, notwithstanding the
            definition of “State” in Section I.TTT or Exhibit F, neither Washington, D.C., nor any territory of the United States will be
            included for purposes of determining the participation tier under this Exhibit H.
    4       School Districts, Health Districts, Hospital Districts, Library Districts and Fire Districts that satisfy the definition of
            Litigating Subdivision will be included for purposes of determining the Percentage of Litigating Subdivisions. These
            categories of Special District shall have their population measured as set forth in Section XIV.B. Any other Special
            Districts that satisfy the definition of Litigating Subdivisions will not be included for purposes of calculating the
            Participation Tier.
            The Percentage of Litigating Subdivisions and Percentage of Non-Litigating Primary Subdivisions will be calculated as
            follows: each Litigating Subdivision and each Non-Litigating Subdivision in the 49 states used to calculate the Participation
            Tier will be assigned a metric reflecting both population and severity (the “Population-Severity Metric”). The Population-
            Severity Metric shall be the Subdivision’s population plus the Subdivision’s population multiplied by the severity factor for
            the State of the Subdivision (the severity factors for each State are attached as Exhibit X hereto) and then divided in two,
            thus giving fifty percent (50%) weight to each of population and population multiplied by the severity factor. The
            denominator for each Percentage shall be the sum total of the Population-Severity Metric for all the Subdivisions in the
            relevant category (Litigating Subdivisions or Non-Litigating Primary Subdivisions) in the Settling States, notwithstanding
            that persons may be included within the population (and therefore the Population-Severity Metric) of more than one
            Subdivision. The numerator will be the sum total of the Population-Severity Metrics of all Subdivisions in the relevant
            category of Subdivision (i.e., Litigating Subdivisions or Non-Litigating Subdivisions that are also Primary Subdivisions) in
            the Settling States that are either Participating Subdivisions or are subject to a Bar, Case-Specific Resolution, or Settlement
            Class Resolution, notwithstanding that persons may be included within the population of more than one Subdivision. An



                                                                        H-1
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     individual Litigating Subdivision shall not be included more than once in the numerator, and shall not be included more than
     once in the denominator, of the calculation regardless if it (or any of its officials) is named as multiple plaintiffs in the same
     lawsuit; provided, however, that for the avoidance of doubt, no Litigating Subdivision will be excluded from the numerator
     or denominator under this sentence unless a Litigating Subdivision otherwise counted in the denominator has the authority
     to release the Claims (consistent with Section XI) of the Litigating Subdivision to be excluded.
     For the avoidance of doubt, Subdivisions in Non-Settling States are excluded from both the denominator and numerator of
     the calculations for the Percentage of Litigating Subdivisions and Percentage of Non-Litigating Primary Subdivisions.
 5   During the period when the Participation Tier is redetermined annually, Later Participating Subdivisions described in
     Section VII.E.3 or Section VII.E.4 shall not be included as Participating Subdivisions, and for Subdivisions subject to a Bar,
     Case-Specific Resolution, or Settlement Class Resolution to be included, the Bar, Case-Specific Resolution, or Settlement
     Class Resolution must have been in effect both as of the relevant Payment Date and for the entire period since the prior
     Payment Date.




                                                                H-2
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                                                          EXHIBIT I

                                                  Primary Subdivisions16


1.         Alabaster city, Alabama *        45.     Prattville city, Alabama *         90.     Henry County, Alabama
2.         Auburn city, Alabama *           46.     Russell County, Alabama *          91.     Homewood city, Alabama
3.         Autauga County, Alabama *        47.     Shelby County, Alabama *           92.     Hueytown city, Alabama
4.         Baldwin County, Alabama *        48.     St. Clair County, Alabama *        93.     Irondale city, Alabama
5.         Birmingham city, Alabama *       49.     Talladega County, Alabama *        94.     Jacksonville city, Alabama
6.         Blount County, Alabama *         50.     Tallapoosa County, Alabama *       95.     Jasper city, Alabama
7.         Calhoun County, Alabama *        51.     Tuscaloosa city, Alabama *         96.     Lamar County, Alabama
8.         Chambers County, Alabama *       52.     Tuscaloosa County, Alabama         97.     Leeds city, Alabama
9.         Chilton County, Alabama *                *                                  98.     Macon County, Alabama
10.        Coffee County, Alabama *         53.     Vestavia Hills city, Alabama *     99.     Marengo County, Alabama
11.        Colbert County, Alabama *        54.     Walker County, Alabama *           100.    Marion County, Alabama
12.        Covington County, Alabama *      55.     Albertville city, Alabama          101.    Millbrook city, Alabama
13.        Cullman County, Alabama *        56.     Alexander City city, Alabama       102.    Monroe County, Alabama
14.        Dale County, Alabama *           57.     Anniston city, Alabama             103.    Moody city, Alabama
15.        Dallas County, Alabama *         58.     Athens city, Alabama               104.    Mountain Brook city,
16.        Decatur city, Alabama *          59.     Barbour County, Alabama                    Alabama
17.        DeKalb County, Alabama *         60.     Bessemer city, Alabama             105.    Muscle Shoals city, Alabama
18.        Dothan city, Alabama *           61.     Bibb County, Alabama               106.    Northport city, Alabama
19.        Elmore County, Alabama *         62.     Bullock County, Alabama            107.    Oxford city, Alabama
20.        Escambia County, Alabama *       63.     Butler County, Alabama             108.    Ozark city, Alabama
21.        Etowah County, Alabama *         64.     Calera city, Alabama               109.    Pelham city, Alabama
22.        Florence city, Alabama *         65.     Center Point city, Alabama         110.    Pell City city, Alabama
23.        Franklin County, Alabama *       66.     Chelsea city, Alabama              111.    Pickens County, Alabama
24.        Gadsden city, Alabama *          67.     Cherokee County, Alabama           112.    Pike Road town, Alabama
25.        Hoover city, Alabama *           68.     Choctaw County, Alabama            113.    Prichard city, Alabama
26.        Houston County, Alabama *        69.     Clarke County, Alabama             114.    Randolph County, Alabama
27.        Huntsville city, Alabama *       70.     Clay County, Alabama               115.    Saraland city, Alabama
28.        Jackson County, Alabama *        71.     Cleburne County, Alabama           116.    Scottsboro city, Alabama
29.        Jefferson County, Alabama *      72.     Conecuh County, Alabama            117.    Selma city, Alabama
30.        Lauderdale County, Alabama       73.     Coosa County, Alabama              118.    Sumter County, Alabama
           *                                74.     Crenshaw County, Alabama           119.    Sylacauga city, Alabama
31.        Lawrence County, Alabama *       75.     Cullman city, Alabama              120.    Talladega city, Alabama
32.        Lee County, Alabama *            76.     Daphne city, Alabama               121.    Troy city, Alabama
33.        Limestone County, Alabama *      77.     Enterprise city, Alabama           122.    Trussville city, Alabama
34.        Madison city, Alabama *          78.     Eufaula city, Alabama              123.    Washington County, Alabama
35.        Madison County, Alabama *        79.     Fairfield city, Alabama            124.    Wilcox County, Alabama
36.        Marshall County, Alabama *       80.     Fairhope city, Alabama             125.    Winston County, Alabama
37.        Mobile city, Alabama *           81.     Fayette County, Alabama            126.    Anchorage municipality,
38.        Mobile County, Alabama *         82.     Foley city, Alabama                        Alaska *
39.        Montgomery city, Alabama *       83.     Fort Payne city, Alabama           127.    Fairbanks city, Alaska *
40.        Montgomery County,               84.     Gardendale city, Alabama           128.    Fairbanks North Star Borough,
           Alabama *                        85.     Geneva County, Alabama                     Alaska *
41.        Morgan County, Alabama *         86.     Gulf Shores city, Alabama          129.    Juneau city and borough,
42.        Opelika city, Alabama *          87.     Hale County, Alabama                       Alaska *
43.        Phenix City city, Alabama *      88.     Hartselle city, Alabama            130.    Kenai Peninsula Borough,
44.        Pike County, Alabama *           89.     Helena city, Alabama                       Alaska *

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        Entities denoted with an asterisk (*) indicate a population of greater than 30,000 for purposes of the definition of
      Primary Subdivision as it relates to Incentive Payment C.


                                                                I-1
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131.   Matanuska-Susitna Borough,      180.   Coolidge city, Arizona          230.   Ashley County, Arkansas
       Alaska *                        181.   Cottonwood city, Arizona        231.   Batesville city, Arkansas
132.   Ketchikan Gateway Borough,      182.   Douglas city, Arizona           232.   Bella Vista city, Arkansas
       Alaska                          183.   Eloy city, Arizona              233.   Blytheville city, Arkansas
133.   Kodiak Island Borough,          184.   Florence town, Arizona          234.   Bradley County, Arkansas
       Alaska                          185.   Fountain Hills town, Arizona    235.   Bryant city, Arkansas
134.   Wasilla city, Alaska            186.   La Paz County, Arizona          236.   Cabot city, Arkansas
135.   Apache County, Arizona *        187.   Nogales city, Arizona           237.   Camden city, Arkansas
136.   Apache Junction city, Arizona   188.   Paradise Valley town, Arizona   238.   Carroll County, Arkansas
       *                               189.   Payson town, Arizona            239.   Centerton city, Arkansas
137.   Avondale city, Arizona *        190.   Sedona city, Arizona            240.   Chicot County, Arkansas
138.   Buckeye city, Arizona *         191.   Show Low city, Arizona          241.   Clark County, Arkansas
139.   Bullhead City city, Arizona *   192.   Somerton city, Arizona          242.   Clay County, Arkansas
140.   Casa Grande city, Arizona *     193.   Baxter County, Arkansas *       243.   Cleburne County, Arkansas
141.   Chandler city, Arizona *        194.   Benton city, Arkansas *         244.   Columbia County, Arkansas
142.   Cochise County, Arizona *       195.   Benton County, Arkansas *       245.   Conway County, Arkansas
143.   Coconino County, Arizona *      196.   Bentonville city, Arkansas *    246.   Cross County, Arkansas
144.   El Mirage city, Arizona *       197.   Boone County, Arkansas *        247.   Desha County, Arkansas
145.   Flagstaff city, Arizona *       198.   Conway city, Arkansas *         248.   Drew County, Arkansas
146.   Gila County, Arizona *          199.   Craighead County, Arkansas *    249.   El Dorado city, Arkansas
147.   Gilbert town, Arizona *         200.   Crawford County, Arkansas *     250.   Forrest City city, Arkansas
148.   Glendale city, Arizona *        201.   Crittenden County, Arkansas *   251.   Franklin County, Arkansas
149.   Goodyear city, Arizona *        202.   Faulkner County, Arkansas *     252.   Fulton County, Arkansas
150.   Graham County, Arizona *        203.   Fayetteville city, Arkansas *   253.   Grant County, Arkansas
151.   Kingman city, Arizona *         204.   Fort Smith city, Arkansas *     254.   Harrison city, Arkansas
152.   Lake Havasu City city,          205.   Garland County, Arkansas *      255.   Helena-West Helena city,
       Arizona *                       206.   Greene County, Arkansas *              Arkansas
153.   Marana town, Arizona *          207.   Hot Spring County, Arkansas     256.   Hempstead County, Arkansas
154.   Maricopa city, Arizona *               *                               257.   Howard County, Arkansas
155.   Maricopa County, Arizona *      208.   Hot Springs city, Arkansas *    258.   Izard County, Arkansas
156.   Mesa city, Arizona *            209.   Independence County,            259.   Jackson County, Arkansas
157.   Mohave County, Arizona *               Arkansas *                      260.   Jacksonville city, Arkansas
158.   Navajo County, Arizona *        210.   Jefferson County, Arkansas *    261.   Johnson County, Arkansas
159.   Oro Valley town, Arizona *      211.   Jonesboro city, Arkansas *      262.   Lawrence County, Arkansas
160.   Peoria city, Arizona *          212.   Little Rock city, Arkansas *    263.   Lincoln County, Arkansas
161.   Phoenix city, Arizona *         213.   Lonoke County, Arkansas *       264.   Little River County, Arkansas
162.   Pima County, Arizona *          214.   Miller County, Arkansas *       265.   Logan County, Arkansas
163.   Pinal County, Arizona *         215.   Mississippi County, Arkansas    266.   Madison County, Arkansas
164.   Prescott city, Arizona *               *                               267.   Magnolia city, Arkansas
165.   Prescott Valley town, Arizona   216.   North Little Rock city,         268.   Malvern city, Arkansas
       *                                      Arkansas *                      269.   Marion city, Arkansas
166.   Queen Creek town, Arizona *     217.   Pine Bluff city, Arkansas *     270.   Marion County, Arkansas
167.   Sahuarita town, Arizona *       218.   Pope County, Arkansas *         271.   Maumelle city, Arkansas
168.   San Luis city, Arizona *        219.   Pulaski County, Arkansas *      272.   Mountain Home city,
169.   Santa Cruz County, Arizona *    220.   Rogers city, Arkansas *                Arkansas
170.   Scottsdale city, Arizona *      221.   Saline County, Arkansas *       273.   Ouachita County, Arkansas
171.   Sierra Vista city, Arizona *    222.   Sebastian County, Arkansas *    274.   Paragould city, Arkansas
172.   Surprise city, Arizona *        223.   Sherwood city, Arkansas *       275.   Perry County, Arkansas
173.   Tempe city, Arizona *           224.   Springdale city, Arkansas *     276.   Phillips County, Arkansas
174.   Tucson city, Arizona *          225.   Union County, Arkansas *        277.   Pike County, Arkansas
175.   Yavapai County, Arizona *       226.   Washington County, Arkansas     278.   Poinsett County, Arkansas
176.   Yuma city, Arizona *                   *                               279.   Polk County, Arkansas
177.   Yuma County, Arizona *          227.   White County, Arkansas *        280.   Randolph County, Arkansas
178.   Camp Verde town, Arizona        228.   Arkadelphia city, Arkansas      281.   Russellville city, Arkansas
179.   Chino Valley town, Arizona      229.   Arkansas County, Arkansas       282.   Scott County, Arkansas


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283.   Searcy city, Arkansas              334.   Citrus Heights city, California   383.   Hemet city, California *
284.   Sevier County, Arkansas                   *                                 384.   Hesperia city, California *
285.   Sharp County, Arkansas             335.   Claremont city, California *      385.   Highland city, California *
286.   Siloam Springs city, Arkansas      336.   Clovis city, California *         386.   Hollister city, California *
287.   St. Francis County, Arkansas       337.   Coachella city, California *      387.   Humboldt County, California
288.   Stone County, Arkansas             338.   Colton city, California *                *
289.   Texarkana city, Arkansas           339.   Compton city, California *        388.   Huntington Beach city,
290.   Van Buren city, Arkansas           340.   Concord city, California *               California *
291.   Van Buren County, Arkansas         341.   Contra Costa County,              389.   Huntington Park city,
292.   West Memphis city, Arkansas               California *                             California *
293.   Yell County, Arkansas              342.   Corona city, California *         390.   Imperial County, California *
294.   Adelanto city, California *        343.   Costa Mesa city, California *     391.   Indio city, California *
295.   Alameda city, California *         344.   Covina city, California *         392.   Inglewood city, California *
296.   Alameda County, California *       345.   Culver City city, California *    393.   Irvine city, California *
297.   Alhambra city, California *        346.   Cupertino city, California *      394.   Jurupa Valley city, California
298.   Aliso Viejo city, California *     347.   Cypress city, California *               *
299.   Amador County, California *        348.   Daly City city, California *      395.   Kern County, California *
300.   Anaheim city, California *         349.   Dana Point city, California *     396.   Kings County, California *
301.   Antioch city, California *         350.   Danville town, California *       397.   La Habra city, California *
302.   Apple Valley town, California      351.   Davis city, California *          398.   La Mesa city, California *
       *                                  352.   Delano city, California *         399.   La Mirada city, California *
303.   Arcadia city, California *         353.   Diamond Bar city, California *    400.   La Puente city, California *
304.   Atascadero city, California *      354.   Downey city, California *         401.   La Quinta city, California *
305.   Azusa city, California *           355.   Dublin city, California *         402.   La Verne city, California *
306.   Bakersfield city, California *     356.   Eastvale city, California *       403.   Laguna Hills city, California *
307.   Baldwin Park city, California      357.   El Cajon city, California *       404.   Laguna Niguel city, California
       *                                  358.   El Centro city, California *             *
308.   Banning city, California *         359.   El Dorado County, California      405.   Lake County, California *
309.   Beaumont city, California *               *                                 406.   Lake Elsinore city, California
310.   Bell city, California *            360.   El Monte city, California *              *
311.   Bell Gardens city, California *    361.   El Paso de Robles (Paso           407.   Lake Forest city, California *
312.   Bellflower city, California *             Robles) city, California *        408.   Lakewood city, California *
313.   Berkeley city, California *        362.   Elk Grove city, California *      409.   Lancaster city, California *
314.   Beverly Hills city, California *   363.   Encinitas city, California *      410.   Lassen County, California *
315.   Brea city, California *            364.   Escondido city, California *      411.   Lawndale city, California *
316.   Brentwood city, California *       365.   Fairfield city, California *      412.   Lincoln city, California *
317.   Buena Park city, California *      366.   Folsom city, California *         413.   Livermore city, California *
318.   Burbank city, California *         367.   Fontana city, California *        414.   Lodi city, California *
319.   Burlingame city, California *      368.   Foster City city, California *    415.   Lompoc city, California *
320.   Butte County, California *         369.   Fountain Valley city,             416.   Long Beach city, California *
321.   Calaveras County, California *            California *                      417.   Los Altos city, California *
322.   Calexico city, California *        370.   Fremont city, California *        418.   Los Angeles city, California *
323.   Camarillo city, California *       371.   Fresno city, California *         419.   Los Angeles County,
324.   Campbell city, California *        372.   Fresno County, California *              California *
325.   Carlsbad city, California *        373.   Fullerton city, California *      420.   Los Banos city, California *
326.   Carson city, California *          374.   Garden Grove city, California     421.   Los Gatos town, California *
327.   Cathedral City city, California           *                                 422.   Lynwood city, California *
       *                                  375.   Gardena city, California *        423.   Madera city, California *
328.   Ceres city, California *           376.   Gilroy city, California *         424.   Madera County, California *
329.   Cerritos city, California *        377.   Glendale city, California *       425.   Manhattan Beach city,
330.   Chico city, California *           378.   Glendora city, California *              California *
331.   Chino city, California *           379.   Goleta city, California *         426.   Manteca city, California *
332.   Chino Hills city, California *     380.   Hanford city, California *        427.   Marin County, California *
333.   Chula Vista city, California *     381.   Hawthorne city, California *      428.   Martinez city, California *
                                          382.   Hayward city, California *


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429.   Mendocino County, California       478.   Porterville city, California *    516.   San Luis Obispo city,
       *                                  479.   Poway city, California *                 California *
430.   Menifee city, California *         480.   Rancho Cordova city,              517.   San Luis Obispo County,
431.   Menlo Park city, California *             California *                             California *
432.   Merced city, California *          481.   Rancho Cucamonga city,            518.   San Marcos city, California *
433.   Merced County, California *               California *                      519.   San Mateo city, California *
434.   Milpitas city, California *        482.   Rancho Palos Verdes city,         520.   San Mateo County, California
435.   Mission Viejo city, California            California *                             *
       *                                  483.   Rancho Santa Margarita city,      521.   San Pablo city, California *
436.   Modesto city, California *                California *                      522.   San Rafael city, California *
437.   Monrovia city, California *        484.   Redding city, California *        523.   San Ramon city, California *
438.   Montclair city, California *       485.   Redlands city, California *       524.   Santa Ana city, California *
439.   Montebello city, California *      486.   Redondo Beach city,               525.   Santa Barbara city, California
440.   Monterey County, California *             California *                             *
441.   Monterey Park city, California     487.   Redwood City city, California     526.   Santa Barbara County,
       *                                         *                                        California *
442.   Moorpark city, California *        488.   Rialto city, California *         527.   Santa Clara city, California *
443.   Moreno Valley city, California     489.   Richmond city, California *       528.   Santa Clara County, California
       *                                  490.   Riverside city, California *             *
444.   Morgan Hill city, California *     491.   Riverside County, California *    529.   Santa Clarita city, California *
445.   Mountain View city,                492.   Rocklin city, California *        530.   Santa Cruz city, California *
       California *                       493.   Rohnert Park city, California *   531.   Santa Cruz County, California
446.   Murrieta city, California *        494.   Rosemead city, California *              *
447.   Napa city, California *            495.   Roseville city, California *      532.   Santa Maria city, California *
448.   Napa County, California *          496.   Sacramento city, California *     533.   Santa Monica city, California
449.   National City city, California *   497.   Sacramento County, California            *
450.   Nevada County, California *               *                                 534.   Santa Rosa city, California *
451.   Newark city, California *          498.   Salinas city, California *        535.   Santee city, California *
452.   Newport Beach city,                499.   San Benito County, California     536.   Saratoga city, California *
       California *                              *                                 537.   Seaside city, California *
453.   Norwalk city, California *         500.   San Bernardino city,              538.   Shasta County, California *
454.   Novato city, California *                 California *                      539.   Simi Valley city, California *
455.   Oakland city, California *         501.   San Bernardino County,            540.   Siskiyou County, California *
456.   Oakley city, California *                 California *                      541.   Solano County, California *
457.   Oceanside city, California *       502.   San Bruno city, California *      542.   Sonoma County, California *
458.   Ontario city, California *         503.   San Buenaventura (Ventura)        543.   South Gate city, California *
459.   Orange city, California *                 city, California *                544.   South San Francisco city,
460.   Orange County, California *        504.   San Carlos city, California *            California *
461.   Oxnard city, California *          505.   San Clemente city, California     545.   Stanislaus County, California
462.   Pacifica city, California *               *                                        *
463.   Palm Desert city, California *     506.   San Diego city, California *      546.   Stanton city, California *
464.   Palm Springs city, California *    507.   San Diego County, California      547.   Stockton city, California *
465.   Palmdale city, California *               *                                 548.   Sunnyvale city, California *
466.   Palo Alto city, California *       508.   San Dimas city, California *      549.   Sutter County, California *
467.   Paramount city, California *       509.   San Francisco city / San          550.   Tehama County, California *
468.   Pasadena city, California *               Francisco County, California *    551.   Temecula city, California *
469.   Perris city, California *          510.   San Gabriel city, California *    552.   Temple City city, California *
470.   Petaluma city, California *        511.   San Jacinto city, California *    553.   Thousand Oaks city,
471.   Pico Rivera city, California *     512.   San Joaquin County,                      California *
472.   Pittsburg city, California *              California *                      554.   Torrance city, California *
473.   Placentia city, California *       513.   San Jose city, California *       555.   Tracy city, California *
474.   Placer County, California *        514.   San Juan Capistrano city,         556.   Tulare city, California *
475.   Pleasant Hill city, California *          California *                      557.   Tulare County, California *
476.   Pleasanton city, California *      515.   San Leandro city, California *    558.   Tuolumne County, California
477.   Pomona city, California *                                                          *


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559.   Turlock city, California *         610.   Corcoran city, California         660.   Marina city, California
560.   Tustin city, California *          611.   Coronado city, California         661.   Mariposa County, California
561.   Union City city, California *      612.   Cudahy city, California           662.   Marysville city, California
562.   Upland city, California *          613.   Del Norte County, California      663.   Maywood city, California
563.   Vacaville city, California *       614.   Desert Hot Springs city,          664.   McFarland city, California
564.   Vallejo city, California *                California                        665.   Mendota city, California
565.   Ventura County, California *       615.   Dinuba city, California           666.   Mill Valley city, California
566.   Victorville city, California *     616.   Dixon city, California            667.   Millbrae city, California
567.   Visalia city, California *         617.   Duarte city, California           668.   Mono County, California
568.   Vista city, California *           618.   East Palo Alto city, California   669.   Monterey city, California
569.   Walnut Creek city, California      619.   El Cerrito city, California       670.   Moraga town, California
       *                                  620.   El Segundo city, California       671.   Morro Bay city, California
570.   Watsonville city, California *     621.   Emeryville city, California       672.   Newman city, California
571.   West Covina city, California *     622.   Eureka city, California           673.   Norco city, California
572.   West Hollywood city,               623.   Exeter city, California           674.   Oakdale city, California
       California *                       624.   Farmersville city, California     675.   Orange Cove city, California
573.   West Sacramento city,              625.   Fillmore city, California         676.   Orinda city, California
       California *                       626.   Fortuna city, California          677.   Oroville city, California
574.   Westminster city, California *     627.   Galt city, California             678.   Pacific Grove city, California
575.   Whittier city, California *        628.   Glenn County, California          679.   Palos Verdes Estates city,
576.   Wildomar city, California *        629.   Grand Terrace city, California           California
577.   Woodland city, California *        630.   Grass Valley city, California     680.   Parlier city, California
578.   Yolo County, California *          631.   Greenfield city, California       681.   Patterson city, California
579.   Yorba Linda city, California *     632.   Grover Beach city, California     682.   Piedmont city, California
580.   Yuba City city, California *       633.   Half Moon Bay city,               683.   Pinole city, California
581.   Yuba County, California *                 California                        684.   Placerville city, California
582.   Yucaipa city, California *         634.   Hawaiian Gardens city,            685.   Plumas County, California
583.   Agoura Hills city, California             California                        686.   Port Hueneme city, California
584.   Albany city, California            635.   Healdsburg city, California       687.   Rancho Mirage city,
585.   American Canyon city,              636.   Hercules city, California                California
       California                         637.   Hermosa Beach city,               688.   Red Bluff city, California
586.   Anderson city, California                 California                        689.   Reedley city, California
587.   Arcata city, California            638.   Hillsborough town, California     690.   Ridgecrest city, California
588.   Arroyo Grande city, California     639.   Imperial Beach city, California   691.   Ripon city, California
589.   Artesia city, California           640.   Imperial city, California         692.   Riverbank city, California
590.   Arvin city, California             641.   Inyo County, California           693.   San Anselmo town, California
591.   Atwater city, California           642.   Kerman city, California           694.   San Fernando city, California
592.   Auburn city, California            643.   King City city, California        695.   San Marino city, California
593.   Avenal city, California            644.   Kingsburg city, California        696.   Sanger city, California
594.   Barstow city, California           645.   La Cañada Flintridge city,        697.   Santa Fe Springs city,
595.   Belmont city, California                  California                               California
596.   Benicia city, California           646.   La Palma city, California         698.   Santa Paula city, California
597.   Blythe city, California            647.   Lafayette city, California        699.   Scotts Valley city, California
598.   Brawley city, California           648.   Laguna Beach city, California     700.   Seal Beach city, California
599.   Calabasas city, California         649.   Laguna Woods city, California     701.   Selma city, California
600.   California City city, California   650.   Larkspur city, California         702.   Shafter city, California
601.   Canyon Lake city, California       651.   Lathrop city, California          703.   Shasta Lake city, California
602.   Capitola city, California          652.   Lemon Grove city, California      704.   Sierra Madre city, California
603.   Carpinteria city, California       653.   Lemoore city, California          705.   Signal Hill city, California
604.   Chowchilla city, California        654.   Lindsay city, California          706.   Solana Beach city, California
605.   Clayton city, California           655.   Livingston city, California       707.   Soledad city, California
606.   Clearlake city, California         656.   Loma Linda city, California       708.   Sonoma city, California
607.   Coalinga city, California          657.   Lomita city, California           709.   South El Monte city,
608.   Colusa County, California          658.   Los Alamitos city, California            California
609.   Commerce city, California          659.   Malibu city, California


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710.   South Lake Tahoe city,          757.   Northglenn city, Colorado *      808.   Danbury city / Danbury town,
       California                      758.   Parker town, Colorado *                 Connecticut *
711.   South Pasadena city,            759.   Pueblo city, Colorado *          809.   East Hartford town,
       California                      760.   Pueblo County, Colorado *               Connecticut *
712.   Suisun City city, California    761.   Summit County, Colorado *        810.   Enfield town, Connecticut *
713.   Susanville city, California     762.   Thornton city, Colorado *        811.   Fairfield town, Connecticut *
714.   Tehachapi city, California      763.   Weld County, Colorado *          812.   Glastonbury town,
715.   Trinity County, California      764.   Westminster city, Colorado *            Connecticut *
716.   Truckee town, California        765.   Wheat Ridge city, Colorado *     813.   Greenwich town, Connecticut
717.   Twentynine Palms city,          766.   Windsor town, Colorado *                *
       California                      767.   Alamosa County, Colorado         814.   Groton town, Connecticut *
718.   Ukiah city, California          768.   Archuleta County, Colorado       815.   Hamden town, Connecticut *
719.   Walnut city, California         769.   Cañon City city, Colorado        816.   Hartford city / Hartford town,
720.   Wasco city, California          770.   Castle Pines city, Colorado             Connecticut *
721.   Windsor town, California        771.   Chaffee County, Colorado         817.   Manchester town, Connecticut
722.   Yucca Valley town, California   772.   Durango city, Colorado                  *
723.   Adams County, Colorado *        773.   Elbert County, Colorado          818.   Meriden city / Meriden town,
724.   Arapahoe County, Colorado *     774.   Erie town, Colorado                     Connecticut *
725.   Arvada city, Colorado *         775.   Evans city, Colorado             819.   Middletown city / Middletown
726.   Aurora city, Colorado *         776.   Federal Heights city, Colorado          town, Connecticut *
727.   Boulder city, Colorado *        777.   Firestone town, Colorado         820.   Milford city, Connecticut *
728.   Boulder County, Colorado *      778.   Fort Morgan city, Colorado       821.   Milford town, Connecticut *
729.   Brighton city, Colorado *       779.   Frederick town, Colorado         822.   Naugatuck borough /
730.   Broomfield city / Broomfield    780.   Fruita city, Colorado                   Naugatuck town, Connecticut
       County, Colorado *              781.   Golden city, Colorado                   *
731.   Castle Rock town, Colorado *    782.   Grand County, Colorado           823.   New Britain town / New
732.   Centennial city, Colorado *     783.   Greenwood Village city,                 Britain city, Connecticut *
733.   Colorado Springs city,                 Colorado                         824.   New Haven town / New
       Colorado *                      784.   Gunnison County, Colorado               Haven city, Connecticut *
734.   Commerce City city, Colorado    785.   Johnstown town, Colorado         825.   Newington town, Connecticut
       *                               786.   Las Animas County, Colorado             *
735.   Delta County, Colorado *        787.   Logan County, Colorado           826.   Norwalk city / Norwalk town,
736.   Denver city / Denver County,    788.   Lone Tree city, Colorado                Connecticut *
       Colorado *                      789.   Louisville city, Colorado        827.   Norwich city / Norwich town,
737.   Douglas County, Colorado *      790.   Moffat County, Colorado                 Connecticut *
738.   Eagle County, Colorado *        791.   Montezuma County, Colorado       828.   Shelton city / Shelton town,
739.   El Paso County, Colorado *      792.   Montrose city, Colorado                 Connecticut *
740.   Englewood city, Colorado *      793.   Morgan County, Colorado          829.   Southington town, Connecticut
741.   Fort Collins city, Colorado *   794.   Otero County, Colorado                  *
742.   Fountain city, Colorado *       795.   Park County, Colorado            830.   Stamford city / Stamford town,
743.   Fremont County, Colorado *      796.   Pitkin County, Colorado                 Connecticut *
744.   Garfield County, Colorado *     797.   Prowers County, Colorado         831.   Stratford town, Connecticut *
745.   Grand Junction city, Colorado   798.   Rio Grande County, Colorado      832.   Torrington city / Torrington
       *                               799.   Routt County, Colorado                  town, Connecticut *
746.   Greeley city, Colorado *        800.   Steamboat Springs city,          833.   Trumbull town, Connecticut *
747.   Jefferson County, Colorado *           Colorado                         834.   Wallingford town, Connecticut
748.   La Plata County, Colorado *     801.   Sterling city, Colorado                 *
749.   Lafayette city, Colorado *      802.   Superior town, Colorado          835.   Waterbury city / Waterbury
750.   Lakewood city, Colorado *       803.   Teller County, Colorado                 town, Connecticut *
751.   Larimer County, Colorado *      804.   Wellington town, Colorado        836.   West Hartford town,
752.   Littleton city, Colorado *      805.   Yuma County, Colorado                   Connecticut *
753.   Longmont city, Colorado *       806.   Bridgeport town / Bridgeport     837.   West Haven city / West Haven
754.   Loveland city, Colorado *              city, Connecticut *                     town, Connecticut *
755.   Mesa County, Colorado *         807.   Bristol city / Bristol town,     838.   Ansonia town / Ansonia city,
756.   Montrose County, Colorado *            Connecticut *                           Connecticut


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839.   Avon town, Connecticut         884.   Simsbury town, Connecticut       934.   Coral Gables city, Florida *
840.   Berlin town, Connecticut       885.   Somers town, Connecticut         935.   Coral Springs city, Florida *
841.   Bethel town, Connecticut       886.   South Windsor town,              936.   Cutler Bay town, Florida *
842.   Bloomfield town, Connecticut          Connecticut                      937.   Dania Beach city, Florida *
843.   Branford town, Connecticut     887.   Southbury town, Connecticut      938.   Davie town, Florida *
844.   Brookfield town, Connecticut   888.   Stafford town, Connecticut       939.   Daytona Beach city, Florida *
845.   Canton town, Connecticut       889.   Stonington town, Connecticut     940.   Deerfield Beach city, Florida *
846.   Cheshire town, Connecticut     890.   Suffield town, Connecticut       941.   DeLand city, Florida *
847.   Clinton town, Connecticut      891.   Tolland town, Connecticut        942.   Delray Beach city, Florida *
848.   Colchester town, Connecticut   892.   Vernon town, Connecticut         943.   Deltona city, Florida *
849.   Coventry town, Connecticut     893.   Waterford town, Connecticut      944.   DeSoto County, Florida *
850.   Cromwell town, Connecticut     894.   Watertown town, Connecticut      945.   Doral city, Florida *
851.   Darien town, Connecticut       895.   Weston town, Connecticut         946.   Dunedin city, Florida *
852.   Derby city / Derby town,       896.   Westport town, Connecticut       947.   Duval County / Jacksonville
       Connecticut                    897.   Wethersfield town,                      city, Florida *
853.   East Hampton town,                    Connecticut                      948.   Escambia County, Florida *
       Connecticut                    898.   Wilton town, Connecticut         949.   Estero village, Florida *
854.   East Haven town, Connecticut   899.   Winchester town, Connecticut     950.   Flagler County, Florida *
855.   East Lyme town, Connecticut    900.   Windham town, Connecticut        951.   Fort Lauderdale city, Florida *
856.   East Windsor town,             901.   Windsor Locks town,              952.   Fort Myers city, Florida *
       Connecticut                           Connecticut                      953.   Fort Pierce city, Florida *
857.   Ellington town, Connecticut    902.   Windsor town, Connecticut        954.   Gadsden County, Florida *
858.   Farmington town, Connecticut   903.   Wolcott town, Connecticut        955.   Gainesville city, Florida *
859.   Granby town, Connecticut       904.   Dover city, Delaware *           956.   Greenacres city, Florida *
860.   Griswold town, Connecticut     905.   Kent County, Delaware *          957.   Hallandale Beach city, Florida
861.   Guilford town, Connecticut     906.   New Castle County, Delaware             *
862.   Killingly town, Connecticut           *                                958.   Hendry County, Florida *
863.   Ledyard town, Connecticut      907.   Newark city, Delaware *          959.   Hernando County, Florida *
864.   Madison town, Connecticut      908.   Sussex County, Delaware *        960.   Hialeah city, Florida *
865.   Mansfield town, Connecticut    909.   Wilmington city, Delaware *      961.   Highlands County, Florida *
866.   Monroe town, Connecticut       910.   Middletown town, Delaware        962.   Hillsborough County, Florida
867.   Montville town, Connecticut    911.   Milford city, Delaware                  *
868.   New Canaan town,               912.   Smyrna town, Delaware            963.   Hollywood city, Florida *
       Connecticut                    913.   Alachua County, Florida *        964.   Homestead city, Florida *
869.   New Fairfield town,            914.   Altamonte Springs city,          965.   Indian River County, Florida *
       Connecticut                           Florida *                        966.   Jackson County, Florida *
870.   New London city / New          915.   Apopka city, Florida *           967.   Jupiter town, Florida *
       London town, Connecticut       916.   Aventura city, Florida *         968.   Kissimmee city, Florida *
871.   New Milford town,              917.   Bay County, Florida *            969.   Lake County, Florida *
       Connecticut                    918.   Boca Raton city, Florida *       970.   Lake Worth city, Florida *
872.   Newtown town, Connecticut      919.   Bonita Springs city, Florida *   971.   Lakeland city, Florida *
873.   North Branford town,           920.   Boynton Beach city, Florida *    972.   Largo city, Florida *
       Connecticut                    921.   Bradenton city, Florida *        973.   Lauderdale Lakes city, Florida
874.   North Haven town,              922.   Brevard County, Florida *               *
       Connecticut                    923.   Broward County, Florida *        974.   Lauderhill city, Florida *
875.   Old Saybrook town,             924.   Cape Coral city, Florida *       975.   Lee County, Florida *
       Connecticut                    925.   Charlotte County, Florida *      976.   Leon County, Florida *
876.   Orange town, Connecticut       926.   Citrus County, Florida *         977.   Levy County, Florida *
877.   Oxford town, Connecticut       927.   Clay County, Florida *           978.   Manatee County, Florida *
878.   Plainfield town, Connecticut   928.   Clearwater city, Florida *       979.   Margate city, Florida *
879.   Plainville town, Connecticut   929.   Clermont city, Florida *         980.   Marion County, Florida *
880.   Plymouth town, Connecticut     930.   Coconut Creek city, Florida *    981.   Martin County, Florida *
881.   Ridgefield town, Connecticut   931.   Collier County, Florida *        982.   Melbourne city, Florida *
882.   Rocky Hill town, Connecticut   932.   Columbia County, Florida *       983.   Miami Beach city, Florida *
883.   Seymour town, Connecticut      933.   Cooper City city, Florida *      984.   Miami city, Florida *


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985.    Miami Gardens city, Florida *    1036.   Suwannee County, Florida *       1088.   Key Biscayne village, Florida
986.    Miami Lakes town, Florida *      1037.   Tallahassee city, Florida *      1089.   Key West city, Florida
987.    Miami-Dade County, Florida *     1038.   Tamarac city, Florida *          1090.   Lady Lake town, Florida
988.    Miramar city, Florida *          1039.   Tampa city, Florida *            1091.   Lake City city, Florida
989.    Monroe County, Florida *         1040.   Titusville city, Florida *       1092.   Lake Mary city, Florida
990.    Nassau County, Florida *         1041.   Volusia County, Florida *        1093.   Lake Wales city, Florida
991.    North Lauderdale city, Florida   1042.   Wakulla County, Florida *        1094.   Lantana town, Florida
        *                                1043.   Walton County, Florida *         1095.   Leesburg city, Florida
992.    North Miami Beach city,          1044.   Wellington village, Florida *    1096.   Lighthouse Point city, Florida
        Florida *                        1045.   West Palm Beach city, Florida    1097.   Longwood city, Florida
993.    North Miami city, Florida *              *                                1098.   Lynn Haven city, Florida
994.    North Port city, Florida *       1046.   Weston city, Florida *           1099.   Madison County, Florida
995.    Oakland Park city, Florida *     1047.   Winter Garden city, Florida *    1100.   Maitland city, Florida
996.    Ocala city, Florida *            1048.   Winter Haven city, Florida *     1101.   Marco Island city, Florida
997.    Ocoee city, Florida *            1049.   Winter Park city, Florida *      1102.   Miami Shores village, Florida
998.    Okaloosa County, Florida *       1050.   Winter Springs city, Florida *   1103.   Miami Springs city, Florida
999.    Okeechobee County, Florida *     1051.   Atlantic Beach city, Florida     1104.   Milton city, Florida
1000.   Orange County, Florida *         1052.   Auburndale city, Florida         1105.   Minneola city, Florida
1001.   Orlando city, Florida *          1053.   Avon Park city, Florida          1106.   Mount Dora city, Florida
1002.   Ormond Beach city, Florida *     1054.   Baker County, Florida            1107.   Naples city, Florida
1003.   Osceola County, Florida *        1055.   Bartow city, Florida             1108.   New Port Richey city, Florida
1004.   Oviedo city, Florida *           1056.   Belle Glade city, Florida        1109.   New Smyrna Beach city,
1005.   Palm Bay city, Florida *         1057.   Bradford County, Florida                 Florida
1006.   Palm Beach County, Florida *     1058.   Calhoun County, Florida          1110.   Niceville city, Florida
1007.   Palm Beach Gardens city,         1059.   Callaway city, Florida           1111.   North Palm Beach village,
        Florida *                        1060.   Cape Canaveral city, Florida             Florida
1008.   Palm Coast city, Florida *       1061.   Casselberry city, Florida        1112.   Oldsmar city, Florida
1009.   Panama City city, Florida *      1062.   Cocoa Beach city, Florida        1113.   Opa-locka city, Florida
1010.   Parkland city, Florida *         1063.   Cocoa city, Florida              1114.   Orange City city, Florida
1011.   Pasco County, Florida *          1064.   Crestview city, Florida          1115.   Palatka city, Florida
1012.   Pembroke Pines city, Florida *   1065.   DeBary city, Florida             1116.   Palm Springs village, Florida
1013.   Pensacola city, Florida *        1066.   Destin city, Florida             1117.   Palmetto Bay village, Florida
1014.   Pinellas County, Florida *       1067.   Dixie County, Florida            1118.   Palmetto city, Florida
1015.   Pinellas Park city, Florida *    1068.   Edgewater city, Florida          1119.   Panama City Beach city,
1016.   Plant City city, Florida *       1069.   Eustis city, Florida                     Florida
1017.   Plantation city, Florida *       1070.   Fernandina Beach city, Florida   1120.   Pinecrest village, Florida
1018.   Polk County, Florida *           1071.   Florida City city, Florida       1121.   Punta Gorda city, Florida
1019.   Pompano Beach city, Florida *    1072.   Fort Walton Beach city,          1122.   Rockledge city, Florida
1020.   Port Orange city, Florida *              Florida                          1123.   Safety Harbor city, Florida
1021.   Port St. Lucie city, Florida *   1073.   Franklin County, Florida         1124.   Satellite Beach city, Florida
1022.   Putnam County, Florida *         1074.   Fruitland Park city, Florida     1125.   Sebastian city, Florida
1023.   Riviera Beach city, Florida *    1075.   Gilchrist County, Florida        1126.   Sebring city, Florida
1024.   Royal Palm Beach village,        1076.   Glades County, Florida           1127.   Seminole city, Florida
        Florida *                        1077.   Groveland city, Florida          1128.   South Daytona city, Florida
1025.   Sanford city, Florida *          1078.   Gulf County, Florida             1129.   South Miami city, Florida
1026.   Santa Rosa County, Florida *     1079.   Gulfport city, Florida           1130.   St. Augustine city, Florida
1027.   Sarasota city, Florida *         1080.   Haines City city, Florida        1131.   Stuart city, Florida
1028.   Sarasota County, Florida *       1081.   Hamilton County, Florida         1132.   Sunny Isles Beach city,
1029.   Seminole County, Florida *       1082.   Hardee County, Florida                   Florida
1030.   St. Cloud city, Florida *        1083.   Hialeah Gardens city, Florida    1133.   Sweetwater city, Florida
1031.   St. Johns County, Florida *      1084.   Holly Hill city, Florida         1134.   Tarpon Springs city, Florida
1032.   St. Lucie County, Florida *      1085.   Holmes County, Florida           1135.   Tavares city, Florida
1033.   St. Petersburg city, Florida *   1086.   Jacksonville Beach city,         1136.   Taylor County, Florida
1034.   Sumter County, Florida *                 Florida                          1137.   Temple Terrace city, Florida
1035.   Sunrise city, Florida *          1087.   Jefferson County, Florida        1138.   Union County, Florida


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1139.   Venice city, Florida           1191.   Henry County, Georgia *          1244.   Berrien County, Georgia
1140.   Vero Beach city, Florida       1192.   Hinesville city, Georgia *       1245.   Bleckley County, Georgia
1141.   Washington County, Florida     1193.   Houston County, Georgia *        1246.   Brantley County, Georgia
1142.   West Melbourne city, Florida   1194.   Jackson County, Georgia *        1247.   Braselton town, Georgia
1143.   West Park city, Florida        1195.   Johns Creek city, Georgia *      1248.   Brooks County, Georgia
1144.   Wilton Manors city, Florida    1196.   Kennesaw city, Georgia *         1249.   Brunswick city, Georgia
1145.   Zephyrhills city, Florida      1197.   LaGrange city, Georgia *         1250.   Buford city, Georgia
1146.   Albany city, Georgia *         1198.   Laurens County, Georgia *        1251.   Burke County, Georgia
1147.   Alpharetta city, Georgia *     1199.   Lawrenceville city, Georgia *    1252.   Butts County, Georgia
1148.   Athens-Clarke County unified   1200.   Liberty County, Georgia *        1253.   Calhoun city, Georgia
        government, Georgia *          1201.   Lowndes County, Georgia *        1254.   Candler County, Georgia
1149.   Atlanta city, Georgia *        1202.   Lumpkin County, Georgia *        1255.   Carrollton city, Georgia
1150.   Augusta-Richmond County        1203.   Macon-Bibb County, Georgia       1256.   Cartersville city, Georgia
        consolidated government,               *                                1257.   Charlton County, Georgia
        Georgia *                      1204.   Marietta city, Georgia *         1258.   Chattooga County, Georgia
1151.   Baldwin County, Georgia *      1205.   Milton city, Georgia *           1259.   Clarkston city, Georgia
1152.   Barrow County, Georgia *       1206.   Murray County, Georgia *         1260.   College Park city, Georgia
1153.   Bartow County, Georgia *       1207.   Newnan city, Georgia *           1261.   Conyers city, Georgia
1154.   Brookhaven city, Georgia *     1208.   Newton County, Georgia *         1262.   Cook County, Georgia
1155.   Bryan County, Georgia *        1209.   Oconee County, Georgia *         1263.   Cordele city, Georgia
1156.   Bulloch County, Georgia *      1210.   Paulding County, Georgia *       1264.   Covington city, Georgia
1157.   Camden County, Georgia *       1211.   Peachtree City city, Georgia *   1265.   Crawford County, Georgia
1158.   Canton city, Georgia *         1212.   Peachtree Corners city,          1266.   Crisp County, Georgia
1159.   Carroll County, Georgia *              Georgia *                        1267.   Cusseta-Chattahoochee
1160.   Catoosa County, Georgia *      1213.   Pickens County, Georgia *                County unified government,
1161.   Chamblee city, Georgia *       1214.   Polk County, Georgia *                   Georgia
1162.   Chatham County, Georgia *      1215.   Rockdale County, Georgia *       1268.   Dade County, Georgia
1163.   Cherokee County, Georgia *     1216.   Rome city, Georgia *             1269.   Dallas city, Georgia
1164.   Clayton County, Georgia *      1217.   Roswell city, Georgia *          1270.   Dawson County, Georgia
1165.   Cobb County, Georgia *         1218.   Sandy Springs city, Georgia *    1271.   Decatur city, Georgia
1166.   Coffee County, Georgia *       1219.   Savannah city, Georgia *         1272.   Decatur County, Georgia
1167.   Colquitt County, Georgia *     1220.   Smyrna city, Georgia *           1273.   Dodge County, Georgia
1168.   Columbia County, Georgia *     1221.   South Fulton city, Georgia *     1274.   Dooly County, Georgia
1169.   Columbus city, Georgia *       1222.   Spalding County, Georgia *       1275.   Doraville city, Georgia
1170.   Coweta County, Georgia *       1223.   Statesboro city, Georgia *       1276.   Douglas city, Georgia
1171.   Dalton city, Georgia *         1224.   Stonecrest city, Georgia *       1277.   Dublin city, Georgia
1172.   DeKalb County, Georgia *       1225.   Thomas County, Georgia *         1278.   Duluth city, Georgia
1173.   Dougherty County, Georgia *    1226.   Tift County, Georgia *           1279.   Early County, Georgia
1174.   Douglas County, Georgia *      1227.   Troup County, Georgia *          1280.   Elbert County, Georgia
1175.   Douglasville city, Georgia *   1228.   Tucker city, Georgia *           1281.   Emanuel County, Georgia
1176.   Dunwoody city, Georgia *       1229.   Valdosta city, Georgia *         1282.   Evans County, Georgia
1177.   East Point city, Georgia *     1230.   Walker County, Georgia *         1283.   Fairburn city, Georgia
1178.   Effingham County, Georgia *    1231.   Walton County, Georgia *         1284.   Fannin County, Georgia
1179.   Fayette County, Georgia *      1232.   Ware County, Georgia *           1285.   Fayetteville city, Georgia
1180.   Floyd County, Georgia *        1233.   Warner Robins city, Georgia *    1286.   Forest Park city, Georgia
1181.   Forsyth County, Georgia *      1234.   White County, Georgia *          1287.   Franklin County, Georgia
1182.   Fulton County, Georgia *       1235.   Whitfield County, Georgia *      1288.   Grady County, Georgia
1183.   Gainesville city, Georgia *    1236.   Woodstock city, Georgia *        1289.   Greene County, Georgia
1184.   Gilmer County, Georgia *       1237.   Acworth city, Georgia            1290.   Griffin city, Georgia
1185.   Glynn County, Georgia *        1238.   Americus city, Georgia           1291.   Grovetown city, Georgia
1186.   Gordon County, Georgia *       1239.   Appling County, Georgia          1292.   Haralson County, Georgia
1187.   Gwinnett County, Georgia *     1240.   Bacon County, Georgia            1293.   Hart County, Georgia
1188.   Habersham County, Georgia *    1241.   Bainbridge city, Georgia         1294.   Heard County, Georgia
1189.   Hall County, Georgia *         1242.   Banks County, Georgia            1295.   Holly Springs city, Georgia
1190.   Harris County, Georgia *       1243.   Ben Hill County, Georgia         1296.   Jasper County, Georgia


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1297.   Jeff Davis County, Georgia     1352.   Villa Rica city, Georgia      1407.   Payette County, Idaho
1298.   Jefferson city, Georgia        1353.   Washington County, Georgia    1408.   Rexburg city, Idaho
1299.   Jefferson County, Georgia      1354.   Waycross city, Georgia        1409.   Shoshone County, Idaho
1300.   Jones County, Georgia          1355.   Wayne County, Georgia         1410.   Star city, Idaho
1301.   Kingsland city, Georgia        1356.   Winder city, Georgia          1411.   Teton County, Idaho
1302.   Lamar County, Georgia          1357.   Worth County, Georgia         1412.   Valley County, Idaho
1303.   Lanier County, Georgia         1358.   Hawaii County, Hawaii *       1413.   Washington County, Idaho
1304.   Lee County, Georgia            1359.   Honolulu County, Hawaii *     1414.   Adams County, Illinois *
1305.   Lilburn city, Georgia          1360.   Kauai County, Hawaii *        1415.   Addison township, Illinois *
1306.   Loganville city, Georgia       1361.   Maui County, Hawaii *         1416.   Addison village, Illinois *
1307.   Long County, Georgia           1362.   Ada County, Idaho *           1417.   Algonquin township, Illinois *
1308.   Macon County, Georgia          1363.   Bannock County, Idaho *       1418.   Algonquin village, Illinois *
1309.   Madison County, Georgia        1364.   Bingham County, Idaho *       1419.   Arlington Heights village,
1310.   McDonough city, Georgia        1365.   Boise City city, Idaho *              Illinois *
1311.   McDuffie County, Georgia       1366.   Bonner County, Idaho *        1420.   Aurora city, Illinois *
1312.   McIntosh County, Georgia       1367.   Bonneville County, Idaho *    1421.   Aurora township, Illinois *
1313.   Meriwether County, Georgia     1368.   Caldwell city, Idaho *        1422.   Avon township, Illinois *
1314.   Milledgeville city, Georgia    1369.   Canyon County, Idaho *        1423.   Bartlett village, Illinois *
1315.   Mitchell County, Georgia       1370.   Coeur d'Alene city, Idaho *   1424.   Batavia township, Illinois *
1316.   Monroe city, Georgia           1371.   Idaho Falls city, Idaho *     1425.   Belleville city, Illinois *
1317.   Monroe County, Georgia         1372.   Kootenai County, Idaho *      1426.   Berwyn city, Illinois *
1318.   Morgan County, Georgia         1373.   Latah County, Idaho *         1427.   Berwyn township, Illinois *
1319.   Moultrie city, Georgia         1374.   Lewiston city, Idaho *        1428.   Bloom township, Illinois *
1320.   Norcross city, Georgia         1375.   Madison County, Idaho *       1429.   Bloomingdale township,
1321.   Oglethorpe County, Georgia     1376.   Meridian city, Idaho *                Illinois *
1322.   Peach County, Georgia          1377.   Nampa city, Idaho *           1430.   Bloomington city, Illinois *
1323.   Perry city, Georgia            1378.   Nez Perce County, Idaho *     1431.   Bloomington City township,
1324.   Pierce County, Georgia         1379.   Pocatello city, Idaho *               Illinois *
1325.   Pike County, Georgia           1380.   Post Falls city, Idaho *      1432.   Bolingbrook village, Illinois *
1326.   Pooler city, Georgia           1381.   Twin Falls city, Idaho *      1433.   Boone County, Illinois *
1327.   Powder Springs city, Georgia   1382.   Twin Falls County, Idaho *    1434.   Bourbonnais township, Illinois
1328.   Pulaski County, Georgia        1383.   Ammon city, Idaho                     *
1329.   Putnam County, Georgia         1384.   Blackfoot city, Idaho         1435.   Bremen township, Illinois *
1330.   Rabun County, Georgia          1385.   Blaine County, Idaho          1436.   Bristol township, Illinois *
1331.   Richmond Hill city, Georgia    1386.   Boundary County, Idaho        1437.   Buffalo Grove village, Illinois
1332.   Rincon city, Georgia           1387.   Burley city, Idaho                    *
1333.   Riverdale city, Georgia        1388.   Cassia County, Idaho          1438.   Bureau County, Illinois *
1334.   Screven County, Georgia        1389.   Chubbuck city, Idaho          1439.   Calumet City city, Illinois *
1335.   Snellville city, Georgia       1390.   Eagle city, Idaho             1440.   Capital township, Illinois *
1336.   St. Marys city, Georgia        1391.   Elmore County, Idaho          1441.   Carol Stream village, Illinois *
1337.   Stephens County, Georgia       1392.   Franklin County, Idaho        1442.   Carpentersville village, Illinois
1338.   Stockbridge city, Georgia      1393.   Fremont County, Idaho                 *
1339.   Sugar Hill city, Georgia       1394.   Garden City city, Idaho       1443.   Caseyville township, Illinois *
1340.   Sumter County, Georgia         1395.   Gem County, Idaho             1444.   Champaign city, Illinois *
1341.   Suwanee city, Georgia          1396.   Gooding County, Idaho         1445.   Champaign City township,
1342.   Tattnall County, Georgia       1397.   Hayden city, Idaho                    Illinois *
1343.   Telfair County, Georgia        1398.   Idaho County, Idaho           1446.   Champaign County, Illinois *
1344.   Thomasville city, Georgia      1399.   Jefferson County, Idaho       1447.   Chicago city, Illinois *
1345.   Tifton city, Georgia           1400.   Jerome city, Idaho            1448.   Christian County, Illinois *
1346.   Toombs County, Georgia         1401.   Jerome County, Idaho          1449.   Cicero town / Cicero
1347.   Towns County, Georgia          1402.   Kuna city, Idaho                      township, Illinois *
1348.   Union City city, Georgia       1403.   Minidoka County, Idaho        1450.   Clinton County, Illinois *
1349.   Union County, Georgia          1404.   Moscow city, Idaho            1451.   Coles County, Illinois *
1350.   Upson County, Georgia          1405.   Mountain Home city, Idaho     1452.   Collinsville township, Illinois
1351.   Vidalia city, Georgia          1406.   Owyhee County, Idaho                  *


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1453.   Cook County, Illinois *          1499.   Kankakee County, Illinois *       1551.   Peoria city, Illinois *
1454.   Crystal Lake city, Illinois *    1500.   Kendall County, Illinois *        1552.   Peoria City township, Illinois
1455.   Cunningham township, Illinois    1501.   Knox County, Illinois *                   *
        *                                1502.   Lake County, Illinois *           1553.   Peoria County, Illinois *
1456.   Danville city, Illinois *        1503.   Lake Villa township, Illinois *   1554.   Plainfield township, Illinois *
1457.   Decatur city, Illinois *         1504.   LaSalle County, Illinois *        1555.   Plainfield village, Illinois *
1458.   Decatur township, Illinois *     1505.   Lee County, Illinois *            1556.   Proviso township, Illinois *
1459.   DeKalb city, Illinois *          1506.   Leyden township, Illinois *       1557.   Quincy city, Illinois *
1460.   DeKalb County, Illinois *        1507.   Libertyville township, Illinois   1558.   Quincy township, Illinois *
1461.   DeKalb township, Illinois *              *                                 1559.   Randolph County, Illinois *
1462.   Des Plaines city, Illinois *     1508.   Lisle township, Illinois *        1560.   Rich township, Illinois *
1463.   Downers Grove township,          1509.   Livingston County, Illinois *     1561.   Rock Island city, Illinois *
        Illinois *                       1510.   Lockport township, Illinois *     1562.   Rock Island County, Illinois *
1464.   Downers Grove village,           1511.   Lombard village, Illinois *       1563.   Rockford city, Illinois *
        Illinois *                       1512.   Lyons township, Illinois *        1564.   Rockford township, Illinois *
1465.   Du Page township, Illinois *     1513.   Macon County, Illinois *          1565.   Romeoville village, Illinois *
1466.   Dundee township, Illinois *      1514.   Macoupin County, Illinois *       1566.   Sangamon County, Illinois *
1467.   DuPage County, Illinois *        1515.   Madison County, Illinois *        1567.   Schaumburg township, Illinois
1468.   Edwardsville township,           1516.   Maine township, Illinois *                *
        Illinois *                       1517.   Marion County, Illinois *         1568.   Schaumburg village, Illinois *
1469.   Effingham County, Illinois *     1518.   McHenry County, Illinois *        1569.   Shields township, Illinois *
1470.   Ela township, Illinois *         1519.   McHenry township, Illinois *      1570.   Skokie village, Illinois *
1471.   Elgin city, Illinois *           1520.   McLean County, Illinois *         1571.   South Moline township,
1472.   Elgin township, Illinois *       1521.   Milton township, Illinois *               Illinois *
1473.   Elk Grove township, Illinois *   1522.   Moline city, Illinois *           1572.   Springfield city, Illinois *
1474.   Elk Grove Village village,       1523.   Monroe County, Illinois *         1573.   St. Charles city, Illinois *
        Illinois *                       1524.   Moraine township, Illinois *      1574.   St. Charles township, Illinois *
1475.   Elmhurst city, Illinois *        1525.   Morgan County, Illinois *         1575.   St. Clair County, Illinois *
1476.   Evanston city, Illinois *        1526.   Mount Prospect village,           1576.   St. Clair township, Illinois *
1477.   Frankfort township, Illinois *           Illinois *                        1577.   Stephenson County, Illinois *
1478.   Franklin County, Illinois *      1527.   Mundelein village, Illinois *     1578.   Stickney township, Illinois *
1479.   Fremont township, Illinois *     1528.   Naperville city, Illinois *       1579.   Streamwood village, Illinois *
1480.   Fulton County, Illinois *        1529.   Naperville township, Illinois *   1580.   Tazewell County, Illinois *
1481.   Galesburg city, Illinois *       1530.   New Lenox township, Illinois      1581.   Thornton township, Illinois *
1482.   Galesburg City township,                 *                                 1582.   Tinley Park village, Illinois *
        Illinois *                       1531.   New Trier township, Illinois *    1583.   Troy township, Illinois *
1483.   Glendale Heights village,        1532.   Niles township, Illinois *        1584.   Urbana city, Illinois *
        Illinois *                       1533.   Normal town, Illinois *           1585.   Vermilion County, Illinois *
1484.   Glenview village, Illinois *     1534.   Normal township, Illinois *       1586.   Vernon township, Illinois *
1485.   Grafton township, Illinois *     1535.   Northbrook village, Illinois *    1587.   Warren township, Illinois *
1486.   Grundy County, Illinois *        1536.   Northfield township, Illinois *   1588.   Waukegan city, Illinois *
1487.   Gurnee village, Illinois *       1537.   Nunda township, Illinois *        1589.   Waukegan township, Illinois *
1488.   Hanover Park village, Illinois   1538.   Oak Lawn village, Illinois *      1590.   Wayne township, Illinois *
        *                                1539.   Oak Park township, Illinois *     1591.   West Deerfield township,
1489.   Hanover township, Illinois *     1540.   Oak Park village, Illinois *              Illinois *
1490.   Harlem township, Illinois *      1541.   Ogle County, Illinois *           1592.   Wheatland township, Illinois *
1491.   Henry County, Illinois *         1542.   Orland Park village, Illinois *   1593.   Wheaton city, Illinois *
1492.   Hoffman Estates village,         1543.   Orland township, Illinois *       1594.   Wheeling township, Illinois *
        Illinois *                       1544.   Oswego township, Illinois *       1595.   Wheeling village, Illinois *
1493.   Homer township, Illinois *       1545.   Oswego village, Illinois *        1596.   Whiteside County, Illinois *
1494.   Jackson County, Illinois *       1546.   Palatine township, Illinois *     1597.   Will County, Illinois *
1495.   Jefferson County, Illinois *     1547.   Palatine village, Illinois *      1598.   Williamson County, Illinois *
1496.   Joliet city, Illinois *          1548.   Palos township, Illinois *        1599.   Winfield township, Illinois *
1497.   Joliet township, Illinois *      1549.   Park Ridge city, Illinois *       1600.   Winnebago County, Illinois *
1498.   Kane County, Illinois *          1550.   Pekin city, Illinois *


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1601.   Wood River township, Illinois     1654.   Chicago Ridge village, Illinois   1706.   Grant township, Illinois
        *                                 1655.   Clark County, Illinois            1707.   Grayslake village, Illinois
1602.   Woodford County, Illinois *       1656.   Clay County, Illinois             1708.   Greene County, Illinois
1603.   Woodridge village, Illinois *     1657.   Collinsville city, Illinois       1709.   Greenwood township, Illinois
1604.   Worth township, Illinois *        1658.   Coloma township, Illinois         1710.   Groveland township, Illinois
1605.   York township, Illinois *         1659.   Columbia city, Illinois           1711.   Hampton township, Illinois
1606.   Alsip village, Illinois           1660.   Cortland township, Illinois       1712.   Hancock County, Illinois
1607.   Alton city, Illinois              1661.   Country Club Hills city,          1713.   Harrisburg township, Illinois
1608.   Alton township, Illinois                  Illinois                          1714.   Harvey city, Illinois
1609.   Antioch township, Illinois        1662.   Crawford County, Illinois         1715.   Hazel Crest village, Illinois
1610.   Antioch village, Illinois         1663.   Crest Hill city, Illinois         1716.   Herrin city, Illinois
1611.   Aux Sable township, Illinois      1664.   Crestwood village, Illinois       1717.   Hickory Hills city, Illinois
1612.   Barrington township, Illinois     1665.   Crete township, Illinois          1718.   Hickory Point township,
1613.   Barrington village, Illinois      1666.   Cuba township, Illinois                   Illinois
1614.   Batavia city, Illinois            1667.   Cumberland County, Illinois       1719.   Highland Park city, Illinois
1615.   Beach Park village, Illinois      1668.   Danville township, Illinois       1720.   Hinsdale village, Illinois
1616.   Bellwood village, Illinois        1669.   Darien city, Illinois             1721.   Homer Glen village, Illinois
1617.   Belvidere city, Illinois          1670.   De Witt County, Illinois          1722.   Homewood village, Illinois
1618.   Belvidere township, Illinois      1671.   Deerfield village, Illinois       1723.   Huntley village, Illinois
1619.   Bensenville village, Illinois     1672.   Dixon city, Illinois              1724.   Iroquois County, Illinois
1620.   Benton township, Illinois         1673.   Dixon township, Illinois          1725.   Jacksonville city, Illinois
1621.   Blackberry township, Illinois     1674.   Dolton village, Illinois          1726.   Jarvis township, Illinois
1622.   Bloomingdale village, Illinois    1675.   Dorr township, Illinois           1727.   Jersey County, Illinois
1623.   Blue Island city, Illinois        1676.   Douglas County, Illinois          1728.   Jo Daviess County, Illinois
1624.   Bond County, Illinois             1677.   Douglas township, Illinois        1729.   Johnson County, Illinois
1625.   Bourbonnais village, Illinois     1678.   East Moline city, Illinois        1730.   Justice village, Illinois
1626.   Bradley village, Illinois         1679.   East Peoria city, Illinois        1731.   Kankakee city, Illinois
1627.   Bridgeview village, Illinois      1680.   East St. Louis city, Illinois     1732.   Kankakee township, Illinois
1628.   Brookfield village, Illinois      1681.   East St. Louis township,          1733.   Kewanee city, Illinois
1629.   Bruce township, Illinois                  Illinois                          1734.   La Grange Park village,
1630.   Burbank city, Illinois            1682.   Edgar County, Illinois                    Illinois
1631.   Burr Ridge village, Illinois      1683.   Edwardsville city, Illinois       1735.   La Grange village, Illinois
1632.   Cahokia village, Illinois         1684.   Effingham city, Illinois          1736.   Lake Forest city, Illinois
1633.   Calumet township, Illinois        1685.   Elmwood Park village, Illinois    1737.   Lake in the Hills village,
1634.   Campton Hills village, Illinois   1686.   Evergreen Park village,                   Illinois
1635.   Campton township, Illinois                Illinois                          1738.   Lake Zurich village, Illinois
1636.   Canton city, Illinois             1687.   Fairview Heights city, Illinois   1739.   Lansing village, Illinois
1637.   Canton township, Illinois         1688.   Fayette County, Illinois          1740.   LaSalle township, Illinois
1638.   Carbondale city, Illinois         1689.   Flagg township, Illinois          1741.   Lawrence County, Illinois
1639.   Carbondale township, Illinois     1690.   Fondulac township, Illinois       1742.   Lemont township, Illinois
1640.   Carroll County, Illinois          1691.   Ford County, Illinois             1743.   Lemont village, Illinois
1641.   Cary village, Illinois            1692.   Forest Park village, Illinois     1744.   Libertyville village, Illinois
1642.   Cass County, Illinois             1693.   Fox Lake village, Illinois        1745.   Limestone township, Illinois
1643.   Centralia city, Illinois          1694.   Frankfort village, Illinois       1746.   Lincoln city, Illinois
1644.   Centralia township, Illinois      1695.   Franklin Park village, Illinois   1747.   Lincolnwood village, Illinois
1645.   Centreville township, Illinois    1696.   Freeport city, Illinois           1748.   Lindenhurst village, Illinois
1646.   Champaign township, Illinois      1697.   Freeport township, Illinois       1749.   Lisle village, Illinois
1647.   Channahon township, Illinois      1698.   Geneva city, Illinois             1750.   Little Rock township, Illinois
1648.   Channahon village, Illinois       1699.   Geneva township, Illinois         1751.   Lockport city, Illinois
1649.   Charleston city, Illinois         1700.   Glen Carbon village, Illinois     1752.   Logan County, Illinois
1650.   Charleston township, Illinois     1701.   Glen Ellyn village, Illinois      1753.   Long Creek township, Illinois
1651.   Chatham village, Illinois         1702.   Godfrey township, Illinois        1754.   Loves Park city, Illinois
1652.   Cherry Valley township,           1703.   Godfrey village, Illinois         1755.   Lyons village, Illinois
        Illinois                          1704.   Granite City city, Illinois       1756.   Machesney Park village,
1653.   Chicago Heights city, Illinois    1705.   Granite City township, Illinois           Illinois


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1757.   Macomb city, Illinois            1809.   Perry County, Illinois            1861.   Washington city, Illinois
1758.   Macomb City township,            1810.   Peru township, Illinois           1862.   Washington County, Illinois
        Illinois                         1811.   Piatt County, Illinois            1863.   Washington township, Illinois
1759.   Mahomet township, Illinois       1812.   Pike County, Illinois             1864.   Waterloo city, Illinois
1760.   Manhattan township, Illinois     1813.   Plano city, Illinois              1865.   Wauconda township, Illinois
1761.   Manteno township, Illinois       1814.   Pontiac city, Illinois            1866.   Wauconda village, Illinois
1762.   Marion city, Illinois            1815.   Pontiac township, Illinois        1867.   Wayne County, Illinois
1763.   Markham city, Illinois           1816.   Prospect Heights city, Illinois   1868.   West Chicago city, Illinois
1764.   Marshall County, Illinois        1817.   Rantoul township, Illinois        1869.   Westchester village, Illinois
1765.   Mason County, Illinois           1818.   Rantoul village, Illinois         1870.   Western Springs village,
1766.   Massac County, Illinois          1819.   Richland County, Illinois                 Illinois
1767.   Matteson village, Illinois       1820.   Richton Park village, Illinois    1871.   Westmont village, Illinois
1768.   Mattoon city, Illinois           1821.   River Forest township, Illinois   1872.   White County, Illinois
1769.   Mattoon township, Illinois       1822.   River Forest village, Illinois    1873.   Wilmette village, Illinois
1770.   Maywood village, Illinois        1823.   Riverdale village, Illinois       1874.   Winnetka village, Illinois
1771.   McDonough County, Illinois       1824.   Riverside township, Illinois      1875.   Wood Dale city, Illinois
1772.   McHenry city, Illinois           1825.   Rock Island township, Illinois    1876.   Wood River city, Illinois
1773.   Medina township, Illinois        1826.   Rockton township, Illinois        1877.   Woodside township, Illinois
1774.   Melrose Park village, Illinois   1827.   Rolling Meadows city, Illinois    1878.   Woodstock city, Illinois
1775.   Menard County, Illinois          1828.   Roscoe township, Illinois         1879.   Worth village, Illinois
1776.   Mercer County, Illinois          1829.   Roscoe village, Illinois          1880.   Yorkville city, Illinois
1777.   Midlothian village, Illinois     1830.   Roselle village, Illinois         1881.   Zion city, Illinois
1778.   Minooka village, Illinois        1831.   Round Lake Beach village,         1882.   Zion township, Illinois
1779.   Mokena village, Illinois                 Illinois                          1883.   Aboite township, Indiana *
1780.   Moline township, Illinois        1832.   Round Lake village, Illinois      1884.   Adams County, Indiana *
1781.   Monee township, Illinois         1833.   Rutland township, Illinois        1885.   Adams township, Indiana *
1782.   Montgomery County, Illinois      1834.   Saline County, Illinois           1886.   Allen County, Indiana *
1783.   Montgomery village, Illinois     1835.   Sauk Village village, Illinois    1887.   Anderson city, Indiana *
1784.   Morris city, Illinois            1836.   Schiller Park village, Illinois   1888.   Anderson township, Indiana *
1785.   Morton Grove village, Illinois   1837.   Shelby County, Illinois           1889.   Bartholomew County, Indiana
1786.   Morton township, Illinois        1838.   Shiloh Valley township,                   *
1787.   Morton village, Illinois                 Illinois                          1890.   Bloomington city, Indiana *
1788.   Moultrie County, Illinois        1839.   Shiloh village, Illinois          1891.   Bloomington township,
1789.   Mount Vernon city, Illinois      1840.   Shorewood village, Illinois               Indiana *
1790.   Mount Vernon township,           1841.   South Elgin village, Illinois     1892.   Boone County, Indiana *
        Illinois                         1842.   South Holland village, Illinois   1893.   Calumet township, Indiana *
1791.   Nameoki township, Illinois       1843.   South Rock Island township,       1894.   Carmel city, Indiana *
1792.   New Lenox village, Illinois              Illinois                          1895.   Cass County, Indiana *
1793.   Newell township, Illinois        1844.   Sterling city, Illinois           1896.   Center township, Indiana *
1794.   Niles village, Illinois          1845.   Sterling township, Illinois       1897.   Center township, Indiana *
1795.   Norridge village, Illinois       1846.   Streator city, Illinois           1898.   Center township, Indiana *
1796.   North Aurora village, Illinois   1847.   Sugar Grove township, Illinois    1899.   Center township, Indiana *
1797.   North Chicago city, Illinois     1848.   Summit village, Illinois          1900.   Center township, Indiana *
1798.   Northlake city, Illinois         1849.   Swansea village, Illinois         1901.   Center township, Indiana *
1799.   Norwood Park township,           1850.   Sycamore city, Illinois           1902.   Clark County, Indiana *
        Illinois                         1851.   Sycamore township, Illinois       1903.   Clay township, Indiana *
1800.   O'Fallon city, Illinois          1852.   Taylorville city, Illinois        1904.   Clay township, Indiana *
1801.   O'Fallon township, Illinois      1853.   Taylorville township, Illinois    1905.   Clinton County, Indiana *
1802.   Oak Forest city, Illinois        1854.   Troy city, Illinois               1906.   Columbus city, Indiana *
1803.   Ottawa city, Illinois            1855.   Union County, Illinois            1907.   Columbus township, Indiana *
1804.   Ottawa township, Illinois        1856.   Vernon Hills village, Illinois    1908.   Concord township, Indiana *
1805.   Palos Heights city, Illinois     1857.   Villa Park village, Illinois      1909.   Crown Point city, Indiana *
1806.   Palos Hills city, Illinois       1858.   Wabash County, Illinois           1910.   Daviess County, Indiana *
1807.   Park Forest village, Illinois    1859.   Warren County, Illinois           1911.   Dearborn County, Indiana *
1808.   Pekin township, Illinois         1860.   Warrenville city, Illinois        1912.   Decatur township, Indiana *


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1913.   DeKalb County, Indiana *         1966.   Miami County, Indiana *          2013.   Wayne County, Indiana *
1914.   Delaware County, Indiana *       1967.   Michigan City city, Indiana *    2014.   Wayne township, Indiana *
1915.   Delaware township, Indiana *     1968.   Mishawaka city, Indiana *        2015.   Wayne township, Indiana *
1916.   Dubois County, Indiana *         1969.   Monroe County, Indiana *         2016.   Wayne township, Indiana *
1917.   Elkhart city, Indiana *          1970.   Montgomery County, Indiana       2017.   Wea township, Indiana *
1918.   Elkhart County, Indiana *                *                                2018.   West Lafayette city, Indiana *
1919.   Elkhart township, Indiana *      1971.   Morgan County, Indiana *         2019.   Westfield city, Indiana *
1920.   Evansville city, Indiana *       1972.   Muncie city, Indiana *           2020.   White River township, Indiana
1921.   Fairfield township, Indiana *    1973.   New Albany city, Indiana *               *
1922.   Fall Creek township, Indiana *   1974.   New Albany township,             2021.   Whitley County, Indiana *
1923.   Fishers city, Indiana *                  Indiana *                        2022.   Addison township, Indiana
1924.   Floyd County, Indiana *          1975.   Noble County, Indiana *          2023.   Auburn city, Indiana
1925.   Fort Wayne city, Indiana *       1976.   Noblesville city, Indiana *      2024.   Avon town, Indiana
1926.   Franklin township, Indiana *     1977.   Noblesville township, Indiana    2025.   Bainbridge township, Indiana
1927.   Gary city, Indiana *                     *                                2026.   Baugo township, Indiana
1928.   Gibson County, Indiana *         1978.   North township, Indiana *        2027.   Bedford city, Indiana
1929.   Goshen city, Indiana *           1979.   Ohio township, Indiana *         2028.   Beech Grove city, Indiana
1930.   Grant County, Indiana *          1980.   Penn township, Indiana *         2029.   Blackford County, Indiana
1931.   Greene County, Indiana *         1981.   Perry township, Indiana *        2030.   Bluffton city, Indiana
1932.   Greenwood city, Indiana *        1982.   Perry township, Indiana *        2031.   Boon township, Indiana
1933.   Guilford township, Indiana *     1983.   Perry township, Indiana *        2032.   Brown County, Indiana
1934.   Hamilton County, Indiana *       1984.   Pike township, Indiana *         2033.   Brown township, Indiana
1935.   Hammond city, Indiana *          1985.   Plainfield town, Indiana *       2034.   Brown township, Indiana
1936.   Hancock County, Indiana *        1986.   Pleasant township, Indiana *     2035.   Brownsburg town, Indiana
1937.   Harrison County, Indiana *       1987.   Portage city, Indiana *          2036.   Carroll County, Indiana
1938.   Harrison township, Indiana *     1988.   Portage township, Indiana *      2037.   Cedar Creek township, Indiana
1939.   Hendricks County, Indiana *      1989.   Portage township, Indiana *      2038.   Cedar Creek township, Indiana
1940.   Henry County, Indiana *          1990.   Porter County, Indiana *         2039.   Cedar Lake town, Indiana
1941.   Hobart township, Indiana *       1991.   Putnam County, Indiana *         2040.   Center township, Indiana
1942.   Howard County, Indiana *         1992.   Richmond city, Indiana *         2041.   Center township, Indiana
1943.   Huntington County, Indiana *     1993.   Ross township, Indiana *         2042.   Center township, Indiana
1944.   Jackson County, Indiana *        1994.   Shelby County, Indiana *         2043.   Center township, Indiana
1945.   Jasper County, Indiana *         1995.   South Bend city, Indiana *       2044.   Center township, Indiana
1946.   Jefferson County, Indiana *      1996.   St. John township, Indiana *     2045.   Center township, Indiana
1947.   Jeffersonville city, Indiana *   1997.   St. Joseph County, Indiana *     2046.   Center township, Indiana
1948.   Jeffersonville township,         1998.   St. Joseph township, Indiana *   2047.   Centre township, Indiana
        Indiana *                        1999.   Steuben County, Indiana *        2048.   Charlestown township, Indiana
1949.   Johnson County, Indiana *        2000.   Terre Haute city, Indiana *      2049.   Chesterton town, Indiana
1950.   Knight township, Indiana *       2001.   Tippecanoe County, Indiana *     2050.   Clarksville town, Indiana
1951.   Knox County, Indiana *           2002.   Valparaiso city, Indiana *       2051.   Clay County, Indiana
1952.   Kokomo city, Indiana *           2003.   Vanderburgh County, Indiana      2052.   Cleveland township, Indiana
1953.   Kosciusko County, Indiana *              *                                2053.   Columbia township, Indiana
1954.   Lafayette city, Indiana *        2004.   Vigo County, Indiana *           2054.   Connersville city, Indiana
1955.   LaGrange County, Indiana *       2005.   Wabash County, Indiana *         2055.   Connersville township,
1956.   Lake County, Indiana *           2006.   Wabash township, Indiana *               Indiana
1957.   LaPorte County, Indiana *        2007.   Warren township, Indiana *       2056.   Coolspring township, Indiana
1958.   Lawrence city, Indiana *         2008.   Warrick County, Indiana *        2057.   Crawford County, Indiana
1959.   Lawrence County, Indiana *       2009.   Washington township, Indiana     2058.   Crawfordsville city, Indiana
1960.   Lawrence township, Indiana *             *                                2059.   Danville town, Indiana
1961.   Lincoln township, Indiana *      2010.   Washington township, Indiana     2060.   Decatur County, Indiana
1962.   Madison County, Indiana *                *                                2061.   Dyer town, Indiana
1963.   Marion County / Indianapolis     2011.   Washington township, Indiana     2062.   East Chicago city, Indiana
        city, Indiana *                          *                                2063.   Eel township, Indiana
1964.   Marshall County, Indiana *       2012.   Washington township, Indiana     2064.   Fall Creek township, Indiana
1965.   Merrillville town, Indiana *             *                                2065.   Fayette County, Indiana


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2066.   Fountain County, Indiana        2119.   Peru city, Indiana               2174.   Cerro Gordo County, Iowa *
2067.   Frankfort city, Indiana         2120.   Peru township, Indiana           2175.   Clinton County, Iowa *
2068.   Franklin city, Indiana          2121.   Pigeon township, Indiana         2176.   Council Bluffs city, Iowa *
2069.   Franklin County, Indiana        2122.   Pike County, Indiana             2177.   Dallas County, Iowa *
2070.   Franklin township, Indiana      2123.   Pipe Creek township, Indiana     2178.   Davenport city, Iowa *
2071.   Fulton County, Indiana          2124.   Pleasant township, Indiana       2179.   Des Moines city, Iowa *
2072.   Georgetown township, Indiana    2125.   Posey County, Indiana            2180.   Des Moines County, Iowa *
2073.   Greencastle city, Indiana       2126.   Pulaski County, Indiana          2181.   Dubuque city, Iowa *
2074.   Greencastle township, Indiana   2127.   Randolph County, Indiana         2182.   Dubuque County, Iowa *
2075.   Greenfield city, Indiana        2128.   Richland township, Indiana       2183.   Iowa City city, Iowa *
2076.   Greensburg city, Indiana        2129.   Ripley County, Indiana           2184.   Jasper County, Iowa *
2077.   Griffith town, Indiana          2130.   Rush County, Indiana             2185.   Johnson County, Iowa *
2078.   Hanover township, Indiana       2131.   Schererville town, Indiana       2186.   Lee County, Iowa *
2079.   Harris township, Indiana        2132.   Scott County, Indiana            2187.   Linn County, Iowa *
2080.   Harrison township, Indiana      2133.   Seymour city, Indiana            2188.   Marion city, Iowa *
2081.   Henry township, Indiana         2134.   Shawswick township, Indiana      2189.   Marion County, Iowa *
2082.   Highland town, Indiana          2135.   Shelbyville city, Indiana        2190.   Marshall County, Iowa *
2083.   Hobart city, Indiana            2136.   Silver Creek township, Indiana   2191.   Muscatine County, Iowa *
2084.   Honey Creek township,           2137.   Speedway town, Indiana           2192.   Polk County, Iowa *
        Indiana                         2138.   Spencer County, Indiana          2193.   Pottawattamie County, Iowa *
2085.   Huntington city, Indiana        2139.   St. John town, Indiana           2194.   Scott County, Iowa *
2086.   Huntington township, Indiana    2140.   Starke County, Indiana           2195.   Sioux City city, Iowa *
2087.   Jackson township, Indiana       2141.   Sugar Creek township, Indiana    2196.   Sioux County, Iowa *
2088.   Jackson township, Indiana       2142.   Sullivan County, Indiana         2197.   Story County, Iowa *
2089.   Jasper city, Indiana            2143.   Switzerland County, Indiana      2198.   Urbandale city, Iowa *
2090.   Jay County, Indiana             2144.   Tipton County, Indiana           2199.   Wapello County, Iowa *
2091.   Jefferson township, Indiana     2145.   Troy township, Indiana           2200.   Warren County, Iowa *
2092.   Jennings County, Indiana        2146.   Union township, Indiana          2201.   Waterloo city, Iowa *
2093.   Keener township, Indiana        2147.   Union township, Indiana          2202.   Webster County, Iowa *
2094.   La Porte city, Indiana          2148.   Van Buren township, Indiana      2203.   West Des Moines city, Iowa *
2095.   Lake Station city, Indiana      2149.   Vermillion County, Indiana       2204.   Woodbury County, Iowa *
2096.   Lawrenceburg township,          2150.   Vernon township, Indiana         2205.   Allamakee County, Iowa
        Indiana                         2151.   Vincennes city, Indiana          2206.   Altoona city, Iowa
2097.   Lebanon city, Indiana           2152.   Vincennes township, Indiana      2207.   Appanoose County, Iowa
2098.   Logansport city, Indiana        2153.   Warsaw city, Indiana             2208.   Benton County, Iowa
2099.   Lost Creek township, Indiana    2154.   Washington city, Indiana         2209.   Boone city, Iowa
2100.   Madison city, Indiana           2155.   Washington County, Indiana       2210.   Boone County, Iowa
2101.   Madison township, Indiana       2156.   Washington township, Indiana     2211.   Bremer County, Iowa
2102.   Marion city, Indiana            2157.   Washington township, Indiana     2212.   Buchanan County, Iowa
2103.   Martin County, Indiana          2158.   Washington township, Indiana     2213.   Buena Vista County, Iowa
2104.   Martinsville city, Indiana      2159.   Washington township, Indiana     2214.   Burlington city, Iowa
2105.   Michigan township, Indiana      2160.   Wayne township, Indiana          2215.   Butler County, Iowa
2106.   Mill township, Indiana          2161.   Wayne township, Indiana          2216.   Carroll County, Iowa
2107.   Munster town, Indiana           2162.   Wells County, Indiana            2217.   Cass County, Iowa
2108.   New Castle city, Indiana        2163.   Westchester township, Indiana    2218.   Cedar County, Iowa
2109.   New Haven city, Indiana         2164.   White County, Indiana            2219.   Cherokee County, Iowa
2110.   Newton County, Indiana          2165.   Winfield township, Indiana       2220.   Chickasaw County, Iowa
2111.   Noble township, Indiana         2166.   Yorktown town, Indiana           2221.   Clay County, Iowa
2112.   Orange County, Indiana          2167.   Zionsville town, Indiana         2222.   Clayton County, Iowa
2113.   Osolo township, Indiana         2168.   Ames city, Iowa *                2223.   Clinton city, Iowa
2114.   Owen County, Indiana            2169.   Ankeny city, Iowa *              2224.   Clive city, Iowa
2115.   Parke County, Indiana           2170.   Bettendorf city, Iowa *          2225.   Coralville city, Iowa
2116.   Patoka township, Indiana        2171.   Black Hawk County, Iowa *        2226.   Crawford County, Iowa
2117.   Perry County, Indiana           2172.   Cedar Falls city, Iowa *         2227.   Delaware County, Iowa
2118.   Perry township, Indiana         2173.   Cedar Rapids city, Iowa *        2228.   Dickinson County, Iowa


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2229.   Fairfield city, Iowa       2284.   Butler County, Kansas *        2337.   Jackson County, Kansas
2230.   Fayette County, Iowa       2285.   Cowley County, Kansas *        2338.   Jefferson County, Kansas
2231.   Floyd County, Iowa         2286.   Crawford County, Kansas *      2339.   Junction City city, Kansas
2232.   Fort Dodge city, Iowa      2287.   Douglas County, Kansas *       2340.   Labette County, Kansas
2233.   Fort Madison city, Iowa    2288.   Finney County, Kansas *        2341.   Lansing city, Kansas
2234.   Franklin County, Iowa      2289.   Ford County, Kansas *          2342.   Liberal city, Kansas
2235.   Grimes city, Iowa          2290.   Geary County, Kansas *         2343.   Madison township, Kansas
2236.   Grundy County, Iowa        2291.   Harvey County, Kansas *        2344.   Marion County, Kansas
2237.   Guthrie County, Iowa       2292.   Hutchinson city, Kansas *      2345.   McPherson city, Kansas
2238.   Hamilton County, Iowa      2293.   Johnson County, Kansas *       2346.   McPherson County, Kansas
2239.   Hancock County, Iowa       2294.   Kansas City city, Kansas *     2347.   Merriam city, Kansas
2240.   Hardin County, Iowa        2295.   Lawrence city, Kansas *        2348.   Nemaha County, Kansas
2241.   Harrison County, Iowa      2296.   Leavenworth city, Kansas *     2349.   Neosho County, Kansas
2242.   Henry County, Iowa         2297.   Leavenworth County, Kansas     2350.   Newton city, Kansas
2243.   Indianola city, Iowa               *                              2351.   Osage County, Kansas
2244.   Iowa County, Iowa          2298.   Leawood city, Kansas *         2352.   Ottawa city, Kansas
2245.   Jackson County, Iowa       2299.   Lenexa city, Kansas *          2353.   Pittsburg city, Kansas
2246.   Jefferson County, Iowa     2300.   Lyon County, Kansas *          2354.   Pottawatomie County, Kansas
2247.   Johnston city, Iowa        2301.   Manhattan city, Kansas *       2355.   Prairie Village city, Kansas
2248.   Jones County, Iowa         2302.   Miami County, Kansas *         2356.   Riverside township, Kansas
2249.   Keokuk city, Iowa          2303.   Montgomery County, Kansas      2357.   Rockford township, Kansas
2250.   Keokuk County, Iowa                *                              2358.   Seward County, Kansas
2251.   Kossuth County, Iowa       2304.   Olathe city, Kansas *          2359.   Soldier township, Kansas
2252.   Le Mars city, Iowa         2305.   Overland Park city, Kansas *   2360.   Sumner County, Kansas
2253.   Louisa County, Iowa        2306.   Reno County, Kansas *          2361.   Winfield city, Kansas
2254.   Lyon County, Iowa          2307.   Riley County, Kansas *         2362.   Barren County, Kentucky *
2255.   Madison County, Iowa       2308.   Salina city, Kansas *          2363.   Boone County, Kentucky *
2256.   Mahaska County, Iowa       2309.   Saline County, Kansas *        2364.   Bowling Green city, Kentucky
2257.   Marshalltown city, Iowa    2310.   Sedgwick County, Kansas *              *
2258.   Mason City city, Iowa      2311.   Shawnee city, Kansas *         2365.   Boyd County, Kentucky *
2259.   Mills County, Iowa         2312.   Shawnee County, Kansas *       2366.   Boyle County, Kentucky *
2260.   Mitchell County, Iowa      2313.   Topeka city, Kansas *          2367.   Bullitt County, Kentucky *
2261.   Muscatine city, Iowa       2314.   Wichita city, Kansas *         2368.   Calloway County, Kentucky *
2262.   Newton city, Iowa          2315.   Allen County, Kansas           2369.   Campbell County, Kentucky *
2263.   North Liberty city, Iowa   2316.   Andover city, Kansas           2370.   Christian County, Kentucky *
2264.   Norwalk city, Iowa         2317.   Arkansas City city, Kansas     2371.   Clark County, Kentucky *
2265.   O'Brien County, Iowa       2318.   Atchison city, Kansas          2372.   Covington city, Kentucky *
2266.   Oskaloosa city, Iowa       2319.   Atchison County, Kansas        2373.   Daviess County, Kentucky *
2267.   Ottumwa city, Iowa         2320.   Barton County, Kansas          2374.   Elizabethtown city, Kentucky
2268.   Page County, Iowa          2321.   Bourbon County, Kansas                 *
2269.   Pella city, Iowa           2322.   Bruno township, Kansas         2375.   Florence city, Kentucky *
2270.   Pleasant Hill city, Iowa   2323.   Cherokee County, Kansas        2376.   Floyd County, Kentucky *
2271.   Plymouth County, Iowa      2324.   Derby city, Kansas             2377.   Franklin County, Kentucky *
2272.   Poweshiek County, Iowa     2325.   Dickinson County, Kansas       2378.   Georgetown city, Kentucky *
2273.   Shelby County, Iowa        2326.   Dodge City city, Kansas        2379.   Graves County, Kentucky *
2274.   Spencer city, Iowa         2327.   El Dorado city, Kansas         2380.   Greenup County, Kentucky *
2275.   Storm Lake city, Iowa      2328.   Ellis County, Kansas           2381.   Hardin County, Kentucky *
2276.   Tama County, Iowa          2329.   Emporia city, Kansas           2382.   Henderson County, Kentucky
2277.   Union County, Iowa         2330.   Fairmount township, Kansas             *
2278.   Washington County, Iowa    2331.   Franklin County, Kansas        2383.   Hopkins County, Kentucky *
2279.   Waukee city, Iowa          2332.   Garden City city, Kansas       2384.   Hopkinsville city, Kentucky *
2280.   Waverly city, Iowa         2333.   Gardner city, Kansas           2385.   Jessamine County, Kentucky *
2281.   Winnebago County, Iowa     2334.   Great Bend city, Kansas        2386.   Kenton County, Kentucky *
2282.   Winneshiek County, Iowa    2335.   Hays city, Kansas              2387.   Knox County, Kentucky *
2283.   Wright County, Iowa        2336.   Haysville city, Kansas         2388.   Laurel County, Kentucky *


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2389.   Lexington-Fayette urban          2438.   Harrison County, Kentucky       2491.   Washington County, Kentucky
        county, Kentucky *               2439.   Hart County, Kentucky           2492.   Wayne County, Kentucky
2390.   Louisville/Jefferson County      2440.   Henderson city, Kentucky        2493.   Webster County, Kentucky
        metro government, Kentucky       2441.   Henry County, Kentucky          2494.   Winchester city, Kentucky
        *                                2442.   Independence city, Kentucky     2495.   Woodford County, Kentucky
2391.   Madison County, Kentucky *       2443.   Jackson County, Kentucky        2496.   Acadia Parish, Louisiana *
2392.   Marshall County, Kentucky *      2444.   Jeffersontown city, Kentucky    2497.   Alexandria city, Louisiana *
2393.   McCracken County, Kentucky       2445.   Johnson County, Kentucky        2498.   Ascension Parish, Louisiana *
        *                                2446.   Knott County, Kentucky          2499.   Avoyelles Parish, Louisiana *
2394.   Muhlenberg County, Kentucky      2447.   Larue County, Kentucky          2500.   Baton Rouge city, Louisiana *
        *                                2448.   Lawrence County, Kentucky       2501.   Beauregard Parish, Louisiana
2395.   Nelson County, Kentucky *        2449.   Lawrenceburg city, Kentucky             *
2396.   Nicholasville city, Kentucky *   2450.   Letcher County, Kentucky        2502.   Bossier City city, Louisiana *
2397.   Oldham County, Kentucky *        2451.   Lewis County, Kentucky          2503.   Bossier Parish, Louisiana *
2398.   Owensboro city, Kentucky *       2452.   Lincoln County, Kentucky        2504.   Caddo Parish, Louisiana *
2399.   Pike County, Kentucky *          2453.   Logan County, Kentucky          2505.   Calcasieu Parish, Louisiana *
2400.   Pulaski County, Kentucky *       2454.   Lyndon city, Kentucky           2506.   East Baton Rouge Parish,
2401.   Richmond city, Kentucky *        2455.   Madisonville city, Kentucky             Louisiana *
2402.   Scott County, Kentucky *         2456.   Magoffin County, Kentucky       2507.   Evangeline Parish, Louisiana *
2403.   Shelby County, Kentucky *        2457.   Marion County, Kentucky         2508.   Iberia Parish, Louisiana *
2404.   Warren County, Kentucky *        2458.   Martin County, Kentucky         2509.   Iberville Parish, Louisiana *
2405.   Whitley County, Kentucky *       2459.   Mason County, Kentucky          2510.   Jefferson Davis Parish,
2406.   Adair County, Kentucky           2460.   McCreary County, Kentucky               Louisiana *
2407.   Allen County, Kentucky           2461.   Meade County, Kentucky          2511.   Jefferson Parish, Louisiana *
2408.   Anderson County, Kentucky        2462.   Mercer County, Kentucky         2512.   Kenner city, Louisiana *
2409.   Ashland city, Kentucky           2463.   Metcalfe County, Kentucky       2513.   Lafayette city, Louisiana *
2410.   Bardstown city, Kentucky         2464.   Monroe County, Kentucky         2514.   Lafayette Parish, Louisiana *
2411.   Bath County, Kentucky            2465.   Montgomery County,              2515.   Lafourche Parish, Louisiana *
2412.   Bell County, Kentucky                    Kentucky                        2516.   Lake Charles city, Louisiana *
2413.   Berea city, Kentucky             2466.   Morgan County, Kentucky         2517.   Lincoln Parish, Louisiana *
2414.   Bourbon County, Kentucky         2467.   Mount Washington city,          2518.   Livingston Parish, Louisiana *
2415.   Breathitt County, Kentucky               Kentucky                        2519.   Monroe city, Louisiana *
2416.   Breckinridge County,             2468.   Murray city, Kentucky           2520.   Natchitoches Parish, Louisiana
        Kentucky                         2469.   Newport city, Kentucky                  *
2417.   Butler County, Kentucky          2470.   Ohio County, Kentucky           2521.   New Orleans city / Orleans
2418.   Caldwell County, Kentucky        2471.   Owen County, Kentucky                   Parish, Louisiana *
2419.   Campbellsville city, Kentucky    2472.   Paducah city, Kentucky          2522.   Ouachita Parish, Louisiana *
2420.   Carroll County, Kentucky         2473.   Pendleton County, Kentucky      2523.   Rapides Parish, Louisiana *
2421.   Carter County, Kentucky          2474.   Perry County, Kentucky          2524.   Shreveport city, Louisiana *
2422.   Casey County, Kentucky           2475.   Powell County, Kentucky         2525.   St. Bernard Parish, Louisiana
2423.   Clay County, Kentucky            2476.   Radcliff city, Kentucky                 *
2424.   Clinton County, Kentucky         2477.   Rockcastle County, Kentucky     2526.   St. Charles Parish, Louisiana *
2425.   Danville city, Kentucky          2478.   Rowan County, Kentucky          2527.   St. John the Baptist Parish,
2426.   Edmonson County, Kentucky        2479.   Russell County, Kentucky                Louisiana *
2427.   Erlanger city, Kentucky          2480.   Shelbyville city, Kentucky      2528.   St. Landry Parish, Louisiana *
2428.   Estill County, Kentucky          2481.   Shepherdsville city, Kentucky   2529.   St. Martin Parish, Louisiana *
2429.   Fleming County, Kentucky         2482.   Shively city, Kentucky          2530.   St. Mary Parish, Louisiana *
2430.   Fort Thomas city, Kentucky       2483.   Simpson County, Kentucky        2531.   St. Tammany Parish,
2431.   Frankfort city, Kentucky         2484.   Somerset city, Kentucky                 Louisiana *
2432.   Garrard County, Kentucky         2485.   Spencer County, Kentucky        2532.   Tangipahoa Parish, Louisiana
2433.   Glasgow city, Kentucky           2486.   St. Matthews city, Kentucky             *
2434.   Grant County, Kentucky           2487.   Taylor County, Kentucky         2533.   Terrebonne Parish, Louisiana
2435.   Grayson County, Kentucky         2488.   Todd County, Kentucky                   *
2436.   Green County, Kentucky           2489.   Trigg County, Kentucky          2534.   Vermilion Parish, Louisiana *
2437.   Harlan County, Kentucky          2490.   Union County, Kentucky          2535.   Vernon Parish, Louisiana *


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2536.   Washington Parish, Louisiana     2586.   Youngsville city, Louisiana     2638.   Frederick city, Maryland *
        *                                2587.   Zachary city, Louisiana         2639.   Frederick County, Maryland *
2537.   Webster Parish, Louisiana *      2588.   Androscoggin County, Maine      2640.   Gaithersburg city, Maryland *
2538.   Abbeville city, Louisiana                *                               2641.   Hagerstown city, Maryland *
2539.   Allen Parish, Louisiana          2589.   Aroostook County, Maine *       2642.   Harford County, Maryland *
2540.   Assumption Parish, Louisiana     2590.   Bangor city, Maine *            2643.   Howard County, Maryland *
2541.   Baker city, Louisiana            2591.   Cumberland County, Maine *      2644.   Montgomery County,
2542.   Bastrop city, Louisiana          2592.   Franklin County, Maine *                Maryland *
2543.   Bienville Parish, Louisiana      2593.   Hancock County, Maine *         2645.   Prince George's County,
2544.   Bogalusa city, Louisiana         2594.   Kennebec County, Maine *                Maryland *
2545.   Broussard city, Louisiana        2595.   Knox County, Maine *            2646.   Queen Anne's County,
2546.   Central city, Louisiana          2596.   Lewiston city, Maine *                  Maryland *
2547.   Claiborne Parish, Louisiana      2597.   Lincoln County, Maine *         2647.   Rockville city, Maryland *
2548.   Concordia Parish, Louisiana      2598.   Oxford County, Maine *          2648.   Salisbury city, Maryland *
2549.   Covington city, Louisiana        2599.   Penobscot County, Maine *       2649.   St. Mary's County, Maryland *
2550.   Crowley city, Louisiana          2600.   Portland city, Maine *          2650.   Talbot County, Maryland *
2551.   De Soto Parish, Louisiana        2601.   Sagadahoc County, Maine *       2651.   Washington County, Maryland
2552.   DeRidder city, Louisiana         2602.   Somerset County, Maine *                *
2553.   East Feliciana Parish,           2603.   Waldo County, Maine *           2652.   Wicomico County, Maryland
        Louisiana                        2604.   Washington County, Maine *              *
2554.   Franklin Parish, Louisiana       2605.   York County, Maine *            2653.   Worcester County, Maryland *
2555.   Gonzales city, Louisiana         2606.   Auburn city, Maine              2654.   Aberdeen city, Maryland
2556.   Grant Parish, Louisiana          2607.   Augusta city, Maine             2655.   Bel Air town, Maryland
2557.   Gretna city, Louisiana           2608.   Biddeford city, Maine           2656.   Cambridge city, Maryland
2558.   Hammond city, Louisiana          2609.   Brunswick town, Maine           2657.   Cumberland city, Maryland
2559.   Jackson Parish, Louisiana        2610.   Falmouth town, Maine            2658.   Easton town, Maryland
2560.   LaSalle Parish, Louisiana        2611.   Gorham town, Maine              2659.   Elkton town, Maryland
2561.   Madison Parish, Louisiana        2612.   Kennebunk town, Maine           2660.   Garrett County, Maryland
2562.   Mandeville city, Louisiana       2613.   Orono town, Maine               2661.   Greenbelt city, Maryland
2563.   Minden city, Louisiana           2614.   Piscataquis County, Maine       2662.   Havre de Grace city, Maryland
2564.   Morehouse Parish, Louisiana      2615.   Saco city, Maine                2663.   Hyattsville city, Maryland
2565.   Morgan City city, Louisiana      2616.   Sanford city, Maine             2664.   Kent County, Maryland
2566.   Natchitoches city, Louisiana     2617.   Scarborough town, Maine         2665.   Laurel city, Maryland
2567.   New Iberia city, Louisiana       2618.   South Portland city, Maine      2666.   New Carrollton city, Maryland
2568.   Opelousas city, Louisiana        2619.   Standish town, Maine            2667.   Somerset County, Maryland
2569.   Pineville city, Louisiana        2620.   Waterville city, Maine          2668.   Takoma Park city, Maryland
2570.   Plaquemines Parish, Louisiana    2621.   Wells town, Maine               2669.   Westminster city, Maryland
2571.   Pointe Coupee Parish,            2622.   Westbrook city, Maine           2670.   Amherst town, Massachusetts
        Louisiana                        2623.   Windham town, Maine                     *
2572.   Richland Parish, Louisiana       2624.   York town, Maine                2671.   Andover town, Massachusetts
2573.   Ruston city, Louisiana           2625.   Allegany County, Maryland *             *
2574.   Sabine Parish, Louisiana         2626.   Annapolis city, Maryland *      2672.   Arlington town, Massachusetts
2575.   Slidell city, Louisiana          2627.   Anne Arundel County,                    *
2576.   St. Helena Parish, Louisiana             Maryland *                      2673.   Attleboro city, Massachusetts
2577.   St. James Parish, Louisiana      2628.   Baltimore city, Maryland *              *
2578.   Sulphur city, Louisiana          2629.   Baltimore County, Maryland *    2674.   Barnstable County,
2579.   Thibodaux city, Louisiana        2630.   Bowie city, Maryland *                  Massachusetts *
2580.   Union Parish, Louisiana          2631.   Calvert County, Maryland *      2675.   Barnstable Town city,
2581.   West Baton Rouge Parish,         2632.   Caroline County, Maryland *             Massachusetts *
        Louisiana                        2633.   Carroll County, Maryland *      2676.   Beverly city, Massachusetts *
2582.   West Carroll Parish, Louisiana   2634.   Cecil County, Maryland *        2677.   Billerica town, Massachusetts
2583.   West Feliciana Parish,           2635.   Charles County, Maryland *              *
        Louisiana                        2636.   College Park city, Maryland *   2678.   Boston city, Massachusetts *
2584.   West Monroe city, Louisiana      2637.   Dorchester County, Maryland     2679.   Braintree Town city,
2585.   Winn Parish, Louisiana                   *                                       Massachusetts *


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2680.   Bristol County, Massachusetts    2712.   North Andover town,                2749.   Charlton town, Massachusetts
        *                                        Massachusetts *                    2750.   Clinton town, Massachusetts
2681.   Brockton city, Massachusetts     2713.   Peabody city, Massachusetts *      2751.   Concord town, Massachusetts
        *                                2714.   Pittsfield city, Massachusetts *   2752.   Danvers town, Massachusetts
2682.   Brookline town,                  2715.   Plymouth County,                   2753.   Dedham town, Massachusetts
        Massachusetts *                          Massachusetts *                    2754.   Dennis town, Massachusetts
2683.   Cambridge city, Massachusetts    2716.   Plymouth town, Massachusetts       2755.   Dudley town, Massachusetts
        *                                        *                                  2756.   Dukes County, Massachusetts
2684.   Chelmsford town,                 2717.   Quincy city, Massachusetts *       2757.   Duxbury town, Massachusetts
        Massachusetts *                  2718.   Randolph Town city,                2758.   East Bridgewater town,
2685.   Chelsea city, Massachusetts *            Massachusetts *                            Massachusetts
2686.   Chicopee city, Massachusetts     2719.   Revere city, Massachusetts *       2759.   East Longmeadow town,
        *                                2720.   Salem city, Massachusetts *                Massachusetts
2687.   Dartmouth town,                  2721.   Shrewsbury town,                   2760.   Easthampton Town city,
        Massachusetts *                          Massachusetts *                            Massachusetts
2688.   Dracut town, Massachusetts *     2722.   Somerville city, Massachusetts     2761.   Easton town, Massachusetts
2689.   Everett city, Massachusetts *            *                                  2762.   Fairhaven town,
2690.   Fall River city, Massachusetts   2723.   Springfield city,                          Massachusetts
        *                                        Massachusetts *                    2763.   Foxborough town,
2691.   Falmouth town, Massachusetts     2724.   Taunton city, Massachusetts *              Massachusetts
        *                                2725.   Tewksbury town,                    2764.   Gardner city, Massachusetts
2692.   Fitchburg city, Massachusetts            Massachusetts *                    2765.   Grafton town, Massachusetts
        *                                2726.   Waltham city, Massachusetts *      2766.   Greenfield Town city,
2693.   Framingham city,                 2727.   Watertown Town city,                       Massachusetts
        Massachusetts *                          Massachusetts *                    2767.   Groton town, Massachusetts
2694.   Franklin Town city,              2728.   Westfield city, Massachusetts      2768.   Hanover town, Massachusetts
        Massachusetts *                          *                                  2769.   Hanson town, Massachusetts
2695.   Gloucester city, Massachusetts   2729.   Weymouth Town city,                2770.   Harwich town, Massachusetts
        *                                        Massachusetts *                    2771.   Hingham town, Massachusetts
2696.   Haverhill city, Massachusetts    2730.   Woburn city, Massachusetts *       2772.   Holbrook town, Massachusetts
        *                                2731.   Worcester city, Massachusetts      2773.   Holden town, Massachusetts
2697.   Holyoke city, Massachusetts *            *                                  2774.   Holliston town, Massachusetts
2698.   Lawrence city, Massachusetts     2732.   Abington town, Massachusetts       2775.   Hopkinton town,
        *                                2733.   Acton town, Massachusetts                  Massachusetts
2699.   Leominster city,                 2734.   Acushnet town, Massachusetts       2776.   Hudson town, Massachusetts
        Massachusetts *                  2735.   Agawam Town city,                  2777.   Hull town, Massachusetts
2700.   Lexington town,                          Massachusetts                      2778.   Ipswich town, Massachusetts
        Massachusetts *                  2736.   Amesbury Town city,                2779.   Kingston town, Massachusetts
2701.   Lowell city, Massachusetts *             Massachusetts                      2780.   Lakeville town, Massachusetts
2702.   Lynn city, Massachusetts *       2737.   Ashland town, Massachusetts        2781.   Leicester town, Massachusetts
2703.   Malden city, Massachusetts *     2738.   Athol town, Massachusetts          2782.   Littleton town, Massachusetts
2704.   Marlborough city,                2739.   Auburn town, Massachusetts         2783.   Longmeadow town,
        Massachusetts *                  2740.   Bedford town, Massachusetts                Massachusetts
2705.   Medford city, Massachusetts *    2741.   Belchertown town,                  2784.   Ludlow town, Massachusetts
2706.   Methuen Town city,                       Massachusetts                      2785.   Lunenburg town,
        Massachusetts *                  2742.   Bellingham town,                           Massachusetts
2707.   Natick town, Massachusetts *             Massachusetts                      2786.   Lynnfield town, Massachusetts
2708.   Needham town, Massachusetts      2743.   Belmont town, Massachusetts        2787.   Mansfield town,
        *                                2744.   Bourne town, Massachusetts                 Massachusetts
2709.   New Bedford city,                2745.   Bridgewater Town city,             2788.   Marblehead town,
        Massachusetts *                          Massachusetts                              Massachusetts
2710.   Newton city, Massachusetts *     2746.   Burlington town,                   2789.   Marshfield town,
2711.   Norfolk County,                          Massachusetts                              Massachusetts
        Massachusetts *                  2747.   Canton town, Massachusetts         2790.   Mashpee town, Massachusetts
                                         2748.   Carver town, Massachusetts         2791.   Maynard town, Massachusetts


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2792.   Medfield town, Massachusetts    2831.   Stoughton town,                 2869.   Canton charter township,
2793.   Medway town, Massachusetts              Massachusetts                           Michigan *
2794.   Melrose city, Massachusetts     2832.   Sudbury town, Massachusetts     2870.   Cass County, Michigan *
2795.   Middleborough town,             2833.   Swampscott town,                2871.   Chesterfield township,
        Massachusetts                           Massachusetts                           Michigan *
2796.   Middleton town,                 2834.   Swansea town, Massachusetts     2872.   Chippewa County, Michigan *
        Massachusetts                   2835.   Tyngsborough town,              2873.   Clare County, Michigan *
2797.   Milford town, Massachusetts             Massachusetts                   2874.   Clinton charter township,
2798.   Millbury town, Massachusetts    2836.   Uxbridge town, Massachusetts            Michigan *
2799.   Milton town, Massachusetts      2837.   Wakefield town,                 2875.   Clinton County, Michigan *
2800.   Nantucket town,                         Massachusetts                   2876.   Commerce charter township,
        Massachusetts                   2838.   Walpole town, Massachusetts             Michigan *
2801.   Newburyport city,               2839.   Wareham town, Massachusetts     2877.   Dearborn city, Michigan *
        Massachusetts                   2840.   Wayland town, Massachusetts     2878.   Dearborn Heights city,
2802.   Norfolk town, Massachusetts     2841.   Webster town, Massachusetts             Michigan *
2803.   North Adams city,               2842.   Wellesley town,                 2879.   Delta charter township,
        Massachusetts                           Massachusetts                           Michigan *
2804.   North Attleborough town,        2843.   West Springfield Town city,     2880.   Delta County, Michigan *
        Massachusetts                           Massachusetts                   2881.   Detroit city, Michigan *
2805.   North Reading town,             2844.   Westborough town,               2882.   East Lansing city, Michigan *
        Massachusetts                           Massachusetts                   2883.   Eastpointe city, Michigan *
2806.   Northampton city,               2845.   Westford town, Massachusetts    2884.   Eaton County, Michigan *
        Massachusetts                   2846.   Weston town, Massachusetts      2885.   Emmet County, Michigan *
2807.   Northborough town,              2847.   Westport town, Massachusetts    2886.   Farmington Hills city,
        Massachusetts                   2848.   Westwood town,                          Michigan *
2808.   Northbridge town,                       Massachusetts                   2887.   Flint charter township,
        Massachusetts                   2849.   Whitman town, Massachusetts             Michigan *
2809.   Norton town, Massachusetts      2850.   Wilbraham town,                 2888.   Flint city, Michigan *
2810.   Norwell town, Massachusetts             Massachusetts                   2889.   Genesee County, Michigan *
2811.   Norwood town, Massachusetts     2851.   Wilmington town,                2890.   Georgetown charter township,
2812.   Oxford town, Massachusetts              Massachusetts                           Michigan *
2813.   Palmer Town city,               2852.   Winchendon town,                2891.   Grand Blanc charter township,
        Massachusetts                           Massachusetts                           Michigan *
2814.   Pembroke town,                  2853.   Winchester town,                2892.   Grand Rapids city, Michigan *
        Massachusetts                           Massachusetts                   2893.   Grand Traverse County,
2815.   Pepperell town, Massachusetts   2854.   Winthrop Town city,                     Michigan *
2816.   Raynham town, Massachusetts             Massachusetts                   2894.   Gratiot County, Michigan *
2817.   Reading town, Massachusetts     2855.   Wrentham town,                  2895.   Hillsdale County, Michigan *
2818.   Rehoboth town, Massachusetts            Massachusetts                   2896.   Holland charter township,
2819.   Rockland town, Massachusetts    2856.   Yarmouth town,                          Michigan *
2820.   Sandwich town, Massachusetts            Massachusetts                   2897.   Holland city, Michigan *
2821.   Saugus town, Massachusetts      2857.   Allegan County, Michigan *      2898.   Houghton County, Michigan *
2822.   Scituate town, Massachusetts    2858.   Ann Arbor city, Michigan *      2899.   Huron County, Michigan *
2823.   Seekonk town, Massachusetts     2859.   Barry County, Michigan *        2900.   Independence charter
2824.   Sharon town, Massachusetts      2860.   Battle Creek city, Michigan *           township, Michigan *
2825.   Somerset town, Massachusetts    2861.   Bay City city, Michigan *       2901.   Ingham County, Michigan *
2826.   South Hadley town,              2862.   Bay County, Michigan *          2902.   Ionia County, Michigan *
        Massachusetts                   2863.   Bedford township, Michigan *    2903.   Isabella County, Michigan *
2827.   Southborough town,              2864.   Berrien County, Michigan *      2904.   Jackson city, Michigan *
        Massachusetts                   2865.   Bloomfield charter township,    2905.   Jackson County, Michigan *
2828.   Southbridge Town city,                  Michigan *                      2906.   Kalamazoo city, Michigan *
        Massachusetts                   2866.   Branch County, Michigan *       2907.   Kalamazoo County, Michigan
2829.   Spencer town, Massachusetts     2867.   Brownstown charter township,            *
2830.   Stoneham town,                          Michigan *                      2908.   Kent County, Michigan *
        Massachusetts                   2868.   Calhoun County, Michigan *      2909.   Kentwood city, Michigan *


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2910.   Lansing city, Michigan *          2951.   Taylor city, Michigan *        2993.   Cascade charter township,
2911.   Lapeer County, Michigan *         2952.   Troy city, Michigan *                  Michigan
2912.   Lenawee County, Michigan *        2953.   Tuscola County, Michigan *     2994.   Charlevoix County, Michigan
2913.   Lincoln Park city, Michigan *     2954.   Van Buren County, Michigan     2995.   Cheboygan County, Michigan
2914.   Livingston County, Michigan               *                              2996.   Clawson city, Michigan
        *                                 2955.   Warren city, Michigan *        2997.   Coldwater city, Michigan
2915.   Livonia city, Michigan *          2956.   Washtenaw County, Michigan     2998.   Comstock charter township,
2916.   Macomb County, Michigan *                 *                                      Michigan
2917.   Macomb township, Michigan         2957.   Waterford charter township,    2999.   Cooper charter township,
        *                                         Michigan *                             Michigan
2918.   Marquette County, Michigan *      2958.   Wayne County, Michigan *       3000.   Crawford County, Michigan
2919.   Mecosta County, Michigan *        2959.   West Bloomfield charter        3001.   Davison township, Michigan
2920.   Meridian charter township,                township, Michigan *           3002.   Delhi charter township,
        Michigan *                        2960.   Westland city, Michigan *              Michigan
2921.   Midland city, Michigan *          2961.   Wexford County, Michigan *     3003.   DeWitt charter township,
2922.   Midland County, Michigan *        2962.   White Lake charter township,           Michigan
2923.   Monroe County, Michigan *                 Michigan *                     3004.   Dickinson County, Michigan
2924.   Montcalm County, Michigan *       2963.   Wyoming city, Michigan *       3005.   East Bay township, Michigan
2925.   Muskegon city, Michigan *         2964.   Ypsilanti charter township,    3006.   East Grand Rapids city,
2926.   Muskegon County, Michigan                 Michigan *                             Michigan
        *                                 2965.   Ada township, Michigan         3007.   Egelston township, Michigan
2927.   Newaygo County, Michigan *        2966.   Adrian city, Michigan          3008.   Emmett charter township,
2928.   Novi city, Michigan *             2967.   Alcona County, Michigan                Michigan
2929.   Oakland County, Michigan *        2968.   Algoma township, Michigan      3009.   Escanaba city, Michigan
2930.   Orion charter township,           2969.   Allen Park city, Michigan      3010.   Farmington city, Michigan
        Michigan *                        2970.   Allendale charter township,    3011.   Fenton charter township,
2931.   Ottawa County, Michigan *                 Michigan                               Michigan
2932.   Pittsfield charter township,      2971.   Alpena County, Michigan        3012.   Fenton city, Michigan
        Michigan *                        2972.   Alpine township, Michigan      3013.   Ferndale city, Michigan
2933.   Plainfield charter township,      2973.   Antrim County, Michigan        3014.   Flat Rock city, Michigan
        Michigan *                        2974.   Antwerp township, Michigan     3015.   Flushing charter township,
2934.   Pontiac city, Michigan *          2975.   Arenac County, Michigan                Michigan
2935.   Portage city, Michigan *          2976.   Auburn Hills city, Michigan    3016.   Fort Gratiot charter township,
2936.   Redford charter township,         2977.   Bangor charter township,               Michigan
        Michigan *                                Michigan                       3017.   Fraser city, Michigan
2937.   Rochester Hills city, Michigan    2978.   Bath charter township,         3018.   Frenchtown township,
        *                                         Michigan                               Michigan
2938.   Roseville city, Michigan *        2979.   Benton charter township,       3019.   Fruitport charter township,
2939.   Royal Oak city, Michigan *                Michigan                               Michigan
2940.   Saginaw charter township,         2980.   Benzie County, Michigan        3020.   Gaines charter township,
        Michigan *                        2981.   Berkley city, Michigan                 Michigan
2941.   Saginaw city, Michigan *          2982.   Beverly Hills village,         3021.   Garden City city, Michigan
2942.   Saginaw County, Michigan *                Michigan                       3022.   Garfield charter township,
2943.   Sanilac County, Michigan *        2983.   Big Rapids city, Michigan              Michigan
2944.   Shelby charter township,          2984.   Birmingham city, Michigan      3023.   Genesee charter township,
        Michigan *                        2985.   Blackman charter township,             Michigan
2945.   Shiawassee County, Michigan               Michigan                       3024.   Genoa township, Michigan
        *                                 2986.   Brandon charter township,      3025.   Gladwin County, Michigan
2946.   Southfield city, Michigan *               Michigan                       3026.   Gogebic County, Michigan
2947.   St. Clair County, Michigan *      2987.   Brighton township, Michigan    3027.   Grand Haven charter
2948.   St. Clair Shores city, Michigan   2988.   Burton city, Michigan                  township, Michigan
        *                                 2989.   Byron township, Michigan       3028.   Grand Haven city, Michigan
2949.   St. Joseph County, Michigan *     2990.   Cadillac city, Michigan        3029.   Grand Rapids charter
2950.   Sterling Heights city,            2991.   Caledonia township, Michigan           township, Michigan
        Michigan *                        2992.   Cannon township, Michigan      3030.   Grandville city, Michigan


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3031.   Green Oak township,             3071.   Mount Morris township,          3112.   Traverse City city, Michigan
        Michigan                                Michigan                        3113.   Trenton city, Michigan
3032.   Grosse Ile township, Michigan   3072.   Mount Pleasant city, Michigan   3114.   Tyrone township, Michigan
3033.   Grosse Pointe Park city,        3073.   Mundy township, Michigan        3115.   Union charter township,
        Michigan                        3074.   Muskegon charter township,              Michigan
3034.   Grosse Pointe Woods city,               Michigan                        3116.   Van Buren charter township,
        Michigan                        3075.   Muskegon Heights city,                  Michigan
3035.   Hamburg township, Michigan              Michigan                        3117.   Vienna charter township,
3036.   Hamtramck city, Michigan        3076.   New Baltimore city, Michigan            Michigan
3037.   Harper Woods city, Michigan     3077.   Niles city, Michigan            3118.   Walker city, Michigan
3038.   Harrison charter township,      3078.   Niles township, Michigan        3119.   Washington township,
        Michigan                        3079.   Northville township, Michigan           Michigan
3039.   Hartland township, Michigan     3080.   Norton Shores city, Michigan    3120.   Wayne city, Michigan
3040.   Hazel Park city, Michigan       3081.   Oak Park city, Michigan         3121.   Wixom city, Michigan
3041.   Highland charter township,      3082.   Oakland charter township,       3122.   Woodhaven city, Michigan
        Michigan                                Michigan                        3123.   Wyandotte city, Michigan
3042.   Highland Park city, Michigan    3083.   Oceana County, Michigan         3124.   Ypsilanti city, Michigan
3043.   Holly township, Michigan        3084.   Oceola township, Michigan       3125.   Zeeland charter township,
3044.   Huron charter township,         3085.   Ogemaw County, Michigan                 Michigan
        Michigan                        3086.   Osceola County, Michigan        3126.   Andover city, Minnesota *
3045.   Inkster city, Michigan          3087.   Oshtemo charter township,       3127.   Anoka County, Minnesota *
3046.   Ionia city, Michigan                    Michigan                        3128.   Apple Valley city, Minnesota
3047.   Iosco County, Michigan          3088.   Otsego County, Michigan                 *
3048.   Iron County, Michigan           3089.   Owosso city, Michigan           3129.   Becker County, Minnesota *
3049.   Kalamazoo charter township,     3090.   Oxford charter township,        3130.   Beltrami County, Minnesota *
        Michigan                                Michigan                        3131.   Benton County, Minnesota *
3050.   Kalkaska County, Michigan       3091.   Park township, Michigan         3132.   Blaine city, Minnesota *
3051.   Lake County, Michigan           3092.   Plymouth charter township,      3133.   Bloomington city, Minnesota
3052.   Leelanau County, Michigan               Michigan                                *
3053.   Lenox township, Michigan        3093.   Port Huron charter township,    3134.   Blue Earth County, Minnesota
3054.   Leoni township, Michigan                Michigan                                *
3055.   Lincoln charter township,       3094.   Port Huron city, Michigan       3135.   Brooklyn Center city,
        Michigan                        3095.   Presque Isle County, Michigan           Minnesota *
3056.   Lyon charter township,          3096.   Riverview city, Michigan        3136.   Brooklyn Park city, Minnesota
        Michigan                        3097.   Rochester city, Michigan                *
3057.   Mackinac County, Michigan       3098.   Romulus city, Michigan          3137.   Burnsville city, Minnesota *
3058.   Madison Heights city,           3099.   Roscommon County,               3138.   Carlton County, Minnesota *
        Michigan                                Michigan                        3139.   Carver County, Minnesota *
3059.   Manistee County, Michigan       3100.   Sault Ste. Marie city,          3140.   Chisago County, Minnesota *
3060.   Marion township, Michigan               Michigan                        3141.   Clay County, Minnesota *
3061.   Marquette city, Michigan        3101.   Scio township, Michigan         3142.   Coon Rapids city, Minnesota *
3062.   Mason County, Michigan          3102.   South Lyon city, Michigan       3143.   Cottage Grove city, Minnesota
3063.   Melvindale city, Michigan       3103.   Southfield township, Michigan           *
3064.   Menominee County, Michigan      3104.   Southgate city, Michigan        3144.   Crow Wing County,
3065.   Milford charter township,       3105.   Spring Lake township,                   Minnesota *
        Michigan                                Michigan                        3145.   Dakota County, Minnesota *
3066.   Missaukee County, Michigan      3106.   Springfield charter township,   3146.   Douglas County, Minnesota *
3067.   Monitor charter township,               Michigan                        3147.   Duluth city, Minnesota *
        Michigan                        3107.   Sturgis city, Michigan          3148.   Eagan city, Minnesota *
3068.   Monroe charter township,        3108.   Summit township, Michigan       3149.   Eden Prairie city, Minnesota *
        Michigan                        3109.   Superior charter township,      3150.   Edina city, Minnesota *
3069.   Monroe city, Michigan                   Michigan                        3151.   Freeborn County, Minnesota *
3070.   Mount Clemens city,             3110.   Texas charter township,         3152.   Goodhue County, Minnesota *
        Michigan                                Michigan                        3153.   Hennepin County, Minnesota
                                        3111.   Thomas township, Michigan               *


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3154.   Inver Grove Heights city,        3202.   Buffalo city, Minnesota         3252.   North Mankato city,
        Minnesota *                      3203.   Cass County, Minnesota                  Minnesota
3155.   Isanti County, Minnesota *       3204.   Champlin city, Minnesota        3253.   North St. Paul city, Minnesota
3156.   Itasca County, Minnesota *       3205.   Chanhassen city, Minnesota      3254.   Northfield city, Minnesota
3157.   Kandiyohi County, Minnesota      3206.   Chaska city, Minnesota          3255.   Oakdale city, Minnesota
        *                                3207.   Chippewa County, Minnesota      3256.   Otsego city, Minnesota
3158.   Lakeville city, Minnesota *      3208.   Cloquet city, Minnesota         3257.   Owatonna city, Minnesota
3159.   Mankato city, Minnesota *        3209.   Columbia Heights city,          3258.   Pennington County, Minnesota
3160.   Maple Grove city, Minnesota              Minnesota                       3259.   Pine County, Minnesota
        *                                3210.   Cottonwood County,              3260.   Pope County, Minnesota
3161.   Maplewood city, Minnesota *              Minnesota                       3261.   Prior Lake city, Minnesota
3162.   McLeod County, Minnesota *       3211.   Crystal city, Minnesota         3262.   Ramsey city, Minnesota
3163.   Minneapolis city, Minnesota *    3212.   Dodge County, Minnesota         3263.   Red Wing city, Minnesota
3164.   Minnetonka city, Minnesota *     3213.   East Bethel city, Minnesota     3264.   Redwood County, Minnesota
3165.   Moorhead city, Minnesota *       3214.   Elk River city, Minnesota       3265.   Renville County, Minnesota
3166.   Morrison County, Minnesota *     3215.   Fairmont city, Minnesota        3266.   Robbinsdale city, Minnesota
3167.   Mower County, Minnesota *        3216.   Faribault city, Minnesota       3267.   Rogers city, Minnesota
3168.   Nicollet County, Minnesota *     3217.   Faribault County, Minnesota     3268.   Roseau County, Minnesota
3169.   Olmsted County, Minnesota *      3218.   Farmington city, Minnesota      3269.   Rosemount city, Minnesota
3170.   Otter Tail County, Minnesota     3219.   Fergus Falls city, Minnesota    3270.   Sartell city, Minnesota
        *                                3220.   Fillmore County, Minnesota      3271.   Sauk Rapids city, Minnesota
3171.   Plymouth city, Minnesota *       3221.   Forest Lake city, Minnesota     3272.   Shoreview city, Minnesota
3172.   Polk County, Minnesota *         3222.   Fridley city, Minnesota         3273.   Sibley County, Minnesota
3173.   Ramsey County, Minnesota *       3223.   Golden Valley city, Minnesota   3274.   South St. Paul city, Minnesota
3174.   Rice County, Minnesota *         3224.   Grand Rapids city, Minnesota    3275.   St. Michael city, Minnesota
3175.   Richfield city, Minnesota *      3225.   Ham Lake city, Minnesota        3276.   St. Peter city, Minnesota
3176.   Rochester city, Minnesota *      3226.   Hastings city, Minnesota        3277.   Stillwater city, Minnesota
3177.   Roseville city, Minnesota *      3227.   Hibbing city, Minnesota         3278.   Todd County, Minnesota
3178.   Savage city, Minnesota *         3228.   Hopkins city, Minnesota         3279.   Vadnais Heights city,
3179.   Scott County, Minnesota *        3229.   Houston County, Minnesota               Minnesota
3180.   Shakopee city, Minnesota *       3230.   Hubbard County, Minnesota       3280.   Victoria city, Minnesota
3181.   Sherburne County, Minnesota      3231.   Hugo city, Minnesota            3281.   Wabasha County, Minnesota
        *                                3232.   Hutchinson city, Minnesota      3282.   Waconia city, Minnesota
3182.   St. Cloud city, Minnesota *      3233.   Kanabec County, Minnesota       3283.   Wadena County, Minnesota
3183.   St. Louis County, Minnesota *    3234.   Koochiching County,             3284.   Waseca County, Minnesota
3184.   St. Louis Park city, Minnesota           Minnesota                       3285.   Watonwan County, Minnesota
        *                                3235.   Lake County, Minnesota          3286.   West St. Paul city, Minnesota
3185.   St. Paul city, Minnesota *       3236.   Le Sueur County, Minnesota      3287.   White Bear Lake city,
3186.   Stearns County, Minnesota *      3237.   Lino Lakes city, Minnesota              Minnesota
3187.   Steele County, Minnesota *       3238.   Little Canada city, Minnesota   3288.   White Bear township,
3188.   Washington County,               3239.   Lyon County, Minnesota                  Minnesota
        Minnesota *                      3240.   Marshall city, Minnesota        3289.   Willmar city, Minnesota
3189.   Winona County, Minnesota *       3241.   Martin County, Minnesota        3290.   Winona city, Minnesota
3190.   Woodbury city, Minnesota *       3242.   Meeker County, Minnesota        3291.   Worthington city, Minnesota
3191.   Wright County, Minnesota *       3243.   Mendota Heights city,           3292.   Adams County, Mississippi *
3192.   Aitkin County, Minnesota                 Minnesota                       3293.   Alcorn County, Mississippi *
3193.   Albert Lea city, Minnesota       3244.   Mille Lacs County, Minnesota    3294.   Biloxi city, Mississippi *
3194.   Alexandria city, Minnesota       3245.   Monticello city, Minnesota      3295.   Bolivar County, Mississippi *
3195.   Anoka city, Minnesota            3246.   Mounds View city, Minnesota     3296.   DeSoto County, Mississippi *
3196.   Arden Hills city, Minnesota      3247.   New Brighton city, Minnesota    3297.   Forrest County, Mississippi *
3197.   Austin city, Minnesota           3248.   New Hope city, Minnesota        3298.   Gulfport city, Mississippi *
3198.   Bemidji city, Minnesota          3249.   New Ulm city, Minnesota         3299.   Hancock County, Mississippi
3199.   Big Lake city, Minnesota         3250.   Nobles County, Minnesota                *
3200.   Brainerd city, Minnesota         3251.   North Branch city, Minnesota    3300.   Harrison County, Mississippi
3201.   Brown County, Minnesota                                                          *


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3301.   Hattiesburg city, Mississippi *   3345.   Covington County,               3395.   Wayne County, Mississippi
3302.   Hinds County, Mississippi *               Mississippi                     3396.   West Point city, Mississippi
3303.   Jackson city, Mississippi *       3346.   D'Iberville city, Mississippi   3397.   Winston County, Mississippi
3304.   Jackson County, Mississippi *     3347.   Gautier city, Mississippi       3398.   Yalobusha County,
3305.   Jones County, Mississippi *       3348.   George County, Mississippi              Mississippi
3306.   Lafayette County, Mississippi     3349.   Greene County, Mississippi      3399.   Yazoo City city, Mississippi
        *                                 3350.   Greenville city, Mississippi    3400.   Yazoo County, Mississippi
3307.   Lamar County, Mississippi *       3351.   Greenwood city, Mississippi     3401.   Ballwin city, Missouri *
3308.   Lauderdale County,                3352.   Grenada city, Mississippi       3402.   Barry County, Missouri *
        Mississippi *                     3353.   Grenada County, Mississippi     3403.   Blue Springs city, Missouri *
3309.   Lee County, Mississippi *         3354.   Hernando city, Mississippi      3404.   Boone County, Missouri *
3310.   Lincoln County, Mississippi *     3355.   Holmes County, Mississippi      3405.   Buchanan County, Missouri *
3311.   Lowndes County, Mississippi       3356.   Horn Lake city, Mississippi     3406.   Butler County, Missouri *
        *                                 3357.   Itawamba County, Mississippi    3407.   Callaway County, Missouri *
3312.   Madison County, Mississippi       3358.   Jasper County, Mississippi      3408.   Camden County, Missouri *
        *                                 3359.   Jefferson Davis County,         3409.   Cape Girardeau city, Missouri
3313.   Marshall County, Mississippi              Mississippi                             *
        *                                 3360.   Laurel city, Mississippi        3410.   Cape Girardeau County,
3314.   Meridian city, Mississippi *      3361.   Lawrence County, Mississippi            Missouri *
3315.   Monroe County, Mississippi *      3362.   Leake County, Mississippi       3411.   Cass County, Missouri *
3316.   Oktibbeha County, Mississippi     3363.   Leflore County, Mississippi     3412.   Chesterfield city, Missouri *
        *                                 3364.   Long Beach city, Mississippi    3413.   Christian County, Missouri *
3317.   Olive Branch city, Mississippi    3365.   Madison city, Mississippi       3414.   Clay County, Missouri *
        *                                 3366.   Marion County, Mississippi      3415.   Cole County, Missouri *
3318.   Panola County, Mississippi *      3367.   McComb city, Mississippi        3416.   Columbia city, Missouri *
3319.   Pearl River County,               3368.   Moss Point city, Mississippi    3417.   Florissant city, Missouri *
        Mississippi *                     3369.   Natchez city, Mississippi       3418.   Franklin County, Missouri *
3320.   Pike County, Mississippi *        3370.   Neshoba County, Mississippi     3419.   Greene County, Missouri *
3321.   Pontotoc County, Mississippi      3371.   Newton County, Mississippi      3420.   Howell County, Missouri *
        *                                 3372.   Noxubee County, Mississippi     3421.   Independence city, Missouri *
3322.   Rankin County, Mississippi *      3373.   Ocean Springs city,             3422.   Jackson County, Missouri *
3323.   Southaven city, Mississippi *             Mississippi                     3423.   Jasper County, Missouri *
3324.   Tupelo city, Mississippi *        3374.   Oxford city, Mississippi        3424.   Jefferson City city, Missouri *
3325.   Warren County, Mississippi *      3375.   Pascagoula city, Mississippi    3425.   Jefferson County, Missouri *
3326.   Washington County,                3376.   Pearl city, Mississippi         3426.   Johnson County, Missouri *
        Mississippi *                     3377.   Perry County, Mississippi       3427.   Joplin city, Missouri *
3327.   Amite County, Mississippi         3378.   Petal city, Mississippi         3428.   Kansas City city, Missouri *
3328.   Attala County, Mississippi        3379.   Picayune city, Mississippi      3429.   Laclede County, Missouri *
3329.   Bay St. Louis city, Mississippi   3380.   Prentiss County, Mississippi    3430.   Lafayette County, Missouri *
3330.   Brandon city, Mississippi         3381.   Ridgeland city, Mississippi     3431.   Lawrence County, Missouri *
3331.   Brookhaven city, Mississippi      3382.   Scott County, Mississippi       3432.   Lee's Summit city, Missouri *
3332.   Byram city, Mississippi           3383.   Simpson County, Mississippi     3433.   Liberty city, Missouri *
3333.   Calhoun County, Mississippi       3384.   Smith County, Mississippi       3434.   Lincoln County, Missouri *
3334.   Canton city, Mississippi          3385.   Starkville city, Mississippi    3435.   Newton County, Missouri *
3335.   Chickasaw County,                 3386.   Stone County, Mississippi       3436.   O'Fallon city, Missouri *
        Mississippi                       3387.   Sunflower County, Mississippi   3437.   Pettis County, Missouri *
3336.   Clarke County, Mississippi        3388.   Tallahatchie County,            3438.   Phelps County, Missouri *
3337.   Clarksdale city, Mississippi              Mississippi                     3439.   Platte County, Missouri *
3338.   Clay County, Mississippi          3389.   Tate County, Mississippi        3440.   Polk County, Missouri *
3339.   Cleveland city, Mississippi       3390.   Tippah County, Mississippi      3441.   Pulaski County, Missouri *
3340.   Clinton city, Mississippi         3391.   Tishomingo County,              3442.   Scott County, Missouri *
3341.   Coahoma County, Mississippi               Mississippi                     3443.   Springfield city, Missouri *
3342.   Columbus city, Mississippi        3392.   Union County, Mississippi       3444.   St. Charles city, Missouri *
3343.   Copiah County, Mississippi        3393.   Vicksburg city, Mississippi     3445.   St. Charles County, Missouri *
3344.   Corinth city, Mississippi         3394.   Walthall County, Mississippi


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3446.   St. Francois County, Missouri    3496.   Harrisonville city, Missouri    3549.   Saline County, Missouri
        *                                3497.   Hazelwood city, Missouri        3550.   Sedalia city, Missouri
3447.   St. Joseph city, Missouri *      3498.   Henry County, Missouri          3551.   Sikeston city, Missouri
3448.   St. Louis city, Missouri *       3499.   Howard County, Missouri         3552.   Smithville city, Missouri
3449.   St. Louis County, Missouri *     3500.   Independence township,          3553.   St. Ann city, Missouri
3450.   St. Peters city, Missouri *              Missouri                        3554.   Ste. Genevieve County,
3451.   Stone County, Missouri *         3501.   Iron County, Missouri                   Missouri
3452.   Taney County, Missouri *         3502.   Jackson city, Missouri          3555.   Stoddard County, Missouri
3453.   University City city, Missouri   3503.   Jennings city, Missouri         3556.   Texas County, Missouri
        *                                3504.   Kearney city, Missouri          3557.   Town and Country city,
3454.   Warren County, Missouri *        3505.   Kennett city, Missouri                  Missouri
3455.   Webster County, Missouri *       3506.   Kirksville city, Missouri       3558.   Troy city, Missouri
3456.   Wentzville city, Missouri *      3507.   Kirkwood city, Missouri         3559.   Union city, Missouri
3457.   Wildwood city, Missouri *        3508.   Lake St. Louis city, Missouri   3560.   Vernon County, Missouri
3458.   Adair County, Missouri           3509.   Lebanon city, Missouri          3561.   Warrensburg city, Missouri
3459.   Andrew County, Missouri          3510.   Liberty township, Missouri      3562.   Washington city, Missouri
3460.   Arnold city, Missouri            3511.   Linn County, Missouri           3563.   Washington County, Missouri
3461.   Audrain County, Missouri         3512.   Livingston County, Missouri     3564.   Wayne County, Missouri
3462.   Barton County, Missouri          3513.   Macon County, Missouri          3565.   Webb City city, Missouri
3463.   Bates County, Missouri           3514.   Madison County, Missouri        3566.   Webster Groves city, Missouri
3464.   Bellefontaine Neighbors city,    3515.   Manchester city, Missouri       3567.   West Plains city, Missouri
        Missouri                         3516.   Marion County, Missouri         3568.   Wright County, Missouri
3465.   Belton city, Missouri            3517.   Marshall city, Missouri         3569.   Billings city, Montana *
3466.   Benton County, Missouri          3518.   Maryland Heights city,          3570.   Bozeman city, Montana *
3467.   Bolivar city, Missouri                   Missouri                        3571.   Butte-Silver Bow, Montana *
3468.   Bollinger County, Missouri       3519.   Maryville city, Missouri        3572.   Cascade County, Montana *
3469.   Branson city, Missouri           3520.   McDonald County, Missouri       3573.   Flathead County, Montana *
3470.   Bridgeton city, Missouri         3521.   Mexico city, Missouri           3574.   Gallatin County, Montana *
3471.   Carthage city, Missouri          3522.   Miller County, Missouri         3575.   Great Falls city, Montana *
3472.   Cedar County, Missouri           3523.   Mississippi County, Missouri    3576.   Helena city, Montana *
3473.   Clayton city, Missouri           3524.   Moberly city, Missouri          3577.   Lake County, Montana *
3474.   Clinton County, Missouri         3525.   Moniteau County, Missouri       3578.   Lewis and Clark County,
3475.   Cooper County, Missouri          3526.   Montgomery County, Missouri             Montana *
3476.   Crawford County, Missouri        3527.   Morgan County, Missouri         3579.   Missoula city, Montana *
3477.   Crestwood city, Missouri         3528.   Neosho city, Missouri           3580.   Missoula County, Montana *
3478.   Creve Coeur city, Missouri       3529.   New Madrid County, Missouri     3581.   Ravalli County, Montana *
3479.   Dallas County, Missouri          3530.   Nixa city, Missouri             3582.   Yellowstone County, Montana
3480.   Dardenne Prairie city,           3531.   Nodaway County, Missouri                *
        Missouri                         3532.   Oregon County, Missouri         3583.   Big Horn County, Montana
3481.   DeKalb County, Missouri          3533.   Osage County, Missouri          3584.   Carbon County, Montana
3482.   Dent County, Missouri            3534.   Overland city, Missouri         3585.   Custer County, Montana
3483.   Douglas County, Missouri         3535.   Ozark city, Missouri            3586.   Fergus County, Montana
3484.   Dunklin County, Missouri         3536.   Pemiscot County, Missouri       3587.   Glacier County, Montana
3485.   Eureka city, Missouri            3537.   Perry County, Missouri          3588.   Hill County, Montana
3486.   Excelsior Springs city,          3538.   Pike County, Missouri           3589.   Jefferson County, Montana
        Missouri                         3539.   Polk township, Missouri         3590.   Kalispell city, Montana
3487.   Farmington city, Missouri        3540.   Poplar Bluff city, Missouri     3591.   Lincoln County, Montana
3488.   Ferguson city, Missouri          3541.   Ralls County, Missouri          3592.   Park County, Montana
3489.   Festus city, Missouri            3542.   Randolph County, Missouri       3593.   Richland County, Montana
3490.   Fulton city, Missouri            3543.   Ray County, Missouri            3594.   Roosevelt County, Montana
3491.   Gasconade County, Missouri       3544.   Raymore city, Missouri          3595.   Sanders County, Montana
3492.   Gladstone city, Missouri         3545.   Raytown city, Missouri          3596.   Adams County, Nebraska *
3493.   Grain Valley city, Missouri      3546.   Republic city, Missouri         3597.   Bellevue city, Nebraska *
3494.   Grandview city, Missouri         3547.   Ripley County, Missouri         3598.   Buffalo County, Nebraska *
3495.   Hannibal city, Missouri          3548.   Rolla city, Missouri            3599.   Dodge County, Nebraska *


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3600.   Douglas County, Nebraska *      3652.   Elko city, Nevada             3684.   Keene city, New Hampshire
3601.   Grand Island city, Nebraska *   3653.   Fernley city, Nevada          3685.   Laconia city, New Hampshire
3602.   Hall County, Nebraska *         3654.   Humboldt County, Nevada       3686.   Lebanon city, New Hampshire
3603.   Kearney city, Nebraska *        3655.   Mesquite city, Nevada         3687.   Londonderry town, New
3604.   Lancaster County, Nebraska *    3656.   Belknap County, New                   Hampshire
3605.   Lincoln city, Nebraska *                Hampshire *                   3688.   Merrimack town, New
3606.   Lincoln County, Nebraska *      3657.   Carroll County, New                   Hampshire
3607.   Madison County, Nebraska *              Hampshire *                   3689.   Milford town, New Hampshire
3608.   Omaha city, Nebraska *          3658.   Cheshire County, New          3690.   Pelham town, New Hampshire
3609.   Platte County, Nebraska *               Hampshire *                   3691.   Portsmouth city, New
3610.   Sarpy County, Nebraska *        3659.   Concord city, New Hampshire           Hampshire
3611.   Scotts Bluff County, Nebraska           *                             3692.   Raymond town, New
        *                               3660.   Coos County, New Hampshire            Hampshire
3612.   Beatrice city, Nebraska                 *                             3693.   Salem town, New Hampshire
3613.   Box Butte County, Nebraska      3661.   Derry town, New Hampshire *   3694.   Somersworth city, New
3614.   Cass County, Nebraska           3662.   Dover city, New Hampshire *           Hampshire
3615.   Colfax County, Nebraska         3663.   Grafton County, New           3695.   Windham town, New
3616.   Columbus city, Nebraska                 Hampshire *                           Hampshire
3617.   Custer County, Nebraska         3664.   Hillsborough County, New      3696.   Atlantic City city, New Jersey
3618.   Dakota County, Nebraska                 Hampshire *                           *
3619.   Dawson County, Nebraska         3665.   Manchester city, New          3697.   Atlantic County, New Jersey *
3620.   Fremont city, Nebraska                  Hampshire *                   3698.   Bayonne city, New Jersey *
3621.   Gage County, Nebraska           3666.   Merrimack County, New         3699.   Belleville township, New
3622.   Hastings city, Nebraska                 Hampshire *                           Jersey *
3623.   Holt County, Nebraska           3667.   Nashua city, New Hampshire    3700.   Bergen County, New Jersey *
3624.   La Vista city, Nebraska                 *                             3701.   Berkeley township, New
3625.   Lexington city, Nebraska        3668.   Rochester city, New                   Jersey *
3626.   Norfolk city, Nebraska                  Hampshire *                   3702.   Bloomfield township, New
3627.   North Platte city, Nebraska     3669.   Rockingham County, New                Jersey *
3628.   Otoe County, Nebraska                   Hampshire *                   3703.   Brick township, New Jersey *
3629.   Papillion city, Nebraska        3670.   Strafford County, New         3704.   Bridgewater township, New
3630.   Red Willow County, Nebraska             Hampshire *                           Jersey *
3631.   Saline County, Nebraska         3671.   Sullivan County, New          3705.   Burlington County, New
3632.   Saunders County, Nebraska               Hampshire *                           Jersey *
3633.   Scottsbluff city, Nebraska      3672.   Amherst town, New             3706.   Camden city, New Jersey *
3634.   Seward County, Nebraska                 Hampshire                     3707.   Camden County, New Jersey *
3635.   South Sioux City city,          3673.   Bedford town, New             3708.   Cape May County, New Jersey
        Nebraska                                Hampshire                             *
3636.   Washington County, Nebraska     3674.   Berlin city, New Hampshire    3709.   Cherry Hill township, New
3637.   York County, Nebraska           3675.   Claremont city, New                   Jersey *
3638.   Carson City, Nevada *                   Hampshire                     3710.   City of Orange township, New
3639.   Clark County, Nevada *          3676.   Conway town, New                      Jersey *
3640.   Douglas County, Nevada *                Hampshire                     3711.   Clifton city, New Jersey *
3641.   Elko County, Nevada *           3677.   Durham town, New              3712.   Cumberland County, New
3642.   Henderson city, Nevada *                Hampshire                             Jersey *
3643.   Las Vegas city, Nevada *        3678.   Exeter town, New Hampshire    3713.   Deptford township, New
3644.   Lyon County, Nevada *           3679.   Goffstown town, New                   Jersey *
3645.   North Las Vegas city, Nevada            Hampshire                     3714.   East Brunswick township,
        *                               3680.   Hampton town, New                     New Jersey *
3646.   Nye County, Nevada *                    Hampshire                     3715.   East Orange city, New Jersey
3647.   Reno city, Nevada *             3681.   Hanover town, New                     *
3648.   Sparks city, Nevada *                   Hampshire                     3716.   Edison township, New Jersey
3649.   Washoe County, Nevada *         3682.   Hooksett town, New                    *
3650.   Boulder City city, Nevada               Hampshire                     3717.   Egg Harbor township, New
3651.   Churchill County, Nevada        3683.   Hudson town, New Hampshire            Jersey *


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3718.   Elizabeth city, New Jersey *     3751.   Middletown township, New        3786.   Washington township, New
3719.   Essex County, New Jersey *               Jersey *                                Jersey *
3720.   Evesham township, New            3752.   Monmouth County, New            3787.   Wayne township, New Jersey
        Jersey *                                 Jersey *                                *
3721.   Ewing township, New Jersey *     3753.   Monroe township, New Jersey     3788.   West New York town, New
3722.   Fair Lawn borough, New                   *                                       Jersey *
        Jersey *                         3754.   Monroe township, New Jersey     3789.   West Orange township, New
3723.   Fort Lee borough, New Jersey             *                                       Jersey *
        *                                3755.   Montclair township, New         3790.   Willingboro township, New
3724.   Franklin township, New Jersey            Jersey *                                Jersey *
        *                                3756.   Morris County, New Jersey *     3791.   Winslow township, New
3725.   Freehold township, New           3757.   Mount Laurel township, New              Jersey *
        Jersey *                                 Jersey *                        3792.   Woodbridge township, New
3726.   Galloway township, New           3758.   New Brunswick city, New                 Jersey *
        Jersey *                                 Jersey *                        3793.   Aberdeen township, New
3727.   Garfield city, New Jersey *      3759.   Newark city, New Jersey *               Jersey
3728.   Gloucester County, New           3760.   North Bergen township, New      3794.   Asbury Park city, New Jersey
        Jersey *                                 Jersey *                        3795.   Barnegat township, New
3729.   Gloucester township, New         3761.   North Brunswick township,               Jersey
        Jersey *                                 New Jersey *                    3796.   Beachwood borough, New
3730.   Hackensack city, New Jersey *    3762.   Ocean County, New Jersey *              Jersey
3731.   Hamilton township, New           3763.   Old Bridge township, New        3797.   Bellmawr borough, New
        Jersey *                                 Jersey *                                Jersey
3732.   Hillsborough township, New       3764.   Parsippany-Troy Hills           3798.   Bergenfield borough, New
        Jersey *                                 township, New Jersey *                  Jersey
3733.   Hoboken city, New Jersey *       3765.   Passaic city, New Jersey *      3799.   Berkeley Heights township,
3734.   Howell township, New Jersey      3766.   Passaic County, New Jersey *            New Jersey
        *                                3767.   Paterson city, New Jersey *     3800.   Bernards township, New
3735.   Hudson County, New Jersey *      3768.   Pennsauken township, New                Jersey
3736.   Hunterdon County, New                    Jersey *                        3801.   Bordentown township, New
        Jersey *                         3769.   Perth Amboy city, New Jersey            Jersey
3737.   Irvington township, New                  *                               3802.   Bound Brook borough, New
        Jersey *                         3770.   Piscataway township, New                Jersey
3738.   Jackson township, New Jersey             Jersey *                        3803.   Branchburg township, New
        *                                3771.   Plainfield city, New Jersey *           Jersey
3739.   Jersey City city, New Jersey *   3772.   Princeton, New Jersey *         3804.   Bridgeton city, New Jersey
3740.   Kearny town, New Jersey *        3773.   Salem County, New Jersey *      3805.   Burlington township, New
3741.   Lakewood township, New           3774.   Sayreville borough, New                 Jersey
        Jersey *                                 Jersey *                        3806.   Carteret borough, New Jersey
3742.   Lawrence township, New           3775.   Somerset County, New Jersey     3807.   Cedar Grove township, New
        Jersey *                                 *                                       Jersey
3743.   Linden city, New Jersey *        3776.   South Brunswick township,       3808.   Chatham township, New
3744.   Livingston township, New                 New Jersey *                            Jersey
        Jersey *                         3777.   Sussex County, New Jersey *     3809.   Cinnaminson township, New
3745.   Long Branch city, New Jersey     3778.   Teaneck township, New Jersey            Jersey
        *                                        *                               3810.   Clark township, New Jersey
3746.   Manalapan township, New          3779.   Toms River township, New        3811.   Cliffside Park borough, New
        Jersey *                                 Jersey *                                Jersey
3747.   Manchester township, New         3780.   Trenton city, New Jersey *      3812.   Clinton township, New Jersey
        Jersey *                         3781.   Union City city, New Jersey *   3813.   Collingswood borough, New
3748.   Marlboro township, New           3782.   Union County, New Jersey *              Jersey
        Jersey *                         3783.   Union township, New Jersey *    3814.   Cranford township, New
3749.   Mercer County, New Jersey *      3784.   Vineland city, New Jersey *             Jersey
3750.   Middlesex County, New            3785.   Warren County, New Jersey *     3815.   Delran township, New Jersey
        Jersey *


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3816.   Denville township, New          3850.   Hopatcong borough, New         3883.   New Milford borough, New
        Jersey                                  Jersey                                 Jersey
3817.   Dover town, New Jersey          3851.   Hopewell township, New         3884.   New Providence borough,
3818.   Dumont borough, New Jersey              Jersey                                 New Jersey
3819.   East Greenwich township,        3852.   Jefferson township, New        3885.   North Arlington borough, New
        New Jersey                              Jersey                                 Jersey
3820.   East Hanover township, New      3853.   Lacey township, New Jersey     3886.   North Plainfield borough, New
        Jersey                          3854.   Lincoln Park borough, New              Jersey
3821.   East Windsor township, New              Jersey                         3887.   Nutley township, New Jersey
        Jersey                          3855.   Lindenwold borough, New        3888.   Oakland borough, New Jersey
3822.   Eatontown borough, New                  Jersey                         3889.   Ocean City city, New Jersey
        Jersey                          3856.   Little Egg Harbor township,    3890.   Ocean township, New Jersey
3823.   Edgewater borough, New                  New Jersey                     3891.   Palisades Park borough, New
        Jersey                          3857.   Little Falls township, New             Jersey
3824.   Elmwood Park borough, New               Jersey                         3892.   Paramus borough, New Jersey
        Jersey                          3858.   Little Ferry borough, New      3893.   Pemberton township, New
3825.   Englewood city, New Jersey              Jersey                                 Jersey
3826.   Fairview borough, New Jersey    3859.   Lodi borough, New Jersey       3894.   Pennsville township, New
3827.   Florence township, New          3860.   Lower township, New Jersey             Jersey
        Jersey                          3861.   Lumberton township, New        3895.   Pequannock township, New
3828.   Florham Park borough, New               Jersey                                 Jersey
        Jersey                          3862.   Lyndhurst township, New        3896.   Phillipsburg town, New Jersey
3829.   Franklin Lakes borough, New             Jersey                         3897.   Pine Hill borough, New Jersey
        Jersey                          3863.   Madison borough, New Jersey    3898.   Plainsboro township, New
3830.   Franklin township, New Jersey   3864.   Mahwah township, New                   Jersey
3831.   Freehold borough, New Jersey            Jersey                         3899.   Pleasantville city, New Jersey
3832.   Glassboro borough, New          3865.   Mantua township, New Jersey    3900.   Point Pleasant borough, New
        Jersey                          3866.   Manville borough, New Jersey           Jersey
3833.   Glen Rock borough, New          3867.   Maple Shade township, New      3901.   Pompton Lakes borough, New
        Jersey                                  Jersey                                 Jersey
3834.   Gloucester City city, New       3868.   Maplewood township, New        3902.   Rahway city, New Jersey
        Jersey                                  Jersey                         3903.   Ramsey borough, New Jersey
3835.   Guttenberg town, New Jersey     3869.   Medford township, New          3904.   Randolph township, New
3836.   Haddon township, New Jersey             Jersey                                 Jersey
3837.   Haddonfield borough, New        3870.   Metuchen borough, New          3905.   Raritan township, New Jersey
        Jersey                                  Jersey                         3906.   Readington township, New
3838.   Hamilton township, New          3871.   Middle township, New Jersey            Jersey
        Jersey                          3872.   Middlesex borough, New         3907.   Red Bank borough, New
3839.   Hammonton town, New Jersey              Jersey                                 Jersey
3840.   Hanover township, New           3873.   Millburn township, New         3908.   Ridgefield borough, New
        Jersey                                  Jersey                                 Jersey
3841.   Harrison town, New Jersey       3874.   Millstone township, New        3909.   Ridgefield Park village, New
3842.   Harrison township, New                  Jersey                                 Jersey
        Jersey                          3875.   Millville city, New Jersey     3910.   Ridgewood village, New
3843.   Hasbrouck Heights borough,      3876.   Montgomery township, New               Jersey
        New Jersey                              Jersey                         3911.   Ringwood borough, New
3844.   Hawthorne borough, New          3877.   Montville township, New                Jersey
        Jersey                                  Jersey                         3912.   River Edge borough, New
3845.   Hazlet township, New Jersey     3878.   Moorestown township, New               Jersey
3846.   Highland Park borough, New              Jersey                         3913.   Robbinsville township, New
        Jersey                          3879.   Morris township, New Jersey            Jersey
3847.   Hillsdale borough, New Jersey   3880.   Morristown town, New Jersey    3914.   Rockaway township, New
3848.   Hillside township, New Jersey   3881.   Mount Olive township, New              Jersey
3849.   Holmdel township, New                   Jersey                         3915.   Roselle borough, New Jersey
        Jersey                          3882.   Neptune township, New Jersey


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3916.   Roselle Park borough, New       3949.   West Deptford township, New   3983.   Cibola County, New Mexico
        Jersey                                  Jersey                        3984.   Colfax County, New Mexico
3917.   Roxbury township, New           3950.   West Milford township, New    3985.   Deming city, New Mexico
        Jersey                                  Jersey                        3986.   Española city, New Mexico
3918.   Rutherford borough, New         3951.   West Windsor township, New    3987.   Gallup city, New Mexico
        Jersey                                  Jersey                        3988.   Grant County, New Mexico
3919.   Saddle Brook township, New      3952.   Westfield town, New Jersey    3989.   Las Vegas city, New Mexico
        Jersey                          3953.   Westwood borough, New         3990.   Lincoln County, New Mexico
3920.   Scotch Plains township, New             Jersey                        3991.   Los Alamos County, New
        Jersey                          3954.   Woodland Park borough, New            Mexico
3921.   Secaucus town, New Jersey               Jersey                        3992.   Los Lunas village, New
3922.   Somers Point city, New Jersey   3955.   Woolwich township, New                Mexico
3923.   Somerville borough, New                 Jersey                        3993.   Lovington city, New Mexico
        Jersey                          3956.   Wyckoff township, New         3994.   Luna County, New Mexico
3924.   South Orange Village                    Jersey                        3995.   Portales city, New Mexico
        township, New Jersey            3957.   Alamogordo city, New          3996.   Roosevelt County, New
3925.   South Plainfield borough, New           Mexico *                              Mexico
        Jersey                          3958.   Albuquerque city, New         3997.   San Miguel County, New
3926.   South River borough, New                Mexico *                              Mexico
        Jersey                          3959.   Bernalillo County, New        3998.   Sierra County, New Mexico
3927.   Southampton township, New               Mexico *                      3999.   Socorro County, New Mexico
        Jersey                          3960.   Chaves County, New Mexico     4000.   Sunland Park city, New
3928.   Sparta township, New Jersey             *                                     Mexico
3929.   Springfield township, New       3961.   Clovis city, New Mexico *     4001.   Torrance County, New
        Jersey                          3962.   Curry County, New Mexico *            Mexico
3930.   Stafford township, New Jersey   3963.   Doña Ana County, New          4002.   Albany city, New York *
3931.   Summit city, New Jersey                 Mexico *                      4003.   Albany County, New York *
3932.   Tenafly borough, New Jersey     3964.   Eddy County, New Mexico *     4004.   Allegany County, New York *
3933.   Tinton Falls borough, New       3965.   Farmington city, New Mexico   4005.   Amherst town, New York *
        Jersey                                  *                             4006.   Babylon town, New York *
3934.   Totowa borough, New Jersey      3966.   Hobbs city, New Mexico *      4007.   Bethlehem town, New York *
3935.   Upper township, New Jersey      3967.   Las Cruces city, New Mexico   4008.   Binghamton city, New York *
3936.   Vernon township, New Jersey             *                             4009.   Brighton town, New York *
3937.   Verona township, New Jersey     3968.   Lea County, New Mexico *      4010.   Brookhaven town, New York
3938.   Voorhees township, New          3969.   McKinley County, New                  *
        Jersey                                  Mexico *                      4011.   Broome County, New York *
3939.   Waldwick borough, New           3970.   Otero County, New Mexico *    4012.   Buffalo city, New York *
        Jersey                          3971.   Rio Arriba County, New        4013.   Carmel town, New York *
3940.   Wall township, New Jersey               Mexico *                      4014.   Cattaraugus County, New
3941.   Wallington borough, New         3972.   Rio Rancho city, New Mexico           York *
        Jersey                                  *                             4015.   Cayuga County, New York *
3942.   Wanaque borough, New            3973.   Roswell city, New Mexico *    4016.   Chautauqua County, New
        Jersey                          3974.   San Juan County, New Mexico           York *
3943.   Wantage township, New                   *                             4017.   Cheektowaga town, New York
        Jersey                          3975.   Sandoval County, New                  *
3944.   Warren township, New Jersey             Mexico *                      4018.   Chemung County, New York
3945.   Washington township, New        3976.   Santa Fe city, New Mexico *           *
        Jersey                          3977.   Santa Fe County, New Mexico   4019.   Chenango County, New York
3946.   Waterford township, New                 *                                     *
        Jersey                          3978.   Taos County, New Mexico *     4020.   Cicero town, New York *
3947.   Weehawken township, New         3979.   Valencia County, New Mexico   4021.   Clarence town, New York *
        Jersey                                  *                             4022.   Clarkstown town, New York *
3948.   West Caldwell township, New     3980.   Artesia city, New Mexico      4023.   Clay town, New York *
        Jersey                          3981.   Bernalillo town, New Mexico   4024.   Clifton Park town, New York
                                        3982.   Carlsbad city, New Mexico             *


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4025.   Clinton County, New York *     4068.   Niagara Falls city, New York   4109.   Tonawanda town, New York *
4026.   Colonie town, New York *               *                              4110.   Troy city, New York *
4027.   Columbia County, New York      4069.   North Hempstead town, New      4111.   Ulster County, New York *
        *                                      York *                         4112.   Union town, New York *
4028.   Cortland County, New York *    4070.   North Tonawanda city, New      4113.   Utica city, New York *
4029.   Cortlandt town, New York *             York *                         4114.   Valley Stream village, New
4030.   Delaware County, New York *    4071.   Oneida County, New York *              York *
4031.   Dutchess County, New York *    4072.   Onondaga County, New York      4115.   Warren County, New York *
4032.   Eastchester town, New York *           *                              4116.   Warwick town, New York *
4033.   Erie County, New York *        4073.   Ontario County, New York *     4117.   Washington County, New
4034.   Essex County, New York *       4074.   Orange County, New York *              York *
4035.   Franklin County, New York *    4075.   Orangetown town, New York      4118.   Wayne County, New York *
4036.   Freeport village, New York *           *                              4119.   Webster town, New York *
4037.   Fulton County, New York *      4076.   Orleans County, New York *     4120.   West Seneca town, New York
4038.   Genesee County, New York *     4077.   Ossining town, New York *              *
4039.   Greece town, New York *        4078.   Oswego County, New York *      4121.   Westchester County, New
4040.   Greenburgh town, New York *    4079.   Otsego County, New York *              York *
4041.   Greene County, New York *      4080.   Oyster Bay town, New York *    4122.   White Plains city, New York *
4042.   Guilderland town, New York *   4081.   Penfield town, New York *      4123.   Wyoming County, New York
4043.   Hamburg town, New York *       4082.   Perinton town, New York *              *
4044.   Haverstraw town, New York *    4083.   Poughkeepsie city, New York    4124.   Yonkers city, New York *
4045.   Hempstead town, New York *             *                              4125.   Yorktown town, New York *
4046.   Hempstead village, New York    4084.   Poughkeepsie town, New         4126.   Amsterdam city, New York
        *                                      York *                         4127.   Arcadia town, New York
4047.   Henrietta town, New York *     4085.   Putnam County, New York *      4128.   Auburn city, New York
4048.   Herkimer County, New York *    4086.   Ramapo town, New York *        4129.   Aurora town, New York
4049.   Huntington town, New York *    4087.   Rensselaer County, New York    4130.   Babylon village, New York
4050.   Irondequoit town, New York *           *                              4131.   Ballston town, New York
4051.   Islip town, New York *         4088.   Riverhead town, New York *     4132.   Batavia city, New York
4052.   Ithaca city, New York *        4089.   Rochester city, New York *     4133.   Bath town, New York
4053.   Jefferson County, New York *   4090.   Rockland County, New York *    4134.   Beacon city, New York
4054.   Lancaster town, New York *     4091.   Rome city, New York *          4135.   Bedford town, New York
4055.   Livingston County, New York    4092.   Rye town, New York *           4136.   Beekman town, New York
        *                              4093.   Salina town, New York *        4137.   Blooming Grove town, New
4056.   Long Beach city, New York *    4094.   Saratoga County, New York *            York
4057.   Madison County, New York *     4095.   Schenectady city, New York *   4138.   Brunswick town, New York
4058.   Manlius town, New York *       4096.   Schenectady County, New        4139.   Camillus town, New York
4059.   Monroe County, New York *              York *                         4140.   Canandaigua city, New York
4060.   Montgomery County, New         4097.   Schoharie County, New York     4141.   Canandaigua town, New York
        York *                                 *                              4142.   Canton town, New York
4061.   Mount Pleasant town, New       4098.   Seneca County, New York *      4143.   Catskill town, New York
        York *                         4099.   Smithtown town, New York *     4144.   Chenango town, New York
4062.   Mount Vernon city, New York    4100.   Southampton town, New York     4145.   Chester town, New York
        *                                      *                              4146.   Chili town, New York
4063.   Nassau County, New York *      4101.   Spring Valley village, New     4147.   Cohoes city, New York
4064.   New Rochelle city, New York            York *                         4148.   Corning city, New York
        *                              4102.   St. Lawrence County, New       4149.   Cornwall town, New York
4065.   New York city / Bronx County           York *                         4150.   Cortland city, New York
        / Kings County / New York      4103.   Steuben County, New York *     4151.   De Witt town, New York
        County / Queens County /       4104.   Suffolk County, New York *     4152.   Depew village, New York
        Richmond County, New York      4105.   Sullivan County, New York *    4153.   Dobbs Ferry village, New
        *                              4106.   Syracuse city, New York *              York
4066.   Newburgh town, New York *      4107.   Tioga County, New York *       4154.   Dryden town, New York
4067.   Niagara County, New York *     4108.   Tompkins County, New York      4155.   Dunkirk city, New York
                                               *                              4156.   East Fishkill town, New York


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4157.   East Greenbush town, New        4207.   Lindenhurst village, New       4255.   Plattsburgh city, New York
        York                                    York                           4256.   Plattsburgh town, New York
4158.   East Hampton town, New          4208.   Lloyd town, New York           4257.   Pomfret town, New York
        York                            4209.   Lockport city, New York        4258.   Port Chester village, New
4159.   Elma town, New York             4210.   Lockport town, New York                York
4160.   Elmira city, New York           4211.   Lynbrook village, New York     4259.   Potsdam town, New York
4161.   Endicott village, New York      4212.   Lysander town, New York        4260.   Putnam Valley town, New
4162.   Evans town, New York            4213.   Malone town, New York                  York
4163.   Fallsburg town, New York        4214.   Malta town, New York           4261.   Queensbury town, New York
4164.   Farmington town, New York       4215.   Mamakating town, New York      4262.   Red Hook town, New York
4165.   Fishkill town, New York         4216.   Mamaroneck town, New York      4263.   Rockville Centre village, New
4166.   Floral Park village, New York   4217.   Mamaroneck village, New                York
4167.   Fredonia village, New York              York                           4264.   Rotterdam town, New York
4168.   Fulton city, New York           4218.   Massapequa Park village, New   4265.   Rye city, New York
4169.   Garden City village, New                York                           4266.   Saratoga Springs city, New
        York                            4219.   Massena town, New York                 York
4170.   Gates town, New York            4220.   Massena village, New York      4267.   Saugerties town, New York
4171.   Geddes town, New York           4221.   Middletown city, New York      4268.   Scarsdale village / Scarsdale
4172.   Geneseo town, New York          4222.   Milton town, New York                  town, New York
4173.   Geneva city, New York           4223.   Mineola village, New York      4269.   Schodack town, New York
4174.   German Flatts town, New         4224.   Monroe town, New York          4270.   Schuyler County, New York
        York                            4225.   Montgomery town, New York      4271.   Shawangunk town, New York
4175.   Glen Cove city, New York        4226.   Moreau town, New York          4272.   Sleepy Hollow village, New
4176.   Glens Falls city, New York      4227.   Mount Kisco village / Mount            York
4177.   Glenville town, New York                Kisco town, New York           4273.   Somers town, New York
4178.   Gloversville city, New York     4228.   New Castle town, New York      4274.   Southeast town, New York
4179.   Goshen town, New York           4229.   New Hartford town, New         4275.   Southold town, New York
4180.   Grand Island town, New York             York                           4276.   Stony Point town, New York
4181.   Great Neck village, New York    4230.   New Paltz town, New York       4277.   Suffern village, New York
4182.   Halfmoon town, New York         4231.   New Windsor town, New          4278.   Sullivan town, New York
4183.   Harrison town, New York                 York                           4279.   Sweden town, New York
4184.   Harrison village, New York      4232.   Newburgh city, New York        4280.   Tarrytown village, New York
4185.   Haverstraw village, New York    4233.   Niskayuna town, New York       4281.   Thompson town, New York
4186.   Highlands town, New York        4234.   North Castle town, New York    4282.   Tonawanda city, New York
4187.   Horseheads town, New York       4235.   North Greenbush town, New      4283.   Ulster town, New York
4188.   Hyde Park town, New York                York                           4284.   Van Buren town, New York
4189.   Ithaca town, New York           4236.   Ogden town, New York           4285.   Vestal town, New York
4190.   Jamestown city, New York        4237.   Ogdensburg city, New York      4286.   Victor town, New York
4191.   Johnson City village, New       4238.   Olean city, New York           4287.   Wallkill town, New York
        York                            4239.   Oneida city, New York          4288.   Wappinger town, New York
4192.   Kenmore village, New York       4240.   Oneonta city, New York         4289.   Watertown city, New York
4193.   Kent town, New York             4241.   Onondaga town, New York        4290.   Wawarsing town, New York
4194.   Kingsbury town, New York        4242.   Ontario town, New York         4291.   West Haverstraw village, New
4195.   Kingston city, New York         4243.   Orchard Park town, New York            York
4196.   Kirkland town, New York         4244.   Ossining village, New York     4292.   Westbury village, New York
4197.   Kiryas Joel village, New York   4245.   Oswego city, New York          4293.   Wheatfield town, New York
4198.   La Grange town, New York        4246.   Owego town, New York           4294.   Whitestown town, New York
4199.   Lackawanna city, New York       4247.   Palm Tree town, New York       4295.   Wilton town, New York
4200.   Lake Grove village, New York    4248.   Parma town, New York           4296.   Woodbury town, New York
4201.   Lancaster village, New York     4249.   Patchogue village, New York    4297.   Woodbury village, New York
4202.   Lansing town, New York          4250.   Patterson town, New York       4298.   Yates County, New York
4203.   Le Ray town, New York           4251.   Peekskill city, New York       4299.   Alamance County, North
4204.   Lewis County, New York          4252.   Pelham town, New York                  Carolina *
4205.   Lewisboro town, New York        4253.   Pittsford town, New York       4300.   Alexander County, North
4206.   Lewiston town, New York         4254.   Plattekill town, New York              Carolina *


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4301.   Apex town, North Carolina *      4331.   Forsyth County, North            4360.   Macon County, North
4302.   Asheville city, North Carolina           Carolina *                               Carolina *
        *                                4332.   Franklin County, North           4361.   Matthews town, North
4303.   Beaufort County, North                   Carolina *                               Carolina *
        Carolina *                       4333.   Fuquay-Varina town, North        4362.   McDowell County, North
4304.   Bladen County, North                     Carolina *                               Carolina *
        Carolina *                       4334.   Garner town, North Carolina *    4363.   Mecklenburg County, North
4305.   Brunswick County, North          4335.   Gaston County, North                     Carolina *
        Carolina *                               Carolina *                       4364.   Monroe city, North Carolina *
4306.   Buncombe County, North           4336.   Gastonia city, North Carolina    4365.   Moore County, North Carolina
        Carolina *                               *                                        *
4307.   Burke County, North Carolina     4337.   Goldsboro city, North            4366.   Mooresville town, North
        *                                        Carolina *                               Carolina *
4308.   Burlington city, North           4338.   Granville County, North          4367.   Nash County, North Carolina
        Carolina *                               Carolina *                               *
4309.   Cabarrus County, North           4339.   Greensboro city, North           4368.   New Hanover County, North
        Carolina *                               Carolina *                               Carolina *
4310.   Caldwell County, North           4340.   Greenville city, North           4369.   Onslow County, North
        Carolina *                               Carolina *                               Carolina *
4311.   Carteret County, North           4341.   Guilford County, North           4370.   Orange County, North
        Carolina *                               Carolina *                               Carolina *
4312.   Cary town, North Carolina *      4342.   Halifax County, North            4371.   Pasquotank County, North
4313.   Catawba County, North                    Carolina *                               Carolina *
        Carolina *                       4343.   Harnett County, North            4372.   Pender County, North
4314.   Chapel Hill town, North                  Carolina *                               Carolina *
        Carolina *                       4344.   Haywood County, North            4373.   Person County, North Carolina
4315.   Charlotte city, North Carolina           Carolina *                               *
        *                                4345.   Henderson County, North          4374.   Pitt County, North Carolina *
4316.   Chatham County, North                    Carolina *                       4375.   Raleigh city, North Carolina *
        Carolina *                       4346.   Hickory city, North Carolina *   4376.   Randolph County, North
4317.   Cleveland County, North          4347.   High Point city, North                   Carolina *
        Carolina *                               Carolina *                       4377.   Richmond County, North
4318.   Columbus County, North           4348.   Hoke County, North Carolina              Carolina *
        Carolina *                               *                                4378.   Robeson County, North
4319.   Concord city, North Carolina *   4349.   Holly Springs town, North                Carolina *
4320.   Cornelius town, North                    Carolina *                       4379.   Rockingham County, North
        Carolina *                       4350.   Huntersville town, North                 Carolina *
4321.   Craven County, North                     Carolina *                       4380.   Rocky Mount city, North
        Carolina *                       4351.   Indian Trail town, North                 Carolina *
4322.   Cumberland County, North                 Carolina *                       4381.   Rowan County, North
        Carolina *                       4352.   Iredell County, North Carolina           Carolina *
4323.   Dare County, North Carolina *            *                                4382.   Rutherford County, North
4324.   Davidson County, North           4353.   Jackson County, North                    Carolina *
        Carolina *                               Carolina *                       4383.   Salisbury city, North Carolina
4325.   Davie County, North Carolina     4354.   Jacksonville city, North                 *
        *                                        Carolina *                       4384.   Sampson County, North
4326.   Duplin County, North             4355.   Johnston County, North                   Carolina *
        Carolina *                               Carolina *                       4385.   Sanford city, North Carolina *
4327.   Durham city, North Carolina *    4356.   Kannapolis city, North           4386.   Scotland County, North
4328.   Durham County, North                     Carolina *                               Carolina *
        Carolina *                       4357.   Lee County, North Carolina *     4387.   Stanly County, North Carolina
4329.   Edgecombe County, North          4358.   Lenoir County, North Carolina            *
        Carolina *                               *                                4388.   Stokes County, North Carolina
4330.   Fayetteville city, North         4359.   Lincoln County, North                    *
        Carolina *                               Carolina *


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4389.   Surry County, North Carolina    4422.   Davidson town, North             4455.   Mount Holly city, North
        *                                       Carolina                                 Carolina
4390.   Transylvania County, North      4423.   Eden city, North Carolina        4456.   New Bern city, North Carolina
        Carolina *                      4424.   Elizabeth City city, North       4457.   Newton city, North Carolina
4391.   Union County, North Carolina            Carolina                         4458.   Northampton County, North
        *                               4425.   Elon town, North Carolina                Carolina
4392.   Vance County, North Carolina    4426.   Gates County, North Carolina     4459.   Pamlico County, North
        *                               4427.   Graham city, North Carolina              Carolina
4393.   Wake County, North Carolina     4428.   Greene County, North             4460.   Perquimans County, North
        *                                       Carolina                                 Carolina
4394.   Wake Forest town, North         4429.   Harrisburg town, North           4461.   Pinehurst village, North
        Carolina *                              Carolina                                 Carolina
4395.   Watauga County, North           4430.   Havelock city, North Carolina    4462.   Polk County, North Carolina
        Carolina *                      4431.   Henderson city, North            4463.   Reidsville city, North Carolina
4396.   Wayne County, North                     Carolina                         4464.   Roanoke Rapids city, North
        Carolina *                      4432.   Hendersonville city, North               Carolina
4397.   Wilkes County, North                    Carolina                         4465.   Shelby city, North Carolina
        Carolina *                      4433.   Hertford County, North           4466.   Smithfield town, North
4398.   Wilmington city, North                  Carolina                                 Carolina
        Carolina *                      4434.   Hope Mills town, North           4467.   Southern Pines town, North
4399.   Wilson city, North Carolina *           Carolina                                 Carolina
4400.   Wilson County, North            4435.   Kernersville town, North         4468.   Spring Lake town, North
        Carolina *                              Carolina                                 Carolina
4401.   Winston-Salem city, North       4436.   Kings Mountain city, North       4469.   Stallings town, North Carolina
        Carolina *                              Carolina                         4470.   Statesville city, North Carolina
4402.   Yadkin County, North            4437.   Kinston city, North Carolina     4471.   Summerfield town, North
        Carolina *                      4438.   Knightdale town, North                   Carolina
4403.   Albemarle city, North                   Carolina                         4472.   Swain County, North Carolina
        Carolina                        4439.   Laurinburg city, North           4473.   Tarboro town, North Carolina
4404.   Alleghany County, North                 Carolina                         4474.   Thomasville city, North
        Carolina                        4440.   Leland town, North Carolina              Carolina
4405.   Anson County, North Carolina    4441.   Lenoir city, North Carolina      4475.   Warren County, North
4406.   Archdale city, North Carolina   4442.   Lewisville town, North                   Carolina
4407.   Ashe County, North Carolina             Carolina                         4476.   Washington County, North
4408.   Asheboro city, North Carolina   4443.   Lexington city, North Carolina           Carolina
4409.   Avery County, North Carolina    4444.   Lincolnton city, North           4477.   Waxhaw town, North Carolina
4410.   Belmont city, North Carolina            Carolina                         4478.   Waynesville town, North
4411.   Bertie County, North Carolina   4445.   Lumberton city, North                    Carolina
4412.   Boone town, North Carolina              Carolina                         4479.   Weddington town, North
4413.   Camden County, North            4446.   Madison County, North                    Carolina
        Carolina                                Carolina                         4480.   Yancey County, North
4414.   Carrboro town, North Carolina   4447.   Martin County, North Carolina            Carolina
4415.   Caswell County, North           4448.   Mebane city, North Carolina      4481.   Bismarck city, North Dakota *
        Carolina                        4449.   Mint Hill town, North            4482.   Burleigh County, North
4416.   Cherokee County, North                  Carolina                                 Dakota *
        Carolina                        4450.   Mitchell County, North           4483.   Cass County, North Dakota *
4417.   Chowan County, North                    Carolina                         4484.   Fargo city, North Dakota *
        Carolina                        4451.   Montgomery County, North         4485.   Grand Forks city, North
4418.   Clay County, North Carolina             Carolina                                 Dakota *
4419.   Clayton town, North Carolina    4452.   Morganton city, North            4486.   Grand Forks County, North
4420.   Clemmons village, North                 Carolina                                 Dakota *
        Carolina                        4453.   Morrisville town, North          4487.   Minot city, North Dakota *
4421.   Currituck County, North                 Carolina                         4488.   Morton County, North Dakota
        Carolina                        4454.   Mount Airy city, North                   *
                                                Carolina                         4489.   Stark County, North Dakota *


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4490.   Ward County, North Dakota *      4539.   Cuyahoga Falls city, Ohio *   4594.   Marion County, Ohio *
4491.   West Fargo city, North Dakota    4540.   Darke County, Ohio *          4595.   Marion township, Ohio *
        *                                4541.   Dayton city, Ohio *           4596.   Mason city, Ohio *
4492.   Williams County, North           4542.   Deerfield township, Ohio *    4597.   Massillon city, Ohio *
        Dakota *                         4543.   Defiance County, Ohio *       4598.   Medina County, Ohio *
4493.   Barnes County, North Dakota      4544.   Delaware city, Ohio *         4599.   Mentor city, Ohio *
4494.   Dickinson city, North Dakota     4545.   Delaware County, Ohio *       4600.   Mercer County, Ohio *
4495.   Jamestown city, North Dakota     4546.   Dublin city, Ohio *           4601.   Miami County, Ohio *
4496.   Mandan city, North Dakota        4547.   Elyria city, Ohio *           4602.   Miami township, Ohio *
4497.   McKenzie County, North           4548.   Erie County, Ohio *           4603.   Miami township, Ohio *
        Dakota                           4549.   Euclid city, Ohio *           4604.   Middletown city, Ohio *
4498.   Mountrail County, North          4550.   Fairborn city, Ohio *         4605.   Mifflin township, Ohio *
        Dakota                           4551.   Fairfield city, Ohio *        4606.   Montgomery County, Ohio *
4499.   Ramsey County, North Dakota      4552.   Fairfield County, Ohio *      4607.   Morrow County, Ohio *
4500.   Richland County, North           4553.   Findlay city, Ohio *          4608.   Muskingum County, Ohio *
        Dakota                           4554.   Franklin County, Ohio *       4609.   Newark city, Ohio *
4501.   Rolette County, North Dakota     4555.   Franklin township, Ohio *     4610.   North Olmsted city, Ohio *
4502.   Stutsman County, North           4556.   Fulton County, Ohio *         4611.   North Ridgeville city, Ohio *
        Dakota                           4557.   Gahanna city, Ohio *          4612.   North Royalton city, Ohio *
4503.   Walsh County, North Dakota       4558.   Geauga County, Ohio *         4613.   Norwich township, Ohio *
4504.   Williston city, North Dakota     4559.   Green township, Ohio *        4614.   Orange township, Ohio *
4505.   Akron city, Ohio *               4560.   Greene County, Ohio *         4615.   Ottawa County, Ohio *
4506.   Allen County, Ohio *             4561.   Grove City city, Ohio *       4616.   Parma city, Ohio *
4507.   Anderson township, Ohio *        4562.   Guernsey County, Ohio *       4617.   Perry County, Ohio *
4508.   Ashland County, Ohio *           4563.   Hamilton city, Ohio *         4618.   Pickaway County, Ohio *
4509.   Ashtabula County, Ohio *         4564.   Hamilton County, Ohio *       4619.   Plain township, Ohio *
4510.   Athens County, Ohio *            4565.   Hancock County, Ohio *        4620.   Portage County, Ohio *
4511.   Athens township, Ohio *          4566.   Hardin County, Ohio *         4621.   Preble County, Ohio *
4512.   Auglaize County, Ohio *          4567.   Highland County, Ohio *       4622.   Putnam County, Ohio *
4513.   Austintown township, Ohio *      4568.   Hilliard city, Ohio *         4623.   Reynoldsburg city, Ohio *
4514.   Bath township, Ohio *            4569.   Holmes County, Ohio *         4624.   Richland County, Ohio *
4515.   Beavercreek city, Ohio *         4570.   Huber Heights city, Ohio *    4625.   Ross County, Ohio *
4516.   Beavercreek township, Ohio *     4571.   Huron County, Ohio *          4626.   Sandusky County, Ohio *
4517.   Belmont County, Ohio *           4572.   Jackson County, Ohio *        4627.   Scioto County, Ohio *
4518.   Boardman township, Ohio *        4573.   Jackson township, Ohio *      4628.   Seneca County, Ohio *
4519.   Bowling Green city, Ohio *       4574.   Jackson township, Ohio *      4629.   Shelby County, Ohio *
4520.   Brown County, Ohio *             4575.   Jefferson County, Ohio *      4630.   Springfield city, Ohio *
4521.   Brunswick city, Ohio *           4576.   Kettering city, Ohio *        4631.   Springfield township, Ohio *
4522.   Butler County, Ohio *            4577.   Knox County, Ohio *           4632.   Stark County, Ohio *
4523.   Canton city, Ohio *              4578.   Lake County, Ohio *           4633.   Stow city, Ohio *
4524.   Champaign County, Ohio *         4579.   Lakewood city, Ohio *         4634.   Strongsville city, Ohio *
4525.   Cincinnati city, Ohio *          4580.   Lancaster city, Ohio *        4635.   Summit County, Ohio *
4526.   Clark County, Ohio *             4581.   Lawrence County, Ohio *       4636.   Sylvania township, Ohio *
4527.   Clear Creek township, Ohio *     4582.   Liberty township, Ohio *      4637.   Toledo city, Ohio *
4528.   Clermont County, Ohio *          4583.   Liberty township, Ohio *      4638.   Trumbull County, Ohio *
4529.   Cleveland city, Ohio *           4584.   Licking County, Ohio *        4639.   Tuscarawas County, Ohio *
4530.   Cleveland Heights city, Ohio *   4585.   Lima city, Ohio *             4640.   Union County, Ohio *
4531.   Clinton County, Ohio *           4586.   Logan County, Ohio *          4641.   Union township, Ohio *
4532.   Colerain township, Ohio *        4587.   Lorain city, Ohio *           4642.   Upper Arlington city, Ohio *
4533.   Columbiana County, Ohio *        4588.   Lorain County, Ohio *         4643.   Violet township, Ohio *
4534.   Columbus city, Ohio *            4589.   Lucas County, Ohio *          4644.   Warren city, Ohio *
4535.   Concord township, Ohio *         4590.   Madison County, Ohio *        4645.   Warren County, Ohio *
4536.   Coshocton County, Ohio *         4591.   Mahoning County, Ohio *       4646.   Washington County, Ohio *
4537.   Crawford County, Ohio *          4592.   Mansfield city, Ohio *        4647.   Washington township, Ohio *
4538.   Cuyahoga County, Ohio *          4593.   Marion city, Ohio *           4648.   Washington township, Ohio *


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4649.   Wayne County, Ohio *           4702.   Copley township, Ohio         4757.   Liberty township, Ohio
4650.   West Chester township, Ohio    4703.   Coshocton city, Ohio          4758.   London city, Ohio
        *                              4704.   Coventry township, Ohio       4759.   Loveland city, Ohio
4651.   Westerville city, Ohio *       4705.   Defiance city, Ohio           4760.   Lyndhurst city, Ohio
4652.   Westlake city, Ohio *          4706.   Defiance township, Ohio       4761.   Macedonia city, Ohio
4653.   Williams County, Ohio *        4707.   Delhi township, Ohio          4762.   Mad River township, Ohio
4654.   Wood County, Ohio *            4708.   Dover city, Ohio              4763.   Madison township, Ohio
4655.   Youngstown city, Ohio *        4709.   Duchouquet township, Ohio     4764.   Madison township, Ohio
4656.   Adams County, Ohio             4710.   East Cleveland city, Ohio     4765.   Madison township, Ohio
4657.   Alliance city, Ohio            4711.   East Liverpool city, Ohio     4766.   Maple Heights city, Ohio
4658.   American township, Ohio        4712.   Eastlake city, Ohio           4767.   Marietta city, Ohio
4659.   Amherst city, Ohio             4713.   Englewood city, Ohio          4768.   Marysville city, Ohio
4660.   Ashland city, Ohio             4714.   Etna township, Ohio           4769.   Maumee city, Ohio
4661.   Ashtabula city, Ohio           4715.   Fairfield township, Ohio      4770.   Mayfield Heights city, Ohio
4662.   Ashtabula township, Ohio       4716.   Fairview Park city, Ohio      4771.   Medina city, Ohio
4663.   Athens city, Ohio              4717.   Falls township, Ohio          4772.   Meigs County, Ohio
4664.   Aurora city, Ohio              4718.   Fayette County, Ohio          4773.   Miami township, Ohio
4665.   Avon city, Ohio                4719.   Forest Park city, Ohio        4774.   Miamisburg city, Ohio
4666.   Avon Lake city, Ohio           4720.   Fostoria city, Ohio           4775.   Middleburg Heights city, Ohio
4667.   Bainbridge township, Ohio      4721.   Franklin city, Ohio           4776.   Monclova township, Ohio
4668.   Barberton city, Ohio           4722.   Franklin township, Ohio       4777.   Monroe city, Ohio
4669.   Batavia township, Ohio         4723.   Fremont city, Ohio            4778.   Monroe County, Ohio
4670.   Bay Village city, Ohio         4724.   Gallia County, Ohio           4779.   Monroe township, Ohio
4671.   Beachwood city, Ohio           4725.   Garfield Heights city, Ohio   4780.   Montgomery city, Ohio
4672.   Bedford city, Ohio             4726.   Geneva township, Ohio         4781.   Montville township, Ohio
4673.   Bedford Heights city, Ohio     4727.   Genoa township, Ohio          4782.   Moorefield township, Ohio
4674.   Bellefontaine city, Ohio       4728.   Goshen township, Ohio         4783.   Morgan County, Ohio
4675.   Berea city, Ohio               4729.   Granville township, Ohio      4784.   Mount Vernon city, Ohio
4676.   Bethel township, Ohio          4730.   Green city, Ohio              4785.   New Albany city, Ohio
4677.   Bexley city, Ohio              4731.   Green township, Ohio          4786.   New Franklin city, Ohio
4678.   Blue Ash city, Ohio            4732.   Greenville city, Ohio         4787.   New Philadelphia city, Ohio
4679.   Brecksville city, Ohio         4733.   Greenville township, Ohio     4788.   Niles city, Ohio
4680.   Brimfield township, Ohio       4734.   Hamilton township, Ohio       4789.   Noble County, Ohio
4681.   Broadview Heights city, Ohio   4735.   Harrison city, Ohio           4790.   North Canton city, Ohio
4682.   Brook Park city, Ohio          4736.   Harrison County, Ohio         4791.   Norton city, Ohio
4683.   Brooklyn city, Ohio            4737.   Harrison township, Ohio       4792.   Norwalk city, Ohio
4684.   Brunswick Hills township,      4738.   Harrison township, Ohio       4793.   Norwood city, Ohio
        Ohio                           4739.   Heath city, Ohio              4794.   Olmsted township, Ohio
4685.   Bucyrus city, Ohio             4740.   Henry County, Ohio            4795.   Oregon city, Ohio
4686.   Cambridge city, Ohio           4741.   Hocking County, Ohio          4796.   Oxford city, Ohio
4687.   Cambridge township, Ohio       4742.   Howland township, Ohio        4797.   Oxford township, Ohio
4688.   Canfield township, Ohio        4743.   Hubbard township, Ohio        4798.   Painesville city, Ohio
4689.   Canton township, Ohio          4744.   Hudson city, Ohio             4799.   Painesville township, Ohio
4690.   Carroll County, Ohio           4745.   Huron township, Ohio          4800.   Paris township, Ohio
4691.   Celina city, Ohio              4746.   Ironton city, Ohio            4801.   Parma Heights city, Ohio
4692.   Centerville city, Ohio         4747.   Jefferson township, Ohio      4802.   Pataskala city, Ohio
4693.   Chester township, Ohio         4748.   Jefferson township, Ohio      4803.   Paulding County, Ohio
4694.   Chillicothe city, Ohio         4749.   Kent city, Ohio               4804.   Pease township, Ohio
4695.   Chippewa township, Ohio        4750.   Lake township, Ohio           4805.   Perkins township, Ohio
4696.   Circleville city, Ohio         4751.   Lake township, Ohio           4806.   Perry township, Ohio
4697.   Clayton city, Ohio             4752.   Lake township, Ohio           4807.   Perry township, Ohio
4698.   Clinton township, Ohio         4753.   Lawrence township, Ohio       4808.   Perrysburg city, Ohio
4699.   Concord township, Ohio         4754.   Lebanon city, Ohio            4809.   Perrysburg township, Ohio
4700.   Concord township, Ohio         4755.   Lemon township, Ohio          4810.   Pickerington city, Ohio
4701.   Conneaut city, Ohio            4756.   Liberty township, Ohio        4811.   Pierce township, Ohio


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4812.   Pike County, Ohio               4866.   Urbana township, Ohio           4913.   Norman city, Oklahoma *
4813.   Piqua city, Ohio                4867.   Van Wert city, Ohio             4914.   Oklahoma City city,
4814.   Plain township, Ohio            4868.   Van Wert County, Ohio                   Oklahoma *
4815.   Pleasant township, Ohio         4869.   Vandalia city, Ohio             4915.   Oklahoma County, Oklahoma
4816.   Poland township, Ohio           4870.   Vermilion city, Ohio                    *
4817.   Portsmouth city, Ohio           4871.   Vinton County, Ohio             4916.   Okmulgee County, Oklahoma
4818.   Powell city, Ohio               4872.   Wadsworth city, Ohio                    *
4819.   Prairie township, Ohio          4873.   Warrensville Heights city,      4917.   Osage County, Oklahoma *
4820.   Ravenna city, Ohio                      Ohio                            4918.   Ottawa County, Oklahoma *
4821.   Reading city, Ohio              4874.   Washington Court House city,    4919.   Owasso city, Oklahoma *
4822.   Richland township, Ohio                 Ohio                            4920.   Payne County, Oklahoma *
4823.   Richmond Heights city, Ohio     4875.   Weathersfield township, Ohio    4921.   Pittsburg County, Oklahoma *
4824.   Riverside city, Ohio            4876.   West Carrollton city, Ohio      4922.   Pontotoc County, Oklahoma *
4825.   Rocky River city, Ohio          4877.   Whitehall city, Ohio            4923.   Pottawatomie County,
4826.   Sagamore Hills township,        4878.   Wickliffe city, Ohio                    Oklahoma *
        Ohio                            4879.   Willoughby city, Ohio           4924.   Rogers County, Oklahoma *
4827.   Salem city, Ohio                4880.   Willowick city, Ohio            4925.   Sequoyah County, Oklahoma
4828.   Sandusky city, Ohio             4881.   Wilmington city, Ohio                   *
4829.   Scioto township, Ohio           4882.   Wooster city, Ohio              4926.   Shawnee city, Oklahoma *
4830.   Scioto township, Ohio           4883.   Worthington city, Ohio          4927.   Stephens County, Oklahoma *
4831.   Seven Hills city, Ohio          4884.   Wyandot County, Ohio            4928.   Stillwater city, Oklahoma *
4832.   Shaker Heights city, Ohio       4885.   Xenia city, Ohio                4929.   Tulsa city, Oklahoma *
4833.   Sharon township, Ohio           4886.   Zanesville city, Ohio           4930.   Tulsa County, Oklahoma *
4834.   Sharonville city, Ohio          4887.   Bartlesville city, Oklahoma *   4931.   Wagoner County, Oklahoma *
4835.   Shawnee township, Ohio          4888.   Broken Arrow city, Oklahoma     4932.   Washington County,
4836.   Sidney city, Ohio                       *                                       Oklahoma *
4837.   Solon city, Ohio                4889.   Bryan County, Oklahoma *        4933.   Ada city, Oklahoma
4838.   South Euclid city, Ohio         4890.   Canadian County, Oklahoma *     4934.   Adair County, Oklahoma
4839.   Springboro city, Ohio           4891.   Carter County, Oklahoma *       4935.   Altus city, Oklahoma
4840.   Springdale city, Ohio           4892.   Cherokee County, Oklahoma *     4936.   Ardmore city, Oklahoma
4841.   Springfield township, Ohio      4893.   Cleveland County, Oklahoma      4937.   Atoka County, Oklahoma
4842.   Springfield township, Ohio              *                               4938.   Beckham County, Oklahoma
4843.   Springfield township, Ohio      4894.   Comanche County, Oklahoma       4939.   Bethany city, Oklahoma
4844.   Springfield township, Ohio              *                               4940.   Bixby city, Oklahoma
4845.   St. Marys township, Ohio        4895.   Creek County, Oklahoma *        4941.   Caddo County, Oklahoma
4846.   Steubenville city, Ohio         4896.   Delaware County, Oklahoma *     4942.   Chickasha city, Oklahoma
4847.   Streetsboro city, Ohio          4897.   Edmond city, Oklahoma *         4943.   Choctaw city, Oklahoma
4848.   Struthers city, Ohio            4898.   Enid city, Oklahoma *           4944.   Choctaw County, Oklahoma
4849.   Sycamore township, Ohio         4899.   Garfield County, Oklahoma *     4945.   Claremore city, Oklahoma
4850.   Sylvania city, Ohio             4900.   Grady County, Oklahoma *        4946.   Coweta city, Oklahoma
4851.   Symmes township, Ohio           4901.   Kay County, Oklahoma *          4947.   Craig County, Oklahoma
4852.   Tallmadge city, Ohio            4902.   Lawton city, Oklahoma *         4948.   Custer County, Oklahoma
4853.   Tiffin city, Ohio               4903.   Le Flore County, Oklahoma *     4949.   Del City city, Oklahoma
4854.   Tipp City city, Ohio            4904.   Lincoln County, Oklahoma *      4950.   Duncan city, Oklahoma
4855.   Trenton city, Ohio              4905.   Logan County, Oklahoma *        4951.   Durant city, Oklahoma
4856.   Trotwood city, Ohio             4906.   Mayes County, Oklahoma *        4952.   El Reno city, Oklahoma
4857.   Troy city, Ohio                 4907.   McClain County, Oklahoma *      4953.   Elk City city, Oklahoma
4858.   Truro township, Ohio            4908.   McCurtain County, Oklahoma      4954.   Garvin County, Oklahoma
4859.   Turtlecreek township, Ohio              *                               4955.   Glenpool city, Oklahoma
4860.   Twinsburg city, Ohio            4909.   Midwest City city, Oklahoma     4956.   Guthrie city, Oklahoma
4861.   Union township, Ohio                    *                               4957.   Guymon city, Oklahoma
4862.   Union township, Ohio            4910.   Moore city, Oklahoma *          4958.   Haskell County, Oklahoma
4863.   University Heights city, Ohio   4911.   Muskogee city, Oklahoma *       4959.   Hughes County, Oklahoma
4864.   Upper township, Ohio            4912.   Muskogee County, Oklahoma       4960.   Jackson County, Oklahoma
4865.   Urbana city, Ohio                       *                               4961.   Jenks city, Oklahoma


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4962.   Johnston County, Oklahoma     5016.   McMinnville city, Oregon *    5071.   Woodburn city, Oregon
4963.   Kingfisher County, Oklahoma   5017.   Medford city, Oregon *        5072.   Abington township,
4964.   Latimer County, Oklahoma      5018.   Multnomah County, Oregon *            Pennsylvania *
4965.   Love County, Oklahoma         5019.   Oregon City city, Oregon *    5073.   Adams County, Pennsylvania
4966.   Marshall County, Oklahoma     5020.   Polk County, Oregon *                 *
4967.   McAlester city, Oklahoma      5021.   Portland city, Oregon *       5074.   Allegheny County,
4968.   McIntosh County, Oklahoma     5022.   Redmond city, Oregon *                Pennsylvania *
4969.   Miami city, Oklahoma          5023.   Salem city, Oregon *          5075.   Allentown city, Pennsylvania
4970.   Murray County, Oklahoma       5024.   Springfield city, Oregon *            *
4971.   Mustang city, Oklahoma        5025.   Tigard city, Oregon *         5076.   Altoona city, Pennsylvania *
4972.   Newcastle city, Oklahoma      5026.   Umatilla County, Oregon *     5077.   Armstrong County,
4973.   Noble County, Oklahoma        5027.   Washington County, Oregon *           Pennsylvania *
4974.   Nowata County, Oklahoma       5028.   Yamhill County, Oregon *      5078.   Beaver County, Pennsylvania
4975.   Okfuskee County, Oklahoma     5029.   Ashland city, Oregon                  *
4976.   Okmulgee city, Oklahoma       5030.   Astoria city, Oregon          5079.   Bedford County, Pennsylvania
4977.   Pawnee County, Oklahoma       5031.   Baker County, Oregon                  *
4978.   Ponca City city, Oklahoma     5032.   Canby city, Oregon            5080.   Bensalem township,
4979.   Pushmataha County,            5033.   Central Point city, Oregon            Pennsylvania *
        Oklahoma                      5034.   Coos Bay city, Oregon         5081.   Berks County, Pennsylvania *
4980.   Sand Springs city, Oklahoma   5035.   Cornelius city, Oregon        5082.   Bethel Park municipality,
4981.   Sapulpa city, Oklahoma        5036.   Cottage Grove city, Oregon            Pennsylvania *
4982.   Seminole County, Oklahoma     5037.   Crook County, Oregon          5083.   Bethlehem city, Pennsylvania
4983.   Tahlequah city, Oklahoma      5038.   Curry County, Oregon                  *
4984.   Texas County, Oklahoma        5039.   Dallas city, Oregon           5084.   Blair County, Pennsylvania *
4985.   Warr Acres city, Oklahoma     5040.   Forest Grove city, Oregon     5085.   Bradford County,
4986.   Washita County, Oklahoma      5041.   Gladstone city, Oregon                Pennsylvania *
4987.   Weatherford city, Oklahoma    5042.   Happy Valley city, Oregon     5086.   Bristol township, Pennsylvania
4988.   Woodward city, Oklahoma       5043.   Hermiston city, Oregon                *
4989.   Woodward County, Oklahoma     5044.   Hood River County, Oregon     5087.   Bucks County, Pennsylvania *
4990.   Yukon city, Oklahoma          5045.   Independence city, Oregon     5088.   Butler County, Pennsylvania *
4991.   Albany city, Oregon *         5046.   Jefferson County, Oregon      5089.   Cambria County, Pennsylvania
4992.   Beaverton city, Oregon *      5047.   Klamath Falls city, Oregon            *
4993.   Bend city, Oregon *           5048.   La Grande city, Oregon        5090.   Carbon County, Pennsylvania
4994.   Benton County, Oregon *       5049.   Lebanon city, Oregon                  *
4995.   Clackamas County, Oregon *    5050.   Milwaukie city, Oregon        5091.   Centre County, Pennsylvania *
4996.   Clatsop County, Oregon *      5051.   Monmouth city, Oregon         5092.   Cheltenham township,
4997.   Columbia County, Oregon *     5052.   Morrow County, Oregon                 Pennsylvania *
4998.   Coos County, Oregon *         5053.   Newberg city, Oregon          5093.   Chester city, Pennsylvania *
4999.   Corvallis city, Oregon *      5054.   Newport city, Oregon          5094.   Chester County, Pennsylvania
5000.   Deschutes County, Oregon *    5055.   Ontario city, Oregon                  *
5001.   Douglas County, Oregon *      5056.   Pendleton city, Oregon        5095.   Clarion County, Pennsylvania
5002.   Eugene city, Oregon *         5057.   Prineville city, Oregon               *
5003.   Grants Pass city, Oregon *    5058.   Roseburg city, Oregon         5096.   Clearfield County,
5004.   Gresham city, Oregon *        5059.   Sandy city, Oregon                    Pennsylvania *
5005.   Hillsboro city, Oregon *      5060.   Sherwood city, Oregon         5097.   Clinton County, Pennsylvania
5006.   Jackson County, Oregon *      5061.   Silverton city, Oregon                *
5007.   Josephine County, Oregon *    5062.   St. Helens city, Oregon       5098.   Columbia County,
5008.   Keizer city, Oregon *         5063.   The Dalles city, Oregon               Pennsylvania *
5009.   Klamath County, Oregon *      5064.   Tillamook County, Oregon      5099.   Cranberry township,
5010.   Lake Oswego city, Oregon *    5065.   Troutdale city, Oregon                Pennsylvania *
5011.   Lane County, Oregon *         5066.   Tualatin city, Oregon         5100.   Crawford County,
5012.   Lincoln County, Oregon *      5067.   Union County, Oregon                  Pennsylvania *
5013.   Linn County, Oregon *         5068.   Wasco County, Oregon          5101.   Cumberland County,
5014.   Malheur County, Oregon *      5069.   West Linn city, Oregon                Pennsylvania *
5015.   Marion County, Oregon *       5070.   Wilsonville city, Oregon


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5102.   Dauphin County, Pennsylvania     5131.   Mercer County, Pennsylvania       5162.   Venango County,
        *                                        *                                         Pennsylvania *
5103.   Delaware County,                 5132.   Middletown township,              5163.   Warminster township,
        Pennsylvania *                           Pennsylvania *                            Pennsylvania *
5104.   Erie city, Pennsylvania *        5133.   Mifflin County, Pennsylvania      5164.   Warren County, Pennsylvania
5105.   Erie County, Pennsylvania *              *                                         *
5106.   Falls township, Pennsylvania *   5134.   Millcreek township,               5165.   Washington County,
5107.   Fayette County, Pennsylvania             Pennsylvania *                            Pennsylvania *
        *                                5135.   Monroe County, Pennsylvania       5166.   Wayne County, Pennsylvania
5108.   Franklin County, Pennsylvania            *                                         *
        *                                5136.   Montgomery County,                5167.   Westmoreland County,
5109.   Greene County, Pennsylvania              Pennsylvania *                            Pennsylvania *
        *                                5137.   Mount Lebanon township,           5168.   Wilkes-Barre city,
5110.   Hampden township,                        Pennsylvania *                            Pennsylvania *
        Pennsylvania *                   5138.   Norristown borough,               5169.   York city, Pennsylvania *
5111.   Harrisburg city, Pennsylvania            Pennsylvania *                    5170.   York County, Pennsylvania *
        *                                5139.   North Huntingdon township,        5171.   Adams township,
5112.   Haverford township,                      Pennsylvania *                            Pennsylvania
        Pennsylvania *                   5140.   Northampton County,               5172.   Amity township, Pennsylvania
5113.   Hempfield township,                      Pennsylvania *                    5173.   Antrim township,
        Pennsylvania *                   5141.   Northampton township,                     Pennsylvania
5114.   Huntingdon County,                       Pennsylvania *                    5174.   Aston township, Pennsylvania
        Pennsylvania *                   5142.   Northumberland County,            5175.   Baldwin borough,
5115.   Indiana County, Pennsylvania             Pennsylvania *                            Pennsylvania
        *                                5143.   Penn Hills township,              5176.   Bethlehem township,
5116.   Jefferson County,                        Pennsylvania *                            Pennsylvania
        Pennsylvania *                   5144.   Perry County, Pennsylvania *      5177.   Bloomsburg town,
5117.   Lackawanna County,               5145.   Philadelphia city /                       Pennsylvania
        Pennsylvania *                           Philadelphia County,              5178.   Buckingham township,
5118.   Lancaster city, Pennsylvania *           Pennsylvania *                            Pennsylvania
5119.   Lancaster County,                5146.   Pike County, Pennsylvania *       5179.   Butler city, Pennsylvania
        Pennsylvania *                   5147.   Pittsburgh city, Pennsylvania *   5180.   Butler township, Pennsylvania
5120.   Lawrence County,                 5148.   Radnor township,                  5181.   Caln township, Pennsylvania
        Pennsylvania *                           Pennsylvania *                    5182.   Carlisle borough,
5121.   Lebanon County,                  5149.   Reading city, Pennsylvania *              Pennsylvania
        Pennsylvania *                   5150.   Ridley township, Pennsylvania     5183.   Cecil township, Pennsylvania
5122.   Lehigh County, Pennsylvania              *                                 5184.   Center township, Pennsylvania
        *                                5151.   Ross township, Pennsylvania *     5185.   Chambersburg borough,
5123.   Lower Macungie township,         5152.   Schuylkill County,                        Pennsylvania
        Pennsylvania *                           Pennsylvania *                    5186.   Chestnuthill township,
5124.   Lower Makefield township,        5153.   Scranton city, Pennsylvania *             Pennsylvania
        Pennsylvania *                   5154.   Snyder County, Pennsylvania       5187.   Coal township, Pennsylvania
5125.   Lower Merion township,                   *                                 5188.   Coatesville city, Pennsylvania
        Pennsylvania *                   5155.   Somerset County,                  5189.   College township,
5126.   Lower Paxton township,                   Pennsylvania *                            Pennsylvania
        Pennsylvania *                   5156.   State College borough,            5190.   Columbia borough,
5127.   Luzerne County, Pennsylvania             Pennsylvania *                            Pennsylvania
        *                                5157.   Susquehanna County,               5191.   Concord township,
5128.   Lycoming County,                         Pennsylvania *                            Pennsylvania
        Pennsylvania *                   5158.   Tioga County, Pennsylvania *      5192.   Coolbaugh township,
5129.   Manheim township,                5159.   Union County, Pennsylvania *              Pennsylvania
        Pennsylvania *                   5160.   Upper Darby township,             5193.   Cumru township,
5130.   McKean County, Pennsylvania              Pennsylvania *                            Pennsylvania
        *                                5161.   Upper Merion township,            5194.   Darby borough, Pennsylvania
                                                 Pennsylvania *                    5195.   Derry township, Pennsylvania


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5196.   Derry township, Pennsylvania    5227.   Greensburg city, Pennsylvania   5258.   Lower Moreland township,
5197.   Dingman township,               5228.   Guilford township,                      Pennsylvania
        Pennsylvania                            Pennsylvania                    5259.   Lower Pottsgrove township,
5198.   Douglass township,              5229.   Hamilton township,                      Pennsylvania
        Pennsylvania                            Pennsylvania                    5260.   Lower Providence township,
5199.   Dover township, Pennsylvania    5230.   Hampton township,                       Pennsylvania
5200.   Doylestown township,                    Pennsylvania                    5261.   Lower Salford township,
        Pennsylvania                    5231.   Hanover borough,                        Pennsylvania
5201.   Dunmore borough,                        Pennsylvania                    5262.   Lower Saucon township,
        Pennsylvania                    5232.   Hanover township,                       Pennsylvania
5202.   East Cocalico township,                 Pennsylvania                    5263.   Lower Southampton township,
        Pennsylvania                    5233.   Hanover township,                       Pennsylvania
5203.   East Goshen township,                   Pennsylvania                    5264.   Loyalsock township,
        Pennsylvania                    5234.   Harborcreek township,                   Pennsylvania
5204.   East Hempfield township,                Pennsylvania                    5265.   Manchester township,
        Pennsylvania                    5235.   Harrison township,                      Pennsylvania
5205.   East Lampeter township,                 Pennsylvania                    5266.   Manor township, Pennsylvania
        Pennsylvania                    5236.   Hatfield township,              5267.   Marple township,
5206.   East Norriton township,                 Pennsylvania                            Pennsylvania
        Pennsylvania                    5237.   Hazleton city, Pennsylvania     5268.   McCandless township,
5207.   East Pennsboro township,        5238.   Hermitage city, Pennsylvania            Pennsylvania
        Pennsylvania                    5239.   Hilltown township,              5269.   McKeesport city,
5208.   East Stroudsburg borough,               Pennsylvania                            Pennsylvania
        Pennsylvania                    5240.   Hopewell township,              5270.   Meadville city, Pennsylvania
5209.   East Whiteland township,                Pennsylvania                    5271.   Middle Smithfield township,
        Pennsylvania                    5241.   Horsham township,                       Pennsylvania
5210.   Easton city, Pennsylvania               Pennsylvania                    5272.   Middletown township,
5211.   Easttown township,              5242.   Indiana borough, Pennsylvania           Pennsylvania
        Pennsylvania                    5243.   Jefferson Hills borough,        5273.   Milford township,
5212.   Elizabeth township,                     Pennsylvania                            Pennsylvania
        Pennsylvania                    5244.   Johnstown city, Pennsylvania    5274.   Monroeville municipality,
5213.   Elizabethtown borough,          5245.   Juniata County, Pennsylvania            Pennsylvania
        Pennsylvania                    5246.   Kingston borough,               5275.   Montgomery township,
5214.   Elk County, Pennsylvania                Pennsylvania                            Pennsylvania
5215.   Emmaus borough,                 5247.   Lancaster township,             5276.   Montour County,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5216.   Ephrata borough,                5248.   Lansdale borough,               5277.   Moon township, Pennsylvania
        Pennsylvania                            Pennsylvania                    5278.   Mount Joy township,
5217.   Ephrata township,               5249.   Lansdowne borough,                      Pennsylvania
        Pennsylvania                            Pennsylvania                    5279.   Mount Pleasant township,
5218.   Exeter township, Pennsylvania   5250.   Lebanon city, Pennsylvania              Pennsylvania
5219.   Fairview township,              5251.   Lehigh township,                5280.   Muhlenberg township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5220.   Fairview township,              5252.   Lehman township,                5281.   Munhall borough,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5221.   Ferguson township,              5253.   Limerick township,              5282.   Murrysville municipality,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5222.   Forks township, Pennsylvania    5254.   Logan township, Pennsylvania    5283.   Nanticoke city, Pennsylvania
5223.   Franconia township,             5255.   Lower Allen township,           5284.   Nether Providence township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5224.   Franklin Park borough,          5256.   Lower Burrell city,             5285.   New Britain township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5225.   Fulton County, Pennsylvania     5257.   Lower Gwynedd township,         5286.   New Castle city, Pennsylvania
5226.   Greene township,                        Pennsylvania                    5287.   New Garden township,
        Pennsylvania                                                                    Pennsylvania


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5288.   New Hanover township,           5320.   Salisbury township,             5351.   Upper Moreland township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5289.   New Kensington city,            5321.   Sandy township, Pennsylvania    5352.   Upper Providence township,
        Pennsylvania                    5322.   Scott township, Pennsylvania            Pennsylvania
5290.   Newberry township,              5323.   Shaler township, Pennsylvania   5353.   Upper Providence township,
        Pennsylvania                    5324.   Sharon city, Pennsylvania               Pennsylvania
5291.   Newtown township,               5325.   Silver Spring township,         5354.   Upper Saucon township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5292.   Newtown township,               5326.   Skippack township,              5355.   Upper Southampton township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5293.   North Fayette township,         5327.   Somerset township,              5356.   Upper St. Clair township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5294.   North Lebanon township,         5328.   South Fayette township,         5357.   Upper Uwchlan township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5295.   North Middleton township,       5329.   South Lebanon township,         5358.   Uwchlan township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5296.   North Strabane township,        5330.   South Middleton township,       5359.   Warrington township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5297.   North Union township,           5331.   South Park township,            5360.   Warwick township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5298.   North Whitehall township,       5332.   South Union township,           5361.   Warwick township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5299.   Palmer township,                5333.   South Whitehall township,       5362.   Washington city, Pennsylvania
        Pennsylvania                            Pennsylvania                    5363.   Washington township,
5300.   Patton township, Pennsylvania   5334.   Spring Garden township,                 Pennsylvania
5301.   Penn township, Pennsylvania             Pennsylvania                    5364.   Waynesboro borough,
5302.   Penn township, Pennsylvania     5335.   Spring township, Pennsylvania           Pennsylvania
5303.   Peters township, Pennsylvania   5336.   Springettsbury township,        5365.   West Bradford township,
5304.   Phoenixville borough,                   Pennsylvania                            Pennsylvania
        Pennsylvania                    5337.   Springfield township,           5366.   West Chester borough,
5305.   Pine township, Pennsylvania             Pennsylvania                            Pennsylvania
5306.   Plum borough, Pennsylvania      5338.   Springfield township,           5367.   West Deer township,
5307.   Plumstead township,                     Pennsylvania                            Pennsylvania
        Pennsylvania                    5339.   St. Marys city, Pennsylvania    5368.   West Goshen township,
5308.   Plymouth township,              5340.   Stroud township, Pennsylvania           Pennsylvania
        Pennsylvania                    5341.   Susquehanna township,           5369.   West Hanover township,
5309.   Pocono township,                        Pennsylvania                            Pennsylvania
        Pennsylvania                    5342.   Swatara township,               5370.   West Hempfield township,
5310.   Potter County, Pennsylvania             Pennsylvania                            Pennsylvania
5311.   Pottstown borough,              5343.   Towamencin township,            5371.   West Lampeter township,
        Pennsylvania                            Pennsylvania                            Pennsylvania
5312.   Pottsville city, Pennsylvania   5344.   Tredyffrin township,            5372.   West Manchester township,
5313.   Rapho township, Pennsylvania            Pennsylvania                            Pennsylvania
5314.   Richland township,              5345.   Unity township, Pennsylvania    5373.   West Mifflin borough,
        Pennsylvania                    5346.   Upper Allen township,                   Pennsylvania
5315.   Richland township,                      Pennsylvania                    5374.   West Norriton township,
        Pennsylvania                    5347.   Upper Chichester township,              Pennsylvania
5316.   Richland township,                      Pennsylvania                    5375.   West Whiteland township,
        Pennsylvania                    5348.   Upper Dublin township,                  Pennsylvania
5317.   Robinson township,                      Pennsylvania                    5376.   Westtown township,
        Pennsylvania                    5349.   Upper Gwynedd township,                 Pennsylvania
5318.   Rostraver township,                     Pennsylvania                    5377.   White township, Pennsylvania
        Pennsylvania                    5350.   Upper Macungie township,        5378.   Whitehall borough,
5319.   Salisbury township,                     Pennsylvania                            Pennsylvania
        Pennsylvania


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5379.   Whitehall township,            5407.   Gurabo Municipio, Puerto         5434.   Añasco Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5380.   Whitemarsh township,           5408.   Hatillo Municipio, Puerto Rico   5435.   Arroyo Municipio, Puerto
        Pennsylvania                           *                                        Rico
5381.   Whitpain township,             5409.   Humacao Municipio, Puerto        5436.   Barceloneta Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5382.   Wilkinsburg borough,           5410.   Isabela Municipio, Puerto        5437.   Barranquitas Municipio,
        Pennsylvania                           Rico *                                   Puerto Rico
5383.   Williamsport city,             5411.   Juana Díaz Municipio, Puerto     5438.   Cataño Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5384.   Willistown township,           5412.   Juncos Municipio, Puerto Rico    5439.   Ceiba Municipio, Puerto Rico
        Pennsylvania                           *                                5440.   Ciales Municipio, Puerto Rico
5385.   Windsor township,              5413.   Las Piedras Municipio, Puerto    5441.   Comerío Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5386.   Worcester township,            5414.   Manatí Municipio, Puerto         5442.   Fajardo Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5387.   Wyoming County,                5415.   Mayagüez Municipio, Puerto       5443.   Florida Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5388.   Wyomissing borough,            5416.   Moca Municipio, Puerto Rico      5444.   Guánica Municipio, Puerto
        Pennsylvania                           *                                        Rico
5389.   Yeadon borough,                5417.   Morovis Municipio, Puerto        5445.   Guayanilla Municipio, Puerto
        Pennsylvania                           Rico *                                   Rico
5390.   York township, Pennsylvania    5418.   Ponce Municipio, Puerto Rico     5446.   Hormigueros Municipio,
5391.   Aguada Municipio, Puerto               *                                        Puerto Rico
        Rico *                         5419.   Río Grande Municipio, Puerto     5447.   Jayuya Municipio, Puerto Rico
5392.   Aguadilla Municipio, Puerto            Rico *                           5448.   Lajas Municipio, Puerto Rico
        Rico *                         5420.   San Germán Municipio,            5449.   Lares Municipio, Puerto Rico
5393.   Arecibo Municipio, Puerto              Puerto Rico *                    5450.   Loíza Municipio, Puerto Rico
        Rico *                         5421.   San Juan Municipio, Puerto       5451.   Luquillo Municipio, Puerto
5394.   Bayamón Municipio, Puerto              Rico *                                   Rico
        Rico *                         5422.   San Lorenzo Municipio,           5452.   Maunabo Municipio, Puerto
5395.   Cabo Rojo Municipio, Puerto            Puerto Rico *                            Rico
        Rico *                         5423.   San Sebastián Municipio,         5453.   Naguabo Municipio, Puerto
5396.   Caguas Municipio, Puerto               Puerto Rico *                            Rico
        Rico *                         5424.   Toa Alta Municipio, Puerto       5454.   Naranjito Municipio, Puerto
5397.   Camuy Municipio, Puerto                Rico *                                   Rico
        Rico *                         5425.   Toa Baja Municipio, Puerto       5455.   Orocovis Municipio, Puerto
5398.   Canóvanas Municipio, Puerto            Rico *                                   Rico
        Rico *                         5426.   Trujillo Alto Municipio,         5456.   Patillas Municipio, Puerto
5399.   Carolina Municipio, Puerto             Puerto Rico *                            Rico
        Rico *                         5427.   Vega Alta Municipio, Puerto      5457.   Peñuelas Municipio, Puerto
5400.   Cayey Municipio, Puerto Rico           Rico *                                   Rico
        *                              5428.   Vega Baja Municipio, Puerto      5458.   Quebradillas Municipio,
5401.   Cidra Municipio, Puerto Rico           Rico *                                   Puerto Rico
        *                              5429.   Yabucoa Municipio, Puerto        5459.   Rincón Municipio, Puerto
5402.   Coamo Municipio, Puerto                Rico *                                   Rico
        Rico *                         5430.   Yauco Municipio, Puerto Rico     5460.   Sabana Grande Municipio,
5403.   Corozal Municipio, Puerto              *                                        Puerto Rico
        Rico *                         5431.   Adjuntas Municipio, Puerto       5461.   Salinas Municipio, Puerto
5404.   Dorado Municipio, Puerto               Rico                                     Rico
        Rico *                         5432.   Aguas Buenas Municipio,          5462.   Santa Isabel Municipio, Puerto
5405.   Guayama Municipio, Puerto              Puerto Rico                              Rico
        Rico *                         5433.   Aibonito Municipio, Puerto       5463.   Utuado Municipio, Puerto
5406.   Guaynabo Municipio, Puerto             Rico                                     Rico
        Rico *


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5464.   Villalba Municipio, Puerto       5499.   Berkeley County, South          5527.   Mount Pleasant town, South
        Rico                                     Carolina *                              Carolina *
5465.   Coventry town, Rhode Island      5500.   Charleston city, South          5528.   Myrtle Beach city, South
        *                                        Carolina *                              Carolina *
5466.   Cranston city, Rhode Island *    5501.   Charleston County, South        5529.   Newberry County, South
5467.   Cumberland town, Rhode                   Carolina *                              Carolina *
        Island *                         5502.   Cherokee County, South          5530.   North Charleston city, South
5468.   East Providence city, Rhode              Carolina *                              Carolina *
        Island *                         5503.   Chester County, South           5531.   Oconee County, South
5469.   North Providence town, Rhode             Carolina *                              Carolina *
        Island *                         5504.   Chesterfield County, South      5532.   Orangeburg County, South
5470.   Pawtucket city, Rhode Island *           Carolina *                              Carolina *
5471.   Providence city, Rhode Island    5505.   Clarendon County, South         5533.   Pickens County, South
        *                                        Carolina *                              Carolina *
5472.   South Kingstown town, Rhode      5506.   Colleton County, South          5534.   Richland County, South
        Island *                                 Carolina *                              Carolina *
5473.   Warwick city, Rhode Island *     5507.   Columbia city, South Carolina   5535.   Rock Hill city, South Carolina
5474.   Woonsocket city, Rhode                   *                                       *
        Island *                         5508.   Darlington County, South        5536.   Spartanburg city, South
5475.   Barrington town, Rhode Island            Carolina *                              Carolina *
5476.   Bristol town, Rhode Island       5509.   Dillon County, South Carolina   5537.   Spartanburg County, South
5477.   Burrillville town, Rhode                 *                                       Carolina *
        Island                           5510.   Dorchester County, South        5538.   Summerville town, South
5478.   Central Falls city, Rhode                Carolina *                              Carolina *
        Island                           5511.   Florence city, South Carolina   5539.   Sumter city, South Carolina *
5479.   East Greenwich town, Rhode               *                               5540.   Sumter County, South
        Island                           5512.   Florence County, South                  Carolina *
5480.   Glocester town, Rhode Island             Carolina *                      5541.   Williamsburg County, South
5481.   Johnston town, Rhode Island      5513.   Georgetown County, South                Carolina *
5482.   Lincoln town, Rhode Island               Carolina *                      5542.   York County, South Carolina
5483.   Middletown town, Rhode           5514.   Goose Creek city, South                 *
        Island                                   Carolina *                      5543.   Abbeville County, South
5484.   Narragansett town, Rhode         5515.   Greenville city, South                  Carolina
        Island                                   Carolina *                      5544.   Anderson city, South Carolina
5485.   Newport city, Rhode Island       5516.   Greenville County, South        5545.   Bamberg County, South
5486.   North Kingstown town, Rhode              Carolina *                              Carolina
        Island                           5517.   Greenwood County, South         5546.   Barnwell County, South
5487.   North Smithfield town, Rhode             Carolina *                              Carolina
        Island                           5518.   Greer city, South Carolina *    5547.   Beaufort city, South Carolina
5488.   Portsmouth town, Rhode           5519.   Hilton Head Island town,        5548.   Bluffton town, South Carolina
        Island                                   South Carolina *                5549.   Calhoun County, South
5489.   Scituate town, Rhode Island      5520.   Horry County, South Carolina            Carolina
5490.   Smithfield town, Rhode Island            *                               5550.   Cayce city, South Carolina
5491.   Tiverton town, Rhode Island      5521.   Jasper County, South Carolina   5551.   Clemson city, South Carolina
5492.   Warren town, Rhode Island                *                               5552.   Conway city, South Carolina
5493.   West Warwick town, Rhode         5522.   Kershaw County, South           5553.   Easley city, South Carolina
        Island                                   Carolina *                      5554.   Edgefield County, South
5494.   Westerly town, Rhode Island      5523.   Lancaster County, South                 Carolina
5495.   Aiken city, South Carolina *             Carolina *                      5555.   Fairfield County, South
5496.   Aiken County, South Carolina     5524.   Laurens County, South                   Carolina
        *                                        Carolina *                      5556.   Forest Acres city, South
5497.   Anderson County, South           5525.   Lexington County, South                 Carolina
        Carolina *                               Carolina *                      5557.   Fort Mill town, South Carolina
5498.   Beaufort County, South           5526.   Marion County, South            5558.   Fountain Inn city, South
        Carolina *                               Carolina *                              Carolina


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5559.   Gaffney city, South Carolina     5594.   Codington County, South          5639.   Greene County, Tennessee *
5560.   Greenwood city, South                    Dakota                           5640.   Hamblen County, Tennessee *
        Carolina                         5595.   Davison County, South            5641.   Hamilton County, Tennessee *
5561.   Hampton County, South                    Dakota                           5642.   Hawkins County, Tennessee *
        Carolina                         5596.   Hughes County, South Dakota      5643.   Hendersonville city,
5562.   Hanahan city, South Carolina     5597.   Huron city, South Dakota                 Tennessee *
5563.   Irmo town, South Carolina        5598.   Lake County, South Dakota        5644.   Henry County, Tennessee *
5564.   James Island town, South         5599.   Lawrence County, South           5645.   Jackson city, Tennessee *
        Carolina                                 Dakota                           5646.   Jefferson County, Tennessee *
5565.   Lee County, South Carolina       5600.   Meade County, South Dakota       5647.   Johnson City city, Tennessee *
5566.   Lexington town, South            5601.   Mitchell city, South Dakota      5648.   Kingsport city, Tennessee *
        Carolina                         5602.   Oglala Lakota County, South      5649.   Knox County, Tennessee *
5567.   Marlboro County, South                   Dakota                           5650.   Knoxville city, Tennessee *
        Carolina                         5603.   Pierre city, South Dakota        5651.   La Vergne city, Tennessee *
5568.   Mauldin city, South Carolina     5604.   Roberts County, South Dakota     5652.   Lawrence County, Tennessee
5569.   Moncks Corner town, South        5605.   Spearfish city, South Dakota             *
        Carolina                         5606.   Todd County, South Dakota        5653.   Lebanon city, Tennessee *
5570.   Newberry city, South Carolina    5607.   Union County, South Dakota       5654.   Lincoln County, Tennessee *
5571.   North Augusta city, South        5608.   Vermillion city, South Dakota    5655.   Loudon County, Tennessee *
        Carolina                         5609.   Watertown city, South Dakota     5656.   Madison County, Tennessee *
5572.   North Myrtle Beach city,         5610.   Yankton city, South Dakota       5657.   Marshall County, Tennessee *
        South Carolina                   5611.   Yankton County, South            5658.   Maury County, Tennessee *
5573.   Orangeburg city, South                   Dakota                           5659.   McMinn County, Tennessee *
        Carolina                         5612.   Anderson County, Tennessee       5660.   Memphis city, Tennessee *
5574.   Port Royal town, South                   *                                5661.   Monroe County, Tennessee *
        Carolina                         5613.   Bartlett city, Tennessee *       5662.   Montgomery County,
5575.   Saluda County, South Carolina    5614.   Bedford County, Tennessee *              Tennessee *
5576.   Simpsonville city, South         5615.   Blount County, Tennessee *       5663.   Morristown city, Tennessee *
        Carolina                         5616.   Bradley County, Tennessee *      5664.   Mount Juliet city, Tennessee *
5577.   Tega Cay city, South Carolina    5617.   Brentwood city, Tennessee *      5665.   Murfreesboro city, Tennessee
5578.   Union County, South Carolina     5618.   Campbell County, Tennessee               *
5579.   West Columbia city, South                *                                5666.   Nashville-Davidson
        Carolina                         5619.   Carter County, Tennessee *               metropolitan government,
5580.   Brookings County, South          5620.   Chattanooga city, Tennessee *            Tennessee *
        Dakota *                         5621.   Cheatham County, Tennessee       5667.   Obion County, Tennessee *
5581.   Brown County, South Dakota               *                                5668.   Putnam County, Tennessee *
        *                                5622.   Claiborne County, Tennessee      5669.   Rhea County, Tennessee *
5582.   Lincoln County, South Dakota             *                                5670.   Roane County, Tennessee *
        *                                5623.   Clarksville city, Tennessee *    5671.   Robertson County, Tennessee
5583.   Minnehaha County, South          5624.   Cleveland city, Tennessee *              *
        Dakota *                         5625.   Cocke County, Tennessee *        5672.   Rutherford County, Tennessee
5584.   Pennington County, South         5626.   Coffee County, Tennessee *               *
        Dakota *                         5627.   Collierville town, Tennessee *   5673.   Sevier County, Tennessee *
5585.   Rapid City city, South Dakota    5628.   Columbia city, Tennessee *       5674.   Shelby County, Tennessee *
        *                                5629.   Cookeville city, Tennessee *     5675.   Smyrna town, Tennessee *
5586.   Sioux Falls city, South Dakota   5630.   Cumberland County,               5676.   Spring Hill city, Tennessee *
        *                                        Tennessee *                      5677.   Sullivan County, Tennessee *
5587.   Aberdeen city, South Dakota      5631.   Dickson County, Tennessee *      5678.   Sumner County, Tennessee *
5588.   Beadle County, South Dakota      5632.   Dyer County, Tennessee *         5679.   Tipton County, Tennessee *
5589.   Box Elder city, South Dakota     5633.   Fayette County, Tennessee *      5680.   Warren County, Tennessee *
5590.   Brandon city, South Dakota       5634.   Franklin city, Tennessee *       5681.   Washington County,
5591.   Brookings city, South Dakota     5635.   Franklin County, Tennessee *             Tennessee *
5592.   Butte County, South Dakota       5636.   Gallatin city, Tennessee *       5682.   Weakley County, Tennessee *
5593.   Clay County, South Dakota        5637.   Germantown city, Tennessee *     5683.   Williamson County,
                                         5638.   Gibson County, Tennessee *               Tennessee *


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5684.   Wilson County, Tennessee *       5737.   Paris city, Tennessee           5792.   Comal County, Texas *
5685.   Arlington town, Tennessee        5738.   Polk County, Tennessee          5793.   Conroe city, Texas *
5686.   Athens city, Tennessee           5739.   Portland city, Tennessee        5794.   Cooke County, Texas *
5687.   Benton County, Tennessee         5740.   Red Bank city, Tennessee        5795.   Coppell city, Texas *
5688.   Bledsoe County, Tennessee        5741.   Scott County, Tennessee         5796.   Copperas Cove city, Texas *
5689.   Bristol city, Tennessee          5742.   Sequatchie County, Tennessee    5797.   Corpus Christi city, Texas *
5690.   Cannon County, Tennessee         5743.   Sevierville city, Tennessee     5798.   Coryell County, Texas *
5691.   Carroll County, Tennessee        5744.   Shelbyville city, Tennessee     5799.   Dallas city, Texas *
5692.   Chester County, Tennessee        5745.   Smith County, Tennessee         5800.   Dallas County, Texas *
5693.   Clinton city, Tennessee          5746.   Soddy-Daisy city, Tennessee     5801.   Deer Park city, Texas *
5694.   Collegedale city, Tennessee      5747.   Springfield city, Tennessee     5802.   Del Rio city, Texas *
5695.   Crockett County, Tennessee       5748.   Stewart County, Tennessee       5803.   Denton city, Texas *
5696.   Crossville city, Tennessee       5749.   Tullahoma city, Tennessee       5804.   Denton County, Texas *
5697.   Decatur County, Tennessee        5750.   Unicoi County, Tennessee        5805.   DeSoto city, Texas *
5698.   DeKalb County, Tennessee         5751.   Union City city, Tennessee      5806.   Duncanville city, Texas *
5699.   Dickson city, Tennessee          5752.   Union County, Tennessee         5807.   Ector County, Texas *
5700.   Dyersburg city, Tennessee        5753.   Wayne County, Tennessee         5808.   Edinburg city, Texas *
5701.   East Ridge city, Tennessee       5754.   White County, Tennessee         5809.   El Paso city, Texas *
5702.   Elizabethton city, Tennessee     5755.   White House city, Tennessee     5810.   El Paso County, Texas *
5703.   Farragut town, Tennessee         5756.   Abilene city, Texas *           5811.   Ellis County, Texas *
5704.   Fentress County, Tennessee       5757.   Allen city, Texas *             5812.   Erath County, Texas *
5705.   Giles County, Tennessee          5758.   Amarillo city, Texas *          5813.   Euless city, Texas *
5706.   Goodlettsville city, Tennessee   5759.   Anderson County, Texas *        5814.   Fannin County, Texas *
5707.   Grainger County, Tennessee       5760.   Angelina County, Texas *        5815.   Farmers Branch city, Texas *
5708.   Greeneville town, Tennessee      5761.   Arlington city, Texas *         5816.   Flower Mound town, Texas *
5709.   Grundy County, Tennessee         5762.   Atascosa County, Texas *        5817.   Fort Bend County, Texas *
5710.   Hardeman County, Tennessee       5763.   Austin city, Texas *            5818.   Fort Worth city, Texas *
5711.   Hardin County, Tennessee         5764.   Austin County, Texas *          5819.   Friendswood city, Texas *
5712.   Hartsville/Trousdale County,     5765.   Bastrop County, Texas *         5820.   Frisco city, Texas *
        Tennessee                        5766.   Baytown city, Texas *           5821.   Galveston city, Texas *
5713.   Haywood County, Tennessee        5767.   Beaumont city, Texas *          5822.   Galveston County, Texas *
5714.   Henderson County, Tennessee      5768.   Bedford city, Texas *           5823.   Garland city, Texas *
5715.   Hickman County, Tennessee        5769.   Bee County, Texas *             5824.   Georgetown city, Texas *
5716.   Humphreys County,                5770.   Bell County, Texas *            5825.   Grand Prairie city, Texas *
        Tennessee                        5771.   Bexar County, Texas *           5826.   Grapevine city, Texas *
5717.   Jackson County, Tennessee        5772.   Bowie County, Texas *           5827.   Grayson County, Texas *
5718.   Johnson County, Tennessee        5773.   Brazoria County, Texas *        5828.   Gregg County, Texas *
5719.   Lakeland city, Tennessee         5774.   Brazos County, Texas *          5829.   Guadalupe County, Texas *
5720.   Lauderdale County, Tennessee     5775.   Brown County, Texas *           5830.   Hale County, Texas *
5721.   Lawrenceburg city, Tennessee     5776.   Brownsville city, Texas *       5831.   Haltom City city, Texas *
5722.   Lewis County, Tennessee          5777.   Bryan city, Texas *             5832.   Hardin County, Texas *
5723.   Lewisburg city, Tennessee        5778.   Burleson city, Texas *          5833.   Harker Heights city, Texas *
5724.   Macon County, Tennessee          5779.   Burnet County, Texas *          5834.   Harlingen city, Texas *
5725.   Manchester city, Tennessee       5780.   Caldwell County, Texas *        5835.   Harris County, Texas *
5726.   Marion County, Tennessee         5781.   Cameron County, Texas *         5836.   Harrison County, Texas *
5727.   Martin city, Tennessee           5782.   Carrollton city, Texas *        5837.   Hays County, Texas *
5728.   Maryville city, Tennessee        5783.   Cass County, Texas *            5838.   Henderson County, Texas *
5729.   McMinnville city, Tennessee      5784.   Cedar Hill city, Texas *        5839.   Hidalgo County, Texas *
5730.   McNairy County, Tennessee        5785.   Cedar Park city, Texas *        5840.   Hill County, Texas *
5731.   Meigs County, Tennessee          5786.   Chambers County, Texas *        5841.   Hood County, Texas *
5732.   Millington city, Tennessee       5787.   Cherokee County, Texas *        5842.   Hopkins County, Texas *
5733.   Morgan County, Tennessee         5788.   Cibolo city, Texas *            5843.   Houston city, Texas *
5734.   Nolensville town, Tennessee      5789.   Cleburne city, Texas *          5844.   Howard County, Texas *
5735.   Oak Ridge city, Tennessee        5790.   College Station city, Texas *   5845.   Hunt County, Texas *
5736.   Overton County, Tennessee        5791.   Collin County, Texas *          5846.   Huntsville city, Texas *


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5847.   Hurst city, Texas *           5901.   Polk County, Texas *           5956.   Alamo city, Texas
5848.   Irving city, Texas *          5902.   Port Arthur city, Texas *      5957.   Alice city, Texas
5849.   Jasper County, Texas *        5903.   Potter County, Texas *         5958.   Alton city, Texas
5850.   Jefferson County, Texas *     5904.   Randall County, Texas *        5959.   Alvin city, Texas
5851.   Jim Wells County, Texas *     5905.   Richardson city, Texas *       5960.   Andrews city, Texas
5852.   Johnson County, Texas *       5906.   Rockwall city, Texas *         5961.   Andrews County, Texas
5853.   Kaufman County, Texas *       5907.   Rockwall County, Texas *       5962.   Angleton city, Texas
5854.   Keller city, Texas *          5908.   Rosenberg city, Texas *        5963.   Anna city, Texas
5855.   Kendall County, Texas *       5909.   Round Rock city, Texas *       5964.   Aransas County, Texas
5856.   Kerr County, Texas *          5910.   Rowlett city, Texas *          5965.   Athens city, Texas
5857.   Killeen city, Texas *         5911.   Rusk County, Texas *           5966.   Azle city, Texas
5858.   Kleberg County, Texas *       5912.   San Angelo city, Texas *       5967.   Balch Springs city, Texas
5859.   Kyle city, Texas *            5913.   San Antonio city, Texas *      5968.   Bandera County, Texas
5860.   La Porte city, Texas *        5914.   San Juan city, Texas *         5969.   Bay City city, Texas
5861.   Lamar County, Texas *         5915.   San Marcos city, Texas *       5970.   Beeville city, Texas
5862.   Lancaster city, Texas *       5916.   San Patricio County, Texas *   5971.   Bellaire city, Texas
5863.   Laredo city, Texas *          5917.   Schertz city, Texas *          5972.   Bellmead city, Texas
5864.   League City city, Texas *     5918.   Sherman city, Texas *          5973.   Belton city, Texas
5865.   Leander city, Texas *         5919.   Smith County, Texas *          5974.   Benbrook city, Texas
5866.   Lewisville city, Texas *      5920.   Socorro city, Texas *          5975.   Big Spring city, Texas
5867.   Liberty County, Texas *       5921.   Southlake city, Texas *        5976.   Blanco County, Texas
5868.   Little Elm city, Texas *      5922.   Starr County, Texas *          5977.   Boerne city, Texas
5869.   Longview city, Texas *        5923.   Sugar Land city, Texas *       5978.   Bonham city, Texas
5870.   Lubbock city, Texas *         5924.   Tarrant County, Texas *        5979.   Borger city, Texas
5871.   Lubbock County, Texas *       5925.   Taylor County, Texas *         5980.   Bosque County, Texas
5872.   Lufkin city, Texas *          5926.   Temple city, Texas *           5981.   Brenham city, Texas
5873.   Mansfield city, Texas *       5927.   Texarkana city, Texas *        5982.   Brownwood city, Texas
5874.   Matagorda County, Texas *     5928.   Texas City city, Texas *       5983.   Buda city, Texas
5875.   Maverick County, Texas *      5929.   The Colony city, Texas *       5984.   Burkburnett city, Texas
5876.   McAllen city, Texas *         5930.   Titus County, Texas *          5985.   Burleson County, Texas
5877.   McKinney city, Texas *        5931.   Tom Green County, Texas *      5986.   Calhoun County, Texas
5878.   McLennan County, Texas *      5932.   Travis County, Texas *         5987.   Callahan County, Texas
5879.   Medina County, Texas *        5933.   Tyler city, Texas *            5988.   Camp County, Texas
5880.   Mesquite city, Texas *        5934.   Upshur County, Texas *         5989.   Canyon city, Texas
5881.   Midland city, Texas *         5935.   Val Verde County, Texas *      5990.   Celina city, Texas
5882.   Midland County, Texas *       5936.   Van Zandt County, Texas *      5991.   Clay County, Texas
5883.   Midlothian city, Texas *      5937.   Victoria city, Texas *         5992.   Clute city, Texas
5884.   Mission city, Texas *         5938.   Victoria County, Texas *       5993.   Colleyville city, Texas
5885.   Missouri City city, Texas *   5939.   Waco city, Texas *             5994.   Colorado County, Texas
5886.   Montgomery County, Texas *    5940.   Walker County, Texas *         5995.   Comanche County, Texas
5887.   Nacogdoches city, Texas *     5941.   Waller County, Texas *         5996.   Converse city, Texas
5888.   Nacogdoches County, Texas *   5942.   Washington County, Texas *     5997.   Corinth city, Texas
5889.   Navarro County, Texas *       5943.   Waxahachie city, Texas *       5998.   Corsicana city, Texas
5890.   New Braunfels city, Texas *   5944.   Weatherford city, Texas *      5999.   Crowley city, Texas
5891.   North Richland Hills city,    5945.   Webb County, Texas *           6000.   Dawson County, Texas
        Texas *                       5946.   Weslaco city, Texas *          6001.   Deaf Smith County, Texas
5892.   Nueces County, Texas *        5947.   Wharton County, Texas *        6002.   Denison city, Texas
5893.   Odessa city, Texas *          5948.   Wichita County, Texas *        6003.   DeWitt County, Texas
5894.   Orange County, Texas *        5949.   Wichita Falls city, Texas *    6004.   Dickinson city, Texas
5895.   Parker County, Texas *        5950.   Williamson County, Texas *     6005.   Dimmit County, Texas
5896.   Pasadena city, Texas *        5951.   Wilson County, Texas *         6006.   Donna city, Texas
5897.   Pearland city, Texas *        5952.   Wise County, Texas *           6007.   Dumas city, Texas
5898.   Pflugerville city, Texas *    5953.   Wood County, Texas *           6008.   Duval County, Texas
5899.   Pharr city, Texas *           5954.   Wylie city, Texas *            6009.   Eagle Pass city, Texas
5900.   Plano city, Texas *           5955.   Addison town, Texas            6010.   Eastland County, Texas


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6011.   El Campo city, Texas           6066.   Leon County, Texas            6121.   Sabine County, Texas
6012.   Elgin city, Texas              6067.   Leon Valley city, Texas       6122.   Sachse city, Texas
6013.   Ennis city, Texas              6068.   Levelland city, Texas         6123.   Saginaw city, Texas
6014.   Fair Oaks Ranch city, Texas    6069.   Limestone County, Texas       6124.   San Benito city, Texas
6015.   Falls County, Texas            6070.   Live Oak city, Texas          6125.   San Jacinto County, Texas
6016.   Fate city, Texas               6071.   Live Oak County, Texas        6126.   Santa Fe city, Texas
6017.   Fayette County, Texas          6072.   Llano County, Texas           6127.   Scurry County, Texas
6018.   Forest Hill city, Texas        6073.   Lockhart city, Texas          6128.   Seabrook city, Texas
6019.   Forney city, Texas             6074.   Lumberton city, Texas         6129.   Seagoville city, Texas
6020.   Franklin County, Texas         6075.   Madison County, Texas         6130.   Seguin city, Texas
6021.   Fredericksburg city, Texas     6076.   Manor city, Texas             6131.   Selma city, Texas
6022.   Freeport city, Texas           6077.   Manvel city, Texas            6132.   Shelby County, Texas
6023.   Freestone County, Texas        6078.   Marshall city, Texas          6133.   Snyder city, Texas
6024.   Frio County, Texas             6079.   Melissa city, Texas           6134.   South Houston city, Texas
6025.   Fulshear city, Texas           6080.   Mercedes city, Texas          6135.   Stafford city, Texas
6026.   Gaines County, Texas           6081.   Milam County, Texas           6136.   Stephenville city, Texas
6027.   Gainesville city, Texas        6082.   Mineral Wells city, Texas     6137.   Sulphur Springs city, Texas
6028.   Galena Park city, Texas        6083.   Montague County, Texas        6138.   Sweetwater city, Texas
6029.   Gatesville city, Texas         6084.   Moore County, Texas           6139.   Taylor city, Texas
6030.   Gillespie County, Texas        6085.   Morris County, Texas          6140.   Terrell city, Texas
6031.   Glenn Heights city, Texas      6086.   Mount Pleasant city, Texas    6141.   Terry County, Texas
6032.   Gonzales County, Texas         6087.   Murphy city, Texas            6142.   Tomball city, Texas
6033.   Granbury city, Texas           6088.   Nederland city, Texas         6143.   Trinity County, Texas
6034.   Gray County, Texas             6089.   Newton County, Texas          6144.   Trophy Club town, Texas
6035.   Greenville city, Texas         6090.   Nolan County, Texas           6145.   Tyler County, Texas
6036.   Grimes County, Texas           6091.   Orange city, Texas            6146.   Universal City city, Texas
6037.   Groves city, Texas             6092.   Palestine city, Texas         6147.   University Park city, Texas
6038.   Henderson city, Texas          6093.   Palo Pinto County, Texas      6148.   Uvalde city, Texas
6039.   Hereford city, Texas           6094.   Pampa city, Texas             6149.   Uvalde County, Texas
6040.   Hewitt city, Texas             6095.   Panola County, Texas          6150.   Vernon city, Texas
6041.   Hidalgo city, Texas            6096.   Paris city, Texas             6151.   Vidor city, Texas
6042.   Highland Village city, Texas   6097.   Pearsall city, Texas          6152.   Ward County, Texas
6043.   Hockley County, Texas          6098.   Pecos city, Texas             6153.   Watauga city, Texas
6044.   Horizon City city, Texas       6099.   Pecos County, Texas           6154.   Webster city, Texas
6045.   Houston County, Texas          6100.   Plainview city, Texas         6155.   West University Place city,
6046.   Humble city, Texas             6101.   Pleasanton city, Texas                Texas
6047.   Hutchinson County, Texas       6102.   Port Lavaca city, Texas       6156.   White Settlement city, Texas
6048.   Hutto city, Texas              6103.   Port Neches city, Texas       6157.   Wilbarger County, Texas
6049.   Ingleside city, Texas          6104.   Portland city, Texas          6158.   Willacy County, Texas
6050.   Jacinto City city, Texas       6105.   Princeton city, Texas         6159.   Young County, Texas
6051.   Jackson County, Texas          6106.   Prosper town, Texas           6160.   Zapata County, Texas
6052.   Jacksonville city, Texas       6107.   Rains County, Texas           6161.   Zavala County, Texas
6053.   Jones County, Texas            6108.   Raymondville city, Texas      6162.   American Fork city, Utah *
6054.   Karnes County, Texas           6109.   Red Oak city, Texas           6163.   Bountiful city, Utah *
6055.   Katy city, Texas               6110.   Red River County, Texas       6164.   Box Elder County, Utah *
6056.   Kerrville city, Texas          6111.   Reeves County, Texas          6165.   Cache County, Utah *
6057.   Kilgore city, Texas            6112.   Richmond city, Texas          6166.   Cedar City city, Utah *
6058.   Kingsville city, Texas         6113.   Rio Grande City city, Texas   6167.   Clearfield city, Utah *
6059.   La Marque city, Texas          6114.   Robertson County, Texas       6168.   Cottonwood Heights city,
6060.   Lake Jackson city, Texas       6115.   Robinson city, Texas                  Utah *
6061.   Lakeway city, Texas            6116.   Robstown city, Texas          6169.   Davis County, Utah *
6062.   Lamb County, Texas             6117.   Rockport city, Texas          6170.   Draper city, Utah *
6063.   Lampasas County, Texas         6118.   Roma city, Texas              6171.   Eagle Mountain city, Utah *
6064.   Lavaca County, Texas           6119.   Royse City city, Texas        6172.   Herriman city, Utah *
6065.   Lee County, Texas              6120.   Runnels County, Texas         6173.   Holladay city, Utah *


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6174.   Iron County, Utah *             6228.   Millard County, Utah           6279.   Caroline County, Virginia *
6175.   Kaysville city, Utah *          6229.   Morgan County, Utah            6280.   Charlottesville city, Virginia *
6176.   Kearns metro township, Utah     6230.   North Logan city, Utah         6281.   Chesapeake city, Virginia *
        *                               6231.   North Ogden city, Utah         6282.   Chesterfield County, Virginia
6177.   Layton city, Utah *             6232.   North Salt Lake city, Utah             *
6178.   Lehi city, Utah *               6233.   Payson city, Utah              6283.   Culpeper County, Virginia *
6179.   Logan city, Utah *              6234.   Pleasant View city, Utah       6284.   Danville city, Virginia *
6180.   Midvale city, Utah *            6235.   San Juan County, Utah          6285.   Fairfax County, Virginia *
6181.   Millcreek city, Utah *          6236.   Santaquin city, Utah           6286.   Fauquier County, Virginia *
6182.   Murray city, Utah *             6237.   Sevier County, Utah            6287.   Franklin County, Virginia *
6183.   Ogden city, Utah *              6238.   Smithfield city, Utah          6288.   Frederick County, Virginia *
6184.   Orem city, Utah *               6239.   South Ogden city, Utah         6289.   Gloucester County, Virginia *
6185.   Pleasant Grove city, Utah *     6240.   South Salt Lake city, Utah     6290.   Halifax County, Virginia *
6186.   Provo city, Utah *              6241.   Vernal city, Utah              6291.   Hampton city, Virginia *
6187.   Riverton city, Utah *           6242.   Vineyard town, Utah            6292.   Hanover County, Virginia *
6188.   Roy city, Utah *                6243.   Washington city, Utah          6293.   Harrisonburg city, Virginia *
6189.   Salt Lake City city, Utah *     6244.   West Haven city, Utah          6294.   Henrico County, Virginia *
6190.   Salt Lake County, Utah *        6245.   West Point city, Utah          6295.   Henry County, Virginia *
6191.   Sandy city, Utah *              6246.   Woods Cross city, Utah         6296.   Isle of Wight County, Virginia
6192.   Sanpete County, Utah *          6247.   Addison County, Vermont *              *
6193.   Saratoga Springs city, Utah *   6248.   Bennington County, Vermont     6297.   James City County, Virginia *
6194.   South Jordan city, Utah *               *                              6298.   Leesburg town, Virginia *
6195.   Spanish Fork city, Utah *       6249.   Burlington city, Vermont *     6299.   Loudoun County, Virginia *
6196.   Springville city, Utah *        6250.   Chittenden County, Vermont *   6300.   Louisa County, Virginia *
6197.   St. George city, Utah *         6251.   Franklin County, Vermont *     6301.   Lynchburg city, Virginia *
6198.   Summit County, Utah *           6252.   Rutland County, Vermont *      6302.   Manassas city, Virginia *
6199.   Syracuse city, Utah *           6253.   Washington County, Vermont     6303.   Mecklenburg County, Virginia
6200.   Taylorsville city, Utah *               *                                      *
6201.   Tooele city, Utah *             6254.   Windham County, Vermont *      6304.   Montgomery County, Virginia
6202.   Tooele County, Utah *           6255.   Windsor County, Vermont *              *
6203.   Uintah County, Utah *           6256.   Bennington town, Vermont       6305.   Newport News city, Virginia *
6204.   Utah County, Utah *             6257.   Brattleboro town, Vermont      6306.   Norfolk city, Virginia *
6205.   Wasatch County, Utah *          6258.   Caledonia County, Vermont      6307.   Orange County, Virginia *
6206.   Washington County, Utah *       6259.   Colchester town, Vermont       6308.   Petersburg city, Virginia *
6207.   Weber County, Utah *            6260.   Essex Junction village,        6309.   Pittsylvania County, Virginia
6208.   West Jordan city, Utah *                Vermont                                *
6209.   West Valley City city, Utah *   6261.   Essex town, Vermont            6310.   Portsmouth city, Virginia *
6210.   Alpine city, Utah               6262.   Lamoille County, Vermont       6311.   Prince George County,
6211.   Bluffdale city, Utah            6263.   Milton town, Vermont                   Virginia *
6212.   Brigham City city, Utah         6264.   Orange County, Vermont         6312.   Prince William County,
6213.   Carbon County, Utah             6265.   Orleans County, Vermont                Virginia *
6214.   Cedar Hills city, Utah          6266.   Rutland city, Vermont          6313.   Pulaski County, Virginia *
6215.   Centerville city, Utah          6267.   South Burlington city,         6314.   Richmond city, Virginia *
6216.   Clinton city, Utah                      Vermont                        6315.   Roanoke city, Virginia *
6217.   Duchesne County, Utah           6268.   Williston town, Vermont        6316.   Roanoke County, Virginia *
6218.   Emery County, Utah              6269.   Accomack County, Virginia *    6317.   Rockingham County, Virginia
6219.   Farmington city, Utah           6270.   Albemarle County, Virginia *           *
6220.   Grantsville city, Utah          6271.   Alexandria city, Virginia *    6318.   Shenandoah County, Virginia
6221.   Heber city, Utah                6272.   Amherst County, Virginia *             *
6222.   Highland city, Utah             6273.   Arlington County, Virginia *   6319.   Smyth County, Virginia *
6223.   Hurricane city, Utah            6274.   Augusta County, Virginia *     6320.   Spotsylvania County, Virginia
6224.   Juab County, Utah               6275.   Bedford County, Virginia *             *
6225.   Lindon city, Utah               6276.   Blacksburg town, Virginia *    6321.   Stafford County, Virginia *
6226.   Magna metro township, Utah      6277.   Botetourt County, Virginia *   6322.   Suffolk city, Virginia *
6227.   Mapleton city, Utah             6278.   Campbell County, Virginia *    6323.   Tazewell County, Virginia *


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6324.   Virginia Beach city, Virginia *   6376.   Prince Edward County,           6422.   Lake Stevens city, Washington
6325.   Warren County, Virginia *                 Virginia                                *
6326.   Washington County, Virginia       6377.   Purcellville town, Virginia     6423.   Lakewood city, Washington *
        *                                 6378.   Radford city, Virginia          6424.   Lewis County, Washington *
6327.   Wise County, Virginia *           6379.   Rockbridge County, Virginia     6425.   Longview city, Washington *
6328.   York County, Virginia *           6380.   Russell County, Virginia        6426.   Lynnwood city, Washington *
6329.   Alleghany County, Virginia        6381.   Salem city, Virginia            6427.   Marysville city, Washington *
6330.   Amelia County, Virginia           6382.   Scott County, Virginia          6428.   Mason County, Washington *
6331.   Appomattox County, Virginia       6383.   Southampton County, Virginia    6429.   Mount Vernon city,
6332.   Bristol city, Virginia            6384.   Staunton city, Virginia                 Washington *
6333.   Brunswick County, Virginia        6385.   Sussex County, Virginia         6430.   Okanogan County,
6334.   Buchanan County, Virginia         6386.   Vienna town, Virginia                   Washington *
6335.   Buckingham County, Virginia       6387.   Warrenton town, Virginia        6431.   Olympia city, Washington *
6336.   Carroll County, Virginia          6388.   Waynesboro city, Virginia       6432.   Pasco city, Washington *
6337.   Charlotte County, Virginia        6389.   Westmoreland County,            6433.   Pierce County, Washington *
6338.   Christiansburg town, Virginia             Virginia                        6434.   Pullman city, Washington *
6339.   Clarke County, Virginia           6390.   Williamsburg city, Virginia     6435.   Puyallup city, Washington *
6340.   Colonial Heights city, Virginia   6391.   Winchester city, Virginia       6436.   Redmond city, Washington *
6341.   Culpeper town, Virginia           6392.   Wythe County, Virginia          6437.   Renton city, Washington *
6342.   Dickenson County, Virginia        6393.   Auburn city, Washington *       6438.   Richland city, Washington *
6343.   Dinwiddie County, Virginia        6394.   Bellevue city, Washington *     6439.   Sammamish city, Washington
6344.   Essex County, Virginia            6395.   Bellingham city, Washington             *
6345.   Fairfax city, Virginia                    *                               6440.   Seattle city, Washington *
6346.   Falls Church city, Virginia       6396.   Benton County, Washington *     6441.   Shoreline city, Washington *
6347.   Floyd County, Virginia            6397.   Bothell city, Washington *      6442.   Skagit County, Washington *
6348.   Fluvanna County, Virginia         6398.   Bremerton city, Washington *    6443.   Snohomish County,
6349.   Fredericksburg city, Virginia     6399.   Burien city, Washington *               Washington *
6350.   Front Royal town, Virginia        6400.   Chelan County, Washington *     6444.   Spokane city, Washington *
6351.   Giles County, Virginia            6401.   Clallam County, Washington *    6445.   Spokane County, Washington
6352.   Goochland County, Virginia        6402.   Clark County, Washington *              *
6353.   Grayson County, Virginia          6403.   Cowlitz County, Washington *    6446.   Spokane Valley city,
6354.   Greene County, Virginia           6404.   Des Moines city, Washington             Washington *
6355.   Greensville County, Virginia              *                               6447.   Stevens County, Washington *
6356.   Herndon town, Virginia            6405.   Douglas County, Washington      6448.   Tacoma city, Washington *
6357.   Hopewell city, Virginia                   *                               6449.   Thurston County, Washington
6358.   King George County, Virginia      6406.   Edmonds city, Washington *              *
6359.   King William County,              6407.   Everett city, Washington *      6450.   University Place city,
        Virginia                          6408.   Federal Way city, Washington            Washington *
6360.   Lancaster County, Virginia                *                               6451.   Vancouver city, Washington *
6361.   Lee County, Virginia              6409.   Franklin County, Washington     6452.   Walla Walla city, Washington
6362.   Lunenburg County, Virginia                *                                       *
6363.   Madison County, Virginia          6410.   Grant County, Washington *      6453.   Walla Walla County,
6364.   Manassas Park city, Virginia      6411.   Grays Harbor County,                    Washington *
6365.   Martinsville city, Virginia               Washington *                    6454.   Wenatchee city, Washington *
6366.   Middlesex County, Virginia        6412.   Island County, Washington *     6455.   Whatcom County, Washington
6367.   Nelson County, Virginia           6413.   Issaquah city, Washington *             *
6368.   New Kent County, Virginia         6414.   Jefferson County, Washington    6456.   Whitman County, Washington
6369.   Northampton County, Virginia              *                                       *
6370.   Northumberland County,            6415.   Kennewick city, Washington *    6457.   Yakima city, Washington *
        Virginia                          6416.   Kent city, Washington *         6458.   Yakima County, Washington *
6371.   Nottoway County, Virginia         6417.   King County, Washington *       6459.   Aberdeen city, Washington
6372.   Page County, Virginia             6418.   Kirkland city, Washington *     6460.   Adams County, Washington
6373.   Patrick County, Virginia          6419.   Kitsap County, Washington *     6461.   Anacortes city, Washington
6374.   Poquoson city, Virginia           6420.   Kittitas County, Washington *   6462.   Arlington city, Washington
6375.   Powhatan County, Virginia         6421.   Lacey city, Washington *        6463.   Asotin County, Washington


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6464.   Bainbridge Island city,         6510.   Tumwater city, Washington       6554.   Oconto County, Wisconsin *
        Washington                      6511.   Washougal city, Washington      6555.   Oneida County, Wisconsin *
6465.   Battle Ground city,             6512.   West Richland city,             6556.   Oshkosh city, Wisconsin *
        Washington                              Washington                      6557.   Outagamie County, Wisconsin
6466.   Bonney Lake city, Washington    6513.   Woodinville city, Washington            *
6467.   Camas city, Washington          6514.   Appleton city, Wisconsin *      6558.   Ozaukee County, Wisconsin *
6468.   Centralia city, Washington      6515.   Barron County, Wisconsin *      6559.   Pierce County, Wisconsin *
6469.   Cheney city, Washington         6516.   Beloit city, Wisconsin *        6560.   Polk County, Wisconsin *
6470.   Covington city, Washington      6517.   Brookfield city, Wisconsin *    6561.   Portage County, Wisconsin *
6471.   East Wenatchee city,            6518.   Brown County, Wisconsin *       6562.   Racine city, Wisconsin *
        Washington                      6519.   Calumet County, Wisconsin *     6563.   Racine County, Wisconsin *
6472.   Edgewood city, Washington       6520.   Chippewa County, Wisconsin      6564.   Rock County, Wisconsin *
6473.   Ellensburg city, Washington             *                               6565.   Sauk County, Wisconsin *
6474.   Enumclaw city, Washington       6521.   Clark County, Wisconsin *       6566.   Shawano County, Wisconsin *
6475.   Ferndale city, Washington       6522.   Columbia County, Wisconsin      6567.   Sheboygan city, Wisconsin *
6476.   Fife city, Washington                   *                               6568.   Sheboygan County, Wisconsin
6477.   Gig Harbor city, Washington     6523.   Dane County, Wisconsin *                *
6478.   Grandview city, Washington      6524.   Dodge County, Wisconsin *       6569.   St. Croix County, Wisconsin *
6479.   Kelso city, Washington          6525.   Douglas County, Wisconsin *     6570.   Sun Prairie city, Wisconsin *
6480.   Kenmore city, Washington        6526.   Dunn County, Wisconsin *        6571.   Vernon County, Wisconsin *
6481.   Klickitat County, Washington    6527.   Eau Claire city, Wisconsin *    6572.   Walworth County, Wisconsin
6482.   Lake Forest Park city,          6528.   Eau Claire County, Wisconsin            *
        Washington                              *                               6573.   Washington County,
6483.   Liberty Lake city, Washington   6529.   Fitchburg city, Wisconsin *             Wisconsin *
6484.   Lincoln County, Washington      6530.   Fond du Lac city, Wisconsin *   6574.   Waukesha city, Wisconsin *
6485.   Lynden city, Washington         6531.   Fond du Lac County,             6575.   Waukesha County, Wisconsin
6486.   Maple Valley city,                      Wisconsin *                             *
        Washington                      6532.   Franklin city, Wisconsin *      6576.   Waupaca County, Wisconsin *
6487.   Mercer Island city,             6533.   Grant County, Wisconsin *       6577.   Wausau city, Wisconsin *
        Washington                      6534.   Green Bay city, Wisconsin *     6578.   Wauwatosa city, Wisconsin *
6488.   Mill Creek city, Washington     6535.   Green County, Wisconsin *       6579.   West Allis city, Wisconsin *
6489.   Monroe city, Washington         6536.   Greenfield city, Wisconsin *    6580.   West Bend city, Wisconsin *
6490.   Moses Lake city, Washington     6537.   Janesville city, Wisconsin *    6581.   Winnebago County,
6491.   Mountlake Terrace city,         6538.   Jefferson County, Wisconsin *           Wisconsin *
        Washington                      6539.   Kenosha city, Wisconsin *       6582.   Wood County, Wisconsin *
6492.   Mukilteo city, Washington       6540.   Kenosha County, Wisconsin *     6583.   Adams County, Wisconsin
6493.   Newcastle city, Washington      6541.   La Crosse city, Wisconsin *     6584.   Allouez village, Wisconsin
6494.   Oak Harbor city, Washington     6542.   La Crosse County, Wisconsin     6585.   Ashland County, Wisconsin
6495.   Pacific County, Washington              *                               6586.   Ashwaubenon village,
6496.   Pend Oreille County,            6543.   Madison city, Wisconsin *               Wisconsin
        Washington                      6544.   Manitowoc city, Wisconsin *     6587.   Baraboo city, Wisconsin
6497.   Port Angeles city, Washington   6545.   Manitowoc County, Wisconsin     6588.   Bayfield County, Wisconsin
6498.   Port Orchard city, Washington           *                               6589.   Beaver Dam city, Wisconsin
6499.   Poulsbo city, Washington        6546.   Marathon County, Wisconsin      6590.   Bellevue village, Wisconsin
6500.   San Juan County, Washington             *                               6591.   Brown Deer village,
6501.   SeaTac city, Washington         6547.   Marinette County, Wisconsin             Wisconsin
6502.   Sedro-Woolley city,                     *                               6592.   Buffalo County, Wisconsin
        Washington                      6548.   Menomonee Falls village,        6593.   Burlington city, Wisconsin
6503.   Shelton city, Washington                Wisconsin *                     6594.   Burnett County, Wisconsin
6504.   Skamania County, Washington     6549.   Milwaukee city, Wisconsin *     6595.   Caledonia village, Wisconsin
6505.   Snohomish city, Washington      6550.   Milwaukee County, Wisconsin     6596.   Cedarburg city, Wisconsin
6506.   Snoqualmie city, Washington             *                               6597.   Chippewa Falls city,
6507.   Sumner city, Washington         6551.   Monroe County, Wisconsin *              Wisconsin
6508.   Sunnyside city, Washington      6552.   New Berlin city, Wisconsin *    6598.   Crawford County, Wisconsin
6509.   Tukwila city, Washington        6553.   Oak Creek city, Wisconsin *     6599.   Cudahy city, Wisconsin


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6600.   De Pere city, Wisconsin         6648.   Portage city, Wisconsin         6697.   Riverton city, Wyoming
6601.   DeForest village, Wisconsin     6649.   Price County, Wisconsin         6698.   Rock Springs city, Wyoming
6602.   Door County, Wisconsin          6650.   Richfield village, Wisconsin    6699.   Sheridan city, Wyoming
6603.   Elkhorn city, Wisconsin         6651.   Richland County, Wisconsin      6700.   Teton County, Wyoming
6604.   Fort Atkinson city, Wisconsin   6652.   River Falls city, Wisconsin     6701.   Uinta County, Wyoming
6605.   Fox Crossing village,           6653.   Rusk County, Wisconsin
        Wisconsin                       6654.   Salem Lakes village,
6606.   Germantown village,                     Wisconsin
        Wisconsin                       6655.   Sawyer County, Wisconsin
6607.   Glendale city, Wisconsin        6656.   Shorewood village, Wisconsin
6608.   Grafton village, Wisconsin      6657.   South Milwaukee city,
6609.   Grand Chute town, Wisconsin             Wisconsin
6610.   Green Lake County,              6658.   Stevens Point city, Wisconsin
        Wisconsin                       6659.   Stoughton city, Wisconsin
6611.   Greendale village, Wisconsin    6660.   Suamico village, Wisconsin
6612.   Greenville town, Wisconsin      6661.   Superior city, Wisconsin
6613.   Harrison village, Wisconsin     6662.   Sussex village, Wisconsin
6614.   Hartford city, Wisconsin        6663.   Taylor County, Wisconsin
6615.   Hobart village, Wisconsin       6664.   Trempealeau County,
6616.   Holmen village, Wisconsin               Wisconsin
6617.   Howard village, Wisconsin       6665.   Two Rivers city, Wisconsin
6618.   Hudson city, Wisconsin          6666.   Verona city, Wisconsin
6619.   Iowa County, Wisconsin          6667.   Vilas County, Wisconsin
6620.   Jackson County, Wisconsin       6668.   Washburn County, Wisconsin
6621.   Juneau County, Wisconsin        6669.   Watertown city, Wisconsin
6622.   Kaukauna city, Wisconsin        6670.   Waunakee village, Wisconsin
6623.   Kewaunee County, Wisconsin      6671.   Waupun city, Wisconsin
6624.   Lafayette County, Wisconsin     6672.   Waushara County, Wisconsin
6625.   Langlade County, Wisconsin      6673.   Weston village, Wisconsin
6626.   Lincoln County, Wisconsin       6674.   Whitefish Bay village,
6627.   Lisbon town, Wisconsin                  Wisconsin
6628.   Little Chute village,           6675.   Whitewater city, Wisconsin
        Wisconsin                       6676.   Wisconsin Rapids city,
6629.   Marinette city, Wisconsin               Wisconsin
6630.   Marquette County, Wisconsin     6677.   Albany County, Wyoming *
6631.   Marshfield city, Wisconsin      6678.   Campbell County, Wyoming *
6632.   Menasha city, Wisconsin         6679.   Casper city, Wyoming *
6633.   Menomonie city, Wisconsin       6680.   Cheyenne city, Wyoming *
6634.   Mequon city, Wisconsin          6681.   Fremont County, Wyoming *
6635.   Middleton city, Wisconsin       6682.   Gillette city, Wyoming *
6636.   Monroe city, Wisconsin          6683.   Laramie city, Wyoming *
6637.   Mount Pleasant village,         6684.   Laramie County, Wyoming *
        Wisconsin                       6685.   Natrona County, Wyoming *
6638.   Muskego city, Wisconsin         6686.   Sheridan County, Wyoming *
6639.   Neenah city, Wisconsin          6687.   Sweetwater County, Wyoming
6640.   Oconomowoc city, Wisconsin              *
6641.   Onalaska city, Wisconsin        6688.   Big Horn County, Wyoming
6642.   Oregon village, Wisconsin       6689.   Carbon County, Wyoming
6643.   Pewaukee city, Wisconsin        6690.   Converse County, Wyoming
6644.   Platteville city, Wisconsin     6691.   Evanston city, Wyoming
6645.   Pleasant Prairie village,       6692.   Goshen County, Wyoming
        Wisconsin                       6693.   Green River city, Wyoming
6646.   Plover village, Wisconsin       6694.   Jackson town, Wyoming
6647.   Port Washington city,           6695.   Lincoln County, Wyoming
        Wisconsin                       6696.   Park County, Wyoming


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


                                               EXHIBIT J

          Settling Distributors’ Subsidiaries, Joint Ventures, and Predecessor Entities

                                                      ABC

 1.    A.T. Pharma Consultancy FZC                      39. Alliance Healthcare Services France (f/k/a
 2.    AB Eurco Ltd                                         Alliance Healthcare Formation SAS)
 3.    AB Financing, LLC                                40. Alliance Healthcare Technology Services
 4.    AB Finco Ltd                                         Limited
 5.    AB Nokco Ltd                                     41. Alliance Healthcare Turkey Holding A.S.
 6.    AB Singapore Investments Pte. Ltd.               42. Alliance Healthcare Yatirim Holding Anonim
 7.    AB Specialty Solutions, LLC                          Şirketi
 8.    ABBP International Company                       43. Alliance Home Health Care, Inc.
 9.    ABSG Canada Holdings, Inc.                       44. Alliance UniChem IP Limited
 10.   Access M.D. Inc.                                 45. Alloga (Nederland) B.V.
 11.   AERO LINK Courier GmbH                           46. Alloga France SAS
 12.   Agri-Laboratories, LTD                           47. Alloga Logifarma, S.A.
 13.   Agstrata, LLC                                    48. Alloga Logistica (España) S.L.
 14.   AH Schweiz GmbH                                  49. ALLOGA LOGISTICS ROMANIA SRL
 15.   AH UK Holdco 1 Limited                           50. Alloga Portugal - Armazenagem e
 16.   Alcura France                                        Distribuicao Farmaceutica, Lda
 17.   Alcura Health España, S.A.                       51. Alloga UK Limited
 18.   Alcura UK Limited                                52. AllyDVM, Inc.
 19.   Alliance Boots BV                                53. Almus Farmaceutica, S.A.
 20.   Alliance Boots Schweiz Investments GmbH          54. Almus France
 21.   Alliance Health Services, Inc.                   55. Almus Pharmacuticals Limited
 22.   Alliance Healthcare (Distribution) Limited       56. Almus, Lda.
 23.   Alliance Healthcare Acores (f/k/a Proconfar,     57. Alphega SA
       S.A.)                                            58. Ambulatory Pharmaceutical Services, Inc.
 24.   Alliance Healthcare Ecza Deposu Anonim           59. American Medical Distributors, Inc.
       Şirketi                                          60. American Oncology Network, LLC
 25.   Alliance Healthcare España Holdings, S.L.        61. Amerisource Health Services Corporation
 26.   Alliance Healthcare España S.A.                  62. Amerisource Health Services, LLC
 27.   Alliance Healthcare France SA                    63. Amerisource Health Services, LLC d/b/a
 28.   Alliance Healthcare Group France SA                  American Health Packaging
 29.   Alliance Healthcare Management Services          64. Amerisource Heritage Corporation
       (Nederland) B.V.                                 65. AmeriSource Heritage LLC
 30.   Alliance Healthcare Management Services          66. Amerisource Receivables Financial
       Limited                                              Corporation
 31.   Alliance Healthcare Nederland B.V.               67. Amerisource Sales Corporation
 32.   Alliance Healthcare Norge AS                     68. AmerisourceBergen Associate Assistance
 33.   Alliance Healthcare Participações SGPS,              Fund
       unipessoal, Lda.                                 69. AmerisourceBergen BC, ULC
 34.   Alliance Healthcare Répartition                  70. AmerisourceBergen Canada Corporation
 35.   Alliance Healthcare Romania SRL                  71. AmerisourceBergen Canada GP LLC
 36.   Alliance Healthcare S.A.                         72. AmerisourceBergen Canada GP, LLC
 37.   Alliance Healthcare s.r.o.                       73. AmerisourceBergen Canada Holdings LP
 38.   Alliance Healthcare s.r.o. Slovakia Branch       74. AmerisourceBergen Consulting Services, Inc.




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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 75. AmerisourceBergen Consulting Services,         115. Automed Technologies (Canada) ULC
      LLC                                           116. Automed Technologies, Inc.
 76. AmerisourceBergen Corporation                  117. BBC Laboratories
 77. AmerisourceBergen Drug Corporation             118. BBC Operating Sub, Inc.
 78. AmerisourceBergen Foundation                   119. BBC Packing Corporation
 79. AmerisourceBergen Global Holdings GmbH         120. BBC Special Packaging, Inc.
 80. AmerisourceBergen Global Investments           121. BBC Transportation Co.
      S.a.r.l.                                      122. Beachcourse Limited
 81. AmerisourceBergen Global Manufacturer          123. Bellco Drug Corp.
      Services GmbH                                 124. Bellco Health Corp.
 82. AmerisourceBergen Group GmbH                   125. Bergen Brunswig Corporation
 83. AmerisourceBergen Holding Corporation          126. Bergen Brunswig Drug Company
 84. AmerisourceBergen Integrated Services          127. Bergen Brunswig Realty Services, Inc.
      Offering, LLC                                 128. Bermuda Equity Holdings, Ltd.
 85. AmerisourceBergen International Holdings       129. Beverly Acquisition Corporation
      Inc.                                          130. Blue Hill II, Inc.
 86. AmerisourceBergen International                131. Blue Hill, Inc.
      Investments, LLC                              132. BluePoint Intellectual Property, LLC
 87. AmerisourceBergen Luxembourg s.a.r.l.          133. Boots Nederland B.V.
 88. AmerisourceBergen Services Corporation         134. Boots Norge AS
 89. AmerisourceBergen Sourcing, LLC                135. BP Pharmaceuticals Laboratories Unlimited
 90. AmerisourceBergen Specialty Group Canada            Company
      Corporation                                   136. BPL Brasil Participacoes Ltda.
 91. AmerisourceBergen Specialty Group Canada       137. BPL Brazil Holding Company s.a.r.l.
      Holdings, Inc.                                138. BPL Brazil, LLC
 92. AmerisourceBergen Specialty Group, Inc.        139. BPL Group, LLC
 93. AmerisourceBergen Specialty Group, LLC         140. BPL Pharmaceuticals Holding Unlimited
 94. AmerisourceBergen Swiss Holdings GmbH               Company
 95. AmerisourceBergen Switzerland GmbH             141. BPLH Ireland Company Dublin, Zug Branch
 96. AmerisourceBergen UK Holdings Ltd              142. BPLH Ireland Unlimited Company
 97. Anderson Packaging, Inc.                       143. Brecon Holdings Limited
 98. AndersonBrecon Inc.                            144. Brecon Pharmaceuticals Holdings Limited
 99. Animal Prescriptions Limited                   145. Brecon Pharmaceuticals Limited
 100. Animalytix LLC                                146. Bridge Medical, Inc.
 101. Apluspharma Ltd                               147. Brownstone Pharmacy, Inc.
 102. Apotheek Hagi B.V.                            148. Bruin Acquisition Corp.
 103. Apotheek Lichtenvoorde B.V.                   149. Burt's Pharmacy, LLC
 104. APS Acquisitions Corporation                  150. Cameron Stewart Lifescience Canada Inc.
 105. APS Enterprises Holding Company, Inc.         151. Cannes RJ Participacoes S.A.
 106. Armila UAB                                    152. Capstone Med, Inc.
 107. ASD Hemophilia Management, LLC                153. Capstone Pharmacy of Delaware, Inc.
 108. ASD Hemophilia Program, L.P.                  154. CDRF Parent LLC
 109. ASD Specialty Healthcare, Inc.                155. CDRF Parent, Inc.
 110. ASD Specialty Healthcare, LLC                 156. Centaur Services Limited
 111. ASD Specialty Healthcare, LLC d/b/a ASD       157. Centro Farmaceutico Asturiano, SA
      Healthcare                                    158. Century Advertising Inc.
 112. ASD Specialty Healthcare, LLC d/b/a Besse     159. Chapin Drug Company
      Medical                                       160. Choice Medical, Inc.
 113. ASD Specialty Healthcare, LLC d/b/a           161. Clinical Outcomes Resource Application
      Oncology Supply                                    Corporation
 114. Automed Technologies (Canada) Inc.            162. Clinical Outcomes Resource Application, Inc.


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 163. CliniCare Concepts, Inc.                          211. HealthQuest Partner II, L.P.
 164. ClinPharm, L.L.C.                                 212. HealthTronics Data Solutions LLC
 165. Committed Provider Services, LLC                  213. HealthTronics Data Solutions, LLC
 166. Compuscript, Inc.                                 214. HealthTronics Information Technology
 167. Computran Systems, Inc.                                Solutions, Inc.
 168. Corrections Pharmacies Licensing Company,         215. Hedef International Holdings BV
      L.L.C.                                            216. Home Medical Equipment Health Company
 169. Corrections Pharmacies of California, LP          217. Hydra Pharm SPA
 170. Corrections Pharmacies of Hawaii, LP              218. I.g.G. of America, Inc.
 171. Corrections Pharmacies, L.L.C.                    219. IHS Acquisition XXX, Inc.
 172. Cubex, LLC                                        220. Imedex, Inc.
 173. Datapharm Sarl                                    221. Imedex, LLC
 174. DD Wholesale, Inc.                                222. Independent Pharmacy Buying Group, Inc.
 175. Dialysis Purchasing Alliance, Inc.                223. Innomar Pharmacy (BC) Inc.
 176. Directlog                                         224. Innomar Pharmacy (SK) Inc.
 177. Documedics Acquisition Co., Inc.                  225. Innomar Pharmacy Inc.
 178. Drug Service, Inc.                                226. Innomar Specialty Pharmacy, Inc.
 179. Dunnington Drug, Inc.                             227. Innomar Strategies Inc.
 180. Dunnington RX Services of Massachusetts,          228. Innovation Cancer, Inc.
      Inc.                                              229. Insta-Care Holdings, Inc.
 181. Dunnington RX Services of Rhode Island,           230. Insta-Care Pharmacy Services Corporation
      Inc.                                              231. Intake Initiatives Incorporated
 182. Durr-Fillauer Medical, Inc.                       232. IntegraConnect NewCo, LLC
 183. Durvet, Inc.                                      233. Integrated Commercialization Solutions, Inc.
 184. Dymaxium Healthcare Innovations, Ltd.             234. Integrated Commercialization Solutions, LLC
 185. Dymaxium Holdings, Ltd.                           235. Integrated Health Systems Outcomes
 186. Dymaxium, Ltd.                                         Coalition, LLC
 187. Entel d.o.o.                                      236. Inteplex, Inc.
 188. Escalante Solutions, L.P.                         237. Interfill, LLC
 189. Esko Itriyat Sanayi ve Ticaret Anonim Şirketi     238. International Oncology Network Solutions,
 190. Euro Registratie Collectief B.V.                       Inc.
 191. European Physician Networks GmbH                  239. International Physician Networks, L.L.C.
 192. Express Pharmacy Services, Inc.                   240. International Rheumatology Network, L.L.C.
 193. Falcon Acquisition Sub, LLC                       241. IntrinsiQ Holdings, Inc.
 194. Family Center Pharmacy, Inc.                      242. IntrinsiQ Specialty Solutions, Inc.
 195. Feeders Advantage, LCC                            243. IntrinsiQ Tendler, Inc.
 196. General Drug Company                              244. IntrinsiQ, LLC
 197. Goot Nursing Home Pharmacy, Inc.                  245. J.M. Blanco, Inc.
 198. Goot Westbridge Pharmacy, Inc.                    246. James Brudnick Company, Inc.
 199. Goot's Goodies, Inc.                              247. K/S Instrument Corp.
 200. Goot's Pharmacy & Orthopedic Supply, Inc.         248. KRP Investments, Inc.
 201. Green Barn, Inc                                   249. Labpak Limited
 202. H. D. Smith Holding Company                       250. LAD Drug Corporation
 203. H. D. Smith Holdings, LLC                         251. Leading Educational Research Network, LLC
 204. H. D. Smith Wholesale Drug Co.                    252. Lexicon Pharmacy Services, L.L.C.
 205. H. D. Smith, LLC                                  253. Liberty Acquisition Corp.
 206. HAI Acquisition, Inc.                             254. Libra C.V.
 207. HDS Solutions, LLC                                255. Los Angeles Drug Corporation
 208. Health Services Capital Corporation               256. M.D.P. Properties, Inc.
 209. Healthcare Prescription Services, Inc.            257. Managed Care Network, Inc.
 210. HealthForward Inc.                                258. Marshall Reinardy LLC


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 259. Medical Health Industries, Inc.               307. PMSI, Inc.
 260. Medical Initiatives, Inc.                     308. PPSC USA, LLC
 261. Medidyne Corp.                                309. Premier Pharmacy, Inc.
 262. Medselect Inc.                                310. Premier Source Diagnostics Inc.
 263. Memorial Pet Care, Inc.                       311. Premier Source, LLC
 264. Micro Technologies Canada Inc.                312. Prescribe Wellness, LLC
 265. MWI Buying Group Limited (formerly St.        313. Profarma Distribuidora de Produtos
      Francis Limited)                                   Farmaceuticos S.A.
 266. MWI Supply (UK Acquisition) Limited           314. Ramuneles Vaistine UAB
 267. MWI Supply (UK Holdings) Limited              315. Reimbursement Education Network, LLC
 268. MWI Supply (UK) Limited                       316. Rightpak, Inc.
 269. MWI Veterinary Supply Co.                     317. Rombro's Drug Center, Inc.
 270. MWI Veterinary Supply, Inc.                   318. Roscoe Acquisition Corporation
 271. Nareks Ecza Deposu Ticaret Anonim Şirketi     319. S.R.P. (Services de la Répartition
 272. Network for Medical Communication &                Pharmaceutique)
      Research Analytics, LLC                       320. SecureDVM, LLC
 273. New Jersey Medical Corporation                321. Securos Europe GmbH
 274. Nexiapharma, SL                               322. Silver Streak I, LLC
 275. NMCR Holdings, Inc.                           323. Skills in Healthcare France
 276. NMCR-Europe, LLC                              324. Skills in Healthcare Pazarlama ve Tanitim
 277. Northeast Veterinary Supply Company, LLC           Hizmetleri Anonim Şirketi
 278. Oktal Pharma d.o.o                            325. Skills in Healthcare Romania S.r.l.
 279. Oktal Pharma d.o.o                            326. Smart ID Works, LLC
 280. Oktal Pharma d.o.o [Zagreb]                   327. Smith Medical Partners, LLC
 281. Oktal Pharma d.o.o.                           328. Snipetjernveien 10 Norge AS
 282. Oktal Pharma Hungary K.f.t.                   329. Solana Beach, Inc.
 283. Omni Med B, Inc.                              330. Southwest Pharmacies, Inc.
 284. OPH Oktal Pharma d.o.o                        331. Southwestern Drug Corporation
 285. OTC Direct Limited                            332. SparkSense Analytics, Inc.
 286. Paris Acquisition Corp.                       333. Specialty Advancement Network, LLC
 287. Pharm Plus Acquisition, Inc.                  334. Specialty Pharmacy of California, Inc.
 288. Pharma One Corporation Limited                335. Specialty Pharmacy, Inc.
 289. Pharmacy Corporation of America               336. Spielberg Acquisition Corp.
 290. Pharmacy Corporation of America -             337. Spits B.V.
      Massachusetts, Inc.                           338. Stadt Solutions, LLC
 291. Pharmacy Healthcare Solutions, Ltd.           339. Stephar B.V.
 292. Pharmacy Review Services, Inc.                340. Strategic Pharmaceutical Solutions, Inc.
 293. Pharmdata s.r.o.                              341. Swine Solutions Network, LLC
 294. PharMEDium Healthcare Corporation             342. Taylor & Manno Asset Recovery, Inc.
 295. PharMEDium Healthcare Holdings LLC            343. Telepharmacy Solutions, Inc.
 296. PharMEDium Healthcare Holdings, Inc.          344. Terra-Lab d.o.o
 297. PharMEDium Healthcare LLC                     345. The Allen Company
 298. PharMEDium Pharmacy Services, LLC             346. The Lash Group, Inc.
 299. PharMEDium R.E., LLC                          347. The Lash Group, LLC
 300. PharMEDium Services, LLC                      348. TheraCom, L.L.C.
 301. PharMerica Drug Systems, Inc.                 349. ThermoSecure Medical Equipment GmbH
 302. PharMerica Technology Solutions, LLC          350. TMESYS, Inc.
 303. Pharmerica, Inc.                              351. TrakCel Holding Company, Inc.
 304. Pitango HealthTech Fund I, L.P.               352. Trellis Healthcare Consulting, L.L.C.
 305. Planet Software Limited                       353. Trellis Healthcare Consulting, LLC
 306. PMSI MSA Services, Inc.                       354. True Blue Indemnity Company


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 355. United Company of Pharmacists SAE               401. World Courier del Ecuador S.A.
 356. Universal Packaging Systems, Inc.               402. World Courier del Peru S.A.
 357. US Bioservices Corporation                      403. World Courier Denmark A/S
 358. Valley Wholesale Drug Co., LLC                  404. World Courier do Brasil Transportes
 359. Value Apothecaries, Inc.                             Internacionais Ltda.
 360. Vedco, Inc.                                     405. World Courier France S.A.R.L.
 361. Vetbridge Animal Health, LLC                    406. World Courier Ground (Europe) Limited
 362. Vetbridge Product Development (NM-OMP)          407. World Courier Ground, Inc.
      LLC                                             408. World Courier Group Logistics, Inc.
 363. VetSpace Limited                                409. World Courier Group S.a.r.l.
 364. VetSpace, Inc.                                  410. World Courier Group, Inc.
 365. Vetswest Limited                                411. World Courier Group, Inc. Taiwan Branch
 366. W.C. International Limited                      412. World Courier Hellas Limited Liability
 367. WBA Acquisitions Luxco 9 S.à.r.l.                    Company
 368. Wight Nederland Holdco 2 B.V.                   413. World Courier Holland BV
 369. Wight Nederland Holdco 4 BV                     414. World Courier Hong Kong Limited
 370. WML, LLC                                        415. World Courier Hungary Freight Forwarder
 371. Woodglen Properties Limited                          and Service Provider Limited Liability
 372. Woodglen Properties Limited Portugal Branch          Company
                                                      416. World Courier Israel Ltd.
 373. World Courier (Aust) Pty. Ltd.                  417. World Courier Italia srl
 374. World Courier (Austria) GmbH                    418. World Courier K.K. Japan
 375. World Courier (Austria) GmbH – Serbia           419. World Courier Korea Co., Ltd.
      Branch                                          420. World Courier Limited (Russia)
 376. World Courier (Deutschland) GmbH                421. World Courier Logistics (Europe) Limited
 377. World Courier (Finland) Oy                      422. World Courier Logistics (UK) Limited
 378. World Courier (India) Private Limited           423. World Courier Logistics, Inc.
 379. World Courier (Ireland) Limited                 424. World Courier Logistics, Inc. (DE)
 380. World Courier (Lithuania), UAB                  425. World Courier Logistics, Inc. (NY)
 381. World Courier (Malaysia) Sdn. Bhd.              426. World Courier Management Limited
 382. World Courier (Norway) AS                       427. World Courier Management, Inc.
 383. World Courier (NZ) Limited                      428. World Courier of Canada Ltd
 384. World Courier (Poland) Sp. Z.o.o.               429. World Courier Operations Kenya Limited
 385. World Courier (Shanghai) Co., Ltd               430. World Courier Philippines – Representative
      Guangzhou Branch                                     Office
 386. World Courier (Shanghai) Co., Ltd.              431. World Courier Romania S.R.L.
 387. World Courier (Shanghai) Co., Ltd., Beijing     432. World Courier S.A.
      Branch                                          433. World Courier Singapore Pte Ltd
 388. World Courier (Sweden) AB                       434. World Courier Slovak Republic s.r.o.
 389. World Courier (Switzerland) SA                  435. World Courier South Africa (Proprietary)
 390. World Courier (U.K.) Limited                         Limited
 391. World Courier Asia (Thailand) Co., Ltd.         436. World Courier Tasimacilik ve Lojistik
 392. World Courier Belgium s.a.                           Hizmetleri Ticaret Limited Sirketi
 393. World Courier Bulgaria                          437. World Courier Ukraine LLC
 394. World Courier Czech Republic s.r.o.             438. World Courier Venezuela, S.A.
 395. World Courier de Chile Limitada                 439. World Courier Zagreb d.o.o.
 396. World Courier de Colombia S.A.                  440. World Courier, Inc.
 397. World Courier de Espana, S.A.                   441. World Courier, kurirske storitve,d.o.o.
 398. World Courier de Mexico S.A. de C.V.            442. World Customs Brokerage, Inc.
 399. World Courier de Portugal, Lda.                 443. Xcenda (UK) Limited
 400. World Courier de Uruguay S.A.                   444. Xcenda GmbH


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                                                               EXHIBIT UPDATES


 445. Xcenda Switzerland GmbH            447. ZU Vase Zdravije
 446. Xcenda, L.L.C.




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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


                                                 Cardinal

 1.    A+ Secure Packaging, LLC                         49.   Cardinal Health 215, LLC
 2.    Abilene Nuclear, LLC                             50.   Cardinal Health 222 (Thailand) Ltd.
 3.    Access Closure, Inc.                             51.   Cardinal Health 242, LLC
 4.    Acuity GPO, LLC                                  52.   Cardinal Health 246, Inc.
 5.    Aero-Med, Ltd.                                   53.   Cardinal Health 247, Inc.
 6.    Allegiance (BVI) Holding Co. Ltd.                54.   Cardinal Health 249, LLC
 7.    Allegiance Corporation                           55.   Cardinal Health 250 Dutch C.V.
 8.    Allegiance Healthcare (Labuan) Pte. Ltd.         56.   Cardinal Health 251, LLC
 9.    Allegiance I, LLC                                57.   Cardinal Health 252, LLC
 10.   Allegiance Labuan Holdings Pte. Ltd.             58.   Cardinal Health 253, LP
 11.   API (Suppliers) Limited                          59.   Cardinal Health 3, LLC
 12.   AssuraMed Acquisition Corp.                      60.   Cardinal Health 414, LLC
 13.   AssuraMed Group, Inc.                            61.   Cardinal Health 418, Inc.
 14.   AssuraMed Holding, Inc.                          62.   Cardinal Health 5, LLC
 15.   AssuraMed Intermediate Holding, Inc.             63.   Cardinal Health 500, LLC
 16.   AssuraMed, Inc.                                  64.   Cardinal Health 524, LLC
 17.   C. International, Inc.                           65.   Cardinal Health 529, LLC
 18.   Cardinal Distribution Holding Corporation - I    66.   Cardinal Health 6, Inc.
 19.   Cardinal Distribution Holding Corporation - II   67.   Cardinal Health 7, LLC
 20.   Cardinal Health 100, Inc.                        68.   Cardinal Health 8, LLC
 21.   Cardinal Health 104 LP                           69.   Cardinal Health Australia 503 Pty Ltd.
 22.   Cardinal Health 105, Inc.                        70.   Cardinal Health Austria 504 GmbH
 23.   Cardinal Health 107, LLC                         71.   Cardinal Health Belgium 505 BVBA
 24.   Cardinal Health 108, LLC                         72.   Cardinal Health Canada Holdings Cooperatie
 25.   Cardinal Health 110, LLC                               U.A.
 26.   Cardinal Health 112, LLC                         73.   Cardinal Health Canada Inc.
 27.   Cardinal Health 113, LLC                         74.   Cardinal Health Capital Corporation
 28.   Cardinal Health 114, Inc.                        75.   Cardinal Health Cardiology Solutions, LLC
 29.   Cardinal Health 115, LLC                         76.   Cardinal Health Chile Limitada
 30.   Cardinal Health 116, LLC                         77.   Cardinal Health Colombia S.A.S.
 31.   Cardinal Health 118, LLC                         78.   Cardinal Health Commercial Technologies,
 32.   Cardinal Health 119, LLC                               LLC
 33.   Cardinal Health 121, LLC                         79.   Cardinal Health Corporate Solutions, LLC
 34.   Cardinal Health 122, LLC                         80.   Cardinal Health D.R. 203 II Ltd.
 35.   Cardinal Health 123, LLC                         81.   Cardinal Health Denmark ApS
 36.   Cardinal Health 124, LLC                         82.   Cardinal Health do Brasil Ltda.
 37.   Cardinal Health 125, LLC                         83.   Cardinal Health Finance
 38.   Cardinal Health 126, LLC                         84.   Cardinal Health Finland Oy
 39.   Cardinal Health 127, Inc.                        85.   Cardinal Health Foundation
 40.   Cardinal Health 128, LLC                         86.   Cardinal Health France 506 SAS
 41.   Cardinal Health 130, LLC                         87.   Cardinal Health Funding, LLC
 42.   Cardinal Health 131, LLC                         88.   Cardinal Health Germany 507 GmbH
 43.   Cardinal Health 132, LLC                         89.   Cardinal Health Germany Manufacturing
 44.   Cardinal Health 133, Inc.                              GmbH
 45.   Cardinal Health 2, LLC                           90.   Cardinal Health Holding International, Inc.
 46.   Cardinal Health 200, LLC                         91.   Cardinal Health International Philippines, Inc.
 47.   Cardinal Health 201 Canada L.P.                  92.   Cardinal Health IPS, LLC
 48.   Cardinal Health 201, Inc.



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                                                               EXHIBIT UPDATES


 93. Cardinal Health Ireland 419 Designated           134. Cardinal Health U.K. Holding Limited
      Activity Company                                135. Cardinal Health U.K. International Holding
 94. Cardinal Health Ireland 508 Limited                   LLP
 95. Cardinal Health Ireland Manufacturing            136. Cardinal Health, Inc.
      Limited                                         137. Cardinal MED Equipment Consulting
 96. Cardinal Health Ireland Unlimited Company             (Shanghai) Co., Ltd.
 97. Cardinal Health Italy 509 S.r.l.                 138. Cirpro de Delicias S.A. de C.V.
 98. Cardinal Health Japan G.K.                       139. Clinic Pharmacies III, LLC
 99. Cardinal Health Korea Limited                    140. Clinic Pharmacies, LLC
 100. Cardinal Health Luxembourg 420 S.a.r.l.         141. Community Pharmacy Enterprises, LLC
 101. Cardinal Health Luxembourg 522 S.a.r.l.         142. Convertors de Mexico S.A. de C.V.
 102. Cardinal Health Malaysia 211 Sdn. Bhd.          143. Cordis (Shanghai) MED Devices Co., Ltd.
 103. Cardinal Health Malta 212 Limited               144. Cordis Cashel Unlimited Company
 104. Cardinal Health Managed Care Services, LLC      145. Cordis Corporation
 105. Cardinal Health Medical Products India          146. Cornerstone Rheumatology LP
      Private Limited                                 147. Covidien Manufacturing Solutions, S.A.
 106. Cardinal Health Mexico 244 S. de R.L. de        148. Dutch American Manufacturers II (D.A.M. II)
      C.V.                                                 B.V.
 107. Cardinal Health Mexico 514 S. de R.L. de        149. Ellipticare, LLC
      C.V.                                            150. EPIC Insurance Company
 108. Cardinal Health Middle East FZ-LLC              151. Especialidades Medicas Kenmex S.A. de C.V.
 109. Cardinal Health MPB, Inc.                       152. Experience East, LLC
 110. Cardinal Health Napoleon Holding, LLC           153. Flexible Stenting Solutions, Inc.
 111. Cardinal Health Netherlands 502 B.V.            154. Frog Horned Capital, Inc.
 112. Cardinal Health Netherlands 525 Cooperatie      155. Generic Drug Holdings, Inc.
      U.A.                                            156. GetOutcomes, LLC
 113. Cardinal Health Netherlands 528 B.V.            157. Griffin Capital, LLC
 114. Cardinal Health Norway AS                       158. HDG Acquisition, Inc.
 115. Cardinal Health P.R. 120, Inc.                  159. imgRx Healdsburg, Inc.
 116. Cardinal Health P.R. 218, Inc.                  160. imgRx Salud, Inc.
 117. Cardinal Health P.R. 220, LLC                   161. imgRx SJ Valley, Inc.
 118. Cardinal Health P.R. 436, Inc.                  162. imgRx SLO, Inc.
 119. Cardinal Health Panama, S. de R.L.              163. imgRx Sonoma, Inc.
 120. Cardinal Health Pharmaceutical Contracting,     164. InnerDyne Holdings, Inc.
      LLC                                             165. Innovative Therapies, Inc.
 121. Cardinal Health Pharmacy Services, LLC          166. Instant Diagnostic Systems, Inc.
 122. Cardinal Health Poland Spolka z ograniczona     167. InteCardia-Tennessee East Catheterization,
      odpowiedzialnoscia                                   LLC
 123. Cardinal Health Portugal 513, Unipessoal        168. ITI Sales, LLC
      Lda.                                            169. Kendall-Gammatron Limited
 124. Cardinal Health Russia                          170. Killilea Development Company, Ltd.
 125. Cardinal Health Singapore 225 Pte. Ltd.         171. Kinray I, LLC
 126. Cardinal Health Spain 511 S.L.                  172. KPR Australia Pty. Ltd.
 127. Cardinal Health Sweden 512 A.B.                 173. KPR Switzerland Sales GmbH
 128. Cardinal Health Switzerland 515, GmbH           174. KPR U.S., LLC
 129. Cardinal Health Systems, Inc.                   175. Leader Drugstores, Inc.
 130. Cardinal Health Technologies Switzerland        176. Ludlow Technical Products Canada, Ltd.
      GmbH                                            177. Marin Apothecaries
 131. Cardinal Health Technologies, LLC               178. Medicap Pharmacies Incorporated
 132. Cardinal Health U.K. 418 Limited                179. Medicine Shoppe Capital Corporation
 133. Cardinal Health U.K. 432 Limited                180. Medicine Shoppe International, Inc.


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 181. Medicine Shoppe Internet, Inc.                    228. Cardinal Health (Shanghai) Pharmaceutical
 182. Mediquip Sdn. Bhd.                                     Co., Ltd.
 183. Mirixa Corporation                                229. Cardinal Health (Sichuan) Pharmaceutical
 184. MosaicGPO, LLC                                         Co., Ltd.
 185. mscripts Holdings, LLC                            230. Cardinal Health (Wuxi) Pharmaceutical Co.,
 186. mscripts Systems India Private Limited                 Ltd.
 187. mscripts, LLC                                     231. Cardinal Health Hedan (Shenzhen)
 188. Nippon Covidien Ltd.                                   Pharmaceutical Co., Ltd.
 189. One Cloverleaf, LLC                               232. Dalian Zhongda Pharmaceutical Company
 190. Outcomes Incorporated                                  Limited
 191. Owen Shared Services, Inc.                        233. NaviHealth Holdings, LLC
 192. Pharmacy Operations Of New York, Inc.             234. Parch, L.L.C.
 193. Pharmacy Operations, Inc.                         235. 6464661 Canada Inc.
 194. Physicians Purchasing, Inc.                       236. Academy Of Managed Care Medicine, L.L.C.
 195. Pinnacle Intellectual Property Services, Inc.     237. Alaris Medical 1 (Suisse) Sarl
 196. Pinnacle Intellectual Property Services-          238. Alaris Medical New Zealand Limited
      International, Inc.                               239. Allegiance Healthcare International GmbH
 197. Quiroproductos de Cuauhtemoc S. de R.L. de        240. Allegiance Pro Inc.
      C.V.                                              241. Allied Healthcare Services, Inc.
 198. RainTree Administrative Services, LLC             242. Almus Pharmaceuticals Singapore Pte. Ltd.
 199. RainTree Care Management, LLC                     243. Almus Pharmaceuticals USA LLC
 200. RainTree GPO, LLC                                 244. American Threshold Industries, Inc.
 201. Ransdell Surgical, Inc.                           245. Anoka, LLC
 202. Red Oak Sourcing, LLC                             246. ARCH Collection Corporation
 203. Renal Purchasing Group, LLC                       247. ARCH, S.A.
 204. RGH Enterprises, Inc.                             248. Armand Scott, LLC
 205. RT Oncology Services Corporation                  249. Aurum Pharmaceuticals Limited
 206. Rxealtime, Inc.                                   250. Behrens Inc.
 207. Sierra Radiopharmacy, L.L.C.                      251. Beijing Baiji Advanced Specialty Company
 208. Sonexus Health Access & Patient Support,               Limited
      LLC                                               252. Bellwether Oncology Alliance, Inc.
 209. Sonexus Health Distribution Services, LLC         253. Bentley Merger Sub, LLC
 210. Sonexus Health Financial Solutions, LLC           254. Bindley Western Funding Corporation
 211. Sonexus Health Pharmacy Services, LLC             255. Bindley Western Industries II Of Maine, Inc.
 212. Sonexus Health, LLC                               256. Biosigna GmbH Institut für
 213. TelePharm, LLC                                         Biosignalverarbeitung und Systemanalyse
 214. The Harvard Drug Group, L.L.C.                    257. Bird Products (Japan) Ltd.
 215. Tianjin ITI Trading Company                       258. Bird Products Corporation
 216. Tradex International, Inc.                        259. Brighton Capital, Inc.
 217. Traverse GPO, LLC                                 260. Buffalo Merger Corp.
 218. Wavemark Lebanon Offshore s.a.l.                  261. BW Transportation Services, Inc.
 219. Wavemark, Inc.                                    262. Cardal II, LLC
 220. Red Oak Sourcing, LLC                             263. Cardal, Inc.
 221. API (Suppliers) Limited                           264. Cardinal Florida, Inc.
 222. Sierra Radiopharmacy, L.L.C.                      265. Cardinal Health (Beijing) China
 223. Abilene Nuclear, LLC                                   Pharmaceutical Co., Ltd.
 224. InteCardia-Tennessee East Catheterization,        266. Cardinal Health (Beijing) Medical Trading
      LLC                                                    Co., Ltd.
 225. Kendall-Gammatron Limited                         267. Cardinal Health (Beijing) Pharmacy Co., Ltd.
 226. Almus Pharmaceuticals USA LLC                     268. Cardinal Health (Chengdu) Pharmacy Co.,
 227. Cardinal Health (H.K.) Co. Limited                     Ltd.


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                                                               EXHIBIT UPDATES


 269. Cardinal Health (China) Investment Co., Ltd.    305. Cardinal Health 404, Inc.
 270. Cardinal Health (Chongqing) Pharmaceutical      306. Cardinal Health 405, Inc.
      Co., Ltd.                                       307. Cardinal Health 406, Inc.
 271. Cardinal Health (Chongqing) Pharmacy Co.,       308. Cardinal Health 406, LLC
      Ltd.                                            309. Cardinal Health 407, Inc.
 272. Cardinal Health (H.K.) Co. Limited              310. Cardinal Health 408, Inc.
 273. Cardinal Health (Hubei) Pharmaceutical Co.,     311. Cardinal Health 409, Inc.
      Ltd.                                            312. Cardinal Health 410, Inc.
 274. Cardinal Health (L) Co., Ltd.                   313. Cardinal Health 411, Inc.
 275. Cardinal Health (Liaoning) Pharmaceutical       314. Cardinal Health 412, Inc.
      Co., Ltd.                                       315. Cardinal Health 413, Inc.
 276. Cardinal Health (P02296)                        316. Cardinal Health 415, Inc.
 277. Cardinal Health (P04080)                        317. Cardinal Health 416, Inc.
 278. Cardinal Health (Shanghai) Commercial and       318. Cardinal Health 417, Inc.
      Trading Company Limited                         319. Cardinal Health 419, LLC
 279. Cardinal Health (Shanghai) Cosmetics            320. Cardinal Health 420, LLC
      Trading Co., Ltd.                               321. Cardinal Health 421 Limited Partnership
 280. Cardinal Health (Shanghai) Logistics Co.,       322. Cardinal Health 421, Inc.
      Ltd.                                            323. Cardinal Health 422, Inc.
 281. Cardinal Health (Shanghai) Pharmaceutical       324. Cardinal Health 501 Dutch C.V.
      Co., Ltd.                                       325. Cardinal Health Austria 201 GmbH
 282. Cardinal Health (Shanghai) Pharmacy Co.,        326. Cardinal Health Bermuda 224, Ltd.
      Ltd.                                            327. Cardinal Health Brasil 423 Servicos
 283. Cardinal Health (Shanxi) Pharmaceutical Co.,         Farmaceuticos Nucleares Ltda
      Ltd.                                            328. Cardinal Health Canada 204, Inc.
 284. Cardinal Health (Shenyang) Pharmacy Co.,        329. Cardinal Health Canada 301, Inc.
      Ltd.                                            330. Cardinal Health Canada 302, Inc.
 285. Cardinal Health (Sichuan) Pharmaceutical        331. Cardinal Health Canada 307, ULC
      Co., Ltd.                                       332. Cardinal Health Canada 403, Inc.
 286. Cardinal Health (Tianjin) Pharmaceutical Co.,   333. Cardinal Health Canada 437, Inc.
      Ltd.                                            334. Cardinal Health Canada Inc.
 287. Cardinal Health (Wuxi) Pharmaceutical Co.,      335. Cardinal Health Canada LP
      Ltd.                                            336. Cardinal Health Cayman Islands Holding Co.
 288. Cardinal Health (WuXi) Pharmacy Co., Ltd.            Ltd
 289. Cardinal Health (Zhejiang) Pharmaceutical       337. Cardinal Health Cayman Islands Ltd.
      Co., Ltd.                                       338. Cardinal Health China Co., Ltd.
 290. Cardinal Health 101, Inc.                       339. Cardinal Health D.R. 203 Limited
 291. Cardinal Health 102, Inc.                       340. Cardinal Health Europe IT GmbH
 292. Cardinal Health 103, Inc.                       341. Cardinal Health France 205 SAS
 293. Cardinal Health 106, Inc.                       342. Cardinal Health France 309 SAS
 294. Cardinal Health 109, Inc.                       343. Cardinal Health Germany 206 GmbH
 295. Cardinal Health 111, LLC                        344. Cardinal Health Germany 234 GmbH
 296. Cardinal Health 113, LLC                        345. Cardinal Health Germany 318 GmbH
 297. Cardinal Health 117, LLC                        346. Cardinal Health Hedan (Shenzhen)
 298. Cardinal Health 129, Inc.                            Pharmaceutical Co., Ltd.
 299. Cardinal Health 208, Inc.                       347. Cardinal Health Hong Kong Limited
 300. Cardinal Health 301, LLC                        348. Cardinal Health I, Inc.
 301. Cardinal Health 400, Inc.                       349. Cardinal Health Imaging, LLC
 302. Cardinal Health 401, Inc.                       350. Cardinal Health India Private Limited
 303. Cardinal Health 402, Inc.                       351. Cardinal Health International Ventures, Ltd.
 304. Cardinal Health 403, Inc.                       352. Cardinal Health Ireland 406 Ltd.


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 353. Cardinal Health Ireland 527 General            402. Cardinal Health U.K. 433 Limited
      Partnership                                    403. Cardinal Health U.K. 434 Limited
 354. Cardinal Health Italy 208 S.r.l.               404. Cardinal Syracuse, Inc.
 355. Cardinal Health Italy 312 S.p.A.               405. Cardinal.Com Holdings, Inc.
 356. Cardinal Health Lease Funding 2002A, LLC       406. Care Fusion Development Private Limited
 357. Cardinal Health Lease Funding 2002AQ, LLC      407. Care Fusion Incorporated
 358. Cardinal Health Lease Funding 2003A, LLC       408. CareFusion 202, Inc.
 359. Cardinal Health Lease Funding 2003AQ, LLC      409. CareFusion 203, Inc.
 360. Cardinal Health Lease Funding 2003B, LLC       410. CareFusion 205, Inc.
 361. Cardinal Health Lease Funding 2003BQ, LLC      411. CareFusion 206, Inc.
 362. Cardinal Health Lease Funding 2004A, LLC       412. CareFusion 207, Inc.
 363. Cardinal Health Lease Funding 2004AQ, LLC      413. CareFusion 209, Inc.
 364. Cardinal Health Luxembourg 523 S.a.r.l.        414. CareFusion 210, Inc.
 365. Cardinal Health Mauritius Holding 226 Ltd.     415. CareFusion 211, Inc.
 366. Cardinal Health Mexico 213, S.A. de C.V.       416. CareFusion 212, LLC
 367. Cardinal Health Netherlands 238 BV             417. CareFusion 213, LLC
 368. Cardinal Health Netherlands 526 B.V.           418. CareFusion 214, LLC
 369. Cardinal Health Netherlands Financing C.V.     419. CareFusion 2200, Inc.
 370. Cardinal Health Netherlands Holding B.V.       420. CareFusion 2201, Inc.
 371. Cardinal Health New Zealand 313 Limited        421. CareFusion 302, LLC
 372. Cardinal Health Norway 315 A/S                 422. CareFusion 303, Inc.
 373. Cardinal Health P.R. 227, Inc.                 423. CareFusion 304, LLC
 374. Cardinal Health P.R. 409 B.V.                  424. CareFusion Australia 200 Pty Ltd.
 375. Cardinal Health PTS, Inc.                      425. CareFusion Australia 316 Pty Limited
 376. Cardinal Health PTS, LLC                       426. CareFusion Australia 500 Pty Ltd
 377. Cardinal Health S.A. 319 (Proprietary)         427. CareFusion Belgium 202 BVBA
      Limited                                        428. CareFusion Brasil 231 Servico e Comercia de
 378. Cardinal Health Singapore 304                       Productos Medicos Ltda
 379. Cardinal Health Singapore 423 Pte. Ltd.        429. CareFusion Corporation
 380. Cardinal Health Spain 219 S.L.U.               430. CareFusion EIT, LLC
 381. Cardinal Health Spain 239 SA                   431. CareFusion Iberia 308 S.L.U.
 382. Cardinal Health Specialty Pharmacy, LLC        432. CareFusion Italy 237 Srl
 383. Cardinal Health Sweden 220 AB                  433. CareFusion Italy 311 Srl
 384. Cardinal Health Sweden 314 AB                  434. CareFusion Japan 228 K.K.
 385. Cardinal Health Switzerland 221 Sarl           435. CareFusion Japan 233, Inc.
 386. Cardinal Health Switzerland 317 Sarl           436. CareFusion Luxembourg 501 Sarl
 387. Cardinal Health Trading (Shanghai) Co., Ltd.   437. CareFusion Manufacturing Ireland 241
 388. Cardinal Health U.K. 100 Limited                    Limited
 389. Cardinal Health U.K. 101 Limited               438. CareFusion Manufacturing, LLC
 390. Cardinal Health U.K. 102 Limited               439. CareFusion Netherlands 214 B.V.
 391. Cardinal Health U.K. 103 Limited               440. CareFusion Netherlands 238 BV
 392. Cardinal Health U.K. 104 Limited               441. CareFusion Netherlands 310 B.V.
 393. Cardinal Health U.K. 105 Limited               442. CareFusion Netherlands 503 B.V.
 394. Cardinal Health U.K. 106 Limited               443. CareFusion New Zealand 217 Limited
 395. Cardinal Health U.K. 223 Limited               444. CareFusion New Zealand 313 Limited
 396. Cardinal Health U.K. 232 Limited               445. CareFusion Resources, LLC
 397. Cardinal Health U.K. 235 Limited               446. CareFusion Singapore 243 Pte. Ltd.
 398. Cardinal Health U.K. 236 Limited               447. CareFusion Solutions, LLC
 399. Cardinal Health U.K. 240 Limited               448. CareFusion U.K. 284 Limited
 400. Cardinal Health U.K. 305 Limited               449. CareFusion U.K. 286 Limited
 401. Cardinal Health U.K. 306 Limited               450. CareFusion U.K. 287 Limited


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 451. CareFusion U.K. 288 Limited                  485. Comprehensive Reimbursement Consultants,
 452. Cascade Development, Inc.                         Inc.
 453. CCB, Inc.                                    486. Consumer2patient, LLC
 454. CDI Investments, Inc.                        487. CR Medicap, Inc.
 455. Centralia Pharmacy, Inc.                     488. Curaspan Health Group, Inc.
 456. Centricity, LLC                              489. Cytokine Pharmasciences, Inc.
 457. Chapman Drug Company                         490. Dalian Zhongda Pharmaceutical Company
 458. Chengdu Baiji Advanced Specialty Pharmacy         Limited
      Company Limited                              491. Daniels Pharmaceuticals Limited
 459. Cheshire Merger Sub, Inc.                    492. DC Merger Corp
 460. CMI Net, Inc.                                493. Denver Biomedical, Inc.
 461. College Park Plaza Associates, Inc.          494. Desert PET, LLC
 462. Comprehensive Medical Imaging-Anaheim        495. Dik Drug Company, LLC
      Hills, Inc.                                  496. Dik Medical Supplies, LLC
 463. Comprehensive Medical Imaging-Apple          497. Discor Limited
      Valley, Inc.                                 498. Dismed Inc.
 464. Comprehensive Medical Imaging-Boynton        499. Dohmen Distribution Partners Southeast,
      Beach, Inc.                                       L.L.C.
 465. Comprehensive Medical Imaging-Downey,        500. Dover Communications, LLC
      Inc.                                         501. Duquoin Pharmacy, Inc.
 466. Comprehensive Medical Imaging-Encino, Inc.   502. Dutch American Manufacturers (D.A.M.)
 467. Comprehensive Medical Imaging-Fort                B.V.
      Lauderdale, Inc.                             503. East Iowa Pharmacies, Inc.
 468. Comprehensive Medical Imaging-Fremont,       504. EGIS Holdings, Inc.
      Inc.                                         505. Eldon Laboratories Limited
 469. Comprehensive Medical Imaging-Hesperia,      506. Ellicott Drug Company
      Inc.                                         507. EME Medical, Inc.
 470. Comprehensive Medical Imaging-Huntington     508. Enturia Canada ULC
      Beach, Inc.                                  509. Enturia de Mexico S. de R.L. de C.V.
 471. Comprehensive Medical Imaging-Palm           510. Enturia Limited
      Springs, Inc.                                511. Enturican, Inc.
 472. Comprehensive Medical Imaging-Rancho         512. EON Media Inc.
      Cucamonga, Inc.                              513. Eureka Merger Sub, Inc.
 473. Comprehensive Medical Imaging-Rancho         514. European Pharmaceuticals Group Ltd.
      Mirage, Inc.                                 515. First Choice, Inc. Of Maine
 474. Comprehensive Medical Imaging-Salisbury,     516. Flower Merger Corp.
      Inc.                                         517. Futuremed Health Care Products Limited
 475. Comprehensive Medical Imaging-Sherman             Partnership
      Oaks, Inc.                                   518. Futuremed Healthcare Products Corporation
 476. Comprehensive Medical Imaging-Tempe, Inc.    519. Futuremed Holdings General Partner Inc.
 477. Comprehensive Medical Imaging-Van Nuys,      520. Fuzhou Baiji Pharmacy Company Limited
      Inc.                                         521. Gala Design, Inc.
 478. Comprehensive Medical Imaging-Victorville,   522. Gelatin Products International, Inc.
      Inc.                                         523. Geodax Technology, Inc.
 479. Comprehensive Medical Imaging-Westlake       524. Glacier Corporation
      Village, Inc.                                525. Grand Avenue Pharmacy, Inc.
 480. Comprehensive Open MRI-Carmichael, Inc.      526. Graphic Holdings, Inc.
 481. Comprehensive Open MRI-Folsom, Inc.          527. Griffin Group Document Management
 482. Comprehensive Open MRI-Fullerton, Inc.            Services, Inc.
 483. Comprehensive Open MRI-Laguna Hills, Inc.
 484. Comprehensive Open MRI-Sacramento, Inc.


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 528. Guangzhou Baiji Advanced Specialty          571. MedEd Resources, LLC
      Pharmaceutical Chain Stores Company         572. Medesta Associates, LLC
      Limited                                     573. Medical Concepts Development, Inc.
 529. Guangzhou Baiji Drug Store Company          574. Medical Diagnostic Leasing, Inc
      Limited                                     575. Medical Education Systems, LLC
 530. Guangzhou City Kangwei Information          576. Medical Media Communications, LLC
      Technology Company Limited                  577. Medical Strategies, Inc.
 531. Guangzhou Ruixun Pharmaceutical Company     578. MediQual Systems, Inc.
      Limited                                     579. Meditrol Automation Systems, Inc.
 532. Guizhou Yibai Medical Co., Ltd.             580. Meditrol, Inc.
 533. Hangzhou Baiji Advanced Specialty Drug      581. MedMined, Inc.
      Store Company Limited                       582. Mercury Merger Sub, LLC
 534. Heartland Diagnostic Services, Inc.         583. Mesa Merger Corp.
 535. HLS Advantage, LLC                          584. MicroGas Limited
 536. Homecare (North-West) Limited               585. MicroMedical Deutschland GmbH
 537. Humiston-Keeling, Inc.                      586. Microport Healthcare, LLC
 538. IMI Of Boca Raton, Inc.                     587. Midland Pharmacies, Inc
 539. IMI Of Miami, Inc.                          588. Mississippi Medical Supply Cooperative,
 540. IMI Of North Miami Beach, Inc.                   L.L.C.
 541. Inland Empire Regional Pet Center, LLC      589. MRI Equipment Partners, Ltd.
 542. InnerDyne, Inc.                             590. Mudhen Merger Corp.
 543. Inpharm Nationwide Limited                  591. Multi-Medica S.A.
 544. InteCardia-Tennessee East Diagnostic, LLC   592. Multipharm Limited
 545. Intercare Holdings Limited                  593. Nanjing Baiji Advanced Specialty Drug Store
 546. Intercare Investments Limited                    Company Limited
 547. Intercare Properties Plc                    594. Nanning Baiji Advanced Specialty Pharmacy
 548. Iowa Falls Pharmacy, Inc.                        Company Limited
 549. IVAC Overseas Holdings LP                   595. Nationwide Ostomy Supplies Limited
 550. JakaMed AB AB                               596. Navigator Health, Inc.
 551. Jinan Baiji Drug Store Company Limited      597. NaviHealth Holdings, LLC
 552. JRG, Ltd.                                   598. NaviHealth SM Holdings, Inc.
 553. Kendall Patient Recovery BVBA               599. NaviHealth, Inc.
 554. Kinetic Surgical, LLC                       600. Nexus Healthcare, Inc.
 555. Kinray, Inc.                                601. Nitric Bio Therapeudics, Inc.
 556. Kinray, LLC                                 602. Northern Michigan Supply Alliance, L.L.C.
 557. KPR Italia S.r.l.                           603. Ohio Valley-Clarksburg, Inc.
 558. KPR U.S., Inc.                              604. Oncology Holdings, Inc.
 559. Kunming Baiji Advanced Specialty Pharmacy   605. Onpointe Medical Communications, LLC
      Company Limited                             606. Oval (Shanghai) Technologies, Inc.
 560. Lake Charles Pharmaceutical Supply          607. Oval Technologies (H.K.) Pty Limited
      Company, LLC                                608. Owen Healthcare Building, Inc.
 561. Liaoning Longda Pharmaceutical Co., Ltd.    609. Pacific Surgical Innovations, Inc.
 562. Liberty Communications Network, LLC         610. Panther Merger Sub II, Inc.
 563. Ludlow Technical Products Corporation       611. Panther Merger Sub, Inc.
 564. Macarthy Group Trustees Limited             612. Parch, L.L.C.
 565. Macarthys Laboratories Limited              613. Parch, L.L.C. State File
 566. Macarthy's Limited                          614. ParMed Pharmaceuticals, LLC
 567. Marmac Distributors, Inc.                   615. PatientScribe Inc.
 568. Martindale Pharma GmbH                      616. PCI Acquisition I, Inc.
 569. Martindale Pharmaceuticals Limited          617. PCI Acquisition II, Inc.
 570. Medcon S.A.                                 618. PCI Services Holdings, Inc.


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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 619. PCI Services III, Inc.                           661. Source Medical Corporation
 620. PCI/Acquisition III, Inc.                        662. SRX, Inc.
 621. PCI/All Pack Holdings, Inc.                      663. Strategic Implications International, LLC
 622. PCI/Delvco, Inc. State File                      664. Supplyline Technologies Limited
 623. PCI/Tri-Line (Usa), Inc.                         665. Surgical Carepair, L.L.C.
 624. Pharmaceutical & Diagnostic Services, LLC        666. Surgical Instrument Repair Service, L.L.C.
 625. Pharmacy Service Corporation                     667. Syncor Belgium SPRL
 626. Phillipi Holdings, Inc.                          668. Syncor Diagnostics Bakersfield, LLC
 627. PHR Staffing, Inc.                               669. Syncor Diagnostics Dallas, LLC
 628. Post-Acute Care Center For Research, LLC         670. Syncor Diagnostics Encino, LLC
 629. Practicome Solutions, LLC                        671. Syncor Diagnostics Fullerton, LLC
 630. Princeton Diagnostic Isotopes, Inc.              672. Syncor Diagnostics Laguna Hills, LLC
 631. Priority Healthcare Services Corporation         673. Syncor Diagnostics Plano, LLC
 632. Procedure-Based Instrument Services, L.L.C.      674. Syncor Diagnostics Sacramento, LLC
 633. Productos Urologos de Mexico S.A. de C.V.        675. Syncor Financing Corporation
 634. Professional Health-Care Resources, Inc.         676. Syncor Italy srl
 635. Pyxis Capital Corporation                        677. The Enright Group, Inc.
 636. Pyxis Funding II, LLC                            678. The Heron Corporation
 637. Pyxis Funding, LLC                               679. The LVC Corporation
 638. R Cubed, Inc.                                    680. Tianjin Cardinal Pharmacy Co., Ltd.
 639. R. P. Scherer Hardcapsule (West)                 681. Toledo Pharmacy Company
 640. R.P. Scherer Inc.                                682. Tropic Merger Sub, Inc.
 641. R.P. Scherer Technologies, Inc.                  683. UroMed, Inc.
 642. Radiopharmacy Of Boise, Inc.                     684. VIASYS Healthcare Ireland Limited
 643. Radiopharmacy Of Northern California, Inc.       685. VIASYS Healthcare Island EHF
 644. Renlar Systems, Inc.                             686. VIASYS Healthcare S.A.R.L.
 645. RightCare Solutions, Inc.                        687. VIASYS Holdings Inc.
 646. Royal Merger Sub, Inc.                           688. VIASYS NeuroCare France SAS
 647. Scela, Inc.                                      689. VIASYS Polymer Products LLC
 648. Scriptline, Inc.                                 690. Virginia Imaging Center, LLC
 649. SensorMedics (Deutschland) GmbH                  691. Virginia Merger Corporation
 650. SensorMedics Corporation                         692. Vistant Corporation
 651. Shanghai Baiwei Drug Store Company               693. Vistant Holdings, Inc.
      Limited                                          694. Vubiq Inc.
 652. Shanghai Cardinal Baiwei Drug Store Co.,         695. Wenzhou Xinte Pharmaceutical Co., Ltd.
      Ltd.                                             696. West Hudson, Inc.
 653. Shanghai Jinyi Health Management                 697. West Texas Nuclear Pharmacy Partners
      Consultation Co., Ltd.                           698. Wholesale (PI) Limited
 654. Shanghai Luoda Pharmaceutical Company            699. Williams Drug Distributors, Inc.
      Limited                                          700. Wolf Merger Corp.
 655. Shenzhen Zhengdan Investment Company             701. Wrangler Acquisition Sub, Inc.
      Limited                                          702. Wuhan Baiji New & Special Drug Store
 656. Simolo (GL) Limited                                   Company Limited
 657. Sistemas Medicos ALARIS S.A. de C.V.             703. Xiamen Cardinal Baiwei Drug Store Co., Ltd.
 658. Snowden Pencer Holdings, Inc.                    704. Xi'an Baiji Advanced Specialty Pharmacy
 659. Snowden Pencer, Inc.                                  Company Limited
 660. Solomons Company                                 705. Yorkshire Pharmacy, Inc.




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                                                               EXHIBIT UPDATES


                                            McKesson

 1.    "Aewige" ärztliche                               35.   AccessMed, Inc. (AccessMed, LLC)
       Wirtschaftsgesellschaft m.b.H., HG Wien          36.   AccessMed, LLC
 2.    "die apoteeke in teesdorf" Mag. pharm.           37.   ACME DRUG CO. LIMITED, Scotland
       Gerda Kohlhauser KG, LG Wiener                   38.   ADDED MARKETING LIMITED,
       Neustadt                                               England
 3.    "Esplanade-Apotheke" Mag. pharm.                 39.   Adler Apotheke Krems Mag. Gabriele
       Anna-Maria Köck KG, Landesgericht                      Denk KG, LG Krems an der Donau
       Wels                                             40.   Adler-Apotheke Mag.pharm. Ingrid
 4.    "Panther Apotheke" Mag. pharm. Sandra                  Chvatal KG, LG Leoben
       Krokos KG, Landesgericht Graz                    41.   Admenta Beteiligungs GmbH, HG Wien
 5.    10101 Woodloch Forest LLC                        42.   Admenta Denmark ApS, Copenhagen
 6.    2012 DREAM LIMITED, England                      43.   Admenta Deutschland GmbH, Stuttgart
 7.    28CVR LIMITED, England                           44.   ADMENTA HOLDINGS LIMITED,
 8.    3068312 Nova Scotia ULC                                England
 9.    3069163 Nova Scotia Limited                      45.   ADMENTA ITALIA S.P.A., CCIAA di
 10.   3069164 Nova Scotia Limited                            Bologna
 11.   30MC LIMITED, England                            46.   ADMENTA PENSION TRUSTEES
 12.   701985 N.B. INC.                                       LIMITED, England
 13.   A C FERGUSON (CHEMIST) LIMITED,                  47.   Admenta Sweden AB
       England                                          48.   ADMENTA UK LIMITED, England
 14.   A. SUTHRELL (HAULAGE) LIMITED,                   49.   Admenta Verwaltungs GmbH, HG Wien
       England                                          50.   AFM S.p.A., CCIAA di Bologna
 15.   A.F.M. Bergamo S.p.A., Italy                     51.   AHLP PHARMACY LIMITED, England
 16.   A.L.I. Holdings LLC                              52.   ALCHEM (SOUTHERN) LIMITED,
 17.   A.L.I. Imaging Systems Corp.                           England
 18.   A.L.I. Technologies (International) LLC          53.   ALPE-ADRIA PHARMA farmacevtsko
 19.   AAH BUILDERS SUPPLIES LIMITED,                         podjetje d.o.o., Ljubljana
       England                                          54.   Alphar Ayeneux, Belgium
 20.   AAH FURB PENSION TRUSTEE                         55.   Alphar Gilly DL, Belgium
       LIMITED, England                                 56.   Alphar Monceau sur Sambre, Belgium
 21.   AAH Glass & Windows Limited, England             57.   Alphar Partners SA, Belgium
 22.   AAH Ireland, Dublin                              58.   Alte Löwen-Apotheke Mag. pharm.
 23.   AAH LIMITED, England                                   Kristina Taubald KG, HG Wien
 24.   AAH Lloyds Insurance (IoM) Limited,              59.   Alte Spora Apotheke Mag.pharm. Stephan
       Isle Of Man                                            Öhlzelt KG, LG St. Pölten
 25.   AAH LLOYDS PENSION TRUSTEES                      60.   Amethyst Acquisition Corp.
       LIMITED, England                                 61.   Ancavion GmbH, AG Darmstadt
 26.   AAH NOMINEES LIMITED, England                    62.   Ancillary Management Solutions, Inc.
 27.   AAH ONE LIMITED, Scotland                        63.   Anton-Bruckner-Apotheke Mag.pharm.
 28.   AAH PHARMACEUTICALS LIMITED,                           Christian Schwarzenbrunner KG, LG Linz
       England                                          64.   AOR Holding Company of Indiana, Inc.
 29.   AAH TWENTY FOUR LIMITED,                               (AOR Holding Company of Indiana, LLC)
       Scotland                                         65.   AOR Holding Company of Indiana, LLC
 30.   AAH TWENTY LIMITED, England                      66.   AOR Management Company of Alabama,
 31.   AAH TWENTY SIX LIMITED, England                        Inc.
 32.   ABG Apotheken-Beratungsgesellschaft              67.   AOR Management Company of Arizona,
       mbH, Stuttgart                                         Inc. (AOR Management Company of
 33.   Access Health NZ Limited                               Arizona, LLC)
 34.   AccessMed Holdings, Inc.


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                                                               EXHIBIT UPDATES


 68.   AOR Management Company of Arizona,             92.  AOR Real Estate, Inc. (AOR Real Estate,
       LLC                                                 LLC)
 69.   AOR Management Company of Central              93. AOR Real Estate, LLC
       Florida, Inc.                                  94. AOR Synthetic Real Estate, Inc. (AOR
 70.   AOR Management Company of Florida,                  Synthetic Real Estate, LLC)
       Inc.                                           95. AOR Synthetic Real Estate, LLC
 71.   AOR Management Company of Indiana,             96. AORIP, Inc.
       Inc. (AOR Management Company of                97. AORT Holding Company, Inc. (AORT
       Indiana, LLC)                                       Holding Company, LLC)
 72.   AOR Management Company of Indiana,             98. AORT Holding Company, LLC
       LLC                                            99. AORT LP, LLC
 73.   AOR Management Company of Kansas,              100. Aporana AS
       Inc.                                           101. Apotheke "Zum Bergmann" Mag.pharm.
 74.   AOR Management Company of Missouri,                 Sabine Tuttner KG, LG Leoben
       Inc. (AOR Management Company of                102. Apotheke "Zur heiligen Dreifaltigkeit"
       Missouri, LLC)                                      Mag. pharm. Edith Schuller-Grundnig
 75.   AOR Management Company of Missouri,                 KG, Landesgericht Korneuburg
       LLC                                            103. Apotheke "Zur Mutter Gottes" Mag.
 76.   AOR Management Company of Nevada,                   pharm. Karin Nozicka KG, HG Wien
       Inc.                                           104. Apotheke Atzgersdorf Mr. Hermann
 77.   AOR Management Company of New                       Latzin KG, Wien
       York, Inc.                                     105. Apotheke im Messepark Mag. pharm.
 78.   AOR Management Company of North                     Dietmar Purin KG, LG Feldkirch
       Carolina, Inc.                                 106. Apotheke Niklasdorf Mag. pharm.
 79.   AOR Management Company of Ohio, Inc.                Matthias Schöggl KG, LG Leoben
 80.   AOR Management Company of                      107. APOTHEKE U1 TROSTSTRASSE, Mag.
       Oklahoma, Inc. (AOR Management                      pharm. Max Wellan KG, HG Wien
       Company of Oklahoma, LLC)                      108. Apotheke Zum heiligen Antonius Mag.
 81.   AOR Management Company of                           pharm. Walter Staschek KG, LG Wiener
       Oklahoma, LLC                                       Neustadt
 82.   AOR Management Company of Oregon,              109. Apotheke zum heiligen Schutzengel
       Inc.                                                Mag.pharm. Barbara Penz-Arzberger KG,
 83.   AOR Management Company of                           Landesgericht Graz
       Pennsylvania, Inc. (AOR Management             110. Apotheke zum Patriarchen Mag. pharm.
       Company of Pennsylvania, LLC)                       Brigitte Kölbl KG, HG Wien
 84.   AOR Management Company of                      111. Apotheke Zur hl. Dreifaltigkeit Mag.
       Pennsylvania, LLC                                   pharm. Doris Richter KG, LG Wiener
 85.   AOR Management Company of South                     Neustadt
       Carolina, Inc.                                 112. Apotheke Zur Hütte Mag. pharm. Mrak
 86.   AOR Management Company of Texas,                    KG, LG Leoben
       Inc.                                           113. Apovest AS
 87.   AOR Management Company of Virginia,            114. Apovest Drift AS
       Inc. (AOR Management Company of                115. Art Acquisition Subsidiary, Inc.
       Virginia, LLC)                                 116. Ascalon International, Inc.
 88.   AOR Management Company of Virginia,            117. ATLAS Travel Clinic Limited, England
       LLC                                            118. Attentus Medical Sales, Incorporated
 89.   AOR of Indiana Management Partnership               (Attentus Medical Sales, LLC)
 90.   AOR of Texas Management Limited                119. Attentus Medical Sales, LLC
       Partnership                                    120. Awarix, Inc.
 91.   AOR of Texas Management, LLC                   121. Axis Medical Management, Inc.



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                                                         DISTRIBUTORS’ 12.23.21
                                                               EXHIBIT UPDATES


 122. AYRSHIRE PHARMACEUTICALS                       153. Breamor Pharmacy Limited, Ireland
      LIMITED, Scotland                              154. Brevard Radiation Oncology, LLC
 123. AZIENDA FARMACEUTICA                           155. Brickyard Acquisition Inc. (Biologics,
      MUNICIPALE di Cremona S.p.A.,                       Inc.)
      CCIAA di Cremona                               156. BRIDPORT MEDICAL CENTRE
 124. Azienda Farmacie Milanesi S.p.A.,                   SERVICES LIMITED, England
      CCIAA di Milano                                157. Brocacef Groep N.V., Maarssen
 125. Babbingore Limited, Dublin                     158. Brockton Radiation Oncology, LLC
 126. BAILLIESTON HEALTH CENTRE                      159. Brooklyn Radiation Oncology, LLC
      PHARMACY LIMITED, Scotland                     160. Brukar Enterprises, Inc.
 127. Ballycane Pharmacy Limited, Ireland            161. Bullet Acquisition Corporation
 128. BANNISTER & THATCHER LIMITED,                  162. CAHILL MAY ROBERTS GROUP
      England                                             LIMITED, Dublin
 129. BARCLAY PHARMACEUTICALS                        163. California Golden State Finance Company
      (ATHERSTONE) LIMITED, England                  164. Camic Pharmacies Limited, Ireland
 130. BARCLAY PHARMACEUTICALS                        165. Canada Distribution Holdings Limited
      LIMITED, England                                    Partnership
 131. BARLEY CHEMISTS HOLDINGS                       166. Canada Retail Holdings Limited
      LIMITED, England                                    Partnership Societe en Commandite
 132. BARRY SHOOTER (ROMFORD)                             Gestion Detail Canada
      LIMITED, England                               167. Cancer Treatment Associates of Northeast
 133. BDI Pharma, Inc. (BDI Pharma, LLC)                  Missouri, Ltd.
 134. BDI Pharma, LLC                                168. CARONET TRADING LIMITED,
 135. Beausejour Drugs Limited                            England
 136. BEAUTY CARE DRUGSTORES                         169. Carrollton Radiation Therapy Center, LLC
      LIMITED, England                               170. Cascade Medical Supply, Inc. (McKesson
 137. Beldere Corporation                                 Medical-Surgical Minnesota Supply Inc.)
 138. BeneVi Health LLC (Biologics, Inc.)            171. Cavalier Acquisition Company LLC
 139. BENU Apotheken B.V., Chamber of                172. CCCN NW Building JV, LLC
      commerce Amsterdam                             173. Celesio Business Services Ltd., Ireland
 140. BENU Nederland BV, Kamer van                   174. CENTRALE D`ADMINISTRATION DE
      Koophandel Amsterdam                                BIENS IMMOBILIERS, Bobigny
 141. BERKSHIRE MEDICAL SUPPLIES                     175. CGSF Funding Corporation (CGSF
      LIMITED, England                                    Funding LLC)
 142. BETTERLIFEHEALTHCARE LIMITED,                  176. CGSF Funding LLC
      England                                        177. Chem Labs Limited, Dublin
 143. BIG PHARMA LIMITED, Scotland                   178. CHNG Newco LLC
 144. Biologics, Inc.                                179. CHNG NewSub Inc.
 145. Blackhall Pharmaceutical Distributors          180. City Properties, S.A.
      Limited                                        181. Civiche Farmacie Desio S.p.A., Italy
 146. Blackhawk Development LLC                      182. Claimone, LLC (Linear Holdings, LLC)
 147. Blackstaff Pharmaceuticals Limited,            183. ClaimSecure Inc. (SUCCESSOR)
      England                                        184. CLARK CARE GROUP LIMITED,
 148. Blomsterdalen Apotek AS                             England
 149. Blue Medical Supply, Inc. (McKesson            185. CLARK MUNRO LIMITED, Scotland
      Medical-Surgical Inc.)                         186. ClarusONE Sourcing Services LLP
 150. Boad Seven, Inc.                               187. Clinicians Database, L.L.C.
 151. BOFH Holdings Unlimited Company,               188. CMR Holdings Ltd, Dublin
      Ireland                                        189. Coleham, Dublin
 152. Bottomline Medical Solutions, LLC              190. Colorado Cancer Centers, LLC
      (Linear Holdings, LLC)                         191. Combined Enterprises Corporation


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 192. COMPANY CHEMISTS ASSOCIATION                     228. Diana-Apotheke Dr. et Mag. pharm.
      LIMITED, England                                      Michaela Stipsits KG, LG Eisenstadt
 193. COMPTOIR MONEGASQUE DE                           229. Die Apotheke Ebenfurth, Mag.pharm.
      BIOCHIMIE, Monaco                                     Beate Haage-Löwe KG, LG Wiener
 194. COMPTOIR PHARMACEUTIQUE                               Neustadt
      MEDITERRANEEN, Monaco                            230. Dispensing Solutions Acquisition
 195. CONSORZIO SERVIZI SALUTARI                            Corporation (DS Holdings, Inc.)
      S.C.A. R.L., Italy                               231. Dispensing Solutions, Inc. (Dispensing
 196. CookCo, Inc.                                          Solutions, LLC)
 197. Cophana SA, Belgium                              232. Dispensing Solutions, LLC (DS Holdings,
 198. Corporation Groupe                                    Inc.)
      Pharmessor/Pharmessor Group                      233. Ditt Apotek Amfi Os AS
      Corporation (SUCCESSOR 10/01/2017)               234. Ditt Apotek Rodberg AS
 199. Corporation of America                           235. Ditt Apotek Sorumsand AS
 200. CoverMyMeds LLC                                  236. Diversified Healthcare, LLC
 201. CoverMYMeds Specialty Pharmacy                   237. Dix Bulles Pharma, Belgium
      Holdings LLC                                     238. DLI Market Intelligence ApS, Denmark
 202. CoverMYMeds Specialty Pharmacy LLC               239. DOL Pharmacy Limited, Ireland
 203. CPG Industries, Inc.                             240. Donnybrook Pharmacy Limited, Ireland
 204. Crocker Plaza Company (Crocker Plaza             241. Downtown Los Angeles Radiation
      LLC)                                                  Oncology, LLC
 205. Crocker Plaza LLC                                242. DS Holdings, Inc. (DS Holdings, LLC)
 206. CROSS AND HERBERT (DEVON)                        243. DS Holdings, LLC (McKesson Medical-
      LIMITED, England                                      Surgical Top Holdings Inc.)
 207. CROSS AND HERBERT (HOLDINGS)                     244. DSRX, Inc. (DS Holdings, Inc.)
      LIMITED, England                                 245. Dublin 2016 Acquisition, LLC
 208. CROSS AND HERBERT LIMITED,                       246. Dublin Holdings Acquisitions, LLC
      England                                               (Vantage Oncology Holdings, LLC)
 209. Crowley`s Blackrock Limited, Dublin              247. Dublin POS I Acquisition Corp. (POS I
 210. Cypress Import Brokerage LLC                          Corp.)
 211. Cypress Medical Products LLC                     248. East Indy CC, LLC
 212. D & K Healthcare Resources LLC                   249. ECLIPSE HEALTHCARE LIMITED,
 213. D & K Healthcare Resources, Inc. (D & K               England
      Healthcare Resources LLC)                        250. Edwards Medical Supply, Inc.
 214. D & K Pharmacy Solutions, Inc.                   251. EM Acquisition Corporation
 215. D & K Receivables Corporation                    252. Emploi AS
 216. D.F. O'Neill (Chemists) Ltd, Dublin              253. Engel-Apotheke Mag. pharm. Susanne
 217. Dale Apotek AS                                        Zauner KG, LG Wiener Neustadt
 218. Danubia-Apotheke Mag. pharm. Barbara             254. Ephrata Diamond Spring Water Co.
      Sedelies KG, HG Wien                             255. ESCON (ST NEOTS) LIMITED, England
 219. Dargle Pharmacies Holdings Limited,              256. Espafarmed S.L., Belgium
      Ireland                                          257. EUROSANTE (Société en liquidation),
 220. DATACARE Datenpflege des                              Luxembourg
      Pharmagroßhandels Ges.m.b.H., HG Wien            258. Evesland Limited, Dublin
 221. DATAPHARM, Paris                                 259. EVOLUTION HOMECARE SERVICES
 222. Daytona Beach Radiation Oncology, LLC                 LIMITED, England
 223. DC Land Company                                  260. EXPERT HEALTH LIMITED, England
 224. DCAZ Land Company                                261. Family Pharmacy @ Las Colinas LLC
 225. Delta Clinical Research, LLC                     262. Fana Apotek AS
 226. DEPOTRADE, Bobigny                               263. FAR.CO.SAN S.p.A., CCIAA di Arezzo
 227. Derm Vantage, LLC                                264. FARILLON LIMITED, England


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 265. Farmacia Garbatella I S.r.l., Italy                298. GERSTHOFER-APOTHEKE
 266. Farmacie Comunali di Modena S.p.A.,                     Mag.pharm. Elisabeth Reisegger KG, HG
      Italy                                                   Wien
 267. Farmacie Comunali di Padova S.p.A.,                299. Giardina Enterprises, Inc.
      Italy                                              300. Glendale Radiation Oncology, LLC
 268. Farmacie di Sassuolo S.p.A., Italy                      (Vantage Oncology Treatment Centers,
 269. Farmacie Pratesi Pratofarma S.p.A.,                     LLC)
      CCIAA di Prato                                     301. Golden State Company, Ltd.
 270. FARMALVARION S.R.L. SOCIO                          302. Golden State Corporate Services LLC
      UNICO, Italy                                       303. Golden State Insurance Company Limited
 271. FASTPRO International, Inc.                        304. Golden State Milk Products Company
 272. Federal Medical Supplies, Inc. (McKesson           305. Goodman Manufacturing Company
      Medical-Surgical Minnesota Supply Inc.)            306. Gorrys Pharmacy Limited, Ireland
 273. Felview Limited, Dublin                            307. Goviltown Limited, Westmeath
 274. First Aid Service, Inc.                            308. GPL 2007 LIMITED, England
 275. First Choice Medical Supply Holding, Inc.          309. GRAEME PHARMACY (STIRLING)
      (First Choice Medical Supply Holding,                   LIMITED, Scotland
      LLC)                                               310. GREENS PHARMACEUTICAL
 276. First Choice Medical Supply Holding,                    (HOLDINGS) LIMITED, England
      LLC                                                311. Greenville Radiation Care, Inc.
 277. First Choice Medical Supply, LLC                   312. Greystones Pharmacy Limited, Dublin
 278. FIRTH & PILLING LIMITED, England                   313. GROUPE PHR, France
 279. Flex-Master Technology Holdings, Inc.              314. Gulf South Medical Supply, Inc. (Gulf
 280. Floriani-Apotheke Mag.pharm. Doris                      South Medical Supply, LLC)
      Leykauf KG, LG Graz                                315. Gulf South Medical Supply, LLC
 281. Foremost de Venezuela, S.A. (Forvensa)             316. Gwinnett Radiation Oncology, LLC
 282. Foremost Homes Hawaii, Ltd.                        317. H THATCHER LIMITED, England
 283. Foremost Iran Corporation                          318. Haleston Enterprises Limited, Dublin
 284. Foremost Shir, Inc.                                319. HBO & Company (VI), Inc.
 285. Foremost Tehran, Inc.                              320. HBO & Company of Georgia
 286. FOSTER & PLUMPTON GROUP                            321. HBOC Ventures, Inc.
      LIMITED, England                                   322. HC Beteiligungsgesellschaft mbH, HG
 287. FOSTER & PLUMPTON LIMITED,                              Wien
      England                                            323. HDSC Acquisition Corp.
 288. Foundation For Opioid Response Efforts             324. Health Data Sciences Corporation
 289. G J MALEY LIMITED, Isle Of Man                     325. Health Mart Atlas, LLC
 290. G K CHEMISTS (GLOS) LIMITED,                       326. Health Mart Systems, Inc.
      England                                            327. HEALTH NEEDS LIMITED, England
 291. G K CHEMISTS LIMITED, England                      328. HEALTHCLASS LIMITED, England
 292. GEHE Immobilien GmbH & Co. KG,                     329. Heinz Management Co.
      Stuttgart                                          330. Helmard Holdings Limited, Dublin
 293. GEHE Immobilien Verwaltungs-GmbH,                  331. HEP HealthQx Holdings, Inc. (McKesson
      Stuttgart                                               Technologies Inc.)
 294. GEHE Pharma Handel GmbH, Stuttgart                 332. Herba Chemosan Apotheker-AG, HG
 295. General Medical Inc.                                    Wien
 296. GEORGE STAPLES (STOKE)                             333. HERBERT FERRYMAN LIMITED,
      LIMITED, England                                        England
 297. Gerard Ryan Pharmacy (Clonmel)                     334. Hercules Parent LLC
      Limited, Dublin                                    335. Herz - Jesu Apotheke Mag. pharm.
                                                              Marianne Keller KG, HG Wien



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 336. Herz Jesu Apotheke & Parfümerie Mag.            375. J S DENT LIMITED, England
      pharm. Ingrid Heller KG, LG Feldkirch           376. Bradbury (Surgical) Limited, Northern
 337. HF Land Company                                      Ireland
 338. HFN of Northwest Florida, Inc.                  377. J.G. Crowley Pharmacy Limited, Dublin
 339. HIGGINS & SON (CHEMISTS)                        378. JACS, Inc.
      LIMITED, England                                379. Jaron, Inc.
 340. HILL-SMITH (WARRINGTON)                         380. Jeffersonville Radiation Technology, LLC
      LIMITED, England                                381. Jessheim Apotek AS
 341. HisComp Co., Zee Medical Service Co.            382. Jewett Drug Co.
 342. HMS Acquisition Corp.                           383. Jewett Drug LLC
 343. HOLLYFAR - Marcas e Comunicação,                384. Johannes Apotheke Mag. pharm. Deutsch
      Unipessoal, Lda., Portugal                           KG, LG Graz
 344. HOLMSCROFT HC LIMITED, Scotland                 385. JOHN BELL & CROYDEN LIMITED,
 345. HOLON, S.A., Portugal                                England
 346. Honeybee Bridge LLC                             386. JOHN HAMILTON
 347. HTP Inc. (HTP LLC)                                   (PHARMACEUTICALS) LIMITED,
 348. HTP LLC                                              Scotland
 349. Hubertus-Apotheke Mag.pharm. E.                 387. Jupiter Acquisition Ltd.
      Klettenhofer KG, HG Wien                        388. Kairnbury, Dublin
 350. HUSKY AQUISITION INC.                           389. Kathleen Properties Subdivision
 351. Hygeia Bottled Water, Inc.                           Association, Inc.
 352. HYWEL DAVIES (CAERPHILLY)                       390. Keling Limited
      LIMITED, England                                391. Keltman Pharmaceuticals, Inc. (Linear
 353. IHA Corp.                                            Holdings, LLC)
 354. Imagine Health, Inc.                            392. Kemofarmacija, veletrgovina za oskrbo
 355. INDEPENDENT PHARMACY CARE                            zdravstva, d.d., Ljubljana
      CENTRES (2008) LIMITED, England                 393. Keystone/Ozone Pure Water Company
 356. Indian River Radiation Oncology, LLC            394. Kilshallow Limited, Dublin
 357. Infolab, LLC                                    395. KINGSWOOD CHEMISTS LIMITED,
 358. Innovent Oncology, LLC                               England
 359. INSPIRON DISTRIBUTION LIMITED,                  396. KINGSWOOD GK LIMITED, England
      England                                         397. Kitco, Inc.
 360. Integrated Cancer Care, LLC                     398. Knowledgeable Healthcare Solutions, Inc.
 361. Integrated Pathology Services                   399. Kreuz-Apotheke KG, HG Wien
 362. IntelliClaim, Inc.                              400. KWS & P, Inc
 363. Inten GmbH, Stuttgart                           401. KWS & P/SFA, Inc.
 364. Intercal, Inc.                                  402. KYLE & CARRICK HOLDINGS
 365. International Dairy Engineering Co. of               LIMITED, Scotland
      Asia, Inc.                                      403. Laboratoria Flandria NV, Belgium
 366. InterQual Inc.                                  404. Laboratory Supply Company
 367. intraFUSION GP, LLC                             405. Labsco Holdings, Inc. (McKesson
 368. Intrafusion Holding Corp.                            Medical-Surgical Inc.)
 369. intraFUSION Purchasing Network, LLC             406. Leesburg Radiation Oncology, LLC
 370. intraFUSION Research Network, LLC               407. LEVELCROWN LIMITED, England
 371. Inviva, McKesson Pharma Care Network            408. Liberty Real Estate NJ LLC
      Corporation / La Corporation Inviva,            409. Lind-Apotheke Mag. pharm. Alexander
      Reseau de soins pharmacologiques                     Telesko KG, LG Klagenfurt
      McKesson (SUCCESSOR)                            410. Linear Holdings, Inc. (McKesson
 372. Iowa Pharmaceutical Services, LLC                    Medical-Surgical Top Holdings Inc.)
 373. IPCC LIMITED, England                           411. Linear Holdings, LLC (Linear Holdings,
 374. IPD Holdings, Inc.                                   Inc.)


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 412. Linear Medical Solutions, LLC                     445. Marien-Apotheke, Mag.pharm. Eva
 413. LINFORD PHARMACIES LIMITED,                            Grabner KG, Landesgericht Korneuburg
      England                                           446. Maryland First Aid Co., Inc.
 414. LISEAPOTEKENE AS                                  447. MASTA Limited, England
 415. Lissone Farmacie S.p.A., CCIAA di                 448. Masters Drug Company, Inc.
      Monza e Brianza                                   449. MATIS Immobilien OHG, Stuttgart
 416. LIVINGSTON HEALTH CENTRE (P.D)                    450. Maurice F. Dougan Limited, Dublin
      CO. LIMITED, Scotland                             451. May Roberts Ltd, Dublin
 417. LKW, Inc.                                         452. MCK Acquisition Corp.
 418. LLOYDS CHEMISTS LIMITED,                          453. McK International Financial Holdings
      England                                                (Barbados) SRL
 419. LLOYDS CHEMISTS RETAIL                            454. McKesson (Cayman Islands) Inc.
      (NORTHERN) LIMITED, England                       455. McKesson (Shanghai) Trading Company
 420. LLOYDS CHEMISTS RETAIL                                 Limited
      LIMITED, England                                  456. McKesson + Strategic Solutions ULC /
 421. LLOYDS GROUP PROPERTIES                                Solutions Strategiques McKesson + ULC
      LIMITED, England                                  457. McKesson Automation Systems Inc.
 422. Lloyds Pharmacy Clinical Homecare                 458. McKesson Belgium Holdings SPRL,
      Limited, England                                       Belgium
 423. LLOYDS PHARMACY LIMITED,                          459. McKesson Canada Corporation/La
      England                                                Corporation McKesson Canada
 424. LLOYDS PROPERTIES LIMITED,                             (SUCCESSOR)
      England                                           460. McKesson Canada Finance IA ULC
 425. LLOYDS Property Management                        461. McKesson Canada Finance IB ULC
      Company Belgium S.A., Belgium                     462. McKesson Capital Funding Corp.
 426. LLOYDS RETAIL CHEMISTS                            463. McKesson Capital Funding Corporation
      LIMITED, England                                  464. McKesson Capital LLC
 427. Lloyds Retail S.r.l., Socio Unico, Italy          465. McKesson Central Fill LLC (McKesson
 428. LLOYDSFARMACIA ROMA 4 S.R.L.,                          Distribution Holdings LLC)
      Italy                                             466. McKesson Contract Research
 429. Lloydspharma Group S.A., Belgium                       Organization LLC
 430. Lloydspharma S.A., Belgium                        467. McKesson Cork Business Solutions
 431. Lloydspharmacy Ireland Limited, Dublin                 Unlimited Company
 432. Lory Apotheke Mag. pharm. Karin                   468. McKesson Corporate Properties, Inc.
      Eichinger KG, HG Wien                             469. McKesson Corporation
 433. LP Clinical Homecare Group Limited,               470. McKesson Development Corp.
      England                                           471. McKesson Distribution Holdings LLC
 434. LPL ONE LIMITED, England                          472. McKesson Drug Company LLC
 435. M H GILL LIMITED, England                         473. McKesson Europe AG
 436. M PAYNE & CO LIMITED, England                     474. McKesson Europe Holdings GmbH & Co.
 437. Macfor International Finance Company                   KGaA
 438. MACON Acquisition Corp.                           475. McKesson Europe Holdings Verwaltungs
 439. Macro Helix LLC                                        GmbH
 440. Madison Acquisition Inc.                          476. McKesson Financial Holdings II
 441. Marathon Acquisition Subsidiary, Inc.                  Unlimited Company
 442. Mariahilf-Apotheke Mag. pharm.                    477. McKesson Financial Holdings Unlimited
      Christoph Rücklinger KG, LG St. Pölten                 Company
 443. Mariahilf-Apotheke Mag. pharm. Helga              478. McKesson Financing Trust III
      Mann KG, Landesgericht Graz                       479. McKesson Financing Trust IV
 444. Marien-Apotheke Mag. pharm. Thomas                480. McKesson Foundation Inc.
      Job KG, LG Eisenstadt


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 481. McKESSON FRANCE HOLDINGS,                        510. McKesson International Bermuda IP5B
      Bobigny                                               Unlimited (McKesson International
 482. McKesson France Retail, Bobigny B                     Bermuda IP5A Limited)
 483. McKesson Funding Company of Canada               511. McKesson International Bermuda
 484. McKesson Global Procurement &                         Opco1A Limited
      Sourcing Limited                                 512. McKesson International Bermuda Opco1B
 485. McKesson Global Sourcing Limited                      Unlimited (McKesson International
 486. McKesson Global Sourcing Limited [Irish               Bermuda Opco1A Limited)
      Branch]                                          513. McKesson International Bermuda
 487. McKesson Health Solutions Holdings                    Opco3A Limited
      LLC                                              514. McKesson International Bermuda Opco3B
 488. McKesson Health Solutions LLC                         Unlimited (McKesson International
 489. McKesson Health Solutions Puerto Rico                 Bermuda Opco3A Limited)
      Inc.                                             515. McKesson International Bermuda
 490. McKesson Health Solutions Texas Inc.                  Opco4A Limited
 491. McKesson High Volume Solutions Inc.              516. McKesson International Bermuda Opco4B
 492. McKesson Information Solutions Finance                Unlimited
      S.a.r.l.                                         517. McKesson International Finance III
 493. McKesson Information Solutions                        Limited (McKesson US Finance
      Holdings II S.a.r.l.                                  Corporation)
 494. McKesson Information Solutions                   518. McKesson International Finance S.a.r.l.
      Holdings III S.a.r.l.                            519. McKesson International Holdings III
 495. McKesson Information Solutions                        S.a.r.l.
      Holdings IV S.a.r.l.                             520. McKesson International Holdings IV
 496. McKesson Information Solutions                        S.a.r.l.
      Holdings V S.a.r.l.                              521. McKesson International Holdings S.a.r.l.
 497. McKesson Information Solutions III LLC           522. McKesson International Holdings
 498. McKesson Information Solutions Inc.                   Unlimited Company
      (McKesson Information Solutions LLC)             523. McKesson International Holdings VI
 499. McKesson Information Solutions IV LLC                 S.a.r.l.
 500. McKesson Information Solutions LLC               524. McKesson International Holdings VII
 501. McKesson Information Solutions                        S.a.r.l.
      Topholdings S.a.r.l.                             525. McKesson International Investment Corp.
 502. McKesson Information Solutions UK                526. McKesson International Ireland I Limited
      Limited                                          527. McKesson International LLC
 503. McKesson International Bermuda IP2A              528. McKesson International Malaysia Sdn
      Limited                                               Bhd
 504. McKesson International Bermuda IP2B              529. McKesson International S.a.r.l.
      Unlimited                                        530. McKesson International Topholdings
 505. McKesson International Bermuda IP3A                   S.a.r.l.
      Limited                                          531. McKesson Ireland Limited
 506. McKesson International Bermuda IP3B              532. McKesson Logistics Solutions
      Unlimited (McKesson International                533. McKesson Medical Imaging Company
      Bermuda IP3A Limited)                                 Ltd. (predecessor)
 507. McKesson International Bermuda IP4A              534. McKesson Medical-Surgical FDT Inc.
      Limited                                          535. McKesson Medical-Surgical Government
 508. McKesson International Bermuda IP4B                   Solutions LLC
      Unlimited (McKesson International                536. McKesson Medical-Surgical Holdings Inc.
      Bermuda IP4A Limited)                            537. McKesson Medical-Surgical Inc.
 509. McKesson International Bermuda IP5A              538. McKesson Medical-Surgical Iowa Inc.
      Limited


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 539. McKesson Medical-Surgical Iowa Supply             570. McKesson Specialty Health
      Inc.                                                   Pharmaceutical & Biotech Solutions, LLC
 540. McKesson Medical-Surgical Maine Inc.              571. McKesson Specialty Health
 541. McKesson Medical-Surgical                              Pharmaceutical & Biotech Solutions, LP
      Manufacturing Inc.                                     (McKesson Specialty Health
 542. McKesson Medical-Surgical MediMart                     Pharmaceutical & Biotech Solutions,
      Inc.                                                   LLC)
 543. McKesson Medical-Surgical MediNet Inc.            572. McKesson Specialty Health Technology
 544. McKesson Medical-Surgical Minnesota                    Products LLC
      Inc. (McKesson Medical-Surgical                   573. McKesson Specialty Pharmacy, LP (RxC
      Holdings Inc.)                                         Acquisition Company)
 545. McKesson Medical-Surgical Minnesota               574. McKesson Specialty Prescription Services
      Supply Inc.                                            (Atlantic) Corporation/Corporation
 546. McKesson Medical-Surgical Supply                       McKesson Services de Prescription
      Chain Services LLC                                     Spécialisée (Atlantique)
 547. McKesson Medical-Surgical Top                     575. McKesson Specialty Prescription Services
      Holdings Inc.                                          (B.C.) Corporation
 548. McKesson Medication Management                    576. McKesson Specialty Prescription Services
      Holdings Inc.                                          Corporation
 549. McKesson Medication Management                    577. McKesson SPS (Manitoba) Corporation
      Virgin Islands Inc.                               578. McKesson Strategic Services Limited
 550. McKesson Norway Holdings AS                       579. McKesson Technologies Inc.
 551. McKesson Pharmacy Optimization LLC                580. McKesson Trading Company
 552. McKesson Pharmacy Systems Canada                  581. McKesson Transportation Systems, Inc.
      ULC                                               582. McKesson UK Finance I Limited
 553. McKesson Pharmacy Systems LLC                     583. McKesson UK Finance II Limited
 554. McKesson Plasma and Biologics LLC                 584. McKesson UK Finance V Limited
 555. McKesson Prescription Drug Plan LLC               585. McKesson UK Holdings Limited
 556. McKesson Property Company, Inc.                   586. McKesson US Finance Corporation
 557. McKesson Purchasing Company LLC                   587. McKesson US Holdings GP
 558. McKesson Services Inc. (McKesson                  588. McKesson Ventures LLC
      Services LLC)                                     589. McKesson Ventures Unlimited Company
 559. McKesson Services LLC                             590. McQueary Bros. Drug Company
 560. McKesson Sourcing Services Inc.                   591. McQueary Bros. Drug Company, LLC
 561. McKesson Specialized Distribution Inc. /          592. McSweeney Dispensers 10 Limited,
      McKesson Distribution Specialisee Inc.                 Ireland
      (Successor)                                       593. McSweeney Dispensers 23 Limited,
 562. McKesson Specialty Arizona Inc.                        Ireland
 563. McKesson Specialty Care Distribution              594. MDD pharma N.V., Belgium
      Corporation (McKesson Specialty Care              595. MED3000 Health Solutions Southeast
      Distribution LLC)                                 596. MED3000 RPG
 564. McKesson Specialty Care Distribution JV           597. Medaid Supply, Inc.
      LLC                                               598. Medcon Telemedicine Technology, Inc.
 565. McKesson Specialty Care Distribution              599. Median Healthcare Services Unlimited
      LLC                                                    Company, Ireland
 566. McKesson Specialty Corporation                    600. Medical & Vaccine Products, Inc.
 567. McKesson Specialty Distribution LLC               601. Medical Advisory Services for Travellers
 568. McKesson Specialty Health Innovative                   Abroad Limited, England
      Practice Services, LLC                            602. Medical Specialties Distributors Holdings,
 569. McKesson Specialty Health Management                   Inc. (MSD Parent Corporation)
      Services LLC                                      603. Medical Specialties Distributors, LLC


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 604. Medical Specialties Holdings Corp.               643. Natureline, Dublin
      (Medical Specialties Holdings II Corp.)          644. NDC of Canada, Inc.
 605. Medical Specialties Holdings II Corp.            645. NDCHealth Corporation
 606. Medicentres Canada Inc. (SUCCESSOR)              646. NDCHealth Pharmacy Systems and
 607. Medicine Shoppe Atlantic Corporation                  Services, Inc.
 608. Medicine Shoppe Canada Corporation               647. Nebraska Pharmaceutical Services, LLC
 609. Medicine Shoppe Canada Real Estate               648. Negatron, Inc.
      Corporation                                      649. Nensi d.o.o., Ljubljana
 610. MEDIMART LIMITED, England                        650. NERO GP, LLC
 611. MediVation, Inc.                                 651. New Experimental Therapeutics of San
 612. MedVentive Inc.                                       Antonio, LLC
 613. MeMed CZ s.r.o., Praha                           652. NEW KIRK PHARMACY LIMITED,
 614. Menges Medizintechnik Schweiz AG,                     Scotland
      Sankt Gallen                                     653. New Mexico Pharmaceutical Services,
 615. Merlin Subsidiary Inc.                                LLC
 616. Merrick Healthcare Limited                       654. NewHealthCo, LLC
 617. Metabolic Healthcare Holdings Limited,           655. NexCura, LLC (McKesson Specialty
      England                                               Health Technology Products LLC)
 618. Metabolic Healthcare Limited, England            656. Nibelungen-Apotheke Mag. pharm.
 619. Metropolitan Integrated Cancer Center,                Michaela Wachter KG, LG St. Pölten
      L.L.C.                                           657. Norsk Medisinaldepot AS
 620. MH/USON Radiation Management                     658. North Carolina Pharmaceutical Services,
      Company, LLC                                          LLC
 621. MHD-USO General, LLC                             659. Northeast Pennsylvania Radiation
 622. MHD-USO Management Company, LP                        Oncology, LP
 623. MHS Connecticut LLC                              660. Northern Arizona Oncology Centers, LLC
 624. Michigan Pharmaceutical Services, LLC            661. Northern Boulevard Radiation Oncology
 625. Mid-Atlantic Radiation Oncology LLC                   Management, LLC
 626. Millennium Merger Corporation                    662. Northern San Fernando Valley Radiation
 627. Mohawk Liqueur Corporation                            Oncology, LLC
 628. Mohren-Apotheke Mag. Christian Müller            663. Northstar Healthcare Holdings Limited
      KG, LG Graz                                      664. Northstar Healthcare Holdings Unlimited
 629. Moore Medical LLC (McKesson Medical-                  Company
      Surgical Government Solutions LLC)               665. Northstar Healthcare Limited
 630. Mosaic Acquisition Corporation                   666. Northstar Healthcare Unlimited Company
 631. MOUNT PHARMACY LIMITED,                          667. Northstar International Holdings Limited
      England                                          668. Northstar Rx LLC
 632. MSA Products LLC                                 669. Norvern Enterprises, Inc.
 633. MSD Acquisition Corp. (Medical                   670. NR Direct, Inc. (McKesson Patient Care
      Specialties Holdings Corp.)                           Solutions Inc.)
 634. MSD Parent Corporation (MSD                      671. O`Leary Pharmacy (Lucan) Limited,
      Acquisition Corp.)                                    Dublin
 635. Multum Information Services, Inc.                672. OCP FORMATION, Bobigny
 636. MUNRO PHARMACY LIMITED,                          673. OCP PORTUGAL, PRODUTOS
      Scotland                                              FARMACÊUTICOS, S.A., Maia
 637. MWPC Acquisition Corp.                           674. OCP REPARTITION, Bobigny B
 638. MWPC Acquisition Corp. (PA)                      675. OCP, Bobigny
 639. My MHealth Limited, England & Wales              676. Oncology Holdings II, Inc.
 640. myhca, inc.                                      677. Oncology Holdings, Inc.
 641. NARO, LLC                                        678. Oncology Rehab Partners, LLC
 642. National Oncology Alliance, Inc.


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 679. Oncology Therapeutics Network                   718. Pharmacie de la Bascule, Belgium
      Corporation                                     719. PHARMACTIV DISTRIBUTION,
 680. Oncology Today, LP                                   Bobigny B
 681. OnMark, Inc.                                    720. Pharmacy O`Riada Holdings Limited,
 682. Optimed Health Limited, England &                    Dublin
      Wales                                           721. PHARMAGEN LIMITED, England
 683. Orca Acquisition Corp.                          722. PHILIP GOODMAN LIMITED, England
 684. Ørebekk Apotek AS                               723. PHR ANTILLES, FORT DE FRANCE
 685. Oswald-Apotheke Mag. pharm. Ilse                724. PhyServ Solutions, Inc.
      Pedevilla KG, LG Feldkirch                      725. Physician Micro Systems, Inc.
 686. OTN Generics, Inc.                              726. Physician Oncology Services
 687. OTN Participant, Inc.                                Management Company, LLC
 688. Outpatient Infusion Systems, Inc                727. Physician Reliance Holdings, LLC
 689. Øygarden Apotek AS                              728. Physician Reliance Maryland, LP
 690. P C Cahill & Company Limited, Dublin            729. Physician Reliance Network, Inc.
 691. P.L.C.E., Inc.                                       (Physician Reliance Network, LLC)
 692. Packet Merger Sub Inc.                          730. Physician Reliance Network, LLC
 693. PALEMODA LIMITED, England                       731. Physician Reliance, L.P.
 694. Palm Merger Sub, Inc.                           732. Physician Reliance, LLC
 695. Panther Acquisition Corporation                 733. Physician Sales & Service Limited
 696. Panther-Apotheke Mag. pharm. Margarete               Partnership
      Breyha KG., LG St. Pölten                       734. Physician Sales & Service, Inc.
 697. Paracelsus-Apotheke Mag. pharm. Dr.                  (McKesson Medical-Surgical Top
      Birgit Müller KG, Austria                            Holdings Inc.)
 698. Pathology Service Associates, LLC               735. Pindsle Apotek AS
 699. Pathway Purchasing Network, LLC                 736. PMLX Limited
 700. Patient Account Management Services,            737. POC Management Group, LLC
      Inc.                                                 (Dispensing Solutions, Inc.)
 701. PAUL WHEELER LIMITED, England                   738. Podiatry Online, Inc.
 702. PCB SA, Belgium                                 739. Portico Systems of Delaware, Inc.
 703. PEEL STREET PHARMACY LIMITED,                   740. POS I Corp. (Dublin 2016 Acquisition,
      England                                              LLC)
 704. peerVue, Inc. (DE)                              741. Presbyterian Cancer Center-Dallas, LLC
 705. peerVue, Inc. (NH)                              742. Prescribing Support Services Limited,
 706. Pemberton Marketing International                    England & Wales
      Limited                                         743. Prima Brands Limited, Northern Ireland
 707. Penn-Chem Corporation                           744. PRIMELIGHT LIMITED, England
 708. PERILLA Grundstücks-                            745. Prismedica S.A.S.
      Verwaltungsgesellschaft mbH & Co. KG,           746. PRN Physician Reliance, LLC
      AG München                                      747. Pro-AvO GmbH, Deutschland
 709. Per-Se Transaction Services, Inc.               748. Proclaim, Inc. (McKesson Medical-
 710. PF2 McKesson Technologies Inc.                       Surgical MediMart Inc.)
 711. PF2 SpinCo Inc.                                 749. PRODILAB, France
 712. Pharma Belgium Belmedis SA, Belgium             750. Providence Radiation Oncology Partners
 713. PHARMA PARTNERS, Belgium                             LLC
 714. Pharma Services (NI) Limited, Northern          751. PSS China Sourcing Limited
      Ireland                                         752. PSS Global Holdings
 715. Pharmaceutical Distributors Federation          753. PSS Global Sourcing China Business
      Ireland Company Limited By Guarantee                 Trust
 716. Pharmaceutical Support Services, Inc.           754. PSS Global Sourcing Hong Kong Limited
 717. Pharmacie Ananga-Talom, Belgium


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 755. PSS Global Sourcing Limited [Hong                791. Rexall/Pharma Plus Pharmacies Ltd.
      Kong]                                            792. Riel, Inc.
 756. PSS HK 1 Limited                                 793. Riverside Radiation Oncology, LLC
 757. PSS Holding, Inc. (McKesson Medical-                  (Vantage Oncology Treatment Centers,
      Surgical Inc.)                                        LLC)
 758. PSS Service, Inc. (McKesson Medical-             794. R-jet, Incorporated
      Surgical Top Holdings Inc.)                      795. RMCC Cancer Center, Inc. (RMCC
 759. PSS Southeast Asia Limited                            Cancer Center, LLC)
 760. PSS World Medical, Inc.                          796. RMCC Cancer Center, LLC
 761. PST Products, LLC                                797. ROSA of Eastern Shore, LLC
 762. PST Services, Inc. (PST Products, LLC)           798. ROSA of Georgia, LLC
 763. Purchasing Alliance for Clinical                 799. ROSA of South Alabama, LLC
      Therapeutics, LLC                                800. ROSA of Southern New Jersey, LLC
 764. R F FOSKETT & SON LIMITED,                       801. Roth Medical Services, Inc.
      England                                          802. RPRS, LLC
 765. R GORDON DRUMMOND LIMITED,                       803. RX Information Technology LLC
      England                                          804. RxC Acquisition Company
 766. R/X Automation Solutions, LLC                    805. RxCrossroads 3PL LLC
 767. Raabtal-Apotheke Mag.pharm. Karin                806. Ryle and De Lacy Pharmacies Limited,
      Drawetz KG, Landesgericht Graz                        Ireland
 768. Radiation Oncology Services of America,          807. S.K.U., Inc.
      Inc.                                             808. Salus-Apotheke Mag. pharm. Simone
 769. Radiotherapy Clinic Holdings, LLC                     Gaigg KG, Salzburg
 770. Radiotherapy Clinics of Kentuckiana,             809. Salvator - Apotheke Mag. pharm.
      LLC                                                   Gertrude Pölzl KG, LG Leoben
 771. Radiotherapy Clinics of Kentuckiana-2,           810. San Bruno Mountain Ltd., A California
      LLC                                                   Limited Partnership
 772. Radius Data Solutions, LLC                       811. Sandviken Apotek AS
 773. Radius Reimbursement Services, LLC               812. Sangers (Northern Ireland) Limited,
 774. Radunnco, Inc.                                        Northern Ireland
 775. Rancare, Inc.                                    813. SANOVA Pharma GesmbH, HG Wien
 776. Randolph Home Care Inc.                          814. SAVORY & MOORE (JERSEY)
 777. Randolph Medical Inc.                                 LIMITED, Jersey
 778. RCOG Cancer Centers, LLC                         815. SAVORY & MOORE LIMITED,
 779. Rebel Distributors Corp. (McKesson                    Scotland
      Medical-Surgical Top Holdings Inc.)              816. SCHOLES (CHEMISTS) LIMITED,
 780. recucare GmbH, Stuttgart                              England
 781. recusana GmbH, Stuttgart                         817. Schutzengelapotheke Neufeld Mag.
 782. Regenbogenapotheke "Am Leberberg"                     Schweifer KG, LG Eisenstadt
      Mag. pharm. Andreas Portisch KG, HG              818. Scrip Pak, LLC (Linear Holdings, LLC)
      Wien                                             819. Script2U Holdings LLC
 783. RelayHealth Corporation (McKesson                820. Script2U LLC
      Information Solutions LLC)                       821. ScriptHero LLC
 784. Renoir Acquisition Corporation                   822. ScriptHero Pharmacy Holdings LLC
 785. Renoir Acquisition Corporation (DE)              823. ScriptHero Pharmacy LLC
 786. RESEAU SANTE, BREST                              824. Select RX, LLC (Linear Holdings, LLC)
 787. RetraceHealth, Inc.                              825. SelectPlus Oncology, LLC
 788. Rexall Pharmacy Group Ltd.                       826. Sens Arbeidsinkludering AS
 789. Rexall/Pharma Plus Pharmacies (BC) Ltd.          827. Sens Eiendom AS
 790. Rexall/Pharma Plus Pharmacies (Sask)             828. Sens Gruppen AS
      Ltd.                                             829. Sens Utvikling AS


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 830. SERVICE DE LA REPARTITION                        863. Stat RX USA, LLC (Linear Holdings,
      PHARMACEUTIQUE, Paris                                 LLC)
 831. SF Valley Derm Equipment I, LLC                  864. STATIM FINANCE LIMITED, England
 832. Sherman Oaks Radiation Oncology, LLC             865. STEPHEN SMITH LIMITED, Guernsey
      (Vantage Oncology Treatment Centers,             866. Sterling Medical Services, LLC
      LLC)                                                  (McKesson Patient Care Solutions Inc.)
 833. Sherman Oaks Radiation Technology,               867. STQ LLC
      LLC (Vantage Oncology Treatment                  868. Strategic Health Alliance II, Inc.
      Centers, LLC)                                    869. Strategic Health Alliance Management
 834. Shoup Properties, Inc.                                Corp.
 835. SHS V Medtech Investments GmbH &                 870. Strategic Sourcing Services LLC
      Co. KG                                           871. Streator Radiation Oncology, LLC
 836. Simply Medical LLC                               872. Stubaital-Apotheke Mag.pharm. Christian
 837. SIVEM Pharmaceuticals ULC/SIVEM                       Kernstock KG, LG Innsbruck
      Produits Pharmaceutiques ULC                     873. Summa Script LLC
 838. Six R Investments, Inc.                          874. Sund Apotek AS
 839. SOCIETE COOPERATIVE OUEST                        875. SUPERFIELD LIMITED, England
      PARTAGE, BREST                                   876. Supplylogix LLC
 840. SOCIETE D`ETUDES ET DE                           877. T AND I WHITE LIMITED, England
      REALISATIONS INFORMATIQUES,                      878. T. Sheridan Sales & Marketing, Dublin
      Monaco                                           879. Tabor Apotheke Mag. pharm. Wolfram
 841. Sofarmex BVBA, Belgium                                Schaden KG, LG Steyr
 842. Sofiadis SCRL, Belgium                           880. Targa Parent Holdings, LLC
 843. Soldier Acquisition Corporation                  881. TBC Products, Inc.
 844. SOPI The Lough Limited, Ireland                  882. Temperature Controlled Pharmaceuticals
 845. SOPI Youghal Limited, Ireland                         Limited
 846. SourceTenn LLC                                   883. Test Corporation changed 2 GM 3 AG
 847. South Alabama Cancer Centers, LLC                884. Test Entity - Corporation
 848. South Bay Radiation Oncology, LLC                885. Test Entity - Corporation (Glenette)
 849. South Pacific Medical Inc.                       886. Test Entity - LLC (Anne)
 850. Southeast Merger Corp.                           887. Test Entity - LLC (Glenette)
 851. Southeast Texas Cancer Centers, L.P.             888. Test Entity - LLC (Karen)
 852. Southern California Radiation Oncology,          889. Test Entity - LLC (Melissa)
      LLC                                              890. Test Entity - LP
 853. Spider Acquisition Corporation                   891. Test Entity - Manager LLC
 854. Spirit Acquisition Corporation                   892. Test Entity - Member LLC
 855. Spring Valley Industries, LLC                    893. Test Entity - Parent Corporation
 856. St. Louis Pharmaceutical Services, LLC           894. Texas Pharmaceutical Services, LLC
 857. St. Lucas-Apotheke Mag.pharm. Ilona              895. Texas Proton Therapy Center, LLC
      Elisabeth Leitner KG, HG Wien                    896. The Oregon Cancer Centers, Ltd.
 858. St. Markus Apotheke Dr. Elke                     897. Theratech, Inc. (McKesson Medical-
      Kramberger-Kaplan KG, LG Linz                         Surgical Top Holdings Inc.)
 859. St. Richard Apotheke Mag.pharm. Ursula           898. Thriftymed, Inc. (McKesson Medical-
      Kohl KG, Landesgericht Korneuburg                     Surgical Top Holdings Inc.)
 860. Stadion-Apotheke Mag. pharm. Ulrike              899. THURNBY ROSE LIMITED, England
      Grosser-Schmidt KG, LG St. Pölten                900. Titus Home Health Care LLC
 861. Stadt-Apotheke "Zur heiligen Barbara"            901. Tjellesen Max Jenne A/S, Rodovre
      Mag. pharm. Igor Mauritsch KG, Austria           902. Todin A/S, Denmark
 862. Stadtapotheke Fürstenfeld Mag. pharm.            903. TOPS Pharmacy Services, Inc.
      Waltraud Maier KG, Landesgericht Graz            904. Tower Radiation Technology, LLC
                                                       905. Tracer Enterprises LLC


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 906. Tri-State Radiation Oncology Centers,             941. Vantage Cancer Centers of Georgia, LLC
      LLC                                               942. Vantage Central Ohio Radiation Therapy,
 907. Tuna Acquisition Corp.                                 LLC
 908. Tyler Radiation Equipment Leasing, LLC            943. Vantage Equipment Acquisition, LLC
 909. Unicare Dispensers 16 Limited, Ireland            944. Vantage Exton Radiation Oncology, LLC
 910. Unicare Dispensers 27 Limited, Ireland            945. Vantage Medical Management Services,
 911. Unicare Dispensers 5 Limited, Ireland                  LLC
 912. Unicare Pharmacy Group Limited, Dublin            946. Vantage Mokena Radiation Oncology,
 913. United Drug (Wholesale) Limited                        LLC
 914. United Drug Distributors Ireland Limited          947. Vantage Oncology - Brooklyn, LLC
 915. Unity Oncology, LLC                               948. Vantage Oncology Centers - Beverly
 916. Urbani-Apotheke Mag. pharm. Bernhard                   Hills, LLC
      Prattes KG, LG Graz                               949. Vantage Oncology Finance Co. (Vantage
 917. US Oncology Corporate, Inc.                            Oncology, LLC)
 918. US Oncology Holdings, Inc.                        950. Vantage Oncology Holdings, LLC
 919. US Oncology Lab Services, LLC                     951. Vantage Oncology LLC PAC Corporation
 920. US Oncology Pharmaceutical Services,              952. Vantage Oncology Physics, LLC
      LLC                                               953. Vantage Oncology Treatment Centers -
 921. US Oncology Pharmacy GPO, L.P.                         Brevard, LLC
 922. US Oncology Reimbursement Solutions,              954. Vantage Oncology Treatment Centers -
      LLC                                                    Brockton, LLC
 923. US Oncology Research, Inc. (US                    955. Vantage Oncology Treatment Centers -
      Oncology Research, LLC)                                Central Florida, LLC (Vantage Oncology
 924. US Oncology Research, LLC                              Treatment Centers, LLC)
 925. US Oncology Specialty, LP                         956. Vantage Oncology Treatment Centers -
 926. US Oncology, Inc.                                      Northern Arizona, LLC
 927. USCITA LIMITED, England                           957. Vantage Oncology Treatment Centers -
 928. USON Insurance Company                                 Ohio, LLC (Vantage Oncology Treatment
 929. USON Risk Retention Group, Inc.                        Centers, LLC)
 930. Utah Acquisition Corporation                      958. Vantage Oncology Treatment Centers -
 931. Valley Equipment Company                               San Antonio, LLC (Vantage Oncology
 932. Vantage Acquisition Company, LLC                       Treatment Centers, LLC)
      (Vantage Oncology, LLC)                           959. Vantage Oncology Treatment Centers -
 933. Vantage Acquisition Finance, LLC                       Tri-State, LLC
      (Vantage Oncology, LLC)                           960. Vantage Oncology Treatment Centers,
 934. Vantage Cancer Care - Alabama, LLC                     LLC
      (Vantage Cancer Care Networks, LLC)               961. Vantage Oncology, LLC
 935. Vantage Cancer Care - Indiana, LLC                962. Vantage Operational Support Services,
      (Vantage Cancer Care Networks, LLC)                    LLC
 936. Vantage Cancer Care - New Mexico, LLC             963. Vantage Radiation Oncology Associates,
      (Vantage Cancer Care Networks, LLC)                    LLC
 937. Vantage Cancer Care Network of                    964. Vantage San Antonio Radiation
      Alabama, LLC (Vantage Cancer Care                      Oncology, LLC (Vantage Oncology
      Networks, LLC)                                         Treatment Centers - San Antonio, LLC)
 938. Vantage Cancer Care Network of Indiana,           965. Vantage South Suburban Radiation
      LLC (Vantage Cancer Care Networks,                     Oncology, LLC
      LLC)                                              966. VC Services, Inc.
 939. Vantage Cancer Care Network of New                967. VEC GP, LLC
      Mexico, LLC (Vantage Cancer Care                  968. VerbalCare, LLC
      Networks, LLC)                                    969. Verdal Apotek AS
 940. Vantage Cancer Care Networks, LLC                 970. Very Important Products, Inc.


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 971. Visitacion Associates
 972. Vitapharm, proizvodnja in trgovina
       farmacevtskih izdelkov d.o.o., Murska
       Sobota
 973. Vitusapotek Jessheim Storsenter AS
 974. Vitus-Apoteket Torvbyen Fredrikstad AS
 975. VOTC-Queens, LLC
 976. Vulcan Acquisition Subsidiary, Inc.
 977. W H CHANTER LIMITED, England
 978. W H GREEN (CHEMISTS) LIMITED,
       England
 979. W JAMIESON (CHEMISTS) LIMITED,
       England
 980. W.H.C.P. (DUNDEE) LIMITED,
       Scotland
 981. Walsh Distribution, L.L.C.
 982. Walsh Healthcare Solutions LLC
 983. Walsh Healthcare Solutions, Inc.
 984. Walsh Heartland, L.L.C.
 985. Walsh Southwest L.L.C.
 986. Well.ca ULC
 987. West Florida Radiation Therapy, LLC
 988. West Wholesale Drug Co.
 989. WESTCLOSE LIMITED, England
 990. Western Tumor Radiation Oncology, LLC
       (Vantage Oncology Treatment Centers,
       LLC)
 991. Westside LA Derm Equipment I, LLC
 992. WFCC Radiation Management Company,
       LLC
 993. Wickham Radiation Oncology, LLC
       (Vantage Oncology Treatment Centers,
       LLC)
 994. Wiley Industries, LLC
 995. Wilkes Barre Radiation Technology, LLC
       (Vantage Oncology Treatment Centers,
       LLC)
 996. Wilkes-Barre Radiation Oncology, LLC
 997. Windmill Realty, LLC
 998. WOODSIDE PHARMACY (GLASGOW)
       LIMITED, Scotland
 999. World Medical Government Solutions,
       LLC
 1000. WorldMed Shared Services, Inc.
 1001. WZ-WundZentren GmbH, AG Düsseldorf
 1002. Ybbstal-Apotheke Mag.pharm. Adelheid
       Tazreiter KG, LG St. Pölten
 1003. Zeepro, Inc.




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                                            EXHIBIT K

                           Subdivision Settlement Participation Form

  Governmental Entity:                                                  State:
  Authorized Official:
  Address 1:
  Address 2:
  City, State, Zip:
  Phone:
  Email:

        The governmental entity identified above (“Governmental Entity”), in order to obtain and
 in consideration for the benefits provided to the Governmental Entity pursuant to the Settlement
 Agreement dated July 21, 2021 (“Distributor Settlement”), and acting through the undersigned
 authorized official, hereby elects to participate in the Distributor Settlement, release all Released
 Claims against all Released Entities, and agrees as follows.

    1. The Governmental Entity is aware of and has reviewed the Distributor Settlement,
       understands that all terms in this Participation Form have the meanings defined therein,
       and agrees that by signing this Participation Form, the Governmental Entity elects to
       participate in the Distributor Settlement and become a Participating Subdivision as
       provided therein.

    2. The Governmental Entity shall, within 14 days of the Reference Date and prior to the
       filing of the Consent Judgment, secure the dismissal with prejudice of any Released
       Claims that it has filed.

    3. The Governmental Entity agrees to the terms of the Distributor Settlement pertaining to
       Subdivisions as defined therein.

    4. By agreeing to the terms of the Distributor Settlement and becoming a Releasor, the
       Governmental Entity is entitled to the benefits provided therein, including, if applicable,
       monetary payments beginning after the Effective Date.

    5. The Governmental Entity agrees to use any monies it receives through the Distributor
       Settlement solely for the purposes provided therein.

    6. The Governmental Entity submits to the jurisdiction of the court in the Governmental
       Entity’s state where the Consent Judgment is filed for purposes limited to that court’s role
       as provided in, and for resolving disputes to the extent provided in, the Distributor
       Settlement. The Governmental Entity likewise agrees to arbitrate before the National
       Arbitration Panel as provided in, and for resolving disputes to the extent otherwise
       provided in, the Distributor Settlement.




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    7. The Governmental Entity has the right to enforce the Distributor Settlement as provided
       therein.

    8. The Governmental Entity, as a Participating Subdivision, hereby becomes a Releasor for
       all purposes in the Distributor Settlement, including, but not limited to, all provisions of
       Part XI, and along with all departments, agencies, divisions, boards, commissions,
       districts, instrumentalities of any kind and attorneys, and any person in their official
       capacity elected or appointed to serve any of the foregoing and any agency, person, or
       other entity claiming by or through any of the foregoing, and any other entity identified in
       the definition of Releasor, provides for a release to the fullest extent of its authority. As a
       Releasor, the Governmental Entity hereby absolutely, unconditionally, and irrevocably
       covenants not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or
       claimed, or to otherwise seek to establish liability for any Released Claims against any
       Released Entity in any forum whatsoever. The releases provided for in the Distributor
       Settlement are intended by the Parties to be broad and shall be interpreted so as to give
       the Released Entities the broadest possible bar against any liability relating in any way to
       Released Claims and extend to the full extent of the power of the Governmental Entity to
       release claims. The Distributor Settlement shall be a complete bar to any Released
       Claim.

    9. The Governmental Entity hereby takes on all rights and obligations of a Participating
       Subdivision as set forth in the Distributor Settlement.

    10. In connection with the releases provided for in the Distributor Settlement, each
        Governmental Entity expressly waives, releases, and forever discharges any and all
        provisions, rights, and benefits conferred by any law of any state or territory of the
        United States or other jurisdiction, or principle of common law, which is similar,
        comparable, or equivalent to § 1542 of the California Civil Code, which reads:


           General Release; extent. A general release does not extend to claims that
           the creditor or releasing party does not know or suspect to exist in his or
           her favor at the time of executing the release, and that if known by him or
           her would have materially affected his or her settlement with the debtor or
           released party.

       A Releasor may hereafter discover facts other than or different from those which it
       knows, believes, or assumes to be true with respect to the Released Claims, but each
       Governmental Entity hereby expressly waives and fully, finally, and forever settles,
       releases and discharges, upon the Effective Date, any and all Released Claims that may
       exist as of such date but which Releasors do not know or suspect to exist, whether
       through ignorance, oversight, error, negligence or through no fault whatsoever, and
       which, if known, would materially affect the Governmental Entities’ decision to
       participate in the Distributor Settlement.




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    11. Nothing herein is intended to modify in any way the terms of the Distributor Settlement,
        to which Governmental Entity hereby agrees. To the extent this Participation Form is
        interpreted differently from the Distributor Settlement in any respect, the Distributor
        Settlement controls.

 I have all necessary power and authorization to execute this Participation Form on behalf of the
 Governmental Entity.

                                      Signature:      _____________________________

                                      Name:           _____________________________

                                      Title:          _____________________________

                                      Date:           _____________________________




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                                           EXHIBIT L

                                 Settlement Fund Administrator

 This Exhibit L will be appended to the Agreement prior to the Initial Participation Date pursuant
 to Section I.MMM.




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                                                                                                                                                                                                             EXHIBIT M

                                                                                                                                                                                              Settlement Payment Schedule
The below reflects the maximum payment if all States become Settling States and no offsets or reductions pursuant to this Agreement apply.

The text of this Agreement explains the terms, conditions, and underlying calculations for each of these Payments.




                                        Payment 1             Payment 2            Payment 3         Payment 4         Payment 5         Payment 6         Payment 7         Payment 8         Payment 9        Payment 10        Payment 11        Payment 12        Payment 13        Payment 14        Payment 15        Payment 16        Payment 17        Payment 18             Total
Resitution/Abatement                  $792,612,857.89       $832,997,473.28      $832,997,473.28 $1,042,614,337.16 $1,042,614,337.15 $1,042,614,337.15 $1,042,614,337.15 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44   $18,554,013,691.11
  Base                                $458,881,128.25       $482,261,695.06      $482,261,695.06  $603,618,826.78   $603,618,826.77   $562,304,221.38   $562,304,221.38   $668,613,860.15   $668,613,860.15   $668,613,860.15   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87    $10,204,707,530.09
  Bonus A                             $333,731,729.64       $350,735,778.22      $350,735,778.22  $438,995,510.38   $438,995,510.38   $408,948,524.64   $408,948,524.64   $486,264,625.57   $486,264,625.57   $486,264,625.57   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45     $7,421,605,476.43
     Bonus B                          $208,582,331.02       $219,209,861.39      $219,209,861.39  $274,372,193.99   $274,372,193.99   $255,592,827.90   $255,592,827.90   $303,915,390.98   $303,915,390.98   $303,915,390.98   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03     $4,638,503,422.77
     Bonus C                          $125,149,398.61       $131,525,916.83      $131,525,916.83  $164,623,316.39   $164,623,316.39   $153,355,696.74   $153,355,696.74   $182,349,234.59   $182,349,234.59   $182,349,234.59   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42     $2,783,102,053.66
  Bonus D                                                                                                                              $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12      $927,700,684.60

Additional Restitution Amount          $64,615,384.62  $113,076,923.08   $105,000,000.00              $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $282,692,307.70
State Cost Fund                        $56,538,461.54             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00              $56,538,461.54
State Outside Counsel Fee Fund       $136,044,378.70   $129,230,769.23     $17,417,159.76             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $282,692,307.70
Attorney Fee Fund                    $136,044,378.70   $150,934,911.25   $270,825,443.80   $183,625,739.68   $183,625,739.69   $183,625,739.69   $183,625,739.69              $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00           $1,292,307,692.51
MDL Expense Fund                       $40,384,615.39             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00              $40,384,615.39
Litigating Subdivision Cost Fund       $40,000,000.00    $40,000,000.00    $40,000,000.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $120,000,000.00
Total Payment                       $1,266,240,076.84 $1,266,240,076.84 $1,266,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44          $20,628,629,075.93 Max After Credit
                                                                                                                                                                                                                                                                                                                                                                                    $491,370,923.07 Tribal/W. Va. Credit
                                                                                                                                                                                                                                                                                                                                                                                 $21,119,999,999.00 Global Settlement Amount




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                                    EXHIBIT N

                      Additional Restitution Amount Allocation

                     American Samoa               0.0269444247%
                           Arizona                3.6430210329%
                         California              16.2669545320%
                          Colorado                2.7085512198%
                        Connecticut               2.1096636070%
                    District of Columbia          0.3322525916%
                            Guam                  0.0804074609%
                           Illinois               5.4255643065%
                            Iowa                  1.2999070108%
                           Kansas                 1.3410510698%
                         Louisiana                2.3525361878%
                           Maine                  0.9038789471%
                         Maryland                 3.2974316916%
                       Massachusetts              3.6093694218%
                         Minnesota                2.1790874099%
                          Missouri                3.1849331362%
                    N. Mariana Islands            0.0285222675%
                          Nebraska                0.7246475605%
                         New Jersey               4.3741379541%
                         New York                 9.7303039729%
                      North Carolina              5.1803544928%
                       North Dakota               0.3171626484%
                           Oregon                 2.2051475878%
                       Pennsylvania               7.0279415168%
                         Tennessee                4.2216179010%
                            Texas                10.4894528864%
                       Virgin Islands             0.0544915651%
                          Virginia                3.7333854452%
                         Wisconsin                2.8360231633%
                          Wyoming                 0.3152569876%




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                                                  EXHIBIT O

                               Adoption of a State-Subdivision Agreement

         A State-Subdivision Agreement shall be applied if it meets the requirements of Section V
 and is approved by the State and by the State’s Subdivisions as follows:

 1. Requirements for Approval. A State-Subdivision Agreement shall be agreed when it has been
 approved by the State and either (a) Subdivisions whose aggregate “Population Percentages,”
 determined as set forth below, total more than sixty percent (60%), or (b) Subdivisions whose
 aggregate Population Percentages total more than fifty percent (50%) provided that these
 Subdivisions also represent fifteen percent (15%) or more of the State’s counties or parishes (or,
 in the case of Settling States whose counties and parishes that do not function as local
 governments, fifteen percent (15%) of or more of the Settling State’s General Purpose
 Governments that qualify as Subdivisions), by number.

 2. Approval Authority. Approval by the State shall be by the Attorney General. Approval by a
 Subdivision shall be by the appropriate official or legislative body pursuant to the required
 procedures for that Subdivision to agree to a legally binding settlement.

 3. Population Percentage Calculation. For purposes of this Exhibit O only, Population
 Percentages shall be determined as follows: For States with functional counties or parishes17, the
 Population Percentage of each county or parish shall be deemed to be equal to (a) (1) two
 hundred percent (200%) of the population of such county or parish, minus (2) the aggregate
 population of all Primary Incorporated Municipalities located in such county or parish, divided
 by (b) two hundred percent (200%) of the State’s population. A “Primary Incorporated
 Municipality” means a city, town, village or other municipality incorporated under applicable
 state law with a population of at least 25,000 that is not located within another incorporated
 municipality. The Population Percentage of each Primary Incorporated Municipality shall be
 equal to its population (including the population of any incorporated or unincorporated
 municipality located therein) divided by two hundred percent (200%) of the State’s population;
 provided that the Population Percentage of a Primary Incorporated Municipality that is not
 located within a county shall be equal to two hundred percent (200%) of its population
 (including the population of any incorporated or unincorporated municipality located therein)
 divided by two hundred percent (200%) of the State’s population. For all States that do not have
 functional counties or parishes, the Population Percentage of each General Purpose Government
 (including any incorporated or unincorporated municipality located therein), shall be equal to its
 population divided by the State’s population.

 4. Preexisting Agreements and Statutory Provisions. A State may include with the notice to its
 Subdivisions an existing agreement, a proposed agreement, or statutory provisions regarding the
 distribution and use of settlement funds and have the acceptance of such an agreement or
 statutory provision be part of the requirements to be an Initial Participating Subdivision.



  Certain states do not have counties or parishes that have functional governments, including: Alaska, Connecticut,
 17

 Massachusetts, Rhode Island, and Vermont.


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 5. Revised Agreements. A State-Subdivision Agreement that has been revised, supplemented, or
 refined shall be applied if it meets the requirements of Section V and is approved by the State
 and by the State’s Subdivisions pursuant to the terms above.




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                                        EXHIBIT P

                                      Injunctive Relief

 I.     INTRODUCTION

        A.   Within ninety (90) days of the Effective Date unless otherwise set forth herein,
             each Injunctive Relief Distributor shall implement the injunctive relief terms set
             forth in Sections II through XIX (the “Injunctive Relief Terms”) in its Controlled
             Substance Monitoring Program (“CSMP”).

        B.   The Effective Date of these Injunctive Relief Terms shall be defined by Section
             I.P of the Settlement Agreement, dated as of July 21, 2021, which incorporates
             these Injunctive Relief Terms as Exhibit P.

 II.    TERM AND SCOPE

        A.   The duration of the Injunctive Relief Terms contained in Sections IV through XVI
             shall be ten (10) years from the Effective Date.

        B.   McKesson Corporation, Cardinal Health, Inc., and AmerisourceBergen
             Corporation are referred to collectively throughout these Injunctive Relief Terms
             as the “Injunctive Relief Distributors” or individually as an “Injunctive Relief
             Distributor.” Each Injunctive Relief Distributor is bound by the terms herein.

        C.   The requirements contained in Sections VIII through XV shall apply to the
             distribution of Controlled Substances to Customers by each Injunctive Relief
             Distributor’s Full-Line Wholesale Pharmaceutical Distribution Business,
             including by any entities acquired by the Injunctive Relief Distributors that are
             engaged in the Full-Line Wholesale Pharmaceutical Distribution Business. The
             prior sentence is not limited to activity physically performed at each Injunctive
             Relief Distributor’s distribution centers and includes activity covered by the prior
             sentence performed by each Injunctive Relief Distributor at any physical location,
             including at its corporate offices or at the site of a Customer with respect to
             Sections III through XV.

 III.   DEFINITIONS

        A.   “Audit Report.” As defined in Section XVIII.H.3.

        B.   “Chain Customers.” Chain retail pharmacies that have centralized corporate
             headquarters and have multiple specific retail pharmacy locations from which
             Controlled Substances are dispensed to individual patients.

        C.   “Chief Diversion Control Officer.” As defined in Section IV.A.

        D.   “Clearinghouse.” The system established by Section XVII.



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       E.    “Clearinghouse Advisory Panel.” As defined in Section XVII.B.4.

       F.    “Controlled Substances.” Those substances designated under schedules II-V
             pursuant to the federal Controlled Substances Act and the laws and regulations of
             the Settling States that incorporate federal schedules II-V. For purposes of the
             requirements of the Injunctive Relief Terms, Gabapentin shall be treated as a
             Controlled Substance, except for purposes of Section XII for Customers located in
             States that do not regulate it as a controlled substance or similar designation (e.g.,
             drug of concern).

       G.    “Corrective Action Plan.” As defined in Section XIX.B.7.b.

       H.    “CSMP.” As defined in Section I.A.

       I.    “CSMP Committee.” As defined in Section VI.A.

       J.    “Customers.” Refers collectively to current, or where applicable potential, Chain
             Customers and Independent Retail Pharmacy Customers. “Customers” do not
             include long-term care facilities, hospital pharmacies, and pharmacies that serve
             exclusively inpatient facilities.

       K.    “Data Security Event.” Refers to any compromise, or threat that gives rise to a
             reasonable likelihood of compromise, by unauthorized access or inadvertent
             disclosure impacting the confidentiality, integrity, or availability of Dispensing
             Data.

       L.    “Dispensing Data.” Includes, unless altered by the Clearinghouse Advisory Panel:
             (i) unique patient IDs; (ii) patient zip codes; (iii) the dates prescriptions were
             dispensed; (iv) the NDC numbers of the drugs dispensed; (v) the quantities of
             drugs dispensed; (vi) the day’s supply of the drugs dispensed; (vii) the methods of
             payment for the drugs dispensed; (viii) the prescribers’ names; (ix) the
             prescribers’ NPI or DEA numbers; and (x) the prescribers’ zip codes or addresses.
             The Clearinghouse will be solely responsible for collecting Dispensing Data.

       M.    “Draft Report.” As defined in Section XVIII.H.1.

       N.    “Effective Date.” As defined in Section I.B.

       O.    “Full-Line Wholesale Pharmaceutical Distribution Business.” Activity engaged
             in by distribution centers with a primary business of supplying a wide range of
             branded, generic, over-the-counter and specialty pharmaceutical products to
             Customers.

       P.    “Highly Diverted Controlled Substances.” Includes: (i) oxycodone; (ii)
             hydrocodone; (iii) hydromorphone; (iv) tramadol; (v) oxymorphone; (vi)
             morphine; (vii) methadone; (viii) carisoprodol; (ix) alprazolam; and (x) fentanyl.
             The Injunctive Relief Distributors shall confer annually and review this list to
             determine whether changes are appropriate and shall add Controlled Substances to


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             the list of Highly Diverted Controlled Substances as needed based on information
             provided by the DEA and/or other sources related to drug diversion trends. The
             Injunctive Relief Distributors shall notify the State Compliance Review
             Committee and the Monitor of any additions to the list of Highly Diverted
             Controlled Substances. Access to Controlled Substances predominately used for
             Medication-Assisted Treatment shall be considered when making such additions.

       Q.    “Independent Retail Pharmacy Customers.” Retail pharmacy locations that do not
             have centralized corporate headquarters and dispense Controlled Substances to
             individual patients.

       R.    “Injunctive Relief Distributors.” As defined in Section II.B.

       S.    “Injunctive Relief Terms.” As defined in Section I.A.

       T.    “Monitor.” As defined in Section XVIII.A.

       U.    “National Arbitration Panel.” As defined by Section I.GG of the Settlement
             Agreement, dated as of July 21, 2021, which incorporates these Injunctive Relief
             Terms as Exhibit P.

       V.    “NDC.” National Drug Code.

       W.    “non-Controlled Substance.” Prescription medications that are not Controlled
             Substances.

       X.    “Notice of Potential Violation.” As defined in Section XIX.B.2.

       Y.    “Order.” A unique Customer request on a specific date for (i) a certain amount of
             a specific dosage form or strength of a Controlled Substance or (ii) multiple
             dosage forms and/or strengths of a Controlled Substance. For the purposes of this
             definition, each line item on a purchasing document or DEA Form 222 is a
             separate order, except that a group of line items either in the same drug family or
             DEA base code (based upon the structure of a Injunctive Relief Distributor’s
             CSMP) may be considered to be a single order.

       Z.    “Pharmacy Customer Data.” Aggregated and/or non-aggregated data provided by
             the Customer for a 90-day period.

             1.     To the extent feasible based on the functionality of a Customer’s
                    pharmacy management system, Pharmacy Customer Data shall contain
                    (or, in the case of non-aggregated data, shall be sufficient to determine)
                    the following:

                    a)      A list of the total number of prescriptions and dosage units for each
                            NDC for all Controlled Substances and non-Controlled
                            Substances;



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                    b)     A list of the top five prescribers of each Highly Diverted
                           Controlled Substance by dosage volume and the top ten prescribers
                           of all Highly Diverted Controlled Substances combined by dosage
                           volume. For each prescriber, the data shall include the following
                           information:

                           (1)     Number of prescriptions and doses prescribed for each
                                   Highly Diverted Controlled Substance NDC;

                           (2)     Number of prescriptions for each unique dosage amount
                                   (number of pills per prescription) for each Highly Diverted
                                   Controlled Substance NDC;

                           (3)     Prescriber name, DEA registration number, and address;
                                   and

                           (4)     Medical practice/specialties, if available;

                    c)     Information on whether the method of payment was cash for (a)
                           Controlled Substances, and (b) non-Controlled Substances; and

                    d)     Information on top ten patient residential areas by five-digit ZIP
                           code prefix for filled Highly Diverted Controlled Substances by
                           dosage volume, including number of prescriptions and doses for
                           each Highly Diverted Controlled Substance NDC.

             2.     Injunctive Relief Distributors are not required to obtain Pharmacy
                    Customer Data for all Customers. Pharmacy Customer Data only needs to
                    be obtained under circumstances required by the Injunctive Relief Terms
                    and the applicable CSMP policies and procedures. Each Injunctive Relief
                    Distributor’s CSMP policies and procedures shall describe the appropriate
                    circumstances under which and methods to be used to obtain and analyze
                    Pharmacy Customer Data.

             3.     Injunctive Relief Distributors shall only collect, use, disclose or retain
                    Pharmacy Customer Data consistent with applicable federal and state
                    privacy and consumer protections laws. Injunctive Relief Distributors
                    shall not be required to collect, use, disclose or retain any data element
                    that is prohibited by law or any element that would require notice to or
                    consent from the party who is the subject of the data element, including,
                    but not limited to, a third party (such as a prescriber) to permit collection,
                    use, disclosure and/or retention of the data.

       AA.   “Potential Violation.” As defined in Section XIX.B.1.

       BB.   “Reporting Periods.” As defined in Section XVIII.C.1.




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       CC.   “Settling State.” As defined by Section I.OOO of the Settlement Agreement, dated
             as of July 21, 2021, which incorporates these Injunctive Relief Terms as
             Exhibit P.

       DD.   “State Compliance Review Committee.” The initial State Compliance Review
             Committee members are representatives from the Attorneys General Offices of
             Connecticut, Florida, New York, North Carolina, Tennessee, and Texas. The
             membership of the State Compliance Review Committee may be amended at the
             discretion of the Settling States.

       EE.   “Suspicious Orders.” As defined under federal law and regulation and the laws
             and regulations of the Settling States that incorporate the federal Controlled
             Substances Act. Suspicious Orders currently include, but are not limited to, orders
             of unusual size, orders deviating substantially from a normal pattern, and orders
             of unusual frequency.

       FF.   “Threshold.” The total volume of a particular drug family, DEA base code, or a
             particular formulation of a Controlled Substance that an Injunctive Relief
             Distributor shall allow a Customer to purchase in any particular period. This term
             may be reassessed during Phase 2-B of the Clearinghouse.

       GG.   “Third Party Request.” A request from an entity other than an Injunctive Relief
             Distributor, a Settling State, or the Monitor pursuant to a subpoena, court order,
             data practices act, freedom of information act, public information act, public
             records act, or similar law.

       HH.   “Top Prescriber.” A prescriber who, for a Customer, is either (i) among the top
             five (5) prescribers of each Highly Diverted Controlled Substance or (ii) among
             the top ten (10) prescribers of Highly Diverted Controlled Substances combined,
             as determined from the most recent Pharmacy Customer Data for that Customer.

 IV.   CSMP PERSONNEL

       A.    Each Injunctive Relief Distributor shall establish or maintain the position of Chief
             Diversion Control Officer, or other appropriately titled position, to oversee the
             Injunctive Relief Distributor’s CSMP. The Chief Diversion Control Officer shall
             have appropriate experience regarding compliance with the laws and regulations
             concerning Controlled Substances, in particular laws and regulations requiring
             effective controls against the potential diversion of Controlled Substances. The
             Chief Diversion Control Officer shall report directly to either the senior executive
             responsible for U.S. pharmaceutical distribution or the most senior legal officer at
             the Injunctive Relief Distributor.

       B.    The Chief Diversion Control Officer shall be responsible for the approval of
             material revisions to the CSMP.

       C.    The Chief Diversion Control Officer shall provide at least quarterly reports to the
             CSMP Committee regarding the Injunctive Relief Distributor’s operation of the


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             CSMP, including the implementation of any changes to the CSMP required by
             these Injunctive Relief Terms.

       D.    An Injunctive Relief Distributor’s CSMP functions, including, but not limited to,
             the onboarding and approval of new Customers for the sale of Controlled
             Substances, setting and adjusting Customer Thresholds for Controlled Substances,
             terminating or suspending Customers, and submitting Suspicious Orders and other
             reports to Settling States (or the Clearinghouse, when operational), but excluding
             support necessary to perform these functions, shall be conducted exclusively by
             the Injunctive Relief Distributor’s CSMP personnel or qualified third-party
             consultants.

       E.    Staffing levels of each Injunctive Relief Distributor’s CSMP department shall be
             reviewed periodically, but at least on an annual basis, by the Injunctive Relief
             Distributor’s CSMP Committee. This review shall include consideration of
             relevant developments in technology, law, and regulations to ensure the necessary
             resources are in place to carry out the program in an effective manner.

       F.    Personnel in an Injunctive Relief Distributor’s CSMP department shall not report
             to individuals in an Injunctive Relief Distributor’s sales department, and sales
             personnel shall not be authorized to make decisions regarding the promotion,
             compensation, demotion, admonition, discipline, commendation, periodic
             performance reviews, hiring, or firing of CSMP personnel.

       G.    The CSMP policies and procedures shall be published in a form and location
             readily accessible to all CSMP personnel at each Injunctive Relief Distributor.

 V.    INDEPENDENCE

       A.    For each Injunctive Relief Distributor, sales personnel compensated with
             commissions shall not be compensated based on revenue or profitability targets or
             expectations for sales of Controlled Substances. However, each Injunctive Relief
             Distributor’s personnel may, as applicable, be compensated (including incentive
             compensation) based on formulas that include total sales for all of the Injunctive
             Relief Distributor’s products, including Controlled Substances. The compensation
             of sales personnel shall not include incentive compensation tied solely to sales of
             Controlled Substances.

       B.    For any Injunctive Relief Distributor personnel who are compensated at least in
             part based on Customer sales, the Injunctive Relief Distributor shall ensure the
             compensation of such personnel is not decreased by a CSMP-related suspension
             or termination of a Customer or as a direct result of the reduction of sales of
             Controlled Substances to a Customer pursuant to the CSMP.

       C.    The Injunctive Relief Distributors’ sales personnel shall not be authorized to
             make decisions regarding the implementation of CSMP policies and procedures,
             the design of the CSMP, the setting or adjustment of Thresholds, or other actions



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             taken pursuant to the CSMP, except sales personnel must provide information
             regarding compliance issues to CSMP personnel promptly. The Injunctive Relief
             Distributors’ sales personnel are prohibited from interfering with, obstructing, or
             otherwise exerting control over any CSMP department decision-making.

       D.    Each Injunctive Relief Distributor shall review its compensation and non-
             retaliation policies and, if necessary, modify and implement changes to those
             policies to effectuate the goals of, and incentivize compliance with, the CSMP.

       E.    Each Injunctive Relief Distributor shall maintain a telephone, email, and/or web-
             based “hotline” to permit employees and/or Customers to anonymously report
             suspected diversion of Controlled Substances or violations of the CSMP,
             Injunctive Relief Distributor company policy related to the distribution of
             Controlled Substances, or applicable law. Each Injunctive Relief Distributor shall
             share the hotline contact information with their employees and Customers. Each
             Injunctive Relief Distributor shall maintain all complaints made to the hotline,
             and document the determinations and bases for those determinations made in
             response to all complaints.

 VI.   OVERSIGHT

       A.    To the extent not already established, each Injunctive Relief Distributor shall
             establish a committee that includes senior executives with responsibility for legal,
             compliance, distribution and finance to provide oversight over its CSMP (the
             “CSMP Committee”). The Chief Diversion Control Officer shall be a member of
             the CSMP Committee. The CSMP Committee shall not include any employee(s)
             or person(s) performing any sales functions on behalf of the Injunctive Relief
             Distributor; provided that service on the CSMP Committee by any senior
             executives listed in this paragraph whose responsibilities may include, but are not
             limited to, management of sales functions shall not constitute a breach of the
             Injunctive Relief Terms.

       B.    Each Injunctive Relief Distributor’s CSMP Committee shall have regular
             meetings during which the Chief Diversion Control Officer shall present to the
             CSMP Committee with respect to, and the CSMP Committee shall evaluate,
             among other things: (1) any material modifications and potential enhancements to
             the CSMP including, but not limited to, those relating to Customer due diligence
             and Suspicious Order monitoring and reporting; (2) any significant new national
             and regional diversion trends involving Controlled Substances; (3) the Injunctive
             Relief Distributor’s adherence to the CSMP policies and procedures, the
             Injunctive Relief Terms, and applicable laws and regulations governing the
             distribution of Controlled Substances; and (4) any technology, staffing, or other
             resource needs for the CSMP. The CSMP Committee shall have access to all
             CSMP reports. The CSMP Committee will review and approve the specific
             metrics used to identify the Red Flags set forth in Section VIII.




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        C.   On a quarterly basis, each Injunctive Relief Distributor’s CSMP Committee shall
             send a written report to the Injunctive Relief Distributor’s Chief Executive, Chief
             Financial, and Chief Legal Officer, as well as its Board of Directors, addressing:
             (1) the Injunctive Relief Distributor’s substantial adherence to the CSMP policies
             and procedures, the Injunctive Relief Terms, and applicable laws and regulations
             governing the distribution of Controlled Substances; (2) recommendations as
             appropriate about the allocation of resources to ensure the proper functioning of
             the Injunctive Relief Distributor’s CSMP; and (3) significant revisions to the
             CSMP. The Board of Directors or a committee thereof at each Injunctive Relief
             Distributor shall document in its minutes its review of the quarterly CSMP
             Committee reports.

        D.   To the extent not already established, the Board of Directors of each Injunctive
             Relief Distributor shall establish its own compliance committee (the “Board
             Compliance Committee”) to evaluate, at a minimum, and on a quarterly basis: (1)
             the CSMP Committee’s written reports; (2) the Injunctive Relief Distributor’s
             substantial adherence to the CSMP policies and procedures, the Injunctive Relief
             Terms, and applicable laws and regulations governing the distribution of
             Controlled Substances; (3) the Injunctive Relief Distributor’s code of conduct and
             any whistleblower reporting policies, including those prescribed by Section V.E;
             and (4) any significant regulatory and/or government enforcement matters within
             the review period relating to the distribution of Controlled Substances. An
             Injunctive Relief Distributor meets this requirement if it established, prior to the
             Effective Date, multiple committees of its Board of Directors that together have
             responsibilities outlined in this paragraph.

        E.   The Board Compliance Committee shall have the authority to: (1) require
             management of the Injunctive Relief Distributor to conduct audits on any CSMP
             or legal and regulatory concern pertaining to Controlled Substances distribution,
             and to update its full Board of Directors on those audits; (2) to commission
             studies, reviews, reports, or surveys to evaluate the Injunctive Relief Distributor’s
             CSMP performance; (3) request meetings with the Injunctive Relief Distributor’s
             management and CSMP staff; and (4) review the appointment, compensation,
             performance, and replacement of the Injunctive Relief Distributor’s Chief
             Diversion Control Officer.

 VII.   MANDATORY TRAINING

        A.   Each Injunctive Relief Distributor shall require all new CSMP personnel to attend
             trainings on its CSMP, its obligations under the Injunctive Relief Terms, and its
             duties with respect to maintaining effective controls against potential diversion of
             Controlled Substances and reporting Suspicious Orders pursuant to state and
             federal laws and regulations prior to conducting any compliance activities for the
             Injunctive Relief Distributor without supervision.

        B.   Each Injunctive Relief Distributor shall provide annual trainings to CSMP
             personnel on its CSMP, its obligations under the Injunctive Relief Terms, and its


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             duties to maintain effective controls against potential diversion of Controlled
             Substances and report Suspicious Orders pursuant to state and federal laws and
             regulations.

       C.    On an annual basis, each Injunctive Relief Distributor shall test its CSMP
             personnel on their knowledge regarding its CSMP, its obligations under the
             Injunctive Relief Terms, and its duties to maintain effective controls against
             potential diversion of Controlled Substances and to report Suspicious Orders
             pursuant to state and federal laws and regulations.

       D.    Each Injunctive Relief Distributor shall train all third-party compliance
             consultants (defined as non-employees who are expected to devote fifty percent
             (50%) or more of their time to performing work related to the Injunctive Relief
             Distributor’s CSMP, excluding information technology consultants not engaged
             in substantive functions related to an Injunctive Relief Distributor’s CSMP)
             performing compliance functions for the Injunctive Relief Distributor in the same
             manner as the Injunctive Relief Distributor’s CSMP personnel.

       E.    At least every three (3) years in the case of existing employees, and within the
             first six months of hiring new employees, each Injunctive Relief Distributor shall
             require operations, sales, and senior executive employees to attend trainings on its
             CSMP, its obligations under the Injunctive Relief Terms, the hotline established
             in Section V.E, and its duties to maintain effective controls against potential
             diversion of Controlled Substances and report Suspicious Orders pursuant to state
             and federal laws and regulations.

 VIII. RED FLAGS

       A.    Within one hundred and twenty days (120) of the Effective Date, each Injunctive
             Relief Distributor shall, at a minimum, apply specific metrics to identify the
             potential Red Flags described in Section VIII.D with respect to Independent
             Retail Pharmacy Customers. For Chain Customers, the metrics used to identify
             the Red Flags described in Section VIII.D may be adjusted based on the specific
             business model and supplier relationships of the Chain Customer.

       B.    Each Injunctive Relief Distributor shall evaluate and, if necessary, enhance or
             otherwise adjust the specific metrics it uses to identify Red Flags set forth in
             Section VIII.D.

       C.    Each Injunctive Relief Distributor shall provide annually to the Monitor the
             specific metrics it uses to identify Red Flags as set forth in Section VIII.D. The
             Monitor shall review the metrics used to identify Red Flags as set forth in Section
             VIII.D to assess whether the metrics are reasonable. The Monitor may, at its
             discretion, suggest revisions to the metrics in the annual Audit Report as part of
             the Red Flags Review set forth in Section XVIII.F.3.f. Each Injunctive Relief
             Distributor may rely on its specific metrics to comply with the requirements of




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             Section VIII unless and until the Monitor proposes a revised metric in connection
             with Section XVIII.H.

       D.    For purposes of the Injunctive Relief Terms, “Red Flags” are defined as follows:

             1.     Ordering ratio of Highly Diverted Controlled Substances to non-
                    Controlled Substances: Analyze the ratio of the order volume of all
                    Highly Diverted Controlled Substances to the order volume of all non-
                    Controlled Substances to identify Customers with significant rates of
                    ordering Highly Diverted Controlled Substances.

             2.     Ordering ratio of Highly Diverted Controlled Substance base codes or
                    drug families to non-Controlled Substances: Analyze the ratio of the
                    order volume of each Highly Diverted Controlled Substance base code or
                    drug family to the total order volume of all non-Controlled Substances to
                    identify Customers with significant rates of ordering each Highly Diverted
                    Controlled Substance base code or drug family.

             3.     Excessive ordering growth of Controlled Substances: Analyze
                    significant increases in the ordering volume of Controlled Substances
                    using criteria to identify customers that exhibit percentage growth of
                    Controlled Substances substantially in excess of the percentage growth of
                    non-Controlled Substances.

             4.     Unusual formulation ordering: Analyze ordering of Highly Diverted
                    Controlled Substances to identify customers with significant ordering of
                    high-risk formulations. High-risk formulations include, but are not limited
                    to, 10mg hydrocodone, 8mg hydromorphone, 2mg alprazolam, single-
                    ingredient buprenorphine (i.e., buprenorphine without naloxone), and
                    highly-abused formulations of oxycodone. On an annual basis (or as
                    otherwise necessary), high-risk formulations of Highly Diverted
                    Controlled Substances may be added, removed, or revised based on the
                    Injunctive Relief Distributors’ assessment and regulatory guidance.

             5.     Out-of-area patients: Analyze Pharmacy Customer Data or Dispensing
                    Data to assess volume of prescriptions for Highly Diverted Controlled
                    Substances for out-of-area patients (based on number of miles traveled
                    between a patient’s zip code and the pharmacy location, depending on the
                    geographic area of interest) taking into consideration the percentage of
                    out-of-area patients for non-Controlled Substances.

             6.     Cash prescriptions: Analyze Pharmacy Customer Data or Dispensing
                    Data to assess percentage of cash payments for purchases of Controlled
                    Substances taking into consideration the percentage of cash payments for
                    purchases of non-Controlled Substances.




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             7.     Prescriber activity of Customers: Analyze Pharmacy Customer Data or
                    Dispensing Data to identify Customers that are dispensing Highly
                    Diverted Controlled Substance prescriptions for Top Prescribers as
                    follows:

                    a)     Top Prescribers representing a significant volume of dispensing
                           where the prescriber’s practice location is in excess of 50 miles
                           from the pharmacy (“out-of-area”), relative to the percentage of
                           out-of-area prescriptions for non-Controlled Substances.

                    b)     Top Prescribers representing prescriptions for the same Highly
                           Diverted Controlled Substances in the same quantities and dosage
                           forms indicative of pattern prescribing (e.g., a prescriber providing
                           many patients with the same high-dose, high-quantity supply of
                           30mg oxycodone HCL prescription without attention to the
                           varying medical needs of the prescriber’s patient population).

                    c)     Top Prescribers where the top five (5) or fewer prescribers
                           represent more than fifty percent (50%) of total prescriptions for
                           Highly Diverted Controlled Substances during a specified period.

             8.     Public regulatory actions against Customers: Review information
                    retrieved from companies that provide licensing and disciplinary history
                    records (e.g., LexisNexis), and/or other public sources, including
                    governmental entities, showing that the Customer, pharmacists working
                    for that Customer, or the Customer’s Top Prescribers have been subject, in
                    the last five (5) years, to professional disciplinary sanctions regarding the
                    dispensing or handling of Controlled Substances or law enforcement
                    action related to Controlled Substances diversion. Continued licensing by
                    a relevant state agency may be considered, but shall not be dispositive, in
                    resolving the Red Flag. For Chain Customer locations, representations
                    from each Chain Customer that it reviews its pharmacists’ licensing
                    statuses annually and for the regulatory actions described in this paragraph
                    has either (i) taken appropriate employment action, or (ii) disclosed the
                    regulatory action to the Injunctive Relief Distributor, may be considered in
                    resolving the Red Flag.

             9.     Customer termination data: Review information from the Injunctive
                    Relief Distributor’s due diligence files and, when operable, from the
                    Clearinghouse, subject to Section VIII.F, regarding Customers that have
                    been terminated from ordering Controlled Substances by another
                    distributor due to concerns regarding Controlled Substances.

       E.    For any Red Flag evaluation in Section VIII.D that may be performed using
             Pharmacy Customer Data or Dispensing Data, an Injunctive Relief Distributor
             will analyze the Red Flag using Pharmacy Customer Data, to the extent feasible
             based on the functionality of a Customer’s pharmacy management system, until


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             Dispensing Data is collected and analyzed by the Clearinghouse as described in
             Section XVII. Until Dispensing Data is collected and analyzed by the
             Clearinghouse, an Injunctive Relief Distributor may satisfy the Red Flag
             evaluations in Sections VIII.D.5 through VIII.D.7 by engaging in considerations
             of out-of-area patients, cash payments for prescriptions and Top Prescribers
             without satisfying the specific requirements of Sections VIII.D.5 through
             VIII.D.7. In the event that the Clearinghouse is not collecting and analyzing
             Dispensing Data within two years of the Effective Date, the Injunctive Relief
             Distributors and the State Compliance Review Committee shall meet and confer
             to consider alternatives for the performance of the analysis required by Sections
             VIII.D.5 through VIII.D.7 using Pharmacy Customer Data.

       F.    As provided for in Section XVII.C.4, the foregoing Red Flag evaluations may be
             performed by the Clearinghouse and reported to the relevant Injunctive Relief
             Distributors.

       G.    The Injunctive Relief Distributors and the State Compliance Review Committee
             shall work in good faith to identify additional potential Red Flags that can be
             derived from the data analytics to be performed by the Clearinghouse.

 IX.   ONBOARDING

       A.    For each Injunctive Relief Distributor, prior to initiating the sale of Controlled
             Substances to a potential Customer, a member of the Injunctive Relief
             Distributor’s CSMP department (or a qualified third-party compliance consultant
             trained on the Injunctive Relief Distributor’s CSMP) shall perform the following
             due diligence:

             1.     Interview the pharmacist-in-charge, either over the telephone, via
                    videoconference, or in person. The interview shall include questions
                    regarding the manner in which the potential Customer maintains effective
                    controls against the potential diversion of Controlled Substances.

             2.     Obtain a “Pharmacy Questionnaire” completed by the owner and/or
                    pharmacist-in-charge of the potential Customer. The Pharmacy
                    Questionnaire shall require going-concern potential Customers to list their
                    top ten (10) prescribers for Highly Diverted Controlled Substances
                    combined, along with the prescriber’s specialty, unless the Injunctive
                    Relief Distributor is able to obtain this data otherwise. The Pharmacy
                    Questionnaire shall also require disclosure of the identity of all other
                    distributors that serve the potential Customer, and whether the potential
                    Customer has been terminated or suspended from ordering Controlled
                    Substances by another distributor and the reason for any termination or
                    suspension. The Pharmacy Questionnaire shall request information that
                    would allow the Injunctive Relief Distributor to identify Red Flags,
                    including questions regarding the manner in which the potential Customer
                    maintains effective controls against the potential diversion of Controlled


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                    Substances. A potential Customer’s responses to the Pharmacy
                    Questionnaire shall be verified, to the extent applicable and practicable,
                    against external sources (for example, the Clearinghouse, once
                    operational, and Automation of Reports and Consolidated Orders System
                    (“ARCOS”) data made available to the Injunctive Relief Distributor by the
                    DEA). The Pharmacy Questionnaire shall be maintained by the Injunctive
                    Relief Distributor in a database accessible to its CSMP personnel.

             3.     Complete a written onboarding report to be maintained in a database
                    accessible to the Injunctive Relief Distributor’s CSMP personnel
                    reflecting the findings of the interview and any site visit, the findings
                    regarding the identification of and, if applicable, conclusion concerning
                    any Red Flag associated with the pharmacy, as well as an analysis of the
                    Pharmacy Questionnaire referenced in the preceding paragraph.

             4.     For going-concern potential Customers, review Pharmacy Customer Data
                    to assist with the identification of any Red Flags.

             5.     Document whether the potential Customer or the pharmacist-in-charge has
                    been subject to any professional disciplinary sanctions or law enforcement
                    activity related to Controlled Substances dispensing, and, if so, the basis
                    for that action. For Chain Customers, this provision shall apply to the
                    potential specific pharmacies in question.

       B.    For Chain Customers, each Injunctive Relief Distributor may obtain the
             information in Section IX.A from a corporate representative of the Chain
             Customer.

       C.    In the event that an Injunctive Relief Distributor identifies one or more unresolved
             Red Flags or other information indicative of potential diversion of Controlled
             Substances through the onboarding process or otherwise, the Injunctive Relief
             Distributor shall refrain from selling Controlled Substances to the potential
             Customer pending additional due diligence. If following additional due diligence,
             the Injunctive Relief Distributor is unable to resolve the Red Flags or other
             information indicative of diversion, the Injunctive Relief Distributor shall not
             initiate the sale of Controlled Substances to the potential Customer and shall
             report the potential Customer consistent with Section XIV. If the Injunctive Relief
             Distributor determines that the potential Customer may be onboarded for the sale
             of Controlled Substances, the Injunctive Relief Distributor shall document the
             decision and the bases for its decision. Such a good faith determination, if
             documented, shall not serve, without more, as the basis of a future claim of non-
             compliance with the Injunctive Relief Terms. For Chain Customers, these
             provisions shall apply to the potential specific pharmacies in question.




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 X.    ONGOING DUE DILIGENCE

       A.    Each Injunctive Relief Distributor shall periodically review its procedures and
             systems for detecting patterns or trends in Customer order data or other
             information used to evaluate whether a Customer is maintaining effective controls
             against diversion.

       B.    Each Injunctive Relief Distributor shall conduct periodic proactive compliance
             reviews of its Customers’ performance in satisfying their corresponding
             responsibilities to maintain effective controls against the diversion of Controlled
             Substances.

       C.    Each Injunctive Relief Distributor shall review ARCOS data made available to it
             by the DEA and, once operational, by the Clearinghouse, to assist with Customer
             specific due diligence. For Chain Customers, this provision shall apply to the
             potential specific pharmacies in question.

       D.    Each Injunctive Relief Distributor shall conduct due diligence as set forth in its
             CSMP policies and procedures in response to concerns of potential diversion of
             Controlled Substances at its Customers. For Chain Customers, these provisions
             shall apply to the specific pharmacies in question. The due diligence required by
             an Injunctive Relief Distributor’s CSMP policies and procedures may depend on
             the information or events at issue. The information or events raising concerns of
             potential diversion of Controlled Substances at a Customer include but are not
             limited to:

             1.     The discovery of one or more unresolved Red Flags;

             2.     The receipt of information directly from law enforcement or regulators
                    concerning potential diversion of Controlled Substances at or by a
                    Customer;

             3.     The receipt of information concerning the suspension or revocation of
                    pharmacist’s DEA registration or state license related to potential
                    diversion of Controlled Substances;

             4.     The receipt of reliable information through the hotline established in
                    Section V.E concerning suspected diversion of Controlled Substances at
                    the Customer;

             5.     The receipt of reliable information from another distributor concerning
                    suspected diversion of Controlled Substances at the Customer; or

             6.     Receipt of other reliable information that the Customer is engaged in
                    conduct indicative of diversion or is failing to adhere to its corresponding
                    responsibility to prevent the diversion of Highly Diverted Controlled
                    Substances.



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       E.    On an annual basis, each Injunctive Relief Distributor shall obtain updated
             pharmacy questionnaires from five hundred (500) Customers to include the
             following:

             1.      The top 250 Customers by combined volume of Highly Diverted
                     Controlled Substances purchased from the Injunctive Relief Distributor
                     measured as of the end of the relevant calendar year; and

             2.      Additional Customers selected as a representative sample of various
                     geographic regions, customer types (Independent Retail Pharmacy
                     Customers and Chain Customers), and distribution centers. Each
                     Injunctive Relief Distributor’s Chief Diversion Control Officer shall
                     develop risk-based criteria for the sample selection.

       F.    Scope of Review

             1.      For reviews triggered by Section X.D, an Injunctive Relief Distributor
                     shall conduct due diligence and obtain updated Pharmacy Customer Data
                     or equivalent, or more comprehensive data from the Clearinghouse if
                     needed, as set forth in its CSMP policies and procedures.

             2.      For questionnaires collected pursuant to Section X.E, Injunctive Relief
                     Distributors shall conduct a due diligence review consistent with the
                     Injunctive Relief Distributors’ CSMP policies and procedures. These
                     annual diligence reviews shall be performed in addition to any of the
                     diligence reviews performed under Section X.D, but may reasonably rely
                     on reviews performed under Section X.D.

             3.      If the Injunctive Relief Distributor decides to terminate the Customer due
                     to concerns regarding potential diversion of Controlled Substances, the
                     Injunctive Relief Distributor shall promptly cease the sale of Controlled
                     Substances to the Customer and report the Customer consistent with
                     Section XIV. If the Injunctive Relief Distributor decides not to terminate
                     the Customer, the Injunctive Relief Distributor shall document that
                     determination and the basis therefor. Such a good faith determination, if
                     documented, shall not, without more, serve as the basis of a future claim
                     of non-compliance with the Injunctive Relief Terms.

 XI.   SITE VISITS

       A.    Each Injunctive Relief Distributor shall conduct site visits, including
             unannounced site visits, where appropriate, of Customers, as necessary, as part of
             Customer due diligence.

       B.    During site visits, an Injunctive Relief Distributor’s CSMP personnel or qualified
             third-party compliance consultants shall interview the pharmacist-in-charge or
             other relevant Customer employees, if appropriate, about any potential Red Flags



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             and the Customer’s maintenance of effective controls against the potential
             diversion of Controlled Substances.

        C.   An Injunctive Relief Distributor’s CSMP personnel or qualified third-party
             compliance consultants who conduct site visits shall document the findings of any
             site visit.

        D.   Site visit and all other compliance reports shall be maintained by each Injunctive
             Relief Distributor in a database accessible to all CSMP personnel.

 XII.   THRESHOLDS

        A.   Each Injunctive Relief Distributor shall use Thresholds to identify potentially
             Suspicious Orders of Controlled Substances from Customers.

        B.   Each Injunctive Relief Distributor’s CSMP department shall be responsible for
             the oversight of the process for establishing and modifying Thresholds. The sales
             departments of the Injunctive Relief Distributors shall not have the authority to
             establish or adjust Thresholds for any Customer or participate in any decisions
             regarding establishment or adjustment of Thresholds.

        C.   Injunctive Relief Distributors shall not provide Customers specific information
             about their Thresholds or how their Thresholds are calculated.

             1.     Threshold Setting

                    a)      Injunctive Relief Distributors shall primarily use model-based
                            thresholds. For certain circumstances, Injunctive Relief
                            Distributors may apply a non-model threshold based on
                            documented customer diligence and analysis.

                    b)      Each Injunctive Relief Distributor shall include in its Annual
                            Threshold Analysis and Assessment Report (as required by Section
                            XVIII.F.3.c) to the Monitor summary statistics regarding the use of
                            non-model thresholds and such information shall be considered by
                            the Monitor as part of its Threshold Setting Process Review in the
                            annual Audit Report.

                    c)      For the purposes of establishing and maintaining Thresholds, each
                            Injunctive Relief Distributor shall take into account the Controlled
                            Substances diversion risk of each drug base code. The diversion
                            risk of each base code should be defined and reassessed annually
                            by the Injunctive Relief Distributor’s CSMP Committee and
                            reviewed by the Monitor.

                    d)      Each Injunctive Relief Distributor shall establish Thresholds for
                            new Customers prior to supplying those Customers with
                            Controlled Substances and shall continue to have Thresholds in


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                         place at all times for each Customer to which it supplies Controlled
                         Substances.

                   e)    When ordering volume from other distributors becomes readily
                         available from the Clearinghouse, an Injunctive Relief Distributor
                         shall consider including such information as soon as reasonably
                         practicable in establishing and maintaining Thresholds.

                   f)    Each Injunctive Relief Distributor shall incorporate the following
                         guiding principles in establishing and maintaining Customer
                         Thresholds, except when inapplicable to non-model Thresholds:

                         (1)    Thresholds shall take into account the number of non-
                                Controlled Substance dosage units distributed to, dispensed
                                and/or number of prescriptions dispensed by the Customer
                                to assist with the determination of Customer size. As a
                                general matter, smaller customers should have lower
                                Thresholds than larger customers.

                         (2)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall use
                                statistical models that are appropriate to the underlying
                                data.

                         (3)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall take into
                                account a Customer’s ordering and/or dispensing history
                                for a specified period of time.

                         (4)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall take into
                                account the ordering history of Customers within similar
                                geographic regions, or, where appropriate for Chain
                                Customers, ordering history within the chain.

                         (5)    If appropriate, Thresholds may take into account the
                                characteristics of Customers with similar business models.

                                (a)     A Customer’s statement that it employs a particular
                                        business model must be verified, to the extent
                                        practicable, before that business model is taken into
                                        account in establishing and maintaining a
                                        Customer’s Threshold.




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             2.    Threshold Auditing

                   a)    The Injunctive Relief Distributors shall review their respective
                         Customer Thresholds at least on an annual basis and modify them
                         where appropriate.

                   b)    Each Injunctive Relief Distributor’s CSMP department shall
                         annually evaluate its Threshold setting methodology and processes
                         and its CSMP personnel’s performance in adhering to those
                         policies.

             3.    Threshold Changes

                   a)    An Injunctive Relief Distributor may increase or decrease a
                         Customer Threshold as set forth in its CSMP policies and
                         procedures, subject to Sections XII.C.3.b through XII.C.3.e.

                   b)    Prior to approving any Threshold change request by a Customer,
                         each Injunctive Relief Distributor shall conduct due diligence to
                         determine whether an increase to the Threshold is warranted. This
                         due diligence shall include obtaining from the Customer the basis
                         for the Threshold change request, obtaining and reviewing
                         Dispensing Data and/or Pharmacy Customer Data for the previous
                         three (3) months for due diligence purposes, and, as needed,
                         conducting an on-site visit to the Customer. This Threshold change
                         request diligence shall be conducted by the Injunctive Relief
                         Distributor’s CSMP personnel.

                   c)    No Injunctive Relief Distributor shall proactively contact a
                         Customer to suggest that the Customer request an increase to any
                         of its Thresholds, to inform the Customer that its Orders-to-date
                         are approaching its Thresholds or to recommend to the Customer
                         the amount of a requested Threshold increase. It shall not be a
                         violation of this paragraph to provide Chain Customer
                         headquarters reporting on one or more individual Chain Customer
                         pharmacy location(s) to support the anti-diversion efforts of the
                         Chain Customer’s headquarters staff, and it shall not be a violation
                         of this paragraph for the Injunctive Relief Distributor’s CSMP
                         personnel to contact Customers to seek to understand a Customer’s
                         ordering patterns.

                   d)    An Injunctive Relief Distributor’s Chief Diversion Control Officer
                         may approve criteria for potential adjustments to Customer
                         Thresholds to account for circumstances where the Thresholds
                         produced by the ordinary operation of the statistical models require
                         modification. Such circumstances include adjustments to account
                         for seasonal ordering of certain Controlled Substances that are


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                            based on documented diligence and analysis, adjustments made to
                            permit ordering of certain Controlled Substances during a declared
                            national or state emergency (e.g., COVID-19 pandemic), IT errors,
                            and data anomalies causing results that are inconsistent with the
                            design of the statistical models. Each Injunctive Relief Distributor
                            shall include in its Annual Threshold Analysis and Assessment
                            Report (as required by Section XVIII.F.3.c) to the Monitor
                            information regarding the use of this paragraph and such
                            information shall be considered by the Monitor as part of its
                            Threshold Setting Process Review in the annual Audit Report.

                    e)      Any decision to raise a Customer’s Threshold in response to a
                            request by a Customer to adjust its Threshold must be documented
                            in a writing and state the reason(s) for the change. The decision
                            must be consistent with the Injunctive Relief Distributor’s CSMP
                            and documented appropriately.

 XIII. SUSPICIOUS ORDER REPORTING AND NON-SHIPMENT

       A.    Each Injunctive Relief Distributor shall report Suspicious Orders to the Settling
             States (“Suspicious Order Reports” or “SORs”), including those Settling States
             that do not currently require such SORs, at the election of the Settling State.

       B.    For the SORs required by the Injunctive Relief Terms, each Injunctive Relief
             Distributor shall report Orders that exceed a Threshold for Controlled Substances
             set pursuant to the processes in Section XII that are blocked and not shipped.

       C.    No Injunctive Relief Distributor shall ship any Order that it (i) reports pursuant to
             Sections XIII.A or XIII.B, or (ii) would have been required to report pursuant to
             Sections XIII.A or XIII.B had the Settling State elected to receive SORs.

       D.    In reporting Suspicious Orders to the Settling States, the Injunctive Relief
             Distributors shall file SORs in a standardized electronic format that is uniform
             among the Settling States and contains the following information fields:

             1.     Customer name;

             2.     Customer address;

             3.     DEA registration number;

             4.     State pharmacy license number;

             5.     Date of order;

             6.     NDC number;

             7.     Quantity;


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             8.     Explanation for why the order is suspicious (up to 250 characters): Details
                    that are order-specific regarding why an order was flagged as a Suspicious
                    Order, including specific criteria used by an Injunctive Relief Distributor’s
                    Threshold system (except phrases such as “order is of unusual size”
                    without any additional detail are not acceptable); and

             9.     Name and contact information for a knowledgeable designee within the
                    Injunctive Relief Distributor’s CSMP department to be a point of contact
                    for the SORs.

       E.    On a quarterly basis, each Injunctive Relief Distributor shall provide a summary
             report to the Settling States that elect to receive it that provides the following
             information for the relevant quarter with respect to the top ten (10) Customers by
             volume for each Highly Diverted Controlled Substance base code that have
             placed a Suspicious Order for that base code, in that quarter (for Chain
             Customers, only individual pharmacies in the chain will considered for evaluation
             as a top ten (10) Customer):

             1.     The number of SORs submitted for that Customer by base code;

             2.     The Customer’s order volume by base code for the quarter for all Highly
                    Diverted Controlled Substances;

             3.     The Customer’s order frequency by base code for the quarter for all
                    Highly Diverted Controlled Substances;

             4.     For each Highly Diverted Controlled Substance base code, the ratio of the
                    Customer’s order volume for that base code to the volume of all
                    pharmaceutical orders for the quarter; and

             5.     The ratio of the Customer’s order volume of all Controlled Substances to
                    the volume of all pharmaceutical orders for the quarter.

       F.    The Injunctive Relief Distributors shall only be required to file a single, uniform,
             electronic form of SOR with any Settling State that receives SORs pursuant to
             these Injunctive Relief Terms. A Settling State retains the authority pursuant to
             applicable state law or relevant state agency authority to request additional
             information about a particular SOR.

       G.    It is the objective of the Settling States and the Injunctive Relief Distributors for
             the Injunctive Relief Distributors to provide SORs to Settling States that identify
             the same Suspicious Orders as reported to the DEA pursuant to the definition and
             requirements of the federal Controlled Substances Act and its regulations,
             although the fields of the SORs submitted to the Settling States as required by
             Section XIII may differ from the content required by the DEA. To the extent
             federal definitions and requirements materially change during the term of the
             Injunctive Relief Terms, the Injunctive Relief Distributors may be required to
             adjust the format and content of the SORs to meet these federal requirements. The


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             Injunctive Relief Distributors and the State Compliance Review Committee will
             engage in good faith discussions regarding such adjustments.

       H.    It shall not be a violation of the Injunctive Relief Terms if an Injunctive Relief
             Distributor ships a Suspicious Order or fails to submit or transmit a SOR if:

             1.     The shipment of the Suspicious Order or failed SOR transmission was due
                    to a computer error (data entry mistakes, coding errors, computer logic
                    issues, software malfunctions, and other computer errors or IT failures);
                    and

             2.     The Injunctive Relief Distributor reports the error, including a description
                    of measures that will be taken to prevent recurrence of the error, to any
                    affected Settling State, the State Compliance Review Committee, and the
                    Monitor within five (5) business days of its discovery.

 XIV. TERMINATED CUSTOMERS

       A.    Each Injunctive Relief Distributor shall report to the Clearinghouse, once
             operational, within five (5) business days (or as otherwise required by state statute
             or regulation), Customers it has terminated from eligibility to receive Controlled
             Substances or refused to onboard for the sale of Controlled Substances due to
             concerns regarding the Customer’s ability to provide effective controls against the
             potential diversion of Controlled Substances following the Effective Date.

       B.    The Injunctive Relief Distributors shall report to the relevant Settling State(s),
             within five (5) business days (or as otherwise required by state statute or
             regulation) Customers located in such Settling States that it has terminated from
             eligibility to receive Controlled Substances or refused to onboard for the sale of
             Controlled Substances due to concerns regarding the Customer’s ability to
             provide effective controls against the potential diversion of Controlled Substances
             following the Effective Date. Such reports will be made in a uniform format. The
             Injunctive Relief Distributors and the State Compliance Review Committee shall
             use best efforts to agree on such uniform format for inclusion prior to the
             requirement taking effect.

       C.    In determining whether a Customer should be terminated from eligibility to
             receive Controlled Substances, Injunctive Relief Distributors shall apply factors
             set out in their CSMP policies and procedures, which shall include the following
             conduct by a Customer:

             1.     Has generated an excessive number of Suspicious Orders, which cannot
                    otherwise be explained;

             2.     Has routinely demonstrated unresolved Red Flag activity;




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             3.     Has continued to fill prescriptions for Highly Diverted Controlled
                    Substances that raise Red Flags following an Injunctive Relief
                    Distributor’s warning or communication about such practices;

             4.     Has failed to provide Pharmacy Customer Data or Dispensing Data in
                    response to a request from an Injunctive Relief Distributor or otherwise
                    refuses to cooperate with the Injunctive Relief Distributor’s CSMP after
                    providing the Customer with a reasonable amount of time to respond to
                    the Injunctive Relief Distributor’s requests;

             5.     Has been found to have made material omissions or false statements on a
                    Pharmacy Questionnaire (the requirements for the contents of a Pharmacy
                    Questionnaire are described in Section IX); or

             6.     Has been the subject of discipline by a State Board of Pharmacy within the
                    past three (3) years or has had its owner(s) or pharmacist-in-charge subject
                    to license probation or termination within the past five (5) years by a State
                    Board of Pharmacy for matters related to Controlled Substances
                    dispensing or a federal or state felony conviction.

       D.    Once the Clearinghouse has made Customer termination data available to each
             Injunctive Relief Distributor, each Injunctive Relief Distributor shall consider
             terminating Customers that have been terminated from eligibility to receive
             Controlled Substances by another distributor as a result of suspected diversion of
             Controlled Substances if the Customer is ordering only Controlled Substances
             from the Injunctive Relief Distributor. If the Injunctive Relief Distributor
             determines not to terminate Customers to which this paragraph applies, the
             Injunctive Relief Distributor shall document its decision-making. A good-faith
             decision to continue shipping Controlled Substances to Customers to which this
             paragraph applies, shall not serve, without more, as the basis of a future claim of
             non-compliance with the Injunctive Relief Terms.

       E.    For Chain Customers, the provisions in Section XIV.A-D shall apply to the
             specific pharmacies in question.

 XV.   EMERGENCIES

       A.    In the circumstances of declared national or state emergencies in which the
             healthcare community relies on the Injunctive Relief Distributors for critical
             medicines, medical supplies, products, and services, the Injunctive Relief
             Distributors may be required to temporarily modify their respective CSMP
             processes to meet the critical needs of the supply chain. These modifications may
             conflict with the requirements of the Injunctive Relief Terms.

       B.    In the case of a declared national or state emergency, the Injunctive Relief
             Distributors shall be required to give notice to the State Compliance Review
             Committee of any temporary material changes to their CSMP processes which



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             may conflict with the requirements of the Injunctive Relief Terms and specify the
             sections of the Injunctive Relief Terms which will be affected by the temporary
             change.

       C.    The Injunctive Relief Distributors shall document all temporary changes to their
             CSMP processes and appropriately document all customer-specific actions taken
             as a result of the declared national or state emergency.

       D.    The Injunctive Relief Distributors shall provide notice to the State Compliance
             Review Committee at the conclusion of the declared national or state emergency,
             or sooner, stating that the temporary CSMP processes put into place have been
             suspended.

       E.    Provided the Injunctive Relief Distributors comply with the provisions of Sections
             XV.A through XV.D, the Injunctive Relief Distributors will not face liability for
             any deviations from the requirements of the Injunctive Relief Terms taken in good
             faith to meet the critical needs of the supply chain in response to the declared
             national or state emergency. Nothing herein shall limit Settling States from
             pursuing claims against the Injunctive Relief Distributors based on deviations
             from the requirements of the Injunctive Relief Terms not taken in good faith to
             meet the critical needs of the supply chain in response to a declared national or
             state emergency.

 XVI. COMPLIANCE WITH LAWS AND RECORDKEEPING

       A.    The Injunctive Relief Distributors acknowledge and agree that they must comply
             with applicable state and federal laws governing the distribution of Controlled
             Substances.

       B.    Good faith compliance with the Injunctive Relief Terms creates a presumption
             that the Injunctive Relief Distributors are acting reasonably and in the public
             interest with respect to Settling States’ existing laws requiring effective controls
             against diversion of Controlled Substances and with respect to the identification,
             reporting, and blocking of Suspicious Orders of Controlled Substances.

       C.    The requirements of the Injunctive Relief Terms are in addition to, and not in lieu
             of, any other requirements of state or federal law applicable to Controlled
             Substances distribution. Except as provided in Section XVI.D, nothing in the
             Injunctive Relief Terms shall be construed as relieving Injunctive Relief
             Distributors of the obligation to comply with such laws, regulations, or rules. No
             provision of the Injunctive Relief Terms shall be deemed as permission for
             Injunctive Relief Distributors to engage in any acts or practices prohibited by such
             laws, regulations, or rules.

       D.    In the event of a conflict between the requirements of the Injunctive Relief Terms
             and any other law, regulation, or requirement such that an Injunctive Relief
             Distributor cannot comply with the law without violating the Injunctive Relief



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             Terms or being subject to adverse action, including fines and penalties, the
             Injunctive Relief Distributor shall document such conflicts and notify the State
             Compliance Review Committee and any affected Settling State the extent to
             which it will comply with the Injunctive Relief Terms in order to eliminate the
             conflict within thirty (30) days of the Injunctive Relief Distributor’s discovery of
             the conflict. The Injunctive Relief Distributor shall comply with the Injunctive
             Relief Terms to the fullest extent possible without violating the law.

       E.    In the event of a change or modification of federal or state law governing the
             distribution of Controlled Substances that creates an actual or potential conflict
             with the Injunctive Relief Terms, any Injunctive Relief Distributor, any affected
             Settling State, or the State Compliance Review Committee may request that the
             Injunctive Relief Distributors, State Compliance Review Committee, and any
             affected Settling State meet and confer regarding the law change. During the meet
             and confer, the Injunctive Relief Distributors, the State Compliance Review
             Committee, and any affected Settling State will address whether the change or
             modification in federal or state law requires an amendment to the Injunctive
             Relief Terms. In the event the Injunctive Relief Distributors, the State
             Compliance Review Committee, and any affected Settling State cannot agree on a
             resolution, and the dispute relates to whether the generally applicable Injunctive
             Relief Terms herein should be changed, an Injunctive Relief Distributor, the State
             Compliance Review Committee, or any affected Settling State may submit the
             question to the National Arbitration Panel. If the dispute relates to whether a
             change in an individual State’s law requires a modification of the Injunctive
             Relief Terms only with respect to that State, an Injunctive Relief Distributor, the
             State Compliance Review Committee, or any affected Settling State may seek
             resolution of the dispute pursuant to Section XIX. Maintenance of competition in
             the industry and the potential burden of inconsistent obligations by Injunctive
             Relief Distributors shall be a relevant consideration in such resolution.

       F.    Recordkeeping: Each Injunctive Relief Distributor shall retain records it is
             required to create pursuant to its obligations hereunder in an electronic or
             otherwise readily accessible format. The Settling States shall have the right to
             review records provided to the Monitor pursuant to Section XVIII. Nothing in the
             Injunctive Relief Terms prohibits a Settling State from issuing a lawful subpoena
             for records pursuant to an applicable law.

 XVII. CLEARINGHOUSE

       A.    Creation of the Clearinghouse

             1.     The Clearinghouse functions shall be undertaken by a third-party vendor
                    or vendors.

             2.     The vendor(s) will be chosen through a process developed and jointly
                    agreed upon by the Injunctive Relief Distributors and the State
                    Compliance Review Committee.


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             3.    Consistent with the process developed by the Injunctive Relief
                   Distributors and the State Compliance Review Committee, within two (2)
                   months of the Effective Date, the Injunctive Relief Distributors shall issue
                   a Request for Proposal to develop the systems and capabilities for a
                   Clearinghouse to perform the services of a data aggregator.

             4.    Within five (5) months of the Effective Date, the Clearinghouse Advisory
                   Panel shall select one or more entities to develop the systems for the
                   Clearinghouse and perform data aggregator services. The Clearinghouse
                   Advisory Panel shall select a vendor or vendors that employ or retain
                   personnel who have adequate expertise and experience related to the
                   pharmaceutical industry, the distribution of Controlled Substances, and the
                   applicable requirements of the Controlled Substances Act and the DEA’s
                   implementing regulations.

             5.    Within sixty (60) days of the selection of a vendor(s) to serve as the
                   Clearinghouse, the Injunctive Relief Distributors shall negotiate and
                   finalize a contract with the vendor(s). The date that the contract is signed
                   by the Injunctive Relief Distributors and the vendor(s) shall be referred to
                   as the “Clearinghouse Retention Date.”

             6.    The development of the Clearinghouse shall proceed on a phased approach
                   as discussed in Sections XVII.C and XVII.D.

       B.    Governance and Staffing of the Clearinghouse

             1.    Capabilities. The selected vendor or vendors shall staff the Clearinghouse
                   in a manner that ensures the development of robust data collection,
                   analytics and reporting capabilities for the Settling States and Injunctive
                   Relief Distributors. To the extent additional expertise is required for the
                   engagement, the vendor(s) may retain the services of third-party
                   consultants.

             2.    Independence. While performing services for the Clearinghouse, all
                   vendors and consultants, and their staff working on the Clearinghouse,
                   shall be independent (i.e., not perform services of any kind, including as a
                   consultant or an employee on behalf of any Injunctive Relief Distributor
                   outside of the ordinary business operations of the Clearinghouse).
                   Independence may be achieved by implementing appropriate ethical walls
                   with employees who are currently performing or who have previously
                   performed work for an Injunctive Relief Distributor within two years of
                   the Clearinghouse Retention Date.

             3.    Liability. The Injunctive Relief Distributors are entitled to rely upon
                   information or data received from the Clearinghouse, whether in oral,
                   written, or other form. No Injunctive Relief Distributor, and no individual
                   serving on the Clearinghouse Advisory Panel, shall have any liability


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                   (whether direct or indirect, in contract or tort or otherwise) to any Party for
                   or in connection with any action taken or not taken by the Clearinghouse.
                   In addition, no Injunctive Relief Distributor, and no individual serving on
                   the Clearinghouse Advisory Panel, shall have any liability (whether direct
                   or indirect, in contract or tort or otherwise) to any Party for or in
                   connection with any action taken or not taken by an Injunctive Relief
                   Distributor based on incorrect, inaccurate, incomplete or otherwise
                   erroneous information or data provided by the Clearinghouse, unless the
                   information or data was incorrect, inaccurate, incomplete or otherwise
                   erroneous because the Injunctive Relief Distributor itself provided
                   incorrect, inaccurate, incomplete or otherwise erroneous data or
                   information to the Clearinghouse. For any legal requirements that are
                   assumed by the Clearinghouse during Phase 2-B pursuant to Section
                   XVII.D.3, liability shall be addressed pursuant to Section XVII.D.3.c.

             4.    Clearinghouse Advisory Panel. The State Compliance Review Committee
                   and Injunctive Relief Distributors shall create a Clearinghouse Advisory
                   Panel no later than sixty (60) days after the Effective Date to oversee the
                   Clearinghouse.

                   a)     The Clearinghouse Advisory Panel shall have an equal number of
                          members chosen by the State Compliance Review Committee on
                          the one hand, and the Injunctive Relief Distributors on the other.
                          The size of the Clearinghouse Advisory Panel will be decided by
                          the State Compliance Review Committee and the Injunctive Relief
                          Distributors, and the State Compliance Review Committee and the
                          Injunctive Relief Distributors may select as members third-party
                          experts, but no more than one half of each side’s representatives
                          may be such third-party experts. At least one member chosen by
                          the State Compliance Review Committee will be based on
                          consultation with the National Association of State Controlled
                          Substances Authorities.

                   b)     During the first two years of the operation of the Clearinghouse,
                          the Clearinghouse Advisory Panel shall meet (in-person or
                          remotely) at least once per month. After the first two years of
                          operation, the Clearinghouse Advisory Panel shall meet at least
                          quarterly. The Monitor may attend Clearinghouse Advisory Panel
                          meetings and may provide recommendations to the Clearinghouse
                          Advisory Panel.

                   c)     The Clearinghouse Advisory Panel shall establish a subcommittee
                          to advise on issues related to privacy, the Health Insurance
                          Portability and Accountability Act of 1996 (“HIPAA”), and data
                          security and a subcommittee to advise on issues related to
                          Dispensing Data. It may establish additional subcommittees.
                          Subcommittees may include individuals who are not members of


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                           the Clearinghouse Advisory Panel. The Clearinghouse Advisory
                           Panel may invite one or more prescribers, dispensers, and
                           representatives from state Prescription Drug Monitoring Programs
                           (“PDMP”) to serve on the Dispensing Data subcommittee. Each
                           Injunctive Relief Distributor shall have a representative on each
                           subcommittee created by the Clearinghouse Advisory Panel.

                    d)     The Clearinghouse Advisory Panel may delegate tasks assigned to
                           it by the Injunctive Relief Terms to the Executive Director.

             5.     Executive Director. One employee of the vendor, or one representative
                    from the vendor group in the event that there are multiple vendors, shall be
                    an Executive Director who shall manage day-to-day operations and report
                    periodically to the Clearinghouse Advisory Panel.

       C.    Phase 1 of the Clearinghouse: Data Collection, Initial Analytics and
             Reporting

             1.     System Development

                    a)     Within one (1) year of the Clearinghouse Retention Date, the
                           Clearinghouse shall develop systems to receive and analyze data
                           obtained from the Injunctive Relief Distributors pursuant to
                           electronic transmission formats to be agreed upon by the
                           Clearinghouse Advisory Panel.

                    b)     In developing such systems, the Clearinghouse shall ensure that:

                           (1)     The systems provide robust reporting and analytic
                                   capabilities.

                           (2)     Data obtained from Injunctive Relief Distributors shall be
                                   automatically pulled from the existing order management
                                   data platforms (e.g., SAP).

                           (3)     The systems shall be designed to receive data from sources
                                   other than the Injunctive Relief Distributors, including
                                   pharmacies, non-Injunctive Relief Distributors, the DEA,
                                   State Boards of Pharmacy, and other relevant sources,
                                   pursuant to standardized electronic transmission formats.

                           (4)     The systems shall be designed to protect personally
                                   identifiable information (“PII”) and protected health
                                   information (“PHI”) from disclosure and shall comply with
                                   HIPAA and any federal and state laws relating to the
                                   protection of PII and PHI.




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                         (5)    The Clearinghouse will establish a HIPAA-compliant
                                database that can be accessed by state authorities, the
                                Injunctive Relief Distributors, and any entities that
                                subsequently participate in the Clearinghouse. The database
                                that will be made available to the Injunctive Relief
                                Distributors and any non-governmental entities that
                                subsequently participate in the Clearinghouse will also
                                blind commercially sensitive information.

                         (6)    State authorities shall have access to the HIPAA-compliant
                                database via web-based tools and no additional or
                                specialized equipment or software shall be required. This
                                access shall allow state authorities to query the HIPAA-
                                compliant database without limitation.

                         (7)    The Injunctive Relief Distributors shall be permitted to use
                                data obtained from the Clearinghouse for anti-diversion
                                purposes, including the uses expressly contemplated by the
                                Injunctive Relief Terms. The Injunctive Relief Distributors
                                shall not sell (or obtain license fees for) data obtained from
                                Clearinghouse to any third-parties. Nothing in the
                                Injunctive Relief Terms shall prohibit an Injunctive Relief
                                Distributor from using its own data, including data
                                provided to the Injunctive Relief Distributor by third-
                                parties other than the Clearinghouse, for any commercial
                                purposes, including selling or licensing its data to third-
                                parties.

             2.    Aggregation of Data

                   a)    It is the goal of the Settling States and the Injunctive Relief
                         Distributors for the Clearinghouse to obtain comprehensive data
                         from all distributors, pharmacies, and other relevant data sources to
                         provide maximum permissible transparency into the distribution
                         and dispensing of Controlled Substances. During Phase 1, the
                         Clearinghouse Advisory Panel shall develop recommendations for
                         ways to achieve this goal.

                   b)    In Phase 1, the Injunctive Relief Distributors shall provide and/or
                         facilitate the collection of, and the Clearinghouse shall collect and
                         maintain, the following:

                         (1)    Injunctive Relief Distributor transaction data for Controlled
                                Substances and non-Controlled Substances, specified at the
                                NDC, date, quantity, and customer level.




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                          (2)    Injunctive Relief Distributor information on Customers that
                                 have been terminated and/or declined onboarding due to
                                 concerns regarding Controlled Substance dispensing
                                 following the Effective Date.

                   c)     The Clearinghouse shall make available to the Injunctive Relief
                          Distributors, in a format to be determined by the Clearinghouse
                          Advisory Panel, blinded data for their CSMP due diligence
                          functions. The data will include all Controlled Substances and non-
                          Controlled Substances and be refreshed on a regular basis. The
                          Clearinghouse will also seek to provide non-identifying
                          information regarding whether a single distributor is associated
                          with multiple warehouses with unique DEA registrations (e.g.,
                          multiple distribution centers operated by a single distributor), in
                          the data it makes available.

                   d)     During Phase 1, the Clearinghouse Advisory Panel (with input
                          from its Dispensing Data subcommittee) will develop an
                          operational plan to obtain Dispensing Data directly from
                          pharmacies, unless the Clearinghouse Advisory Panel determines it
                          is inadvisable to do so. The operational plan developed by the
                          Clearinghouse Advisory Panel shall address compliance with
                          HIPAA and shall include recommendations to facilitate the
                          collection of Dispensing Data in compliance with HIPAA and
                          relevant state privacy laws. To the extent possible, the
                          Clearinghouse will begin collecting Dispensing Data during
                          Phase 1.

                   e)     Nothing in the Injunctive Relief Terms shall require the Injunctive
                          Relief Distributors to indemnify or otherwise be responsible to
                          pharmacy customers for any claims resulting from the provision of
                          Dispensing Data to the Clearinghouse, including, but not limited
                          to, claims related to any data breaches occurring with the data
                          transmitted to or maintained by the Clearinghouse.

             3.    State and Federal Reporting Requirements

                   a)     The Injunctive Relief Distributors shall comply with state and
                          federal transactional and Suspicious Order reporting requirements
                          related to Controlled Substances as follows:

                          (1)    Until such time as the Clearinghouse is able to provide
                                 transactional and Suspicious Order regulatory reporting to
                                 the states on behalf of the Injunctive Relief Distributors, the
                                 Injunctive Relief Distributors shall continue to file all
                                 required reports under state law and those reports required
                                 by these Injunctive Relief Terms.


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                          (2)    Once the Clearinghouse is able to process and submit such
                                 reports, the Clearinghouse may process and submit those
                                 reports on behalf of each Injunctive Relief Distributor to
                                 the states. At all times during Phase 1, each Injunctive
                                 Relief Distributor shall remain responsible for the
                                 identification of Suspicious Orders and will remain liable
                                 for a failure to submit transactional data or Suspicious
                                 Order reports required under state law or these Injunctive
                                 Relief Terms.

                          (3)    An Injunctive Relief Distributor may elect to fulfill its
                                 reporting obligations directly, rather than have the
                                 Clearinghouse assume the responsibility for the
                                 transmission of the various reports.

             4.    Additional Reports and Analytics

                   a)     In consultation with the Clearinghouse Advisory Panel, the
                          Clearinghouse shall work to develop additional reports and
                          analyses to assist the Settling States and the Injunctive Relief
                          Distributors in addressing Controlled Substance diversion,
                          including, but not limited to, identifying Red Flags consistent with
                          Section VIII.

                   b)     The Clearinghouse will generate analyses and reports to be used by
                          the Settling States and the Injunctive Relief Distributors based on
                          format and content recommended by the Clearinghouse Advisory
                          Panel. In order to refine the format and reach final
                          recommendations, the Clearinghouse shall prepare sample
                          analytical reports for a sample geographic region to review with
                          the Clearinghouse Advisory Panel. The sample reports will also be
                          shared with the DEA in an effort to receive additional feedback.

                   c)     After the content and format of the sample reports have been
                          approved by the Clearinghouse Advisory Panel, the Clearinghouse
                          will begin producing reports on a periodic basis.

                   d)     The Clearinghouse will develop capabilities to provide Settling
                          States customized reports upon reasonable request to assist in their
                          efforts to combat the diversion of Controlled Substances and for
                          other public health and regulatory purposes.

                   e)     After the Clearinghouse has obtained sufficient Dispensing Data
                          from Customers, the Clearinghouse shall commence providing
                          standard reports to the Settling States and Injunctive Relief
                          Distributors that will include summaries and analysis of
                          Dispensing Data. The reports and analytics of Dispensing Data


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                         shall be developed in consultation with the Clearinghouse
                         Advisory Panel (including its Dispensing Data subcommittee) and
                         shall include, but not be limited to:

                         (1)    Identification of Customers whose dispensing may indicate
                                Red Flags consistent with Section VIII, as determined by
                                the Clearinghouse from aggregate data; and

                         (2)    Identification of Customers whose aggregate dispensing
                                volumes for Highly Diverted Controlled Substances are
                                disproportionately high relative to the population of the
                                relevant geographic area.

                   f)    The Clearinghouse shall also prepare reports and analyses for the
                         Settling States and Injunctive Relief Distributors identifying
                         prescribers whose prescribing behavior suggests they may not be
                         engaged in the legitimate practice of medicine. Such reports and
                         analysis shall be developed in consultation with the Clearinghouse
                         Advisory Panel (including its Dispensing Data subcommittee) and
                         shall seek to identify and evaluate:

                         (1)    Prescribers who routinely prescribe large volumes of
                                Highly Diverted Controlled Substances relative to other
                                prescribers with similar specialties, including health care
                                professionals who prescribe a large number of prescriptions
                                for high dosage amounts of Highly Diverted Controlled
                                Substances;

                         (2)    Prescribers whose prescriptions for Highly Diverted
                                Controlled Substances are routinely and disproportionately
                                filled in a geographic area that is unusual based on the
                                prescriber’s location; and

                         (3)    Prescribers who routinely prescribe out-of-specialty or out-
                                of-practice area without legitimate reason.

                   g)    Reports or analysis generated by the Clearinghouse may not be
                         based on complete data due to a lack of participation by non-
                         Injunctive Relief Distributors and pharmacies. As such, Injunctive
                         Relief Distributors shall not be held responsible for actions or
                         inactions related to reports and analysis prepared by the
                         Clearinghouse which may be based on incomplete data due to a
                         lack of participation by non-Injunctive Relief Distributors and
                         pharmacies.




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       D.    Phase 2 of the Clearinghouse: Additional Data Collection and Analytics and
             Assumption of CSMP Functions

             Within one (1) year of Phase 1 of the Clearinghouse being operational, the
             Clearinghouse and the Clearinghouse Advisory Panel shall develop a detailed
             strategic and implementation plan for Phase 2 of the Clearinghouse (“Phase 2
             Planning Report”). Phase 2 will consist of two parts. Phase 2-A will focus on
             increasing data collection from non-Injunctive Relief Distributors, pharmacies
             and other data sources and developing enhanced analytics based on the
             experiences gained from Phase 1. Phase 2-A will also include recommendations
             for the development of uniform federal and state reporting. Phase 2-B will involve
             the potential assumption of various CSMP activities, including Threshold setting
             and order management by the Clearinghouse. The Phase 2 Planning Report will
             address both Phase 2-A and Phase 2-B. After the completion of the Phase 2
             Planning Report, individual Injunctive Relief Distributors, in their sole discretion,
             may elect not to proceed with Phase 2-B as provided by Section XVII.E. If one or
             more Injunctive Relief Distributors elect to proceed with Phase 2-B, the goal will
             be to have Phase 2-B fully operational within two (2) years of the Clearinghouse
             Retention Date and no later than three (3) years of the Clearinghouse Retention
             Date.

             1.     Phase 2-A: Additional Data Collection and Analytics

                    a)      During Phase 2-A, the Clearinghouse will continue the functions
                            defined in Phase 1 and work to expand the scope of its data
                            collection and enhance its analytics and reporting capabilities
                            including the following:

                            (1)     Integration of data from additional sources, including:

                                    (a)    Transaction data from other distributors, including
                                           manufacturers that distribute directly to retail
                                           pharmacies and pharmacies that self-warehouse;
                                           and

                                    (b)    Where possible, state PDMP data and other data,
                                           including, but not limited to, State Board of
                                           Medicine and Board of Pharmacy sanctions, and
                                           agreed-upon industry data. If state PDMP data is
                                           effectively duplicative of Dispensing Data already
                                           obtained in Phase 1, it will not be necessary for the
                                           Clearinghouse to obtain state PDMP data.

                            (2)     Development of additional metrics analyzing the data
                                    available from the additional data sources (PDMP, other
                                    pharmacy data, sanction authorities, and third-party volume
                                    projections).


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                         (3)    Development of real-time or near real-time access to
                                distribution data, dispensing data and other data sources.

                         (4)    Refinement of methodologies for analyzing Dispensing
                                Data to identify suspicious prescribers.

                         (5)    Development of additional capabilities to provide Settling
                                States, the Injunctive Relief Distributors and potentially the
                                DEA customized reporting from the Clearinghouse upon
                                reasonable request.

             2.    Phase 2-A: Uniform Required Reporting

                   a)    The Clearinghouse and the Clearinghouse Advisory Panel shall
                         develop uniform reporting recommendations for potential
                         implementation by state regulators in order to allow the Injunctive
                         Relief Distributors to satisfy their obligations under the Injunctive
                         Relief Terms and state and federal laws in a uniform and consistent
                         manner.

                   b)    It is a goal of the Settling States and the Injunctive Relief
                         Distributors to:

                         (1)    Streamline and simplify required reporting which will
                                benefit the Injunctive Relief Distributors and the Settling
                                States, as well as the DEA;

                         (2)    Develop uniform transactional and Suspicious Order
                                reporting requirements; and

                         (3)    Provide for the submission of uniform Suspicious Order
                                reports.

             3.    Phase 2-B: Clearinghouse Assumption of CSMP Functions

                   a)    With respect to Phase 2-B, the Phase 2 Planning Report shall
                         address:

                         (1)    Engagement with stakeholders, including the DEA, to
                                develop the system of Threshold setting and Suspicious
                                Order reporting to potentially be provided by the
                                Clearinghouse;

                         (2)    Development of technology and rules, including any
                                proposed changes to federal law or regulations;

                         (3)    Development of models for the identification of Suspicious
                                Orders and setting universal Thresholds in a manner


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                                consistent with Section XII. These models shall include
                                active order management and order fulfillment protocols to
                                ensure that orders are compared to relevant Thresholds by
                                the Clearinghouse before shipment instructions are
                                provided by the Clearinghouse to the Injunctive Relief
                                Distributors. The models shall also include the
                                identification of Suspicious Orders when they are placed by
                                Customers, which will be held before shipment or blocked
                                based on instructions provided by the Clearinghouse to the
                                Injunctive Relief Distributors.

                         (4)    Development of criteria governing distribution to
                                Customers that have placed one or more Orders that exceed
                                a Threshold;

                         (5)    Development of rules for allocating Orders placed by
                                Customers that have more than one Distributor if one or
                                more Orders exceed a Threshold;

                         (6)    Development of a pilot project for a sample geographic
                                region to perform data analysis to test the models for
                                Threshold setting and the identification of Suspicious
                                Orders.

                   b)    Following implementation of Phase 2-B, the Injunctive Relief
                         Distributors participating in Phase 2-B and the State Compliance
                         Review Committee shall meet and confer with respect to whether
                         to expand the scope of the Clearinghouse to cover additional anti-
                         diversion functions, such as the performance of due diligence.

                   c)    CSMP functions that have been assumed by the Clearinghouse
                         during Phase 2-B will no longer be performed by participating
                         Injunctive Relief Distributors individually through their CSMPs.
                         CSMP functions performed by the Clearinghouse will assist
                         participating Injunctive Relief Distributors to satisfy the applicable
                         legal obligations of those Injunctive Relief Distributors. The
                         Clearinghouse’s performance of CSMP functions will not relieve
                         participating Injunctive Relief Distributors from their legal
                         obligations unless (i) the Injunctive Relief Distributors and the
                         State Compliance Review Committee jointly enter into a written
                         agreement for the Clearinghouse to assume legal requirements
                         during Phase 2-B; and (ii) all vendors and consultants working on
                         the Clearinghouse agree in writing to assume such obligations.
                         Nothing in this paragraph shall apply to any Injunctive Relief
                         Distributor that does not participate in Phase 2-B pursuant to
                         Section XVII.E.



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       E.    Option to Opt Out of Phase 2-B

             1.    Each Injunctive Relief Distributor shall have the option, in its sole
                   discretion, to elect not to participate in Phase 2-B at any point. In the event
                   that an Injunctive Relief Distributor elects not to participate in Phase 2-B,
                   that Injunctive Relief Distributor shall cease to have any obligation to fund
                   future costs directly related to Phase 2-B of the Clearinghouse or to
                   implement the Clearinghouse’s determinations as to identification of
                   Suspicious Orders and Suspicious Order reporting. If an Injunctive Relief
                   Distributor elects not to participate in Phase 2-B, that Injunctive Relief
                   Distributor shall remain responsible for the requirements specified for
                   Phase 1 and Phase 2-A of the Clearinghouse and shall be responsible for
                   contributing to the costs associated with Phase 1 and Phase 2-A.

             2.    In the event that an Injunctive Relief Distributor elects not to participate in
                   Phase 2-B, the Clearinghouse Advisory Panel shall discuss and make
                   recommendations for any necessary adjustments to the Phase 2-B
                   capabilities described in Section XVII.D.3.

       F.    Funding

             1.    The establishment and ongoing operations of the Clearinghouse shall be
                   funded by the Injunctive Relief Distributors for a period of ten (10) years
                   commencing on the Clearinghouse Retention Date.

             2.    For each of the first two (2) years of the operation of the Clearinghouse,
                   the Injunctive Relief Distributors will make total payments of $7.5 million
                   per year combined. For years three (3) through ten (10), the Injunctive
                   Relief Distributors will make total payments of $3 million per year
                   combined. Additional costs associated with Phase 2-B shall be billed to
                   the Injunctive Relief Distributors participating in Phase 2-B.

             3.    Payments by the Injunctive Relief Distributors for the Clearinghouse shall
                   be allocated among the Injunctive Relief Distributors as set forth in
                   Section IV.H of the Settlement Agreement, dated as of July 21, 2021,
                   which incorporates these Injunctive Relief Terms as Exhibit P.

             4.    In the event that the cost of the Clearinghouse exceeds the amounts
                   provided by the Injunctive Relief Distributors, the Injunctive Relief
                   Distributors and State Compliance Review Committee shall meet-and-
                   confer on alternatives, which may include:

                   a)     Limiting the operations of the Clearinghouse consistent with a
                          revised budget;

                   b)     Seeking additional sources of funding for the Clearinghouse;
                          and/or



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                   c)     Allocating, in a manner consistent with the allocation of payments
                          between the Injunctive Relief Distributors as set forth in Section
                          XVII.F.3, additional amounts that are the responsibility of the
                          Injunctive Relief Distributors to be used for the operation of the
                          Clearinghouse.

             5.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee agree to engage in good faith discussions regarding potential
                   continued operation and funding of the Clearinghouse following the initial
                   ten (10) year period of Clearinghouse operations.

             6.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee shall develop a means to obtain payments from other parties
                   that may use or benefit from the Clearinghouse, including, but not limited
                   to, other settling defendants, non-Injunctive Relief Distributors, or other
                   parties and the Clearinghouse Advisory Panel shall consider other funding
                   sources for the Clearinghouse. This may include consideration of a user
                   fee or other model by which non-Injunctive Relief Distributors that use the
                   Clearinghouse will contribute to funding the Clearinghouse.

             7.    In the event that ten (10) or more Settling States reach agreements with
                   any national retail chain pharmacies to resolve claims related to the
                   distribution of Controlled Substances, the Settling States’ Attorneys’
                   General agree to make participation in the Clearinghouse, including
                   providing data to the Clearinghouse and contribution to the cost of the
                   operation of the Clearinghouse, a condition of any settlement. The Settling
                   States’ Attorneys’ General agree to make best efforts to ensure that any
                   other settling distributors and/or pharmacies participate in the
                   Clearinghouse. To the extent that the Attorneys General are able to secure
                   participation by additional distributors and/or pharmacies, it is anticipated
                   that, to the extent practicable based on the financial and relative size of the
                   settling distributor and/or pharmacy, those entities will contribute to the
                   cost of the operation of the Clearinghouse. The Injunctive Relief
                   Distributors’ obligation to fund the Clearinghouse shall be partially
                   reduced by contributions obtained from other distributors and/or
                   pharmacies pursuant to a formula to be determined by the Clearinghouse
                   Advisory Panel.

       G.    Confidentiality

             1.    All data provided to the Clearinghouse shall be confidential.

             2.    Information provided by distributors participating in the Clearinghouse
                   may not be provided to any other entity or individual outside those
                   expressly contemplated by the Injunctive Relief Terms.




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             3.    The Clearinghouse may not provide to any distributor information specific
                   to another distributor. Notwithstanding the prior sentence, the
                   Clearinghouse may provide blinded data to a distributor reflecting total
                   Orders (across all distributors) for a particular Customer, region, and/or
                   state at the base code and NDC number level and all transactional data
                   information. Such information may only be used by receiving distributors
                   for purposes of identifying, minimizing, or otherwise addressing the risk
                   of Controlled Substances diversion. No distributor or pharmacy, including
                   the Injunctive Relief Distributors, shall attempt to obtain revenue from this
                   information. Such information provided by the Clearinghouse shall be
                   compliant with all applicable laws and regulations.

             4.    If the Clearinghouse receives a request for disclosure of any data, material
                   or other information created or shared under the Injunctive Relief Terms,
                   pursuant to a Third Party Request, the Clearinghouse shall notify the
                   Injunctive Relief Distributors and the Clearinghouse Advisory Panel of the
                   Third Party Request and any confidential information to be disclosed so
                   that the Injunctive Relief Distributors may seek a protective order or
                   otherwise challenge or object to the disclosure. The Clearinghouse shall
                   provide the Injunctive Relief Distributors and the Clearinghouse Advisory
                   Panel with at least ten (10) days’ advance notice before complying with
                   any Third Party Request for confidential information, except where state
                   law requires a lesser period of advance notice.

       H.    Data Integrity

             1.    The Clearinghouse shall use best-in-class technology to preserve the
                   integrity of the data.

             2.    The Clearinghouse shall report any data breaches under HIPAA and state
                   law that occur as a result of any of its data collection and reporting
                   activities to the Settling States and other authorities as required by law.

             3.    The Injunctive Relief Distributors and the Settling States shall not be
                   liable for any breaches of any databases maintained by the Clearinghouse.
                   This does not excuse the Clearinghouse or its vendor(s) from compliance
                   with all state and federal laws and regulations governing (1) the protection
                   of personal information and protected health information, or (2)
                   notifications relating to Data Security Events.

       I.    Credit for Investment in the Clearinghouse

             1.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee shall negotiate in good faith regarding a potential credit against
                   Injunctive Relief Distributors’ overall settlement obligations if costs
                   exceed the amounts specified in Section XVII.F.




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 XVIII. MONITOR

       A.    Monitor Selection and Engagement

             1.    The Injunctive Relief Distributors shall engage a Monitor to perform the
                   reviews described in Section XVIII.F. The Monitor shall employ or retain
                   personnel who have appropriate qualifications related to the
                   pharmaceutical industry and the laws governing the distribution of
                   pharmaceuticals, the distribution of Controlled Substances, and the
                   applicable requirements of federal and state law. The Monitor may also
                   employ or retain personnel who have appropriate qualifications in the
                   audit and review of sample documents in order to conduct the reviews
                   described in Section XVIII.F. To the extent additional expertise is required
                   for the engagement, the Monitor may retain the services of third-party
                   consultants.

             2.    The Monitor must perform each review described in Section XVIII.F in a
                   professionally independent and objective fashion, as defined in the most
                   recent Government Auditing Standards issued by the United States
                   Government Accountability Office. A Monitor shall not be engaged in
                   active litigation involving one or more of the Injunctive Relief Distributors
                   or Settling States or present a potential conflict of interest involving
                   matters concerning an Injunctive Relief Distributor, except by agreement
                   of the affected parties. If the Monitor is employed by an entity that
                   performed work for any Injunctive Relief Distributor or any of the Settling
                   States prior to the Effective Date, the Monitor will cause to be
                   implemented appropriate ethical walls between the Monitor team and the
                   employees of the firm who have previously performed work for an
                   Injunctive Relief Distributor or any of the Settling States.

             3.    The process for selecting the Monitor shall be as follows:

                   a)     Within sixty (60) calendar days of the Effective Date, the
                          Injunctive Relief Distributors and the State Compliance Review
                          Committee shall exchange pools of recommended candidates to
                          serve as the Monitor. The pools shall each contain the names of
                          three (3) individuals, groups of individuals, or firms.

                   b)     After receiving the pools of Monitor candidates, the Injunctive
                          Relief Distributors and the State Compliance Review Committee
                          shall have the right to meet with the candidates and conduct
                          appropriate interviews of the personnel who are expected to work
                          on the project. The Injunctive Relief Distributors (individually or
                          in combination) and the State Compliance Review Committee may
                          veto any of the candidates, and must do so in writing within thirty
                          (30) days of receiving the pool of candidates. If all three (3)
                          candidates within a pool are rejected by either the Injunctive Relief


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                          Distributors or the State Compliance Review Committee, the party
                          who rejected the three (3) candidates may direct the other party to
                          provide up to three (3) additional qualified candidates within thirty
                          (30) calendar days of receipt of said notice.

                   c)     If the Injunctive Relief Distributors or the State Compliance
                          Review Committee do not object to a proposed candidate, the
                          Injunctive Relief Distributors or the State Compliance Review
                          Committee shall so notify the other in writing within thirty (30)
                          days of receiving the pool of candidates. If more than one
                          candidate remains, the State Compliance Review Committee shall
                          select the Monitor from the remaining candidates. Within thirty
                          (30) calendar days of the selection of the Monitor, the Injunctive
                          Relief Distributors shall retain the Monitor, and finalize all terms
                          of engagement, supplying a copy of an engagement letter to the
                          State Compliance Review Committee. The terms of engagement
                          shall include a process by which Injunctive Relief Distributors may
                          challenge Monitor costs as excessive, duplicative or unnecessary,
                          which process must be approved by the State Compliance Review
                          Committee.

             4.    The Injunctive Relief Distributors shall be responsible for the Monitor’s
                   fees and costs directly related to its performance of the work specified by
                   the Injunctive Relief Terms up to a limit of $1,000,000 per year per
                   Injunctive Relief Distributor (i.e., a total of $3,000,000 per year).

             5.    Prior to each year, the Monitor shall submit a combined annual budget to
                   the Injunctive Relief Distributors and State Compliance Review
                   Committee that shall not exceed a total of $3,000,000. The Monitor shall
                   submit quarterly reports to the Injunctive Relief Distributors and the State
                   Compliance Review Committee tracking actual spend to the annual
                   budget.

             6.    In the event that any of the Injunctive Relief Distributors or State
                   Compliance Review Committee believe that the Monitor is not performing
                   its duties and responsibilities under the Injunctive Relief Terms in a
                   reasonably cost effective manner, an Injunctive Relief Distributor or the
                   State Compliance Review Committee shall recommend in writing changes
                   to the Monitor’s practices to reduce cost. The Monitor, Injunctive Relief
                   Distributors, and the State Compliance Review Committee shall meet and
                   confer in good faith in response to such a recommendation.

             7.    In the event that the Injunctive Relief Distributor and the State
                   Compliance Review Committee cannot agree on whether the
                   recommended cost reductions are warranted, either the State Compliance
                   Review Committee or the Injunctive Relief Distributors may submit the
                   question to the National Arbitration Panel, who shall determine whether


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                    the Monitor is performing its duties and responsibilities under the
                    Injunctive Relief Terms in a reasonably cost effective manner, and, if not,
                    the necessary changes to the Monitor’s practices to reduce cost.

             8.     If the National Arbitration Panel determines that the Monitor cannot
                    complete the reviews described in Section XVIII.F within the combined
                    annual budget of $3,000,000, the National Arbitration Panel shall require
                    the Monitor to provide the Injunctive Relief Distributors and the State
                    Compliance Review Committee with a written report explaining why it is
                    not possible to complete the reviews within budget and all steps the
                    Monitor has taken to perform its duties and responsibilities under the
                    Injunctive Relief Terms in a reasonably cost effective manner. After
                    receiving the Monitor’s report, the Injunctive Relief Distributors, and the
                    State Compliance Review Committee shall meet and confer in good faith
                    to determine whether an increase in the combined budget is appropriate. If
                    the Injunctive Relief Distributors and the State Compliance Review
                    Committee cannot reach an agreement on the amount of the reasonable
                    costs in excess of $3,000,000 for the relevant year, the issue will be
                    submitted to the National Arbitration Panel for resolution. The National
                    Arbitration Panel may award additional costs up to total cap of $5,000,000
                    for the relevant year ($3,000,000 plus an additional $2,000,000).

             9.     Unless the Injunctive Relief Distributors and the State Compliance
                    Review Committee agree otherwise as part of the meet and confer process
                    in the prior paragraph (such as by agreeing to limit the Monitor’s duties
                    and responsibilities for the remainder of the year), the amount above
                    $3,000,000 and up to the total cap of $5,000,000 in a given year necessary
                    for the Monitor to complete the reviews described in Section XVIII.F shall
                    be divided evenly among the Injunctive Relief Distributors without
                    reducing any other amounts that are the responsibility of the Injunctive
                    Relief Distributors.

       B.    Early Termination of the Monitor

             1.     In the event any of the Injunctive Relief Distributors or State Compliance
                    Review Committee believe that the Monitor is not performing its duties
                    and responsibilities under the Injunctive Relief Terms in a reasonably
                    professional, competent and independent manner, an Injunctive Relief
                    Distributor or the State Compliance Review Committee shall recommend
                    replacement of the Monitor in writing. The Injunctive Relief Distributors
                    and the State Compliance Review Committee shall meet and confer in
                    good faith in response to a recommendation to replace the Monitor. If the
                    State Compliance Review Committee and the Injunctive Relief
                    Distributors agree that the Monitor should be replaced, a replacement
                    Monitor will be selected in the manner set forth in Section XVIII.A.3.




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             2.     In the event the Injunctive Relief Distributor and the State Compliance
                    Review Committee cannot agree on whether the Monitor should be
                    replaced, either the State Compliance Review Committee or the Injunctive
                    Relief Distributors may submit the question of the Monitor’s dismissal to
                    the National Arbitration Panel, and the Monitor shall only be dismissed if
                    that panel finds that there is Good Cause for dismissal. Good Cause for
                    dismissal shall mean (a) a material and substantial breach of the terms of
                    the Monitor’s obligations under the Injunctive Relief Terms; (b) any act of
                    dishonesty, misappropriation, embezzlement, intentional fraud, or similar
                    conduct by the Monitor; (c) any clear pattern of bias or prejudice in favor
                    or against any party by the Monitor; (d) conduct by the Monitor that
                    demonstrates unfitness to fulfill the functions of the Monitor reasonably
                    and competently; or (e) conflicts of interest described in Section
                    XVIII.A.2. If the panel finds that the Monitor should be dismissed, a
                    replacement Monitor will be selected in the manner set forth in Section
                    XVIII.A.3.

             3.     In addition, if the Monitor resigns for any reason, a replacement Monitor
                    will be selected in the manner set forth in Section XVIII.A.3.

       C.    Term and Reporting Periods

             1.     The term of the Monitor will be five (5) years from the date the Monitor is
                    appointed, divided into one-year periods for purposes of the reviews and
                    reporting described in Section XVIII (“Reporting Periods”).

       D.    Monitor Access to Information

             1.     In connection with its reviews set forth in Section XVIII.F, the Monitor
                    may request to interview employees with appropriate authority and
                    responsibilities as necessary. In the event that an Injunctive Relief
                    Distributor believes that the Monitor is requesting an unreasonable
                    number of interviews or requesting interviews of employees who do not
                    have relevant information to the reviews required by Section XVIII.F, the
                    Injunctive Relief Distributor and State Compliance Review Committee
                    shall meet and confer in good faith to resolve this issue.

             2.     The Chief Diversion Control Officer of each Injunctive Relief Distributor
                    or a direct report of the Chief Diversion Control Officer shall serve as the
                    primary point of contact for the Monitor to facilitate the Monitor’s access
                    to documents, materials, or staff necessary to conduct the reviews
                    specified in Section XVIII.F. The Monitor shall communicate any request
                    for documents, materials, or access to staff to the Chief Diversion Control
                    Officers or their designees.

             3.     If at any time the Monitor believes there is undue delay, resistance,
                    interference, limitation, or denial of access to any records or to any


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                    employee or former employee deemed necessary by the Monitor to
                    conduct the reviews specified in Section XVIII.F, the Monitor shall notify
                    the Chief Diversion Control Officer of the Injunctive Relief Distributor
                    and they shall meet and confer to resolve such issue. If the Monitor
                    believes that the matter was not resolved, the Monitor shall immediately
                    report the issue to the State Compliance Review Committee.

             4.     To the extent any of the documents requested by the Monitor contain
                    material protected from disclosure by any legal privilege, including the
                    attorney-client privilege or attorney work product protections, an
                    Injunctive Relief Distributor may redact such material before providing
                    the documents to the Monitor, but must provide the Monitor with a
                    privilege log describing the redacted information and identifying the basis
                    for redaction.

             5.     Notwithstanding any other information referenced and produced pursuant
                    to Section XVIII, the Monitor shall have access to, and each Injunctive
                    Relief Distributor’s Chief Diversion Control Officer shall produce to the
                    Monitor, any settlement agreements with government entities entered into
                    after the Effective Date specifically concerning the requirements contained
                    in the Injunctive Relief Terms and an Injunctive Relief Distributor’s
                    distribution of Controlled Substances (as opposed to distribution of
                    pharmaceutical products in general).

       E.    Settling States’ Access to Monitor

             1.     Other than in connection with the initiation of a Notice of Potential
                    Violation set forth in Section XIX.B.2, should the Monitor believe it needs
                    to initiate communication with the State Compliance Review Committee
                    regarding an Injunctive Relief Distributor’s compliance with the
                    Injunctive Relief Terms, the Monitor’s communications should include the
                    Chief Diversion Control Officer or counsel of the affected Injunctive
                    Relief Distributor, regardless of the form of communication.

             2.     The State Compliance Review Committee shall have access to any
                    settlement agreements produced to the Monitor pursuant to Section
                    XVIII.D.5.

       F.    Reviews to be Conducted by the Monitor

             1.     There shall be two (2) types of reviews to be conducted by the Monitor:

                    a)     Customer-specific reviews, as set forth in Section XVIII.F.2; and

                    b)     System reviews, as set forth in Section XVIII.F.3.




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             2.    Customer-Specific Reviews

                   a)    The following Customer-specific reviews will be conducted by the
                         Monitor for each Injunctive Relief Distributor for each of the
                         Reporting Periods:

                         (1)    Threshold Change Request Review (“TCR Review”);

                         (2)    Onboarding New Customer Review (“Onboarding
                                Review”);

                         (3)    Ongoing Due Diligence Review (“Ongoing Diligence
                                Review”);

                         (4)    Customer Termination Review (“Termination Review”);
                                and

                         (5)    Orders that Exceed Thresholds but are Shipped Review
                                (“Exceeded Threshold Review”).

                   b)    Sample selection and audit periods for TCR Reviews, Onboarding
                         Reviews, Ongoing Diligence Reviews, Termination Reviews, and
                         Exceeded Threshold Reviews:

                         (1)    For each Reporting Period, the Monitor will review a
                                representative sample of files for the performance of the
                                TCR Reviews, Onboarding Reviews, and Ongoing
                                Diligence Reviews. The Monitor shall select a sample
                                representative of various geographic regions, customer
                                types (Independent Retail Pharmacy Customers or Chain
                                Customer), and distribution centers.

                         (2)    The Monitor will meet and confer with each of the
                                Injunctive Relief Distributors to determine the appropriate
                                audit period within each Reporting Period from which the
                                samples will be selected (e.g. samples will be selected from
                                the first six (6) months of a reporting period to allow the
                                Monitor time to perform its review during the remainder of
                                the reporting period).

                         (3)    Within thirty (30) calendar days following the close of the
                                agreed-upon audit period, the Injunctive Relief Distributors
                                (or the Clearinghouse once operational, if able to do so)
                                will provide the Monitor with the following lists of relevant
                                Customers for each type of review:

                                (a)    A list of all Customers that requested at least one
                                       Threshold increase for a Highly Diverted Controlled


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                                       Substance during the relevant audit period,
                                       including the number of such requests by each
                                       Customer;

                               (b)     A list of all Customers that were onboarded during
                                       the relevant audit period and, during that period,
                                       ordered and received Highly Diverted Controlled
                                       Substances;

                               (c)     A list of all Customers that were the subject of an
                                       Ongoing Diligence Review during the relevant audit
                                       period;

                               (d)     A list of all Customers that, for reasons related to
                                       Controlled Substance regulatory compliance, were
                                       terminated during the relevant audit period; and

                               (e)     A list of all Orders for Highly Diverted Controlled
                                       Substances where a decision was made to ship the
                                       Order even though the order exceeded the otherwise
                                       applicable Threshold, with number of such shipped
                                       orders.

                         (4)   Within fifteen (15) calendar days of compiling this
                               Customer information for sample selection, each Injunctive
                               Relief Distributor shall propose a reasonable number of
                               customer files for each review to the Monitor.

                         (5)   Within fifteen (15) calendar days of receiving the lists
                               specified above from the Injunctive Relief Distributors, the
                               Monitor shall choose representative files to be reviewed
                               from these lists. Each list will include the Customers’ zip
                               code, geographic region, distribution center, and customer
                               type (Independent Retail Pharmacy Customer or Chain
                               Customer).

                   c)    TCR Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct a
                               TCR Review for a sample review of Customers who
                               requested at least one Threshold increase for Highly
                               Diverted Controlled Substances for each Injunctive Relief
                               Distributor. For the TCR Reviews, the Monitor shall review
                               the information contained in the files of the sample
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section
                               XII.C.3.



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                   d)    Onboarding Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct an
                               Onboarding Review of a sample of Customers that were
                               onboarded during the applicable audit period and, during
                               that period, ordered and received Highly Diverted
                               Controlled Substances from the Injunctive Relief
                               Distributor. For the Onboarding Reviews, the Monitor shall
                               review the information contained in the files of the sample
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section IX.

                   e)    Ongoing Diligence Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct an
                               Ongoing Diligence Review of a sample of Customers for
                               each Injunctive Relief Distributor that was the subject of an
                               Ongoing Diligence Review during the relevant audit
                               period. For the Ongoing Diligence Reviews, the Monitor
                               shall review the information contained in the files of the
                               sample of Customers and determine whether the
                               information reflects substantial compliance with the
                               requirements of Section X.

                   f)    Termination Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct a
                               review of a sample of Customers that were terminated by
                               each Injunctive Relief Distributor during the audit period.
                               For the Termination Reviews, the Monitor shall review the
                               information contained in the files of the sample of
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section
                               XIV.

                   g)    Exceeded Threshold Review

                         (1)   For each Reporting Period, the Monitor shall conduct a
                               review of a sample of Orders for Highly Diverted
                               Controlled Substances where a decision was made by the
                               Injunctive Relief Distributor to ship the Order even though
                               the Order exceeded the applicable Threshold. For the
                               Exceeded Threshold Reviews, the Monitor shall review the
                               information contained in the Customer files related to the
                               Orders and determine whether the information reflects
                               substantial compliance with the requirements of Section
                               XIII.B.


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             3.    Annual System Reviews:

                   a)    The following system reviews will be conducted by the Monitor
                         for each Injunctive Relief Distributor for each of the Reporting
                         Periods:

                         (1)    CSMP Review;

                         (2)    Threshold Setting Process Review;

                         (3)    Suspicious Orders and Suspicious Order Report Review;

                         (4)    Compensation Review;

                         (5)    Red Flag Review; and

                         (6)    Review of CSMP Integration with Clearinghouse.

                   b)    CSMP Review

                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of the following materials from each Injunctive
                                Relief Distributor:

                                (a)    Current CSMP policies and procedures;

                                (b)    Organizational charts for the departments that are
                                       relevant to the CSMP organization;

                                (c)    Logs and/or summaries of any reports received on
                                       the “hot line” required by Section V.E and the
                                       action or response of an Injunctive Relief
                                       Distributor to any such reports;

                                (d)    Copies of the quarterly reports provided by the
                                       Chief Diversion Control Officer to the CSMP
                                       Committee as required by Section IV.C;

                                (e)    Copies of the quarterly reports provided by the
                                       CSMP Committee to senior management and the
                                       Board of Directors as required by Section VI.C; and

                                (f)    Copies of the materials used for the training
                                       required by Section VII and lists of the attendees of
                                       the training.




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                   c)    Threshold Setting Process Review:

                         (1)    For each Reporting Period, each Injunctive Relief
                                Distributor or its outside consultants shall prepare a
                                summary report describing how its Threshold-setting
                                methodology for Independent Retail Pharmacy Customers
                                and Chain Customers complies with Section XII (the
                                “Annual Threshold Analysis and Assessment Report”).

                         (2)    For each Reporting Period, the Monitor shall review the
                                Annual Threshold Analysis and Assessment Report,
                                determine whether the information reflects substantial
                                compliance with the requirements of Section XII, and
                                include any Observations and Recommendations, as
                                defined in Section XVIII.G, in its annual Audit Report.

                   d)    Suspicious Orders and Suspicious Order Reporting Review:

                         (1)    For each Reporting Period, each Injunctive Relief
                                Distributors will provide the Monitor with a report
                                containing summary metrics for the Suspicious Orders that
                                were reported to the DEA and the Settling States (the
                                “Suspicious Order Metrics Report”). In the Suspicious
                                Order Metrics Report, the Injunctive Relief Distributors
                                will also provide summary metrics for Orders of Highly
                                Diverted Controlled Substances that exceeded a Threshold
                                but were still shipped.

                         (2)    For each Reporting Period, the Monitor shall review the
                                Suspicious Order Metrics Report, determine whether the
                                information reflects substantial compliance with the
                                requirements of Section XIII, and include any Observations
                                and Recommendations in its annual Audit Report.

                   e)    Compensation Reviews:

                         (1)    For each Reporting Period, the Monitor will review
                                compensation-related policy documents for each Injunctive
                                Relief Distributor for sales personnel. The Monitor shall
                                analyze those documents and determine whether the
                                compensation policies of each Injunctive Relief Distributor
                                comply with the requirements contained in Section V.

                   f)    Red Flags Review:

                         (1)    For each Reporting Period, the Monitor shall review the
                                Red Flags defined in Section VIII and their incorporation
                                into each Injunctive Relief Distributor’s policies and


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                                     procedures. The Monitor shall determine whether the
                                     information reflects substantial compliance with the
                                     requirements of Section VIII and include any Observations
                                     and Recommendations, as called for by Section VIII.C,
                                     about those definitions in its annual Audit Report.

                    g)        Review of CSMP Integration with the Clearinghouse:

                              (1)    For each Reporting Period, each Injunctive Relief
                                     Distributor shall prepare a report summarizing the status of
                                     the Injunctive Relief Distributor’s CSMP integration with
                                     the operation of the Clearinghouse (“Clearinghouse
                                     Integration Report”). The Monitor shall review each
                                     Injunctive Relief Distributor’s Clearinghouse Integration
                                     Report, determine whether the information reflects
                                     substantial compliance with the requirements of Section
                                     XVII, and include any Observations and Recommendations
                                     in its annual Audit Report.

       G.    Observations and Recommendations:

             1.     If the Monitor notes any areas for potential improvement during the course
                    of the reviews conducted pursuant to the Injunctive Relief Terms, the
                    Monitor shall include any such recommendations in the Audit Report.
                    Collectively, any such questions, concerns or recommendations will be
                    referred to as “Observations and Recommendations.”

       H.    Audit Reports:

             1.     No later than one hundred and twenty (120) calendar days prior to the end
                    of a Reporting Period and/or at any other time deemed reasonably
                    necessary by the Monitor, the Monitor shall provide each Injunctive Relief
                    Distributor with a draft report detailing any instances of substantial non-
                    compliance with the applicable provisions of the Injunctive Relief Terms
                    from the reviews in Section XVIII.F (the “Draft Report”). The Draft
                    Report will also describe any Observations and Recommendations.

             2.     Within thirty (30) calendar days of its receipt of the Draft Report, the
                    Injunctive Relief Distributor will provide comments and responses to the
                    Draft Report. The Injunctive Relief Distributor will, among other things:

                    a)        Respond to each instance of substantial non-compliance, including,
                              where appropriate, describing any corrective action taken (or to be
                              taken).

                    b)        Respond to each Observation and Recommendation.




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             3.     Within thirty (30) calendar days of its receipt of the Injunctive Relief
                    Distributors’ responses to the Draft Report, the Monitor shall provide a
                    final report (the “Audit Report”) to each Injunctive Relief Distributor and
                    the State Compliance Review Committee. The Monitor shall provide the
                    State Compliance Review Committee with a copy of an Injunctive Relief
                    Distributor’s response to the Draft Report.

             4.     No action or lack of action by the Settling States regarding information
                    received from the Monitor concerning an Injunctive Relief Distributor’s
                    conduct shall be considered affirmation, acceptance, or ratification of that
                    conduct by the Settling States.

       I.    Confidentiality:

             1.     Materials and information provided by the Injunctive Relief Distributors
                    to the Monitor that are designated “Confidential” (and any parts, portions,
                    or derivations thereof) (the “Confidential Information”) will be kept
                    confidential and not be shown, disclosed, or distributed to any other party,
                    including any other Injunctive Relief Distributor.

             2.     The Monitor will not use materials or information received from one
                    Injunctive Relief Distributor, or information or analysis developed using
                    the Confidential Information of an Injunctive Relief Distributor, in its
                    assessment of any other Injunctive Relief Distributor. Because each
                    Injunctive Relief Distributor operates pursuant to its own unique policies
                    and procedures intended to comply with legal and other requirements of
                    the Injunctive Relief Terms, the Monitor shall apply the standards of each
                    Injunctive Relief Distributor to its reviews without preference to the
                    practices or standards applied by any other Injunctive Relief Distributor.

             3.     If any of the Settling States or the Monitor receive a request for disclosure
                    of any material or information created or shared under the Injunctive
                    Relief Terms, pursuant to a Third Party Request, the Settling State or the
                    Monitor, respectively, shall notify the Injunctive Relief Distributors of the
                    Third Party Request and the Confidential Information to be disclosed so
                    that the Injunctive Relief Distributors may seek a protective order or
                    otherwise challenge or object to the disclosure. The Settling State or the
                    Monitor will provide the Injunctive Relief Distributors with at least ten
                    (10) days’ advance notice before complying with any Third Party Request
                    for Confidential Information, except where state law requires a lesser
                    period of advance notice.

             4.     Nothing herein will be deemed to prevent any party from claiming any
                    applicable exemption to the public information act, freedom of
                    information act, public records act, or similar law.




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 XIX. ENFORCEMENT OF INJUNCTIVE RELIEF TERMS

       A.    State Compliance Review Committee:

             1.     Any Settling State may initiate a review of a Potential Violation consistent
                    with the process set forth in Section XIX.

             2.     The State Compliance Review Committee shall assign the Monitor the
                    responsibilities set forth in Sections XIX.B.3 through XIX.B.7, regarding
                    review of a Potential Violation and an opportunity to cure, except with
                    respect to matters requiring interpretation of the Injunctive Relief Terms
                    subject to Section XIX.C.2. The objective of the Monitor shall be to
                    facilitate a resolution among the parties, providing an opportunity to cure,
                    as applicable, for the party against whom a Potential Violation has been
                    alleged.

             3.     No less than six (6) months before the Monitor’s term expires pursuant to
                    Section XVIII, the State Compliance Review Committee and Injunctive
                    Relief Distributors shall meet and confer in good faith to determine the
                    parameters and processes for continued enforcement, consistent to the
                    maximum extent possible with the provisions set forth in Section XIX, for
                    the period after the Monitor’s term has ended. Absent agreement between
                    the State Compliance Review Committee and Injunctive Relief
                    Distributors, all provisions set forth in Section XIX involving the Monitor
                    are excused after the Monitor’s term has ended.

             4.     Should an Injunctive Relief Distributor allege in good faith that a Settling
                    State or the Monitor has impaired the ability of the Injunctive Relief
                    Distributor to meet the Injunctive Relief Terms, the Injunctive Relief
                    Distributor may request the State Compliance Review Committee to
                    mediate any dispute in an effort to avoid the time and expense of litigation
                    regarding interpretation and enforcement of the Injunctive Relief Terms.

       B.    Process for Review of Potential Violations and Opportunity to Cure:

             1.     Definition of “Potential Violation”: A Potential Violation occurs when an
                    Injunctive Relief Distributor is alleged to not be in substantial compliance
                    with (i) the Injunctive Relief Terms or (ii) a Corrective Action Plan
                    adopted consistent with the process set forth in Section XIX.B.7.

             2.     Submission of Notice of Potential Violation. An allegation of a Potential
                    Violation shall be submitted to the State Compliance Review Committee
                    in writing by one or more Settling States (“Notice of Potential Violation”
                    or “Notice”) and shall include the following to the extent practicable:

                    a)     Specification of the particular Injunctive Relief Term(s) and/or
                           Corrective Action Plan(s) implicated by the Potential Violation;



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                   b)     Description of the Potential Violation with specificity;

                   c)     The reasoning for and, if available, any documentation supporting
                          the allegation that a Potential Violation has occurred, including
                          whether the Potential Violation is a matter identified by the
                          Monitor in an Audit Report; and

                   d)     Description of the time-sensitivity of the Potential Violation, if
                          relevant.

             3.    Assignment to Monitor. The State Compliance Review Committee shall
                   review every Notice. If the State Compliance Review Committee
                   reasonably believes that further review is warranted, the State Compliance
                   Review Committee shall forward the Notice to the Monitor. The Monitor
                   shall ensure that the Injunctive Relief Distributor that is the subject of the
                   Notice receives a copy of the Notice and a proposed schedule consistent
                   with the process set forth in Sections XIX.B.4 and XIX.B.5.

             4.    Response to Notice of Potential Violation. Within thirty (30) days of
                   receipt of the Notice of Potential Violation, the Injunctive Relief
                   Distributor that is the subject of the Notice shall provide a written
                   response to the referring Settling State(s), the Monitor, and the State
                   Compliance Review Committee. The response (a) shall set forth the
                   reasons the Injunctive Relief Distributor that is the subject of the Notice
                   believes that it is in substantial compliance with the relevant Injunctive
                   Relief Term(s) and/or Corrective Action Plan(s), and (b) as applicable,
                   shall explain efforts undertaken to cure the Potential Violation and a
                   schedule for completing the efforts to cure.

             5.    Conference for Parties re Notice of Potential Violation. The parties to the
                   Notice shall meet or otherwise confer regarding the Potential Violation.
                   The parties and the Monitor shall make themselves available for such a
                   meeting (which may at any party’s election be a virtual or technology-
                   based meeting), provided, however, that the meeting is not required to take
                   place sooner than fifteen (15) days after a written response to the Notice of
                   Potential Violation.

             6.    Process for Previously-Submitted Notices of Potential Violation. At the
                   request of the parties to a Notice, the Monitor shall determine whether the
                   Notice implicates the same or similar issues as a previously submitted
                   Notice or is a matter previously identified by the Monitor in an Audit
                   Report involving the same party alleged to have engaged in a Potential
                   Violation, and make an initial determination as to whether the issues needs
                   to be addressed anew. The Monitor shall inform the Settling State and
                   Injunctive Relief Distributor involved in the previous Notice or the subject
                   of a matter previously identified by the Monitor in an Audit Report of its
                   determination within five (5) business days of receipt of the Notice. The


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                   Settling State and Injunctive Relief Distributor shall have five (5) business
                   days to object to the determination. If an objection is made, the Monitor
                   shall respond to the objection within five (5) business days. If no objection
                   is made, the party involved in the prior Notice may rely on the response to
                   the previously submitted Notice or matter previously identified by the
                   Monitor in an Audit Report and no further action shall be required.

             7.    Monitor Resolution of Potential Violation and Opportunity to Cure.
                   Within thirty (30) days of the meeting pursuant to Section XIX.B.5, the
                   Monitor, taking into consideration the submissions of the parties involved
                   in the Notice and other information available to the Monitor, shall resolve
                   the Notice as follows:

                   a)     If the Monitor reasonably believes that a Potential Violation is not
                          ongoing or has been substantially resolved as of thirty (30) days
                          from the meeting pursuant to Section XIX.B.5, the Monitor shall
                          provide written notice to the State Compliance Review Committee
                          and the Settling State(s) and Injunctive Relief Distributor involved
                          in the Notice.

                   b)     If the Monitor reasonably believes that a Potential Violation is
                          ongoing and has not been substantially resolved as of thirty (30)
                          days from the meeting pursuant to Section XIX.B.5, the Monitor
                          shall provide written notice to the State Compliance Review
                          Committee and the Settling State(s) and Injunctive Relief
                          Distributor involved in the Notice and request that the Injunctive
                          Relief Distributor prepare, within thirty (30) days of the receipt of
                          such written notice, a Corrective Action Plan to remedy such
                          Potential Violation, including a reasonable period for
                          implementation of such plan. The Monitor may extend the period
                          of time to submit a Corrective Action Plan up to ninety (90) days
                          based on a reasonable request by the affected party.

                   c)     A Corrective Action Plan may address multiple Potential
                          Violations, and an existing Corrective Action Plan may be
                          amended to address additional Potential Violations.

                   d)     Within ten (10) business days of submission of a Corrective Action
                          Plan regarding a Potential Violation, the Monitor shall confer with
                          the State Compliance Review Committee and the Settling State(s)
                          and Injunctive Relief Distributor involved in the Notice regarding
                          the proposed Corrective Action Plan. The Monitor may
                          recommend revisions in its discretion. The conference required by
                          this paragraph may at any party’s election be a virtual or
                          technology-based meeting.




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                   e)     Within thirty (30) days of the conference in Section XIX.B.7.d, the
                          Monitor shall advise the State Compliance Review Committee and
                          the Settling State(s) and Injunctive Relief Distributor involved in
                          the Notice whether the Monitor has adopted the proposed
                          Corrective Action Plan or whether the Monitor has adopted it after
                          making modifications. The Monitor shall also set forth a
                          reasonable period for implementation of any such plan that has
                          been adopted. The Injunctive Relief Distributor that is subject to a
                          Corrective Action Plan adopted by the Monitor must begin to
                          comply with the Corrective Action Plan within five (5) business
                          days of receiving notice of the Corrective Action Plan has been
                          adopted, unless it seeks review by the State Compliance Review
                          Committee pursuant to Section XIX.C.1.

       C.    Enforcement Responsibilities of State Compliance Review Committee:

             1.    The Settling State(s) or Injunctive Relief Distributor involved in a Notice
                   may request the State Compliance Review Committee to review the
                   resolution (including a resolution pursuant to Section XIX.B.7.a) and/or
                   Corrective Action Plan adopted by the Monitor regarding that Notice. Any
                   such request must be made within five (5) business days of a resolution or
                   adoption of a Corrective Action Plan by the Monitor. The State
                   Compliance Review Committee, taking into consideration the resolution
                   by the Monitor, submissions of the Settling State(s) or Injunctive Relief
                   Distributor, and other information available to the Committee, shall within
                   thirty (30) days of receipt of the request resolve the matter by written
                   notice to the affected parties, which shall include the State Compliance
                   Review Committee’s reasoning in reaching its resolution. The State
                   Compliance Review Committee may agree, disagree, or modify any
                   resolution or Corrective Action Plan that it reviews. An Injunctive Relief
                   Distributor that is subject to a Corrective Action Plan that is affirmed or
                   affirmed as amended by the State Compliance Review Committee must
                   within five (5) business days begin to comply with the Corrective Action
                   Plan.

             2.    The State Compliance Review Committee shall review any issues raised
                   by a Notice regarding the interpretation of the Injunctive Relief Terms at
                   the request of the Settling State(s), Injunctive Relief Distributor involved
                   in a Notice, or the Monitor. Such a request may be made at any time after
                   the Notice’s submission, and the request will not extend the timelines set
                   forth in Sections XIX.B and XIX.C.1. The State Compliance Review
                   Committee shall notify the Monitor, Settling State(s) and Injunctive Relief
                   Distributor involved in the Notice of its determination. Settling States and
                   Injunctive Relief Distributors do not waive their rights to challenge the
                   interpretation of the Injunctive Relief Terms by the State Compliance
                   Review Committee in any subsequent proceeding pursuant to Section
                   XIX.E.2.


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             3.    The State Compliance Review Committee may, independent of a Notice
                   of Potential Violation, review requests by a Monitor, Settling State, or
                   Injunctive Relief Distributor regarding the interpretation of the Injunctive
                   Relief Terms. The State Compliance Review Committee shall notify the
                   Monitor and requesting party of its interpretation, including the State
                   Compliance Review Committee’s reasoning in reaching its conclusion.
                   Settling States and Injunctive Relief Distributors do not waive their rights
                   to challenge the interpretation of the Injunctive Relief Terms by the State
                   Compliance Review Committee in any subsequent proceeding pursuant to
                   Section XIX.E.2.

             4.    The State Compliance Review Committee shall make available to all
                   Settling States and Injunctive Relief Distributors any interpretation it
                   issues pursuant to Sections XIX.C.2 and XIX.C.3.

       D.    Composition of State Compliance Review Committee:

             1.    A Settling State on the State Compliance Review Committee that is in
                   active litigation with one or more of the Injunctive Relief Distributors, or
                   in another potential conflict of interest involving compliance with
                   Controlled Substances laws and regulations, may not serve on the State
                   Compliance Review Committee for matters involving the affected
                   Injunctive Relief Distributor, and the remaining Settling States on the
                   State Compliance Review Committee shall within five (5) business days
                   select an alternate Settling State as a replacement.

             2.    If the affected state on the State Compliance Review Committee disputes
                   that it has a disqualifying active litigation or other conflict of interest, the
                   determination of whether that state has a conflict disqualifying it from
                   serving on the State Compliance Review Committee shall be made by the
                   remaining states on the State Compliance Review Committee.

       E.    Enforcement Actions:

             1.    Any written notice or resolution by the State Compliance Review
                   Committee regarding the matters set forth in Sections XIX.B and XIX.C
                   shall provide the State Compliance Review Committee’s assessment of the
                   matter but will not be an official opinion of any individual Settling State.

             2.    Following the issuance of a written notice or resolution of the State
                   Compliance Review Committee pursuant to Section XIX.C, a Settling
                   State or Injunctive Relief Distributor may take whatever action it deems
                   necessary related to the written notice or resolution issued by the State
                   Compliance Review Committee, provided that the Settling State or
                   Injunctive Relief Distributor is either (a) the Settling State that sought
                   review by the State Compliance Review Committee, or (b) the Injunctive
                   Relief Distributor that is the subject of the Potential Violation at issue.


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                   Such action may include but is not limited to bringing an action to enforce
                   the settlement agreement, filing a new original action, or, the parties to a
                   Notice attempting to negotiate a Corrective Action Plan directly with each
                   other.

             3.    The Settling States agree that prior to taking any court or administrative
                   action, other than an action that is necessary to address an immediate
                   threat to the health, safety, or welfare of the citizens of the Settling State,
                   or that a public emergency requiring immediate action exists, it will follow
                   the process outlined in Sections XIX.B and XIX.C.

             4.    A Settling State or Injunctive Relief Distributor must bring a court or
                   administrative action within six (6) months of any resolution of the State
                   Compliance Review Committee, unless the alleged violation is also an
                   independent violation of state or federal law, or an action that a Settling
                   State concludes is necessary to address an immediate threat to the health,
                   safety, or welfare of the citizens of the State, or that a public emergency
                   requiring immediate action exists, in which cases, the applicable statute of
                   limitations (if any) for sovereign actions shall apply.




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                                          EXHIBIT Q

                             Illustrative Examples of Prepayments

 Example 1

 Gross Settlement Prepayment: $3,000,000

 Settlement Prepayment Reduction Schedule: Reduce amounts paid for each of Payment Years 8,
 13, and 18 by $1,000,000

 Net Settlement Prepayment Amount (assumes discount rate of five percent (5%)): $2,591,513
 ($863,838 for each of Payment Years 5, 10, and 15)

                                       Settlement Prepayment   Net Settlement
                  Initial Settlement                                             Revised Settlement
   Payment Year                              Reduction          Prepayment
                  Payment Schedule                                               Payment Schedule
                                                 (-)                (+)
        1                $1,000,000                                                     $1,000,000
        2                $1,000,000                                                     $1,000,000
        3                $1,000,000                                                     $1,000,000
        4                $1,000,000                                                     $1,000,000
        5                $1,000,000                                   $863,838          $1,863,838
        6                $1,000,000                                                     $1,000,000
        7                $1,000,000                                                     $1,000,000
        8                $1,000,000               $1,000,000                                    $0
        9                $1,000,000                                                     $1,000,000
       10                $1,000,000                                   $863,838          $1,863,838
       11                $1,000,000                                                     $1,000,000
       12                $1,000,000                                                     $1,000,000
       13                $1,000,000               $1,000,000                                    $0
       14                $1,000,000                                                     $1,000,000
       15                $1,000,000                                   $863,838          $1,863,838
       16                $1,000,000                                                     $1,000,000
       17                $1,000,000                                                     $1,000,000
       18                $1,000,000               $1,000,000                                    $0
      Total             $18,000,000               $3,000,000        $2,591,513         $17,591,513




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 Example 2

 Gross Settlement Prepayment: $3,000,000

 Settlement Prepayment Reduction Schedule: Reduce amounts paid for each of Payment Years 4,
 9, and 14 by $1,000,000

 Net Settlement Prepayment Amount (assumes discount rate of five percent (5%)): $2,857,143
 ($952,381 for each of Payment Years 3, 8, and 13)

                                       Settlement Prepayment   Net Settlement
                  Initial Settlement                                             Revised Settlement
   Payment Year                              Reduction          Prepayment
                  Payment Schedule                                               Payment Schedule
                                                 (-)                (+)
        1                $1,000,000                                                     $1,000,000
        2                $1,000,000                                                     $1,000,000
        3                $1,000,000                                   $952,381          $1,952,381
        4                $1,000,000               $1,000,000                                    $0
        5                $1,000,000                                                     $1,000,000
        6                $1,000,000                                                     $1,000,000
        7                $1,000,000                                                     $1,000,000
        8                $1,000,000                                   $952,381          $1,952,381
        9                $1,000,000               $1,000,000                                    $0
       10                $1,000,000                                                     $1,000,000
       11                $1,000,000                                                     $1,000,000
       12                $1,000,000                                                     $1,000,000
       13                $1,000,000                                   $952,381          $1,952,381
       14                $1,000,000               $1,000,000                                    $0
       15                $1,000,000                                                     $1,000,000
       16                $1,000,000                                                     $1,000,000
       17                $1,000,000                                                     $1,000,000
       18                $1,000,000                                                     $1,000,000
      Total             $18,000,000               $3,000,000        $2,857,143         $17,857,143




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                                           EXHIBIT R

                       Agreement on Attorneys’ Fees, Expenses and Costs

         This Agreement on Attorneys’ Fees, Expenses and Costs (“Fee Agreement”) is entered
 between McKesson Corporation, Cardinal Health, Inc., and AmerisourceBergen Corporation
 (collectively, the “Settling Distributors”), and the Plaintiffs’ Executive Committee appointed in
 the multidistrict litigation in the Northern District of Ohio, National Prescription Opiate
 Litigation, No. 1:17-MD-2804 (“MDL PEC”), in connection with the Distributor Settlement
 Agreement (“Distributor Agreement”). This Fee Agreement becomes effective on the Effective
 Date of the Distributor Agreement or the date that the Consent Judgments anticipated under the
 Distributor Agreement become final in 25 Settling States (whichever is later). However, costs
 specified in Sections II.I and II.I.4 of this Fee Agreement that are to be funded pre-Effective
 Date by the Settling Distributors are effective upon agreement in writing with the Settling
 Distributors.

 I.     Definitions.

        A.      This Fee Agreement incorporates all defined terms in the Distributor Agreement,
 unless otherwise defined herein, and shall be interpreted in a manner consistent with the
 Distributor Agreement.

         B.      “Attorney.” Any of the following retained through a legal contract: a solo
 practitioner, a multi-attorney law firm, or other legal representative of a Participating
 Subdivision.

        C.      “Attorney Fee Fund.” An account consisting of funds allocated to pay attorneys’
 fees approved pursuant to Section II of this Fee Agreement established by Order of, and under
 the ongoing jurisdiction of, the MDL Court, as provided below.

        D.     “Common Benefit Fund.” The sub fund of the Attorney Fee Fund described in
 Section II.C.

        E.     “Contingency Fee Fund.” The sub fund of the Attorney Fee Fund described in
 Section II.D.

       F.     “Cost and Expense Fund Administrator.” The administrator appointed by the
 MDL Court to administer the MDL Expense Fund and Subdivision Cost Fund as provided in the
 Fee Agreement.

        G.      “Cost Funds.” Collectively, the MDL Expense Fund and Subdivision Cost Fund.

         H.      “Fee Entitlement.” Any right, entitlement or expectation, including but not
 limited to a fee contract, contingent fee contract, agreement, referral arrangement, co-counsel
 arrangement, State Back-Stop Agreement, or any other arrangement by which counsel could
 receive compensation or other consideration.




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         I.    “Fee Panel.” The three-person panel appointed by the MDL Court to administer
 the Attorney Fee Fund and its sub funds as provided in the Fee Agreement.

           J.      “Litigating Subdivision Cost Fund.” The cost fund described in Section II.E
 herein.

        K.      “MDL Court.” United States District Court for the Northern District of Ohio
 Eastern Division, Case No. 1:17-md-2804, Judge Dan Aaron Polster.

           L.      “MDL Expense Fund.” The cost fund described in Section II.F below.

           M.     “MDL PEC.” The Plaintiffs’ Executive Committee appointed by the MDL Court.

         N.     “Non-Participating Litigating Subdivision.” A Litigating Subdivision that is not a
 Participating Subdivision.

         O.     “Participating Litigating Subdivision.” A Litigating Subdivision that is also a
 Participating Subdivision.

       P.     “Participation Agreement.” An agreement executed by an Attorney that
 acknowledges the obligation to pay an appropriate MDL Common Benefit Assessment.

         Q.     “Qualifying Representation.” Legal services provided for representation of a
 Participating Litigating Subdivision regarding Released Claims against Released Entities.

        R.      “State Back-Stop Agreement.” Any agreement by a Settling State and private
 counsel for Participating Subdivisions in that State (or legislation enacted in that State) to
 provide, adjust, or guarantee attorneys’ fees and costs, whether from the Attorney Fee Fund or
 any other source recognized in the agreement or legislation.

 II.       Fees and Costs.

           A.     Total Attorneys’ Fees and Costs.

                   1.      Total attorneys’ fees and costs to be paid by Settling Distributors to
           Attorneys in each of the relevant Payment Years under this Fee Agreement shall be up to
           the following amounts, subject to the provisions set forth below, including with respect to
           the division of the Attorney Fee Fund into its sub funds:

                                 Attorney Fee Fund           MDL Expense             Litigating
                                (Contingency Fee Fund and      Fund               Subdivision Cost
                                  Common Benefit Fund)                                 Fund
       Payment Year 1                   $136,044,378.70        $40,384,615.39           $40,000,000
       Payment Year 2                   $150,934,911.25                                 $40,000,000
       Payment Year 3                   $270,825,443.80                                 $40,000,000
       Payment Year 4                   $183,625,739.68



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      Payment Year 5                $183,625,739.69
      Payment Year 6                $183,625,739.69
      Payment Year 7                $183,625,739.69

              2.      The sub funds within the Attorney Fee Fund shall include the Common
       Benefit Fund and the Contingency Fee Fund. The Cost Funds shall include the MDL
       Expense Fund, and the Litigating Subdivision Cost Fund. The State Counsel Fee Fund
       and the State Cost Fund shall be separate funds under the control of the Settling States.

               3.      The Contingency Fee Fund and the Common Benefit Fund shall be
       administered by a Fee Panel to be appointed by the MDL Court that will be governed by
       the provisions of this Fee Agreement and shall design the process and procedures for the
       allocation of fees pursuant to this Fee Agreement and the MDL Court’s Order. The Cost
       Funds shall be administered by the Cost and Expense Fund Administrator to be appointed
       by the MDL Court who will be governed by the provisions of this Fee Agreement and
       shall design the process and procedures for the allocation of costs pursuant to this Fee
       Agreement and the MDL Court’s Order.

               4.      The fees and costs to be paid under this Fee Agreement are available for
       Attorneys engaged in Qualifying Representations only. Fees and costs to be paid under
       this Fee Agreement are not available prior to the Effective Date of the Distributor
       Agreement or if the Distributor Agreement does not proceed past the Settling
       Distributors’ determination in Section VIII.A of the Distributor Agreement. Fees and
       costs to be paid under this Fee Agreement are not available for representation of Non-
       Participating Subdivisions or Non-Litigating Subdivisions and are not available for
       representation of private hospitals, third-party payors, NAS claimants, personal
       injury/wrongful death claimants, or any entity other than Participating Litigating
       Subdivisions. In addition, fees and costs under this Fee Agreement are not available for
       representation of any individual or entity in matters other than those claims against
       Released Entities, but may include a reasonable share of representations that involve
       development of facts for pursuit of opioid-related claims against multiple defendants in
       the pharmacy, manufacturing, and distribution chain.

               5.      Payments due to the Attorney Fee Fund and the Cost Funds from the
       Settling Distributors under this Section II will be allocated among the Settling
       Distributors as follows: McKesson — 38.1%; Amerisource — 31.0%; Cardinal —
       30.9%. A Settling Distributor’s sole responsibility for payments under this Fee
       Agreement shall be to make its share of each payment. The obligations of the Settling
       Distributors in this Fee Agreement are several and not joint. No Settling Distributor shall
       be responsible for any portion of another Settling Distributor’s share.

       B.     Attorney Fee Fund and Sub Funds.

              1.      There shall be a split of the Attorney Fee Fund into the Contingency Fee
       Fund and the Common Benefit Fund. The split shall be 40% to the Contingency Fee
       Fund and 60% to the Common Benefit Fund.


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               2.     In no event shall Settling Distributors be required to pay more into the
       Attorney Fee Fund in any Payment Year than the maximum amount specified for that
       Payment Year in Section II.A.1, which amounts are reflected in Exhibit M to the
       Distributor Agreement. The amounts allocated to the Contingency Fee Fund and the
       Common Benefit Fund set by the Fee Panel shall be subject to the reductions and offsets
       set forth below.

                3.      Awards of fees from the Contingency Fee Fund shall be available to
       Attorneys with Qualifying Representations of Participating Litigating Subdivisions
       eligible to receive an allocation under the Distributor Agreement, as set forth in Exhibit G
       to the Distributor Agreement, and shall be made applying the Mathematical Model
       attached as Exhibit A to this Fee Agreement (“Mathematical Model”). The collection of
       the data and calculations for the Mathematical Model has been a cooperative effort
       among private counsel for a large number of Litigating Subdivisions. The analysis has
       been spearheaded by Joseph Tann and Andrew Arnold. The Fee Panel is encouraged to
       continue working with those counsel in application of the Model. The Fee Panel shall
       oversee the application of the Model and resolve any questions or disputes concerning the
       eligibility of an Attorney to participate as required in Section II.G. The Panel is
       empowered to hear disputes concerning and ensure the accuracy of the mathematical
       calculation.

                 4.    As to awards from the Contingency Fee Fund, there shall be no right of
       appeal.

               5.     Any appeal of an award of the Fee Panel from the Common Benefit Fund
       will be made to the MDL Court and be reviewed under an abuse of discretion standard.

       C.        Common Benefit Fund. (60% of the Attorney Fee Fund.)

              1.       Funds in the Attorney Fee Fund shall be allocated to the Common
       Benefit Fund according to the schedule set forth below, subject to the adjustments
       described in Section II.C.5. The payments are to be made on the following yearly
       schedule, subject to the adjustments set forth below:

                             Payment Year 1           $81,626,627.22
                             Payment Year 2           $90,560,946.75
                             Payment Year 3          $162,495,266.28
                             Payment Year 4          $110,175,443.79
                             Payment Year 5          $110,175,443.79
                             Payment Year 6          $110,175,443.79
                             Payment Year 7          $110,175,443.79
                             Total:                  $775,384,615.41




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             2.     The Common Benefit Fund shall be available to compensate Attorneys
       engaged in Qualifying Representations of Participating Litigating Subdivisions who:

                      a.       have performed work for the common benefit of all subdivisions
              pursuant to the guidelines established by Judge Polster set forth in MDL 2804 and
              the Order dated June 19, 2018, under docket number 636, which is included
              herein by reference; and

                      b.       satisfy the eligibility criteria set forth in Section II.G.

                      For purposes of Common Benefit Fund distribution, notwithstanding
                      Section II.A.4 above, Attorneys representing Tribal Nations litigating
                      against the Settling Distributors that have reached a settlement for
                      Released Claims with Settling Distributors and/or Released Entities and
                      meet the eligibility criteria in Section II.G shall be eligible.

               3.     The Common Benefit Fund shall be overseen by the Fee Panel, which
       shall determine the allocation of funds to eligible Attorneys consistent with this Fee
       Agreement and the June 19, 2018 Order.

                4.      In assessing the benefits that an Attorney has conferred to Participating
       Subdivisions (including non-Litigating Subdivisions) and/or Tribal Nations for purposes
       of any compensation decision, the Fee Panel shall give significant weight to the extent to
       which (i) the Attorney and his or her clients have contributed to increasing (or reducing)
       the Initial Participation Tier achieved through participation in the Distributor Agreement;
       (ii) the Attorney and his or her clients have contributed to increasing (or reducing) the
       amounts achieved under Incentive Payments A-D through participation in the Distributor
       Agreement; and (iii) the Attorney and his or her clients have contributed to the potential
       triggering of any suspension, reduction, or offset of Payment amounts under the
       Distributor Agreement. The Fee Panel may also consider additional fee recoveries the
       Attorney may potentially obtain, including, but not limited to, from State Back-Stop
       Agreements, representations of States or Tribal Nations, representations of other clients
       in opioids-related matters, or through the representation of Subdivision clients, whether
       they participated in the Distributor Agreement or not. It is the intent of this provision to
       recognize that the goal of the Distributor Agreement is to provide for maximum
       participation by the Subdivisions, maximum abatement funding for all Subdivisions
       nationally, and the maximum peace for Released Entities. Therefore, representing a Non-
       Participating Subdivision does not further the goal of the Distributor Agreement and
       should not be considered Common Benefit because it does not increase funds available to
       Participating Subdivisions’ abatement programs. Representing Later Litigating
       Subdivisions is antithetical to the Distributor Agreement, detracts from Common Benefit,
       and is addressed by the ethics opinion discussed in Section II.I.4. The Fee Panel shall
       consider this concept of “common detriment” set forth in this Section II.C.4 in all of its
       decisionmaking with respect to the allocation of the Attorney Fee Fund among Attorneys,
       as well as, in its discretion, any offsets provided to Settling Distributors as set forth in
       Section II.C.6. The Fee Panel shall consider the totality of the Attorney’s Participating
       Litigating Subdivisions as compared to the Attorney’s Non-Participating Litigating


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       Subdivisions; the Parties recognize that, although the goal is for 100% participation,
       Attorneys with a higher number of clients have a higher probability of having one or
       more Non-Participating Litigating Subdivision client. As used in this Section II.C.4,
       “client” or “representing” a Subdivision shall include any Litigating Subdivision as to
       which the Attorney has a Fee Entitlement.

               5.     As set forth in Section II.C.6, the Fee Panel must consider the factors
       described in Section II.C.4 to determine how and whether to reduce the amounts to be
       paid by Settling Distributors under this Fee Agreement and to determine how to allocate
       funds among Attorneys. They may also, at their discretion, consider other factors. Any
       reduction in payment obligation or credit to be given a Settling Distributor in this Fee
       Agreement shall be applied against Payment Year 7 and working backwards. Any
       reduction to an Attorney not credited to Settling Distributors shall be allocated to
       attorneys whose Litigating Subdivision clients participated in the settlement by the Initial
       Participation Date.

               6.      The amounts to be provided as a credit or offset to Settling Distributors
       from the Common Benefit Fund shall depend on the relevant Participation Tier achieved,
       set forth in Exhibit H of the Distributor Agreement, as follows:

                    a.        At Participation Tier 1 or below, the Common Benefit Fund
              payments to be paid by Settling Distributors shall be reduced as follows:

                                (i)    With respect to any Attorney seeking payment from the
                       Common Benefit Fund, the Fee Panel shall compare the aggregate
                       allocation that Participating Litigating Subdivisions with which the
                       Attorney has a Fee Entitlement would receive using the negotiating class
                       allocation metrics with the aggregate amount that all Litigating
                       Subdivisions (Participating and Non-Participating) with which the
                       Attorney has a Fee Entitlement would receive using the negotiating class
                       allocation metrics, provided that only Litigating Subdivisions in Settling
                       States shall be considered for this ratio. The Fee Panel will multiply the
                       amount to be paid to that Attorney from the Common Benefit Fund by
                       that ratio, reduce the Attorney’s award by a maximum reduction of 15%,
                       and the dollar amount of such reduction shall be deducted, dollar-for-
                       dollar, from the amount owed by Settling Distributors to the Common
                       Benefit Fund of the Attorney Fee Fund.

                               (ii)    In the event that any Non-Participating Subdivision that is
                       (a) under the jurisdiction of the MDL Court or (b) represented by an
                       Attorney that is obligated to pay into the MDL Common Benefit Fund
                       pursuant to a Participation Agreement, an order of the MDL Court, or
                       any other arrangement settles with or wins a judgment against a Released
                       Entity separate from the Distributor Agreement, and such settlement or
                       judgment results in a common benefit fee assessment or fee payment into
                       the MDL Common Benefit Fund during the time of Settling Distributors’
                       obligation to pay fees under this Fee Agreement, Settling Distributors’


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                     obligation to pay into the Common Benefit Fund shall be reduced dollar-
                     for-dollar for any amount of such fee assessments or payments (in the
                     aggregate based on all reductions in this Section II.C.6.a.ii that exceed
                     the reductions in Section II.C.6.a.i).

                             (iii) For the avoidance of doubt, in Tier 1 for each settlement
                     or judgment with the Settling Distributors that results in an assessment or
                     payment to the MDL Common Benefit Fund, that payment shall result in
                     an offset for the Settling Distributors, unless the assessment or payment
                     occurs after the Payment Date for Year 7.

                   b.        At Participation Tier 2, the Common Benefit Fund payments to
             be made by Settling Distributors shall be reduced only as follows:

                             (i)     Reduction by the Fee Panel. With respect to all Attorneys
                     making an application that seeks payment from the Common Benefit
                     Fund, the Fee Panel shall, following a determination that an Attorney is
                     eligible under Section II.G, apply the criteria specified in Section II.C.4
                     in determining whether the lack of participation by Subdivisions with
                     which an Attorney has a Fee Entitlement has resulted in a reduction in
                     the Participation Tier achieved, reduction in benefit to Participating
                     Subdivisions as a result of reductions in Incentive Payments A-D, and/or
                     potential triggering of a suspension, reduction or offset under the
                     Distributor Agreement. If the Fee Panel concludes that such a reduction
                     has occurred, it must consider (1) the relative size of the Non-
                     Participating Subdivision, as adjusted by the severity measures reflected
                     in Exhibit H (governing the Participation Tiers) of the Distributor
                     Agreement, and the impact of its non-participation on the Distributor
                     Agreement as a whole (including amounts of Incentive Payments and
                     triggering of suspensions, reductions or offsets); (2) whether and by how
                     much the payment to the Attorney from the Common Benefit Fund
                     should be reduced as a result of the impact of such non-participation on
                     Participating Subdivisions; and (3) whether some or all of said reduction
                     should revert to Settling Distributors due to the reduction in peace
                     obtained from the Distributor Agreement. Consideration of the factors
                     discussed in this Section II.C.6.b.i and Section II.C.4 is mandatory. The
                     decision whether to (and by how much to) reduce payments by Settling
                     Distributors or to reduce the payment to any Attorney based on the
                     factors in Section II.C.4 shall be in the sole discretion of the Fee Panel.

                            (ii)    Offsets.

                                    (1)    In the event that any Non-Participating
                            Subdivision that is (a) under the jurisdiction of the MDL Court or
                            (b) represented by an Attorney that is obligated to pay into the
                            MDL Common Benefit Fund pursuant to a Participation
                            Agreement, an order of the MDL Court, or any other arrangement


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                               settles with or wins a judgment against a Released Entity separate
                               from the Distributor Agreement, and such settlement or judgment
                               results in a common benefit fee assessment or fee payment into
                               the MDL Common Benefit Fund during the time of Settling
                               Distributors’ obligation to pay Common Benefit Fees under this
                               Fee Agreement, Settling Distributors’ obligation to pay into the
                               Common Benefit Fund shall be reduced dollar-for-dollar up to
                               the amount of the fee assessment or payment, except that such
                               amount shall be capped at 7.5% of the amount of the settlement
                               or judgment. Such reduction shall be taken first from Payment
                               Year 7 of Settling Distributors’ payments to the Common Benefit
                               Fund of the Attorney Fee Fund up to the full amount of Settling
                               Distributors’ payment obligation in Payment Year 7, then from
                               Payment Year 6, and so on.

                                       (2)    For the avoidance of doubt, for each settlement or
                               judgment with the Settling Distributors that results in an
                               assessment or payment to the MDL Common Benefit Fund, that
                               payment shall result in an offset for the Settling Distributors,
                               unless the assessment or payment occurs after the Payment Date
                               for Payment Year 7.

                      c.       At Participation Tier 3, the reductions to the Attorney Fee Fund
              shall be the same as set forth in Section II.C.6.b, except that the cap on each offset
              shall be 5% of the amount of such settlement or judgment.

                      d.        At Participation Tier 4, there shall be no reductions to the Settling
              Distributors’ obligations to make payment into the Common Benefit Fund, but the
              principles set forth in Section II.C.4 shall continue to apply.

       D.     Contingency Fee Fund. (40% of the Attorney Fee Fund.)

              1.       Funds from the Attorney Fee Fund shall be allocated to the Contingency
       Fee Fund on the following yearly schedule, subject to the adjustments set forth below:

                            Payment Year 1            $54,417,751.48
                            Payment Year 2            $60,373,964.50
                            Payment Year 3           $108,330,177.52
                            Payment Year 4            $73,450,295.88
                            Payment Year 5            $73,450,295.88
                            Payment Year 6            $73,450,295.88
                            Payment Year 7            $73,450,295.88
                            Total:                   $516,923,077.32



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               2.       The Contingency Fee Fund shall be available to compensate Attorneys
       engaged in Qualifying Representations of Participating Litigating Subdivisions that meet
       the criteria set forth in Section II.G.

              3.      The Contingency Fee Fund shall be available to Attorneys who:

                     a.      represent Litigating Subdivisions that are Participating
              Subdivisions, whether their actions are filed in state or federal court; and

                      b.       meet the eligibility criteria of Section II.G.

                      c.        Participation in the Contingency Fee Fund by counsel that have a
              case that is not subject to the jurisdiction of the MDL Court shall not create,
              provide, or waive jurisdiction of the MDL Court over that Litigating Subdivision,
              that case or Attorneys, other than to oversee the fairness of the distribution
              process, and enforcement of this Fee Agreement.

               4.    The amounts owed by Settling Distributors to the Contingency Fee Fund
       shall depend on the relevant Participation Tier set forth in Exhibit H of the Distributor
       Agreement as follows:

                    a.        At Participation Tiers 1, 2 and 3, the Contingency Fee Fund
              payments shall be reduced as follows:

                               (i)     For Non-Settling States, the Contingency Fee Fund
                       payments shall first be reduced by the amounts identified by the Fee
                       Panel, pursuant to Section II.H.6, that would have been owed to counsel
                       for Litigating Subdivisions in Non-Settling States, had those States and
                       those Litigating Subdivisions been Settling States and Participating
                       Subdivisions.

                               (ii)    Following the calculation in Section II.D.4.a.i, the
                       Contingency Fee Fund payments shall be reduced to reflect the non-
                       joinder of Litigating Subdivisions in Settling States by subtracting the
                       amounts identified by the Fee Panel, pursuant to Section II.H.6, that
                       would have been owed to counsel for Non-Participating Litigating
                       Subdivisions in Settling States had such Litigating Subdivisions been
                       Participating Subdivisions.

                     b.      At Participation Tier 4, there shall be no reductions in the
              Contingency Fee Fund.

                     c.        In the event that the Settling Distributors, prior to the Effective
              Date of the Distributor Agreement, settle with any Litigating Subdivision and,
              under such settlement agreement pay attorneys’ fees, the Fee Panel shall treat
              those Litigating Subdivisions as Participating Litigating Subdivisions and,
              applying the same criteria applicable to all Attorneys for Participating Litigating


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              Subdivisions, determine what amount they would have been paid from the
              Contingency Fee Fund if they had become Participating Subdivisions under the
              Distributor Agreement without such prior settlement. That sum, rather than being
              paid to the Attorney for the previously settled Litigating Subdivision, shall be
              credited and/or returned to the Settling Defendants as if determined under Section
              II.D.4.a.ii above, except that such credit shall not be greater than the amount to
              the Attorneys paid under the Litigating Subdivision’s prior settlement agreement.

       E.     Litigating Subdivision Cost Fund.

              1.      The Settling Distributors shall pay $120,000,000 into the Subdivision
       Cost Fund, according to the schedule set forth below:

                      Payment Year 1                       $40,000,000
                      Payment Year 2                       $40,000,000
                      Payment Year 3                       $40,000,000

               2.      The Litigating Subdivision Cost Fund shall be available to compensate
       Attorneys for costs and expenses arising out of representation of Participating Litigating
       Subdivisions or to compensate Participating Litigating Subdivisions for direct in-house
       costs for expenditures related to their litigation against the Settling Distributors, including
       the cost of in-house employees. No funds in the Litigating Subdivision Cost Fund may
       be used to compensate the costs incurred by Non-Participating Subdivisions or Non-
       Litigating Subdivisions or costs and expenses arising out of representation of any such
       Subdivision. In allocating the Litigating Subdivision Cost Fund, the Administrator shall
       not allocate any funds for costs incurred after July 21, 2021.

               3.      During the period between July 21, 2021, and the Effective Date, the
       MDL PEC, as well as Litigating Subdivisions eligible to claim costs from the Litigating
       Subdivision Cost Fund shall make best efforts to cease litigation activity against Settling
       Distributors, including by jointly seeking stays or severance of claims against the Settling
       Distributors, where feasible, or postponements if a motion to stay or sever is not feasible
       or is denied, so long as such actions are not otherwise detrimental to the Litigating
       Subdivision.

               4.      In the event that the Settling Distributors, prior to the Effective Date of the
       Distributor Agreement, settle with any Litigating Subdivision and, under such settlement
       agreement pay costs to the Litigating Subdivision or its Attorney, the MDL Cost and
       Expense Fund Administrator shall treat those Litigating Subdivisions as Participating
       Litigating Subdivisions and, using the same criteria applicable to all applicants to the
       Subdivision Cost Fund, determine what amount in costs the Litigating Subdivision or its
       Attorney would have been paid from the Litigating Subdivision Cost Fund if it had
       settled under the Distributor Agreement. That sum, rather than being paid to the Attorney
       or the previously settling Litigating Subdivision, shall be credited and/or returned to the
       Settling Defendants, except that such sum shall not be greater than the amount paid under
       the previously settled Litigating Subdivision’s settlement agreement.


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               5.      The MDL Court shall appoint a Cost and Expense Fund Administrator,
       who shall develop a process and criteria, with input from participating counsel, by which
       to (a) determine the distribution of amounts from the MDL Expense Fund in pursuit of
       the claims against Settling Distributors; and (b) receive and evaluate applications from
       Participating Litigating Subdivisions, whether filed in Federal Court or State Court, to
       seek reimbursement from the Litigating Subdivision Cost Fund for eligible costs under
       Section II.E.2 in pursuit of the claims against the Settling Distributors. The Cost and
       Expense Fund Administrator shall require transparency from all applicants as to any other
       sources for compensating Attorneys for Litigating Subdivisions for costs incurred. The
       Cost and Expense Fund Administrator shall be compensated from the Fund.

               6.      In the event that the total amount of reimbursements from the Litigating
       Subdivision Cost Fund approved as reasonable by the Cost and Expense Administrator is
       less than the $120,000,000, any remaining funds shall revert to the Settling Distributors.

       F.      MDL Expense Fund.

              1.        In Payment Year 1 of the Distributor Agreement, the Settling
       Distributors shall pay the following amount into the MDL Expense Fund:

                          MDL Expense Fund                    $40,384,615

               2.      The MDL Expense Fund shall be released following the Effective Date of
       this Fee Agreement without any delay to reimburse the MDL Counsel for an agreed-to
       portion of the expenses incurred, as approved by the Cost and Expense Fund
       Administrator. The MDL Expense Fund will be paid directly to the MDL Cost Account,
       set up by MDL Order and will be administered under the ongoing jurisdiction of the
       MDL Court, as provided below. No funds may be used to compensate the costs incurred
       by Non-Participating Subdivisions or to compensate any Attorney for costs incurred in
       representing one or more Non-Participating Subdivisions.

               3.      In allocating the MDL Expense Fund, the Administrator shall not allocate
       any funds for costs incurred after July 21, 2021, unless the Administrator determines that
       there are sufficient funds to cover all subdivision costs incurred prior to July 21, 2021 and
       that special circumstances exist to justify costs incurred following the public
       announcement of the Distributor Agreement.

       G.      Eligibility.

               1.        It is the intention of all parties participating in the Fee Panel process that
       there should be total transparency to the Fee Panel and to all fund participants. In
       connection with the process to be developed by the Fee Panel, any and all monies in
       attorney’s fees, including referral fees, expenses paid, promises for payment, or any other
       Fee Entitlement, to any applicant in any opioid litigation shall be disclosed to the Fee
       Panel as a condition of participating in the Attorney Fee Fund and prior to an award from
       the Fee Panel. Any payment, expectation of payment or perceived entitlement to
       participate in a State Back-Stop Agreement or any other agreement reached with a


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       Settling State or any Subdivision or any other source regarding payment of fees must be
       disclosed to the Fee Panel. Similarly, any right to payment from any other fund, for
       example a fund for payment to lawyers representing Settling States or Tribal Nations or
       Subdivisions shall be disclosed to the Fee Panel. Because it is anticipated that there will
       be multiple firms listed on contingent fee agreements with Litigating Subdivisions, the
       Fee Panel shall establish procedures, with input from Attorneys for Participating
       Litigating Subdivisions, for who should petition for fees from such groups and to whom
       the fee shall be paid and thereafter distributed to co-counsel in accordance with
       applicable agreements. For the avoidance of doubt, all Attorneys that are part of such
       groups must meet the eligibility criteria in Section II.G, must be subject to the criteria set
       forth in Section II.C.4, and must be disclosed to the Fee Panel.

               2.       An Attorney may apply for and recover attorneys’ fees from the Common
       Benefit Fund, the Contingency Fee Fund, and the Litigating Subdivision Cost Fund and
       any fund created by a past or future State Back-Stop Agreement, provided the Attorney
       satisfies the requirements relevant to each such fund and requirements for disclosure to
       the Fee Panel.

               3.     An Attorney may not receive any payment from the Attorney Fee Fund
       (which includes both the Contingency Fee Fund and the Common Benefit Fund) unless
       the following eligibility criteria are met and annually certified by the Attorney:

                      a.        The Attorney must expressly waive the enforcement against the
              Litigating Subdivision client of all Fee Entitlements (other than under State Back-
              Stop Agreements) arising out of or related to any or all Qualifying
              Representations of any Participating Litigating Subdivision prior to applying for
              attorneys’ fees from the Attorney Fee Fund or costs from the Cost Funds. All
              applications for attorneys’ fees or costs under this Fee Agreement shall include an
              affirmation by the Attorney of such waiver and notice to the client(s) of such
              waiver. Such waiver shall not preclude the Attorney from submitting such Fee
              Entitlements to the Fee Panel as a factor for consideration in allocating payments
              from the Attorney Fee Fund or in connection with a State Back-Stop Agreement.
              For the avoidance of doubt, no Attorney may recover fees under this Fee
              Agreement unless the Attorney expressly agrees not to enforce Fee Entitlements
              as to each and every Participating Litigating Subdivision represented by that
              Attorney, but such Attorneys may participate in and receive funds from a State
              Back-Stop Agreement.

                     b.        The Attorney must represent that s/he has no present intent to
              represent or participate in the representation of any Later Litigating Subdivision
              or any Releasor with respect to Released Claims against Released Entities.

                      c.       The Attorney must represent that s/he has not and will not engage
              in any advertising or solicitation related to Released Claims against Released
              Entities where such advertising or solicitation relates to a representation that the
              Attorney could not undertake consistent with the ethics opinion referenced in
              Section II.I.4.


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                      d.        The Attorney must represent s/he will not charge or accept any
              referral fees for any Released Claims brought against Released Entities by Later
              Litigating Subdivisions. For the avoidance of doubt, this representation shall not
              prohibit Attorneys from receiving allocated shares of any future common benefit
              assessments arising out of settlements or judgments with Later Litigating
              Subdivisions represented by other Attorneys that are the result of the MDL
              Court’s Common Benefit order.

                     e.       The Attorney may not have and must represent that s/he does not
              have a Fee Entitlement related to a Later Litigating Subdivision.

                     f.       The Attorney must certify that s/he has reviewed the ethics
              opinion referenced in Section II.I.4 and will act in conformity with such opinion.

                      g.       The Attorney must fully disclose the participation, or the
              anticipation of participation, in any agreement with a Settling State or
              Participating Subdivision concerning fees arising out of or related to the
              Distributor Agreement, including any fees paid or anticipated to be paid or any
              State Back-Stop Agreement.

                      h.         The Attorney must identify for the Fee Panel whether s/he
              utilized state litigation work product or MDL work product, including but not
              limited to ARCOS data, document repositories, experts developed in the MDL,
              and deposition transcripts. The Attorney must identify whether s/he signed the
              MDL Participation Agreement, and for which case(s) it was signed.

                      i.       Any Attorney who applies for fees from one or both Funds must
              represent that, having exercised his/her independent judgment, s/he believes the
              Distributor Agreement to be fair and will make or has made best efforts to
              recommend the Distributor Agreement to his or her Subdivision clients in Settling
              States. For the avoidance of doubt, each Attorney is expected to exercise his or
              her independent judgment in the best interest of each client individually before
              determining whether to recommend joining the settlement. All applications for
              attorneys’ fees or costs under this Section II shall include an affirmation by the
              Attorney in compliance with this Section II.G.

              4.       No Attorney receiving fees under this Fee Agreement may apply for or
       recover from the Attorney Fee Fund fees arising from representing a Non-Settling State
       or a Non-Participating Subdivision. All applications for attorneys’ fees under this
       Section II shall include an affirmation by the Attorney of compliance with this Section II.

              5.       An Attorney who has filed an application under this Section II and
       received an award of attorneys’ fees shall provide a certification of compliance this Fee
       Agreement annually during the years upon which they are still entitled to receive
       attorneys’ fee payments.




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               6.      If, at any time, the Attorney is unable to make the representations set forth
       in this Section II.G.3, such representations become untrue, or the Attorney falsely
       represents compliance with the eligibility criteria, the Attorney shall cease to be eligible
       to receive funds from the Attorney Fee Fund until further review by the Fee Panel of the
       Attorney’s eligibility under and compliance with this Section II.

               7.     If an Attorney has a Fee Entitlement from a Later Litigating Subdivision
       or otherwise becomes unable to reaffirm compliance with the eligibility criteria set forth
       above, the Attorney shall notify Settling Distributors and the Fee Panel. For the
       avoidance of doubt, any Attorney who undertakes any new representation of, or has a Fee
       Entitlement to, a Later Litigating Subdivision shall be prohibited from receiving any
       future funds from the Attorney Fee Fund. If an Attorney fails to notify Settling
       Distributors and the Fee Panel of such Fee Entitlement to a Later Litigating Subdivision,
       the Attorney shall be required to refund amounts previously paid.

              8.      In the event that an Attorney is deemed ineligible by the Fee Panel
       (whether based on its initial application or subsequent recertification), the Fee Panel shall
       provide notice to the Attorney and give the Attorney 30 days to provide additional
       information such that the Fee Panel could reconsider the Attorney’s eligibility.

               9.      To the extent that an Attorney has a Fee Entitlement with a Participating
       Subdivision and is authorized to bring Released Claims against Released Entities, but
       such authorization is, in scope, less broad than the category of Released Claims set forth
       in the Distributor Agreement, such Attorney may participate fully in both the
       Contingency Fee Fund and the Common Benefit Fund, without any reduction imposed by
       the Fee Panel due to the scope of the authorization, so long as the Participating
       Subdivision fully releases all Released Claims against Released Entities.

               10.      Attorneys applying to the Attorney Fee Fund knowingly and expressly
       agree to be bound by the decisions of the Fee Panel, subject to the limited appeal rights
       set forth in this Fee Agreement, and waive the ability to assert the lack of enforceability
       of the allocation reached through the arbitration procedures outlined herein.

       H.     Calculation of Amounts Due.

                1.       The Fee Panel shall be solely responsible for determining the amount of
       fees to be paid to each Attorney and each Participating Subdivision that applies under this
       Section II. None of the Released Entities shall have any responsibility, obligation, or
       liability of any kind whatsoever with respect to how attorneys’ fees are calculated under
       this Section II, except that the Fee Panel may receive information from the Settling
       Distributors (a) as to the identity of Participating, Non-Participating, Litigating, Later
       Litigating, and Non-Litigating Subdivisions; (b) the impact of non-participation by a
       Litigating Subdivision as is relevant to the Fee Panel’s determination in Section II.C.4;
       and (c) such other information as Settling Distributors may voluntarily elect to provide.

               2.     The Fee Panel shall establish procedures for the arbitration process
       consistent with this Fee Agreement and orders of the MDL Court. Such procedures may


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       include submission of documentary and/or other evidence, interviews with applicants
       and/or other counsel (including counsel for Settling Distributors) that the Fee Panel
       deems appropriate, and/or other means of creating a record upon which fee awards will
       be based.

                3.      In making determinations under this Fee Agreement, the Fee Panel must
       apply the eligibility criteria set forth in Section II.G of this Fee Agreement and the
       criteria set forth in Section II. In addition, the Fee Panel will give consideration in regard
       to Common Benefit awards to the Johnson factors, as well as the following factors
       (which factors may be applied and given relative weight in the Fee Panel’s discretion):

                      a.      The Attorney’s contemporaneously recorded time and labor
              dedicated to Qualifying Representations along with the Attorney’s financial
              commitment to such Qualifying Representations. Claimed “time” will not be
              automatically accepted by the Fee Panel but will be critically reviewed and given
              substantially more weight and consideration if such time was subject to the audit
              process described in any Pretrial Order(s) governing the collection of common
              benefit time;

                     b.       The novelty, time, and complexity of the Qualifying
              Representations;

                     c.        The skill requisite to perform legal services properly and
              undesirability of the case;

                     d.       The preclusion of other employment by the Attorney due to time
              dedicated to Qualifying Representations;

                      e.       The “common benefit,” if any alleged to have been conferred by
              the Attorney and whether such common benefit work product by that Attorney
              was used by others in parallel litigations against Released Entities whether within
              or outside the MDL, provided that for any Attorney claiming that s/he
              substantially benefited cases other than those in which s/he entered an appearance
              as counsel must substantiate such claims by proffering factual support, such as
              proper supporting affidavits or other documents as determined by the Fee Panel
              with input from Attorneys for Participating Litigating Subdivisions;

                      f.        Any “common detriment,” as set forth in Section II.C.4.

                      g.      Any contingent fee agreements or other Fee Entitlement with
              Participating Subdivisions, enforcement of which, except for State Back-Stop
              Agreements, are waived in conjunction with the application, the nature and extent
              of any work for those Participating Subdivisions, whether such Participating
              Subdivisions actively litigated and, if so, the nature and procedural history of such
              case(s);

                      h.        The experience, reputation, and ability of the Attorney;



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                    i.       Whether the Attorney’s clients brought Released Claims against
             Released Entities;

                    j.        The status of discovery in cases primarily handled by the
             Attorney;

                     k.       The nature of any work by the Attorney on “bellwether” cases or
             cases that were similarly active in litigation;

                     l.       Any pressure points successfully asserted by the Attorney in
             cases against Settling Distributors or any risk for Settling Distributors created by
             the Attorney in cases against them;

                     m.       Any risk for defendants created by applicants in cases against the
             Setting Distributors;

                    n.        Successful and unsuccessful motion practice in cases worked on
             by the Attorney;

                     o.       The date of filing of any cases filed by the Attorney;

                     p.       Obtaining consolidation of the litigation in the Attorney’s
             jurisdiction;

                    q.        The number and population of entities represented by the
             Attorney and the fees that would have been awarded under extinguished
             contingent fee arrangements;

                     r.       Whether the Attorney’s clients brought claims against the
             Settling Distributors;

                   s.         Whether the Attorney has had a leadership role in the litigation,
             whether in state or federal court;

                    t.       Whether the Attorney has had a leadership role in any
             negotiations aimed at resolving the litigation;

                     u.       Whether the Attorney’s cases have survived motions to dismiss;

                     v.        The extent to which the Attorney contributed to the work product
             user for the common benefits of opioids litigants, including, without limitation,
             work on ARCOS data, Prescription Data Monitoring Programs, IQVIA data,
             depositions, document production and analysis experts, motions, briefs and
             pleadings, trial preparations, and trials;

                      w.        The extent to which litigation was done prior to and contributed
             to completion of settlement negotiations, as distinct from litigation that was done
             litigating after the announcement of the Distributor Agreement, such latter


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              litigation both being of less value and potentially resulting a common detriment to
              the settlement process; and

                     x.        Any other factors that the Fee Panel finds to be appropriate to
              consider after input from applicants to the Attorney Fee Fund.

              4.       The Fee Panel shall develop procedures for receiving a single application,
       which may be updated or amended based on new information (such as participation by
       additional Litigating Subdivisions) from each Attorney seeking compensation from the
       Attorney Fee Fund, procedures shall not be inconsistent with this Fee Agreement. Any
       request for attorneys’ fees not included on the single application or through the
       updating/amendment process designed by the Fee Panel shall be deemed waived. For
       purposes of transparency and to permit the Fee Panel to conduct its work, the application
       from each Attorney shall, at a minimum, require each Attorney to:

                    a.       Identify all Litigating Subdivisions for which s/he is seeking
              payment from the Attorney Fee Fund;

                      b.       Identify all Subdivisions in both Settling and Non-Settling States
              with respect to which s/he has a Fee Entitlement with respect to Relevant Claims
              against Released Entities, and identify all co-counsel in such cases;

                     c.      Identify which of those Subdivisions are Participating
              Subdivisions and which are not;

                    d.       Specify the specific fund or funds within the Attorney Fee Fund
              from which the Attorney is seeking compensation;

                      e.        Demonstrate his or her eligibility for compensation from the
              relevant sub funds within the Attorney Fee Fund pursuant to the criteria set forth
              for the relevant sub fund; and

                      f.       Identify any and all Fee Entitlements from representations of
              States, Tribal Nations, or other plaintiffs related to Released Claims against
              Released Entities or in opioids-related matters.

                      Notwithstanding Sections II.H.4.a-f above, the Panel may consider a
                      supplemental application if the Attorney shows good cause why
                      circumstances exist that will lead to consideration for additional Common
                      Benefit award. Examples would include, but are not limited to, an
                      Attorney having Non-Participating Litigating Subdivision clients that
                      subsequently become Participating Subdivisions, a Bar Date passes that
                      increases participation or the Participation Tier or an Allocation
                      Agreement is reached.

              5.      With respect to the Common Benefit Fund, the Fee Panel shall (subject to
       any applicable MDL Court Order):



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                     a.        Review the applications of all Attorneys seeking compensation
              from the Common Benefit Fund, including determining eligibility for each
              Attorney as set forth in Section II.G.

                      b.       Reduce, on an annual basis, the Distributor’s payment
              obligations, as set forth in Section II.C.6. The Panel shall inform the Settling
              Distributors and the MDL PEC of all such amounts and adjust the Settling
              Distributors’ payment obligations accordingly.

                      c.       Using criteria set forth in Sections II.C and II.G, allocate amounts
              from the Common Benefit Fund to eligible Attorneys, including payment amounts
              for each Payment Year. In making such allocations (regardless of the
              Participation Tier achieved), the Panel shall apply the principles set forth in
              Section II.C.4 and shall allocate any reduction in the payments of Settling
              Distributors specified in Section II.C.6 to the amounts paid to Attorneys with a
              Fee Entitlement to Litigating Subdivisions that are not Participating Subdivisions.

              6.      With respect to the Contingency Fee Fund, the Fee Panel shall:

                     a.        Review the applications of all Attorneys seeking compensation
              from the Litigating Subdivision Fee Fund, including determining eligibility for
              each Attorney as set forth in Section II.G.

                      b.       Apply the Mathematical Model in Exhibit A.

                      c.       Use such allocations to reduce payments, on an annual basis, the
              payment obligations of the Settling Distributors to the Attorney Fee Fund as set
              forth in Section II.D.4, and distributions therefrom, and inform the Settling
              Distributors and MDL PEC of all such adjustments.

               7.      To the extent that there is a dispute about the calculations of the Fee Panel
       related to the amounts that Settling Distributors are required to pay (including application
       of any reductions or offsets under this Fee Agreement), such disputes shall be presented
       to the Fee Panel and any disputed funds be paid into/held in escrow. The Fee Panel shall
       resolve such disputes expeditiously, with either Party having the right to seek review
       from the MDL Court.

               8.       For purposes of determination of fee or cost awards, allocations,
       reductions and possible reversions under this Fee Agreement, unless specified otherwise
       a Subdivision will be considered a Non-Participating Subdivision if it is not a
       Participating Subdivision as of the deadline for the application for the fee or cost award at
       issue (or, if the determination does not involve a specific application, the date on which
       the record for such determination closes).

               9.      In the event that the Fee Panel, through the use of the Mathematical Model
       set forth in Exhibit A, allocates funds from the Contingency Fee Fund for an Attorney
       based on a Qualifying Representation of a Participating Litigating Subdivision or
       allocates cost to such Participating Litigating Subdivision and that Subdivision is in a


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       Settling State in which the Consent Judgment has not been approved, such funds shall be
       placed into escrow until the Consent Judgment is approved, after which time they shall be
       released.

       I.     Miscellaneous.

               1.        The costs associated with the Fee Panel prior to the Effective Date of this
       Fee Agreement shall be funded by Settling Distributors. The Fee Panel shall charge an
       hourly rate that has been previously approved by a federal or state court and shall provide
       a budget and a cap for such work prior to the Effective Date, which shall be approved by
       Settling Distributors and such approval shall not be unreasonably withheld. Settling
       Distributors shall receive a refund for any such payment of pre-Effective Date costs from
       interest that accrues on the monies in the Attorney Fee Fund (including interest that
       accrues during such time as the Attorney Fee Fund monies are in escrow prior to the
       Effective Date of the Distributor Agreement), up to the amount of such costs. Post-
       Effective Date, the cost of the Fee Panel shall be charged against the applicable Fee Fund
       based on allocation by the Fee Panel and shall not be otherwise funded by Settling
       Distributors. The costs associated with the Cost and Expense Fund Administrator shall
       be paid from funds in the MDL Expense Fund and the Litigating Subdivision Cost Fund
       and shall not be otherwise funded by Settling Distributors.

               2.     The MDL PEC will seek, and the Attorneys General for Settling States
       and the Settling Distributors will not oppose, a Common Benefit Fee Order requiring an
       assessment of 7.5% on the gross recovery (by judgment or settlement) of any Non-
       Participating Subdivision that is subject to the federal court jurisdiction, represented by a
       MDL PEC firm, represented by any Attorney receiving fees from the Common Benefit
       Fund, represented by any Attorney that signed a Participation Agreement or paid in a
       case otherwise under the jurisdiction of the MDL Court.

               3.     The MDL PEC shall provide to Settling Distributors information they
       have that identifies Attorneys who represent Litigating Subdivisions who are not
       Participating Subdivisions and who have an obligation to pay a common benefit
       assessment, either due to the MDL Court’s orders or to having signed a Participation
       Agreement.

               4.      The MDL PEC shall retain ethics counsel of its choice to provide an
       opinion that addresses the compliance of its ethical obligations, as it relates to the
       Distributor Agreement. Such opinion shall address the issue of the potential conflict of
       interest for an Attorney that had represented a Participating Subdivision also representing
       a Later Litigating Subdivision as defined in the Distributor Agreement. This Section II.I
       shall be enforceable to the extent permitted by the equivalent to Rules 1.16 and 5.6 of the
       ABA Model Rules of Professional Conduct in the relevant jurisdictions. The opinion
       shall be provided to the Settling Distributors as soon as it is completed and, in any event,
       prior to July 31, 2021 and shall be disseminated to counsel eligible to apply to the
       Attorney Fee Fund within 30 days of the announcement of the Distributor Agreement.
       The MDL PEC represents that it will comply with this opinion until the Reference Date
       and thereafter if the Distributor Agreement proceeds. The cost of such expert work done


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        prior to the Effective Date of the Distributor Agreement shall be funded by Settling
        Distributors.

                5.     Participating Subdivisions agree to instruct their counsel to treat
        information, work product and expert materials as secret under Rule 1.6 of the ABA
        Model Rules of Professional Conduct. Accordingly, an Attorney shall not share
        information or work product with, or experts or materials to, non-participants (other than
        the Attorney’s own current clients or their lawyers, consultants, experts or other
        representatives or agents). However, nothing herein shall prevent MDL Leadership or
        PEC Counsel from fulfilling their obligations in any MDL and the MDL Court Order.

 III.   Miscellaneous.

         A.     Termination. If the Distributor Agreement does not proceed past the Reference
 Date, whether because the Settling Distributors do not determine to proceed or for any other
 reason, this Fee Agreement shall be null and void, Settling Distributors shall have no obligation
 to make any payments under this Fee Agreement, and the Settling Distributors and the MDL
 PEC shall take such steps as are necessary to restore the status quo ante.

         B.      MDL Court Consideration. This Fee Agreement shall be attached as an exhibit to
 the Distributor Agreement. This Fee Agreement shall also be submitted jointly by the Settling
 Distributors and the MDL PEC to the MDL Court for approval pursuant to the motion that shall
 be attached, prior to the Preliminary Agreement Date of the Distributor Agreement, to this Fee
 Agreement as Exhibit B.

                1.       In the event that the MDL Court, through an order, makes any change to
        the amounts potentially to be paid by Settling Distributors under this Fee Agreement,
        makes any change to the Fee Panel’s consideration of the factors set forth in Section
        II.C.4, or any other material change to the draft Order attached as part of Exhibit B or the
        terms of this Fee Agreement, the Settling Distributors and the MDL PEC shall meet and
        confer concerning such changes.

                2.    If the Settling Distributors and the MDL PEC are unable to reach
        agreement and revisions to this Fee Agreement in the event discussed in Section III.B.1,
        this Fee Agreement shall be null and void, Settling Distributors shall have no obligation
        to make any payments under this Fee Agreement, and the Settling Distributors and the
        MDL PEC shall take such steps as are necessary to restore the status quo ante.

        C.      Amendment. Once the MDL Court has entered an order implementing this Fee
 Agreement, this Fee Agreement can only be amended by (1) written agreement of the Settling
 Distributors and the MDL PEC and (2) approval by the MDL Court.

         D.      Jurisdiction and Enforcement. The MDL Court shall have exclusive and ongoing
 jurisdiction over the enforcement and implementation of this Fee Agreement as set forth herein.
 The MDL PEC shall be the Authorized Party to enforce this Fee Agreement, as to the payment
 obligations of the Settling Distributors as set forth in this Fee Agreement, and as to Attorneys
 making application to the Funds under this Fee Agreement. Solely for purposes of assessing or



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 allocating common benefit fees, the MDL Court will continue to have jurisdiction over the work
 product developed in the MDL Court by and under the direction of the MDL PEC with respect to
 claims against the Settling Defendants, including data and documents, depositions, expert
 reports, briefs and pleadings; and the MDL Court’s protective orders, management orders, and
 other decisions regarding such discovery and other work product, including but not limited to,
 conditions on its use, will continue in full force and effect. Nothing in this Section III.D
 authorizes the MDL Court to act contrary to this Fee Agreement or to share any of the work
 product, or provides the MDL Court with jurisdiction over the Distributor Agreement.




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        Description of Mathematical Model for the Allocation of the Contingency Fee Funds
                    Distributor Settlement Agreement and Janssen Settlement Agreement

 This document describes the Mathematical Model for allocation of the Contingency Fee Fund
 described in Exhibit R (Agreement of Attorney’s Fees, Expenses and Costs) to the Distributor
 Settlement Agreement and the Janssen Settlement Agreement, respectively.18 Awards of fees from
 the Contingency Fee Funds shall be available to Attorneys with Qualifying Representations of
 Participating Litigating Subdivisions eligible to receive an allocation under the corresponding
 agreements.19 A Fee Panel shall oversee the application of the Model and resolve any questions
 or disputes concerning the eligibility of a counsel to participate. The Panel is empowered to hear
 disputes concerning and ensure the accuracy of the mathematical calculations.

 In general terms, allocation of the Contingency Fee Fund shall be made by (1) determining the
 amount of the Settlement Fund that is attributable to each Litigating Subdivision; (2) making
 certain adjustments to these amounts based on when the Subdivision filed suit and the terms of the
 applicable fee contract; and (3) dividing the Contingency Fee Fund proportionately among counsel
 for each Participating Litigating Subdivision based on the amounts calculated in subpart 2.

 Each Settling Defendant is responsible only for its own share of payments.20 In other words, to
 collect a fee award from the Contingency Fee Fund against a Settling Defendant, the Participating
 Litigating Subdivision must have named the Settling Defendant in its lawsuit. The total amount
 of the Contingency Fee Fund in the Distributor Settlement Agreement is $516,923,077.21
 Amerisource’s share is $160,246,153.97 (31.0%), Cardinal’s share is $159,729,230.89 (30.9%),
 and McKesson’s share is $196,947,692.46 (38.1%). The total amount of the Contingency Fee
 Fund in the Janssen Settlement Agreement is $123,076,923.22

 More specifically, allocation of each Settling Defendant’s share of the corresponding Contingency
 Fee Fund shall be made according to the following steps. These steps must be performed
 separately for each Settlement Agreement, and each Defendant is responsible for paying only its
 share of the Contingency Fee Fund. These calculations are made only for purpose of determining
 the percentage share of the Contingency Fee Fund that Attorneys for each Participating Litigating
 Subdivision should receive, not for determining the dollar amount each Subdivision will receive.




 18
      See Distributor Settlement Agreement, Exhibit R § II.B.3; Janssen Settlement Agreement, Exhibit R § II.B.3.
 19
      Distributor Settlement Agreement, Exhibit R § II.B.3; Janssen Settlement Agreement, Exhibit R § II.B.3
 20
      Distributor Settlement Agreement, Exhibit R § II.A.5.
 21
      Distributor Settlement Agreement, Exhibit R § II.D.1.
 22
      Janssen Settlement Agreement, Exhibit R § II.D.1.



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    (1) For each Settling State, attribute 50% of the settlement funds for that State to its
        Subdivisions according to the Subdivision Allocation Percentage in Exhibit G to the
        Distributor Settlement Agreement or Janssen Settlement Agreement, as appropriate.

       Illustrative example for the Distributor Agreement:

              Assume that State A is allocated 1.00000% of the $18,554,013,691.11
               Restitution/Abatement amount [see Exhibit M of the Agreement].

              50% of the 1% share allocated to State A is $92,770,068.46.

              Assume that, per Exhibit G of the Agreement, the Subdivision
               Allocation Percentage for City B in State A is 1.00000000%.

              For purposes of determining its counsel’s share of the Contingency
               Fee Fund, City B is attributed 1.00000000% of $92,770,068.46, or
               $927,700.68.


    (2) Adjust the amounts in paragraph 1 as follows:

           a. Upward Adjustment for Early Filers. Increase the amount calculated in paragraph
              1 above by 10% for any Litigating Subdivision that named the defendant(s) in a
              suit before December 5, 2017, the date the National Prescription Opiate Litigation
              MDL was formed. This adjustment must be done individually for each defendant.
              If the Litigating Subdivision did not name a Settling Defendant in a suit before
              January 1, 2021, then fees from the Contingency Fee Fund for that defendant will
              not be awarded to Attorneys with otherwise Qualifying Representations of that
              Participating Litigating Subdivision.

               Illustrative Example:
                     Assume City C is attributed $1,000,000 under paragraph 1
                      above.
                     If City C named the defendant(s) before 12/5/2017,                      the
                      attributed amount would be adjusted to $1,100,000.


           b. Determine Amount Due under Contingency Fee Contract. Determine the amount
              that would be due to Attorneys with Qualifying Representations of each
              Participating Litigating Subdivision under the terms of the applicable fee contract
              if the Participating Litigating Subdivision were to receive the amount calculated in
              paragraph 2.a. This amount can be referred to as the Contingency Fee Assumption.

               Illustrative Example:
               Continuing the example given in paragraph 2.a, if Attorneys have a
               20% contingency fee contract with City C for the relevant
               litigation, the amount calculated in this step would be 20% of
               $1,100,000, or $220,000.




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          In the next step, the Contingency Fee Assumption is used to determine the percentage share
          of the Contingency Fee Fund due to Attorneys for each Participating Litigating
          Subdivision.

      (3) Divide the Contingency Fee Fund proportionately among Attorneys for each Participating
          Litigating Subdivision in two ways:

              a. National Fee Pool Calculation. Determine each Litigating Subdivision’s
                 percentage share of all amounts due under contingency fee contracts nationwide by
                 dividing the Contingency Fee Assumption calculated for each Subdivision in
                 paragraph 2.b by the sum of all Contingency Fee Assumptions. Then multiply that
                 percentage by the Contingency Fee Fund to figure each Subdivision’s dollar share
                 of the Contingency Fee Fund (but only for Settling Defendants the Subdivision
                 timely named in a lawsuit).23

                   Illustrative example for Distributor Settlement Agreement:
                           $220,000 [from para. 2.b] ÷ $1,800,000,000 [total amount owed
                            under contingency fee contracts nationwide] = 0.012222%24
                           0.012222% *            $516,923,077.32           [Contingency           Fee     Fund]       =
                            $63,179.49


              b. Separate State Fee Pools Calculation. Determine each Litigating Subdivision’s
                 percentage share of all amounts due under contingency fee contracts statewide by
                 dividing the Contingency Fee Assumption calculated for each Subdivision in
                 paragraph 2.b by the sum of all Contingency Fee Assumptions in the same State.
                 Then multiply that percentage by the portion of the Contingency Fee Fund that
                 corresponds to that State’s Overall Allocation Percentage, shown in Exhibit F of
                 the relevant Settlement Agreement, to figure each Subdivision’s dollar share of the
                 Contingency Fee Fund (but only for Settling Defendants the Subdivision timely
                 named in a lawsuit).

                   Illustrative example for Distributor Settlement Agreement:
                           1% * $516,923,077.32 = $5,169,230.77 [amount                                     of     the
                            Contingency Fee Fund corresponding to State A]




 23
   Because a few Litigating Subdivisions named only one or two of the Distributors in a lawsuit before January 1,
 2021, each Subdivision’s share of the Contingency Fee Fund is slightly different for each distributor. Therefore,
 under the Distributor Settlement Agreement, the calculations described in this step need to be made separately for
 each Settling Defendant. It is shown in a single calculation here for ease of illustration only.
 24
   In this example, $1.8 billion is the amount theoretically owed under all contingency fee contracts for litigation
 against distributors as calculated in paragraph 2.b. This amount is illustrative only; the actual amount will not be
 known until all litigating subdivisions are identified and the terms of all of their contingency fee contracts are
 collected.



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                          Assume a total of $17,600,000 is owed under contingency fee
                           contracts for State A.
                          $220,000 [from para. 2.b] ÷ $17,600,000 = 1.25%
                          1.25% * $5,169,230.77 = $64,615.38


         The award of fees to Attorneys with Qualifying Representations of Participating Litigating
         Subdivisions will be the average of the final amounts calculated in paragraphs 3.a and 3.b
         above.25

         Paragraph 3.a represents allocation based on a proportional share of a National Fee Pool,
         while paragraph 3.b represents allocation based on a proportional share of the Separate
         State Fee Pools. In other words, for the National Fee Pool described above in paragraph
         3.a, the contingency fee contract rate is compared to all other contingency fee contract rates
         in the nation. For the Separate State Fee Pools described above in paragraph 3.b, the
         contingency fee contract terms are compared to the other contingency fee contract terms in
         that same State. The National Fee Pool and the Separate State Fee Pools are given equal
         weighting. This is illustrated below.




         Using the first methodology, Attorneys for two Subdivisions in different States with the
         same amount calculated under paragraph 2.b would be assigned the same amount under
         paragraph 3.a. Using the second methodology, Attorneys for the same two Subdivisions
         would be assigned different amounts under paragraph 3.b because they are in different
         States. Specifically, the Subdivision in the State with a smaller proportion of Participating



 25
   The model also enforces a maximum fee award of 20% of the amount calculated in 2.b. This rule is designed to
 prevent windfalls by addressing over-allocation in a small number of states with relatively few Litigating
 Subdivisions. An estimated 97% of Qualifying Representations are not impacted this rule. The description in this
 document of the Mathematical Model is by necessity an abstraction; the precise contours of the calculations are
 defined in the model itself.



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       Litigating Subdivisions would be allocated more than the Subdivision in the State with a
       greater proportion of Participating Litigating Subdivisions.




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                                            EXHIBIT S

                       Agreement on the State Outside Counsel Fee Fund

          1.     Creation of a State Outside Counsel Fee Fund. The Settling Distributors and
 the Settling States agree to the creation of a state outside counsel fee fund to pay reasonable
 attorneys’ fees of Settling States which have retained outside counsel in connection with
 litigation against the Settling Distributors (such fund, the “State Outside Counsel Fee Fund”).

         2.      State Outside Counsel Fee Fund Administration. The State Outside Counsel
 Fee Fund shall be administered separately from the Common Benefit Fund, the Contingency Fee
 Fund, the State Cost Fund, and the MDL Expense Fund. A committee of Attorneys General
 shall oversee the State Outside Counsel Fee Fund (the “Fee Fund Committee”). The Fee Fund
 Committee shall initially consist of the following States: (a) Delaware; (b) Florida; (c) Georgia;
 (d) Indiana; (e) Michigan; (f) Ohio; and (g) Rhode Island. The Fee Fund Committee shall select
 a settlement fund administrator, who may or may not be different from the Settlement Fund
 Administrator (the “Fee Fund Administrator”) and who shall administer the State Outside
 Counsel Fee Fund according to the guidelines and directives of the Fee Fund Committee.

         3.      State Outside Counsel Fee Eligibility. To receive any amount from the State
 Outside Counsel Fee Fund, an outside counsel to a Settling State must have filed and maintained
 an action in the name of a Settling State or its Attorney General against a Settling Distributor in a
 state or federal court as of June 1, 2021. No Settling State shall receive funds from both the
 State Outside Counsel Fee Fund and the Additional Restitution Amount as set forth in Section
 IX.

         4.     State Outside Counsel Fee Fund Amount. The Settling Distributors shall pay
 funds into the State Outside Counsel Fee Fund according to the schedule set forth below, subject
 to any suspensions, offsets, reductions, or adjustments provided for in the Agreement or
 described below:

          Payment Year 1 Payment Date                                $136,044,379
          Payment Year 2 Payment Date                                $129,230,769
          Payment Year 3 Payment Date                                 $17,417,160

        5.      State Outside Counsel Fee Fund Availability and Calculation of Amount.
                a. The State Outside Counsel Fee Fund shall be available to compensate private
                   outside counsel for Settling State Attorneys General for approved fees arising
                   out of representation of the Settling State pursuant to the schedule developed
                   by the Fee Fund Committee and provided to the Settling Distributors.
                b. Fees shall be calculated by adding two components: (a) a fixed amount
                   consisting of fifty percent (50%) of the amount allocated to a Settling State
                   pursuant to Exhibit F multiplied by 4.5%; and (b) a proportional percentage of
                   the remaining fee due under that Settling State’s contract assuming that fifty


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                percent (50%) of the Settling State’s recovery is allocable to a Settling State
                (rather than allocable to the Settling State’s Participating Subdivisions) so that
                the fees of all Settling States (minus the fixed amount that would have been
                allocated to any Non-Settling States had they become Settling States) exhausts
                the State Outside Counsel Fee Fund. The proportional share percentage will
                be the same for each Settling State included in the State Outside Counsel Fee
                Fund. All amounts paid will be less any costs or fees of the Fee Fund
                Administrator.

       6.    Payment by the Fee Fund Administrator.
             a. If a Settling State’s outside counsel agrees that the amount calculated in
                Paragraph 5 above either satisfies in full or exceeds the amounts owed to all
                such Settling State’s outside counsel, then upon written notice waiving all
                entitlement to any additional fee, the Fee Fund Administrator shall pay that
                Settling State’s outside counsel the amount that satisfies the Settling State’s
                obligation in full and, in no event more than (i) such obligation or (ii) the
                amount pursuant to the calculation and any schedule created by the Fee Fund
                Committee.
             b. If a Settling State’s outside counsel does not agree that the amount calculated
                in Paragraph 5 above either satisfies in full or exceeds the amounts owed by
                the Settling State, then the Settling State’s share shall be placed in an interest-
                bearing escrow account (less reasonable expenses of the Fee Fund
                Administrator) and held unless and until the Settling State and its outside
                counsel agree in a signed writing to a resolution of the amount outstanding or
                there is a final judgment entered that is no longer appealable.
             c. Upon being provided a signed, written agreement or the final non-appealable
                judgment, the Fee Fund Administrator shall release monies from the State
                Outside Counsel Fee Fund in either the amount held by the Fee Fund
                Administrator, if the amount of the agreement or judgment is equal to or more
                than the amount held, or the amount indicated in the agreement or in the final
                judgment, if the amount in the agreement or judgment is less than the amount
                held.
             d. Nothing herein, including the amounts listed in paragraph 5 above, shall
                prevent a Settling State from arguing in any proceeding with its outside
                counsel that (i) its recovery was less than fifty percent (50%) of the recovery
                in the Settlement Agreement down to and including fifteen percent (15%) of
                the total recovery; (ii) any payment should be discounted by an appropriate
                discount rate commensurate to the risk of the Settlement Agreement and the
                timeline that the Settling State is receiving its payments; (iii) the settlement
                amount should be lower because the amount a Settling State receives was
                reduced because such Settling State’s outside counsel failed to obtain joinder
                from a Settling State’s Subdivision(s) that the outside counsel also



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                          represented; or (iv) any limitation placed by the Settling Distributors bars
                          payment of a higher fee to outside counsel.
                       e. In the event the amount due to the Settling State’s outside counsel from an
                          escrow account is less than the total amount of funds escrowed on the account
                          of the Settling State, the balance shall be paid to the Settling State. In no
                          event, other than a State becoming a Non-Settling State, shall funds revert to a
                          Settling Distributor.
                       f. Amounts owed by Settling Distributors to the State Outside Counsel Fee Fund
                          shall be reduced and/or credited to Settling Distributors by amounts allocated
                          on the above-mentioned schedule for outside counsel in Non-Settling States.

                7.     Reversion or Reduction of Amounts owed to Non-Settling States. Amounts
        owed by Settling Distributors to the State Outside Counsel Fee Fund shall be reduced
        proportionally across payments owed by the Settling Distributors by amounts allocated to the
        fixed amount on the below schedule for outside counsel in the event that a listed State becomes a
        Non-Settling State. In the event the Fee Fund Administrator receives part or all of the fixed
        amount due to a Non-Settling State from a Settling Distributor, the Fee Fund Administrator shall
        return the amount allocable to that Non-Settling State’s fixed amount to the Settling Distributor.

State           Distributor   Distributor         State Share       Contract      Full Contract    Fixed Amount
                Allocation    Payment Amount                        Rate          Amount
                %
Alabama         1.6419%       $312,711,699.09     $156,355,849.55   TIPAC         $18,201,265.32   $7,036,013.23
Alaska          0.2585%       $49,223,759.07      $23,611,879.53    20%           $4,922,375.91    $1,107,534.58
Arkansas        0.9663%       $184,044,819.65     $92,022,409.82    TIPAC         $8,101,120.49    $4,141,008.44
Delaware        0.49%         $93,322,747.66      $46,661,373.83    21%           $9,798,888.50    $2,099,761.82
Florida         7.0259%       $1,338,112,237.57   $669,056,118.79   TIPAC         $36,952,805.94   $30,107,525.35
Georgia         2.7882%       $531,024,939.66     $265,512,469.83   8%            $21,240,997.59   $11,948,061.14
Hawaii          0.3418%       $65,103,946.38      $32,551,973.19    17%           $5,533,835.44    $1,464,838.79
Idaho           0.5254%       $100,070,766.60     $50,035,383.30    10%           $5,003,538.33    $2,251,592.25
Indiana         2.2169%       $422,215,856.62     $211,107,928.31   TIPAC         $14,055,396.42   $9,499,856.77
Kentucky        2.093%        $398,614,767.86     $199,307,383.93   TIPAC         $12,215,369.20   $8,968,832.28
Michigan        3.402%        $647,928,460.07     $323,964,230.04   12%           $38,875,707.60   $14,578,390.35
Mississippi     0.8899%       $169,482,650.39     $84,741,325.19    TIPAC         $7,737,066.26    $3,813,359.63
Montana         0.3422%       $65,166,981.56      $32,583,490.78    20, 18, and   $5,916,934.37    $1,466,257.09
                                                                    15% by
                                                                    amount
Nevada          1.2487%       $237,815,036.99     $118,907,518.50   19%           $22,592,428.52   $5,350,838.33
New             0.6259%       $119,200,348.62     $59,600,174.31    27%           16,092,047.06    $2,682,007.84
Hampshire
New Mexico      0.8557%       $162,975,902.53     $81,487,951.27    24%           $19,557,108.30   $3,666,957.81
Ohio            4.3567%       $829,751,250.63     $414,875,625.32   TIPAC         $24,243,781.27   $18,669,403.14
Oklahoma        1.5832%       $301,519,407.96     $150,759,703.98   25%           $37,689,926.00   $6,784,186.68
Puerto Rico     0.7263%       $138,330,459.13     $69,165,229.57    25%           $17,291,307.39   $3,112,435.33
Rhode Island    0.4896%       $93,239,095.60      $46,619,547.80    17%           $7,925,323.13    $2,097,879.65
South           1.5835%       $301,577,078.44     $150,788,539.22   TIPAC         $21,781,541.57   $6,785,484.26
Carolina
South Dakota    0.217%        $41,327,454.40      $20,663,727.20    12%           $2,479,647.26    $929,867.72




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Utah           1.1889%    $226,438,902.67   $113,219,451.34   TIPAC      $2,714,389.03   $2,714,389.03
                                                              Modified
                                                              by K
Vermont        0.2844%    $54,169,670.90    $27,084,835.45    TIPAC      $4,958,483.55   $1,218,817.60
Washington     2.3189%    $441,644,189.13   $220,822,094.57   Statute    $10,900,000     $9,936,994.26




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                                             EXHIBIT T

                       Agreement on the State Cost Fund Administration

          1.     Creation of a State Cost Fund. The Settling Distributors and the Settling States
 agree to the creation of a state cost fund to pay litigation costs and expenses associated with
 litigation and investigation related to the opioid litigation (such fund, the “State Cost Fund”).
 The State Cost Fund shall be administered separately from the Common Benefit Fund, the
 Contingency Fee Fund, the State Counsel Fee Fund, and the MDL Expense Fund.

         2.    State Cost Fund Amount and to Whom Owed. On the Payment Date of
 Payment Year 1, the Settling Distributors shall pay into the State Cost Fund $56,538,461.00 (the
 “State Cost Fund Amount”). No funds may be released from the State Cost Fund to Non-Settling
 States.

        3.      State Cost Fund Committee. A committee of Attorneys General or their
 designated representatives (such committee, the “State Cost Fund Committee”) shall oversee the
 State Cost Fund. The committee shall initially consist of the following States: (a) Delaware; (b)
 Florida; (c) Georgia; (d) New York; (e) North Carolina; (f) Ohio; (g) Tennessee; and (h) Texas.
 The Attorneys General may by majority vote add or change the composition of the State Cost
 Fund Committee, including replacing any above State, if that State is not a Settling State.

        4.      State Cost Fund Administrator. The State Cost Fund Committee shall select an
 administrator (the “State Cost Fund Administrator”). The State Cost Fund Administrator may or
 may not be different from the Settlement Fund Administrator. The State Cost Fund
 Administrator shall administer the State Cost Fund and direct payments to Settling States.

         5.      State Cost Fund Guidelines. Monies in the State Cost Fund shall be released
 without any delay to reimburse Settling States for documented costs incurred or paid in
 connection with litigation and investigation related to the opioid litigation. In allocating the
 State Cost Fund, no funds shall be allocated for costs incurred after July 21, 2021. The State
 Cost Fund Committee shall establish guidelines for the submission and approval of expenses
 eligible for reimbursement from the State Cost Fund. The State Cost Fund Administrator shall,
 in accordance with such guidelines, receive from Settling States records sufficient to demonstrate
 the incurrence and payment of each expense attributable to litigation or investigation related to
 the opioid litigation, including any outstanding National Association of Attorneys General grant.

         6.     State Cost Fund Payment Priorities and Residual. To the extent the aggregate
 eligible submissions of costs and expenses from Settling States exceed the State Cost Fund
 Amount, payments to Settling States shall be paid in the order described in this section until the
 State Cost Fund is exhausted. If the State Cost Fund is unable to fully pay costs at any of the
 following levels, then Settling States with costs at that level shall be paid on a proportional basis.
 All expenses with a lesser priority from the level where the State Cost Fund is exhausted will not
 be reimbursed from the State Cost Fund. Costs shall be paid in the following order of priority:


                                                  T-1
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 (a) the reasonable costs of the State Cost Fund Administrator, if any; (b) repayment of the
 National Association of Attorneys General grants connected to opioid litigation; (c) costs
 incurred or paid by outside counsel for a Settling State litigating against the Settling Distributors
 apart from any fee owed; (d) litigation-related costs attributable to the Settling Distributors
 incurred or paid by a Settling State litigating against the Settling Distributors; and (e) pre-suit
 investigation-related costs attributable to the Settling Distributors incurred or paid by either a
 Settling State outside counsel (not including any amount of fees or any costs which have already
 been reimbursed pursuant to clause (c), above) or a Settling State investigating the Settling
 Distributors. If the State Cost Fund has additional monies after payment of the State Cost Fund
 Administrator’s and all Settling States’ submitted costs, then the remaining funds will be
 provided to the National Association of Attorneys General to be placed in the Financial Services
 Fund for the purpose of funding grants for consumer protection- or healthcare-related
 enforcement or training activities. In determining what costs are attributable to the Settling
 Distributors, the State Fund Committee shall develop a guideline that ensures that all Settling
 States are treated equitably.




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                                   EXHIBIT U

                               ABC IRS Form 1098-F




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                                   EXHIBIT V

                             Cardinal IRS Form 1098-F




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                                   EXHIBIT W

                            McKesson IRS Form 1098-F




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                                   EXHIBIT X

                                  Severity Factors

                          State                      Severity Factor
           Alabama                                   108.5243%
           Alaska                                    107.8614%
           American Samoa                            102.7639%
           Arizona                                   107.7129%
           Arkansas                                  103.2818%
           California                                 82.8688%
           Colorado                                   95.2263%
           Connecticut                               121.0971%
           Delaware                                  155.5946%
           District of Columbia                       88.3270%
           Florida                                   107.9604%
           Georgia                                    86.6675%
           Guam                                       96.8019%
           Hawaii                                     77.1051%
           Idaho                                      93.0570%
           Illinois                                   86.6318%
           Indiana                                   108.6768%
           Iowa                                       78.2056%
           Kansas                                     89.6374%
           Kentucky                                  150.0126%
           Louisiana                                 105.2878%
           Maine                                     132.7534%
           Maryland                                  115.2160%
           Massachusetts                             110.3001%
           Michigan                                  112.4239%
           Minnesota                                  75.9148%
           Mississippi                                96.7243%
           Missouri                                  107.8496%
           Montana                                    99.7815%
           N. Mariana Islands                        100.2421%
           Nebraska                                   71.9045%
           Nevada                                    130.5519%
           New Hampshire                             144.4997%
           New Jersey                                102.3701%
           New Mexico                                128.9295%


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           New York                                 91.4472%
           North Carolina                          102.2754%
           North Dakota                             76.0864%
           Ohio                                    123.0063%
           Oklahoma                                129.3047%
           Oregon                                  108.9094%
           Pennsylvania                            118.2821%
           Puerto Rico                              73.9803%
           Rhode Island                            143.8802%
           South Carolina                           99.6801%
           South Dakota                             76.4482%
           Tennessee                               129.9078%
           Texas                                    71.6286%
           Utah                                    119.5878%
           Vermont                                 140.2239%
           Virgin Islands                          100.4396%
           Virginia                                 88.1611%
           Washington                              100.5007%
           Wisconsin                                99.6616%
           Wyoming                                 100.9659%




                                       X-2
